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                        Exhibit A
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                          Melinda Darby Dyar, Ph.D.

                                                                       Page 1
                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

                IN RE: JOHNSON &            )
                JOHNSON TALCUM POWDER       )
                PRODUCTS MARKETING          )
                SALES PRACTICES AND         )   MDL 16-2738
                PRODUCT LIABILITY           )   (FLW)(LHG)
                LITIGATION                  )
                _____________________       )
                THIS DOCUMENT               )
                PERTAINS TO ALL CASES       )

                            TUESDAY, APRIL 2, 2019



                                       – – –

                           Videotaped deposition of Melinda Darby
              Dyar, Ph.D., held at the offices of SKADDEN,
              ARPS, MEAGHER & FLOM, LLP, Four Times Square,
              New York, New York, commencing at 9:03 a.m.,
              on the above date, before Carrie A. Campbell,
              Registered Diplomate Reporter and Certified
              Realtime Reporter.




                                       – – –

                         GOLKOW LITIGATION SERVICES
                      877.370.3377 ph | 917.591.5672 fax
                               deps@golkow.com




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            BY: LEIGH O'DELL
                                                               3    APPEARANCES.................................. 2
       4       leigh.odell@BeasleyAllen.com                    4    EXAMINATIONS
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       5    Montgomery, Alabama 36104                          6     BY MR. CHACHKES............................ 357
            (334) 269-2343                                     7     BY MR. FINCH............................... 363
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            BY: NATHAN D. FINCH                                9              EXHIBITS
       8       nfinch@motleyrice.com                          10     No. Description                 Page
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       9    Washington, DC 20004                                   Exhibit 1 Deposition of M. Darby Dyar,
            (202) 232-5507                                    12           PhD, and Duces Tecum
      10
      11    COHEN PLACITELLA ROTH PC
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      12       dgeier@cprlaw.com                              14           Causation Daubert Hearing
            127 Maple Avenue                                  15   Dyar      Electronic Document Production 25
      13    Red Bank, New Jersey 07701                             Exhibit 3
            (732) 747-9003                                    16
      14    Counsel for Plaintiffs
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      16    BY: ALEX V. CHACHKES                              18   Dyar     ISO 22262-2, Air quality -            60
               achachkes@orrick.com                                Exhibit 5 Bulk materials
      17    51 West 52nd Street                               19
            New York, New York 10019
      18    (212) 506-3742                                         Dyar       ISO 13794, Ambient air -            60
      19                                                      20   Exhibit 6 Determination of asbestos
            DRINKER BIDDLE & REATH LLP                                     fibres - Indirect-transfer
      20    BY: SUSAN M. SHARKO                               21           transmission electron
               Susan.Sharko@dbr.com                                        microscopy method
      21       JACK N. FROST, JR.                             22
               jack.frost@dbr.com
      22    600 Campus Drive                                       Dyar       Methodology for the        60
            Florham Park, New Jersey 07932-1047               23   Exhibit 7 Measurement of Airborne
      23    (973) 549-7000                                                 Asbestos by Electron
            Counsel for Defendant Johnson &                   24           Microscopy, George Yamate, et
      24    Johnson                                                        al.
      25
                                                              25

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             BY: THOMAS T. LOCKE                                   Exhibit 8 Johnson's Historical Product
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       2        tlocke@seyfarth.com                                        Historical Railroad Car
             975 F Street, N.W.                                3           Samples from the 1960s to the
       3     Washington, DC 20004                                          Early 2000s for Amphibole
             (202) 463-2400                                    4           Asbestos, Second Supplemental
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       4     Counsel for Defendant Personal Care               5
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       7         sandra.wunderlich@tuckerellis.com             9   Dyar      Defining Asbestos:         139
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       8     St. Louis, Missouri 63102                        10           and Natural Environments,
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       9     Counsel for PTI Union, LLC and PTI                    Dyar      ResearchGate printout of    143
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      10                                                      13   Dyar      Mineralogy and Optical      147
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      11                                                      14
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      13                                                      16   Dyar      Case report of           152
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      14   VIDEOGRAPHER:                                      17           Pleural Mesothelioma in
            HENRY MARTE,                                                   Mexico, Oczypok, et al.
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      17                                                      19   Exhibit 16 March 25, 1992,
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      18                                                      20
      19                                                           Dyar      May 23, 2002 Technical Report 172
      20                                                      21   Exhibit 17 of Julie Pier,
      21                                                                   IMERYS 422289 - IMERYS 422290
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      23                                                      23   Exhibit 18 Inc., November 5, 1975,
      24                                                                   JNJL61_000079334 -
      25                                                      24           JNJL61_000079335
                                                              25

                                                                                                2 (Pages 2 to 5)
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       1   Dyar      Walter McCrone Associates 1
           Exhibit 19 July 1975 letter,
                                                      223               1      now on the record. My name is Henry
       2           JNJMX68_000012745 -                                  2      Marte. I'm a videographer with Golkow
                   JNJMX68_000012749                                    3      Litigation Services.
       3
           Dyar      May 24, 1975 Walter McCrone        223             4           Today's date is April 2, 2019,
       4   Exhibit 20 letter from RN Miller,
                   JNJTACL000387254
                                                                        5      and the time is 9:03 a.m.
       5                                                                6           This videotaped deposition is
           Dyar      Diffraction Verifications, 236
       6   Exhibit 21 M68233-001, M68233-002
                                                                        7      being held at 4 Times Square,
       7   Dyar      MAS, LLC PLM Analysis,         279                 8      New York, New York, in the Matter of
           Exhibit 22 M69680-015BL
       8                                                                9      Talcum Powder Litigation.
           Dyar       The Asbestiform and         329                  10           The deponent today is
       9   Exhibit 23 Nonasbestiform Mineral Growth
                   Habit and Their Relationship                        11      Dr. Melinda Darby Dyar.
      10           to Cancer Studies, A Pictorial                      12           Will all appearances please
                   Presentation, April 2003
      11                                                               13      introduce themselves for the record.
           Dyar      Mineral Commodity Profiles - 333                  14           MR. FINCH: Yes. Nate Finch
      12   Exhibit 24 Asbestos, USGS
      13   Dyar      Asbestos, A Mineral of      343                   15      for various ovarian cancer victim
           Exhibit 25 Unparalleled Properties,                         16      plaintiffs.
      14           Badollet
      15   Dyar      J&J Consumer Companies         350                17           MR. GEIER: Dennis Geier for
           Exhibit 26 Worldwide Specification,                         18      the plaintiffs.
      16           TM7024,
                   JNJNL61_000005032 -                                 19           MS. HARRISON: Lizzy Harrison,
      17
      18
                   JNJNL61_000005040                                   20      Motley Rice.
      19     (Exhibits attached to the deposition.)                    21           MS. O'DELL: Leigh O'Dell on
      20
      21
                                                                       22      behalf of the plaintiff steering
      22                                                               23      committee.
      23
      24
                                                                       24           MR. LOCKE: Sorry.
      25                                                               25           MR. CHACHKES: Yeah. Alex
                                                              Page 7                                           Page 9
       1              MS. O'DELL: I just have an                        1      Chachkes on behalf of J&J, Orrick
       2         objection before the deposition                        2      Herrington.
       3         starts.                                                3          MR. FROST: Jack Frost, Drinker
       4              Yesterday at 5:50 we received a                   4      Biddle and Reath, on behalf of Johnson
       5         production of new materials,                           5      & Johnson.
       6         approximately 140 pages of new data                    6          MS. SHARKO: Susan Sharko,
       7         that we had not been provided                          7      Drinker Biddle, same.
       8         previously. We've not had an                           8          MS. WUNDERLICH: Sandra
       9         opportunity to review and analyze that                 9      Wunderlich, Tucker Ellis, on behalf of
      10         data, and based on the late                           10      PTI Royston and PTI Union.
      11         production, we will move to keep this                 11          MR. LOCKE: Tom Locke for the
      12         deposition open and continue it after                 12      Personal Care Products Council.
      13         we've had an opportunity to do so.                    13          VIDEOGRAPHER: Okay. Will the
      14              MR. CHACHKES: And obviously we                   14      court reporter please administer the
      15         disagree. And you'll have the                         15      oath to the witness.
      16         opportunity to ask the witness about                  16
      17         those documents, and you'll find                      17             MELINDA DARBY DYAR, Ph.D.,
      18         there's no reason to keep anything                    18   of lawful age, having been first duly sworn
      19         open.                                                 19   to tell the truth, the whole truth and
      20              MS. O'DELL: We'll see.                           20   nothing but the truth, deposes and says on
      21              MR. FINCH: We'll see.                            21   behalf of the Plaintiffs, as follows:
      22              MS. O'DELL: We'll reserve the                    22
      23         right to take that to Judge Pisano if                 23        DIRECT EXAMINATION
      24         we can't reach an agreement.                          24   QUESTIONS BY MR. FINCH:
      25              VIDEOGRAPHER: Okay. We are                       25     Q. Good morning, Ms. Darby Dyar.
                                                                                            3 (Pages 6 to 9)
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                                              Page 10                                              Page 12
       1             My name is Nate Finch. I               1   income into.
       2   introduced myself off the record to you. As      2       Q. How long has Palouse Minerals
       3   I said before, I represent various ovarian       3   been in existence?
       4   cancer victim plaintiffs.                        4       A. A couple months.
       5             Have you ever had your                 5       Q. In what state was it formed?
       6   deposition taken before?                         6   What's the --
       7       A. No.                                       7       A. Massachusetts.
       8       Q. Have you ever testified in a              8       Q. So it's a Massachusetts LLC?
       9   courtroom before?                                9       A. Yes.
      10       A. No.                                      10       Q. And what's the business address
      11       Q. Have you ever done what's                11   for it?
      12   called a mock deposition, where someone         12       A. 161 Chestnut Street in Amherst,
      13   videotapes you and asks you questions as if     13   Mass.
      14   you were being deposed or testifying in         14       Q. Is that the same as your office
      15   court?                                          15   address?
      16             MR. CHACHKES: So I'm going to         16       A. Yes, it is.
      17       object on work product grounds.             17       Q. Is it --
      18             You can answer to the extent          18       A. To which office are you
      19       it's not anything you've done with          19   referring?
      20       counsel in this case.                       20       Q. Or which office does it
      21             THE WITNESS: Correct, it's not        21   correspond to?
      22       anything I've ever done with counsel        22       A. It corresponds to my home
      23       in this case.                               23   office.
      24   QUESTIONS BY MR. FINCH:                         24       Q. So it's your home address as
      25       Q. So never done it your entire             25   well?
                                              Page 11                                              Page 13
       1   life, or you've done it in this case?            1       A. Correct.
       2             MR. CHACHKES: So the objection         2       Q. Are you the -- the sole member
       3        was don't talk about what we did in         3   of Palouse Minerals, LLC, meaning the sole
       4        this case, but you're welcome to talk       4   person that has an ownership stake in it?
       5        about other stuff.                          5       A. Yes.
       6             THE WITNESS: No, I've never            6       Q. There are no other -- are there
       7        done it ever before.                        7   any other limited partners that receive an
       8   QUESTIONS BY MR. FINCH:                          8   income distribution or other distribution for
       9        Q. So am I correct that you have            9   Palouse Minerals?
      10   never been recognized by a court as an expert   10       A. No.
      11   in anything? Is that correct?                   11       Q. Does it have any employees?
      12        A. That is correct.                        12       A. Other than me, no.
      13        Q. What is Palouse Minerals, LLC?          13       Q. When were you first contacted
      14        A. It is an LLC entity that I              14   by someone -- let me back up.
      15   created for the purposes of -- on the basis     15            Who are you working for in
      16   of the recommendation of my personal lawyer.    16   connection with this case in which your
      17        Q. Created for the purposes of             17   deposition is being taken today?
      18   what, receiving funds that you earn as an       18       A. I'm not exactly sure what you
      19   expert witness?                                 19   mean.
      20             Is that one of the reasons you        20            Do you mean who do I send the
      21   created it?                                     21   bills to?
      22        A. I do considerable consulting            22       Q. Well, you're being compensated
      23   for NASA, and I decided it would be useful to   23   for your time, I assume, correct?
      24   have an entity that I could consolidate my      24       A. Correct.
      25   non-Mount Holyoke and non-planetary science     25       Q. All right. And you send the
                                                                             4 (Pages 10 to 13)
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       1   bills to Tucker Ellis. That's a law firm; is     1   this expert engagement other than you?
       2   that correct?                                    2       A. No.
       3        A. I believe so.                            3       Q. The reason I ask that question,
       4        Q. And do you have an                       4   on the invoices that were produced yesterday
       5   understanding as to what party in this           5   evening, there are a couple of instances
       6   litigation you are serving as an expert          6   where there's redactions and the person
       7   witness for?                                     7   was -- the person or entity was redacted, and
       8        A. Yes.                                     8   that led me to believe there might have been
       9        Q. All right. Who are you working           9   someone else other than you who worked on the
      10   for?                                            10   report.
      11        A. So the checks come from Orrick,         11            MR. CHACHKES: Objection.
      12   and Orrick is hired by Johnson & Johnson.       12            THE WITNESS: No one else but
      13        Q. Are you working for any other           13       me worked on the report.
      14   party to this litigation, other than            14   QUESTIONS BY MR. FINCH:
      15   Johnson & Johnson or Johnson & Johnson          15       Q. Okay. What were you asked to
      16   Consumer, Inc., or any other Johnson &          16   do by Johnson & Johnson or its lawyers?
      17   Johnson subsidiary?                             17       A. I was asked to review the
      18        A. No.                                     18   methodology used by Drs. Longo and Rigler in
      19        Q. So you're not being compensated         19   a series of reports.
      20   or doing any work with a company called         20       Q. Anything else?
      21   Imerys, for example?                            21       A. I was asked to write a report
      22        A. No.                                     22   giving my review.
      23             MR. FINCH: Lizzy, can I have          23       Q. What methodology did you follow
      24        the notice of deposition?                  24   in analyzing Dr. Longo and Rigler's reports?
      25             (Dyar Exhibit 1 marked for            25       A. Well, I've been a reviewer of
                                               Page 15                                             Page 17
       1       identification.)                             1   scientific documents for almost 40 years, and
       2   QUESTIONS BY MR. FINCH:                          2   so I used the same methodology I'd use for
       3       Q. Ma'am, I've put what's been               3   reviewing a scientific paper or a proposal or
       4   marked as Darby Dyar Exhibit 1 in front of       4   any kind of report that comes across my
       5   you.                                             5   research interests.
       6            Have you ever seen this or              6            So I first read the report
       7   discussed it, the subject matters of what it     7   carefully, every word. Then I looked at all
       8   is, with anyone?                                 8   of the math and all the numbers and analyzed
       9       A. Yes and yes.                              9   the numbers. Then I sought out all of the
      10       Q. And what is your understanding           10   references that were cited in those reports
      11   of what this is?                                11   and tried to read all of them. And then I
      12       A. It's a notice that I'm going to          12   looked at the report many times and tried to
      13   testify today, and these are the documents      13   see if the information in the report
      14   that are related to the case.                   14   justified the conclusions.
      15       Q. Okay. When were you first                15       Q. Did you test any talc that was
      16   contacted by someone on behalf of Johnson &     16   the source of Johnson's baby powder or SHOWER
      17   Johnson to do work for it in connection with    17   TO SHOWER® yourself?
      18   these cases?                                    18       A. No.
      19       A. I don't remember exactly, but            19       Q. Did you test any talc that was
      20   sometime last fall after school started.        20   mined either in Italy or Vermont or China for
      21       Q. Okay. And am I correct that              21   the purposes of analyzing whether or not it
      22   your time is billed out at $500 an hour?        22   contained asbestos or asbestos fibers?
      23       A. That is correct.                         23       A. No. No
      24       Q. And has anyone else from                 24
                                                            4       Q. Did you review any internal
      25   Palouse Minerals done work in connection with   25   documents of Johnson & Johnson that indicated
                                                                             5 (Pages 14 to 17)
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                                               Page 18                                              Page 20
       1   the results of its testing of either its baby     1        A. My name appears on publications
       2   powder or SHOWER TO SHOWER® products or the       2   in which the author list includes Matt, yes.
       3   ore from the Vermont mine or other sources of     3        Q. Have you reviewed any of
       4   talc?                                             4   Mr. Sanchez's testimony in connection with
       5       A. No.                                        5   any Johnson & Johnson talc litigation?
       6       Q. Did you review any testimony               6        A. No.
       7   from any of Johnson & Johnson's corporate         7        Q. You have published multiple
       8   witnesses related to the source of -- let me      8   papers and also a book with a gentleman by
       9   just ask it this way.                             9   the name of Mickey Gunther, correct?
      10            Did you review any testimony of         10        A. That's correct.
      11   anyone other than Dr. Longo and Dr. Rigler?      11        Q. Have you ever reviewed any of
      12       A. Yes, I reviewed reports only by           12   Dr. Gunther's testimony in asbestos
      13   Krekeler, Cook and Campion.                      13   litigation on behalf of any of the parties
      14       Q. And you reviewed their reports,           14   that he's worked for?
      15   but you haven't commented on any of those        15        A. No.
      16   reports; is that correct?                        16
                                                             6        Q. Did you review any deposition
      17       A. There was no need to comment on           17   or trial testimony of any Johnson & Johnson
      18   those reports because they did not have --       18   witness in connection with your work in this
      19   they did not bear on my evaluation of the        19   case?
      20   methodology of Longo and Rigler.                 20             And by that I would include
      21       Q. Okay.                                     21   Dr. John Hopkins or any of the other
      22       A. But I read them just in case.case         22   employees or former employees of Johnson &
      23       Q. All right. Am I correct that              23   Johnson.
      24   you don't have an opinion one way or another     24        A. No.
      25   as to whether or not there is asbestos in        25        Q. Did you review any summaries of
                                               Page 19                                              Page 21
       1   Vermont talc that was a source for Johnson's      1   any deposition or trial testimony of anyone
       2   baby powder?                                      2   other than possibly Dr. Longo and Dr. Rigler?
       3       A. Can you restate that question?             3       A. No.
       4       Q. I didn't see anywhere in your              4       Q. When you were first contacted
       5   report an affirmative opinion as to whether       5   to work on behalf of Johnson & Johnson, who
       6   or not there is or is not asbestiform             6   did you -- how did -- how were you first
       7   materials, asbestos fibers, in the talc from      7   contacted?
       8   either Vermont or Italy or China that was the     8            Who contacted you?
       9   source of Johnson's baby powder.                  9       A. I -- to the best of my memory,
      10            MR. LOCKE: Objection.                   10   I was sitting in my Mount Holyoke office, and
      11            THE WITNESS: No, my job in              11   I got a phone call from a lawyer in
      12       this matter was to review the                12   Cleveland.
      13       methodology of Drs. Longo and Rigler.
                                                   Rigler   13       Q. This was a lawyer for the
      14   QUESTIONS BY MR. FINCH:                          14   Tucker Ellis firm?
      15       Q. Did you review the testimony              15       A. I'm not sure where he works.
      16   of -- do you know Ann Wylie, by any chance?      16       Q. What was the name of the
      17       A. I believe I've met Ann Wylie              17   lawyer?
      18   once, maybe, but I couldn't pick her out of a    18       A. Chris Caryl, Caryl. I'm not
      19   crowd.                                           19   sure how you pronounce his name.
      20       Q. Did you review her testimony              20       Q. And in that conversation, what
      21   that was taken in connection with these cases    21   did he ask you to do?
      22   as part of your work here?                       22       A. He asked me if I had ever done
      23       A. No.                                       23   any expert witness work and if that would
      24       Q. You have written papers with              24   interest me, and he told me a little bit
      25   Matthew Sanchez, correct?                        25   about the case. I don't remember exactly
                                                                             6 (Pages 18 to 21)
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                                              Page 22                                              Page 24
       1   what he said, but he asked me if I'd be          1   determine whether they have asbestos in them?
       2   interested, and I said I would think about       2       A. Other than the depositions
       3   it.                                              3   taken this year, no.
       4       Q. And obviously you eventually              4       Q. And the depositions that were
       5   said yes, correct?                               5   taken this year was a one-day deposition
       6       A. Correct.                                  6   taken February 5th or 6th of 2019?
       7       Q. And you ultimately put together           7       A. I believe that's correct.
       8   an expert witness report that contains your      8       Q. Were you aware that Dr. Longo
       9   opinions and conclusions in this case; is        9   has testified dozens of times about -- in
      10   that correct?                                   10   courtrooms with judges, both federal and
      11       A. Yes.                                     11   state present, about the methodology he
      12            MR. FINCH: Lizzy, can I have           12   follows to analyze the presence of asbestos
      13       the report?                                 13   fibers in materials?
      14            (Dyar Exhibit 2 marked for             14       A. That's what he says in his --
      15       identification.)                            15   in the beginning of his most recent
      16   QUESTIONS BY MR. FINCH:                         16   deposition, yes.
      17       Q. Ma'am, I've marked as Darby              17       Q. And you didn't ask to review
      18   Dyar Deposition Exhibit 2 a document entitled   18   any of that testimony where he describes what
      19   "Expert Report of M. Darby Dyar, Ph.D., for     19   he does or how his lab works in detail?
      20   General Causation, Daubert Hearing."            20       A. The current deposition makes it
      21            Can you take a look at this            21   clear that his methodology has remained
      22   document and tell me what it is?                22   constant, and so it wasn't necessary to
      23       A. This is my report.                       23   review previous methodologies.
      24       Q. And it has a copy of your CV             24       Q. What is your understanding of
      25   attached to the back of it as Exhibit B?        25   what an expert witness report like Exhibit 2
                                              Page 23                                              Page 25
       1   Exhibit A, excuse me.                            1   is for?
       2       A. Yes.                                      2       A. It is to present the opinion of
       3       Q. Did you, as part of your work             3   an expert witness on matters that they are
       4   in this case, ask to see the same samples        4   asked to evaluate.
       5   that Dr. Longo in his laboratory analyzed,       5       Q. Do you have the understanding
       6   have those sent to you so you could analyze      6   that it is supposed to set forth your
       7   them yourself?                                   7   opinions and the bases for your opinions on
       8       A. No.                                       8   various topics?
       9       Q. Why not?                                  9       A. Yes.
      10       A. My job here was to review the            10             MR. FINCH: Let's mark as
      11   methodology employed by Drs. Longo and          11       Exhibit 3 -- and I don't have a hard
      12   Rigler. It was not to do testing.               12       copy with me because I just got it by
      13       Q. Did you review any testimony of          13       e-mail last night -- the production
      14   Dr. Longo other than his deposition taken in    14       materials that were sent to us at
      15   this case in February of this year?             15       5:50 p.m.
      16       A. No.                                      16             And could I switch to the iPad?
      17       Q. Did you review any of Mark               17             VIDEOGRAPHER: No problem.
      18   Rigler's testimony other than his deposition    18             MR. FINCH: And we'll send this
      19   taken in connection with these cases in         19       to the court reporter electronically.
      20   February of this year?                          20             (Dyar Exhibit 3 marked for
      21       A. No.                                      21       identification.)
      22       Q. So am I correct that you have            22             MR. CHACHKES: We have paper
      23   never reviewed testimony of Dr. Longo where     23       copies here.
      24   he describes his methodology generally that     24             MR. FINCH: If you've got a
      25   his lab follows for analyzing substances to     25       paper copy you can hand to me, that
                                                                             7 (Pages 22 to 25)
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       1       would probably speed up the process a      1   and calculations that you've made and set
       2       little bit.                                2   forth in the report, Exhibit 2?
       3             MR. CHACHKES: We could               3        A. Yes, they are.
       4       actually have it -- so if we want one      4        Q. So basically if I want to check
       5       for the witness as well -- so we've        5   your math, I look at the spreadsheets, right?
       6       got one copy. We can take a break          6        A. Correct.
       7       and --                                     7        Q. Okay. So you said you were
       8             MR. FINCH: I don't want to           8   first contacted sometime last fall by a
       9       take a break.                              9   lawyer named Christopher Caryl from the
      10             MR. CHACHKES: Okay.                 10   Tucker Ellis law firm about doing expert
      11             MR. FINCH: I'll come back to        11   witness work for Johnson & Johnson; is that
      12       it. But I'm going to ask a few            12   correct?
      13       questions now, and then if you can, at    13        A. That is correct.
      14       a break --                                14        Q. And I have on the screen here,
      15   QUESTIONS BY MR. FINCH:                       15   which you probably can flip to, a series of
      16       Q. Okay. Ma'am, can you see the           16   invoices beginning in November of 2018 which
      17   screen here that I'm flipping?                17   reflects work done in October, all the way up
      18       A. No.                                    18   through a March 4th invoice which reflects
      19       Q. There's a screen in front of           19   work done in February of 2019.
      20   you.                                          20            Do you see those invoices?
      21       A. That's way too small.                  21        A. I do see them, yes.
      22       Q. Okay.                                  22        Q. Okay. My document isn't page
      23       A. I can certainly use the paper          23   numbered, but on the screen there is a
      24   copy.                                         24   contract signed by you on behalf of your
      25             MR. CHACHKES: So I've got the       25   company and Johnson & Johnson.
                                             Page 27                                            Page 29
       1       paper copy.                                1            Do you see that?
       2            MR. FINCH: All right. Counsel         2       A. Yes.
       3       for Johnson & Johnson kindly provided      3       Q. Okay. You started working on
       4       the witness with his copy.                 4   this project before the contract was signed.
       5   QUESTIONS BY MR. FINCH:                        5            Why is that?
       6       Q. But suffice it to say, did you          6       A. Because I -- before this
       7   have the understanding that some additional    7   contract was signed, because I -- it took me
       8   material was provided to us yesterday in       8   a while to get the legal paperwork for
       9   connection with the subpoena you got?          9   Palouse Minerals organized and approved by
      10       A. Yes.                                   10   Massachusetts.
      11       Q. Okay. What is your                     11       Q. Okay. So you had to set up the
      12   understanding of what was provided to us?     12   LLC. You started doing work, you set up the
      13       A. I believe it was copies of my          13   LLC, and once that was set up, you had
      14   bills and a copy of my updated CV.            14   Johnson & Johnson's attorneys enter into a
      15       Q. Okay. And also contained               15   contract with you on behalf of LLC, correct?
      16   some --                                       16       A. Correct.
      17       A. Oh, and -- okay, go ahead.             17       Q. Okay. The first invoice I have
      18       Q. I've got your bills. I've got          18   here reflects work done in October, and it
      19   your updated CV.                              19   has an entry for 19 hours and 18 hours, both
      20            What is the material, say, the       20   billed at $500 an hour, for a total of
      21   last hundred pages, hundred-plus pages, of    21   18,500.
      22   the document?                                 22            Do you see that?
      23       A. Those would be my spreadsheets.        23       A. Yes.
      24       Q. Okay. Are those the                    24       Q. Okay. What is the 19 hours and
      25   spreadsheets that underlie the conclusions    25   what is the 18 hours?
                                                                          8 (Pages 26 to 29)
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       1             MR. CHACHKES: Objection.               1        object on work product grounds. The
       2             Are you asking what's been             2        communications with Professor Dyar are
       3       redacted?                                    3        going to be privileged, so I'm going
       4             MR. FINCH: Well, I'm asking            4        to ask the witness not to respond to
       5       if -- is the redaction basically a           5        this line of questioning.
       6       description of the work, or is the           6             MR. FINCH: So noted.
       7       redaction the name of a person?              7   QUESTIONS BY MR. FINCH:
       8             MR. CHACHKES: So you can --            8        Q. Did any lawyers for Johnson &
       9       I'm going to object on work product          9   Johnson suggest areas of inquiry for you as
      10       grounds.                                    10   part of your analysis of Dr. Longo's work?
      11             You can answer on a general           11             MR. CHACHKES: So same
      12       high level.                                 12        objection.
      13             THE WITNESS: Can you restate          13             Please don't respond.
      14       that question, please?                      14   QUESTIONS BY MR. FINCH:
      15   QUESTIONS BY MR. FINCH:                         15        Q. Did any lawyers for Johnson &
      16       Q. Yeah.                                    16   Johnson provide you with any of the pictures
      17             There's a breakdown between 19        17   that appear in your report?
      18   and 18 hours. Is all the work in all these      18        A. Some of the images in my report
      19   invoices performed by you?                      19   come from the Longo, Rigler reports. So to
      20       A. Absolutely, yes.                         20   the extent that I received the Longo and
      21       Q. Okay. So there's nobody else             21   Rigler reports from counsel, then, yes, some
      22   that's done any work on this expert witness     22   of the images came from there.
      23   report or your analysis of Dr. Longo and        23        Q. Did you review all of the, for
      24   Dr. Rigler's reports, correct?                  24   lack of a better word, backup material for
      25       A. No.                                      25   all of the Longo and Rigler reports?
                                              Page 31                                             Page 33
       1       Q. Did you confer with anyone in             1       A. I looked at every single page.
       2   connection with your review of Dr. Longo's --    2       Q. Did you look at every single
       3   and rather than saying Longo and Rigler again    3   photograph or photomicrograph on every single
       4   and again and again, I'm just going to say       4   page of Dr. Rigler and Dr. Longo's backup
       5   Longo.                                           5   materials to their reports?
       6           Did you confer with anyone in            6       A. Yes.
       7   connection with your review of Dr. Longo's       7       Q. Did you confer with anyone else
       8   reports or your writing of your report?          8   on either your analysis of Dr. Longo and
       9           MR. CHACHKES: Objection.                 9   Rigler's work or your report, other than
      10           THE WITNESS: Yes.                       10   Johnson & Johnson's lawyers?
      11   QUESTIONS BY MR. FINCH:                         11       A. Yes.
      12       Q. Who did you confer with?                 12       Q. Who did you confer with?
      13       A. Counsel.                                 13       A. Dr. Mickey Gunther.
      14       Q. That would be lawyers for                14       Q. Who else?
      15   Johnson & Johnson?                              15       A. No one else.
      16       A. Yes.                                     16       Q. Did Dr. Gunther provide any
      17       Q. Did you share drafts with them           17   written comments or suggestions to you in
      18   of your report?                                 18   your work analysis -- your work in this case?
      19       A. Yes.                                     19            MR. CHACHKES: So again, I'm
      20       Q. Did they provide comments on             20       going to object on work product
      21   the drafting?                                   21       grounds. Dr. Gunther is a consultant
      22       A. Yes.                                     22       for J&J, so I'm going to ask the
      23       Q. Did you consider their                   23       witness not to respond to this line.
      24   suggestions in writing your report?             24            MR. FINCH: Well, we disagree
      25           MR. CHACHKES: So I'm going to           25       with that, but we'll take it up at the
                                                                            9 (Pages 30 to 33)
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       1       appropriate time.                            1        A. That's correct.
       2   QUESTIONS BY MR. FINCH:                          2        Q. Okay. So in total you've
       3       Q. Did you review Dr. Campion's              3   billed over $150,000 to this project so far,
       4   report and publications in connection with       4   at least as of the end of February 2019?
       5   your work in this case?                          5        A. I haven't done the math, but
       6       A. I did look at them, yes.                  6   that seems about right.
       7       Q. Did you come to any conclusions           7        Q. How much time have you spent in
       8   about them?                                      8   March of 2019 working on this project?
       9           MR. CHACHKES: So I'm going to            9        A. I don't really know, but not
      10       object to this on work product              10   much. I wouldn't like to speculate without
      11       grounds. To the extent there were any       11   checking my records.
      12       communications, it was not with             12        Q. More than 20 hours?
      13       respect to this report.                     13        A. Yes.
      14   QUESTIONS BY MR. FINCH:                         14        Q. More than 50 hours?
      15       Q. You don't intend to testify              15        A. Probably no.
      16   about any conclusions related to                16        Q. How about in April?
      17   Dr. Campion's report?                           17            I know it's only the 2nd day of
      18       A. My purpose here was to review            18   April, but did you spend any time yesterday?
      19   only the Longo and Rigler reports.              19        A. Yes.
      20       Q. In November of 2018, you sent            20        Q. What did you do yesterday as
      21   an invoice for 37 hours of work -- for work     21   part of your work for Johnson & Johnson in
      22   done in October of 2018.                        22   this case?
      23           What were you reviewing or              23            MR. CHACHKES: So again, I'm
      24   doing during that 37 hours given that           24        going to object on work product
      25   Dr. Longo didn't issue his first report in      25        grounds, but you can answer on a very
                                              Page 35                                              Page 37
       1   the MDL until the middle of November?            1       high level.
       2        A. I was reviewing prior                    2            THE WITNESS: I prepared for
       3   documents, prior reports, of Dr. Longo.          3       this deposition.
       4        Q. You mean his reports done in             4   QUESTIONS BY MR. FINCH:
       5   connection with state court asbestos             5       Q. And what did you do to prepare
       6   litigation from 2018, earlier in 2018 and        6   for this deposition?
       7   partially in 2017?                               7            MR. CHACHKES: Again, I'm going
       8        A. Let's have a look at the list            8       to object on work product grounds and
       9   of documents that I included in my report.       9       maybe counsel the witness not to
      10        Q. You're looking at Exhibit               10       answer.
      11   Number 3 -- 2, Exhibit Number 2.                11            If you have any specific
      12        A. So the first document was               12       questions that don't threaten the work
      13   produced in March -- on March 11, 2018.         13       product protections, then you can ask
      14        Q. Uh-huh.                                 14       those.
      15        A. Another document was produced           15            MR. FINCH: I'll leave the
      16   on September 6th of 2018, and another one was   16       question as it is.
      17   produced in September of 2017. So those         17            MR. CHACHKES: Okay. So please
      18   documents were available to me immediately.     18       don't answer.
      19   And then when the October 2018 document         19   QUESTIONS BY MR. FINCH:
      20   became available, it was given to me.           20       Q. On the invoices where it says
      21        Q. So your November invoice was            21   "redacted" in several places, can you tell me
      22   for $18,500; December, 30,000; January,         22   generally what kind of information was
      23   25,500; February invoice for January work,      23   redacted?
      24   35,000; and then your March invoice for         24            Is it information relating to
      25   February work was 63,000. Is that correct?      25   what you were doing, or is it information
                                                                           10 (Pages 34 to 37)
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       1   like Social Security numbers or something       1   microscope, and it is possible for the
       2   like that?                                      2   analyst to rotate it in various dimensions
       3       A. It's information related to              3   and directions?
       4   what I was doing.                               4       A. Yes, that is correct, and as
       5       Q. Okay. So it describes the                5   described in the quotation on page 31 of my
       6   tasks that you were performing in connection    6   report.
       7   with your expert witness work in this case?     7       Q. And so -- which quotation are
       8       A. Correct.                                 8   you referring to?
       9            MR. FINCH: All right. We               9       A. The quotation from ISO 2262-1
      10       would make a request for an unredacted     10   {sic} on page 65 which describes the process
      11       version of the invoices.                   11   by which you align a sample for an SAED
      12            MR. CHACHKES: We'll take it           12   pattern.
      13       under advisement.                          13       Q. Okay. And am I correct that
      14            MS. SHARKO: Any requests,             14   that is something that the analyst, when
      15       please put in writing.                     15   looking at the substance or the structure
      16            MR. FINCH: Okay. This is              16   through the TEM, is rotating the material in
      17       writing, since someone's writing it        17   realtime and deciding when to make an image
      18       down, but we will do it in a letter.       18   of that?
      19            MS. SHARKO: Okay. And keep in         19       A. Correct.
                                                                         Correct
      20       mind that we will then reciprocate.        20       Q. And is it correct that an
      21   QUESTIONS BY MR. FINCH:                        21   analyst, in reviewing the structure or
      22       Q. Let's just get some terms on            22   substance in realtime, can decide to take an
      23   the record.                                    23   image of the selected area of diffraction
      24            What does EDS, EDXA stand for?        24   pattern whenever, in his or her judgment, he
      25       A. Energy-dispersive spectrometry,         25   finds something worth capturing?
                                             Page 39                                                Page 41
       1   or spectroscopy, depending on how you define    1             MR. CHACHKES: Objection.
       2   it, and then other people call it               2             THE WITNESS: That would be a
       3   energy-dispersive X-ray analysis. They're       3        standard operating procedure, yes.
       4   general terms for the same thing.               4   QUESTIONS BY MR. FINCH:
       5        Q. And am I correct that that is a         5        Q. So a standard operating
       6   test for elemental chemistry?                   6   procedure would be the analyst takes the
       7        A. It's a qualitative test for             7   substance or material and has the ability to
       8   elemental chemistry.                            8   rotate it in three dimensions and analyze the
       9        Q. Qualitative,                            9   crystal structure of the material under the
      10   q-u-a-l-i-t-a-t-a-v-e {sic}?                   10   TEM, correct?
      11        A. Correct.                               11        A. It's not a full three
      12        Q. And that is an analysis                12   dimensions, but it's basically a plane that
      13   performed by a transmission electron           13   has the ability to be tilted by a small
      14   microscope, correct?                           14   number of degrees in various directions.
      15        A. Yes.                                   15        Q. Okay. And in the process of
      16        Q. Explain what is SAED.                  16   doing that, the analyst can spend as much or
      17        A. SAED refers to a kind of               17   as little time as it takes him or her to look
      18   electron diffraction done on a TEM in which    18   at the structure or material in the various
      19   the electrons are passed through the sample    19   dimensions and take a picture, for lack of a
      20   and they are diffracted, resulting in a        20   better word, of the diffraction pattern at
      21   pattern.                                       21   whatever points in time he or she thinks are
      22        Q. And am I correct that when a           22   important, correct?
      23   sample is analyzed under SAED, the material    23        A. Correct.
                                                                           Correct
      24   is placed, for lack of a better word, on the   24        Q. And it's -- it is in some sense
      25   plate of the transmission electron             25   the jjudgment
                                                                        g      of the analysts
                                                                                           y at what point
                                                                                                       p     in
                                                                          11 (Pages 38 to 41)
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       1   time he or she takes the picture of the          1   diseases?
       2   selected area of diffraction pattern,            2       A. No.
       3   correct?                                         3       Q. You're not a toxicologist?
       4        A. Yes.
                      Yes                                   4       A. No.
       5        Q. You have degrees in geology and          5       Q. Have you ever performed an
       6   art history; is that correct?                    6   animal study in the sense of either having an
       7        A. Correct.                                 7   animal ingest or inhale or otherwise come
       8        Q. You have a Ph.D. in geology?             8   into contact with a substance to determine
       9        A. My Ph.D. is actually in                  9   whether that substance has hazardous effects?
      10   geochemistry.                                   10       A. No.
      11        Q. In geochemistry.                        11       Q. I take it you do not have an
      12             And how did you first get             12   expert opinion as to whether any of the
      13   interested in geology?                          13   materials found in Johnson & Johnson's talc
      14        A. I don't actually recall. I              14   or Johnson & Johnson's baby powder are
      15   think when I was 2 years old, my mother         15   carcinogenic?
      16   reports that I picked up rocks instead of       16       A. I have no opinion on that.
      17   Easter eggs on an egg hunt. That was the        17       Q. You have no expert opinion
      18   first indication that maybe geology was in my   18   regarding whether any amphiboles found in
      19   future.                                         19   talc from New York, the Gouverneur talc mine,
      20        Q. You graduated with a bachelor's         20   are carcinogenic; is that correct?
      21   of art in geology and art history from          21            MR. LOCKE: Objection.
      22   Wellesley College, correct?                     22            THE WITNESS: I have no opinion
      23        A. As it says in my résumé, when           23       on that.
      24   I -- at the time I graduated, my BA was in      24   QUESTIONS BY MR. FINCH:
      25   geology, and I finished the course              25       Q. Do you have any opinion about
                                              Page 43                                              Page 45
       1   requirements for the art history degree while    1   whether the amphiboles found in Libby
       2   I was enrolled at MIT subsequent to my           2   vermiculite are carcinogenic?
       3   graduation from Wellesley.                       3       A. I have no opinion on that.
       4       Q. And you got your Ph.D. in                 4       Q. You have no expert opinion on
       5   geochemistry from MIT, correct?                  5   that?
       6       A. Correct.                                  6       A. No.
       7       Q. You're not an epidemiologist,             7       Q. Are you familiar with the fact
       8   correct?                                         8   that there has been an epidemic of
       9       A. No.                                       9   mesothelioma in and around Libby, Montana?
      10       Q. You're not a medical doctor?             10            MR. FROST: Objection.
      11       A. No.                                      11            MR. LOCKE: Objection.
      12       Q. You don't hold yourself out as           12            THE WITNESS: Vaguely.
      13   an expert on the biological activity of         13   QUESTIONS BY MR. FINCH:
      14   substances in the human body; is that           14       Q. How did you come to that
      15   correct?                                        15   understanding?
      16       A. No.                                      16            MR. FROST: Objection.
      17       Q. You're not a cell biologist?             17            THE WITNESS: I read it in a
      18       A. I work with a microbiologist             18       newspaper maybe?
      19   and I have written papers on microbiology,      19   QUESTIONS BY MR. FINCH:
      20   but I don't consider myself a cell biologist,   20       Q. When was the first time you met
      21   no.                                             21   Mickey Gunther?
      22       Q. Do you hold yourself out as an           22       A. In the summer of 1996, I met
      23   expert in analyzing whether or not and how      23   Mickey at a teaching mineralogy workshop at
      24   fibers and structures can cause genetic         24   Smith College.
      25   errors which lead to cancer or other            25       Q. Were you on the faculty of that
                                                                           12 (Pages 42 to 45)
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       1   workshop, or was he on the faculty of that       1   me back up.
       2   workshop? How did you come in contact?           2           Have you ever been in charge of
       3       A. I was driving a van on the                3   a laboratory where the laboratory regularly
       4   field trip, and Mickey got in and sat next to    4   tested materials to determine if they
       5   me.                                              5   contained asbestos?
       6       Q. And since that time, you have             6       A. No.
       7   collaborated on both a textbook and about,       7       Q. Have you analyzed over 300
       8   what, 30 papers, something like that?            8   samples of material -- 300,000 samples of
       9       A. I don't keep count of the                 9   materials over the course of your career to
      10   papers, but they're all as listed in my CV.     10   detect whether or not asbestos was present in
      11       Q. Could you identify for me your           11   them?
      12   peer-review publications which address the      12       A. No.
      13   subject of how to determine if a material is    13       Q. Have you ever been recognized
      14   asbestos in the environment?                    14   by a court as an expert witness on the
      15            MR. CHACHKES: Objection.               15   subject of examining material to determine
      16            THE WITNESS: I would have to           16   whether it contained asbestos?
      17       spend some time going through the list      17       A. No.
      18       to see if there are any that satisfy        18       Q. Have you ever served as an
      19       those criteria. I don't recall.             19   expert consultant for the City of New York,
      20   QUESTIONS BY MR. FINCH:                         20   the State of New York, the State of Utah or
      21       Q. Can you think of any off the             21   any other governmental entity on the subject
      22   top of your head right now?                     22   of examining material to determine whether it
      23       A. No.                                      23   contained asbestos?
      24       Q. Have you ever published a                24       A. No.
      25   peer-review publication regarding how to        25       Q. Have you ever been the primary
                                               Page 47                                             Page 49
       1   determine if there is asbestos in a product?     1   author of an American Society Testing and
       2       A. Not that I recall.                        2   Materials method for the analysis of asbestos
       3       Q. Have you published any                    3   fibers and bundles in settled dust?
       4   peer-review articles regarding the use of --     4       A. No.
       5   I'm just going to use the shorthand term --      5       Q. Have you ever been the primary
       6   EDS, EDXA, to identify asbestos in materials?    6   author of any ASTM memorandum?
       7       A. Not that I recall.                        7       A. No.
       8       Q. Have you ever authored a                  8       Q. You cite to several different
       9   peer-review publication concerning the use of    9   ISO memorandums relating to the
      10   selected area diffraction -- selected area      10   identification of asbestos in either bulk
      11   electron diffraction, SAED, to identify         11   samples or in the air or in talc, correct?
      12   asbestos in materials?                          12       A. Correct.
      13       A. Not that I recall.                       13       Q. Have you ever been the author
      14       Q. Have you ever published a                14   or a contributor to an ISO memorandum
      15   peer-review paper regarding the use of          15   relating to the identification of asbestos in
      16   polarized light microscopy, PLM, to             16   bulk samples?
      17   distinguish between asbestos in talc in         17       A. No.
      18   materials?                                      18       Q. Have you ever been the author
      19       A. Not that I recall.
                                recall                     19   or contributor to an ISO memorandum relating
      20       Q. Have you ever been asked by the          20   to the identification of asbestos in the air?
      21   United States Environmental Protection Agency   21       A. No.
      22   to draft standards relating to the              22       Q. Have you ever been the author
      23   identification of asbestos in a material?       23   or contributor to an ISO memorandum relating
      24       A. No.                                      24   to the identification of asbestos in talc?
      25       Q. Have you or laboratories -- let          25       A. No.
                                                                           13 (Pages 46 to 49)
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                                              Page 50                                              Page 52
       1       Q. Have you ever tested a sample             1   two of them were -- happen to be those
       2   of talc to determine whether or not it           2   standards. I don't recall.
                                                                                    recall
       3   contained asbestos?                              3       Q. How many -- what is the primary
       4       A. No. No                                    4   laboratory that you've worked with over the
       5       Q. Have you ever published                   5   past ten years?
       6   anything in any peer-reviewed journal about      6            Is it the Mount Holyoke?
       7   testing talc to determine if it contains         7       A. My research takes place at many
       8   asbestos?                                        8   different institutions. I work with the
       9       A. No. No                                    9   synchrotron at the Advanced Photo Source,
      10       Q. What -- and I'm going to                 10   Photon Source, in Chicago. I work with
      11   butcher this word repeatedly because it's       11   scientists at Los Alamos National Laboratory,
      12   just one of those words I just cannot say.      12   and I work with scientists at the University
      13   But what microscopy-based spectroscopic         13   of Massachusetts in Amherst where I am on the
      14   methods have you used over the course of your   14   graduate faculty.
      15   career?                                         15            My own laboratory at Mount
      16       A. Oh, Mössbauer spectroscopy,              16   Holyoke also includes many different kinds of
      17   electron spectroscopy of various kinds, TEM,    17   spectrometers.
      18   SEM, electron probe microanalysis, X-ray        18       Q. And your own laboratory at
      19   diffraction, X-ray fluorescence,                19   Mount Holyoke has a SEM and a TEM now?
      20   proton-induced gamma emission, laser-induced    20       A. No. As I stated, Mount Holyoke
      21   breakdown spectroscopy, Raman spectroscopy.     21   has an analytical facility for TEM and SEM,
      22            Those are some of them.                22   which is under the direction of the director
      23       Q. Do you oversee a lab currently           23   of science center.
      24   that has electron microscopes?                  24       Q. And the science center is
      25       A. No. The lab that contains an             25   affiliated with what entity?
                                              Page 51                                              Page 53
       1   SEM and TEM at Mount Holyoke is overseen by      1       A. All of the science departments
       2   the director of the science center.              2   at the college.
       3       Q. Do you have access to that lab?           3       Q. Okay. Do you know what NVLAP
       4       A. Yes.                                      4   NIST accredited means?
       5       Q. Can you list the various types            5       A. I know what NIST stands for.
       6   of electron microscopes you have used to         6       Q. Do you know if any of the
       7   analyze materials over the years?                7   laboratories you've worked in are NVLAP NIST
       8       A. You want to clarify what you              8   accredited?
       9   mean by "type"?                                  9       A. So academic institutions are
      10       Q. Well, the manufacturer, the              10   accredited by completely differently
      11   model.                                          11   organizations than the ones that are used for
      12       A. No, I don't pay attention to             12   business entities.
      13   that. I'd have to go back and look at the       13            And, yes, Mount Holyoke does
      14   papers.                                         14   have an accreditation.
      15       Q. Are you aware that the National          15       Q. Have you ever calibrated an
      16   Bureau of Standards publishes asbestos          16   electron microscope for electron diffraction?
      17   standards?                                      17       A. Probably 30 years ago, yes.
      18       A. Yes.                                     18       Q. You haven't done it in the past
      19       Q. Have you analyzed the National           19   30 years?
      20   Bureau of Standards asbes -- standard           20       A. Our equipment is already kept
      21   asbestos samples in any laboratory where        21   well-calibrated. We have a full-time
      22   you've worked?                                  22   laboratory manager who takes care of the EMs.
      23       A. I can't recall. I've analyzed            23       Q. Have any of the labs that you
      24   hundreds of thousands of samples in my          24   have worked with or for been in the NVLAP
      25   career, so it's difficult to recall if one or   25   NIST program for the identification of
                                                                           14 (Pages 50 to 53)
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       1   asbestos?                                        1   be reliable standards that a scientist should
       2       A. I have no knowledge of that.              2   follow for analyzing whether or not a sample
       3       Q. How much time do you spend on a           3   of a material contains asbestos?
       4   daily basis analyzing materials to determine     4        A. I would say that in the case of
       5   whether or not they contain asbestos fibers?     5   determination of bulk asbestos, the methods
       6       A. Zero.                                     6   in those documents are roburobust.
       7       Q. How much time do you spend on a           7        Q. What about for determining
       8   weekly basis analyzing materials to determine    8   whether or not there is asbestos in talc?
       9   whether or not they contain asbestos?            9        A. So those -- so Document 1, for
      10       A. Zero.                                    10   example, which you mentioned, explicitly says
      11       Q. How much time do you spend on a          11   it's for measurements of bulk samples, and
      12   yearly basis analyzing materials to determine   12   Document Number 3, which is the one relating
      13   whether or not they contain asbestos?           13   to X-ray diffraction, explicitly says that
      14       A. Zero.                                    14   XRD has some limitations. And so ISO
      15       Q. What are the steps for                   15   document 22262-2 is the only one that is
      16   identifying and assessing whether a sample of   16   really relevant to looking at small amounts
      17   a material contains asbestos?                   17   of asbestos.
      18       A. Well, let's go back to my                18        Q. Okay. Do you regard the
      19   report where that's articulated quite           19   standard set forth in ISO 22262-2 to be
      20   clearly.                                        20   reliable for a scientific -- a scientist to
      21            So, for example, my report             21   follow to analyze whether or not there are
      22   talks about the Yamate -- the Yamate document   22   small amounts of asbestos in talc?
      23   from the EPA, it talks about the ISO 22262      23        A. You know, my goal in this
      24   document, and it also talks about PLM methods   24   report was to evaluate whether the
      25   explained and described in the Su documents.    25   methodology of Drs. Longo and Rigler was
                                              Page 55                                              Page 57
       1   So there are many different ways of answering    1   valid. It was not to evaluate whether the
       2   that question.                                   2   government documents on this topic are
       3       Q. Okay. Do you find the                     3   appropriate. So I have not thought about
       4   methodology set forth in ISO 22262-1 and         4   that.
       5   22262-2 to be reliable standards that            5        Q. Okay. So you don't -- you
       6   a scientist should follow for analyzing          6   don't criticize the standards in -- or the
       7   whether or not a sample of material contains     7   methodology set forth in ISO 22262-2; is that
       8   asbestos?                                        8   correct?
       9       A. It would depend on -- the                 9        A. It's a government document. I
      10   answer to that question would depend on the     10   haven't been asked to think about criticizing
      11   level of asbestos.                              11   it, and so I haven't thought about itit.
      12            So you want to be more                 12            MR. CHACHKES: And we've been
      13   specific?                                       13        going about an hour. If you reach a
      14       Q. Any level.                               14        natural pausing point, we'll take
      15       A. Want to -- would you please              15        maybe a little break.
      16   restate the question?                           16            MR. FINCH: Okay. Let me go
      17       Q. Yes.                                     17        about another five minutes.
      18            Do you --                              18            MR. CHACHKES: Sure.
      19            MR. FINCH: Could you read back         19   QUESTIONS BY MR. FINCH:
      20       the question, madam court reporter?         20        Q. When was the last sample that
      21            No? Okay. I'll see if I                21   you analyzed that contained asbestos?
      22       can...                                      22        A. What do you mean by "analyzed"?
      23   QUESTIONS BY MR. FINCH:                         23        Q. Analyzed using any of the tools
      24       Q. Do you find the methodology set          24   that a scientist could use to determine
      25   forth in ISO standards 22262-1 and 22262-2 to   25   whether a substance or material contains
                                                                           15 (Pages 54 to 57)
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       1   asbestos, either a PLM or TEM or any other       1   used to evaluate how much oxygen was
       2   way.                                             2   available at the time a mineral crystalized,
       3       A. I have in the past year                   3   so in particular it's used to measure the
       4   undertaken Mössbauer spectroscopy on asbestos    4   valent state of iron, whether it is oxidized
       5   samples to determine their ferrous ratios,       5   iron, which would be ferric iron, or reduced
       6   but that is unrelated to the question of         6   iron, which would be ferrous iron. That is
       7   determining whether asbestos is present or       7   one of my specialties.
       8   not because I already knew that SAED samples     8       Q. So one of your specialties is
       9   were asbestos.                                   9   using the Mössbauer analysis to determine,
      10
       0       Q. Okay. Do you recall when is              10   for lack of a better word, the iron content
      11   the last time you analyzed a sample where you   11   of something that might have asbestos in it?
      12   didn't know whether or not asbestos was         12       A. One of my specialties is to use
      13   present to determine if, in fact, it            13   Mössbauer spectroscopy to determine the iron
      14   contained asbestos?                             14   redux ratio of minerals among the 5,500 known
      15       A. Never.                                   15   minerals. That's one of the specialties,
      16       Q. Never done that?                         16   yes.
      17       A. No. No                                   17            MR. FINCH: All right. This is
      18       Q. You have -- I think I counted            18       a good time to take a break.
      19   this up right; maybe I missed one.              19            VIDEOGRAPHER: The time is
      20            You have three publications            20       10:05 a.m. Going off the record.
      21   that deal with materials found in the           21        (Off the record at 10:05 a.m.)
      22   vermiculite from Libby, Montana; is that        22            VIDEOGRAPHER: We are back on
      23   right?                                          23       the record. The time is 10:21 a.m.
      24       A. I contributed Mössbauer                  24            (Dyar Exhibits 4, 5, 6 and 7
      25   analyses to three papers, yes. I did not        25       marked for identification.
                                              Page 59                                              Page 61
       1   have anything to do with writing the papers.     1   QUESTIONS BY MR. FINCH:
       2        Q. Okay. Your name appears on               2       Q. We're back on the record after
       3   those papers, right?                             3   a short break.
       4        A. Correct. Because as is                   4            Do you prefer to be called
       5   appropriate in science, I contributed data to    5   Dr. Darby Dyar or Ms. Darby Dyar?
       6   the endeavor and, therefore, was included as     6       A. How about Professor Dyar.
       7   a coauthor.                                      7       Q. Okay. Professor Dyar.
       8        Q. And Mickey Gunther is the lead           8            I've marked and put in front of
       9   author on several -- on those papers, or is      9   both you and your lawyer copies of Darby Dyar
      10   at least an author on each of those papers?     10   Exhibit 4, 5, 6 and 7.
      11        A. I don't know. I'd have to               11       A. Yes.
      12   look, but I would presume so.                   12       Q. And can you tell me what each
      13        Q. So am I correct that you did            13   of those is?
      14   not analyze any of the material that came       14       A. So these documents are the air
      15   from the vermiculite from Libby, Montana, to    15   quality testing International standard ISO
      16   determine whether or not it had asbestos in     16   22262-1 and 2, and ISO 13794, as well as the
      17   it?                                             17   Yamate report from the EPA dated July 1984.
      18        A. Correct. I only analyzed                18       Q. Okay.
      19   things to determine the redux ratios.           19            What is the International
      20        Q. Okay. You mentioned something           20   Standard Organization?
      21   called the Mössbauer spectrum?                  21       A. I don't actually know.
      22        A. Correct.                                22       Q. When is the first time you
      23        Q. All right. Could you describe           23   reviewed or saw ISO 22262-1? This is Dyar 4.
      24   what that is?                                   24       A. When I saw it referenced in
      25        A. A Mössbauer spectrometer
                                     p           is        25   Dr. Longo's report.
                                                                           16 (Pages 58 to 61)
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       1       Q. Okay. So you had never                    1   ISO 22262-1 and ISO 22262-2 lay out the
       2   previously had occasion in your career to        2   methodology -- a methodology for a scientist
       3   rely on the International standard for           3   to follow in order to determine whether or
       4   sampling and qualitative determination of        4   not for ISO 22262-1, whether or not there's
       5   asbestos in commercial bulk materials; is        5   asbestos in commercial bulk materials, and
       6   that correct?                                    6   ISO 22262-2, whether there is asbestos in
       7       A. In my research I use and have             7   talc?
       8   used these techniques for almost 40 years,       8       A. These two documents do describe
       9   but I have not yet brought them to bear on       9   protocols for analyzing asbestos, yes.
      10   the study of asbestos as an impurity in         10       Q. And if an analyst follows those
      11   talcum powder.                                  11   protocols, would you criticize him or her for
      12       Q. Okay. So you never had the --            12   doing so?
      13   prior to your engagement by Johnson & Johnson   13       A. So if we go back to my report,
      14   in this case, you never reviewed the            14   we'll see numerous places where I talk about
      15   methodology set forth in ISO 22262-1; is that   15   the proper use of these tools for the
      16   correct?                                        16   analysis of asbestos in amphibole.
      17            MR. LOCKE: Objection.                  17       Q. But you're not criticizing the
      18            THE WITNESS: Can you state the         18   methodology set forth in ISO 22262-1 or
      19       question again?                             19   22262-2; is that correct?
      20   QUESTIONS BY MR. FINCH:                         20       A. Do you want to be more specific
      21       Q. Yeah.                                    21   by what you mean about methodology?
      22            Prior to being retained by             22       Q. Yeah.
      23   Johnson & Johnson as a potential expert in      23            The steps that they -- the
      24   these ovarian cancer cases, you never had       24   ISO -- let's say, ISO 222 -- you agree that
      25   occasion to review ISO 22262-1 and the          25   ISO 22262-1 and ISO 22262-2 lay out the steps
                                              Page 63                                              Page 65
       1   methodology that it lays out for                 1   that a scientist should follow and the tools
       2   determination of asbestos in commercial bulk     2   that the scientist should use to determine
       3   materials; is that correct?                      3   whether or not there is asbestos in either a
       4             MR. LOCKE: Objection.                  4   bulk commercial material or in talc?
       5             THE WITNESS: I have never              5       A. I would say that they lay out
       6       reviewed this specific document, but I       6   some of these steps that should be used, and
       7       have reviewed countless times the use        7   if done correctly, they would be useful. But
       8       of polarized light microscopy in the         8   in my report, I talk about the possible
       9       detection and analysis of minerals.          9   downside of many of these methods.
      10       It's something I routinely teach and        10            So, for example, polarized
      11       it's something that I routinely use in      11   light microscopy, if done correctly, can be
      12       my research, but, again, not for the        12   useful in identifying minerals, but for the
      13       purpose of detection of asbestos            13   possible -- and for the analysis of possible
      14       specifically
               specifically.                               14   impurities of -- in talcum powder, there are
      15   QUESTIONS BY MR. FINCH:                         15   many minerals that would have the same PLM
      16       Q. Am I correct -- well, let me             16   characteristics, so the results might well be
      17   just ask it.                                    17   inconclusive.
      18
       8             Have you ever reviewed ISO            18       Q. Am I correct that ISO 22262-2
      19   Standard 22262-2 prior to your retention by     19   lays out a methodology and different tools
      20   Johnson & Johnson in these cases?               20   for a scientist to use to determine whether
      21       A. No. There was no need.                   21   or not there is asbestos in talc? Correct?
      22             MR. FINCH: Move to strike that        22       A. So 22262, as it states --
      23       "there was no need."                        23       Q. Dash 2.
      24   QUESTIONS BY MR. FINCH:                         24       A. Dash 2 -- talks about the use
      25       Q. Would you agree with me that             25   of gravimetry and microscopic methods, and it
                                                                           17 (Pages 62 to 65)
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       1   is designed to be used for quantitative          1   report for the Environmental Protection
       2   analysis of materials that are described on      2   Agency?
       3   the first page of that document's narrative.     3        A. That's my understanding, yes.
       4       Q. Which includes talc, correct?             4        Q. Were you aware that Mr. Yamate
       5       A. Yes, mineral products such as             5   at one point worked for Bill Longo?
       6   wollastonite, dolomite, calcite, talc or         6            MR. CHACHKES: Objection.
       7   vermiculite.                                     7            THE WITNESS: I have no
       8       Q. And ISO 22262-2, in some                  8        knowledge of that.
       9   instances, refers back to ISO 22262-1 for how    9   QUESTIONS BY MR. FINCH:
      10   to use the tools or analyze the data that one   10        Q. When is the first time that you
      11   obtains from using the tools to determine       11   reviewed -- or can we just agree that we're
      12   whether what you were analyzing is asbestos     12   going to call Dyar 7 the Yamate report?
      13   or not, correct?                                13        A. Sure.
      14       A. Yes, these documents reference           14        Q. When's the first time you
      15   one another and also other preexisting          15   reviewed the Yamate report?
      16   documents.                                      16        A. For this particular case.
      17       Q. Okay. Are you familiar with              17        Q. You never reviewed it before
      18   what I've marked as Dyar 6, ISO -- before I     18   this?
      19   get to Dyar 6, am I correct that the first      19        A. No, it wasn't necessary because
      20   time you reviewed ISO 22262-1 or 22262-2 was    20   I already know how to do electron microscopy,
      21   in connection with your work as a paid expert   21   as evidenced by my many peer-reviewed
      22   work by Johnson & Johnson?                      22   publications that use the technique
                                                                                          technique.
      23       A. Yes. As a research scientist,            23        Q. And would you agree with me
      24   I have no need of anyone to tell me what --     24   that this Yamate report, Dyar 7, lays out
      25   how to use these tools in my own research       25   three different methodologies called level 1
                                              Page 67                                              Page 69
       1   because I've been trained to use these tools     1   analysis, level 2 analysis and level 3
       2   over the course of my 40-year career, so         2   analysis for determining whether or not there
       3   there was no need to consult a standard of       3   is asbestos in some kind of substance?
       4   this sort.
                sort                                        4       A. Yes, that's what it says.
       5       Q. Have you ever reviewed or seen            5       Q. Do you have any opinion about
       6   ISO 13794 prior to your engagement by            6   whether or not following these protocol would
       7   Johnson & Johnson in these cases?                7   be a reliable thing for a scientist to do in
       8       A. No, because I had no need for             8   analyzing whether there's asbestos in a
       9   instruction in how to use a TEM or how to do     9   substance?
      10   point counting. I already know how to do        10       A. I have an opinion on the fact
      11   that in my research as affirmed by my           11   that Dr. Longo did not follow this guideline.
      12   peer-reviewed publications
                           publications.                   12   He did not do any of the level 3 protocols
      13       Q. Are you familiar with Dyar               13   expressed in this, including reporting two
      14   Exhibit 7?                                      14   different zone axis SAED patterns.
      15       A. Yes.                                     15       Q. Am I correct you have not
      16       Q. What is Dyar Exhibit 7?                  16   reviewed any Johnson & Johnson internal
      17       A. Dyar Exhibit 7 is a methodology          17   documents relating to testing it did of
      18   from George Yamate, written as an EPA report    18   either Johnson's baby powder or talc?
      19   in 1984.                                        19       A. Correct, because my goal in
      20       Q. And what is the title of this            20   this investigation was to evaluate the
      21   document?                                       21   methodology of Drs. Longo and RiglerRigler.
      22       A. The title of this document is            22       Q. My colleague, Mr. Geier,
      23   "Methodology for the Measurement of Airborne    23   pointed out that in the prior question I
      24   Asbestos By Electron Microscopy."               24   asked you whether or not you have an opinion
      25       Q. And this was a contracted
                                     contracte             25   about whether or not following the Yamate
                                                                           18 (Pages 66 to 69)
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       1   protocol would be a reliable thing for a         1        to identify the mineral species that
       2   scientist to do in analyzing whether there's     2        is present. EDS is used to identify
       3   asbestos in a substance.                         3        the chemical composition of what is
       4            And your answer was, "I have an         4        present. Neither of those techniques
       5   opinion on the fact that Dr. Longo did not       5        can tell you anything about the
       6   follow this guideline. He did not do any of      6        morphology of the particle that is
       7   the level 3 protocols expressed in this,         7        present and, therefore, they are
       8   including reporting two different zone axes      8        not -- those two techniques together
       9   SAED patterns."                                  9        could not tell you if asbestos was
      10            My question is a little bit            10        present.
      11   different. My question is, if a scientist       11   QUESTIONS BY MR. FINCH:
      12   follows the Yamate level 3 protocol for the     12        Q. What technique could -- isn't
      13   number of samples or percentage of samples it   13   it true that the morphology of the particle
      14   says to apply that protocol to, would you       14   is examining under a microscope and
      15   have any criticism of the protocol itself as    15   determining things like the shape and size
      16   a way for detecting asbestos in talc -- in      16   and aspect ratio?
      17   talc or any other substance?                    17        A. True.
      18       A. Yes, I would have criticisms             18             So if SAED, in two different
      19   because SAED only identifies which mineral      19   zone axis determinations, were combined with
      20   species it is. It does not say anything         20   EDS analyses done properly, as -- as
      21   about the morphology of the particle.           21   expressed in my report, along with a survey
      22       Q. Would you agree with me that             22   of the population of particle morphologies
      23   there are different tests to determine          23   present was undertaken, if all of those
      24   whether or not there is asbestos in a sample    24   things were true, then it would be possible
      25   or substance?                                   25   to identify something as asbestos.
                                              Page 71                                              Page 73
       1        A. Certainly there are different            1       Q. A survey of population of a
       2   tests that determine the presence of             2   particle, what techniques would you use to do
       3   asbestos.                                        3   that?
       4        Q. Okay. One of them you                    4       A. So in my report, if we go to
       5   mentioned was SAED.                              5   page -- let's see. It's the section
       6              That's to determine the               6   beginning on page 52. So it talks here about
       7   crystalline structure, correct?                  7   the possibility of using a population of
       8              MR. CHACHKES: Objection.              8   particles and analyzing their size to
       9              THE WITNESS: SAED can be used         9   determine whether something is asbestos.
      10        to determine the mineral species that      10            That's -- the word "population"
      11        is present in the sample. It's used        11   is also used in the R-93 document that I
      12        in a very wide variety of                  12   reviewed, and populations are also referred
      13        applications. It cannot prove that         13   to in the ISO documents, although I can't,
      14        something is asbestos.                     14   without further time, tell you exactly which
      15   QUESTIONS BY MR. FINCH:                         15   one.
      16        Q. It cannot prove by itself that          16            So in these -- in many of these
      17   something's asbestos, correct?                  17   documents, they do refer to populations of
      18        A. Correct.                                18   morphologies rather than individual ones.
      19        Q. When used in conjunction with           19       Q. Are you aware that Mickey
      20   other tools such as PLM or TEM, EDS, EDXA,      20   Gunther has served as an expert witness for
      21   isn't it true that you can come to a            21   multiple defendants in asbestos litigation
      22   conclusion whether or not a given material is   22   over the years?
      23   asbestos?                                       23            MR. FROST: Objection. Form.
      24              MR. FROST: Objection. Form.          24            THE WITNESS: I'm aware that
      25              THE WITNESS: So SAED is used         25       Mickey has what he calls his lawyer
                                                                           19 (Pages 70 to 73)
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       1        work, yes.                                  1   is doing to assess the credibility of that
       2   QUESTIONS BY MR. FINCH:                          2   work?
       3        Q. He's testified at the request            3        A. I don't really have an opinion
       4   of W.R. Grace, for example, in cases             4   on that. I've never thought about it, to be
       5   involving its asbestos-containing                5   honest.
       6   vermiculite?                                     6        Q. So it was not important to you
       7            MR. CHACHKES: Objection.                7   in your collaborations with Mickey Gunther to
       8            MR. FROST: Objection. Form.             8   ever ask him whether or not he has only and
       9            THE WITNESS: I'm not aware of           9   exclusively worked at the request of asbestos
      10        exactly what Mickey does in his lawyer     10   defendants in asbestos litigation?
      11        work.                                      11             MR. FROST: Objection.
      12   QUESTIONS BY MR. FINCH:                         12   QUESTIONS BY MR. FINCH:
      13        Q. Are you aware that he always            13        Q. It never crossed your mind to
      14   works for defendants in asbestos litigation     14   ask him that question?
      15   and has never worked for a victim in asbestos   15             MR. CHACHKES: Objection.
      16   litigation?                                     16             THE WITNESS: It never crossed
      17            MR. CHACHKES: Objection.               17        my mind to ask him that question.
      18            MR. FROST: Objection.                  18   QUESTIONS BY MR. FINCH:
      19            THE WITNESS: I am not aware of         19        Q. I asked if you reviewed any
      20        what Mickey does in his lawyer work.       20   internal Johnson & Johnson documents relating
      21   QUESTIONS BY MR. FINCH:                         21   to the testing of the talc from its mines or
      22        Q. Have you ever asked him what he         22   in its finished products, and I believe your
      23   does in his lawyer work, as you call it?        23   answer was, no, you never reviewed any of
      24        A. No.                                     24   those documents; is that correct?
      25        Q. When you submit a paper to a            25        A. No, sir.
                                                                               sir
                                              Page 75                                              Page 77
       1   peer-review journal, isn't it correct that       1       Q. Have you ever reviewed any
       2   oftentimes the authors are asked if they have    2   documents relating to anyone else's testing
       3   any potential conflicts of interest that may     3   of the talc in Johnson & Johnson's mines or
       4   bias or affect their views of the material in    4   the finished product, other than Longo and
       5   which they publish?                              5   Rigler?
       6       A. That's something that's started           6       A. No, although I did recall over
       7   happening in the last few years, yes.            7   the break that I reviewed some additional
       8       Q. And why -- in your                        8   reports of Drs. Longo and Rigler that didn't
       9   understanding, why has that started happening    9   have any numbers on them. So I reviewed them
      10   in the past few years?                          10   briefly and then set them aside, so those are
      11            MR. LOCKE: Objection.                  11   cited in my report.
      12            THE WITNESS: I never thought           12            But in terms of your current
      13       about it.                                   13   question, no other reports.
      14   QUESTIONS BY MR. FINCH:                         14       Q. Okay. So the only people who
      15       Q. Do you think it has anything to          15   have tested Johnson & Johnson baby powder or
      16   do with the fact that the readers of the        16   samples of talc from the mines where the talc
      17   paper are entitled to know whether the          17   came from for the baby powder, the only
      18   authors of the paper have any financial         18   people that you reviewed the work of are
      19   interest in the subject matter on which they    19   Longo and Rigler; is that correct?
      20   are writing about?                              20            MR. FROST: Objection.
      21       A. I've never thought about it. I           21            THE WITNESS: I was hired to
      22   don't know.                                     22       review the methodology of Longo and
      23       Q. Do you think it's important to           23       Rigler, so that's what I did, yes.
      24   know whether or not a scientist has a           24   QUESTIONS BY MR. FINCH:
      25   financial interest in the work that he or she   25       Q. Did you think it was at all
                                                                           20 (Pages 74 to 77)
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       1   important in analyzing the work of Longo and     1       Q. Have you ever done that?
       2   Rigler to compare their results and              2       A. I have certainly looked at the
       3   conclusions to what other scientists may have    3   tensile strength of mineral fibers. Not with
       4   found when they've analyzed the same             4   a TEM, however.
       5   material -- or material from the same places?    5       Q. How would you measure the
       6            MR. FROST: Objection.                   6   flexibility -- is there any -- is there any
       7            THE WITNESS: No, it was not             7   peer-reviewed literature that you would rely
       8       important because I am very familiar         8   on or that you could cite me to that
       9       with the methodology that they use.          9   describes how you would measure the tensile
      10       And there was really no need to look        10   strength of a fiber that is 10 microns long
      11       and see what other people's work said       11   or less?
      12       because that had nothing to do with my      12       A. I did not consider that because
      13       review of the methodology
                               methodology.                13   that was not a method that was used by
      14   QUESTIONS BY MR. FINCH:                         14   Drs. Longo and Rigler. Given sufficient time
      15       Q. What is your definition of               15   to research that topic, I'd be happy to give
      16   asbestos?                                       16   you an answer.
      17       A. My definition of asbestos is             17       Q. As you sit here today, you
      18   given in my report. If we can turn to           18   can't think of any literature that lays out a
      19   page -- let's see, page 10. Asbestos is         19   methodology to test the tensile strength of a
      20   defined as one of six particular minerals       20   fiber that is 10 microns or less?
      21   exhibiting the characteristics of an            21             MR. FROST: Objection.
      22   asbestiform habit, meaning that they can be     22             THE WITNESS: I would have to
      23   separated into flexible fibers with high        23       do background research to answer that
      24   tensile strength.                               24       question.
                                                                    question
      25            And, of course, those six              25
                                              Page 79                                              Page 81
       1   minerals are the ones given in the table and     1   QUESTIONS BY MR. FINCH:
       2   in other places in the report, anthophyllite,    2       Q. Have you ever mentioned -- ever
       3   chrysotile, grunerite, tremolite, actinolite     3   measured the tensile strength of asbestos?
       4   and riebeckite.                                  4       A. Not personally, no  no.
       5       Q. What is -- in your view qualify           5       Q. What is the unit of measurement
       6   a fiber as having the morphology that is         6   that that -- that one would use to measure
       7   consistent with an asbestos fiber?               7   the tensile strength of asbestos?
       8       A. So again, my definition of a              8       A. I don't know, and I did not
       9   fiber is given in the numerous literature        9   consider that because a measurement of
      10   citations on page 10 and 11, which              10   tensile strength was not part of the
      11   consistently define fibers as being strong      11   methodology of Drs. Longo and Rigler and,
      12   and flexible and having high tensile            12   therefore, it wasn't considered by me in
      13   strength, including those in the ISO 22262,     13   preparing this report.
      14   which define asbestiform in an identical way    14       Q. Do you know what a pascal joule
      15   as a specific type of mineral fibrosity in      15   is?
      16   which the fibers and fibrils possess high       16       A. Yes.
      17   tensile strength and flexibility.               17       Q. What is it?
      18       Q. Is it possible to measure the            18       A. It's a unit of force.
      19   tensile strength of a fiber that's 10 microns   19       Q. It's a unit of force that is
      20   long?                                           20   one way to measure -- it's a measurement that
      21       A. It is possible to constrain it           21   you can calculate or determine the tensile
      22   with a probe, yes.                              22   strength of a material, correct?
      23       Q. How would you do that?                   23       A. I'd have to research that to
      24       A. You would poke the fiber and             24   make sure I -- I agree with you. I have no
      25   see if it could bend.                           25   knowledge of the exact methodology for
                                                                           21 (Pages 78 to 81)
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       1   measuring tensile strength but could easily     1   QUESTIONS BY MR. FINCH:
       2   understand that with a brief survey of the      2       Q. Yes.
       3   literature.                                     3       A. So as I said in my report, EDS
       4        Q. Pounds per square inch is               4   and EDXA do not let -- do not have sufficient
       5   another way to measure tensile strength?        5   quantitative accuracy to allow discrimination
       6        A. Certainly.                              6   between potentially asbestiform and
       7        Q. What dimensions does a particle         7   non-asbestiform mineral species, many of
       8   need to have in order for it to be              8   which have very similar compositions, as
       9   potentially characterized as an asbestos        9   given in Table 1 in my report.
      10   fiber?                                         10       Q. Do you agree with me that
      11             MR. FROST: Objection.                11   information from an EDS, EDXA chemical
      12             THE WITNESS: So the answer to        12   signature can be useful to determine whether
      13        that question refers -- or depends on     13   or not a given structure is asbestos or not
      14        which guidelines you're looking at.       14   if used in connection with other tools?
      15   QUESTIONS BY MR. FINCH:                        15            MR. FROST: Objection.
      16        Q. In your view. In your opinion.         16            THE WITNESS: I believe that
      17        A. I have no personal opinion in          17       EDS can be used to determine the
      18   this matter. I just know what the different    18       presence or absence of specific
      19   documents can tell you.                        19       elements, but it cannot be used to
      20        Q. So you have no opinion as to           20       make quantitative judgments on the
      21   what aspect ratio must be present in order     21       ratios of the concentrations of those
      22   for something to be characterized as having    22       elements.
      23   morphology that is consistent with asbestos?   23            That's not only my opinion but
      24             MR. LOCKE: Objection.                24       the opinion of Newbury and Ritchie and
      25        Misstates testimony.                      25       the National Institute of Standards
                                             Page 83                                              Page 85
       1            MR. FROST: Objection.                  1       and Technology and numerous other
       2            MR. CHACHKES: Objection.               2       scientists.
       3            THE WITNESS: My assessment of          3   QUESTIONS BY MR. FINCH:
       4       the literature suggests that aspect         4       Q. Do you agree that SAED is a
       5       ratio is best understood in the             5   useful tool to determine whether or not a
       6       context of a population, and the            6   particle or structure has a crystalline
       7       papers by Ann Wylie and others that I       7   structure that when used in conjunction with
       8       reference in my report talk about           8   other tools allows you to determine whether
       9       amphibole populations.                      9   or not it's asbestos or not?
      10            And so my personal opinion is         10       A. SAED is a tool that allows you
      11       that analysis of populations is the        11   to determine what the crystal structure of
      12       optimal way to understand asbestos,        12   the particle is. You would need other
      13       but that is -- that is the preliminary     13   information to determine whether the particle
      14       opinion, and I'd want to think about       14   was asbestos.
      15       it and do some research on it.             15       Q. How would you measure the
      16            My personal opinion did not           16   flexibility of an asbestos fiber that is
      17       come up in this particular report.
                                             report       17   10 microns or less in length?
      18   QUESTIONS BY MR. FINCH:                        18             MR. FROST: Objection. Asked
      19       Q. In order for a structure to             19       and answered.
      20   meet your definition of asbestos, what does    20             MR. FINCH: No, I asked about
      21   the EDS or EDXA chemical signature have to     21       tensile strength.
      22   be?                                            22             THE WITNESS: So I would
      23            MR. FROST: Objection.                 23       imagine that you would use a probe,
      24            THE WITNESS: You said EDS and         24       but I would have to do some more
      25       EDXA chemical signature have to be?        25       research. And I can certainlyy do
                                                                          22 (Pages 82 to 85)
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       1       that, but not -- I don't have an             1   Vermont?
       2       opinion on that at the present time.         2       A. No. None.
       3   QUESTIONS BY MR. FINCH:                          3       Q. So you don't have any
       4       Q. You've never used a probe to              4   understanding as to whether the talc in
       5   determine the flexibility of an asbestos         5   Vermont came from the Hammondsville mine, the
       6   fiber under a microscope?                        6   Hamm mine, the Rainbow mine or the Argonaut
       7       A. No, that has never been                   7   mine?
       8   necessary in my research. I've analyzed many     8           MR. FROST: Objection.
       9   amphiboles and certainly many minerals that      9           THE WITNESS: Or anywhere else,
      10   are asbestos, but it was apparent               10       no.
      11   microscopically that those phases were          11           (Dyar Exhibit 8 marked for
      12   asbestos -- or they were identified to me as    12       identification.)
      13   such, so that I had no need to verify them by   13   QUESTIONS BY MR. FINCH:
      14   testing their flexibility
                         flexibility.                      14       Q. Let's mark this as Exhibit 8.
      15       Q. And so am I correct that ISO             15           This is Dr. Longo's second
      16   22262-1 and ISO 22262-2 don't set forth any     16   supplemental report, which is dated
      17   steps or methodologies that a scientist or      17   February 1, 2019.
      18   analyst should follow to determine either the   18           Professor Dyar, Darby Dyar,
      19   tensile strength or the flexibility of a        19   have you seen -- you've obviously reviewed
      20   fiber that is being analyzed under either of    20   Dr. Longo's report in the backup materials
      21   those protocols?                                21   dated January 16th, correct?
      22       A. You know, I'd have to go back            22       A. Yes, I've typed all these
      23   and re-read them with that question in mind.    23   numbers into a spreadsheet.
      24   I would be happy to take the time to do that.   24       Q. Okay. And did you also review
      25   I don't recall.                                 25   the February 1st report which contained a
                                              Page 87                                              Page 89
       1       Q. You don't know whether they do            1   couple of corrections to his earlier report?
       2   or not as you sit here today?                    2       A. I believe so, yes.
       3       A. I don't recall.
                            recall                          3       Q. Okay. I'm going to use -- I'm
       4       Q. What is your understanding of             4   not going to mark the entire 2,000-page
       5   what mines Johnson & Johnson got its talc        5   January report as an exhibit to save trees.
       6   from?                                            6   I think we all know that's the report that
       7            MR. FROST: Objection.                   7   you were looking at when you wrote your
       8            THE WITNESS: All I know is              8   expert witness report, correct?
       9       that they came from China -- hang on,        9       A. One of the reports, yes.
      10       let me find my figure -- and Vermont        10       Q. On page 8 of Dr. Longo's
      11       and another place, which I don't            11   report, which we've marked as Darby Dyar 8 --
      12       recall.                                     12   let me know when you're there.
      13   QUESTIONS BY MR. FINCH:                         13       A. I'm there.
      14       Q. Do you have the chronology as            14       Q. Under ATEM, four pages down --
      15   to when Johnson & Johnson got its talc from     15   four paragraphs down, Drs. Longo and Rigler
      16   Vermont versus when it got its talc from        16   state, "Two different regulated amphibole
      17   China versus when it got its talc from Italy?   17   asbestos types were found. These were the
      18       A. Yes, I believe those data are            18   tremolite asbestos solid solution series
      19   noted in my spreadsheet, and I believe that     19   amphiboles, which includes tremolite,
      20   the data themselves are in the Longo and        20   winchite, richterite and actinolite, and the
      21   Rigler reports. I can't recall exactly where    21   anthophyllite asbestos solid solution series
      22   they came from.                                 22   that includes anthophyllite, iron-rich
      23       Q. Do you have an understanding of          23   anthophyllite, ferro-anthophyllite,
      24   how many different mines Johnson & Johnson      24   cummingtonite and grunerite."
      25   got talc from that went into baby powder from   25            Do you see that?
                                                                           23 (Pages 86 to 89)
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       1       A. I see that that's what the                1   cummingtonite and grunerite, correct?
       2   report says, yes.                                2        A. I'd have to look up -- look
       3       Q. Okay. What is the                         3   that up. I'm sure that the amphibole
       4   anthophyllite asbestos solid solution series?    4   chemistries are so complicated -- as you will
       5       A. So if you return to my                    5   recall from my report, there are some 80-odd
       6   document, Table 1 has a handy table with         6   amphibole species with solid solutions
       7   those mineral formulas in it.                    7   intermixed among them.
       8            So if you look at the formula           8            So, yes, these species are all
       9   of anthophyllite, which is Mg7(Si8O22)(OH)2,     9   related, but so are many other amphibole
      10   you see it's a solid solution with some other   10   species as well.
                                                                            well
      11   amphiboles in this list that include iron,      11        Q. Are you familiar with Klein and
      12   such as grunerite.                              12   Hurlbut's Manual of Mineralogy?
      13       Q. And what does that mean?                 13        A. Yes.
      14       A. It means that there can be a             14        Q. What is that?
      15   continuous range of chemical substitution       15        A. It's a very old mineralogy
      16   between those two end numbers.                  16   textbook.
      17
       7       Q. And do you know whether all the          17            (Dyar Exhibit 9 marked for
      18   materials in the anthophyllite asbestos solid   18        identification.)
      19   solution series are treated as regulated        19   QUESTIONS BY MR. FINCH:
      20   asbestos or not?                                20        Q. Let's mark this as Exhibit 9.
      21            MR. FROST: Objection. Form.            21            On page 489 of Exhibit 9, there
      22            THE WITNESS: I know that the           22   is a diagram there.
      23       six stated regulated amphibole              23            MR. FINCH: And can I have the
      24       asbestos species are the ones given in      24        Elmo --
      25       my report.
                   report                                  25            VIDEOGRAPHER: Sure.
                                               Page 91                                             Page 93
       1   QUESTIONS BY MR. FINCH:                          1            MR. FINCH: -- so people who
       2       Q. My question was a little                  2       are not privy to the document can see
       3   different.                                       3       what I'm talking about?
       4            Do you know if the -- all of            4            THE WITNESS: So what year was
       5   the materials in the anthophyllite asbestos      5       this particular edition of Hurlbut and
       6   solid solution series are treated as             6       Klein published?
       7   regulated asbestos?                              7            MR. FINCH: Sometime in the
       8            MR. FROST: Objection.                   8       1980s, I believe, but --
       9            MR. CHACHKES: Objection.                9            THE WITNESS: So this would not
      10            THE WITNESS: I'm telling you           10       include the revision of amphibole
      11       that what I know is that the regulated      11       nomenclature that was approved by the
      12       asbestos species are the ones given in      12       International Mineralogical Society,
      13       my report.                                  13       or association, I don't know, sometime
      14   QUESTIONS BY MR. FINCH:                         14       in the '80s by Hawthorne, et al., in
      15       Q. One of which is anthophyllite,           15       which the amphibole nomenclature was
      16   correct?                                        16       extensively rewritten. So this
      17       A. Yes, as IARC 2012 identifies             17       definition in these documents are
      18   them, the five amphibole minerals:              18       significantly out of date.
      19   actinolite, amosite, anthophyllite,             19   QUESTIONS BY MR. FINCH:
      20   crocidolite and tremolite.                      20       Q. Okay. My question is: Do you
      21       Q. Okay. My question is a little            21   know whether or not cummingtonite,
      22   bit different.                                  22   ferro-anthophyllite, iron-rich anthophyllite
      23            The anthophyllite asbestos             23   and grunerite are treated as regulated
      24   solid solution series includes anthophyllite,   24   asbestos by the United States EPA, OSHA or
      25   iron-rich anthophyllite,
                           p y      ferro-anthophyllite,
                                    ferro-anthophyllite
                                                p y        25   anyy other governmental
                                                                           g              organization?
                                                                                             g
                                                                           24 (Pages 90 to 93)
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       1            MR. CHACHKES: Objection.                1            MR. CHACHKES: Objection.
       2            MR. FROST: Objection.                   2            MR. FROST: Objection.
       3            THE WITNESS: I am only aware            3            THE WITNESS: My goal in
       4       of these six amphibole species given         4       reviewing this report was to examine
       5       in my report to be regulated asbestos        5       the methodology. My goal was not to
       6       minerals.                                    6       opine on amphibole regulations.
       7   QUESTIONS BY MR. FINCH:                          7   QUESTIONS BY MR. FINCH:
       8       Q. Do you agree that iron-rich               8       Q. I take it you have no opinion
       9   anthophyllite is found in the anthophyllite      9   as to whether cummingtonite can cause
      10   asbestos solid solution series?                 10   mesothelioma or ovarian cancer if it's
      11       A. If indeed that is still the              11   inhaled?
      12   name of the mineral species -- I'm inferring    12            MR. FROST: Objection.
      13   what you mean by that -- I would say that       13            THE WITNESS: I have no
      14   possibly it would be part of the solid          14       opinion.
      15   solution series.                                15   QUESTIONS BY MR. FINCH:
      16       Q. Am I correct that cummingtonite          16       Q. Would you agree with me that --
      17   and anthophyllite have the same chemical        17   let me back up.
      18   structure?                                      18            Do you know what accessory
      19       A. All amphiboles have the same             19   minerals were found in talc from the Vermont
      20   chemical structure in many ways. There are      20   mines from which Johnson & Johnson obtained
      21   slight deviations depending on the              21   the talc for its baby powder?
      22   composition.                                    22            MR. FROST: Objection to form.
      23       Q. All right.                               23            THE WITNESS: No, I have no
      24       A. So just as all the other end             24       idea.
      25   amphibole minerals in the amphibole grou
                                                  group    25
                                              Page 95                                             Page 97
       1   have the same structure, yes, they have the      1   QUESTIONS BY MR. FINCH:
       2   same structure.                                  2       Q. Do you know what accessory
       3      Q. Okay. Looking at Table 1 on                3   minerals are typically found in talc mines?
       4   page 9 of your report, am I correct that         4            MR. FROST: Objection. Form.
       5   anthophyllite and cummingtonite have the         5            THE WITNESS: No, I have no
       6   exact same chemical makeup in terms of the       6       idea. I am familiar in the general
       7   chemical formula?                                7       sense with the rock types, metamorphic
       8      A. That is correct.                           8       rock types, in which talc occurs. I
       9      Q. All right. Do you know whether             9       know it's a low-grade metamorphic
      10   cummingtonite is treated as regulated           10       mineral, but that's -- I know nothing
      11   asbestos by any governmental or international   11       specifically about Vermont.
      12   organization?                                   12   QUESTIONS BY MR. FINCH:
      13           MR. CHACHKES: Objection.                13       Q. Can talc be contaminated with
      14           THE WITNESS: I am aware only            14   asbestos?
      15      of the six regulated amphibole -- or         15            MR. FROST: Objection to form.
      16      six regulated asbestos -- potential          16            THE WITNESS: I have no opinion
      17      asbestiform minerals that are given in       17       on that. I'd have to research that
      18      my report.                                   18       question.
      19   QUESTIONS BY MR. FINCH:                         19   QUESTIONS BY MR. FINCH:
      20      Q. So is the answer to my                    20       Q. From what parts of the world
      21   question, no, you don't know one way or the     21   has talc been found to be contaminated with
      22   other whether cummingtonite is treated as a     22   asbestos?
      23   subset of anthophyllite for regulatory          23            MR. FROST: Objection.
      24   purposes?                                       24            THE WITNESS: Based on the
      25           MR. LOCKE: Objection.
                                   Objection               25       information in my report and the
                                                                          25 (Pages 94 to 97)
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       1       samples tested by Drs. Longo and             1   mined in Vermont.
       2       Rigler, there is no evidence to              2       Q. Do you have -- do you agree or
       3       suggest that any samples tested by           3   disagree that talc mines in Vermont have been
       4       Drs. Longo and Rigler are contaminated       4   found to contain asbestos?
       5       with asbestos.                               5            MR. FROST: Objection.
       6   QUESTIONS BY MR. FINCH:                          6            MR. LOCKE: Objection.
       7       Q. That's not my question.                   7            THE WITNESS: Based on my
       8            From what parts of the world            8       reading of the data in Drs. Longo and
       9   has talc been found to be contaminated with      9       Rigler's reports, there is no evidence
      10   asbestos, as discussed in either the            10       to suggest that there is any asbestos
      11   peer-reviewed literature or in publications     11       in any of the talcum powder samples
      12   by entities such as IARC?                       12       they studied, some of which I
      13            MR. LOCKE: Objection.                  13       understand are from Vermont.
      14            MR. FROST: Objection.                  14   QUESTIONS BY MR. FINCH:
      15            THE WITNESS: I have no                 15       Q. Do you agree or disagree that
      16       knowledge of that because I was not         16   talc mines in Vermont owned by Johnson &
      17       asked to review talc paragenesis. I         17   Johnson or its subsidiary, Windsor Minerals,
      18       was asked to review methodology only.
                                                   only    18   have been tested and found to contain trace
      19   QUESTIONS BY MR. FINCH:                         19   amounts of asbestos?
      20       Q. You mentioned IARC in response           20            MR. CHACHKES: Objection.
      21   to one of my questions a few minutes ago.       21            THE WITNESS: I have no
      22            What is that?                          22       knowledge of that. Please support
      23       A. It's yet another international           23       your supposition.
      24   standard report. I'd have to take a look at     24            (Dyar Exhibit 10 marked for
      25   that report to give you a more specific         25       identification.)
                                              Page 99                                            Page 101
       1   answer.                                          1   QUESTIONS BY MR. FINCH:
       2        Q. Do you understand that IARC is           2        Q. Professor Darby Dyar, have --
       3   the International Agency for Research on         3   you've seen this publication before, correct?
       4   Cancer?                                          4        A. I have seen this paper, yes. I
       5        A. I had no idea that's what it             5   believe I cited it, 1991, yes.
       6   stood for. I don't recall that from when I       6        Q. When did you first review this
       7   reviewed the report.                             7   publication?
       8        Q. Were you aware that IARC                 8        A. For the purposes of assessing
       9   concluded that talc contaminated with            9   the so-called Blount method cited by
      10   asbestiform fibers can cause mesothelioma and   10   Dr. Longo.
      11   other asbestos-related cancers?                 11        Q. All right. The title of the
      12             MR. FROST: Objection to form.         12   paper is "Amphibole Content of Cosmetic and
      13             THE WITNESS: I'm not aware of         13   Pharmaceutical Talcs"?
      14        that. If it was in the report, I           14        A. That is correct. That is the
      15        don't recall it. I was specifically        15   title.
      16        reading the report for relevance to my     16        Q. And this was published in a
      17        methodology inquiries.                     17   peer-reviewed journal and describes a
      18   QUESTIONS BY MR. FINCH:                         18   methodology for preparing talc in order to
      19        Q. Do you agree or disagree that           19   analyze whether or not there's asbestos
      20   asbestos was mined in Vermont?                  20   fibers or asbestos bundles in it, correct?
      21        A. Assuming that the information           21        A. Its goal is to determine the
      22   that was given to me was correct, then I        22   number of amphibole particles in a sample,
      23   think some of the talcum powder samples that    23   yes.
      24   I studied were mined in Vermont, but I have     24        Q. And the author analyzes various
      25   no knowledge of whether asbestos was found or   25   samples of talc under PLM, correct?
                                                                         26 (Pages 98 to 101)
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       1         A. So give me a few minutes, and           1   QUESTIONS BY MR. FINCH:
       2   I'll take a look at this paper and refresh my    2        Q. Okay. You don't offer any
       3   memory so I can answer your question.            3   criticisms of either the chain of custody or
       4             So in this case, these samples         4   the conclusion that what he was, in fact,
       5   are being analyzed on a microscope slide,        5   analyzing was talc that came from either
       6   which implies that in fact he is using           6   Johnson & Johnson finished products or the
       7   polarized light microscopy, yes, although in     7   mines from which Johnson & Johnson finished
       8   point of fact he doesn't state that.             8   products were made?
       9         Q. You mean that it's Alice                9              MR. FROST: Objection.
      10   Blount. She --                                  10              THE WITNESS: I would say that
      11         A. Well, she does not state that.         11        it is unclear to me whether the
      12   Sorry, Alice.                                   12        samples he got were from eBay, whether
      13         Q. Are you aware of the origin of         13        they had been opened, whether they had
      14   the samples that Professor Blount was           14        been contaminated, so it's unclear to
      15   testing?                                        15        me exactly what he was testing.
      16         A. It says five deposits in               16              I know what he asserts in his
      17   Montana, three in Vermont, and one each in      17        report, but I -- it's unclear to me
      18   North Carolina and Alabama.                     18        that he was testing unopened, pure,
      19         Q. And also finished products,            19        pristine talc as marketed.
      20   correct?                                        20   QUESTIONS BY MR. FINCH:
      21         A. That's what it says here: In           21        Q. Were you aware that there was a
      22   addition, four talcs from outside the US but    22   procedure in this MDL for samples to be split
      23   available on the US market were included in     23   between Johnson & Johnson and Dr. Longo from
      24   this study.                                     24   historical museum samples that Johnson &
      25         Q. Have you reviewed Dr. Blount's         25   Johnson had maintained?
                                             Page 103                                             Page 105
       1   deposition taken in connection with ovarian      1            MR. FROST: Objection.
       2   cancer litigation?                               2            THE WITNESS: Yes, certainly
       3       A. No.                                       3       one of the documents is called
       4       Q. Have you reviewed Dr. Blount's            4       historical samples, so I'm aware that
       5   correspondence with Johnson & Johnson where      5       the samples came from the museum and,
       6   she tells Johnson & Johnson she identified       6       therefore, are unknown sources in
       7   asbestos fibers in baby powder?                  7       terms of being opened or being pure.
       8            MR. FROST: Objection.                   8   QUESTIONS BY MR. FINCH:
       9            THE WITNESS: No, I have not             9       Q. But you don't criticize or take
      10       reviewed such a document.                   10   issue with Dr. Longo's conclusions that what,
      11   QUESTIONS BY MR. FINCH:                         11   in fact, he is testing is talc that came from
      12       Q. Dr. Longo -- let me see if you           12   Johnson & Johnson finished products or
      13   agree with this description of generally the    13   Johnson & Johnson mines, correct?
      14   various steps that Dr. Longo and his lab        14            MR. CHACHKES: Objection.
      15   followed to analyze the samples of talc he      15            MR. FROST: Objection.
      16   obtained from Johnson & Johnson or Imerys.      16            THE WITNESS: I do indeed have
      17            First of all, he got samples of        17       problems with that statement because
      18   talc from either Johnson & Johnson or Imerys.   18       you don't know if those samples,
      19            Do you have that understanding?        19       having been stored in a museum or in
      20            MR. CHACHKES: Objection.               20       someone's cupboard, were opened and
      21            THE WITNESS: I honestly don't          21       exposed to contamination. So I don't
      22       recall where he said he got them. I         22       know that.
      23       recall seeing a chain-of-custody            23   QUESTIONS BY MR. FINCH:
      24       paperwork. I wasn't paying attention        24       Q. Well, you certainly didn't
      25       to where he got the samples from.           25   comment upon it in your report, correct?
                                                                       27 (Pages 102 to 105)
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       1        A. It wasn't relevant to my                1   and talc out for purposes of analyzing
       2   question of whether the methodology that he     2   whether or not they contain asbestos?
       3   used to analyze the samples was appropriate     3       A. It certainly contains something
       4   or not.                                         4   that indicate -- tells how to separate out
       5        Q. All right. So he got the                5   things with different densities, and it talks
       6   samples from Johnson & Johnson in this          6   specifically about asbestos.
       7   litigation, the samples that are analyzed in    7            And I note that the refractive
       8   his February 1, 2019 report. And then for       8   index, or the density, of the liquid that
       9   many of the samples, he used what is called     9   they say to use is different than the one
      10   the Blount preparation method, correct?        10   used in the Blount paper. One is 1 point --
      11        A. That is correct.                       11   I don't remember, but they're different.
      12        Q. All right. I read through your         12            So Dr. Longo did not follow
      13   report, and I didn't see any criticisms        13   what's in the ISO report. He followed what's
      14   related to the way in which he applied the     14   in the Blount report.
      15   Blount preparation method to prepare the       15       Q. He reviewed what's in the
      16   samples for analysis; is that correct?         16   Blount peer-reviewed paper, correct?
      17             MR. LOCKE: Objection.                17       A. He used the 1.610, I believe,
      18             THE WITNESS: Correct, there is       18   density method.
      19        nothing in my report that criticizes      19       Q. Were you aware that the Blount
      20        his use of the Blount method.
                                      method              20   paper was cited in the IARC publication you
      21   QUESTIONS BY MR. FINCH:                        21   were referring to earlier relating to talc
      22        Q. Do you agree that use of the           22   with asbestiform fibers?
      23   Blount method to prepare a talc sample in      23            MR. FROST: Objection.
      24   order to analyze whether or not it's           24            THE WITNESS: I don't recall
      25   contaminated with asbestos is a reasonable     25       that.
                                            Page 107                                             Page 109
       1   and reliable thing for a scientist to do in     1   QUESTIONS BY MR. FINCH:
       2   testing talc for the presence of asbestos?      2       Q. Do you agree with me that IARC
       3        A. I actually would say I do not           3   generally only cites to reputable papers in
       4   agree with that. In fact, I do not agree        4   its work?
       5   with the results in the Blount paper.           5            MR. FROST: Objection.
       6            For example, Figure 1 in               6            MR. CHACHKES: Objection.
       7   Blount's paper which -- or Figure 2, which      7            THE WITNESS: I have no
       8   purports to give the specific gravities of      8       independent knowledge of IARC, so I
       9   talc and amphibole, is just simply wrong.       9       can't really answer that question.
      10   Those ranges are far wider and far more        10   QUESTIONS BY MR. FINCH:
      11   overlapping than she is apparently             11       Q. Nonetheless, the Blount
      12   knowledgeable of.                              12   methodology as described in her paper was
      13            So in my mind, the simple fact        13   published in a peer-reviewed journal,
      14   that the densities of these minerals overlap   14   correct?
      15   each other a great degree renders the Blount   15       A. I've never encountered this
      16   method to be difficult to use, at best.        16   journal before, but I'm assuming that if it's
      17        Q. But you didn't, in your report,        17   called a journal, it is indeed peer reviewed.
      18   criticize Dr. Longo's use of the Blount        18   But I'd have to corroborate that. I don't
      19   method; is that correct?                       19   know anything about this journal. It's not a
      20        A. In my written report I did not         20   highly ranked journal.
      21   state that criticism, no
                                 no.                      21       Q. What systematic study have you
      22        Q. Okay. And am I correct that            22   done to determine whether Environmental
      23   ISO 22262-2 describes a gravimetric --         23   Health Perspectives is ranked highly or not
      24        A. Gravimetric, yes.                      24   ranked highly?
      25        Q. -- method to separate materials        25            MR. CHACHKES: Objection.
                                                                      28 (Pages 106 to 109)
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       1            THE WITNESS: It would be a              1   deposition.
       2       simple matter to log on to the Web of        2            MR. CHACHKES: By the way,
       3       Science and determine the rating of          3       we've been going about an hour. Maybe
       4       that journal, but I have not done            4       at some point take a break.
       5       that. I'm not in the habit of                5   QUESTIONS BY MR. FINCH:
       6       establishing the ratings on all the          6       Q. Do you agree or disagree that
       7       papers that I read.                          7   the most common asbestos mineral found as a
       8            I am very familiar with the             8   contaminant of talc is tremolite asbestos?
       9       premier journals in the subject of           9            MR. FROST: Objection. Form.
      10       mineralogy, and that's not one of           10            THE WITNESS: No, I do not
      11       them.                                       11       agree with that. I have no knowledge
      12   QUESTIONS BY MR. FINCH:                         12       of that. In fact, based on the Longo,
      13       Q. Would you agree with me there            13       Rigler reports, I have no evidence
      14   are many different disciplines of science       14       that suggests that any asbestos
      15   that bear on the question of what is            15       minerals are found in talc.
      16   asbestos?                                       16   QUESTIONS BY MR. FINCH:
      17            MR. FROST: Objection. Vague.           17       Q. Do you have an opinion one way
      18            MR. CHACHKES: Objection.               18   or another as to whether talc can be
      19            THE WITNESS: No, I wouldn't            19   contaminated with anthophyllite asbestos or
      20       agree with that.                            20   tremolite asbestos when it is mined out of
      21            I would say that the definition        21   the ground?
      22       of asbestos is fairly straightforward,      22            MR. LOCKE: Objection.
      23       as given in my report, and it is            23            THE WITNESS: I know nothing
      24       firmly grounded in both mineralogy and      24       about mining practices. I'm not a
      25       the other fields that are cited.            25       mining geologist, so I have no opinion
                                            Page 111                                             Page 113
       1   QUESTIONS BY MR. FINCH:                          1        on that.
                                                                         that
       2       Q. At the end of page 230 in her             2   QUESTIONS BY MR. FINCH:
       3   paper, Dr. Blount writes that "In addition,      3        Q. You have no opinion about
       4   the tendency to bring down a disproportionate    4   whether or not the -- you haven't reviewed
       5   number of larger particles has the advantage     5   all of the data that exists in the world as
       6   that with true asbestiform amphiboles one        6   to testing done on Johnson's baby powder or
       7   generally sees some particles showing bundles    7   the talc that went into Johnson's baby powder
       8   of fibrils, which removes any doubt about the    8   to determine whether or not it contained
       9   nature of the amphibole."                        9   asbestos, correct?
      10            Do you see that?                       10             MR. LOCKE: Objection.
      11       A. I see that the paper says that,          11             MR. CHACHKES: Objection.
      12   yes.                                            12             THE WITNESS: My role here was
      13       Q. Do you agree that if you find            13        to evaluate the methodology used by
      14   bundles of fibrils that are amphibole in        14        Drs. Longo and Rigler, so such an
      15   nature, it makes it more likely than not that   15        assertion would be far, far outside of
      16   what you're looking at is asbestiform           16        what I researched and was asked to do.
      17   amphibole?                                      17   QUESTIONS BY MR. FINCH:
      18       A. No, I do not agree with that             18        Q. Okay. You are a geologist by
      19   statement.                                      19   training, correct?
      20       Q. Why not?                                 20        A. Correct.
      21       A. First of all, you'd need to              21        Q. As a matter of geology, do you
      22   define "bundle." And to my knowledge, the       22   agree with me that talc can be contaminated
      23   way asbestos is deformed -- defined does not    23   with accessory minerals, minerals that are
      24   include the term "bundle," as stated in the     24   not talc?
      25   definition I've given previously in this        25        A. Of course.
                                                                       29 (Pages 110 to 113)
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       1       Q. You agree with me --                      1   which determines in part whether it's
       2       A. Metamorphic rocks that contain            2   monoclinic or orthorhombic. And I would also
       3   talc often have other minerals in them, yes.     3   use polarized light microscopy on multiple
       4       Q. You agree that talc can be                4   grains to determine the -- in part the
       5   contaminated with anthophyllite asbestos?        5   chemistry of the particle. And then I would
       6            MR. FROST: Objection.                   6   sample populations of particles to determine
       7            THE WITNESS: I have no                  7   them in an ideal sense.
       8       specific knowledge of the assemblages        8            But this would be only
       9       that are stable with talc. I only            9   something I would do in the laboratory, in
      10       know that it's a low-grade metamorphic      10   the sort of -- in a careful study with my
      11       mineral, but I know nothing about the       11   students.
      12       other phases that are present. I'm          12       Q. Okay. So you would -- you
      13       not a metamorphic geologist
                                    geologist.             13   mentioned you would use multiple zone axis
      14   QUESTIONS BY MR. FINCH:                         14   analysis.
      15       Q. So you don't know one way or             15            You're talking about SAED,
      16   another whether or not talc can be              16   correct?
      17   contaminated with anthophyllite asbestos; is    17       A. Correct.
      18   that fair?                                      18       Q. So you would use -- one tool
      19            MR. LOCKE: Objection.                  19   you would use is an electron microscope,
      20            THE WITNESS: I have no                 20   correct?
      21       knowledge of the natural parageneses        21       A. Uh-huh. Yes.
      22       of talc, beyond the fact that it's a        22       Q. Then you would do EDS, EDXA, to
      23       low-grade metamorphic mineral.              23   determine the chemistry, the elemental
      24   QUESTIONS BY MR. FINCH:                         24   chemistry, of a material, correct?
      25       Q. Do you agree or disagree with            25       A. I would use it to determine
                                             Page 115                                            Page 117
       1   the fact that talc can be contaminated with      1   whether or not calcium was present, yes.
       2   anthophyllite asbestos or tremolite asbestos?    2        Q. All right. And that is, again,
       3             MR. CHACHKES: Objection.               3   using a transmission electron microscope,
       4             THE WITNESS: I disagree with           4   correct?
       5       that. I don't know that that's a             5        A. Or an SEM, yes.
       6       fact, and I have not researched that         6        Q. And does it matter in which
       7       personally, so I have no opinion on          7   order that you would do steps 1 and 2,
       8       it. But I do not certainly consider          8   meaning would you first -- does it matter
       9       it a fact.
                    fact                                    9   whether you first analyze it using EDS, EDXA,
      10   QUESTIONS BY MR. FINCH:                         10   or whether you first analyze it using SAED?
      11       Q. What tools would you use to              11        A. I would think it would not --
      12   test a sample of talc to determine if it        12   it certainly doesn't matter.
      13   contains asbestos?                              13        Q. The third step, you said, would
      14       A. Again, I was not asked to rule           14   be to analyze it using a polarized light
      15   on that, but if I were to do testing, I would   15   microscope, correct?
      16   probably follow some combination of the Su      16        A. Yes.
      17   protocols and those articulated in the Yamate   17        Q. Does it matter in which order
      18   document, which was exhibit whatever.           18   you would analyze it using a polarized light
      19       Q. What are the tools that you              19   microscope?
      20   would use?                                      20            Meaning would you do SAED or an
      21             I'm not asking about the              21   EDS before or after the PLM, or does it not
      22   protocols you would follow. What tools?         22   matter?
      23       A. I would ideally use multiple             23        A. Well, you presumably wouldn't
      24   zone axis determinations combined with EDS to   24   be able to do it on the same particle because
      25   rule out or confirm the presence of calcium,    25   the PLM is usually done on a microscope slide
                                                                       30 (Pages 114 to 117)
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       1   and the TEM is done on a grid. So order is       1       yeah, there are written protocols
       2   kind of irrelevant since it's different          2       about that.
       3   particles.                                       3            And, of course, basic polarized
       4       Q. Different particles from the              4       light microscope use is written up
       5   same sample?                                     5       in -- ubiquitously in textbooks,
       6       A. Yes.                                      6       including the outdated one that you
       7       Q. Then presumably you would have            7       gave me a section of.
       8   photomicrographs of the particle that you're     8            MR. CHACHKES: So I asked for a
       9   examining from the electron microscope,          9       break about ten minutes ago. Are we
      10   either images via TEM or SEM, correct?          10       getting near a point where we can
      11       A. In this hypothetical situation,          11       break?
      12   yes.                                            12            MR. FINCH: Yeah. Two more
      13       Q. I mean, this hypothetical                13       questions.
      14   situation is I'm asking you to analyze a        14            MR. CHACHKES: Okay.
      15   sample of talc to determine whether it has      15   QUESTIONS BY MR. FINCH:
      16   asbestos in it. You would take pictures with    16       Q. So you mentioned the tools that
      17   your electron microscope that are called        17   you would use would be to take your sample
      18   photomicrographs to determine what the          18   and, using an electron microscope, perform
      19   structure looked like visually, correct?        19   SAED and EDS, EDXA, on it; then use a
      20            MR. LOCKE: Objection.                  20   polarized light microscope to analyze a
      21            THE WITNESS: Well, in point of         21   different particle in the same sample.
      22       fact, you could also take                   22   Correct?
      23       photomicrographs with a polarized           23            MR. FROST: Objection.
      24       light microscope.                           24       Misstates testimony.
      25                                                   25            MR. CHACHKES: Objection.
                                            Page 119                                              Page 121
       1   QUESTIONS BY MR. FINCH:                          1            THE WITNESS: By definition, if
       2        Q. And --                                   2       you look at something on a polarized
       3        A. If the particles are big                 3       light microscope, generally speaking
       4   enough.                                          4       you're looking at something on a glass
       5        Q. Right.                                   5       slide, not a TEM grid, yes.
       6             And in those photomicrographs,         6            So if you're going to do
       7   either using TEM or PLM, you have a picture      7       multiple analyses of that sort, you
       8   of the structure that you're analyzing,          8       would be using different particles
       9   correct?                                         9       from the same sample.
      10        A. You have a two-dimensional              10   QUESTIONS BY MR. FINCH:
      11   image of a particle viewed from one angle,      11       Q. And then you would have
      12   yes.                                            12   populations of -- an analysis of populations
      13        Q. And is it left to -- is there           13   of particles?
      14   any written protocol or peer-reviewed           14       A. If you analyzed enough samples
      15   literature that tells an analyst or scientist   15   as is recommended in many of these protocols,
      16   what it is to photograph or when to take the    16   you would have -- you could have --
      17   photomicrograph of the particle, either by      17   potentially have a population, yes.
      18   PLM or TEM or SEM?                              18            MR. FINCH: Okay. This is a
      19             MR. FROST: Objection.                 19       good stopping point.
      20             THE WITNESS: Well, for                20            VIDEOGRAPHER: Okay. Stand by,
      21        example, if you look in the Su paper       21       please. Remove your microphones. The
      22        that I've cited here, it talks pretty      22       time is 11:31 a.m. Off the record.
      23        specifically about exactly how you         23        (Off the record at 11:31 a.m.)
      24        would rotate the grain and examine it      24            VIDEOGRAPHER: Okay. We are
      25        from different perspectives. So,           25       back on the record. The time is
                                                                       31 (Pages 118 to 121)
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       1       11:47 a.m.                                   1       Q. In the -- I believe I might
       2   QUESTIONS BY MR. FINCH:                          2   have asked you this before, but I'm not sure
       3       Q. Have you ever done any                    3   I remember the answer to it.
       4   consulting work for Johnson & Johnson prior      4            Have you ever tested an NIST
       5   to your engagement in this case?                 5   reference sample of asbestos using EDS, EDXA
       6       A. No.                                       6   to determine what the EDS spectra looks like
       7       Q. Have you ever done any                    7   for tremolite or anthophyllite?
       8   consulting work for Imerys, Imerys Talc          8       A. No, but that wouldn't be
       9   America, Imerys NA or any of their affiliated    9   necessary. EDS is a fairly basic technique.
      10   companies prior to your engagement by Johnson   10   You could even synthesize the spectrum of
      11   & Johnson in this case?                         11   those minerals and determine what they looked
      12       A. No.                                      12   like, so it wouldn't be necessary to do it
      13       Q. Have you ever done any                   13   myself personally
                                                                        personally.
      14   consulting work for Colgate-Palmolive?          14       Q. Would you agree with me that
      15       A. No.                                      15   the transmission electron microscope, when it
      16       Q. Have you ever done any                   16   analyzes a reference samples of asbestos
      17   consulting work for W.R. Grace?                 17   using EDS or EDXA, will -- is capable to
      18       A. No.                                      18   print out an EDS spectra from that microscope
      19       Q. Have you ever done any                   19   that shows what the chemical makeup of the
      20   consulting work for the RJ Lee Group?           20   reference sample of asbestos is?
      21       A. No.                                      21       A. Certainly an EDS spectrum can
      22       Q. Have you ever done any                   22   show you the presence or absence of
      23   consulting work for Scotts fertilizer           23   particular elements, and it can give you a
      24   company?                                        24   rough sense of how much of each is present.
      25       A. No.                                      25       Q. In the third bullet point you
                                             Page 123                                             Page 125
       1       Q. Have you ever done any                    1   state, at the bottom of the page, "They,"
       2   consulting work for BNSF Railway?                2   referring to Longo and Rigler, "deliberately
       3       A. No.                                       3   choose not to generate quantitative numbers
       4       Q. Have you ever been engaged to             4   that would more accurately determine the
       5   test vermiculite or to determine whether or      5   chemical compositions, which is the very
       6   not it contains asbestos?                        6   purpose of an EDS analysis of an unknown
       7       A. No.                                       7   mineral."
       8       Q. Have you ever been hired by any           8             Do you see that?
       9   entity to test a vermiculite-finished product    9       A. Yes. I wrote that.
      10   to determine if it contains asbestos?           10       Q. What generally accepted
      11       A. No.                                      11   standards require the printout of
      12       Q. Have you ever been hired by any          12   quantitative data similar to Figure 7 in your
      13   governmental entity to test any substance to    13   report in order for a scientist or analyst to
      14   determine whether it contains asbestos?         14   analyze the chemical structure of a mineral
      15       A. No.                                      15   to determine whether it's consistent with
      16       Q. Have you ever been retained by           16   asbestos or not?
      17   any company that either mined talc or sold      17       A. That was a big mouthful. Let
      18   talc-containing finished products to analyze    18   me review that sentence.
      19   whether or not it contains asbestos?            19             So as articulated by Newbury
      20       A. No.                                      20   and Ritchie in their report about EDS
      21       Q. All right. On page 1 of your             21   spectroscopy and doing it accurately, it is
      22   report, you're talking about EDS mineral        22   important to do the calculations based on the
      23   chemistry, correct, at the bottom of the        23   peak areas with the appropriate corrections
      24   page?                                           24   in order to get even semi-quantitative data
      25       A. Yes.                                     25   out of an EDS spectrum.
                                                                                  p
                                                                       32 (Pages 122 to 125)
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                                             Page 126                                             Page 128
       1       Q. Does anything in ISO 22262-1 or           1   dispersive X-ray analysis as used in asbestos
       2   22262-2 or Yamate require the quantitative       2   analysis is semi-quantitative at best"?
       3   data like that shown in Figure 7 be generated    3            Do you see that?
       4   in order for an analyst to analyze the           4       A. That is correct, but --
       5   chemical structure of a particle that could      5       Q. Do you agree with that?
       6   be asbestos?                                     6       A. But let me point out that in
       7       A. I don't recall. I'd have to go            7   his deposition, Dr. Longo says very
       8   back and review them. But I'm guessing that      8   specifically that it's quantitative, and that
       9   because 22262 is about microscopic methods       9   is exactly what I'm disagreeing with.
      10   and 222-1 {sic} is about polarizing light       10       Q. Are you aware of any ISO
      11   microscopy, that neither one of them has much   11   standard or EPA publication that requires the
      12   to say about EDS. I honestly don't recall       12   printout of quantitative data like you have
      13   which of those ISO documents talks about EDS.   13   in Figure 7 in your report in order to
      14       Q. Isn't it true that ISO 22262-1           14   analyze the X-ray spectra of an asbestos --
      15   has an extensive discussion of analysis by      15   or potentially asbestos chemical?
      16   TEM, quantitative analysis by TEM, of --        16       A. I am aware that analysis of ISO
      17   qualitative analysis by TEM of EDXA spectra?    17   standards and under EPA requirements require
      18       A. As I said, I did not recall              18   that the mineral species be identified. And
      19   that, but I have it in my hand now and I'll     19   in order to identify the mineral species, it
      20   be happy to take a look.                        20   is necessary to have a quantitative -- as
      21       Q. Page 33.                                 21   quantitative as possible chemical analysis.
      22       A. Yes, I see it talks about --             22       Q. Isn't it true that ISO 22262-1
      23            MR. FINCH: Can I have the              23   says nowhere that you have to have a
      24       Elmo?                                       24   quantitative analysis, or the quantitative
      25            THE WITNESS: -- qualitative            25   printouts like you have in Figure 7 in your
                                             Page 127                                             Page 129
       1        analysis by TEM, yes.                       1   report, in order to do a valid analysis of
       2   QUESTIONS BY MR. FINCH:                          2   the chemical spectra of an asbestos particle?
       3        Q. All right. Can you point me to           3       A. It is true that ISO 22262-1
       4   any ISO standard or anywhere in Yamate where     4   indicates that the asbestos is defined as one
       5   it says that it's necessary for an analyst to    5   of specific mineral species. And so in order
       6   have quantitative data like that shown in        6   to determine if something is among a specific
       7   Figure 7 in your report in order to analyze      7   mineral species, you would have to know the
       8   the chemical structure of an asbestos            8   chemical composition.
       9   mineral?                                         9       Q. But it doesn't require you to
      10        A. So the definition of asbestos           10   have quantitative data in the level of detail
      11   requires that a mineral be one of the           11   that you show in Exhibit 7 to determine the
      12   specific six regulated mineral species. And     12   chemical structure of the mineral, correct?
      13   in order to determine if a mineral is among     13       A. It would be the chemical
      14   the six regulated mineral species, it is        14   composition of a mineral.
      15   necessary to know the chemical composition      15       Q. The chemical composition of the
      16   and the crystal structure, as I describe in     16   mineral?
      17   my report.                                      17       A. It requires that you know the
      18            Therefore, it follows that it          18   chemical composition well enough to identify
      19   would be useful to know the chemical            19   the sample as one of the six regulated
      20   composition in order to confirm whether one     20   mineral species.
      21   of the six regulated mineral species is         21       Q. And do you have any view one
      22   present. And as articulated here, the TEM       22   way or another whether the analysts in
      23   analysis is only qualitative.                   23   Dr. Longo's lab, or Dr. Longo himself, is
      24        Q. And am I correct that in                24   sufficiently familiar with the chemical
      25   Yamate, for example, it states, "Energy-        25   composition of the six regulated types of
                                                                       33 (Pages 126 to 129)
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       1   asbestos that they can determine based on        1      A.    No, sir. It says on --
       2   looking at a semi-quantitative EDXA spectra      2           MR. LOCKE: Objection.
       3   whether or not the material they're looking      3           THE WITNESS: -- page 1 of this
       4   at has a chemical signature consistent with      4      document that this document is
       5   asbestos?                                        5      appropriate for the analysis of -- the
       6       A. I would say absolutely not,               6      quantitative -- qualitative analysis
       7   they do not have -- because it's impossible      7      identification of asbestos in specific
       8   to look at -- no matter how many thousands of    8      types of manufactured
       9   EDS spectra you've looked at, it is              9      asbestos-containing products and
      10   impossible to look at an EDS spectrum and,      10      commercial minerals.
      11   without analyzing it, obtain quantitative       11           So I would say that these
      12   data as Dr. Longo purports to do.               12      patterns have been developed for use
      13       Q. Okay. In ISO 22262-1 -- do you           13      in situations where you already know
      14   have that?                                      14      that what is present is asbestos, and
      15       A. Got it.                                  15      you're trying to determine which of
      16       Q. You can do EDS, EDXA, by SEM or          16      the six asbestos minerals is present,
      17   TEM, correct?                                   17      which is clearly not the case in the
      18       A. Depends on the instrument, yes.          18      study of talc.
      19       Q. All right. Would you turn to             19   QUESTIONS BY MR. FINCH:
      20   Annex F.                                        20      Q. Would you agree with me, or do
      21       A. Yes.                                     21   you know, whether or not insulation can be
      22       Q. All right. Would you agree               22   asbestos-containing or non-asbestos-
      23   with me that pages 58, 59, 60, 61, 62 all       23   containing?
      24   show EDS, EDXA spectra for samples of           24           MR. CHACHKES: Objection.
      25   tremolite, anthophyllite and the other          25           THE WITNESS: I don't know
                                             Page 131                                            Page 133
       1   asbestos varieties?                              1       anything about that.
       2        A. That is what this document               2   QUESTIONS BY MR. FINCH:
       3   claims to show, yes.                             3       Q. Okay. Would you agree with me,
       4        Q. And you agree with me that               4   or do you know, whether ISO 22262 can be used
       5   nowhere in these printouts of what the           5   to test insulation, where you don't know
       6   chemical signature is using EDS, EDXA, does      6   whether it has asbestos in it or not, to
       7   it have quantitative data like that shown in     7   determine whether or not the bulk material
       8   Figure 7 in your report?                         8   that you're looking at contains asbestos?
       9        A. It is correct that those are             9       A. I believe it says
      10   not given; however, in the case of these        10   asbestos-containing insulation.
      11   reference standards, these have been            11            And it goes on to talk about --
      12   independently analyzed for chemistry and,       12   in the introduction about asbestos-containing
      13   therefore, the chemistry is already known.      13   insulation. For example, "A large proportion
      14   And there is no need to determine the           14   of the chrysotile product produced was used
      15   chemistry by this semi-quantitative EDXA        15   in asbestos cement products. Materials
      16   analytical method, which is why it probably     16   containing high proportions of chrysotile
      17   isn't shown here
                        here.                              17   asbestos were used in buildings and in
      18        Q. Isn't it the case that what             18   industry."
      19   this ISO 22262-1 is all about is determining    19            So that's what it says here.
      20   when you've got a bulk material where you       20       Q. Isn't it true that in the scope
      21   don't know whether it has asbestos or not in    21   on page 1 of the document, this part of ISO
      22   it, to do an EDS or EDXA to compare the data    22   22262 specifies methods for sampling bulk
      23   you get from the bulk material to the           23   materials and identification of asbestos in
      24   standard EDS, EDXA spectrum contained in        24   commercial bulk materials?
      25   Annex F?                                        25            It doesn't say anything about
                                                                        34 (Pages 130 to 133)
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       1   asbestos-containing bulk materials, correct?     1   analysis where it specifically focuses on the
       2       A. It indeed says it specifies               2   example of asbestos. I believe it's level 3.
       3   methods for sampling bulk materials and          3   Let me see if I can find that.
       4   identification of asbestos in commercial bulk    4            Sorry, what was your question?
       5   asbestos. That's what it says here, yes.         5       Q. My question is, isn't the
       6       Q. All right. Do you have the                6   entire Yamate protocol something that is used
       7   understanding one way or another that this is    7   to determine whether or not asbestos is in a
       8   the methodology a scientist should follow if     8   material or not?
       9   he has a bulk material of insulation that he     9       A. Well, the title of the document
      10   doesn't know whether it has asbestos in it or   10   is "Methodology for Measurement of Airborne
      11   not, to follow this methodology to determine    11   Asbestos By Electron Microscopy."
      12   whether there's asbestos in the material or     12            So the level 3 as specified in
      13   not?                                            13   this document details the use of quantitative
      14       A. To which methodology are you             14   SAED analysis from two different zone axis
      15   referring? The entire document?                 15   orientations, et cetera, et cetera.
      16       Q. ISO -- yes.                              16       Q. Right.
      17       A. This document and the extended           17            But before you get to
      18   versions 2 and 3 are intended for that          18   quantitative level 3 analysis, you do level 2
      19   purpose. That's what it says they're            19   analysis, correct?
      20   intended for.                                   20       A. That's correct.
      21       Q. Okay. Would you agree with me            21       Q. And level 2 analysis, you're
      22   that Annex F has the X-ray spectra for          22   trying to determine whether or not there is
      23   tremolite on page 61?                           23   asbestos in the material or not, correct?
      24       A. It does include spectra of               24   May have asbestos in it, may not?
      25   samples of these minerals, yes. Certainly       25       A. At -- at significant -- at
                                             Page 135                                            Page 137
       1   these are not necessarily representative of      1   significant levels, yes.
       2   all possible examples of these minerals, but     2        Q. And it doesn't require the
       3   they are individual standard reference           3   analyst, in looking at an EDS, EDXA spectrum,
       4   materials of these particular individuals        4   to have the quantitative data like that shown
       5   {sic}.                                           5   in Figure 7 in your report to determine the
       6        Q. Are you aware whether tremolite          6   chemical composition of the material he or
       7   was ever used as part of any -- an               7   she is analyzing, correct?
       8   asbestos-containing product, intentionally       8        A. Well, in point of fact, level 2
       9   designed to be part of an asbestos-containing    9   is level 1 plus chemical analysis. And it
      10   product?                                        10   says that -- in level 2 you're talking about
      11            MR. FROST: Objection.                  11   a process of elimination used to categorize
      12            THE WITNESS: I have no                 12   amphibole fibers, identify the ambiguous
      13        knowledge of that.                         13   fibers in concern or validate level of
      14   QUESTIONS BY MR. FINCH:                         14   chrysotile fibers. So it all builds.
      15        Q. Do you recognize the Yamate             15            What was your question?
      16   method as a method to analyze -- to determine   16        Q. My question is, is there
      17   whether or not there is or is not asbestos in   17   anything in the Yamate document that requires
      18   either a bulk sample or in the air?             18   an analyst to have quantitative data like
      19        A. The Yamate method is, strictly          19   Figure 7 in your report for the EDS, EDXA
      20   speaking, a method for measurement of           20   analysis he or she performs on a material to
      21   airborne asbestos.                              21   determine whether its chemical composition is
      22        Q. And is it part of the method to         22   consistent with asbestos?
      23   determine whether or not -- whether asbestos    23        A. Well, I guess maybe read the
      24   is there or not?                                24   question again here.
      25        A. So let's take a look at level 3         25            The Yamate document is about
                                                                       35 (Pages 134 to 137)
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       1   confirming whether it's one of the specific      1   report.
       2   asbestos mineral species. And so to the          2        Q. Published in the peer-reviewed
       3   extent that it is necessary to have chemical     3   literature?
       4   analysis to determine whether something is       4        A. Not a commonly cited journal,
       5   one of the species, then, yes, it does imply     5   but, yes.
       6   that you need to have quantitative EDS data.     6        Q. In this journal, he reports EDS
       7        Q. Where? Where? Point me to                7   data from various materials in Figures 5, 6,
       8   where it says you have to have quantitative      8   8?
       9   EDS data.                                        9        A. Yes.
      10        A. It says that you need to                10        Q. And in the EDS data he reports,
      11   identify a specific -- whether a specific       11   for example, in Figure 6, three SEM
      12   asbestiform or potentially asbestiform          12   photographs with associated EDS data of
      13   mineral species is present. And to me, that     13   amphiboles found in soils in Washington, DC,
      14   implies that you need to know what the          14   southern Illinois, western Montana. Based on
      15   chemistry is because otherwise you couldn't     15   EDS data, particles A and B would be
      16   tell.                                           16   tremolite, actinolite, and C would be
      17        Q. And isn't it correct that at            17   anthophyllite, grunerite.
      18   page 39 of the document it states,              18            Do you see that?
      19   "Energy-dispersive X-ray analysis, as used in   19        A. He just says based on EDS data;
      20   asbestos analysis, is semi-quantitative at      20   he doesn't say based on the EDS data shown.
      21   best"?                                          21   So my inference from this figure caption
      22        A. Absolutely, yes.                        22   would be that he calculated the mineral
      23        Q. And it says nowhere in here             23   compositions and drew those conclusions.
      24   that you have to have quantitative EDS or ED    24            Now, he does not say that he's
      25   X-ray analysis.                                 25   basing his conclusions about composition on
                                            Page 139                                             Page 141
       1            Can you point to me anywhere in         1   the basis of these images alone.
       2   this document where it says must have a          2        Q. Does it say anywhere in the
       3   quantitative data like that shown in             3   paper that he calculated the quantitative EDS
       4   Exhibit 7 {sic} in your report?                  4   measurement?
       5       A. So I would say that nowhere in            5        A. He doesn't need to. It is --
       6   this document does it says that you must have    6   it is extraordinarily rare for someone to
       7   a quantitative printout, but certainly that      7   acquire an EDS pattern and not calculate the
       8   information is necessary to determine whether    8   composition. So you would only need to
       9   something is a particular composition.           9   mention that if you didn't calculate the
      10            So again, referring back to my         10   composition.
      11   report, the goal of Drs. Longo and Rigler is    11        Q. Does it say anywhere in this
      12   to confirm the presence of one of the six       12   paper that you -- that he calculated -- he
      13   regulated asbestiform -- potentially            13   did some kind of quantitative analysis --
      14   asbestiform minerals and whether or not they    14   first of all, let's get very clear.
      15   are present in the talcum powder. And the       15             Nothing in this peer-reviewed
      16   EDS data that are presented in there do not     16   paper has the kind of quantitative data
      17   come anywhere close to determining that.        17   relating to an EDS spectrum like that shown
      18            MR. FINCH: Can I have the              18   in Figure 7 in your report, correct?
      19       Gunther paper?                              19             MR. CHACHKES: Objection.
      20            (Dyar Exhibit 11 marked for            20             THE WITNESS: I would want to
      21       identification.)                            21        make sure there isn't some supplement
      22   QUESTIONS BY MR. FINCH:                         22        that gives those numbers, but
      23       Q. This is a paper by Mickey                23        certainly in these five pages of this
      24   Gunther that you cite in your report?           24        document he doesn't give the
      25       A. Yes, I use the figures in my             25        quantitative numbers. However, he
                                                                       36 (Pages 138 to 141)
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       1       does state that based on EDS data,           1        identification.)
       2       these particles would be assigned            2   QUESTIONS BY MR. FINCH:
       3       these compositions.                          3        Q. Professor Dyar, do you have an
       4            So again, the norm when doing           4   article entitled "Tremolite Mesothelioma" by
       5       analysis with EDS is that you                5   Victor Roggli and other scientists at Duke
       6       calculate the compositions. It would         6   University published in the peer-reviewed
       7       be extraordinary that he would have to       7   literature in 2002?
       8       go out of his way to not print them          8        A. Yes, sir.
       9       out, which is, in fact, what                 9        Q. All right. In...
      10       Drs. Longo and Rigler do. They must         10        A. I immediately note that the
      11       have disabled the default command to        11   authors of this paper are medical personnel
      12       output compositions.                        12   involved with pathology, and there is no
      13   QUESTIONS BY MR. FINCH:                         13   indication that any of them is a
      14       Q. You say the norm.                        14   mineralogist.
      15            You haven't pointed me to a            15        Q. And they are publishing in the
      16   single document, either ISO standard, Yamate    16   peer-reviewed literature about various types
      17   standard, peer-reviewed literature, that says   17   of asbestos fibers found in human tissue,
      18   that you have to print out the quantitative     18   correct?
      19   EDS, EDXA graph -- graphics like in Figure 7,   19        A. Well, I'd have to have some
      20   have you, ma'am?                                20   time to speed-read this paper, but the title
      21            MR. LOCKE: Objection.                  21   is called "Tremolite Mesothelioma," so I'd
      22            THE WITNESS: So in my report,          22   have to assume that that's what the paper is
      23       I cite the Newbury and Ritchie paper        23   about.
      24       which goes in excruciating detail of        24        Q. And in Figure 1 -- actually, on
      25       how the appropriate -- of the               25   page 448, in the second column the authors
                                            Page 143                                              Page 145
       1       appropriate methodology for using EDS.       1   write, "The elemental composition of
       2       And they talk in that at length about        2   individual mineral fibers was detected by
       3       the different methods for making             3   means of energy-dispersive X-ray analysis,
       4       calculations that determine                  4   EDXA."
       5       quantitative or semi-quantitative data       5            Do you see that?
       6       from an EDS spectrum.                        6       A. I'm looking.
       7            So again, Newbury and Ritchie           7       Q. About halfway down, first
       8       is a good example of what is the             8   column -- I mean, the second column.
       9       convention in this field, which is to        9       A. Yes. So that to me implies
      10       always acquire the EDS spectrum and         10   that they output the compositions.
      11       then print out the compositions that        11       Q. In the paper they publish "the
      12       are calculated by the instrument
                                     instrument.           12   energy-dispersive X-ray spectra for
      13   QUESTIONS BY MR. FINCH:                         13   tremolite, actinolite, anthophyllite and
      14       Q. Well, Dr. Gunther did not print          14   chrysotile. Characteristic elemental
      15   out the calculations in his 2010 paper,         15   composition for each fiber type is shown.
      16   correct?                                        16   The gold piece is due to sputter coating of
      17            MR. FROST: Objection.                  17   the sample to reduce charging artifacts."
      18            THE WITNESS: He refers to the          18            Do you see that?
      19       SEM data, but he does not explicitly        19       A. I see that. And it is my
      20       include them, probably for reasons of       20   opinion, based on being an associate editor
      21       space. That printout would be pretty        21   of the American Mineralogist for 20 years,
      22       tiny in a publication of this sort.         22   that no self-respecting mineralogical journal
      23            MR. FINCH: Can I have the              23   would publish a figure like this. This is
      24       Roggli paper?                               24   insufficient for any kind of chemical
      25            (Dyar Exhibit 12 marked for            25   analysis.
                                                                       37 (Pages 142 to 145)
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       1       Q. So these doctors are doing                1       Q. Am I correct that on pages 526,
       2   chemical analysis of the asbestos fibers they    2   527, 528, and in 529, 530, which is Figures
       3   found in human tissue, and they're printing      3   1912 to 1919, all contain EDS spectra for
       4   out the EDXA results in Figure 1. And they       4   different minerals?
       5   do not include the quantitative data like you    5       A. 526. Yes. They're simulated
       6   show in Figure 7 in your report, correct?        6   patterns, yes.
       7            MR. FROST: Objection. Form.             7       Q. And am I correct that none of
       8            THE WITNESS: Well, I'd have to          8   these figures have the quantitative data like
       9       look and make sure there isn't a             9   Figure 7 in your report shown in the -- in
      10       supplement to this particular article,      10   the pages of your textbook?
      11       and I'd need a little more time to          11       A. They don't include the
      12       inspect it.                                 12   compositions because they are simulated
      13            For example, I'd like to know          13   patterns, and simulated patterns are created
      14       how did they -- how did they identify       14   by inputting a composition. So there is no
      15       the samples as asbestos in the first        15   need to output the composition because these
      16       place. I don't see any other evidence       16   are simulated patterns that are created using
      17       of any other kinds of analytical            17   an input -- a specifically input composition.
      18       techniques done in here.                    18            MR. FINCH: Can I have the
      19            I'd need to look at this much          19       other excerpt from that book?
      20       more carefully, but it is certainly my      20            (Dyar Exhibit 14 marked for
      21       opinion that you couldn't use EDXA to       21       identification.)
      22       identify these -- distinguish between       22   QUESTIONS BY MR. FINCH:
      23       these particular minerals.                  23       Q. This is Exhibit 14, which is
      24            So I -- these people may be            24   another page of that book, page 182.
      25       well-respected pathologists, but this       25            What does Figure 9.17 show?
                                             Page 147                                             Page 149
       1       particular figure and these                  1       A. It shows the EDS output of an
       2       conclusions would never be published         2   Idaho star garnet from an SEM.
       3       in a journal that was peer-reviewed by       3       Q. Does it include the
       4       mineralogists.                               4   quantitative data that is shown in Figure 7
       5   QUESTIONS BY MR. FINCH:                          5   in your report?
       6       Q. Are you familiar with a book              6       A. No, and it wouldn't have been
       7   entitled "Mineralogy and Optical Mineralogy"     7   appropriate to include that.
       8   written by Melinda Darby Dyar and Mickey         8            First of all, the print would
       9   Gunther?                                         9   be too small, and second of all, the point
      10       A. Indeed I am.                             10   here is to just show what an EDS spectrum
      11            While we are here, let me draw         11   looks like. It's not our intent here in this
      12   your attention to page 607, where it gives      12   particular chapter to show -- or in this
      13   the revised amphibole nomenclature, which was   13   particular figure to show anything
      14   published in 1997 and 2004. So this is the      14   quantitative, so it wouldn't have been
      15   appropriate amphibole nomenclature to be        15   appropriate to include the chemistry.
      16   using.                                          16            So in other words, we're not
      17            MR. FINCH: Move to strike as           17   trying to identify what mineral this is. We
      18       nonresponsive to any question pending.      18   already know that it's an Idaho star garnet,
      19            (Dyar Exhibit 13 marked for            19   so we don't need to output the chemistry to
      20       identification.)                            20   show anything about its chemical composition.
      21   QUESTIONS BY MR. FINCH:                         21            In fact, it's highly likely
      22       Q. Do you recognize this as the             22   that we have an independent and much more
      23   cover page, table of contents, preface and      23   accurate chemical composition from electron
      24   Chapter 19 from your 2008 book?                 24   microprobe, and we just didn't feel it was
      25       A. Yes.                                     25   necessary or appropriate to include it here.
                                                                       38 (Pages 146 to 149)
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       1       Q. On page 531 of Exhibit 13?                1   to characterize the chemical composition of a
       2       A. Uh-huh.                                   2   mineral, correct?
       3       Q. Here you're not looking at a              3        A. Again, it would not be
       4   simulated material, correct?                     4   appropriate to include that in this
       5            You're looking at an                    5   particular context. This is a textbook, not
       6   approximately 5-micron-wide particle mounted     6   a research -- not a research thing. And the
       7   on a fiber similar to the example shown in       7   point of this figure is to show how difficult
       8   Figure 1920, images modified from Gunther's      8   it is to distinguish things purely from
       9   2007 paper, correct?                             9   visual examination. In other words, he's
      10       A. Correct.                                 10   saying you really need more information.
      11       Q. So then you are -- in the                11             And as I said in my report, the
      12   part C, higher magnification SEM image of the   12   way to get more information would be to
      13   same particle with analysis points for the      13   output the quantitative chemical data that
      14   SEM beam indicated by 1 and 2. That's an EDS    14   the TEM and the SEM are easily able to
      15   spectrum there, correct?                        15   provide.
      16       A. Wait a minute. I'm not -- I'm            16             So this is not an appropriate
      17   not following you. Where are you?               17   place to include chemical data.
      18       Q. Yeah. The bottom,                        18             MR. FINCH: Can I have the 2016
      19   Figure 19.21.                                   19        Gunther paper and the IC 420 document?
      20       A. Oh, sorry. I'm on the wrong              20             (Dyar Exhibit 15 marked for
      21   page.                                           21        identification.)
      22            Yep.                                   22   QUESTIONS BY MR. FINCH:
      23       Q. On this basis, the particle              23        Q. Here's Exhibit 15.
      24   could be either a pyroxene or an amphibole;     24             Do you have Exhibit 15 in front
      25   however, the refractive indices shows this      25   of you, ma'am?
                                             Page 151                                            Page 153
       1   particle is an amphibole. Choosing a species     1       A. I do.
       2   name between tremolite and actinolite would      2       Q. This is -- one of the coauthors
       3   be difficult.                                    3   of this paper is your coauthor, Mickey
       4            And the EDS of the grain there          4   Gunther?
       5   shows the chemical signature of an amphibole,    5       A. I see that.
       6   correct?                                         6       Q. Another is Dr. Roggli, whose
       7        A. No, I think you're misreading            7   paper we looked at a few minutes ago?
       8   that. It basically says on the basis of the      8       A. Yes.
       9   EDS spectrum, it could be either a pyroxene      9       Q. This is a case report of
      10   or an amphibole.                                10   "Erionite-Associated Malignant Pleural
      11            This is exactly the same point         11   Mesothelioma in Mexico," published in the
      12   I make in the figure -- let's see -- in         12   peer-reviewed journal International Journal
      13   Figure 4 of my report where it says that on     13   of Clinical and Experimental Pathology?
      14   the basis of an EDS spectrum, these minerals    14       A. I see that.
      15   are indistinguishable.                          15       Q. And you have two geologists
      16            So then he goes on to say that         16   publishing this paper along with Dr. Roggli,
      17   because of the refractive index data, in        17   and the lead author's name I'm not going to
      18   other words, the optimal microscopy, the PLM,   18   try to pronounce because I'll butcher it.
      19   it is possible to constrain the identify --     19   But there's about eight authors, and two of
      20   the identity of this mineral to be an           20   them are geologists, correct?
      21   amphibole. But that's all you can tell.         21       A. I see that, yes.
      22        Q. But you don't print out the             22       Q. And two of them are geologists
      23   quantitative data like that shown in Figure 7   23   that you have published with yourself,
      24   of your report in this section of your          24   correct?
      25   textbook where you're using an EDS spectrum     25       A. Yes.
                                                                       39 (Pages 150 to 153)
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       1       Q. And what they're doing is they            1   quantitative data that you say is required
       2   are analyzing fibers found in the tissue of a    2   for a scientific analysis like that shown in
       3   human being to determine the nature of the       3   Figure 7 in your report, correct?
       4   particles in their mesothelioma, correct?        4        A. In fact, in my report there are
       5            MR. LOCKE: Objection.                   5   no independent constraints on where the
       6            THE WITNESS: I need a little            6   particles are coming from.
       7       more time to look at this paper before       7             In this report, it appears to
       8       I could tell you exactly what they           8   me that the particles are coming from a
       9       were doing.                                  9   repairman who was raised on a farm in the
      10   QUESTIONS BY MR. FINCH:                         10   Mexico volcanic belt, presumably near a
      11       Q. Well, do you recognize Figure 3          11   source of erionite. So I'd have to spend
      12   and Figure 6 and Figure 4 as all containing     12   more time with this paper.
      13   EDXA or EDS spectrum of materials that          13             But it appears to me that they
      14   they're analyzing?                              14   already knew that this was erionite, and they
      15       A. I see that those figures do              15   were simply confirming that the EDS spectra
      16   contain EDS spectra, yes.                       16   were consistent with that. And in that case,
      17       Q. All right. So in Figure 3 on             17   it's not necessary to print out the chemical
      18   page 5727 -- and this is a scientific paper     18   composition.
      19   where they're reporting on finding erionite     19             In the case of the particles
      20   fibers in someone's mesothelioma.               20   being studied by Drs. Longo and Rigler, we
      21            That's at least the title of           21   have no such knowledge. We have no idea and
      22   the paper, correct?                             22   no independent constraints on what mineral it
      23            MR. LOCKE: Objection.                  23   could be or what the composition could be.
      24            THE WITNESS: The title of the          24   And, therefore, it is their obligation to
      25       paper is "Erionite-Associated               25   produce as much quantitative information as
                                              Page 155                                           Page 157
       1        Malignant Pleural Mesothelioma in           1   possible.
                                                                possible
       2        Mexico." That's the title.                  2            So again, I would need some
       3   QUESTIONS BY MR. FINCH:                          3   further study to address specific questions
       4        Q. All right. Figure 3, part B,             4   about this paper, but my understanding is
       5   is the data that they choose to report in        5   that they're simply showing that the SEM
       6   this peer-reviewed paper, "Energy-Dispersive     6   images and the EDS analyses are consistent
       7   Spectrum from an Erionite Fiber Showing Peaks    7   with their existing supposition that this is
       8   for Aluminum and Silicone."                      8   erionite.
       9            "There's a suggestion of                9       Q. And their existing supposition
      10   smaller peaks for sodium and iron. Platinum     10   that this is erionite is based on testing
      11   peaks are from sputter contained in the         11   that people have done of the soil in Mexico
      12   sample for imaging purposes."                   12   where they found erionite fibers, right?
      13            Do you see that?                       13       A. I don't --
      14        A. I see that it says that, yes.           14            MR. FROST: Objection. Form.
      15        Q. All right. And so what that is          15            THE WITNESS: I don't know that
      16   is an EDS or EDXA spectrum of a reference       16       for a fact. I'd have to take much
      17   sample of erionite, correct?                    17       more time to review this paper.
      18        A. I don't see where it says that.         18   QUESTIONS BY MR. FINCH:
      19        Q. Well, would you agree with me           19       Q. All right. So Figure 6 has a
      20   that the authors call it an EDS spectrum from   20   EDX spectra of Mexican soil with erionite,
      21   an erionite fiber? That's what they call it     21   correct?
      22   in the paper?                                   22       A. That's what it says here.
      23        A. That's what it says right here          23       Q. And again, there's no
      24   in the caption to Figure 3.                     24   quantitative data printed out in Figure 6 C,
      25        Q. And they don't print out the            25   correct?
                                                                       40 (Pages 154 to 157)
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       1        A. Again --                                 1   do you?
       2        Q. Of the type -- of the type that          2           MR. CHACHKES: Objection.
       3   is shown in Exhibit 7 {sic} in your report,      3           MR. FROST: Objection.
       4   Figure 7 in your report?                         4           THE WITNESS: As I said at the
       5        A. There are no chemical analyses           5       outset of this question period, I
       6   printed out here because it would not be         6       looked at all the references cited by
       7   appropriate. They already know it's erionite     7       Drs. Longo and Rigler and read the
       8   based on, it looks like, independent studies.    8       ones that were available to me. So I
       9        Q. Okay. They already know it's             9       do not recall them alluding to any
      10   erionite based on independent studies.          10       such testing reports.
      11             How do you know that Dr. Longo        11   QUESTIONS BY MR. FINCH:
      12   and Dr. Rigler don't already know that there    12       Q. And if they had, they have that
      13   is tremolite and anthophyllite asbestos in      13   as a source of their basis for knowledge, you
      14   the Vermont talc based on independent studies   14   don't know about it, right?
      15   that other analysts have done?                  15           MR. CHACHKES: Objection.
      16             MR. FROST: Objection to form.         16           THE WITNESS: I can't read the
      17             MR. LOCKE: Objection.                 17       minds of Drs. Longo and Rigler, no.
      18             MR. CHACHKES: Objection.              18   QUESTIONS BY MR. FINCH:
      19             THE WITNESS: There is no              19       Q. You can read the trial
      20        evidence in Drs. Longo and Rigler's        20   testimony and the discussion of the Johnson &
      21        reports, plural, that they have any        21   Johnson tests and documents of Dr. Longo in
      22        data that confirm that any of the          22   multiple ovarian cancer and asbestos cases,
      23        particles they studied are asbestos.       23   and you haven't done that, correct?
      24             Perhaps that's a good place to        24           MR. CHACHKES: Objection.
      25        break for lunch.                           25           MR. FROST: Objection.
                                             Page 159                                             Page 161
       1             MR. CHACHKES: It is lunchtime.         1            THE WITNESS: I have not done
       2       It's kind of 12 what? 12:40?                 2       that because it would not be relevant
       3             MR. FINCH: Let me have two             3       to my task, which was to evaluate
       4       follow-up questions based on that.           4       their methodology.
       5   QUESTIONS BY MR. FINCH:                          5            MR. FINCH: All right. This is
       6       Q. You haven't reviewed anybody's            6       a good time to break for lunch.
       7   testing of talc from the Windsor mines in        7            VIDEOGRAPHER: Okay. Please
       8   Vermont, have you, ma'am?                        8       remove your microphones. The time is
       9             MR. FROST: Objection.                  9       12:37 p.m. Off the record.
      10             MR. CHACHKES: Objection.              10        (Off the record at 12:37 p.m.)
      11   QUESTIONS BY MR. FINCH:                         11            VIDEOGRAPHER: Okay. We are
      12       Q. Other than Longo and Rigler?             12       back on the record. The time is
      13       A. I was asked --                           13       1:22 p.m.
      14             MR. CHACHKES: Objection.              14   QUESTIONS BY MR. FINCH:
      15             THE WITNESS: -- to review the         15       Q. Good afternoon, Ms. Darby Dyar.
      16       methodology of Drs. Longo and Rigler,       16   We are back on the record after a lunch
      17       and that's what I did.                      17   break.
      18   QUESTIONS BY MR. FINCH:                         18            Did you review any documents
      19       Q. You don't know what Johnson &            19   over the lunch break?
      20   Johnson documents they have reviewed, they'd    20       A. No.
      21   given the same kind of information about the    21       Q. You were talking about, in
      22   potential for tremolite asbestos and            22   connection with the erionite paper that I
      23   anthophyllite asbestos to be in those mines     23   just showed you, the scientists who wrote
      24   that the authors of the 2016 paper that's       24   that paper had information that erionite was
      25   Exhibit 15 have about the erionite in Mexico
                                                 Mexico,   25   a possible mineral in the soil in Mexico,
                                                                       41 (Pages 158 to 161)
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       1   correct?                                         1       have a wide variety of mineral
       2            Do you recall that discussion?          2       assemblages, but I don't know anything
       3       A. Let me pull the paper out and             3       about mines specifically.
       4   take a look at it.                               4   QUESTIONS BY MR. FINCH:
       5            So, yes, what I said was it             5       Q. Okay. Rocks that contain talc
       6   appears that this is a report based on           6   can have differing amounts of accessory
       7   results from a vehicle repairman who was         7   minerals in the ore that the talc is mined
       8   raised on a farm in the Mexican volcanic belt    8   from, correct?
       9   region.                                          9            MR. CHACHKES: Objection.
      10       Q. And what information did the             10            MR. FROST: Objection.
      11   scientists have that led them to suspect that   11            THE WITNESS: Again, I only
      12   erionite might be in that region of the         12       know in general terms where -- how
      13   world?                                          13       talc is formed geologically. I know
      14            MR. FROST: Objection.                  14       nothing about talc mines, so I can't
      15            THE WITNESS: You know, this            15       answer any questions relating to talc
      16       paper is seven pages long. I'd happy        16       occurrences in mines.
      17       to take the time to read it. But I          17   QUESTIONS BY MR. FINCH:
      18       would need time, to answer that             18       Q. Well, would you expect that the
      19       question, to read this paper.               19   owners of the Johnson & Johnson mines in
      20   QUESTIONS BY MR. FINCH:                         20   Vermont would have documented their
      21       Q. You said before you read the             21   understanding as to what material they were
      22   paper that the -- Dr. Gunther and the other     22   mining out of the ground over the course of
      23   scientists who wrote it had some information    23   the 35 years that the mines were operating?
      24   that erionite was a possible contaminant in     24            MR. FROST: Objection.
      25   the soil in Mexico.                             25            THE WITNESS: As I said, I
                                             Page 163                                            Page 165
       1            And I'm just wondering how you          1       don't know anything about mine
       2   came to that conclusion when I just showed       2       protocols or documentation. I have no
       3   you the paper before lunch.                      3       knowledge of that, and I'd have to
       4            MR. CHACHKES: Objection.                4       read up on it and research it to give
       5            THE WITNESS: Well, I looked at          5       you a good answer.
       6       that line that I just read, that the         6   QUESTIONS BY MR. FINCH:
       7       person had epithelial malignant              7       Q. Okay. You said you reviewed
       8       pleural mesothelioma in a vehicle            8   some of Dr. Longo's state court reports, in
       9       repairman. So -- and it says who was         9   addition to his three reports in the MDL,
      10       raised on a farm in the Mexican             10   correct?
      11       volcanic belt region. So I -- that's        11       A. Yes. I skimmed them to look
      12       where I'm getting that conclusion.          12   for more analytical data, and having found
      13            But as I said before, I'd have         13   none, I didn't consider them further.
      14       to read the paper to have -- to have        14       Q. Okay. Did you see that in
      15       any ability to answer your question in      15   those reports, or in the disclosures that
      16       an accurate way.                            16   went with those reports, he had listed
      17   QUESTIONS BY MR. FINCH:                         17   certain documents with Johnson & Johnson or
      18       Q. Okay. Would you agree that               18   Imerys Bates numbers on them that formed part
      19   talc mines can have differing amounts of        19   of the basis of his knowledge in the state
      20   accessory minerals in the ore, in the talc      20   court cases?
      21   ore, in the mine?                               21       A. No, because as I just said, I
      22            MR. CHACHKES: Objection.               22   only skimmed those documents to look for data
      23            THE WITNESS: I honestly don't          23   that were relevant to my investigation, which
      24       know anything about talc mines. I do        24   was to evaluate the methodology used by them
      25       know that rocks that contain talc can       25   in the Longo and Rigler reports cited in my
                                                                       42 (Pages 162 to 165)
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       1   report.                                          1   scientist who was retained to analyze
       2       Q. Okay. So to the extent that               2   materials that come from a specific mine in a
       3   Dr. Longo, in various state court reports or     3   specific part of the world, one reasonable
       4   in disclosures that you've been provided         4   thing to do would be to read information
       5   with, lists out Bates labels of Johnson &        5   about that geographic mine or that geographic
       6   Johnson documents or Imerys documents, you       6   source of the materials so that they have
       7   didn't bother to review those; is that           7   some understanding of what other researchers
       8   correct?                                         8   have found when they have investigated that
       9            MR. FROST: Objection.                   9   particular mine?
      10            THE WITNESS: As I said, those          10            MR. CHACHKES: Objection.
      11       documents were reviewed by me only          11            THE WITNESS: That's a really
      12       with the goal of looking for further        12       nebulous, hypothetical question. I
      13       analytical data.                            13       was not hired to do that; I was hired
      14            But my goal in this undertaking        14       to review methodology. So I don't
      15       is to evaluate methodology, and so I        15       have an opinion on that question
      16       did not deem that that was relevant         16       because I haven't even thought about
      17       and, therefore, did not pursue the          17       it.
      18       additional references in those              18   QUESTIONS BY MR. FINCH:
      19       reports.
               reports                                     19       Q. Have you ever been -- you have
      20   QUESTIONS BY MR. FINCH:                         20   been hired, have you not, to analyze rocks
      21       Q. Is it your opinion that the              21   and minerals found in outer space, on Mars or
      22   entire universe of minerals that exists on      22   the moon, for example, to try to determine
      23   the planet Earth can be found in the Vermont    23   what they are, right?
      24   talc mines from which Johnson & Johnson         24       A. I am funded by both NASA and
      25   obtained ore for baby powder?                   25   the National Science Foundation to study
                                            Page 167                                             Page 169
       1            MR. LOCKE: Objection.                   1   mineralogy of objects from all over the solar
       2            THE WITNESS: I have no                  2   system, yes.
       3       knowledge of anything having to do           3       Q. And as part of your background
       4       with the geology of -- of the Vermont        4   work in -- let's say you're given a grant to
       5       talc mines. So I would presume that          5   study minerals found on the moon.
       6       because they are rocks, they contain         6            As part of your work, isn't it
       7       minerals, but I know nothing about           7   correct that you go and review the literature
       8       either the geology or the mineralogy         8   that exists about what other scientists have
       9       of the Vermont talc mines.
                                    mines                   9   found in that environment that gives you some
      10   QUESTIONS BY MR. FINCH:                         10   background understanding of what you might be
      11       Q. Your textbook was -- with                11   looking for?
      12   Dr. Gunther was written for students, is that   12            MR. FROST: Objection.
      13   correct, graduate-level students?               13            THE WITNESS: It depends on
      14       A. Actually it was written for              14       what I was -- what I was engaged to do
      15   undergraduate-level students, but we've sold    15       or what I proposed to do. If I
      16   a lot of copies of the book to people that      16       proposed to do a certain kind of
      17   don't do either of those things. We presume;    17       analysis, yes, I would want to know
      18   we don't really know.                           18       who else had done analyses on that
      19       Q. And the purpose of the book was          19       same material.
      20   in part to teach them how to analyze minerals   20            But in this particular case
      21   to determine what they are?                     21       here, I wasn't hired to do any
      22       A. Yes, that's part of a standard           22       testing, so I have no opinion on -- no
      23   mineralogy curriculum.                          23       interest in knowing what the rest of
      24       Q. Would you agree with me that if          24       the literature says because I'm only
      25   you are a geologist who was -- or any           25       evaluating methodology.
                                                                       43 (Pages 166 to 169)
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       1   QUESTIONS BY MR. FINCH:                          1      that.
       2       Q. Dr. Longo was hired to test               2            What you want to know is what's
       3   specific products and specific ores where the    3       in the material based on the
       4   source of that material was ultimately talc      4       analytical methods that you're using,
       5   mines in Vermont, Italy or China, correct?       5       and that has nothing to do with where
       6            MR. CHACHKES: Objection.                6       the material came.
       7            THE WITNESS: All I know is              7            In fact, knowing where the
       8       that the materials that are in this --       8       material came from might bias a
       9       that I reviewed in preparation of this       9       judgment, whereas unbiased judgment,
      10       report came from Asia, Vermont, and I       10       which is what we want in science,
      11       don't remember where else.                  11       would probably be most useful.
      12   QUESTIONS BY MR. FINCH:                         12            (Dyar Exhibits 16 and 17 marked
      13       Q. Italy?                                   13       for identification.)
      14       A. Italy.                                   14   QUESTIONS BY MR. FINCH:
      15       Q. And would you agree with me              15       Q. Let's mark this as Exhibit 16
      16   that it would be a reasonable thing for a       16   and 17.
      17   scientist to do, who had been tasked with the   17            Okay. I'm putting Exhibit 16
      18   job of analyzing the minerals in a product      18   and 17 in front of you and ask if you've ever
      19   where the source of the primary ingredient of   19   seen them before.
      20   the product was a mine in a particular part     20       A. No, Exhibit 16, and no on
      21   of the world, to read studies that the people   21   Exhibit 17.
      22   who owned the mine had done on the nature of    22       Q. All right. Turn to page 2 of
      23   the minerals that they were taking out of the   23   Exhibit 16.
      24   ground?                                         24            Did you have the understanding
      25            MR. LOCKE: Objection.                  25   that in 1989 Johnson & Johnson sold the mines
                                             Page 171                                            Page 173
       1             THE WITNESS: No, I explicitly          1   that it -- in Vermont that it got its talc
       2       do not agree.                                2   from to a company called Cyprus?
       3             The only thing that's relevant         3             MR. FROST: Objection.
       4       is the methodology and the data that         4             THE WITNESS: I have no
       5       were produced in the reports and             5       knowledge of that.
       6       whether or not the methodology is            6   QUESTIONS BY MR. FINCH:
       7        good, which it, of course, is not.          7       Q. And then ultimately, through a
       8             So where the minerals came from        8   series of other transactions, ended up -- the
       9        is of no concern to whether -- to what      9   mines are owned by Imerys?
      10       the methods were that were used to          10       A. I have no knowledge of that.
      11        analyze it. Those two things have          11       Q. On page 2 of Exhibit 16, the
      12       nothing to do with each other.              12   Cyprus employees who are writing this
      13   QUESTIONS BY MR. FINCH:                         13   document write that "the other serious
      14        Q. Would you agree with me that if         14   mineralogical contaminant in the talc ores of
      15   you're doing a bulk analysis of a sample to     15   Vermont is the fibrous variety of the
      16   determine whether or not it has asbestos in     16   amphibole minerals, tremolite and actinolite,
      17   it or not, information about the manufacturer   17   hydrous calcium, iron magnesium silicates,
      18   of that sample would be important information   18   which have been classified as asbestiform
      19   for Dr. Longo or any scientist to know before   19   minerals by OSHA and EPA. OSHA was suspected
      20   testing the material to determine whether and   20   to declassify nonfibrous, blocky tremolite on
      21   to what extent it had asbestos in it?           21   February 29th but not -- has not as yet
      22             MR. FROST: Objection.                 22   announced their decision. As a result, all
      23             THE WITNESS: No, I do not             23   tremolite, the fibrous varieties of all
      24        agree. And in fact, I can't even           24   amphiboles and chrysotile asbestos in talc
      25        understand why you would want to know      25   ores, are a source of great concern to all

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       1   talc producers and especially to the             1       information in this document for me to
       2   marketers of cosmetic products. Cyprus           2       be able to say anything.
       3   claims that there are no fibers in their         3   QUESTIONS BY MR. FINCH:
       4   cosmetic talc products, and they work            4       Q. Okay. So you certainly can't
       5   rigorously to ensure this. However, a recent     5   opine that this information contained in
       6   paper published by Rutgers University worker     6   Exhibit 16 is incorrect, can you, ma'am?
       7   Alice Blount suggests the presence of fiber      7            MR. FROST: Objection.
       8   in several cosmetic talcs, some of which         8            MR. CHACHKES: Objection.
       9   might have been from Cyprus West Windsor,        9            THE WITNESS: Indeed, I can't
      10   which is a source of great concern to Cyprus    10       opine if it's correct either. I have
      11   management and potentially to their principal   11       no opinion.
      12   customer, Johnson & Johnson. Talc de Luzenac    12   QUESTIONS BY MR. FINCH:
      13   personnel are well aware of the situation,      13       Q. Okay.
      14   and Phillipe Moreau is currently quietly        14       A. Because there is insufficient
      15   working to identify the reality and the         15   context and information about this document.
      16   magnitude of the problem.                       16            For example, it says tremolite,
      17            "Vermont talcs are derived from        17   but there's no indication of really what kind
      18   altered serpentine, a natural host for          18   of tremolite it is. It confuses the
      19   asbestiform minerals. There is certainly        19   definition of fibers.
      20   visible tremolite and actinolite in specific    20            I would say there are a lot of
      21   zones of Vermont deposits. Fibrous tremolite    21   issues with this document that I would want
      22   was identified by the writer in exposures and   22   to know more about, so I can't really comment
      23   cores at the East Argonaut and Black Bear       23   about this document.
      24   mine. Cyprus staff report tremolite from the    24       Q. Okay. Exhibit 17, do you have
      25   Hammondsville and Clifton deposits."            25   that document?
                                             Page 175                                            Page 177
       1            MR. CHACHKES: Past. You                 1       A. I do.
       2       missed --                                    2       Q. This is analysis of fibrous
       3            MR. FINCH: Past tremolite from          3   material from Argonaut waste rock?
       4       the Hammondsville and Clifton                4       A. Yes, I see that.
       5       deposits.                                    5       Q. Dated May 23, 2002?
       6   QUESTIONS BY MR. FINCH:                          6       A. Yes. That's what it says.
       7       Q. Do you see that?                          7       Q. Do you know who Julie Pier is?
       8       A. I see that that's what the                8       A. No.
       9   document says, yes.                              9       Q. You don't know that she's a
      10       Q. Okay. And you have no                    10   scientist for Luzenac America at the time
      11   knowledge one way or another to suggest that    11   this memorandum was written?
      12   the authors of this memorandum are wrong in     12            MR. FROST: Objection.
      13   their conclusions, correct?                     13            THE WITNESS: I've never heard
      14            MR. CHACHKES: Objection.               14       of either Julie Pier or Luzenac.
      15            MR. LOCKE: Objection.                  15   QUESTIONS BY MR. FINCH:
      16            THE WITNESS: I do not have             16       Q. All right. On the second page
      17       enough information about this document      17   there is an SEM image and an EDS chemical
      18       to render an opinion.                       18   analysis of waste rock from the Argonaut
      19            I see that it's an interoffice         19   mine.
      20       correspondence. It talks about mines        20            Do you see that?
      21       in Vermont, but Vermont's a big state.      21       A. Yes.
      22       These deposits are presumably aerially      22       Q. All right. Do you agree with
      23       very large. I don't know if these           23   me that the pictograph at the top, the
      24       deposits were used for talc.                24   material looks like fibrous material and not
      25            So there's just not enough             25   fragments?
                                                                       45 (Pages 174 to 177)
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       1       A. It's almost impossible to judge           1       Q. This is science being done for
       2   that from a two-dimensional image, so I don't    2   commercial purposes, correct?
       3   really have any opinion on that. I don't         3            MR. FROST: Objection.
       4   have an opinion.                                 4            THE WITNESS: As I've stated, I
       5            I'd like to be able to measure          5       have no idea what Luzenac is.
       6   the population and do an analysis on it that     6   QUESTIONS BY MR. FINCH:
       7   way to render an opinion.                        7       Q. This was science being done not
       8       Q. Would you agree with me that              8   for courtroom purposes?
       9   a scientist using a scanning electron            9       A. I have no idea what the purpose
      10   microscope can, by moving the plates around,    10   of this document is. I don't know anything
      11   look at the structure that he or she is         11   about the context. And it appears that there
      12   viewing in three dimensions and make a          12   is additional information that is not
      13   determination whether morphologically and       13   included in the two pages that I've been
      14   visually it looks more like a fiber or a        14   given, so it's hard to comment on this. I
      15   bundle of fibers or a cleavage fragment?        15   can't even tell if this is the entire memo.
      16            MR. FROST: Objection.                  16       Q. Can you opine one way or
      17            THE WITNESS: No, I do not              17   another about whether tremolite exists in
      18       agree with that statement. In fact,         18   Vermont talc mines?
      19       the amount of tilt on the stage is          19            MR. CHACHKES: Objection.
      20       very small. There's no way you can          20            THE WITNESS: No, I cannot. I
      21       get a three-dimensional view of             21       saw no evidence in any of the
      22       something.                                  22       Dr. Longo and Rigler reports that I
      23            Only with a special kind of            23       examined that supported a conclusion
      24       polarizing light microscope can you         24       of asbestos being present, and that's
      25       actually do a three-dimensional             25       the only data that I'm familiar with.
                                             Page 179                                            Page 181
       1       assessment in that manner.                   1       Those are the only data I'm familiar
       2   QUESTIONS BY MR. FINCH:                          2       with.
       3       Q. Do you see also that there's an           3   QUESTIONS BY MR. FINCH:
       4   EDS chemical analysis below it?                  4       Q. Can anthophyllite have varying
       5       A. I do.                                     5   amounts of iron?
       6       Q. And the -- Dr. Pier concludes,            6       A. Yes.
       7   based on that, that the chemical analysis of     7       Q. We haven't talked about another
       8   the material is consistent with tremolite?       8   way to analyze the chemical composition of
       9           MR. CHACHKES: Objection.                 9   materials, X-ray diffraction or XRD.
      10           THE WITNESS: I see that that's          10            Are you familiar with that?
      11       what this document concludes, yes.          11       A. Certainly. There's a chapter
      12   QUESTIONS BY MR. FINCH:                         12   if my book, and I teach that routinely.
      13       Q. And the SEM, EDS analysis on             13       Q. Would you agree with me that
      14   the second page of Exhibit 17 contains a        14   what X-ray diffraction does, it allows you
      15   conclusion that the chemical composition of     15   to -- well, you tell me what X-ray
      16   the material is consistent with tremolite,      16   diffraction does, XRD.
      17   correct?                                        17       A. X-ray diffraction is a superset
      18       A. It says, "The chemical analysis          18   of what we've been talking about, SAED. It
      19   of the material above is consistent with        19   uses diffraction of atoms in layers in a
      20   tremolite." Yes, that's what it says.           20   mineral structure to indicate diagnostic
      21       Q. And it doesn't have any of the           21   properties such as the spacing between the
      22   quantitative data found at the bottom of        22   atoms in the structure.
      23   Figure 7 in your report, correct?               23       Q. Is X-ray diffraction a
      24       A. That's correct. It looks to me           24   sensitive-enough tool to find asbestos
      25   like another example of bad science.            25   contamination in material if it's less than
                                                                       46 (Pages 178 to 181)
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       1   0.1 percent by weight of the material?           1       Q. And aspect ratio just is the
       2            MR. FROST: Objection.                   2   ratio of length to width; is that correct?
       3            THE WITNESS: So I believe if            3       A. That's correct.
       4       you look at the ISO 22262-1, it              4             But it's possible to have
       5       explains that in fact it is difficult        5   morphologies that have nothing to do with
       6       to measure abundances of small               6   dimensions.
       7       materials at those levels with X-ray         7       Q. How so?
       8       diffraction.                                 8       A. For example, minerals form
       9   QUESTIONS BY MR. FINCH:                          9   as -- in rose shapes with petals, so that's a
      10       Q. Would X-ray diffraction allow            10   specific morphology.
      11   you to determine whether or not there is        11       Q. Would you agree with me that
      12   fibrous talc in a sample of talc that you       12   minerals can form in bundles?
      13   were testing?                                   13       A. Bundles is not a term we
      14       A. Absolutely not.                          14   generally use to identify minerals. For
      15            MR. LOCKE: Objection.                  15   example, I don't believe we even discuss the
      16            THE WITNESS: Because X-ray             16   term "bundle" in the chapter of our book
      17       diffraction uses the arrangement of         17   where we talk about the physical
      18       atoms in the crystal structure, which       18   characteristics of minerals.
      19       at best only tells you which mineral        19             On the other hand, in my report
      20       species it is. But X-ray diffraction        20   I show a photograph of a -- of a -- excuse
      21       cannot determine anything about the         21   me, of a bundle, so indeed I'm aware that
      22       morphology of particular particles.         22   some minerals can form as bundles.
      23   QUESTIONS BY MR. FINCH:                         23       Q. Do you agree with me that
      24       Q.. Would you agree that talc can           24   asbestos fibers can form as bundles?
      25   be fibrous?                                     25       A. Well, given that there's a
                                             Page 183                                             Page 185
       1       A. I have no knowledge of that               1   picture of a -- here we go. It's
       2   because I haven't studied that
                                     that.                  2   Figure 23 B. It's an image of a tremolite
       3       Q. But whether talc is -- can be             3   bundle of asbestiform particles from a paper
       4   fibrous or not, you wouldn't -- X-ray            4   by Harper, et al.
       5   diffraction would not be able to tell you        5            So, yes, given that this image
       6   whether there was fibrous talc in a sample of    6   exists, and to the extent that Harper asserts
       7   talc, correct?                                   7   that they can form as bundles, then, yes,
       8       A. Correct. X-ray diffraction                8   indeed, tremolite can form as an asbestiform
       9   cannot determine the morphology of a             9   bundle.
                                                                bundle
      10   particle. Only confirm the crystal              10       Q. And can anthophyllite form as
      11   structure.                                      11   an asbestiform bundle?
      12       Q. You just used the word                   12       A. I have personally not seen
      13   "morphology" in a sentence.                     13   either an image or a -- with my own eyes, an
      14            Can you define how you used            14   anthophyllite bundle, so I really can't
      15   morphology in that sentence?                    15   answer that question either way
                                                                                             way.
      16       A. I meant the shape, aspect                16       Q. So morphology refers to the
      17   ratio. It's a...                                17   shape as measured by aspect ratio and --
      18       Q. So morphology can mean shape             18       A. As measured, for example, by --
      19   and aspect ratio?                               19       Q. As measured, for example, by
      20       A. Well, I was saying as -- for             20   the aspect ratio and the nature in which the
      21   example, as evidenced by aspect ratio, is       21   material can be found, whether it's
      22   what I meant to say.                            22   rose-petal-shaped or a bundle or a fragment
      23       Q. Okay. As evidenced by aspect             23   or something else, right?
      24   ratio?                                          24       A. Correct.
      25       A. Correct.                                 25       Q. And those are -- the way you
                                                                       47 (Pages 182 to 185)
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       1   would analyze that in a laboratory is you        1   image or individual crystal.
       2   would take a photomicrograph of it using         2       Q. Okay. So if you have an
       3   either a PLM or a electron microscope,           3   individual image that is 10 microns long, you
       4   scanning or transmission, and take               4   can't make a conclusive diagnosis or
       5   measurements of the structure that you're        5   determination as to whether or not based on
       6   observing to determine what its aspect ratio     6   morphology it is asbestiform or
       7   is, how thick it is, how long it is, and what    7   non-asbestiform, correct?
       8   it looks like visually, like exhibit --          8            MR. FROST: Objection.
       9   excuse me, Figure 23 C that you referred me      9            THE WITNESS: You cannot
      10   to before.                                      10       determine anything from an individual
      11            MR. CHACHKES: Objection.               11       image. You need a population to be
      12   QUESTIONS BY MR. FINCH:                         12       able to make a determination.
      13        Q. Correct?                                13   QUESTIONS BY MR. FINCH:
      14        A. I referred you to 23 B before.          14       Q. Okay. And how many fibers
      15        Q. Excuse me, 23 B as in boy.              15   consist of a population or images,
      16        A. So I got to look at your                16   structures?
      17   question.                                       17       A. Statistically, that's a
      18            It -- actually, can you restate        18   difficult answer -- that's a difficult
      19   the question as a question?                     19   question to answer. It would depend on the
      20        Q. Sure.                                   20   context and the problem at hand.
      21            Morphology, I'm trying to get          21       Q. Is there any generally accepted
      22   the universe of the stuff that goes into the    22   standard that you could point me to that says
      23   analysis of morphology.                         23   in order to do a statistical analysis of a
      24            It is the shape as, for                24   population you need a minimum of X structures
      25   example, measured by aspect ratio, the size,    25   or fibers to analyze?
                                             Page 187                                             Page 189
       1   the appearance, and the form in which it is      1       A. I would want to go back and
       2   found, as exampled by either a bundle or a       2   look at some of the papers that I cited where
       3   rose petal shape.                                3   we talk about looking at populations. For
       4            Are those all the aspects of            4   example, the R-93 document talks about
       5   morphology as it relates to asbestos             5   populations. One of these ISO documents
       6   minerals?                                        6   talks about populations. But I do not recall
       7            MR. FROST: Objection.                   7   specifically any of them having a number of
       8            THE WITNESS: The only aspect            8   samples that you'd have to analyze.
       9       of morphology that applies -- that is        9             We talk about this in my
      10       relevant to this identification of          10   statistics book. The number of samples that
      11       asbestiform minerals is whether or not      11   you need for any given scenario is extremely
      12       the population of shapes expressed as       12   variable.
      13       width versus length or aspect ratio         13       Q. So sitting here right now,
      14       belongs to the population of                14   which is my one chance to take your
      15       asbestiform or non-asbestiform              15   deposition before the Daubert hearing, you
      16       minerals. That is the only aspect of        16   don't know of any generally accepted or
      17       morphology that's relevant to this          17   relied upon standard which has a minimum
      18       particular inquiry.                         18   number of fibers or structures you need to
      19   QUESTIONS BY MR. FINCH:                         19   analyze in order to analyze the aspect ratios
      20       Q. Okay. And that population of             20   to determine whether it's asbestiform or
      21   shapes, that is a statistical analysis you do   21   non-asbestiform?
      22   if you have enough structures to analyze for    22             MR. FROST: Objection.
      23   purposes of aspect ratio, correct?              23             MR. LOCKE: Objection.
      24       A. Correct. You cannot make a               24             THE WITNESS: I would say you
      25   firm diagnosis on the basis of an individual    25       need enoughg fibers to create a
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       1       distribution with an acceptable              1       talc mines.
       2       standard deviation on the mean.              2   QUESTIONS BY MR. FINCH:
       3   QUESTIONS BY MR. FINCH:                          3       Q. Do you know where in the world
       4       Q. Is 100 fibers or structures               4   bredigite is found?
       5   sufficient to do that?                           5       A. No.
       6       A. I think that's -- that's                  6       Q. Merwinite?
       7   subjective and it depends -- you know, it        7       A. No.
       8   depends on the particular profile of the         8       Q. Rondorfite?
       9   population. And it also depends on the           9       A. No.
      10   confidence with which you want to be able to    10       Q. You don't know if any of those
      11   state your opinions or your conclusions
                                       conclusions.        11   minerals were ever found in any analysis
      12       Q. All right. At page 18,                   12   anyone's ever done of talc from Vermont used
      13   footnote 34.                                    13   by Johnson & Johnson, correct?
      14       A. Page 18 of my report?                    14       A. I believe I've made it clear
      15       Q. Yes, page 18, footnote 34.               15   that I know nothing about the mineralogy of
      16       A. Uh-huh.                                  16   any of the rocks in Vermont.
      17       Q. You say, "The EDS results in             17       Q. Or that would go for Italy and
      18   the Longo, Rigler MDL reports labeled as        18   China as well? You know nothing about the
      19   tremolite may very well be consistent with      19   mineralogy of the talc mines Johnson &
      20   minerals other than diopside."                  20   Johnson sourced its talc from Italy or China?
      21            Do you know if diopside has            21       A. That's correct.
      22   ever been found in any of the mines in          22            May I add that although those
      23   Vermont that Johnson & Johnson obtained talc    23   minerals are very rare, I continue in my
      24   from?                                           24   footnote to say many more common minerals
      25       A. No, I don't know anything about          25   would be included in this list if iron and
                                             Page 191                                             Page 193
       1   the mineral assemblages present anywhere in      1   sodium were allowed.
                                                                               allowed
       2   Vermont.                                         2            So I specifically created this
       3        Q. You go on to say, "Dr. Longo             3   example to be simple, but, in fact, in nature
       4   and Rigler might have never produced their       4   there would be many, many minerals that would
       5   quantitative data and, accordingly, this         5   be easily confused with tremolite on the
       6   analysis cannot be completed, drop footnote      6   basis of an EDS analysis.
       7   34.                                              7       Q. All right. We were talking
       8            "For example, these may include         8   about morphology a little while ago.
       9   at least monticellite, bredigite, merwinite      9            That's one way -- one analysis
      10   and rondorfite, which are other minerals that   10   that a scientist does to determine whether or
      11   contain only silicone, magnesium and            11   not material he or she is analyzing is
      12   calcium."                                       12   asbestos or not, right? It's one of the
      13        A. That's what I say.                      13   pieces of the puzzle?
      14        Q. All right. Do you know if --            14       A. So, indeed, the criterion to be
      15   where in the world monticellite is found?       15   lengthwise separable into flexible fibers
      16        A. Actually, monticellite is found         16   with high tensile strength and flexibility is
      17   in New York. I've collected it in the           17   the definition of asbestos, then, yes, the
      18   Adirondacks just across the river from          18   assessment of whether something is that sort
      19   Vermont.                                        19   of fiber is relevant, yes.
      20        Q. Do you know if it's ever been           20       Q. And one of the analyses that
      21   found in any of the mines in Vermont that       21   goes into that is analysis of aspect ratios,
      22   Johnson & Johnson obtained its talc from?       22   correct?
      23            MR. CHACHKES: Objection.               23       A. Aspect ratios are one way of
      24            THE WITNESS: I know nothing            24   making that assessment, yes.
      25        about the mineralogygy of the Vermont      25       Q. Okay. And another analysis
                                                                       49 (Pages 190 to 193)
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       1   that a scientist can and should do to            1       Q. And SAED is performed with
       2   determine whether or not the material he is      2   either a transmission electron microscope or
       3   analyzing is asbestos or not is an analysis      3   a SEM microscope?
       4   of its chemical composition, correct?            4       A. Generally, yes.
       5        A. So the definition of asbestos            5       Q. And the analyst has the
       6   includes chemical composition, crystal           6   structure or bundle on the grid, or on
       7   structure and lengthwise separable into          7   multiple grids, and is able to rotate it and
       8   flexible fibers with high tensile strength.      8   look at the SAED -- look at the crystalline
       9             So to the extent that chemical         9   structure by SAED from different angles or
      10   composition is part of identifying a specific   10   viewpoints, correct?
      11   mineral species, then, yes, it's relevant.      11       A. Sort of.
      12        Q. Amosite is one of the                   12       Q. What's a goniometer?
      13   well-accepted amphibole minerals that can be    13       A. So a goniometer is something
      14   asbestiform?                                    14   that allows you to swivel something in
      15        A. That is one of the six minerals         15   three-dimensional space. But on a TEM, the
      16   that's listed in the many lists in this         16   space constraints are such that you can only
      17   document, yes.                                  17   swivel it a very small amount.
      18        Q. Do you know whether amosite can         18       Q. Does polarized light microscopy
      19   split both horizontally as well as              19   allow you to determine whether or not a
      20   longitudinally?                                 20   structure or a fiber is asbestos or not?
      21             MR. FROST: Objection.                 21       A. PLM allows you to determine the
      22             THE WITNESS: I have no                22   refractive index of a material, and it allows
      23        explicit knowledge of amosite. There       23   you to say something about the dimensions of
      24        was no mention of amosite in the Longo     24   an individual particle. But it tells you
      25        and Rigler documents that I was asked      25   nothing about the population distribution
                                            Page 195                                              Page 197
       1       to review, and, therefore, I have no         1   and, therefore, couldn't tell you anything
       2       opinion on that because I have not           2   about whether or not it was asbestiform or
       3       investigated that question.                  3   non-asbestiform.
       4   QUESTIONS BY MR. FINCH:                          4       Q. But if you have a sample of
       5       Q. The way one determines the                5   material and you combine all four different
       6   chemical composition of a fiber or structure     6   analysis - morphology, the chemical
       7   that one expects to potentially be asbestos      7   composition analysis using EDS, EDXA, the
       8   is using EDS, EDXA, correct?                     8   crystal structure analysis using SAED, and a
       9       A. So as I explained in my report,           9   polarized light microscope analysis of the
      10   EDS and EDXA are the only analytical --         10   material, the same -- the sample - would that
      11   geo-analytical techniques that are high         11   give you a high level of confidence that what
      12   enough in resolution to be able to say          12   you were looking at was asbestos if it was
      13   anything about the chemical composition of a    13   consistent with the regulated asbestos
      14   very tiny particle.                             14   materials as measured by morphology, chemical
      15       Q. And that is a qualitative                15   composition, crystal structure and refractive
      16   analysis that is semi-quantitative at best,     16   index?
      17   correct?                                        17            MR. CHACHKES: Objection.
      18       A. Correct.                                 18            THE WITNESS: Well, that's
      19       Q. A third step that a scientist            19       quite a mouthful of a sentence.
      20   should undertake to determine whether or not    20            Boy. If done correctly. But,
      21   a particle or structure that he or she is       21       of course, the methodology used in the
      22   analyzing is asbestos is to analyze its         22       Longo, Rigler report was not done
      23   crystalline structure, correct?                 23       correctly.
      24       A. Using a technique such as SAED,          24            For example, you say SAED.
      25   yes.                                            25       Well, a single SAED analysis is not
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       1      enough to identify a mineral. So if           1   having only two dimensions is not diagnostic,
       2      you only had one SAED, then you               2   which is the point of the data I present in
       3      couldn't identify asbestos, et cetera,        3   this report to show that there are many, many
       4      et cetera.                                    4   minerals that satisfy the D spacing criteria
       5           If you only had one measurement          5   that Dr. Longo uses.
       6      of the dimensions of the particle, you        6        Q. All right. The D spacing is
       7      wouldn't know anything about the              7   the space -- the distance between the atoms,
       8      population from which it was drawn            8   correct?
       9      and, therefore, you could not                 9        A. Distance between layers of
      10      determine if it came -- if it was            10   atoms, yes.
      11      asbestos.                                    11        Q. And the zone axis measurement
      12           So that's a general --                  12   is the measurement of the angles?
      13      generalized question that is                 13        A. The zone axis measurement just
      14      impossible to answer. But I can              14   refers to the way the crystal was positioned
      15      certainly say that with the individual       15   at the time the X-ray pattern was collected
      16      measurements -- or with the methods          16   relative to the crystal structure itself.
      17      used in the -- used by Drs. Longo and        17        Q. And you -- and you say that the
      18      Rigler, no, you cannot determine if          18   Yamate 3 methodology for confirming the
      19      something is asbestos.                       19   presence of asbestos in talc requires two
      20           Moreover, I will also say that          20   SAED zone axis determination and an EDS
      21      each of those techniques perhaps             21   analysis, correct?
      22      identifies maybe 250 to 500 different        22        A. That's what the Yamate
      23      possible minerals -- I'm just making         23   statement says. And if you'd like, we can
      24      those numbers up -- and they're the          24   take a look at that together.
      25      same 250 to 500 minerals because they        25        Q. Well, we'll get to there in a
                                            Page 199                                              Page 201
       1       all have very similar compositions,          1   minute.
       2       crystal structures, et cetera, et            2            Other than Yamate, 1984, can
       3       cetera.                                      3   you point me to any generally recognized
       4            So this methodology is                  4   standard or peer-reviewed literature that
       5       fundamentally flawed.                        5   says that you have to have two SAED zone axis
       6   QUESTIONS BY MR. FINCH:                          6   determinations for every particle that one is
       7       Q. Are you saying the -- let me              7   analyzing using SAED?
       8   focus on the SAED.                               8        A. So I would imagine that every
       9            What's the basis for your               9   mineralogy book ever written about
      10   statement in your report at page 29 and 40      10   crystallography explains that minerals are
      11   that --                                         11   three-dimensional structures, and it's always
      12       A. You mean 29 and 30?                      12   necessary to know all three directions in
      13       Q. 29 and 40. You say it in two             13   order to identify a mineral.
      14   different places.                               14            Books that come to mind include
      15       A. Oh.                                      15   probably the Hurlbut and Klein textbook that
      16       Q. You cite to Yamate for the               16   you already have, Bloss' optical
      17   proposition that SAED requires at least two     17   crystallography book, certainly my book.
      18   zone axes in order to make a determination of   18            And many other sources would
      19   the crystalline structure.                      19   tell you that just because a mineral has one
      20       A. Yes, that's correct.                     20   particular dimension, which is basically what
      21       Q. What's the basis for that                21   Dr. Longo provides in the diffraction
      22   statement?                                      22   verification document, no conclusions can be
      23       A. One SAED pattern only tells you          23   drawn regarding identification.
      24   two dimensions of what is a three-dimensional   24        Q. With respect to asbestos
      25   crystal structure lattice. As it happens,       25   specifically, can you identify anything
                                                                          51 (Pages 198 to 201)
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       1   besides Yamate that states that you need two     1   near exact zone orientations be done for
       2   SAED zone axis determinations in order to --     2   every structure that one is looking at?
       3   and an EDS analysis in order to make a           3       A. That's what it says.
       4   determination that a material is asbestos?       4       Q. Could you turn to the next
       5             MR. FROST: Objection.                  5   page?
       6             THE WITNESS: I'm sure I could          6       A. It says "from each selected
       7       find some citations. It's such a             7   fiber."
       8       common, obvious thing that I don't           8       Q. Turn to the next page in
       9       think anyone would write a                   9   Yamate.
      10       peer-reviewed paper to even say that.       10       A. (Witness complies.)
      11   QUESTIONS BY MR. FINCH:                         11       Q. Under point 5 it says, "It is
      12       Q. You haven't listed anything              12   recommended that approximately 20 percent, at
      13   other than Yamate in your report; is that       13   least 10 percent of the fibers examined in
      14   correct?                                        14   level 2 analysis, be selected for level 3
      15       A. To support this particular               15   SAD -- SAED analysis. Fibers which would be
      16   point, no, because it's common knowledge        16   classified as amphiboles are ambiguous in
      17   among crystallographers.                        17   level 2 analysis should be more often
      18       Q. All right. You have Yamate. I            18   included for level 3 analysis as compared to
      19   think it's Exhibit --                           19   those fibers which could readily be
      20       A. 7.                                       20   identified as not asbestos."
      21       Q. 7.                                       21            Do you see that?
      22             You were quoting from page 44?        22       A. I see that
                                                                                that.
      23       A. Uh-huh.                                  23            So let's take this back to
      24       Q. "The protocol states that the            24   what's actually in the Longo, Rigler reports.
      25   identification requires two SAED zone axis      25            So in point of fact, there are
                                            Page 203                                             Page 205
       1   determinations and an EDS analysis."             1   no individual fibers for which two SAED
       2            You're referring to the -- I'm          2   patterns are given. And in fact, only after
       3   on page 41. You're referring to the Yamate       3   the fact were any diffraction verification
       4   protocol, right?                                 4   documents given, and I don't believe that
       5       A. Oh, wait a minute. Are we                 5   they represent even 20 percent of the
       6   talking about my report now?                     6   particles identified by Drs. Longo and
       7       Q. I'm looking at your report,               7   Rigler. So their methodology is flawed on
       8   page 41, and it says, "The protocol,"            8   many counts relating to this.
       9   referring to Yamate, "states that                9       Q. Isn't it true that the SAED
      10   identification requires two SAED zone axis      10   diffraction verification documents that Longo
      11   determinations."                                11   and Rigler provided consist of more than
      12       A. Yes, that's what it says.                12   10 percent of the total number of structures
      13       Q. Okay. And where does it say              13   they analyzed?
      14   that in Yamate?                                 14       A. I believe they only looked at
      15       A. Oh, let's take a look here.              15   six out of the 70-odd samples that they
      16            On page 44 it says, "The level         16   studied, so six out of 70-odd is not quite
      17   3 analytical procedure consists of locating     17   10 percent. I don't have the exact numbers
      18   the selected fibers," blah-blah-blah,           18   in my head.
      19   "obtaining and according two zone axis SAED     19       Q. ISO 22262-1 is a publication
      20   patterns from each selected fiber, and          20   that you at least cite to and rely on in your
      21   obtaining, recording and photographing          21   discussion of Dr. Rigler and Dr. Longo's
      22   representative EDS spectra from the subject     22   work, correct?
      23   fiber."                                         23            MR. FROST: Objection.
      24       Q. Okay. Does the Yamate criteria           24            THE WITNESS: I certainly point
      25   require that SAED analysis from two different   25       out where their methodology is
                                                                       52 (Pages 202 to 205)
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       1       consistent and inconsistent with             1   amounted in the appropriate holder" --
       2       what's in this report, yes.                  2             MR. CHACHKES: Mounted.
       3   QUESTIONS BY MR. FINCH:                          3   QUESTIONS BY MR. FINCH:
       4       Q. Could you turn to page 64 of              4         Q. -- "mounted in the appropriate
       5   what's been marked as Exhibit 4, ISO 22262-1?    5   holder."
       6       A. Section F 3?                              6             And then it goes on to describe
       7       Q. Yes.                                      7   the complete rotation of the specimen grid
       8            What is it talking about in             8   and the tilting of the grid about a single
       9   section F 3?                                     9   axis.
      10       A. Electron diffraction.                    10             Do you see that?
      11       Q. Is that another name for SAED?           11         A. Yes.
      12       A. In this context, yes.                    12         Q. And it instructs the analyst to
      13       Q. Okay. One, two, three, four,             13   tilt the fiber until an ED pattern appears,
      14   five paragraphs down --                         14   which is a symmetrical, two-dimensional --
      15       A. Uh-huh.                                  15   which is a symmet -- two words, a, space,
      16       Q. -- ISO 22262-1 states, "ED,"             16   symmetrical, two-dimensional array of spots.
      17   referring to electron diffraction patterns,     17   The recognition of zone axis alignment
      18   "can be particularly useful for                 18   conditions require some experience on the
      19   differentiating fibrous talc from               19   part of the operator.
      20   anthophyllite asbestos, both of which have      20             Do you agree with that?
      21   similar EDXA spectra."                          21         A. Yes. Although we teach
      22            First of all, do you agree that        22   students to do that.
      23   fibrous talc and anthophyllite asbestos have    23         Q. And you agree with me that
      24   similar EDXA spectra?                           24   what's going on here is the analyst is
      25       A. I agree that talc and                    25   tilting the structure around in realtime,
                                            Page 207                                             Page 209
       1   anthophyllite have similar EDS spectra           1   looking at it through the transmission
       2   because, of course, that's all you can say       2   electron microscope to look -- to see whether
       3   about those methods. They only look at           3   or not when he or she adjusts the goniometer
       4   chemistry. So all I can say is that              4   that the -- whether or not the hexagonal
       5   chemically, talc and anthophyllite can be        5   pattern changes or not?
       6   quite similar.                                   6       A. Sort of.
       7        Q. Then going on to, "Electron              7            What's going on is that you're
       8   diffraction of talc produces a pseudo            8   trying to tilt the sample so that rows of
       9   hexagonal pattern that does not change as the    9   atoms in the sample are perpendicular to the
      10   fiber is tilted using the goniometer.           10   beam of electrons. That's what you're doing.
      11   Anthophyllite asbestos, on the other hand,      11            And that satisfies the
      12   produces assorted spots appearing and           12   diffraction condition and, therefore, gives a
      13   disappearing along layer lines as the fiber     13   pattern of spots.
      14   is tilted using the goniometer."                14       Q. All right. On page 65 --
      15             That refers to the analyst            15       A. Uh-huh.
      16   looking at the sample in the transmission       16       Q. -- the standard states, "If the
      17   electron microscope and tilting it, correct?    17   results obtained from one ED pattern do not
      18        A. That's what it refers to, yes.          18   resolve any ambiguity in the identification
      19        Q. All right. The next two                 19   of a fiber, a second ED pattern obtained at a
      20   sentences deal with chrysotile, so I'm going    20   different orientation of the fiber can be
      21   to skip those.                                  21   examined, and the observed tilt angle between
      22             "Analysis of laboratory samples       22   the two orientations can be compared with the
      23   seldom requires zone axis measurements.         23   theoretical angle calculated from the
      24   However, if a zone axis ED analysis is to be    24   suspected crystal structure."
      25   attempted
                  p on the fiber, the sample p should be   25            Do you see that?
                                                                       53 (Pages 206 to 209)
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       1       A. Actually, I don't see where               1   that ISO 22262-1 at page 64 says that at
       2   that is, but --                                  2   least when you're examining anthophyllite
       3       Q. Page 65.                                  3   asbestos versus talc, it becomes apparent by
       4       A. Yeah, I'm looking at it.                  4   tilting the goniometer which is which because
       5       Q. Bottom paragraph.                         5   the image does not change if it's talc, if
       6       A. Oh, at the bottom. Yes. Okay.             6   the fiber is tilted?
       7       Q. All right.                                7              MR. LOCKE: Objection.
       8       A. Where it's talking about using            8              THE WITNESS: So let's
       9   a computer program to do this, yes.              9        decompose that question a little bit.
      10       Q. What it says is, "If the                 10              First of all, it is true that
      11   results obtained from one ED pattern do not     11        at specific orientations the
      12   resolve any ambiguity in the identification     12        diffraction patterns of talc and
      13   of a fiber, a second ED pattern obtained at a   13        anthophyllite can look quite similar.
      14   different orientation of the fiber can be       14              It is also true that if you
      15   examined."                                      15        tilt the stage, you may not see the
      16             Would you agree with me that          16        same pattern of spots for talc and
      17   "can" does not say "shall" or "must"?           17        anthophyllite.
      18       A. I agree with you that it says            18              But it all goes back to the
      19   "can," but I believe you're proving the point   19        point I make in my report, which is
      20   I made in my report, which is that crystal      20        that if you only have one of these
      21   structures are inherently three-dimensional,    21        patterns, it doesn't matter how hard
      22   and you cannot identify a specific mineral      22        you work to get it, one pattern is not
      23   species on the basis of only one orientation.   23        enough to identify a three-dimensional
      24       Q. But how do you -- what's --              24        structure, because one pattern can
      25   what is the basis for your conclusion that      25        only physically tell you about two
                                             Page 211                                             Page 213
       1   the analysts that were looking at the            1       dimensions.
       2   crystalline structure in realtime using SEM      2            MR. CHACHKES: And by the way,
       3   in Dr. Longo's lab were not turning the          3       we've been going a little over an
       4   goniometer to look at it from multiple           4       hour, if you reach a natural breaking
       5   perspectives?                                    5       point.
       6            Do you have any basis for               6            MR. FINCH: Yeah, this is a
       7   concluding that they weren't doing that?         7       good breaking point.
       8       A. My basis for concluding that is           8            MR. CHACHKES: Thank you.
       9   that they only include one image for each        9            VIDEOGRAPHER: Okay. The time
      10   crystal. Therefore, there is no evidence in     10       is 2:24 p.m. Off the record.
      11   any of their reports that they did multiple     11        (Off the record at 2:24 p.m.)
      12   zone axis measurements.                         12            VIDEOGRAPHER: Okay. We are
      13       Q. So what you're saying is                 13       back on the record. The time is
      14   because there's not more than one image, that   14       2:46 p.m.
      15   means that they didn't look at it from two      15   QUESTIONS BY MR. FINCH:
      16   different angles, as ISO 22262-1 discusses at   16       Q. Good afternoon, Professor Darby
      17   page 64?                                        17   Dyar. We're back on the record after a short
      18       A. Precisely. And that is the               18   break.
      19   point I make in my report, that they do not     19            On page 32 of your expert
      20   look at more than one zone axis on any          20   witness report, you write that "The SAED
      21   individual crystal.                             21   patterns are labeled with mineral species
      22       Q. Well, you're just assuming               22   names using only visual inspections based on
      23   that, aren't you? They just -- they didn't      23   operator experience, methodology for which
      24   take a picture of a different zone axis.        24   the Longo, Rigler MDL report cite no support.
      25            But wouldn't you
                                  y agreeg with me         25   This practice may be able to distinguish
                                                                       54 (Pages 210 to 213)
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       1   among species for materials that are already     1   different species, correct?
       2   known to contain asbestos, but it may fail in    2             MR. CHACHKES: Objection.
       3   the applications where the spectrum of           3             THE WITNESS: I do use the word
       4   possible mineralogy is broad."                   4       "may," and I would say that if you
       5            That's what you write, correct?         5       handed me a clump of asbestos and
       6       A. That's what I write.
                                     write                  6       asked me to determine which of the six
       7       Q. What is the basis for your                7       mineral species it was, I might be
       8   statement that the spectrum of possible          8       able to do -- to use SAED to identify
       9   mineralogy is broad in the talc mines in         9       which of the six it was, which is why
      10   Vermont, in Italy, from which Johnson &         10       I deliberately used the word "may"
      11   Johnson obtained its talc?                      11       fail.
      12            MR. CHACHKES: Objection.               12   QUESTIONS BY MR. FINCH:
      13            THE WITNESS: So because I know         13       Q. Am I correct that you have no
      14       nothing about the mineralogy in those       14   basis for your conclusion that the spectrum
      15       localities, all I can say is this           15   of possible mineralogy in the Vermont source
      16       general statement, which is that            16   talc used by Johnson & Johnson -- strike
      17       looking at an SAED pattern, which is        17   that.
      18       what Longo and Rigler and their             18             Am I correct that you have no
      19       associates admittedly do in their           19   basis for your statement in your report that
      20       deposition, makes it difficult to           20   the spectrum of possible mineralogy is broad
      21       distinguish mineral species in              21   when it comes to the sources of talc used by
      22       applications where the spectrum of          22   Johnson & Johnson?
      23       possible mineralogy is broad.               23             MR. CHACHKES: Objection.
      24   QUESTIONS BY MR. FINCH:                         24             THE WITNESS: I stand by my
      25       Q. What about in the -- in the              25       statement because, for example, there
                                            Page 215                                             Page 217
       1   spectrum where the possible mineralogy is not    1        are more than a hundred amphibole
       2   broad, as in the case of a Vermont talc mine     2        minerals. It would be very difficult
       3   where a handful of accessory minerals have       3        to distinguish them by SAED.
       4   been identified and that's it?                   4             And as far as I'm aware, I know
       5            MR. CHACHKES: Objection.                5        nothing about the mineralogy of talc
       6            MR. LOCKE: Objection.                   6        mines from which these particular
       7            THE WITNESS: Well, I don't              7        samples that Drs. Longo and Rigler
       8       know anything about the mineralogy of        8        tested. So to me, the spectrum of
       9       Vermont talc mines, and so I can't say       9        possible mineralogy is quite broad.
      10       that there's any independent                10   QUESTIONS BY MR. FINCH:
      11       constraints because I don't know that       11        Q. Of those hundred amphibole
      12       that is the case.                           12   minerals, how many of them have the same
      13   QUESTIONS BY MR. FINCH:                         13   chemical signature as anthophyllite or
      14       Q. Okay. So you do say that "This           14   tremolite and an SAED diffraction pattern
      15   practice, i.e., analyzing SAED patterns based   15   that is consistent with asbestos and
      16   on operator experience, may be able to          16   morphology that has structures which have
      17   distinguish among species for materials that    17   aspect ratios on average greater than 7 to 1
      18   are already known to contain asbestos."         18   and that on PLM are determined to be
      19            So presumably you agree that if        19   consistent with asbestos?
      20   the operators already know based on some        20             How many of the hundred
      21   source that asbestos is among the possible      21   amphibole minerals you just talked about meet
      22   materials in the mix of the sample they're      22   all those criteria?
      23   looking for, using SAED to label mineral        23             MR. CHACHKES: Objection.
      24   species with names using visual inspection      24             THE WITNESS: Wow, that's
      25   may be able to distinguish among the            25        another omnibus question, so let's
                                                                       55 (Pages 214 to 217)
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       1      break that down a little bit.                1              MR. FINCH: Objection. Move to
       2           So chemically, any of the               2        strike.
       3      amphibole minerals that are either           3   QUESTIONS BY MR. FINCH:
       4      magnesium, iron and calcium-bearing or       4        Q. My question was: How many,
       5      just magnesium and iron-bearing would        5   sitting here today, can you tell me would
       6      all be indistinguishable by EDS.             6   meet all four of the criteria that I just
       7           If you had one SAED pattern,            7   laid out?
       8      which most of the data in the                8              MR. LOCKE: Objection.
       9      diffraction verification document of         9              MR. CHACHKES: Objection.
      10      Dr. Longo's have, they only show one        10              THE WITNESS: So your criteria
      11      particular orientation that is common       11        were simply just names of techniques.
      12      to, as we noted in my document,             12        They weren't specific about the names
      13      25 percent of all minerals in the           13        and techniques.
      14      database from our book.                     14              So if you want to tell me what
      15           So let's see. What else did            15        it is about SAED and what it is about
      16      you ask?                                    16        PLM and what it is about morphology,
      17           Let's see. And then                    17        et cetera, et cetera, for each of
      18      morphology, "has structures which have      18        those, then I could probably answer
      19      aspect ratios" -- so we haven't even        19        your question. I'd be happy to.
      20      really talked about counting criteria,      20   QUESTIONS BY MR. FINCH:
      21      which is really what you're -- what         21        Q. Do you know as you sit here
      22      you're specifying here, 7 to 1. I'm         22   today how many different minerals have been
      23      not sure where that number is coming        23   identified in Vermont-sourced talc or
      24      from.                                       24   Italian-sourced talc that went into Johnson's
      25           And then when you say "on PLM          25   baby powder?
                                            Page 219                                             Page 221
       1      are determined to be consistent with         1        A. I have no knowledge of the
       2      asbestos," again, on PLM you can tell        2   mineralogy of those deposits or, in fact, any
       3      something about morphology because you       3   talc deposits.
       4      can measure the dimensions of the            4        Q. So it could be three minerals,
       5      grain, and if you use an array of            5   it could be five minerals, it could be ten
       6      refracted index oils, you can tell           6   minerals; you have no knowledge, correct?
       7      something about composition with PLM.        7              MR. CHACHKES: Objection.
       8            So those are answers to your           8              MR. LOCKE: Objection.
       9      individual question, and I think it's        9              THE WITNESS: Correct. I
      10      too vague to try to give a straight         10        believe we've established that I don't
      11      answer to your original question as         11        know anything about the mineralogy of
      12      posed.                                      12        Vermont or any other talc deposits,
      13   QUESTIONS BY MR. FINCH:                        13        aside from the fact that they contain
      14      Q. So sitting here today, you               14        talc.
      15   can't give me a number as to how many of the   15   QUESTIONS BY MR. FINCH:
      16   hundred amphiboles that exist would meet all   16        Q. Have you ever heard of McCrone
      17   those criteria?                                17   Laboratories or Walter McCrone Associates?
      18            MR. LOCKE: Objection.                 18        A. Yes.
      19            MR. FROST: Objection.                 19        Q. Do you regard them as a
      20            THE WITNESS: I would say, for         20   well-respected laboratory for the purposes of
      21      example, that all of the 100 amphibole      21   analyzing materials to determine whether or
      22      minerals would meet the SAED one zone       22   not they contain asbestos or other
      23      axis angles -- or values that are in        23   contaminants?
      24      the diffraction verification documents      24        A. I don't know anything about
      25      because they're all amphiboles.             25   that aspect of what they do. I'm only
                                                                      56 (Pages 218 to 221)
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       1   familiar with the fact that they teach           1       Q. And 18 is?
       2   classes in optical microscopy.                   2       A. November 5th.
       3       Q. And they teach classes in how             3       Q. All right. I want to do them
       4   to use a microscope to identify materials,       4   20 -- I'm going to do them in reverse
       5   correct?                                         5   chronological order, going backward in time,
       6       A. They teach classes in how to do           6   so starting with Exhibit 20.
       7   fundamental measurements on a microscope,        7            Do you have that?
       8   yes.                                             8       A. I do.
       9       Q. Have you ever attended a class            9       Q. This is a May 24, 1976 letter
      10   taught by Walter McCrone and Associates or      10   to Walter McCrone Associates from Roger
      11   McCrone?                                        11   Miller, who was the president of Windsor
      12       A. I teach my own classes on                12   Minerals.
      13   optical microscopy, so, no, I have no need      13            Do you see that?
      14   and, therefore, have never attended a class     14       A. That's what it looks like, yes.
      15   taught by McCrone or anyone having to do with   15       Q. Do you have any understanding
      16   McCrone.                                        16   of who Roger Miller is or what Windsor
      17       Q. Have you ever heard any                  17   Minerals is?
      18   significant criticisms of their laboratories    18       A. Never heard of him.
      19   in your field?                                  19       Q. All right. If I were to
      20       A. McCrone is not an academic               20   represent to you that Windsor Minerals was a
      21   laboratory. It's not something that research    21   Johnson & Johnson subsidiary that owned the
      22   scientists do. Optical microscopy is            22   mines from which it mined talc for cosmetic
      23   generally in the toolkit of mineralogy          23   talc, do you have anything to dispute that
      24   researchers, and so there would no need to      24   statement?
      25   use any laboratory. And, therefore, I barely    25            MR. CHACHKES: Objection.
                                            Page 223                                             Page 225
       1   know of McCrone.                                 1             THE WITNESS: I can neither
       2        Q. Oh, so you haven't -- as you             2        affirm nor dispute that statement.
       3   sit here today, there's not any criticisms       3   QUESTIONS BY MR. FINCH:
       4   you have or you can think of of McCrone          4        Q. All right. Exhibit 20 states
       5   Associates?                                      5   that "The samples which are relevant to the
       6        A. I don't have enough information          6   production and sale of cosmetic talc in the
       7   to have an opinion.                              7   US and Canadian markets are those bearing the
       8            (Dyar Exhibits 18, 19 and 20            8   letters HC as part of their prefix. The
       9        marked for identification.)                 9   dates included in the identifier are the
      10   QUESTIONS BY MR. FINCH:                         10   dates on which the material was processed."
      11        Q. All right. I've marked what's           11             Do you see that?
      12   been Exhibits 20 --                             12        A. You read that correctly, yes.
      13            MR. CHACHKES: 18.                      13        Q. Okay. So this is the president
      14   QUESTIONS BY MR. FINCH:                         14   of Windsor Minerals writing to the people at
      15        Q. -- 18 and 19.                           15   McCrone Associates what the terminology in
      16            MR. CHACHKES: Yeah.                    16   the letter means, what HC means, correct?
      17   QUESTIONS BY MR. FINCH:                         17        A. That's what it appears. The
      18        Q. Yeah. 20 is a May 24, 1976              18   letter's not signed.
      19   document; is that right?                        19        Q. Back in the 1970s, wasn't it a
      20        A. Oh, wait. 20 you want to go to          20   common practice when people wrote letters
      21   first?                                          21   that there be a carbon copy and sometimes
      22        Q. Yes.                                    22   the -- there wasn't -- the Xerox machine was
      23        A. Yes, it says May 24th.                  23   not as ubiquitous as it is now, and you
      24        Q. Okay. And 19, which one is 19?          24   wouldn't always have the signed copy in the
      25        A. 19 is July 1, 1975.                     25   file?
                                                                       57 (Pages 222 to 225)
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       1            MR. CHACHKES: Objection.                1        these two documents.
       2            THE WITNESS: It's perfectly             2             For example, after this
       3       easy to sign a carbon copy.                  3        testing, were these samples actually
       4   QUESTIONS BY MR. FINCH:                          4        used? I can't tell.
       5       Q. Be that as it may, Windsor                5             It says "amphibole." Which
       6   Minerals -- you see this is -- this is a         6        amphibole? Is it one of the regulated
       7   document produced from the files of Johnson &    7        amphibole minerals?
       8   Johnson at the bottom?                           8   QUESTIONS BY MR. FINCH:
       9            MR. FROST: Objection.                   9        Q. It says "fibers of asbestos,"
      10   QUESTIONS BY MR. FINCH:                         10   correct?
      11       Q. J&J talc?                                11        A. It does say "fibers of
      12       A. I have -- I have no knowledge            12   asbestos." I would ask, how are they
      13   of that, other than your assertion and this     13   defining that?
      14   cryptic notation which looks like it was        14             This was 1975, and there's no
      15   added after the fact.                           15   explicit explanation here, so I would wonder
      16       Q. Turning now to Exhibit 18, and           16   how they defined that.
      17   keep Exhibit 20 handy.                          17             So there's many murky things
      18            "This letter will supplement           18   about this document that make me feel like
      19   our report of 1 July 1975 on a series of talc   19   it's being taken out of context.
      20   ore samples which we have analyzed for you.     20        Q. And if you were going to
      21   Table 1 shows the actual fiber counts and the   21   analyze this document as a scientist, isn't
      22   approximate equivalent concentration in parts   22   it correct that you would want to see the
      23   per million of amphibole particles which we     23   photomicrographs that McCrone and Associates
      24   found in these samples. Some of them seem       24   took and their analyses, both chemical
      25   rather high. Most of these come in bundles      25   analyses and any other analyses, they
                                            Page 227                                             Page 229
       1   of one, two or three fibers, anything from       1   provided on the documents?
       2   two to five amphiboles in a bundle."             2            MR. CHACHKES: Objection.
       3            And it's reporting on the               3            THE WITNESS: Well, I would ask
       4   results from McCrone to the Windsor Mineral      4       why, as a scientist, I would want to
       5   Company, correct?                                5       analyze something like this. I would
       6        A. Apparently.                              6       much prefer to analyze a formal
       7        Q. All right. And on Table 1 on             7       report.
       8   the second page of the document, the back        8   QUESTIONS BY MR. FINCH:
       9   page, there is a column labeled "Fibers of       9       Q. If there were a formal report
      10   Asbestos"?                                      10   that once upon a time went along with this
      11        A. That's what it says.                    11   and contained photomicrographs -- you okay,
      12        Q. And then it -- by                       12   ma'am? -- or count -- or count sheets or
      13   cross-referencing the tabs, you can take the    13   diffraction patterns, would that be
      14   sample numbers and if it's -- see whether       14   information that you would want to consider
      15   it's HC or GI or WI?                            15   to analyze whether or not this letter report
      16        A. Yes, I see that.                        16   from McCrone is accurate and reliable?
      17        Q. All right. Does this document           17            MR. CHACHKES: Objection.
      18   suggest to you that McCrone and Associates      18            THE WITNESS: I don't know.
      19   identified fibers of asbestos in samples of     19       We're going far outside the scope of
      20   ore from a Vermont mine owned by the Windsor    20       my remit here, which is to evaluate
      21   Mineral Company which were used in the          21       methodology. But I would say, again,
      22   production of cosmetic talc, HC?                22       there's no context here. There's
      23            MR. FROST: Objection.                  23       no -- I have no way of knowing whether
      24            THE WITNESS: I have no                 24       the samples in this report are ones
      25        knowledge of the connection between        25       that were ever even involved in a mine
                                                                       58 (Pages 226 to 229)
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       1       or even used in commercial production.       1       misrepresenting the documents.
       2       There's not enough information here to       2            So with that note...
       3       make a judgment.                             3            THE WITNESS: I choose not to
       4            And if they weren't used, then          4       answer.
       5       there wouldn't be any -- need to be          5   QUESTIONS BY MR. FINCH:
       6       any more information.                        6       Q. You have not, as part of your
       7   QUESTIONS BY MR. FINCH:                          7   work in this case, asked Johnson & Johnson
       8       Q. But in order to understand the            8   for all of the testing results that have ever
       9   context, you agree with me that it would be      9   been done on either the talc ore or the baby
      10   useful to have the backup data that underlies   10   powder product itself, correct?
      11   this report?                                    11       A. So my role here was to evaluate
      12            MR. CHACHKES: Objection.               12   methodology used by Longo and Rigler. It was
      13            THE WITNESS: I'm still not             13   not to evaluate testing protocols used by
      14       understanding why I would want to be        14   Johnson & Johnson.
      15       examining this report. I'm supposed         15            I have no opinion of -- no
      16       to be evaluating methodology here, and      16   knowledge of those and no opinion on those.
      17       you're asking me to evaluate a random       17       Q. Are you familiar with the
      18       report with no context about which I        18   testing protocol J41 -- J4-1?
      19       know nothing.                               19       A. I don't believe so.
      20            There's nothing in here to             20       Q. It's the testing protocol that
      21       indicate that the samples they're           21   the talc manufacturers voluntarily put into
      22       talking about were ever -- ever even        22   place in the mid-'70s for the analysis of
      23       had anything to do with talc that was       23   asbestos in talc.
      24       actually produced from Vermont mines        24            Are you familiar with that?
      25       or anywhere else.                           25            MR. LOCKE: Objection.
                                             Page 231                                             Page 233
       1   QUESTIONS BY MR. FINCH:                          1             MR. CHACHKES: Objection.
       2       Q. I want you to assume that these           2             THE WITNESS: No.
       3   documents are contemporaneous reports of         3   QUESTIONS BY MR. FINCH:
       4   McCrone analyses of talc from the very mines     4        Q. If I were to tell you that it
       5   that Johnson & Johnson used to source its        5   is a combination of XRD and optical
       6   baby powder in the 1970s, and that in            6   microscopy, is the J4 method, would you agree
       7   Exhibits 18 and 19 McCrone states that they      7   with me that those two methodologies would
       8   found fibers of asbestos, in the case of         8   not be able to detect asbestos fibers in talc
       9   Exhibit 18, and Exhibit 19, confirmed            9   at a concentration below 0.1 percent?
      10   asbestos visual on page 2, in multiple          10             MR. CHACHKES: Objection.
      11   samples of talc ore from the Vermont mines      11             MR. LOCKE: Objection.
      12   that were used to source cosmetic talcum        12             THE WITNESS: Oh, I would need
      13   products.                                       13        a lot more information than your
      14       A. So --                                    14        random statement that it meets XRD and
      15           MR. CHACHKES: So -- go ahead.           15        optical microscopy. I'd need to
      16   QUESTIONS BY MR. FINCH:                         16        examine that document to be able to
      17       Q. So based on that set of                  17        render an opinion.
      18   assumptions, Doctor, do you have any basis to   18   QUESTIONS BY MR. FINCH:
      19   say that this is not evidence that one of the   19        Q. You're not -- I think you just
      20   minerals that can potentially be found in       20   said two questions ago you're not giving any
      21   talc from Vermont is amphibole asbestos?        21   opinions that Johnson & Johnson's historical
      22           MR. CHACHKES: So objection.             22   methodologies for testing its talc for the
      23       You don't have to take those                23   presence of asbestos are accurate or
      24       assumptions.                                24   reliable; is that correct?
      25           You shouldn't be                        25             MR. CHACHKES: Objection.
                                                                       59 (Pages 230 to 233)
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       1            THE WITNESS: I'm not giving             1   images.
       2       any opinion, period, on testing              2       Q. Isn't it true --
       3       procedures from Johnson & Johnson            3            MR. FINCH: Mark this as the
       4       because I have no knowledge of them          4       next exhibit. It's Exhibit 21.
       5       and, therefore, cannot comment in any        5            (Dyar Exhibit 21 marked for
       6       way.                                         6       identification.)
       7   QUESTIONS BY MR. FINCH:                          7   QUESTIONS BY MR. FINCH:
       8       Q. All right. On page 33 of your             8       Q. In the diffraction verification
       9   report, you reference a term "unspecified        9   documents --
      10   constant."                                      10       A. Uh-huh.
      11            Do you see that?                       11       Q. -- in every one there is a
      12       A. Yes.                                     12   field called camera K, camera K, camera K?
      13            MR. CHACHKES: I'm sorry, on            13       A. And in every one it's given in
      14       page 33?                                    14   units of pixel per angstrom, which is a
      15            MR. FINCH: Page 33 of her              15   useless unit.
      16       report.                                     16            So I stand by my statement that
      17            THE WITNESS: Yep, it's right           17   the constant is unspecified in terms that are
      18       here.                                       18   useful enough to allow someone else to
      19            MR. CHACHKES: Okay. Thanks.            19   interpret the images, which was the point of
      20   QUESTIONS BY MR. FINCH:                         20   my statement there.
      21       Q. How do you calculate the camera          21       Q. Okay. So you're saying that --
      22   constant for doing SAED?                        22   did you understand camera K to be a reference
      23       A. So the camera constant is                23   to camera constant or not?
      24   calibrated for each individual apparatus        24       A. I did not know. There was not
      25   using a reference standard, and it allows you   25   enough information. That is not defined
                                             Page 235                                             Page 237
       1   to relate the spacial distances in an image      1   anywhere in any of the documents I saw.
       2   to actual physical distances. And it varies      2            And even if it had been, I have
       3   by instrument, and it is explicitly not          3   no way of using that information because
       4   provided. Even though the definition of          4   there's no pixels in any of the images.
       5   camera constant is given on each page in the     5        Q. The pixels in the images are
       6   diffraction verification document, the actual    6   the SAED images that you've shown some
       7   value for their instrument or instruments is     7   examples of, for example, on page 28 of your
       8   not given.                                       8   report; is that right?
       9        Q. Could you turn to page 37?               9        A. Certainly.
      10        A. (Witness complies.)                     10        Q. And your -- my understanding is
      11        Q. What does camera K refer to?            11   it's your complaint that because the images
      12        A. I have no idea.                         12   are not sufficiently clear, you can't verify
      13        Q. You don't think that refers to          13   the camera constant in the diffraction
      14   camera constant?                                14   verification worksheets?
      15        A. I was not going to guess.               15        A. Yes. Using something that's
      16        Q. If that, in fact, does -- are           16   expressed in pixels per angstrom implies that
      17   you familiar with the scientific --             17   in order to use it, you would need to be able
      18        A. I am, but in point of fact,             18   to count pixels, and that is impossible in
      19   it's expressed, you'll notice, in units of      19   these images.
      20   pixel per angstrom. And the images in these     20        Q. Was it impossible for the
      21   documents, which are many times scanned, no     21   operator at the time he or she was analyzing
      22   longer have any pixels.                         22   the particle in realtime using the
      23            So even if that is the camera          23   microscope?
      24   constant, this number is completely useless     24        A. Presumably the personnel at the
      25   because there are no pixels in any of these     25   Longo,g Rigler
                                                                            g companyp y are familiar with the
                                                                       60 (Pages 234 to 237)
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       1   camera constants for their apparati, yes.        1       Rigler failed to demonstrate that
       2             And in fact, they used said            2       their D spacings are reproducible or
       3   camera constants to determine these values       3       verifiable independently.
       4   that are at the bottom of each of these          4   QUESTIONS BY MR. FINCH:
       5   pages. But I cannot go backwards.                5       Q. Do you agree that the
       6        Q. So you can't reverse-engineer            6   anthophyllite solid solution series includes
       7   it, in other words, and that's your              7   cummingtonite?
       8   criticism?                                       8       A. So I don't believe that that
       9        A. Correct. These documents do              9   vocabulary is consistent with the current
      10   not provide a camera constant in any useful     10   terminology for amphiboles.
      11   units, thereby making it impossible to          11            If you look on page 607 of my
      12   corroborate their measurements.                 12   book, you can see that there are about seven
      13        Q. Okay. But in fact they did              13   minerals which are in the same subgroup of
      14   have a camera constant. You just -- your        14   amphibole minerals. And one could say that
      15   criticism is that the pixels are not            15   there might potentially be solid solution
      16   sufficiently clear for you to recalculate       16   amongst all seven of those primary minerals,
      17   their camera constant for each of the           17   each of which has from four to seven related
      18   diffraction patterns that they were providing   18   species and many subspecies.
      19   data for; is that correct?                      19            So it's a little restrictive to
      20             MR. CHACHKES: Objection.              20   say that those belong to a single solid
      21             MR. LOCKE: Objection.                 21   solution series. It's not really the
      22             THE WITNESS: The point of my          22   appropriate term to use for the variation of
      23        statement on page 33 is "lacking           23   chemistry in amphibole minerals.
      24        knowledge of that constant, D spacings     24       Q. On page 35 you state, last
      25        cannot be easily verified for the          25   paragraph, "A more comprehensive analysis
                                             Page 239                                            Page 241
       1       patterns in their reports."                  1   using the American mineralogists crystal
       2            And the most important part of          2   structure database shows that more than 1,000
       3       that sentence is that there is not           3   crystal structures have at least one D
       4       enough information here or in any of         4   spacing in the range above."
       5       these diffraction verification               5            How many of those 1,000 crystal
       6       documents for me to confirm the D            6   structures have been found in the Vermont
       7       spacing values that they list.               7   talc mines or the Italian talc mines used by
       8   QUESTIONS BY MR. FINCH:                          8   Johnson & Johnson?
       9       Q. But you would agree with me               9       A. I have no idea, because I know
      10   that on the face of each of the documents       10   nothing about the mineralogy of talc mines in
      11   there is a notation that has camera K, which    11   Vermont or anywhere else.
      12   a scientist could conclude or should conclude   12       Q. On page 37, section F, you
      13   means camera constant for that particular       13   identify indefensible or unfeasible D
      14   data set, correct?                              14   spacings in the Longo and Rigler diffraction
      15            MR. LOCKE: Objection.                  15   verification documents.
      16            MR. CHACHKES: Objection.               16            It looks to me like you
      17            THE WITNESS: That's completely         17   identify two samples where either the
      18       conjectural. I have no reason to            18   measurement itself is bad or they cannot be
      19       expect that. K is not the first             19   anthophyllite or both; is that correct?
      20       letter of the word "constant."              20       A. That's correct.
      21            So lacking any information to          21       Q. Out of how many different
      22       tell me that that's what it was, and        22   samples?
      23       lacking any way to use that value           23       A. I'd have to look at the
      24       because of the way it's expressed in        24   diffraction verification documents. I don't
      25       units, I feel that Drs. Longo
                                           g and           25   recall exactly how many samples they did. I
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       1   know it was six samples.                         1   on at least two zone axes is relying on
       2       Q. But it was how many different             2   Yamate 3 methodology, correct?
       3   particles identified?                            3             MR. CHACHKES: Objection.
       4       A. I honestly don't recall. We               4             THE WITNESS: It's supported by
       5   can certainly look it up.                        5       the Yamate 3 -- or the Yamate
       6       Q. Would you agree that it's over            6       recommendation, but it's common sense
       7   180?                                             7       to anyone who knows anything about
       8       A. I honestly don't recall, but              8       crystallography.
       9   I'd be happy to look it up if you --             9             And I can explain it as saying
      10       Q. Okay. Go ahead and look it up.           10       that minerals are three-dimensional
      11       A. Well, let's get out those                11       structures, and so if you only look at
      12   diffraction verification documents.             12       it from one angle, you would know
      13            MR. CHACHKES: I'm not                  13       nothing about the third dimension and,
      14       trying --                                   14       therefore, your identification is
      15            THE WITNESS: Are they not --           15       nonunique.
      16            MR. FROST: They're 5,000               16   QUESTIONS BY MR. FINCH:
      17       pages.                                      17       Q. But if the analyst is tilting
      18            THE WITNESS: No, no, he's just         18   the goniometer to look at the structure while
      19       talking about the diffraction               19   he's examining it under the electron
      20       verification documents. These are the       20   microscope, isn't it true that he is making a
      21       only places where there are any HKL         21   determination in realtime as to whether or
      22       measurements.                               22   not the crystalline structure is or is not
      23   QUESTIONS BY MR. FINCH:                         23   consistent with asbestos?
      24       Q. Do you have your materials that          24       A. According to Dr. Longo's and
      25   you reviewed of Dr. Longo's with you?           25   Rigler's depositions, that's what they're
                                            Page 243                                              Page 245
       1            MR. CHACHKES: We may. At some           1   doing. They're looking at the screen and
       2       point maybe after the break I could          2   making a decision. They're not actually
       3       check.                                       3   using zone axes. That is what his deposition
       4            MR. FINCH: All right. We'll             4   states.
       5       check that after the break.                  5            I give that -- citations to
       6            THE WITNESS: There are                  6   that as footnotes in here, 53, 54 and 55.
       7       certainly less than 200.                     7       Q. Okay. Let's go to page 24 of
       8   QUESTIONS BY MR. FINCH:                          8   the report.
       9       Q. Okay. But 180, we can -- I                9       A. Uh-huh.
      10   mean, it's a number we could look up, but --    10       Q. All right. You have on page --
      11       A. I know for a fact it's only six          11   pages 24 through 26 an analysis of the six
      12   different samples. In one case there are        12   different analysts in -- working with or for
      13   four different crystals -- or particles, and    13   Dr. Longo as to the percentages -- on
      14   I don't recall for the other five samples how   14   page 25, the percentages that identify
      15   many particles they looked at.                  15   tremolite versus anthophyllite.
      16            In some senses it doesn't              16            On page 26, you've got a graph
      17   matter how many particles they looked at,       17   of mineral species identification from
      18   because there is in -- no evidence in any of    18   Vermont, and then at the bottom of page 26
      19   those diffraction verification documents that   19   you have a time chart that shows tremolite
      20   they looked at two different zone axes. So      20   versus anthophyllite over time.
      21   my conclusions here about the vast number of    21            That's Figures 8, 9 and 10 in
      22   samples that they can represent stand.
                                              stand        22   your report.
      23       Q. And your opinion that in order           23       A. Yes, and these data were simply
      24   to test a material for asbestos using EPA       24   taken from the information in Dr. Longo's
      25   methodology you have to have a confirmation     25   reports.
                                                                  p
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       1      Q. Okay.                                      1   samples in these reports were assigned at
       2      A. As seen in the spreadsheets                2   random, and therefore, given his assertion,
       3   with which we have provided you.                 3   it seems highly unlikely that this
       4      Q. Right, the backup data that you            4   distribution over time would be seen.
       5   gave us last night.                              5        Q. Well, if the material that he
       6           Let me ask you this --                   6   had to test through the end of 2017 consisted
       7           MR. CHACHKES: Just to be                 7   of three bottles of Vermont-sourced talc and
       8      clear, that's Longo's data. You know          8   the rest from other parts of the world,
       9      that, right?                                  9   either Italy or China, and the analysis done
      10           MR. FINCH: I understand that.           10   in 2018 where the samples -- the majority of
      11           MR. CHACHKES: Okay.                     11   which came from Vermont-sourced talc,
      12           MR. FINCH: It's her analysis            12   wouldn't you expect to see -- or isn't it
      13      of Longo's data.                             13   possible you could have a difference in the
      14           MR. CHACHKES: No, it's Longo's          14   percentage of tremolite versus the percentage
      15      data.                                        15   of anthophyllite just based on the source
      16           THE WITNESS: Yes. There's no            16   mine from which the material came?
      17      analysis involved here. This is just         17             MR. LOCKE: Objection.
      18      a graphical representation of the data       18             MR. CHACHKES: Objection.
      19      that are given by Dr. Longo.                 19             THE WITNESS: If, in fact,
      20           MR. FINCH: Okay. All right.             20        Dr. Longo had stated something to that
      21           THE WITNESS: That does not              21        effect in his deposition, that might
      22      involve analysis.                            22        be a possible conclusion.
      23   QUESTIONS BY MR. FINCH:                         23             But the fact is that Dr. Longo
      24      Q. You say that "data in the                 24        says that these samples were assigned
      25   Longo, Rigler MAS reports indicates that        25        at random and, therefore, I have no
                                            Page 247                                             Page 249
       1   samples mined from Vermont appear to have        1        reason to expect or suspect that any
       2   75 percent anthophyllite and 25 percent          2        particular mine was sourced and
       3   tremolite."                                      3        provided the analyses at random in
       4            What's the basis of that                4        this particular time frame.
       5   statement?                                       5   QUESTIONS BY MR. FINCH:
       6        A. The data that are in the                 6        Q. Isn't it true that in MDL
       7   spreadsheet that you were provided with.         7   reports he lists out the -- do you know when
       8   Calculations are shown there.                    8   Dr. Longo received the MDL samples?
       9        Q. In Figure 10, there are reports          9        A. I'm sure that's buried in the
      10   done in 2017 -- first of all, what are the --   10   chain of custody documents, but I didn't pay
      11   what are the dates on the bottom row of         11   much attention to those because when he
      12   Figure 10?                                      12   received them was not relevant to my mandate
      13        A. So those are months.                    13   of assessing the methodology used.
      14        Q. Yes.                                    14        Q. If five analysts are provided
      15        A. And they refer to the stated            15   with a total of 32 samples, 29 from an
      16   date of analyses that are given on the third    16   Italian mine, 3 from a Vermont mine, and
      17   page of the TEM reports in all of Dr. Longo's   17   they're randomly distributed in 2017, isn't
      18   reports.                                        18   it the case that you could have a
      19        Q. Would you agree with me that            19   distribution pattern very similar to
      20   the percentage of tremolite versus the          20   Figure 10 if those analysts were provided
      21   percentage of anthophyllite found in the        21   with many, many more samples from Vermont in
      22   samples analyzed could depend on the source     22   2018, and it was randomly distributed along
      23   mine from which it came?                        23   the five -- the same five people? That is
      24        A. Possibly, yes. But in                   24   one explanation for this time dichotomy you
      25   deposition,
              p        Dr. Longo
                               g stated that all of the    25   show in Figure 10, correct?
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       1           MR. FROST: Objection.                  1       that you're bending your assertions to
       2           THE WITNESS: Boy, that's a lot         2       match the graph. And I'd rather know
       3      of hypotheticals there.                     3       the facts on what the distributions of
       4           I'd have to sit down and look          4       species are in these other deposits,
       5      at the math and review my data, which       5       which I don't, in order to support or
       6      are not -- which were provided to you       6       negate your hypothesis.
       7      but not included in this report, that       7   QUESTIONS BY MR. FINCH:
       8      suggests that there's a 75 percent to       8       Q. Okay. Isn't it true that you
       9      25 percent of anthophyllite to              9   don't know the distribution of tremolite
      10      tremolite.                                 10   versus anthophyllite in the samples from
      11           So, for example, in your case,        11   outside of Vermont that Dr. Longo's
      12      you're saying that in 2017 perhaps         12   laboratory tested? Correct?
      13      those samples were all from Vermont.       13            MR. CHACHKES: Objection.
      14      Yet if they were from Vermont, then we     14            THE WITNESS: That is correct.
      15      should have seen a lot more                15       All I know is that Dr. Longo stated
      16      anthophyllite, 75 percent more to be       16       that the selection and assignment of
      17      precise.                                   17       samples in this study was random.
      18           So I'm not sure where you're          18       And, therefore, I have no reason to
      19      going with that question.                  19       believe your conjecture that there was
      20   QUESTIONS BY MR. FINCH:                       20       a bias in geographical assignment of
      21      Q. No, you've got it backwards.            21       these samples over time, because
      22           If virtually all the samples in       22       Dr. Longo himself said that there was
      23   2017 up through March of 2018 came --         23       not. He said that they were assigned
      24      A. Are tremolite.                          24       at random.
      25      Q. -- from sources other than              25
                                           Page 251                                            Page 253
       1   Vermont --                                     1   QUESTIONS BY MR. FINCH:
       2       A. Ah.                                     2       Q. He said they were assigned at
       3       Q. -- you would expect to see a            3   random. He was not asked what percentage of
       4   lot more tremolite than anthophyllite,         4   the -- isn't it fair to conclude that it was
       5   correct?                                       5   random for the samples that he had at the
       6            MR. LOCKE: Objection.                 6   time they were being tested, and he didn't go
       7            THE WITNESS: That's not true,         7   back and randomly assign all the samples to
       8       because I actually don't know what the     8   his analysts after he got all the MDL
       9       percentage of anthophyllite to             9   samples?
      10       tremolite is in the other mines. I        10            MR. CHACHKES: Objection.
      11       only have -- happen to know it for        11            THE WITNESS: You know, there's
      12       Vermont.                                  12       not enough information to be able to
      13   QUESTIONS BY MR. FINCH:                       13       answer that question.
      14       Q. If, in fact, it's 100 percent          14            I did not compile the
      15   tremolite and zero percent anthophyllite in   15       information on when specific samples
      16   the other mines, wouldn't the graphic         16       were obtained, so I can't either
      17   Figure 10 look exactly the same?              17       support or negate your assertion
      18            You'd see a lot more tremolite       18       without reconsidering the data in the
      19   in the samples that Dr. Longo was able to     19       report.
      20   test prior to March of 2017 where the mines   20   QUESTIONS BY MR. FINCH:
      21   were predominantly Italy, sources             21       Q. All right. Would you agree
      22   predominantly Italy, versus the MDL samples   22   with me that Mehrdad Motamedi and Anthony
      23   where the source was predominantly Vermont?   23   Keaton had very consistent findings of
      24            MR. FROST: Objection.                24   tremolite versus anthophyllite for the 179
      25            THE WITNESS: It seems to me          25   particles that Motamedi examined and Keaton's
                                                                     64 (Pages 250 to 253)
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       1   289 particles?                                   1   with that 75/25 value for Vermont.
       2       A. Actually, no, I would say it's            2            MR. FINCH: This is probably a
       3   kind of odd that Keaton identified a fair        3       good place to take another break.
       4   number of ferro-anthophyllites and Motamedi      4            MR. CHACHKES: Okay.
       5   did not.                                         5            VIDEOGRAPHER: The time is
       6       Q. Do you know the source of the             6       3:35 p.m. Off the record.
       7   talc for each of the six analysts -- each of     7        (Off the record at 3:35 p.m.)
       8   the five analysts identified in Figure 8?        8            VIDEOGRAPHER: Okay. All
       9   How many -- how many Vermont-sourced talc did    9       right. We are now back on the record.
      10   Jayme Callan analyze versus other places; how   10       The time is 3:54 p.m.
      11   many Motamedi did; how many Keaton did?         11   QUESTIONS BY MR. FINCH:
      12       A. Well, that information is in             12       Q. We're back on the record after
      13   Figure 8.                                       13   a short break.
      14       Q. How is it in Figure 8? It just           14            Ms. Darby Dyar, do you have
      15   says what the --                                15   Exhibit 19 in your pile still?
      16       A. It says where it came from,              16       A. Yes. Somewhere. Yes.
      17   either Vermont or other.                        17       Q. Do you consider yourself to be
      18       Q. That's in Figure 9.                      18   an expert in using electron microscopy and
      19       A. I'm sorry, Figure 9.                     19   selected area diffraction to determine the
      20       Q. What about 8?                            20   extent of amphiboles or serpentine
      21       A. No, I didn't happen to figure            21   contamination in samples of talc?
      22   out a way to color code Figure 8 to indicate    22       A. So, first of all, no one would
      23   where the samples came from. I could have       23   use SAED to determine the extent of
      24   done that, I suppose, but it didn't even        24   amphiboles or serpentine contamination
      25   occur to me to do that.                         25   because you can only do one at a time. So
                                             Page 255                                            Page 257
       1            I'm looking at methodology and          1   that's sort of a strange question.
       2   I'm trying to assess whether the analysts who    2            Do I consider myself to be an
       3   did this work were consistent and, therefore,    3   expert in using electron microscopy and SAED
       4   I made graphical representations of the data     4   to identify minerals? Yes.
       5   in their own reports, but, no, I did not make    5       Q. Okay. Exhibit 19 is a report
       6   yet another graphical representation that        6   from McCrone Associates where they say,
       7   would have included both the minerals            7   "We've examined two groups of samples using
       8   identified and the locations from which they     8   electron microscopy and selected area
       9   came.                                            9   diffraction to determine the extent of
      10        Q. Would you agree with me that            10   amphiboles or serpentine contamination in
      11   the breakdown as between tremolite and          11   these two groups of samples."
      12   anthophyllite could vary among analysts if      12            And then they describe these as
      13   one of the analysts was reviewing more          13   talc samples from your orebody, being the
      14   Italian-sourced talc and the other analyst      14   Windsor Mineral company's orebody.
      15   was reviewing more Vermont-sourced talc?        15            "The second grade consisted of
      16        A. I don't have enough information         16   seven samples which were sent to us
      17   to know anything about the ratio of those in    17   subsequently to be analyzed separately."
      18   the other mines. So I can't address that        18            And then it has their general
      19   question.                                       19   conclusions on pages 2, 3, 4 of the report.
      20            In point of fact, in the               20            Do you see that?
      21   information that I have gave you, you will      21            MR. CHACHKES: Objection.
      22   see that I did not know the mine locations      22            THE WITNESS: It will take me a
      23   for many, many samples, but I did happen to     23       while to read through these five
      24   know the mine location for Vermont for          24       pages, but I certainly see the pages.
      25   several, so that's how I was able to come upp   25
                                                                       65 (Pages 254 to 257)
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       1   QUESTIONS BY MR. FINCH:                          1   agreed with their conclusions?
       2        Q. You were asked by Johnson &              2       A. So in my report I referred to
       3   Johnson to evaluate the methodology that         3   in -- particularly the Yamate document which
       4   Dr. Longo and Rigler followed to analyze         4   we've already discussed on this day that says
       5   samples of talc to determine whether there's     5   two zone axis measurements and an EDS pattern
       6   asbestos in them or not, correct?                6   are usually enough to identify an asbestos
       7             That was your charge here?             7   mineral.
       8        A. I was asked to evaluate the              8            But there's no information in
       9   methodology -- methodology -- methodology of     9   the very brief, out-of-context document about
      10   Drs. Longo and Rigler, yes, that is why we're   10   samples that I don't know where they came
      11   all here.                                       11   from or whether these were actually used as
      12        Q. If you were asked by Johnson &          12   ore for anything having to do with talcum
      13   Johnson to analyze both the methodology and     13   powder. I don't know.
      14   the conclusions of Walter McCrone Associates    14       Q. All right. Would you -- one of
      15   in this July 1975 report, what information or   15   the things, I assume, that you would want to
      16   data or materials would you want to see?        16   look at would be the EDS, EDXA printouts of
      17             MR. CHACHKES: Objection.              17   their electron microscopes if they used EDS,
      18             THE WITNESS: That's kind of a         18   EDXA to analyze the chemical composition of
      19        strange hypothetical. Because that's       19   the structures they were looking at.
      20        not enough information in here for me      20            Is that one item of data you
      21        to even evaluate what their                21   would want to see to evaluate their
      22        methodology was.                           22   methodology in coming to this report for
      23   QUESTIONS BY MR. FINCH:                         23   Windsor Mineral?
      24        Q. Well, they state that they used         24            MR. CHACHKES: Objection.
      25   electron microscopes and selected area          25            THE WITNESS: So, again, this
                                             Page 259                                            Page 261
       1   diffraction to determine the extent of           1       is kind of an extreme hypothetical. I
       2   amphiboles or serpentine contamination of two    2       return to the Yamate paper which says
       3   groups of talc samples.                          3       that to identify asbestos you need two
       4            So they describe, at least              4       SAED patterns and some EDS
       5   generally, the tools and methodology they are    5       information.
       6   using in their July 1975 report, correct?        6   QUESTIONS BY MR. FINCH:
       7            MR. CHACHKES: Objection.                7       Q. Okay. So we'd want to see SAED
       8            THE WITNESS: I don't know. I            8   patterns, which are taken at least two
       9       would have to look at this more              9   different zone axes, correct?
      10       carefully than just this brief              10       A. Correct.
      11       inspection, but, for example, if they       11       Q. You'd want to see EDS
      12       used SAED, did they do two different        12   information, correct?
      13       zone axes? I don't know. Perhaps if         13       A. That's what I just said, yes.
      14       I read -- had the time to sit down and      14       Q. Would you want to see
      15       read this, I might find that out.           15   photomicrographs of the structures they were
      16            But all they say is electron           16   examining under the microscope to see what
      17       microscopy. I don't know what that          17   you could learn about their morphology or
      18       means. Does that mean SAED using an         18   aspect ratio?
      19       electron microscope, or does that mean      19            MR. CHACHKES: Objection.
      20       they did something else other than          20            THE WITNESS: All of that
      21       SAED? Unclear.                              21       depends on what the goal of the
      22   QUESTIONS BY MR. FINCH:                         22       testing is.
      23       Q. Okay. What information would             23            This testing says they found
      24   you want to see in order to evaluate what       24       amphiboles, but it doesn't -- but
      25   they did and whether -- or whether or not you   25       there's no information here that would
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       1       suggest that they are asbestiform            1            THE WITNESS: I'm not exactly
       2       amphiboles.                                  2       sure how this question is appropriate
       3             And in fact, you'd think that          3       to my mandate, which was to evaluate
       4       if it's such a rare thing that they          4       the methodology used by someone else.
       5       would actually note if it was                5            I have not yet been asked to
       6       asbestiform, and it's not noted as           6       devise my own methodology, and so it's
       7       such in here.                                7       hard for me to make a definitive
       8   QUESTIONS BY MR. FINCH:                          8       statement of that.
       9       Q. Doesn't it say in Table 1 and             9            In my report I say that
      10   Table 2 confirmed asbestos visual and then      10       Drs. Longo and Rigler should have
      11   description of sample content of sediment,      11       followed the Yamate recommendation of
      12   asbestos?                                       12       two zone axes and an EDS pattern, and
      13       A. It gives the word "visual,"              13       I also say that the Su method, which
      14   which does not instill in me a lot of           14       uses PLM, is useful in identifying
      15   confidence that it's actually either. Visual    15       asbestos.
      16   of what? Visual of the SAED pattern? Visual     16            So if I were going to design my
      17   of the image they were looking at down the      17       own protocol, in vague terms, it would
      18   electron microscope.                            18       be some combination of those, but
      19             There's -- one wonders if             19       that's all I could say without further
      20   there's more to this document and what the      20       study.
      21   context is, and whether these samples were      21   QUESTIONS BY MR. FINCH:
      22   even used in talcum powder. Can't tell any      22       Q. Am I correct that you have
      23   of that from here.                              23   never designed a protocol for testing talc to
      24             I don't know what the word            24   determine whether or not it has asbestos
      25   "low" means, for example.                       25   fibers in it?
                                             Page 263                                             Page 265
       1       Q. Well, would you want to see               1       A. I've designed many, many
       2   their count sheets, for example?                 2   analytical protocols for a wide range of
       3            MR. CHACHKES: Objection.                3   instrumentation, but it is correct to say
       4   QUESTIONS BY MR. FINCH:                          4   that I have never devised a protocol for
       5       Q. To evaluate their methodology             5   analyzing asbestos in anything.
       6   and conclusions?                                 6       Q. Okay. And is it correct to say
       7            MR. CHACHKES: Objection.                7   that you have never in your professional work
       8            THE WITNESS: I find this                8   relied on the published protocol that are out
       9       question kind of too hypothetical. If        9   there for analyzing the presence of asbestos
      10       they existed, I would want all the          10   in anything?
      11       information that they had available.        11       A. In my research, I have
      12       But in particular, I would want the         12   consistently relied on these tools for the
      13       SAED zone axis information and the EDS      13   identification of a wide range of minerals.
      14       quantitative information to the extent      14            What was your question?
      15       that that was available in 1975.            15            But I have never had the need
      16   QUESTIONS BY MR. FINCH:                         16   in my professional work to rely on any
      17       Q. I want you to assume that you            17   published protocol for analyzing the presence
      18   are provided with a hundred samples of talc     18   of asbestos.
      19   by Johnson & Johnson and asked to evaluate it   19       Q. Okay. Do you draw a
      20   for the purpose of determining whether or not   20   distinction in your mind between the tools
      21   it contains asbestiform asbestos fibers.        21   that a scientist uses to determine the nature
      22            What methodology would you use,        22   of a mineral and the protocol that a
      23   what would you do step by step to analyze       23   scientist follows to determine the nature of
      24   each particular talc sample?                    24   a mineral?
      25            MR. FROST: Objection
                                    Objection.             25       A. Well, the tools are just the
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       1   pencils of a -- of a mineralogist, if you        1   mineral if it is used in conjunction with
       2   will, and the protocol is that you're trained    2   other techniques?
       3   to use the pencils.                              3       A. Asbestos in a mineral? I'm not
       4            So I don't really understand            4   sure what you mean by that.
       5   the question.                                    5       Q. Asbestos in talc.
       6       Q. Okay. Well, the tools -- would            6       A. No, strictly speaking I'm going
       7   you agree with me that one tool that is          7   to reverse my previous answer.
       8   useful to determine whether or not there is      8            SAED can't tell you whether
       9   asbestos in a mineral is a polarized light       9   asbestos is present because SAED cannot tell
      10   microscope?                                     10   you the -- anything about the morphology of
      11       A. Yes.                                     11   the particle. SAED can only tell you what
      12       Q. Would you agree with me that             12   the crystal structure is.
      13   another tool that is useful to determine        13       Q. Again, my question is not
      14   whether or not there is asbestos in a mineral   14   whether SAED by itself can tell you
      15   is a transmission electron microscope?          15   definitively whether a particle is asbestos
      16       A. Yes.                                     16   or not.
      17       Q. Would you agree with me that             17            My question is: Is SAED a
      18   another tool that is useful to determine        18   useful technique that a scientist should
      19   whether or not there's asbestos in a mineral    19   follow if they're analyzing a sample of talc
      20   is a scanning electron microscope?              20   and they want to determine whether or not
      21       A. Yes.                                     21   there is asbestos in it or not?
      22       Q. Do you view SAED as a tool or a          22       A. SAED is useful for answering
      23   protocol?                                       23   that question, yes.
      24       A. I view it as a technique.                24       Q. Is EDS, EDXA useful for
      25       Q. Okay. Do you agree that SAED             25   answering the question and analyzing a sample
                                             Page 267                                             Page 269
       1   is a useful technique for determining the        1   of talc to determine whether or not there's
       2   presence of asbestos in a mineral?               2   asbestos in it?
       3        A. No, because as with all the              3       A. Again, let's be absolutely
       4   previous questions, some of these techniques     4   clear here. EDS only tells you something
       5   only tell you which mineral species is           5   about the composition, but knowing something
       6   present.                                         6   about the composition may, in fact, inform
       7             So in order to determine               7   the question of whether or not there is one
       8   whether something is asbestos, of course,        8   of the six regulated asbestos mineral species
       9   part of the answer is understanding the          9   present, yes
                                                                           yes.
      10   chemistry, part of the answer is                10       Q. In order for a scientist to
      11   understanding the crystal chemistry, and part   11   conclude that there is asbestos present in
      12   of the answer is evaluating mineralogy --       12   talc, is it your view that he or she should
      13   sorry, morphology.                              13   test the sample using EDXA with two zone
      14             So each of these techniques           14   axes -- excuse me, using EDXA, full stop,
      15   that we've just discussed here treat a          15   SAED with two zone axes, PLM and doing a
      16   different aspect of the definition of           16   statistical test on the aspect ratios if
      17   asbestos that's given in my report.             17   there's enough fibers to look at to analyze
      18        Q. Okay. And I didn't ask you              18   that?
      19   whether or not SAED is sufficient by            19       A. If it's -- if it's all done
      20   itself -- is technique that's sufficient by     20   properly, yes.
      21   itself for determining the presence of          21       Q. Okay. So the four techniques
      22   asbestos in a mineral.                          22   to determine whether or not talc contains
      23             I'm asking whether using the          23   asbestos are EDXA, SAED, PLM, and some kind
      24   technique of SAED is a useful technique for     24   of statistical test on the aspect ratios to
      25   determiningg the presence
                              p         of asbestos in a   25   determine whether it's asbestiform or
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       1   non-asbestiform; is that correct?                1   that there's ten instances where the Longo,
       2       A. It doesn't necessarily have to            2   Rigler reports identify concentrations of
       3   be the aspect ratios, but some kind of           3   asbestos by the Blount PLM method that are
       4   statistical test on the measurements of the      4   well above the sensitivity limits ISO PLM.
       5   particle sizes -- size dimensions, yes
                                              yes.          5             What do you mean by that?
       6       Q. Any other technique that you              6        A. So those are given in the table
       7   regard as necessary to determine whether or      7   at the top of page 47.
       8   not talc contains asbestos?                      8             So in other words, there's an
       9            MR. FROST: Objection. Form.             9   inconsistency here because the Blount PLM
      10            THE WITNESS: I think that              10   test, which is supposedly more sensitive than
      11       combination of techniques, if done          11   the ISO PLM test, registers no asbestos. So
      12       properly, which Drs. Longo and Rigler       12   it's quite an inconsistency here that the
      13       don't seem to know how to do, would be      13   other technique is finding unusual and
      14       sufficient to identify impurities that      14   unreproducible amounts.
      15       occur in talc as being one of the six       15        Q. You're talking about the table
      16       regulated asbestos mineral species,         16   at the top of 47?
      17       yes.                                        17        A. Correct.
      18            But only if they're done               18             Where I'm contrasting the
      19       properly. And, of course, my report         19   Longo, Rigler PLM results with the ones from
      20       details the many problems with the way      20   J3.
      21       they were done by Drs. Longo and            21        Q. Okay. Do you know how much
      22       Rigler.                                     22   time the analysts at J3 spent to analyze each
      23   QUESTIONS BY MR. FINCH:                         23   sample under PLM versus how much time the
      24       Q. Does PLM allow you to                    24   analysts in Longo's labs spent to analyze the
      25   positively identify asbestos fibers?            25   samples using PLM?
                                            Page 271                                              Page 273
       1      A.     If done correctly, it may.             1        A. I have no information on that.
       2            So here's the problem,                  2   I don't believe that's stated anywhere in the
       3   polarized light microscopy relies on two         3   reports.
       4   different kinds of information: One              4        Q. Do you have an understanding of
       5   information is about the dimension of the        5   what is the typical time an analyst would
       6   particle and if the particle is bigger than      6   spend to identify by PLM asbestos in an
       7   about 2.5 microns, it can be seen with PLM.      7   asbestos-containing bulk material where you
       8   So that's one thing.                             8   believe it's likely to be there?
       9            And then the other thing is PLM         9        A. So in other words, if you
      10   relies on refractive index, and generally       10   handed me a sample of salt, told me it was
      11   speaking you look at it in two directions.      11   salt, and then asked me to identify it under
      12   So assuming that the particle was big enough    12   a polarized light microscope, how long would
      13   to see and assuming that the correct series     13   it take me? Not very long.
      14   of refractive index measurements were made as   14        Q. 10 to 15 minutes?
      15   represented by Su who says use 10 to 20         15        A. Maybe.
      16   different refractive index oils and look at     16        Q. Do you have any understanding
      17   many different grains, if all of that was       17   as to how much material Dr. Longo's lab
      18   done properly, then, yes, PLM can potentially   18   analyzed using the Blount PLM method as
      19   be used to identify asbestos minerals
                                          minerals.        19   compared to J3 Resources as reflected in the
      20            So, again, it's if done                20   table at the top of page 47?
      21   properly. And, of course, as I said, if the     21        A. I don't recall that
      22   dimensions of the grain are such that they      22   information. I don't recall if it was in the
      23   can be seen under polarized light -- under      23   report. I wasn't paying attention to how
      24   PLM.                                            24   much material was there because it's really
      25       Q. All right. On page 46 you said           25   irrelevant. In PLM you're looking at a very
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       1   small
            mall area, and so how much material he had      1   laboratory spent 15 minutes looking at each
       2   to start out with is completely irrelevant.      2   sample by PLM to determine if they found
       3   It's what ended up on the slide and being        3   anything that was indicative of an asbestos
       4   inspected by PLM that would be relevant.         4   fiber and the other laboratory spent two
       5        Q. In your Longo, Rigler, Blount            5   hours per sample, could the time spent affect
       6   PLM weight percentage, what's the denominator    6   what is found?
       7   that you're using for that?                      7       A. You know, as a scientist, I
       8            Is that the material after it's         8   don't think in terms of how long a task
       9   been spun out using the Blount method or is      9   takes. I think in terms of trying to get the
      10   that before?                                    10   right answer.
      11        A. Those are just the results in           11            So as a scientist, it didn't
      12   the report. I don't recall. Those are your      12   even occur to me to look at these reports and
      13   numbers. I just tabulated them and put them     13   ask how long something took. I assumed that
      14   in my report. I don't recall.                   14   they took enough time to get the answers that
      15        Q. Do you know what an                     15   they did.
      16   aberrational corrective lens is for a           16       Q. Would you agree with me just
      17   polarized light microscope?                     17   generally, if you're looking for minute
      18        A. Yes.                                    18   amounts of material in a substance, the more
      19        Q. Can you explain that?                   19   time you spend looking for it, if it's there,
      20        A. There's different kinds of              20   the higher likelihood that you are to find it
      21   aberration corrections. It's basically a        21   than as compared to the less time you spend
      22   piece of glass with optical properties that     22   looking for it?
      23   change the appearance of the image that you     23       A. So if you hide a needle in a
      24   see under the microscope.                       24   haystack and you search for ten minutes,
      25        Q. Could the fact that one                 25   you're probably not going to find the needle,
                                             Page 275                                             Page 277
       1   laboratory used an aberrational corrective       1   and if you searched for two days, you might
       2   lens versus a standard lens affect the           2   not find the needle. So it kind of depends
       3   ability to detect asbestos in a sample of        3   on the abundance of the impurity that you're
       4   talc?                                            4   looking for.
       5       A. Well, it would depend on what             5       Q. But do you think --
       6   kind of aberrational microscope it was, and      6       A. In that case, the difference
       7   it would also depend on how the analysis was     7   between two days and ten minutes is not
       8   done.                                            8   significant.
       9            So not necessarily, I guess,            9       Q. Have you ever done any analysis
      10   would be my answer to that.                     10   to determine whether the difference between
      11       Q. But it could?                            11   two hours of looking at talc with a PLM will
      12       A. It could or it could not,                12   make a material difference as compared to
      13   depending on exactly which kind of correction   13   looking at it for 15 minutes on a per-sample
      14   lens you were using.                            14   basis?
      15            If you're talking about the            15       A. You know, I teach optical
      16   lens using {sic} in dispersion staining,        16   mineralogy, or have taught frequently. Some
      17   that's not necessarily a more accurate method   17   students can identify a mineral really fast;
      18   than using a succession of refractive index     18   some students take a long time. Both of them
      19   oils.                                           19   will get to the right answer eventually.
      20       Q. Could the amount of time spent           20            So as I said, as a scientist, I
      21   looking through the sample to determine         21   never think in terms of the time it takes. I
      22   whether or not there was any asbestos           22   just think about how good the -- about what
      23   detected affect the results of one laboratory   23   is necessary to obtain the result needed.
      24   versus another?                                 24   Time is not a thing that's usually relevant
      25            By that mean I mean if one             25   to me.
                                                                       70 (Pages 274 to 277)
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       1       Q. Am I correct that you did not             1   your report; is that correct?
       2   make any analysis of the time the analysts       2        A. I'd have to look, but -- well,
       3   spent with PLM on the samples in the J3 lab      3   actually, I don't think this is Figure 12.
       4   versus the Longo lab?                            4             Are we looking at the first
       5       A. That's correct, and the reason            5   one?
       6   would be that I do not consider time to be       6             This is not Image 21.
       7   relevant to how good their methodology was.
                                                     was    7        Q. Page 49 of your report.
       8        Q. All right. On page 49 you                8             Look at page 49 of your report.
       9   have -- an example of a confusing PLM image      9        A. Oh, yes -- oh, right, but not
      10   is given in Figure 21.                          10   this. Okay. Yes.
      11       A. Correct.                                 11        Q. Okay. Page 49 of your report
      12       Q. Am I correct that Figure 21 is           12   has -- in the bottom it has a sample number?
      13   a printout of an image that's in the backup     13        A. Yep.
      14   materials to Dr. Longo's report?                14        Q. Okay. And what is the sample
      15       A. It is one of his dispersion              15   number?
      16   staining images, yes.                           16        A. Well, it's too small for me to
      17       Q. Okay. You say, "The view at              17   read.
      18   left is pink because it is a dispersion         18        Q. Okay. I can read it. It says,
      19   staining image, which is a special way a        19   "M69680-015BL-003, anthophyllite elongation
      20   plate is inserted in the microscope to make     20   at 400 times."
      21   the colors more intense and more diagnostic."   21        A. Okay. Thank you.
      22       A. In layman's terms, yes, that's           22        Q. All right. Section 13 is --
      23   what I say.                                     23   let's go through it page by page.
      24       Q. Why do you conclude that it's a          24             First of all, it lists the
      25   dispersion staining image?                      25   project split number M69680-015BL, correct?
                                            Page 279                                             Page 281
       1       A. Because the background color is           1       A. Correct.
       2   pink, and the action of the dispersion lens      2       Q. Analyzed by Paul Hess on
       3   is usually to increase the colors that are       3   12/11/2018?
       4   viewed.                                          4       A. That information isn't here,
       5       Q. Do you know what an elongation            5   but...
       6   image is?                                        6       Q. This should be -- do you have
       7       A. Yes.                                      7   the first page of the -- keep going
       8       Q. What is an elongation image?              8   backwards.
       9       A. An elongation image is when you           9       A. Ah. This, yes. Okay. Got it.
      10   use -- you rotate the microscope to get         10       Q. All right. So sample
      11   the -- the image to coincide with the maximum   11   M69680-015BL is the sample -- M69680-015BL,
      12   extent of reflective index.                     12   that's the sample -- it's from the same
      13       Q. And can an elongation image be           13   sample that you're looking at in Figure 21 in
      14   done without dispersion staining?               14   your expert witness report.
      15       A. Yes.                                     15             Right, ma'am?
      16       Q. And it typically is done                 16       A. If that's what the label says,
      17   without dispersion staining, correct?           17   then, yes.
      18       A. Correct.                                 18       Q. Okay. So the first page of
      19            MR. FINCH: Can I have the next         19   Exhibit 22 -- is that 22, ma'am?
      20       document?                                   20       A. Yes.
      21            (Dyar Exhibit 22 marked for            21       Q. It says Section 13.
      22       identification.)                            22             The second is a page entitled
      23   QUESTIONS BY MR. FINCH:                         23   "PLM Analysis" that has the sample listed,
      24       Q. What are we up to? 22.                   24   correct?
      25            So this is Figure 21 out of            25       A. Here?
                                                                       71 (Pages 278 to 281)
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       1       Q. Yes.                                      1   yes.
       2       A. Yeah.                                     2       Q. That's what it says right on
       3       Q. What is the third page of                 3   the document, right?
       4   Exhibit --                                       4            MR. CHACHKES: Now what page
       5       A. It's an image.                            5       are we on?
       6       Q. It's an image with a dispersion           6            MR. FINCH: I'm on the page
       7   staining, correct?                               7       that is identical to the page that's
       8           MR. CHACHKES: Just to make               8       Figure 21 in her expert witness
       9       sure we're on the -- literally the           9       report.
      10       same page, are you looking at the red       10            THE WITNESS: That's what it
      11       page or the gold, black page?               11       says, elongation, yes.
      12           MR. FINCH: I'm looking at the           12            MR. CHACHKES: No, you're
      13       gold and black page. Yeah, so you're        13       looking at your report. I'm saying
      14       not on the same page.                       14       which -- what page are you looking at
      15           THE WITNESS: Yep. Yep.                  15       in that Section 13?
      16           MR. FINCH: I'm looking at the           16            MR. FINCH: Well, 1, 2, 3, 4,
      17       gold and black page. This is --             17       5, 6, 7, 8, 9, 10, 11, 12, 13.
      18           MR. CHACHKES: Not that page.            18            13th page of Section 13 --
      19           MR. FINCH: This page.                   19            MR. CHACHKES: Okay.
      20           MR. CHACHKES: You're counting           20            MR. FINCH: -- of Exhibit 22.
      21       from different numbers.                     21            THE WITNESS: Ah, this lovely
      22           THE WITNESS: Oh, got it.                22       grain, yes.
      23       Okay.                                       23            MR. FINCH: If you look on the
      24   QUESTIONS BY MR. FINCH:                         24       Elmo, I've got it.
      25       Q. This is M69680-015BL-001.                25            THE WITNESS: Yeah, that's
                                            Page 283                                              Page 285
       1   That's dispersion staining, correct?             1       right. I have it in my report. I
       2       A. Well, when you put -- you can             2       know what it looks like.
       3   use different wave plates to change the          3             Here, I'll just look at it on
       4   color. Often dispersion staining images are      4       Alex.
       5   pink. It's also possible to have that color      5   QUESTIONS BY MR. FINCH:
       6   from a different kind of wave plate. So I'm      6       Q. And so that is an anthophyllite
       7   not -- I don't think that these -- in some       7   elongation image, correct?
       8   cases they were specifically labeled as such.    8       A. There is no way that's what
       9   I don't happen to recall what this one was       9   that is.
      10   labeled as.                                     10       Q. And there is -- there's no
      11       Q. Well, you said in your report            11   indication that this is an image taken with
      12   that sample M69680-015BL-003 is a dispersion    12   dispersion staining, correct, on the picture
      13   staining image, correct?                        13   that's large enough to seen?
      14            You say that at page 49. "The          14       A. No, so I might have miswritten
      15   view of the left is pink because it is a        15   that it's a dispersion staining image, but
      16   dispersion staining image," right?              16   that doesn't change the fact that that is not
      17       A. I do see that, but the same              17   anthophyllite.
      18   thing could be true with the wave plate. So     18       Q. So you were incorrect when you
      19   it doesn't really matter whether it's a         19   said this was a dispersion staining image; is
      20   dispersion staining image or a -- just a        20   that true?
      21   normal wave plate image.                        21             MR. LOCKE: Objection.
      22       Q. This is --                               22             THE WITNESS: I honestly don't
      23       A. You interpret them differently.          23       recall.
      24       Q. This is an elongation image?             24             The focus of analyzing this
      25       A. That's what you're telling me,           25       particular image has nothing to do
                                                                       72 (Pages 282 to 285)
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       1       with whether it's a dispersion image        1   referring to? The page in front of the
       2       or not. It has to do with the               2   elongation image? Page 12?
       3       ridiculousness of there happening to        3       A. Yeah, it says it's a dispersion
       4       be an amphibole grain that happens to       4   staining image, so I guess we have to accept
       5       be exactly the same length as a talc        5   that that's what -- that is what they say it
       6       particle and happens to line up             6   is.
       7       exactly along the edge of the talc          7            But the other one is not --
       8       particle. That's the point of               8   clearly not the same wave plate, so one would
       9       including this figure in the document.      9   conclude that it was a different accessory.
      10             So whether or not it's a             10       Q. "The other one." What's the
      11       dispersion staining image is real          11   other one you're referring to?
      12       pretty irrelevant.                         12       A. The ones with the pink
      13   QUESTIONS BY MR. FINCH:                        13   background.
      14       Q. Now, isn't it true that in the          14            Because accessories are used in
      15   previous two images they take a look at the    15   polarizing light microscopes to intensify the
      16   same material from two different rotations?    16   colors and change them, and so sometimes the
      17   One of it --                                   17   background color is diagnostic of the use of
      18       A. Yes.                                    18   a wave plate.
      19       Q. And wouldn't it be the case             19       Q. So you're saying it's your
      20   that if it were a talc particle curled up on   20   opinion that the images on pages 11, 12 --
      21   edge, it would look different in the           21   excuse me, 10, 11, 12 and 13 of Exhibit 22
      22   M69680-015BL-003?                              22   are different structures?
      23       A. Well, these two images were not         23       A. Well, they're obviously
      24   taken with the same wave plate. Regardless     24   different grains.
      25   of whether it was dispersion or not, they're   25            Well, that's not true. In one
                                            Page 287                                            Page 289
       1   not taken -- obviously the colors are           1   case it's the same grain rotated in two
       2   different, so they weren't taken under the      2   directions. Let's see, where is that one?
       3   same conditions, so the colors would be         3             I'm lost in page space. These
       4   different.                                      4   aren't numbered, so I don't know which ones
       5       Q. What I'm asking you is, if it            5   you're referring to.
       6   were in fact talc rolled up as opposed to       6       Q. Well, let's -- we established
       7   anthophyllite, wouldn't it be the case it       7   that the elongation image is the 13th page of
       8   would appear differently between the image      8   Exhibit 22, right?
       9   I'm showing you on the Elmo now and the         9       A. Okay. This is page 13, yes.
      10   rotated image that's one page behind it?       10       Q. All right. The page before
      11       A. Only if the same wave plate was         11   that is the same sample, anthophyllite
      12   used in both images.                           12   perpendicular dispersion, correct?
      13       Q. And you don't know whether              13       A. Yes.
      14   that's true or not, do you?                    14       Q. And then they rotate the
      15       A. One of them says "perpendicular         15   sample, and it is the same sample,
      16   dispersion" and the other one says             16   anthophyllite parallel dispersion?
      17   "elongation," and I don't recall from the      17       A. Well, that's the way it's
      18   report specifically which ones of these is     18   labeled, yes.
      19   which. I mean -- but clearly they're not       19       Q. So if it were in fact the same
      20   under the same conditions. Because when you    20   sample they've turned two different ways,
      21   put a wave plate under a microscope, the       21   would you agree with me that that can't be
      22   colors intensify as seen in the pink           22   talc rolled up on its side?
      23   background, and this image clearly does not    23       A. No.
      24   have any kind of wave plate.                   24       Q. Why not?
      25       Q. Which is the "this" you're              25       A. Because the optical properties
                                                                      73 (Pages 286 to 289)
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       1   of talc, when you look down on the sheets,       1   determination that the images that you
       2   are different than the optical properties of     2   examined contained cleavage fragments and not
       3   talc when you look perpendicular to the          3   fibers?
       4   sheets.                                          4       A. Because in my career I've
       5       Q. What's a cross-polar?                     5   looked at hundreds of thousands of cleavage
       6       A. A cross-polar is a piece of               6   fragments of minerals under a microscope, and
       7   glass that is manufactured in such a way that    7   I know what they look like.
       8   light vibrating in one direction -- only one     8            The -- and I can consistently
       9   direction gets -- passes through, like a         9   identify a cleavage fragment based on having
      10   polarizing pair of sunglasses.                  10   looked at hundreds of thousands of cleavage
      11       Q. On page 48 and 49 of your                11   fragments in my career.
                                                                                  career
      12   report, you state that the Su 2003 paper        12       Q. So your opinion that what
      13   requires looking at 10 to 20 grains?            13   Dr. Longo's analysts are calling bundles of
      14       A. I believe I quote from the Su            14   asbestos fibers are in fact cleavage
      15   document in here somewhere, yes.                15   fragments is based on your looking at
      16       Q. It says, "After 10 to 20 fibers          16   hundreds of thousands of cleavage fragments
      17   are examined in this way, 10 to 20 fibers       17   under a microscope throughout your career.
      18   were examined in the extinction position."      18            That's what it's based on,
      19            What's the difference between          19   right?
      20   the extinction position and the original        20       A. That, and the research that I
      21   position?                                       21   did, some of the images that are included in
      22       A. So extinction is when the                22   my report such as -- oh, let's see. They're
      23   microscope stage is rotated so the grain        23   on the morphology section.
      24   becomes dark.                                   24            So, for example, the paper by
      25            It's on page 47, is where the          25   Campbell, et al., 1977, gives examples of
                                             Page 291                                            Page 293
       1   quote is from Su.                                1   asbestiform versus non-asbestiform particles.
       2       Q. Uh-huh.                                   2             The paper by Gunther in 2010
       3       A. And it says pretty clearly,               3   gives examples of asbestiform and
       4   "After 10 to 20 fibers are examined in this      4   non-asbestiform particles.
       5   way, the fiber with the longest is" -- the       5             The paper by Harper in 2010
       6   longest must be refractive index -- "is          6   gives examples of what asbestiform and
       7   assumed to exhibit the refractive index          7   non-asbestiform particles look like.
       8   closest to N alpha."                             8             The paper by Pierce in 2017
       9            But again, there's -- I don't           9   gives examples of what cleavage fragments
      10   recall any information in either of these       10   look like.
      11   reports that says that they used -- they        11             So I would say that I rely on
      12   examined 10 to 20 fibers.                       12   my background of identifying cleavage
      13       Q. Are there any PLM analyses that          13   fragments, along with careful review of the
      14   Dr. Longo's lab performed that you would        14   peer-reviewed literature for what constitutes
      15   agree do show asbestos fibers?                  15   a cleavage fragment, to make my judgment
      16       A. No.                                      16   about what is in these samples.
      17       Q. Not a single one?                        17             MR. FINCH: Lizzy, can I have
      18       A. No, because let's recall that            18        the pictures? You know, the redacted
      19   polarized light microscopy can tell you         19        pictures?
      20   something about the composition, if properly    20   QUESTIONS BY MR. FINCH:
      21   done, and something about the morphology.       21        Q. So am I correct that you can
      22   And all of the images that I examined contain   22   tell by looking at a photomicrograph whether
      23   what I consider to be cleavage fragments, not   23   something is a bundle or a cleavage
      24   fibers.
           fibers                                          24   fragment --
      25
       5       Q. Okay.   y How did youy make the          25             MR. CHACHKES: Objection.
                                                                                               Objecti
                                                                                                  j
                                                                       74 (Pages 290 to 293)
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       1   QUESTIONS BY MR. FINCH:                          1      Q.     -- of the particles?
       2       Q. -- based on your expertise and            2           Okay. But you just told me
       3   your judgment?                                   3   that you had very little experience in
       4       A. That's not what I said.                   4   reviewing images of asbestiform asbestos
       5            I said I have identified                5   bundles under a polarized light microscope or
       6   hundreds of thousands of cleavage fragments      6   any other kind of light -- any other kind of
       7   in my career. I have very little experience      7   microscope; is that correct?
       8   looking at amphibole bundles in thin section,    8           MR. CHACHKES: Objection.
       9   which is why I referred to the literature to     9           THE WITNESS: Boy, I don't
      10   find what those images look like.
                                           like            10       think of it as reviewing images. I've
      11
       1       Q. So you have very little                  11       looked down a microscope plenty of
      12   experience of identifying amphibole bundles,    12       times at asbestos.
      13   correct?                                        13           In my experience, most of the
      14            MR. LOCKE: Objection.                  14       asbestos I've looked at has not been
      15            MR. CHACHKES: Objection.               15       bundles.
      16            THE WITNESS: That's what I             16   QUESTIONS BY MR. FINCH:
      17       said.                                       17       Q. And my question is: How many
      18   QUESTIONS BY MR. FINCH:                         18   times have you looked down a microscope at
      19       Q. You have very little experience          19   asbestos fibers?
      20   in looking for asbestos fibers under a          20           Is it more than a hundred?
      21   polarized light microscope, correct?            21       A. Well, now you're changing the
      22       A. I have looked at asbestos                22   question. Before it was about bundles, and
      23   fibers under a polarized light microscope in    23   now it's about fibers.
      24   the course of teaching for many years.          24           How many times have I looked at
      25       Q. How many times?                          25   asbestos under a microscope --
                                            Page 295                                              Page 297
       1       A. Oh, we covered the amphibole              1        Q. Yes.
       2   minerals in mineralogy as a routine thing. I     2        A. -- when I knew it was asbestos
       3   think I've taught mineralogy 20 times, so        3   from independent means, and I had a
       4   that would be 20 weeks of my life spent          4   macroscopic hand sample, and I myself had
       5   teaching what kind of -- what amphiboles look    5   prepared the thin section for my class?
       6   like.                                            6   Literally hundreds.
       7       Q. How about time spent analyzing            7        Q. How about when you're
       8   structures to determine whether or not they      8   attempting to determine what it is, whether
       9   are asbestiform asbestos bundles versus          9   it's asbestos or not?
      10   something else?                                 10        A. I think we've already
      11            How much time have you spent on        11   established that I was not asked to do
      12   a regular basis as part of your academic        12   testing in this case, and so I have not
      13   career doing that?                              13   looked at any -- any of the talc samples,
      14       A. Well, let's go back to my                14   period.
      15   report for a minute and remember that the key   15        Q. No, my question is: Ever in
      16   methodology for distinguishing between          16   your career, have you attempted to identify
      17   asbestiform and non-asbestiform minerals is     17   asbestos fibers in a substance where you
      18   by careful analysis of the populations based    18   didn't know what it was?
      19   on the dimensions of the particles.             19        A. No.
      20            So that is -- that                     20            But that's pretty similar to
      21   identification is not something that we would   21   the way Drs. Longo and Rigler treat their
      22   do in mineralogy.                               22   analyses as well, because they presume that
      23       Q. You're talking about the                 23   everything they look at that's a particle is
      24   statistical analysis --                         24   either a bundle or a frag -- sorry, a bundle
      25       A. Correct.                                 25   or a fiber. There's no case in their notes
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       1   where they -- well, it might be a few, where     1           It's possible that that quote
       2   they say something is a cleavage fragment.       2   comes from a different ISO document. I'd
       3   But they seem to only identify things as one     3   want to look that up.
       4   or the other.                                    4       Q. Is it possible that it comes
       5            MR. FINCH: I'll object and              5   from ISO 22262-2?
       6       move to strike everything after the          6       A. Yeah, let's take a look.
       7       word "no."                                   7       Q. ISO 22262-2, page 23.
       8   QUESTIONS BY MR. FINCH:                          8       A. Interestingly, there are no
       9       Q. All right. Let's -- well,                 9   page numbers in this document.
      10   actually, there's a few more technical things   10       Q. You have Dyar 5?
      11   before we get to this, so...                    11       A. Yeah.
      12            On page 50 and 51 of your              12           MR. CHACHKES: I think the page
      13   report, you fault Dr. Rigler and Longo for      13       numbers were cut off on our copies.
      14   not using point counting to estimate the        14           MR. FINCH: Oh.
      15   concentration of asbestos by PLM, correct?      15   QUESTIONS BY MR. FINCH:
      16       A. Correct. I found no                      16       Q. It's Section 14.2.3.4.
      17   information in their report to indicate they    17       A. Got it. Ah, yes, this is where
      18   use point counting.                             18   the point counting is.
      19       Q. Okay. And you're relying on              19           Okay. Now we are all literally
      20   ISO 22262-1 for your conclusion that point      20   on the same page.
      21   counting is a methodology they should have      21       Q. Okay. Now, the reference that
      22   followed to estimate asbestos by weight?        22   you have in your report on page 50 and 51 is
      23       A. No, I'm relying on the quote             23   incorrect, and it should be to ISO 22262-2?
      24   from ISO 2262 {sic} to say that the accuracy    24       A. Right. So the 1 should be a 2.
      25   of a point count is dependent on the number     25       Q. At page 23?
                                             Page 299                                            Page 301
       1   of grains counted. That is the context in        1      A.     In the footnote, yes.
       2   which that statement is made.                    2      Q.     Right. Okay.
       3        Q. Okay. You're referring to --             3            Do you agree with me that talc
       4   your citation is to ISO 22262-1, page 29,        4   particles and any accessory minerals found in
       5   right?                                           5   talc can have different sizes?
       6        A. No, page 50 to 51 where I say,           6       A. Certainly.
       7   "It is well-recognized that the accuracy of a    7       Q. Can they have different
       8   point count depends on the number of grains      8   thicknesses?
       9   counted. This is acknowledged in ISO             9       A. Certainly.
      10   22262-2, which says," et cetera, et cetera.     10       Q. Can they have different
      11        Q. All right. Let's get ISO                11   densities?
      12   22262-1.                                        12       A. What do you mean, "can they
      13        A. So that should be on page 29,           13   have different densities?"
      14   that quote.                                     14       Q. Can the talc particles and the
      15        Q. We're on page 29 of ISO                 15   accessory minerals have different densities?
      16   22262-1, is that quote.                         16       A. Certainly.
      17        A. That's what it says. It looks           17       Q. Can different accessory
      18   like there might be an error in that.           18   minerals have different densities?
      19        Q. Isn't the quote that you're             19       A. They may.
      20   talking about found on page 23?                 20       Q. Can talc particles have
      21        A. Yeah, that might have been a            21   different thicknesses from other talc
      22   typo. Although I don't see it on page 23.       22   particles?
      23        Q. Let's see.                              23       A. Yes. Or they could be the
      24        A. Let's see if we can find it             24   same.
      25   here. Point counting.g                          25            When you make a grain mount,
                                                                        76 (Pages 298 to 301)
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       1   you have no guarantees of what thicknesses of      1   relative projected areas occupied by
       2   anything are.                                      2   different particle species on a microscope
       3       Q. And would you agree that the                3   slide. The integrated relative volumes of
       4   point counting methodology that ISO 22262          4   different particle species can be calculated
       5   refers to -- refers you back to ISO 22262-1        5   from a conventional point count, but only if
       6   to describe how to do point counting?              6   the particles are all of the same thickness.
       7       A. I don't see that right here.                7   If the densities of the various particle
       8            You want to tell me where it              8   species are known, the relative weights of
       9   says that?                                         9   the different particle species can be
      10       Q. I misspoke. I'm sorry.                     10   calculated. However, conventional point
      11            Section 14.2-3-4 is where it             11   counting does not produce correct results
      12   talks about "the statistical reliability of a     12   when applied to the determination of the
      13   point count for determination of asbestos         13   proportion of asbestos in a mixture of
      14   depends on the number of asbestos points, not     14   particles with a wide range of different
      15   on the total nonempty points examined."           15   thicknesses and different densities."
      16            That's the quote you have --             16            Did I read that correctly?
      17       A. That's the quote.                          17        A. You did.
      18       Q. -- in your report?                         18            So I think the point here is
      19       A. Yes.                                       19   twofold. There's not -- there's very little
      20       Q. Okay. And the determination of             20   information in the Longo and Rigler reports
      21   amphibole in talc is found on page 29 of ISO      21   about the PLM procedures used. And in fact,
      22   22262-2, correct?                                 22   in most cases when we do this in the
      23            MR. CHACHKES: So we don't have           23   laboratory, we sieve the samples so the
      24       page numbers.                                 24   particles are all the same size.
      25            MR. FINCH: Page -- it's 16.3.            25            So one normal, logical
                                              Page 303                                              Page 305
       1        16.3.                                         1   assumption would be that they sieve their
       2             THE WITNESS: Yep.                        2   particles before they did the PLM analysis.
       3   QUESTIONS BY MR. FINCH:                            3   It doesn't say that they did not; it doesn't
       4        Q. Okay. This talks --                        4   say that they did. There's not just enough
       5        A. That describes a centrifuge                5   information to know if that's what they did.
       6   procedure, yes.                                    6        Q. Isn't it true that
       7        Q. And then it refers you back.               7   Section 14.2.3 that I just read you said that
       8   It says, "Quantify any asbestiform amphibole       8   point counting is not accurate if the -- to
       9   in the centrifugate by the point counting          9   determine the proportion of asbestos in a
      10   procedure specified in 14.2.3," right?            10   mixture of particles with a wide range of
      11        A. Of this document, yes.                    11   different thicknesses and different
      12        Q. Yes. Of ISO 22262-2.                      12   densities?
      13        A. Which is the minimum of 20                13        A. That is indeed what the
      14   asbestos points or the equivalent of 13,000       14   document says. And what I'm telling you is
      15   nonempty points. That's what it's referring       15   that it's also possible that the data in the
      16   to, yes.                                          16   Longo, Rigler reports were all from a sieved
      17        Q. Right.                                    17   sample which were, in fact, the same grain
      18             But if you go to the beginning          18   size, in which case you would be able to
      19   of Section 14.2.3, that's the section that        19   extract useful information out of it.
      20   refers you back to point counting by PLM or       20             But the germane point here is
      21   SEM that's found on page 20 of the exhibit.       21   what's in my report, and that is that the
      22   It's the beginning of 14.2.3.                     22   Longo and Rigler analysts didn't do any of
      23        A. Yes.                                      23   this. They just used visual estimates rather
      24        Q. All right. What it states is,             24   than point counting. And they say in their
      25   "Conventional point
                            p     countingg determines th
                                                       the   25   deposition
                                                                     p         that they
                                                                                       y used -- compare
                                                                                                      p visual
                                                                         77 (Pages 302 to 305)
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       1   comparisons against unspecified and              1            Point counting is not just used
       2   unregulated weight percent standards.            2   in the asbestos industry. Point counting is
       3            But the results of those are            3   a time-honored geologic technique that's been
       4   really un -- different from the ones from TEM    4   used for probably a hundred years.
       5   and, therefore, I consider them to be            5            MR. FINCH: Let's take a break.
       6   unreliable.                                      6            VIDEOGRAPHER: All right. The
       7            MR. CHACHKES: Incidentally,             7       time is 4:58 p.m. Off the record.
       8        we've been going over a little over an      8        (Off the record at 4:58 p.m.)
       9        hour, if you reach a wrapping-up            9            VIDEOGRAPHER: Okay. We are
      10        point.                                     10       back on the record. The time is
      11            MR. FINCH: Two more questions,         11       5:32 p.m.
      12        and then we'll stop for a break.           12   QUESTIONS BY MR. FINCH:
      13            MR. CHACHKES: Always two.              13       Q. Good afternoon, Professor Darby
      14   QUESTIONS BY MR. FINCH:                         14   Dyar.
      15        Q. But you have no information             15            At page 53 of your report --
      16   about whether or not they had sieved the        16   this is Exhibit 2 to your deposition, your
      17   samples so that all the particles were of the   17   expert witness report.
      18   same thickness and the same density before      18       A. Sorry, what page is that again?
      19   analyzing them, correct?                        19       Q. 53.
      20        A. Correct.                                20       A. I'm there.
      21        Q. And ISO 22262-2,                        21       Q. All right. On page -- at
      22   Section 14.2.3, says that point counting does   22   Figure 23 A, images of non-asbestiform
      23   not produce correct results when the asbestos   23   particles from Gunther 2010.
      24   is in a mixture of particles with a wide        24            Do you see that?
      25   range of different thicknesses and different    25       A. Yes.
                                             Page 307                                             Page 309
       1   densities, correct?                              1       Q. Those are images taken from the
       2        A. But, sir, your point is moot             2   paper that you and I looked at earlier today,
       3   because the point I make in my report is that    3   Mickey Gunther's 2010 paper entitled
       4   they didn't even use point counting. So          4   "Defining Asbestos Differences Between the
       5   regardless of whether they sieved the samples    5   Built and Natural Environments"?
       6   or not, they didn't do point counting, so        6       A. Mickey's written a lot of
       7   it's unclear to me why this is even relevant.    7   papers, but if that's what I say, then that's
       8        Q. Isn't one reasonable                     8   the one I reference, yes.
       9   interpretation of ISO 22262-2 is that you're     9       Q. Well, you referred to Gunther
      10   not supposed to do point counting if you're     10   2010. I'm just --
      11   analyzing asbestos found in a material with a   11       A. Well, hang on. Let's take a
      12   wide range of different thicknesses and         12   look here.
      13   different densities?                            13            Yes. So between -- yep, that's
      14        A. No, because it would be                 14   it. Yep.
      15   entirely possible to sieve the samples to       15       Q. Okay.
      16   make sure they were all the same grain size.    16       A. Do you want me to pull that
      17        Q. Does it say anywhere in ISO             17   out?
      18   22262-2 to sieve all the samples so that        18       Q. No. No. No.
      19   they're the same particle and grain size?       19       A. That is indeed where those
      20        A. It doesn't need to say that.            20   images came from.
      21   It says that if they are a different grain      21       Q. Those images came from what we
      22   size, you won't get good results. So that       22   have marked to our deposition as exhibit --
      23   implies that if you wanted to get good          23   your Deposition Exhibit 11, correct?
      24   results, you would sieve the samples, which     24       A. Yeah. Might turn the page, I'm
      25   is the standard protocol
                             pprotocol.                    25   sure. Yeah, they're in there.
                                                                       78 (Pages 306 to 309)
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       1       Q. Okay. Were you aware at the               1   its mission statement is?
       2   time that Mr. Gunther wrote this paper that      2            MR. CHACHKES: Objection.
       3   he was serving as an expert witness for the      3       Form.
       4   RT Vanderbilt talc company and issuing expert    4            THE WITNESS: No, I have no
       5   reports that called the materials that were      5       knowledge of that.
       6   found in Gouverneur talc, Gouverneur,            6   QUESTIONS BY MR. FINCH:
       7   New York, talc, non-asbestiform cleavage         7       Q. You've never heard of Exponent
       8   fragments as opposed to asbestos --              8   or ChemRisk before?
       9   asbestiform fibers?                              9       A. No.
      10            MR. CHACHKES: Objection.               10       Q. Are you familiar with the
      11            THE WITNESS: No, I was not             11   terminology "doubt science" or "distraction
      12       aware of any of that.                       12   science"?
      13   QUESTIONS BY MR. FINCH:                         13            MR. CHACHKES: Objection.
      14       Q. Are you aware that there has             14            THE WITNESS: Never heard that
      15   been an epidemic of mesothelioma from           15       term.
      16   employees of the Gouverneur talc mine in and    16   QUESTIONS BY MR. FINCH:
      17   around the -- who were employed by the          17       Q. On page 53 of your report you
      18   Gouverneur talc mine by RT Vanderbilt?          18   say, "Bundles occur as separable groups of
      19            MR. LOCKE: Objection.                  19   parallel fibers with splayed ends and matted
      20            THE WITNESS: No, I'm not aware         20   masses as seen in Figure 23 B," as in
      21       of that.                                    21   basketball, right?
      22            MR. FROST: Objection.                  22       A. Yes.
      23   QUESTIONS BY MR. FINCH:                         23       Q. Do you agree with me that
      24       Q. Are you aware that the EPA               24   bundles do not have to have splayed ends?
      25   Region 9 has criticized Dr. Gunther and         25       A. All I know is that in ISO
                                             Page 311                                             Page 313
       1   Mr. Lee's analysis of the distinction between    1   22262-1, bundles are described as structures
       2   asbestiform and non-asbestiform?                 2   composed of parallel, smaller diameter fibers
       3            MR. FROST: Objection.                   3   attached along these -- along their lengths.
       4            MR. CHACHKES: Objection.                4            I think the point is that
       5            THE WITNESS: No, I'm not aware          5   Drs. Longo and Rigler don't define what a
       6       of that.                                     6   bundle is either, so it's unclear what
       7            And I will also point out that          7   they -- what they mean when they make those
       8       in my report I give examples of              8   assignments.
       9       non-asbestiform particles from other         9       Q. All right. In page 5 of ISO
      10       sources such as Campbell 1977 and --        10   22262-1, Section 2.29?
      11       and Pierce 2017.                            11       A. Yeah, I think I stole one of
      12   QUESTIONS BY MR. FINCH:                         12   yours.
      13       Q. All right. Were you aware that           13            Section 2 point what?
      14   Pierce's paper was -- are you aware that        14       Q. 29, 2.29 in the definitions.
      15   Ms. Pierce is an employee --                    15       A. Uh-huh.
      16            MR. FINCH: Is it Exponent or           16       Q. It says -- it has a definition
      17       ChemRisk?                                   17   of fiber bundle, correct?
      18            MR. CHACHKES: Are you aware?           18       A. Which is exactly the definition
      19            MR. FINCH: I am, but I'm               19   I gave, I believe, yes.
      20       50-some years old, and remembering          20       Q. Well, in your report you say
      21       everything off the top of my head           21   "bundles occur as separable groups of
      22       isn't as easy as it used to be.             22   parallel fibers with splayed ends and matted
      23   QUESTIONS BY MR. FINCH:                         23   masses."
      24       Q. Are you aware of the nature of           24            And my question to you was: Do
      25   the entity that employs Ms. Pierce and what     25   you agree that fiber bundles do not always
                                                                       79 (Pages 310 to 313)
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       1   exhibit splayed ends?                           1   from counting criteria into characteristics
       2       A. You know, I've not been called           2   for fibers and bundles.
       3   upon to make that judgment call, so I can't     3        Q. The section is entitled
       4   say.                                            4   "Morphology," correct?
       5       Q. Will you agree with me that in           5        A. Yes.
       6   the definition of fiber bundle on page 5,       6        Q. And it lists A, B and C,
       7   Section 2.29 of ISO 22262-1, it states, "A      7   correct?
       8   fiber bundle may exhibit diverging fibers at    8        A. Yes, but it says "generally
       9   one or both ends"?                              9   recognized." It doesn't say "always
      10       A. Yes, it does say -- it does say         10   recognized."
      11   that, yes.                                     11        Q. And would you agree with me
      12       Q. Okay. And you would agree with          12   that it doesn't say that all of these
      13   me that "may" does not mean "always"?          13   characteristics have to be present in order
      14       A. Correct.                                14   for it to be morphology consistent with
      15            But I did not say that bundles        15   asbestos?
      16   are defined as. I just said that's how they    16        A. It doesn't say that -- it's not
      17   occur. Very important distinction.             17   clear. The document itself is not clear.
      18       Q. And you would agree with me --          18        Q. Are you aware of any -- other
      19   would you agree with me that you can have a    19   than the statistical testing using the aspect
      20   bundle of asbestos fibers without splayed      20   ratio we'll get to it in a minute, are you
      21   ends at either end of the bundle?              21   aware of any objective way to determine
      22            MR. LOCKE: Objection. Asked           22   whether or not a structure you're looking at
      23       and answered.                              23   is a bundle or a cleavage fragment in terms
      24            THE WITNESS: The definition in        24   of something you can measure using a tool or
      25       ISO 22262 makes a note that says that.     25   a technique of --
                                             Page 315                                            Page 317
       1   QUESTIONS BY MR. FINCH:                         1       A. So before I answer that
       2       Q. It makes a note that it may              2   question, I'd like to back up to your last
       3   have splayed ends. It also may not have         3   question and point out that there's a note at
       4   splayed ends, too, correct?                     4   the end of this section which says, "This is
       5       A. That's correct.                          5   intended as guidance for analysts, and it is
       6       Q. All right. And in                        6   not intended to override the definition of
       7   Section 7.2.3.7.1 of the same document,         7   asbestos as presented in 2.9."
       8   page 22?                                        8            So let's make sure we make a
       9       A. 7.2.3 -- yeah, got it.                   9   note of the fact that these morphology
      10       Q. It has a description of                 10   comments here are intended as guidance and
      11   morphology for -- "morphology that is          11   not as overriding other considerations
      12   characteristic of asbestos is as follows,"     12   elsewhere in the document.
      13   and then it has a description of the           13            All right. Now --
      14   morphology characteristics in laboratory       14       Q. And it also refers to national
      15   samples for PLM identification of the fiber    15   regulation. It's not intended to override
      16   type.                                          16   any national regulation, correct?
      17           Do you see that?                       17       A. That's what it says.
      18       A. I do see that here.                     18            Now, if we can go back to your
      19       Q. Okay. It says, "A, the                  19   question.
      20   presence of fiber aspect ratios in the range   20       Q. So my question is: Other than
      21   of 20 to 1 or higher for fibers longer than    21   the statistical test of aspect ratios on a
      22   5 microns."                                    22   population basis, is there any quantitative,
      23           Do you see that?                       23   objective way that you know of to identify
      24       A. Yes.                                    24   the morphology of a bundle as being a bundle
      25           Be careful, you're diverting           25   of asbestos fibers versus a cleavage
                                                                      80 (Pages 314 to 317)
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       1   fragment?                                        1   the amphibole is probably non-asbestiform,
       2             MR. FROST: Objection to form.          2   with a degree of certainty increasing with
       3             THE WITNESS: Let's see.                3   decreasing maximum aspect ratio. If any
       4        "Other than."                               4   amphibole fibers longer than 5 microns with
       5             So we've established that              5   aspect ratios in the range of 20 to 1 or
       6        statistical tests of particle               6   higher are observed, then it can be concluded
       7        dimensions on populations are the best      7   that amphibole asbestos is probably present,
       8        and only way to determine whether           8   with a degree of certainty increasing with
       9        something is asbestiform and                9   increasing aspect ratio."
      10        non-asbestiform.                           10             Did I read that correctly?
      11             From an individual particle and       11       A. You read it correctly.
      12        a two-dimensional image, it is             12
                                                            2       Q. And it says, if any amphibole
      13        impossible to make those kinds of          13   fibers longer than 5 microns with an aspect
      14        judgments.                                 14   ratio in the range of 20 or {sic} 1 or higher
      15   QUESTIONS BY MR. FINCH:                         15   are observed, then it can be concluded that
      16        Q. Would you agree with me that            16   amphibole asbestos is probably present.
      17   Section 7.2.3.7.1 says, "In light microscope,   17   Right?
      18   the asbestiform habit is generally recognized   18       A. That's what it says.
      19   by the following characteristics," and it       19       Q. So that means -- "any" means
      20   lists characteristics that do not discuss the   20   more than 1, correct?
      21   statistical testing of a population of -- on    21             If you've got any amphibole
      22   an aspect ratio basis?                          22   fibers longer than 5 microns with an aspect
      23        A. My interpretation of this               23   ratio in the range of 20 or 1 to higher, ISO
      24   document is verbatim what it says, which is     24   22262-1, Section 7.2.3.7.1, says that it can
      25   this is intended for guidance. It's not         25   be concluded that amphibole asbestos is
                                             Page 319                                            Page 321
       1   intended to be, as it says, a way to             1   probably present, with a degree of certainty
       2   discriminate between non-asbestiform and         2   increasing with increasing aspect ratio?
       3   asbestiform amphibole populations in a           3       A. Let us, again, point out that
       4   rigorous way.
                     way                                    4   immediately following the paragraph you wrote
       5       Q. Okay. On page 23, in the same             5   {sic} it says, "This is intended for guidance
       6   section, in the text below number 5 --           6   for an analyst," first of all.
       7       A. Uh-huh.                                   7            And second of all, let's go
       8       Q. -- it has a discussion in the             8   back and look at the populations in this
       9   second paragraph that begins "In general."       9   particular situation. And in fact, it says
      10            Do you see that?                       10   that the average aspect ratio of all
      11       A. Yes.                                     11   particles looked at by Longo and Rigler is
      12       Q. Okay. ISO 22262-1 states, "In            12   13.34.
      13   general, for this part of ISO 22262, the        13            So under their own
      14   presence of either the asbestiform or the       14   definition -- or under the definition in this
      15   non-asbestiform analogs of tremolite and        15   document, none of the particles identified by
      16   actinolite, anthophyllite or richterite,        16   Drs. Longo and Rigler would be considered to
      17   winchite, can usually be specified. If the      17   be asbestiform. So you're arguing my own
      18   majority of the amphibole fibers longer than    18   point
                                                                point.
      19   5 microns have aspect ratios equal to or        19       Q. Average doesn't mean -- the
      20   lower than 5 to 1, and if the fibers do not     20   average -- you said Longo and Rigler found
      21   exhibit any of the characteristics in C" --     21   that the average aspect ratio was 13 point
      22            Which is referring back to             22   something, correct?
      23   page 22, correct?                               23       A. Correct.
      24       A. Yes.                                     24       Q. Average is not the same as the
      25       Q. -- "it can be concluded that             25   longest, correct?
                                                                       81 (Pages 318 to 321)
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       1       A. That's correct. But it is also            1   of particles was still 13, which is well
       2   the case that population distribution of         2   below 20 to 1.
       3   non-asbestiform and asbestiform amphiboles       3       Q. Where does it say that the
       4   would all have some samples since it's an        4   average aspect -- in ISO 22262-1 does it say
       5   asymptotic distribution potentially in the 20    5   in Section C, Section 72371, that the average
       6   to 1 range.                                      6   aspect ratio has to be in the range of 20 to
       7       Q. Does -- isn't it true that                7   1 or higher?
       8   Dr. Longo and Dr. Rigler did find amphibole      8       A. It says, "This is intended as
       9   fibers that were longer than 5 microns which     9   guidance for the analyst to discriminate
      10   had an aspect ratio of 20 to 1 or higher?       10   between non-asbestiform and asbestiform
      11       A. I don't know. Very few of                11   amphibole populations."
      12   them, based on the information in the plot      12            So to me it is implied that
      13   and figure of 28 C, a very, very small          13   these measurements would be made on multiple
      14   percentage of the Longo and Rigler samples      14   samples in order to accumulate enough data to
      15   have aspect ratios that are greater than 20     15   understand the population represented.
      16   to 1.                                           16       Q. And in analyzing the aspect
      17       Q. Okay. And doesn't it say if              17   ratios, am I not correct that in
      18   any amphibole fibers longer -- any meaning      18   Section 7.2.3.7.1 of ISO 22262-1 they are
      19   any, not average -- any amphibole fibers        19   talking about the aspect ratios for fibers
      20   longer than 5 microns with aspect ratios in     20   longer than 5 microns? Correct?
      21   the range of 20 to 1 or higher are observed,    21       A. It just gives a guidance that,
      22   then it can be concluded that amphibole         22   yes, if any amphibole fibers longer than
      23   asbestos is probably present?                   23   5 microns -- that's what it says there.
      24            That's what ISO 22262-1 says,          24       Q. And if any amphibole fiber with
      25   does it not?                                    25   longer than 5 microns has an aspect ratio of
                                             Page 323                                             Page 325
       1       A. That is what it says, but below           1   20 to 1 or higher, then it could be concluded
       2   that it also says "this is intended only as      2   that amphibole asbestos is probably present.
       3   guidance."                                       3            And this is in a guidance
       4             And then it mentions                   4   document for analysts to discriminate between
       5   populations, which is, of course, the more       5   non-asbestiform and asbestiform amphibole
       6   appropriate analysis, which is what I've done    6   populations?
       7   in the report.                                   7       A. I think we can agree to
       8       Q. Okay. And in your report when             8   disagree here. The term "probably" is used
       9   you're analyzing the populations, am I           9   in this sentence, and then it's followed by a
      10   correct that you say that -- you fault          10   note that says that this is intended as
      11   Dr. Longo and Rigler for only analyzing the     11   guidance to discriminate between populations.
      12   average aspect ratio for particles longer       12            So I believe that the pop --
      13   than 5 microns, correct?                        13   the use of populations is the absolute
      14             MR. CHACHKES: Objection.              14   paramount, most useful method for
      15             THE WITNESS: Yes, that's what         15   discriminating morphologies.
      16       I say.                                      16            And let's bring it back to the
      17   QUESTIONS BY MR. FINCH:                         17   Longo and Rigler report, too. So in the
      18       Q. All right. And --                        18   Longo and Rigler report they use TEM to
      19       A. Well, in point of fact what I            19   visually distinguish these things, so they
      20   say is that they only counted particles with    20   are -- their conclusions are not using aspect
      21   aspect ratios greater than 5 to 1, which        21   ratios in any way.
      22   improperly biases their results toward          22       Q. Doesn't Dr. Longo have analysis
      23   finding an asbestiform particle population,     23   of aspect ratio of the structures he analyzes
      24   although it was unsuccessful. Because even      24   that you recreate at --
      25   with that limitation, their mean aspect
                                                p ratio    25       A. He presents that information in
                                                                       82 (Pages 322 to 325)
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       1   his tables, but I believe that in his            1   QUESTIONS BY MR. FINCH:
       2   deposition he indicated that the terminology     2       Q. An aspect ratio is simply
       3   that's associated with the images is made at     3   dividing the length by the width, right?
       4   the time of acquisition, before there's any      4       A. That's correct.
       5   analysis -- before any analysis has been         5            But I would point out that many
       6   undertaken.                                      6   of the images like this one do not include
       7       Q. Isn't it true -- you say in               7   measurements.
       8   footnote 94, "Although the longer Rigler MDL     8       Q. But the count sheets do that
       9   reports utilize PLM for evaluating optical       9   back up the images, correct?
      10   properties, the reports do not give aspect      10       A. When they are provided.
      11   ratios for studied particles either in the      11       Q. Did --
      12   photomicrographs themselves or in any of the    12       A. It's unclear to my -- I'd have
      13   tables."                                        13   to go back and look. It's unclear to me
      14       A. For the PLM data, I believe              14   whether both -- whether all the PLM
      15   that is correct.                                15   measurements, including those done by Lepoy
      16       Q. All right. We just looked at             16   {phonetic} and those done by Longo and
      17   exhibit -- I think it's Exhibit 22, which was   17   Rigler, included such count sheets.
      18   Section 13.                                     18       Q. Okay. You say that --
      19       A. It's in here somewhere. Here             19       A. But in any case, it's
      20   we go.                                          20   irrelevant because the population mean of all
      21       Q. And am I correct that in                 21   of these particles is not high enough to be
      22   multiple places in the PLM images in            22   consistent with the presence of a population
      23   Exhibit 22 there are measurements of the        23   of asbestiform minerals.
      24   length of the structure in microns, and in      24       Q. All right. The population mean
      25   the tables there are -- there are -- there is   25   that Drs. Longo and Rigler calculated was an
                                             Page 327                                            Page 329
       1   data in the count sheets for each structure      1   aspect ratio of 13.34, right?
       2   as to its length and width which would enable    2       A. By my calculations, yes.
       3   you to calculate an aspect ratio?                3       Q. And what publication do you
       4       A. What did I exactly say in my              4   rely upon for your conclusion that it is a
       5   report?                                          5   requirement under the international standards
       6             I was looking for tables that          6   for analyzing asbestos that the aspect -- the
       7   counted aspect ratios, and there is no aspect    7   average aspect ratio must be higher than 20
       8   ratio in this particular document.               8   to 1?
       9       Q. Right.                                    9            MR. CHACHKES: Objection.
      10             But the data from which one           10            THE WITNESS: I don't rely for
      11   could calculate aspect ratios is available in   11       my conclusion on the requirement that
      12   every count sheet, correct?                     12       the aspect ratio be higher than 20 to
      13       A. But that's not what I said.              13       1. I'm just pointing out, apropos of
      14             What I said in my report was,         14       the discussion we just had about ISO
      15   the reports do not give aspect ratios for       15       22262-1, that it happens to mention
      16   studied particles.                              16       aspect ratios of greater than 20 to 1.
      17       Q. The reports give you all the             17            And I'm pointing out that as it
      18   data you need to calculate the aspect ratios    18       happens, the aspect ratio of all the
      19   for every single particle studied, correct?     19       particles' population measured by
      20             MR. CHACHKES: Objection.              20       Longo and Rigler is significantly
      21             THE WITNESS: I would have to          21       lower than that. That's all I'm
      22       review the data again to make sure          22       saying.
                                                                    saying
      23       that those are all there. I don't           23            (Dyar Exhibit 23 marked for
      24       recall.                                     24       identification.)
      25                                                   25
                                                                       83 (Pages 326 to 329)
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       1   QUESTIONS BY MR. FINCH:                          1   both the mean aspect ratio and the outlier
       2       Q. All right. Let's mark this as             2   aspect ratios, correct?
       3   Exhibit 23. This is Exhibit Number 23, I         3            MR. CHACHKES: Objection.
       4   hope.                                            4            THE WITNESS: As an analyst,
       5           Have you ever seen this                  5       once you have the thing in the TEM,
       6   document before?                                 6       you'd like to collect as much data as
       7       A. Nope.                                     7       possible. And, yes, a way as
       8       Q. Do you recognize Richard Lee as           8       described in my report to determine
       9   the president of the organization that Matt      9       the population of aspect ratios
      10   Sanchez works for?                              10       represented in your sample is to make
      11       A. I assume so. I assume that's             11       multiple measurements, yes.
      12   what RJ Lee stands for.                         12   QUESTIONS BY MR. FINCH:
      13       Q. And Ann Wylie is the scientist           13       Q. I believe you said that you
      14   we talked about before. You rely on             14   have met Ann Wylie but you couldn't pick her
      15   Dr. Wylie's publications in part for your       15   out of a crowd; is that correct?
      16   opinions in this case?                          16       A. Correct.
      17       A. Certainly I cited some of Ann's          17       Q. Have you communicated with her
      18   publications, yes.                              18   in any way about your work in this case?
      19       Q. This is a non-peer-reviewed              19       A. No.
      20   publication that they put together describing   20       Q. Have you submitted -- well, let
      21   what is asbestos.                               21   me ask you this: Is your expert report in
      22           Do you see that?                        22   this case, Exhibit 2, been peer-reviewed?
      23       A. I can see that it's from a               23       A. No.
      24   non-peer-reviewed source, yes.                  24       Q. Do you intend to submit it to
      25       Q. All right. And on pages 6 and            25   any peer-reviewed journal?
                                             Page 331                                            Page 333
       1   7 --                                             1       A. It would not be appropriate.
       2            Does your copy have pages at            2       Q. Why not?
       3   the bottom?                                      3       A. Because it's simply an analysis
       4       A. Yes, it does.                             4   of reports. It's nothing worthy of a
       5       Q. -- they have pictorial images             5   peer-review journal. It's not -- it's not
       6   of asbestos, asbestiform and non-asbestiform     6   appropriate.
       7   materials, correct?                              7            Peer-reviewed journals are for
       8       A. Yes.                                      8   fundamental research, which this is merely a
       9       Q. And have you analyzed each of             9   report that critiques something else. Just
      10   the structures identified by Dr. Longo's        10   as I would not ever submit my review of a
      11   analysts and pictographs taken by Dr. Longo's   11   paper as a peer-review article.
      12   analysts to determine whether or not they       12            MR. FINCH: Can I have the next
      13   look more like the middle box under             13       document?
      14   asbestiform than any of the materials -- any    14            (Dyar Exhibit 24 marked for
      15   of the pictures of non-asbestiform on page 7?   15       identification.)
      16       A. So the point is that it's very           16   QUESTIONS BY MR. FINCH:
      17   difficult to distinguish images on the basis    17       Q. Let's mark this as 24.
      18   of one TEM image which is only                  18            Do you rely on US Geological
      19   two-dimensional. You really need multiple       19   Survey's Mineral Commodity profiles for
      20   measurements of the dimensions of a particle,   20   anything, any aspect of your work?
      21   on multiple particles, in order to make an      21       A. No.
      22   assertive and a definitive decision.            22       Q. Do you agree that the US
      23       Q. And one way to do that is to             23   Geological Survey is a reputable source if
      24   analyze the aspect ratio of particles that      24   one is looking to identify what the US
      25   are 5 microns long or longer to determine       25   Geological Service considers asbestos to be?
                                                                       84 (Pages 330 to 333)
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       1            MR. CHACHKES: Objection.               1   because I didn't research that particular
       2            THE WITNESS: I haven't                 2   area.
                                                               area
       3       researched that, so I don't actually        3        Q. Would you agree with me that
       4       have a good answer for that.                4   ISO 22262-1, ISO 22262-2 and the Yamate
       5   QUESTIONS BY MR. FINCH:                         5   document on which you rely don't have any
       6       Q. You cited to a publication by            6   techniques or methodologies for measuring
       7   Wylie and Virta in your expert witness          7   tensile strength in order to characterize
       8   report, correct?                                8   something as asbestos or not?
       9       A. That's correct.                          9        A. All of those documents define
      10       Q. And were you aware that's the           10   fibers as having high tensile strength, and
      11   same Virta who wrote the USGS Mineral          11   they give guidelines for different analytical
      12   Commodity profile "Asbestos" in 2005, by       12   tools that can be used to characterize
      13   Robert L. Virta?                               13   different characteristics of particles, but
      14       A. Apparently that's the case.             14   they don't give -- they're not intended to be
      15       Q. And do you agree with me that           15   exclusive.
      16   the US Geological Survey Mineral Commodity     16              So, no, I'm not aware that
      17   profile for asbestos is the United States      17   those documents include information on how to
      18   government's definition of what constitutes    18   do that. Perhaps there's an ISO 66, whatever
      19   asbestos from the perspective of the geology   19   it is, 4, that will pursue that.
      20   scientists that work for the USGS?             20        Q. Turn to Table 11 of exhibit --
      21            MR. CHACHKES: Objection.              21   whatever this next one is.
      22            THE WITNESS: You know, you've         22        A. In what?
      23       just given me a 56-page document, and      23        Q. 24, the Virta US Geological
      24       we have a very short time left. I'd        24   Survey.
      25       be happy to use it to evaluate this        25        A. I'm sorry, page what?
                                            Page 335                                            Page 337
       1       document, but I can't answer your           1      Q.     Page 14, Table 11.
       2       question without actually reading this      2      A.     Uh-huh.
       3       document.                                   3      Q.     Properties of asbestos fibers.
       4   QUESTIONS BY MR. FINCH:                         4            Do you see that?
       5       Q. Does tensile strength have               5        A. I see.
       6   anything to do with determining whether what    6        Q. All right. There is -- it
       7   you see under a microscope is a cleavement      7   lists essential composition, crystal system.
       8   fragment -- a cleavage fragment or an           8            Do you see that?
       9   asbestos bundle?                                9        A. Uh-huh.
      10       A. So I believe we established             10        Q. Is that a yes?
      11   earlier that the definition of a fiber         11        A. I do see that.
      12   includes the qualifier that it has to be       12        Q. Okay.
      13   flexible and have high tensile strength, and   13        A. The list.
      14   that's the definition which is ubiquitous      14        Q. And then there's a -- there is
      15   across many different sources.                 15   a discussion -- there is a description of
      16       Q. Is there any peer-reviewed              16   flexibility at the bottom, right?
      17   publication that you know of that tells you    17        A. Yes.
      18   how to measure tensile strength in an          18        Q. There's also a discussion or
      19   asbestos fiber or bundle which is 20 microns   19   description of tensile strength about
      20   long or less?                                  20   two-thirds of the way down the chart, right?
      21       A. Well, let's recall that my role         21        A. There are measurements -- or
      22   here is to assess the methodology used by      22   there are numbers reported there, yes.
      23   Drs. Longo and Rigler, not the methodology     23        Q. All right. Would you agree
      24   that they didn't use.                          24   with me that tremolite asbestos is described
      25            So I have no opinion on that          25   as having poor flexibility as compared to
                                                                       85 (Pages 334 to 337)
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       1   crocidolite, chrysotile or amosite?              1   and flexibility was not done by Drs. Longo
       2       A. Let's see here. I have no idea            2   and Rigler, and this document makes it clear
       3   without reading the paper what this means.       3   that it is possible.
       4   You're taking this table and asking me to        4             So another method --
       5   interpret it completely out of context.          5   methodological flaw of this Longo and Rigler
       6            Just because something has poor         6   report, which you've nicely given me the data
       7   flexibility doesn't mean that it's not           7   for, is that in fact it is possible to
       8   flexible, and the definition is that it has      8   measure tensile strength for these particles,
       9   to be flexible.                                  9   and Drs. Longo and Rigler did not do so.
      10            In fact, the numbers indicated         10       Q. Do you know if the tensile
      11   here for tensile strength indicate that these   11   strength measured in this document is from
      12   things are flexible.                            12   microscopic particles or particles that are
      13       Q. Well, isn't it true that the             13   large enough to see by the naked eye?
      14   tensile strength is measured in thousand        14       A. Again, I've only looked at this
      15   pascals?                                        15   document for a total of three minutes. I
      16       A. It is reported in thousand               16   have not had adequate time to either read
      17   pascals, according to this chart.               17   what the explanation says or to go back and
      18       Q. Right.                                   18   look at the references to determine the
      19            And, for example, tremolite and        19   particle sizes, so I can't answer that
      20   anthophyllite -- let's start with               20   question.
      21   anthophyllite. That's 27,000 pascals or         21       Q. Can you point to a source that
      22   less, right?                                    22   you would consider reliable for what is the
      23       A. That's what it says here.                23   minimum threshold for tensile strength to
      24       Q. And that is -- and then                  24   characterize a given structure as asbestos or
      25   actinolite is 6,000 pascals or less, correct?   25   not?
                                              Page 339                                            Page 341
       1            MR. CHACHKES: Objection.                1       A. I believe I've already stated
       2            THE WITNESS: That's what it             2   in this deposition that I am not familiar
       3       says here.                                   3   with the analytical techniques used to
       4   QUESTIONS BY MR. FINCH:                          4   measure tensile strength or flexibility
       5       Q. And tremolite is 6800 to                  5   because I was -- they were not among the
       6   55,000, correct?                                 6   methods used by Drs. Longo and Rigler, and my
       7       A. That's what it says here.                 7   job here was to assess the methodology.
                                                                                            methodology
       8       Q. Would you agree with me that              8            So this whole issue is not
       9   the low range for tensile strength for           9   relevant to that particular documents --
      10   tremolite asbestos is two orders of magnitude   10   those particular documents except as to say
      11   less than the tensile strength for the low      11   they didn't measure this. So...
      12   end of crocidolite?                             12       Q. Do you have any understanding
      13       A. According to these numbers,              13   one way or another as to whether OSHA, the
      14   yes, but I have -- would have to have more      14   Occupational Safety and Health
      15   time to review this document to determine       15   Administration, and MSHA, the Mine Safety and
      16   where those numbers came from and how           16   Health Administration, regulate fibrous talc
      17   reliable they are.                              17   as asbestos?
      18            It looks like some of those            18            MR. FROST: Objection.
      19   come from studies that were done in the         19            MR. CHACHKES: Objection.
      20   1950s, and I would question the reliability     20            THE WITNESS: I know nothing
      21   of those.                                       21       about that
                                                                           that.
      22            So that would be my response to        22   QUESTIONS BY MR. FINCH:
      23   this.                                           23       Q. Do you know whether or not IARC
      24            And I would also go back and           24   considers fibrous talc to be an asbestiform
      25   say that quantification of tensile strength     25   mineral?
                                                                       86 (Pages 338 to 341)
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       1             MR. FROST: Objection.                  1   USGS report, we saw that those were the units
       2             MR. CHACHKES: Objection.               2   that were used, yes.
       3             THE WITNESS: I don't recall            3       Q. Well, the units that were used
       4       seeing that in the IARC documents I          4   were pascal joules in the USGS report.
       5       read, but my focus in these documents        5            What I also ask you: Isn't it
       6       was to assess methodology. It                6   true that pounds per square inch can be a
       7       wasn't -- it wasn't to consider talc         7   measurement of tensile strength if you're
       8       itself.                                      8   stretching a material as opposed to squishing
       9   QUESTIONS BY MR. FINCH:                          9   a material?
      10       Q. I notice you don't have any              10            MR. FROST: Objection.
      11   criticism of Dr. Longo and Rigler's             11            THE WITNESS: Not as far as I
      12   conclusions of the particles they find that     12       know.
      13   are fibrous talc; is that correct?              13   QUESTIONS BY MR. FINCH:
      14       A. I didn't consider them. I                14       Q. This is the document from a
      15   considered only the question of methodology     15   textbook. This is the article by Badollet
      16   as it relates to the presence or absence of     16   cited by the Virta article, "Asbestos: A
      17   asbestiform minerals.                           17   Mineral of Unparalleled Properties," that
      18       Q. So the methodology they                  18   describes the physical properties of
      19   followed to determine the presence or absence   19   asbestos.
      20   of fibrous talc was not a subject of your       20            Do you see that?
      21   work or analysis in this report in this case,   21       A. Yes.
      22   correct?                                        22       Q. And it's got the tensile
      23             MR. CHACHKES: Objection.              23   strength of the various -- of the six
      24             THE WITNESS: Talc is not a            24   different regulated varieties of asbestos
      25       regulated asbestos mineral and,             25   measured in pounds per square inch.
                                            Page 343                                              Page 345
       1       therefore, I did not consider the            1            Do you see that on page 237 at
       2       information in the report relating to        2   the -- at the second --
       3       it
               it.                                          3       A. Well, the first thing I see is
       4            MR. FINCH: Time. Stop. Off              4   that this paper was written 67 years ago,
       5       the record.                                  5   which would make me doubt the accuracy of
       6            VIDEOGRAPHER: Off the record?           6   these measurements, with all due respect to
       7            MR. FINCH: Off the record. I            7   this individual.
       8       want to go off the record.                   8       Q. Would you --
       9            VIDEOGRAPHER: The time is               9       A. But I'll take a look at
      10       6:13 p.m. Off the record.                   10   page 237.
      11        (Off the record at 6:14 p.m.)              11       Q. Yeah.
      12            VIDEOGRAPHER: The time is              12       A. That's --
      13       6:22 p.m. Back on record.                   13       Q. Tensile strength. They have a
      14            (Dyar Exhibit 25 marked for            14   measurement in pounds per square inch of the
      15       identification.)                            15   tensile strength of chrysotile, amosite,
      16   QUESTIONS BY MR. FINCH:                         16   anthophyllite, crocidolite, tremolite and
      17       Q. Good evening, Professor Darby            17   actinolite.
      18   Dyar. We're back on the record after a short    18       A. That's a very weird
      19   break.                                          19   measurement, but that's what they give here,
      20            I'm going to put what's been           20   yes.
      21   marked as Exhibit 25 in front of you.           21       Q. Okay. And then on Table 7 at
      22            I believe you agreed with me           22   page 241, am I correct that they compare the
      23   earlier today that tensile strength can be      23   tensile strength of various varieties of
      24   measured in pounds per square inch?             24   asbestos to other types of material?
      25       A. So when we were looking at the           25       A. You know, this is a pretty long
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       1   document, and I've only had it in my hand for       1       label says in the paper, yes, but I --
       2   two minutes. If you give me a while, I could        2       again, I have called into question a
       3   read this.                                          3       document that's 67 years old. It's
       4            There is a table that says                 4       probably more. It was probably
       5   comparison of tensile strengths, but --             5       written 68 years ago.
       6       Q. Comparison of tensile strengths              6   QUESTIONS BY MR. FINCH:
       7   of various materials. Table 7, type of              7       Q. 67 years ago the United States
       8   material for cotton fiber, the tensile              8   was able to develop a hydrogen bomb, correct?
       9   strength is 73,000 to 89,000 pounds per             9             MR. FROST: Objection.
      10   square inch.                                       10             THE WITNESS: That's correct.
      11            Do you see that?                          11   QUESTIONS BY MR. FINCH:
      12       A. I see this table, but again, I              12       Q. Just because technology is old
      13   would doubt these measurements given that          13   doesn't mean it's -- just because science is
      14   they are 67 years old.                             14   old doesn't mean it's outmoded, correct?
      15       Q. Okay. Do you agree with me                  15             MR. FROST: Objection.
      16   that tremolite asbestos has a substantially        16             THE WITNESS: I don't -- I'm
      17   lower tensile strength than wrought iron,          17       not going to render an opinion on
      18   ingot iron, carbon steel, piano steel wire,        18       that.
      19   cotton fiber?                                      19   QUESTIONS BY MR. FINCH:
      20       A. I agree that that's what this               20       Q. Well, you study rocks found on
      21   67-year-old document says, but again, I would      21   the moon and Mars, right?
      22   question this source and ask for more modern       22       A. As part of my research, yes.
      23   measurements.                                      23       Q. When is the last time anybody
      24       Q. Do you have any more modern                 24   put a man on the surface of the moon?
      25   measurements of the relationship between the       25       A. 50 years ago.
                                               Page 347                                             Page 349
       1   tensile strength of tremolite asbestos as           1       Q. Over 50 years ago?
       2   compared to something like wrought iron?            2       A. Uh-huh.
       3       A. Again, let's return to the                   3       Q. You -- am I correct that your
       4   point that my goal was to review the                4   annual salary as a professor is approximately
       5   methodology in this report. And since               5   $125,000 a year?
       6   Drs. Longo and Rigler did not consider the          6       A. Salaries at Mount Holyoke
       7   topic of flexibility or tensile strength in         7   College are not publicly available, so I
       8   their report, then I've not studied this and,       8   don't know where you got that information,
       9   therefore, cannot render an opinion on thisthis.    9   and I'm not comfortable indicating my salary.
      10       Q. On page 243, Figure 35, what                10       Q. Okay. How does your
      11   does that say that is?                             11   compensation that you've been paid by Johnson
      12       A. Electron micrograph, amosite                12   & Johnson for this report compare to your
      13   asbestos times 15200.                              13   annual salary from your full-time job as a
      14       Q. And can you put this on the                 14   professor?
      15   videotape? Just --                                 15       A. At the present time, it's hard
      16            VIDEOGRAPHER: So if you put it            16   to say. I have not been doing this very
      17       on the Elmo, it's going to record it.          17   long, so it's hard to say.
      18            MR. FINCH: Oh, it's getting               18           And I would also note that I am
      19       recorded. Okay. I thought that was             19   also employed as a senior scientist at the
      20       the case, but...                               20   Planetary Science Institute in Tucson,
      21   QUESTIONS BY MR. FINCH:                            21   Arizona, and I receive a considerable
      22       Q. So the authors of this are                  22   proportion of my salary from that
      23   calling this amosite asbestos?                     23   organization as well.
      24            MR. FROST: Objection.                     24       Q. How does the -- in percentage
      25            THE WITNESS: That's what the              25   terms, how does the compensation that you've
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       1   been paid by Johnson & Johnson in the past       1   QUESTIONS BY MR. FINCH:
       2   four months compare to your total                2       Q. Under Section 13.0, TEM
       3   compensation from other sources on an annual     3   analysis.
       4   basis?                                           4            Do you see that?
       5            MR. CHACHKES: Objection.                5       A. I see that section, yes.
       6            THE WITNESS: It's certainly             6       Q. Do you agree with Johnson &
       7       less than my total compensation from         7   Johnson's definition of fiber?
       8       other sources.                               8            MR. CHACHKES: Objection.
       9   QUESTIONS BY MR. FINCH:                          9            THE WITNESS: I have defined
      10       Q. Is it 50 percent of your total           10       fiber in my report with a very
      11   compensation from other sources?                11       specific definition which has lots of
      12       A. I actually don't know.                   12       agreement in -- both in my literature
      13            My income varies with the              13       and in government documents.
      14   number of research grants I have and the        14   QUESTIONS BY MR. FINCH:
      15   number of hours I charge to them, and so it's   15       Q. My question was: Do you agree
      16   hard to give a precise answer to that           16   with Johnson & Johnson's definition of
      17   question.                                       17   asbestos fiber as found in Exhibit Number 27
      18       Q. Have you ever been given a               18   {sic}?
      19   research grant by the United States             19            MR. CHACHKES: Objection.
      20   government to study whether or not there is     20   QUESTIONS BY MR. FINCH:
      21   asbestos in any material?                       21       Q. 26. Or 26, I think.
      22       A. No. Not that I recall.                   22       A. So this is not the same
      23            (Dyar Exhibit 26 marked for            23   definition that I use, but on the other hand,
      24       identification.)                            24   I have not had time to read this document. I
      25                                                   25   don't know what the context of this document
                                            Page 351                                              Page 353
       1   QUESTIONS BY MR. FINCH:                          1   is.
       2       Q. Last exhibit, I believe,                  2           I know nothing about this
       3   Exhibit 26.                                      3   document and would certainly need more time
       4             Doctor, Professor Darby Dyar,          4   than the remaining ten minutes to render an
       5   Exhibit 26 is Johnson & Johnson Consumer         5   opinion on this particular document.
       6   Companies Worldwide Specification describing     6       Q. Okay. Suffice it to say you
       7   the methodology for the analysis of powdered     7   have not compared the methodology followed by
       8   talc for asbestiform minerals by transmission    8   Drs. Longo and Rigler to determine whether or
       9   electron microscopy.                             9   not there is asbestiform minerals in talc
      10             Have you ever seen this               10   with the procedure set forth in Johnson &
      11   document before?                                11   Johnson's TEM 7024 standard?
      12       A. No, sir.                                 12           MR. CHACHKES: Objection.
      13       Q. Under TEM analysis, you agree            13           THE WITNESS: I believe that we
      14   with me that what they're talking about here    14       have established that I have no
      15   is analyzing talc for asbestiform minerals,     15       information and have not reviewed
      16   right, by TEM?                                  16       documents relating to anything having
      17             MR. CHACHKES: Objection.              17       to do with Johnson & Johnson testing
      18             THE WITNESS: In the 30 seconds        18       procedures because that was not my
      19       since I was handed this document, I         19       mandate.
      20       have hardly had time to even read the       20           My mandate was to evaluate the
      21       title. But the title says, "Analysis        21       methodology used by Drs. Longo and
      22       of Powdered Talc for Asbestiform            22       Rigler.
      23       Minerals by Transmission Electron           23   QUESTIONS BY MR. FINCH:
      24       Microscopy."                                24       Q. Did you bring any books or
      25                                                   25   materials with you today?
                                                                       89 (Pages 350 to 353)
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       1        A. Me personally, no.                       1       A. I don't actually rely on it. I
       2        Q. Did the lawyer for Johnson &             2   cite it because I happen to be familiar with
       3   Johnson bring books or materials that you        3   it. But the statistical tests in the report
       4   have relied upon as part of your work in this    4   are commonplace and can be found in any
       5   case that are -- some of which might be          5   introductory statistics textbook.
       6   sitting on the floor behind you today?           6       Q. Did you bring anything else
       7        A. I know that he brought copies            7   with you to the deposition today?
       8   of my two books.                                 8       A. No.
       9        Q. Okay. Can we just get the                9       Q. Anything else related -- I
      10   two -- your two books, just so I can see --     10   mean, obviously you brought yourself. I
      11   have a picture of them on the record?           11   assume you brought a cell phone or something.
      12              MR. CHACHKES: Technically            12             But did you bring anything that
      13        they're mine, I purchased them, but I      13   you reviewed or relied upon as part of your
      14        can hand them out. Just a second.          14   work in this case to the deposition today?
      15              MR. FINCH: It's an interesting       15       A. Other than the documents that I
      16        copyright law question as to who has       16   already referred to?
      17        the ultimate ownership --                  17       Q. Yes.
      18              THE WITNESS: Yeah, you can buy       18       A. No.
      19        your own so I can get the royalties.       19       Q. You're almost done.
      20              MR. CHACHKES: Yeah, this is --       20             The question pending was: Did
      21        just for the record, this is -- I          21   you bring anything that you reviewed or
      22        purchased this off of Amazon used, so      22   relied upon as part of your work in this case
      23        it's -- it might be marked. I don't        23   to the deposition today.
      24        know.                                      24             And you asked me, "Other than
      25                                                   25   the documents I already referred to?" and my
                                             Page 355                                            Page 357
       1   QUESTIONS BY MR. FINCH:                          1   qualification was "yes."
       2       Q. Okay. Mineralogy and Optical              2            Other than the documents that
       3   Mineralogy. This is the book that you wrote      3   you've already referred to, did you bring
       4   with Dr. Gunther in 2008 that I showed you an    4   anything else with you today?
       5   excerpt of.                                      5       A. No.
       6            VIDEOGRAPHER: You want to put           6       Q. All right. Are there any
       7       it on the Elmo?                              7   materials you rely on that are not either
       8            MR. FINCH: Sure.                        8   cited in your expert report or included in
       9            THE WITNESS: Correct. It                9   your reliance list that is attached to the
      10       actually took us a decade to write          10   back of your expert witness report?
      11       this book, but it was published in          11       A. No.
      12       2008.                                       12            MR. FINCH: All right. That's
      13   QUESTIONS BY MR. FINCH:                         13       all the questions I have at this time.
      14       Q. Okay. And what's the other               14            MR. CHACHKES: I have a few
      15   book that you're an author of that you          15       questions. We don't have to take a
      16   brought with you?                               16       break.
      17            MR. CHACHKES: Counsel brought.         17            CROSS-EXAMINATION
      18            THE WITNESS: Geostatistics             18   QUESTIONS BY MR. CHACHKES:
      19       Explained, which is listed on my CV         19       Q. Mr. Finch keeps referring to
      20       and referenced in the report.               20   you as Ms. Darby Dyar.
      21   QUESTIONS BY MR. FINCH:                         21            Do you have a graduate degree?
      22       Q. This is the -- one of the                22       A. I do. I have a graduate degree
      23   references that you rely upon for your          23   from MIT. And my last name is Dyar. Darby
      24   statistical analysis set forth in the           24   is my middle name.
      25   discussion of the population, correct?          25       Q. Professor Dyar, why are you
                                                                       90 (Pages 354 to 357)
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       1   qualified to critique the Longo and Rigler       1   research, it is necessary to use a TEM to
       2   expert report?                                   2   make visual examination of the interactions
       3       A. So my qualifications for                  3   between the microbes and the minerals.
       4   reviewing this report are outlined in this       4            So I'm intimately familiar with
       5   particular -- in my report, but among them I     5   these analyses myself and have supervised
       6   have a Ph.D. from MIT. I spent a year as a       6   many undergraduate and graduates' theses that
       7   post doc at Cal Tech. I have been in             7   use TEM.
       8   academia for nearly 40 years and have taught     8       Q. And could you talk about your
       9   mineralogy at least 20 times.                    9   experience with analyzing minerals using
      10            I've written more than 250             10   SAED?
      11   papers that were published in peer-reviewed     11       A. So in most cases when we
      12   scientific literature. I've reviewed            12   analyze something, when we take an image of
      13   hundreds of scientific documents in keeping     13   something with a TEM, we almost always do
      14   with the standards of my profession. And        14   SAED if it's possible to get a good pattern.
      15   I've worked on dozens of papers involving       15            And so SAED patterns also
      16   amphibole mineralogy and serpentine             16   figure in my biomineralization research
      17   mineralogy.                                     17   prominently as well as in my teaching. I
      18       Q. And have you received any                18   should say that TEM and X-ray diffraction in
      19   awards in the field of geology and              19   various forms are part of a typical topics
      20   mineralogy?                                     20   covered in a mineralogy course, and certainly
      21       A. I have. I've been honored to             21   I would have covered them in my 20 mineralogy
      22   become a fellow of the Mineralogical Society    22   courses.
      23   of America, the Geochemical Society, and the    23       Q. And can you talk about your
      24   Geological Society of America.                  24   experience with analyzing minerals using EDS?
      25            I have also received national          25       A. So EDS is the poor stepsister
                                            Page 359                                             Page 361
       1   and international awards in recognition of my    1   of the more accurate gold standard for
       2   research excellence, including the Shoemaker     2   mineral analysis, which is electron probe
       3   award from NASA, the Gilbert award from the      3   microanalysis. The two techniques use
       4   geological society, the Holly medal from the     4   exactly the same fundamental underlying
       5   Mineralogical Society of Canada, and the         5   phenomena, they just have different
       6   Helmholtz award from the German space agency,    6   detectors, which is why EDS is not very
       7   among others.                                    7   sensitive. Electron probe microanalysis is
       8       Q. Can you talk about your                   8   extremely sensitive.
       9   experience with analyzing minerals with PLM?     9           So, in fact, when I was a
      10       A. So I first started using PLM as          10   graduate student, I was involved in a lot of
      11   an undergraduate in 1978, which is 41 years     11   analytical technique development for
      12   ago, and I've used PLM every year since then.   12   electron-based measurements of chemistry, and
      13   I've taught courses in the use of a             13   these have evolved into these two different
      14   polarizing light microscope.                    14   tools.
      15            It's a routine tool used by me         15           So I was involved not just at
      16   whenever I look at a rock for the first time.   16   the ground floor of these methods, but there
      17   I drag out the PLM and take a look at the       17   are now things that I use routinely in my
      18   sample.                                         18   research, in particular electron probe
      19       Q. Can you talk to -- about your            19   microanalysis, because it is much more
      20   experience with analyzing minerals using        20   accurate than EDS.
      21   visual inspection with a TEM?                   21       Q. And to what degree do you
      22       A. So, much of my research in the           22   routinely use these tools and techniques that
      23   past two decades has involved the field of      23   have been mentioned with reference to your
      24   biomineralization, which is the interaction     24   published papers?
      25   of microbes in minerals. And in that            25       A. So I strive to have 100 percent
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       1   of the research I do culminate in the            1        Q. Professor Dyar, of your 250 --
       2   publication of a paper in a peer-reviewed        2   you would agree with me 250-plus
       3   journal. So all of these techniques are used     3   peer-reviewed papers, right?
       4   prominently in my 250 and counting               4        A. Correct.
       5   scientific, peer-reviewed papers.                5        Q. Not a one of them are addressed
       6       Q. Tell us some of the                       6   to the subject of how to identify asbestos in
       7   qualifications you have to critique              7   talcum powder, correct?
       8   methodologies for detecting asbestos, in         8        A. Correct.
       9   particular.                                      9        Q. Not a one of them is on the
      10       A. So there's nothing special               10   subject of how to identify asbestos in bulk
      11   about asbestos. It's a mineral. Amphibole       11   materials, correct?
      12   is amphibole, and the distinction between the   12        A. Literally that is correct, but
      13   many different varieties and species in the     13   let's remember that I use the techniques that
      14   amphibole group are very minor. So there's      14   are used to identify asbestos in talc
      15   nothing particularly special about analyzing    15   routinely, and those are figured -- are
      16   these materials. They're just minerals.         16   featured prominently in many of my papers.
      17       Q. Do you have experience                   17        Q. You've never published a
      18   analyzing amphiboles?                           18   peer-reviewed paper where the subject of
      19       A. I think I've written at least            19   paper is how to identify asbestos in any
      20   20 or 30 papers about amphiboles using many,    20   substance, correct?
      21   many different analytical techniques.           21        A. Correct.
      22       Q. What, if anything, is there              22        Q. How much time do you spend in a
      23   about asbestiform amphiboles that make them     23   laboratory on an annual basis analyzing
      24   more or less of a challenge in terms of         24   materials to determine if they do or do not
      25   microscopy techniques that we've been talking   25   contain asbestiform asbestos minerals?
                                            Page 363                                              Page 365
       1   about today?                                     1       A. Very little, but I probably
       2        A. Nothing in particular. The               2   spend 3,000 hours a year in a laboratory
       3   only challenge would be that sometimes the       3   using all of the same techniques that are
       4   particle sizes are too small to be resolved      4   used to identify asbestos in talc.
       5   with a polarizing light microscope, and you      5       Q. Very little. Is that less than
       6   might need to use other techniques in those      6   ten hours?
       7   situations.                                      7       A. Probably
                                                                          Probably.
       8            MR. CHACHKES: No further                8           MR. FINCH: No more questions.
       9        questions.                                  9           MR. CHACHKES: That's it.
      10            REDIRECT EXAMINATION                   10           VIDEOGRAPHER: Okay. Stand by,
      11   QUESTIONS BY MR. FINCH:                         11       please. One second. Remove your
      12        Q. 251 peer-reviewed papers; is            12       microphones.
      13   that what you said, Doctor?                     13           The time is 6:45 p.m. This
      14        A. You know, that number changes           14       completes today's deposition.
      15   almost daily. I don't actually know what it     15           Off the record.
      16   is right now.                                   16     (Deposition concluded at 6:45 p.m.)
      17        Q. All right. Ballpark 300, plus           17             –––––––
      18   or minus?                                       18
      19        A. Oh, it's definitely not 300.            19
      20   I'm not that fast.                              20
      21        Q. Okay. And I apologize for               21
      22   calling you Professor Darby Dyar. I will --     22
      23   I thought your name was Darby Dyar, so I        23
      24   apologize for that, ma'am.                      24
      25        A. Thank you.                              25
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        1             CERTIFICATE                                       1        ACKNOWLEDGMENT OF DEPONENT
        2
                                                                        2
        3          I, CARRIE A. CAMPBELL, Registered
            Diplomate Reporter, Certified Realtime                      3
        4   Reporter and Certified Shorthand Reporter, do               4            I,______________________, do
            hereby certify that prior to the commencement                   hereby certify that I have read the foregoing
        5   of the examination, M. Darby Dyar, Ph.D. was
            duly sworn by me to testify to the truth, the
                                                                        5   pages and that the same is a correct
        6   whole truth and nothing but the truth.                          transcription of the answers given by me to
        7          I DO FURTHER CERTIFY that the                        6   the questions therein propounded, except for
            foregoing is a verbatim transcript of the                       the corrections or changes in form or
        8   testimony as taken stenographically by and
            before me at the time, place and on the date                7   substance, if any, noted in the attached
        9   hereinbefore set forth, to the best of my                       Errata Sheet.
            ability.                                                    8
       10                                                               9
                    I DO FURTHER CERTIFY that I am
       11   neither a relative nor employee nor attorney               10
            nor counsel of any of the parties to this                  11
       12   action, and that I am neither a relative nor               12   ________________________________________
            employee of such attorney or counsel, and
       13   that I am not financially interested in the
                                                                            M. Darby Dyar, Ph.D.      DATE
            action.                                                    13
       14                                                              14
       15                                                              15   Subscribed and sworn to before me this
       16
               ____________________________
                                                                       16   _______ day of _______________, 20 _____.
       17      CARRIE A. CAMPBELL,                                     17   My commission expires: _______________
               NCRA Registered Diplomate Reporter                      18
       18      Certified Realtime Reporter                             19   Notary Public
               Notary Public
       19      Dated: April 3, 2019                                    20
       20                                                              21
       21                                                              22
       22
       23
                                                                       23
       24                                                              24
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       1               INSTRUCTIONS TO WITNESS                          1          –––––––
       2                                                                             ERRATA
       3             Please read your deposition over                   2          –––––––
       4     carefully and make any necessary corrections.              3   PAGE LINE CHANGE/REASON
       5     You should state the reason in the                         4   ____ ____ _____________________________
       6     appropriate space on the errata sheet for any              5   ____ ____ _____________________________
       7     corrections that are made.                                 6   ____ ____ _____________________________
       8             After doing so, please sign the                    7   ____ ____ _____________________________
       9     errata sheet and date it. You are signing                  8   ____ ____ _____________________________
                                                                        9   ____ ____ _____________________________
      10     same subject to the changes you have noted on
                                                                       10   ____ ____ _____________________________
      11     the errata sheet, which will be attached to
                                                                       11   ____ ____ _____________________________
      12     your deposition.                                          12   ____ ____ _____________________________
      13             It is imperative that you return                  13   ____ ____ _____________________________
      14     the original errata sheet to the deposing                 14   ____ ____ _____________________________
      15     attorney within thirty (30) days of receipt               15   ____ ____ _____________________________
      16     of the deposition transcript by you. If you               16   ____ ____ _____________________________
      17     fail to do so, the deposition transcript may              17   ____ ____ _____________________________
      18     be deemed to be accurate and may be used in               18   ____ ____ _____________________________
      19     court.                                                    19   ____ ____ _____________________________
      20                                                               20   ____ ____ _____________________________
      21                                                               21   ____ ____ _____________________________
      22                                                               22   ____ ____ _____________________________
      23                                                               23   ____ ____ _____________________________
      24                                                               24   ____ ____ _____________________________
      25                                                               25

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       2          –––––––
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       5   ____ ____ _____________________________
       6   ____ ____ _____________________________
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                         Exhibit B
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                              Ann G.   Wylie, Ph.D.
                                   46529

        1                     UNITED STATES DISTRICT COURT
        2                        DISTRICT OF NEW JERSEY
        3

        4    -----------------------------x
        5    IN RE JOHNSON & JOHNSON                  ) MDL No.
        6    TALCUM POWDER PRODUCTS                   ) 16-2738 (FLW)(LHG)
        7    MARKETING SALES PRACTICES,               )
        8    AND PRODUCTS LIABILITY                   )
        9    LITIGATION                               )
       10                                             )
       11    THIS DOCUMENT RELATES TO                 )
       12    ALL CASES                                )
       13    -----------------------------x
       14

       15                     VIDEOTAPED DEPOSITION OF
       16                         ANN G. WYLIE, Ph.D.
       17                           WASHINGTON, D.C.
       18                    WEDNESDAY, MARCH 13, 2019
       19                               9:19 A.M.
       20

       21

       22

       23

       24

       25    Reported by: Leslie A. Todd

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                              Ann G.   Wylie, Ph.D.
                                   46530
                                                             Page 2                                               Page 4
       1    Deposition of ANN G. WYLIE, Ph.D., held at the             1 APPEARANCES (Continued):
       2 offices of:                                                   2
       3                                                               3   NINA R. ROSE, ESQUIRE
       4                                                               4   SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP
       5     SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP                 5   1440 New York Avenue, Northwest
       6     1440 New York Avenue, Northwest                           6   Washington, D.C. 20005
       7     Washington, D.C. 20005                                    7   (202) 371-7105
       8     (202) 371-7105                                            8
       9                                                               9   JOHN L. EWALD, ESQUIRE
      10                                                              10   ORRICK, HERRINGTON & SUTCLIFFE LLP
      11                                                              11   51 West 52nd Street
      12                                                              12   New York, New York 10019-6142
      13                                                              13   (212) 506-3792
      14    Pursuant to notice, before Leslie Anne Todd,              14
      15 Court Reporter and Notary Public in and for the              15 ON BEHALF OF THE PCPC:
      16 District of Columbia, who officiated in                      16   THOMAS T. LOCKE, ESQUIRE
      17 administering the oath to the witness.                       17   SEYFARTH SHAW LLP
      18                                                              18   975 F Street, NW
      19                                                              19   Washington, D.C. 20004
      20                                                              20   (202) 463-2400
      21                                                              21
      22                                                              22
      23                                                              23
      24                                                              24
      25                                                              25

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       1           APPEARANCES                                         1 APPEARANCES (Continued):
       2                                                               2
       3 ON BEHALF OF THE PLAINTIFFS:                                  3 ON BEHALF OF PHARMATECH INDUSTRIES (PTI):
       4    CHRISTOPHER M. PLACITELLA, ESQUIRE                         4   TARIQ M. NAEEM, ESQUIRE
       5    COHEN PLACITELLA ROTH, PC                                  5   TUCKER ELLIS, LLP
       6    127 Maple Avenue                                           6   950 Main Avenue
       7    Red Bank, New Jersey 07701                                 7   Suite 1100
       8    (888) 219-3599                                             8   Cleveland, Ohio 44113-7213
       9                                                               9   (216) 696-3675
      10    LEIGH O'DELL, ESQUIRE                                     10
      11    JENNIFER K. EMMEL, ESQUIRE                                11 ALSO PRESENT:
      12    BEASLEY, ALLEN, CROW, METHVIN,                            12   DAVID EAGLEMAN, Ph.D.
      13      PORTIS & MILES, P.C.                                    13   DANIEL HOLMSTOCK, Videographer
      14    218 Commerce Street                                       14   ELIJAH JAMES, Videographer Assistant
      15    Montgomery, Alabama 36103-4160                            15
      16    (334) 269-2343                                            16
      17                                                              17
      18 ON BEHALF OF THE JOHNSON & JOHNSON DEFENDANTS:               18
      19    JACK N. FROST, JR., ESQUIRE                               19
      20    DRINKER, BIDDLE & REATH, LLP                              20
      21    600 Campus Drive                                          21
      22    Florham Park, New Jersey 07932-1047                       22
      23    (973) 549-7000                                            23
      24                                                              24
      25                                                              25


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       1          CONTENTS                                                 1 OTHER EXHIBITS USED
       2 EXAMINATION OF ANN G. WYLIE, Ph.D.                        PAGE    2 J&J-65     Examination for Talc Samples
       3    By Mr. Placitella             11, 272, 287                     3        Argonaut Ore Body, Report by
       4    By Mr. Frost                    253, 285                       4        Vernon Zeitz, 24 April 1974        71
       5           EXHIBITS                                                5 J&J-89     Letter to Vern Zeitz from Gene
       6         (Attached to transcript)                                  6        Grieger, dated 1 July 1975        74
       7 WYLIE DEPOSITION EXHIBITS                           PAGE          7 J&J-97     Report of Investigation of
       8 No. AW-16 JNJTALC000300517 Metadata                  168          8        Italian Mine Samples and
       9 No. AW-17 Letter to Howard Wensley from                           9        Related Powders                100
      10        Ann G. Wylie, dated November 7,                           10 J&J-179     Letter to Roger Miller from
      11        1986                        164                           11        Mark Palenik, dated 2 November
      12 No. AW-31 Article entitled "The Importance                       12        1984                      80
      13        of Width in Asbestos Fiber                                13 J&J-188     Stipulation of Dismissal from
      14        Carcinogenicity and Its                                   14        Edley vs. E&B Mill Supply case,
      15        Implications for Public Policy,"                          15        July 23, 1987                62
      16        Bates BOL044220 to 044233              188                16 J&J-202     Interoffice Correspondence
      17 No. AW-35 IMERYS446869 Metadata                     199          17        Re Cyprus Ore Reserves -
      18 No. AW-36 Curriculum Vitae of Ann Wylie                          18        Arsenic & Tremolite, March 25,
      19        (retained by counsel)             19                      19        1992                      85
      20 No. AW-40 1985 Report by Dr. Wylie for                           20 Hopkins-28 Spreadsheet                   100
      21        R.T. Vanderbilt (retained by                              21
      22        counsel)                    175                           22
      23 No. AW-44 Expert Report of Ann G. Wylie,                         23
      24        Ph.D. for General Causation                               24
      25        Daubert Hearing, dated 2/25/19         40                 25

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       1       E X H I B I T S (Continued)                                 1           PROCEEDINGS
       2        (Attached to transcript)                                   2            -------------------
       3 WYLIE DEPOSITION EXHIBITS                   PAGE                  3         MR. FROST: I just want to note for
       4 No. AW-50 Pad of paper with notes                                 4 the record that plaintiffs' counsel have brought
       5       made at deposition            158                           5 David Eagleman to this deposition today.
       6 No. AW-50A Handwritten document           244                     6 Dr. Eagleman is not an attorney for any of the
       7 No. AW-51 Department of Mineral Exploration                       7 parties here; therefore, he does not have a right
       8       Report of Italian Mine Samples                              8 under Section (1)(b)(3) of CMO-11 to attend.
       9       J&J, Bates FDP000000495 to                                  9         When we learned about Dr. Eagleman
      10       000000615                   100                            10 coming last night, and we -- "we" being the
      11 No. AW-52 Supplemental List of References                        11 Johnson & Johnson defendants -- objected to his
      12       for Ann Wylie, PhD              252                        12 presence at this deposition as no application has
      13 No. AW-53 Curriculum Vitae of Ann Gilbert                        13 been made per the terms of the Case Management
      14       Wylie                     235                              14 Order.
      15 No. AW-54 Letter to Honorable Barbara                            15         And that said, without waiving our
      16       Boxer from Ann G. Wylie, dated                             16 rights to object in the future, we're going to
      17       June 16, 2007               255                            17 allow him to stay for now. If he becomes
      18 No. AW-55 EPA Test Method document,                              18 disruptive in any way or if he in any way affects
      19       Interim Method for the                                     19 the proceedings, we will seek to enforce CMO-11,
      20       Determination of Asbestos in                               20 and we will seek to have him, you know, no longer
      21       Bulk Insulation Samples,                                   21 admitted to the deposition.
      22       December 1982                 264                          22         Finally, I have asked plaintiffs'
      23 No. AW-56 Deposition transcript of                               23 counsel to forward a copy of the confidentiality
      24       Frederick Pooley, Ph.D. taken on                           24 order that Dr. Eagleman -- that Dr. Eagleman
      25       February 1, 2018              267                          25 previously signed. If we can't find it, we'll


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       1 have him execute another one, but that is               1      Q My son told me to be nice to you and
       2 certainly one of the terms by which we will             2 told me to wear the Terps scarf, because he spent
       3 require that he stays here.                             3 some of his best years there, but I thought that
       4         MR. PLACITELLA: So I was there when             4 might be a little over the top.
       5 Dr. Eagleman signed the first time with Mr. Bicks       5          So today I plan on covering four areas:
       6 at the Hopkins deposition. Hopefully -- I know          6 Your background, your area of expertise, the
       7 that Dr. Eagleman has been asked to leave parties       7 methodology that you used in coming to your
       8 that are a lot more fun than this one. So,              8 opinions in this case, and the information and
       9 hopefully, we will never get to that.                   9 data that form the basis of your opinions.
      10         MR. FROST: I'm not too worried. I              10          Got that?
      11 mean, based on the representation of counsel, I'm      11      A I do.
      12 sure there's one signed. If not, we can always         12      Q Okay. We're on the same page?
      13 execute a new one today if we need to.                 13      A That will be fine.
      14         That said, we can begin.                       14      Q Okay. First, I want to start with your
      15         THE VIDEOGRAPHER: All right. Everybody         15 affiliation with Johnson & Johnson. When is the
      16 ready?                                                 16 first work you ever did with Johnson & Johnson on
      17         MR. LOCKE: Actually, one more thing.           17 issues related to talc?
      18 Tom Locke for the Personal Care Products Council.      18      A This involve -- this litigation. The
      19 We did not get notice of Dr. Eagleman's                19 first, this litigation.
      20 participation. We join in Johnson & Johnson's          20      Q When you say "this litigation," what do
      21 objection, but more importantly, we would just         21 you mean by that?
      22 like to get notice of what's happening with these      22      A I was retained to review the documents
      23 depositions before the deposition.                     23 and provide a report. That's the first time I've
      24         That's it.                                     24 worked for Johnson & Johnson.
      25         THE VIDEOGRAPHER: We are now on the            25      Q And when were you retained?
                                                        Page 11                                                 Page 13
       1 record. My name is Daniel Holmstock. I am the             1     A Let's see. I -- I think Mr. Frost came
       2 videographer for Golkow Litigation Services.              2 to see me sometime in November of 2018, and I
       3 Today's date is March 13th, 2019, and the time on         3 think I agreed to do it at the end of November,
       4 the video screen is 9:19 a.m.                             4 early December 2018.
       5         This video deposition is being held at            5     Q Okay. So prior to being -- that's when
       6 Skadden Arps, 1440 New York Avenue, Northwest, in         6 you were retained by Johnson & Johnson?
       7 Washington, D.C., in the matter of In Re: Johnson         7     A Yes.
       8 & Johnson Talcum Powder Products Marketing, Sales         8     Q Okay. And what were the terms of your
       9 Practices and Products Liability Litigation, MDL          9 retainer?
      10 No. 2738, pending before the United States               10     A I'm sorry. Could you be more specific,
      11 District Court for the Eastern District of New           11 the terms?
      12 Jersey.                                                  12     Q Sure. Yeah. What were the conditions
      13         The deponent today is Dr. Ann Wylie.             13 of your -- were there any conditions of -- of your
      14         Counsel for appearances will be noted on         14 being retained? Did you have any conditions?
      15 the stenographic record.                                 15     A Well, the scope of work was outlined,
      16         The court reporter is Leslie Todd, who           16 and I agreed to a particular scope of work.
      17 will now administer the oath to the witness.             17     Q And what was that?
      18            ANN WYLIE, Ph.D.,                             18     A That I would review the literature on
      19       and having been first duly sworn,                  19 the deposits that had been used by Johnson &
      20     was examined and testified as follows:               20 Johnson, Italy and Vermont, and that I would
      21            DIRECT EXAMINATION                            21 review the reports that were provided by
      22 BY MR. PLACITELLA:                                       22 Drs. Longo and Rigler.
      23     Q Good morning, Dr. Wylie. I'm Chris                 23     Q Okay. Now, is that the first time you
      24 Placitella. How are you?                                 24 ever actually worked with anyone at Johnson &
      25     A I'm fine. Thank you.                               25 Johnson on the issues related to talc?


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                                   46533
                                                         Page 14                                             Page 16
       1      A Yes.                                                1     A No.
       2      Q Now, I'm not talking about being paid by            2     Q Did you ever work on any committees
       3 Johnson & Johnson. I'm asking specifically, was            3 dealing with talc or asbestos with respect for
       4 that the first interaction you had with anyone at          4 the AS -- with respect to the ASTM?
       5 Johnson & Johnson related to talc?                         5     A Well, within the last three years I'm on
       6      A Yes.                                                6 this committee, and there are -- there are
       7      Q Okay. And November 2018 was the first               7 methods, draft methods that revolve around
       8 consult you had with Johnson & Johnson for                 8 identification of materials in talc, and that's
       9 litigation purposes --                                     9 the ongoing business of the committee.
      10      A That would be --                                   10     Q Okay. And are there any members of
      11      Q -- correct?                                        11 Johnson & Johnson on that committee with you?
      12      A Yes.                                               12     A I don't know.
      13      Q Did Johnson & Johnson ever pay -- pay              13     Q Now, you are -- your degree is in
      14 for you to attend any meetings with any government        14 geology?
      15 agencies?                                                 15     A Yes.
      16      A No.                                                16     Q And you have a Ph.D. in geology?
      17      Q Did they ever fund your expenses to                17     A Yes.
      18 attend any meetings with government agencies?             18     Q Okay. And the year you got your Ph.D.
      19      A No.                                                19 is?
      20      Q You attended an FDA workshop in November           20     A 1972.
      21 2018?                                                     21     Q And from where?
      22      A That's correct.                                    22     A Columbia University.
      23      Q Okay. And did you have any interaction             23     Q Okay. And you're not an epidemiologist,
      24 with Johnson & Johnson related to that workshop?          24 correct?
      25      A No.                                                25     A No.
                                                        Page 15                                              Page 17
       1    Q So you had no contact with Johnson &                Q Okay. You're not an expert in
                                                                    1
       2 Johnson at all related to that workshop.           2 biological activity of substances' effect on the
       3    A No.                                           3 human body?
       4    Q Do you know who William Ashton is?            4     A No.
       5    A No.                                           5     Q You're not a toxicologist?
       6    Q Do you have any -- did you ever work          6     A No.
       7 with William Ashton?                               7     Q Okay. You have no medical degree?
       8    A No.                                           8     A No.
       9    Q Did you ever do any work for the -- the       9     Q Okay. You've never performed any animal
      10 Cosmetics Trade Association?                      10 studies yourself?
      11    A No.                                          11     A No.
      12    Q Okay. I understand that you did do work      12     Q Okay. You have no pathology experience,
      13 with respect to ASTM, correct?                    13 correct?
      14    A Do work with respect -- I'm a member of 14          A No training, no.
      15 D22.                                              15     Q Okay. When is the last ongoing research
      16    Q Right. And how long have you been a          16 that you did as a geologist?
      17 member?                                           17     A I have ongoing research now.
      18    A About three years.                           18     Q In what capacity? Doing what?
      19    Q Three years?                                 19     A I'm interested in the characteristics of
      20    A Mm-hmm.                                      20 mineral dust that are known to cause mesothelioma
      21    Q And D22 meaning what?                        21 in particular.
      22    A That's the -- a committee that deals         22     Q Okay.
      23 with issues around asbestos.                      23     A And why the incidence of mesothelioma
      24    Q Okay. Did you ever do any work with          24 among exposed populations varies.
      25 ASTM related to talc other than on just asbestos? 25     Q Tell me if you agree or disagree with

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                                                        Page 18                                               Page 20
       1 this statement. Do you consider yourself, by the          1     Q But you did work with them.
       2 way, a job -- an earth scientist?                         2     A I submitted a paper to this publication.
       3     A That's a general term for a geologist.              3     Q Okay.
       4     Q Okay. Do you agree with the statement               4     A So I -- I wouldn't have interpreted your
       5 that a job of earth scientist is not to decide            5 question working with them to assume that a
       6 what is toxic, but to assist the health committee         6 publisher was working with them.
       7 and regulators -- health community and regulators         7     Q Well, you attended their conference?
       8 by carefully describing the physical and chemical         8     A I -- I'm sorry, what conference?
       9 properties of natural materials?                          9     Q Do you recall ever attending any
      10         MR. FROST: Objection to form.                    10 conferences for the ASTM more than --
      11         THE WITNESS: I think I would agree with          11     A I remember --
      12 that.                                                    12     Q -- three years ago?
      13         MR. PLACITELLA: Okay. Now, can we go             13     A I remember presenting this paper.
      14 to --                                                    14     Q Okay.
      15         (Counsel conferring.)                            15     A So, perhaps, but I didn't recollect it.
      16         MR. FROST: So, Chris, I take it this             16     Q Okay. And in -- in your section
      17 screen in front of Dr. Wylie is --                       17 there is a -- or in your resume there's a section
      18         MR. PLACITELLA: Mm-hmm.                          18 on consulting.
      19         MR. FROST: -- what's projected up                19     A Yes.
      20 there? Can you see the screen, Doctor? Is that           20     Q Do you see that?
      21 big enough?                                              21     A Yes, uh-huh.
      22         THE WITNESS: If I get very close.                22     Q And it says that you consulted Avon
      23         MR. FROST: It seems very tiny.                   23 Products in 1973.
      24         MR. PLACITELLA: I'll blow things up for          24     A That's correct.
      25 you.                                                     25     Q And what was your consultation with Avon
                                                      Page 19                                                 Page 21
       1         THE WITNESS: Okay.                                1 Products in 1973?
       2         (Wylie Exhibit No. AW-36 was                      2     A There was a new method being developed
       3         marked for identification.)                       3 for identification of fiber in talc, and they
       4 BY MR. PLACITELLA:                                        4 asked me to review the methodology.
       5      Q What I'm describing to you is -- I have            5     Q And Avon Products was a company that
       6 it marked AW-36, and I'll have a copy made at the         6 sold talc-containing products?
       7 break because I got this late last night. This is         7     A I -- I -- I think so.
       8 your curriculum vitae signed in January, it looks         8     Q Okay. You also have here consulting
       9 like 1989. Is that your signature?                        9 with R.T. Vanderbilt Company, and the first year
      10      A It is.                                            10 you have listed is 1977, and the last year you
      11      Q Okay. And I just want to go through               11 have listed here is 1987. Do you see that?
      12 with you your curriculum vitae.                          12     A Yes.
      13         In your curriculum vitae, it -- you have         13     Q Have you consulted for R.T. Vanderbilt
      14 listed a publication that you did for the American       14 after 1987?
      15 Society of Testing and Materials.                        15     A I have done some mineral analysis for
      16         Is that fair?                                    16 them post this time.
      17      A Yes.                                              17     Q Okay.
      18      Q Okay.                                             18     A And I gave a deposition for them, I
      19      A They published it, yes.                           19 think post this time.
      20      Q All right. So you did have some                   20     Q Okay. And in working for R.T.
      21 affiliation with the ASTM before three years ago.        21 Vanderbilt, did you work on them -- work for them
      22      A That -- as I recollect, I was invited by          22 in the context of litigation related to the talc
      23 whoever was organizing this particular volume to         23 that they sold?
      24 contribute, but I wasn't a member of ASTM at that        24     A I gave a deposition in a -- once for
      25 time.                                                    25 that purpose.


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                                                   Page 22                                               Page 24
       1      Q Okay. And did you issue reports for            1      A I assume I analyzed a sample.
       2 R.T. Vanderbilt that were litigation related?         2      Q Okay. Well, when you put this resume
       3      A I did mineral analysis for them.               3 together, what was the foundation for what you
       4         I don't believe that I knew whether they      4 were listing?
       5 were litigation related or not. But one of them       5         MR. FROST: Objection to form.
       6 when they -- when the deposition was taken,           6 BY MR. PLACITELLA:
       7 certainly those reports were part of that             7      Q What did -- what records did you look
       8 litigation at that time.                              8 at?
       9      Q Okay. And you have listed here, and I          9         MR. FROST: Objection to form.
      10 have highlighted it, "Desert Mineral Products,       10         THE WITNESS: I -- I don't remember.
      11 1979." That's a company that sold talc, correct?     11 BY MR. PLACITELLA:
      12      A Yes.                                          12      Q Okay.
      13      Q And what work did you do for Desert           13      A Whatever -- I don't remember.
      14 Mineral Products in 1979?                            14      Q Do you know whether you did -- the work
      15      A I analyzed some samples of talc.              15 that you did for Celotex Corporation was related
      16      Q And did that in any way relate to             16 to litigation?
      17 litigation?                                          17      A I don't think so. I don't remember. My
      18      A It related to an administrative hearing       18 work for any of these was primarily mineral
      19 in California.                                       19 analysis. It was not litigation.
      20      Q Okay. Next you have listed United             20      Q Okay. And it says -- the next one you
      21 States Mineral Products, 1981. Do you see that?      21 list is GAF Corporation, 1986. Do you see that?
      22      A Yes.                                          22      A Yes.
      23      Q That was a company that sold asbestos-        23      Q Do you understand that they manufactured
      24 containing fireproofing?                             24 asbestos-containing products?
      25      A I really don't remem- -- I don't know         25         MR. FROST: Objection to form.
                                                    Page 23                                              Page 25
       1 that.                                                 1       THE WITNESS: I don't believe I know
       2     Q Do you remember they were from Stanhope,        2 that.
       3 New Jersey?                                           3 BY MR. PLACITELLA:
       4        MR. FROST: Objection to form.                  4     Q Did you know that they owned an asbestos
       5        THE WITNESS: No.                               5 mine?
       6 BY MR. PLACITELLA:                                    6        MR. FROST: Objection to form.
       7     Q Do you ever remember dealing with a man         7        THE WITNESS: No.
       8 name -- named Jim Verhalen?                           8 BY MR. PLACITELLA:
       9     A No.                                             9     Q Okay. Did you know that they owned an
      10     Q Okay. Do you remember what you did for         10 asbestos mine in the state of Vermont?
      11 United States Mineral Products in 1981?              11        MR. FROST: Objection to form.
      12     A I -- I must have analyzed a sample.            12        THE WITNESS: I did not.
      13     Q What kind of samples?                          13 BY MR. PLACITELLA:
      14     A I have absolutely no recollection.             14     Q Okay. Do you know what work you did for
      15     Q You have listed here Celotex                   15 GAF Corporation?
      16 Corporation, 1986 and 1987. Do you see that?         16     A As I indicated before, the only work I
      17     A Yes.                                           17 did was -- in general, would be to analyze a
      18     Q Celotex Corporation was a company that         18 sample for asbestos.
      19 manufactured asbestos-containing products,           19     Q So they would give a sample of their
      20 correct?                                             20 product to you and ask you to analyze it?
      21        MR. FROST: Objection to form.                 21     A I have no idea what they gave me,
      22        THE WITNESS: I don't know that.               22 frankly.
      23 BY MR. PLACITELLA:                                   23     Q Next you have listed Keene Corporation,
      24     Q What work did you do for Celotex in 1986       24 1986 and 1987. Do you know that they were a
      25 and 1987?                                            25 manufacturer of asbestos-containing products?


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       1      A No.                                                1 the candidate. So they -- they request letters,
       2         MR. FROST: Objection to form.                     2 and the letters come in, and the candidate does
       3         THE WITNESS: No.                                  3 not necessarily know who was invited to provide
       4 BY MR. PLACITELLA:                                        4 letters.
       5      Q Okay. And do you know what work you did            5     Q But as you sit here today, do you know
       6 for Keene Corporation?                                    6 that R.T. Vanderbilt actually wrote to the
       7      A The only work I did for any of these,              7 University of Maryland in support of your tenure?
       8 it's been a long time, is an analysis of samples          8          MR. FROST: Objection to form.
       9 for the presence of asbestos.                             9          THE WITNESS: Someone told me that
      10      Q The next one I have highlighted here is           10 sometime ago, but I actually only learned of it
      11 Southern Talc. That was a manufacturer and seller        11 recently.
      12 of talc, correct?                                        12 BY MR. PLACITELLA:
      13         MR. FROST: Objection to form.                    13     Q And how did you learn of it?
      14         THE WITNESS: Yes.                                14     A Someone -- someone told me who had been
      15 BY MR. PLACITELLA:                                       15 in a case somewhere, and I can't remember exactly
      16      Q Okay. And what did you do for them?               16 who told me. I -- or why it was even a subject of
      17      A I did analysis of samples that they sent          17 discussion since I wasn't involved, and I think
      18 me for the presence of asbestos.                         18 that was the reason why they told this subject had
      19      Q Okay. And did you do an analysis --               19 come up.
      20 when you did your -- when you said you did               20     Q Who was the chairman -- your chairman at
      21 analysis for Celotex, GAF and Keene, was that all        21 the time when you secured tenure at the University
      22 for the presence of asbestos?                            22 of Maryland?
      23         MR. FROST: Objection to form.                    23     A Galt Siegrist.
      24         THE WITNESS: To the best of my                   24     Q And are you aware that your chairman
      25 recollection.                                            25 actually wrote to R.T. Vanderbilt and advised them

                                                        Page 27                                                Page 29
       1 BY MR. PLACITELLA:                                        1 that their recommendation, quote, will constitute
       2     Q Okay. And when people hire you, do you              2 the most important document to be used in the
       3 ever ask them what the nature of their business           3 entire promotion and tenure process?
       4 is?                                                       4        MR. FROST: Objection to form.
       5     A No.                                                 5 BY MR. PLACITELLA:
       6     Q Okay. I noticed in your current CV that             6     Q Are you aware of that?
       7 U.S. Mineral, Celotex, GAF and Keene are no longer        7     A No.
       8 on your CV; is that correct?                              8     Q You never heard that before?
       9     A That's correct.                                     9     A No.
      10     Q Why is that?                                       10     Q Am I correct that R.T. Vanderbilt has
      11     A The academic -- the form of the                    11 funded graduate student research for your
      12 university's CVs don't ask for consulting, and           12 department?
      13 this is my university CV.                                13     A Yes.
      14     Q Okay. Did R.T. Vanderbilt play a role              14     Q And they've funded that in excess of a
      15 in your securing tenure at the University of             15 half a million dollars?
      16 Maryland?                                                16     A No.
      17         MR. FROST: Objection.                            17     Q Do you ever recall testifying in the
      18         THE WITNESS: No.                                 18 Westin case?
      19 BY MR. PLACITELLA:                                       19     A That -- the name doesn't ring any bells,
      20     Q Did R.T. Vanderbilt write a letter in              20 so...
      21 support of your tenure at the University of              21     Q Do you ever recall -- did you -- have
      22 Maryland?                                                22 you ever learned that R.T. Vanderbilt funded your
      23     A The promotion and tenure process at the            23 student research for over $500,000? You never
      24 University of Maryland requests letters                  24 heard that before?
      25 anonymously. They don't tell me. They don't tell         25     A That's simply not the case.

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                                                    Page 30                                                    Page 32
       1    Q Okay. Did you ever appear in a film for           Q Right. And -- and you denied that you
                                                                1
       2 R.T. Vanderbilt that was used for Vanderbilt's  2 had any connection or any ties or did any work for
       3 lobbying purposes?                              3 any asbestos-containing product manufacturer,
       4        MR. FROST: Objection to form.            4 correct?
       5        THE WITNESS: I did appear in a film for 5       A No.
       6 them.                                           6         MR. FROST: Objection to form.
       7 BY MR. PLACITELLA:                              7         THE WITNESS: The -- the question -- let
       8    Q And that was used for lobbying by them? 8 me go back.
       9    A I don't know.                              9         The hearing was about a banned asbestos
      10    Q And have you ever received research       10 bill, and I testified on that bill. I didn't
      11 grants from Southern Talc Company?             11 testify against the bill. In fact, I would be in
      12    A Yes.                                      12 favor of such a bill.
      13    Q Okay. And --                              13         I testified to ask the Senate to expand
      14    A One.                                      14 the  definitions  of "asbestos," include more
      15    Q In excess of $17,000?                     15 minerals than are currently in the regulatory
      16    A That would be correct.                    16 policy and identification, because I thought that
      17    Q Have you ever seen -- received research 17 there were other forms of amphibole that form
      18 grants from Ford Motor -- General Motor and    18 asbestos and should have been included in the law.
      19 Chrysler?                                      19 So that was the one point that I made.
      20    A Yes.                                      20         And the other point was that we needed
      21    Q Okay. And you know that they made         21 definitions that would enable us to discriminate
      22 asbestos-containing products, correct?         22 asbestos from non-asbestos forms of the same
      23        MR. FROST: Objection to form.           23 mineral, and I urged them to do so.
      24        THE WITNESS: I didn't know they made 24            MR. PLACITELLA: Respectfully, ma'am, I
      25 them.                                          25 move to strike your testimony.

                                                     Page 31                                                     Page 33
       1 BY MR. PLACITELLA:                                     1 BY MR. PLACITELLA:
       2     Q Okay. You didn't know they made                  2     Q What was my question?
       3 asbestos-containing brakes?                            3     A I'm not exactly sure.
       4     A I thought they used them. I didn't know          4     Q Okay. Well, let me show you your
       5 they made them.                                        5 testimony.
       6     Q Okay. And did the research grants that           6     A All right.
       7 you received from the automotive industry total        7     Q Okay? You were asked: "Have you worked
       8 somewhere in excess of a half a million dollars?       8 for businesses that make money selling products
       9     A It did, yes.                                     9 that may have caused disease associated with
      10     Q Now, you have been, I know, asked and           10 asbestos?"
      11 you have testified before Congress on more than       11         Do you see that?
      12 one occasion, correct?                                12     A Yes.
      13     A Once only, I think.                             13         MR. FROST: I'm going to object to the
      14     Q And you testified before a Senate               14 form on this one. This doesn't look like an
      15 Committee?                                            15 official transcript from the Senate hearing.
      16     A That would be correct, yes.                     16         MR. PLACITELLA: Well, if you have the
      17     Q Okay. During your testimony before the          17 official one, I'm happy to put it up. Or if you
      18 Senate Committee, did -- did members of the Senate    18 think somehow it's misstatement -- a misstatement,
      19 raise concerns with the statements you were           19 I'm happy to correct it.
      20 providing to them concerning your ties to             20         MR. FROST: I'm just preserving for the
      21 industry?                                             21 record.
      22        MR. FROST: Objection to form.                  22         MR. PLACITELLA: That's fine.
      23        THE WITNESS: That one senator did ask a        23         MR. FROST: I have no ability at this
      24 question of me about my ties to industry.             24 time --
      25 BY MR. PLACITELLA:                                    25         MR. PLACITELLA: Okay.

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       1         MR. FROST: -- to verify that, but this      and Keene Corporation, correct?
                                                                    1
       2 certainty does not look like a transcript that    2      A Yes.
       3 would have been generated by the United States    3      Q And when you gave that testimony, you
       4 government.                                       4 had all -- you had actually put that on your CV,
       5         MR. PLACITELLA: Okay.                     5 correct?
       6 BY MR. PLACITELLA:                                6      A Yes.
       7     Q And your answer was: "No."                  7      Q Okay. Now, let me ask you, focusing on
       8         And the senator said: "Well, I have a     8 your methodology in this case, tell -- tell me
       9 number of receipts that show you've worked as a   9 what methodology you used or you employed in
      10 paid defense witnesses -- witness for businesses 10 arriving at your opinions in this case.
      11 in asbestos litigation, and I must consent that  11         MR. PLACITELLA: Can you get me the
      12 these documents be put into the record, minding  12 ELMO?
      13 you answer my question honestly."                13         THE VIDEOGRAPHER: Sure.
      14         Do you remember what year this testimony 14         THE WITNESS: In -- in this --
      15 was, by the way?                                 15 BY MR. PLACITELLA:
      16     A Sometime around 2003 or something like 16          Q Yes, ma'am, in this case.
      17 that.                                            17      A Okay. All right.
      18     Q And it says: "I did. I've never worked     18      Q And I -- I'm going to write it down so
      19 for an asbestos manufacturer."                   19 we have it. Okay?
      20         And you said -- and then the question    20      A What methodologies? I reviewed the
      21 was: "I didn't say that."                        21 literature, I did a literature search.
      22         And you said: "Or an asbestos            22      Q Okay. Hold on. Okay. Reviewed
      23 fabricator."                                     23 literature.
      24         And the question was: "I didn't ask you  24      A Mm-hmm. And I reviewed the reports by
      25 that. I said, Have you ever worked as a paid     25 MAS, Longo's and Rigler's reports.

                                                         Page 35                                              Page 37
       1 defense witness for a business in asbestos                 1     Q Anything else?
       2 litigation?"                                               2     A I don't think so, no.
       3         Your answer is: "I have testified on --            3     Q Okay. So your methodology --
       4 on or about three occasions for, uh, on the nature         4     A I also reviewed two reports that were
       5 of materials involved."                                    5 not published literature by Dr. Pooley and
       6         And you wrote -- and the question was:             6 associates on the -- his reports on the mines in
       7 "Who paid you?"                                            7 Vermont and in Italy. So that --
       8         Answer: "R.T. Vanderbilt, three times              8     Q Okay. So, one, you reviewed literature.
       9 or thereabouts.                                            9 Two, you reviewed reports of Longo?
      10         Senator: "So your original answer was             10     A Yes.
      11 incorrect?                                                11     Q And, three, you reviewed unpublished
      12         You said: "I -- I misunderstood."                 12 reports of Dr. Pooley. Correct?
      13         And the senator said: "Okay. Well, let            13     A That's correct.
      14 me be clear, I think it's very important that we          14     Q Okay. And where did you get those?
      15 determine before this committee" --                       15     A From Mr. Frost.
      16         And you said: "I agree."                          16     Q So they came from Mr. Frost?
      17         Now, what I want to do is focus on                17     A Yes.
      18 your -- your testimony a little further up where          18     Q Okay. Anything else?
      19 it says: "I -- I did. I never worked for an               19     A No.
      20 asbestos manufacturer or an asbestos fabricator."         20     Q So I'm just going to write here,
      21 Do you see that?                                          21 "Nothing else."
      22      A Yes.                                               22        MR. FROST: Objection to form.
      23      Q Okay. When you gave that testimony, you            23 BY MR. PLACITELLA:
      24 had already worked for United States Mineral              24     Q Okay. Now, did you do any testing
      25 Corporation, Celotex Corporation, GAF Corporation,        25 related to Johnson & Johnson products?


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       1      A No.                                         1 whether the opinions that you were giving in this
       2      Q Okay. Did you request to do any testing     2 case agree or disagree with Johnson & Johnson's
       3 related to Johnson & Johnson products?             3 own scientists?
       4      A No.                                         4     A No.
       5      Q Okay. Did you review any internal           5     Q Did you make an effort to determine
       6 testing done by Johnson & Johnson of its           6 whether the opinions you were giving in this case
       7 talc-related products?                             7 agree or disagree with other experts hired by
       8      A No.                                         8 Johnson & Johnson?
       9      Q Did you ask to review any internal          9     A No.
      10 testing done by Johnson & Johnson of its talc-    10     Q Okay. Now, I looked at your report,
      11 related products? And what I mean testing, I mean 11 which -- do you have a copy with you?
      12 for asbestos.                                     12     A I do.
      13      A No.                                        13        (Wylie Exhibit No. AW-44 was
      14      Q Okay. You said that you reviewed the       14        marked for identification.)
      15 literature. How did you do that? The published    15 BY MR. PLACITELLA:
      16 literature.                                       16     Q Okay. When I looked at your report --
      17      A Yes. I had literature, which I looked      17 which I have marked here as AW-44 -- do you see
      18 at. I did a search on GeoRef, which is a database 18 that?
      19 for geological information.                       19     A Yes.
      20      Q Okay. I noticed from looking at your       20     Q Okay. And when I look at the first 20
      21 report that you also searched the internet for    21 pages of your report, I could only find four
      22 pictures.                                         22 references to studies in your report that were
      23      A Yes.                                       23 done by somebody other than yourself. Is that
      24      Q All right. So you downloaded some          24 accurate?
      25 photos from the internet.                         25        MR. FROST: Objection to form.
                                                  Page 39                                               Page 41
       1     A From the United States Geological            1  BY MR. PLACITELLA:
       2 Survey, yes.                                        2     Q So let me -- let's walk -- walk through
       3     Q Okay. Am I correct that you didn't            3 it.
       4 review any internal testing of sources of           4     A All right.
       5 Johnson & Johnson talc other than the two Pooley 5        Q You see on page 3, there was -- you had
       6 reports given to you by Mr. Frost?                  6 a reference to a Kerrigan study from '17?
       7     A That's --                                     7     A Yes.
       8        MR. FROST: Objection to form.                8     Q So let's just walk through it. So
       9        THE WITNESS: That is correct.                9 page 1, nothing. No reference to any studies.
      10 BY MR. PLACITELLA:                                 10         MR. FROST: Objection. That's the
      11     Q Did you ask Mr. Frost whether he had         11 Summary of Opinions.
      12 supplied you with all of the relevant internal     12 BY MR. PLACITELLA:
      13 testing of the Johnson & Johnson sourced mines? 13        Q Just making sure we're doing the right
      14        MR. FROST: Objection to form.               14 counting. Nothing on page 1?
      15        THE WITNESS: I asked if there were any 15          A No.
      16 descriptions of the ore deposits themselves, but I 16     Q Nothing on page 2?
      17 did not ask for reports of product testing.        17         MR. FROST: Same objection.
      18 BY MR. PLACITELLA:                                 18 BY MR. PLACITELLA:
      19     Q What about of the mine reports for           19     Q Correct?
      20 asbestos in the mines, did you ask for that?       20         I'm just focusing on studies other than
      21     A No.                                          21 citing to yourself.
      22     Q Did you speak to any of the scientists       22     A Yes, mm-hmm.
      23 at Johnson & Johnson?                              23     Q Okay. On page 3, I found one, but
      24     A No.                                          24 actually you were part of that study as well. You
      25     Q Did you make an effort to determine          25 just cited it as Kerrigan, et al., on the bottom,


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                                                     Page 42                                                   Page 44
       1 correct?                                               1 Q    Okay.   Does  that have anything   that's
       2      A Yes.                                        2 directly at issue in this case?
       3      Q All right. So that would be -- I'll         3     A That's a complicated question.
       4 take that one out.                                 4     Q Well, let me rephrase it. It was a bad
       5         So none on page 4.                         5 question.
       6      A There is a reference on page 4, but it      6        Does this relate directly to any of the
       7 is to my work with that --                         7 mines at issue in this case?
       8      Q Right. I'm just looking for research        8     A No.
       9 that you did that -- where you found studies to    9     Q Okay. Don't see anything on page 10?
      10 support your conclusions other than citing        10     A Yeah, mm-hmm.
      11 yourself. Okay?                                   11     Q On page 11, you cite NIOSH and Weill.
      12         So nothing on page 4?                     12 Are you involved in that Weill paper?
      13      A Correct.                                   13     A What page are we on again, please?
      14      Q Okay. Nothing on page 5?                   14     Q Page 11.
      15      A That's correct.                            15     A I cite -- yes, that's the editor of the
      16      Q Nothing on page 6?                         16 journal, special issue of the journal in
      17      A That's correct.                            17 Toxicology and Applied Pharmacology, and I am an
      18      Q You do cite a study on page 7 of 2007 18 editor, yes.
      19 concerning rocks around Mount Etna?               19     Q Okay. So you were a part of that paper.
      20      A Correct.                                   20     A It's not a paper. It's a -- well, it's
      21      Q Okay. Well, that has -- that doesn't       21 this chart.
      22 relate to any of the mines at issue in this case, 22     Q Okay.
      23 though, correct?                                  23     A Yes.
      24      A That's correct.                            24     Q I'll leave it on there.
      25      Q Okay. Nothing on page 8?                   25        You cite NIOSH.
                                                     Page 43                                                  Page 45
       1     A I cite EOS. That's a publication.                1      A Yes.
       2     Q Okay.                                            2      Q Okay. None of these citations directly
       3     A And on page 7, I cite the U.S.                   3 relate to mines at issue in this case, correct?
       4 Geological Survey.                                     4      A That -- I believe that that -- what
       5     Q Okay. Let's make sure we get that                5 you're asking me, is there anything about these,
       6 right.                                                 6 Italian mine or the Vermont mine in these
       7         That's here (indicating)?                      7 publications.
       8     A Yes.                                             8      Q Correct.
       9     Q Okay. This you cite -- well, let's go            9      A That would be correct.
      10 back to page 7. The citation you have on page 7       10      Q Okay. You cite on page 13 to an article
      11 to the U.S. Geological Survey, that does not          11 by Crane. Did the Crane article have anything to
      12 relate to any of the mines at issue in this case,     12 do with the Italian or Vermont mine?
      13 correct?                                              13      A No.
      14     A Correct.                                        14         MR. FROST: Objection.
      15     Q Okay. On page 8, you point out that --          15 BY MR. PLACITELLA:
      16 you cite EOS. That has to do with mines not           16      Q Okay. Page 14, anything on page 14 have
      17 involved in this case, correct?                       17 anything directly to do with the Italian or
      18     A That's --                                       18 Vermont mine at issue in this case?
      19         MR. FROST: Objection to form.                 19      A Any of the citations?
      20         THE WITNESS: -- correct.                      20      Q Yes, ma'am.
      21 BY MR. PLACITELLA:                                    21      A No.
      22     Q All right. Page 9, anything?                    22      Q Okay. I should call you "Doctor."
      23     A The Geological Survey is cited.                 23 I'm -- I apologize.
      24     Q That's where you downloaded the photo.          24      A That's all right.
      25     A Correct.                                        25      Q Page 15, you cite to the report of

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                              Ann G.   Wylie, Ph.D.
                                   46541
                                                  Page 46                                               Page 48
       1 Dr. Longo and Rigler, correct?                      1first 20 pages of your report, you do not have any
       2     A That's correct.                              2 citation that is -- directly relates to the mines
       3     Q All right. But to no external research       3 at issue in this case other than the one report
       4 that you've done to support your opinions in this  4 given to you by Mr. Frost?
       5 case, correct?                                     5         MR. FROST: Objection to form.
       6        MR. FROST: Objection to form.               6         THE WITNESS: There are no citations
       7        THE WITNESS: That's a complicated           7 that specifically relate to -- that specifically
       8 question.                                          8 mention those deposits.
       9 BY MR. PLACITELLA:                                 9 BY MR. PLACITELLA:
      10     Q Well, you don't have any citations on       10      Q Okay. Then on page 21, you do have some
      11 page 15.                                          11 citations that relate to the mines at issue in
      12     A That's correct.                             12 this case, correct?
      13     Q Okay.                                       13      A Chidester and Gilson.
      14     A That's correct.                             14      Q Correct.
      15     Q Okay. Same question with respect to 16.     15      A The Argonaut Mine, is -- is that one of
      16     A That's correct.                             16 the mines?
      17        MR. FROST: I'll object to that, that       17      Q Yes, ma'am.
      18 there are citations.                              18      A So the Chidester article does relate
      19        MR. PLACITELLA: Please object to form, 19 directly to that.
      20 and -- and leave it at that.                      20      Q Okay.
      21        MR. FROST: Okay. I'll object to form.      21      A Gilson is a little less clear in exactly
      22        MR. PLACITELLA: Okay. Thank you.           22 what the -- you know, what he's describing. He
      23 BY MR. PLACITELLA:                                23 describes many, many, many occurrences. So I
      24     Q Page 17, do you have any citations to       24 don't know whether he directly identifies those
      25 any studies or literature related to the mines at 25 mines. He does talk about Windsor County.

                                                  Page 47                                               Page 49
       1 issue in this case?                                 1  Q Okay, I'll give you that one.
       2         MR. FROST: Same objection.              2         Okay. So let's just focus on these two
       3         THE WITNESS: No.                        3 studies. Assuming that the evidence in this case
       4 BY MR. PLACITELLA:                              4 is that Johnson & Johnson did not use any Vermont
       5     Q Okay. Page 18, you mention the Val        5 talc before the 1960s, none of the references in
       6 Chisone deposit, correct?                       6 your paper directly relate to Vermont talc used
       7     A Chisone Valley, yes.                      7 before 1960, correct?
       8     Q Right. But there are no citations to      8         MR. FROST: Objection to form.
       9 any literature related to that on this page,    9 BY MR. PLACITELLA:
      10 correct?                                       10      Q Well, let me ask the question
      11     A Correct.                                 11 differently. It was a bad question.
      12     Q Okay. On page 19, you have a citation    12         You do not have any references
      13 to a work by Sanford in 1982, correct?         13 concerning Vermont talc in your report that
      14     A That is correct.                         14 postdate 1960, correct?
      15     Q That does not relate to any of the       15         MR. FROST: Objection to form.
      16 mines that -- that does not involve any of the 16         THE WITNESS: The Pooley reports
      17 mines at issue in this case, correct?          17 postdate that.
      18     A No. Not directly, no.                    18 BY MR. PLACITELLA:
      19     Q Okay. Then on page 20, you have the -- 19        Q I thought the Pooley report that you are
      20 a citation to Dr. Pooley. Correct?             20 citing referenced the Italian talc.
      21     A Yes.                                     21      A Oh, there's also a Pooley report that
      22     Q That was the study that you referred to  22 describes the deposits in Ludlow -- around Ludlow,
      23 that was given to you by Mr. Frost?            23 Vermont.
      24     A That is correct.                         24      Q Okay. I don't see that in your report.
      25     Q Okay. So am I correct that for the       25 Where --

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                              Ann G.   Wylie, Ph.D.
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                                                     Page 50                                                  Page 52
       1     A It's in my reference list.                       1      Q Okay. Am I correct that time frame
       2     Q But in your report, which comprises and          2 matters in terms of when -- the relevance of
       3 supports your opinions in this case, you do not        3 sampling done in a mine?
       4 mention any Pooley report related to the Vermont       4         MR. FROST: Objection.
       5 mines, correct?                                        5 BY MR. PLACITELLA:
       6        MR. FROST: Objection to form.                   6      Q It's relevant.
       7        THE WITNESS: That's incorrect. On               7      A It's relevant.
       8 page 20, the subtitle is "Comments on Windsor          8      Q All right. Because you can take a
       9 County Talc Deposits."                                 9 sample from one level of a mine, for example,
      10 BY MR. PLACITELLA:                                    10 being explored in 1927, and that may have
      11     Q Oh, great. Okay.                                11 different results from a level of a mine that was
      12     A And I reference Pooley, 1972.                   12 the same mine that was sampled in 1967.
      13     Q Okay, great.                                    13      A It -- it would depend on the mine, but
      14        So the only reference that you have            14 in general, I think you'd have to assume the
      15 concerning the Vermont mines that postdates 1960      15 possibility of variation with time.
      16 is an unpublished report from Pooley that was         16      Q Okay. Thank you.
      17 given to you by counsel for Johnson & Johnson,        17         Am I correct that your report does not
      18 correct?                                              18 cite to a single published study concerning the
      19     A That would be --                                19 Italian mines that postdates 1975?
      20        MR. FROST: Objection to form.                  20      A That would be incorrect.
      21        THE WITNESS: That would be correct.            21      Q Okay. Please show me -- oh, you're
      22 BY MR. PLACITELLA:                                    22 correct.
      23     Q Okay. And -- now, let me just go down           23         Let me ask the question again. Any
      24 to your references for the Val Chisone, Italy         24 citation concerning an Italian mine that you have
      25 deposits. Do you see that?                            25 in your report postdates 1975 for published

                                                         Page 51                                                Page 53
       1     A Yes.                                               1 literature, correct?
       2     Q It's on page 21.                                   2         MR. FROST: Objection to form.
       3     A Yes. Mm-hmm.                                       3         THE WITNESS: There are several articles
       4     Q Okay. You cite to Lightfoot, et al.,               4 postdate 1975 that deal directly with the Fontaine
       5 1972. Was that a published paper?                        5 mine.
       6     A No. That is the report that Pooley                 6 BY MR. PLACITELLA:
       7 was -- participated in, but in the reference list        7      Q Yes.
       8 Lightfoot is the first author.                           8      A Yes.
       9     Q Okay. So that's an unpublished report.             9      Q But all of your citations that support
      10     A That is correct.                                  10 your conclusions concerning the Italian mine in
      11     Q Okay. And not peer reviewed.                      11 terms of public -- published literature postdate
      12     A No.                                               12 1975, correct?
      13     Q Okay. And the other Pooley report that            13         MR. FROST: Objection to form.
      14 you cited to concerning the Windsor mines, that         14         THE WITNESS: Yeah, I think that's
      15 was not peer reviewed, correct?                         15 correct.
      16     A No. No.                                           16 BY MR. PLACITELLA:
      17     Q Okay. So I see further that -- by the             17      Q Okay. Now, you cite -- by the way, do
      18 way, do you know when Johnson & Johnson stopped 18 you recall you cited to the Chidester article in
      19 purchasing talc from its -- the Italian source for      19 1951?
      20 use in the United States?                               20      A Yes.
      21     A I think you just told me, didn't you?             21      Q Okay. Do you know what test methods
      22     Q No. Italian source.                               22 Dr. Chidester used in 1951?
      23     A Oh. No.                                           23      A I do not.
      24     Q Would that be relevant to your opinions?          24      Q Okay. And were you aware -- or you
      25     A I didn't -- no. I -- perhaps.                     25 cited also to the Argonaut Mine as an example in

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                              Ann G.   Wylie, Ph.D.
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                                                    Page 54                                                   Page 56
       1 your report.                                         BY
                                                               1   MR.  PLACITELLA:
       2          MR. FROST: Objection to form.             2      Q Would that have been relevant to your
       3          THE WITNESS: Yes.                         3 opinions?
       4 BY MR. PLACITELLA:                                 4         MR. FROST: Objection.
       5      Q And -- what page was that?                  5         THE WITNESS: No.
       6      A Page 21.                                    6 BY MR. PLACITELLA:
       7      Q You say that Pooley -- the Pooley           7      Q So if Johnson & Johnson had core
       8 article you referenced for -- for Vermont was      8 sampling results showing there was asbestos in the
       9 1972, correct?                                     9 Argonaut Mine, that would have no relevance to
      10      A That -- that's correct.                    10 your opinions?
      11      Q Okay. And then you state on page 21        11         MR. FROST: Objection to form.
      12 that: "Pooley's detailed descriptions are         12         THE WITNESS: It -- no.
      13 consistent with published descriptions of talc    13 BY MR. PLACITELLA:
      14 mines in the Ludlow, Vermont area. The minerals 14        Q Why not?
      15 list in the ore from several mines, including     15      A Because I was asked to review the
      16 Argonaut Mine by mindat.org."                     16 literature. I -- I had a very specific
      17          Do you see that?                         17 assignment.
      18      A Yes.                                       18      Q Okay. But I'm -- as a scientist, would
      19      Q Okay. What is mindat.org?                  19 it matter to you that you were asked to provide a
      20      A It's a mineral database that's -- lists    20 report concerning the likelihood of asbestos being
      21 information about a mineral, any mineral that you 21 in a Johnson & Johnson mine, and Johnson & Johnson
      22 want, and they -- in this particular case, they   22 had testing of that mine and never revealed it to
      23 included the Argonaut Mine in the list of         23 you?
      24 minerals.                                         24         MR. FROST: Objection to form.
      25      Q Okay. But you didn't do any independent    25         THE WITNESS: No.

                                                    Page 55                                                  Page 57
       1 research concerning the Argonaut Mine --            BY MR. PLACITELLA:
                                                               1
       2      A I did not.                                 2      Q Okay. You say in your report -- well,
       3      Q -- other than that.                        3 let's just go to the summary in your report, your
       4        And were you aware when you were putting 4 summary of your opinions -- you state in your
       5 your report together that the Argonaut Mine did   5 report: "Based upon their geologic settings,
       6 not open until 1974?                              6 reports from mine geologists and literature,
       7        MR. FROST: Objection to form.              7 descriptions of the ore deposits provided in
       8        THE WITNESS: No.                           8 cosmetic talc for the relevant body powder, it is
       9 BY MR. PLACITELLA:                                9 unlikely that asbestos could be found in the talc
      10      Q Would that have been relevant to the      10 mines -- in the talc products from these mines."
      11 consideration of your opinions in this case?     11 Correct?
      12        MR. FROST: Objection.                     12         MR. FROST: Where are you reading from,
      13        THE WITNESS: Well, perhaps, but I knew 13 Chris?
      14 there were mines other than the Argonaut Mine    14         THE WITNESS: Please show me where you
      15 providing material. So...                        15 are.
      16 BY MR. PLACITELLA:                               16         MR. PLACITELLA: Why don't we take a
      17      Q Well, I understand that, but you picked   17 break, and I'll highlight it and move it faster
      18 Argonaut as an example. Why did you pick         18 that way. How's that?
      19 Argonaut?                                        19         MR. FROST: Sounds good. Let's take a
      20      A It's the only thing I could find.         20 break.
      21      Q Okay. Well, did Johnson & Johnson ever 21            THE VIDEOGRAPHER: The time is
      22 tell you that they had core sampling results for 22 10:14 a.m. We're going off the record.
      23 the Argonaut Mine?                               23         (Recess.)
      24        MR. FROST: Objection to form.             24         THE VIDEOGRAPHER: The time is 10:27
      25        THE WITNESS: No.                          25 a.m., and we are back on the record.

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                              Ann G.   Wylie, Ph.D.
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                                                       Page 58                                                Page 60
       1 BY MR. PLACITELLA:                                       1     Q Ma'am, I'm not talking about products.
       2      Q Okay. I believe you told me that                  2 I'm talking about testing reports related to what
       3 information in possession of the Johnson & Johnson       3 was coming out of the mine.
       4 concerning whether there was asbestos in the             4     A Oh, I -- I'm sorry --
       5 Johnson & Johnson talc mines was irrelevant to you       5        MR. FROST: Objection to form.
       6 because it was not part of your charge. Is that          6        THE WITNESS: -- I misunderstood.
       7 your testimony?                                          7 BY MR. PLACITELLA:
       8         MR. FROST: Objection to form.                    8     Q All right. So if Johnson & Johnson had
       9         THE WITNESS: My charge was to review             9 other testing reports like Pooley's concerning
      10 the literature and the reports by Drs. Longo and        10 what was coming out of the mine, that certainly
      11 Rigler. So it did not include requests to review        11 would have been relevant to your opinions,
      12 anything else.                                          12 correct?
      13 BY MR. PLACITELLA:                                      13        MR. FROST: Objection.
      14      Q But you did review unpublished reports           14        THE WITNESS: It's very hard to say
      15 provided to you by counsel of Dr. Pooley related        15 without seeing them.
      16 to the mines at issue, correct?                         16 BY MR. PLACITELLA:
      17      A I did.                                           17     Q But you were not provided any reports
      18      Q Okay. So those unpublished reports were          18 other than the select report from Dr. Pooley,
      19 relevant to your opinions according to your own         19 correct?
      20 report, correct?                                        20        MR. FROST: Objection to form.
      21         MR. FROST: Objection. Form.                     21        THE WITNESS: I was only provided the
      22         THE WITNESS: They were relevant                 22 two reports by Dr. Pooley.
      23 particularly because of the paucity of data in the      23 BY MR. PLACITELLA:
      24 literature.                                             24     Q Did you ask counsel for Johnson &
      25 BY MR. PLACITELLA:                                      25 Johnson, were there any other similar reports of

                                                      Page 59                                                 Page 61
       1     Q And if Johnson & Johnson had more data             1 the Vermont mine other than Dr. Pooley?
       2 in addition to the Pooley reports, that certainly        2         MR. FROST: Objection.
       3 would have been relevant to your opinions, just          3         THE WITNESS: I asked if -- if there --
       4 like the Pooley reports were relevant to your            4 let me just say what I -- I asked if they had any
       5 opinions, correct?                                       5 other information on the geology of the deposits.
       6         MR. FROST: Objection to form.                    6 BY MR. PLACITELLA:
       7         THE WITNESS: I was not asked to review           7      Q And the response was what?
       8 testing of materials other than the description of       8      A No.
       9 the geology of the mine.                                 9      Q Now -- okay. I want -- I want to just
      10 BY MR. PLACITELLA:                                      10 make sure I got one of the things you said before
      11     Q Doctor, you just told me that the Pooley          11 correct. Is it your opinion that the geology of
      12 reports were relevant to your opinions, and in          12 all the talc mines in Vermont would be essentially
      13 fact, you put them in your report, correct?             13 the same?
      14     A Correct.                                          14      A It is not.
      15     Q And if Johnson & Johnson had additional           15      Q It is not. Okay.
      16 reports concerning analysis of their mine, that         16         And how would it differ?
      17 certainly would have been relevant to your              17      A The minerals that are present vary in
      18 opinions, just like the Pooley reports were,            18 abundance and in what they are, the identity of
      19 correct?                                                19 the mineral.
      20         MR. FROST: Objection.                           20      Q Okay. Now, I want to just go back to
      21         THE WITNESS: I was asked to review the          21 your report what we were talking about when we
      22 basic geology of the mine and the geologic setting      22 broke. I want to ask you about some statements in
      23 of the deposits, and testing reports of products        23 your report.
      24 are not relevant.                                       24         You state in your report as a basis for
      25 BY MR. PLACITELLA:                                      25 your report, correct --


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                              Ann G.   Wylie, Ph.D.
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                                                    Page 62                                                  Page 64
       1     A I'm sorry. Would you please --                  enclosing the same for your signature, along with
                                                               1
       2     Q I'm sorry. Page 4.                            2 a self-addressed envelope."
       3         "Talc ore is mined for both industrial      3         Do you see that?
       4 and cosmetic use but from different ore bodies and  4     A Yes.
       5 in different mines."                                5     Q And then the affidavit of Johnson &
       6         And then you say: "Talc ore used for        6 Johnson is attached. Do you see that?
       7 cosmetic purposes, however, is different." See      7         MR. FROST: Objection to form.
       8 that?                                               8 BY MR. PLACITELLA:
       9     A Yes.                                          9     Q And the affidavit on page -- on
      10     Q Did Johnson & Johnson tell you that they     10 paragraph 2 states: "The exclusive business of
      11 obtained the talc for industrial use and cosmetic  11 Windsor Minerals is/has been for the last 18 years
      12 use from the exact same mine in Vermont?           12 the mining and milling of talc from a single
      13         MR. FROST: Objection to form.              13 mining district in Windsor, Vermont. The mining
      14         THE WITNESS: No.                           14 district is the exclusive source of talc for all
      15 BY MR. PLACITELLA:                                 15 of the Johnson's Baby Powder sold in the United
      16     Q Did they tell you the opposite?              16 States. In addition to supplying the talc for
      17     A No.                                          17 Johnson's Baby Powder, Windsor Mineral also sells
      18     Q Okay.                                        18 a portion of its product to independent industrial
      19         (Exhibit J&J-188 was presented to          19 users."
      20         the witness.)                              20         Do you see that?
      21 BY MR. PLACITELLA:                                 21     A I do.
      22     Q I'm going to show you what's been marked 22         Q That --
      23 J&J 188. I'm going to put it on the iPad --        23         MR. FROST: Objection to the form.
      24 sorry. Got to find a better way to do that.        24 BY MR. PLACITELLA:
      25         THE VIDEOGRAPHER: I will pass it over 25          Q That information was not supplied to you
                                                    Page 63                                                   Page 65
       1 for you, Counsel.                                     by
                                                               1   Johnson  & Johnson  when  forming   your opinions,
       2         MR. PLACITELLA: Okay, thanks.               2 correct?
       3 BY MR. PLACITELLA:                                  3        MR. FROST: Objection.
       4     Q J&J 188 is -- attaches an affidavit from      4        THE WITNESS: I've never seen this
       5 the president of Windsor Minerals, which is a       5 affidavit.
       6 Johnson & Johnson subsidiary that owned the         6 BY MR. PLACITELLA:
       7 Johnson & Johnson mine. See that, from Roger        7      Q And after you wrote in your report:
       8 Miller?                                             8 "Talc ore is mined for both industrial and
       9         And that was submitted in Middlesex         9 cosmetic use but for different -- but from
      10 County, New Jersey, as part of a basis by Johnson 10 different ore bodies and in different mines,"
      11 & Johnson to request that the plaintiff dismiss    11 after you wrote that in your report, Johnson &
      12 their case as reflected on the first page. Do you  12 Johnson never corrected that and told you they had
      13 see that?                                          13 contrary information, correct?
      14         MR. FROST: Objection to form.              14        MR. FROST: Objection. That certainly
      15 BY MR. PLACITELLA:                                 15 misstates the document.
      16     Q It says: "Enclosed please find" --           16        THE WITNESS: No.
      17 here, let's blow it up.                            17 BY MR. PLACITELLA:
      18         It says: "Enclosed please find an          18      Q Okay. Now, in your report -- going back
      19 affidavit on behalf of Windsor Minerals, signed by 19 to the ELMO for a second -- you make a number of
      20 Roger N. Miller, President of Windsor Minerals     20 statements about geology.
      21 since 1968: Do you see that?                       21        The first on page 18, you state: "Based
      22         Then it goes on and says: "I trust that    22 under geologic settings, report from mine
      23 these documents will now enable you to sign a      23 geologists and literature descriptions of the ore
      24 Dismissal as was done in the Yuhas file. I have    24 deposits providing cosmetic talc for Johnson's
      25 taken the liberty of drafting the Dismissal and    25 Baby Powder and Shower to Shower, it is highly


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                              Ann G.   Wylie, Ph.D.
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                                                      Page 66                                                 Page 68
       1 unlikely that asbestos could be found in the talc        1     Q So that's different.
       2 products from these mines." Correct?                     2     A Yes.
       3     A That's what it says, yes.                          3     Q So that's irrelevant to Ludlow?
       4     Q All right. You further state on page 20            4     A Yes.
       5 of your report, talking about the same deposits:         5     Q Okay. How come it's in your report?
       6 "There is nothing about the mode of formation of         6     A Because it's related to the Italian
       7 this type of talc deposit that favors the                7 mines.
       8 formation of asbestos." Correct?                         8     Q Okay. And then you state: "Cosmetic
       9     A That's correct.                                    9 forming veins of asbestos has not been reported in
      10     Q And then you -- as it relates to Pooley,          10 cosmetic talc ore to my knowledge."
      11 you say: "It's my understanding that the ore from       11         Does that refer to --
      12 the mine was the source of some of the talcum           12     A Could you repeat the question, please?
      13 powder involved in this litigation."                    13     Q Yes, ma'am. In your report you state:
      14         What mine was Pooley studying?                  14 "Cosmetic-forming veins of asbestos has" --
      15         MR. FROST: Objection to form.                   15 chryso- -- I'm sorry. Scratch that.
      16         If you know.                                    16         "Chrysotile-forming veins of asbestos
      17 BY MR. PLACITELLA:                                      17 has not been reported in cosmetic talc ore to my
      18     Q If you recall.                                    18 knowledge."
      19     A I think the name Windsor was in the               19         Does that refer to the Italian mines,
      20 report, but I -- I don't recollect.                     20 the Vermont mines, or both?
      21     Q Okay. "He and his team examined the               21     A This particular comment is under the
      22 samples he collected throughout the mine,               22 section on carbonate-hosted sources. Let me
      23 including the ore and foot and hanging wall, and        23 just -- no, I'm sorry, it doesn't. Three, that
      24 examined them by PLM x-ray defraction and               24 would refer to Johnson -- I mean to the talc mines
      25 transmission electron microscopy." See that?            25 in Vermont.

                                                       Page 67                                                Page 69
       1     A Yes.                                               1     Q Okay.
       2     Q Okay. Then you go on to state, and                 2     A Yes, as well.
       3 we -- we went over this before: "Pooley's                3     Q And in your summary on the top, you say:
       4 detailed descriptions are consistent with                4 "When is asbestos likely to be found in talc
       5 published descriptions of talc mines in the              5 ores?" Correct?
       6 Ludlow, Vermont area. The minerals list in the           6     A Yes.
       7 ore from several mines, including the Argonaut           7     Q And your summary is: "The formation of
       8 Mine by mindat.org." Do you see that?                    8 talc does not require or favor the formation of
       9     A Yes.                                               9 asbestos in the ore."
      10     Q Okay. And then you go on to state                 10        Do you see that?
      11 further down the page: "There is nothing about          11     A Yes.
      12 the mode or formation of this type of talc deposit      12     Q Okay.
      13 that favors the formation of asbestos. However,         13     A Yes.
      14 this type of deposit is not known for associated        14     Q And then underneath that is where you
      15 asbestos."                                              15 say, Chrysotile has never been found in any
      16         Do you see that?                                16 cosmetic talc ore to your knowledge, and you're
      17         MR. FROST: I will object to the form.           17 talking about Vermont. Correct?
      18         THE WITNESS: Show me where you're               18     A Yes.
      19 reading.                                                19     Q Okay. Then again in your conclusions
      20 BY MR. PLACITELLA:                                      20 you state: "Although talc and asbestos can form
      21     Q Yes, ma'am.                                       21 in proximity to one another, the formation of talc
      22     A I'm sorry.                                        22 does not require or favor the formation of
      23     Q So your --                                        23 asbestos in the ore."
      24     A So we've changed from Ludlow. We're now           24        And then you say: "Based on the
      25 talking about carbonate-hosted deposits.                25 geologic settings, reports from the mine


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       1 geologists" --                                      1     Q Okay. And it was done by Walter
       2         When you say "reports from the mine         2 McCrone?
       3 geologists," you're talking about in the published  3     A It was from his lab.
       4 literature?                                         4     Q Right. And they're a respected
       5      A The only reports that I have on the          5 laboratory, correct?
       6 mines were from the Pooley -- from Cardiff.         6         MR. FROST: Objection to form.
       7      Q Okay. So when you say "reports from the      7         THE WITNESS: They are -- were.
       8 mine geologists," you're talking about the private  8 BY MR. PLACITELLA:
       9 reports, not the published reports.                 9     Q And this report was not given to you by
      10      A I am.                                       10 Mr. Frost along with the Pooley reports, correct?
      11      Q Okay. Those are the reports that            11         MR. FROST: Objection.
      12 Johnson & Johnson gave you.                        12         THE WITNESS: It was not. I've never
      13      A That's correct.                             13 seen it before.
      14      Q Okay.                                       14 BY MR. PLACITELLA:
      15         -- "and literature descriptions of the     15     Q And if you go to Table 2 of the report,
      16 ore deposits used to source the talc for the       16 do you see where it talks about the results for
      17 cosmetic talc products at issue in this            17 the electron microscope on the talc ore for core
      18 litigation, it is unlikely that asbestos occurs in 18 samples?
      19 these deposits." Do you see that?                  19     A Yes.
      20      A Yes.                                        20     Q Then if you look at the chart, it
      21      Q And when you say "these deposits," do       21 actually talks about how far down in the mine they
      22 you mean both the Italian and the chrysotile       22 took the samples for each sample. Do you see
      23 deposits?                                          23 that?
      24         MR. FROST: Objection.                      24         MR. FROST: Objection to form.
      25         THE WITNESS: Chrysotile deposits --        25 BY MR. PLACITELLA:
                                                   Page 71                                               Page 73
       1 BY MR. PLACITELLA:                                  1 Q If you look at the second row where it
       2     Q My mistake.                               2 says "Description Designation" --
       3         Do you mean both the Italian and the    3         Here, let's blow it up.
       4 Vermont deposits?                               4     A It doesn't explain what that is.
       5     A Yes.                                      5     Q Well, I'll represent to you -- do you
       6     Q Okay. Now -- sorry. I don't know how      6 know who Dr. Hopkins is?
       7 to -- so I just apologize to you.               7     A No.
       8         MR. PLACITELLA: I'm going back to the 8       Q I'll represent to you that Dr. Hopkins
       9 iPad now.                                       9 testified in this case that those were the depths
      10         THE VIDEOGRAPHER: Got it, sir.         10 from which the samples were taken. Do you see
      11         (Exhibit J&J-65 was presented to       11 that?
      12         the witness.)                          12     A I do.
      13 BY MR. PLACITELLA:                             13         MR. FROST: Objection to form.
      14     Q I've handed you a report from Mr. Vernon 14 BY MR. PLACITELLA:
      15 Zeitz concerning Windsor Mineral Corporation,  15     Q Okay. And do you see that they have a
      16 "Examination of Talc Samples: The Argonaut Ore 16 column entitled "Chrysotile"?
      17 Body."                                         17     A I do.
      18         Do you see that?                       18     Q And one for "Amphibole." Do you see
      19     A Yes.                                     19 that?
      20     Q Okay. And that was done in 1974,         20     A I do.
      21 correct?                                       21     Q Okay. And do you see in all the
      22     A Yes.                                     22 highlighted sections where McCrone found
      23     Q The same year of the report that they    23 chrysotile in these core samples?
      24 gave you related to Dr. Pooley, correct?       24         MR. FROST: Objection to form.
      25     A I think Dr. Pooley's reports were 1972.  25         THE WITNESS: I do.

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       1 BY MR. PLACITELLA:                                      A I --
                                                                  1
       2     Q And this information was never provided     2         MR. FROST: Objection to form.
       3 to you in order for you to do your report,        3         THE WITNESS: I do.
       4 although you were given the unpublished           4 BY MR. PLACITELLA:
       5 information from Dr. Pooley, correct?             5     Q It says: "The first group consisted of
       6        MR. FROST: Objection.                      6 29 samples which were taken from your ore body."
       7        THE WITNESS: I have never seen this        7         Are you with me?
       8 document.                                         8     A Yes.
       9 BY MR. PLACITELLA:                                9     Q Okay. And they say: "The second group
      10     Q Is this a document you would have liked    10 consists of seven samples which were sent to us
      11 to have seen along with Dr. Pooley's report?     11 subsequently to be analyzed separately. The
      12        MR. FROST: Objection.                     12 general conclusion that we came to in this study
      13        THE WITNESS: I mean, I -- I would have 13 is that these samples do show some amphiboles but
      14 to have looked at this quite carefully to know   14 at extremely low level."
      15 whether it would have been helpful or not, and I 15         Do you see that?
      16 haven't had a chance to look at it. So...        16     A Yes.
      17 BY MR. PLACITELLA:                               17     Q Okay. And in the next paragraph, they
      18     Q Okay. Fair enough.                         18 talk about that they did a running tabulation of
      19        It was not supplied to you, so you --     19 the samples for total fiber content. Do you see
      20 you couldn't make a decision whether it was      20 that?
      21 relevant or not, correct?                        21     A Yes.
      22     A That's correct.                            22     Q Okay. And if you go to the Table 1,
      23        (Exhibit J&J-89 was presented to          23 they talk about confirmed asbestos visual. Do you
      24        the witness.)                             24 see that?
      25 BY MR. PLACITELLA:                               25     A Yes.
                                                       Page 75                                                Page 77
       1     Q Okay. Now, let me show you 89. Take a              1      Q And they indicate that on the samples,
       2 chance to look at it.                                    2 at least that I've highlighted, that they found --
       3        J&J-89 for -- I'll describe it for the            3 they confirmed asbestos visually in talc samples
       4 record is a report dated July 1, 1975, from              4 with the label "HC." Do you see that?
       5 McCrone to Windsor Mineral Company.                      5         MR. FROST: Objection to form.
       6        Do you see that?                                  6         THE WITNESS: That you have highlighted
       7     A I see -- is there a title where -- the             7 that.
       8 report you're referring to? I see a letter --            8 BY MR. PLACITELLA:
       9     Q Right, there's a letter --                         9      Q Yes, ma'am.
      10     A -- from Mr. Grieger --                            10      A Yes, mm-hmm.
      11     Q -- with attached -- correct.                      11      Q I'm sorry. Yes, Doctor.
      12     A And some tables attached.                         12         And were you aware that HC stands for
      13     Q Correct. I want to go through those.              13 Hammondsville cosmetic talc?
      14        This letter and tables were never                14         MR. FROST: Objection to form.
      15 provided to you by Johnson & Johnson along with         15         THE WITNESS: No.
      16 the Pooley report, correct?                             16 BY MR. PLACITELLA:
      17     A Correct.                                          17      Q All right. On the next Table 2, they
      18     Q Okay. And in the first paragraph,                 18 talk about description of sample content of
      19 McCrone advises Johnson & Johnson that: "We have        19 sediment. Do you know what sediment generally
      20 examined two groups of samples using electron           20 refers to when they're looking at something
      21 microscope and selected area electron defraction        21 geologically?
      22 to determine the extent of amphiboles or                22      A Yes.
      23 serpentine contamination in these two groups of         23      Q What does that refer to?
      24 samples."                                               24      A Sediment is particulate that has been
      25        See that?                                        25 deposited by water, generally.


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       1     Q Okay. And --                                    1         And, Chris, if you have a document you
       2     A Or wind.                                        2 want to show her --
       3     Q Okay. And again, they list sample               3         MR. PLACITELLA: I'm just asking in
       4 numbers, they have the word "asbestos," and then      4 general.
       5 they quantify low to medium the number of fibers      5         MR. FROST: -- go ahead and do that,
       6 they saw, correct?                                    6 but -- objection.
       7        MR. FROST: Objection to form.                  7         THE WITNESS: As a scientist, I would
       8        THE WITNESS: It's not clear to me what         8 like to see data.
       9 the various columns -- how they relate to one         9 BY MR. PLACITELLA:
      10 another.                                             10      Q Okay. So testimony would not be
      11 BY MR. PLACITELLA:                                   11 relevant to you.
      12     Q Okay. Well, you see next to HC, they           12         MR. FROST: Objection to form.
      13 have the word "asbestos" on the column at the top,   13         THE WITNESS: I -- I would like to see
      14 and if you go down where it says "HC," it says       14 data.
      15 "low."                                               15 BY MR. PLACITELLA:
      16     A Yes --                                         16      Q My question is, if there was testimony
      17        MR. FROST: Objection to form.                 17 from the scientist about what he found, that would
      18        THE WITNESS: -- I see that.                   18 not be relevant to your considerations? That's
      19 BY MR. PLACITELLA:                                   19 all I'm asking.
      20     Q Okay. Now, this document was not               20         MR. FROST: Objection to form, asked and
      21 provided to you as -- for your consideration and     21 answered.
      22 for you to determine whether it was relevant or      22         THE WITNESS: No.
      23 not to your opinions, correct?                       23         (Exhibit J&J-179 was presented to
      24        MR. FROST: Objection to form.                 24         the witness.)
      25        THE WITNESS: It was not provided to me.       25 BY MR. PLACITELLA:

                                                   Page 79                                                 Page 81
       1 BY MR. PLACITELLA:                                    1  Q Okay. Let me show you -- you have in
       2      Q Okay. Now, were you aware that one of       2 front of you Johnson & Johnson-179, which is a
       3 the mines that was owned by Johnson & Johnson,     3 letter from McCrone Associates to Roger Miller
       4 the -- there was a scientist who testified under   4 dated November 2nd, 1984.
       5 oath in 1983 that they found chrysotile asbestos   5         Do you see that?
       6 in the talc mine?                                  6     A Yes.
       7         MR. FROST: Objection to form.              7     Q Was this -- was this document provided
       8         THE WITNESS: No.                           8 to you by Johnson & Johnson along with the Pooley
       9 BY MR. PLACITELLA:                                 9 report concerning unpublished findings related to
      10      Q Would that have been relevant to your      10 the Johnson & Johnson mines?
      11 consideration?                                    11         MR. FROST: Objection to form.
      12         MR. FROST: Objection to form. Assumes     12         THE WITNESS: No.
      13 it's correct.                                     13 BY MR. PLACITELLA:
      14         THE WITNESS: I don't know. It --          14     Q Okay. And in this document it talks
      15 BY MR. PLACITELLA:                                15 about testing that McCrone did concerning air
      16      Q I'm going --                               16 samples using a transmission electron microscope,
      17      A Testimony normally I would not have        17 correct?
      18 considered relevant.                              18         MR. FROST: Objection to form.
      19      Q So if a scientist testified under oath     19         THE WITNESS: That's correct.
      20 that they tested the mine and found chrysotile    20 BY MR. PLACITELLA:
      21 asbestos in the Johnson talc mine, would that be  21     Q And what they did is, according to this
      22 relevant to your opinions as to whether it was    22 letter from McCrone to -- to Johnson & Johnson,
      23 likely or not that there was -- would be asbestos 23 they found chrysotile asbestos in the air samples,
      24 in the Johnson mine?                              24 correct?
      25         MR. FROST: Objection to form.             25         MR. FROST: Objection to form.

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       1         THE WITNESS: That's what the document               1 let me just make sure we're on -- we're on the
       2 says.                                                       2 same sheet of music.
       3 BY MR. PLACITELLA:                                          3         What came out of the mine was not part
       4     Q So, for example, where it says, Sample                4 of your assignment, just what was in the mine?
       5 No. 8: 6 times 10 to the 4th, what does that mean           5         MR. FROST: Objection to form.
       6 to you?                                                     6         THE WITNESS: The -- my -- the request
       7     A Six with four zeroes.                                 7 was that I describe generally the origin of talc
       8     Q Right. So how many fibers would -- did                8 deposits, look at it from a broad perspective, and
       9 they find?                                                  9 to examine -- to find anything I could in the
      10        MR. FROST: Objection to form.                       10 literature on the two mines in particular.
      11        THE WITNESS: 60,000.                                11         And I was asked -- I actually asked I
      12 BY MR. PLACITELLA:                                         12 think for other reports -- no, I didn't. They
      13     Q 60,000? Now --                                       13 gave me the Pooley report because I couldn't find
      14     A Pardon me. It may not indicate that                  14 much on the mine itself in Vermont.
      15 they found that many particles. They extrapolated          15 BY MR. PLACITELLA:
      16 from some assessment of the filter, I would                16      Q But if Johnson & Johnson had more
      17 imagine. But I don't know. I really can't                  17 information on the mine in Vermont in addition to
      18 comment.                                                   18 the Pooley report, that certainly would have been
      19     Q Okay. You -- you were not provided the               19 relevant to your consideration, correct?
      20 underlying data for this, correct?                         20         MR. FROST: Objection to form.
      21     A No.                                                  21         THE WITNESS: This is not information
      22        MR. FROST: Objection.                               22 about the mine.
      23 BY MR. PLACITELLA:                                         23 BY MR. PLACITELLA:
      24     Q And in order for you to make a fair                  24      Q Okay. I want to -- we'll get there.
      25 assessment of what this means, Johnson & Johnson           25         So -- take a look at this (indicating).
                                                          Page 83                                                Page 85
       1 would have had to have provided you with the                1         (Exhibit J&J-202 was presented to
       2 underlying data so you could study it and                   2         the witness.)
       3 determine whether it was relevant or not to your            3 BY MR. PLACITELLA:
       4 opinions, correct?                                          4     Q I'm just going to describe for the
       5         MR. FROST: Objection to form.                       5 record, and I'll give you a chance to look at it,
       6         And this is assuming a lot of facts that            6 this is a March 25th, 1992 report entitled "Cyprus
       7 certainly aren't in the record. We've done this             7 Ore Reserves - Arsenic & Tremolite."
       8 several times now.                                          8         MR. FROST: Objection to form.
       9         MR. PLACITELLA: Please, that's not a --             9 BY MR. PLACITELLA:
      10         THE WITNESS: These are air filters.                10     Q And I'll ask you to take a look at that.
      11 There's no information on where they came from.            11         MR. FROST: Misstates the document.
      12 BY MR. PLACITELLA:                                         12         THE WITNESS: Would you like me to read
      13      Q Okay. And you would need to know that               13 it?
      14 in order to determine whether it was relevant to           14 BY MR. PLACITELLA:
      15 your opinion, correct, where they came from?               15     Q I just want you to look at it.
      16         MR. FROST: Objection to form.                      16     A Well, I've looked at it.
      17         THE WITNESS: No.                                   17     Q Okay. And this does pertain to the mine
      18 BY MR. PLACITELLA:                                         18 in Vermont, correct?
      19      Q Why not?                                            19         MR. FROST: Objection to form.
      20      A Because I was not asked to evaluate the             20 BY MR. PLACITELLA:
      21 Johnson & Johnson products. That was not my -- my          21     Q In fact, it pertains directly to the
      22 assignment. My assignment was to review the                22 Argonaut Mine in Vermont, correct?
      23 literature and to review the reports, and that's           23         MR. FROST: Same objection.
      24 all.                                                       24         THE WITNESS: Where do you see that?
      25      Q If you reviewed -- so you're -- well,               25 BY MR. PLACITELLA:


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       1     Q Sure. If you go to the very next page,            1     THE WITNESS: I have no idea what he
       2 under "Tremolite," do you see where it talks right 2 means by "fibrous." I don't know this person, I
       3 down at the bottom about the Argonaut and Black 3 don't know what his qualifications are, and I know
       4 Bear mines?                                         4 nothing about his terminology use.
       5     A I see that paragraph, yes.                    5 BY MR. PLACITELLA:
       6     Q And so this is about the mine. We             6     Q Okay. And it says: "Cyprus staff
       7 agree?                                              7 report past tremolite from the Hammondsville and
       8         MR. FROST: Objection to form.               8 Clifton deposits."
       9         THE WITNESS: It appears to be so, yes.      9         Do you know anything about that?
      10 BY MR. PLACITELLA:                                 10         MR. FROST: Objection to form.
      11     Q And this particular report was not           11         THE WITNESS: No.
      12 provided to you along with the Pooley report for   12         MR. PLACITELLA: Okay. Now -- first,
      13 information related to the mines that supplied     13 let me give this to your counsel, because I only
      14 talc for Johnson & Johnson products, correct?      14 have two copies.
      15         MR. FROST: Again, objection to form.       15         MR. FROST: I'm just generally going to
      16 Mischaracterizes the document.                     16 object to the use of this document --
      17         THE WITNESS: The document was not          17         MR. PLACITELLA: Mm-hmm.
      18 provided to me.                                    18         MR. FROST: -- as it's not a document
      19 BY MR. PLACITELLA:                                 19 that has been created or provided by Johnson &
      20     Q Okay. So in this report the author           20 Johnson. I believe this was created by
      21 states: "Vermont talcs are derived from altered    21 plaintiffs' counsel.
      22 serpentine - a natural host for asbestiform        22         MR. PLACITELLA: Actually, it was
      23 minerals." Do you see that?                        23 created by Dr. Hopkins at this deposition, but
      24     A I do.                                        24 we'll fight that battle for another day.
      25         MR. FROST: Same objection.                 25         MR. FROST: So Dr. Hopkins typed this
                                                        Page 87                                                  Page 89
       1 BY MR. PLACITELLA:                                      1 out at his deposition; is that --
       2     Q Do you agree with that statement?                 2         MR. PLACITELLA: Actually, what happened
       3     A I don't think so, no.                             3 was --
       4     Q Okay. And why do you disagree with that           4         MR. FROST: -- what relevance for the
       5 statement?                                              5 record?
       6     A The term "altered serpentine" is a very           6         MR. PLACITELLA: -- we did it at the
       7 broad term, and so I don't really know how one can      7 deposition. Then you and Dr. Hopkins went in a
       8 just use the term "altered serpentine" and assume       8 room and made some changes to the deposition -- to
       9 that you would conclude that it's a host for            9 the chart, and then we came back out and we went
      10 asbestiform mineral.                                   10 through the chart with Dr. Hopkins to make his
      11     Q Okay. According to the author of this            11 corrections.
      12 report, he states: "There is certainly visible         12         MR. FROST: Well, given the --
      13 tremolite and actinolite in specific zones of the      13         MR. PLACITELLA: So -- but we'll let
      14 Vermont deposits - fibrous tremolite was               14 the -- we'll deal with that another day.
      15 identified by the writer in exposures and cores at     15         MR. FROST: But given that I was not at
      16 the East Argonaut and Black Bear mines."               16 Dr. Hopkins' deposition, you know, that statement
      17        Do you see that?                                17 certainly isn't fully accurate, but --
      18     A I do.                                            18         MR. PLACITELLA: Okay.
      19        MR. FROST: Objection to form, and               19         MR. FROST: -- I just want to lodge my
      20 again, it mischaracterizes the document.               20 objection for the record. This is not a document
      21 BY MR. PLACITELLA:                                     21 that was produced by or provided by Johnson &
      22     Q Do you have any information in your              22 Johnson.
      23 possession provided to you by Johnson & Johnson to 23             MR. PLACITELLA: Okay.
      24 contradict that statement?                             24         MR. FROST: Feel free to use it, but I
      25        MR. FROST: Objection to form.                   25 have an objection for the record.

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       1        MR. PLACITELLA: Okay.                          1      (Conclusion  of  audio being
       2        MR. LOCKE: And I was at the deposition, 2             played.)
       3 and I object to the characterization.              3         MR. FROST: So I actually think that
       4        MR. PLACITELLA: Okay. Okay.                 4 supports my objection, and my objection stands on
       5        I just want to show you the end of the      5 the record.
       6 deposition, so if you think I'm mischaracterizing  6         MR. PLACITELLA: That's fine.
       7 anything.                                          7         MR. FROST: And thank you for showing
       8        Can we go to the ELMO?                      8 that.
       9        THE VIDEOGRAPHER: I can switch it.          9         MR. PLACITELLA: I just want to make
      10        MR. PLACITELLA: Okay. Here is              10 sure the record is clear.
      11 Dr. Hopkins' testimony.                           11 BY MR. PLACITELLA:
      12        MR. FROST: Again, I object to the use      12      Q So let's look at this chart together.
      13 of the video that's not directed as a question to 13 Shall we?
      14 the witness, but --                               14         The chart has a number of columns. One
      15        (Audio played):                            15 is the date, the exhibit number, the testing
      16             MR. PLACITELLA: So let me             16 entity, who the author was, the recipient, the
      17        ask you the question. Do you need          17 purpose, the test method, the mine if we knew what
      18        time to take a break, Dr. Hopkins,         18 it was, what exactly was tested, any special
      19        and look at Hopkins 28 and see if          19 preparations, what the tests revealed, any
      20        any of the additions or deletions          20 comments from Dr. Hopkins, and whether -- and it's
      21        that were made by this -- on the           21 cut off, but I represent to you, whether according
      22        chart today are inaccurate as              22 to Dr. Hopkins the test -- the results satisfied
      23        reflected in your testimony?               23 Johnson & Johnson's definition of "asbestos." Do
      24             MR. BICKS: Again, I'll                24 you see this?
      25        just object, and that's the                25         MR. FROST: Again, I'm going to object
                                                    Page 91                                                  Page 93
       1         witness's not -- job is not to do             1 to the characterization of the document.
       2         that, and he need not do it.                  2 BY MR. PLACITELLA:
       3               BY MR. PLACITELLA:                      3      Q Okay. So let's just walk through -- in
       4               Q. Okay. Do you need to                 4 light of the fact that Johnson & Johnson gave you
       5         do that?                                      5 an unpublished report of Pooley to rely upon, I
       6               A. I'm not going to -- no,              6 just want to go through this chart and be clear as
       7         I'll take my attorney's advice and            7 to whether any of the reports referenced on this
       8         I will -- I will not do it. But               8 chart as related to the mines alone -- not end
       9         I'll leave this exhibit as being a            9 products, okay? Are you with me?
      10         product of this deposition.                  10      A Okay. Sort of.
      11               Q. Okay. Well, it was not              11      Q -- were provided to you.
      12         the product of this -- just this             12         MR. FROST: Objection to form.
      13         deposition. It's a product of a              13 BY MR. PLACITELLA:
      14         number of days, correct?                     14      Q Okay. So the first entry on this chart
      15               A. Yes, this deposition                15 is from 1957 by Battelle -- Battelle related to
      16         and the -- the three days that we            16 Italian talc, that was not provided to you, I take
      17         -- or four days that we have                 17 it, correct?
      18         spent --                                     18         MR. FROST: Objection to form.
      19               Q. Correct.                            19         THE WITNESS: No.
      20               A. -- putting this chart               20 BY MR. PLACITELLA:
      21         together.                                    21      Q Okay. The report from 1968 from
      22               Q. Correct.                            22 Battelle concerning Val Chisone where they found
      23               A. It is a product of this             23 tremolite was not provided to you, correct?
      24         deposition.                                  24         MR. FROST: Objection to form.
      25               Q. Okay. Thank you.                    25         THE WITNESS: No.

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       1 BY MR. PLACITELLA:                                   identified chrysotile at a level less than 10
                                                               1
       2     Q Okay. The 5/28/1958 report from              2 parts per million in the Vermont sample satisfying
       3 Johnson & Johnson from Battelle concerning Val     3 Johnson & Johnson's definition of "asbestos," that
       4 Chisone where they found 6 tremolite and 6 to      4 was not provided to you, correct?
       5 10 percent fibrous talc, that was not provided to  5         MR. FROST: Objection to form.
       6 you, correct?                                      6         THE WITNESS: The document was not
       7        MR. FROST: Objection to form.               7 provided.
       8        THE WITNESS: No.                            8 BY MR. PLACITELLA:
       9 BY MR. PLACITELLA:                                 9     Q Okay. The March 1970 report from
      10     Q Okay. The December 4th, 1970 report         10 Dartmouth University concerning ore from the
      11 from the Colorado School of Mines concerning the 11 Windsor mine was not provided to you, correct?
      12 Hammondsville mine's core samples finding         12         MR. FROST: Objection.
      13 tremolite, actinolite, and fibrous talc, that was 13         THE WITNESS: It was not provided.
      14 not provided to you, correct?                     14 BY MR. PLACITELLA:
      15        MR. FROST: Objection to form.              15     Q Do you see where I -- Dr. Hopkins
      16        THE WITNESS: No.                           16 actually put in his column he has issues with the
      17 BY MR. PLACITELLA:                                17 conclusions in this report?
      18     Q Okay. I want to skip all the ones that      18         MR. FROST: Objection to form.
      19 talk about just what they found in products.      19         THE WITNESS: I see that.
      20        The report from 1971, July 7th, Colorado   20 BY MR. PLACITELLA:
      21 School of Mines on Vermont talc, that was not     21     Q Okay. The 4/24/74 report from McCrone,
      22 provided to you, correct?                         22 that's the one we just went through, right, where
      23        MR. FROST: Objection to form.              23 they say the purpose was whether or not there was
      24        THE WITNESS: No.                           24 any significant content of asbestiform materials
      25 BY MR. PLACITELLA:                                25 in the Argonaut, and they found chrysotile and

                                                   Page 95                                                      Page 97
       1     Q And certainly you were not provided the         1 tremolite, which Dr. Hopkins said satisfied the
       2 report from McCrone from 1971 finding chrysotile      2 Johnson & Johnson definition of "asbestos," that
       3 asbestos in the Shower to Shower satisfying           3 was not provided to you, correct?
       4 Johnson & Johnson's definition of "asbestos," that    4        MR. FROST: Objection.
       5 was never given to you because that was not of the    5        THE WITNESS: The document was not
       6 mine, correct?                                        6 provided.
       7        MR. FROST: Objection to form.                  7 BY MR. PLACITELLA:
       8        THE WITNESS: It was not provided.              8     Q Okay. The 5/8/74 report from McCrone
       9 BY MR. PLACITELLA:                                    9 using an optical microscope and TEM on the Windsor
      10     Q Okay. Let's go to the next page.               10 ore, and do you see where Dr. Hopkins says here
      11        So skipping down to 1973, the 5/1/73          11 "possible contamination of one test," that was not
      12 report concerning Hammondsville ore, that was not    12 provided to you, correct?
      13 provided to you, correct?                            13        MR. FROST: Objection to form.
      14        MR. FROST: Objection.                         14 BY MR. PLACITELLA:
      15        THE WITNESS: No.                              15     Q I mean, I'm showing you the good and the
      16 BY MR. PLACITELLA:                                   16 bad, so I'm not leaving anything out.
      17     Q Okay. The May 8, 1973 report concerning        17     A It was not provided.
      18 the Hammondsville ore, that was not provided to      18        MR. FROST: Objection.
      19 you, correct?                                        19 BY MR. PLACITELLA:
      20        MR. FROST: Objection to form.                 20     Q Okay. Do you see the next report from
      21        THE WITNESS: No.                              21 McCrone concerning the Argonaut ore body, where it
      22 BY MR. PLACITELLA:                                   22 says "chrysotile fibers in ore and product in
      23     Q The 1973 report from the Colorado School       23 one-third of the samples tested," that was not
      24 of Mines that examined for chrysotile and/or         24 provided to you, correct?
      25 tremolite using TEM in Vermont samples, and          25        MR. FROST: Objection to form.

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       1         THE WITNESS: The document was not           1 provided.
       2 provided.                                           2         (Exhibit J&J-97 was presented to
       3 BY MR. PLACITELLA:                                  3         the witness.)
       4      Q Okay. The report from May 14th, '74,         4 BY MR. PLACITELLA:
       5 from McCrone and Dartmouth concerning the           5     Q Okay. And there's another report,
       6 Hammondsville mine, that was not provided to you, 6 J&J-97, mentioned here from McCrone using TEM on
       7 correct?                                            7 ore fibers of asbestos, according to Dr. Hopkins
       8         MR. FROST: Objection.                       8 satisfies Johnson & Johnson's definition of
       9         THE WITNESS: The document was not           9 "asbestos," that was never provided to you,
      10 provided.                                          10 correct?
      11 BY MR. PLACITELLA:                                 11         MR. FROST: Objection to form.
      12      Q By the way, do you have that 89 --          12         THE WITNESS: I'm not sure exactly what
      13 that J&J 89 in front of you?                       13 you're referring to, but the document, whatever it
      14      A I'm sorry. Is this something you've         14 was, was not provided.
      15 given to me before?                                15         (Exhibit Hopkins 28 was presented
      16      Q Yes -- yes, ma'am. It says "J&J 89" on      16         to the witness.)
      17 it. I just want to go back there for a second.     17 BY MR. PLACITELLA:
      18      A Yes. Yes.                                   18     Q Okay. I'm sorry to have to do this, but
      19      Q And if you -- I just put up here for --     19 I have to make a record. Given the fact, ma'am,
      20 under Table 3, just where they describe what       20 just -- Doctor, just so you know, you were
      21 they've seen based on the photomicrographs, that's 21 provided some documents and not others, and all I
      22 something that you do, correct? You look at        22 want to do is make a record here of the
      23 photomicrographs and you describe what you see?    23 information you were not provided.
      24      A I -- I look at preparations under the       24         Are you with me?
      25 microscope.                                        25         MR. FROST: Objection to form.

                                                      Page 99                                                   Page 101
       1     Q Okay. And you see here where it talks             1        THE WITNESS: I hear you.
       2 about the HC sample: "Two bundles of amphiboles,        2 BY MR. PLACITELLA:
       3 two single amphibole fibers." See that?                 3     Q Okay. Now, there is a report here --
       4     A I do.                                             4 you were given a report from Dr. Pooley from 1972.
       5     Q All right. That would even satisfy your           5 Do you recall that?
       6 definition of "asbestos," right?                        6     A Yes.
       7        MR. FROST: Objection.                            7     Q Okay. And in this chart there's a
       8        THE WITNESS: I'm sorry, but I don't              8 report from 1977 from Dr. Pooley on the Vermont
       9 have any idea what criteria he was using to             9 samples where he found fibers of antigorite. That
      10 identify it as amphibole or --                         10 was not provided to you, correct?
      11 BY MR. PLACITELLA:                                     11        MR. FROST: Objection to form.
      12     Q Okay. Well, let's go back then to the            12        THE WITNESS: It was not.
      13 chart.                                                 13 BY MR. PLACITELLA:
      14        Under that same Exhibit J&J 89 where it         14     Q Okay. The internal report of Johnson &
      15 says: "Determine the extent of amphibole or            15 Johnson from 2/9/1974 of the 66 composite samples
      16 serpentine contamination. We kept a running            16 finding tremolite and actinolite, that was not
      17 tabulation of the asbestos we could possibly           17 provided to you, correct?
      18 identify."                                             18        MR. FROST: Objection to form.
      19        And in the chart, it says: "Confirmed           19        THE WITNESS: I don't know where you
      20 asbestos, low to medium bundles of amphiboles,"        20 are, but no.
      21 and according to Dr. Hopkins, that satisfied           21 BY MR. PLACITELLA:
      22 Johnson & Johnson's definition of "asbestos."          22     Q Okay, ma'am, I'm right here
      23 That report was never provided to you, correct?        23 (indicating). I'm not -- I'm not -- now I'm on
      24        MR. FROST: Objection to form.                   24 the fourth entry down.
      25        THE WITNESS: The document was not               25        In 9/1/83, there was another McCrone

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       1 report to test for airborne fiber concentrations             1        MR. FROST: Objection to form.
       2 at the Argonaut and Rainbow Mines finding 118                2        THE WITNESS: The document was not
       3 fibers -- no, I'm sorry -- 118 fibers in Argonaut,           3 provided.
       4 2,650 fibers in Rainbow, satisfying the Johnson &            4 BY MR. PLACITELLA:
       5 Johnson definition of "asbestos," that was not               5     Q I'm almost done, I promise.
       6 provided to you, correct?                                    6        These are all on products. Okay.
       7         MR. FROST: Objection to form.                        7        Down here in 1961, a report from
       8         THE WITNESS: The document was not                    8 Battelle on the Hammondsville core, that was not
       9 provided.                                                    9 provided to you, correct?
      10 BY MR. PLACITELLA:                                          10        MR. FROST: Objection to form.
      11      Q Okay. In terms of your conclusions                   11        THE WITNESS: The document was not
      12 related to Italian talc, there was a report from            12 provided.
      13 1985 to Olson on the Italian talc done in South             13 BY MR. PLACITELLA:
      14 Plainfield, where they found 71.2 percent fibrous           14     Q Okay. The 1991 reports concerning the
      15 talc and 5.8 percent anthophyllite and asbestiform          15 Argonaut and Hamm Mines, they were not provided to
      16 amphibole satisfying Johnson & Johnson's                    16 you either, correct?
      17 definition of "asbestos," that document was not             17        MR. FROST: Objection to form.
      18 provided to you, correct?                                   18        THE WITNESS: The documents were not
      19         MR. FROST: Objection to form.                       19 provided.
      20         THE WITNESS: It was not.                            20 BY MR. PLACITELLA:
      21 BY MR. PLACITELLA:                                          21     Q Okay. And am I correct in order for you
      22      Q Okay. I'll just go -- I won't go                     22 to determine whether those -- all the reports that
      23 through the conclusion.                                     23 we went through would be relevant to your
      24         The -- J&J-184, the 8/5/1986 report from            24 assessment about whether it was likely or not that
      25 McCrone concerning Hammondsville air samples, that          25 there would be asbestos in the mine sources for

                                                        Page 103                                                     Page 105
       1 wasn't provided to you, correct?                     Johnson & Johnson talc, you would actually have to
                                                                      1
       2        MR. FROST: Objection to form.               2 see the reports and make that determination,
       3        THE WITNESS: The document was not           3 correct?
       4 provided.                                          4         MR. FROST: Objection to form.
       5 BY MR. PLACITELLA:                                 5         THE WITNESS: The request by Johnson &
       6     Q Okay. We already went through the            6 Johnson    for me was to review the literature, the
       7 Cyprus reports, so I won't do that.                7 two mine reports, and the lab results from
       8        The 2/9/1979 report -- internal report      8 Drs. Longo and Rigler.
       9 from Johnson & Johnson related to Windsor, six     9 BY MR. PLACITELLA:
      10 composite samples, that was not provided to you, 10      Q Well, do you think it's fair to you as
      11 correct?                                          11 the person who is asked to give an opinion to
      12        MR. FROST: Objection to form.              12 this -- in this case, for Johnson & Johnson to
      13        THE WITNESS: The document was not 13 give you some non-published reports but not all of
      14 provided.                                         14 the non-published reports for you to make your own
      15 BY MR. PLACITELLA:                                15 determination as an expert as to whether they
      16     Q Okay. The 1958 -- May 9th, 1958 report 16 would be relevant to your opinions?
      17 from Battelle concerning the Italian talc, that   17         MR. FROST: Objection to form.
      18 was not provided to you, correct?                 18 BY MR. PLACITELLA:
      19        MR. FROST: Objection to form.              19     Q Do you think that's fair?
      20        THE WITNESS: The document was not          20     A The reports that they provided were
      21 provided.                                         21 helpful because they were a complete assessment of
      22 BY MR. PLACITELLA:                                22 the mine, samples from the footwall, the hanging
      23     Q Okay. The 1/24/58 report from Battelle 23 wall, the ore body, throughout the deposit. And
      24 concerning Italian talc, that was not provided to 24 those reports from Pooley or from his group at
      25 you, correct?                                     25 Cardiff were -- were relevant.


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       1         I couldn't follow everything that you            1     Q    So I'm just going to ask you --
       2 were saying, but these appeared to be primarily          2         THE VIDEOGRAPHER: iPad?
       3 composites or air samples or things that really          3         MR. PLACITELLA: Sure.
       4 don't relate to the geology of the mine.                 4 BY MR. PLACITELLA:
       5 BY MR. PLACITELLA:                                       5     Q Do you agree with the definition on the
       6     Q Okay. But you don't know without                   6 screen: "Asbestos is defined to be fibrous
       7 actually looking at the report.                          7 serpentine, chrysotile, and the fibrous forms of
       8     A That would be correct.                             8 the amphibole group as represented by amosite,
       9         MR. FROST: Objection to form.                    9 anthophyllite, chrysotile, tremolite, asbestos and
      10         THE WITNESS: I said only from what you          10 actinolite"?
      11 provided.                                               11         Do you agree with that definition?
      12         MR. FROST: And are you going to move on         12         MR. FROST: Objection to form.
      13 from --                                                 13         THE WITNESS: No.
      14         MR. PLACITELLA: Yep.                            14 BY MR. PLACITELLA:
      15         MR. FROST: -- this line of questioning?         15     Q Okay. So as you sit here today, you'll
      16         MR. PLACITELLA: Yeah.                           16 understand that you are testifying that you
      17         MR. FROST: So I just want to lodge              17 disagree with the definition of "asbestos" of
      18 another general objection, and move to strike all       18 Johnson & Johnson. Did you know that?
      19 of the questioning that related to Hopkins 28, as       19         MR. FROST: Objection to form.
      20 I can't verify here today that the various              20         THE WITNESS: No.
      21 assumptions and assertions made in this document        21         MR. PLACITELLA: Give me a second.
      22 are accurate regarding the various underlying           22 BY MR. PLACITELLA:
      23 things.                                                 23     Q Okay. Do you disagree with the
      24         MR. PLACITELLA: Well, I would have              24 definition put up on the screen: "Asbestos is
      25 hoped that you would have read the deposition at        25 defined to be fibrous serpentine and chrysotile,

                                                      Page 107                                                  Page 109
       1 some point in time, since he was actually taken on       1 and the fibrous forms of amphibole group as
       2 the very subject of what was in Johnson & Johnson        2 represented by amosite, anthophyllite,
       3 files and what, according to his own chart says,         3 crocidolite, tremolite and actinolite"? Do you
       4 the tests revealed. But we'll go through that            4 agree with that definition?
       5 another day. So --                                       5         MR. FROST: Objection to form.
       6         MR. FROST: I'm just making my objection          6         THE WITNESS: No.
       7 for the record.                                          7 BY MR. PLACITELLA:
       8         MR. PLACITELLA: Okay.                            8     Q I put up that definition of "fiber" from
       9 BY MR. PLACITELLA:                                       9 the -- directly from OSHA's website. And it
      10     Q Now, part of your opinions --                     10 states: "Fiber means a particulate form of
      11         MR. PLACITELLA: What time do you want           11 asbestos 5 micrometers or longer with a length-to-
      12 to break for lunch, by the way, just so I can do        12 diameter ratio of at least 3 to 1."
      13 some timing?                                            13         Do you agree with that definition?
      14         MR. FROST: It's up to Dr. Wylie. I              14     A That is the NIOSH definition.
      15 mean, I think we're fairly flexible.                    15     Q All right. Do you agree with that
      16         THE WITNESS: I'm not hungry.                    16 definition?
      17         MR. PLACITELLA: That's fine.                    17     A It is not the way I would use the term
      18         MR. FROST: There we go.                         18 "fiber."
      19 BY MR. PLACITELLA:                                      19     Q So you disagree with it?
      20     Q Okay. Part of your opinions in this               20     A Yes.
      21 case focus on what you believe is an acceptable         21     Q Okay. Do you know what TSCA is? TSCA
      22 definition of "asbestos," correct?                      22 acronym, do you know what it is?
      23         MR. FROST: Objection to form.                   23     A Toxic Substance Control Act.
      24         THE WITNESS: Correct.                           24     Q Right. And you know that that was an
      25 BY MR. PLACITELLA:                                      25 act of Congress attempting to control hazards in


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       1 the environment?                                   1 I've learned a lot. So my guess is that my papers
       2         MR. FROST: Objection to form.              2 would reflect an evolution in my thinking.
       3         THE WITNESS: Not -- I'm -- not really. 3          Q Okay. So what I would like to do, at
       4 BY MR. PLACITELLA:                                 4 least before lunch, is at least get down what your
       5     Q Okay.                                        5 definition actually is. Because I was kind of
       6     A I -- I couldn't verify what you said.        6 having a hard time looking at it from your report,
       7     Q Okay. I want to show you the definition 7 and I looked a lot of your articles.
       8 from TSCA and ask you if you agree with it.        8         So can we just go over, and I'll try to
       9         It says: "Section 202 defines              9 write slowly and correct, get my spelling right of
      10 'asbestos' as the asbestiform varieties of six    10 what your -- your, Ann Wylie's, current definition
      11 fiber types: Chrysotile (serpentine), crocidolite 11 is, and I'll write it down. So we're all
      12 (riebeckite), amosite" --                         12 walking -- working from the same sheet of music,
      13         Can you give me that? I can't say that    13 okay?
      14 one.                                              14         All right. So let's start.
      15     A Cummingtonite-grunerite.                    15      A You can write the TSCA definition down.
      16     Q Very good. You get an A for that one. 16 I'm happy with that.
      17         -- anthophyllite, tremolite or            17      Q You're -- well, why don't we just write
      18 actinolite."                                      18 down what your definition is, Ann Wylie.
      19         The latter five fiber types are           19      A The asbestiform varieties" --
      20 amphibole varieties. Do you see that? Do you      20      Q Okay.
      21 agree with that definition?                       21      A -- of six regulated minerals.
      22     A I do.                                       22 Chrysotile.
      23         MR. FROST: Objection to form.             23      Q Uh-huh.
      24         And again, I'll generally object to the   24      A Anthophyllite.
      25 use of these documents that we're putting up on 25        Q Oh, yeah.
                                                 Page 111                                              Page 113
       1 the screen. We're not getting context of where     1     A Would you like me to spell it for you?
       2 they're coming from, what they are, whether        2     Q You want to see if I can do it.
       3 they're regulations, whether they come from the    3        Two Ts, right?
       4 federal regulations, whether they're printoffs of  4     A No.
       5 websites. So I'll just generally lodge an          5     Q Go ahead.
       6 objection to the use of the documents in this      6     A Grunerite.
       7 manner.                                            7     Q Oh, forget it. You want to write it
       8        MR. PLACITELLA: Okay.                       8 down?
       9 BY MR. PLACITELLA:                                 9     A Grunerite.
      10     Q Has -- has your definition of what          10     Q Okay. Anthophyllite.
      11 constitutes a countable asbestos fiber under the  11        Spell grunerite.
      12 microscope changed at all over time?              12     A Grunerite.
      13        MR. FROST: Objection to form.              13     Q Go ahead.
      14        THE WITNESS: I don't believe I have a      14     A G-R-U-N-E-R-I-T-E.
      15 countable definition.                             15     Q Okay.
      16 BY MR. PLACITELLA:                                16     A Tremolite.
      17     Q All right. Okay. Has your definition        17     Q Mm-hmm.
      18 of "fiber" -- "asbestos fiber" changed over time? 18     A Actinolite.
      19        MR. FROST: Objection to form.              19        And what have I left out? No, it should
      20        THE WITNESS: Perhaps.                      20 be -- chrysotile and -- anthophyllite -- no, you
      21 BY MR. PLACITELLA:                                21 have that.
      22     Q Okay. When you say "perhaps," what do 22           Q We already did that.
      23 you mean by that?                                 23     A Chrysotile, anthophyllite, grunerite --
      24     A Well, I -- I don't remember precisely,      24 oh, riebeckite.
      25 but certainly over a course of my life's work,    25     Q Spell that one.
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       1     A R-I-E-B-E-C-K-I-T-E.                         1    A One of the --
       2     Q That's it?                                  2     Q -- mentioned before?
       3     A Yes.                                        3     A Yes, mm-hmm.
       4     Q Okay. Now, just so we're clear, what is     4     Q So one of the recognized minerals?
       5 this the definition of?                           5     A One of the minerals I listed before.
       6     A Regulated minerals.                         6     Q Okay. I'm going to need space to go
       7     Q Of regulated minerals.                      7 back and fill it in.
       8     A It's the definition of "asbestos."          8        Go ahead. What else? Four -- I'm on
       9     Q Okay. Now, are there certain things         9 four now.
      10 that you look at under a microscope to determine 10     A You've turned your chart over, so --
      11 whether what you're seeing satisfies this        11     Q Here. Hold on. I want to make sure.
      12 definition? What do you look for?                12        Fiber bundles. Composed of fibrils.
      13     A Yes.                                       13 Needs to be one of the minerals.
      14     Q And what is that? By the way, has that 14         A I would say an abundance of high aspect
      15 changed over time?                               15 ratio particles.
      16     A No.                                        16     Q Okay. Four, abundance of high aspect
      17     Q Okay. So we'll just -- tell me what you    17 ratio particles.
      18 need.                                            18        Anything else?
      19     A I believe we need to be more specific      19     A    I think that would be the criteria I
      20 than microscope.                                 20 would apply.
      21     Q Okay. What do you need?                    21     Q Okay.
      22     A A polarized light microscope.              22     A There are other criteria that can be
      23     Q Nothing else?                              23 added, and which I have listed elsewhere which we
      24     A Well, we could start there.                24 can add if you'd like, but it -- they're not a
      25     Q Okay. So PLM. Is that fair?                25 necessary criterion.

                                                Page 115                                             Page 117
       1    A Yes.                                          1    Q So -- well, let's put "not necessary,"
       2    Q Okay. What do we need?                     2 and then we'll keep going. Okay? Also but not
       3    A We need to see the presence of fiber       3 necessary. Okay.
       4 bundles.                                        4       A Fibers showing curvature.
       5    Q Okay. So, one, fiber bundles.              5       Q Okay.
       6        Two?                                     6       A Matted masses --
       7    A Composed of fibrils of a narrow width.     7       Q My handwriting is horrible. I should
       8    Q When you say "narrow width," what -- 8 have had Leigh do this.
       9 what's the width?                               9         Go ahead.
      10    A Normally less than 0.5 micrometers.       10       A Matted masses of fibers.
      11    Q Okay. Less than 0.5 micrometers?          11       Q Okay.
      12    A Yes.                                      12       A Anomalous optical properties.
      13    Q Okay. Now, when you say "fiber            13       Q Oh, boy, we'll spend some time on that
      14 bundles," what do you mean by that?            14 one. Anomalous --
      15    A I mean --                                 15       A -- optical properties.
      16    Q You know what, let's just get it down, 16          Q Okay.
      17 and then we'll go back. Okay?                  17       A And those are actually normally present.
      18        So composed of fibrils of narrow width. 18 Anomalous optical properties can be observed. So
      19    A That's correct.                           19 I could move that --
      20    Q Less than 5 -- 0.5?                       20       Q So they're normally present?
      21    A 0.5.                                      21       A Yes. I could put that to the upper
      22    Q Okay, 0.5. What else?                     22 list.
      23    A They need to be one of the -- one of the 23        Q Oh, you're kidding. Okay. Move it to
      24 minerals.                                      24 five?
      25    Q One of the minerals you --                25       A Mm-hmm.

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       1     Q All right. Okay. Is that it?                    1         Okay. Can you give me that, please?
       2     A Sure.                                           2      A It -- asbestiform applies to fibrils of
       3     Q Would you find it disrespectful if I            3 very narrow width that occur in parallel bundles.
       4 took my jacket off? It's very hot in here.            4      Q Okay.
       5     A No.                                             5      A Bundles of parallel fibers, I should put
       6     Q Good thing I didn't wear my Terps scarf.        6 it that way.
       7         All right. Does the term "population"         7      Q Fibers of very narrow width --
       8 belong anywhere in these criteria?                    8      A -- in bundles that share an axis of
       9     A Under the optical microscope, these             9 elongation that are --
      10 refer to observations you might make about a         10      Q Chair?
      11 population of particles that have a single mineral   11      A Share.
      12 identity.                                            12      Q Oh, share.
      13     Q Okay.                                          13      A Share.
      14     A So they don't all have to be present in        14      Q Okay.
      15 a single particle.                                   15      A An axis of -- axis of elongation.
      16     Q Okay. So how would -- where do you want        16      Q Okay.
      17 me to put "population," under five?                  17      A But are randomly oriented in the other
      18         MR. FROST: Can you move it over so we        18 crystallographic directions.
      19 can see?                                             19      Q Randomly oriented --
      20         THE WITNESS: I'm sorry, but I don't          20      A -- in the other crystallographic
      21 think -- I -- you know, you are trying to put this   21 directions.
      22 in a way -- I would lay at the beginning to say      22      Q Tell me how you spell crystallographic,
      23 that "in a population of asbestos, one would         23 and what --
      24 normally find," so that way we can begin --          24      A C-R-Y- --
      25 BY MR. PLACITELLA:                                   25      Q Yeah.
                                                  Page 119                                               Page 121
       1      Q Okay. Okay. So I'll put here -- you            1     A     -- S-T-A-L-L-O-G-R-A-P-H-I-C.
       2 didn't know I was going to make you work this         2     Q     Okay. Crystallographic --
       3 hard, right?                                          3     A     -- directions.
       4          Okay. So let's go back now for each          4     Q     -- directions. Okay.
       5 term, and we can do this up till lunch, and then      5         That sounds like an after-lunch -- okay.
       6 we'll -- I'm sure you'll by that time be hungry.      6         So let's talk about how you define, and
       7          Okay. So let's just talk about your          7 what we went through before, "population," so we
       8 first term, your first requirement, fiber bundles.    8 have that down.
       9          MR. FROST: I was going to say, Chris,        9      A A number of the same particles of the
      10 why don't we take a short break now, we've been      10 same type in some way, defined in common -- by a
      11 going for a little over an hour --                   11 common definition of some sort.
      12          MR. PLACITELLA: Mm-hmm.                     12      Q A number of particles -- go ahead.
      13          MR. FROST: -- and then we can jump into     13      A Defined in some way.
      14 this, and then we'll do lunch after that.            14      Q In some way.
      15          MR. PLACITELLA: That's fine.                15      A Right. A population of dogs is all
      16          THE VIDEOGRAPHER: The time is 11:42         16 composed of dogs.
      17 a.m. We're going off the record.                     17      Q Okay. So how many particles do you need
      18          (Recess.)                                   18 for a population? Is two enough?
      19          THE VIDEOGRAPHER: The time is 11:57         19         MR. FROST: Objection to form.
      20 a.m., and we're back on the record.                  20         THE WITNESS: I -- I don't really have
      21 BY MR. PLACITELLA:                                   21 an answer for that. I've never tried to restrict
      22      Q Okay. I wanted to define one term that        22 it in that way. And I've never seen something
      23 we did not specifically define, and that is your     23 with just two particles in it that --
      24 definition of "asbestiform." And then we'll          24 BY MR. PLACITELLA:
      25 get in -- go back.                                   25      Q Well, is three enough to become a

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                              Ann G.   Wylie, Ph.D.
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       1 population? Four?                                       1 this, so if you see I'm really screwing up on
       2     A It depends.                                       2 spelling, just tell me because I don't want to be,
       3         MR. FROST: Objection to form.                   3 you know, accused like a Dan Quail at some point.
       4 BY MR. PLACITELLA:                                      4         Okay. So common axis of --
       5     Q So as you sit here today, you can't tell          5      A -- elongation.
       6 me the number of particles that would satisfy your      6      Q Okay. What else?
       7 definition of "population"?                             7      A I suppose you would have to say in a --
       8     A No, because it depends upon what the              8 in a particle or in an entity or something -- in a
       9 defining characteristic is.                             9 particle.
      10     Q Okay. Well, if I have two dogs, is that          10      Q In a particle.
      11 a population of dogs?                                  11      A I have to say I'm not exactly used to
      12     A Hmm.                                             12 writing things like this on the fly. I usually
      13     Q Or do I need three dogs?                         13 spend a lot of time to make sure my definitions
      14         MR. FROST: Objection to form.                  14 are quite rigorous.
      15         THE WITNESS: I -- you want more than           15      Q Well, I'm actually going --
      16 that based on the variety of dogs there are out        16      A It's not so easy under these
      17 there.                                                 17 circumstances.
      18 BY MR. PLACITELLA:                                     18      Q Well, I hear you, but I'm trying -- I'm
      19     Q Okay. So if it's all one kind of dog,            19 actually going slow, one, so I can understand what
      20 that's not a population?                               20 you're saying.
      21     A It would be a population of that kind of         21      A Mm-hmm.
      22 dog.                                                   22      Q And, two, so you take your time because
      23     Q So if it was like -- I like Golden               23 it's going on a record.
      24 Retrievers. So if I have three Golden Retrievers,      24      A Yes.
      25 that's a population of Golden Retrievers?              25      Q So by me being a little slow on the
                                                     Page 123                                               Page 125
       1     A I don't know -- would you say you had a           1 uptake gives you the opportunity to make sure you
       2 population of Golden Retrievers if --                   2 have the record the way you want it. Okay?
       3     Q I've had four, yeah.                              3         So -- so you say -- and then you say
       4     A Did you refer to them as a population?            4 "fiber," how do you define "fiber"?
       5     Q I don't know. I'm using your term.                5     A A particle that attains its shape
       6     A Well, I've never applied it to dogs.              6 through growth, formed in nature in that way.
       7     Q Well, you just did.                               7     Q Fiber. Okay. Tell me -- say it again.
       8     A I did, but I -- I was just being                  8     A May I say there are more than one
       9 facetious.                                              9 definition of "fiber."
      10     Q Okay. So --                                      10     Q Well, I want just your definition.
      11     A I don't have a definition. The United            11     A Well, I -- I'm telling you there's more
      12 States Geological Survey recommends that you --        12 than one definition of "fiber." So there are
      13 you should look at several hundred particles to        13 definitions of "fiber" that apply to counting
      14 define a "population." So they have a definition.      14 criteria that the government identifies as fiber.
      15 But I don't think I've ever --                         15 So that's the set of definitions. So you're not
      16     Q Okay.                                            16 asking me for that.
      17     A -- tried to narrow it down in that way.          17     Q No. I want your definition.
      18     Q Okay. Now, you said "fiber bundles."             18     A So for me, a fiber is a particle that
      19 What do you mean by "fiber," and what do you mean      19 attains -- it's long, thin, and attained its shape
      20 by "bundles"?                                          20 in nature.
      21     A Bundles are groups of fibers that share          21     Q Long, thin, and attained its shape in
      22 a common axis of elongation and -- but are easily      22 nature.
      23 separable from one another.                            23     A And we refer to that as growing, but I
      24     Q Groups of fibers that share common axis          24 don't want to confuse that with a plant where a
      25 of -- you got to do me a favor. People might read      25 geologist could say it grew that way.


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       1      Q Okay. So you say a particle that is            1A Could we -- could we go back? We're
       2 long and thin. What do you mean by long?        2 talking about the -- again, we're now back not to
       3      A With respect to its width. Long with     3 the definition of "fiber," but to the definition
       4 respect to its width.                           4 of "asbestos" under the microscope. Let's be
       5      Q So you don't have a --                   5 clear what we're speaking about.
       6      A No.                                      6      Q Right. I'm going under -- for what you
       7      Q -- length in mind?                       7 require, what you look for under the microscope.
       8      A No.                                      8      A All right.
       9      Q Okay. So long with respect to its        9      Q And you said, "Composed of fibrils of
      10 width. Is there a ratio or something that you  10 narrow width."
      11 need?                                          11      A Yes.
      12      A No.                                     12      Q Okay. So I just want to make sure I got
      13      Q So, long equals long width with respect 13 it down.
      14 to its width.                                  14      A Yes.
      15         And what do you mean by thin?          15      Q Go ahead. Is it less than 5 microns?
      16      A Thin with respect to its length.        16 Is that what you mean?
      17      Q Any particular width that you're --     17      A That would be -- less than 5 microns?
      18      A No.                                     18 No.
      19      Q Okay. So thin with respect to its       19      Q 0.5 microns. I'm sorry.
      20 length.                                        20      A Well -- yes.
      21         Okay. And can I put for both of these  21      Q Okay. So narrow width equals less than
      22 no particular measurement?                     22 0.5 microns?
      23      A Yes.                                    23      A For optical microscopy.
      24      Q No particular length or width, no       24      Q You mean under a PLM?
      25 particular measurement?                        25      A Yes.
                                                  Page 127                                               Page 129
       1     A Well, no, there -- there are sort of            1      Q Okay. You say -- are we talking about
       2 natural restrictions. You don't tend to find          2 one of the regulated minerals?
       3 fibers in nature that are, you know, 5 centimeters    3          I'll go back and write them down over
       4 across.                                               4 lunch, okay, so we don't have to do that now.
       5     Q Right.                                          5          You say, "Abundance of high aspect ratio
       6     A But -- no.                                      6 particles." What do you mean by "abundance"?
       7     Q Okay. So then you say, "Composed of             7      A What do I mean by "abundance"? Well --
       8 fibrils of narrow width." Okay. What do you mean      8      Q More than one dog?
       9 by "fibril"?                                          9      A More than one dog.
      10     A That's the smallest particle in an             10      Q So "abundance" means more than one?
      11 asbestos bundle. It's a single crystal or it may     11      A More than one.
      12 be twinned.                                          12      Q Okay. Of high aspect ratio -- well,
      13     Q Well, can you actually get down to a           13 let's start with particles. What do you mean by
      14 final fibril in an asbestos -- when you're talking   14 particles?
      15 about asbestos?                                      15      A A piece of a mineral or a piece of
      16     A By polarized light microscopy?                 16 composite minerals. I mean, it's -- a particle is
      17     Q Yeah.                                          17 just a particle. We can look these up in the
      18     A You can't usually see the individual           18 dictionary. They're not geologic terms.
      19 fibrils, although if they're, you know, a little     19 "Particle" is not a geologic term.
      20 bit on the wider side. But normally you don't see    20      Q Well, I'm just trying to understand --
      21 the individual fibrils. You see groups of            21      A That's fine.
      22 fibrils.                                             22      Q Okay. And then high aspect ratio, what
      23     Q Okay. And -- and you -- you say of             23 do you mean by that? Let me write that down.
      24 narrow -- fibrils of narrow width. What do you       24      A Well, I -- I have published 20-to-1.
      25 mean by that, narrow width?                          25 That would be high aspect ratio.


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                              Ann G.   Wylie, Ph.D.
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       1     Q Okay. I've also seen publications of            1     Q Okay. But you said an abundance, which
       2 yours listing 100-to-1. Where does that come          2 is more than one, of minerals --
       3 from?                                                 3     A Much more than one.
       4     A Well, you can find asbestos particles           4     Q Okay.
       5 that are 100-to-1.                                    5     A I mean you were trying to tell me that I
       6     Q But it's not a requirement of yours if          6 only needed two. I think I --
       7 yours is 20-to-1?                                     7     Q No, I --
       8     A Those would be abundant. If -- those            8     A -- I need much more than that.
       9 would be abundant in the population.                  9     Q Well, I'm just going by what you said.
      10     Q Okay.                                          10 That's why I wrote it down slowly.
      11     A Mm-hmm.                                        11     A Yes. Okay.
      12     Q So you'd want more than one 20-to-1            12     Q So is three dogs enough?
      13 particle.                                            13     A Well, greater than one is -- could be a
      14         MR. FROST: Objection to form.                14 thousand, couldn't it?
      15         THE WITNESS: I'm a little unclear. But       15     Q But it could be two dogs.
      16 if we define a "population" as being a number of     16     A But I would never call on two dogs.
      17 particles of similar mineral type, and you need to   17     Q Well, how many dogs do we need before
      18 have an abundance within that population of high     18 you -- it satisfies your definition?
      19 aspect ratio particles. I have actually published    19     A Well, you have to be --
      20 mean aspect ratios of 20-to-1 or greater -- yeah,    20        MR. FROST: Objection to form.
      21 mean.                                                21        THE WITNESS: You have to be quite
      22 BY MR. PLACITELLA:                                   22 careful to make sure that you have sufficient
      23     Q Okay. So in a population, what                 23 information, and that really depends on -- it
      24 percentage of the particles would you need to be     24 really depends. I can't really quite answer that.
      25 greater than 20-to-1 in order to satisfy your        25 BY MR. PLACITELLA:

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       1 definition?                                           1     Q Okay. When you have published that you
       2     A I would never apply that kind of                2 need aspect ratios of 100-to-1, what did you mean
       3 criteria. You could have bundles that are 3-to-1.     3 by that?
       4     Q I'm sorry. I'm not sure I understand.           4     A I've never said that was a requirement.
       5         You said you could have bundles that are      5     Q Never?
       6 3-to-1?                                               6     A No.
       7     A Yes.                                            7     Q Okay. Now, you say this was not
       8     Q But that wouldn't satisfy your --               8 required, right, fibers showing curvature?
       9     A Yes, it's a bundle. It's a bundle.              9     A That's not required.
      10     Q Okay. So that's what I'm trying to             10     Q Okay. So I'm going to put first under
      11 understand. In your population --                    11 here, "Not required."
      12     A Yes.                                           12        Okay. And what do you mean by "showing
      13     Q -- what percentage of the particles --         13 curvature"?
      14 right?                                               14     A That the particles are not straight.
      15     A Yes.                                           15     Q Okay. This -- this requirement doesn't
      16     Q -- need to be greater than 20-to-1?            16 apply to tremolite, does it?
      17     A The mean -- what I -- I have published         17     A It applies --
      18 statements that say that the mean aspect ratio is    18        MR. FROST: Objection to form.
      19 20-to-1 or higher.                                   19        THE WITNESS: It applies to all
      20     Q Mm-hmm.                                        20 asbestos. What are we -- I'm sorry. What do you
      21     A And those are of known asbestos                21 mean --
      22 materials.                                           22 BY MR. PLACITELLA:
      23     Q Okay.                                          23     Q Well, you don't usually get fibers with
      24     A So those characteristics are for the           24 curvature if you're looking at tremolite, correct?
      25 asbestos that I've looked at.                        25     A It depends on whether it's asbestiform

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       1 tremolite or not.                                     1      A As I said before, I have never seen --
       2     Q So if you see asbestiform tremolite,            2      Q Okay. So --
       3 you -- you usually see curvature?                     3      A -- populations of asbestos in which the
       4     A You can see it.                                 4 optical properties --
       5        MR. FROST: Objection to form.                  5      Q So I should say expected but not
       6 BY MR. PLACITELLA:                                    6 required?
       7     Q But not always.                                 7      A I have never seen a population where the
       8     A It's true of all asbestos, not always.          8 properties of asbestos -- where the properties are
       9     Q Okay. Then matted masses of fibers.             9 not anomalous.
      10 What do you mean by "matted masses"? Not             10      Q Okay. What --
      11 required, right?                                     11      A Should we go through what optical
      12     A No.                                            12 properties are?
      13     Q Okay. So let me write here, "Not               13      Q Yeah, I'm going to do that.
      14 required." Okay. Okay. Matted masses.                14      A All right.
      15        You promise you won't make fun of me          15      Q I'm just -- first, I want to understand
      16 when you leave here today, right?                    16 whether it's, in your definition, required.
      17     A Promise.                                       17 That's all. If it's expected but not required,
      18     Q Okay. "Matted masses," what is that?           18 I'll write that. But I just want to make sure I
      19     A These are populations --                       19 have it down.
      20 characteristics, I'm sorry, that I've observed in    20      A And I'd say again, I've never seen
      21 some asbestos samples where the -- when you see it   21 samples that don't have it.
      22 looking at it under the optical microscope, they     22      Q So do you require it?
      23 appear to be intertwined as though they were --      23      A Well, you know, I guess, so maybe I
      24 "interwoven" might be the right term.                24 would. Although I have to say that if I see fiber
      25     Q Okay. And when you say "masses," what          25 bundles and so forth, I may not check the -- this

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       1 do you mean by that?                                 optical properties because I know they'll be
                                                               1
       2     A A particle.                                  2 anomalous.
       3     Q Okay.                                        3     Q Okay. So what do I write?
       4     A That contains these numerous fibers that     4     A I don't know.
       5 are intergrown and intertwined.                    5     Q Okay. You don't want me to put a
       6     Q By the way, just so -- because I know        6 question  mark.
       7 this will go in a record, when I'm all done, I'll  7     A I -- I tried to explain to you as best I
       8 let you check my work, okay? So we...              8 can.
       9         Now, you say "anomalous optical            9     Q All right, I'll put a question mark.
      10 properties."                                      10 Expected but not always checked for?
      11     A Yes.                                        11     A But not -- well, this is complicated.
      12     Q What do you mean by that?                   12         I'm trying to think back. It's been a
      13     A Well, there are a number. The               13 long time since I've analyzed any asbestos. The
      14 interference --                                   14 optical properties are anomalous in asbestos. So
      15     Q This is required?                           15 under PLM, I would look for them.
      16     A I have -- I don't think I can think of      16     Q So --
      17 an instance where I have looked at asbestos and 17       A If they're not there, I think I would
      18 not seen anomalous optical properties.            18 not necessarily assume it was asbestos. So let's
      19     Q So your -- do you require it or don't       19 put it required.
      20 require it?                                       20     Q Required.
      21     A I expect it.                                21     A Required.
      22     Q You expect it but not required.             22     Q I'll tell you what, you have until the
      23     A I expect it.                                23 end of lunch to change your mind. How's that?
      24     Q It's kind of like dealing with your         24     A All right.
      25 kids.                                             25     Q Okay. Tell me what an anomalous optical

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       1 property is.                                         1     Q Mm-hmm.
       2     A All right. For every mineral, there's a        2     A Could you put it so I could see?
       3 set of properties that can be evaluated by           3     Q Oh, sorry.
       4 polarized light microscopy. Would you like me to     4     A Let me just make sure I haven't
       5 give you a list?                                     5 forgotten anything.
       6     Q Well, just give me an example -- oh,           6     Q Sorry.
       7 you're going to give me a list for every mineral?    7     A I think -- I think that's --
       8     A No. No. There's a set of                       8     Q You know what, I'll let you look at it
       9 measurements --                                      9 at lunchtime.
      10     Q Okay.                                         10     A I think that's it.
      11     A -- that are called optical properties.        11     Q Okay. All right. Now --
      12     Q Give it to me.                                12     A Oh, one more.
      13     A All right. The angle of extinction.           13         Oh, I have that, sign of extinction.
      14 The sign of elongation.                             14 Sorry.
      15     Q Hold on.                                      15     Q Okay. So I want to talk about the
      16     A All right, I'll go slower.                    16 aspect ratio.
      17     Q You are just playing with me now. Okay.       17     A Okay.
      18         Okay. What is it?                           18     Q Okay. Does your position as it relates
      19     A Sign of elongation.                           19 to the aspect ratio conflict with OSHA's position?
      20     Q Mm-hmm.                                       20         MR. FROST: Objection to form.
      21     A Size of 2V.                                   21         THE WITNESS: OSHA has criteria for
      22     Q Size of 2V?                                   22 counting asbestos fiber that do not conform to
      23     A 2V. Two, capital V.                           23 20-to-1. But I am not saying that you must have
      24     Q Okay. Okay.                                   24 20-to-1, only that they are abundant.
      25     A The optic sign.                               25 BY MR. PLACITELLA:

                                                 Page 139                                                Page 141
       1     Q Okay.                                          1 Q So -- but under OSHA's definition, you
       2     A Birefringence. Position of the optic       2 could have abundant at 3-to-1, and that would
       3 plane.                                           3 satisfy their definition, correct --
       4     Q Don't get impatient. I'm writing as        4         MR. FROST: Object.
       5 fast I can. I feel like you're getting a little  5 BY MR. PLACITELLA:
       6 impatient.                                       6     Q -- but not yours?
       7         MR. FROST: Objection to form.            7         MR. FROST: Objection to form.
       8         MR. PLACITELLA: You won't be the first 8           THE WITNESS: That satisfies their
       9 person that got impatient.                       9 counting criterion, yes, in occupational
      10 BY MR. PLACITELLA:                              10 monitoring.
      11     Q Okay.                                     11 BY MR. PLACITELLA:
      12     A Indices -- principal indices of           12     Q But it wouldn't satisfy your criteria
      13 refraction.                                     13 for determining that you were looking at an
      14         Pleochroism.                            14 asbestiform fiber?
      15     Q Oh, come on.                              15         MR. FROST: Objection to form. We're
      16     A P-L --                                    16 talking about two very different things here.
      17     Q P-L --                                    17         THE WITNESS: OSHA's definition applies
      18     A -- E-O --                                 18 to occupational monitoring, and in that context,
      19     Q -- E-O --                                 19 they determined that they were going to count for
      20     A -- C-H --                                 20 exposure assessments in environments where
      21     Q -- C-H --                                 21 asbestos is known to occur, particles that are
      22     A -- R --                                   22 3-to-1. That's what they -- longer than 5.
      23     Q Uh-huh.                                   23 BY MR. PLACITELLA:
      24     A -- O-I-S-M.                               24     Q Mm-hmm.
      25         Dispersion of the optic axis.           25     A That -- that is the way they approach

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       1 the analysis of the abundance of asbestos. I have  1         MR. FROST: I was going to say, if you
       2 never considered it to be a definition for         2 want, Dr. Wylie, we can pull -- we can try to find
       3 "asbestos."                                        3 a copy of it somewhere if you want to look at the
       4     Q Okay. But when you're counting, you          4 whole document.
       5 require seeing an abundance of particles greater   5         THE WITNESS: Perhaps we could see what
       6 than 20-to-1 aspect ratio, correct?                6 questions he has, and if I need to look at the
       7     A I don't count.                               7 document, I can do that then.
       8        MR. FROST: Objection to form.               8 BY MR. PLACITELLA:
       9 BY MR. PLACITELLA:                                 9      Q You have a table in your article
      10     Q Okay. You don't count.                      10 entitled "The length, width and aspect ratio for
      11     A I don't count.                              11 some selected asbestos samples."
      12     Q Okay. What do you do?                       12      A Yes.
      13     A I look in a -- the discussion we            13      Q Do you see that?
      14 began --                                          14      A Yes, mm-hmm.
      15     Q Yes, ma'am.                                 15      Q And one of the minerals that you analyze
      16     A -- was if I have a sample and I want --     16 was amosite, correct?
      17 of material, minerals --                          17      A These are not my data.
      18     Q Mm-hmm.                                     18      Q It's in your article.
      19     A -- and I want to know if the sample is      19      A Yes, but they're all referenced.
      20 asbestos or isn't it --                           20 They're from other sources. I've never done lung
      21     Q Mm-hmm.                                     21 tissue analysis. These are not my data. They're
      22     A -- then I look for these characteristics    22 literature data.
      23 as a group to determine whether or not it's       23      Q Okay. Well, let's just go through it.
      24 asbestos or asbestos is present.                  24      A Sure.
      25     Q Okay. So I looked at the -- and I want      25      Q These are data you relied upon in
                                                 Page 143                                              Page 145
       1 to go over it with you -- I looked at NIOSH's own  1 publishing your paper, though.
       2 report, and it looked to me that if you used a     2     A These are data I published.
       3 20-to-1 aspect ratio, you would miss most          3     Q Okay. And --
       4 tremolite asbestos.                                4     A I referenced.
       5         MR. FROST: Objection to form.              5     Q Right. And you have data here on
       6 BY MR. PLACITELLA:                                 6 amosite, correct?
       7     Q Is that fair?                                7     A Yes.
       8     A I really don't know what you're              8     Q That by any definition is "asbestos,"
       9 referring to. I'm sorry.                           9 right?
      10     Q Okay. I'll go back to 30 after lunch.       10     A Yes.
      11         You did a paper -- I'm missing a whole    11     Q Okay. So then you -- in this data you
      12 folder.                                           12 have not just lung tissue but an analysis of bulk
      13         MR. PLACITELLA: Can you go to the -- 13 samples and samples, you know, that came out of
      14         THE VIDEOGRAPHER: iPad?                   14 the mine, correct?
      15         MR. PLACITELLA: -- iPad, please.          15     A The --
      16         THE VIDEOGRAPHER: Yes, sir.               16     Q It says "bagging" --
      17 BY MR. PLACITELLA:                                17     A Yes, these are data. They're from
      18     Q So I have a paper here by you entitled      18 Pooley and Clark or Gibson, Wang. I'm not sure --
      19 "Membrane Filter Method for Estimating Asbestos 19 I can't remember where they came from, but, yes,
      20 Fiber Exposure." Do you see that?                 20 they -- they did lung tissue, air -- air analysis.
      21     A Yes.                                        21     Q Okay.
      22     Q Okay. Do you recall that paper?             22     A Yes, yes, mm-hmm.
      23     A Yes.                                        23     Q Okay. So if I go to the aspect ratio
      24     Q Okay. I'll blow up the pieces I want to     24 for this data -- so, for example, I go to the
      25 ask you about. And --                             25 aspect ratio for bagging.


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                              Ann G.   Wylie, Ph.D.
                                   46566
                                                 Page 146                                              Page 148
       1     A Yes.                                          1     A I don't apply those definitions to air
       2     Q Do you see that?                              2 samples. We're talking about bulk sample analysis
       3     A Yes, mm-hmm.                                  3 by polarized light microscopy.
       4     Q Okay. That's this (indicating). It            4     Q Okay.
       5 says that 32 percent is greater than 17-to-1.       5     A This is entirely a different kettle of
       6     A Yes, it says, yes.                            6 fish. It's a different method of analysis and
       7     Q Okay. So that meant that -- what              7 there are different criteria.
       8 percent was less than 17-to-1?                      8         We were talking about polarized light
       9     A A math test.                                  9 microscopy. All of these are air data, lung data.
      10         MR. FROST: Objection to form.              10     Q Well, actually not, it doesn't say air
      11         THE WITNESS: Less than or equal, I         11 data. You see where it says, "Mine TEM"?
      12 would guess --                                     12     A Yes, but I know that it's air data.
      13 BY MR. PLACITELLA:                                 13     Q How do you know?
      14     Q Less than or equal.                          14     A Because I know where it came from.
      15     A -- 68.                                       15     Q Okay. So if it's air data, then your
      16     Q So 68 percent of the amosite asbestos        16 criteria don't apply?
      17 under your definition would not be counted?        17     A The criteria that we were discussing
      18         MR. FROST: Objection to form.              18 apply to polarized light microscopy examination of
      19 Misstates the document and what she's been         19 bulk materials. You've switched topic and taking
      20 testifying to today.                               20 me to TEM analysis of air samples, and they are
      21         MR. PLACITELLA: Please, only form.         21 not comparable. And there's no limit on the
      22 Please. Don't do that.                             22 width, so that that is also not comparable.
      23         MR. FROST: And that's why I said I         23     Q Okay. So everything you said in this
      24 would really like her to have a copy of the        24 entire pad that we just went through only applies
      25 article in front of her because you keep blowing   25 if you're taking a bulk sample using PLM?

                                                 Page 147                                              Page 149
       1 up portions of it so we can't see what the          1   A That's correct. That's what we were
       2 actual chart says, and then you're asking her     2 discussing.
       3 questions.                                        3     Q Okay. So your -- your opinion is not,
       4         MR. PLACITELLA: No, I want to -- here,    4 for example, that if you use TEM, and you look at
       5 here's the whole chart. Hold on. I'll blow up     5 a sample, that you need a 20-to-1 aspect ratio in
       6 the whole chart.                                  6 order to call something asbestos?
       7         THE WITNESS: I -- I understand the        7         MR. FROST: Objection to form.
       8 question. I feel all right in answering it.       8 BY MR. PLACITELLA:
       9 BY MR. PLACITELLA:                                9     Q Correct?
      10      Q Okay. So my question is, that 68          10     A Correct.
      11 percent of the asbestos in this chart for this   11     Q Okay. I want to talk to you now about
      12 sample is less than 20-to-1, correct?            12 fiber width. Because maybe we're just -- maybe I
      13      A Yes, could you remove the -- what you     13 was a little confused, and you're straightening me
      14 just put up and let me look at the full dataset? 14 out. Okay?
      15      Q Sure.                                     15     A Good.
      16      A You see, it says mean length, 2.53. It    16     Q Okay. Am I correct that under your
      17 also says it was done by TEM, and it also says   17 definition, under PLM, that any fiber bundle
      18 it's an air sample. We've been talking about     18 greater than 5 microns, you do not count?
      19 polarized light microscopy and bulk sample       19         MR. FROST: Objection to form.
      20 analysis and particles that are longer than 5    20         THE WITNESS: I don't count. Any fiber
      21 micrometers. So this is not relevant to our      21 bundle I would assume would be evidence for the
      22 conversation.                                    22 presence of asbestos, provided the fibrils were
      23      Q Well, in your article you're counting as  23 small.
      24 asbestos 68 percent of a sample less than a      24 BY MR. PLACITELLA:
      25 20-to-1 aspect ratio, correct?                   25     Q Okay. So -- why don't we -- wait, let

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                              Ann G.   Wylie, Ph.D.
                                   46567
                                                 Page 150                                               Page 152
       1 me get your -- I'm glad we wrote all this down.      1      A Yes.
       2         So you said here -- maybe I should           2      Q Okay. How do you make that
       3 have -- "composed of fibrils of narrow width less    3 determination?
       4 than 0.5." Correct?                                  4      A The properties become anomalous.
       5     A By PLM, yes.                                   5      Q Okay. So if you look at it and you see
       6     Q By PLM. And if you look at it and it's         6 something above 0.5, what does that tell you?
       7 greater than 0.5, then it doesn't satisfy your       7      A It tells me there's a particle above 0.5
       8 definition?                                          8 in -- on the slide.
       9         MR. FROST: Objection to form.                9      Q But you can't tell whether that's
      10 BY MR. PLACITELLA:                                  10 asbestos?
      11     Q Even if -- even if it's in a bundle?          11         MR. FROST: Objection to form.
      12         MR. FROST: Objection to form.               12         THE WITNESS: Again, I don't identify
      13 BY MR. PLACITELLA:                                  13 particle by particle. If you get a sample and
      14     Q Well, this is what I'm trying to              14 it's labeled "asbestos," and you look at it under
      15 understand. Okay?                                   15 the microscope, sometimes you might find a
      16     A Well, try again.                              16 particle. Some of the samples may have
      17     Q And you have to bear with me.                 17 contaminants of rock fragment from the area in
      18     A Yeah, that's fine.                            18 which it was mined. Some of them are composite.
      19     Q Okay?                                         19         I can't really say what's not; I'm
      20         You're saying that it has to be composed    20 looking for what is. So it's the presence that's
      21 of fibrils of narrow width?                         21 being verified, not the absence.
      22     A That's correct.                               22 BY MR. PLACITELLA:
      23     Q When you look at something under PLM,         23      Q Well, how many fibrils do we need to
      24 you can't always tell if it -- if it's fibrils      24 look at, do we need to see --
      25 composed of fibrils under 0.5 if there are          25         MR. FROST: Objection to form.
                                                 Page 151                                               Page 153
       1 multiple fibrils making a bundle, correct?           BY MR. PLACITELLA:
                                                              1
       2     A If they are less than 0.5, the -- the        2     Q -- in order to conclude that it's
       3 result is an anomalous optical property.           3 asbestos.
       4     Q Mm-hmm. But if it's above 0.5, then          4     A I need to see a fiber bundle of material
       5 you -- then you don't consider that asbestos?      5 that's smaller than 0.5 micrometers.
       6         MR. FROST: Objection to form.              6     Q So you -- oh, so now -- now at least I
       7 BY MR. PLACITELLA:                                 7 think I understand.
       8     Q If you see it under a microscope.            8         So when you say "composed of fibrils of
       9     A Again, I don't look at a particle-by-        9 narrow width" --
      10 particle basis. It's not an appropriate approach. 10     A Normally less than 0.5 I think is one of
      11     Q Okay. So maybe we have to -- it says        11 the values. The word "normally." So...
      12 here, "Composed of fibrils of narrow width." So 12       Q That really should be composed of fiber
      13 how many fibrils do we need?                      13 bundles less than 0.5.
      14     A Well, when you have -- I'm talking about 14        A No, I think that --
      15 bundles. So you --                                15         MR. FROST: Objection to form.
      16     Q You said here "composed of fibrils."        16         THE WITNESS: -- fiber bundle is what's
      17     A -- -brils, yes. Bundles are composed of     17 composed. That's where I think we're think- -- we
      18 fibrils --                                        18 were talking. We were talking about fiber
      19     Q Correct.                                    19 bundles, and you asked me what they were, and I
      20     A -- in asbestos --                           20 said they were composed of fibrils of narrow
      21     Q Correct.                                    21 width. That's what fiber bundles are.
      22     A -- of narrow width. Yes.                    22 BY MR. PLACITELLA:
      23     Q Correct. So composed of fibrils --          23     Q Okay.
      24     A -- -brils.                                  24     A I believe that's the reason why it's
      25     Q -- of narrow width?                         25 written in this way.

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                              Ann G.   Wylie, Ph.D.
                                   46568
                                                  Page 154                                                Page 156
       1     Q Okay. So maybe I have to rewrite it.            1      Q Okay. And so something could go into
       2     A I don't know. I --                              2 the body greater than 0.5, but when it's in the
       3     Q So you're looking under a PLM                   3 body, break down to something less than that.
       4 microscope.                                           4         MR. FROST: Objection --
       5     A Yes.                                            5 BY MR. PLACITELLA:
       6     Q And you see a mineral.                          6      Q Fair?
       7     A Yes.                                            7         MR. FROST: Objection to form.
       8     Q Okay. And how do you determine whether          8         THE WITNESS: If -- you used the word
       9 that's a fibril or a bundle? How -- how do you        9 "something." I'm sorry, I -- I can't --
      10 know?                                                10 BY MR. PLACITELLA:
      11     A For most of what you see by polarized          11      Q An asbestos fiber bundle.
      12 light microscopy, they're bundles.                   12      A And we're discussing asbestos, are we
      13     Q So are you able then to go to --               13 not?
      14     A For asbestos.                                  14      Q Yes, ma'am.
      15     Q Okay. Are you then able to go to the           15      A All right. So in the case of asbestos,
      16 individual fibrils and actually measure them?        16 I think that that does definitely happen.
      17     A No.                                            17      Q Okay. Now, let's just talk about the --
      18     Q So when you say "composed of fibrils           18 so I understand the capabilities here of PLM, what
      19 less than 0.5," you really can't measure that.       19 is the capability of PLM in terms of looking at
      20     A You can measure 0.5, and you can see           20 the width of a fibril? What's -- what's its limit
      21 that they are less, but you can't measure how much   21 of detection?
      22 less or what they are.                               22         MR. LOCKE: Objection.
      23     Q All right. So if you see -- but you            23         THE WITNESS: There is -- there are
      24 can't always see the fibrils if they're in a         24 two -- there are two measures: One is resolution,
      25 bundle. Correct?                                     25 and the other is visibility. And they're not the

                                                  Page 155                                                Page 157
       1     A You can -- you know they're there               1   same.
       2 because of the anomalous properties.                  2         So the experiments -- and the visibility
       3     Q Okay.                                           3 can't really be pre- -- predicted because it
       4     A Or the presence of the splayed ends. So         4 depends on the contrast and the index of
       5 there -- there are a number of ways you can get at    5 refraction of the material with the substance that
       6 it.                                                   6 it's mounted in, and the higher that difference,
       7     Q Okay. But how do you know when you're           7 the more visible small particles might become.
       8 looking at a bundle how many fibrils are in there?    8         So the literature of which I'm aware is
       9     A You don't.                                      9 that visibility of -- for example, I think that --
      10     Q You can't?                                     10 I think it was crocidolite and -- crocidolite in
      11     A No.                                            11 particular, visibility is about 0.15.
      12     Q Okay. So -- and when those bundles are         12         The resolution limit depends on the --
      13 -- well, let me ask you this: Can you inhale         13 the objective that you're using. Resolution is
      14 fiber bundles that are greater than 0.5?             14 determined by the numerical aperture of the
      15         MR. FROST: Objection to form.                15 objective. And so that depends.
      16         THE WITNESS: Are you asking me about         16         I use a numerical aperture of 0.85. It
      17 the physiology of the lung?                          17 also depends upon the wavelength of light. And so
      18 BY MR. PLACITELLA:                                   18 I consider probably something around 0.25 as
      19     Q Well, do you know?                             19 resolution, ability to resolve, but it might be
      20     A I -- I think you can, yes.                     20 0.3 or 0.4.
      21     Q Okay. And if you have a fiber bundle           21         You know, resolution has a very
      22 that's greater than 0.5, does that have the          22 technical -- technical meaning. I'd have to
      23 potential to split into thinner fiber bundles        23 calculate it. I've sort of forgotten.
      24 inside the body?                                     24 Wavelength, 0.61 --
      25     A Yes.                                           25 BY MR. PLACITELLA:


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                              Ann G.   Wylie, Ph.D.
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       1    Q You want to --                                    1 literature for that topic.
       2    A -- divided by a numerical aperture.               2 BY MR. PLACITELLA:
       3        I can calculate it.                             3      Q But as you sit here today, you can't
       4    Q Okay.                                             4 point to any peer-reviewed literature that adopts
       5    A Oh, I'm writing on your document.                 5 the 21 -- 20-to-1 aspect ratio as a geologic
       6    Q That's okay.                                      6 criteria, correct?
       7    A Sorry.                                            7         MR. FROST: Objection to form.
       8    Q So let me just spend a few --                     8         THE WITNESS: As I said, I'd have to
       9        MR. PLACITELLA: What time do we have?           9 review the literature from the Bureau of Mines
      10 We got another 15 minutes or do you want to stop      10 before I could say -- answer that question.
      11 now? You want to stop now? It's quarter to 1:00.      11 BY MR. PLACITELLA:
      12        MR. FROST: We may as well stop now and         12      Q Right, that's what I'm saying.
      13 have lunch.                                           13         But as you sit here today, you can't
      14        MR. PLACITELLA: Okay. Okay.                    14 point to any peer-reviewed article, as you sit
      15        THE VIDEOGRAPHER: The time is 12:43            15 here today, that adopts your 20-to-1 criteria as a
      16 p.m. We're going off the record.                      16 geologic definition, correct?
      17        (Lunch recess.)                                17         MR. FROST: Object -- objection.
      18        (Wylie Exhibit No. AW-50 was                   18         THE WITNESS: You know, the -- I think
      19        marked for identification.)                    19 the answer must be is it's -- I don't have
      20        THE VIDEOGRAPHER: The time, it is              20 citations in my head for that.
      21 1:43 p.m., and we are back on the record.             21 BY MR. PLACITELLA:
      22 BY MR. PLACITELLA:                                    22      Q Well, do you have any authors --
      23    Q Okay. A few follow-up questions.                 23      A I believe that --
      24        We talked this morning about the 20-to-1       24      Q -- other than people who publish with
      25 aspect ratio that you required. Do you recall         25 you?

                                                   Page 159                                                Page 161
       1 that?                                                  1 A Oh.
       2      A Mean aspect ratio, yes.                     2         MR. FROST: Objection.
       3      Q Mean aspect, okay. Is -- is that based      3         THE WITNESS: Again, I'd have to review
       4 upon any geologic criteria?                        4 the literature from the Bureau of Mines.
       5      A When it was first developed, we based it 5 BY MR. PLACITELLA:
       6 on just simply observations of many samples.       6     Q Okay. But as you sit here today,
       7      Q Is it --                                    7 perhaps with the exception of something in the
       8      A It's an empirical guide.                    8 Bureau of Mines literature, you can't point to any
       9      Q Is the 20-to-1 aspect ratio published in    9 peer-reviewed article or reference that adopts
      10 any peer-reviewed journal other than a journal -- 10 your 20-to-1 criteria as a geologic criteria.
      11 an article that you authored?                     11 Correct?
      12      A It's part of the EPA working definition. 12           MR. FROST: Objection.
      13 It's published by the EPA.                        13         THE WITNESS: As long as we exclude the
      14      Q But they just took it from you, right?     14 Bureau   of Mines, I can't think of anything.
      15      A I don't know that.                         15 BY MR. PLACITELLA:
      16         MR. FROST: Objection to form.             16     Q Okay.
      17 BY MR. PLACITELLA:                                17     A But I, you know, can't say it doesn't
      18      Q So is there any peer-reviewed geological 18 exist.
      19 reference that you have, other than the EPA, that 19     Q And you don't know for sure about the
      20 supports that 20-to-1 is a -- based on a geologic 20 Bureau of Mines.
      21 criteria?                                         21     A I can't -- I think it's there, but --
      22         MR. FROST: Objection to form.             22 that's kind of my memory, but I really would have
      23         THE WITNESS: I took -- to say "yes" or 23 to look through the literature.
      24 "no," the information out of the Bureau of Mines 24      Q Okay. When you did your searches --
      25 may well have included it. I'd have to review the 25 your research for today, you limited your searches


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                              Ann G.   Wylie, Ph.D.
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                                                      Page 162                                               Page 164
       1 to what you term "geologic literature." You did          1 of bulk insulation materials, correct?
       2 not look at medical lecture -- medical literature,       2      A Probably.
       3 correct?                                                 3      Q Right. It -- it was not written for and
       4      A No. No.                                           4 is inappropriate for analyzing other mineral
       5      Q Okay. Now --                                      5 products, correct?
       6      A There is an article cited included in my          6      A No.
       7 list, which I did not actually end up using,             7         MR. FROST: Objection to form.
       8 that's medical. So I have to say that.                   8 BY MR. PLACITELLA:
       9      Q Okay. Now, in this AW-30, which is your           9      Q No what?
      10 pad or our pad --                                       10      A I don't think it's inappropriate.
      11      A Your pad.                                        11      Q Do you believe it's appropriate to use
      12      Q -- will you look at it and make sure I           12 PLM for analysis beyond bulk insulation materials?
      13 got the text right?                                     13      A Yes.
      14      A I will look at it.                               14         (Wylie Exhibit No. AW-17 was
      15      Q Okay. And AW-30 -- or 50, I'm sorry,             15         marked for identification.)
      16 the criteria in here is premised on using PLM as        16 BY MR. PLACITELLA:
      17 the instrument, correct?                                17      Q I just handed you AW-17. If we can go
      18      A That's correct.                                  18 to the -- okay.
      19      Q Okay. And the opinions in your report            19         This is a letter written by you to the
      20 are premised on using PLM as an -- as a -- as the       20 University of Maryland. Do you see that?
      21 method, correct?                                        21         MR. FROST: Objection to form.
      22      A Hmm. You -- are you asking me if I only          22 BY MR. PLACITELLA:
      23 looked at the PLM component of the Longo reports?       23      Q On the University of Maryland letterhead
      24 Are you asking me that question?                        24 to the Massachusetts Department of Health written
      25      Q Well, how about that question.                   25 by you, correct?

                                                    Page 163                                                Page 165
       1     A No, it's not restricted to that.                  A1   Yes,  um-hmm.
       2     Q Okay. So you looked at the TEM              2     Q Okay. And it was written in 1986?
       3 component as well?                                3     A Yes.
       4     A I did.                                      4     Q Correct?
       5     Q Okay. Now -- sorry. Give me a second.       5     A Yes.
       6         The PLM method, is that the same method 6       Q And can you go to the last paragraph.
       7 that was recommended by -- that was used by the   7     A At the end of the document?
       8 EPA?                                              8     Q Yes, ma'am -- yes, Doctor.
       9     A I'm sorry. The PLM method, which one        9     A Yes.
      10 are we speaking about?                           10     Q You write in this paragraph: "I would
      11     Q All right. Is there more than one PLM      11 like to make one final point. The PLM method
      12 method for testing for asbestos in materials?    12 recommended by EPA and published by them, which
      13     A By polarized light microscopy?             13 most laboratories are relying upon -- relying on
      14     Q Mm-hmm.                                    14 for the analysis of play sand, was written for
      15     A Okay. The PLM method that is actually 15 analysis of bulk insulation materials found in
      16 written as a method, the -- by polarized light,  16 buildings. It is inappropriate for the analysis
      17 the EPA is certainly the most recent -- the most 17 of sand, crushed stone, or other mineral
      18 recent.                                          18 products."
      19     Q Okay. And that's what most laboratories 19            Do you see that?
      20 rely upon?                                       20     A Yes.
      21     A I don't -- I can't answer that question.   21     Q It says: "The reasons are many.
      22     Q Okay. That's for -- that was written       22 Fundamental    to this discussion, however, is the
      23 for the analysis of bulk materials, correct?     23 fact that if amphiboles are found in insulation,
      24     A That's correct.                            24 they are most likely to be asbestos. Asbestos
      25     Q It was actually written for the analysis   25 fibers have many unique properties which made them


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                              Ann G.   Wylie, Ph.D.
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       1 ideal for insulation. Cleavage fragments lack       1     Q Yeah.
       2 these properties. However, when amphiboles are      2     A No.
       3 found in crushed rock, they are not likely to be    3     Q You weren't? Were you part of the IARC
       4 asbestos, and criteria to discriminate between      4 Working Group around 2010?
       5 asbestos and non-asbestos must be applied,          5     A 2006.
       6 discriminators that are not usually necessarily --  6     Q 2006.
       7 necessary when dealing with insulation and which 7        A Yes.
       8 are not included in the EPA's interim method."      8     Q And at any point in time when you were
       9        Did I read that correctly?                   9 working in the working group, were you required to
      10     A That's correct.                              10 disclose your prior or current work for industry
      11     Q Okay. Now, in preparing for today's          11 at the time?
      12 deposition, how much time did you spend?           12     A I can't recollect.
      13     A Close to a hundred hours.                    13     Q Do you know whether you ever disclosed
      14     Q And how did you spend that hundred           14 to the IARC your work with industry?
      15 hours?                                             15         MR. FROST: Objection to form.
      16     A Researching and writing the report. And 16              THE WITNESS: I -- I don't recollect. I
      17 reviewing --                                       17 think they required -- I'm trying to go back.
      18     Q I asked about preparing for the              18 They must have asked for something. I can't
      19 deposition.                                        19 remember truthfully. I believe -- yes, let me go
      20     A Oh, I'm sorry. I'm sorry. I                  20 back. I think it talked about within the last
      21 misunderstood.                                     21 three years or two years or something like that.
      22     Q Sure.                                        22 They did have some kind of statement about that,
      23     A Yesterday and the day before.                23 which I would -- would have filled out.
      24     Q Okay. And did -- did you do that with        24         (Wylie Exhibit AW-16 was marked
      25 someone?                                           25         for identification.)
                                                 Page 167                                               Page 169
       1     A With Mr. Frost and Mr. Ewald.                 1 BY MR. PLACITELLA:
       2     Q Okay. And --                                  2     Q Okay. Now -- give me a second.
       3     A I think one more person.                      3         There you go. I put up on the -- or I'm
       4     Q And then before that, you spent about a       4 putting up on the screen a letter written to you
       5 hundred hours on your report?                       5 in 1987 by Johnson & Johnson. That's you, Ann --
       6     A Approximately.                                6 Ann W. Wylie, Professor, correct?
       7         MR. FROST: Objection to form.               7     A Yes.
       8 BY MR. PLACITELLA:                                  8     Q Okay. And it is written by a
       9     Q And what was your compensation per hour?      9 Mr. Ashton. Do you see that?
      10     A $350 per hour.                               10     A Yes, I do.
      11     Q Times a hundred hours?                       11     Q Okay. And it actually copies the
      12     A That's correct.                              12 medical director for Johnson & Johnson. You don't
      13     Q Is that what you billed them for?            13 know that?
      14     A I haven't billed them, but that -- I         14     A No.
      15 will bill them at that rate.                       15     Q Okay. And it -- I asked you before
      16     Q Okay. And did you do any research as it      16 whether you had done any work on -- with ASTM
      17 relates to the supply of talc from China?          17 for -- prior to three years ago, and you told me
      18     A No.                                          18 no, and you told me you knew nothing about any
      19     Q Okay.                                        19 work with Ashton or Johnson & Johnson.
      20     A Let me -- let me qualify. I have not         20         Do you recall that?
      21 been able to find in the literature much on China, 21     A I do.
      22 so...                                              22     Q Okay. Now, here Ashton writes to you
      23     Q Okay. When -- you were part of the           23 and talks about the work you were doing on the
      24 IARC '93 Working Group. Is that fair?              24 ASTM committee concerning polarized light
      25     A '93?                                         25 microscopy, correct?


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                                                         Page 170                                                 Page 172
       1         MR. FROST: Objection to form, misstates           1         THE WITNESS: I did not work with
       2 the document.                                             2 Johnson & Johnson. This Mr. Ashton may have been
       3         THE WITNESS: I was not a member of ASTM 3 a member of D22. I don't know. And perhaps he
       4 D22.                                                      4 read the draft document and wrote me this letter.
       5 BY MR. PLACITELLA:                                        5 I have no recollection of knowing Mr. Ashton, and
       6     Q But you were working with ASTM and you              6 I never worked with Johnson & Johnson.
       7 were working with Johnson & Johnson, according to         7 BY MR. PLACITELLA:
       8 this, correct?                                            8     Q Well -- let's just go through it.
       9         MR. FROST: Objection to form, misstates           9     A Sure.
      10 the document.                                            10     Q He states in this letter to you: "At a
      11         THE WITNESS: I had -- I have no                  11 previous meeting, Mike Beard of Triangle Park
      12 recollection that I got this letter from Johnson &       12 EPA" -- do you know who he is?
      13 Johnson when I replied that I had never worked for       13     A I do.
      14 them. I just have no recollection.                       14     Q -- "appointed Slim Thompson and me to be
      15 BY MR. PLACITELLA:                                       15 talc industry specialists on the PLM for ASTM
      16     Q Well, this is about --                             16 committee."
      17     A And I wasn't working for them.                     17         Do you see -- see that?
      18     Q But you were working in conjunction with           18     A I do.
      19 ASTM in 1987 and interacting with Johnson &              19     Q And you know who Slim Thompson is,
      20 Johnson, correct?                                        20 right?
      21         MR. FROST: Objection to form.                    21     A I do.
      22         THE WITNESS: I wasn't a member of ASTM. 22              Q He worked for who, R.T. Vanderbilt?
      23 ASTM asked me to develop a polarized light               23     A That's correct.
      24 microscopy method for asbestos, and I did work on        24     Q And did you work with Slim Thompson from
      25 that. And I -- I would have said so, but the form        25 R.T. Vanderbilt on the ASTM specifications?

                                                     Page 171                                               Page 173
       1 of your question earlier didn't -- it didn't             1   MR.   FROST:    Objection to form.
       2 suggest to me that you were interested in this,    2         THE WITNESS: He was, as this letter
       3 because I wasn't a member of ASTM.                 3 states, their representative. So perhaps he made
       4        So ASTM wanted a method. They asked if 4 comments to me about the method.
       5 I would develop one, and I tried. It was never     5 BY MR. PLACITELLA:
       6 published. It never made it out of what they       6     Q So you did work with him?
       7 called then the gray sheets, and so it was -- it   7         MR. FROST: Objection to form.
       8 never led to anything in particular.               8 Misstates testimony.
       9 BY MR. PLACITELLA:                                 9         THE WITNESS: "Work with him." I mean,
      10     Q Well, when did you first start working      10 you know, if you -- if you want to say that when I
      11 with the ASTM, even if you weren't a member?      11 was developing this method, I worked with the ASTM
      12     A Oh, I --                                    12 D22 committee, then I would say that would be
      13        MR. FROST: Objection to form.              13 correct. They asked me to develop it. And as you
      14        THE WITNESS: I only did this, whenever 14 can see, the ASTM committee is preparing my
      15 this was, '87. Probably I worked on that document 15 method. Not me. They were preparing my method.
      16 maybe for a year, six months or a year.           16 BY MR. PLACITELLA:
      17 BY MR. PLACITELLA:                                17     Q Yeah, so all I'm saying is, so you
      18     Q Okay.                                       18 worked with members of the talc industry through
      19     A As I said, it never went anywhere.          19 the ASTM committee on a method for testing
      20 So...                                             20 asbestos in talc, correct?
      21     Q And so you did work with Johnson &          21         MR. FROST: Objection to form, misstates
      22 Johnson on -- in conjunction with the -- with the 22 testimony.
      23 ASTM in terms of standards for testing for        23         THE WITNESS: They -- there -- there
      24 asbestos, right?                                  24 were -- obviously from -- Slim Thompson was from
      25        MR. FROST: Objection to form.              25 the talc industry, and this Mr. Ashton appears to


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       1 have been. And there were -- ASTM D22 is a very          1 Nytal 99. Do you see that?
       2 large committee. So there were -- may have been          2     A Yes.
       3 other members from the talc industry or other            3     Q And that was done for the same
       4 industries on this committee.                            4 Mr. Thompson, Slim Thompson?
       5 BY MR. PLACITELLA:                                       5        MR. FROST: Objection to form.
       6     Q Okay. And --                                       6 BY MR. PLACITELLA:
       7     A So I worked with that committee. So if             7     Q Correct?
       8 that is responsive to your answer, I worked with         8     A He sent me the samples.
       9 that committee.                                          9     Q Right.
      10     Q Okay. And members of that committee,              10     A Yes.
      11 including Mr. Ashton and Mr. Thompson, made             11     Q And I'm just focus -- I'm just looking
      12 suggestions to you concerning what definitions you      12 at methodology. I'm looking at your middle
      13 should use in your methods. Correct?                    13 paragraph of this report.
      14     A This --                                           14        You say: "Asbestos fiber populations
      15         MR. FROST: Objection to form.                   15 are composed of either chrysotile or a member of
      16         THE WITNESS: This letter states that            16 the amphibole family that occur as a -- as
      17 they would -- wanted me to use definitions that         17 particulates that display some or all of the
      18 conformed to previous ASTM standards.                   18 following characteristics."
      19 BY MR. PLACITELLA:                                      19        And you say: "Fiber bundles with
      20     Q Right. And did you do that?                       20 splayed ends, curved fibers, aspect ratios in
      21     A I don't remember. The -- it may be                21 excess of 20-to-1, and widths less than 1
      22 that's the reason that this method never was            22 micrometer for fibers longer than 5 micrometers,
      23 approved by ASTM. I don't know.                         23 and matted masses of individual fibers."
      24     Q So when did your involvement stop with            24        Do you see that?
      25 the ASTM committee that was responsible for coming      25     A Yes.
                                                      Page 175                                              Page 177
       1 up with standards for testing for asbestos?              1     Q Now, in this methodology you indicate
       2      A The method that -- that I drafted went            2 the width can't be less than 1 micrometer,
       3 into the ASTM bureaucracy, and it came back to me        3 correct?
       4 maybe once or twice. I -- my memory is a                 4         MR. FROST: Objection to form.
       5 little -- and then I never heard from them again.        5         THE WITNESS: That the widths can be
       6      Q And until the last three or four years?           6 less than 1 micro- -- is that what you said?
       7      A Well, I joined ASTM D22 about three               7 BY MR. PLACITELLA:
       8 years ago.                                               8     Q It says "widths less than." In other
       9      Q Okay. And did you come up with a method           9 words, that's what you're requiring, widths less
      10 that was adopted by D22 within the last three           10 than 1 micrometer --
      11 years?                                                  11     A Yes.
      12      A No.                                              12     Q -- for fibers longer than 5 micrometer.
      13      Q Now -- oh, sorry. Give me a second.              13     A That's what it says.
      14          (Counsel conferring.)                          14     Q That's different than what's in AW-50,
      15          MR. PLACITELLA: So somebody was -- did         15 correct?
      16 she come back with a copy yet?                          16         MR. FROST: Objection to form, misstates
      17          (Wylie Exhibit AW-40 was marked                17 the document.
      18          for identification.)                           18         MR. PLACITELLA: Please don't do that.
      19 BY MR. PLACITELLA:                                      19 Please don't do that.
      20      Q I'm only going to focus on a paragraph.          20         THE WITNESS: Yes.
      21 I have up here a one-page report that you did for       21 BY MR. PLACITELLA:
      22 -- in 1985 for R.T. Vanderbilt. And I have it           22     Q Okay. Why is it different?
      23 identified as AW-40.                                    23     A Well, they -- 1 micrometer was -- after
      24      A Yes.                                             24 a lot of study, this was in '86, I felt was not
      25      Q And it was a report that you did on              25 appropriate for fiber bundles, the fibrils in the


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       1 bundles. And so -- and then this actually says       1    A Yes.
       2 that the fiber bundles have widths less than       2      Q -- that's in AW-50, is that -- does that
       3 1 micrometer. That's what it says.                 3 appear in any peer-reviewed geologic literature
       4      Q Right. Well, this is different. Why is      4 other than literature authored by yourself?
       5 it different?                                      5      A We discussed this earlier, I think, and
       6      A Well, fiber bundles -- this says fiber      6 I said that there may be -- it may be in the
       7 bundles. This -- this -- what's written here and   7 Bureau of Mines literature. I would have to do a
       8 what's written there are not the same thing. You   8 literature search to find that out. I actually
       9 asked me what were the properties of the           9 don't know. It may be in the Bureau of Mines
      10 materials, the fibrils that formed the fiber      10 literature.
      11 bundles. This just says bundles with splayed      11      Q Actually, I was asking you different
      12 ends, curved fibers and -- you know, any particle 12 questions.
      13 with widths less than 1 micrometer.               13      A Oh.
      14         So we're really talking about the         14      Q So -- but that's okay. So now I'm
      15 population as a whole, and in that conversation   15 asking you the methodology --
      16 you and I were having earlier, we were talking    16      A Yes.
      17 about the size of particles in fiber bundles.     17      Q -- that you're using here in this case
      18         And over time, I stopped using            18 as reflected in AW-50, as you sit here, can you
      19 1 micrometer because I thought that it was        19 point to any peer-reviewed geologic literature
      20 confusing. There's no asbestos that I know that   20 that adopts verbatim your methodology?
      21 curves in fiber bundles where the fibrils are     21         MR. FROST: Objection to form.
      22 1 micrometer.                                     22         THE WITNESS: As I said, I -- I'd have
      23      Q When did you stop using that?              23 to review the literature before I could answer
      24      A I don't know.                              24 that.
      25         And what year was this? In 1985?          25 BY MR. PLACITELLA:

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       1     Q Correct.                                       1     Q Okay.
       2     A I -- I'm sorry, I don't remember. But          2     A It's not really fair to ask me --
       3 it wasn't probably much longer after that, as the    3     Q All right.
       4 work I was doing was progressing and I had looked    4     A -- about the whole world of literature
       5 at more samples and things like that.                5 when -- on a topic I have not had a chance to
       6     Q Okay.                                          6 refresh myself on.
       7     A Fibrils of asbestos have to be less than       7     Q I know, but this --
       8 1 micrometer, which is what our earlier              8     A And I think we've gotten to the point
       9 conversation directed at.                            9 where I told you before that I am not aware at
      10     Q This AW-50 --                                 10 this moment in time other than the EPA or the
      11     A Yes.                                          11 Bureau of Mines directly.
      12     Q -- what's in here, is this, as you've         12     Q Okay. Let's just break it down, because
      13 articulated here, adopted in any peer-reviewed      13 I'm a little slow on the uptake.
      14 geologic literature other than that authored by     14         Putting aside the Bureau of Mines and
      15 yourself?                                           15 the EPA, which you're not sure of, correct?
      16        MR. FROST: Objection to form.                16     A I'm sure of the EPA.
      17        THE WITNESS: It's close to the EPA           17     Q You're sure that the EPA adopts
      18 document --                                         18 identically what's in AW-50?
      19 BY MR. PLACITELLA:                                  19     A I'm sorry, but, you know, you're asking
      20     Q Oh, but --                                    20 me to verbatim say something about a word-for-word
      21     A -- published in '93.                          21 definition, and I'm a writer, and I don't ever --
      22     Q What I'm asking you is the criteria that      22 I would never do this. I'd like to have a chance,
      23 forms the basis --                                  23 as we have discussed, to correct what's written in
      24     A Yes.                                          24 there to make sure --
      25     Q -- of your opinion here --                    25     Q Okay. So --

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       1     A I am not going to say what you've             1      A Yes.
       2 written down there is appropriate.                  2      Q -- where is that published in the
       3          For example, I think you wrote             3 medical literature -- I'm sorry, in the geologic
       4 "20-to-1," and I said "mean aspect ratio."          4 literature, other than your own publications?
       5     Q Well, you'll fix -- okay. We will stop.       5      A I -- you've asked me this question, and
       6     A Yes.                                          6 I would have to search the literature to find out
       7     Q Okay. We'll come back to it.                  7 if it were -- were adopted elsewhere. I actually
       8          MR. PLACITELLA: Let me just go to a        8 don't know.
       9 different -- she's not back yet with the stuff?     9      Q Mm-hmm.
      10 Okay. Hold on.                                     10      A And remember it's not aspect ratio
      11          (Counsel conferring.)                     11 20-to-1, it's mean aspect ratio.
      12 BY MR. PLACITELLA:                                 12      Q Mm-hmm. Is asbestos in bulk when it's
      13     Q Just before I move to a different topic,     13 found in talc?
      14 can we agree that asbestos in talc is not an       14         MR. FROST: Objection to form.
      15 analysis of bulk material?                         15         THE WITNESS: I -- I'm sorry, but that
      16          MR. FROST: Objection to form.             16 question doesn't actually make any sense. I'm not
      17 BY MR. PLACITELLA:                                 17 understanding.
      18     Q When you're looking for asbestos in          18         If we're looking at a sample under
      19 talc, it's not an analysis of bulk material.       19 polarized light microscopy, that's a bulk sample.
      20          MR. FROST: Same objection.                20 BY MR. PLACITELLA:
      21          THE WITNESS: I'm sorry. What do you       21      Q Mm-hmm.
      22 think it's an analysis of?                         22      A It's a sample that is something you can
      23 BY MR. PLACITELLA:                                 23 hold in your hand. It's a bulk sample. It's not
      24     Q Well, when you're -- how do you know --      24 an air sample. So the term "bulk sample" means
      25 I mean it's a mixture, right? It's not a bulk      25 any sample that's not an air sample.

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       1 material of one substance. Can we agree with        1     Q Okay.
       2 that?                                               2     A Okay? Or water sample.
       3          MR. FROST: Objection to form.              3     Q Okay.
       4          THE WITNESS: I'm sorry, I'm still not      4     A Okay.
       5 understanding. Talc when -- you analyze talc by     5     Q So this is what I guess I'm trying to
       6 polarized light microscopy, it's a bulk method.     6 understand.
       7 BY MR. PLACITELLA:                                  7     A Yes.
       8     Q Okay. That's it.                              8     Q Based upon everything that we went
       9     A That's the question you asked, I              9 through in -- and with -- with your right to
      10 believe.                                           10 revise it, okay?
      11     Q That's it. That's the only method it         11     A Mm-hmm.
      12 is.                                                12     Q -- in AW-50, if I'm a scientist --
      13          MR. FROST: Objection to form.             13     A Mm-hmm.
      14 BY MR. PLACITELLA:                                 14     Q -- a geologist --
      15     Q It's just a bulk method for nothing          15     A Mm-hmm.
      16 else.                                              16     Q -- and I'm not -- I'm not Ann Wylie, how
      17     A Polarized light microscopy is used for       17 do I duplicate what you do using this criteria?
      18 analysis of bulk samples. It's in that regard --   18 How do I look at the same sample that you do, and
      19 I mean, it's not useful for the analysis of air    19 use your methodology and come up with a
      20 samples.                                           20 conclusion?
      21     Q Okay. And when getting to the aspect         21        MR. FROST: Objection to form.
      22 ratio --                                           22 BY MR. PLACITELLA:
      23     A Yes.                                         23     Q And come to the same conclusion.
      24     Q -- of 20-to-1, using polarized light         24     A Well, number one, you need to be trained
      25 microscopy --                                      25 in polarized light microscopy. I don't think you


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       1 could do it.                                          1        MR. FROST: Objection to form.
       2     Q Not me. That's -- let me -- let me              2 BY MR. PLACITELLA:
       3 rephrase the question.                                3     Q Is that what you are saying?
       4     A Okay.                                           4     A I'm sorry, I can't speak for another
       5     Q I'm somebody who understands and has            5 person. I believe the methods that EPA uses is a
       6 been trained in polarized light microscopy.           6 recognized method among microscopists for the
       7     A Okay.                                           7 analysis of bulk samples for asbestos, and I don't
       8     Q I'm a geologist such as yourself.               8 think -- I think that the results should be
       9     A Okay.                                           9 comparable if we look at the same slide.
      10     Q Okay. And I'm looking at the same              10     Q Okay. So -- all right.
      11 sample that you are.                                 11        (Wylie Exhibit No. AW-31 was
      12     A Mm-hmm.                                        12        marked for identification.)
      13     Q Okay. Using your criteria --                   13 BY MR. PLACITELLA:
      14     A Mm-hmm.                                        14     Q Let me go to AW-31.
      15     Q -- how do I come to the same conclusions       15        I'm sorry, I should get a smaller table.
      16 that you do?                                         16        AW-31 is a paper that was written by you
      17        MR. FROST: Objection to form.                 17 and others?
      18 BY MR. PLACITELLA:                                   18     A With coauthors, yes.
      19     Q What -- what do -- how do I do that?           19     Q Okay. And including somebody --
      20     A You apply the criterias, the method the        20 including RJ Lee.
      21 EPA uses. You apply the criteria.                    21     A He's one of the authors.
      22     Q But it seems from the way you are              22     Q Okay. And in your paper at page 241,
      23 articulating it, with respect, that there is some    23 you state that: "Asbestos fibers wider than
      24 subjectivity in applying that criteria. That you     24 1 micron are composed of bundles of fibrils that
      25 look at and you say, This is what I think I see.     25 readily split longitudinally into individual

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       1 And other people could apply the exact same           1 fibers of much smaller width. Even if wider
       2 criteria, have the same exact skills as you, and      2 fibers were inhaled, because of the fibular
       3 possibly come to a different conclusion. Is that      3 structure of asbestos, the fibers desegregate."
       4 possible?                                             4         Are you with me?
       5         MR. FROST: Objection to form.                 5     A I -- I'm not sure where you're reading.
       6         THE WITNESS: No. I'm sorry, but that's        6 There's a lot on page 241.
       7 not an answerable question.                           7     Q That's why I highlighted.
       8 BY MR. PLACITELLA:                                    8     A Sorry. I didn't look at the screen.
       9     Q So if I -- if I am a trained -- if I'm          9 Let me just look. (Peruses document.)
      10 trained in polarized light microscopy, like you      10         Yes.
      11 are, and I look at the same sample, and I apply      11     Q Okay. And you further state: "Cook and
      12 your criteria, I will have no -- no -- it's          12 co-workers demonstrated that -- the effectiveness
      13 inevitable I will reach the same exact conclusion    13 of this process in their animal intratracheal
      14 that you do.                                         14 installation experiments with ferro-actinolite
      15     A The EPA method has been tested and used        15 asbestos. In these experiments they showed that
      16 by many places, and I don't think that it is in      16 the number of fibers found in lung tissue
      17 question.                                            17 increased following cessation of exposure, and
      18     Q So --                                          18 that the increase was due to longitudinal
      19     A I believe you would find the same              19 splitting of the asbestos fiber bundles."
      20 results.                                             20         Do you agree with that?
      21     Q So from your perspective, somebody with        21     A It says "the splitting of fiber
      22 the same training as you, looking at the same        22 bundles," but, yes --
      23 example using your methodology, there is no way      23     Q Okay.
      24 they could come to a different conclusion than you   24     A -- that's what it says.
      25 do.                                                  25     Q Now, I want to talk to you a little bit

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       1 about -- by the way, does any federal agency         1have different detection limits by x-ray
       2 recognize fibrous talc as asbestos?                 2 defraction.
       3        MR. FROST: Objection to form.                3         Now, maybe we are splitting hairs here,
       4        THE WITNESS: In regulatory policy? In        4 and it's the difference between 0.1 and 0.2 or 0.2
       5 regulatory policy?                                  5 and 0.3, or something like that, percent. But it
       6 BY MR. PLACITELLA:                                  6 does vary depending upon the nature of the
       7     Q Yes.                                          7 amphibole itself.
       8     A Not that I'm aware of.                        8     Q Okay. So let me try to be a little bit
       9     Q Okay. I meant to ask you one final            9 more specific.
      10 question before I move on.                         10     A Okay.
      11        Is cosmetic talc a bulk material from       11     Q Looking at a sample, talc sample --
      12 your perspective?                                  12     A Yes.
      13        MR. FROST: Objection to form.               13     Q -- that comes out of a Vermont talc
      14        THE WITNESS: Yes.                           14 mine --
      15 BY MR. PLACITELLA:                                 15     A Yes.
      16     Q Okay. Is cosmetic talc a building            16     Q -- and I'm looking to determine whether
      17 material? Bulk building material.                  17 that sample contains amphiboles --
      18     A I -- I don't know. I mean, I don't know      18     A Yes.
      19 whether it was used that way, but it's not.        19     Q -- before we even get to whether it's
      20     Q Okay. Okay. Now, do -- are you               20 asbestos.
      21 familiar with a -- a testing method known as x-ray 21     A Yes.
      22 defraction?                                        22     Q Just the mineral -- a mineral amphibole.
      23     A Yes.                                         23     A Yes.
      24     Q Okay. And are you familiar with what         24     Q Okay?
      25 the limits of detection are with x-ray defraction? 25     A Yes.
                                                  Page 191                                              Page 193
       1     A I am.                                          1     Q For example, tremolite.
       2     Q Okay. Can you tell me is -- is x-ray           2     A Yes.
       3 defraction -- well, what's the limit of detection    3     Q Okay. What's the limit of detection?
       4 for x-ray defraction for amphiboles, if you know?    4     A I don't think I know for the Vermont. I
       5     A I can't answer that question without           5 would say it was some place between 0.2 and 0.5
       6 talking about the matrix.                            6 percent.
       7     Q Okay.                                          7     Q 0.1 and 0.5 percent?
       8     A So in some -- in some materials it might       8     A Something like that, yes.
       9 be 5 percent.                                        9     Q So if you used x-ray defraction as a
      10     Q Okay.                                         10 screening tool --
      11     A In some materials it could be 0.1.            11     A Yes.
      12     Q Okay. So when you -- if you're using          12     Q Okay. For that talc coming out of that
      13 x-ray defraction and looking at talc that comes     13 mine, would you agree with me that it will not
      14 out of a mine --                                    14 detect low levels of tremolite, putting aside
      15     A Yes.                                          15 whether they're asbestiform or not?
      16     Q -- what's the limit of detection for          16     A You must --
      17 that purpose?                                       17        MR. FROST: Object --
      18     A Okay. Let me say also, going backward,        18        THE WITNESS: -- define "low."
      19 that the detection limit depends upon the matrix,   19        MR. FROST: Hold on. Objection to form.
      20 and it also depends upon the actual material        20        THE REPORTER: Can you repeat that,
      21 that's forming the -- the amphibole.                21 please?
      22         X-ray defraction cannot identify            22        THE WITNESS: Please define "low."
      23 asbestos. X-ray defraction can only identify a      23 BY MR. PLACITELLA:
      24 mineral. Okay? So if -- in some minerals, the       24     Q Okay. It cannot -- you can't use x-ray
      25 same mineral from different places may actually     25 defraction to find tremolite in talc at levels


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       1 below 0.1 percent.                                 1  document we don't even know what it is, frankly.
       2        MR. FROST: Objection to form.                2 BY MR. PLACITELLA:
       3        THE WITNESS: I would say that is             3      Q Okay. Do you agree with that statement?
       4 probably true.                                      4         MR. FROST: Same objection.
       5 BY MR. PLACITELLA:                                  5         THE WITNESS: I -- are we talking about
       6     Q Okay. Now, is there -- you get the same       6 the entire -- the entire paragraph? Can I -- are
       7 talc out of a mine in Vermont, using x-ray          7 we talking about just one sentence?
       8 defraction, can you find chrysotile asbestos using 8 BY MR. PLACITELLA:
       9 that method, x-ray defraction?                      9      Q I'm going to ask you about -- are you
      10        MR. FROST: Objection to form.               10 more comfortable looking at the whole paragraph?
      11        THE WITNESS: Yes.                           11      A I don't care. I just want to know what
      12 BY MR. PLACITELLA:                                 12 you're asking me.
      13     Q Okay. And at what level? What's the          13      Q No, I was just asking you about that one
      14 detection level?                                   14 sentence.
      15        MR. FROST: Object -- objection.             15      A I would say that that was probably
      16        THE WITNESS: I've not seen data on          16 correct.
      17 that.                                              17      Q Okay. It says: "It occurs in
      18 BY MR. PLACITELLA:                                 18 asbestiform and non-asbestiform varieties."
      19     Q Okay.                                        19         You agree with that, correct?
      20     A But I would guess it was of the same         20      A Yes.
      21 general -- but I -- I -- I haven't seen the data,  21         MR. FROST: Same objections.
      22 and there may be overlap in the peaks with         22 BY MR. PLACITELLA:
      23 chrysotile. I'm more familiar with amphibole.      23      Q Okay. And then it talks about a sample.
      24 So --                                              24 It says: "This sample is a chunky tremolite, not
      25     Q Okay. So --                                  25 the asbestiform variety."

                                                 Page 195                                             Page 197
       1      A I'd have -- I'd have to look at the         1        And then it states: "But when it is
       2 defraction pattern again.                         2 ground, it produces some thin, straight particles
       3      Q So you don't feel comfortable talking      3 which conform to the definition of 'fibers' in the
       4 about that?                                       4 method and which are distinguishable from those
       5      A I don't actually.                          5 produced by asbestiform tremolite on grinding."
       6      Q Okay. All right. Be with you in one        6         Do you agree with that?
       7 second.                                           7     A No.
       8         I -- I put up in here a statement that    8         MR. FROST: And objection to form.
       9 says: "Tremolite is the commonest asbestos        9 Again, we're talking about methods and things like
      10 mineral found as a contaminate of talc."         10 that, and you're not allowing her to get any
      11         Do you agree with that?                  11 context from the statement which you're having her
      12         MR. FROST: Hold on. I'm going to         12 read.
      13 object. We have no idea what this document is.   13         MR. PLACITELLA: All I'm asking her is
      14         MR. PLACITELLA: I'm just asking if she   14 if she agrees with that statement.
      15 agrees with the statement, and then we'll talk   15         THE WITNESS: I can't agree when it says
      16 about the document.                              16 "the method," and I have no idea what you're
      17         MR. FROST: Objection to form.            17 talking about.
      18         MR. LOCKE: You're asking about this -- 18 BY MR. PLACITELLA:
      19 you're asking her to comment on this sample?     19     Q Okay. Do you agree that when
      20         MR. PLACITELLA: No. I'm asking her       20 non-asbestiform tremolite is ground, it produces
      21 whether she agrees with the statement: Tremolite 21 some thin, straight particles which conform to the
      22 is the commonest asbestos mineral found as a     22 definition of 'fibers' in the method and which are
      23 contaminate of talc. That's what I'm asking.     23 indistinguishable from those produced by
      24         MR. FROST: Same objection to form. I 24 asbestiform tremolite on grinding?
      25 think this is inappropriate to ask her about a   25         MR. FROST: Same objections.

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       1         It's getting absurd, Chris.                      1 co-defendants in the case as well?
       2         THE WITNESS: I have no idea what the             2     A Only Johnson & Johnson.
       3 method you're talking about is. I can't possibly         3        (Wylie Exhibit No. AW-35 was
       4 agree to that statement. I don't know what the           4        marked for identification.)
       5 method is.                                               5 BY MR. PLACITELLA:
       6 BY MR. PLACITELLA:                                       6     Q Okay. I want to show you -- AW-35 is a
       7     Q Okay. Well, I'll give you -- so here we            7 document entitled "Talc Asbestos Education
       8 have a letter from the FDA to Johnson & Johnson,         8 Document."
       9 and it -- let's go through it. And I'll --               9        Have you ever seen this before?
      10         MR. FROST: Again, objection to the              10     A No.
      11 characterization of the document, but --                11     Q Okay. I'm going to show you to page 8
      12         MR. PLACITELLA: Well, it's from the FDA         12 of the document. Do you know who Julie Pier is,
      13 to Johnson & Johnson, dated May 14th, 1974. Is          13 by the way?
      14 there any dispute about that?                           14     A I do.
      15         MR. FROST: It doesn't appear to be a            15     Q And is she a respected scientist? Does
      16 letter. It's on a letterhead that says                  16 she know what she is talking about when it comes
      17 "Memorandum."                                           17 to microscopy?
      18         MR. PLACITELLA: Oh, okay.                       18     A I really -- I think so, but I don't
      19 BY MR. PLACITELLA:                                      19 know. I have not read her work.
      20     Q It says: "The purpose of this study is            20     Q Okay. In this document, the author
      21 to check the adequacy of microscopic method for         21 writes: "The asbestiform morphological criteria,
      22 detecting the presence of asbestos minerals in          22 as defined by Wylie, may not apply to fibers that
      23 talc and for counting fibers of these minerals.         23 have been aggressively milled and area of size
      24 Three reference samples and four samples for            24 range below the resolution of the light
      25 analysis are being sent under separate cover."          25 microscope. See following quote by Wylie. I do

                                                    Page 199                                              Page 201
       1         Do you see that?                             not 1know  of any outside electron microscopy method
       2      A Yes.                                        2 that uses Wylie's definition."
       3      Q Okay. And then it talks about reference     3        Do you see that?
       4 samples. See that?                                 4        MR. FROST: Objection to form.
       5         MR. FROST: Objection to form.              5        THE WITNESS: I'm sorry. What page are
       6         THE WITNESS: I see that -- I -- I have     6 we on? I just --
       7 read that part, yes.                               7 BY MR. PLACITELLA:
       8 BY MR. PLACITELLA:                                 8      Q Page --
       9      Q So -- now, just going back and this is      9        MR. FROST: Page 6, I believe.
      10 what I'm trying to understand in context.         10        MR. PLACITELLA: -- 6.
      11         Do you agree that if you have             11        THE WITNESS: All right.
      12 non-asbestiform tremolite, that when it's ground, 12 BY MR. PLACITELLA:
      13 it can produce thin, straight particles which     13      Q Do you agree with this sentence?
      14 conform to the definition of "fibers"?            14      A Are we reading J --
      15         MR. FROST: Objection --                   15      Q Yes, ma'am.
      16 BY MR. PLACITELLA:                                16      A -- WP note?
      17      Q Do you agree with that?                    17      Q And I think your quote is right
      18         MR. FROST: Objection to form.             18 underneath it.
      19         THE WITNESS: I -- I cannot agree when I 19          MR. FROST: Who is it to? I believe
      20 don't know "the definition of 'fibers'" that this 20 it's more than one sentence.
      21 is referring to or in "the method," which I also  21        MR. PLACITELLA: Yeah.
      22 don't know what they're referring to.             22        THE WITNESS: Okay. What are you asking
      23 BY MR. PLACITELLA:                                23 me to agree to?
      24      Q Okay. In this case you were hired only     24 BY MR. PLACITELLA:
      25 by Johnson & Johnson or were you hired by other 25        Q I'm asking whether you agree with this

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       1 statement by Julie Pier that says: "The             1 you apply definitions to particles you can't see
       2 asbestiform morphological criteria," as defined by  2 by polarized light microscopy, of course you
       3 you, Ann Wylie, "may not apply to fibers that have  3 cannot.
       4 been aggressively milled and area of the size       4 BY MR. PLACITELLA:
       5 range below the resolution of the light             5     Q Okay. Fair enough.
       6 microscope."                                        6         I want to see if I can -- I got your
       7         Do you agree with that?                     7 tests down correctly when asking you the question,
       8         MR. FROST: Objection to form.               8 okay?
       9         THE WITNESS: When I was -- I need to        9         Assume that you have a particle that has
      10 give you a little context.                         10 the following characteristics: The morphology of
      11         When I was working with the Bureau of      11 a single fiber with a 3-to-1 aspect ratio,
      12 Mines, we aggressively milled asbestos, and we had 12 parallel sides, more than 5 microns long.
      13 no problem identifying it by those criteria        13         Are you with me so far?
      14 following aggressive milling.                      14     A Yes.
      15 BY MR. PLACITELLA:                                 15     Q And chemical signature of tremolite as
      16     Q Well, you aggressively milled asbestos.      16 determined by EDS or EDXA.
      17 I'm not talking about aggressively milling         17         Are you with me?
      18 asbestos. Here they're -- they're talking about    18     A Yes.
      19 aggressively -- well, scratch that. I withdraw     19     Q Okay. And the crystalline structure
      20 that statement.                                    20 consistent with amphibole asbestos.
      21     A Okay.                                        21         Are you with me?
      22     Q So when you aggressively milled              22     A There is --
      23 asbestos, when you -- and you say you did work     23         MR. FROST: Objection to form.
      24 with the Bureau of Mines?                          24         THE WITNESS: There is no structure
      25     A The Bureau of Mines aggressively milled      25 typical of amphibole asbestos.
                                                  Page 203                                              Page 205
       1   it.                                                 1 BY MR. PLACITELLA:
       2     Q Okay. You still found asbestos below            2     Q Oh. So there is no structure?
       3 the limit of detection in a light microscope?         3     A Typical of amphibole asbestos.
       4         MR. FROST: Objection to form.                 4 Structures typical of amphibole.
       5         THE WITNESS: Found -- I'm sorry, but          5     Q Okay. Crystalline structure consistent
       6 again your question is not terribly clear. You        6 with amphibole.
       7 asked me if we found asbestos below the resolution    7     A Amphibole.
       8 of the light microscope?                              8     Q Okay. What analytical techniques are
       9 BY MR. PLACITELLA:                                    9 necessary to tell whether that fiber-shaped
      10     Q Well, you refer -- you responded to my         10 particle grew in an asbestiform habit or not?
      11 question about milling of asbestos.                  11     A A single particle, you can't make a
      12     A Yes.                                           12 distinction necessarily. Necessarily.
      13     Q Okay. And when you're -- when you say          13     Q Okay. So if you're looking at a single
      14 that, you're talking about undisputed asbestos       14 fibril under a microscope, the light microscope,
      15 products, correct?                                   15 you can't tell whether it grew in an asbestiform
      16     A I'm talking about asbestos, yes.               16 habit or not. Correct?
      17     Q Right. Okay.                                   17     A That's not what I said.
      18         So that's what I'm asking you. Do you        18         MR. FROST: Objection to form.
      19 agree with the statement by Pier that asbestiform    19 BY MR. PLACITELLA:
      20 morphological criteria, as defined by you, may not   20     Q Okay.
      21 apply to fibers that have been aggressively milled   21     A You asked me if I had a particle that
      22 and are of the size range below the resolution of    22 was 5 micrometers long --
      23 the light microscope?                                23     Q Okay.
      24         MR. FROST: Objection to form.                24     A -- and it had parallel sides --
      25         THE WITNESS: If the question is, can         25     Q Okay.

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       1     A -- and it had a 3-to-1 aspect ratio, if         1 on individual particles. This is an optical
       2 I could tell by that single particle whether it       2 micrograph, and which is inserted a red-1
       3 formed an asbestiform habit or was formed by          3 compensator, and so it obscures some of the
       4 cleavage, I think would be the alternative.           4 optical properties. I don't know whether -- what
       5     Q Okay.                                           5 it would look like under crossed nicols. There
       6     A And I normally don't -- unless there            6 are other tests to be looked at. So...
       7 were properties there, and they're optimal            7 BY MR. PLACITELLA:
       8 properties, they had -- it had anomalous optical      8      Q Well, this is under a microscope that
       9 properties, I would be able to tell.                  9 you use, though, right?
      10     Q But if it's not there, you can't tell.         10      A Well, yes, but --
      11     A But if -- that's -- that's right.              11         MR. FROST: Objection to form.
      12     Q Okay. And same assumptions, what               12         THE WITNESS: -- you put a phase 1 --
      13 analytical techniques are available that would       13 you put a phase 1 retardation plate within the
      14 allow you to test the textile -- tensile strength    14 microscope system, so you're losing information.
      15 and flexibility of that particle?                    15 BY MR. PLACITELLA:
      16     A For a 5 micrometer particle, there are         16      Q Okay. So on this slide -- you can't
      17 none.                                                17 tell from looking at this slide whether this is a
      18     Q Okay. Assuming you have a particle --          18 cleavage fragment or asbestiform tremble --
      19 if you have particles exactly of the same size and   19 tremolite, correct?
      20 shape, chemically, surface area and surface          20         MR. FROST: Objection to form.
      21 charge, can you tell the difference between what's   21         THE WITNESS: I could only guess.
      22 an asbestiform and non-asbestiform tremolite?        22 BY MR. PLACITELLA:
      23        MR. FROST: Objection to form.                 23      Q Okay. So does that help you?
      24        THE WITNESS: I can't answer your              24         MR. FROST: Objection to form.
      25 question. It's too hypothetical.                     25         THE WITNESS: I suppose that's what
                                                  Page 207                                               Page 209
       1         MR. PLACITELLA: Sorry. Oh, that's not         Harper says. If I had guessed, I probably would
                                                               1
       2 very clear. Is there a way to turn -- turn that     2 have gone that way. But I don't guess.
       3 light off?                                          3 BY MR. PLACITELLA:
       4         MR. FROST: Yeah, it's not particularly      4      Q Okay. Now -- I have another slide up
       5 clear on the screen either, though, or on the TV    5 here, and can you describe what you're seeing?
       6 monitor.                                            6      A I see elongated mineral particles.
       7         MR. PLACITELLA: Can we turn the             7      Q Okay. And what kind of output?
       8 light -- at least turn the light off?               8      A Oh -- well, number 1 and 4 are pretty
       9         MR. FROST: I was going to say we can        9 clearly from transmission electron microscopy,
      10 try, I guess.                                      10 because I recognize the filter background. 2 and
      11 BY MR. PLACITELLA:                                 11 3, I -- I don't know.
      12      Q So this appeared in an article by Harper    12      Q Are we looking at cleavage fragments or
      13 in 2008, and in looking at these photomicrographs, 13 asbestos here?
      14 are you able to tell what -- which one is          14          MR. FROST: Objection to form.
      15 asbestiform tremolite and which one is a cleavage 15           THE WITNESS: As I said before, I don't
      16 fragment?                                          16 make determinations based on individual particles,
      17         MR. FROST: Objection to form.              17 unless I have other information.
      18         THE WITNESS: So you're telling me that 18 BY MR. PLACITELLA:
      19 one is a cleavage fragment and one is a fiber? Is  19      Q Well --
      20 that what you're telling me?                       20      A This is TEM.
      21 BY MR. PLACITELLA:                                 21      Q Okay. So using this slide, you can't
      22      Q Or both. Can you tell whether either of     22 tell whether these are cleavage fragments or
      23 them are a cleavage fragment?                      23 asbestos. Is that fair?
      24         MR. LOCKE: Objection to form.              24          MR. FROST: Objection to form.
      25         THE WITNESS: I do not make distinctions    25          THE WITNESS: I can guess.

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       1 BY MR. PLACITELLA:                                    1     A Yes.
       2     Q Well, I don't want you to guess.                2     Q And is it your testimony that you can't
       3     A Okay.                                           3 look at these photomicrographs and make a call
       4     Q You can't tell.                                 4 about whether they are asbestos or not on a single
       5         MR. FROST: Objection to form.                 5 particle or fiber basis?
       6         THE WITNESS: I would -- let me just say       6        MR. FROST: Objection to form.
       7 there -- there are properties of cleavage             7 BY MR. PLACITELLA:
       8 fragments on number 1.                                8     Q Is that what you're saying?
       9         Number 2 looks like two different             9     A I never or almost never try to make
      10 minerals to me, but I don't know what -- you know,   10 distinctions on single particles unless the
      11 I don't know what they are.                          11 properties are very clear.
      12         Number 3, similarly, it looks to me like     12        On sample 1, there are -- there is a
      13 one mineral and another coating it, so I really      13 stepwise pattern at the end of the particle that
      14 don't -- it's obscuring the characteristics.         14 suggests cleavage, but the -- and the particle is
      15         Number 4 has characteristics that would      15 not regular in its width through the entire
      16 be consistent with cleavage fragments. But,          16 length. And that would be the case of also
      17 again, you know, I'd have to look at the             17 number 4. These would lead me to suspect that
      18 population at many particles before I would be       18 they are cleavage fragments.
      19 willing to do anything other than guess.             19     Q Okay. But you can't state within a
      20 BY MR. PLACITELLA:                                   20 reasonable degree of scientific certainty that
      21     Q So, as we sit here today, it's your            21 these are asbestos or cleavage fragments, given
      22 testimony that looking at a single particle or       22 the information you have.
      23 fiber using a polarized light microscopy, you        23        MR. FROST: Objection to form.
      24 cannot make the call about whether that's asbestos   24 BY MR. PLACITELLA:
      25 or not?                                              25     Q Correct?
                                                   Page 211                                                  Page 213
       1         MR. FROST: Objection to form.                 1   A   I can't make  distinctions. I rely on
       2 BY MR. PLACITELLA:                                  2 populations.
       3     Q Correct?                                      3     Q Okay. Okay.
       4     A No. You asked me to look at the               4        MR. FROST: Do you want to take a break
       5 polarized light micrographs in the previous slide,  5 now, Chris --
       6 in which a red-1 compensator had been inserted,     6        MR. PLACITELLA: Hold one second.
       7 and which the optical properties are therefore      7        MR. FROST: -- unless you have more of
       8 obscured other than a sign of elongation. So        8 these?
       9 there's no other information.                       9        MR. PLACITELLA: Hold one second. No, I
      10         So I'm not going to tell you that I        10 just have this one I want to --
      11 couldn't look at that particle and study it in     11 BY MR. PLACITELLA:
      12 more detail, and with the other properties, the    12     Q So 1 is a sample from RJ Lee Group,
      13 nine or ten properties that I listed, and tell     13 cleavage fragment.
      14 you. I would have better -- be better able to do   14     A Mm-hmm.
      15 that because the asbestos has anomalous            15     Q 3 is asbestos, that's from the NIST
      16 properties.                                        16 reference material. You've seen that before, I
      17     Q All right. What I'm asking -- what I'm       17 assume.
      18 asking you -- okay, we left that. This -- these    18     A Mm-hmm.
      19 are TEM up here on the screen?                     19     Q Okay. 2 was asbestos, and 4 was
      20     A Yes. The question you asked me included      20 cleavage fragment.
      21 polarized light. I'm sorry.                        21     A Mm-hmm.
      22     Q That was my mistake.                         22     Q Correct?
      23     A Okay.                                        23     A Mm-hmm.
      24     Q What we have here are photomicrographs 24           Q Okay. Now, one more --
      25 of TEM, correct?                                   25        MR. FROST: Objection to form based

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       1   on --                                                    1 like it's composite. I'm not at all clear what's
       2          MR. PLACITELLA: I have one more                   2 going on. The width is uneven through its length,
       3 question, then we can take a break.                        3 and that would be unusual for asbestos.
       4          THE WITNESS: Actually, there's nothing            4 BY MR. PLACITELLA:
       5 in here that tells me where they're from.                  5      Q So you believe it's a cleavage fragment?
       6 BY MR. PLACITELLA:                                         6      A I didn't say that.
       7      Q Okay.                                               7          MR. FROST: Objection to form.
       8      A So I -- I said correct. I'm going to                8 BY MR. PLACITELLA:
       9 redraw that. I can't say correct. There's                  9      Q You can't tell.
      10 nothing in there that tells me if these are               10      A I said it would be unusual for it to be.
      11 cleavage fragments or fiber.                              11      Q Okay.
      12          Could we go back and look?                       12      A I would not expect it to be asbestos for
      13      Q What's your issue?                                 13 that reason.
      14      A That I agreed to something I'm not sure            14      Q Okay. But as you --
      15 is true.                                                  15      A But it's a coat -- coating on it. It
      16      Q Oh.                                                16 looks to be like there's more than one mineral,
      17      A I'd like very much --                              17 and so we're not really -- it's not really fair.
      18      Q I was just reading to you what was on              18 It looks like more than one mineral.
      19 the screen. You don't have to agree or disagree.          19      Q Well, I'm -- I can't be fair or unfair.
      20      A Okay.                                              20 That's why I'm just asking you your opinion.
      21      Q Okay?                                              21      A It looks like more than one mineral.
      22      A All right.                                         22      Q Okay. Now --
      23      Q So I want to show you -- can you tell me           23          MR. PLACITELLA: You wanted to take a
      24 if that is asbestos or a cleavage fragment?               24 break, that's fine.
      25          MR. LOCKE: Objection to form.                    25          MR. FROST: Yeah, is this a good time?
                                                        Page 215                                               Page 217
       1         THE WITNESS: I've told you before that             1         MR. PLACITELLA: Yeah, a break is fine.
       2 I'm very unwilling to -- unless there's clear --           2         THE VIDEOGRAPHER: The time is
       3 and I said that in report -- unless there are              3 2:56 p.m., and we're going off the record.
       4 clear characteristics that you can see for                 4         (Recess.)
       5 cleavage fragments or for fiber to make                    5         THE VIDEOGRAPHER: The time is 3:44
       6 distinctions on a particle-by-particle basis, it's         6 p.m., and we are back on the record.
       7 not reasonably sound.                                      7         MR. PLACITELLA: Okay. I always like to
       8 BY MR. PLACITELLA:                                         8 tell people where I am and where I'm going, so I'm
       9     Q Okay. So in looking at this particular               9 about 15 minutes, give or take, until we're done.
      10 photo -- by the way, what's -- so the record is           10 Okay.
      11 clear, what's this an output of?                          11 BY MR. PLACITELLA:
      12     A Well, you gave it to me. Perhaps you                12      Q Okay. I just wanted to go back, finish
      13 should tell me.                                           13 this line of questioning and then move to a
      14     Q Well, do -- do you know whether it's                14 different place.
      15 from TEM, PLM? What is it?                                15         So I put up here three other slides.
      16         MR. FROST: Objection to form.                     16 Are you able to tell from looking at these slides
      17         THE WITNESS: It appears to be from TEM.           17 whether they represent asbestos or cleavage
      18 I see the holes in the filter, so --                      18 fragment?
      19 BY MR. PLACITELLA:                                        19      A I can't read the scale.
      20     Q Right. And from looking at this TEM --              20         MR. FROST: Objection to form.
      21 this particle under TEM, you can't tell as you sit        21 BY MR. PLACITELLA:
      22 here whether that's a cleavage fragment or                22      Q I guess I can't either.
      23 asbestos, correct?                                        23         Nope. Sorry. That's the best I can do.
      24         MR. FROST: Objection to form.                     24         Can you tell whether it's cleavage
      25         THE WITNESS: You know, it looks to me             25 fragments or asbestos?


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       1     A No.                                           1  A I'm sorry, but you just can't tell me
       2     Q Okay. And one last one. See if I can       2 look at a particle and assume it's one mineral and
       3 get this so you can -- that's big enough,        3 ask such questions.
       4 hopefully.                                       4        It's 0.7 micrometers in width. I see no
       5         Can you tell whether that slide is a     5 evidence of fiber bundling. So I would be
       6 cleavage frag- -- fragment or asbestos?          6 inclined to conclude, given only that information
       7         MR. FROST: Objection to form.            7 and your assertion that it's tremolite, that it
       8         THE WITNESS: There's no scale.           8 came from a cleavage fragment population.
       9 BY MR. PLACITELLA:                               9 BY MR. PLACITELLA:
      10     Q So you need a scale in order to make      10     Q Are you willing to testify to that
      11 that assessment?                                11 within a reasonable degree of scientific
      12     A I need a scale.                           12 certainty?
      13     Q So does -- does that help you in any      13        MR. FROST: Objection to form.
      14 way?                                            14        THE WITNESS: I've already said I
      15     A Yes.                                      15 normally don't do it on particle-by-particle
      16     Q Okay. So is it a cleavage fragment or 16 basis.
      17 asbestos?                                       17 BY MR. PLACITELLA:
      18     A It's 0.7 micrometers in width.            18     Q Well, that's fine. If you say, No, I'm
      19     Q Mm-hmm.                                   19 not willing to testify within a reasonable degree
      20     A And I see no evidence of fibril bundles. 20 of scientific certainty, I'll move on. That's all
      21     Q Mm-hmm.                                   21 I'm asking.
      22     A So, again, with the understanding that I 22      A Aren't I testifying right here?
      23 normally do not try to look at individual       23     Q Is that what -- is that your testimony?
      24 particles and put them in one bin or the other. 24     A My testimony is that, based on its width
      25     Q Mm-hmm.                                   25 and the lack of any evidence of a fiber bundle,
                                                Page 219                                               Page 221
       1     A But given that, I would say it more           1 that I would conclude that it is most likely,
       2 closely resembles a cleavage fragment than an       2 within a reasonable degree of scientific
       3 asbestos fiber.                                     3 certainty, but I can't tell you what it is -- but
       4     Q Can you say that within a reasonable          4 I would say it's most likely that it's a cleavage
       5 degree of scientific certainty?                     5 fragment.
       6     A As I told you before, I normally do not       6     Q Okay. But you're not certain.
       7 try to look at individual particles.                7     A I don't even know that -- what the
       8     Q Okay. So that's why I'm asking you so         8 mineral is.
       9 the record is clear, and I'm fine with that, you    9     Q Okay. So you're not certain.
      10 can't state within a reasonable degree of          10     A I can't be certain --
      11 scientific certainty whether this is a cleavage    11         MR. FROST: Objection to form.
      12 fragment or asbestos?                              12         THE WITNESS: -- unless I know what the
      13         MR. FROST: Objection to form.              13 mineral is.
      14         THE WITNESS: I don't know what the         14         (Wylie Exhibit No. AW-51 was
      15 mineral is. It would be very difficult for me to   15         marked for identification.)
      16 make that determination when I don't even know     16         MR. FROST: Wow, that's a lot of paper.
      17 what the mineral is.                               17 BY MR. PLACITELLA:
      18 BY MR. PLACITELLA:                                 18     Q Okay. I'm going to show you what we've
      19     Q Well, assume it's tremolite.                 19 marked here -- can we go to -- as AW-51.
      20     A Well --                                      20         Is this the Pooley report that you
      21     Q Does that change anything?                   21 reviewed in preparation for your -- for your
      22     A Is it tremolite?                             22 report?
      23         MR. FROST: Same objection.                 23     A Is there a date on it?
      24 BY MR. PLACITELLA:                                 24     Q This is as it was given. It was from --
      25     Q Just assume it's tremolite.                  25 the second page says "From Light -- Lightfoot."


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       1      A Yes.                                          have your own.
                                                                   1
       2      Q "Kingston and Pooley."                      2        Okay.
       3      A Yes. But it doesn't have a date.            3 BY MR. PLACITELLA:
       4 The -- I'd have -- I -- I'm not meaning to         4     Q This was February of last year at the
       5 quibble. It -- I looked at a report by Lightfoot,  5 offices of Johnson & Johnson's attorneys.
       6 et al., on the Italian mine, but there -- I had a  6        MR. FROST: Yeah, I'm going to object to
       7 date on the one I looked at. I don't see a date.   7 this exhibit, Chris, to the extent it's just an
       8          MR. FROST: Here, it --                    8 excerpt from the deposition. It's not the full
       9          THE WITNESS: Does it have a date?         9 transcript.
      10          MR. FROST: This might help, Chris. I'm   10        MR. PLACITELLA: That's fine.
      11 going to give her the one from --                 11 BY MR. PLACITELLA:
      12          MR. PLACITELLA: Yeah, go ahead.          12     Q You see I'm going to turn to page 428,
      13          MR. FROST: -- from the reliance          13 where they -- by the way, when you were given the
      14 materials. Is that the one --                     14 Pooley report, Exhibit 10, no one gave you his
      15          MR. PLACITELLA: Is that the same         15 sworn testimony about what was in the report,
      16 report?                                           16 correct?
      17          MR. FROST: That's what I'm going to      17     A No.
      18 have her check. Is that the one you're -- you're  18     Q Okay. Do you see here on page 428, it
      19 referencing?                                      19 says:
      20          MR. PLACITELLA: It has the same exact 20              "Q. But we've got Exhibit 10,
      21 title. That's why I was asking.                   21        which is your report, and if he's
      22          THE WITNESS: Let me just look.           22        reading your report on the very
      23          MR. PLACITELLA: Sure.                    23        back, Fred Pooley, that's not what
      24          THE WITNESS: Without going through it 24           it says, is it?"
      25 page by page, it certainly appears to be the      25           "A. Uh-huh."
                                                       Page 223                                            Page 225
       1 report I reviewed.                                        1         "Q. Mr. Bicks has inadequately
       2 BY MR. PLACITELLA:                                        2       quoted this report. Particles
       3      Q Okay. And --                                       3       formed from the amphibole mineral
       4         MR. FROST: Here, why don't you use the            4       found at the mine were hardly
       5 one you reviewed. We can mark yours, and that way         5       fibrous."
       6 if there is a distinction between the two, we'll          6         "A. Yeah."
       7 know pretty quickly during questioning.                   7         "Q. 'The majority broke to give
       8 BY MR. PLACITELLA:                                        8       compact particles.'" They got too
       9      Q Okay. Well, it's -- the title is                   9       small. Doesn't that mean all of
      10 exactly the same --                                      10       them did, does it?
      11      A Yes.                                              11            "Doesn't mean all of them
      12      Q -- as in your paper, correct?                     12       did, does it?"
      13      A Yes. And the first page is the same.              13         "A. Nope."
      14      Q Exactly the same. Okay. And that's --             14       So he must have been doing this in an
      15      A Well --                                           15 English accent. It would have probably sounded
      16      Q If you see AW-51, it also was Pooley 10.          16 much better.
      17 Do you see that?                                         17       Then he says:
      18      A Yes.                                              18         "Q. So he didn't quote it here,
      19      Q Okay. Now --                                      19       but you found tremolite that was
      20         MR. PLACITELLA: Hand that down.                  20       asbestiform that didn't break
      21 BY MR. PLACITELLA:                                       21       apart, didn't you."
      22      Q Now, I'm going to show you and hand you           22       Answer by the witness:
      23 a copy of the testimony from Dr. Pooley concerning       23         "A. Yes. A few particles, yes."
      24 this exact study.                                        24       Were -- were you aware --
      25         MR. PLACITELLA: Hold on. You guys each           25       MR. FROST: Well, hold on. First, I'm

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       1 going to object as to completeness. They're           1 take any issue with that. Is that fair?
       2 clearly referring to another part of the              2     A That's fair.
       3 transcript here, which you have not included.         3     Q Okay. So in terms of the methodology
       4 Therefore, I would object to the sort of small        4 that he used, that is the concentration technique
       5 cherry-picked assertion we have here about 10,        5 and at least the PLM, you don't have a
       6 when it clearly is quoting to other portions of       6 disagreement, correct?
       7 the transcript that are not included here, which I    7     A Oh, yes, I do.
       8 fear are needed for context in order to answer        8        MR. FROST: Objection to form.
       9 this question.                                        9 BY MR. PLACITELLA:
      10 BY MR. PLACITELLA:                                   10     Q You do.
      11     Q Okay. Putting that form objection              11     A (The witness nods.)
      12 aside, were you aware that Dr. Pooley had            12     Q So you disagree with the fact that he
      13 testified under oath that he found asbestiform       13 used PLM?
      14 tremolite in the Italian talc?                       14        MR. FROST: Objection to form.
      15         MR. FROST: Objection to form.                15 Misstates testimony.
      16         THE WITNESS: I was not.                      16        MR. PLACITELLA: Well, let me just --
      17 BY MR. PLACITELLA:                                   17 let me just -- maybe because it was a compound
      18     Q Okay. Now, I know you indicated before         18 question.
      19 that you only looked at information related to the   19 BY MR. PLACITELLA:
      20 geology of the mines. Is that fair?                  20     Q Do you disagree with the fact that he
      21         MR. FROST: Objection to form.                21 used PLM?
      22         THE WITNESS: Say it -- say it one more       22     A No.
      23 time.                                                23     Q Okay. Do you disagree with the fact
      24 BY MR. PLACITELLA:                                   24 that he used the concentration technique?
      25     Q Well, let me ask the question this way.        25     A No.
                                                   Page 227                                                 Page 229
       1     A Okay.                                           1 Q    Okay.  You   looked at the same photos
       2     Q Part of what you did in this case is you    2 that he did, correct?
       3 looked at the actual -- a report by Dr. Longo of  3     A Yes.
       4 the baby powder that he looked at under a         4     Q And you reached a different conclusion.
       5 microscope, correct?                              5 Correct?
       6     A I did look at that.                         6     A Yes.
       7     Q Okay. And he -- he used TEM, correct?       7         MR. FROST: Objection to form.
       8     A Yes.                                        8 BY MR. PLACITELLA:
       9     Q And you used TEM, correct?                  9     Q Okay. Now -- and when you -- when you
      10        MR. FROST: Objection to form.             10 did your analysis, you understood that what
      11 BY MR. PLACITELLA:                               11 would -- what you would find in the end product,
      12     Q It's one of the -- it's one of the         12 you wouldn't find asbestos or tremolite or
      13 methods that you used to test for asbestos,      13 anything else in the end product if it wasn't in
      14 correct?                                         14 the talc from the mine, correct?
      15     A I don't think I've ever used TEM to test 15           MR. FROST: Objection to form.
      16 for the presence of asbestos.                    16         THE WITNESS: Unless they added it.
      17     Q Okay. And he used PLM, correct?            17 BY MR. PLACITELLA:
      18     A Yes.                                       18     Q Right.
      19     Q And you used PLM, correct?                 19     A Yes.
      20     A Yes.                                       20     Q Okay. So on Hopkins 28, in terms of --
      21     Q He mentioned using a concentration         21 and I'm not going to go through it all now, I
      22 technique. Do you recall that?                   22 promise you -- all of these tests that were done
      23     A Yes.                                       23 of the actual product, that would be relevant to
      24     Q And you mention in your report that he 24 whether -- to the conclusion about whether there
      25 used a concentration technique, but you didn't   25 was asbestos in Johnson's Baby Powder or Shower to


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       1 Shower, correct?                                         1     Q I passed. Okay. Well, I guess that's
       2         MR. FROST: Objection to form.                    2 good for you.
       3         THE WITNESS: Would you mind repeating            3        You were -- questions were asked --
       4 the question? I got a little bit distracted.             4     A But I did make some clarifications.
       5 BY MR. PLACITELLA:                                       5     Q That's fine. That's what -- I told you
       6      Q Sure.                                             6 you could do that.
       7      A Okay.                                             7     A I know. I just wanted to be sure.
       8      Q On Hopkins 28, we didn't go through it            8     Q When the teacher --
       9 in detail. That's this spreadsheet.                      9     A Passing is not necessarily an A.
      10      A Okay. Okay.                                      10     Q In geology, give me a B. I'm fine,
      11      Q There are a number of -- there are many          11 okay?
      12 tests related to the end product.                       12        All right. Some questions were asked
      13      A Yes.                                             13 about your deposition. I want to know if you know
      14      Q Okay. Although you looked at the                 14 the answers.
      15 testing of the end product by Dr. Longo, you were       15        Did you ever have any communications
      16 not provided any of the test results concerning         16 with Mickey Gunther concerning the work you were
      17 the end product on Hopkins 28 to determine whether      17 doing in this case?
      18 it supported or refuted Dr. Longo conclusions or        18     A No.
      19 your conclusions.                                       19     Q Okay. Did you ever have any
      20         MR. FROST: Objection to form.                   20 communications with Mickey Gunther on the subject
      21 BY MR. PLACITELLA:                                      21 of whether there's asbestos in Vermont talc?
      22      Q Correct?                                         22        MR. FROST: Objection to form.
      23      A I did not look at any of those doc- --           23        THE WITNESS: Not that I recollect, no.
      24 at any of those documents.                              24 BY MR. PLACITELLA:
      25      Q Okay. Nor were they provided to you.             25     Q Okay. Did you have any communications
                                                      Page 231                                              Page 233
       1         MR. FROST: Objection to form.                  1 or conversations with RJ Lee or Matt Sanchez
       2         THE WITNESS: No.                               2 concerning your opinions in this case?
       3 BY MR. PLACITELLA:                                     3      A No.
       4     Q Okay. Now, you were -- you were going            4      Q Okay. Did you ever have any
       5 to take a look at my tests during the break. Did       5 communications with RJ Lee or Matt Sanchez
       6 you do that?                                           6 concerning the issue of whether there's asbestos
       7     A I did.                                           7 in Vermont talc?
       8     Q Okay. Do you have that with you?                 8      A No.
       9     A Not yet.                                         9      Q Okay. Did you ever do any work for
      10     Q Okay.                                           10 Colgate Palmolive?
      11     A Why?                                            11         MR. FROST: Objection to form.
      12     Q What did I get?                                 12         THE WITNESS: I met -- no. No. I was
      13     A No, I -- you know --                            13 never paid by Colgate Palmolive.
      14         MR. FROST: We need a couple more              14 BY MR. PLACITELLA:
      15 minutes. If you want, we can take a break and get     15      Q Were you ever consulted by Colgate
      16 it and bring it back.                                 16 Palmolive?
      17         MR. PLACITELLA: No. Could somebody go 17              A I think there were lawyers that came to
      18 get it?                                               18 talk with me, but -- from Colgate Palmolive, but
      19         MR. FROST: It's not done yet.                 19 I -- I never did anything with that.
      20 BY MR. PLACITELLA:                                    20      Q How come?
      21     Q I mean, did I get a B? An A? What did           21      A They came and talked to me.
      22 I get?                                                22      Q How come?
      23     A You passed.                                     23      A I just didn't. I wasn't that interested
      24         MR. FROST: Objection to form.                 24 in --
      25 BY MR. PLACITELLA:                                    25      Q Okay.

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       1     A -- doing litigation type work.                     1 particle is its length divided by its width.
       2     Q Did you do any testing for them?                   2 That's what it is.
       3     A No.                                                3     Q Oh, so you don't have to count the
       4     Q Okay. What about Cyprus Mines, did you             4 fibrils that make up a bundle? When you say "mean
       5 ever do any work for them?                               5 aspect ratio," you're just saying it's the -- the
       6         MR. FROST: Objection to form.                    6 length divided by the width?
       7         THE WITNESS: Long ago, I -- I did                7     A That's correct.
       8 analyze some samples for them.                           8     Q Okay. Now, did you base your aspect
       9 BY MR. PLACITELLA:                                       9 ratio of 20-to-1 on the 1984 paper that we went
      10     Q Okay. And in what context?                        10 through before?
      11         MR. FROST: Objection to form.                   11          MR. FROST: Objection to form.
      12         THE WITNESS: They probably sent them to         12 BY MR. PLACITELLA:
      13 me.                                                     13     Q You told me that you use a 20-to-1
      14 BY MR. PLACITELLA:                                      14 aspect ratio for PLM when looking at talc. Fair?
      15     Q Was it in the context of litigation or            15     A I look for all of the properties. And I
      16 in just the normal course of their business?            16 look for fiber bundles, I look for high aspect
      17     A I think just the normal -- I believe, to          17 ratio particles, I look for all of the properties.
      18 the best of my recollection, the normal course of       18     Q I'm giving you that. That's not my
      19 their business.                                         19 question.
      20     Q Who was the person at Cyprus that you             20     A Okay.
      21 dealt with, do you recall?                              21     Q So I want to just try to get on the same
      22     A No.                                               22 page.
      23     Q Do you recall what you found?                     23     A Okay. All right.
      24     A No.                                               24     Q You -- I'm just talking about the aspect
      25         MR. FROST: Objection to form.                   25 ratio --

                                                    Page 235                                                      Page 237
       1         MR. PLACITELLA: Okay. So I just want          A Yes.
                                                                  1
       2 to make sure we have for the record, 53 is a    2     Q -- of 20-to-1.
       3 curriculum vitae, so you have it.               3     A Yes.
       4         (Wylie Exhibit AW-53 was marked         4     Q What -- where did that come from?
       5         for identification.)                    5         MR. FROST: Objection to form.
       6         MR. FROST: Is this the one --           6         THE WITNESS: Hmm, where did it come
       7         MR. PLACITELLA: Mm-hmm.                 7 from? Probably measurements that were made
       8         MR. FROST: -- you referenced earlier?   8 with -- from the SEM. Observations on many
       9         MR. PLACITELLA: Yes, the one I -- that  9 asbestos samples that I made. It would be an
      10 we went and got copies of.                     10 approximation. You have under the microscope
      11         AW-16 is the letter from Dr. Ashton to 11 scales, and so you can kind of see what the aspect
      12 Dr. Wylie.                                     12 ratios are.
      13 BY MR. PLACITELLA:                             13 BY MR. PLACITELLA:
      14     Q While we're waiting, you --              14     Q Okay. But you can't -- I'm probably
      15            (Counsel conferring.)               15 just not making myself clear. I apologize. It's
      16 BY MR. PLACITELLA:                             16 late in the day.
      17     Q -- you mentioned before something known 17          You -- you use as a standard 20-to-1
      18 as a mean aspect ratio.                        18 aspect ratio, correct?
      19     A Yes.                                     19     A No. I -- no.
      20     Q Could you explain that? How do you       20     Q Go ahead.
      21 determine what a mean aspect ratio is?         21     A I -- when -- when you asked me what my
      22     A You average measurements.                22 criteria were, I said an abundance of high aspect
      23     Q How -- how do you average measurements 23 ratio particles.
      24 of a fiber -- in a fiber bundle?               24     Q All right. 20-to-1.
      25     A Well, the mean aspect ratio of the       25         MR. FROST: Objection to form.

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       1         THE WITNESS: An abundance of high             Q Okay. So the 20-to-1 aspect ratio --
                                                               1
       2 aspect ratio particles with a mean. Mean.       2     A Mean.
       3 BY MR. PLACITELLA:                              3     Q -- mean aspect ratio, had no
       4     Q Okay.                                     4 relationship to your 1984 paper that we went over
       5     A A mean is not a 20-to-1. You can have a   5 before?
       6 10-to-1.                                        6         MR. FROST: Objection to form.
       7     Q Okay.                                     7 BY MR. PLACITELLA:
       8     A To get a mean, you have some are less     8     Q You didn't get it from there?
       9 and some are greater.                           9         MR. FROST: Objection to form.
      10     Q Okay.                                    10         THE WITNESS: I didn't get it from the
      11     A And the more greater they are, the more  11 paper I wrote?
      12 they weight the mean.                          12 BY MR. PLACITELLA:
      13     Q Okay. So you could have short ones and 13       Q That's what I'm asking you.
      14 some long ones, and that's how you get to 20.  14     A You mean I referenced -- I got it from
      15         MR. FROST: Objection to form.          15 what I wrote? I would never. I mean I don't
      16         THE WITNESS: Short ones and long ones, 16 understand your question. How could I get it from
      17 that's how you get to 20.                      17 what I wrote?
      18         You can have high aspect ratio -- you  18     Q Well --
      19 can have 20-to-1 particles. You can have less  19     A I wrote from the -- I got it from the
      20 than 20-to-1 particles.                        20 data.
      21 BY MR. PLACITELLA:                             21     Q Okay. Well, that's my question. You
      22     Q Okay.                                    22 didn't get it from the analysis that was in your
      23     A So -- but when you look at a population, 23 paper, the ASTM paper from 1984.
      24 you find that -- the mean aspect ratio for the 24     A Oh. I'm sorry. Where we were talking
      25 populations that we measured. All right. It's  25 about all those data that were listed, the air

                                                  Page 239                                                       Page 241
       1 one of the reasons why I said an abundance of high    1 samples and --
       2 aspect ratio particles being 20-to-1 or greater.      2     Q Yes -- yes, Doctor.
       3 But a mean aspect ratio is -- encompasses all         3     A No.
       4 particles longer than 5 micrometers.                  4     Q Okay. You got that from a separate
       5      Q Mm-hmm.                                        5 analytical system that you did.
       6      A Longer than 5 micrometers, and an              6     A Yes.
       7 average of their aspect ratio. That's what the        7        MR. PLACITELLA: Okay. Now -- well, I
       8 word "mean" means.                                    8 said 15 minutes. I kept to it, but I still need
       9      Q Okay. Fair enough.                             9 to see my tests.
      10         And I'm saying in the standard that you      10        THE WITNESS: Okay.
      11 apply, the 20 -- the mean aspect ratio 20-to-1,      11        MR. FROST: Can we go off the record?
      12 all right, what is that based on?                    12        MR. PLACITELLA: Okay. Yep.
      13      A At the time we had -- I had measured          13        THE VIDEOGRAPHER: The time is 4:09 p.m.
      14 quite a few asbestos populations by scanning         14 We're going off the record.
      15 electron microscopy, and I used that to check for    15        (Recess.)
      16 what I might be able to say would be a mean.         16        THE VIDEOGRAPHER: The time is 4:24
      17      Q So you looked at bulk asbestos                17 p.m., and we're back on the record.
      18 populations?                                         18 BY MR. PLACITELLA:
      19      A Yes.                                          19     Q Okay. Did you bring my tests with you?
      20      Q Okay. And when you say "populations,"         20     A I did.
      21 how is that defined when you came to that standard   21     Q Okay. Just before we go there, would --
      22 of 20-to-1?                                          22 do you agree that TEM is the gold standard for
      23      A Well, we measured -- "we" being the           23 testing for talc to determine whether there's
      24 Bureau of Mines -- you know, thousands of            24 asbestos?
      25 particles.                                           25        MR. FROST: Objection to form.

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       1        THE WITNESS: No.                             1    MR. FROST: Can you hand that to the
       2 BY MR. PLACITELLA:                             2 court reporter.
       3     Q Okay. Do you have 51?                    3         MR. PLACITELLA: Can we make it 50-A?
       4     A Yes.                                     4         MR. FROST: Sure.
       5        MR. FROST: So --                        5         THE WITNESS: Okay.
       6        THE WITNESS: We need to look at them 6            (Wylie Exhibit No. AW-50-A was
       7 together.                                      7         marked for identification.)
       8        MR. FROST: I was going to say it might  8 BY MR. PLACITELLA:
       9 make sense for us to go through, tell you the  9     Q Well -- okay. Sorry.
      10 changes, give it to you, and then you can ask 10         What do you want me to do with this?
      11 her --                                        11     A You had asked me what approach I would
      12 BY MR. PLACITELLA:                            12 take for the identification of asbestos by
      13     Q Well, why don't I just flip through it  13 polarized light microscopy, and we went through --
      14 and put it up on the ELMO.                    14     Q Right.
      15     A Oh, okay.                               15     A -- a series, and it began on -- keep
      16     Q Does that work?                         16 going -- the page there.
      17     A Yes, that works.                        17     Q Okay.
      18     Q Or you can sit next to me.              18     A All right. And I rewrote that, just
      19     A No, that works.                         19 that page, and I think the next, and perhaps even
      20     Q But I didn't think you would really     20 the next, to be sure that it was complete and
      21 want to do that at the end of the day.        21 rigorous.
      22     A I wouldn't be in the camera.            22         I don't -- it isn't that what you had
      23     Q Oh. Well, no, you get the camera this   23 was so wrong. It's just that I don't normally
      24 way. I mean, you probably wouldn't want it on 24 want to agree with what someone else has read
      25 record. Okay.                                 25 that -- written that I said. So I just rewrote it

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       1        All right. So --                             1 in a format with which I'm comfortable. So you
       2     A I numbered your pages.                        2 could look that over and see if there's anything
       3     Q Thank you.                                    3 in what I've written here that we did not discuss.
       4        So I'm just going to keep going until I      4     Q Okay. We'll you -- you wrote in 50-A.
       5 see something. How's that?                          5 Did you do this by yourself or were in conjunction
       6     A No, I'd like to go through it page by         6 with your lawyer?
       7 page --                                             7     A By myself.
       8        MR. FROST: Yeah, I was going to say --       8     Q Okay. So before we get there, you still
       9        THE WITNESS: -- if you don't mind.           9 didn't give me a grade.
      10        MR. FROST: -- I think we should do it       10         MR. FROST: Well, handwriting or
      11 page by page.                                      11 content?
      12 BY MR. PLACITELLA:                                 12         MR. PLACITELLA: No, on how I did here.
      13     Q Did you make any changes on number 1?        13         THE WITNESS: B plus.
      14     A I would add, which I didn't add on the       14         MR. PLACITELLA: Okay, I'll take it.
      15 piece of paper, but I would certainly want to be   15 BY MR. PLACITELLA:
      16 put on the record that I have 45 years of          16     Q Now, 50-A is your amendment to this
      17 experience that I also relied on.                  17 entire pad, is that fair?
      18     Q Actually, I was going to actually ask        18     A Not quite. I'd like to go through it
      19 you what your diet was, because I think you look   19 page by page.
      20 awesome. Okay? So put that aside. I assume you     20     Q Okay.
      21 have experience.                                   21         Okay. I -- we'll put this in the
      22        So I'm flipping through 3 --                22 record.
      23        MR. FROST: Yeah, why don't we mark this     23     A That's fine.
      24 as --                                              24     Q That's fine. I mean your testimony is
      25        MR. PLACITELLA: AW-50-A?                    25 what it is, and we'll leave this as -- in the


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       1 record, okay?                                             1 looking at the same sample that you are --
       2         So let's go through 3.                            2     A Yes.
       3     A That's amended there.                               3     Q -- how would I know what to look at if I
       4     Q Okay. 4?                                            4 didn't have you whispering in my ear, That's too
       5     A If there's anything at the bottom,                  5 many, that's too little?
       6 that -- that's all that shows. I can only see             6         MR. FROST: Objection to form.
       7 down to (c). Okay. Yes, that's amended in that            7         THE WITNESS: I -- I think I would just
       8 or contributed.                                           8 say, There are many more than one.
       9     Q All right.                                          9 BY MR. PLACITELLA:
      10     A I -- I let that stand.                             10     Q Okay. But we can't say how many?
      11     Q Okay.                                              11     A No.
      12     A I let that stand.                                  12     Q Okay. Next.
      13     Q Okay. Population, page 6. I'm on                   13     A That's in the -- it's listed in that
      14 page 7, fiber bundles.                                   14 correction that I gave you.
      15     A I'll let that stand.                               15     Q Okay. But it's not required.
      16     Q Okay. Page 8?                                      16     A That's the way I -- yes, that's what
      17     A Could you move it down a little bit so I           17 mine says.
      18 can see the -- all right. Yes, I'll let that             18     Q Okay. 12?
      19 stand.                                                   19     A Could I see what's down at the bottom?
      20     Q Okay. Page 9, one of the regulated --              20     Q Uh-huh.
      21 we never actually wrote in it.                           21     A Yes.
      22         Okay. Page 10?                                   22     Q It's fine?
      23     A I corrected "abundance greater than one"           23     A Mm-hmm.
      24 to reflect my comment that you need many more than       24     Q 13, you wrote?
      25 one.                                                     25     A That's -- those are my initials.
                                                     Page 247                                                      Page 249
       1     Q How many more?                                      1     Q Right.
       2     A I don't know. Many more.                            2     A I crossed out "expected" and put
       3     Q Well, do I need four Golden Retrievers?             3 "required."
       4 Five?                                                     4     Q Put -- so you changed your mind.
       5        MR. FROST: Objection to form.                      5     A Well, I use --
       6 BY MR. PLACITELLA:                                        6     Q You thought about it more.
       7     Q I mean, how is somebody supposed to                 7     A I always use it, and I don't know of any
       8 apply your method if they don't know what                 8 instances where you have asbestos where you do not
       9 "abundance" means?                                        9 have anomalous properties.
      10        MR. FROST: Objection to form.                     10     Q Okay.
      11 BY MR. PLACITELLA:                                       11     A So I -- I put "required."
      12     Q Doctor, if you're -- you're going to               12     Q So your next article, that's what you're
      13 teach somebody, I'm your student, and I'm saying,        13 going to write?
      14 Well, what do you mean by abundance? How many            14         MR. FROST: Objection to form.
      15 Golden Retrievers do I have to look at? How many?        15 BY MR. PLACITELLA:
      16     A Many more than one.                                16     Q Yes?
      17     Q But you don't know.                                17     A I don't plan -- I'm not -- have any
      18     A It very much depends upon the                      18 plans to write another article on this topic.
      19 characteristics. So, for example, if the                 19     Q You're done with this except for
      20 particles were all totally uniform, you would need       20 testifying?
      21 fewer.                                                   21         MR. FROST: Objection to form.
      22     Q Okay.                                              22         THE WITNESS: No, I'm not done with
      23     A If they're highly variable, you would              23 this. What do you mean by "this"?
      24 need more.                                               24 BY MR. PLACITELLA:
      25     Q But a student applying your method                 25     Q Well, you don't plan on publishing these

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       1 criteria?                                                1 my objection is on the record.
       2     A I don't.                                           2 BY MR. PLACITELLA:
       3     Q Okay.                                              3     Q Okay.
       4     A I have no -- I have no plans to do that.           4     A No.
       5     Q Okay. And that's the end of the pad,               5     Q Okay.
       6 correct?                                                 6        MR. PLACITELLA: The answer was much
       7     A Yes.                                               7 shorter than the objection.
       8     Q Okay. Now -- so I just have one                    8        That's all my questions for now,
       9 question. I know you had a number of consults            9 depending on if your counsel has any questions.
      10 with Johnson & Johnson's attorney while I was           10        But -- oh, can we just -- well, we're
      11 eating cookies, and did any of the consults you         11 just going to put these in the record. This is
      12 had with Johnson & Johnson's attorneys cause you        12 AW-44 and Hopkins 28.
      13 to change your testimony from today in any              13        (Wylie Exhibit No. AW-44 was
      14 material way?                                           14        marked for identification.)
      15         MR. FROST: Well, objection to form.             15        MR. PLACITELLA: So take a look.
      16         First off, the CMO regarding the                16        And 50, if I get a copy -- if I get a
      17 deposition procedure is very clear that the             17 copy of this, would you after, for Mr. Frost, put
      18 negotiated resolution was any conferences during        18 the "B+" on the copy?
      19 breaks were off limits from the deposition.             19        Okay. That's all I've got.
      20         MR. PLACITELLA: I'm not asking her the          20        MR. FROST: All right. Let's take a
      21 substance. I'm just asking whether any                  21 break. We do have some questions. And we're
      22 conferences with you and her and the other lawyers      22 actually waiting for some things to be printed.
      23 at Johnson & Johnson caused her to change her           23        THE VIDEOGRAPHER: The time is 4:34 p.m.
      24 testimony in any material way.                          24 and we're going off the record.
      25         MR. FROST: And again, I think --                25        (Wylie Exhibit No. AW-52 was

                                                      Page 251                                                    Page 253
       1         MR. PLACITELLA: That's all. I'm not              1         marked for identification.)
       2 asking her about what exactly was said.                  2         (Recess.)
       3         MR. FROST: Nope. Again, I think that's           3         THE VIDEOGRAPHER: The time is 4:56 p.m.
       4 inappropriate. I think you're diving into                4 and we're back on the record.
       5 attorney-client privilege. And frankly, I think          5            CROSS-EXAMINATION
       6 you're breaking the procedure that was negotiated        6 BY MR. FROST:
       7 by both sides in this case.                              7      Q Good afternoon, Dr. Wylie. Jack Frost
       8         MR. PLACITELLA: I'm breaking procedure           8 from Biddle & Reath. As you know, I represent
       9 by asking that question?                                 9 Johnson & Johnson in this case.
      10         MS. O'DELL: I think he's clearly not            10         I'm going to ask you a few questions
      11 asking the substance of the conversation.               11 this afternoon. They shouldn't take too long, and
      12         MR. PLACITELLA: Right.                          12 I apologize now, I'm going to be jumping around a
      13         MS. O'DELL: He's not saying you                 13 bit.
      14 can't --                                                14         But do you recall this morning when you
      15 BY MR. PLACITELLA:                                      15 were asked a series of questions about testimony
      16     Q I'm not asking you what was stated. All           16 you gave to a United States Senate Committee about
      17 I'm asking you is --                                    17 an asbestos ban bill?
      18         MS. O'DELL: At the last deposition we           18      A I do.
      19 were at --                                              19      Q Can you explain to me in your own words
      20 BY MR. PLACITELLA:                                      20 what happened at that hearing?
      21     Q -- are you -- based -- having had a               21      A I went to give testimony on the nature
      22 consult with your attorney, your attorneys, do you      22 of asbestos. I went to urge the Committee to
      23 need to change your testimony in any way?               23 expand the definitions of regulated asbestos to
      24         MR. FROST: I'll renew my objection. I           24 include all asbestiform amphibole. I also
      25 have not instructed my witness not to answer. But       25 requested that a methodology be developed so that


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       1 ordinary rock fragment would not be included.         1         MR. PLACITELLA: Oh, it's -- I believe
       2         And at the end of my testimony, I was         2 her. I don't have to look at it.
       3 asked if I had ever worked for -- or I thought I      3         MR. FROST: Okay. And again, the --
       4 was asked if I had ever worked for asbestos           4         MS. O'DELL: For my purposes, what is
       5 companies, and in the context of that hearing and     5 the date on it so I can --
       6 what was going on, I answered that question, "No."    6         THE WITNESS: June 16th, 2007.
       7         The -- Senator Boxer then asked about         7 BY MR. FROST:
       8 some invoices that she had and -- from                8     Q And does this letter reflect what you
       9 R.T. Vanderbilt. And so I said -- and she -- I        9 just talked about, the misunderstanding you had
      10 asked her to rephrase the question, because I -- I   10 about the questions being asked by doctor -- or,
      11 thought perhaps I had answered a question that       11 sorry, by Senator Boxer?
      12 wasn't exactly asked. She rephrased the question     12     A Yes.
      13 somewhat and talked about had I ever given a         13     Q And prior to today -- or I guess I'll
      14 deposition, or something to that effect, in          14 strike that.
      15 litigation around allegations of asbestos-related    15         This morning Mr. Placitella asked you a
      16 diseases or -- and of course, I had to answer in     16 series of questions about whether or not some
      17 the affirmative then.                                17 companies you had done consultation work for
      18         And it was a very disturbing experience      18 manufactured asbestos-containing products; is that
      19 for me because my integrity means a lot. And so      19 correct?
      20 at the conclusion of that event, I wrote the         20     A That's correct.
      21 Senator a letter and detailing exactly what my       21     Q Prior to this morning, did you know that
      22 experience had been around the questions that she    22 any of those companies may have manufactured
      23 asked, and just basically trying to explain my       23 asbestos-containing products?
      24 misunderstanding and I had no intention to           24     A I did not.
      25 deceive.                                             25     Q And that was something that you learned
                                                  Page 255                                                Page 257
       1     Q I'm going to mark as --                      today?
                                                               1
       2         MR. FROST: Sorry, what exhibit are we    2     A Yes.
       3 on?                                              3     Q This morning you were also asked various
       4         THE REPORTER: 54.                        4 questions about the methodologies you employed in
       5         MR. FROST: AW-54. Pass this to the       5 undertaking or in drafting your expert report.
       6 court reporter.                                  6        Can you please explain to us what
       7         (Wylie Exhibit No. AW-54 was             7 methodology you employed in this case?
       8         marked for identification.)              8     A I reviewed the literature. I -- what I
       9         MR. FROST: This is for you.              9 basically did was for review of the literature and
      10         THE WITNESS: Oh.                        10 the reports, I considered myself as a reviewer of
      11         MS. O'DELL: Do you have a copy for us? 11 a document like I would in an academic setting for
      12         MR. FROST: I don't. I only have the     12 a journal. And that was my job, and that's what I
      13 one. It was in the reliance materials we        13 did.
      14 forwarded.                                      14     Q And is what you did to draft your report
      15         MS. O'DELL: Okay.                       15 any different than what you would undertake in
      16         MR. PLACITELLA: Okay. We waited for 16 this literature review as an academic?
      17 half an hour. You don't have a copy for me?     17     A No.
      18         MR. FROST: We do. I was going to say    18     Q And can you explain to us what steps you
      19 we have the big one.                            19 took to conduct your literature review?
      20 BY MR. FROST:                                   20     A I searched through GeoRef, which is a
      21     Q But is this a -- is this a copy of the    21 database for geologic literature. I searched the
      22 letter you were talking about, Dr. Wylie?       22 web, just putting in information and seeing what I
      23     A Yes.                                      23 could find on the various mines, for example. I
      24         MR. FROST: I mean, I'm happy to give it 24 think that's how I found the information on Mindat
      25 to you, Chris, to look at.                      25 for the Argonaut Mine. And of course, I reviewed


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       1 the two Pooley reports.                               1     A If it's available, certainly.
       2      Q If you were undertaking a scientific           2     Q With respect to the various publications
       3 review as -- in your role as professor emeritus,      3 in your report in which you were an author, are
       4 is there anything different you would have done in    4 those peer reviewed?
       5 undertaking that literature review than you did       5     A Yes.
       6 here?                                                 6     Q Is there any reason it would be
       7      A No.                                            7 unreliable to rely on your own peer-reviewed
       8      Q Are there any additional sources you           8 publications to support your opinions here?
       9 would have sought out to consider?                    9     A I hope not.
      10      A No.                                           10     Q And again, would you agree with me that
      11      Q You were also asked a series of               11 you've actually published a significant number of
      12 questions this morning about articles you relied     12 articles with respect to asbestos and the
      13 on, and the question was always asked around, you    13 identification of asbestos. Is that correct?
      14 know, the frame of other than articles in which      14     A That's correct.
      15 you were an author.                                  15         MR. PLACITELLA: Objection to form.
      16         Do -- do you recall that series?             16 BY MR. FROST:
      17      A I do.                                         17     Q Can you estimate for me how many
      18         MR. PLACITELLA: Objection to the form.       18 peer-reviewed articles you've published on this
      19 BY MR. FROST:                                        19 subject?
      20      Q Is it acceptable in a scientific              20     A I think I put in my report that number
      21 literature review to rely on peer-reviewed           21 38. I'm happy to recount.
      22 articles?                                            22     Q Do you know of any other scientists who
      23         MR. PLACITELLA: Objection to form.           23 has published more peer-reviewed papers --
      24         THE WITNESS: Yes.                            24         MR. PLACITELLA: In mine it's 39.
      25 BY MR. FROST:                                        25 BY MR. FROST:

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       1      Q And can you explain to me what a               1     Q Are you aware of any other scientists
       2 peer-reviewed -- like what it means to be a           2 who have published more peer-reviewed literature
       3 peer-reviewed publication?                            3 than you have in these areas?
       4      A It means that the manuscript that you          4         MR. PLACITELLA: Objection. I think
       5 submit to a journal is sent out, usually              5 that's beyond her competence, but okay.
       6 anonymously, to experts in the field. And their       6         THE WITNESS: Yeah, I -- I would say
       7 comments come back to the editor. The editor          7 certainly I'm among those who have published a
       8 sometimes -- mostly will ask for responses.           8 lot. I couldn't tell you -- I don't -- I would
       9 The -- sometimes the peer review requires another     9 have to see their CVs.
      10 review. Sometimes it says simply address these       10 BY MR. FROST:
      11 issues. One addresses the issues, makes the          11     Q And in addition to your peer-reviewed
      12 revisions or argues that they're unnecessary. The    12 publications on the identification of asbestos and
      13 editor makes the decision at that point about        13 asbestos, have you done any other work as a
      14 whether to accept an article or require that it go   14 scientist in these areas?
      15 out for additional review.                           15     A I have done -- oh, yes, mm-hmm. I have
      16         But in the long run, it really means         16 done work that I have not published.
      17 that your work has been reviewed by other experts    17     Q And what types of things would this work
      18 in the field anonymously -- normally anonymously.    18 have undertaken?
      19      Q And is review of peer-reviewed                19         MR. PLACITELLA: Object to the form.
      20 scientific literature what an academic or a          20         THE WITNESS: I've reviewed reports.
      21 scientist typically does in undertaking a            21 I've analyzed materials as -- as we've discussed.
      22 literature review?                                   22 I've done research in the lab. I've had students
      23      A Normally do you look for peer-reviewed        23 do the work on -- in the topic under my direction.
      24 information?                                         24 BY MR. FROST:
      25      Q Yes.                                          25     Q And you would agree with me that you're

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       1 bringing all of this prior experience and work       1       MR. PLACITELLA: Has that been supplied
       2 into the opinions you've drafted for this case,    2 to us before?
       3 correct?                                           3         MR. FROST: No.
       4      A That's --                                   4         MR. PLACITELLA: Well, I object to you
       5         MR. PLACITELLA: Objection. Leading.        5 asking her any question about any document that
       6         THE WITNESS: That's correct.               6 has not been supplied to us before the deposition
       7 BY MR. FROST:                                      7 or in discovery and which I have no opportunity to
       8      Q I'm going to turn your attention to a       8 read and review. So I object to using this at
       9 letter that was previously marked as AW-17.        9 all, and I object to all questions relating to it.
      10      A Yes.                                       10         MR. FROST: Well, that's fine, Chris.
      11      Q If you could turn to page 3.               11 This is in direct rebuttal to something you
      12         Do you recall Mr. Placitella asked you a  12 brought up during your examination, and it's a
      13 series of questions regarding this -- this        13 publicly available document. So your objection is
      14 particular letter?                                14 noted, but we're going to continue.
      15      A I do.                                      15         MR. PLACITELLA: Well -- okay. Well, I
      16      Q And it appears in the last article that    16 sat around here for more than an hour, and you
      17 you're taking issue with an EPA interim method on 17 apparently knew that you were going to use this.
      18 testing of bulk insulation materials. Is that     18 It would have been nice and courteous if you had
      19 fair?                                             19 handed it to me ahead of time. But do whatever
      20      A That's fair.                               20 you will do.
      21      Q What year was this letter written?         21         MR. FROST: I will.
      22      A 1986.                                      22         (Wylie Exhibit AW-55 was marked
      23      Q And you've also talked extensively today 23           for identification.)
      24 about the EPA PLM testing methodology; is that    24         MR. FROST: Is it marked? Please give
      25 correct?                                          25 that to Dr. Wylie.

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       1     A That's correct.                                1 BY MR. FROST:
       2     Q And is that the R-93 method?                   2     Q Take your time to review what's been
       3     A Yes.                                           3 marked as AW-55.
       4     Q Are you aware what year the EPA                4     A Yes.
       5 published R-93?                                      5     Q Is this the interim method from the EPA
       6     A 1993.                                          6 that you were just talking about?
       7     Q So that was certainly after the 1986           7     A Yes.
       8 drafting of this letter, correct?                    8     Q And is this the interim method that's
       9         MR. PLACITELLA: Objection. Leading.          9 referenced in the letter designated as AW-16?
      10         THE WITNESS: That's --                      10     A Yes.
      11 BY MR. FROST:                                       11     Q Could you point me to where in this
      12     Q I'll reask the question. Is 1993 after        12 document your -- or strike that.
      13 1986 when you drafted this letter?                  13        What aspect of this interim method is
      14         MR. PLACITELLA: Objection to the form.      14 your letter specifically addressing in the final
      15         THE WITNESS: Yes.                           15 paragraph on page 3 of AW-16?
      16 BY MR. FROST:                                       16        MR. PLACITELLA: Object to the form.
      17     Q Do you know what interim method -- EPA        17        THE WITNESS: The section of the method,
      18 interim method you're talking about on page 3 of    18 1.7.2.4, "Quantitation of asbestos content." In
      19 this letter?                                        19 the second paragraph: "For the purpose of this
      20     A Yes, there was a method, an interim           20 method, asbestos fibers," and that's in quotes,
      21 method that was published in the '80s. That's the   21 "are defined as having an aspect ratio greater
      22 method I'm referring to.                            22 than 3-to-1, and being positively identified as
      23         MR. FROST: I'm going to mark this           23 one of the minerals in Table 1.1."
      24 document as AW-55. Hand that to the court           24 BY MR. FROST:
      25 reporter.                                           25     Q Did that portion of the interim method

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       1 make it into R-93?                                         1         MR. FROST: I'm going to mark this as
       2      A It did not.                                         2 AW-56, please.
       3      Q And what was the reason that you're                 3         (Wylie Exhibit No. AW-56 was
       4 criticizing this particular portion of the interim         4         marked for identification.)
       5 method?                                                    5         MR. PLACITELLA: I don't want to take it
       6      A It's inadequate to discriminate asbestos            6 home. It's too heavy.
       7 from cleavage fragments.                                   7         How come you could make a big fat copy
       8      Q All right. Next I'm going to turn your              8 of that, but you couldn't give me a two-page piece
       9 attention to what has been previously marked as            9 of paper?
      10 AW-16. I'll hand that to you.                             10 BY MR. FROST:
      11         Do you recall when Mr. Placitella was             11     Q Turn your attention to page 36, please.
      12 asking you a series of questions about this               12     A I'm going to have to move this clamp.
      13 letter?                                                   13     Q That's fine. Take your time.
      14      A Yes, I do.                                         14     A I'm going to take the clamp off. Okay.
      15      Q Okay. I'm going to make it real easy so            15     Q Okay. I'm going to read a portion of
      16 the record is clear.                                      16 the deposition.
      17         Did you work with -- well, strike that.           17         Starting on page 36, line 8:
      18 I'll go back first.                                       18           "Q. In testing that you did on
      19         You testified before, if I'm correct,             19         the two ore deposits and also baby
      20 that the work you were doing in and around 1987           20         powder products with talc in them,
      21 was the drafting of a methodology for PLM that you        21         were you ever able to determine
      22 submitted to the ASTM committee. Is that fair?            22         whether or not either the ore or
      23      A That's fair.                                       23         any of the baby powder had
      24      Q Okay. In drafting that methodology,                24         asbestos in it?
      25 and I'm going to make this really simple, did you         25           "A. Well, we were -- part of a
                                                      Page 267                                                Page 269
       1 ever work with or have any communications with             1        visit like to take the samples is
       2 W. Ashton?                                                 2        to look around and see if you can
       3     A He wrote me this letter.                             3        see anything which might represent
       4     Q Other than this letter, did you ever                 4        an asbestos-type contaminant. And
       5 work with W. Ashton on that methodology?                   5        although looking at the rock
       6     A No.                                                  6        specimens we brought back, there
       7     Q Okay. And we know you've done other                  7        were amphibole minerals, but there
       8 work with Slim Thompson, but did you do any work           8        were no obvious asbestos visible
       9 with Slim Thompson regarding the drafting of this          9        in the mine.
      10 methodology?                                              10           "Q. After all the testing that
      11     A No.                                                 11        you did, were you able ever to
      12     Q Okay. And in fact, who did you submit               12        find asbestos in the samples or
      13 the methodology to?                                       13        the deposit samples that you
      14     A The committee, ASTM Committee D22507.               14        looked at?"
      15        Actually, I probably sent it to Sharon             15        MR. PLACITELLA: Well, can you just put
      16 Kaufman at ASTM.                                          16 for the record who's asking these questions?
      17     Q Do you recall before being showed a                 17        MR. FROST: Sure.
      18 portion of a deposition transcript from                   18        MR. PLACITELLA: Is it the lawyer for
      19 Dr. Pooley?                                               19 Johnson & Johnson?
      20     A I do.                                               20        MR. FROST: Yes.
      21     Q And you'd agree with me that that was               21        MR. PLACITELLA: So -- so this is prior
      22 not the complete deposition transcript you were           22 to Mr. Lanier's cross, just for context.
      23 shown, correct?                                           23        MR. FROST: I believe that's correct.
      24     A Yes, I am.                                          24 This is Mr. Bicks.
      25        MR. PLACITELLA: So -- so stipulated.               25        MR. PLACITELLA: Okay. Okay.

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       1 BY MR. FROST:                                       1 correct?
       2     Q So before we were interrupted,                2      A Yes.
       3 continuing along --                                 3          MR. FROST: Thank you. That's all the
       4        MR. PLACITELLA: I just --                    4 questions that we have.
       5 BY MR. FROST:                                       5          MR. PLACITELLA: Okay. I just have five
       6     Q -- on page 37 --                              6 minutes or less.
       7        MR. FROST: That's fine.                      7          MR. FROST: Well, hold on, how much time
       8        MR. PLACITELLA: I want to make sure the 8 did we use?
       9 record is clear.                                    9          THE VIDEOGRAPHER: That session was 19
      10 BY MR. FROST:                                      10 minutes.
      11     Q "A. No. Mineral types, yeah, amphibole       11          MR. PLACITELLA: Okay. So I'm good,
      12 mineral, but no asbestos, no."                     12 right?
      13        Did I read that correctly?                  13          MR. FROST: So 19 minutes are left.
      14     A That's -- that's what it says.               14          MR. PLACITELLA: Okay. Well, I will do
      15     Q Based on what you read here, is this         15 it in five minutes or less.
      16 consistent with what you saw in Dr. Pooley's       16            REDIRECT EXAMINATION
      17 report?                                            17 BY MR. PLACITELLA:
      18     A It is.                                       18      Q As a scientist, a conscientious
      19     Q Now, finally, you were asked a series of     19 scientist -- and by the way, this thing with the
      20 questions about PLM; is that correct?              20 Senate testimony, I appreciate your testimony.
      21     A Yes.                                         21 After that happened, did you go back and look at
      22     Q Is PLM an instrument or a methodology?       22 your old CDs and figure out who you worked for to
      23     A An instrument.                               23 see -- before you wrote the letter to -- to
      24     Q Do you take any issue with the fact that     24 Senator Boxer to say, Hey, did GAF ever make
      25 Drs. Longo and Rigler used PLM as an instrument in 25 asbestos? Did Keene ever make asbestos? Did you

                                                    Page 271                                                Page 273
       1 their testing?                                         1 ever do that?
       2     A No.                                              2      A Her question was quite specific with
       3     Q Is there anything that you take issue            3 respect to litigation and disease.
       4 with?                                                  4      Q Okay. We'll just leave it there.
       5         MR. PLACITELLA: Objection to the form.         5         As a conscientious scientist, do you --
       6 BY MR. FROST:                                          6 but before you come to reach your conclusions, do
       7     Q That wasn't quite done, but is there             7 you like to have all the available information or
       8 anything you take issue with with respect to the       8 just partial, part of the information?
       9 use of PLM in the -- in Dr. Longo and Rigler's         9         MR. FROST: Objection to form.
      10 testing?                                              10         THE WITNESS: All the information -- I
      11     A I -- I believe I've made those comments         11 guess I'm not clear exactly. If you're referring
      12 in my testimony.                                      12 to all of those testings that you showed me, I was
      13     Q Other than what you've testified to             13 asked to review this document as I would a peer
      14 today, you know, thus far today, is there anything    14 review of a publication, and that was what I did.
      15 with respect to the methodology utilized by them      15 BY MR. PLACITELLA:
      16 under PLM that you take issue with?                   16      Q Yeah, and I appreciate that, Doctor.
      17         MR. PLACITELLA: Objection to the form.        17 But what happened in this case is your lawyers
      18         THE WITNESS: Yes. I think I outlined          18 cherry-picked non-published information and gave
      19 that.                                                 19 it to you to review but didn't provide you other
      20 BY MR. FROST:                                         20 information. Correct?
      21     Q And where do you outline that?                  21         MR. FROST: Objection to form.
      22     A In -- in my report.                             22 BY MR. PLACITELLA:
      23     Q Okay. So your criticisms with the               23      Q That's what happened.
      24 methodology utilized by Drs. Longo and Rigler         24         MR. FROST: Objection to form.
      25 under PLM are set forth in your report; is that       25         THE WITNESS: There certainly is a lot

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       1 of information that you showed me.                         1     A Yes.
       2 BY MR. PLACITELLA:                                         2     Q -- Frost just --
       3     Q Okay. And to be complete in your                     3     A Yes.
       4 analysis, you would at least like to know what it          4     Q Other than that, it -- it's fine?
       5 is and decide whether to discard it or consider            5     A I haven't looked at the -- no, I
       6 it. Do you agree?                                          6 wouldn't say that. I'm not going to bless it
       7          MR. FROST: Objection to form.                     7 because I'd have to look at it very carefully.
       8          THE WITNESS: Information by itself                8     Q Okay. So --
       9 doesn't have a lot of meaning. The context, who            9     A But in the letter that I wrote which you
      10 did it, the reputation of the person, the skills          10 asked me about, I was referring specifically to
      11 of the person, and that sort of thing, and so some        11 the aspect ratio and the particle criteria that
      12 of those documents you showed me were practically         12 they put for a definition of "asbestos fiber."
      13 before I was a professor. I don't know if they            13     Q Okay.
      14 would have been helpful to me or not because that         14     A That was my objection reflected in that
      15 information might not have been there. I don't            15 letter.
      16 know.                                                     16     Q So you had no problem with the fact that
      17 BY MR. PLACITELLA:                                        17 they were using a spec for bulk insulation
      18     Q Well, the Colorado School of Mines,                 18 samples, correct?
      19 that's a respected entity, is it not, testing             19         MR. FROST: Objection to form.
      20 entity?                                                   20 BY MR. PLACITELLA:
      21          MR. FROST: Objection to form.                    21     Q Didn't express that.
      22          THE WITNESS: Yes, so is the University           22         MR. FROST: Objection to form.
      23 of Maryland, yes.                                         23         THE WITNESS: Please -- please -- please
      24 BY MR. PLACITELLA:                                        24 ask it again.
      25     Q No question.                                        25 BY MR. PLACITELLA:

                                                      Page 275                                                Page 277
       1     A Yes.                                                 1      Q This --
       2     Q And can we just put it on the record so              2      A Yes.
       3 when I go home and I talk to my Terrapin son               3      Q -- was for bulk insulation.
       4 graduate that I'm not taking away from the                 4      A That's correct.
       5 University of Maryland.                                    5      Q But your problem wasn't that it was for
       6         But Colorado School of Mines clearly is            6 bulk insulation. It was because they had the
       7 a respected entity for testing, correct?                   7 wrong aspect ratio, correct?
       8         MR. FROST: Objection to form.                      8         MR. FROST: Objection to form.
       9         THE WITNESS: Yes.                                  9         THE WITNESS: My problem was is that
      10 BY MR. PLACITELLA:                                        10 because it -- yes. I would say yes.
      11     Q And you were provided nothing from them,            11 BY MR. PLACITELLA:
      12 correct?                                                  12      Q Okay. Now, just so we know, is there
      13     A Yes.                                                13 tremolite in the Vermont mines that were used for
      14     Q And clearly McCrone is an -- a respected            14 baby powder?
      15 entity for testing, correct?                              15         MR. FROST: Objection to form.
      16         MR. FROST: Objection to form.                     16         THE WITNESS: Yes.
      17         THE WITNESS: As with all testing                  17 BY MR. PLACITELLA:
      18 laboratories, they make mistakes.                         18      Q There is?
      19 BY MR. PLACITELLA:                                        19      A Yes.
      20     Q Everybody makes mistakes. Do you agree?             20      Q How much?
      21     A So, yes, of course.                                 21      A I don't know.
      22     Q Okay. And this test method -- this EPA              22      Q Okay. And the only way you would know
      23 test method where you said that what ended up --          23 is if somebody gave you a sample, correct? And
      24 or what you had an issue with was the 3-to-1              24 you test -- you tested or had it tested, correct?
      25 aspect ratio, do you recall that? Mr. --                  25         MR. FROST: Objection to form.

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       1 BY MR. PLACITELLA:                                  1 conclusions.
       2     Q That's how you would be certain.              2        MR. FROST: Same set of objections.
       3     A I would be certain.                           3 BY MR. PLACITELLA:
       4     Q Right. And that -- and you would take         4     Q Correct?
       5 that sample and you would put it under the PLM      5     A I think that's what I just said.
       6 microscope, correct?                                6     Q Okay. And if the tests output from the
       7     A Correct.                                      7 microscope aren't available to you, they're no
       8     Q And you would take photomicrographs,          8 longer available, they're destroyed, that would
       9 correct?                                            9 impact the scientific process of evaluating
      10     A Usually.                                     10 whether there was asbestos or not in that sample,
      11     Q Right. And then based upon that, you         11 correct?
      12 would make the determination about whether that    12        MR. FROST: Hold on. Objection to form.
      13 tremolite was asbestos or not, correct?            13 First off, this is outside of the direct
      14        MR. FROST: Objection to form.               14 examination. You've gone far afield of anything
      15        THE WITNESS: Yes.                           15 that we asked. If you wanted to ask these
      16 BY MR. PLACITELLA:                                 16 questions, Chris, you should have asked them
      17     Q But that didn't happen in this case,         17 during your direct examination.
      18 correct?                                           18        MR. PLACITELLA: I'm almost done.
      19        MR. FROST: Objection to form.               19        MR. FROST: Hold on. I'm not done yet.
      20        THE WITNESS: I analyzed no samples.         20        And second off, now you're asking
      21 BY MR. PLACITELLA:                                 21 questions that have absolutely nothing to do with
      22     Q That didn't happen in this case.             22 any of the opinions that Dr. Wylie has rendered in
      23     A It did not happen.                           23 this case.
      24        MR. FROST: Objection to form.               24        MR. PLACITELLA: Well, somebody else
      25 BY MR. PLACITELLA:                                 25 will make that determination.

                                                 Page 279                                              Page 281
       1      Q And just a couple more questions, and        BY MR. PLACITELLA:
                                                             1
       2 I -- I might be going over by one minute.         2      Q So all I'm asking you is, if you wanted
       3         In order to determine whether a test was  3 to verify testing that was done by somebody else,
       4 valid or not, right, let's say PLM, you would     4 you would need to see the actual output from the
       5 actually need either -- you would actually need   5 microscope that they were looking at in a clear
       6 the sample itself and run your own test or the    6 and presentable form. Is that fair?
       7 output from the microscope, correct?              7         MR. FROST: Same set of objections.
       8         MR. FROST: Hold on. First, objection      8         THE WITNESS: I would need a list of the
       9 to form. Second, objection goes well beyond the   9 properties that they measured and the data that
      10 examination.                                     10 they -- and the results of those properties. I'd
      11 BY MR. PLACITELLA:                               11 like to know if they're calling it tremolite.
      12      Q Correct?                                  12 What is the principal index of refraction, what is
      13         In other words, if you had to verify a   13 the extinction angle, where is the optic plane,
      14 test that was made, right, you would either have 14 and all of those listing things that I gave you.
      15 to look at the output from a microscope that you 15 BY MR. PLACITELLA:
      16 trusted, true?                                   16      Q Right.
      17      A Look at it with --                        17      A Those could be listed. They could be
      18         MR. FROST: Same objections.              18 listed. I would not necessarily -- if I had all
      19         THE WITNESS: Look at it with a           19 of that information, I think I would be able to
      20 microscope myself?                               20 conclude whether they had valid assumptions or
      21 BY MR. PLACITELLA:                               21 valid conclusions.
      22      Q Yes.                                      22      Q Right. I'm not quarreling with you.
      23      A Yes, mm-hmm.                              23      A I don't need the output from the
      24      Q Or you would have to take that sample     24 microscope --
      25 and run the test yourself and draw your own      25      Q Okay.

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       1     A -- in the sense I don't need                    1 Q Okay. Okay. What was my question?
       2 necessarily -- I mean, I don't know what you're   2     A I think you asked me if I had to have
       3 really referring to with output --                3 the output from the microscope, and I was not
       4     Q Were the photomicrographs --                4 clear what that is.
       5     A Well, that doesn't give you --              5     Q Okay.
       6         MR. FROST: Objection to form.             6     A These are observations that are made and
       7         THE WITNESS: -- the optical properties.   7 measurements that were --
       8 BY MR. PLACITELLA:                                8     Q I was probably inartful.
       9     Q Okay. What does give you the optical        9         There would be results that you would
      10 properties?                                      10 like to look at in order to verify whether in your
      11         MR. FROST: Objection.                    11 opinion you agreed with somebody else's
      12         THE WITNESS: You have to measure -- 12 conclusions, correct?
      13 BY MR. PLACITELLA:                               13         MR. FROST: Same objections.
      14     Q No, what output gives you the optical      14         THE WITNESS: Yes. And they were not
      15 properties that you could look at to verify?     15 available in the Longo and Rigler report.
      16         MR. FROST: Objection.                    16 BY MR. PLACITELLA:
      17         THE WITNESS: I would need a table        17     Q And they weren't available for any of
      18 indicating that they had measured them and what 18 the other tests that Johnson & Johnson did,
      19 they had found.                                  19 correct?
      20 BY MR. PLACITELLA:                               20         MR. FROST: Same objection. You're
      21     Q Okay. And without that information,        21 asking her to speculate now.
      22 you -- you couldn't really verify one way or the 22         THE WITNESS: I haven't seen them.
      23 other?                                           23 BY MR. PLACITELLA:
      24         MR. FROST: Same set of objections.       24     Q Would you liked to have seen them?
      25 BY MR. PLACITELLA:                               25         MR. FROST: Objection.
                                                  Page 283                                                Page 285
       1     Q     That's all I'm asking.                      1 BY MR. PLACITELLA:
       2     A     That's right.                               2     Q No?
       3     Q     Right.                                      3     A No.
       4          So if Johnson & Johnson was doing            4     Q So if Johnson & Johnson did their own
       5 testing historically, the only way that you could     5 tests on their own samples, that wouldn't have
       6 verify the validity of those tests is to have the     6 been important to you in terms of your opinions in
       7 kind of information that you are referring to         7 this case?
       8 today, correct?                                       8        MR. FROST: Objection. Asked and
       9          MR. FROST: Objection to form. And            9 answered several times.
      10 again, I think these questions are becoming more     10        THE WITNESS: I was asked to act as a
      11 and more inappropriate as you're going, Chris.       11 reviewer. I was not -- a reviewer of very
      12          THE WITNESS: Yeah, I have to think a        12 specific things, and that's what I did.
      13 little bit about your answer, because when -- when   13 BY MR. PLACITELLA:
      14 you apply the EPA method, and they tell you that     14     Q Okay. But there's no question, as we
      15 they have seen that meth- -- that information,       15 end this deposition, that there was tremolite in
      16 and, yes, they verified that they found fiber        16 the Vermont mines used for baby powder, correct?
      17 bundles, and that sort of thing -- you're --         17        MR. FROST: Objection to form.
      18 you're talking about a legal setting. I operate      18        THE WITNESS: Correct.
      19 in a scientific setting. So I think they're          19        MR. PLACITELLA: Okay. No more
      20 really quite different.                              20 questions. Thank you.
      21          And what I would accept from a              21        MR. FROST: I just have one question,
      22 scientist's word who I knew was well trained might   22 follow up to that.
      23 be different from what you would accept as a         23           RECROSS-EXAMINATION
      24 lawyer.                                              24 BY MR. FROST:
      25 BY MR. PLACITELLA:                                   25     Q When you're -- when you say "tremolite,"

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                                                    Page 286                                                             Page 288
       1 Dr. Wylie, you're talking about tremolite, the          1     CERTIFICATE OF CERTIFIED SHORTHAND REPORTER
       2 mineral, which is different than asbestiform            2      The undersigned Certified Shorthand Reporter
       3 tremolite, right?                                       3 does hereby certify:
       4         MR. PLACITELLA: Objection. Leading,             4      That the foregoing proceeding was taken before
       5 form. You can't do that.                                5 me at the time and place therein set forth, at
       6         MR. FROST: Well, I don't know that you          6 which time the witness was duly sworn; That the
       7 have --                                                 7 testimony of the witness and all objections made
       8         MR. PLACITELLA: You can't do that.              8 at the time of the examination were recorded
       9         MR. FROST: -- much of a right to object         9 stenographically by me and were thereafter
      10 here, but fine.                                        10 transcribed, said transcript being a true and
      11 BY MR. FROST:                                          11 correct copy of my shorthand notes thereof; That
      12     Q What did you mean by object -- or what           12 the dismantling of the original transcript will
      13 do you mean by tremolite, Dr. Wylie, in                13 void the reporter's certificate.
      14 response --                                            14      In witness thereof, I have subscribed my name
      15         MR. PLACITELLA: Object --                      15 this date: March 15, 2019.
      16 BY MR. FROST:                                          16
      17     Q -- to Mr. Placitella's question?                 17              ________________________
      18         MR. PLACITELLA: Objection.                     18              LESLIE A. TODD, CSR, RPR
      19         THE WITNESS: In my report I clearly            19              Certificate No. 5129
      20 stated that a mineral name is applied to a             20 (The foregoing certification of
      21 chemical composition and an ordered atomic             21 this transcript does not apply to any
      22 arrangement, and the external morphology or its        22 reproduction of the same by any means,
      23 habit is unrelated entirely to the mineral name.       23 unless under the direct control and/or
      24 BY MR. FROST:                                          24 supervision of the certifying reporter.)
      25     Q So just because Mr. Placitella was               25

                                                      Page 287                                                  Page 289
       1 asking you about tremolite, that doesn't mean that     1          INSTRUCTIONS TO WITNESS
       2 you believe there's asbestiform tremolite in those     2     Please read your deposition over carefully and
       3 mines, correct?                                        3 make any necessary corrections. You should state
       4        MR. PLACITELLA: Objection. Leading,             4 the reason in the appropriate space on the errata
       5 form.                                                  5 sheet for any corrections that are made.
       6        THE WITNESS: No.                                6 After doing so, please sign the errata sheet
       7        MR. FROST: Okay. That's all the                 7 and date it.
       8 questions we have.                                     8     You are signing same subject to the changes
       9           REDIRECT EXAMINATION                         9 you have noted on the errata sheet, which will be
      10 BY MR. PLACITELLA:                                    10 attached to your deposition. It is imperative
      11     Q You'd have to see all the testing,              11 that you return the original errata sheet to the
      12 wouldn't you, to make a final conclusion?             12 deposing attorney within thirty (30) days of
      13        MR. FROST: Objection to form.                  13 receipt of the deposition transcript by you. If
      14        THE WITNESS: No.                               14 you fail to do so, the deposition transcript may
      15        MR. PLACITELLA: Okay. That's all the           15 be deemed to be accurate and may be used in court.
      16 questions I have. Thank you.                          16
      17        THE VIDEOGRAPHER: All right. The time 17
      18 is 5:29 p.m., on March 13th, 2019. We're going        18
      19 off the record, completing the videotaped             19
      20 deposition.                                           20
      21        (Whereupon, the deposition of                  21
      22        ANN G. WYLIE, Ph.D. was                        22
      23        concluded at 5:29 p.m.)                        23
      24                                                        24
      25                                                        25


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       1              ------                                             1          LAWYER'S NOTES
       2              ERRATA                                             2   PAGE LINE
       3              ------                                             3   ____ ____ ____________________________
       4 PAGE LINE CHANGE                                                4   ____ ____ ____________________________
       5 ____ ____ ________________________________________              5   ____ ____ ____________________________
       6 REASON: ________________________________________                6   ____ ____ ____________________________
       7 ____ ____ ________________________________________              7   ____ ____ ____________________________
       8 REASON: ________________________________________                8   ____ ____ ____________________________
       9 ____ ____ ________________________________________              9   ____ ____ ____________________________
      10 REASON: ________________________________________ 10                 ____ ____ ____________________________
      11 ____ ____ ________________________________________ 11               ____ ____ ____________________________
      12 REASON: ________________________________________ 12                 ____ ____ ____________________________
      13 ____ ____ ________________________________________ 13               ____ ____ ____________________________
      14 REASON: ________________________________________ 14                 ____ ____ ____________________________
      15 ____ ____ ________________________________________ 15               ____ ____ ____________________________
      16 REASON: ________________________________________ 16                 ____ ____ ____________________________
      17 ____ ____ ________________________________________ 17               ____ ____ ____________________________
      18 REASON: ________________________________________ 18                 ____ ____ ____________________________
      19 ____ ____ ________________________________________ 19               ____ ____ ____________________________
      20 REASON: ________________________________________ 20                 ____ ____ ____________________________
      21 ____ ____ ________________________________________ 21               ____ ____ ____________________________
      22 REASON: ________________________________________ 22                 ____ ____ ____________________________
      23 ____ ____ ________________________________________ 23               ____ ____ ____________________________
      24 REASON: ________________________________________ 24                 ____ ____ ____________________________
      25                                                                25

                                                             Page 291
       1         ACKNOWLEDGMENT OF DEPONENT
       2     I,___________________________, do hereby
       3 certify that I have read the foregoing pages, and
       4 that the same is a correct transcription of the
       5 answers given by me to the questions therein
       6 propounded, except for the corrections or changes
       7 in form or substance, if any, noted in the
       8 attached Errata Sheet.
       9
      10 __________________________________________________
      11 ANN G. WYLIE, Ph.D.                   DATE
      12
      13
      14 Subscribed and sworn to
      15 before me this
      16 ______day of_______________,20___.
      17 My commission expires:_______________
      18 _____________________________________
      19 Notary Public
      20
      21
      22
      23
      24
      25


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                         Exhibit C
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                                        VITAE

   William Edward Longo, Ph.D
   MAS, LLC
   3945 Lakefield Court
   Suwanee, Georgia 30024
   Work Telephone: (770) 866-3200


   EDUCATION

   October 1980 to        Received Doctor of Philosophy in Materials Science and
   December 1983          Engineering, University of Florida

   June 1979 to           Received Master of Science in Materials Science and
   May 1982               Engineering, University of Florida.

   September 1972 to      Received Bachelor of Science degree; Major in Microbiology,
   June 1977              Minor in Chemistry, University of Florida.


   PROFESSIONAL WORK HISTORY

   September 1987 to      President of MAS, LLC (previously Materials
   Present                Analytical Services, Inc.) Suwanee, Georgia.

   August 1987 to         President and Founder of Longo Microanalytical
   February 1988          Services, Inc., Gainesville, Florida.

   October 1983 to        President and Founder of Micro Analytical
   August 1987            Laboratories, Inc., Gainesville, Florida.

   March 1985 to          Visiting Assistant Professor; University of Florida,
   December 1987          Department of Materials Science and Engineering.

   August 1983 to         Post Doctoral Associate; University of Florida,
   March 1985             Department of Materials Science and Engineering.




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   William E. Longo, Ph.D
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   PATENTS

   U. S. Patent Serial No. 4671954 June 9, 1987. Goldberg, E.P., Iwata, H., and Longo,
   W.E., "Microspheres for Incorporation of Therapeutic Substances and Methods of
   Preparation Thereof."

   U. S. Patent Serial No. 4871716, October 3, 1989. Goldberg, E.P., Longo, W.E., and
   McCluskey, R.A., "Magnetically Responsive, Hydrophilic Microspheres for Incorporation
   of Therapeutic Substances and Methods of Preparation Thereof."

   PUBLICATIONS AND PRESENTATIONS

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   Adriamycin Microspheres for Localized Chemotherapy" 8th Annual Meeting of the Society
   of Biomaterials, 10, 60, 1982.


   ACTIVITIES AND ORGANIZATIONS

   *      Member of Environmental Protection Agency Workshop on Sampling and Analysis
          of Asbestos in Settled Dusts, July 1989.

   *      Member of Environmental Protection Agency Peer Review Group for the Asbestos
          Engineering Program, 1987 to present.

   *      Vice-Chairman of the National Asbestos Council Analytical Subcommittee on
          Transmission Electron Microscopy 1987-1988.

   *      Chairman of National Asbestos Council Analytical Subcommittee on Transmission
          Electron Microscopy 1988-1989.

   *      Member of ASTM D-22-05 Subcommittee for Indoor Air Pollution.




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   LECTURES AND COURSES INSTRUCTED

   Longo, W.E. “Electron Microscopy for Industrial Hygiene Applications” American Industrial
   Hygiene Conference Professional Development Course, Atlanta GA, May 2004.

   Longo, W. E. "Settled Dust: Asbestos and Other Particulates"
   Georgia Institute of Technology Seminar, August 1991.

   Longo, W. E. "The Role of the Laboratory Manager, Quality Assurance Officer and the
   Analyst for NIST Accreditation" Georgia Institute of Technology, Transmission Electron
   Microscopy Asbestos Accreditation Seminar, August 1989.

   Longo, W. E. 24th Annual Meeting of the Microbeam Analysis Society,
   "Asbestos Analysis Session" Ashville, North Carolina, July 1989 (Session Co-Chairman).

   Longo, W. E. "Fundamentals of Asbestos Analysis by TEM" Institute in Materials Science
   State University of New York. New Paltz, New York, October 1988 (Course Director).

   Longo, W. E. "TEM Imaging/Photography" Georgia Institute of Technology, Transmission
   Electron Microscopy Asbestos Analysis Course, June 1988.

   Longo, W. E. "Laboratory Preparation of Polycarbonate Filters for TEM Analysis"
   Georgia Institute of Technology, Advanced Transmission Electron Microscopy
   Asbestos Analysis Course, February 1988.

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   Technology, Advanced Transmission Electron Microscopy Asbestos Analysis
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   May 1986.




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   PROFESSIONAL MEMBERSHIPS

   American Industrial Hygiene Association          1985 to Present

   American Society for the Testing of Materials    1987 to Present

   American Society of Materials                    1994 to Present

   National Asbestos Council                        1984 to 1993

   Environmental Information Association            1993 to Present

   Materials Research Society                       1988 to Present

   Electron Microscopy Society Association          1988 to Present

   Microbeam Analysis Society                       1988 to Present

   New York Academy of Science                      1985 to 1987
                                                    1989 to 1994

   Air Pollution Control Association                1985 to 1987

   National Institute of Building Sciences          1991 to Present

   The Society for Ultrastructural Pathology        1996 to Present

   American Society of Heating, Refrigerating       1996 to Present
   and Air-Conditioning Engineers

   The American College of Forensic                 1999 to Present
   Examiners – Fellow of Forensic
   Engineering Technology (IN. 17825)

   American Conference of Governmental              2006 to Present
   Industrial Hygienist (ACGIH)
   Associate Member



                                                                   Updated: 11/22/17




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                                              46627 1           APPEARANCES OF COUNSEL (continued)

                                                                                                                     2

       1                    IN THE UNITED STATES DISTRICT COURT                                                      3   On behalf of the Defendant,
                              FOR THE DISTRICT OF NEW JERSEY                                                               Johnson & Johnson and Johnson & Johnson Consumer
       2                                                                                                             4     Inc.:
       3
                                                                                                                     5       ALEX V. CHACHKES, Esq.
       4       IN RE: JOHNSON & JOHNSON    )                                                                                 NINA TROVATO, Esq.
               TALCUM POWDER PRODUCTS      )                                                                         6       Orrick, Herrington & Sutcliffe, LLP
       5       MARKETING SALES             )
               PRACTICES, AND PRODUCTS     ) MDL NO.16-2738(FLW)(LHG)                                                        51 West 52nd Street
       6       LIABILITY LITIGATION        )                                                                         7       New York, New York 10019-1642
               ____________________________)                                                                                 Achachkes@orrick.com
       7
                                                                                                                     8       Ntrovato@orrick.com
       8
                                                                                                                     9
       9
                                                                                                                             JACK N. FROST, JR., Esq.
      10                                                                                                         10          Drinker Biddle & Reath LLP
                                                                                                                             600 Campus Drive
      11                         VIDEO-RECORDED DEPOSITION OF                                                    11          Florham Park, New Jersey 07932-1047
      12                             WILLIAM E. LONGO, PH.D.                                                                 Jack.frost@dbr.com
                                                                                                                 12
      13

      14                                                                                                         13      On behalf of the Defendant,
                                           February 5, 2019                                                                Imerys Talc America, Inc.:
      15                                                                                                         14
                                              10:24 a.m.
      16                                                                                                                     MARK K. SILVER, Esq.
                                                                                                                 15          Coughlin Duffy, LLP
      17                                                                                                                     350 Mount Kemble Avenue
      18                                  Suite 100
                                                                                                                 16          Morristown, New Jersey 07962
                                   11555 Medlock Bridge Road                                                                 Msilver@coughlinduffy.com
      19                             Johns Creek, Georgia                                                        17
      20
                                                                                                                 18          MARK A. PROST, Esq.
      21                                                                                                                     Sandberg Phoenix & von Gontard, P.C.
                                                                                                                 19          600 Washington Avenue
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           2                                                                                                         2

           3   On behalf of the Plaintiffs:                                                                          3   On behalf of the Defendant,
                                                                                                                           Imerys Talc America, Inc.:
                                                                                                                     4
           4        LEE CIRSCH, Esq.
                                                                                                                             ROBERT A. RICH, Esq.
                    The Lanier Law Firm                                                                              5       Gordon & Rees Scully Mansukhani
           5        21550 Oxnard Street                                                                                      1111 Broadway
                    3rd Floor                                                                                        6       Suite 1700
           6        Woodland Hills, California 91367                                                                         Oakland, California 94607
                    Lee.cirsch@lanierlawfirm.com                                                                     7       Rrich@grsm.com
           7
                                                                                                                     8
           8        P. LEIGH O'DELL, Esq.                                                                                On behalf of the Defendant,
                    Beasley Allen Law Firm                                                                           9     PTI:
           9        218 Commerce Street
                    Montgomery, Alabama 36103-4160                                                               10          MICHAEL ANDERTON, Esq.
       10           Leigh.odell@beasleyallen.com                                                                             Tucker Ellis, LLP
                                                                                                                 11          950 Main Avenue
                                                                                                                             Suite 1100
       11
                                                                                                                 12          Cleveland, Ohio 44113-7213
                    MICHELLE A. PARFITT, Esq.
                                                                                                                             Michael.anderton@tuckerellis.com
       12           JAMES GREEN, Esq.                                                                            13
                    Ashcraft & Gerel, LLP
       13           1825 K. Street                                                                               14      On behalf of the Defendant,
                    Suite 700                                                                                              PCPC:
       14           Washington, D.C. 20036                                                                       15
                    Mparfitt@ashcraftlaw.com                                                                                 REBECCA WOODS, Esq.
       15                                                                                                        16          Seyfarth Shaw
                                                                                                                             1075 Peachtree Street, NE
       16           DENNIS M. GEIER, Esq.                                                                        17          Suite 2500
                    Cohen Placitella Roth, PC                                                                                Atlanta, Georgia 30309
       17           127 Maple Avenue                                                                             18          Rwoods@seyfarth.com
                    Red Bank, New Jersey 07701
       18           Dgeier@cprlaw.com                                                                            19
                                                                                                                         Also Present:
                                                                                                                 20
       19
                                                                                                                             George Montiel, Videographer
       20                                                                                                        21
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                                                                                                              3          the Board of Court Reporting of the Judicial
       4
                 1        Dr. Longo's CV                                      10                              4          Council of Georgia.)
       5
                 2        January 15, 2019 report titled The                  10                              5                   (Identification statement by
       6                  Analysis of Johnson & Johnson's
                          Historical Product Containers and                                       10:21:28    6          videographer.)
       7                  Imerys' Historical Railroad Car
                          Samples from the 1960's to the Early                                    10:21:28    7                        WILLIAM E. LONGO, PH.D.,
       8                  2000's for Amphibole Asbestos
                          Supplemental Report                                                                 8   having been first duly sworn, was examined and
       9
                 3        November 14, 2018 report titled The                 10                  10:23:47    9   testified as follows:
      10                  Analysis of Johnson & Johnson's
                          Historical Baby Powder & Shower to                                      10:23:47   10                                 EXAMINATION
      11                  Shower Products from the 1960's to
                          the Early 1990's for Amphibole                                          10:23:51   11   BY MR. CHACHKES:
      12                  Asbestos
                                                                                                  10:23:51   12          Q.       Good morning, Dr. Longo.
      13         4        ISO 22262-1 standard                                11
                                                                                                  10:24:24   13          A.       Good morning.
      14         5        ISO 22262-2 standard                                11
                                                                                                  10:24:25   14          Q.       And my name is Alex Chachkes; I represent
      15         6        ISO 22262-3 standard                                11
                                                                                                  10:24:29   15   J&J. We've met before; right?
      16         7        February 1, 2019 report titled The                  11
                                                                                                  10:24:31   16          A.       Yes, sir, we have.
                          Analysis of Johnson & Johnson's
      17                  Historical Product Containers and
                                                                                                  10:24:32   17                   MR. CHACHKES: Okay. I want to begin the
                          Imerys' Historical Railroad Car
      18                  Samples from the 1960's to the Early                                    10:24:34   18          depo with an objection to the late productions.
                          2000's for Amphibole Asbestos, 2nd
      19                  Supplemental Report                                                     10:24:35   19          On Saturday we received a new 92-page report and

      20         8        Quality Assurance Report, Johnson and               14                  10:24:39   20          almost 7,000 pages of new back-up material. On
                          Johnson's JBP and STS, Imerys Railcar
      21                  and Asian Talc for Amphibole                                            10:24:43   21          Sunday we received supplemental reports, two new
                          Asbestos, January 31, 2019
      22                                                                                          10:24:46   22          reports from J3 and hundreds of other pages.
                 9        Thumb drive containing three reports,               14
      23                  November, January, and the March 2018                                   10:24:50   23                   So when we conclude today we are going to

      24        10        December 12, 2018 letter to Dr. Longo               14                  10:24:55   24          expressly keep the deposition open subject to
                          from J3
      25                                                                                          10:24:57   25          our analysis of the new production; and if it

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10:24:58  1       turns out that it is material that if we had                10:26:49  1             So Exhibit 2 is your January 16 expert
10:25:00  2       gotten earlier we would have asked about today,             10:26:54  2   report in this matter minus the backup data that was
10:25:03  3       we are going to recall the witness.                         10:26:57  3   attached to it when it was produced; is that correct?
10:25:06  4             MS. O'DELL: Well, we would object to any              10:27:00  4        A.   Yes, sir.
10:25:08  5       motion to hold the deposition open. The                     10:27:00  5        Q.   Okay. And then Exhibit 3 is your
10:25:10  6       requests that were made for data that was                   10:27:06  6   November 14 report in this matter which was, I
10:25:13  7       supplied on Saturday and earlier in the week                10:27:09  7   assume, superseded by Exhibit 2; correct?
10:25:17  8       were late requests, actually only received five             10:27:12  8        A.   Correct.
10:25:22  9       or I think it was seven days beforehand, they                         9             (Defendants' Exhibits 4, 5, and 6 were
10:25:23 10       were timely produced, and you've had sufficient             10:27:13 10        marked for identification.)
10:25:26 11       time to review them.                                        10:27:13 11        Q.   (By Mr. Chachkes) Okay. What's been
10:25:27 12             The supplement that you're referring to               10:27:15 12   marked as Exhibits 4, 5 and 6, can you confirm that
10:25:28 13       that was produced on Sunday corrected a couple              10:27:19 13   these are ISO 22262-1, -2, and -3?
10:25:32 14       of typographical errors and clarified the                   10:27:29 14        A.   Yes, sir.
10:25:37 15       identification of a sample, none of which is                10:27:30 15        Q.   So 1 will be 4, 2 will be 5, and 3 will be
10:25:40 16       sufficient to hold the deposition open, so we               10:27:37 16   6.
10:25:42 17       are going to oppose any such motion. Today's                         17             (Defendants' Exhibit 7 was marked for
10:25:46 18       your opportunity to depose Dr. Longo on these                        18        identification.)
10:25:48 19       samples.                                                    10:27:43 19        Q.   (By Mr. Chachkes) And then what's been
10:25:49 20             MR. CHACHKES: Obviously, we disagree, and             10:27:45 20   marked as Exhibit 7 is your second supplemental
10:25:51 21       we thought that material should have been                   10:27:52 21   report minus the backup data that was attached to it
10:25:53 22       produced and we should not have to fight for it,            10:27:56 22   dated February 1, 2019; is that correct?
10:25:56 23       but it's a fight for another day.                           10:28:00 23        A.   Yes, sir.
10:25:58 24             So we've premarked some exhibits, some                10:28:00 24        Q.   And it's my understanding that this report
10:26:00 25       things I'm sure we will be coming back to later.            10:28:05 25   supersedes what's been marked as Exhibit 2; is that
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                                                              10                                                                            12
10:26:02  1       What I want to do is maybe just go through those            10:28:12  1   correct? So it supersedes the January report?
10:26:04  2       quickly so they are on the record.                          10:28:15  2        A.   Yes, sir.
          3             (Defendants' Exhibit 1 was marked for                 10:28:17  3        Q.   And my understanding is that the only
          4       identification.)                                            10:28:19  4   difference between Exhibit 7 and Exhibit 2 is
10:26:08  5       Q.    (By Mr. Chachkes) Dr. Longo, you can                  10:28:21  5   Exhibit 7 corrects some typos?
10:26:08  6   confirm what's been marked as Exhibit 1 is your CV;             10:28:25  6             MS. O'DELL: Object to the form.
          7   is that correct?                                                10:28:29  7             THE WITNESS: The second supplement
10:26:15  8       A.    Yes, sir.                                             10:28:30  8        report, essentially it was to clarification on
10:26:15  9       Q.    And are there any updates to this since we            10:28:35  9        the Lee Poye J&J STS samples, 31F and 31G, and
10:26:17 10   received it?                                                    10:28:43 10        it is J&J sample -- hold on, I want to get the
10:26:18 11       A.    No, sir.                                              10:28:53 11        right numbers. Throws me off on two-sided. 77.
         12             (Defendants' Exhibits 2 and 3 were marked             10:29:28 12        Q.   (By Mr. Chachkes) That's okay. You've
10:26:18 13       for identification.)                                        10:29:30 13   given me the 31F and 31G. So am I correct in my
10:26:18 14       Q.    (By Mr. Chachkes) Okay. What's been                   10:29:34 14   understanding that Exhibit 7 does more than correct
10:26:20 15   marked as Exhibit 2 is your January 16 expert report            10:29:38 15   typos?
10:26:30 16   extracted --                                                    10:29:39 16        A.   Yes. Exhibit 7 does not have any new
10:26:33 17             MS. O'DELL: November 14.                              10:29:45 17   analytical data. The two samples that Lee Poye
10:26:33 18       Q.    (By Mr. Chachkes) I'm sorry. What has                 10:29:48 18   had -- and I will just give the numbers -- the 31F
10:26:34 19   been marked as Exhibit 2 is your November 14 expert             10:29:52 19   and the 31G I misunderstood. I thought that was
10:26:36 20   report in this matter minus the backup data.                    10:29:54 20   actually two samples from the same container.
10:26:39 21             Can you confirm that?                                 10:29:57 21             It's actually one sample from two
10:26:40 22       A.    This is actually the January 15.                      10:30:00 22   different containers. The STS in it looks like a
10:26:43 23       Q.    So --                                                 10:30:03 23   gift wrapped for the spice and the regular. So
10:26:46 24       A.    November 14 is Exhibit 3.                             10:30:08 24   that's actually two containers for each sample. So
10:26:48 25       Q.    All right. Let's do that again.                       10:30:11 25   the number of containers was increased.
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10:30:13  1                But the analytical data had been already             10:32:20  1              MR. CHACHKES: So which ones, then?
10:30:16  2   produced. Nothing changed in the analytical data.                           2              MS TROVATO: December 12 is 10.
10:30:19  3   And then we had some typos that we endeavored to                  10:32:22  3       Q.     (By Mr. Chachkes) Okay. So December 12
10:30:24  4   correct.                                                          10:32:23  4   is Exhibit 10; is that correct?
10:30:24  5       Q.       Okay. And those are typos you found or               10:32:26  5       A.     Yes.
10:30:26  6   that counsel found?                                               10:32:28  6       Q.     Okay. You should probably look at your
10:30:29  7                MR. CIRSCH: Object to form.                          10:32:30  7   own copies, not mine.
10:30:31  8                THE WITNESS: Well, one of them counsel               10:32:31  8       A.     Did I get a copy?
10:30:33  9       found, and that was the counsel for Johnson &                 10:32:33  9       Q.     Yes, you did.
10:30:35 10       Johnson, at my previous deposition on MDL.                    10:32:34 10       A.     Okay. Sorry.
10:30:37 11       There were some positive samples on a chart that              10:32:35 11              Yes, that's correct.
10:30:40 12       were negative in the overall data, so I decided               10:32:36 12       Q.     Okay. And Exhibit Number 11, we
10:30:43 13       to go through and make sure everything was                    10:32:40 13   premarked, is another letter from J3 dated
10:30:45 14       correct again.                                                10:32:44 14   December 20 to you; correct?
10:30:47 15       Q.       (By Mr. Chachkes) What about the other               10:32:46 15       A.     Correct.
10:30:48 16   typos, you found those or counsel?                                10:32:46 16       Q.     All right.
10:30:52 17                MR. CIRSCH: To the extent -- I would not             10:32:52 17              MR. CIRSCH: I'm sorry again, but
10:30:53 18       have you reveal, Dr. Longo, anything that's work              10:32:55 18       Exhibit 10 I have says December 20 as well, so
10:30:56 19       product is protected under Rule 26. But if you                10:32:57 19       maybe that's -- okay. I just got two of them.
10:30:58 20       can answer aside from that, please do.                        10:33:00 20       Never mind.
10:31:01 21                THE WITNESS: No, counsel did not                     10:33:04 21       Q.     (By Mr. Chachkes) You received your
10:31:02 22       participate in helping to find typos.                         10:33:06 22   doctor's in philosophy in materials science and
10:31:04 23       Q.       (By Mr. Chachkes) Okay. So you found                 10:33:08 23   engineering; correct?
10:31:05 24   them personally?                                                  10:33:10 24       A.     Yes.
10:31:06 25       A.       Personally and Dr. Rigler.                           10:33:10 25       Q.     You're not a geologist?
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                                                               14                                                                              16
          1                (Defendants' Exhibits 8, 9, 10, and 11               10:33:12  1       A.     I am not a geologist.
10:31:08  2       were marked for identification.)                              10:33:13  2       Q.     You're not a mineralogist?
10:31:08  3       Q.       (By Mr. Chachkes) Okay. And now                      10:33:15  3       A.     I did not take any courses in mineralogy.
10:31:09  4   Exhibit 8, if you would look at that, if you could                10:33:17  4       Q.     Do you consider yourself an expert in
10:31:12  5   confirm, is the January 31 quality control -- quality             10:33:19  5   mineralogy?
10:31:19  6   assurance report that you created in this case?                   10:33:20  6       A.     Usually that's up to the courts.
10:31:22  7       A.       Yes, sir.                                            10:33:22  7   Certainly I believe I have more knowledge than the
10:31:22  8       Q.       Okay. And then Exhibit 9, which is more              10:33:25  8   average layperson, but I do not hold myself out with
10:31:28  9   for the record than you because you can't confirm it,             10:33:28  9   any degrees in mineralogy.
10:31:30 10   it is a USB with the three reports in this case, the              10:33:29 10       Q.     Okay. You're not a certified industrial
10:31:36 11   November 1, the January 1, and the recent -- sorry.               10:33:31 11   hygienist?
10:31:42 12   Okay. So it is November, January, and the March 2018              10:33:31 12       A.     No, I'm not.
10:31:46 13   report are all in full on Number 9. It's just too                 10:33:33 13       Q.     You've done exposure assessments, though;
10:31:50 14   much paper so we put it on the USB.                                        14   correct?
10:31:52 15                Can you confirm that Exhibit Number 10 is            10:33:37 15       A.     Yes.
10:31:59 16   a letter to you from J3 dated December 12, 2018,                  10:33:37 16       Q.     All right. You're an expert in exposure
10:32:04 17   about the MAS split of 21 historic talc samples by                10:33:41 17   assessments?
10:32:13 18   XRD?                                                              10:33:42 18       A.     Again, I'm not sure what that means. I
10:32:14 19                MR. CIRSCH: It's actually December 20.               10:33:45 19   certainly have done a number of studies in which we
         20                MR. CHACHKES: What did I say?                        10:33:48 20   have determined typical exposures from both
10:32:20 21                MR. CIRSCH: December 12.                             10:33:52 21   asbestos-added construction industrial products as
10:32:20 22       Q.       (By Mr. Chachkes) I'm sorry. So it's                 10:33:56 22   well as what I call hygiene exposure studies
         23   December --                                                       10:33:59 23   involving Johnson & Johnson cosmetic talc samples.
         24                MS. TROVATO: No, you're right. You're                10:34:04 24              Published on our exposure assessments in
         25       right.                                                        10:34:06 25   the past. We use all standard protocols that are
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10:34:13  1   accepted by the community of scientists who do this               10:36:34  1   of the asbestos exposure came from which talc, would
10:34:17  2   type of work. Been qualified many times in court as               10:36:37  2   you need to analyze all three?
10:34:20  3   an industrial hygienist specifically to asbestos.                 10:36:39  3               MR. CIRSCH: Object to form.
10:34:23  4               So again, I have probably more knowledge              10:36:40  4               THE WITNESS: Again, that's an incomplete
10:34:26  5   than the average layperson on doing exposure                      10:36:41  5       hypothetical. If we had never analyzed any
10:34:29  6   assessment type studies involving asbestos.                       10:36:44  6       manufacturer's source of talc from any
10:34:32  7        Q.     When a plaintiff has been exposed to                  10:36:47  7       particular location, then as I stated earlier, I
10:34:34  8   multiple different talc-based products, each of which             10:36:51  8       would not have an opinion about that particular
10:34:37  9   could possibly contain asbestos, is it best to                    10:36:53  9       manufacturer.
10:34:40 10   analyze the asbestos content of each product?                     10:36:54 10               If they come from things like, again,
10:34:43 11               MR. CIRSCH: Object to form.                           10:36:57 11       Vermont, Italy, say the Korean mines, then we
10:34:46 12               THE WITNESS: I'm not sure it's required               10:37:03 12       have a pretty good understanding of the levels
10:34:48 13        to analyze each product. You will have to                    10:37:05 13       of amphibole asbestos that are typically found
10:34:51 14        clarify. Do you mean each different                          10:37:09 14       in the products from those mines.
10:34:53 15        manufacturer or from different talc sources,                 10:37:11 15       Q.      (By Mr. Chachkes) Okay. So you feel
10:34:57 16        such as the Italian or the Vermont or Montana?               10:37:12 16   confidant that you can testify to the amount of
10:35:02 17        Q.     (By Mr. Chachkes) Let's say different                 10:37:16 17   amphiboles you expect in a bottle based solely on the
10:35:03 18   manufacturers. Let's say a plaintiff has been                     10:37:19 18   geography from which the bottle comes?
10:35:06 19   exposed to talc-based products from three                         10:37:23 19               MR. CIRSCH: Object to form.
10:35:08 20   manufacturers. Is it best to analyze the asbestos                 10:37:24 20               THE WITNESS: I didn't say that.
10:35:10 21   content from each of the three manufacturers?                              21       Q.      (By Mr. Chachkes) Okay.
10:35:13 22               MR. CIRSCH: Object to form.                           10:37:25 22       A.      What I would say is we have analyzed a
10:35:15 23               THE WITNESS: Certainly we try to do that;             10:37:27 23   number of samples from other manufacturers, two
10:35:16 24        but if three manufacturers all have to use the               10:37:32 24   different manufacturers, three different
10:35:22 25        talcum powder source is Italy, Italian, I think              10:37:33 25   manufacturers, where, say, the source is Italy, so I
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                                                                18                                                                                20
10:35:26  1        you can imply that if one manufacturer's Italian             10:37:36  1   know that there will be significant concentrations in
10:35:30  2        talc has measurable levels or detectable levels              10:37:39  2   some percentage of the samples.
10:35:35  3        of amphibole asbestos, then the other                        10:37:40  3       Q.      Okay. So let's say you have three bottles
10:35:40  4        manufacturer more likely than not would have                 10:37:43  4   from three geographical locations that you haven't
10:35:41  5        similar types of concentrations, depending on                10:37:46  5   analyzed in the past. Do you need to analyze each
10:35:44  6        their processing flotation, et cetera.                       10:37:48  6   bottle to determine the percentage of asbestos
10:35:46  7               If you have different manufacturers from              10:37:51  7   exposure per manufacturer?
10:35:49  8        completely different mines and you haven't                   10:37:55  8               MR. CIRSCH: Object to form.
10:35:51  9        analyzed anything from the particular talc mine,             10:37:56  9               THE WITNESS: When you say each bottle, I
10:35:54 10        which has happened to me in the past, I                      10:37:58 10       have five from each or two from each or ten from
10:35:56 11        typically say I don't have any opinions.                     10:38:01 11       each?
10:35:58 12        Q.     (By Mr. Chachkes) Okay. If you're trying              10:38:01 12       Q.      (By Mr. Chachkes) So does it matter?
10:36:01 13   to determine which manufacturer's talc contributed                10:38:04 13       A.      I don't know. I mean, it's a
10:36:04 14   what level of exposure to asbestos, do you need to                10:38:07 14   hypothetical. If we had not tested any samples from
10:36:09 15   analyze all the different manufacturers' products?                10:38:10 15   any particular geological location, I would not
10:36:13 16               MR. CIRSCH: Object to form.                           10:38:15 16   provide opinions on any -- the potential for
10:36:15 17               THE WITNESS: Again, it depends on who the             10:38:18 17   amphibole asbestos, regulated amphibole asbestos to
10:36:16 18        manufacturer is. It's sort of an incomplete                  10:38:21 18   be in those containers.
10:36:19 19        hypothetical.                                                10:38:22 19       Q.      Would you agree it's important to at least
10:36:19 20        Q.     (By Mr. Chachkes) Okay. Let me complete               10:38:28 20   determine a plaintiff's exposure to asbestos on a
10:36:20 21   it, then.                                                         10:38:31 21   comparative basis if there were multiple sources of
10:36:22 22               So hypothetically, if there's three                   10:38:36 22   exposure?
10:36:23 23   manufacturers each from a different geological                    10:38:38 23               MR. CHACHKES: Object to form.
10:36:26 24   location, if you're trying to determine the exposure              10:38:41 24               THE WITNESS: Depends on the information.
10:36:29 25   of a plaintiff, do you need to -- and what percentage             10:38:43 25       If the particular plaintiff says I use
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10:38:47  1       manufacturer X, manufacturer Y, manufacturer Z,             10:40:55  1             MR. CIRSCH: Object to form.
10:38:52  2       and I used them all 33.33 percent each and they             10:40:56  2             THE WITNESS: I don't recall the exact
10:38:57  3       all come from the same geological formation of              10:40:57  3       words, no.
10:39:01  4       where cosmetic talc is being used in those                  10:40:57  4       Q.    (By Mr. Chachkes) Okay. Do you agree
10:39:04  5       containers, then my opinion would be if it is a             10:40:58  5   that if you want to know whether there's asbestos in
10:39:08  6       geological location that we have tested in the              10:41:00  6   talc, you would go to either your lab or Lee Poye's
10:39:11  7       past, that they would all have similar -- that              10:41:03  7   lab and that's it?
10:39:15  8       the manufacturers would have similar exposures.             10:41:04  8             MR. CIRSCH: Object to form.
10:39:17  9             If one of the manufacturers was, well,                10:41:05  9             THE WITNESS: It depends on the
10:39:20 10       I've got a gift -- for example, if I got a gift             10:41:06 10       circumstances. If you're going to understand
10:39:22 11       bag once a year and I would use it and that's               10:41:09 11       what's your best opportunity to see and get the
10:39:26 12       all, then I would say that the primary exposure             10:41:12 12       appropriate detection limits, I'm only aware of
10:39:28 13       is from the other manufacturers.                            10:41:16 13       Lee Poye and our lab that use routinely the
10:39:29 14             So it just depends on the circumstances.              10:41:21 14       heavy liquid density separation method.
10:39:31 15       Q.    (By Mr. Chachkes) Okay. You're not a                  10:41:22 15             There may be other labs out there doing
10:39:33 16   pathologist?                                                    10:41:24 16       it, but that's the only two I know at the
10:39:34 17       A.    No, sir, I'm not.                                     10:41:26 17       moment.
10:39:35 18       Q.    You have no medical training?                         10:41:26 18       Q.    (By Mr. Chachkes) Okay. So you know of
10:39:37 19       A.    No, sir, I don't have any medical                     10:41:27 19   no other labs besides yours and Lee Poye that can
10:39:39 20   training.                                                       10:41:32 20   accurately determine whether there's asbestos in
10:39:39 21       Q.    Are you a statistician?                               10:41:35 21   talc, at least using the concentration method?
10:39:41 22       A.    I'm not a statistician.                               10:41:38 22             MR. CIRSCH: Object to form.
10:39:42 23       Q.    Are you a geostatistician?                            10:41:39 23             THE WITNESS: Accurately determine? It's
10:39:45 24       A.    I'm not that kind of statistician either.             10:41:41 24       all about getting the best analytical
10:39:48 25       Q.    Okay. So in light of the reports that we              10:41:44 25       sensitivity. So analytical sensitivities and
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                                                              22                                                                            24
10:39:50  1   have in this case, are you here to testify in your              1
                                                                              10:41:48          using the non-heavy liquid density separation
10:39:53  2   capacity as a microscopist; is that accurate?         10:41:50  2                 method for TEM is usually in the low to 10 to 12
10:39:57  3             MR. CIRSCH: Object to form.                 10:41:59  3                 million fibers per gram.
10:39:58  4             THE WITNESS: I'm here to testify on the     10:42:01  4                       The heavy liquid density separation can
10:40:01  5        qualifications I have and have been accepted in  10:42:04  5                 reduce that; at least in our lab we have gotten
10:40:03  6        the past. I'm a material scientist; I'm an       10:42:06  6                 as low as 3,000 fibers/bundles per gram. I know
10:40:07  7        industrial hygienist; I have many expertise in   10:42:11  7                 the R.J. Lee Group used the Blount heavy density
10:40:10  8        the analysis of asbestos.                        10:42:16  8                 liquid separation method once for TEM. There is
10:40:13  9             My testimony in the past has been that any  10:42:19  9                 an ISO protocol for it, so there may be other
10:40:17 10        particular types of manufacturers where we have 10:42:21 10                  labs that I'm not aware of.
10:40:21 11        analyzed the talc and we have analyzed the       10:42:23 11                 Q.    (By Mr. Chachkes) So are you the only
10:40:24 12        source -- know the source, that more likely than 10:42:24 12             lab -- you and Lee Poye -- who can detect 3,000
10:40:28 13        not there would have been a significant exposure 10:42:29 13             structures per gram?
10:40:32 14        based on the percentages of the samples that are 10:42:32 14                       MR. CIRSCH: Object to form.
10:40:34 15        positive. That's as far as I go.                 10:42:34 15                       THE WITNESS: I don't know. Anybody
10:40:36 16        Q.   (By Mr. Chachkes) You've testified in the   10:42:35 16                 following the heavy liquid density measurement
10:40:38 17   past the following: In my opinion, if you want to     10:42:37 17                 technique should be able to achieve detection
10:40:41 18   know if there's asbestos in talc, you would go to     10:42:39 18                 limits --
10:40:44 19   either our lab or Lee Poye's lab and that's it.                19                 Q.    (By Mr. Chachkes) Okay.
10:40:47 20             Do you recall that testimony?               10:42:39 20                 A.    -- as such.
10:40:49 21             MR. CIRSCH: Object to form. Do you have     10:42:40 21                 Q.    So your opinion about the high
10:40:51 22        a copy of the testimony you can show the         10:42:43 22             qualifications of your lab and Lee Poye's lab, it's
10:40:53 23        witness?                                         10:42:45 23             not based on different methodologies; it's just based
10:40:53 24        Q.   (By Mr. Chachkes) Do you recall that        10:42:48 24             on your opinion that you do it better?
10:40:53 25   testimony?                                            10:42:50 25                       MR. CIRSCH: Object to form.
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10:42:51  1             THE WITNESS: Well, it's not really doing                10:45:16  1           Q.   (By Mr. Chachkes) So you're not aware of
10:42:52  2       it better; it's just following the appropriate                10:45:17  2   any TEM scientists who's not taking plaintiff
10:42:54  3       protocol for the analytical sensitivities.                    10:45:23  3   lawyers' money who has recognized MAS as one of the
10:42:57  4       There may be other labs out there. John                       10:45:26  4   best labs in the world for testing talc?
10:43:00  5       Fitzgerald's lab may be doing it now. I don't                 10:45:29  5                MR. CIRSCH: Object to form.
10:43:01  6       know.                                                         10:45:31  6                THE WITNESS: I don't recall any TEM
10:43:03  7       Q.    (By Mr. Chachkes) Okay.                                 10:45:33  7           analyst being paid by plaintiffs' attorneys or
10:43:04  8       A.    That's the only two I'm aware of that are               10:45:37  8           any TEM analyst paid by defense attorneys that
10:43:06  9   routinely doing it now.                                           10:45:38  9           are calling me and saying good job, Bill.
10:43:07 10       Q.    MAS has been testing talc for asbestos by               10:45:41 10           Q.   (By Mr. Chachkes) Have any nationally or
10:43:11 11   TEM since 2017; is that correct?                                  10:45:45 11   internationally renowned PLM scientists identified
10:43:14 12             MR. CIRSCH: Object to form.                             10:45:47 12   MAS as one of the best labs in the world for testing
10:43:16 13             THE WITNESS: We have been testing                                13   talc?
10:43:17 14       cosmetic talc since early 2017. We have tested                10:45:48 14                MR. CIRSCH: Object to form.
10:43:21 15       industrial talc all the way back to the 1990s,                10:45:50 15                THE WITNESS: I don't know who these
10:43:27 16       early 2000s.                                                  10:45:52 16           internationally renowned PLM labs are. I do
10:43:28 17       Q.    (By Mr. Chachkes) MAS has been testing                  10:45:55 17           believe we're -- because of how we've enhanced
10:43:32 18   talc for asbestos by PLM since about October of 2018;             10:45:59 18           the PLM method that we are one of the better
10:43:36 19   is that correct?                                                  10:46:04 19           labs because of the time and effort we put into
10:43:36 20             MR. CIRSCH: Object to form.                             10:46:06 20           the analysis. Sort of along the lines of the
10:43:41 21             THE WITNESS: I don't know when we got                   10:46:10 21           proposed PLM method by the FDA in 1973, I think
10:43:43 22       started testing industrial talc for PLM.                      10:46:14 22           they said it was laborious.
10:43:46 23       Probably way back in the 1990s, early 2000s.                  10:46:16 23           Q.   (By Mr. Chachkes) All right. So this is
10:43:51 24             We've recently started analyzing cosmetic               10:46:17 24   not a question about what you believe or what people
10:43:56 25       talc using the ISO 22262-1 and the Blount PLM                 10:46:19 25   at MAS believe but a question about what third
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10:44:05  1       method enhanced, not your typical analysis. I                 10:46:22  1   parties believe.
10:44:11  2       don't know when we got started last year.                     10:46:23  2                Are there any nationally or
10:44:13  3       Q.    (By Mr. Chachkes) Okay. Is it possible                  10:46:25  3   internationally renowned PLM scientists or any
10:44:16  4   you didn't start looking at cosmetic talc by PLM                  10:46:27  4   scientists, for that matter, who have identified MAS
10:44:19  5   until October of 2018?                                            10:46:30  5   as one of the best labs in the world for testing talc
10:44:21  6             MR. CIRSCH: Object to form.                             10:46:33  6   under PLM?
10:44:23  7             THE WITNESS: Well, unless I can go and                  10:46:34  7                MR. CIRSCH: Object to form.
10:44:24  8       look and verify, all I can say is I don't recall              10:46:35  8                THE WITNESS: I don't know.
10:44:26  9       when we started analyzing cosmetic talc by PLM.               10:46:35  9           Q.   (By Mr. Chachkes) Have you ever presented
10:44:31 10       Q.    (By Mr. Chachkes) Have any academic                     10:46:37 10   at any conferences about testing talc by TEM?
10:44:33 11   institutions endorsed MAS as one of the best labs in              10:46:40 11           A.   Maybe. Not cosmetic talcs, no.
10:44:37 12   the world to test talc?                                           10:46:48 12           Q.   Okay. When you say maybe, nothing comes
10:44:39 13       A.    If they have, they haven't let me know.                 10:46:51 13   to mind?
10:44:41 14       Q.    Has MAS received any accolades from any                 10:46:51 14           A.   Well, we have been analyzing industrial
10:44:44 15   academic institutions for its talc testing?                       10:46:54 15   talcs for some time. We have given talks at Johnson
10:44:47 16       A.    Not that I'm aware of.                                  10:47:00 16   Conferences in the past; Mr. Hatfield has. Any of
10:44:49 17       Q.    Have any nationally or internationally                  10:47:01 17   that data that may have happened, I just don't know.
10:44:51 18   renowned TEM scientists identified MAS as one of the              10:47:05 18           Q.   Okay. But for conferences that relate to
10:44:55 19   best labs in the world for testing talc?                          10:47:08 19   testing talc with TEM, sitting here today, you can't
10:44:58 20             MR. CIRSCH: Object to form.                             10:47:11 20   recall presenting at any such conference?
10:45:01 21             THE WITNESS: I don't know who these                     10:47:15 21                MR. CIRSCH: Object to form.
10:45:03 22       internationally recognized experts are. We're                 10:47:17 22                THE WITNESS: I don't recall.
10:45:06 23       just following a standard protocol to analyze                 10:47:17 23           Q.   (By Mr. Chachkes) Have you ever presented
10:45:09 24       talc using the most appropriate sensitivities                 10:47:18 24   at any conference -- sorry, strike that.
10:45:14 25       for analytical sensitivities.                                 10:47:20 25                Have you ever been invited to present at
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10:47:23  1   any conferences about testing talc with TEM or PLM?              10:49:07  1       Q.    Now, you issued a supplemental report
10:47:26  2       A.    Yes, I was.                                            10:49:10  2   January 15, 2019; correct?
10:47:27  3       Q.    Okay. What was that?                                   10:49:12  3       A.    Yes, sir.
10:47:28  4       A.    Bruce Bishop invited me to come debate                 10:49:12  4       Q.    Why? What did it add to or subtract from
10:47:34  5   Dr. Sanchez at a DRI conference last year.                       10:49:17  5   the first report?
10:47:37  6       Q.    Okay. So did you actually go to that                   10:49:18  6       A.    There was typos in the first report.
10:47:38  7   conference?                                                      10:49:21  7   Also, we talked -- added somewhere, I believe, the
10:47:38  8       A.    No.                                                    10:49:25  8   Blount PLM that we did on the -- or talked about it
10:47:39  9       Q.    And DRI conference, that's a defense bar               10:49:33  9   on the 16 containers that Lee Poye tested.
10:47:42 10   conference?                                                      10:49:39 10       Q.    And those errors that you just referred
10:47:42 11       A.    Yes, sir. I have participated in those                 10:49:43 11   to, when did you identify them? Was it after you
10:47:45 12   for a number of times and typically debating one of              10:49:44 12   issued your January 15 report -- I'm sorry, after you
10:47:49 13   the defense experts. And he sent an email, and I                 10:49:47 13   issued your November 14 report?
10:47:56 14   couldn't arrange it in my schedule.                              10:49:49 14       A.    Yes.
10:47:57 15       Q.    The FDA had a conference in November '18               10:49:49 15       Q.    And how did you identify those errors?
10:48:01 16   with Jeff San at the University of Maryland; are you             10:49:53 16       A.    Reading through it. It was very obvious
10:48:03 17   aware of that?                                                   10:49:58 17   to me that J3 was not P3, that I had missed it in a
10:48:04 18       A.    I am.                                                  10:50:03 18   couple of places.
10:48:05 19       Q.    Were you invited to participate?                       10:50:04 19       Q.    Okay. So the errors that were identified
10:48:06 20       A.    No.                                                    10:50:05 20   and fixed in the January 15 report, they were all
10:48:06 21       Q.    Are you familiar with Forensic Analytical              10:50:08 21   identified by you personally?
10:48:10 22   Labs?                                                            10:50:09 22       A.    Either myself or Dr. Rigler. I can't tell
10:48:10 23       A.    I am.                                                  10:50:12 23   you which one of us fixed the most.
10:48:11 24       Q.    Would you agree that they are an                       10:50:15 24       Q.    Okay. And referring to these additional
10:48:13 25   independent laboratory?                                          10:50:19 25   data in the January 15 report, did that testing occur
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                                                               30                                                                             32
10:48:14  1             MR. CIRSCH: Object to form.                           110:50:23      after November 14, 2018?
10:48:16  2              THE WITNESS: I don't know what their       10:50:27  2                  A.    Yes. I believe so.
10:48:17  3         background is.                                  10:50:30  3                  Q.    And then there's a second supplemental
10:48:19  4         Q.   (By Mr. Chachkes) Okay. Have you relied    10:50:32  4              report dated February 1, 2019; correct?
10:48:20  5   on their testing of talc for asbestos before?         10:50:35  5                  A.    Correct.
10:48:24  6         A.   I don't know.                              10:50:35  6                  Q.    Okay. And we discussed that before,
10:48:25  7         Q.   Sitting here today, is there any reason    10:50:38  7              didn't we?
10:48:29  8   why you believe you shouldn't be able to rely on      10:50:38  8                  A.    Yes, sir.
10:48:31  9   their work?                                           10:50:39  9                  Q.    Do you know why it was not produced until
10:48:32 10              MR. CIRSCH: Object to form.                10:50:47 10              February 2?
10:48:33 11              THE WITNESS: It depends on the work. I     10:50:48 11                        MR. CIRSCH: Object to form.
10:48:35 12         would have to review what work that             10:50:52 12                        THE WITNESS: Why it wasn't produced until
10:48:37 13         hypothetically you want me to rely on.          10:50:54 13                  February 2?
10:48:38 14         Q.   (By Mr. Chachkes) Yeah. So I'm just                 14                  Q.    (By Mr. Chachkes) Yeah.
10:48:40 15   talking about the laboratory, not necessarily the     10:50:55 15                  A.    Because that's when I sent it.
10:48:42 16   nature of the science, which of course you'll always  10:50:56 16                  Q.    Okay. You also produced two reports from
10:48:46 17   review; right?                                        10:51:04 17              Lee Poye at J3 Resources dated December 12 and
10:48:46 18              So the nature of the laboratory -- and     10:51:09 18              December 21; correct?
10:48:48 19   sitting here today, is there anything about the       10:51:10 19                  A.    Correct.
10:48:50 20   Forensic Analytical Labs laboratory that makes you    10:51:10 20                  Q.    Can you describe what those reports are?
10:48:54 21   suspicious of their work in any way?                  10:51:11 21                  A.    XRD of 17 MDL samples -- excuse me -- 19
10:48:56 22         A.   I don't have an opinion one way or the     10:51:21 22              MDL samples to finish off the MDL samples for XRD
10:48:58 23   other. Typically, for me to say something about any   10:51:26 23              that we were going to test. We didn't test the
10:49:00 24   particular lab, I would have to have some interaction 10:51:30 24              Windsor railroad car samples for XRD.
10:49:04 25   with that lab over the years.                         10:51:33 25                  Q.    And there's some PLM work in there as
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10:51:35  1   well?                                                                 10:53:56  1   request in this case with anybody at J3 Resources?
10:51:37  2          A.   I don't know.                                             10:53:59  2        A.      No.
10:51:39  3          Q.   That's okay. We can get back to that.                     10:53:59  3        Q.      What measures do you employ to ensure that
10:51:40  4               Do these samples in Lee Poye's                            10:54:02  4   J3 Resources provides all the data it generated in
10:51:47  5   supplemental reports relate to -- do they correspond                  10:54:06  5   its work for you?
10:51:53  6   to samples in your report?                                            10:54:07  6                MR. CIRSCH: Object to form.
10:51:54  7          A.   Yes.                                                      10:54:08  7        Q.      (By Mr. Chachkes) Actually, strike that.
10:51:54  8          Q.   How did they -- how can somebody correlate                10:54:09  8   I think we have already done that.
10:51:58  9   the two?                                                              10:54:10  9                All right. Your lab produced something
10:51:59 10          A.   Let me see. There should have been a --                   10:54:11 10   called global particles tables for a number of
10:52:12 11   let me get some of this stuff out of the way.                         10:54:15 11   samples. Does that ring a bell?
10:52:15 12          Q.   Actually, you know, let's -- here. Let's                  10:54:16 12        A.      Yes.
10:52:17 13   go back to 10.                                                        10:54:16 13        Q.      Okay. And what are those?
10:52:20 14               Exhibit 10 is the December 12 letter                      10:54:21 14        A.      That's the raw data for each of the
10:52:23 15   from -- this is mine. You've got one in your stack.                   10:54:24 15   particles that were measured and counted.
10:52:25 16          A.   Oh, do I?                                                 10:54:26 16        Q.      Okay. And so that's the data underlying
10:52:26 17          Q.   Yes.                                                      10:54:30 17   what you report in your expert reports?
10:52:27 18          A.   Okay.                                                     10:54:33 18                MR. CIRSCH: Object to form.
10:52:32 19          Q.   Just the coding system, let's just take                   10:54:34 19                THE WITNESS: Not in this expert report,
10:52:34 20   the first one. M69722-001, do you see on the front                    10:54:35 20        I'm not relying on it, but in past ones, yes.
10:52:40 21   page?                                                                 10:54:37 21        Q.      (By Mr. Chachkes) Okay. Because those
10:52:40 22          A.   Yes.                                                      10:54:38 22   are non-MDL samples?
10:52:40 23          Q.   Do you know what that refers to? Does                     10:54:41 23        A.      Well, they're non-MDL samples. It's not
10:52:42 24   that coding indicate something to you?                                10:54:44 24   so much they're non-MDL samples, but I was under the
10:52:44 25          A.   It does. I didn't -- we don't have the                    10:54:48 25   impression that these MDL samples weren't contested
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10:52:48  1   key.                                                                  10:54:51  1   for chain of custody.
10:52:48  2               What I do is I make an additional number                  10:54:52  2        Q.      Okay. But what I'm asking, though, is the
10:52:52  3   so that the -- Lee Poye essentially gets blind                        10:54:55  3   global particle tables that you produced in this case
10:52:58  4   samples, and there's supposed to be a key produced                    10:54:58  4   do not correspond to MDL samples; is that correct?
10:53:00  5   with that.                                                            10:55:03  5        A.      That is correct.
10:53:01  6          Q.   Okay. You have a key?                                     10:55:04  6        Q.      Okay. Are you able to generate a global
10:53:02  7          A.   I don't have it with me. I thought it was                 10:55:07  7   particle table for the MDL samples?
10:53:04  8   attached to the report.                                               10:55:10  8        A.      We have not analyzed any MDL samples yet
10:53:05  9               MR. CHACHKES: We ask the plaintiffs to                    10:55:13  9   that I'm aware of.
10:53:08 10          produce that key. I don't think we got it.                     10:55:13 10        Q.      What about the samples in your reports in
10:53:11 11               MS. O'DELL: Okay.                                         10:55:16 11   this case?
10:53:15 12          Q.   (By Mr. Chachkes) Okay. So have you                       10:55:16 12        A.      Well, they're not particle size analysis.
10:53:19 13   produced all the J3 -- all the data J3 Resources                      10:55:20 13   They're PLM and TEM analysis. Those are specifically
10:53:24 14   generated from the work for you in this case?                         10:55:25 14   designed for detection of amphibole asbestos, not
10:53:27 15          A.   Yes.                                                      10:55:31 15   particle sizing.
10:53:27 16          Q.   And did you ask them about what kind of                   10:55:32 16        Q.      Why did you produce the global particle
10:53:31 17   materials they generated?                                             10:55:34 17   tables in this case?
10:53:33 18          A.   I mean, other than what they sent me, no.                 10:55:35 18                MR. CIRSCH: Object to form.
10:53:38 19          Q.   Okay. So you didn't ask them whether                      10:55:36 19                THE WITNESS: I was asked for it, you
10:53:39 20   there was additional material that they generated but                 10:55:39 20        know, in other cases, so I thought I would just
10:53:42 21   just did not provide to you?                                          10:55:41 21        produce it here, even though I'm not relying on
10:53:44 22          A.   No, sir. I have dealt with and had XRD                    10:55:43 22        it.
10:53:48 23   done by them before in other reports, and this is                     10:55:46 23        Q.      (By Mr. Chachkes) Okay. Do you do talc
10:53:51 24   what they provide.                                                    10:55:52 24   particle size analysis for the MDL?
10:53:52 25          Q.   Has anyone at MAS discussed the production                10:55:54 25        A.      We did not.
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10:55:55  1       Q.     All right. But the data in the global                   10:58:26  1   comparing to a reference sample from some source
10:56:07  2   particle tables relates to talc particle size?                     10:58:30  2   other than something generated by MAS, are you aware
10:56:12  3       A.     Yes, sir. All the particles for the talc                10:58:33  3   of any of that?
10:56:15  4   sizes that -- in the -- I guess it was in August 4,                10:58:34  4               MR. CIRSCH: Object to form.
10:56:22  5   2017, or 2018 report, I can't remember.                            10:58:36  5               THE WITNESS: They have all the references
10:56:24  6       Q.     Sitting here today, are you aware of any                10:58:38  6       for all the NIST standards that are routinely
10:56:27  7   relevance that the global particle tables that you                 10:58:41  7       looked at when we get -- when our lab is audited
10:56:30  8   produced have to the reports you issued in this case,              10:58:47  8       by the NVLAP, they go around and make sure the
10:56:33  9   the MDL?                                                           10:58:51  9       analysts can identify these types of materials.
10:56:35 10              MR. CIRSCH: Object to form.                             10:58:53 10               So, yes, we have reference materials. You
10:56:36 11              THE WITNESS: Again, as I'm stating, I'm                 10:58:56 11       know, did they pull it out or not, as I'm
10:56:38 12       not relying on it. We did not do any MDL                       10:58:59 12       sitting right here specifically, but they do do
10:56:40 13       particle sizing. May in the future, but we                     10:59:01 13       that periodically. So that's all I can tell
10:56:44 14       haven't done it here, and I'm not relying on the               10:59:05 14       you.
10:56:46 15       report that we issued --                                       10:59:05 15       Q.      (By Mr. Chachkes) Okay. So you have NIST
10:56:47 16       Q.     (By Mr. Chachkes) Okay.                                 10:59:07 16   samples, but you don't know whether your PLM
10:56:49 17       A.     -- in August.                                           10:59:09 17   scientist actually compared the PLM work he did in
10:56:50 18       Q.     Did your analyst compare any of the                     10:59:13 18   this case to those NIST samples for this case?
10:56:52 19   particles identified in your MDL report by PLM to                  10:59:18 19       A.      Specifically for these MDL samples did he
10:56:59 20   compare them with a known asbestos reference sample?               10:59:23 20   pull out the standards or just use the standard
10:57:03 21              MR. CIRSCH: Object to form.                             10:59:27 21   crystallographic information that's specific for the
10:57:14 22              THE WITNESS: I don't know. It's not                     10:59:31 22   identification of these types of amphiboles, I'd have
10:57:16 23       something that we typically require analysts to                10:59:35 23   to check.
10:57:19 24       do, especially the analyst doing this. He's                    10:59:36 24       Q.      Okay. So I was asking about the NIST
10:57:23 25       worked for us for almost 30 years; he's a                      10:59:38 25   standard, and you threw in something else. I just
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10:57:26  1       professional geologist; he's probably analyzed                 10:59:41  1   want to focus on the NIST standard.
10:57:30  2       tens and tens and tens of thousands of samples.                10:59:43  2               Sitting here today you're not aware that
10:57:33  3       He does compare to the appropriate                             10:59:44  3   your PLM scientist compared his results on the PLM
10:57:38  4       information --                                                 10:59:47  4   for the samples in this case directly to the NIST
10:57:43  5              MR. CIRSCH: Let him finish.                             10:59:52  5   sample -- NIST standards; correct?
10:57:45  6       Q.     (By Mr. Chachkes) Yeah.                                 10:59:55  6               MR. CIRSCH: Object to form.
10:57:46  7       A.     So did he pull out standard anthophyllite               10:59:56  7               THE WITNESS: It's not being aware or not
10:57:47  8   tremolite? I would have to check.                                  10:59:57  8       aware. It's just a question that I can clear up
10:57:48  9       Q.     So when you say compared to the                         11:00:01  9       and ask.
10:57:50 10   appropriate information, you have no knowledge of                  11:00:02 10       Q.      (By Mr. Chachkes) Okay. Did you ask him
10:57:52 11   what that appropriate information is, do you?                      11:00:05 11   at any point?
10:57:54 12       A.     Sure I do.                                              11:00:07 12       A.      No. I typically don't ask 30-year
10:57:54 13              MR. CIRSCH: Object to form.                             11:00:12 13   seasoned analysts/geologists on any particular
10:57:56 14              THE WITNESS: The refractive indices, the                11:00:15 14   project. But now that you've asked the question,
10:58:01 15       measurement of -- indices, the angle of                        11:00:18 15   I'll ask.
10:58:02 16       extinction, either oblique or parallel, depend                 11:00:18 16       Q.      Okay. And so you have one analyst doing
10:58:05 17       on cross polars, the dispersion staining on the                11:00:24 17   all your PLM work for the MDL samples?
10:58:08 18       colors using the Su charts to determine the                    11:00:25 18       A.      Yes.
         19       refractive indices, the sign of elongation, or                 11:00:26 19       Q.      What's his name or her name?
10:58:13 20       the speed.                                                     11:00:27 20       A.      Paul Hess.
10:58:13 21       Q.     (By Mr. Chachkes) So all these --                       11:00:29 21       Q.      Spell the last name, please.
10:58:14 22       A.     All the standard mineralogical information              11:00:31 22       A.      H-e-s-s.
10:58:16 23   that a well-seasoned PLM analyst would do.                         11:00:32 23       Q.      Your report doesn't state that there were
10:58:20 24       Q.     So I'm not talking about the data that he               11:00:38 24   asbestos reference samples used in the PLM analysis;
10:58:23 25   pulls from looking at samples. I'm talking about                            25   correct?
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11:00:43  1        A.    No, sir. It's not the type of information                11:03:09  1   I'd have to look at them and see what the validation
11:00:45  2   I would typically put in a report.                                  11:03:13  2   is. We have cummingtonite standards now. We have
11:00:47  3        Q.    Do you know which set of NIST standards                  11:03:17  3   grunerite standards. We have -- I believe we have
11:00:53  4   exist at MAS right now?                                             11:03:21  4   winchite and richterite standards. We have not
11:00:56  5        A.    It is the 1875, I think it is. I have to                 11:03:25  5   analyzed them yet to the degree where we can put the
11:01:02  6   check the numbers on it. It's the standard NIST                     11:03:28  6   results altogether.
11:01:05  7   samples that all asbestos labs have or should have.                 11:03:28  7        Q.    So are these -- so I'm talking about
11:01:09  8        Q.    Do you know when you obtained them?                      11:03:31  8   reference standards that you can look at those and
11:01:11  9        A.    Not as I sit here today.                                 11:03:35  9   compare to what you're generating in this case. So
11:01:13 10        Q.    Did your analyst compare any of the                      11:03:39 10   you're saying that there are third-party
11:01:15 11   particles identified in this report by TEM with any                 11:03:41 11   anthophyllite standards that you have that were
11:01:19 12   known asbestos reference samples?                                   11:03:45 12   produced by something in Windsor County?
11:01:21 13        A.    Well, we have analyzed both reference                    11:03:48 13              MR. CIRSCH: Object to form.
11:01:30 14   tremolite series, anthophyllite series. We have all                 11:03:49 14              THE WITNESS: It wasn't produced by
11:01:33 15   those reference standards, analytical data on the TEM               11:03:50 15        Windsor County. It was a mineral house that
11:01:39 16   walls. I don't think they pulled the reference and                  11:03:57 16        sells them. And I have not had an opportunity
11:01:43 17   put them in each and every time, but they routinely                 11:04:01 17        to -- we haven't had an opportunity to look at
11:01:47 18   check reference samples.                                            11:04:03 18        them yet.
11:01:49 19        Q.    Okay. So when you say they check                         11:04:03 19        Q.    (By Mr. Chachkes) That's just the
11:01:51 20   reference samples, are you saying you mean that they                11:04:05 20   mineral, though, right, the raw mineral?
11:01:53 21   check to whatever's on your reference wall?                         11:04:07 21              MR. CIRSCH: Object to form.
11:01:56 22              MR. CIRSCH: Object to form.                              11:04:08 22              THE WITNESS: Well, it's fibrous, it's raw
11:01:57 23              THE WITNESS: Well, no. The reference                     11:04:11 23        mineral anthophyllite, raw mineral
11:01:58 24        wall is from the reference samples, and we have                11:04:15 24        cummingtonite, raw mineral grunerite, raw
11:02:01 25        analyzed reference samples in the past                         11:04:18 25        mineral winchite-richterite.
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                                                                  42                                                                                44
11:02:03  1        specifically for these J&J cases. And the                 1    11:04:22           Q.    (By Mr. Chachkes) Okay. For those
11:02:08  2        analysts are well trained.                      11:04:22  2                  minerals that you just mentioned, did you obtain from
11:02:10  3              I don't know how often they need to pull  11:04:24  3                  a third party a TEM photo of the mineral at issue
11:02:12  4        out a reference sample in order to identify     11:04:31  4                  that you can use as a standard to compare what you
11:02:14  5        either the anthophyllite solid solution series  11:04:34  5                  find under your TEM?
11:02:17  6        or the tremolite solid solution series.         11:04:36  6                             MR. CIRSCH: Object to form.
11:02:21  7        Q.    (By Mr. Chachkes) Let's ask two different 11:04:38  7                             THE WITNESS: No. Typically people don't
11:02:23  8   lines of questions here.                             11:04:39  8                       provide that -- or NIST should have -- a TEM lab
11:02:24  9              So you have internal MAS-generated        11:04:43  9                       that's looking at standards should have the
11:02:27 10   reference samples for TEM to identify asbestos; is   11:04:46 10                       qualifications and training to be able to
11:02:30 11   that correct?                                        11:04:49 11                       recognize the regulated asbestos types.
11:02:30 12        A.    Yes.                                      11:04:52 12                       Q.    (By Mr. Chachkes) Okay. So, now, the
11:02:31 13        Q.    Okay. Did you produce them?               11:04:54 13                  only third-party TEM photographs that you could use
11:02:34 14              MR. CIRSCH: Object to form.               11:04:59 14                  as a standard for determining whether what you're
11:02:35 15              THE WITNESS: I didn't think it was asked. 11:05:03 15                  looking at under your TEM is asbestos, the only one
11:02:37 16              MR. CHACHKES: Okay. I would ask the       11:05:06 16                  you've mentioned so far is NIST; correct?
11:02:38 17        plaintiffs produce that, please.                11:05:09 17                       A.    I'm sorry, I misunderstood.
11:02:40 18        Q.    (By Mr. Chachkes) What about reference    11:05:10 18                             NIST does not provide you TEM pictures or
11:02:42 19   samples generated by third parties, do you have      11:05:12 19                  EDS pictures or PLM pictures or any XRD pictures.
11:02:47 20   those?                                               11:05:16 20                  They assume you have the training and capability of
11:02:49 21        A.    Reference samples by third parties, you   11:05:19 21                  doing that.
11:02:51 22   will have to -- NIST is a third party.               11:05:19 22                             I'm not aware of any third-party group
11:02:53 23        Q.    Okay. So anything else?                   11:05:21 23                  providing photograph standards along with the
11:02:58 24        A.    We have accumulated reference samples now 11:05:25 24                  samples.
11:03:01 25   from anthophyllite asbestos from Windsor County, and 11:05:25 25                       Q.    Okay. So to sum it all up, you do not
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11:05:27  1   have any third-party TEM photos that you use as                     11:07:30  1   microscopy.
11:05:33  2   standards to compare to what you're seeing under the                11:07:30  2         Q.   Would you expect two analysts from your
11:05:35  3   TEM?                                                                11:07:34  3   laboratory, given splits from the same bottle, to
11:05:36  4               MR. CIRSCH: Object to form.                             11:07:38  4   identify the same asbestos concentration?
11:05:37  5               THE WITNESS: That's correct. No third                   11:07:40  5         A.   You'll never get an exact asbestos
11:05:38  6        party has sent us TEMs along with their                        11:07:50  6   concentration depending on what level of accessory
11:05:41  7        standards and say here's a standard with a TEM                 11:07:57  7   amphibole asbestos is in the sample, but I would not
11:05:44  8        photo and this is what it all looks like.                      11:08:00  8   expect the exact same.
11:05:46  9        Q.     (By Mr. Chachkes) Your report also does                 11:08:01  9         Q.   What level of variation would you think is
11:05:47 10   not state that the analyst used asbestos reference                  11:08:05 10   so great that you would conclude something went
11:05:52 11   standards in their TEM analysis; correct?                           11:08:08 11   wrong?
11:05:55 12        A.     That is correct. None of our reports do.                11:08:10 12         A.   Don't know. I've not seen that variation
11:05:57 13        Q.     How does your lab distribute samples to                 11:08:12 13   yet for two different samples of the same bottle
11:05:59 14   individual analysts to test? Is it random? Is it                    11:08:15 14   that's been analyzed.
11:06:02 15   like some analysts get a certain kind of sample?                    11:08:16 15         Q.   Okay. Hypothetically, if you split a
11:06:05 16        A.     It's random.                                            11:08:19 16   bottle and one analyst found no detectable asbestos
11:06:06 17        Q.     Is that the same for J3? Did you give                   11:08:22 17   and another found half a percent by concentration
11:06:08 18   them random samples?                                                11:08:27 18   asbestos, would you think that was within a
11:06:11 19               MR. CIRSCH: Object to form.                             11:08:30 19   reasonable margin of error?
11:06:13 20               THE WITNESS: Random samples. For J3 I                   11:08:33 20              MR. CIRSCH: Object to form.
11:06:15 21        specifically gave them the samples that we                     11:08:34 21              THE WITNESS: By TEM?
11:06:17 22        wanted XRD done on them.                                       11:08:35 22         Q.   (By Mr. Chachkes) Sure, by TEM.
11:06:18 23        Q.     (By Mr. Chachkes) Okay. But for your                    11:08:37 23         A.   At a half a percent?
11:06:23 24   individual analyst, nobody's getting like more                      11:08:39 24         Q.   Yeah.
11:06:25 25   Vermont and someone's getting more China, that kind                 11:08:39 25         A.   No, that's not acceptable.
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                                                                  46                                                                                48
11:06:29  1   of thing?                                                       1   11:08:41            Q.   Okay. What about one analyst finding no
11:06:29  2         A.   Not that I'm aware of.                     11:08:46  2                 detectable asbestos, another finding a quarter of a
11:06:30  3         Q.   You didn't give any particular analyst     11:08:50  3                 percent?
11:06:32  4   like you're getting more bottles from the '50s and    11:08:50  4                            MR. CIRSCH: Object to form.
11:06:36  5   '60s and someone else is getting something more from  11:08:51  5                       Q.   (By Mr. Chachkes) Is that an acceptable
11:06:38  6   a later era, that's not happening?                    11:08:52  6                 margin of error?
11:06:40  7         A.   It's fairly random. The analysts don't     11:08:53  7                       A.   .25 percent by weight? A quarter percent?
11:06:43  8   have any knowledge of anything more than the sample 11:08:59 8                          Q.   No, no. A quarter of a percent.
11:06:47  9   number. They don't know if it's China or Vermont      11:09:02  9                            MR. CIRSCH: Object to form.
11:06:51 10   or -- we're not telling them anything other than they 11:09:03 10                            THE WITNESS: Isn't that .25? Isn't that
11:06:54 11   just get a sample number.                             11:09:05 11                       a quarter of a percent?
11:06:55 12         Q.   Who decides which analyst gets which       11:09:09 12                       Q.   (By Mr. Chachkes) Yeah.
11:06:58 13   bottles?                                              11:09:09 13                       A.   Sometimes simple math gets the better of
11:06:58 14         A.   That's a good question. I guess Victoria   11:09:13 14                 me.
11:07:08 15   Panariello does.                                      11:09:14 15                            I would think that would be unacceptable;
11:07:08 16         Q.   Who is she?                                11:09:16 16                 something has gone wrong.
11:07:09 17         A.   She is the head person in our TEM lab.     11:09:18 17                       Q.   Just to spare me from the trouble of doing
11:07:14 18         Q.   Head person meaning administrative?        11:09:20 18                 this all day, at what point would you say, you know,
11:07:18 19   Scientist?                                            11:09:23 19                 that's acceptable, and maybe a little larger wouldn't
11:07:18 20         A.   She's a scientist.                         11:09:26 20                 be acceptable?
11:07:19 21         Q.   Does she do any analysis herself?          11:09:26 21                            MR. CIRSCH: Object to form.
11:07:21 22         A.   Occasionally.                              11:09:27 22                            THE WITNESS: I'd have to look at every
11:07:22 23         Q.   Under what instrument?                     11:09:29 23                       situation to see what that percentage is before
11:07:23 24         A.   She's -- she can do both polarized light   11:09:31 24                       I could say what is acceptable and not
11:07:28 25   microscopy as well as transmission electron           11:09:34 25                       acceptable.
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11:09:35  1         Q.    (By Mr. Chachkes) Okay. You have no                      11:11:54  1              THE WITNESS: All sample preparation is
11:09:39  2   written or decided standard in your laboratory for                   11:11:55  2        important.
11:09:42  3   what kind of error between two analysts is acceptable                11:11:55  3        Q.    (By Mr. Chachkes) And do all your
11:09:45  4   or not acceptable, do you?                                           11:11:56  4   analysts use the same sample preparation methods?
11:09:47  5               MR. CIRSCH: Object to form.                              11:12:01  5        A.    All the people who -- the folks who
11:09:48  6               THE WITNESS: Yeah, we do. We have                        11:12:06  6   prepare the samples use the method that is
11:09:49  7         measured where they have gone in and analyzed                  11:12:10  7   appropriate for the analysis that's going to be done.
11:09:52  8         the same sample. See, when you were asking for                 11:12:13  8        Q.    If there is -- for all the samples that
11:09:53  9         what's acceptable and not acceptable, it's not                 11:12:18  9   were analyzed in your report, were they prepared --
11:09:56 10         so much on the analyst's side. It could be the                 11:12:22 10   the sample preparation, were they all done by the
11:09:58 11         preparation side. It could be a number of                      11:12:25 11   same method?
11:10:01 12         things.                                                        11:12:26 12        A.    Yes.
11:10:02 13               So we have done error rates for the                      11:12:26 13        Q.    Were they all done by the same person?
11:10:06 14         analyst by TEM analysis where they go in and we                11:12:28 14        A.    I would have to look. But yes. Most
11:10:10 15         know that in these many grid openings there's                  11:12:31 15   likely these samples were all done by the same
11:10:12 16         this many fibers, and then we can have them                    11:12:34 16   person.
11:10:15 17         analyze the same grid openings.                                11:12:34 17        Q.    Okay. If you took a split from a single
11:10:17 18               You're taking out the part about the                     11:12:41 18   bottle and you had two analysts look at it, would you
11:10:19 19         sample preparation, the filter preparation. So                 11:12:44 19   expect them to identify the same kinds of asbestos,
11:10:22 20         you have to look at it individually. But for                   11:12:47 20   assuming there was asbestos spotted?
11:10:24 21         error rates for the analyst, we have that.                     11:12:49 21              MR. CIRSCH: Object to form.
11:10:27 22         Q.    (By Mr. Chachkes) Okay. But just                         11:12:52 22              THE WITNESS: Not necessarily, no.
11:10:29 23   comparing -- just visually comparing a grid, a single                11:12:53 23        Q.    (By Mr. Chachkes) Okay. So one could say
11:10:32 24   grid; correct?                                                       11:12:54 24   I see tremolite and another could say I see
11:10:33 25               MR. CIRSCH: Object to form.                              11:12:57 25   anthophyllite and you don't think that is -- that
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11:10:35  1               THE WITNESS: Grid openings --                            11:13:01  1   demonstrates a problem?
11:10:35  2         Q.    (By Mr. Chachkes) Yeah.                                  11:13:03  2              MR. CIRSCH: Object to form.
11:10:36  3         A.    -- where each analyst is told to count the               11:13:04  3              THE WITNESS: If the chemistry is right,
11:10:39  4   same grid opening and, therefore, you can determine                  11:13:08  4        the -- and they have identified it correctly,
11:10:43  5   what the analyst -- what the coefficient of variation                11:13:11  5        no. Many of these samples have two types of
11:10:48  6   is.                                                                  11:13:16  6        asbestos in it.
11:10:49  7               If you have a sample where -- you take two               11:13:16  7        Q.    (By Mr. Chachkes) Okay. Is there any
11:10:52  8   samples and one sample is -- they found one fiber in                 11:13:22  8   situation where you think an analyst has identified
11:10:54  9   a hundred grid openings and another sample they found                11:13:26  9   an asbestos that you believe maybe there's an error
11:10:57 10   zero, that's within the -- that's within the margin                  11:13:30 10   there?
11:11:00 11   of error. That's acceptable.                                         11:13:32 11              MR. CIRSCH: Object to form.
11:11:02 12               If you have a sample where one analyst                   11:13:33 12              THE WITNESS: I haven't run across
11:11:04 13   found 50 fibers and one analyst found none or one,                   11:13:34 13        anything like that, no.
11:11:10 14   then something has happened, and you have to go back                 11:13:35 14        Q.    (By Mr. Chachkes) And if one -- if there
11:11:12 15   and look and go, okay, are the grid openings you                     11:13:36 15   was a split and one analyst said I found -- let's say
11:11:14 16   looked at he looked at in the first one. So there is                 11:13:39 16   there was a split three ways, and one of your
11:11:17 17   a process that we have to evaluate all data where we                 11:13:42 17   analysts said I found anthophyllite, another analyst
11:11:22 18   have multiple samples of the same container.                         11:13:45 18   said I found tremolite, and a third analyst said I
11:11:24 19         Q.    Sample preparation is extremely important                11:13:49 19   found nothing detectable, you would not say maybe
11:11:27 20   because that affects the --                                          11:13:52 20   there's a problem here?
         21               (Cell phone rings.)                                      11:13:53 21              MR. CIRSCH: Object to form.
         22         Q.    (By Mr. Chachkes) Okay. Sample                           11:13:54 22              THE WITNESS: Unless I could review the
         23   preparation is extremely important because that                      11:13:55 23        data and -- you know, it's an interesting
11:11:50 24   affects the outcomes; correct?                                       11:13:56 24        hypothetical. I don't think we have run across
11:11:53 25               MR. CIRSCH: Object to form.                              11:13:58 25        that interesting hypothetical.
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11:13:59  1             But I would have to review the data to see            11:15:58  1              MR. CIRSCH: Object to form.
11:14:02  2       what they're analyzing, what the chemistry is,              11:16:00  2              THE WITNESS: I don't think it's
11:14:05  3       how did they identify, and how many asbestos                11:16:01  3       subjectivity. I just think it's wherever the
11:14:09  4       fibers the two that found it versus the one that            11:16:05  4       cosmetic talc source was in any particular mine,
11:14:12  5       didn't. So it's --                                          11:16:09  5       what's there. We have many samples that have
11:14:14  6       Q.    (By Mr. Chachkes) Okay.                               11:16:12  6       both types of asbestos in it.
11:14:14  7       A.    -- you just can't say is this a problem,              11:16:14  7              So you can't say, well, you found this and
11:14:18  8   this -- maybe, maybe not.                                       11:16:18  8       the other one found that, when the source, the
11:14:20  9       Q.    Okay. So there is a situation you would               11:16:21  9       accessory -- amphibole asbestos accessory
11:14:22 10   say there is not a problem where three analysts                 11:16:23 10       mineral in these mines have both types.
11:14:25 11   looking at the same bottle finding -- one found                 11:16:26 11       Q.     (By Mr. Chachkes) If one of your
11:14:29 12   anthophyllite, one found tremolite, one found nothing           11:16:27 12   scientists looked at a J&J bottle of talc and found a
11:14:31 13   detectable, there is a situation where that would not           11:16:32 13   particular concentration of a particular kind of
11:14:33 14   be a problem, you can imagine that?                             11:16:36 14   asbestos, would you -- do you believe to within a
11:14:35 15             MR. CIRSCH: Object to form.                           11:16:42 15   scientific -- a degree of scientific -- reasonable
11:14:35 16             THE WITNESS: I don't know if I can                    11:16:45 16   scientific degree of certainty that a second
11:14:37 17       imagine any of this happening, but it's your                11:16:50 17   scientist following proper procedures would find the
11:14:40 18       hypothetical. Unless I can look at the data and             11:16:52 18   same?
11:14:44 19       understand what each of the analysts were                   11:16:52 19              MR. CIRSCH: Object to form.
11:14:46 20       counting, how many structures, what is the                  11:16:53 20              THE WITNESS: I think we already talked
11:14:48 21       chemistry, what is the diffraction patterns, is             11:16:54 21       about this. I would never expect a second
11:14:51 22       it the two analysts found one and one found                 11:16:56 22       scientist or a second analyst going in with a
11:14:54 23       zero, is this -- you know, what is the mine this            11:16:59 23       separate prep sample finding the exact amount.
11:14:58 24       is coming from, how does our other data look --             11:17:00 24       And again, it depends on how many is there.
11:15:01 25       there's a lot involved there than just saying               11:17:03 25              We did discuss this once. If it's one or
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11:15:03  1       off the cuff, oh, that's a problem or that's not           111:17:05          two and the second analyst found none, that's in
11:15:05  2       a problem.                                       11:17:08  2                  the margin of error, or it's looking for the
11:15:06  3       Q.     (By Mr. Chachkes) Okay. All right. I've   11:17:12  3                  needle in the haystack sort of analogy.
11:15:08  4   asked you whether you can imagine a situation where 11:17:15 4                           If one analyst found 50 and the other
11:15:11  5   that's not a problem. You have not provided that to  11:17:18  5                  found zero, yes, that's a problem, like we
11:15:13  6   me. This is -- I'll just ask it one more time. Can   11:17:19  6                  already discussed. Again, I would have to look
11:15:16  7   you provide that to me? I can imagine that's not a   11:17:21  7                  at the data to determine if it's a problem or
11:15:18  8   problem.                                             11:17:23  8                  not.
11:15:18  9              MR. CIRSCH: Object to form. I think he    11:17:24  9                  Q.     (By Mr. Chachkes) Do you believe it's
11:15:20 10       answered your question.                          11:17:26 10              appropriate, given this margin of error, to run
11:15:21 11              THE WITNESS: I can't give you any         11:17:30 11              multiple tests on a single bottle and then average
11:15:22 12       additional information about that because I      11:17:33 12              the results to get what would be the correct answer?
11:15:25 13       don't -- as a scientist I just don't like to     11:17:37 13                         MR. CIRSCH: Object to form.
11:15:27 14       say, well, this is -- I can imagine a problem    11:17:38 14                         THE WITNESS: I don't think that's
11:15:30 15       here, I can't imagine it's a problem, without    11:17:39 15                  necessary. I think the -- we can accept what
11:15:32 16       looking at any data to see how many asbestos     11:17:42 16                  the analysis is. It comes from a sample in a
11:15:34 17       fibers each of the analysts counted, is it one,  11:17:45 17                  bottle. The more you run, you may go from
11:15:37 18       is it ten, is it five, what's the chemistry look 11:17:50 18                  nondetect initially to detect in the second or
11:15:40 19       like, the EDXA, the SAED. I would have to        11:17:54 19                  third. But I don't think that is necessary to
11:15:47 20       review it to see if it's a problem or not.       11:17:56 20                  do for the types of analysis we're doing.
11:15:49 21       Q.     (By Mr. Chachkes) Is there sufficient     11:17:59 21                  Q.     (By Mr. Chachkes) For two of your
11:15:50 22   subjectivity in the system such that it could be     11:18:02 22              analysts analyzing the same bottle, what degree of
11:15:52 23   correct that one analyst could find in a bottle      11:18:06 23              difference in the detected percentage of fibers
11:15:55 24   tremolite and another analyst could find in the      11:18:10 24              versus detected percentage of bundles would you
11:15:57 25   bottle anthophyllite?                                11:18:17 25              expect normally?
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11:18:19  1                MR. CIRSCH: Object to form.                              11:20:48  1   synonymously in your report?
11:18:20  2                THE WITNESS: I don't have any                            11:20:50  2        A.     I think all ours say EDXA. EDS is old
11:18:21  3          expectations. The analyst is ultimately making                 11:20:54  3   school. They're both the same technique: energy
11:18:24  4          the decision if it is a single fiber or a                      11:20:56  4   dispersive spectroscopy or energy dispersive x-ray
11:18:28  5          bundle. Because he's looking in the microscope,                11:21:00  5   spectroscopy.
11:18:31  6          he's the one who can -- you're looking through                 11:21:00  6        Q.     Do you expect all the samples from a
11:18:34  7          the fiber, he's the one doing the -- he can                    11:21:01  7   single mine, for example, the cosmetic talc from
11:18:38  8          change the focal plane, he can change from dark                11:21:08  8   J&J's Vermont mine, to have similar SAED patterns?
11:18:42  9          field to bright field, so ultimately he's making               11:21:15  9        A.     Depending on the orientation of the
11:18:44 10          the decision on it.                                            11:21:18 10   crystal and depending on what the material is.
11:18:46 11          Q.    (By Mr. Chachkes) I am asking really what                11:21:22 11               Tremolite, winchite, richterite,
11:18:49 12   is the margin of error in detecting fiber versus                      11:21:27 12   actinolite typically have similar, but the
11:18:53 13   bundle percentage, acceptable margin of error. Have                   11:21:30 13   anthophyllite solid solution series, especially from
11:18:57 14   you ever figured that out?                                            11:21:34 14   Vermont where you can have no iron, iron-rich,
11:18:58 15          A.    We haven't done that; it's really not                    11:21:38 15   cummingtonite, high-iron cummingtonite, and actually
11:19:00 16   necessary. It's more important for coefficients of                    11:21:43 16   going to grunerite, those will have different
11:19:04 17   variation. I've reviewed all the photographs of                       11:21:46 17   reflections because you're going from orthorhombic to
11:19:07 18   fibers and bundles. I would say 95, 98 percent of                     11:21:49 18   monoclinic.
11:19:14 19   them I agree with. There's a couple percent in there                  11:21:50 19        Q.     So would you expect all the samples from a
11:19:18 20   that you have to leave it up to the analyst to make                   11:21:53 20   single mine to have the same concentration of
11:19:21 21   that decision.                                                        11:21:57 21   asbestos?
11:19:22 22          Q.    Would you expect an analyst in your lab                  11:21:58 22        A.     No.
11:19:25 23   and an analyst in Lee Poye's lab to get the same                      11:21:59 23        Q.     Why not?
11:19:29 24   results for a particular bottle? Is it the same                       11:22:00 24        A.     Because you're dealing with accessory
11:19:32 25   answer as I've been getting with two analysts in your                 11:22:02 25   minerals. It just depends on where it's being dug
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11:19:34  1   lab?                                                                  11:22:07  1   out of the mine.
11:19:34  2                MR. CIRSCH: Object to form.                              11:22:07  2        Q.     Would you expect all the samples from a
11:19:36  3                THE WITNESS: Yes. I would expect,                        11:22:10  3   single mine to have the same fiber versus bundle
11:19:38  4          depending on what the count is or how many                     11:22:14  4   ratio?
11:19:41  5          fibers, if it's not in the margin of error, that               11:22:15  5        A.     Not necessarily. All these materials are
11:19:44  6          we would verify that it's same bottle as                       11:22:18  6   milled, and you're dealing with an asbestos type
11:19:47  7          positive. But other than that, I would have to                 11:22:21  7   tremolite-anthophyllite that's brittle. So I don't
11:19:51  8          see the data to see.                                           11:22:26  8   know if I would expect to see the same bundles to
11:19:52  9          Q.    (By Mr. Chachkes) When you say -- when                   11:22:30  9   fibers.
11:19:55 10   you say it's not within the margin of error, what's                   11:22:30 10               And of course you're also dealing with the
11:19:58 11   the quantification of that margin of error?                           11:22:33 11   microscopist who has to make that final decision, the
11:20:00 12          A.    I think our analysts have a margin of                    11:22:36 12   TEM microscopist, if it's a single fiber or bundle.
11:20:02 13   error on coefficient of variation somewhere in the 6                  11:22:40 13               What we try to make sure happens is that
11:20:03 14   to 7 percent range. So one lab finding one fiber or                   11:22:44 14   every asbestos fiber or bundle we identify meets the
11:20:07 15   maybe two fibers, another lab finding zero or finding                 11:22:49 15   counting criteria for a regulated asbestos fiber or
11:20:10 16   four, I don't have any issue with that.                               11:22:53 16   bundle as per the TEM methods, both ISO, ASTM.
11:20:14 17          Q.    Would you expect the samples, the various                11:22:59 17   That's the most important thing.
11:20:23 18   bottles from a single mine, like all the bottles from                 11:23:01 18               And then we try to also get some
11:20:26 19   J&J talc from Vermont, cosmetic talc from the Vermont                 11:23:03 19   consistency on whether it's bundles or fibers. But
11:20:31 20   mine, to have roughly the same EDS spectra?                           11:23:08 20   that's what we strive for, is following the protocol,
11:20:36 21                MR. CIRSCH: Object to form.                              11:23:12 21   following the standard counting rules, and
11:20:38 22                THE WITNESS: Depending on the type of                    11:23:15 22   identification.
11:20:39 23          asbestos, yes.                                                 11:23:16 23        Q.     Hypothetically, if one of your researchers
11:20:39 24          Q.    (By Mr. Chachkes) Okay. By the way, I've                 11:23:21 24   analyzed 150 different samples from a single mine and
11:20:43 25   seen EDXA; I've seen EDS. Do you use those                            11:23:25 25   another researcher analyzed those same 150 samples,
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11:23:29  1   would you expect the averages for both the                      11:42:29  1              THE WITNESS: I don't have any
11:23:31  2   researchers to be the same?                                     11:42:30  2       expectations one way or the other, and I think
11:23:33  3              MR. CIRSCH: Object to form.                          11:42:32  3       we've gone over this. This is the hypothetical
11:23:34  4              THE WITNESS: I don't know. I'd have                  11:42:34  4       if we analyzed it again, are we going to find
11:23:35  5       to -- I mean, again, you have to look at the                11:42:36  5       the same thing. It depends on, again, how many
11:23:37  6       data and determine what that percentage is for              11:42:39  6       asbestos fibers or bundles were detected the
11:23:41  7       those exact same samples and what they found                11:42:41  7       first time.
11:23:43  8       versus the other.                                           11:42:41  8              If we detect one or two the first time and
11:23:45  9              I wouldn't be surprised if they're in the            11:42:44  9       do it again and it's zero, that's within the
11:23:47 10       range of an average or in the range of high to              11:42:46 10       error rate that you would expect. Or if we
11:23:49 11       low. If it's not in that range, then I would                11:42:49 11       tested again and we find that it's even more,
11:23:52 12       have to look at it to see if it's a problem or              11:42:53 12       say three fibers or four fibers.
11:23:54 13       not.                                                        11:42:56 13              So you have to look at specifically on
11:24:03 14              Can we go off the record for a second?               11:42:58 14       what the first test is, and we're assuming the
11:24:07 15              MR. CIRSCH: Sure.                                    11:43:02 15       first test now is a nondetect, below our
11:24:11 16              (Recess from 11:24 a.m. to 11:39 a.m.)               11:43:05 16       detection limit. And if the second test shows
11:39:52 17       Q.     (By Mr. Chachkes) Dr. Longo, there are               11:43:07 17       that there is one or two regulated asbestos
11:40:50 18   bottles of J&J talc, cosmetic talc, where you've not            11:43:10 18       fibers, that wouldn't surprise me.
11:40:56 19   detected asbestos; correct?                                     11:43:12 19       Q.      (By Mr. Chachkes) Okay. So let me ask
11:40:58 20       A.     That's correct.                                      11:43:15 20   the question again because you really answered a
11:40:58 21       Q.     So for example, there are some bottles of            11:43:16 21   different question.
11:41:02 22   Vermont sourced J&J talc where you've not detected              11:43:17 22              The question is, if you had a bottle of
11:41:06 23   asbestos; correct?                                              11:43:19 23   J&J talc where you had a nondetect. I'm not asking
11:41:07 24       A.     That is correct. The better way to say               11:43:23 24   what your experience is. I'm not asking about a
11:41:09 25   that is the asbestos, if present, is below our                  11:43:25 25   specific bottle. I'm asking just generally speaking,
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11:41:12  1   detection limit.                                                1
                                                                              11:43:29      would you expect to have another nondetect if you
11:41:13  2       Q.    Okay. Do you have any opinion as to         11:43:32  2             were to test it again -- nondetect in the first
11:41:21  3   whether, if one of those bottles were retested,       11:43:36  3             instance?
11:41:23  4   whether you would get the same result?                11:43:37  4                        MR. CIRSCH: Object to form.
11:41:25  5             MR. CIRSCH: Object to form.                 11:43:38  5                        THE WITNESS: I don't have an expectation
11:41:27  6             THE WITNESS: And again, this is -- the      11:43:39  6                 one way or the other. The results are what they
11:41:29  7       same result is either zero or nondetect below     11:43:41  7                 are.
11:41:33  8       our detection limit or possibly one right at the  11:43:41  8                 Q.      (By Mr. Chachkes) Can you make any
11:41:36  9       detection limit, and I think we've had samples    11:43:42  9             assumptions about a bottle of J&J cosmetic talc from
11:41:38 10       like that before.                                 11:43:47 10             Vermont about the asbestos content without analyzing
11:41:40 11             I think I can think of either Krystal       11:43:49 11             the bottle?
11:41:45 12       Kim's two samples and Joanne Anderson's two       11:43:50 12                 A.     I don't believe you can predict just how
11:41:50 13       samples, I believe one was positive and one was   11:43:57 13             much asbestos is in any particular bottle without
11:41:53 14       negative, but they were two different bottles.    11:44:00 14             analyzing it.
11:41:57 15             Where we have tested the two samples from 11:44:02 15                   Q.     What about the possibility that there's no
11:42:01 16       the same bottle would be the 1978 historical,     11:44:05 16             asbestos, can you -- if you haven't analyzed a bottle
11:42:05 17       and we found them in both.                        11:44:10 17             of J&J talc sourced from Vermont, is it possible that
11:42:07 18       Q.    (By Mr. Chachkes) Okay. I'm not asking      11:44:15 18             there's no detectable asbestos?
11:42:08 19   about specific bottles. So listen to the question     11:44:18 19                        MR. CIRSCH: Object to form.
11:42:11 20   I'm asking.                                           11:44:19 20                        THE WITNESS: Again, I don't have
11:42:12 21             If you had a nondetect on a bottle of J&J   11:44:21 21                 expectations one way or the other. It's either
11:42:16 22   cosmetic talc for asbestos, would you expect,         11:44:25 22                 going to be above, at, or below our detection
11:42:21 23   generally speaking, that if you ran the same test     11:44:28 23                 limit, depending on the amount of regulated
11:42:23 24   again, you would get the same result, the non-deduct? 11:44:30 24                 asbestos that's in that bottle.
11:42:28 25             MR. CIRSCH: Object to form.                 11:44:31 25                 Q.      (By Mr. Chachkes) You're not assuming
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11:44:32  1   that a nondetect of a J&J bottle of cosmetic talc is                   11:47:05  1   but we'll have to check it just to determine the
11:44:38  2   an incorrect result; correct?                                          11:47:08  2   sodium concentrations versus the potassium
11:44:40  3        A.       I'm sorry, could you repeat that?                        11:47:12  3   concentrations.
11:44:41  4        Q.       Yeah, I didn't do you a favor there, did                 11:47:13  4        Q.    Okay. So sitting here today, you don't
11:44:44  5   I?                                                                     11:47:14  5   know whether your analysts compare their EDXA spectra
11:44:47  6                 You don't believe that a nondetect for                   11:47:17  6   to third-party standards?
11:44:49  7   asbestos on a J&J bottle of cosmetic talc means                        11:47:19  7        A.    No, I didn't say that.
11:44:53  8   you've made an error?                                                  11:47:20  8              MR. CIRSCH: Object to form.
11:44:55  9                 MR. CIRSCH: Object to form.                              11:47:21  9              THE WITNESS: We have our own standards,
11:44:56 10                 THE WITNESS: No. It only means that if                   11:47:23 10        we have the NIST standards. And quite frankly,
11:44:59 11        there is regulated asbestos present in that                       11:47:25 11        a TEM analyst identifying tremolite and
11:45:01 12        bottle, it's below our analytical detection                       11:47:28 12        anthophyllite or iron-rich anthophyllite is
11:45:06 13        limit.                                                            11:47:33 13        almost elementary compared to for people with
11:45:07 14        Q.       (By Mr. Chachkes) Your report includes                   11:47:37 14        analysts with a lot of experience. We have the
11:45:10 15   EDXA spectra for several particles; correct?                           11:47:40 15        references.
11:45:13 16        A.       For --                                                   11:47:43 16              If you have any particular issue with any
11:45:14 17                 MR. CIRSCH: Object to form.                              11:47:45 17        particular EDXA spectra that you think has been
11:45:15 18                 THE WITNESS: For several regulated                       11:47:50 18        misidentified as one of the regulatory asbestos
11:45:17 19        asbestos fibers and bundles, yes.                                 11:47:52 19        types in these reports, I would be happy to look
11:45:19 20        Q.       (By Mr. Chachkes) Describe how your                      11:47:54 20        at it and we can discuss it.
11:45:20 21   analysts calibrate your EDXA system.                                   11:47:56 21        Q.    (By Mr. Chachkes) I would like you to
11:45:25 22        A.       It's calibrated in the QA/QC, I believe,                 11:47:57 22   listen carefully to the question.
11:45:28 23   every couple of months where a standard is run and                     11:47:58 23              The question is: For the EDXA spectra in
11:45:30 24   then they make a determination on its count rates.                     11:48:04 24   your report, the conclusions made about which mineral
11:45:34 25   So whatever we have to do for the National Voluntary                   11:48:06 25   that is based on the EDX -- which crystal that is
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11:45:42  1   Laboratory Accreditation Program.                              1       11:48:10      based on the EDXA spectra, was that done comparing
11:45:42  2         Q.   Do you keep that data and results on your 11:48:14  2                     the spectra to a third-party standard?
11:45:46  3   QA/QC?                                               11:48:16  3                                MR. CIRSCH: Object to form.
11:45:47  4         A.   Yes.                                      11:48:17  4                                THE WITNESS: Are you asking a third-party
11:45:48  5         Q.   Have you ever produced it?                11:48:19  5                          standard spectra or a third-party standard
11:45:49  6         A.   No.                                       11:48:23  6                          mineral like NIST?
11:45:52  7         Q.   How often do they calibrate -- strike     11:48:26  7                          Q.    (By Mr. Chachkes) Okay. How about a
11:45:57  8   that.                                                11:48:29  8                     third-party standard, any third-party standard,
11:45:57  9              Do your analysts compare their EDXA       11:48:32  9                     somebody else other than your lab generated this
11:46:04 10   spectra to known reference samples, known reference  11:48:34 10                     spectra, you used that as a standard?
11:46:11 11   spectra?                                             11:48:36 11                          A.    I don't know if we've looked at any other
11:46:11 12         A.   Yes.                                      11:48:39 12                     third-party spectra other than what has been -- I
11:46:12 13         Q.   And are those spectra from outside MAS or 11:48:45 13                     think Jim Millette has published in the past. I know
11:46:16 14   generated within MAS?                                11:48:48 14                     we have his stuff. I believe McCrone has also. I
11:46:19 15              MR. CIRSCH: Object to form.               11:48:53 15                     have to look in the particle analysis if they've done
11:46:21 16              THE WITNESS: The reference spectras have  11:48:56 16                     that. But typically we rely on the actual minerals
11:46:24 17         been generated by MAS.                         11:48:59 17                     and the spectras that we've generated in the past
11:46:25 18         Q.   (By Mr. Chachkes) And do your analysts    11:49:01 18                     from the standards.
11:46:27 19   compare their EDXA spectra to any third-party        11:49:02 19                          Q.    So the question isn't about whether
11:46:34 20   reference spectra?                                   11:49:04 20                     third-party standards exist. I'm talking about the
11:46:42 21         A.   Possibly. I mean, there's plenty of       11:49:07 21                     functional day-to-day your analysts doing an EDXA
11:46:47 22   publications or book chapters in the past on things  11:49:11 22                     spectra. Sitting there, does he look over at some
11:46:51 23   like tremolite, richterite, winchite. Not so much on 11:49:15 23                     third-party document, or does he look at an MAS
11:46:58 24   richterite and winchite because it's a mineral that  11:49:19 24                     internal document to determine this is what I'm
11:47:03 25   nobody seems to have. We believe we have some now, 11:49:21 25                       looking at?
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11:49:22  1              MR. CIRSCH: Object to form.                                        1        Q.     Microns, I'm sorry.
11:49:23  2              THE WITNESS: I doubt he's looking at when                11:52:06  2        A.     Micrometers.
11:49:25  3        he takes a spectra of either tremolite series or               11:52:06  3        Q.     Okay. So strike that.
11:49:28  4        anthophyllite series that he's turning over and                11:52:08  4               If your analyst sees something that's
11:49:31  5        looking at a known reference. These analysts                   11:52:11  5   greater than .5 micrometers and has an aspect ratio
11:49:34  6        have been doing this for years and years and                   11:52:14  6   of at least 5-to-1, then he might do EDXA?
11:49:37  7        years.                                                         11:52:18  7        A.     If it has parallel sides, yes. And he may
11:49:37  8              We have references, but I can't imagine                  11:52:25  8   do SAED. It doesn't matter which one. But then he
11:49:43  9        every time he takes an EDX spectra that looks                  11:52:29  9   would have to go through the sequence of determining
11:49:47 10        the same time after time after time that he's                  11:52:31 10   if it meets the definition for the regulated asbestos
11:49:49 11        looking at a third-party reference at that                     11:52:35 11   chemistry and the crystalline structure.
11:49:51 12        particular point in time.                                      11:52:37 12        Q.     Are there minerals that exist in the world
11:49:52 13        Q.    (By Mr. Chachkes) Okay. How many                         11:52:40 13   other than regulated particles, regulated asbestos
11:49:56 14   different analysts do you have doing EDXA spectra?                  11:52:44 14   particles, that are greater than .5 micrometers and
11:49:59 15        A.    Four.                                                    11:52:50 15   can have an aspect ratio of greater than 5-to-1?
11:49:59 16        Q.    Does NIST have an EDXA reference spectra                 11:52:53 16               MR. CIRSCH: Object to form.
11:50:06 17   for the various asbestos?                                           11:52:54 17        Q.     (By Mr. Chachkes) And with parallel
11:50:11 18              MR. CIRSCH: Object to form.                              11:52:56 18   sides?
11:50:12 19              THE WITNESS: I think you already asked                   11:52:56 19        A.     Yes.
11:50:14 20        that. And besides not having a -- providing a                  11:52:56 20        Q.     Potentially dozens if not hundreds; right?
11:50:16 21        TEM photo, they do not provide an actual                       11:53:01 21        A.     I haven't counted them all up. But what
11:50:22 22        spectra. But I think most -- I think there's a                 11:53:04 22   we potentially see is asbestiform talc bundles or
11:50:26 23        number of third-party references I believe just                11:53:08 23   fibers all the time. So, yeah, you have to
11:50:28 24        give you the ratios of what you would see in                   11:53:12 24   distinguish between a talc fiber or bundle and an
11:50:31 25        EDXA for the magnesium, the silicon, the                       11:53:17 25   anthophyllite fiber or bundle.
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11:50:37  1        calcium, potentially some iron, tremolite, or                  11:53:18  1        Q.     The question really is about minerals, so
11:50:41  2        actinolite.                                                    11:53:20  2   let's focus on what I've just asked, which is: There
11:50:43  3        Q.    (By Mr. Chachkes) Why is EDXA useful?                    11:53:25  3   are potentially dozens if not hundreds of minerals
11:50:47  4        A.    Provides the inorganic, and depending on                 11:53:29  4   that can have parallel sides, that can have -- be
11:50:52  5   your detector, organic chemistry of any particular                  11:53:34  5   bigger than .5 micrometers, and have aspect ratios
11:50:56  6   elongated particulate.                                              11:53:37  6   that are 5-to-1 or greater?
11:50:58  7        Q.    When you look at an EDXA spectra, do you                 11:53:39  7               MR. CIRSCH: Object to form.
11:51:03  8   assume it's a regulated particle and then look to                   11:53:40  8               THE WITNESS: And I apologize, but I just
11:51:07  9   which regulated particles have the metal-to-silicon                 11:53:42  9        stated I haven't counted them up. And really,
11:51:11 10   ratio that correspond?                                              11:53:46 10        we're not interested in the hundreds or whatever
11:51:14 11              MR. CIRSCH: Object to form.                              11:53:47 11        it is around the world.
11:51:15 12              THE WITNESS: Well, we typically don't do                 11:53:49 12               It's primarily what do we find in the talc
11:51:18 13        an EDX spectra unless it meets the definition of               11:53:55 13        deposits that are asbestiform or fibrous and
11:51:22 14        a regulated -- it has the potential for a                      11:54:00 14        meet those definitions. And typically the only
11:51:27 15        regulated asbestos fiber or bundle.                            11:54:04 15        thing we routinely see is fibrous talc. Every
11:51:29 16              So it's got to be at least .5 micrometers                11:54:10 16        now and then an antigorite fiber may show up.
11:51:33 17        in length or greater, it's got to have an equal                11:54:16 17               But I don't -- to answer your question you
11:51:36 18        to -- greater than or equal to 5-to-1 aspect                   11:54:19 18        asked, I haven't counted how many are out there.
11:51:41 19        ratio, and parallel sides. Then the analyst --                 11:54:21 19        Q.     (By Mr. Chachkes) Does MAS conduct
11:51:46 20        first thing I would assume is do EDXA and check                11:54:24 20   qualitative EDS analysis or quantitative EDS
11:51:50 21        the chemistry. And then SAED.                                  11:54:27 21   analysis?
11:51:55 22        Q.    (By Mr. Chachkes) If your analyst sees                   11:54:28 22        A.     I believe every spectra in here is
11:51:58 23   something that's, what did you say, greater than .55                11:54:31 23   quantitative EDS analysis.
11:52:04 24   millimeters?                                                        11:54:33 24        Q.     So you actually calculate the peak sizes
11:52:05 25        A.    Microns.                                                 11:54:36 25   and do the math?
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11:54:37  1       A.     We can, but we take the raw data, so that             11:57:08  1           A.   I do recognize it.
11:54:41  2   has to have at least 300 seconds of collection. But              11:57:10  2           Q.   Okay. Now, up at the top it says -- do
11:54:46  3   it's easy to do. You can actually calculate the                  11:57:13  3   you see where it says tremolite?
11:54:51  4   concentration of the oxides under the peaks. We                  11:57:14  4           A.   Yes.
11:54:54  5   don't normally do that unless it's necessary.                    11:57:14  5           Q.   You typed that in, right, or your lab
11:54:58  6       Q.     So when you -- just to summarize, when you            11:57:17  6   typed that in?
11:55:07  7   do identification of mineral by EDXA, you are                    11:57:19  7           A.   After they identified it, yes.
11:55:13  8   assuming that it's not any of the potentially dozens             11:57:21  8           Q.   Okay. What's the name of the software you
11:55:17  9   or hundreds of other minerals that aren't regulated;             11:57:28  9   use to generate this spectra?
11:55:22 10   correct?                                                         11:57:31 10           A.   You got me there. I don't know the name
11:55:22 11              MR. CIRSCH: Object to form.                           11:57:33 11   of the software. It's whatever the EDS system is on
11:55:23 12              THE WITNESS: That's not what I said. I                11:57:37 12   this particular one. It's not a light element
11:55:24 13       said I didn't know them all. But there's no                  11:57:39 13   detector. It comes with the EDXA system. I don't
11:55:27 14       minerals out there that has all the                          11:57:44 14   know what they call their software.
11:55:29 15       characteristics of a specific type of a                      11:57:46 15           Q.   Do you run the EDXA yourself?
11:55:32 16       regulated asbestos fiber, and that's why you go              11:57:49 16           A.   Not anymore, no.
11:55:36 17       through the analytical process.                              11:57:50 17           Q.   Did you run any EDXA for any of the
11:55:39 18              You can get other fibrous materials, but              11:57:53 18   samples in the MDL?
11:55:42 19       they'll have aluminum or the                                 11:58:00 19           A.   No, sir.
11:55:47 20       magnesium-to-silicon ratios are off. But you                 11:58:00 20           Q.   And walk me through how you determine the
11:55:50 21       just don't see that many of these other than                 11:58:03 21   chemical composition of a -- what you're looking at
11:55:53 22       fibrous talc.                                                11:58:07 22   from the spectra.
11:55:54 23              So of course we don't make an assumption              11:58:10 23                MR. CIRSCH: Object to form.
11:55:56 24       what it is. That's why you do the chemistry and              11:58:11 24                THE WITNESS: How far back do you want me
11:55:59 25       the selected area electron diffraction.                      11:58:14 25           to start?
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11:56:04  1       Q.     (By Mr. Chachkes) How many minerals have              11:58:14  1           Q.   (By Mr. Chachkes) Well, let me ask you
11:56:06  2   the same constituent elements as regulated asbestos?             11:58:15  2   this.
11:56:13  3              MR. CIRSCH: Object to form.                           11:58:16  3           A.   Electrons hit the solid -- electron beam
11:56:14  4              THE WITNESS: Don't know.                              11:58:20  4   hits the solid with enough energy to eject elements
11:56:14  5       Q.     (By Mr. Chachkes) It could be hundreds?               11:58:23  5   out of their orbital.
11:56:16  6              MR. CIRSCH: Object to form.                                     6           Q.   We're not --
11:56:17  7              THE WITNESS: It's not a matter if it has              11:58:26  7           A.   You don't want me to go back that far?
11:56:19  8       the same constituents --                                     11:58:27  8           Q.   No.
11:56:21  9       Q.     (By Mr. Chachkes) My question was --                            9           A.   Okay.
11:56:22 10              MR. CIRSCH: Hold on. Let him answer the               11:58:27 10           Q.   So you look at the areas of the peaks;
11:56:24 11       question, please.                                                     11   right?
11:56:25 12              THE WITNESS: I haven't -- again, I                    11:58:30 12           A.   No, what we -- we look at the peak ratios,
11:56:26 13       haven't tried to sit down and go through all the             11:58:34 13   the areas -- you can't look at the areas, but the
11:56:28 14       minerals in the world that may have magnesium,               11:58:37 14   peak ratios is what's important here. This is a
11:56:31 15       silicon, or magnesium, silicon, and calcium.                 11:58:42 15   typical tremolite with a small amount of iron, so
11:56:37 16       What's important is the ratio to the standards               11:58:44 16   this would not be enough iron to get into the
11:56:40 17       to the chemistry to the selected area electron               11:58:46 17   actinolite range. There's no potassium. I don't see
11:56:44 18       diffraction.                                                 11:58:52 18   much of a sodium peak, so I would call this just
11:56:44 19              MR. CHACHKES: Okay. Let's mark as                     11:58:57 19   tremolite.
11:56:45 20       Exhibit 12.                                                  11:58:57 20                So the electron beam is put on a spot size
         21              (Defendants' Exhibit 12 was marked for                11:59:01 21   onto the bundle or fiber, and the system essentially
11:56:58 22       identification.)                                             11:59:04 22   is turned on and starts collecting x-rays from the
11:56:58 23       Q.     (By Mr. Chachkes) This is an extracted                11:59:08 23   different energy levels that are consistent with the
11:57:00 24   page from page 132 of your report. Do you recognize              11:59:12 24   different elements.
11:57:05 25   this as one of your EDXA spectra?                                11:59:12 25           Q.   Okay. Let's just focus on you said you
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11:59:15  1   look at the ratios of the peaks; right?                                12:01:28  1        give you a peak, but they'll write out what the
11:59:18  2                MR. CIRSCH: Object to form.                               12:01:31  2        ratio ranges are.
11:59:19  3        Q.      (By Mr. Chachkes) Am I misstating your                    12:01:33  3        Q.       (By Mr. Chachkes) Okay. And those ratios
11:59:21  4   testimony?                                                             12:01:35  4   are -- are they simply the peak height, or do they
11:59:21  5        A.      No. I guess I'm trying to understand what                 12:01:37  5   take into account the peak area?
11:59:24  6   you're asking. Maybe you should repeat the question.                   12:01:39  6        A.       Well, the peak height and the peak area
11:59:26  7        Q.      Okay. You've got a -- I'm not asking how                  12:01:43  7   are consistent. I mean, the peak area is going to --
11:59:30  8   the machine works. I'm asking you how you take this                    12:01:50  8   the peak height is going to depend on the area,
11:59:33  9   result in Exhibit 12 and turn that into a conclusion.                  12:01:52  9   because as the area of the peak builds up, that's
11:59:38 10                So I'm asking do you look at the ratio of                 12:01:56 10   just more counts.
11:59:43 11   the peak heights -- is that one of the things you                      12:01:57 11                 If you change the chemistry,
11:59:47 12   look at?                                                               12:01:59 12   hypothetically, of, say, tremolite, you have added
11:59:48 13        A.      Yes.                                                      12:02:03 13   more magnesium elements to it, you're going to have
11:59:48 14        Q.      Okay. What's the ratio you look at                        12:02:07 14   higher peaks, so they're interrelated.
11:59:49 15   specifically?                                                          12:02:10 15        Q.       Do the standards that you're referring to
11:59:51 16                MR. CIRSCH: Object to form.                               12:02:12 16   refer to simply peak height or they refer to peak
11:59:52 17                THE WITNESS: You have a magnesium and                     12:02:14 17   area?
11:59:54 18        calcium peak that are pretty close. Typically                     12:02:14 18                 MR. CIRSCH: Object to form.
11:59:57 19        the calcium peak can be a little lower.                           12:02:15 19                 THE WITNESS: All the standards in the TEM
11:59:59 20                If it's a light element detector, the                     12:02:17 20        protocols usually typically just give you
12:00:01 21        magnesium can be a little higher, the silicon                     12:02:20 21        ratios. So I don't -- and if you look in the
12:00:05 22        will be your primary peak, somewhere in the 25                    12:02:24 22        identification, usually they will spell it out,
12:00:09 23        to 30 percent of the magnesium for a non-light                    12:02:27 23        like this is the ratio for tremolite, this is
12:00:10 24        element detector. And the calcium peaks and the                   12:02:29 24        the ratio for chrysotile, and so on.
12:00:15 25        magnesium peaks are usually very similar in                       12:02:30 25        Q.       (By Mr. Chachkes) My question is the
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12:00:17  1        size.                                                             12:02:31  1   ratio of what? Is it ratio of just simply height, or
12:00:17  2                And then we look at the amount of iron to                 12:02:35  2   is it ratio of peak area?
12:00:20  3        see if we're going to call it actinolite versus                   12:02:38  3        A.       Peak area and peak height are
12:00:23  4        tremolite. And not aware of any other minerals                    12:02:40  4   interchangeable. It's not -- the peak area, if
12:00:27  5        out there that have those ratios, so that's how                   12:02:44  5   you're going to calculate the oxides -- the peak
12:00:34  6        I call it tremolite.                                              12:02:51  6   area -- it's not the peak area.
12:00:35  7        Q.      (By Mr. Chachkes) When you say ratio,                     12:02:53  7                 Let's make it simple. It's not the peak
12:00:36  8   what are you doing? You're adding, what, the height                    12:02:55  8   area. It's the peak height.
12:00:38  9   of the metals to -- for the numerator and then on the                  12:02:57  9        Q.       Okay. And that's what the standards say,
12:00:43 10   denominator is the height of the silicon peak?                         12:02:59 10   peak height?
12:00:47 11        A.      We're looking at the silicon peak versus                  12:03:00 11                 MR. CIRSCH: Object to form.
12:00:49 12   the magnesium and the calcium peak, and we're looking                  12:03:01 12                 THE WITNESS: I believe so.
12:00:53 13   at the magnesium and the calcium peak to determine                     12:03:01 13        Q.       (By Mr. Chachkes) Okay. And one measures
12:00:56 14   if -- how much they line up together. It could be a                    12:03:03 14   that simply -- you just take a ruler and place it
12:01:00 15   little higher, it could be lower, but I would call it                  12:03:06 15   vertically and you could get a peak height?
12:01:04 16   typical tremolite peak.                                                12:03:09 16        A.       Yeah, you could, if you wanted to.
12:01:05 17        Q.      And if I --                                               12:03:11 17        Q.       Okay. Do you actually do that
12:01:06 18        A.      Tremolite chemistry.                                      12:03:12 18   quantitatively with numbers, or do you just kind of
12:01:08 19        Q.      If I want to go to a third-party source                   12:03:15 19   eyeball it?
12:01:11 20   that confirms that this is the appropriate way to                      12:03:17 20                 MR. CIRSCH: Object to form.
12:01:13 21   analyze EDXA data, what would you point me to?                         12:03:18 21                 THE WITNESS: All the analysts would --
12:01:16 22                MR. CIRSCH: Object to form.                               12:03:21 22        could probably draw that. You know, it's years
12:01:17 23                THE WITNESS: I'd have to look through the                 12:03:24 23        and years' experience. You don't have to take
12:01:21 24        protocols, but I believe they give you all the                    12:03:25 24        the ratios. And if you look at the standards,
12:01:24 25        ratios and say the AHERA, the ISO. They don't                     12:03:29 25        they will look pretty much identical to that.
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12:03:31  1               But again, you have to be careful if                12:05:10  1               MR. CIRSCH: Object to form.
12:03:33  2       you're looking at a windowless detector, which              12:05:11  2               THE WITNESS: No. It's just not -- that
12:03:38  3       is more sensitive for the different elements.               12:05:14  3       data is just not something I'm relying on for my
12:03:39  4       Q.      (By Mr. Chachkes) My question is about              12:05:16  4       opinions in this case.
12:03:41  5   what your analysts actually do. Do they actually                12:05:17  5       Q.      (By Mr. Chachkes) And that data being the
12:03:43  6   quantify the heights and run the numbers, or are they           12:05:19  6   specific numerical representation of the peak
12:03:46  7   eyeballing it?                                                  12:05:23  7   heights?
12:03:49  8               MR. CIRSCH: Object to form.                         12:05:23  8               MR. CIRSCH: Object to form.
12:03:49  9               THE WITNESS: I think at this stage of               12:05:24  9               THE WITNESS: I believe what that gives
12:03:51 10       their careers they're just visually confirming              12:05:25 10       you is the percentage of one element to the
12:03:54 11       the proper elements and the proper ratios.                  12:05:27 11       other, not peak heights.
12:03:56 12       Q.      (By Mr. Chachkes) And the software can              12:05:29 12       Q.      (By Mr. Chachkes) You're sure of that?
12:04:01 13   generate those numbers; right?                                  12:05:31 13               MR. CIRSCH: Object to form.
12:04:04 14       A.      The software generates the height? The              12:05:32 14               THE WITNESS: Pretty sure.
12:04:07 15   ratios?                                                         12:05:33 15       Q.      (By Mr. Chachkes) Okay. But anyway, you
12:04:08 16       Q.      Yes.                                                12:05:37 16   didn't produce that data in your report, did you?
12:04:08 17       A.      I don't know.                                       12:05:39 17               MR. CIRSCH: Object to form.
12:04:09 18       Q.      So look at the bottom of Exhibit 12 in the          12:05:39 18               THE WITNESS: No, sir. It's not something
12:04:12 19   bottom left. Do you see how it says magnesium,                  12:05:41 19       that's required to render my opinions in this
12:04:19 20   silicon, calcium, iron, down there on the bottom                12:05:43 20       case --
12:04:23 21   left; do you see that?                                          12:05:44 21       Q.      (By Mr. Chachkes) Okay.
12:04:23 22       A.      Yes.                                                12:05:45 22       A.      -- in this MDL.
12:04:24 23       Q.      You can print out some -- there's data              12:05:56 23               MR. CHACHKES: Let's just mark this as
12:04:26 24   that goes there that the software can generate;                 12:05:57 24       Exhibit 13.
         25   correct?                                                        12:05:58 25               (Defendants' Exhibit 13 was marked for
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12:04:29  1       A.      That's correct.                                     12:06:15  1       identification.)
12:04:29  2       Q.      Why don't you generate it? Why don't you            12:06:16  2       Q.      (By Mr. Chachkes) All right. Look on the
12:04:31  3   generate it?                                                    12:06:19  3   last page of Exhibit 13. There appears to be an EDXA
12:04:32  4               MR. CIRSCH: Object to form.                         12:06:23  4   spectra; do you see that?
12:04:33  5               THE WITNESS: There's no need to. It's               12:06:24  5       A.      I do.
12:04:35  6       not required for this type of analysis to                   12:06:25  6       Q.      And it appears to be generated by the same
12:04:38  7       identify tremolite.                                         12:06:29  7   software as you're using. All the fonts are the
12:04:39  8       Q.      (By Mr. Chachkes) Do you have that data             12:06:31  8   same; everything appears to be the same. Do you have
12:04:41  9   somewhere still saved in a machine somewhere?                   12:06:34  9   any opinion on that?
12:04:44 10       A.      That, I don't know.                                 12:06:34 10               MR. CIRSCH: Object to form.
12:04:45 11       Q.      Okay. We are going to request that to be            12:06:35 11               THE WITNESS: No.
12:04:48 12   produced. I know your machine generates it. So if               12:06:35 12       Q.      (By Mr. Chachkes) All that information on
12:04:51 13   you could see whether you could produce that, we'd              12:06:38 13   the lower left-hand corner in the Exhibit 13, you
12:04:54 14   appreciate it.                                                  12:06:42 14   could generate that information; right?
12:04:55 15               MS. O'DELL: We'll consider your request.            12:06:44 15               MR. CIRSCH: Object to form.
12:04:58 16       We're making no commitment we're going to do                12:06:45 16               THE WITNESS: I don't know if we have the
12:05:00 17       that.                                                       12:06:47 17       same software, same software upgrades, so I
12:05:00 18               MR. CHACHKES: Okay.                                 12:06:50 18       can't comment on that.
12:05:00 19       Q.      (By Mr. Chachkes) You don't deliberately            12:06:51 19       Q.      (By Mr. Chachkes) Can you generate that
12:05:01 20   delete that data, do you?                                       12:06:52 20   information that's down there in the lower left-hand
12:05:03 21               MR. CIRSCH: Object to form.                         12:06:55 21   corner --
12:05:04 22               THE WITNESS: No, sir, I have not                    12:06:55 22               MR. CIRSCH: Object to form.
12:05:05 23       deliberately deleted that data.                             12:06:56 23       Q.      (By Mr. Chachkes) -- on Exhibit 13, last
12:05:07 24       Q.      (By Mr. Chachkes) You don't instruct your           12:06:57 24   page?
12:05:08 25   researchers to delete that data, do you?                        12:06:57 25       A.      And I don't mean to be disrespectful, but
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12:07:00  1   I don't know. I don't know if we have the same                  1   12:09:19    literature that says eyeballing it is okay?
12:07:02  2   updated software, et cetera, so I can't say one way   12:09:22  2                           MR. CIRSCH: Object to form.
12:07:05  3   or the other.                                         12:09:23  3                           THE WITNESS: I wouldn't put it eyeballing
12:07:05  4        Q.    Do you know whether the data you have from 12:09:26  4                    comparing to the standards and looking at the
12:07:13  5   your EDXA runs allows you to calculate numerical      12:09:28  5                    ratios.
12:07:20  6   values for the weight percentage of the elements?     12:09:29  6                           I'm not aware of any peer-reviewed
12:07:23  7        A.    I believe I've just already stated I'm     12:09:32  7                    literature that makes that affirmative or
12:07:27  8   not -- I don't know what software system we have and 12:09:34 8                      negative statement one way or the other.
12:07:31  9   can it do that or not.                                12:09:36  9                    Q.     (By Mr. Chachkes) But you are aware of
12:07:32 10        Q.    Okay. And same question, so whether you    12:09:37 10               peer-reviewed literature that uses actual
12:07:35 11   can generate the standard definitions or atomic       12:09:39 11               quantitative numbers and calculates the kind of
12:07:39 12   percentages or all those other ones, you just don't   12:09:43 12               information we see in Exhibit 13 which is like weight
12:07:43 13   know one way or the other whether you can calculate   12:09:47 13               percentages; you're aware of that; right?
12:07:46 14   those numbers using your EDXA apparatus?              12:09:48 14                           MR. CIRSCH: Object to form.
12:07:50 15              MR. CIRSCH: Object to form.                12:09:50 15                           THE WITNESS: For this type of analysis
12:07:51 16              THE WITNESS: It may be possible and we     12:09:52 16                    where you're just confirming, I'm not aware of
12:07:52 17        may be able to. I just don't know until I ask.   12:09:56 17                    any. Maybe there is. Show some if you have
12:08:01 18        Q.    (By Mr. Chachkes) Do you know of any       12:10:01 18                    one.
12:08:06 19   third-party published source that approves of         12:10:01 19                    Q.     (By Mr. Chachkes) So when you say just
12:08:11 20   eyeballing EDXA spectra to determine what the         12:10:03 20               confirming, you're not using EDXA to determine in a
12:08:14 21   composition of the material you're looking at?        12:10:08 21               vacuum what I'm looking at. You've already made some
12:08:17 22              MR. CIRSCH: Object to form.                12:10:10 22               assumptions about what you may be looking at?
12:08:17 23              THE WITNESS: Yes.                          12:10:12 23                    A.     No, we never make assumptions. We do the
12:08:18 24        Q.    (By Mr. Chachkes) What?                    12:10:15 24               chemistry, and the chemistry is unique. If you go
12:08:18 25        A.    All the assessors that ever walked in our  12:10:18 25               through here -- I was just looking at some. You
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12:08:25  1   lab with the National Voluntary Laboratory                      1   12:10:19    know, hornblende. Well, there's no aluminum in
12:08:26  2   Accreditation Program do not require anybody to       12:10:23  2               tremolite. It's fairly straightforward.
12:08:28  3   measure peak heights and look at ratios for tremolite 12:10:26  3                    Q.     Okay. You don't redact the information
12:08:32  4   or any of these.                                      12:10:38  4               that's in the lower left-hand corner of what's been
12:08:35  5               You may want to make a green analyst who  12:10:41  5               marked as Exhibit 12; right?
12:08:38  6   hasn't been doing this for a while do that if he has  12:10:44  6                    A.     No.
12:08:41  7   some issues, but it's not something that I've ever    12:10:44  7                           MR. CIRSCH: Object to form.
12:08:44  8   seen the auditors say that is necessary.              12:10:45  8                    Q.     (By Mr. Chachkes) And you've never
12:08:46  9         Q.    Is there any --                           12:10:46  9               redacted that information, have you?
12:08:47 10               MR. CIRSCH: Did you finish your answer?   12:10:48 10                           MR. CIRSCH: Object to form.
12:08:49 11               THE WITNESS: Yes.                         12:10:49 11                           THE WITNESS: No.
12:08:49 12         Q.    (By Mr. Chachkes) Is there any            12:10:49 12                    Q.     (By Mr. Chachkes) Were they trained not
12:08:50 13   peer-reviewed literature that approves of eyeballing  12:10:56 13               to fill in the lower left-hand corner, your analysts?
12:08:54 14   EDXA patterns to determine the chemical composition   12:11:00 14                           MR. CIRSCH: Object to form.
12:08:57 15   you're looking at?                                    12:11:01 15                           THE WITNESS: They weren't trained one way
12:08:58 16               MR. CIRSCH: Object to form.               12:11:02 16                    or the other. It's not required for our
12:08:59 17         Q.    (By Mr. Chachkes) Peer-reviewed           12:11:04 17                    certifications. NVLAP does not require you to
12:09:00 18   literature.                                           12:11:09 18                    run weight percentages, oxides, or any of that.
12:09:00 19         A.    I don't know of any peer-reviewed         12:11:11 19                    You have to demonstrate your ability to identify
12:09:02 20   literature that says that comparing the spectras or   12:11:16 20                    regulated asbestos.
12:09:07 21   looking at the spectras and comparing them should not 12:11:19 21                           We've never had it be suggested that we
12:09:10 22   be done, that you have to use a ruler for every one   12:11:22 22                    are misidentifying tremolite in any
12:09:13 23   of them. I'm not aware of any literature that states  12:11:26 23                    circumstance.
12:09:15 24   that, peer-reviewed literature.                       12:11:27 24                    Q.     (By Mr. Chachkes) All right. So the
12:09:16 25         Q.    Not my question. Any peer-reviewed        12:11:38 25               first step in analyzing an EDXA, though, is to
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12:11:41  1   determine the ratio of the metals to silicon; right?              12:13:45  1       A.    It's hard to prove a negative, but it is
12:11:45  2        A.    The first step?                                        12:13:48  2   not one of the look-alikes of that type of ratio
12:11:46  3        Q.    Yeah.                                                  12:13:52  3   that's fibrous. And of course we're leaving out the
12:11:47  4        A.    The first step -- the first step is to                 12:13:55  4   SAED to make sure it has an amphibole type
12:11:50  5   take the spectra and to verify that it is one of the              12:13:59  5   diffraction pattern.
12:11:56  6   regulated asbestos minerals -- regulated asbestos                 12:14:00  6       Q.    Prior to any EDXA, you've already
12:12:02  7   types that is of issue, or any issue, for any of                  12:14:04  7   determined it's an amphibole?
12:12:06  8   them.                                                             12:14:05  8       A.    No. Nothing is determined about this
12:12:06  9        Q.    Do you conclude you're looking at a                    12:14:07  9   particular structure other than it's fibrous, it
12:12:09 10   regulated asbestos prior to doing the ratio analysis?             12:14:15 10   meets the counting criteria for what would be a
12:12:14 11        A.    No.                                                    12:14:19 11   regulated asbestos fiber if in fact the chemistry in
12:12:15 12        Q.    Okay. So prior to determining there's --               12:14:23 12   the crystalline structure are consistent with the
12:12:19 13   what you're looking at, what kind of mineral you're               12:14:27 13   appropriate mineral.
12:12:21 14   looking at, you determine the ratio of the metals to              12:14:29 14       Q.    Okay. You would agree that two different
12:12:26 15   silicon; is that correct?                                         12:14:34 15   minerals can have similar EDXA readouts; correct?
12:12:28 16        A.    Before anything is done, we take the                   12:14:38 16             MR. CIRSCH: Object to form.
12:12:30 17   microchemistry of an individual fiber and look at the             12:14:39 17             THE WITNESS: It depends on what you mean
12:12:34 18   typical elements that you would expect.                           12:14:40 18       by similar. I can't answer that hypothetical.
12:12:38 19        Q.    You seem to not want to answer about the               12:14:46 19       Q.    (By Mr. Chachkes) Okay. So, for example,
12:12:40 20   EDXA.                                                             12:14:52 20   anthophyllite and cummingtonite have similar EDXA
12:12:41 21              MR. CIRSCH: I don't think he was finished              12:14:56 21   spectra; correct?
12:12:43 22        answering it.                                                12:14:57 22       A.    That's correct. Anthophyllite, depending
12:12:43 23        Q.    (By Mr. Chachkes) All right. I'm talking               12:15:01 23   on the iron content, anthophyllite, cummingtonite,
12:12:44 24   about the EDXA.                                                   12:15:07 24   two regulated asbestos types, yes, they can have
12:12:45 25        A.    That's what I'm saying.                                12:15:10 25   similar EDS.
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12:12:46  1        Q.    So you've got the EDXA result in your                  12:15:11  1       Q.    Okay. When you say EDS, you mean the same
12:12:50  2   hands. This result, 12, before you've determined                  12:15:16  2   thing as EDXA?
12:12:54  3   what it is, is the first step determining the ratio               12:15:18  3       A.    Correct. I'm sorry. I'm old, and that's
12:12:57  4   of metals to silicon --                                           12:15:20  4   what we learned back in graduate school, it was EDS.
12:12:59  5              MR. CIRSCH: Object to form.                            12:15:24  5   It's hard for me to go to EDXA.
12:13:00  6        Q.    (By Mr. Chachkes) -- to interpret this                 12:15:26  6       Q.    All right. So you discussed your first
12:13:01  7   EDXA?                                                             12:15:27  7   step is to make some conclusions about what you're
12:13:02  8        A.    The first step would be to look at this                12:15:28  8   looking at just by eyeballing it.
12:13:04  9   EDXA -- and I'm just speaking for me -- and I would               12:15:30  9             The next step, do you determine the ratios
12:13:07 10   see that the ratios are consistent with what I would              12:15:33 10   of the metals to the silicon?
12:13:12 11   expect for tremolite from the standards. That would               12:15:35 11             MR. CIRSCH: Object to form.
12:13:15 12   be my first step.                                                 12:15:36 12             THE WITNESS: Well, let's back up here. I
12:13:17 13        Q.    But you don't know whether those ratios                12:15:38 13       don't make any conclusions by eyeballing it.
12:13:20 14   are consistent with other minerals as well that are               12:15:41 14             The first thing we do is look at it and
12:13:22 15   non-regulated?                                                    12:15:44 15       say this could match the counting rules for a
12:13:25 16              MR. CIRSCH: Object to form.                            12:15:48 16       regulated elongated particle.
12:13:26 17              THE WITNESS: I'm not aware of any ratios               12:15:48 17             It's at least greater than .5 micrometers
12:13:28 18        like that for any other non-regulated fibrous                12:15:51 18       in length. These are measurements. These are
12:13:31 19        minerals.                                                    12:15:53 19       not eyeballing. It has parallel sides and has
12:13:33 20        Q.    (By Mr. Chachkes) Are you excluding the                12:15:56 20       at least a 5-to-1 aspect ratio or greater.
12:13:34 21   possibility that they exist, or you're saying you're              12:16:00 21             Then the EDXA for me is taken to see if it
12:13:36 22   just not aware?                                                   12:16:07 22       is consistent with the ratios and patterns I
12:13:37 23        A.    We've never seen them, so I guess I'm                  12:16:11 23       would expect for some -- for the types of
12:13:41 24   excluding the possibility that they exist.                        12:16:13 24       regulated asbestos fibers we're looking at.
12:13:44 25        Q.    Okay.                                                  12:16:15 25             And we're not saying, okay, we're going to
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12:16:18  1        eliminate this type or that type. It's                         12:18:02  1       tagged for silicon, magnesium, calcium, iron, or
12:16:21  2        whatever's present.                                            12:18:07  2       whatever it happens to be, and the ratios are
12:16:22  3              Then the SAED -- so it has a typical                     12:18:09  3       fairly distinct compared to any other mineral
12:16:25  4        amphibole diffraction pattern. If it's                         12:18:11  4       that I know out there, unless it's winchite or
12:16:27  5        anthophyllite, potentially, we'll rotate the                   12:18:15  5       richterite, and then we're looking at a little
12:16:30  6        stage 10 to 20 degrees to eliminate the                        12:18:17  6       bit of potassium or sodium.
12:16:33  7        once-in-a-blue-moon reflection of a fibrous talc               12:18:21  7       Q.    (By Mr. Chachkes) Okay. When you say the
12:16:37  8        that some people claim that's close to                         12:18:21  8   ratios come up quick, do you mean a precise number
12:16:39  9        anthophyllite.                                                 12:18:23  9   comes up on some screen?
12:16:40 10              And after all that, then we would -- I                   12:18:24 10       A.    This ratio -- magnesium, silicon, calcium,
12:16:43 11        would say that is a regulated asbestos fiber                   12:18:30 11   and iron -- is almost instantaneous. The only thing
12:16:46 12        type. It meets all the criteria.                               12:18:33 12   that changes as you count, they all simultaneously
12:16:49 13              You keep saying eyeballing. That's not                   12:18:39 13   get higher. There is nothing else to it. You look
12:16:52 14        really much of a term --                                       12:18:41 14   at that, you compare to the regulated standards, and
12:16:54 15        Q.    (By Mr. Chachkes) My questions are all                   12:18:46 15   they all match.
12:16:55 16   about --                                                            12:18:47 16       Q.    Okay. Looking at Exhibit 12, tell me what
12:16:58 17              MR. CIRSCH: Wait, he's not finished.                     12:18:50 17   the ratios are there.
12:16:59 18              THE WITNESS: Wait. I'm not done.                         12:18:54 18             MR. CIRSCH: Object to form.
         19              MR. CIRSCH: You cut him off.                             12:18:55 19             THE WITNESS: Say silicon is 10.
         20              THE REPORTER: Wait. Wait. Wait.                          12:18:59 20       Magnesium and calcium is approximately 3. The
         21              THE WITNESS: What we're doing is we're                   12:19:05 21       iron there would be less than 1.
12:17:01 22        looking at a set criteria. No decisions are                    12:19:08 22       Q.    (By Mr. Chachkes) Okay. And that's how
12:17:02 23        made ahead of time. Nothing is -- well, I                      12:19:10 23   you kind of do it in the real world when you're
12:17:07 24        believe it's that type of thing. That doesn't                  12:19:13 24   analyzing EDXA spectra?
12:17:08 25        happen.                                                        12:19:16 25             MR. CIRSCH: Object to form.
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12:17:08  1        Q.    (By Mr. Chachkes) Let's start again. I'm                 12:19:16  1             THE WITNESS: In the real world we have
12:17:10  2   only asking questions about EDXA.                                   12:19:17  2       standards, and after doing it thousands and
12:17:12  3              Can you agree with me not to answer about                12:19:20  3       thousands of times, that's how it's done.
12:17:14  4   TEM or SAED to the following sets of questions? I                   12:19:24  4       Q.    (By Mr. Chachkes) Okay. Basically the
12:17:19  5   just want to know how you do EDXA. Can you do that?                 12:19:25  5   way you just did it, I'm putting aside that you may
12:17:24  6              MR. CIRSCH: Object to form.                              12:19:28  6   have an encyclopedic knowledge of what to compare the
12:17:25  7              THE WITNESS: I've already explained that                 12:19:31  7   ratios to. You generate ratios the way you've just
12:17:26  8        to you.                                                        12:19:36  8   done it, you look at it and you just read it and you
12:17:26  9        Q.    (By Mr. Chachkes) Okay. But can you                      12:19:39  9   come up with the ratios?
12:17:27 10   answer these following questions only referring to                  12:19:41 10             MR. CIRSCH: Object to form.
12:17:28 11   EDXA? Can you do me that favor?                                     12:19:42 11             THE WITNESS: I'm not generating ratios.
12:17:30 12        A.    No.                                                      12:19:44 12       The tremolite fiber or bundle is generating the
12:17:31 13        Q.    Okay.                                                    12:19:47 13       ratios by the x-rays that are being generated
12:17:31 14        A.    If I feel that the question needs more                   12:19:51 14       from the electron beam that are being counted at
12:17:33 15   explanation, an answer needs more explanation, I                    12:19:54 15       specific energies. Those ratios are fairly
12:17:36 16   believe that's my right.                                            12:19:57 16       standard.
12:17:37 17        Q.    Okay. You get the EDXA printout. At what                 12:19:58 17             What I do is interpret the overall pattern
12:17:40 18   point, if at all, do you calculate the ratio of                     12:20:02 18       and determine how well it matches with the
12:17:44 19   metals to silicon for the EDXA?                                     12:20:04 19       tremolite standards that are in each of the TEM
12:17:48 20              MR. CIRSCH: Object to form.                              12:20:07 20       rooms.
12:17:49 21              THE WITNESS: I've already gone over that.                12:20:07 21       Q.    (By Mr. Chachkes) That step in the EDXA
12:17:50 22        I can't say anything more.                                     12:20:11 22   analysis where you determine the ratios, do you do it
12:17:53 23              If I'm sitting at the TEM, I'm looking at                12:20:15 23   in the real world like we just saw now, you look at
12:17:56 24        the monitor and I'm determining -- and the                     12:20:22 24   the spectra and you say, okay, silicon 10, magnesium,
12:17:59 25        ratios come up fairly quick. We have them                      12:20:24 25   calcium 3, iron 1-ish, is that how you do it in the
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12:20:26  1   real world?                                                       12:22:35  1       and then the iron depends on if we're going to
12:20:27  2              MR. CIRSCH: Object to form.                            12:22:40  2       call it actinolite or tremolite. That's how I
12:20:28  3              THE WITNESS: In the real world I don't --              12:22:42  3       do it.
12:20:31  4        I look at the overall pattern, and the overall               12:22:43  4       Q.       (By Mr. Chachkes) Okay. Do you calculate
12:20:35  5        pattern is unique with the -- then it's an                   12:22:44  5   the ratio of metals to silicon? Do you do that?
12:20:39  6        amphibole asbestos. And that's how every                     12:22:47  6                MR. CIRSCH: Object to form.
12:20:43  7        asbestos TEM lab in the country does it.                     12:22:49  7                THE WITNESS: I think I've told you at
12:20:45  8        Q.    (By Mr. Chachkes) Okay. So does the                    12:22:53  8       least a half hour ago that I don't get a ruler
12:20:51  9   ratios of metal to silicon in the EDXA analysis have              12:22:56  9       out and measure each of the primary elements
12:20:57 10   a material impact on your conclusions about what                  12:22:58 10       we're dealing with here, magnesium, silicon and
12:21:00 11   you're looking at?                                                12:23:03 11       calcium. I look at these distinct patterns,
12:21:02 12              MR. CIRSCH: Object to form.                            12:23:06 12       EDXA patterns, and can look at that and tell you
12:21:03 13              THE WITNESS: The elemental spectras                    12:23:10 13       that that is what matches for regulated
12:21:06 14        always have a material impact on what I'm                    12:23:13 14       tremolite asbestos.
12:21:08 15        looking at in the EDXA.                                      12:23:14 15       Q.       (By Mr. Chachkes) Okay. Putting aside
12:21:10 16        Q.    (By Mr. Chachkes) I didn't ask about                   12:23:15 16   that you don't get a ruler out, do you kind of sort
12:21:11 17   that. I asked about the specific ratio of metals to               12:23:20 17   of estimate that ratio of metals to silicon in your
12:21:15 18   silicon.                                                          12:23:24 18   head when you do this analysis?
12:21:16 19              Does that particular numerical ratio have              12:23:25 19                MR. CIRSCH: Alex, he's answered this
12:21:20 20   a material impact on how you conclude what you're                 12:23:27 20       question a number of times.
12:21:23 21   looking at under the EDXA?                                        12:23:28 21                MR. CHACHKES: No, he said he doesn't take
12:21:25 22              MR. CIRSCH: Object to form.                            12:23:30 22       out a ruler.
12:21:26 23              THE WITNESS: I don't understand the                    12:23:31 23                MR. CIRSCH: A number of different times
12:21:27 24        question. I think I've answered it over and                  12:23:32 24       he's testified as to how he does the process.
12:21:29 25        over. I'll answer it one more time.                          12:23:34 25       I'll let him answer it one more time and then
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12:21:32  1        Q.    (By Mr. Chachkes) No, no. I want to make                         1       I'm going to instruct him not to answer --
12:21:33  2   sure you understand it.                                           12:23:37  2                MR. CHACHKES: You're at perfect liberty
12:21:34  3              Do you understand what I mean by the ratio             12:23:38  3       to shut the questions down at any point.
12:21:36  4   of metals to silicon; do you understand that?                     12:23:40  4                MR. CIRSCH: I know. I'm going to let him
12:21:39  5        A.    Yes, sir.                                              12:23:41  5       do it one more time.
12:21:40  6        Q.    Okay. Do you calculate that number in                  12:23:42  6                MR. CHACHKES: Okay.
12:21:45  7   your head, write it down, print it out? Do you                    12:23:42  7       Q.       (By Mr. Chachkes) Do you estimate --
12:21:48  8   calculate that number?                                            12:23:42  8   putting aside whether you use a ruler or not to make
12:21:50  9              MR. CIRSCH: Object to form.                            12:23:45  9   it exact, do you estimate the ratio of metal to
12:21:51 10              THE WITNESS: I don't know how I do it.                 12:23:48 10   silicon in the EDXA spectra?
12:21:56 11        Tremolite, the ratios to magnesium, silicon, and             12:23:50 11       A.       For at least the tenth time, and my last
12:22:00 12        calcium are fairly unique. Not aware of any                  12:23:53 12   time, when I generate a spectra of -- and I'll just
12:22:03 13        other fibrous materials that will have those                 12:23:59 13   call it right now suspected regulated tremolite, I
12:22:06 14        specific ratios without some other additional                12:24:03 14   look at the overall pattern for magnesium, silicon,
12:22:08 15        elements such as aluminum and an amphibole                   12:24:07 15   and calcium and determine that it is consistent with
12:22:12 16        diffraction pattern.                                         12:24:11 16   the standards, and that's how I make that
12:22:13 17        Q.    (By Mr. Chachkes) Okay. You keep                       12:24:14 17   determination.
12:22:15 18   answering a different question, but what I heard is               12:24:14 18       Q.       And is that overall pattern that you say
12:22:16 19   that you don't calculate the ratio. You actually run              12:24:16 19   you look at, is that the ratio of metals to silicon?
12:22:20 20   the numbers and calculate the ratios of metal to                  12:24:21 20       A.       I am not answering this question anymore.
12:22:23 21   silicon; is that correct? You don't run that number?              12:24:24 21                MR. CIRSCH: Object to form. That's it.
12:22:25 22              MR. CIRSCH: Object to form.                            12:24:25 22       Q.       (By Mr. Chachkes) All right. So you will
12:22:26 23              THE WITNESS: I look at -- when I'm doing               12:24:26 23   not answer that question?
12:22:28 24        this, I look at every pattern and compare it to              12:24:28 24       A.       I've answered the question I'm estimating
12:22:32 25        the standard patterns for those three elements,              12:24:31 25   at least ten times.
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12:24:33  1        Q.      Okay. And you won't come back at some              1  12:26:49      tremolite has a published ratio for EDXA metals to
12:24:36  2   point and say, yes, indeed, I calculate a number that 12:26:52  2                silicon of 5-to-8?
12:24:41  3   is the ratio of metals to silicon. You won't come     12:26:55  3                          MR. CIRSCH: Object to form.
12:24:43  4   back and say that, will you?                          12:26:55  4                          THE WITNESS: Published where?
12:24:43  5              MR. CIRSCH: Object to form.                12:26:57  5                          MR. CIRSCH: Yeah, will you show him the
12:24:44  6              Don't answer the question, Dr. Longo.      12:26:58  6                    document if your --
12:24:45  7              Move on, please, Counsel.                  12:26:59  7                    Q.    (By Mr. Chachkes) Are you aware of any
12:24:47  8        Q.    (By Mr. Chachkes) Okay. Is the ratio of    12:27:00  8                publication that has that?
12:24:52  9   metals to silicon for tremolite the same for every    12:27:01  9                    A.    I don't know. Show me the publication and
12:24:55 10   EDXA printout?                                        12:27:03 10                I'll take a look at it, and I'll have to look at what
12:25:00 11        A.    I think I've already gone over it a couple 12:27:07 11                conditions this ratio is for what type of detector.
12:25:04 12   of times that depending on your detector, your EDXA 12:27:11 12                      Q.    Okay. So sitting here today, you can't
12:25:08 13   detector, if it is a silicon drifted, lithium drifted 12:27:14 13                point me to a peer-reviewed publication that has
12:25:13 14   window or windowless detector, these ratios will      12:27:17 14                anything other than a 5-to-8 ratio for tremolite?
12:25:17 15   change because it's more sensitive.                   12:27:24 15                          MR. CIRSCH: Object to form. You're
12:25:19 16              For example, for chrysotile, even though   12:27:26 16                    holding something in your hand. Why don't you
12:25:21 17   there is more magnesium in the formula than silicon, 12:27:28 17                     show --
12:25:28 18   regular -- with a silicon window you will see less    12:27:28 18                          THE WITNESS: I don't know. I'd have to
12:25:32 19   magnesium. So it just depends on the EDS system.      12:27:29 19                    look at the publication. We look at the NIST
12:25:38 20              We have both types. So you could see a     12:27:31 20                    standards for determining if we have tremolite,
12:25:40 21   tremolite spectra from the windowless detector that 12:27:34 21                      anthophyllite, anthophyllite solid solution
12:25:45 22   will look different than the other one as you're      12:27:37 22                    series, the tremolite solid solution series.
12:25:47 23   getting ready to pull out.                            12:27:39 23                    Q.    (By Mr. Chachkes) Do the NIST standards
12:25:48 24        Q.    Are you aware that anthophyllite has a     12:27:41 24                have ratios of metals to silicon?
12:25:51 25   ratio in the books published to be 7 to 8 for metals  12:27:43 25                    A.    The NIST -- as I think we already talked
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12:25:56  1   to silicon? Are you aware of that?                                 12:27:45  1   about, I don't believe the NIST standards sends you
12:25:58  2                MR. CIRSCH: Object to form.                           12:27:47  2   any information other than this is tremolite or this
12:25:58  3                THE WITNESS: I don't know. I would have               12:27:49  3   is anthophyllite or this is actinolite or this is
12:25:59  4        to look at it.                                                12:27:53  4   crocidolite or this is amosite.
12:26:00  5        Q.      (By Mr. Chachkes) Okay. And you're not                12:27:54  5       Q.    Okay.
12:26:02  6   looking to see whether there's a ratio of 7 to 8                   12:27:54  6             MR. CIRSCH: As soon as you get to a good
12:26:05  7   metals to silicon, are you?                                        12:27:56  7       place, Alex, maybe we can take a lunch break.
12:26:07  8                MR. CIRSCH: Object to form.                           12:27:59  8             MR. CHACHKES: Okay.
12:26:08  9                THE WITNESS: For anthophyllite, we look               12:27:59  9       Q.    (By Mr. Chachkes) Do you know what the
12:26:10 10        at the EDXA standards, typically the NIST                     12:27:59 10   International Mineralogical Association is, the IMA?
12:26:16 11        standards, for that pattern -- I've already told              12:28:04 11       A.    I don't know.
12:26:18 12        you I don't get out a ruler and measure these --              12:28:06 12       Q.    Okay. Are you aware -- so I guess you
12:26:22 13        that the spectra has to be consistent, and it                 12:28:10 13   wouldn't be aware they contain a comprehensive list
12:26:25 14        has to be for the type of EDXA detector you're                12:28:14 14   of minerals in their chemical formulas?
12:26:29 15        using.                                                        12:28:16 15             MR. CIRSCH: Object to form.
12:26:29 16        Q.      (By Mr. Chachkes) It's a very simple                  12:28:17 16             THE WITNESS: I'm sure they do.
12:26:31 17   question. Do you look for a 7 to 8 ratio metals to                 12:28:18 17       Q.    (By Mr. Chachkes) Have you ever looked at
12:26:35 18   silicon --                                                         12:28:20 18   that?
12:26:35 19                MR. CIRSCH: Object to form.                           12:28:20 19       A.    I don't know.
12:26:36 20                THE WITNESS: And it's a very simple                   12:28:29 20       Q.    Okay. So would you agree with the
12:26:38 21        answer. We look at the standard NIST type                     12:28:31 21   statement that talc and anthophyllite have materially
12:26:40 22        spectras that give you the patterns for                       12:28:35 22   similar chemistries so it can be difficult to
12:26:42 23        potentially anthophyllite or potentially fibrous              12:28:38 23   distinguish them on EDXA?
12:26:46 24        talc.                                                         12:28:41 24             MR. CIRSCH: Object to form.
12:26:48 25        Q.      (By Mr. Chachkes) Are you aware that                  12:28:42 25             THE WITNESS: Yes and maybe.
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12:28:45  1       Q.    (By Mr. Chachkes) Okay. What part is                     1
                                                                                 13:38:26      that was associated with a particular company?
12:28:46  2   yes?                                                     13:38:30  2                 A.    Oh, the company, it was Nytal Vanderbilt
12:28:47  3         A.     Yes, they have similar chemical makeup.     13:38:35  3             talc.
12:28:50  4         Q.     And maybe they can be difficult to          13:38:35  4                 Q.    Okay. But this is plaintiffs' side?
12:28:52  5   distinguish on EDXA?                                     13:38:39  5                 A.    Yes, sir.
12:28:53  6         A.     Maybe, depending on the chemistry. But we 13:38:39 6                    Q.    What about the first time you ever looked
12:29:00  7   don't distinguish fibrous talc from anthophyllite by     13:38:43  7             at industrial talc for asbestos, when was that?
12:29:05  8   just EDXA.                                               13:38:45  8                 A.    As I testified earlier, sometime in the
12:29:06  9         Q.     Okay. Am I correct that it can be           13:38:47  9             1990s or early 2000s.
12:29:09 10   difficult under EDXA to distinguish anthophyllite        13:38:50 10                 Q.    Was that one engagement? Multiple
12:29:14 11   from talc?                                               13:38:56 11             engagements?
12:29:16 12                MR. CIRSCH: Object to form.                 13:38:57 12                 A.    I don't recall.
12:29:17 13                THE WITNESS: I don't know about how         13:38:58 13                 Q.    It could be one engagement; you just don't
12:29:18 14         difficult or not difficult. It's not something     13:39:00 14             remember?
12:29:20 15         we do to distinguish anthophyllite from talc       13:39:01 15                 A.    I'm sure it's more, but I just don't
12:29:22 16         just on the EDXA other than, okay, it has the      13:39:02 16             recall.
12:29:25 17         appropriate chemistry.                             13:39:03 17                 Q.    Greater than five? Less than five?
12:29:28 18                MR. CHACHKES: Okay. We can take a break     13:39:05 18                 A.    I don't know what size bread box it is.
12:29:32 19         here. Lunchtime.                                   13:39:09 19                 Q.    Okay. So you've established probably more
12:29:33 20                (Lunch recess from 12:29 p.m. to 1:35 p.m.) 13:39:12 20             than one, but after that you can't say?
13:36:03 21         Q.     (By Mr. Chachkes) Dr. Longo, you had        13:39:14 21                 A.    I just don't recall.
13:37:02 22   mentioned before that you had looked at industrial       13:39:15 22                 Q.    Okay. What about more than one; you can
13:37:05 23   talc for asbestos; is that correct?                      13:39:17 23             say it's more than one?
13:37:06 24         A.     Yes.                                        13:39:19 24                       MR. CIRSCH: Object to form.
13:37:07 25         Q.     And for whom did you do that work?          13:39:20 25                       THE WITNESS: I believe so.
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13:37:10  1       A.    For whom? Which plaintiffs' attorney?                    13:39:21  1       Q.    (By Mr. Chachkes) Okay. And did you
13:37:13  2       Q.    Sure.                                                    13:39:22  2   personally do the TEM work on that?
13:37:14  3       A.    I don't recall.                                          13:39:23  3       A.    Back in those days, probably.
13:37:18  4       Q.    For what client, company, did you do that                13:39:27  4       Q.    Did you do any -- personally do any PLM
13:37:20  5   work?                                                              13:39:30  5   work?
13:37:21  6       A.    I haven't done any work for any client                   13:39:30  6       A.    No.
13:37:29  7   companies that I'm at liberty to talk about for                    13:39:30  7       Q.    Personally do any XRD work?
13:37:38  8   industrial talc.                                                   13:39:32  8       A.    No.
13:37:45  9       Q.    Okay. I'm just asking you yes or no, do                  13:39:32  9       Q.    Personally do any EDXA work?
13:37:48 10   you remember the names of the companies or company?                13:39:35 10       A.    Well, when I do TEM for this type of work,
13:37:50 11       A.    I can't talk about any potential work we                 13:39:38 11   I would have done EDXA.
13:37:53 12   may or may not have done for an industrial talc                    13:39:40 12       Q.    Okay. Can you estimate in that engagement
13:37:56 13   company.                                                           13:39:44 13   or engagements in the 1990s, early 2000s range, how
13:37:56 14       Q.    No, this is just a yes or no. Do you                     13:39:49 14   many hours you would have spent?
13:37:58 15   remember the name? I'm not asking for the name, just               13:39:51 15       A.    No.
13:38:01 16   do you remember the name?                                          13:39:52 16       Q.    Could be under ten; could be over ten?
13:38:03 17       A.    Again, I'm not saying I have or I haven't.               13:39:55 17       A.    I don't recall.
13:38:06 18   I'm just not at liberty if I have and if no report                 13:39:56 18       Q.    You know who McCrone is; right?
13:38:10 19   has been issued, at liberty to talk about it.                      13:39:59 19       A.    I do.
13:38:13 20       Q.    Okay. You mentioned that you might have                  13:40:00 20       Q.    You know they have people there who teach
13:38:15 21   looked at industrial talc for plaintiff lawyers. Was               13:40:02 21   graduate courses related to detecting asbestos?
13:38:18 22   that recent?                                                       13:40:05 22             MR. CIRSCH: Object to form.
13:38:19 23       A.    I think the most recent one was back in                  13:40:06 23             THE WITNESS: I know they have continuing
13:38:21 24   2017 for the Kazan firm.                                           13:40:10 24       education courses, yes.
13:38:24 25       Q.    Okay. And you just don't know whether                    13:40:11 25       Q.    (By Mr. Chachkes) Have you ever taught at
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13:40:12  1   a graduate school?                                              1     13:42:19           A.    Yes. Some people contributed, but I was
13:40:14  2        A.    Not in this type of work, no.              13:42:22  2                   in charge of -- it was our method that we had given
13:40:16  3        Q.    Okay. In what type of work?                13:42:25  3                   to the EPA. Then it was fighting over the
13:40:19  4        A.    Well, I was visiting assistant professor,  13:42:30  4                   definitions.
13:40:21  5   so it would have been materials science.              13:42:31  5                        Q.    Have you or MAS published any standard for
13:40:23  6        Q.    Okay. Nothing to do with detecting         13:42:35  6                   finding asbestos in any material or any mineral or
13:40:24  7   asbestos?                                             13:42:39  7                   anywhere that is attributable exclusively to you or
13:40:25  8        A.    No.                                        13:42:43  8                   MAS?
13:40:25  9        Q.    Do you know McCrone's Particle Atlas?      13:42:43  9                        A.    No.
13:40:28 10        A.    Yes.                                       13:42:44 10                        Q.    Have you published a methodology for
13:40:28 11        Q.    And that's something folks other than      13:42:55 11                   finding asbestos in talc?
13:40:31 12   McCrone use as a standard in this field?              13:42:57 12                        A.    Have not.
13:40:36 13        A.    Yes.                                       13:42:59 13                        Q.    You're aware that McCrone has done that;
13:40:36 14        Q.    Have you ever published anything that      13:43:01 14                   right?
13:40:39 15   other people outside of your lab use as a standard?   13:43:01 15                              MR. CIRSCH: Object to form.
13:40:43 16              MR. CIRSCH: Object to form.                13:43:02 16                              THE WITNESS: Jim Millette, yes, I'm
13:40:45 17              THE WITNESS: Not in a book, no.            13:43:05 17                        aware, 1990 and 2015, I believe, are the two
13:40:47 18        Q.    (By Mr. Chachkes) What about otherwise?    13:43:09 18                        papers in Microscopy.
13:40:50 19        A.    Yes, if you go to Federal Mogul's and      13:43:10 19                        Q.    (By Mr. Chachkes) You're aware that
13:40:54 20   search for wollastonite detection, one of our         13:43:11 20                   McCrone has testing and training classes related to
13:40:58 21   protocols was published by them for the determination 13:43:14 21                   finding asbestos; correct?
13:41:02 22   of tremolite asbestos in wollastonite for Federal     13:43:15 22                              MR. CIRSCH: Object to form.
13:41:07 23   Mogul involving their manufacture of OEM brakes.      13:43:16 23                              THE WITNESS: They teach a -- used to,
13:41:11 24        Q.    What is Federal Mogul? I'm not familiar    13:43:19 24                        anyway, the McCrone Institute. May still do it.
13:41:12 25   with that.                                            13:43:25 25                        Q.    (By Mr. Chachkes) Have you ever taught or
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13:41:12  1        A.    It's a company that owns a bunch of                        13:43:30  1   trained -- sponsored teaching or training classes for
13:41:14  2   companies.                                                            13:43:34  2   finding asbestos for people outside of MAS?
13:41:14  3        Q.    Okay. So you published -- I'm sorry, say                   13:43:36  3        A.    I've given a couple lectures and taught an
13:41:20  4   it again. What does it stand for?                                     13:43:39  4   all-day two-day seminar at the American Industrial
13:41:22  5        A.    Well, I didn't publish it. We wrote a                      13:43:44  5   Hygiene Association to help train, to give certified
13:41:25  6   protocol for determining a problem they were having                   13:43:48  6   industrial hygienists or industrial hygienists how to
13:41:29  7   with the supplier of a mineral called wollastonite,                   13:43:51  7   perform TEM analysis for asbestos.
13:41:29  8   which is a substitute fibrous material, and the                       13:43:54  8        Q.    Okay. Other than that, any?
13:41:31  9   particular source that they were using stated that it                 13:43:57  9        A.    At Georgia Tech in their continuing
13:41:36 10   had a small amount of tremolite contamination in it.                  13:44:00 10   education program involving asbestos, seminar up at
13:41:38 11        Q.    Okay. Did you ever published a standard                    13:44:08 11   Southern University of New York, I have taught there
13:41:40 12   for finding asbestos that was for the general                         13:44:13 12   for a week. Again, it was TEM analysis for asbestos.
13:41:44 13   scientific community, not for just one specific                       13:44:19 13        Q.    Okay. Was it for finding talc, asbestos
13:41:49 14   client?                                                               13:44:24 14   in talc?
13:41:49 15              MR. CIRSCH: Object to form.                                13:44:25 15        A.    No, it was just general finding asbestos
13:41:50 16              THE WITNESS: I was in charge of the ASTM                   13:44:28 16   in whatever you wanted to look in.
13:41:52 17        and the D2205 committee for the analysis of --                   13:44:30 17        Q.    Have you or MAS given any training or
13:41:57 18        number count analysis of asbestos in settled                     13:44:36 18   classes relating to finding asbestos in talc?
13:42:01 19        dust. It's the D5755, I believe it is.                           13:44:39 19        A.    No.
13:42:05 20        Q.    (By Mr. Chachkes) Okay. And that has                       13:44:39 20        Q.    Has any School of Public Health asked you
13:42:08 21   your name on it?                                                      13:44:43 21   to assist them in finding asbestos in talc?
13:42:09 22        A.    No. ASTM standards have ASTM on it.                        13:44:46 22        A.    No.
13:42:13 23        Q.    Okay. And that was -- that standard --                     13:44:47 23        Q.    You're aware that a number of governmental
13:42:16 24   the contributors were many more people than you;                      13:44:51 24   bodies are out there, not just in the U.S. but
         25   right?                                                                13:44:54 25   elsewhere, looking into the question of whether
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13:44:58  1   asbestos is in cosmetic talc; correct?                                13:47:13  1   specific one for joint compound or a specific one for
13:45:01  2              MR. CIRSCH: Object to form.                                13:47:17  2   thermal insulation. It's just a matter of being able
13:45:02  3              THE WITNESS: I'm aware of Canada and                       13:47:23  3   to determine and detect and to record what is
13:45:06  4        maybe India, maybe. I've seen some articles.                     13:47:27  4   present.
13:45:07  5        Q.    (By Mr. Chachkes) Okay. Have any of                        13:47:28  5           Q.    Okay. Does the NVLA have an accreditation
13:45:07  6   those -- any governmental body, U.S. or otherwise,                    13:47:33  6   standard for finding talc in something other than
13:45:10  7   asked you to assist in determining whether cosmetic                   13:47:36  7   air, like in -- I'm sorry, strike that.
13:45:13  8   talc has asbestos?                                                    13:47:37  8                 Does the NVLA have an accreditation
13:45:15  9              MR. CIRSCH: Object to form.                                13:47:41  9   standard for finding asbestos in something other than
13:45:16 10              THE WITNESS: No.                                           13:47:43 10   air, like in talc?
13:45:18 11        Q.    (By Mr. Chachkes) Has any federal court                    13:47:44 11                 MR. CIRSCH: Object to form.
13:45:20 12   ever said that your methodology for finding talc                      13:47:45 12                 THE WITNESS: Well, they accredited to the
13:45:23 13   in -- asbestos in talc passes Daubert standards?                      13:47:48 13           EPA 600/R-93 PLM method. That's not specific
13:45:30 14        A.    I'm not sure I've had a Daubert standard                   13:47:53 14           for talc. It's building materials.
13:45:32 15   in federal court yet. As for state court, I think                     13:47:56 15           Q.    (By Mr. Chachkes) And do they accredit
13:45:36 16   there's been seven, six or seven challenges.                          13:47:58 16   you for methodology or something else?
13:45:39 17        Q.    So my question is about federal court.                     13:48:01 17           A.    To be able to perform the analysis.
13:45:41 18   Has any federal court certified you under Daubert                     13:48:04 18           Q.    Meaning what?
13:45:43 19   standards for finding asbestos in talc?                               13:48:06 19           A.    Meaning if you -- we have round-robins
13:45:45 20              MR. CIRSCH: Object to form.                                13:48:10 20   that you can adequately identify products that have a
13:45:46 21              THE WITNESS: As I just stated, I don't                     13:48:14 21   certain concentration of asbestos in it that you
13:45:48 22        believe I've been in federal court yet other                     13:48:16 22   would routinely see for building products.
13:45:50 23        than this one for -- where any Daubert                           13:48:18 23           Q.    Has NVLA ever accredited you specifically
13:45:56 24        challenges would arise.                                          13:48:21 24   for finding talc in asbestos?
13:45:57 25        Q.    (By Mr. Chachkes) Has your methodology                     13:48:24 25           A.    I think, as I've already stated, they
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13:45:59  1   for finding asbestos in talc ever been published in a                 13:48:26  1   don't have a previous matrix, meaning what is the
13:46:04  2   peer-review journal or literature otherwise?                          13:48:29  2   asbestos in. They go by the EPA 600/R-93 method for
13:46:05  3              MR. CIRSCH: Object to form.                                13:48:36  3   analysis of bulk samples, typically building material
13:46:06  4              THE WITNESS: Well, it's not my method,                     13:48:40  4   bulk samples for asbestos.
13:46:08  5        and the Blount method by PLM has been published                  13:48:41  5           Q.    So the NVLA, did they actually have
13:46:13  6        and the ISO 22262-2 is an international                          13:48:44  6   someone come to your lab and do this accreditation?
13:46:16  7        standard. So it's not my method; it's standard                   13:48:46  7           A.    Yes.
13:46:20  8        protocols for doing the method.                                  13:48:46  8           Q.    Okay. When that person came to your lab
13:46:21  9        Q.    (By Mr. Chachkes) Is all your analysis                     13:48:47  9   for the accreditation, did they ask to see your
13:46:23 10   for -- all your analysis of cosmetic talc for                         13:48:51 10   techniques and methodologies for finding asbestos in
13:46:27 11   asbestos been for and sponsored by plaintiffs'                        13:48:53 11   talc?
13:46:30 12   lawyers?                                                              13:48:54 12                 MR. CIRSCH: Object to form.
13:46:31 13        A.    Yes.                                                       13:48:55 13                 THE WITNESS: Again, they don't say talc
13:46:31 14        Q.    You mentioned the NVLA. What is that?                      13:48:57 14           and they don't say any particular thing. It's
13:46:36 15        A.    National Voluntary Laboratory                              13:48:58 15           just your overall methodology for performing the
13:46:41 16   Accreditation Program for the determination of                        13:49:01 16           analysis. And usually the auditor will bring
13:46:42 17   asbestos in air samples by TEM and bulk analysis.                     13:49:07 17           samples and have the analyst be able to
13:46:47 18        Q.    Does the NVLA have an accreditation for                    13:49:10 18           determine the type and the estimated weight
13:46:52 19   finding asbestos in talc?                                             13:49:14 19           percent of what's in the sample.
13:46:54 20        A.    It's hard to say because they don't really                 13:49:15 20           Q.    (By Mr. Chachkes) Okay. So the samples
13:47:01 21   dictate what the matrix is.                                           13:49:18 21   that the NVLA brought for you to analyze for your
13:47:04 22        Q.    When you say matrix, what do you mean by                   13:49:22 22   accreditation were not talc samples; correct?
13:47:06 23   that?                                                                 13:49:25 23           A.    I don't believe so, no.
13:47:06 24        A.    Well, it's just asbestos in materials.                     13:49:25 24           Q.    They were just straight-up samples of
13:47:09 25   I'm not sure they have a specific one for talc or a                   13:49:28 25   different kinds of asbestos; right?
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13:49:30  1        A.    In some building material.                                 13:51:46  1         A.     I believe so.
13:49:32  2        Q.    Okay. Is the NVLA accreditation standard                   13:51:47  2         Q.     Okay. And you said you brought something.
13:49:38  3   public?                                                               13:51:49  3   What did you bring?
13:49:39  4        A.    When you -- I don't understand what you                    13:51:50  4         A.     Well, I brought the EDXA on 200 tremolite
13:49:40  5   mean.                                                                 13:51:55  5   fibers and bundles that was done, the 1867.
13:49:40  6        Q.    Obviously, they must have some standard                    13:52:01  6         Q.     Oh, I'm sorry, so this is something you've
13:49:42  7   that they're comparing you to. Is that written down,                  13:52:04  7   already produced; you just brought it -- also brought
13:49:44  8   or is it just in the minds of the NVLA?                               13:52:05  8   it?
13:49:49  9              MR. CIRSCH: Form.                                          13:52:06  9         A.     Yes.
13:49:50 10              THE WITNESS: I mean, there is a set this                            10         Q.     Okay.
13:49:50 11        is what you have to do and be able to do, plus                   13:52:06 11         A.     I mean, it's in my reliance documents, and
13:49:54 12        the PAT rounds that's sent out by the Research                   13:52:08 12   it can give you a -- if you look at the ratios,
13:50:02 13        Triangle Institute where they send samples out,                  13:52:14 13   they're pretty much identical to what you were
13:50:05 14        your analysts have to analyze them and send them                 13:52:16 14   showing me here.
13:50:08 15        in, and they compare to see if you pass or fail.                 13:52:17 15         Q.     Okay. And did you bring any other
13:50:10 16        Q.    (By Mr. Chachkes) Okay. My question was                    13:52:25 16   documents that haven't been produced?
13:50:14 17   do they have published standards?                                     13:52:27 17                Did you bring any documents that haven't
13:50:16 18              MR. CIRSCH: Object to form.                                13:52:28 18   been produced?
13:50:17 19        Q.    (By Mr. Chachkes) Something written down                   13:52:29 19         A.     Well, these have been produced.
13:50:17 20   where I can look at it and read on the page, ah, this                 13:52:31 20         Q.     Right. So I'm asking separate and apart
13:50:20 21   is how they accredit me?                                              13:52:33 21   from that.
13:50:22 22              MR. CIRSCH: Object to form.                                         22         A.     Oh.
13:50:23 23              THE WITNESS: I think you can go to the                     13:52:34 23         Q.     Did you bring any documents today that
13:50:24 24        NIST website for this type of -- and download                    13:52:35 24   haven't been produced?
13:50:29 25        it. I'm sure it's public.                                        13:52:36 25         A.     No.
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13:50:32  1        Q.    (By Mr. Chachkes) Now, you've run NIST                     13:52:36  1         Q.     Okay. So those are your NIST samples for
13:50:36  2   standards for EDSA; correct?                                          13:52:45  2   EDXA; right?
13:50:39  3        A.    Correct.                                                   13:52:47  3         A.     Right. We were looking at the
13:50:39  4        Q.    How often do you run those?                                13:52:48  4   Addison-Davies method to see if boiling the acid --
13:50:43  5        A.    I think you asked me earlier. I don't                      13:52:52  5   boiling the tremolite in sulfuric acid for an hour
13:50:45  6   recall. I brought some here because since we were                     13:52:56  6   and then boiling it in sodium hydroxide for an hour,
13:50:48  7   looking at the EDXA or talking about EDXA of                          13:53:00  7   did it change any chemical component or size
13:50:53  8   tremolite, it's in my reliance documents where we                     13:53:03  8   distribution of the NIST standard.
13:50:56  9   measured the EDXA on 200 tremolite fibers and bundles                 13:53:05  9         Q.     Did you produce your NIST standard
13:51:02 10   showing you the, quote, pattern.                                      13:53:07 10   analysis for TEM?
13:51:06 11        Q.    I'm sorry, you're talking about the NIST                   13:53:11 11         A.     That is TEM.
13:51:08 12   standard right now?                                                   13:53:11 12         Q.     Okay. All right. For what about PLM, did
13:51:08 13        A.    Yes.                                                       13:53:15 13   you produce those?
13:51:09 14        Q.    Okay. So you analyzed 200 NIST standards?                  13:53:16 14         A.     No.
13:51:11 15        A.    Well, 200 particles in a NIST standard.                    13:53:16 15                MR. CIRSCH: Object to form.
13:51:13 16        Q.    Okay. So you've at least done one NIST                     13:53:18 16                THE WITNESS: You typically -- since it's
13:51:16 17   standard. Have you done more than one NIST standard?                  13:53:21 17         almost 100 percent tremolite, it's not usually a
13:51:19 18        A.    We have analyzed all the NIST standards to                 13:53:23 18         standard that you develop for PLM. You can look
13:51:26 19   generate standards of EDXA.                                           13:53:25 19         at it and check your refractive indices and make
13:51:29 20        Q.    Same for SAED?                                             13:53:30 20         sure -- the oblique extinction, et cetera, but
13:51:31 21        A.    Yes.                                                       13:53:34 21         you don't usually just run those.
13:51:32 22        Q.    Same for TEM?                                              13:53:36 22         Q.     (By Mr. Chachkes) Okay. So when you say
13:51:35 23        A.    Well, TEM would be EDXA and SAED.                          13:53:37 23   you don't usually, you did not run NIST standards for
13:51:39 24        Q.    Okay. And do you keep those materials,                     13:53:40 24   PLM; is that what I'm hearing?
13:51:45 25   the standards you run?                                                13:53:42 25         A.     I don't know if we have. I don't believe
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13:53:44  1   so.                                                                       13:56:04  1       Q.       (By Mr. Chachkes) Okay. Again, I know
13:53:44  2           Q.    Okay. If you did, would you have kept the                   13:56:05  2   what you think. So these questions aren't about what
13:53:47  3   material?                                                                 13:56:08  3   you think.
13:53:48  4                 MR. CIRSCH: Object to form.                                 13:56:09  4                Do you think a third-party scientist
13:53:49  5                 THE WITNESS: I don't know.                                  13:56:11  5   looking at Exhibit 12, without knowing context, just
13:53:50  6           Q.    (By Mr. Chachkes) Okay. We would ask any                    13:56:15  6   looking at what's in Exhibit 12, this EDSA spectrum,
13:53:51  7   of that material be produced.                                             13:56:18  7   might say that also corresponds to minerals that
13:53:54  8                 Any other NIST standards that you ran                       13:56:23  8   aren't tremolite?
13:53:57  9   under any other instruments that we haven't talked                        13:56:25  9                MR. CIRSCH: Object to form. He's already
13:53:59 10   about?                                                                    13:56:26 10       answered the question. It calls for
13:53:59 11           A.    No.                                                         13:56:28 11       speculation.
13:54:14 12                 MS. TROVATO: I'm sorry, I have Exhibit 10                   13:56:28 12                THE WITNESS: I can't speculate what other
13:54:15 13           to this deposition --                                             13:56:30 13       experienced microscopists would say that is.
13:54:16 14                 MR. CIRSCH: That's been marked at a                         13:56:34 14       Q.       (By Mr. Chachkes) Okay. And so you can't
13:54:18 15           previous deposition.                                              13:56:36 15   testify to a reasonable degree of scientific
13:54:18 16                 THE WITNESS: That was marked on 3/21.                       13:56:39 16   certainty that this EDSA pattern in a vacuum can only
         17                 MS. TROVATO: I want to mark it here.                        13:56:46 17   correspond to a single mineral and only that mineral
13:54:21 18                 MR. CHACHKES: Okay. Can we mark this as                     13:56:50 18   tremolite?
13:54:22 19           Exhibit 14.                                                       13:56:50 19                MR. CIRSCH: Object to form.
13:54:24 20                 (Defendants' Exhibit 14 was marked for                      13:56:52 20                THE WITNESS: Within a reasonable degree
13:54:33 21           identification.)                                                  13:56:56 21       of scientific certainty, if I looked at this
13:54:33 22           Q.    (By Mr. Chachkes) Okay. So Exhibit 14 is                    13:56:57 22       mineral, I would say that looks like tremolite.
13:54:34 23   what you were just referring to as the -- you ran a                       13:56:59 23       Q.       (By Mr. Chachkes) So I'm not asking about
13:54:37 24   NIST standard and the Addison-Davies technique,                           13:57:00 24   you. I'm asking -- this is a question about
13:54:39 25   that's 14; right?                                                         13:57:02 25   reproducibility, that if some other scientist looked
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13:54:40  1           A.    Yes, sir.                                                   13:57:06  1   at this, not you, okay, that are you testifying that
13:54:40  2           Q.    Okay. Looking back at -- can you go back                    13:57:12  2   within a reasonable degree of scientific certainty
13:54:46  3   to Exhibit 12, which is the EDXA spectrum.                                13:57:15  3   that this pattern can only correspond to tremolite?
13:54:54  4                 If I handed this to a very experienced                      13:57:20  4                MR. CIRSCH: Object to form.
13:55:00  5   EDXA scientist, as experienced as you want, and I                         13:57:21  5                THE WITNESS: I can't speculate what other
13:55:06  6   gave him no context where it came from, you know,                         13:57:22  6       scientists -- and they wouldn't be much of a
13:55:12  7   anything other than just this printout, would they                        13:57:25  7       scientist if they were going to look at this in
13:55:14  8   identify this as tremolite and only tremolite?                            13:57:28  8       a vacuum and then make some judgment on it
13:55:17  9                 MR. CIRSCH: Object to form.                                 13:57:31  9       without sitting at the TEM.
13:55:18 10                 THE WITNESS: I can't opine about what                       13:57:32 10                If another very experienced scientist was
13:55:20 11           other people would do. If I looked at this, my                    13:57:34 11       sitting at a TEM looking at the counting rules
13:55:24 12           reaction would be that looks like tremolite.                      13:57:39 12       and it's a regulated asbestos, he would most
13:55:27 13           Q.    (By Mr. Chachkes) Okay. I'm not talking                     13:57:42 13       likely have some information about where it came
13:55:28 14   about you. Again, this is about the question of what                      13:57:45 14       from --
13:55:32 15   a third-party would and how they would interpret                          13:57:45 15       Q.       (By Mr. Chachkes) Okay. So the counting
13:55:37 16   this.                                                                     13:57:46 16   rules, how do they apply to Exhibit 12, the EDSA?
13:55:37 17                 Would somebody who is a very experienced                    13:57:49 17       A.       Well, again, you cut me off. What I'm
13:55:39 18   EDSA scientist look at this spectra and say I know                        13:57:53 18   saying is I don't believe it would be a very -- that
13:55:47 19   what this is, this is tremolite? Or are there other                       13:57:56 19   it's very scientific to sit in a vacuum and not know
13:55:50 20   minerals that are consistent with this?                                   13:58:00 20   anything about anything and look at this, and how am
13:55:53 21                 MR. CIRSCH: Object to form.                                 13:58:04 21   I supposed to know what some other experienced
13:55:54 22                 THE WITNESS: I can't speculate on what                      13:58:06 22   scientist is going to say or do?
13:55:55 23           other experienced TEM folks would do. I can                       13:58:07 23       Q.       Okay. I'll represent to you I've shown
13:55:58 24           just tell you, since I'm sitting here, that I                     13:58:10 24   this, what's in Exhibit 12, to a very experienced
13:56:02 25           would say that's probably tremolite.                              13:58:15 25   mineralogist who also does EDXA work, and that
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13:58:19  1   person's confirmed that this is not a unique pattern            1 14:01:00      at -- and I'm just talking about the EDSA now, I'm
13:58:22  2   for tremolite, that there are other minerals that     14:01:03  2               not talking about counting or things that aren't the
13:58:24  3   correspond.                                           14:01:06  3               EDSA -- I'm sorry. EDXA. Let me start that again.
13:58:25  4              Sitting here today, do you have anything   14:01:11  4                          I'm talking about just the EDXA now, not
13:58:26  5   to provide me that disputes that?                     14:01:15  5               talking about other methods of identifying what
13:58:28  6              MR. CIRSCH: Object to form. I mean, how    14:01:17  6               you're looking at. Did you look at any textbook or
13:58:30  7        can he possibly testify to that?                 14:01:21  7               peer-reviewed literature to see what this pattern
13:58:36  8              MR. CHACHKES: I mean, limit the speaking   14:01:27  8               could also -- in Exhibit 12 -- could also correspond
13:58:37  9        objections, please.                              14:01:30  9               to?
13:58:38 10              THE WITNESS: It's EDXA. This came off a    14:01:30 10                          MR. CIRSCH: Object to form.
13:58:41 11        tremolite fiber bundle that we verified, that in 14:01:31 11                          THE WITNESS: It doesn't correspond -- and
13:58:45 12        the matrix that this came out of, it's well      14:01:32 12                     you're --
13:58:48 13        established that those type of amphiboles are    14:01:33 13                     Q.   (By Mr. Chachkes) The question is what
13:58:50 14        formed.                                          14:01:34 14               you looked at.
13:58:52 15              What some other expert or experienced      14:01:34 15                     A.   Please don't interrupt.
13:58:57 16        microscopist is saying that it's going to be     14:01:37 16                          MR. CIRSCH: Let him answer the question,
13:59:00 17        confused with some other minerals, I can't       14:01:38 17                     please.
13:59:02 18        comment on it. If you'd like to tell me what     14:01:39 18                          THE WITNESS: You're trying to do this in
13:59:05 19        those minerals are, I could certainly look and   14:01:40 19                     a vacuum. Here's just an EDS pattern, I'm not
13:59:08 20        see if there's -- (cell phone rings.)            14:01:42 20                     going to give you any other information, I'm not
13:59:10 21              Is that me? I'm sorry. It's not supposed   14:01:43 21                     going to let you look at what kind of -- it's a
13:59:16 22        to be on. I apologize.                           14:01:45 22                     fibrous structure or it's a particulate. Not
13:59:24 23        Q.    (By Mr. Chachkes) What work have you done 14:01:46 23                      going to let you look at the SAED patterns.
13:59:28 24   to survey the world of minerals to determine what     14:01:50 24                          It's not following the procedure we've
13:59:36 25   other minerals other than regulated asbestos could    14:01:52 25                     used here for all these samples. So I can't
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13:59:40  1   have EDSA patterns that correspond to what I'm                    14:01:55  1         comment on something that I wouldn't do as an
13:59:46  2   looking at in Exhibit 12?                                         14:01:58  2         expert coming in here just looking at an EDS
13:59:47  3               MR. CIRSCH: Object to form.                           14:02:01  3         pattern with -- EDXA pattern without any other
13:59:48  4               THE WITNESS: I've looked at all the                   14:02:04  4         information.
13:59:49  5       potential look-alikes, and again, you just can't              14:02:04  5         Q.   (By Mr. Chachkes) Okay. So am I correct
13:59:53  6       do an EDS pattern without looking at the                      14:02:06  6   that your answer is no, you did not look at a
13:59:56  7       structure. Some -- and I've looked at every one               14:02:09  7   textbook or peer-reviewed literature to determine
13:59:59  8       that Sanchez says that could be look-alikes, and              14:02:11  8   what this EDSA pattern could also correspond to other
14:00:06  9       a number of them are not fibrous and a lot of                 14:02:15  9   than what you believe to be tremolite?
14:00:09 10       them have aluminum in it. So I'm not concerned                14:02:16 10              MR. CIRSCH: Object to form.
14:00:13 11       that this is anything but tremolite asbestos.                 14:02:17 11              THE WITNESS: No. I wouldn't just take an
14:00:18 12       Q.      (By Mr. Chachkes) Did you look at any                 14:02:19 12         EDS pattern by itself and then run it to see
14:00:25 13   databases to compare this spectra to what the                     14:02:23 13         what other possible minerals in the world have
14:00:28 14   databases say are the things that have similar EDSA               14:02:26 14         the same elements.
14:00:33 15   patterns?                                                         14:02:27 15              I would only be testifying here that this
14:00:33 16               MR. CIRSCH: Object to form.                           14:02:29 16         is tremolite -- regulated tremolite asbestos
14:00:34 17               THE WITNESS: No, I didn't look at any                 14:02:33 17         based on the entirety of the analysis that's
14:00:37 18       databases. This was done in regards to the                    14:02:35 18         done for each of these fibers or bundles.
14:00:39 19       typical TEM protocols for identifying asbestos.               14:02:37 19         Q.   (By Mr. Chachkes) Okay. Let's talk about
14:00:42 20       I'm not aware of any other minerals with all the              14:02:39 20   SAED for a moment. You did SAED pattern analysis?
14:00:46 21       characteristics of both being fibrous, meaning                14:02:43 21         A.   Yes.
14:00:48 22       the counting definition, the amphibole                        14:02:43 22         Q.   Okay. Would you agree that the more
14:00:54 23       diffraction pattern for the d-spacings. This is               14:02:49 23   complete the SAED pattern an analyst obtains, the
14:00:57 24       not misidentified.                                            14:02:52 24   more likely the analyst is to make an accurate
14:00:59 25       Q.      (By Mr. Chachkes) Okay. Did you look                  14:02:55 25   determination of the crystal structure?
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14:02:56  1              MR. CIRSCH: Object to form.                          1     14:05:11           the -- if it is fibrous or not. That's all you
14:02:58  2              THE WITNESS: No.                           14:05:16  2                        need.
14:02:59  3         Q.   (By Mr. Chachkes) Why not?                 14:05:16  3                        Q.      (By Mr. Chachkes) Okay.
14:02:59  4         A.   For tremolite you just need the            14:05:17  4                        A.      And that's all NVLAP requires.
14:03:03  5   d-spacings. For anthophyllite, you just need to --    14:05:21  5                        Q.      Okay. And that's expressly written in the
14:03:07  6   if it has anything close to the reflection or the     14:05:25  6                   NVLA standard?
14:03:09  7   crystal orientation of fibrous talc, you just need to 14:05:28  7                        A.      I don't know if it's expressly written,
14:03:12  8   turn it to make sure that the amphibole pattern comes 14:05:30 8                    but it's not required for any of the audits that we
14:03:16  9   up. You don't need to do anything more to adequately 14:05:33 9                     have, zone axis patterns for tremolite or any
14:03:20 10   identify if it's anthophyllite versus fibrous talc or 14:05:37 10                   regulated asbestos.
14:03:25 11   anthophyllite solid solution series.                  14:05:37 11                        Q.      Okay. So your opinion is that good
14:03:28 12         Q.   Okay. Is streaking in your SAED pattern    14:05:39 12                   science is determined by whether something passes
14:03:32 13   something that can get in the way of an accurate      14:05:42 13                   NVLA accreditation?
14:03:35 14   determination?                                        14:05:43 14                                MR. CIRSCH: Object to form.
14:03:35 15         A.   It depends on what type of asbestos it is. 14:05:44 15                                THE WITNESS: It is good science. I don't
14:03:38 16   If you're seeing streaking and you have the right     14:05:48 16                        know what good science mean. I mean, versus bad
14:03:41 17   chemistry and it's tubular, then it's chrysotile.     14:05:50 17                        science?
14:03:44 18   But we don't see the streaking that's getting -- that 14:05:51 18                                NVLAP is coming in to determine that if
14:03:47 19   you say is getting in the way to adequately look at   14:05:55 19                        somebody sends you an air sample that you can
14:03:50 20   these diffraction patterns.                           14:05:57 20                        adequately identify, or bulk sample, identify
14:03:51 21         Q.   If the dots on an SAED pattern are out of  14:06:01 21                        the asbestos to the degree that you're not
14:03:56 22   focus, does that affect the accuracy in your          14:06:02 22                        letting people walk into an environment where
14:03:59 23   determining the crystal structure?                    14:06:04 23                        they're getting exposed to asbestos.
14:03:59 24         A.   Depends what you mean by out of focus. As  14:06:07 24                                We go to the -- so that we perform the
14:04:01 25   long as you have the particular planes of dots, how   14:06:11 25                        necessary analytical techniques for each of
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14:04:04  1   focused or out of focus it is sometimes doesn't                       14:06:14  1        these methods to positively affirm or deny that
14:04:07  2   matter. If it's way out of focus, yes, it would.                      14:06:19  2        there's any detectable asbestos present.
14:04:09  3        Q.    Would you agree that it's important to --                  14:06:21  3        Q.      (By Mr. Chachkes) Does the NVLA have in
14:04:12  4   strike that.                                                          14:06:23  4   it an example of d-spacing that corresponds to
14:04:13  5              Would you agree that the further out you                   14:06:27  5   tremolite?
14:04:21  6   have complete dots in the pattern and the more                        14:06:29  6                MR. CIRSCH: Object to the form.
14:04:23  7   focused the image it is, the easier it is for the                     14:06:30  7                THE WITNESS: I believe so.
14:04:26  8   analyst to study the crystal structure?                               14:06:31  8        Q.      (By Mr. Chachkes) Okay. And we'd find
14:04:28  9              MR. CIRSCH: Object to form.                                14:06:34  9   that on their website?
14:04:29 10              THE WITNESS: It depends.                                   14:06:35 10                MR. CIRSCH: Object to form.
14:04:32 11        Q.    (By Mr. Chachkes) What does it depend on?                  14:06:36 11                THE WITNESS: I think so.
14:04:34 12        A.    Well, I have to get some examples and I                    14:06:37 12        Q.      (By Mr. Chachkes) Okay. And then you
14:04:37 13   can show you. You know, the patterns we have taken                    14:06:38 13   said for anthophyllite, what do you need, again?
14:04:41 14   have been adequate for the analyst, plus the EDXA                     14:06:40 14        A.      For us, anthophyllite, we just make sure
14:04:45 15   plus the fibrous nature to identify appropriately if                  14:06:44 15   it's not fibrous talc, since we're looking at talc
14:04:49 16   it's -- typically what we're seeing is either the                     14:06:50 16   samples. And that the anthophyllite chemistry, the
14:04:52 17   tremolite solid solution series, more tremolite than                  14:06:55 17   anthophyllite solid solution chemistry is
14:04:56 18   winchite or richterite or actinolyte, and                             14:06:57 18   appropriate, what we typically see is, because we're
14:04:59 19   anthophyllite solid solution series. We don't take                    14:07:00 19   using heavy density liquid primarily, I think, all
14:05:02 20   it any further than that.                                             14:07:03 20   here, all with what I call iron-rich.
14:05:02 21        Q.    So you testified that to determine whether                 14:07:07 21        Q.      My question is what SAED pattern
14:05:04 22   something is tremolite, you just need to know the                     14:07:10 22   corresponds to anthophyllite?
14:05:07 23   d-spacing; correct?                                                   14:07:12 23                MR. CIRSCH: Object to form.
14:05:08 24              MR. CIRSCH: Object to form.                                14:07:13 24                THE WITNESS: Which one? There's 277 zone
14:05:09 25              THE WITNESS: And the EDXA as well as                       14:07:16 25        axes. We look for a typical d-spacing of a
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14:07:19  1           different orientation for the two selected area                14:09:48  1              If I have an isolated SAED pattern for
14:07:23  2           electron diffraction patterns we take.                         14:09:53  2   talc in one axis and only that, no other information,
14:07:26  3           Q.    (By Mr. Chachkes) Okay. So you determine                 14:10:00  3   does that uniquely identify talc?
14:07:28  4   whether it's anthophyllite based on d-spacing when                     14:10:02  4              MR. CIRSCH: Object to form.
14:07:30  5   you're talking about SAED only?                                        14:10:03  5              THE WITNESS: I would not call it. I
14:07:33  6                 MR. CIRSCH: Object to form.                              14:10:04  6        don't know what somebody else would do. I would
14:07:33  7                 THE WITNESS: D-spacing and a second                      14:10:07  7        want to see what we're looking at. Certainly if
14:07:36  8           pattern from a different crystalline orientation               14:10:09  8        it's a talc plate versus chemistry -- but we're
14:07:42  9           so that you can rule out fibrous talc.                         14:10:13  9        primarily interested in the fibrous talc.
14:07:45 10           Q.    (By Mr. Chachkes) Okay. So for                           14:10:15 10              If you're an experienced TEM analyst, you
14:07:48 11   tremolite, do you use two axes or just one?                            14:10:20 11        wouldn't just do it -- to me, my opinion, you
14:07:52 12           A.    Just one. It's not required for tremolite                14:10:23 12        just wouldn't try in a vacuum without any
14:07:56 13   since fibrous talc does not have any calcium in it.                    14:10:25 13        information to look at a talc SAED and say
14:08:01 14   And what you're looking for in an EDS pattern is make                  14:10:29 14        that's talc.
14:08:05 15   sure there's no aluminum.                                              14:10:30 15        Q.    (By Mr. Chachkes) Okay. So recall that
14:08:07 16           Q.    Okay. And for anthophyllite, you use --                  14:10:31 16   when I asked you my question, I'm saying looking at
14:08:10 17   you need two axes is what you're saying?                               14:10:34 17   SAED in a vacuum and then you went on to talk about a
14:08:13 18           A.    Two axes unless -- I think there's one in                14:10:37 18   number of things that aren't SAED, like chemistry,
14:08:16 19   the entire bunch where we only did one.                                14:10:41 19   fibers, plates. So this is a very specific question
14:08:19 20                 One axis if it doesn't have that                         14:10:45 20   and yes or no. Does a one-axis SAED pattern for talc
14:08:22 21   pseudohexagonal pattern of talc. There's one                           14:10:54 21   uniquely identify this as talc?
14:08:26 22   reflection in talc -- I can't remember if it's the                     14:10:58 22              MR. CIRSCH: Object to form. He's already
14:08:30 23   020 -- that some people say are similar. Doesn't                       14:10:59 23        answered the question.
14:08:34 24   look similar to me. But we just do two anyway for                      14:10:59 24              THE WITNESS: I would not call it talc
14:08:38 25   all these anthophyllite fibers and bundles.                            14:11:01 25        just based on a one hexagonal pattern with no
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14:08:40  1           Q.    Okay. For talc you use two axes to                       14:11:06  1        other information.
14:08:43  2   determine whether the SAED pattern corresponds to                                2        Q.    (By Mr. Chachkes) Okay.
14:08:46  3   talc?                                                                  14:11:06  3        A.    I would want to do -- and have the rest of
14:08:47  4           A.    No, we use two for anthophyllite solid                   14:11:08  4   the information that we talked about.
14:08:51  5   solution series.                                                       14:11:10  5              I wouldn't do it. Maybe somebody else
14:08:52  6           Q.    What about talc, how do you determine                    14:11:12  6   would. I can't comment on what other people might or
14:08:54  7   something under SAED is talc?                                          14:11:14  7   might not do.
14:08:56  8           A.    Chemistry and one SAED pattern that has                  14:11:15  8        Q.    Okay. So for tremolite, you are saying
14:09:01  9   the hexagonal dot pattern.                                             14:11:18  9   you look at one axis as well; correct?
14:09:06 10           Q.    Okay. So you use -- for the SAED portion                 14:11:20 10        A.    Correct.
14:09:10 11   of identifying something as talc, you use only one                     14:11:21 11        Q.    So same question. In a vacuum, all you
14:09:13 12   pattern; is that correct?                                              14:11:25 12   have is the SAED pattern for one axis for something
14:09:15 13           A.    That's correct.                                          14:11:32 13   you otherwise would call tremolite. Does that
14:09:15 14           Q.    Okay. If I took that one pattern that you                14:11:34 14   uniquely and only identify tremolite?
14:09:21 15   use to identify talc under SAED, can that pattern                      14:11:37 15              MR. CIRSCH: Object to form.
14:09:25 16   only correspond to talc?                                               14:11:38 16              THE WITNESS: If you were going to do
14:09:29 17                 MR. CIRSCH: Object to form.                              14:11:42 17        that, and you were -- for whatever reason that
14:09:30 18                 THE WITNESS: It can only correspond to                   14:11:46 18        here is an SAED pattern, there is nothing else,
14:09:32 19           talc as long as you have the chemistry to go                   14:11:52 19        if it was a zone axis, then you'd have to get
14:09:35 20           along with it. Again, nothing here is done in a                14:11:55 20        two zone axes, and now you're dealing with like
14:09:37 21           vacuum of just one and nothing else.                           14:11:58 21        no chemistry, no idea where the tremolite fiber
14:09:39 22           Q.    (By Mr. Chachkes) Okay. My question                      14:12:01 22        came -- if it is tremolite.
14:09:41 23   really isn't a vacuum. And I understand your                           14:12:03 23              So I would not do it. I can't talk about
14:09:43 24   qualification you think it's completely unfair, but I                  14:12:05 24        what other people would do.
14:09:46 25   do want to hear what you have to say about this.                       14:12:06 25        Q.    (By Mr. Chachkes) Okay. And indeed, a
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14:12:11  1   single axis SAED pattern for something that in your                   14:14:31  1               THE WITNESS: I have not published any,
14:12:18  2   report corresponds to tremolite can also correspond                   14:14:32  2        no.
14:12:23  3   to many other crystalline structures as well;                         14:14:32  3        Q.     (By Mr. Chachkes) Have you taught SAED
14:12:26  4   correct?                                                              14:14:34  4   pattern analysis?
14:12:26  5               MR. CIRSCH: Object to form.                               14:14:35  5        A.     Been a while, but yes.
14:12:27  6        Q.     (By Mr. Chachkes) Just in a vacuum.                       14:14:37  6        Q.     To whom?
14:12:29  7   Again, with all the qualifications that you don't                     14:14:38  7        A.     Graduate students back in the day when I
14:12:32  8   want to do it in a vacuum, but my question is in a                    14:14:41  8   was visiting assistant professor.
14:12:35  9   vacuum.                                                               14:14:42  9        Q.     How many orientations do you need to
14:12:35 10               MR. CIRSCH: Object to form.                               14:14:47 10   uniquely identify a mineral with SAED and only SAED?
14:12:36 11               THE WITNESS: It would be a typical                        14:14:52 11        A.     A minimum of two, maybe three.
14:12:37 12        amphibole diffraction pattern. You could say                     14:14:54 12        Q.     Measurements on an SAED are taken in
14:12:39 13        it's an amphibole, but how far you're willing to                 14:15:01 13   angstroms; correct?
14:12:41 14        go on that on just that without any other                        14:15:02 14        A.     Yes, sir, an angle, angle between -- you
14:12:44 15        information, no chemistry, no structure                          14:15:07 15   identify, say, the 002, then you have to get to
14:12:48 16        interface, no morphology, I would not call it                    14:15:10 16   another orientation, say, the 010 or the minus 020,
14:12:51 17        tremolite.                                                       14:15:17 17   and then take the angles and do the measurements or
14:12:51 18        Q.     (By Mr. Chachkes) Okay. So for                            14:15:20 18   use CrystalMaker.
14:12:54 19   anthophyllite, where you have two axes and so like                    14:15:21 19        Q.     Okay. CrystalMaker software that helps
14:13:00 20   two SAED patterns, in a vacuum, do those two patterns                 14:15:24 20   you analyze?
14:13:06 21   sitting in front of you, no other information,                        14:15:24 21        A.     Well, as long as it has the appropriate
14:13:08 22   uniquely identify what you're looking at as                           14:15:26 22   standards in it, you could.
14:13:11 23   anthophyllite?                                                        14:15:28 23        Q.     Do you use CrystalMaker?
14:13:11 24               MR. CIRSCH: Object to form.                               14:15:30 24        A.     We have CrystalMaker. But, no, it's not
14:13:12 25               THE WITNESS: I don't know. Certainly                      14:15:32 25   required for what we do.
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14:13:13  1        would rule out talc with the two patterns.                       14:15:33  1        Q.     Okay. If you put what you otherwise
14:13:16  2               If I wasn't told that this came out of a                  14:15:40  2   identified as an SAED pattern for tremolite into
14:13:18  3        cosmetic talc bulk sample and wasn't allowed to                  14:15:44  3   CrystalMaker without the other end pop, the
14:13:21  4        look at any chemistry, if I wasn't allowed to do                 14:15:47  4   identification, this is tremolite?
14:13:24  5        any EDXA and morphology, I probably would not                    14:15:49  5               MR. CIRSCH: Object to form.
14:13:31  6        spend the time contemplating what that was.                      14:15:50  6               THE WITNESS: If you had the appropriate
14:13:33  7        Q.     (By Mr. Chachkes) Okay. You agree that                    14:15:51  7        zone axis and nothing else, it might.
14:13:36  8   the same particle can have different SAED patterns at                 14:15:54  8        Q.     (By Mr. Chachkes) You don't know one way
14:13:42  9   different orientations; right?                                        14:15:55  9   or the other? Have you ever done that?
14:13:43 10        A.     Yes.                                                      14:15:57 10        A.     Have we used CrystalMaker? We have used
14:13:43 11        Q.     And an SAED analyst can take measurements                 14:15:59 11   it in the past, but we don't use it for this
14:13:49 12   of the crystals on various axes; correct?                             14:16:02 12   analysis.
14:13:53 13        A.     Yes. You can get zone axis, and depending                 14:16:03 13        Q.     So have you done CrystalMaker on a single
14:13:56 14   on the orientation of the fiber or bundle, you may                    14:16:06 14   axis? Have you used CrystalMaker for a single axis
14:13:59 15   get two -- tough to get three because of your limited                 14:16:16 15   SAED pattern?
14:14:04 16   mobility of tilting the fiber; you have to double                     14:16:16 16               MR. CIRSCH: Object to form.
14:14:08 17   tilt it. You could probably get three if one wanted.                  14:16:17 17               THE WITNESS: I don't recall doing that.
14:14:11 18        Q.     Okay. Are you an expert in SAED pattern                   14:16:18 18        Q.     (By Mr. Chachkes) Okay. When I talked
14:14:17 19   analysis?                                                             14:16:20 19   about measurements being taken in angstroms, that's
14:14:18 20        A.     I probably know more than the average                     14:16:22 20   the measurement between the dots; right?
14:14:20 21   layperson.                                                            14:16:23 21        A.     Yes.
14:14:21 22        Q.     Okay. But are you an expert? Are you                      14:16:24 22        Q.     And that's what we're calling d-space?
14:14:24 23   somebody, for example, who maybe published any                        14:16:27 23        A.     D-space is between the planes. That's the
14:14:27 24   articles on SAED pattern analysis?                                    14:16:28 24   measurement we do now.
14:14:30 25               MR. CIRSCH: Object to form.                               14:16:30 25        Q.     What's the difference between what I said
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14:16:32  1   and what you said?                                                         14:18:37  1   appropriate way to identify that mineral?
14:16:33  2          A.    Well, you can get to the different planes,                    14:18:39  2                MR. CIRSCH: Object to form.
14:16:35  3   but you can also get to -- the d-spacing is the                            14:18:40  3                THE WITNESS: I can't. I mean, as I sit
14:16:38  4   layers of atoms on top of each other.                                      14:18:46  4        here, I don't recall.
14:16:40  5          Q.    Okay. Can you describe how your analyst                       14:18:47  5        Q.      (By Mr. Chachkes) Okay. Are the TEMs in
14:16:50  6   calibrates the SAED apparatus?                                             14:18:51  6   your lab equipped with -- I'm going to butcher the --
14:16:55  7          A.    They do.                                                      14:18:56  7   is it goniometer?
14:16:55  8          Q.    No, I'm sorry, can you describe how they                      14:18:57  8        A.      Goniometer.
14:16:57  9   do it?                                                                     14:18:58  9        Q.      Okay. Are the TEMs in your lab equipped
14:16:57 10          A.    Well, they get the working distance, and                      14:19:00 10   with goniometers to rotate particles?
14:16:59 11   typically they're using a gold standard for the rings                      14:19:03 11        A.      Yes. We have a double-tilt holder that we
14:17:02 12   and the working distance so they can do that                               14:19:05 12   use if we're going to do zone axis. And we have a
14:17:05 13   calibration.                                                               14:19:08 13   goniometer that can rotate the sample I think up to
14:17:05 14          Q.    When you say a gold standard, what do you                     14:19:15 14   30 degrees, so it's usually at zero tilt.
14:17:07 15   mean by that?                                                              14:19:21 15        Q.      Okay. In your report I don't see any SAED
14:17:07 16          A.    Well, you take something that's fibrous                       14:19:25 16   patterns done for a single subject crystal in three
14:17:11 17   and you put a gold film on the top so that you get                         14:19:29 17   different axes. That's correct; right?
14:17:14 18   the outer rings of the gold, which is a standard                           14:19:31 18        A.      That is correct, you will not find that.
14:17:16 19   measurement, and then the working distance so you can                      14:19:32 19        Q.      And you didn't do that?
14:17:18 20   calibrate.                                                                 14:19:33 20        A.      No.
14:17:19 21          Q.    Literally a standard made of gold; is that                    14:19:34 21        Q.      Okay. Did your analyst document every
14:17:22 22   what you're saying?                                                        14:19:40 22   instance in the report where they used multiple SAED
14:17:23 23          A.    Yes. Well, it's a very small piece of                         14:19:44 23   patterns?
14:17:26 24   gold wire --                                                               14:19:45 24        A.      I hope so.
         25          Q.    Okay.                                                         14:19:52 25                MR. CHACHKES: Maybe we should -- let's go
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14:17:26  1          A.    -- that you sputter, so you're not using a                    14:19:54  1        to this one.
14:17:28  2   lot.                                                                       14:20:30  2                (Defendants' Exhibit 15 was marked for
14:17:29  3          Q.    How often do your analysts calibrate the                      14:20:32  3        identification.)
14:17:33  4   SAED apparatus?                                                            14:20:32  4        Q.      (By Mr. Chachkes) Okay. Marked as
14:17:35  5          A.    Whatever is required for our NVLAP                            14:20:34  5   Exhibit 15, you recognize this as a three-axis SAED
14:17:37  6   accreditation.                                                             14:20:38  6   for tremolite; right?
14:17:38  7          Q.    Do you have any -- sitting here today, do                     14:20:39  7        A.      I know that's what it states.
14:17:40  8   you know what that is?                                                     14:20:40  8        Q.      In your opinion, is that different? Is
14:17:40  9          A.    No.                                                           14:20:43  9   this not a three-axis?
14:17:41 10          Q.    Is that in your report?                                       14:20:46 10        A.      Well, it says it's -- you know the 100,
14:17:43 11          A.    No, sir.                                                      14:20:49 11   the 010, and the 001, that would be three crystal
14:17:44 12          Q.    Okay. So do your analysts tilt the stage                      14:20:53 12   orientations by the Miller indices. Now, if that's
14:17:56 13   on the TEM to direct the electrons at a certain face                       14:20:56 13   what we're looking at here or not, I would have to go
14:18:00 14   of the crystal?                                                            14:20:59 14   measure it, get the camera constant, et cetera.
14:18:01 15                MR. CIRSCH: Object to form.                                   14:21:03 15                So I'm not here to dispute it, but I can't
14:18:02 16                THE WITNESS: The only fibrous material                        14:21:06 16   validate that's what it is.
14:18:06 17          that we tilt the stage is when we suspect the                       14:21:08 17        Q.      Is there anything -- looking at this right
14:18:10 18          anthophyllite solid solution series, where we                       14:21:09 18   now, is there any reason you have to dispute that
14:18:13 19          rotate it to make sure that the hexagonal                           14:21:11 19   indeed this is an accurate three-axis SAED for
14:18:19 20          plane -- it's not even the hexagonal plane.                         14:21:16 20   tremolite?
14:18:23 21          It's a -- I always forget. It's either an 020                       14:21:17 21                MR. CIRSCH: Object to form.
14:18:26 22          or an 002 reflection off the talc, fibrous talc                     14:21:18 22                THE WITNESS: I have no reason to dispute
14:18:31 23          orientation.                                                        14:21:19 23        it. I have no reason to accept it.
14:18:37 24          Q.    (By Mr. Chachkes) Okay. Can you point me                               24        Q.      (By Mr. Chachkes) Okay.
14:18:37 25   to published peer-reviewed literature where that's an                      14:21:20 25        A.      If that's what you're saying it is, then
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14:21:22  1   that's what you're saying.                                           14:24:12  1   linguistically. I'm going to do that again.
14:21:23  2       Q.     Okay. You see that the pattern is                         14:24:13  2       A.    That's fine.
14:21:26  3   different for each of the three axes?                                14:24:13  3       Q.    If I want to figure out which sample a
14:21:27  4       A.     Well, you have three different crystal                    14:24:17  4   particular verification page refers to, that sample
14:21:29  5   orientations.                                                        14:24:20  5   is written on the page; correct?
14:21:30  6       Q.     Okay.                                                     14:24:21  6       A.    Yeah, each sample number is on here.
14:21:31  7       A.     Of course it's going to be different.                               7       Q.    Okay.
14:21:32  8       Q.     Okay. So you predicted my next question,                  14:24:24  8       A.    You know, M68503-001. So you would look
14:21:36  9   which is in your experience, three different crystal                 14:24:28  9   for '60, '70s, '80s, wherever it is, and then the
14:21:38 10   orientations for SAED for the same crystal may or                    14:24:36 10   second number, -001, would be the number 1 or the
14:21:42 11   probably will produce three different patterns;                      14:24:38 11   first asbestos structure or bundle that is the
         12   correct?                                                             14:24:42 12   diffraction pattern is being taken.
14:21:44 13       A.     That is correct.                                          14:24:44 13       Q.    Sorry. And you went a little quick for
14:21:44 14       Q.     Okay. For tremolite it certainly will                     14:24:47 14   me, and I apologize --
14:21:48 15   produce three different patterns?                                    14:24:49 15       A.    That's all right. So you see the number
14:21:50 16       A.     For most of your fibrous crystals where                   14:24:50 16   there, M68503 --
14:21:54 17   you can rotate it, yes.                                              14:24:51 17       Q.    Okay. So I see that as MAS job number.
14:21:56 18       Q.     Including anthophyllite and fibrous talc?                 14:24:53 18   That's where you're pointing?
14:22:01 19              MR. CIRSCH: Object to form.                               14:24:54 19       A.    Right.
14:22:02 20              THE WITNESS: Including -- no. Fibrous                     14:24:55 20       Q.    And can you actually, just so we're on the
14:22:02 21       talc, not. You can rotate it. You're only                        14:24:55 21   same page, literally, can you go to the first
14:22:05 22       going to get one pattern. That's why if you do                   14:25:00 22   verification?
14:22:09 23       see the reflection that some people will argue                   14:25:00 23             Okay. So you've got the MAS job number,
14:22:12 24       looks a little bit like what anthophyllite can                   14:25:02 24   and I'm looking at the number that begins M68
14:22:15 25       do, you rotate it, and that never changes.                       14:25:05 25   something, something, something. Okay. How does
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14:22:51  1              MR. CHACHKES: Okay. Let's mark as 16.                     14:25:06  1   that tell me what sample that refers to?
14:22:53  2              (Defendants' Exhibit 16 was marked for                    14:25:09  2       A.    Well, our job number would be M68503. If
14:23:07  3       identification.)                                                 14:25:14  3   you go to the various '60s, '70s, and '80s, you'll
14:23:07  4       Q.     (By Mr. Chachkes) Okay. So do you                         14:25:17  4   see that number.
14:23:09  5   recognize what's been marked as Exhibit 16?                          14:25:18  5       Q.    Sorry. Let's pause. '60s, '70s, and
14:23:10  6       A.     Yes, Verification of 0-Degree Amphibole                   14:25:21  6   '80s, you're referring to year --
14:23:13  7   Diffraction Patterns, these are our documents.                       14:25:22  7       A.    The decades.
14:23:16  8       Q.     Okay. This was produced to us, I think,                             8       Q.    Okay.
14:23:20  9   Saturday. Do you recall giving this to plaintiffs'                   14:25:23  9       A.    And so then you look for -- if it has
14:23:23 10   counsel recently --                                                  14:25:26 10   M68503 on there, you look for the first dash, 001.
14:23:24 11       A.     I do.                                                     14:25:31 11       Q.    And what's the first dash refer to?
14:23:24 12       Q.     -- to produce?                                            14:25:33 12       A.    Right. That will tell you that that is
14:23:27 13              Okay. What is it? Can you just -- on a                    14:25:35 13   the actual sample number. Then you can go -- it will
14:23:28 14   high level, what am I looking at?                                    14:25:39 14   tell you what tab to look under.
14:23:31 15       A.     High level, we're looking at the                          14:25:41 15             And then the second sample number is 001,
14:23:32 16   d-spacings of, most likely, tremolite and                            14:25:44 16   means that is the first asbestos, in this case,
14:23:40 17   anthophyllite.                                                       14:25:49 17   anthophyllite solid solution series. It's the very
14:23:40 18       Q.     And this corresponds to a number of                       14:25:53 18   first structure up. So you can go then to the data
14:23:49 19   samples that appear in your report; correct?                         14:25:56 19   there and find that very first diffraction pattern.
14:23:51 20       A.     It does.                                                  14:25:59 20       Q.    Okay. But when you say the data there, is
14:23:51 21       Q.     Okay. And to figure out which page                        14:26:02 21   that data you're referring to in Exhibit 16?
14:23:56 22   relates to which diffraction pattern, I can look on                  14:26:04 22       A.    No, the data that is in the actual data
14:24:01 23   that page and it's written in there somewhere; right?                14:26:07 23   notebooks.
14:24:06 24       A.     You'll have to -- I'm sorry.                              14:26:07 24       Q.    Got it. And your ability to identify
14:24:07 25       Q.     I think I might have messed that up                       14:26:12 25   '60s, '70s, '80s decades, is that something inherent
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14:26:17  1   in the job number? Is that like coded in there? How             1     14:28:19          Q.    And is the reason that zone axis
14:26:19  2   did you --                                            14:28:22  2                   information on the lower left is not put in there is
14:26:19  3        A.    That's why I used all of them.             14:28:24  3                   because you really only ran one?
14:26:20  4        Q.    Oh, okay.                                  14:28:26  4                       A.    Well, you can get a zone axis -- if you
14:26:21  5        A.    If you'll give me one, I can -- you know,  14:28:28  5                   happen to hit a zone axis, it will -- you can
14:26:22  6   I can probably find it. I didn't bring those along.   14:28:34  6                   calculate through that. The second anthophyllite
14:26:24  7   They're getting too big.                              14:28:36  7                   pattern for this one fiber on the next page has a
14:26:26  8        Q.    Okay. I see on this page, date verified    14:28:41  8                   zone axis that said it was near the 101.
14:26:31  9   11/19/18; do you see that?                            14:28:43  9                       Q.    Got it. So you're saying is that the
14:26:33 10        A.    Yes.                                       14:28:48 10                   first verification page that I'm looking at is one
14:26:35 11        Q.    What does that mean? What was verified?    14:28:51 11                   zone axis, and the second page is another zone axis
14:26:37 12        A.    That means that's the date that the data   14:28:54 12                   for the same anthophyllite particle?
14:26:39 13   was run for this particular program that did this     14:28:55 13                       A.    No. Not quite.
14:26:44 14   analysis.                                             14:28:57 14                       Q.    Okay.
14:26:45 15        Q.    Is that the date of the SAED as well?      14:28:57 15                       A.    The first one is just d-spacing, the
14:26:48 16        A.    No. If you go over to the right-hand       14:28:59 16                   second one is just d-spacing. In this particular
14:26:51 17   side, it says date of photo --                        14:29:02 17                   case when they went to the second orientation, they
14:26:53 18        Q.    Okay.                                      14:29:05 18                   got very close to the 101 zone axis.
14:26:54 19        A.    -- 10/29/2018, and the SAED pattern should 14:29:08 19                       Q.    Okay. So there's two orientations on
14:26:57 20   have that date on it.                                 14:29:11 20                   these page 1 and page 2, one is one orientation, the
14:26:58 21        Q.    Got it. And when you say the data was run  14:29:14 21                   second is another orientation?
14:27:02 22   on November 19, 2018, was it put into some computer   14:29:16 22                       A.    Correct, for the same fiber/bundle.
14:27:07 23   program, or someone did a hand d-spacing? How was     14:29:18 23                       Q.    Got it. We've looked through this, and
14:27:11 24   that --                                               14:29:22 24                   we've totaled 35 samples, which is less than the 72
14:27:12 25        A.    No. The information is put in, it's all    14:29:28 25                   samples in your report. Is that consistent with what
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14:27:14  1   digital, and it does the calculation. When you put                    14:29:31  1   you believe this to be?
14:27:17  2   in the, you know, the distance, the camera constant,                  14:29:34  2             MR. CIRSCH: Object to form.
14:27:22  3   and then it will calculate the d-spacing.                             14:29:35  3             THE WITNESS: Well, a number of samples
14:27:24  4        Q.     I'm sorry, when you say it, there's a                     14:29:38  4       were negative. There would be no zone axis
14:27:26  5   software that you're using?                                           14:29:42  5       pattern.
14:27:28  6        A.     Yes.                                                      14:29:42  6             A number of the samples would not have
14:27:28  7        Q.     And does the software kind of just read                   14:29:45  7       been run through because we were doing
14:27:30  8   the image? You don't have to actually calculate the                   14:29:46  8       verification of Lee Poye's samples, and there's
14:27:32  9   d-spacing by hand?                                                    14:29:51  9       a lot of different samples. I believe we have
14:27:33 10        A.     Well, you have to put in the information                  14:29:53 10       produced all the ones that we have taken.
14:27:35 11   on the camera constant, but then it will read the                     14:29:55 11       Q.     (By Mr. Chachkes) Okay. There were 50
14:27:39 12   pattern and calculate what the d-spacing is.                          14:29:57 12   positives amongst the 72 samples you looked at, and
14:27:42 13        Q.     Got it. And do you know the name of that                  14:30:00 13   yet only 35 samples for which we have the diffraction
14:27:44 14   software?                                                             14:30:08 14   verifications. Am I incorrect there?
14:27:45 15        A.     I do not.                                                 14:30:11 15             MR. CIRSCH: Object to form.
14:27:46 16        Q.     Is that on your computer?                                 14:30:13 16             THE WITNESS: Well, a number of positive
14:27:48 17        A.     It's on the TEM computers.                                14:30:15 17       samples there was no TEM because it was
14:27:52 18        Q.     Okay. The numbers that it generates for                   14:30:19 18       negative. The Lee Poye verification on his, he
14:27:57 19   d-spacing, is that fully disclosed here on this page?                 14:30:25 19       had six negatives where we found it positive by
14:28:03 20        A.     Yes.                                                      14:30:29 20       PLM. And then an extra sample. I'll have to
14:28:04 21        Q.     Okay.                                                     14:30:35 21       add it all up now. I believe you have
14:28:05 22        A.     Over here on the calculated spacing of                    14:30:38 22       everything if we went through and did the math.
14:28:07 23   5.23, and if you go to anthophyllite, the d-spacing                   14:30:40 23       Q.    (By Mr. Chachkes) Okay. You had
14:28:11 24   is in that range of 5.02 to 5.54 on the range, plus                   14:30:41 24   personally in your lab, MAS, 50 positives; right?
14:28:17 25   or minus 5 percent.                                                   14:30:46 25             MR. CIRSCH: Object to form.
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14:30:47  1        Q.    (By Mr. Chachkes) Let's strike that. All              1    14:33:08                    MR. CHACHKES: Well, I interpret "I
14:30:57  2   right.                                                 14:33:09  2                       understood" differently than you do.
14:30:57  3               So the top of your own supplemental report 14:33:11  3                       Q.       (By Mr. Chachkes) Was a diffraction --
14:31:00  4   reads that -- I'm going to read a sentence from your   14:33:12  4                  okay. Skip that.
14:31:05  5   report, This new information changed the total number  14:33:14  5                                Now, what are these ranges up here at the
14:31:07  6   of containers/samples analyzed from 71 to 72 and the   14:33:20  6                  top? I see like a table. What's that? The same
14:31:11  7   total positive samples from 49 to 50.                  14:33:25  7                  table appears to be reproduced in every single
14:31:14  8               That's accurate; right?                    14:33:27  8                  verification page; am I right?
14:31:15  9        A.     Yes.                                       14:33:28  9                       A.       Right. That gives you the amphibole
14:31:15 10        Q.     Okay. If there are 50 positives -- let's   14:33:30 10                  types, the page number it's on, card number for the
14:31:19 11   only talk about the positives. If there are 50         14:33:33 11                  mineral pallet diffraction file, and it gives the
14:31:21 12   positive, why only have verifications for 35?          14:33:37 12                  calculated spacings in the range.
14:31:24 13        A.     Well, off the top of my head, five of the  14:33:39 13                                So these d-spacings are all tied back to a
14:31:29 14   positives out of six is from Lee Poye's analysis. We   14:33:44 14                  standard that every lab should have for these
14:31:34 15   did not verify his negative samples. Those became      14:33:50 15                  particular type of regulated asbestos structures.
14:31:38 16   positive because of the Blount PLM and the ISO PLM.    14:33:53 16                       Q.       Okay. The page number refers to a page of
14:31:43 17   Also, the two samples in Lee Poye where we could not 14:33:57 17                    what, in the table?
14:31:47 18   verify the nine out of 11, they became positive by     14:33:59 18                       A.       Page of the Mineral Powder Diffraction
14:31:52 19   PLM. So now we're up to seven.                         14:34:02 19                  File Data for that particular mineral.
14:31:55 20        Q.     Of the 15 we're missing; right?            14:34:03 20                                So grunerite will be found on page 449.
14:31:58 21        A.     Not missing any.                           14:34:07 21                  It will be card number 31-631. And on that card
14:31:59 22        Q.     Okay.                                      14:34:11 22                  number it will give you the calculated d-spacings for
14:31:59 23        A.     Now there's a number of samples through    14:34:15 23                  that particular mineral.
14:32:02 24   here where the PLM and/or ISO was positive and the     14:34:16 24                       Q.       Okay. So it's a page within the Mineral
14:32:05 25   TEM was not. If the TEM is negative, there's no        14:34:21 25                  Powder Diffraction File, and then in that page is
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14:32:09  1   SAED. I think that will get you to your number.                       14:34:23  1   something called a card. I imagine that's like a
14:32:13  2        Q.    Got it.                                                    14:34:25  2   little box?
14:32:15  3              So if there was a positive under TEM in                    14:34:26  3        A.       Correct. And it will give you all the
14:32:19  4   the MAS laboratory, I've got the verification here in                 14:34:30  4   d-spacing information that's published here.
14:32:23  5   Exhibit 16?                                                           14:34:32  5        Q.       Okay. And the range, I see in the last
14:32:26  6        A.    You are supposed to.                                       14:34:37  6   column on the right, that's the margin of error?
14:32:31  7              MS. O'DELL: Let me just insert an                          14:34:41  7        A.       Correct.
14:32:31  8        objection. There were a number of I think six                    14:34:42  8        Q.       Now, if I'm reading this correctly, U4, on
14:32:33  9        files that were produced very similar to                         14:34:47  9   this first page of the verification, you calculated a
14:32:35 10        Exhibit 16, so they're not all contained in that                 14:34:50 10   spacing of 5.23; correct?
14:32:37 11        exhibit and --                                                   14:34:53 11        A.       Correct.
         12              MR. CHACHKES: And I agree --                               14:34:54 12        Q.       And that falls within every single
14:32:44 13              MS. O'DELL: The record shouldn't reflect                   14:34:57 13   amphibole types range in that chart?
14:32:45 14        that they are. There are five more documents                     14:35:01 14        A.       That's correct.
14:32:48 15        that are very similar to Exhibit 16 --                           14:35:01 15        Q.       How is it you identified this as
         16              MR. CHACHKES: Yeah.                                        14:35:08 16   anthophyllite when it falls within five different
14:32:51 17        Q.    (By Mr. Chachkes) And I apologize.                         14:35:13 17   d-spacing ranges?
14:32:51 18   Everything I said was correct, except you have to                     14:35:15 18        A.       Do I get to use the other data that's
14:32:54 19   take the six files that you gave me, put them                         14:35:17 19   generated, or is this one of those in a vacuum type
14:32:57 20   together, and we only have 35.                                        14:35:19 20   questions?
14:32:58 21        A.    I understood that.                                         14:35:20 21        Q.       Let's say in a vacuum. In a vacuum.
14:32:59 22              MR. CHACHKES: Okay. So as long as the                      14:35:22 22                 MR. CIRSCH: Object to form.
14:33:01 23        witness understood, I think we're good.                          14:35:23 23                 THE WITNESS: I wouldn't -- if I just had
14:33:03 24              MS. O'DELL: That's not true, but I'm glad                  14:35:25 24        the d-spacing without any information, I
14:33:06 25        we clarified.                                                    14:35:28 25        wouldn't make that call. I wouldn't say that it
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14:35:30  1        was anthophyllite. I would say it is consistent                   14:38:39  1   software?
14:35:32  2        with the typical amphibole d-spacing.                             14:38:39  2          A.    It's measured off the image that's been
14:35:34  3        Q.    (By Mr. Chachkes) Okay. What other                          14:38:43  3   calibrated.
14:35:36  4   amphibole in the Mineral Powder Diffraction File have                  14:38:43  4          Q.    Okay. It's measured off the image --
14:35:44  5   d-spacing ranges that span 5.23?                                       14:38:45  5          A.    Of the diffraction -- diffraction pattern
14:35:48  6        A.    Most of your amphibole minerals, both                       14:38:48  6   when you run the program, yes.
14:35:52  7   monoclinic and orthorhombic, will have d-spacings in                   14:38:48  7          Q.    Okay. So it's measured by the program,
14:35:56  8   this range.                                                            14:38:50  8   not somebody -- a human being with a ruler?
14:35:57  9        Q.    What about nonamphiboles, are there                         14:38:51  9          A.    Not anymore.
14:36:01 10   nonamphibole crystals that have d-spacings that the                    14:38:53 10          Q.    Okay. Used to be manual?
14:36:03 11   range covers 5.23?                                                     14:38:54 11          A.    Old days, yes.
14:36:05 12        A.    I don't believe so.                                                  12          Q.    Okay.
14:36:06 13        Q.    The --                                                      14:38:56 13          A.    When you actually took a negative and
14:36:31 14        A.    Are we done with this one?                                  14:38:58 14   every TEM lab had a dark room. And thank goodness
14:36:32 15        Q.    For now, yes.                                               14:39:03 15   those days are over.
14:36:34 16              Let's go to another exhibit. That's going                   14:39:04 16          Q.    Can you provide me a reference in the
14:36:37 17   to be -- let her mark it up.                                           14:39:07 17   scientific literature that permits the identification
         18        A.    Oh. Sorry.                                                  14:39:16 18   of an asbestos type strictly by an EDS -- sorry --
14:36:41 19              MR. CHACHKES: That's going to be 17.                        14:39:25 19   SAED pattern? Strike that. Let me ask that better.
14:36:43 20              (Defendants' Exhibit 17 was marked for                      14:39:28 20                Can you provide me a reference in the
14:36:59 21        identification.)                                                  14:39:29 21   published literature -- in the scientific literature
14:36:59 22        Q.    (By Mr. Chachkes) Is this the same sort                     14:39:31 22   that sanctions identifying an asbestos simply by a
14:37:02 23   of document as 16? Is this one of the --                               14:39:39 23   single axis SAED pattern?
14:37:04 24        A.    Yes.                                                        14:39:42 24          A.    I think we already talked about that. I'm
14:37:04 25        Q.    Okay. At the top, I see that for your                       14:39:44 25   not sure any scientific literature would say if
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14:37:23  1   SAED analysis you have an equation to determine                        14:39:47  1   you're only handed the information from one zone axis
14:37:27  2   spacing; do you see that?                                              14:39:51  2   diffraction pattern without the rest of the
14:37:28  3        A.    We have the camera constant divided by the                  14:39:55  3   information -- if you have a good zone axis and it
14:37:34  4   measured distance, yes.                                                14:40:01  4   matches, you may be able to do the calculation.
14:37:35  5        Q.    Okay. And in your -- your methodology                       14:40:06  5                So one zone axis -- you might be able to
14:37:43  6   determined the spacing by dividing the camera                          14:40:11  6   do that if you're looking at between two different
14:37:45  7   constant by the measured distance; is that correct?                    14:40:14  7   minerals, say, a monoclinic versus an orthorhombic.
14:37:48  8        A.    Correct.                                                    14:40:19  8                If you have no information whatsoever, I
14:37:49  9        Q.    And why does MAS use this formula?                          14:40:25  9   don't know. I don't know if you could do it with
14:37:52 10        A.    That's the standard formula. You can --                     14:40:27 10   just one. I'd have to see.
14:37:57 11   the pixels is part of the computer program where you                   14:40:28 11          Q.    Okay. The Mineral Powder Diffraction File
14:38:01 12   could -- in the old days you'd actually measure it.                    14:40:32 12   Data, is that a book I can go out in the library and
14:38:03 13        Q.    Can you provide a reference in the                          14:40:36 13   get?
14:38:05 14   scientific literature that reflects this equation?                     14:40:37 14                MR. CIRSCH: Object to form.
14:38:08 15        A.    CrystalMaker has it.                                        14:40:38 15                THE WITNESS: I imagine, if it's only an
14:38:12 16        Q.    CrystalMaker software; right?                               14:40:39 16          engineering library or a library at a
14:38:15 17        A.    Software. Yes, somewhere I can find it                      14:40:42 17          university. You can order it online.
14:38:17 18   from the old days the formula for this.                                14:40:44 18          Q.    (By Mr. Chachkes) Okay. It's generated
14:38:20 19        Q.    Okay. You didn't cite anything in your                      14:40:46 19   by somebody outside of MAS?
14:38:22 20   paper, correct, in your reports; correct?                              14:40:48 20          A.    No, this is not an MAS book. This is the
14:38:25 21        A.    No, because it's a standard method that                     14:40:54 21   Mineral Powder Diffraction File Data Book. There's
14:38:27 22   all TEM labs do that do this, so.                                      14:40:55 22   an international standard for these types of cards
14:38:30 23        Q.    The manual -- I'm sorry, the measured                       14:40:59 23   for the crystalline structure information.
14:38:34 24   distance than the denominator, that's manually                         14:41:01 24          Q.    Okay. What's the d-spacing for talc?
14:38:38 25   measured, or is that measured automatically by                         14:41:15 25          A.    I don't know.
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14:41:17  1       Q.    Is the d-spacing for talc within the                  1    14:43:39          you have the appropriate chemistry. In these
14:41:22  2   ranges we see here for -- in your chart for regulated 14:43:41  2                      cases they did zone axis for these particular
14:41:26  3   asbestos?                                             14:43:44  3                      samples, for these two samples, so zone axis for
14:41:26  4        A.    It's been a while since I've calculated    14:43:52  4                      1 and 2.
14:41:30  5   it, so I'd have to look that up.                      14:43:55  5                            So, you know, I don't know how many
14:41:33  6        Q.    Why do you only have amphiboles in your    14:43:58  6                      nonamphiboles are out there, but there's nothing
14:41:41  7   reference chart?                                      14:44:02  7                      that I'm aware of if you're looking at all the
14:41:46  8              MR. CIRSCH: Object to form.                14:44:04  8                      appropriate information and not looking at this
14:41:47  9              THE WITNESS: Because this is the 0-degree  14:44:07  9                      in a vacuum. None of this has ever -- you've
14:41:50 10        amphibole diffraction pattern table.             14:44:10 10                      got to understand, none of this is ever done in
14:41:53 11        Q.    (By Mr. Chachkes) So are you assuming      14:44:12 11                      a vacuum. It's coupled with the chemistry,
14:41:56 12   going into looking at the SAED pattern that you're    14:44:14 12                      coupled with the morphology, and also we have a
14:41:59 13   looking at an amphibole, or you're saying the         14:44:16 13                      pretty good idea of what kind of matrix it's in.
14:42:02 14   amphibole patterns that you're looking at could       14:44:20 14                      Q.    (By Mr. Chachkes) Okay.
14:42:04 15   only -- the patterns you're looking at could only be  14:44:21 15                      A.    It's cosmetic talc.
14:42:06 16   amphiboles?                                           14:44:22 16                      Q.    So, I'm sorry, the methods you use to
14:42:07 17        A.    There's no serpentine materials in here.   14:44:26 17                  identify asbestos are -- there's TEM, there's XRD,
14:42:12 18   We've never measured chrysotile -- ever detected      14:44:34 18                  and there's PLM. Are those the three, the big three?
14:42:15 19   chrysotile asbestos in any of the TEM analysis        14:44:38 19                      A.    Those are the -- really the only ones
14:42:17 20   because of the heavy liquid density separation.       14:44:41 20                  is -- yeah, XRD is used, but the big two are TEM and
14:42:21 21              And we don't go in blind or in a vacuum    14:44:47 21                  PLM.
14:42:24 22   when we do this. The chrysotile diffraction patterns  14:44:47 22                      Q.    Okay. So is there anything in the
14:42:29 23   are very unique; the morphology is very unique. So    14:44:52 23                  published scientific literature, peer-reviewed, that
14:42:33 24   when we have amphiboles, we have a different chart. 14:44:55 24                    says you can take an analysis under each of TEM, XRD,
14:42:36 25        Q.    And again -- strike that.                  14:45:00 25                  and PLM, none of which conclusively point to a
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14:42:44  1             I think I already asked this question, I                   14:45:04  1   regulated asbestos, but together you can determine
14:42:48  2   apologize if I'm asking it twice, but there are                      14:45:07  2   that it's a regulated asbestos?
14:42:51  3   nonamphiboles that have d-spacing within the ranges                  14:45:09  3             MR. CIRSCH: Object to form.
14:42:53  4   we see in this chart, that is, crystals that are                     14:45:10  4             THE WITNESS: Well, you're wrong about
14:43:00  5   nonamphiboles?                                                       14:45:18  5       this. XRD cannot point to anything. Can't tell
14:43:00  6       A.    Most amphiboles will have d-spacings in                    14:45:21  6       you if it's fibrous or not.
14:43:03  7   this range.                                                          14:45:24  7             Polarized light microscopy by itself can
14:43:04  8       Q.    My question is are there crystals that                     14:45:26  8       tell you if you have regulated asbestos.
14:43:08  9   aren't amphiboles and aren't serpentine that have                    14:45:29  9       Transmission electron microscopy itself can tell
14:43:11 10   d-spacings in this range?                                            14:45:31 10       you if it's regulated asbestos.
14:43:13 11             MR. CIRSCH: Object to form.                                14:45:34 11             Both techniques have their strengths and
14:43:14 12             THE WITNESS: Nonamphiboles, not that I'm                   14:45:38 12       their weaknesses. This type of analysis, in my
14:43:16 13       aware of.                                                        14:45:41 13       opinion, needs the suite of techniques: the PLM,
14:43:16 14       Q.     (By Mr. Chachkes) For example, are there                  14:45:48 14       the Blount PLM, and TEM.
14:43:17 15   any phyllosilicates that have d-spacing in these                     14:45:51 15             For Vermont and Italian talc, I don't
14:43:21 16   ranges?                                                              14:45:54 16       think XRD serves any useful purpose.
14:43:21 17       A.    I don't believe so.                                        14:45:56 17       Q.    (By Mr. Chachkes) Okay. Let's just ask
14:43:22 18       Q.    Okay. You're stating to within a degree                    14:45:58 18   the question again.
14:43:25 19   of scientific certainty there aren't any --                          14:46:00 19             Now, the assumption of the hypothetical is
14:43:28 20             MR. CIRSCH: Object --                                      14:46:02 20   that your TEM result independently does not
14:43:28 21             THE WITNESS: When I say I don't believe                    14:46:07 21   conclusively point to a regulated asbestos, that your
14:43:29 22       so, I don't think I hold that within a                           14:46:11 22   XRD independently, that is, independent of the other
14:43:32 23       reasonable degree of scientific certainty.                       14:46:14 23   analyses, does not conclusively point to a regulated
14:43:33 24             Again, I'm not looking at this in a                        14:46:17 24   asbestos, and that your PLM, similarly, independently
14:43:36 25       vacuum. If you have the amphibole d-spacing,                     14:46:20 25   does not point to a regulated asbestos.
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14:46:22  1                  Can those three together conclusively                      14:48:19  1               If I had a single crystal, I had a TEM
14:46:28  2   point to a regulated asbestos --                                          14:48:21  2   analysis that in a vacuum could point to many things,
14:46:31  3                  MR. CIRSCH: Object to form.                                14:48:25  3   not just asbestos, an XRD that could point to many
14:46:32  4           Q.     (By Mr. Chachkes) -- each one making up                    14:48:29  4   things, not just asbestos, and in a vacuum PLM that
14:46:33  5   for the other's defects, in a way?                                        14:48:32  5   could point to many things, not just asbestos, is
14:46:36  6                  MR. CIRSCH: Object to form.                                14:48:35  6   there any published peer-reviewed literature that I
14:46:36  7                  THE WITNESS: Well, there's no defects                      14:48:38  7   can look at that says that's a situation where you
14:46:38  8           like you state. I can't answer a question where                   14:48:41  8   can combine the three and say that indeed is
14:46:40  9           you're saying if all three are negative or                        14:48:43  9   asbestos?
14:46:42 10           nondetects, because it's either nondetect or you                  14:48:44 10               MR. CIRSCH: Object to form.
14:46:45 11           have identified the regulated asbestos.                           14:48:45 11               THE WITNESS: I can't answer a
14:46:47 12                  So if you're telling me I have three                       14:48:46 12        hypothetical that would never happen in a
14:46:49 13           nondetects, then, no, I can't point to any                        14:48:49 13        working real lab that does this analysis. You
14:46:52 14           regulated asbestos in three nondetects.                           14:48:51 14        wouldn't sit there and go, I've run these three
14:46:54 15           Q.     (By Mr. Chachkes) Okay.                                    14:48:53 15        and I have no clue what it is, now I'm going to
14:46:55 16           A.     Before you start, we've been going over an                 14:48:57 16        combine it all together and say, gee, that's
14:46:57 17   hour. Can we go off the record?                                           14:48:58 17        going to tell me.
14:46:59 18           Q.     Can I maybe ask a couple more questions on                 14:48:59 18               I can't answer that hypothetical.
14:47:01 19   the same line, and I'll finish it up, if that's okay?                     14:49:03 19        Somebody else will have to wade through that
14:47:03 20           A.     If you insist.                                             14:49:05 20        one.
14:47:04 21           Q.     I don't do this that often but --                          14:49:06 21               MR. CHACHKES: Okay. Let's take a break.
14:47:06 22           A.     That's fine.                                               14:49:08 22               THE WITNESS: Thank you.
14:47:07 23           Q.     It's fascinating science.                                  14:49:08 23               (Recess from 2:49 p.m. to 3:07 p.m.)
14:47:09 24                  Okay. So we agreed that the single zone                    15:07:57 24        Q.     (By Mr. Chachkes) So Dr. Longo, in your
14:47:16 25   axis SAED pattern in a vacuum didn't point to                             15:09:18 25   diffraction verification documents, sometimes the
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14:47:18  1   asbestos, right, even though you're saying it's                           15:09:25  1   bottom -- that's not a good example.
14:47:20  2   asbestos; right?                                                          15:09:30  2               Let's look at Exhibit 16, and let's look
14:47:22  3                  MR. CIRSCH: Object to form.                                15:09:38  3   at the first verification page. Sometimes in the
14:47:23  4                  THE WITNESS: I don't think we agreed to                    15:09:41  4   lower left, as we discussed, the zone axis
14:47:24  5           that. It depends on the zone that you get. If                     15:09:44  5   information is just not -- there's nothing filled in
14:47:28  6           you were to sit down and just look at that by                     15:09:47  6   there; right?
14:47:32  7           itself, a 302, you could probably eliminate a                     15:09:47  7        A.     Correct.
14:47:36  8           lot.                                                              15:09:47  8        Q.     If it's blank, does that mean that this
14:47:37  9                  But based with all the other information,                  15:09:54  9   particular image was not taken at a zone axis?
14:47:39 10           if the zone axis -- if you're getting a zone                      15:09:57 10        A.     That is correct.
14:47:42 11           axis, that means you have something that you got                  15:09:58 11        Q.     Does MAS maintain nonasbestiform reference
14:47:44 12           a zone axis off of.                                               15:10:06 12   samples for tremolite?
         13           Q.     (By Mr. Chachkes) Right.                                   15:10:08 13        A.     Well, yes and no. Most -- tremolite
14:47:45 14           A.     But you're asking this hypothetical in a                   15:10:15 14   standard has both. If you go to the one I brought --
14:47:47 15   vacuum. That's not what we do. I can't -- I've not                        15:10:26 15   and when we say nonasbestiform, we're saying it's not
14:47:52 16   sat down and tried since graduate school where they                       15:10:31 16   meeting the 5-to-1 aspect ratio. That's less. It
14:47:54 17   give you a mineral and just give you XRD pattern and                               17   certainly still could be asbestiform since it's
14:47:57 18   say go identify it. It's not something that we would                      15:10:36 18   fibrous, but those we do not count in our analysis
14:48:01 19   ever do for any of these analyses without the                             15:10:39 19   using the TEM protocols, which are the standard
14:48:03 20   morphology and without the chemistry.                                     15:10:46 20   methods for scientists to identify asbestos. And you
14:48:07 21           Q.     Okay. Last question. I'll ask it one                       15:10:50 21   can understand, these protocols are all heavily
14:48:11 22   more time because I don't think I've gotten the                           15:10:54 22   vetted and peer-reviewed.
14:48:13 23   answer. If you want to give the same answer, it's                         15:10:55 23               For example, my ASTM D5755 method took six
14:48:16 24   fine, but I'm giving you the opportunity to answer                        15:11:03 24   years to get it through the 125 scientists. And all
14:48:18 25   this.                                                                     15:11:07 25   these methods have been published in the
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15:11:10  1   peer-reviewed literature since any time anybody                        15:13:22  1        A.     I can't tell you right now. I mean,
15:11:14  2   publishes anything on the measurement of asbestos,                     15:13:24  2   sometimes I anticipate cross-exam -- you know,
15:11:16  3   they will reference one of these protocols.                            15:13:28  3   discovery depositions, but I'm not aware of any that
15:11:19  4        Q.    Do you remember what my original question                   15:13:32  4   somebody states this is all, quote, nonasbestiform or
15:11:22  5   was? So the question was do you have -- so let's                       15:13:35  5   all cleavage fragments.
15:11:24  6   make it easier.                                                                  6        Q.     Okay.
15:11:25  7              Do you have a bottle of nonasbestiform                      15:13:38  7        A.     What I see -- and I'll have to dig it
15:11:27  8   tremolite at MAS?                                                      15:13:40  8   up -- is that if you have one, you have the other.
15:11:29  9              MR. CIRSCH: Object to form.                                 15:13:42  9        Q.     And you don't cite any such literature in
15:11:30 10              THE WITNESS: I'm not sure a bottle of                       15:13:45 10   your expert report, do you?
15:11:32 11        nonasbestiform tremolite actually exists. You                     15:13:47 11        A.     No, sir, I'm not making the claim that --
15:11:34 12        typically find both. Somebody may call it                         15:13:52 12   what I'm doing in my expert report is saying here's
15:11:37 13        nonasbestiform; but when you go look through it,                  15:13:55 13   what we measured using the standard TEM, well-vetted
15:11:40 14        or they say it's asbestos, you'll find                            15:14:00 14   protocols for the identification of regulated
15:11:42 15        structures that are less than the 5-to-1 aspect                   15:14:02 15   asbestos.
15:11:47 16        ratio. We don't count those.                                      15:14:02 16        Q.     Do you remember the question was about
15:11:49 17        Q.    (By Mr. Chachkes) Do you have a bottle at                   15:14:03 17   whether --
15:11:52 18   MAS of nonasbestos -- of tremolite where, on average,                  15:14:04 18               MR. CIRSCH: I don't know if he finished
15:11:56 19   its aspect ratio is below 5-to-1?                                      15:14:05 19        the answer yet.
15:11:59 20              MR. CIRSCH: Object to form.                                 15:14:06 20        Q.      (By Mr. Chachkes) Yeah. Do you remember
15:12:00 21              THE WITNESS: I'm not sure any such thing                    15:14:08 21   the question?
15:12:02 22        exists. We don't have what doesn't exist.                                  22               MR. CIRSCH: I --
15:12:05 23        Q.    (By Mr. Chachkes) Okay. Do you have a                                23               THE WITNESS: I remember --
15:12:06 24   bottle in your office of anthophyllite where the                       15:14:12 24               THE REPORTER: One at a time.
15:12:11 25   aspect ratio of the anthophyllite is all underneath                    15:14:12 25               THE WITNESS: I remember the question, but
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15:12:14  1   5-to-1?                                                                15:14:14  1        the answer is it's not something that I was
15:12:15  2              MR. CIRSCH: Object to form.                                 15:14:16  2        relying on for my identification of regulated
15:12:16  3              THE WITNESS: No. You have them that have                    15:14:18  3        asbestos. I'm relying on the peer-reviewed
15:12:19  4        a range of aspect ratios, less than 5-to-1,                       15:14:22  4        publications for the standard TEM methods and
15:12:23  5        greater than 5-to-1. The average is typically                     15:14:26  5        standard PLM methods.
15:12:25  6        above 5-to-1.                                                     15:14:27  6        Q.     (By Mr. Chachkes) Do you have a standard
15:12:26  7        Q.    (By Mr. Chachkes) Okay. So you don't                        15:14:28  7   in your lab of an SAED readout for an amphibole with
15:12:27  8   have a bottle in your office of an amphibole that has                  15:14:35  8   ratios of less than 5-to-1 aspect ratios?
15:12:37  9   aspect ratios averaging under 5-to-1?                                  15:14:39  9               MR. CIRSCH: Object to form.
15:12:41 10              MR. CIRSCH: Object to form.                                 15:14:46 10        Q.      (By Mr. Chachkes) So I'm not asking
15:12:42 11              THE WITNESS: No. All the bottles with                       15:14:47 11   whether you have incidentally such a thing but a
15:12:44 12        standards we have are actual asbestos, but they                   15:14:49 12   standard that you use to compare against?
15:12:46 13        do have a portion that are below 5-to-1.                          15:14:52 13        A.     Well, no, there's nothing to compare. The
15:12:48 14        Q.    (By Mr. Chachkes) And that's because it's                   15:14:56 14   less than 5-to-1 aspect ratio versus greater than
15:12:50 15   a big bell curve and some of that bell curve is over                   15:14:59 15   5-to-1 aspect ratio will have the identical
15:12:53 16   on the less than 5-to-1 and some of it is on the                       15:15:02 16   d-spacings and identical diffraction patterns.
15:12:55 17   right?                                                                 15:15:05 17   There's no difference in a, quote, less than 5-to-1
15:12:55 18        A.    That's correct. The NIST standard for                       15:15:08 18   and greater than 5-to-1. You just will have the
15:12:58 19   tremolite, I think the average -- even with the less                   15:15:12 19   exact same type of patterns for d-spacing, and if you
15:13:00 20   than 5-to-1, greater than 5-to-1, is around 10.                        15:15:14 20   were to do a zone axis, you'll have the same zone
15:13:04 21        Q.    Is your opinion that there's literature                     15:15:18 21   axis.
15:13:13 22   supporting your position that you always find both                     15:15:18 22        Q.     Okay. So it's your opinion that for SAED,
15:13:16 23   asbestiform and nonasbestiform amphiboles together?                    15:15:20 23   a single nonasbestiform tremolite crystal and a
15:13:19 24        A.    I believe so.                                               15:15:24 24   single asbestiform tremolite crystal will have the
15:13:20 25        Q.    Can you tell me --                                          15:15:28 25   same SAED patterns?
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15:15:31  1               MR. CIRSCH: Object to form.                               15:17:43  1   do d-spacings following the peer-reviewed published
15:15:32  2               THE WITNESS: Yes.                                         15:17:46  2   protocols.
15:15:32  3        Q.     (By Mr. Chachkes) Okay. Is the same true                  15:17:47  3        Q.    Okay. Do you have any opinion on whether
15:15:33  4   for EDXA?                                                             15:17:50  4   a tremolite with parallel fibers and a tremolite that
15:15:34  5        A.     It is.                                                    15:17:53  5   does not have parallel fibers would indeed have
15:15:34  6        Q.     Is the same true that the PLM will look                   15:17:56  6   identical d-spacings on all three axes for SAED?
15:15:38  7   the same for an asbestiform fragment and a                            15:18:03  7        A.    We haven't done three-axis SAEDs for
15:15:41  8   nonasbestiform fragment of tremolite?                                 15:18:08  8   something that is not counted as a regulated asbestos
15:15:44  9        A.     Well, let's be clear. I'm not calling it                  15:18:11  9   fiber. Single individual fibers will have the same
15:15:47 10   asbestiform and nonasbestiform. I'm calling it --                     15:18:16 10   d-spacing range, will have the same selected area
15:15:49 11   for the 22262-1, it's materials that are less than                    15:18:20 11   electron diffraction zone axis if you go to the
15:15:54 12   3-to-1 aspect ratio. They'll have the same                            15:18:23 12   particular orientation.
15:16:00 13   refractive indices, same information.                                 15:18:25 13        Q.    So I'm going to ask again because my
15:16:03 14               There's no difference in the crystalline                  15:18:29 14   question's only about -- it's not about what you've
15:16:04 15   structure between what's less than 5-to-1 or less                     15:18:30 15   done, it's about what something looks like.
15:16:08 16   than whatever the aspect ratio is for a particular                    15:18:37 16              Does the SAED for tremolite that has
15:16:11 17   method that you're using. There's no difference.                      15:18:39 17   parallel fibers look exactly the same on three axes
15:16:14 18               That's how you either count greater than                  15:18:44 18   as a tremolite that does not have parallel fibers?
15:16:17 19   or equal to 5-to-1 aspect ratio for TEM. Or in the                    15:18:48 19              MR. CIRSCH: Object to form.
15:16:22 20   PLM we're looking at bundles that typically are -- I                  15:18:49 20        Q.    (By Mr. Chachkes) Putting aside whether
15:16:26 21   think all of them were -- the individual fibers and                   15:18:51 21   you've done it or not, as a matter of science, are
15:16:28 22   the bundles were greater than 20-to-1.                                15:18:54 22   they the same? You can say you don't know, but I
15:16:31 23               Where we draw the line is in the method                   15:18:56 23   need that question answered.
15:16:34 24   when it says anything less than 3-to-1 is not                         15:18:57 24              MR. CIRSCH: Object to form.
15:16:36 25   counted. And that's what we do. We call them                          15:18:58 25              THE WITNESS: It should be the same. But
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                                                                  174                                                                                 176
15:16:38  1   cleavage fragments.                                                   15:18:59  1        it's not something that we do, because it's not
15:16:39  2        Q.     Have you ever heard anyone distinguishing                 15:19:01  2        part of the peer-reviewed published standard
15:16:41  3   asbestiform and nonasbestiform tremolite by virtue of                 15:19:04  3        protocols. When it is -- when it is not
15:16:44  4   whether it has parallel fibers?                                       15:19:10  4        parallel sides or it doesn't meet the 5-to-1
15:16:48  5               MR. CIRSCH: Object to form.                               15:19:12  5        aspect ratio, it is not recorded.
15:16:49  6               THE WITNESS: Yes. If it is a bundle, by                   15:19:15  6        Q.    (By Mr. Chachkes) Do you know of any
15:16:52  7        definition, it is asbestiform. Both Ann Wylie                    15:19:17  7   published literature that confirms that they should
15:16:56  8        and both the 22262-1 and the R-93 as well as --                  15:19:20  8   be the same?
15:17:02  9        and TEM's different. You take the overall                        15:19:21  9        A.    It's not -- I believe so, yes.
15:17:05 10        aspect ratio of a bundle width to length.                        15:19:35 10        Q.    What?
15:17:09 11        That's how we distinguish between a regulated                    15:19:35 11        A.    Again, it has to do with surface charts.
15:17:13 12        asbestos fiber and not. But even in TEM, if it                   15:19:41 12   I don't recall the citation.
15:17:15 13        is a bundle, hence it is asbestiform.                            15:19:42 13        Q.    Okay. Sitting here today you can't give
15:17:17 14        Q.     (By Mr. Chachkes) Okay. Would the SAED                    15:19:44 14   me a citation for that?
15:17:19 15   pattern for tremolite with parallel fibers and                        15:19:45 15        A.    No, sir, I did not anticipate that we were
15:17:22 16   tremolite that does not exhibit parallel fibers be                    15:19:48 16   going to be debating non -- debating asbestos
15:17:26 17   the same?                                                             15:19:54 17   minerals that we don't count or don't put into our
15:17:27 18        A.     Yes.                                                      15:19:58 18   report.
15:17:28 19        Q.     Okay. Same --                                             15:19:58 19        Q.    Okay. What about under PLM, does a
15:17:29 20        A.     For the right orientation, same                           15:20:03 20   tremolite that has parallel fibers look the same
15:17:31 21   orientation, yeah. Yes.                                               15:20:07 21   under PLM as a tremolite that does not have parallel
15:17:32 22        Q.     What about on all three orientations?                     15:20:11 22   fibers?
15:17:35 23        A.     I haven't done it on all three                            15:20:11 23        A.    No.
15:17:37 24   orientations because we don't count those if it has                   15:20:12 24        Q.    What about TEM when you're looking at just
15:17:40 25   less than the counting aspects, and we typically only                 15:20:15 25   morphology, do the two look the same?
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15:20:18  1        A.    If it's not parallel, it's not going to                     15:23:11  1        Q.    (By Mr. Chachkes) Let me just ask you the
15:20:20  2   look the same. If it's PLM and you can't see the                       15:23:15  2   straight question. Did your November report confirm
15:20:22  3   individual fibers in the bundles, it's not going to                    15:23:17  3   that SAED patterns confirmed regulated asbestos in
15:20:25  4   look the same.                                                         15:23:21  4   J&J bottles of talc?
15:20:25  5        Q.    Okay. Do you have a standard reference                      15:23:25  5              MR. CIRSCH: Object to form.
15:20:28  6   standard for PLM for tremolite that does not have                      15:23:25  6              THE WITNESS: I'd have to see the context
15:20:35  7   parallel fibers?                                                       15:23:27  7        because it has to be all the information that's
15:20:36  8        A.    And again, I guess we're going back to a                    15:23:30  8        done. Regulated asbestos goes with the counting
15:20:39  9   bottle of cleavage fragments. No. But we do                            15:23:34  9        rules, that's the first -- counting rules on the
15:20:42 10   routinely see tremolite/actinolite cleavage fragments                  15:23:36 10        structure, parallel sides, the diffraction
15:20:48 11   that are less than 3-to-1 aspect ratio that is                         15:23:40 11        pattern, and the chemistry. That's how the
15:20:51 12   recorded in -- and they have the same properties that                  15:23:43 12        protocol says to do this. Not just an SAED by
15:20:55 13   give us the refractive indices and identification.                     15:23:48 13        itself, not an EDS by itself, and not the
15:20:57 14   Otherwise, you wouldn't be able to identify it.                        15:23:52 14        morphology by itself. You have to use all three
15:20:59 15        Q.    Do you have a standard TEM photograph                       15:23:55 15        for TEM analysis. That's how the protocol goes.
15:21:03 16   showing morphology that is for tremolite that does                     15:24:03 16              MR. CHACHKES: Okay. Let me ask you in
15:21:08 17   not exhibit parallel fibers?                                           15:24:04 17        this way. Let's mark this next exhibit.
15:21:12 18        A.    I don't know if we have recorded typical                             18              (Defendants' Exhibit 18 was marked for
15:21:17 19   nonparallel sides on a TEM structure that has the                      15:24:23 19        identification.)
15:21:22 20   same chemistry, but we do not record any of our                        15:24:23 20        Q.    (By Mr. Chachkes) So can you confirm that
15:21:26 21   analyses as per the peer-reviewed published                            15:24:25 21   Exhibit 18 is one of your SAEDs?
15:21:30 22   protocols.                                                             15:24:29 22              MR. CIRSCH: On the back of here I see
15:21:31 23        Q.    Okay. Would your answers be the same for                    15:24:30 23        some -- okay.
15:21:36 24   anthophyllite?                                                                  24              MS. TROVATO: On the back -- sorry.
15:21:36 25        A.    It would be the same.                                                25              MR. CHACHKES: Here. Take mine.
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                                                                   178                                                                                 180
15:21:38  1        Q.    Okay. For all those questions whether you                             1              MR. CIRSCH: I wanted to make sure that
15:21:40  2   keep the separate standard?                                            15:24:32  2        you --
15:21:42  3              MS. O'DELL: Object to the form.                             15:24:38  3        Q.    (By Mr. Chachkes) So can you confirm
15:21:44  4              THE WITNESS: If -- we don't keep a                          15:24:41  4   Exhibit 18 is of your SAED patterns?
15:21:45  5        separate standard because we do not record                        15:24:46  5              MS. O'DELL: Would you direct us? Is
15:21:49  6        amphibole structures that have the same                           15:24:47  6        there a specific page in his November report
15:21:51  7        chemistry, same diffraction pattern types, that                   15:24:48  7        that you're referring to?
15:21:55  8        are not part of the counting protocols for these                  15:24:50  8              THE WITNESS: I see it right here. It's
15:21:58  9        peer-reviewed protocols for the analysis.                         15:24:51  9        the M68233-001-001, which matches the M number
15:22:01 10        Q.    (By Mr. Chachkes) Taking you back to your                   15:25:00 10        and fiber number. It says that we -- date of
15:22:05 11   November reports, your November 14 reports, it's my                    15:25:04 11        photo was 2/14/2018. So that is one of our
15:22:09 12   understanding that in it you confirmed that -- that                    15:25:09 12        diffraction patterns.
15:22:28 13   in it you confirm that the SAED confirmed regulated                    15:25:10 13        Q.    (By Mr. Chachkes) Okay. Does this
15:22:33 14   asbestos; is that correct?                                             15:25:14 14   confirm that there is anthophyllite in J&J talc,
15:22:35 15              MR. CIRSCH: Object to form.                                 15:25:21 15   Exhibit 18 alone?
15:22:36 16              THE WITNESS: We confirmed that the -- I                     15:25:23 16        A.    You keep saying alone, and you keep saying
15:22:42 17        don't believe we said it like that. What we                       15:25:26 17   in a vacuum. That's not how it's done. The
15:22:44 18        confirmed is following the peer-reviewed                          15:25:30 18   methodology doesn't say take the SAED alone. We have
15:22:48 19        published protocols, either for TEM or polarized                  15:25:34 19   the chemistry that goes with it and the morphology.
15:22:53 20        light microscopy using the methodology that                       15:25:36 20   There's a reason it takes you through those steps.
15:22:56 21        takes you through the steps to determine if it's                  15:25:39 21        Q.    Okay. So the question is does Exhibit 18
15:22:59 22        regulated asbestos, primarily the counting rule,                  15:25:45 22   alone confirm anthophyllite?
15:23:02 23        the chemistry, and the crystalline structure.                     15:25:49 23              MR. CIRSCH: Object.
15:23:05 24        That's why they have all three. None of this is                            24        Q.    (By Mr. Chachkes) It's just yes or no.
15:23:08 25        done in a vacuum. That's what we did.                             15:25:50 25              MR. CIRSCH: It's not yes or no.
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15:25:51  1               THE WITNESS: It's not yes or no. It's --              15:27:44  1             MR. CIRSCH: Object to form.
15:25:54  2       again, my answer is you do not look at these                  15:27:45  2             THE WITNESS: That's correct. Well, we
15:25:57  3       patterns alone. You're using a peer-reviewed                  15:27:46  3       had taken the data, and the photograph was
15:26:01  4       published protocol that walks you through                     15:27:50  4       taken. You know, when the verification came
15:26:04  5       morphology, EDXA, and a diffraction pattern.                  15:27:52  5       through, it may have been done later.
15:26:09  6       That's how the protocol goes.                                 15:27:54  6       Q.    (By Mr. Chachkes) Yeah, and I might have
15:26:11  7               It's not my protocol. These are the                   15:27:56  7   misspoke.
15:26:13  8       protocols for the ISO methods, for the AHERA                  15:27:56  8             So what I'm saying is that for some of the
15:26:16  9       methods, the ASTM -- TEM methods. There is a                  15:27:58  9   samples in the November report, you had not run the
15:26:19 10       reason you do all of them.                                    15:28:01 10   d-spacing for the SAED; is that correct?
15:26:21 11       Q.      (By Mr. Chachkes) Right. So it's my                   15:28:04 11       A.    That's possible.
15:26:23 12   understanding that this is an answerable question.                15:28:05 12       Q.    Okay. Is the d-spacing important to
15:26:25 13   If you say it's completely unanswerable, tell me.                 15:28:08 13   determining whether SAED is pointing towards a
15:26:30 14   And I understand you don't like it when I've asked                15:28:11 14   regulated asbestos?
15:26:32 15   you about something in a vacuum, but the question                 15:28:13 15             MR. CIRSCH: Object to form.
15:26:34 16   stands. In a vacuum, Exhibit 18, is that a uniquely               15:28:14 16             THE WITNESS: It's all important. If you
15:26:37 17   anthophyllite pattern?                                            15:28:16 17       do this long enough, you can look at it and say
15:26:37 18               MR. CIRSCH: Object to form. That's been               15:28:18 18       that's an amphibole diffraction pattern. But
15:26:39 19       asked and answered.                                           15:28:20 19       the verification just solidifies it.
15:26:40 20               THE WITNESS: And my answer stands.                    15:28:23 20       Q.    (By Mr. Chachkes) Okay. Why did you run
15:26:41 21       Q.      (By Mr. Chachkes) Okay. And that                      15:28:30 21   verifications after your first report and as late as
15:26:43 22   answer's what? If you're not going to answer, just                15:28:36 22   January for SAED verifications?
15:26:48 23   tell me.                                                          15:28:41 23             MR. CIRSCH: Object to form.
15:26:48 24               MS. O'DELL: He's already answered.                    15:28:42 24             THE WITNESS: Because they've all been
15:26:48 25               MR. CIRSCH: He's already answered the                 15:28:44 25       taken, just getting to them. Certainly if it
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15:26:51  1       question.                                                     15:28:46  1       didn't verify it, then we'd have something else
15:26:51  2               THE WITNESS: My answer stands. The                    15:28:49  2       to talk about today.
15:26:53  3       previous answer.                                              15:28:50  3       Q.    (By Mr. Chachkes) How many particles did
15:26:53  4       Q.      (By Mr. Chachkes) Okay. Now, I'm looking              15:29:02  4   your analyst conduct zone axis determinations on?
15:26:54  5   at Exhibit 17, which I believe corresponds to this;               15:29:05  5             MR. CIRSCH: Object to form.
          6   right?                                                            15:29:06  6             THE WITNESS: How many fibrous structures?
15:26:58  7       A.      Yes.                                                  15:29:08  7       Q.    (By Mr. Chachkes) Yes.
15:26:59  8       Q.      Okay. Page 1 of the -- the first                      15:29:09  8       A.    I haven't counted them up.
15:27:03  9   verification, it shows date verified as 2/14. Do you              15:29:10  9       Q.    Could it be about a dozen?
15:27:07 10   see that?                                                         15:29:12 10             MR. CIRSCH: Object to form.
15:27:07 11       A.      Correct.                                              15:29:13 11             THE WITNESS: Again, I haven't counted
15:27:08 12       Q.      That means on the same day of the photo               15:29:14 12       them up.
15:27:12 13   you actually put this picture into the software to                15:29:15 13       Q.    (By Mr. Chachkes) Okay. And earlier we
15:27:14 14   determine the d-spacing; correct?                                 15:29:18 14   talked about how it's difficult to distinguish talc
15:27:16 15       A.      That's correct.                                       15:29:24 15   and anthophyllite with EDXA; right?
15:27:17 16       Q.      Okay. For many of the SAED patterns that              15:29:30 16             MR. CIRSCH: Object to form.
15:27:21 17   have been produced in this case, the verification                 15:29:31 17             THE WITNESS: I didn't say it was
15:27:24 18   came after your November report; correct?                         15:29:32 18       difficult. What I said was you would not
15:27:27 19       A.      That's correct.                                       15:29:35 19       identify it by just EDXA. You would use the
15:27:27 20       Q.      Some of them came after -- came as late as            15:29:38 20       procedures in place, all the procedures, to make
15:27:33 21   January; right?                                                   15:29:41 21       that determination if you have fibrous talc
15:27:33 22       A.      That may be possible.                                 15:29:44 22       versus anthophyllite.
15:27:34 23       Q.      Okay. So you were using, for the purposes             15:29:44 23       Q.    (By Mr. Chachkes) And when you say all
15:27:36 24   of at least the November report, some of the EDSA                 15:29:45 24   the procedures, you mean procedures above and beyond
15:27:41 25   patterns you had not run d-spacing on?                            15:29:47 25   EDXA?
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15:29:48  1       A.    Procedures that are stated in the                       15:32:25  1   it's JBP-084.
15:29:52  2   peer-reviewed protocols that we use.                              15:32:31  2       Q.    Earlier we talked about how cummingtonite
15:29:54  3       Q.    That are above and beyond EDXA?                         15:32:39  3   and anthophyllite have the same chemistry; do you
15:29:57  4             MR. CIRSCH: Object to form.                             15:32:42  4   remember that?
15:29:59  5             THE WITNESS: Well, they're all above and                15:32:42  5       A.    Yes.
15:30:02  6       beyond EDXA. None of this is done in a vacuum.                15:32:42  6       Q.    One way to tell them apart is to determine
15:30:05  7       No analyst is just looking at the EDXA and not                15:32:45  7   the crystal system of the particle?
15:30:06  8       following the protocols as published in the                   15:32:47  8       A.    Correct. You could go in and do zone axis
15:30:07  9       peer-reviewed literature for making these                     15:32:50  9   and get a monoclinic versus the orthorhombic.
15:30:09 10       determinations.                                               15:32:53 10       Q.    Okay. So anthophyllite is orthorhombic,
15:30:10 11       Q.    (By Mr. Chachkes) You were saying that a                15:32:56 11   and cummingtonite is monoclinic?
15:30:11 12   way to tell the difference between talc and                       15:32:59 12       A.    That is correct.
15:30:15 13   anthophyllite in SAED is to tilt the goniometer --                15:32:59 13       Q.    Okay. Did you do the analysis to
15:30:27 14       A.    Goniometer.                                             15:33:03 14   determine whether what you were looking at and
15:30:28 15       Q.    -- goniometer; is that right?                           15:33:07 15   thought might be anthophyllite to see whether it was
15:30:30 16       A.    That's correct.                                         15:33:10 16   monoclinic and thus cummingtonite?
15:30:31 17       Q.    Okay. In every instance -- are there                    15:33:12 17       A.    No, we don't do that. We just call it the
15:30:41 18   instances where you looked at a particle for a J&J                15:33:15 18   anthophyllite solid solution series since both
15:30:47 19   sample in the MDL and tilted the gon --                           15:33:18 19   anthophyllite, cummingtonite, and grunerite are
15:30:56 20       A.    Goniometer.                                             15:33:22 20   regulated asbestos.
15:30:56 21       Q.    -- goniometer and determined, oh, well,                          21       Q.    Okay.
15:30:58 22   that's talc?                                                      15:33:23 22       A.    There's no -- unless you want to do that
15:30:59 23       A.    That's certainly possible.                              15:33:26 23   for some reason, there's no need to go any further.
15:31:06 24       Q.    Okay. Is it that you don't know because                 15:33:28 24       Q.    Okay. So everything in your expert report
15:31:09 25   your analyst would have done it and not reported that             15:33:31 25   that you identify as anthophyllite could very well be
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15:31:11  1   to you?                                                           15:33:36  1   cummingtonite, but your position it doesn't matter?
15:31:12  2             MR. CIRSCH: Object to form.                             15:33:39  2             MR. CIRSCH: Object to form.
15:31:12  3             THE WITNESS: Well, we were only taking a                15:33:40  3             THE WITNESS: Well, everything could be
15:31:14  4       random talc verification of some of these for                 15:33:42  4       anthophyllite and it still doesn't matter. You
15:31:17  5       one fiber, it's at the end of the -- each of the              15:33:45  5       know, if you use the analogy, well, I found the
15:31:21  6       analyses where there was fibrous talc present in              15:33:48  6       weed and it's a particular weed that is a
15:31:24  7       the TEM, there is an SAED, EDS, and a picture                 15:33:50  7       problem and we need to get rid of it, now I want
15:31:30  8       showing the morphology.                                       15:33:53  8       to go look and see what color roots it has
15:31:31  9             These particular ones are not talc. These               15:33:55  9       because the weed itself all looks the same.
15:31:36 10       are zone axis. This happens to be the                         15:33:58 10             This particular one, these zone axes are
15:31:41 11       historical 1978 that was produced through                     15:34:00 11       anthophyllite for, I believe, in these two --
15:31:47 12       Lanier, and these zone axis orientations are not              15:34:05 12       this was the one that Dr. Sanchez says was
15:31:52 13       what the so-called look-alike zone axis for the               15:34:08 13       cummingtonite, and so we went back and did zone
15:31:57 14       talc fiber.                                                   15:34:11 14       axis just some time ago. And actually, these
15:31:59 15       Q.    (By Mr. Chachkes) I'm sorry, you're                     15:34:14 15       two structures are in fact anthophyllite.
15:32:00 16   saying that what's in Exhibit 17 are non-MDL samples?             15:34:17 16       Q.    (By Mr. Chachkes) You mean you do zone
15:32:06 17       A.    No, it is an MDL sample. I said it is an                15:34:19 17   axis to determine whether it was orthorhombic or
15:32:08 18   MDL sample.                                                       15:34:22 18   monoclinic?
15:32:09 19       Q.    Oh, okay. When you said produced through                15:34:23 19       A.    Well, we did zone axis to make sure that
15:32:11 20   Lanier, I didn't understand what you meant there.                 15:34:25 20   it was orthorhombic and had the reflections, that it
15:32:14 21       A.    Well, it went to Lanier and went to us.                 15:34:28 21   had the crystalline orientation specific for
         22       Q.    Okay.                                                   15:34:30 22   orthorhombic anthophyllite.
15:32:18 23       A.    The 1978 --                                             15:34:32 23       Q.    Did you produce the material that shows
15:32:21 24       Q.    Got it.                                                 15:34:33 24   that sample to be orthorhombic?
15:32:25 25       A.    -- two samples for one container. I think               15:34:36 25       A.    Number 17.
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15:34:37  1       Q.    That's number 17? Okay.                                    15:36:43  1        Q.    That's okay. That's fine. We'll just
15:34:40  2       A.    The first one, especially. I know for the                  15:36:44  2   leave it as is.
15:34:42  3   301.                                                                 15:36:45  3        A.    I belive it's -- let me just make sure
15:34:44  4       Q.    And for the other -- it's fair to say that                 15:36:46  4   it's in here.
15:34:50  5   most of the particles in this case that you've                       15:36:55  5              It's reference 23, Manual of Mineralogy,
15:34:52  6   identified as anthophyllite could very well be                       15:36:58  6   21st Edition, Revised, Cornelis Klein and
15:34:55  7   cummingtonite, but you didn't make the distinction?                  15:37:04  7   Cornelius S. Hurlbut, Jr., from John Wiley & Sons,
15:34:59  8             MR. CIRSCH: Object to form.                                15:37:07  8   and it's on page about 256, if I remember correctly.
15:34:59  9       Q.    (By Mr. Chachkes) Putting aside whether                    15:37:11  9        Q.    Okay. What other mono -- okay.
15:35:01 10   it matters or not.                                                   15:37:15 10              If your EDS doesn't tell you whether -- if
15:35:02 11             MR. CIRSCH: Object to form.                                15:37:19 11   you haven't determined whether what you're looking at
15:35:03 12             THE WITNESS: Well, most of these                           15:37:21 12   is orthorhombic or monoclinic, are there any other
15:35:06 13       elongated particles, these asbestiform bundles,                  15:37:24 13   minerals that they could be that are indeed also
15:35:10 14       could be anthophyllite --                                        15:37:28 14   monoclinic?
15:35:11 15       Q.    (By Mr. Chachkes) The ones --                              15:37:29 15        A.    No. Not after we do the full suite of
15:35:12 16             MR. CIRSCH: Hold on.                                       15:37:31 16   analyses. It's one of these regulated asbestos types
15:35:13 17             THE WITNESS: -- versus cummingtonite.                      15:37:34 17   for the anthophyllite solid solution series.
15:35:15 18       But it's a difference without any consequence.                            18        Q.    Okay.
15:35:18 19       They're both regulated asbestos.                                 15:37:37 19        A.    These have been identified to the degree
15:35:19 20       Q.    (By Mr. Chachkes) Right. Putting aside                     15:37:42 20   necessary to make that statement.
15:35:21 21   the difference, okay -- this is just a question that                 15:37:43 21        Q.    Okay. Just -- and we're going to ask a
15:35:25 22   should be very simple -- most of the part -- except                  15:37:45 22   question in a vacuum, and I understand all your
15:35:28 23   for the one you went back and verified whether it was                15:37:48 23   objections to answering questions about science in a
15:35:31 24   orthorhombic, most of the particles you identify in                  15:37:50 24   vacuum, but it's important to us.
15:35:34 25   your report could either be -- that you identify as                  15:37:53 25              If you have an SAED pattern where you
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15:35:37  1   anthophyllite could either be anthophyllite or                       15:37:56  1   didn't determine whether it's orthorhombic or not,
15:35:39  2   cummingtonite, putting aside whether it even matters;                15:38:00  2   just looking at that pattern, in a vacuum, without
15:35:42  3   is that a correct statement?                                         15:38:03  3   your other information, is it possible -- can you
15:35:43  4             MR. CIRSCH: Object to form.                                15:38:08  4   exclude -- is it possible that correlates to any
15:35:44  5             THE WITNESS: No. You don't know if most                    15:38:12  5   other monoclinic minerals?
15:35:46  6       of the particles could. It could be this, it                     15:38:14  6              MR. CIRSCH: Object to form.
15:35:48  7       could be that. It could be mostly all                            15:38:15  7              THE WITNESS: I've already answered this
15:35:50  8       anthophyllite.                                                   15:38:16  8        question.
15:35:52  9             You know, you think it's all                               15:38:16  9              We don't look at it in a vacuum. You're
15:35:54 10       cummingtonite. But you're right, it doesn't                      15:38:18 10        asking me to look at things in a vacuum that are
15:35:55 11       matter because I identified them as the                          15:38:21 11        not part of the peer-reviewed published
15:36:01 12       anthophyllite solid solution series.                             15:38:25 12        identification protocols for asbestos.
15:36:02 13       Q.    (By Mr. Chachkes) Okay. Is there                           15:38:27 13              That's what we do. We look at and follow
15:36:03 14   literature calling cummingtonite part of the                         15:38:29 14        the procedures that are in the protocols. So
15:36:05 15   anthophyllite solid solution series?                                 15:38:33 15        when we do this analysis, especially for
15:36:05 16       A.    Lots of it.                                                15:38:36 16        anthophyllite, we're looking at morphology,
15:36:05 17       Q.    Okay. Can you cite one for me? Let's                       15:38:38 17        we're looking at chemistry, and we're looking at
15:36:10 18   start with this. Any cited in your report?                           15:38:40 18        selected area electron diffraction.
15:36:11 19       A.    Yes.                                                       15:38:43 19        Q.    (By Mr. Chachkes) So --
15:36:12 20       Q.    Okay. Can you --                                           15:38:43 20              MR. CIRSCH: Hold on.
15:36:14 21       A.    Can I show it to you?                                      15:38:44 21              THE WITNESS: And that's my answer.
15:36:16 22       Q.    Yes, show it to me.                                        15:38:45 22        Q.    (By Mr. Chachkes) So you understand I'm
15:36:18 23       A.    And I produced it in other J&J.                            15:38:46 23   allowed to ask questions that aren't specifically
15:36:37 24             It's easier for me just to look through                    15:38:49 24   correlating to something in a regulation; right? I
15:36:41 25   the references and find it for you.                                  15:38:51 25   can ask about general science. You understand that;
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15:38:53  1   right?                                                                15:41:02  1       the tape and we don't have to take a break.
15:38:54  2               MR. CIRSCH: Object to form. He can give                   15:41:13  2               (Recess from 3:41 p.m. to 4:01 p.m.)
15:38:56  3         you an answer --                                                16:02:00  3       Q.      (By Mr. Chachkes) Dr. Longo, the court
          4         Q.    (By Mr. Chachkes) Yes or no?                              16:03:00  4   reporter informed me that a couple of times I
15:38:57  5               MR. CIRSCH: -- he thinks is appropriate.                  16:03:01  5   mispronounced EDXA as EDSA. Did you understand when
15:38:59  6         Q.    (By Mr. Chachkes) It's a yes or no                        16:03:08  6   I said EDSA to mean EDXA?
15:39:01  7   question.                                                             16:03:09  7       A.      Yes. Energy dispersive spectroscopy
15:39:01  8         A.    Well, yes, you can ask any question you                   16:03:12  8   analysis is also well known.
15:39:04  9   want. But, no, I don't think it's appropriate to ask                            9       Q.      Okay.
15:39:07 10   questions that is not part of how we identify and ask                 16:03:14 10       A.      People have different acronyms for it, so
15:39:12 11   in a vacuum. So my answer stands.                                     16:03:18 11   it's fine. I think I was repeating what you were
15:39:13 12         Q.    Okay. So I'll ask you again, and if you                   16:03:20 12   saying.
15:39:14 13   don't want to answer, you can give me the same                        16:03:20 13       Q.      Okay. So is it your position that
15:39:16 14   circular answer, but I'm going to ask you again.                      16:03:24 14   reporting analytical sensitivity by weight percent
15:39:19 15               MR. CIRSCH: Object to the commentary on                   16:03:27 15   does not provide any useful information for
15:39:21 16         the record, Alex. There's a lot of it.                          16:03:30 16   determining potential airborne exposure to asbestos
15:39:23 17         Q.    (By Mr. Chachkes) If the -- looking at --                 16:03:32 17   structures?
15:39:26 18   if you haven't determined whether something is                        16:03:32 18       A.      Yes.
15:39:29 19   orthorhombic or not, looking at the SAED pattern in a                 16:03:33 19       Q.      Is it your position that structures per
15:39:36 20   vacuum, could it correspond to other minerals besides                 16:03:37 20   gram data is the most useful for potential airborne
15:39:40 21   cummingtonite and anthophyllite?                                      16:03:40 21   exposure?
15:39:43 22               MR. CIRSCH: Object to form.                               16:03:40 22       A.      Yes.
15:39:45 23               THE WITNESS: That's not how we have done                  16:03:41 23       Q.      And in your report, in support of that
15:39:46 24         this analysis for every one of these samples                    16:03:44 24   proposition, you cite ISO 10312; correct?
15:39:49 25         that we're dealing with in TEM, for the 100,                    16:03:50 25       A.      Correct. And it's in both of the ISO
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15:39:52  1         almost 200 fibers and bundles that we've                        16:03:51  1   methods.
15:39:55  2         identified. We have used the peer-reviewed                      16:03:51  2       Q.      Okay. ISO 10312 is a method for detecting
15:39:59  3         standard published protocol specifically to                     16:03:57  3   asbestos in ambient air; correct?
15:40:02  4         identify regulated asbestos. We didn't look at                  16:03:58  4       A.      Correct.
15:40:05  5         anything in a vacuum. We don't do that.                         16:03:59  5       Q.      Have you ever conducted air testing
15:40:07  6         Q.    (By Mr. Chachkes) Okay. Putting that                      16:04:02  6   pursuant to the ISO 10312 method?
15:40:09  7   aside, this is just a matter of EDSA science. EDSA                    16:04:08  7       A.      In the past, yes.
15:40:14  8   science tells me that Exhibit 18 looked at in                         16:04:10  8       Q.      Okay. How many times?
15:40:19  9   isolation could correspond to many minerals; right?                   16:04:14  9       A.      I don't know.
15:40:25 10               MS. O'DELL: Objection.                                    16:04:15 10       Q.      Over ten?
15:40:25 11         Q.    (By Mr. Chachkes) Just EDSA science?                      16:04:16 11       A.      I don't know.
15:40:28 12         A.    Again, we're not dealing with many                        16:04:16 12       Q.      Over one?
15:40:30 13   minerals. We're dealing with regulated asbestos in a                  16:04:18 13       A.      Most likely over one, but how big the
15:40:33 14   talc deposit that has the ability to form these                       16:04:23 14   bread box is, I don't know.
15:40:37 15   billions of years ago under temperature and pressure.                 16:04:25 15       Q.      Okay. Did you test anything under the
15:40:40 16   We're using protocols that are specifically designed                  16:04:30 16   ISO 10312 method for this case, the MDL?
15:40:42 17   to identify regulated asbestos. And that's what we                    16:04:36 17       A.      Well, if you look at our report, we have
15:40:45 18   do.                                                                   16:04:38 18   referenced a number of TEM methods for the counting
         19         Q.    Okay.                                                     16:04:40 19   rules, including the two ISO methods, the ASTM
15:40:47 20         A.    Asking things in a vacuum or hypotheticals                16:04:46 20   method, the AHERA method. They all have the same
15:40:49 21   is not what we did.                                                   16:04:48 21   counting rules for the determination of a regulated
15:40:51 22               MR. CHACHKES: Okay. How much time do we                   16:04:51 22   asbestos fiber. The ISO methods are referred back to
15:40:55 23         have left on the tape?                                          16:04:56 23   in both the 22262-1 and -2 as the counting criteria
15:40:59 24               THE VIDEOGRAPHER: 17.                                     16:05:01 24   for fibers and bundles.
15:41:00 25               MR. CHACHKES: Why don't we just swap out                  16:05:03 25       Q.      Did you do an ISO 10312 ambient air test
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16:05:07  1   for the purposes of this MDL?                                    1    16:07:44           A.    So if you go to 16 --
16:05:09  2        A.     No.                                        16:07:51  2                             MR. CIRSCH: You're calling it Exhibit 3,
16:05:09  3        Q.     And this ISO method involves collecting    16:07:53  3                       but it says on here Exhibit 5. I just want to
16:05:14  4   air samples and testing for fibers; correct?           16:07:56  4                       make sure that --
16:05:17  5        A.     Correct.                                   16:07:57  5                             MR. CHACHKES: So Exhibit 3 should be
16:05:17  6        Q.     And you're not testing ambient air fibers  16:08:01  6                       ISO-2?
16:05:19  7   in this case, in this expert report?                   16:08:02  7                             MR. CIRSCH: It's got Exhibit 5 on it.
16:05:22  8        A.     No, we're not testing ambient air. But     16:08:03  8                       Q.    (By Mr. Chachkes) I'm sorry, I'm reading
16:05:25  9   you have to understand once the asbestos gets on the 16:08:05 9                     my number wrong -- strike that. My 3 looked like --
16:05:27 10   filter, the -- and I know it sounds silly, but the     16:08:09 10                  totally my fault.
16:05:32 11   asbestos fibers don't know if it came out of ambient   16:08:10 11                             All right. Before you is Exhibit 5, which
16:05:34 12   air, if it came out of a water sample, came out of a   16:08:14 12                  is part 2 of the ISO 22262 standard. Can you point
16:05:37 13   dust sample, or it came out of a bulk sample like      16:08:17 13                  to me where it requires reporting in structures per
16:05:40 14   cosmetic talc. What's most important is the counting   16:08:22 14                  gram?
16:05:43 15   rules that are the same for all these different        16:08:24 15                       A.    If you go to 16.3, last paragraph before
16:05:47 16   methods, as in the ISO 22262-2 for the TEM analysis    16:08:33 16                  you get to 17, it says, If it is required to include
16:05:52 17   of talc.                                               16:08:37 17                  all fiber sizes in the measurement, determination of
16:05:53 18        Q.     You did not conduct an exposure assessment 16:08:40 18                  mass fraction by TEM using 14.2.4 is the optimum
16:05:55 19   for this case, did you?                                16:08:46 19                  analytical procedure.
16:05:56 20        A.     I haven't conducted an exposure assessment 16:08:47 20                             If you go to 14.2.4 -- 14.2.4.4,
16:06:01 21   with any MDL samples.                                  16:09:12 21                  Preparation of specimens for SEM or TEM observation,
16:06:04 22        Q.     You did employ ISO 22262; correct?         16:09:17 22                  then it references back to the ISO 13794.
16:06:08 23        A.     Yes.                                       16:09:22 23                       Q.    Okay. So you -- it's your understanding
16:06:08 24        Q.     That does not include a formula for        16:09:25 24                  that the ISO 22262 -- so first of all, the ISO 22262
16:06:12 25   reporting of data as structures per gram; correct?     16:09:31 25                  -2, putting aside cross-references, itself doesn't
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16:06:15  1        A.    That's correct.                                            16:09:36  1   have a formula for reporting data as structures per
16:06:15  2        Q.    The --                                                     16:09:39  2   gram; correct?
16:06:18  3        A.    Well, that's not quite true. If you go to                  16:09:40  3        A.    That is correct.
16:06:20  4   the ISO TEM method that it references, it shows you                             4        Q.    Okay.
16:06:25  5   how to report it in fibers or bundles per gram. So                    16:09:41  5        A.    And it doesn't have the formula for
16:06:30  6   again, you have to look at the methodology that it                    16:09:43  6   calculating weight percent. It points you back to
16:06:33  7   references.                                                           16:09:48  7   the ISO TEM protocols.
16:06:34  8        Q.    Okay. So let me -- which ISO, 1, 2, 3 --                   16:09:51  8        Q.    Okay. And then the reference to 14.2.4,
16:06:39  9   can you tell me -- are you referring to?                              16:09:55  9   that section is entitled, Determination of asbestos
16:06:40 10        A.    It's the 137 --                                            16:10:00 10   weight mass fraction from fiber measurement made by
16:06:43 11        Q.    ISO -- so it's part 1; correct?                            16:10:03 11   PLM, SEM, or TEM.
16:06:47 12        A.    Well, it's in both. It's in part 1 and                     16:10:04 12              That's the title; right?
16:06:50 13   part 2.                                                               16:10:06 13        A.    Correct.
16:06:50 14        Q.    Okay. So can you point to me in part 2                     16:10:06 14        Q.    Okay. I just want to do a little walk
16:06:54 15   where -- and that's Exhibit 3 -- where it says --                     16:10:11 15   through one of the calculations you made so I can
16:06:57 16   that proper reporting is done in structures per gram?                 16:10:13 16   figure it out.
16:07:02 17        A.    Did you mark that as an exhibit?                           16:10:14 17              Can I have the exhibits? Mark this as
16:07:08 18        Q.    Exhibit 3, yeah. It's going to be down                              18   Exhibit 19.
16:07:11 19   from the beginning.                                                            19              (Defendants' Exhibit 19 was marked for
16:07:13 20        A.    It's 1. Give me a second. I will in a                      16:10:17 20        identification.)
16:07:27 21   second. I'm sure it's in this pile.                                   16:10:48 21        Q.    (By Mr. Chachkes) Okay. Can you tell me
         22              MR. CIRSCH: It might be there.                             16:10:51 22   just on a high level what this spreadsheet,
16:07:36 23              THE WITNESS: There it is.                                  16:10:52 23   Exhibit 19, is meant to represent?
16:07:40 24        Q.    (By Mr. Chachkes) It should be Exhibit 3.                  16:10:53 24        A.    This represents the weight of the sample
16:07:41 25   Okay.                                                                 16:10:54 25   that was used, it represents the weight of the sample
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16:10:59  1   analyzed per grid opening, it tells you what the                1     16:13:15           Q.      (By Mr. Chachkes) If you're analyzing two
16:11:04  2   filter size was, it tells you how many regulated      16:13:17  2                   samples and sample A contains more amphiboles than
16:11:06  3   asbestos structures, and then it gives you the        16:13:21  3                   sample B, would you expect that following the
16:11:08  4   calculation of how many asbestos structures per gram, 16:13:25 4                    concentration there would be more products separated
16:11:15  5   which if you're doing weight percent, you have to do  16:13:27  5                   out from A than B?
16:11:18  6   all the same -- get all the same information, but     16:13:29  6                        A.      I don't know if you can measure that. If
16:11:22  7   instead of stopping at the number of structures per   16:13:32  7                   it contains more amphibole fibers in the final
16:11:26  8   gram, then you go through the calculation to          16:13:37  8                   supernate, then you would have more fibers that you
16:11:29  9   determine the weight of each of the structures and    16:13:41  9                   counted.
16:11:33 10   then calculate a mass weight percent.                 16:13:42 10                        Q.      And by supernate, that's kind of a synonym
16:11:35 11        Q.    Okay. So in Exhibit 19, I guess, on the    16:13:47 11                   for amphibole sludge --
16:11:40 12   upper left I see a .03135. That's the initial weight  16:13:49 12                        A.      Well, it's the pellet. Whatever has gone
16:11:46 13   prior to concentration method, or is that after       16:13:52 13                   down to the bottom of the centrifuge tube, any
16:11:51 14   concentration?                                        16:13:56 14                   potential amphiboles, some talc particles, you always
16:11:52 15        A.    That is the weight prior to the            16:14:00 15                   see talc particles, so it's not 100 percent
16:11:54 16   concentration method.                                 16:14:03 16                   efficient.
16:11:55 17        Q.    Okay. So that's basically the              16:14:03 17                        Q.      The supernate's the solids that are left
16:12:00 18   unconcentrated weight that you are trying to          16:14:06 18                   over after the concentration?
16:12:02 19   determine how many structures are in there?           16:14:07 19                        A.      Correct.
16:12:05 20        A.    Correct.                                   16:14:08 20                        Q.      So you can't say that if one sample has
16:12:07 21        Q.    And you use a Sartorius scale; right?      16:14:10 21                   more amphiboles than another that there will be more
16:12:14 22        A.    That's correct.                            16:14:13 22                   supernate in the former than the latter?
16:12:14 23        Q.    Does it have that many significant digits? 16:14:17 23                        A.      You would expect -- if it has more in
16:12:16 24        A.    It does.                                   16:14:19 24                   there you would expect more, but it's pretty tough to
16:12:17 25        Q.    Okay. Does it have more than that, or is   16:14:22 25                   make that determination before you measure it.
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16:12:19  1   that it?                                                              16:14:24  1        Q.      Yeah, I'm not asking you for a
16:12:20  2        A.     Let's see. One, two, three, four, five.                   16:14:26  2   calculation. I'm just saying just seems like common
16:12:24  3   I think it has six.                                                   16:14:29  3   sense if you've got more to concentrate out, you'll
16:12:26  4        Q.     Okay. But you only report five                            16:14:33  4   get more concentrate.
16:12:29  5   significant digits; correct?                                          16:14:34  5                MR. CIRSCH: Object to form.
16:12:31  6        A.     Correct.                                                  16:14:35  6                THE WITNESS: All things being equal,
16:12:31  7        Q.     And then your analysts conduct heavy                      16:14:37  7        that's correct.
16:12:38  8   liquid density separation; right?                                     16:14:38  8        Q.      (By Mr. Chachkes) Okay. After separation
16:12:40  9        A.     Correct.                                                  16:14:38  9   you did not weigh the centrifuge that remained -- you
16:12:40 10        Q.     After separation you have basically an                    16:14:42 10   did not weigh the supernate that remained after
16:12:42 11   amphibole sludge and with much of the talc removed?                   16:14:48 11   desiccation; correct?
16:12:48 12        A.     Correct.                                                  16:14:49 12        A.      That's correct.
16:12:48 13        Q.     And what is the percentage of talc from                   16:14:50 13        Q.      And I see a number, weight of sample
16:12:53 14   amphibole separation your analysts achieve in this                    16:14:56 14   analyzed; do you see that there?
16:12:56 15   analysis?                                                             16:14:58 15        A.      Correct.
16:12:57 16        A.     We haven't measured that.                                 16:14:58 16        Q.      That's more significant digits than in the
16:12:58 17        Q.     Do you have the data and just didn't put                  16:15:02 17   initial weight; correct?
16:13:04 18   it on the sheet, or you just -- you don't even have                   16:15:06 18        A.      That's correct. You take the amount that
16:13:05 19   the data?                                                             16:15:07 19   has theoretically gone down onto the filter, what you
16:13:05 20        A.     We don't measure the amount that we                       16:15:12 20   start with, so that if you have 31.35, then you
16:13:07 21   removed.                                                              16:15:18 21   calculate what's on the overall filter, and then you
16:13:08 22        Q.     Okay. Is there a way to calculate it?                     16:15:20 22   calculate how many grid openings you look at, then
16:13:12 23               MR. CIRSCH: Object to form.                               16:15:23 23   it's just the math.
16:13:13 24               THE WITNESS: Not without making the                       16:15:24 24        Q.      Yeah, now my question is just about
16:13:15 25        measurement, no.                                                 16:15:25 25   significant digits. You understand why significant
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16:15:28  1   digits are important; right?                                          16:17:42  1   weight of sample analyzed?
16:15:29  2        A.    Yeah, but that's a mathematical                            16:17:44  2            A.   Well, you go back to the individual
16:15:33  3   determination of significant digits.                                  16:17:46  3   structures and you multiply the length by the width
16:15:34  4        Q.    Right. Significant digits are important                    16:17:52  4   squared times the density of the particular type of
16:15:37  5   because if I have a number with three significant                     16:17:56  5   amphibole times pi. And then all those are added up,
16:15:40  6   digits multiplied times a number with four                            16:17:59  6   and then you then go from the adding that up to what
16:15:45  7   significant digits, the result should be reflecting                   16:18:03  7   the overall weight would be on the filter.
16:15:51  8   the least number of significant digits that went into                 16:18:05  8            Q.   Okay. And the weight of sample analyzed
16:15:53  9   the equation; correct?                                                16:18:10  9   is for one grid opening, ten grid openings, 100 grid
16:15:55 10              MR. CIRSCH: Object to form.                                16:18:16 10   openings? What is it?
16:15:56 11              THE WITNESS: You can do it that way if                     16:18:17 11            A.   That's, as I believe, that's one grid
16:15:57 12        you like, or you can put it out to the                           16:18:19 12   opening.
16:15:59 13        significant digits and then round it.                            16:18:19 13            Q.   Okay. So if you wanted to extrapolate,
16:16:01 14        Q.    (By Mr. Chachkes) Okay. Shouldn't you                      16:18:25 14   putting aside --
16:16:04 15   have rounded the weight of the sample analyzed                        16:18:26 15            A.   I may be wrong on that. I have to check
16:16:06 16   because you've got more significant digits -- you've                  16:18:29 16   that. I think it's all 100.
16:16:08 17   got more digits than there are significant digits?                    16:18:30 17            Q.   Okay, if that's all 100. Now, that's what
16:16:10 18        A.    No. It's a mathematical -- it's a                          16:18:37 18   percentage of the total supernate?
16:16:13 19   mathematical equation or just simply dividing it on                   16:18:38 19            A.   We haven't measured the total supernate.
16:16:18 20   how much of the original sample would cover the                       16:18:41 20   We measure what we start with because the
16:16:21 21   filter.                                                               16:18:43 21   calculations go back to what you start with. We
16:16:22 22        Q.    Okay. You've got a -- I'm going to phrase                  16:18:46 22   don't measure the supernate.
16:16:25 23   this a different way.                                                 16:18:48 23            Q.   What percentage of what you started with
16:16:26 24              You've got a greater precision in your                     16:18:50 24   is it?
16:16:29 25   weight of sample analyzed than you do with the                        16:18:51 25            A.   We started with 31 milligrams, and that is
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16:16:31  1   precision of the numbers that went into it?                           16:19:03  1   0.17. Well, we started with 0.3135 grams, and that
16:16:35  2              MR. CIRSCH: Object to form.                                16:19:10  2   is .00017187 grams. So just divide the two.
16:16:36  3              THE WITNESS: I don't think it's any more                   16:19:15  3            Q.   So is there any need to extrapolate here,
16:16:38  4        precision. It's taking the weight and dividing                   16:19:22  4   or is 100 percent of the supernate being looked at?
16:16:40  5        it onto the filter, and then from the filter                     16:19:26  5            A.   You're putting 100 percent of the
16:16:43  6        you're looking at a number of area by 100 grid                   16:19:31  6   supernate down onto the filter.
16:16:45  7        openings, so you're calculating what the weight                  16:19:32  7            Q.   And that's 100 grid openings?
16:16:48  8        would be if you put the whole -- to go back to                   16:19:34  8            A.   Well, the filter is 201 millimeters
16:16:52  9        the sample to determine the amount of fibers.                    16:19:38  9   squared. That's the filter where the material is put
16:16:55 10        That's just the way it's done.                                   16:19:41 10   through the filter to collect it.
16:16:56 11        Q.    (By Mr. Chachkes) Does your Sartorius                      16:19:43 11                 And then you're looking at 100 grid
16:16:59 12   scale have the capability of measuring a sample down                  16:19:45 12   openings. So 100 grid openings is 1.1 millimeter.
16:17:01 13   to .00017187 grams?                                                   16:19:50 13   So 1.1 millimeter of the 201 millimeters will now
16:17:05 14        A.    Not the Sartorius, but we do have a                        16:19:54 14   give you the percentage of what you're looking at on
16:17:08 15   microbalance, but that's not how this is done.                        16:19:56 15   that filter.
16:17:11 16        Q.    So the -- this is just a yes or no. The                    16:19:57 16            Q.   Why are you calculating that percentage?
16:17:18 17   weight of sample analyzed is a number that is a                       16:20:02 17   Isn't 100 percent of what comes through the filter in
16:17:24 18   calculation; right?                                                   16:20:05 18   the grid openings -- in the 100 grid openings?
16:17:26 19              MR. CIRSCH: Object to form.                                16:20:07 19                 MR. CIRSCH: Object to form.
16:17:26 20              THE WITNESS: Yes.                                          16:20:08 20                 THE WITNESS: No.
16:17:28 21        Q.    (By Mr. Chachkes) Okay. And the                            16:20:08 21            Q.   (By Mr. Chachkes) Okay.
16:17:29 22   structures per gram of sample, that's also a number                   16:20:09 22            A.   Can I draw on something?
16:17:31 23   that's calculated; right?                                             16:20:11 23            Q.   Yeah.
16:17:34 24        A.    That's correct.                                            16:20:13 24            A.   The filter is much bigger than 100 grid
16:17:34 25        Q.    And what's the equation to get me the                      16:20:15 25   openings.
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16:20:16  1        Q.     Let me just -- here --                                      16:22:17  1   is approximately 3 millimeters in diameter. Now, on
16:20:18  2               MR. CIRSCH: Here you go.                                    16:22:23  2   this grid are openings.
16:20:22  3               MR. CHACHKES: That would be great. Thank                              3        Q.    Okay.
16:20:22  4        you.                                                               16:22:24  4        A.    And each one of these openings looks like
16:20:22  5               THE WITNESS: So if you have a filter                        16:22:35  5   this, and they are 100 micrometers in width in two
16:20:23  6        that's this big -- that's not bad -- and then                      16:22:47  6   directions. So when you look at a grid opening,
16:20:27  7        your grids are 3 millimeters. So -- shall I                        16:22:49  7   you're looking in this area.
16:20:34  8        make a happy face here?                                            16:22:51  8        Q.    Okay. And I apologize for repeating it a
16:20:36  9        Q.     (By Mr. Chachkes) Please don't.                             16:22:56  9   little bit, but the -- just want to make sure the
16:20:37 10        A.     So each one of these grid openings -- and                   16:22:59 10   transcript's clear to correspond with the picture.
16:20:46 11   I'm blowing it up.                                                      16:23:02 11              You've got drawn, it looks like a circle
16:20:50 12               So you're taking 7 millimeter plugs and                     16:23:06 12   with three black dots, that's the filter, and in the
16:20:53 13   then each grid opening has 100 grids that are 100 by                    16:23:09 13   filter there are -- those black dots are grids;
16:20:57 14   100 microns, typically. So the material is going on                     16:23:12 14   correct? So far correct?
16:21:01 15   this whole filter, and then you're just taking                          16:23:13 15        A.    So far correct.
16:21:04 16   sections of the filter out for your TEM grids.                          16:23:14 16        Q.    Okay. And how many grids -- I know your
16:21:07 17               MR. CHACHKES: I see.                                        16:23:17 17   picture only has three, but how many grids are
16:21:08 18               So can we just mark this as an exhibit,                     16:23:20 18   actually in your filter in the lab?
16:21:12 19        Exhibit 20, please.                                                16:23:22 19        A.    We make three grids.
16:21:13 20               (Defendants' Exhibit 20 was marked for                      16:23:24 20        Q.    Oh, so there are three grids?
         21        identification.)                                                   16:23:26 21        A.    Correct.
16:21:19 22               THE WITNESS: I didn't know you were going                   16:23:27 22        Q.    And then you've drawn a couple arrows to
16:21:21 23        to mark it.                                                        16:23:29 23   emphasize what the grid is, and the grid has got
16:21:21 24        Q.     (By Mr. Chachkes) You did know I was                        16:23:32 24   basically a bunch of grid openings and that's 100
16:21:23 25   going to mark it.                                                       16:23:34 25   grid openings?
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          1        A.     That's true.                                                16:23:35  1        A.    Correct.
16:21:24  2        Q.     So what you've drawn in Exhibit 20 -- so I                  16:23:36  2        Q.    Okay. And each grid opening is, you said,
16:21:26  3   just want to get my vocabulary correct -- that the                      16:23:39  3   10 micrometers?
16:21:31  4   filter size is the big white circle in which you've                     16:23:40  4        A.    100 micrometers.
16:21:33  5   got the three dots, that's the -- thank you for                         16:23:41  5        Q.    100 micrometers. Got it.
16:21:35  6   marking that.                                                           16:23:43  6        A.    100 micrometers, essentially a square, 100
16:21:35  7        A.     Filter, which is 201 millimeters squared.                   16:23:49  7   micrometers for each XY dimension.
16:21:41  8        Q.     Got it.                                                     16:23:51  8        Q.    Okay. And when you extrapolate filters --
16:21:42  9        A.     And that's the filtration area so you're                    16:23:59  9   if the fibers you find in the filters back to the
16:21:46 10   always -- because it's in a device that holds it,                       16:24:03 10   original weight of the sample, can you just walk me
16:21:49 11   it's not the whole size of the filter, but it's                         16:24:06 11   through that in conceptual terms?
16:21:52 12   actually the area where filtrate is going down                          16:24:08 12        A.    In conceptual terms, you know the area
16:21:55 13   through it.                                                             16:24:12 13   you've analyzed by the grid openings. You know the
16:21:56 14        Q.     Right. Okay.                                                16:24:15 14   area of your filter, and you take the -- you
16:21:56 15               MR. CIRSCH: You're pulling those numbers                    16:24:20 15   determine the ratio of the amount of material on the
16:21:57 16        from Exhibit 19; correct?                                          16:24:25 16   filter and then go to the amount of material that
16:21:59 17               THE WITNESS: Yes. It's the same size for                    16:24:28 17   would be on each grid opening, and then you take the
16:22:00 18        every one.                                                         16:24:32 18   number of fibers you have and then you
16:22:01 19               MR. CHACHKES: And if you would not                          16:24:36 19   back-calculate.
16:22:03 20        comment.                                                           16:24:36 20              So if I have three fibers in a known
16:22:04 21        Q.     (By Mr. Chachkes) And the black dots that                   16:24:39 21   amount, and that amount is some percentage of the
16:22:05 22   you have there, those are the grid openings?                            16:24:43 22   overall amount that I know that in the overall amount
16:22:08 23        A.     Those are the grids.                                        16:24:46 23   on the filter, this is how many fibers and bundles
16:22:09 24        Q.     Okay.                                                       16:24:52 24   would be there because you have to assume a
16:22:09 25        A.     So a grid -- and this has been blown up --                  16:24:56 25   homogenous distribution on the filter.
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16:24:58  1        Q.       And do you look at the -- for your fiber          1      16:27:55      morphologically as asbestos; is that correct?
16:25:05  2   count, do you look at each of the three grids?        16:27:58  2                                MR. CIRSCH: Object to form.
16:25:08  3        A.    We keep one for archive; we look at two    16:27:59  3                                THE WITNESS: They use TEM to identify
16:25:11  4   grids and 50 openings on each grid.                   16:28:01  4                         regulated asbestos using morphology, EDXA and
16:25:13  5        Q.    Okay. And why only 50 openings on each     16:28:08  5                         SAED.
16:25:18  6   grid?                                                 16:28:09  6                         Q.     (By Mr. Chachkes) Okay. So is there a
16:25:18  7        A.    Well, typically the standard protocols,    16:28:10  7                    phrase that I can use that's not confusing to refer
16:25:23  8   the peer-reviewed protocols, usually state two grid   16:28:12  8                    to the visual aspect of TEM that's not, you know,
16:25:28  9   openings -- two grids, and so we put 50 on one and 50 16:28:16  9                    SAED or the other more different techniques?
16:25:33 10   on the other.                                         16:28:19 10                         A.     Well, if you say all the counting rules
16:25:34 11        Q.    Why not 100 on one and 100 on the other?   16:28:21 11                    for all the standard TEM methods that is not the
16:25:37 12        A.    Well, that would take twice as much time.  16:28:26 12                    occupational exposure counting rules, they will all
16:25:40 13   And you could do that, or you could look at 300. It   16:28:30 13                    state the same thing.
16:25:45 14   doesn't change anything other than reduce your --     16:28:31 14                         Q.     No, I'm just looking for a -- I want to
16:25:48 15   increase your analytical sensitivity.                 16:28:33 15                    make sure we're speaking a common language, the
16:25:50 16        Q.    Okay. Does the ISO 22262-2 lay out this    16:28:36 16                    visual --
16:26:00 17   math for extrapolating from looking at a grid?        16:28:37 17                         A.     How about just counting rules?
16:26:05 18        A.    No. It referenced the protocols. All TEM   16:28:38 18                         Q.     Well, we disagree as to what the counting
16:26:11 19   analyses -- air sample, water sample, bulk sample --  16:28:40 19                    rules require.
16:26:15 20   is done in this manner. All analytical chemistry is   16:28:41 20                                So if I say the visual aspect of TEM as
16:26:19 21   done in this manner.                                  16:28:46 21                    opposed to the SAED and -- what do you call it when
16:26:20 22              If you take a gallon of water out of Lake  16:28:57 22                    you take a picture with the TEM?
16:26:24 23   Michigan and you want to determine the amount of lead 16:28:59 23                                MR. CIRSCH: Object to form.
16:26:26 24   in there, for example, hypothetical, you don't        16:29:00 24                                THE WITNESS: Photomicrograph.
16:26:28 25   measure the whole gallon, you measure, typically, a   16:29:01 25                         Q.     (By Mr. Chachkes) Okay. So they use
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16:26:32  1   couple of milliliters of the material and then you                     16:29:02  1   photomicrographs to determine -- from the TEM to
16:26:34  2   extrapolate back on the overall concentration that                     16:29:05  2   determine morphology?
16:26:37  3   would be there.                                                        16:29:06  3        A.     No. They use the counting rules to
16:26:38  4                 The ISO TEM air sample method is the same                16:29:08  4   determine morphology, that it has parallel sides,
16:26:40  5   way. You're analyzing it and you find 4 or 5 fibers                    16:29:12  5   it's greater than .5 micrometers in length, it has at
16:26:46  6   in the grid opening, you're extrapolating back to                      16:29:15  6   least a 5-to-1 aspect ratio, and the chemistry in
16:26:49  7   what is in the air samples.                                            16:29:20  7   SAED determines it to be a regulated asbestos, then
16:26:51  8        Q.       Okay. Now, when you said the                             16:29:23  8   it's a regulated asbestos fiber.
16:26:57  9   peer-reviewed literature suggests looking at two of                    16:29:25  9        Q.     I didn't ask what you look at to determine
16:27:00 10   the grids, can you give me an example of some such                     16:29:28 10   whether it's asbestos or not.
16:27:05 11   literature?                                                            16:29:29 11               What do you -- what physically are you
16:27:05 12        A.       Well, there's lots of peer-reviewed                      16:29:33 12   looking at to determine morphology? It's the
16:27:07 13   literature that used the standard protocols. If you                    16:29:35 13   photomicrograph; right?
16:27:09 14   look at the AHERA, you look at ISO, you look at the                    16:29:37 14               MR. CIRSCH: Object to form.
16:27:12 15   NIOSH 7402, you look at the PCM, anything that has to                  16:29:37 15               THE WITNESS: No. We're visually looking
16:27:18 16   do with TEM, you have two grid openings. The 7402                      16:29:40 16        through the microscope. And I'll use an
16:27:23 17   says 40 openings among two grids.                                      16:29:42 17        example. I'm looking at a magnification of
16:27:28 18                 If you have a high number of fibers, then                16:29:46 18        approximately 20,000 times, and in my field of
16:27:31 19   you may stop on your second opening on one grid and                    16:29:49 19        view a structure looking like this pen shows up.
16:27:34 20   then go to the second grid. So the protocols                           16:29:55 20               The first thing I do is look at it and say
16:27:38 21   themselves state that.                                                 16:29:57 21        does it have parallel sides? The answer is yes.
16:27:39 22        Q.       Okay. Your analysts employed ISO 22262-2                 16:30:00 22        We have calibration standards and go is it
16:27:44 23   to test for asbestos by TEM; is that correct?                          16:30:03 23        greater than .5 micrometers in length? Yes.
16:27:46 24        A.       Yes.                                                     16:30:08 24        Does it have an aspect ratio of greater than
16:27:47 25        Q.       And they use TEM to identify the particles               16:30:11 25        5-to-1? I can visually see that, but we take a
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16:30:14  1        photomicrograph -- it's close -- to make sure.                       16:32:49  1        A.    Oh, part 1, I'm sorry.
16:30:16  2        Q.    (By Mr. Chachkes) So you use visual                            16:32:51  2        Q.    Yeah. I'll just direct your attention to
16:30:18  3   inspection through the TEM to determine morphology?                       16:33:05  3   7.2. -- on page 22.
16:30:22  4              MR. CIRSCH: Object to form.                                    16:33:22  4              So there's a section on page 22 which has
16:30:23  5              THE WITNESS: With the counting rules,                          16:33:26  5   the heading Morphology; correct?
16:30:26  6        that is correct.                                                     16:33:28  6        A.    That is correct. 7.2.3.7.1. I'm
16:30:27  7        Q.    (By Mr. Chachkes) Okay. Well, it doesn't                       16:33:32  7   surprised you didn't know that.
16:30:29  8   matter what the counting rules are. If you want to                        16:33:34  8        Q.    I did, actually.
16:30:32  9   look at -- if you want to just see the morphology,                        16:33:36  9              And the only heading, as far as you know,
16:30:34 10   you use visual inspection?                                                16:33:41 10   in the ISO 22262 parts that actually says morphology
16:30:36 11              MR. CIRSCH: Object to form.                                    16:33:47 11   is this one? Or do you not know? I don't want to
16:30:36 12              THE WITNESS: The first thing we do is                          16:33:51 12   spend all day on that one.
16:30:38 13        look at it and if it has parallel sides and does                     16:33:52 13              MR. CIRSCH: Form.
16:30:42 14        it meet the counting rules where this is an                          16:33:53 14              THE WITNESS: Well, this is a PLM
16:30:47 15        elongated particle, that deserves further                            16:33:54 15        analysis. This is not TEM analysis. And ISO
16:30:51 16        examination.                                                         16:33:56 16        has their PLM analysis setup, and these are the
16:30:51 17        Q.    (By Mr. Chachkes) Can you tell me where                        16:34:01 17        counting rules of what you do when you're
16:30:53 18   in ISO 22262 it provides -- directs you to look at                        16:34:03 18        analyzing under a polarized light microscope
16:31:01 19   morphology under TEM?                                                     16:34:05 19        versus a transmission electron microscope.
16:31:03 20        A.    I did. I gave you the ISO standard for                         16:34:07 20        Q.    (By Mr. Chachkes) Did you use PLM to
16:31:06 21   TEM and indirect prep, and in order to determine what                     16:34:12 21   identify the morphology of the fibers you found in
16:31:11 22   your weight percent is, you have to determine if it                       16:34:15 22   the MDL?
16:31:14 23   is parallel sides, greater than .5 micrometers in                         16:34:16 23              MR. CIRSCH: Object to form.
16:31:17 24   length, and so on and so forth.                                           16:34:19 24              THE WITNESS: Well, that's worded -- and I
16:31:19 25              Not all methods replicate previous                             16:34:20 25        apologize. That's worded poorly.
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16:31:22  1   methods. ISO 22262-2 does not put the entire                              16:34:22  1              For our ISO 22262-1 PLM analysis, yes. We
16:31:28  2   counting protocol in there. It directs you to the                         16:34:28  2        went through, and each of these regulated
16:31:30  3   TEM method where you have all these methodology to do                     16:34:32  3        asbestos fibers that we have in there in
16:31:36  4   that.                                                                     16:34:34  4        pictures follow this morphology.
16:31:36  5        Q.    Okay. So it's not, per se, in 22262, but                       16:34:37  5        Q.    (By Mr. Chachkes) Okay. In your reports
16:31:40  6   you're saying there's a reference to another ISO                          16:34:43  6   you write on page 12, Amphibole fibers or bundles
16:31:44  7   standard which you say requires visual inspection                         16:34:49  7   with substantially parallel sides and an aspect ratio
16:31:49  8   under TEM to determine morphology?                                        16:34:53  8   of 5-to-1 or greater and at least half a micrometer
16:31:52  9              MR. CIRSCH: Object to form.                                    16:34:56  9   in length were counted as regulated asbestos fibers
16:31:53 10              THE WITNESS: Well, per se it doesn't                           16:35:00 10   and bundles per the standard TEM counting rules
16:31:55 11        replicate the entire procedure. That's how                           16:35:03 11   described by -- and then you cite six methods. Are
16:31:57 12        these standards work.                                                16:35:07 12   you with me so far?
16:31:59 13              Once it has a document, in this case,                          16:35:08 13        A.    I am.
16:32:03 14        another ISO document that lays out all the                           16:35:08 14        Q.    Which is the method you actually use?
16:32:06 15        procedures and practices for how to identify                         16:35:12 15        A.    Well, can't really point to any one method
16:32:09 16        regulated asbestos, it just goes back to that.                       16:35:15 16   because they all have the same counting rules.
16:32:13 17        Q.    (By Mr. Chachkes) So --                                        16:35:17 17        Q.    Okay.
16:32:14 18        A.    ASTM is the same way, and the definition                       16:35:27 18        A.    What page was that?
16:32:17 19   of asbestos fibers in ASTM has another document that                      16:35:28 19        Q.    I was just talking about page 12 of your
16:32:20 20   tells you all the different definitions. One builds                       16:35:31 20   January 15.
16:32:25 21   on the other.                                                             16:35:32 21        A.    I think it states that.
16:32:26 22        Q.    Okay. Just looking at 22262, there is a                        16:35:35 22              This is for, again, TEM. And every one of
16:32:28 23   section in there under part 1 that is labeled                             16:35:45 23   those TEM methods have those counting rules, so I
16:32:33 24   Morphology; right?                                                        16:35:48 24   referenced them all.
16:32:47 25              Exhibit 4 is the one that's part 1?                            16:35:50 25              MR. CHACHKES: So I'm going to mark as the
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16:35:51  1        next exhibit ISO 13794. We are on Exhibit 21.                    16:39:03  1                 THE WITNESS: Well, it is regulatory. If
16:36:02  2              (Defendants' Exhibit 21 was marked for                     16:39:05  2           it -- even though it cannot discriminate, you
16:36:25  3        identification.)                                                 16:39:07  3           have to count it, and it is a regulated asbestos
16:36:25  4        Q.    (By Mr. Chachkes) So we spoke a little                     16:39:10  4           fiber if you decide it's asbestiform or not. It
16:36:26  5   bit before about what's been marked as Exhibit 21;                    16:39:14  5           does not allow you to discriminate between the
          6   right?                                                                16:39:16  6           two as long as it meets the counting rules. It
16:36:31  7        A.    Yes, sir, we have.                                         16:39:18  7           is regulated.
16:36:32  8        Q.    Okay. And going to the seventh page in                               8           Q.    (By Mr. Chachkes) Okay.
16:36:41  9   section 1, Scope. Section -- we're here.                              16:39:19  9           A.    Now, we can argue over back and forth if
16:36:55 10        A.    What page? 7? Did you say 7?                               16:39:21 10   it is asbestiform or not. But make no mistake, it is
16:36:59 11        Q.    Actually, strike that.                                     16:39:24 11   a regulated asbestos fiber if it meets the counting
16:37:00 12              I'm sorry. So it was the seventh page of                   16:39:27 12   rules.
16:37:05 13   the PDF, so let's strike that and start again.                        16:39:28 13           Q.    Okay. So you're saying that something can
16:37:09 14              Going to what's numbered in the exhibit as                 16:39:31 14   meet the counting rules, be regulated, but it might
16:37:11 15   page 1, going to the heading 1, this is Scope; right?                 16:39:34 15   be the non -- you might be counting nonasbestos
16:37:17 16   It's the scope of the ISO standard?                                   16:39:37 16   analogs?
16:37:19 17        A.    Correct.                                                   16:39:38 17                 MR. CIRSCH: Object to form.
16:37:20 18        Q.    Okay. Subsection 1.1, which is substance                   16:39:39 18                 THE WITNESS: It's not nonasbestos.
16:37:24 19   determined; do you see that?                                          16:39:42 19           It's --
16:37:25 20        A.    I do.                                                      16:39:42 20           Q.    (By Mr. Chachkes) I'm using the phrase
16:37:26 21        Q.    And then you see at the last sentence, The                 16:39:44 21   in --
16:37:30 22   method cannot discriminate between individual fibers                  16:39:44 22           A.    It is not nonasbestos. If it meets all
16:37:33 23   of asbestos and nonasbestos analogs of the same                       16:39:46 23   the counting rules, it's a regulated asbestos fiber.
16:37:36 24   amphibole mineral.                                                    16:39:49 24   That's my position on that.
16:37:36 25              Do you see that?                                           16:39:50 25           Q.    Okay. In this last sentence of 1.1, it
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16:37:37  1        A.    I do.                                                 1    16:39:55      makes a distinction between asbestos and nonasbestos
16:37:37  2        Q.     Do you agree with ISO 13794 that this      16:39:57  2                  analogs; do you see that?
16:37:43  3   method cannot discriminate between individual fibers   16:39:58  3                          A.    I see that.
16:37:46  4   of the asbestos and nonasbestos analogs of the same    16:39:59  4                          Q.    That's black and white; right?
16:37:50  5   amphibole material?                                    16:40:00  5                                MR. CIRSCH: Object.
16:37:50  6        A.     Yes and no. If you're analyzing samples    16:40:01  6                                THE WITNESS: That's what it states.
16:37:56  7   over and over from the same source and you're seeing 16:40:02 7                             Q.    (By Mr. Chachkes) Okay. So tell me what
16:38:01  8   both what people will clearly say is asbestiform       16:40:04  8                  asbestos versus nonasbestos analogs mean in
16:38:08  9   bundles and you have some individual fibers in there,  16:40:09  9                  ISO 13794.
16:38:11 10   in my opinion you can discriminate against that.       16:40:09 10                                MR. CIRSCH: Object to form.
16:38:12 11               If I was looking at one fiber and I didn't 16:40:10 11                                THE WITNESS: They don't really define it
16:38:15 12   have any information about it and hadn't analyzed      16:40:12 12                          other than to say it may not.
16:38:18 13   sample after sample, I would say that one fiber, it's  16:40:13 13                                In my opinion, if it is fibrous,
16:38:24 14   asbestos, it's asbestiform because it's formed like    16:40:16 14                          asbestiform, fibrous like asbestos-form, it is
16:38:28 15   asbestos, but, no, it does not meet the geological     16:40:20 15                          asbestiform.
16:38:31 16   definition for asbestos, high tensile strength,        16:40:21 16                          Q.    (By Mr. Chachkes) Yeah, but what I want
16:38:36 17   flexible, and so on and so forth.                      16:40:23 17                  is can you make any -- reading -- looking at that
16:38:39 18               But to me, asbestiform means that it is    16:40:27 18                  sentence, there's a clear distinction between
16:38:42 19   fibrous like asbestos; I would call it asbestiform.    16:40:30 19                  asbestos and nonasbestos analogs. What's the
16:38:45 20        Q.     So it's your understanding when -- in this 16:40:32 20                  difference?
16:38:49 21   exhibit, in this ISO standard, when it says it can't   16:40:33 21                                It doesn't matter what you think. What is
16:38:52 22   discriminate between asbestos and nonasbestos          16:40:34 22                  the ISO -- what distinction are they making? Or you
16:38:54 23   analogs, it's referring to geological definitions and  16:40:37 23                  just can't say?
16:39:00 24   not regulatory definitions; is that your testimony?    16:40:38 24                                MR. CIRSCH: Object to form.
16:39:02 25               MR. CIRSCH: Object to form.                16:40:38 25                                THE WITNESS: It's not that they don't
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16:40:40  1        say. They don't tell you how to determine                 1      16:42:39      counted and what doesn't get counted, what does
16:40:41  2         between, quote, this nonasbestos -- this       16:42:41  2                    nonasbestos analogs in this sentence mean? What does
16:40:44  3         nonasbestiform versus asbestiform. There is no 16:42:45  3                    that phrase mean?
16:40:50  4         method for doing that.                         16:42:46  4                                MR. CIRSCH: Object to form. And this is
16:40:52  5         Q.    (By Mr. Chachkes) Okay. Is it your       16:42:48  5                           the last time he's going to answer this
16:40:53  6   opinion because they don't give a definition of the  16:42:51  6                           question.
16:40:56  7   distinction, they really didn't mean that            16:42:51  7                                THE WITNESS: I don't know what they're
16:40:59  8   distinction?                                         16:42:52  8                           saying what it means because they don't give you
16:40:59  9         A.    I can't say what the --                  16:42:54  9                           any information to make that determination.
16:41:01 10               MR. CIRSCH: Object to form.              16:42:56 10                                I look at just simply what does
16:41:02 11               THE WITNESS: -- what Eric Chatfield had  16:42:58 11                           asbestiform mean. It means formed like
16:41:05 12         in mind when he said that.                     16:43:01 12                           asbestos.
         13         Q.    (By Mr. Chachkes) Okay.                  16:43:02 13                                So you may not like my opinion, but that's
16:41:07 14         A.    But in the protocol, what I look at as a 16:43:06 14                           my opinion.
16:41:09 15   scientist, and we look at these protocols, what does 16:43:06 15                           Q.   (By Mr. Chachkes) You know that under 2.6
16:41:13 16   it say to make the determination between the two? It 16:43:13 16                    on page 2 it says, Asbestiform is a specific type of
16:41:17 17   doesn't give you any information. Same thing with    16:43:17 17                    mineral fibrosity in which fibers and fibrils possess
16:41:19 18   the whole asbestiform, high tensile strength,        16:43:21 18                    high tensile strength and flexibility.
16:41:23 19   et cetera.                                           16:43:24 19                                You see that; right?
16:41:24 20               But we have the ability now, we have     16:43:25 20                           A.   What is it? 2.6?
16:41:26 21   analyzed so many samples and have analyzed so many 16:43:27 21                             Q.   2.6. Do you see that?
16:41:30 22   regulated asbestos fibers and bundles that we have   16:43:27 22                           A.   Yes, I do.
16:41:34 23   enough information if that is really at issue that   16:43:27 23                           Q.   Would it be reasonable to conclude
16:41:37 24   these are all asbestiform.                           16:43:29 24                    nonasbestiform is something that is an analog to
16:41:40 25               But no matter if you want to argue that  16:43:33 25                    something that is asbestiform under 2.6?
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16:41:42  1   it's not, it is, for single fibers, it's all                          16:43:35  1          A.   No.
16:41:45  2   regulated asbestos fibers per these protocols.                        16:43:35  2               MR. CIRSCH: Object to form.
16:41:47  3        Q.    Yeah, you've already said that a number of                 16:43:36  3               THE WITNESS: The protocol doesn't tell
16:41:49  4   times, and I'm not going to take issue with your                      16:43:38  4          you what any of that means. High tensile
16:41:51  5   opinion in that regard.                                               16:43:41  5          strength. What tensile strength? How do you
16:41:52  6              What I want to know is the phrase                          16:43:45  6          measure that?
16:41:56  7   nonasbestos analog appears in ISO 13794. What does                    16:43:46  7               That's just a general geological
16:42:00  8   it mean? And if you have no idea, that's fine.                        16:43:48  8          definition for somebody who may be interested in
16:42:03  9              MR. CIRSCH: Object to form.                                16:43:51  9          digging asbestos out of the ground, and is it
16:42:04 10              THE WITNESS: It's not that I don't have                    16:43:53 10          going to be fibrous enough to be profitable?
16:42:05 11        any idea. I have an opinion about it. And it's                   16:43:56 11               That has no meaning in the protocol.
16:42:08 12        not my opinion that they're regulated asbestos                   16:43:57 12          Otherwise, in a protocol for how to do the
16:42:10 13        or not and you count them. The protocol tells                    16:44:00 13          analysis, how do you determine it's high tensile
16:42:13 14        you to count them, that this is a regulated                      16:44:03 14          strength? What does high tensile strength mean?
16:42:16 15        asbestos fiber, you will record it on a count                    16:44:06 15          Is it 10,000 high, is it 2,000 high has no
16:42:19 16        sheet. All these protocols do that.                              16:44:11 16          bearing on the actual analysis in the protocol.
16:42:21 17              It doesn't give you the information to                              17          Q.   (By Mr. Chachkes) Okay.
16:42:22 18        make the determination. Just like it doesn't                     16:44:13 18          A.   This is nothing more than a standard
16:42:24 19        give you the information to determine if you                     16:44:16 19   geological definition for a high fibrous mine of
16:42:26 20        have high tensile strength. It does not give                     16:44:20 20   asbestos.
16:42:30 21        you the information to make the determination                    16:44:20 21          Q.   In your opinion, is the sentence that this
16:42:31 22        what a population is. It does not give you the                   16:44:24 22   method -- this ISO method can't discriminate between
16:42:34 23        information to make a determination if it's                      16:44:28 23   individual fibers of asbestos and nonasbestiform
16:42:37 24        flexible or not.                                                 16:44:31 24   analogs, is it related to those definitions in 2.6,
16:42:37 25        Q.    (By Mr. Chachkes) Putting aside what gets                  16:44:35 25   2.7?
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16:44:36  1        A.    No, because those definitions aren't                           16:46:58  1        make the determination other than the counting
16:44:39  2   defined anywhere in the protocol for the analysis.                        16:47:00  2        rules.
16:44:42  3        Q.    Okay. And so when ISO uses the word                            16:47:01  3                 Certainly, if it doesn't have parallel
16:44:45  4   asbestos on page 1, it's not related to how ISO                           16:47:04  4        sides, if it is a piece of a chunk of rock,
16:44:49  5   defines asbestos on page 2?                                               16:47:08  5        yeah, that's nonasbestiform. But when it has
16:44:52  6              MR. CIRSCH: Object to form.                                    16:47:10  6        the definition and meets the regulatory fiber
16:44:53  7              THE WITNESS: On page 2, if you go to                           16:47:14  7        definition for asbestos, it is asbestos.
16:45:02  8        page 3, they define what a fiber is.                                 16:47:17  8        Q.       (By Mr. Chachkes) Okay. But you agree
16:45:08  9              Is it page 3 or page 4? Give me a second.                      16:47:19  9   with the sentence in -- all right. Strike that.
16:45:17 10              ISO defines a fiber -- for the purpose of                      16:47:36 10                 You personally can distinguish between
16:45:20 11        this International Standard, a fiber is defined                      16:47:40 11   asbestos and nonasbestos analogs with TEM; is that
16:45:23 12        to have an aspect ratio equal or greater than                        16:47:44 12   correct?
16:45:26 13        5-to-1 and a minimum length of 5.0.                                  16:47:44 13                 MR. CIRSCH: Object to form.
16:45:29 14              Fiber bundle, structure composed of                            16:47:45 14                 THE WITNESS: Yes, I can.
16:45:31 15        parallel smaller diameter fibers attached to                         16:47:49 15        Q.       (By Mr. Chachkes) Using the ISO 13794
16:45:35 16        longer lengths.                                                      16:47:54 16   method; correct?
16:45:36 17              Fibrous structure.                                             16:47:56 17        A.       Yes, I can. If it doesn't meet the
16:45:38 18              And then you go to, okay, once I've                            16:47:57 18   counting rules, it doesn't have parallel sides, it
16:45:40 19        defined it as a fiber, in the method tells you                       16:48:01 19   doesn't have the aspect ratio, I don't record that as
16:45:43 20        to -- how to identify it if it is asbestos fiber                     16:48:05 20   an asbestos -- as an asbestos -- regulated asbestos
16:45:46 21        or not.                                                              16:48:09 21   fiber.
16:45:48 22              Nothing else in there tells you anything                       16:48:11 22                 Outside those counting rules, there's
16:45:49 23        about how to determine tensile strength, how to                      16:48:12 23   nothing else in there. If it has parallel sides --
16:45:52 24        determine flexibility, how to determine the                          16:48:18 24   and what we're arguing is a small number of fibers.
16:45:56 25        pop -- this one doesn't say population, but some                     16:48:22 25   I think in the MDL we had almost 90-something percent
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16:45:59  1        do.                                                                  16:48:25  1   bundles.
16:45:59  2        Q.    (By Mr. Chachkes) It's a simple -- very                        16:48:25  2                 So then we're dealing with some single
16:46:01  3   simple question. Page 1, the word asbestos is used.                       16:48:29  3   fibers. And because we have this -- and I'll call
16:46:04  4   On page 2 I see a definition of asbestos. Is it your                      16:48:34  4   it -- since a population is more than one, for these
16:46:07  5   testimony that the two are unrelated, or are they                         16:48:37  5   two mine sources we're dealing with, we have a large
16:46:10  6   related?                                                                  16:48:40  6   number of asbestiform bundles and a much smaller
          7              MR. CIRSCH: Object to form.                                    16:48:44  7   number of individual fibers.
16:46:11  8        Q.    (By Mr. Chachkes) It's a yes or no. Are                        16:48:45  8        Q.       Would you agree that there are two types
16:46:13  9   they related?                                                             16:48:47  9   of tremolite --
16:46:14 10              MR. CIRSCH: Object to form.                                    16:48:48 10                 MR. CIRSCH: Did you finish your answer,
16:46:14 11              THE WITNESS: This is not a yes and no                          16:48:49 11        Dr. Longo?
16:46:16 12        question. You have to take the whole protocol                        16:48:49 12                 THE WITNESS: I think so.
16:46:18 13        into consideration to answer this question.                          16:48:50 13        Q.       (By Mr. Chachkes) Would you agree that
16:46:21 14              The whole protocol determines what is a                        16:48:51 14   there's two kinds of tremolite: asbestiform and
16:46:24 15        regulated asbestos, and then the asbestiform and                     16:48:54 15   nonasbestiform?
16:46:27 16        high tensile strength is just a general                              16:48:55 16        A.       I agree there's tremolite asbestos; and
16:46:30 17        definition. That's what it means.                                    16:48:57 17   then there's tremolite asbestos, regulated tremolite
16:46:32 18        Q.    (By Mr. Chachkes) Okay. So if I want to                        16:49:01 18   asbestos. Then there is what we don't count as a
16:46:36 19   figure out what nonasbestos analog means in 1.1, I                        16:49:04 19   regulated asbestos fiber because of various reasons.
16:46:41 20   could not use definitions like 2.6, 2.7, 2.8 to help                      16:49:07 20        Q.       Is there such a thing as nonasbestiform
16:46:46 21   me determine that?                                                        16:49:11 21   tremolite?
16:46:48 22              MR. CIRSCH: Object to form.                                    16:49:12 22        A.       There is cleavage fragment type small
16:46:49 23              THE WITNESS: Well, those definitions tell                      16:49:16 23   particulates of tremolite that we do not count. You
16:46:51 24        you what is a regulated asbestos fiber. There                        16:49:18 24   can call it nonasbestiform; you can call it a
16:46:55 25        is nothing in the protocol that tells you how to                     16:49:20 25   cleavage fragment. But I would agree with that.
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16:49:23  1   Anything below 5-to-1 aspect ratio we don't count.                16:51:24  1         mine has shown that the tremolite in there is
16:49:27  2   And you can call it whatever you like, but it's not a             16:51:27  2         primarily asbestiform, then, yeah, you can take
16:49:30  3   regulated asbestos fiber/bundle.                                  16:51:30  3         all the data specifically and say, well, this
16:49:32  4       Q.    Okay. Do you ever -- do you feel like you               16:51:34  4         whole data with XRD shows that there was
16:49:39  5   have the ability to talk about a mineralogical --                 16:51:37  5         tremolite present, but no, it doesn't -- XRD
16:49:42  6   what you called a mineralogical definition of                     16:51:39  6         does not give you fibrous. But after a while,
16:49:44  7   asbestos? Or is that outside of your expertise?                   16:51:43  7         if you analyze enough samples out of the mine
16:49:47  8       A.    You mean a geological definition?                       16:51:45  8         and you're seeing regulated asbestos fibers and
16:49:49  9       Q.    Or a geological.                                        16:51:47  9         bundles, then more likely than not those initial
16:49:50 10       A.    Sure.                                                   16:51:51 10         XRD analysis was asbestos.
16:49:50 11       Q.    Okay. Geologically, what's a                            16:51:53 11         Q.   (By Mr. Chachkes) Without referring to
16:49:52 12   nonasbestiform asbestos?                                          16:51:55 12   the -- so you understand that I can look at a tree in
16:49:53 13       A.    Rocks.                                                  16:52:00 13   many different ways. I can look at it through a
16:49:56 14       Q.    That's it? Everything that's rock is                    16:52:02 14   microscope, I can look at it through a telescope, I
16:49:59 15   nonasbestiform asbestos?                                          16:52:05 15   can look at it with my own eyes. So far you're with
16:50:01 16             MR. CIRSCH: Object to form.                             16:52:08 16   me?
16:50:02 17             THE WITNESS: If it doesn't have a fibrous               16:52:08 17         A.   So far.
16:50:04 18       habitat, it's nonasbestos.                                    16:52:09 18         Q.   Okay. Do you understand that the way I
16:50:07 19       Q.    (By Mr. Chachkes) Okay.                                 16:52:10 19   look at it doesn't change the definition of whether
16:50:08 20       A.    Or habit -- excuse me -- not habitat. I                 16:52:12 20   it's a tree or not; right?
16:50:10 21   think that's where animals live. I apologize.                     16:52:14 21              MR. CIRSCH: Object to form.
16:50:12 22   Strike that.                                                      16:52:15 22         Q.   (By Mr. Chachkes) Is that true or not?
16:50:12 23             If the crystalline habit is not fibrous,                16:52:16 23              MR. CIRSCH: Object to form.
16:50:17 24   then it's not something that is mined or used as a                16:52:17 24         Q.   (By Mr. Chachkes) I'm only asking about
16:50:22 25   regulated -- and it's not determined to be a                      16:52:20 25   the tree now.
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16:50:24  1   regulated asbestos.                                               16:52:21  1         A.   I don't think you would be able to tell by
16:50:24  2       Q.    All right. You remember the original                    16:52:24  2   a telescope. But if you're looking at a tree, it's a
16:50:26  3   question was not about regulations; it was about the              16:52:27  3   tree.
16:50:28  4   geological definitions; right?                                    16:52:27  4         Q.   Right. It doesn't matter how I'm looking
16:50:31  5             MR. CIRSCH: Object to form.                             16:52:29  5   at it. A tree is a tree; is that correct?
16:50:32  6             THE WITNESS: I believe I have enough                    16:52:32  6              MS. O'DELL: Object to form.
16:50:33  7       expertise to discuss the geological definitions,              16:52:33  7              THE WITNESS: Your tree analogy for a
16:50:36  8       to discuss this high tensile strength, to                     16:52:36  8         tree, that's correct.
16:50:40  9       discuss what the value of a mine is that has                  16:52:36  9         Q.   (By Mr. Chachkes) Okay. So are you
16:50:42 10       very matted, very fibrous asbestos, like                      16:52:38 10   saying it's different for asbestos? I call something
16:50:45 11       chrysotile, versus what a ton of the same                     16:52:41 11   asbestos or nonasbestiform depending on how I look at
16:50:49 12       asbestos where it's 7M and it's almost two                    16:52:44 12   it?
16:50:54 13       orders of magnitude difference. It's about the                16:52:44 13              MR. CIRSCH: Object to form.
16:50:56 14       viability of a particular asbestos mine.                      16:52:45 14              THE WITNESS: No. It's sort of a
16:50:58 15       Q.    (By Mr. Chachkes) Okay. Tremolite alone                 16:52:46 15         misleading kind of analogy.
16:51:02 16   does not mean it's asbestos; would you agree with                 16:52:48 16              What I'm talking about is back 50 years
16:51:04 17   that statement --                                                 16:52:53 17         ago, when you're looking at a tree, you said it
16:51:09 18             MS. O'DELL: Object to form.                             16:52:56 18         was a tree. Somebody asked later that -- people
         19       Q.    (By Mr. Chachkes) -- saying something's                 16:52:59 19         went in who actually knew what trees were and
         20   tremolite?                                                        16:53:02 20         said, well, 95 percent of these are oak trees 40
         21             MS. O'DELL: Object to form.                             16:53:05 21         years later. Then you go, well, what was I
16:51:10 22             THE WITNESS: It depends on what you're                  16:53:07 22         actually looking at 50 years ago for these same
16:51:11 23       talking about. If you're talking about, say,                  16:53:10 23         trees? Well, oak trees.
16:51:14 24       XRD 20, 30, 40 years ago, said tremolite in a                 16:53:11 24         Q.   (By Mr. Chachkes) I'm just talking
16:51:20 25       particular mine and over time that particular                 16:53:13 25   about -- okay. Stick with me here. Don't talk about
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16:53:16  1   history. Don't talk about the way I'm looking at                   16:55:09  1   sorry. Strike that. Start again.
16:53:18  2   things. Don't talk about regulations.                              16:55:19  2              Do you agree with this statement:
16:53:20  3              Just strictly objectively, what is                      16:55:21  3   Crushing of nonasbestiform amphibole can lead to
16:53:24  4   nonasbestiform versus asbestiform?                                 16:55:24  4   elongate fragments that conform to the definition of
16:53:27  5              MR. CIRSCH: Object to form.                             16:55:27  5   a fiber?
16:53:28  6       Q.     (By Mr. Chachkes) And if you can do that                16:55:30  6       A.     I've not seen those with these counting
16:53:30  7   without telling me -- without -- can you do that                   16:55:35  7   rules. Certainly we have seen lots of these
16:53:33  8   without talking about the device I'm looking at it                 16:55:38  8   fragments that are below 5-to-1 aspect ratio.
16:53:34  9   with? Is that possible?                                            16:55:45  9              I'm not ruling it out, but we typically
16:53:37 10              MR. CIRSCH: Object to form.                             16:55:47 10   don't see that. When we did a size distribution
16:53:38 11              THE WITNESS: No --                                      16:55:51 11   of --
16:53:40 12       Q.     (By Mr. Chachkes) Okay. What --                         16:55:52 12       Q.     I'm not talking about what you can't
         13       A.     -- because --                                           16:55:54 13   see --
16:53:43 14              MR. CIRSCH: Let him answer.                             16:55:55 14              MR. CIRSCH: Hold on.
16:53:43 15              THE WITNESS: What we're doing here is                   16:55:56 15              THE WITNESS: Hold on, hold on.
16:53:44 16       we're using sophisticated devices to make the                  16:55:57 16              We don't typically see that but your
16:53:49 17       determination if these are regulated asbestos or               16:55:59 17       hypothetical, if it does have parallel sides, if
16:53:50 18       not.                                                           16:56:02 18       it does meet all the definitions of the counting
16:53:50 19              I understand that maybe for whatever                    16:56:04 19       rules, you can call it what you like, but it's
16:53:52 20       reason you want to just pick little pieces here                16:56:07 20       regulated asbestos per the standard counting
16:53:55 21       and there, but this is not what we do with this                16:56:10 21       rules for every one of these TEM methods that I
16:53:56 22       analysis.                                                      16:56:13 22       have referenced in my report.
16:53:57 23              We're using standard peer-reviewed                      16:56:15 23       Q.     (By Mr. Chachkes) I kind of lost track
16:54:02 24       published protocols for the determination of                   16:56:17 24   there.
16:54:05 25       regulated asbestos fibers and bundles.                         16:56:17 25              Do you agree with the statement: Crushing
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16:54:08  1       Q.     (By Mr. Chachkes) Tremolite -- just                     16:56:20  1   of asbestiform amphibole can lead to elongate
16:54:10  2   saying something is tremolite does not mean it's                   16:56:23  2   fragments that conform to the definition of a fiber?
16:54:12  3   asbestos in certain contexts; is that true?                        16:56:26  3              MR. CIRSCH: Object to form.
16:54:15  4              MS. O'DELL: Object to the form.                         16:56:27  4              THE WITNESS: I've not seen one, so maybe
16:54:16  5              THE WITNESS: Again, when we do these                    16:56:29  5       somebody else has.
16:54:18  6       analyses, anything that doesn't meet the                       16:56:30  6       Q.     (By Mr. Chachkes) Okay. Do you agree
16:54:20  7       regulated asbestos counting rules we do not                    16:56:32  7   with the statement: Crushed nonasbestiform
16:54:23  8       count. You can call it whatever you like, but                  16:56:34  8   amphiboles rarely have aspect ratios exceeding
16:54:25  9       it doesn't meet the counting rules.                            16:56:37  9   30-to-1?
16:54:27 10              Everything that we have published and                   16:56:38 10       A.     I've not seen crushed -- I'm sorry, would
16:54:29 11       provided here is regulated asbestos fibers and                 16:56:42 11   you repeat that?
16:54:32 12       bundles.                                                       16:56:43 12       Q.     Crushed nonasbestiform amphiboles rarely
16:54:33 13       Q.     (By Mr. Chachkes) Okay. What is a                       16:56:46 13   have aspect ratios exceeding 30-to-1.
16:54:34 14   cleavage fragment?                                                 16:56:49 14       A.     I've rarely seen anything greater than
16:54:35 15       A.     Cleavage fragment, typically for                        16:56:53 15   1-to-1, 2-to-1, 3-to-1.
16:54:38 16   tremolite, is particulates that have an aspect ratio               16:57:00 16       Q.     The question is do you agree with that
16:54:41 17   of somewhere between 1-to-1 to 1-to-2, but they will               16:57:02 17   statement, yes or no?
16:54:44 18   have the same chemistry and the same crystalline                   16:57:03 18       A.     That's too broad. I mean, I would say
16:54:47 19   pattern.                                                           16:57:06 19   crushed particles of nonregulated asbestos fibers and
16:54:48 20       Q.     Do you agree with ISO 13794 when it                     16:57:13 20   bundles, the aspect ratio very rarely exceeds 3-to-1,
16:54:53 21   defines cleavage fragment as a fragment of a crystal               16:57:18 21   4-to-1.
16:54:57 22   that is bounded by cleavage faces?                                 16:57:19 22       Q.     Okay. ISO -- strike that.
16:55:00 23       A.     Yes.                                                    16:57:24 23              What is the average width of a tremolite
16:55:00 24       Q.     Would you agree with this statement:                    16:57:28 24   fiber under the TEM?
16:55:03 25   Crushing of nonasbestiform amphiboles can -- I'm                   16:57:31 25              MR. CIRSCH: Object to form.
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16:57:31  1              THE WITNESS: An individual fiber                            16:59:40  1        A.     Correct.
16:57:32  2        typically can run anywhere from about .2 to .4,                   16:59:40  2        Q.     Okay. Do you have a reference,
16:57:39  3        seen some as high as .5 for an individual fiber.                  16:59:43  3   peer-reviewed reference, to cite for that?
16:57:42  4        Q.    (By Mr. Chachkes) Okay. Do you have a                       16:59:45  4        A.     Every one of the counting protocols do not
16:57:44  5   peer-reviewed reference to support that?                               16:59:48  5   have a maximum on the width. They all have the same
16:57:50  6              MS. O'DELL: Your original question was                      16:59:52  6   counting protocol for the aspect ratios for the
16:57:52  7        what he had seen.                                                 16:59:56  7   length, for greater than .5 micrometers. So they're
16:57:54  8              MR. CHACHKES: Actually, no. The original                    17:00:00  8   all the same.
16:57:55  9        question was what is the average width.                           17:00:01  9               I'm not aware of any of these
16:57:56 10              THE WITNESS: I think if you look at Wylie                   17:00:02 10   peer-reviewed publications, protocols, stating that
16:57:58 11        and others, they say that single tremolite or                     17:00:08 11   there is a maximum width.
16:58:01 12        single amphibole fibers very rarely exceed .5,                    17:00:11 12               MR. CIRSCH: We've been going about an
16:58:04 13        .6. So there's a number of references out                         17:00:12 13        hour, so when you get to the next spot, can we
16:58:07 14        there. I can't remember all the citations, but                    17:00:15 14        take a break?
16:58:09 15        there's a number of references on that.                           17:00:16 15               MR. CHACHKES: Sure. Give me maybe like 5
16:58:11 16        Q.    (By Mr. Chachkes) The question is do you                    17:00:17 16        more minutes; is that okay?
16:58:12 17   have a peer-reviewed reference to cite to to support                   17:00:18 17               MR. CIRSCH: It's up to the doctor.
16:58:15 18   your testimony that the average width of a tremolite                   17:00:18 18               THE WITNESS: I would like to take a break
16:58:18 19   fiber is usually between .2 and .4?                                    17:00:20 19        now.
16:58:21 20              MR. CIRSCH: Object to form.                                 17:00:20 20        Q.     (By Mr. Chachkes) Okay. Can I just
16:58:22 21              THE WITNESS: I've seen as high as .5.                       17:00:22 21   ask -- let me ask one more --
16:58:25 22        There's a range. And it's been published                                   22        A.     Okay.
16:58:28 23        before, but no, I don't have the citation on me.                  17:00:24 23        Q.     -- because it's just basically the same
16:58:30 24        Q.    (By Mr. Chachkes) What's the average                        17:00:25 24   one, tremolite.
16:58:31 25   width of an anthophyllite fiber under TEM?                             17:00:26 25               What is the largest width a tremolite
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16:58:37  1              MR. CIRSCH: Object to form.                                 17:00:28  1   particle can have and still be characterized as a
16:58:37  2              THE WITNESS: Typically in the same range                    17:00:30  2   fiber under TEM? Is it same answer?
16:58:40  3        as tremolite.                                                     17:00:32  3        A.     It's the same answer. Now, we don't see
16:58:41  4        Q.    (By Mr. Chachkes) And do you have a                         17:00:34  4   any single fibers with widths that exceed or that are
16:58:44  5   citation for a peer-reviewed paper to support that?                    17:00:39  5   any width. I mean, it's in that range that I've
16:58:47  6        A.    Not that I can rattle off the top of my                     17:00:42  6   talked about.
16:58:51  7   head, no, sir.                                                         17:00:43  7               Typically, when it gets larger, it is a
16:58:52  8        Q.    What's the largest width an anthophyllite                   17:00:45  8   bundle, and you can have -- we've had bundles as wide
16:58:54  9   particle can have and still be characterized as a                      17:00:49  9   as 1 to 2 micrometers in diameter, but that's made up
16:58:57 10   fiber under TEM?                                                       17:00:53 10   of -- something that big is made up tens to hundreds
16:59:00 11              MR. CIRSCH: Object to form.                                 17:00:57 11   of individual fibers.
16:59:01 12              MS. O'DELL: Would you repeat that,                          17:00:57 12        Q.     But hypothetically, you see a tremolite
16:59:03 13        please?                                                           17:00:58 13   particle with a width of 1, you would still
16:59:03 14        Q.    (By Mr. Chachkes) What is the largest                       17:01:01 14   characterize that as a fiber if the aspect ratio was
16:59:04 15   width of an anthophyllite particle -- strike that.                     17:01:06 15   in the right range?
16:59:08 16              What is the largest width an anthophyllite                  17:01:08 16               MR. CIRSCH: Object to form.
16:59:10 17   particle can have and still be characterized as a                      17:01:09 17               THE WITNESS: Hypothetically, because I
16:59:12 18   fiber under TEM?                                                       17:01:11 18        don't believe we've ever seen one in any of
16:59:14 19        A.    Whatever width that will exceed equal to                    17:01:13 19        these protocol -- any of these analyses. But if
16:59:22 20   5-to-1 aspect ratio. So it doesn't have a cutoff on                    17:01:14 20        it has -- if it meets the peer-reviewed counting
16:59:26 21   the width for a single fiber. As long as it                            17:01:18 21        rules for regulated asbestos, yes, it would be
16:59:32 22   exceeds -- greater than or equal to 5 -- aspect ratio                  17:01:21 22        counted, hypothetically.
16:59:35 23   of 5.                                                                  17:01:23 23               MR. CHACHKES: Okay. Let's take a break.
16:59:36 24        Q.    So the width doesn't matter; it's the                       17:01:25 24               (Recess from 5:01 p.m. to 5:20 p.m.)
16:59:38 25   aspect ratio that matters?                                             17:21:00 25        Q.     (By Mr. Chachkes) Going back to
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17:21:07  1   Exhibit 21, which is ISO 13794, now, 2.7, that's a              1  17:23:48           Q.    Is it written down?
17:21:16  2   definition of asbestos; correct?                      17:23:51  2                     A.    Yes.
17:21:20  3         A.    2.7?                                      17:23:51  3                     Q.    Have you produced it?
17:21:21  4         Q.    Yes. On page 2.                           17:23:53  4                     A.    No.
17:21:23  5         A.    Oh.                                       17:23:54  5                           MR. CHACHKES: Okay. We'd like that
17:21:42  6         Q.    Is that a definition of asbestos?         17:23:56  6                     produced.
17:21:45  7         A.    That's their definition, yes, sir.        17:23:56  7                           MS. O'DELL: We'll consider it.
17:21:47  8         Q.    Okay. Now, I've heard you use the phrase, 17:23:57  8                     Q.    (By Mr. Chachkes) Okay. Does MAS have a
17:21:50  9   the distinction, geological and regulatory            17:23:58  9                protocol in place for describing the dimensions of
17:21:54 10   definitions as if they were different. Which one is   17:24:01 10                fibers -- sorry.
17:21:57 11   this?                                                 17:24:10 11                           What do you call that protocol? Is there
17:21:58 12         A.    It's just a general definition.           17:24:12 12                a name for it?
17:22:04 13         Q.    Okay. It's not a geological definition,   17:24:13 13                     A.    Well, the protocol is the method we have
17:22:07 14   it's not a regulatory definition, it's just a         17:24:16 14                here. It tells you how to make those measurements.
17:22:09 15   definition?                                           17:24:18 15                It has -- the microscopes have calibrated concentric
17:22:10 16         A.    Let's see. Crystallized in asbestiform    17:24:24 16                circles that allow you to make the measurements for
17:22:14 17   habit. That's for both. Long, thin, flexible,         17:24:28 17                greater than .5 micrometers. It is -- parallel sides
17:22:18 18   strong fibers when crushed or processed. They don't 17:24:33 18                  is a visual determination.
17:22:20 19   define what strong is, but that's just a general      17:24:37 19                           MR. CHACHKES: Let's look at that. Let's
17:22:23 20   definition.                                           17:24:39 20                     look at some TEM photomicrographs. Can we mark
17:22:23 21         Q.    Okay. Is it your opinion that there's no  17:24:43 21                     this Exhibit 22? Can we just put the sticker
17:22:28 22   such thing as a cleavage fragment for something that  17:24:52 22                     here so it doesn't obstruct anything?
17:22:31 23   has a greater than 5-to-1 aspect ratio?               17:24:54 23                           (Defendants' Exhibit 22 was marked for
17:22:33 24         A.    I never said that.                        17:25:15 24                     identification.)
17:22:34 25         Q.    Okay. Is there such a thing as a cleavage 17:25:15 25                     Q.    (By Mr. Chachkes) All right. Look at
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17:22:40  1   fragment for something that has a greater than 5-to-1              17:25:16  1   Exhibit 22. Can you tell me what -- that very top
17:22:41  2   aspect ratio?                                                      17:25:22  2   row of three, is that asbestiform fibers, if you knew
17:22:41  3       A.    With parallel sides we've not seen one,                  17:25:28  3   you were looking at an amphibole?
17:22:44  4   but I guess hypothetically it's possible.                          17:25:30  4        A.    Top row, this one?
17:22:46  5       Q.    Okay. Is there anything in the published                 17:25:32  5        Q.    Yeah.
17:22:55  6   literature that you've seen that suggests that there               17:25:34  6        A.    Just looking at the photograph, I would
17:22:58  7   are cleavage fragments with a greater than 5-to-1                  17:25:38  7   state that that is a regulated asbestos size --
17:23:02  8   aspect ratio?                                                      17:25:41  8   asbestiform or not for these different photographs.
17:23:02  9       A.    There's been a number of published                                 9        Q.    All right.
17:23:05 10   articles that state things like that, yes.                         17:25:48 10        A.    Certainly one, I would say two. I'd have
17:23:08 11       Q.    Are there any published articles that                    17:25:52 11   to be looking at that under a TEM to make that
17:23:11 12   state that there are cleavage fragments that have                  17:25:55 12   determination if it's asbestiform or not. It
17:23:13 13   greater than 3-to-1 aspect ratio?                                  17:25:57 13   certainly has the aspect ratio; it has parallel
17:23:15 14       A.    Yes, there is publications that state                    17:26:01 14   sides. That would be a regulated asbestos, at least
17:23:19 15   that.                                                              17:26:02 15   in TEM. It's unclear. This may be -- this may be
17:23:19 16       Q.    Okay. If I pulled a hand-sized amphibole                 17:26:10 16   optical microscopy.
17:23:27 17   rock out that had a greater than 5-to-1 aspect ratio,              17:26:13 17        Q.    That third one on the very top row, what
17:23:32 18   would you call that a fiber?                                       17:26:17 18   could you see under TEM or do under TEM that would
17:23:34 19             MR. CIRSCH: Object to form.                              17:26:20 19   make you say, oh, that's not regulated asbestos,
17:23:34 20             THE WITNESS: If it is a rock and doesn't                 17:26:25 20   assuming it's an amphibole?
17:23:36 21       have any parallel sides that define a fiber, no.               17:26:26 21        A.    Well I would have to be looking at it
17:23:40 22       Q.    (By Mr. Chachkes) Does MAS have a                        17:26:28 22   under the TEM so -- you're looking at an optical
17:23:42 23   protocol in place for describing the dimensions of                 17:26:32 23   microscopy picture.
17:23:44 24   fibers under the visual inspection under TEM?                      17:26:33 24        Q.    But what is it you would be -- what is it
17:23:47 25       A.    Yes.                                                     17:26:36 25   that you could see under a TEM that would make you
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17:26:38  1   think that's not -- because the aspect ratio                       17:28:56  1       Q.       Well, let's not get ahead of ourselves.
17:26:40  2   obviously is greater than 5-to-1; right?                           17:29:00  2                Now, in the third row, do you have enough
17:26:41  3        A.    Well, I would take a look at it and see                 17:29:04  3   information from these pictures to see whether
17:26:43  4   parallel sides, is that multiple fibers. I don't                   17:29:07  4   they're bundles or fibers?
17:26:48  5   know what magnification this is at.                                17:29:09  5       A.       No. It's too out of focus.
17:26:50  6              So again, I would prefer to be looking at                         6       Q.       Okay.
17:26:51  7   something under a TEM than just play                               17:29:12  7       A.       I would -- looks like you have dark field
17:26:54  8   guess-what-this-is.                                                17:29:15  8   here. I would have to see this in the TEM.
17:26:54  9        Q.    Okay. So it's possible what you're                      17:29:17  9       Q.       Okay. In the second row, far left, do you
17:26:56 10   looking at there which has an aspect ratio of -- it's              17:29:21 10   have enough -- does it appear to you whether there
17:27:00 11   greater than 5-to-1; right?                                        17:29:24 11   are bundles or fibers?
17:27:01 12        A.    That's correct.                                         17:29:25 12       A.       No, you can't make out. Most of these are
17:27:02 13        Q.    Okay. It's possible that that's not --                  17:29:27 13   just particles. And I would have to be looking at
17:27:04 14   that's nonasbestiform if it doesn't have parallel                  17:29:31 14   this one that has parallel sides. But I would have
17:27:08 15   sides; is that true?                                               17:29:36 15   to be determining if I could see individual fibers in
17:27:09 16        A.    Again, this is an optical microscopy                    17:29:38 16   it or not.
17:27:11 17   picture. So unless I was looking at this under the                 17:29:39 17       Q.       In the fourth row, second from the bottom,
17:27:14 18   TEM, but certainly has parallel sides. I don't know                17:29:46 18   are these asbestiform?
17:27:17 19   the width. I can't really make out the micron bar, I               17:29:48 19       A.       Maybe.
17:27:21 20   don't know the magnification.                                      17:29:50 20       Q.       What additional information would you need
17:27:22 21              So you'll have to get some other expert to              17:29:53 21   to determine that?
17:27:25 22   take a look at it, if he's willing to opine what that              17:29:53 22       A.       I need to be looking at it in the TEM
17:27:29 23   is versus the counting rules in the TEM.                           17:29:58 23   or -- so that I can make a determination. The size,
17:27:32 24        Q.    In the second row, assuming that                        17:30:02 24   the magnification.
17:27:36 25   everything in the second row is amphibole, would you               17:30:08 25       Q.       Do you have enough information in the
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17:27:40  1   call those asbestiform or not?                                     17:30:10  1   second -- in that second-to-last row, those three
17:27:44  2        A.    Again, I'm looking at an optical                        17:30:13  2   pictures, to determine whether that's asbestiform?
17:27:51  3   microscopy picture. We've got a bundle that -- I                   17:30:15  3       A.       I wouldn't make that call either way
17:27:58  4   mean, I can't look at the micron bar. Possibly just                17:30:19  4   unless I could be looking at it under the TEM. It
17:28:01  5   the one in the middle because you can see individual               17:30:22  5   looks like very little magnification. And I
17:28:03  6   fibrils.                                                           17:30:25  6   apologize, but they're fairly poor photographs.
17:28:04  7        Q.    Okay. If you saw that under your TEM,                   17:30:28  7       Q.       Okay. In the last row, same question. In
17:28:07  8   would you label that as asbestos?                                  17:30:31  8   those three pictures at the very bottom of
17:28:08  9        A.    Well, I'm not looking at it under TEM. So               17:30:34  9   Exhibit 22, are those -- see the single fibers -- the
17:28:13 10   if it's under an optical microscopy method and it                  17:30:37 10   single item in the middle, would you call that
17:28:16 11   meets the definition, it's got parallel sides, it                  17:30:40 11   asbestiform?
17:28:20 12   looks like it has multiple fibers in the bundle, that              17:30:41 12       A.       It has parallel sides. I can't see
17:28:23 13   by definition is asbestiform.                                      17:30:48 13   individual fibers. But I would call that a regulated
17:28:25 14        Q.    And why do you say it looks like it has                 17:30:52 14   asbestos fiber or bundle, maybe.
17:28:28 15   multiple fibers in the bundle?                                     17:30:55 15                Again, I would need to be looking at the
17:28:29 16        A.    Because I can see them.                                 17:30:57 16   TEM analysis of these or at least better photographs.
17:28:30 17        Q.    Okay. You're referring to the lines that                17:31:01 17       Q.       Okay. So the bottom six are all TEM
17:28:34 18   go from the northwest towards the southeast starting               17:31:08 18   photomicrographs from you? You realize that; right?
17:28:36 19   in the top?                                                        17:31:12 19                MR. CIRSCH: Object to form.
17:28:37 20        A.    Yes, sir.                                               17:31:13 20                THE WITNESS: And that's fine. If you
17:28:37 21        Q.    Okay. In the third row, assuming those                  17:31:14 21       tell me which ones they are, at least I can get
17:28:40 22   are amphiboles, do you have enough information to                  17:31:17 22       better images.
17:28:44 23   determine whether they're asbestiform?                             17:31:17 23       Q.       (By Mr. Chachkes) These are the images
17:28:46 24        A.    I can't really see what we have here under              17:31:20 24   you provided to us; right?
17:28:50 25   these. And I'm assuming the fourth and five row --                 17:31:22 25       A.       Well, when we provide the book, we provide
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17:31:25  1   a large photograph that has better resolution,                           17:34:12  1         A.   Correct.
17:31:30  2   et cetera.                                                               17:34:12  2         Q.   If there's a stark difference between the
17:31:33  3          Q.      Okay. Yeah, let's go look at -- let's                     17:34:18  3   ratio of fibers to bundle found as compared between
17:31:35  4   look in the book, the upper left. So from the                            17:34:21  4   the MDL sample analysis and the non-MDL sample
17:31:38  5   bottom -- what?                                                          17:34:25  5   analysis, what would explain that?
17:31:44  6                  MS. TROVATO: I'll let you know which one                  17:34:26  6              MR. CIRSCH: Object to form.
17:31:45  7          I have marked.                                                    17:34:27  7              THE WITNESS: That there was more bundles
17:31:47  8                  MR. CHACHKES: Okay. I'm going to grab                     17:34:29  8         than fibers.
17:31:48  9          one for you from the book. Just tear it out.                      17:34:30  9         Q.   (By Mr. Chachkes) Aren't they supposed to
17:31:54 10          Okay. Let's mark it as Exhibit 23.                                17:34:31 10   be the same thing, representative sample of J&J talc?
17:31:59 11                  (Defendants' Exhibit 23 was marked for                    17:34:35 11              MR. CIRSCH: Object to form.
         12          identification.)                                                  17:34:35 12              THE WITNESS: Not necessarily.
17:32:21 13                  (Off the record.)                                         17:34:36 13         Q.   (By Mr. Chachkes) Why not?
17:32:21 14          Q.      (By Mr. Chachkes) Okay. So around                         17:34:37 14         A.   It's just a matter of where -- the area in
17:32:23 15   page 985. Okay. So this one corresponds to second-                       17:34:40 15   the mine and what was dug out, if that was correct,
17:32:28 16   to-the-last row, far right; correct?                                     17:34:42 16   then we should say that all J&J talc has these
17:32:34 17          A.      Yes.                                                      17:34:46 17   concentrations of asbestos. So that doesn't bother
17:32:34 18          Q.      Okay. Are you looking at something that's                 17:34:50 18   me.
17:32:36 19   asbestiform there?                                                       17:34:50 19         Q.   You think it might be random chance that
17:32:37 20          A.      I'm looking at a regulated asbestos                       17:34:55 20   the same mine samples in your old reports you report
17:32:43 21   structure. We have talc underneath it. But I would                       17:35:00 21   majority of fibers, and in your new reports you
17:32:46 22   see individual fibers -- you know, I'm not on the                        17:35:04 22   report as almost exclusively bundles?
17:32:51 23   TEM. This is only 1/2 micrometer in width, but it                        17:35:06 23              MR. CIRSCH: Object to form.
17:32:54 24   looks like we have individual fibers in here. So                         17:35:08 24              THE WITNESS: We just call them as we see
17:32:56 25   yes.                                                                     17:35:09 25         them.
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17:32:56  1          Q.      Okay. Is this -- so for those of us who                   17:35:10  1         Q.   (By Mr. Chachkes) But is it random
17:33:03  2   are trying to determine whether you made the right                       17:35:11  2   chance? That's what I'm asking.
17:33:05  3   call, is this photomicrograph enough to determine the                    17:35:12  3         A.   I don't know if it's random chance or not.
17:33:08  4   morphology of what we're looking at?                                     17:35:16  4   These are what we distinguish as fibers and bundles.
17:33:13  5          A.      Yes.                                                      17:35:20  5         Q.   Okay. One would expect a random sample of
17:33:14  6          Q.      Okay. In your old reports, the reports                    17:35:23  6   bottles from a Vermont mine over time to have the
17:33:33  7   that were the non-MDL samples, would you agree that                      17:35:27  7   same ratio whether you are looking last year or this
17:33:36  8   you characterized the majority of the particles                          17:35:30  8   year; right?
17:33:38  9   identified as fibrous, not bundles?                                      17:35:31  9              MR. CIRSCH: Object to form.
17:33:41 10                  MR. CIRSCH: Object to form.                               17:35:32 10              THE WITNESS: I'm only aware of in the old
17:33:42 11                  THE WITNESS: I don't think I ever counted                 17:35:36 11         samples that there was two that could be said
17:33:45 12          them up.                                                          17:35:39 12         came from Vermont. So we're looking at a much
17:33:45 13          Q.      (By Mr. Chachkes) Okay. In your MDL --                    17:35:42 13         bigger population of Vermont samples than we
17:33:50 14   but the majority, the large majority is fiber, not                       17:35:45 14         were of the originals. And one of those was a
17:33:53 15   bundles in the old MDL reports?                                          17:35:50 15         MDL sample. So you're comparing apples and
17:33:56 16                  MS. O'DELL: Object to form.                               17:35:54 16         oranges.
         17                  THE WITNESS: I'm not sure I agree with                    17:35:55 17         Q.   (By Mr. Chachkes) What about the Italian?
17:33:58 18          that.                                                             17:35:56 18         A.   The Italian, I'd have to look at it and
17:33:58 19          Q.      (By Mr. Chachkes) I'm sorry, the old                      17:36:01 19   count them up because there wasn't that many fibers
17:33:59 20   non-MDL reports.                                                         17:36:04 20   as compared to the others, so we have a bigger pool
17:34:00 21          A.      I'd have to look at them to see if I agree                17:36:06 21   of fibers and bundles.
17:34:03 22   with that or not.                                                        17:36:07 22         Q.   If you did the entire set of MDL samples
17:34:03 23          Q.      Okay. In your new -- the MDL reports,                     17:36:10 23   over again, would you expect to find the same ratio
17:34:07 24   about 96 percent of the particles your analysts                          17:36:13 24   of bundles to fibers?
17:34:11 25   identify are bundles; correct?                                           17:36:17 25              MR. CIRSCH: Object to form.
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17:36:17  1              THE WITNESS: I don't have any expectation            1     17:38:49                  THE WITNESS: I'd have to look and see who
17:36:19  2         of what we're going to find or what we expect.  17:38:50  2                       the four people are because there are some folks
17:36:21  3         We just count using the protocols and make the  17:38:53  3                       who started doing, you know, analysis now may
17:36:25  4         decision on what morphology it is.              17:38:57  4                       not have been doing analysis then, and there's
17:36:27  5         Q.    (By Mr. Chachkes) Okay. Have you          17:38:59  5                       some folks doing analysis then that are not
17:36:28  6   testified that the modified Blount TEM method you     17:39:02  6                       doing analysis now. It's just easy to look in
17:36:31  7   employed in your March 2018 report is materially      17:39:05  7                       the count sheets and see if they're the same or
17:36:35  8   identical to the ISO 22262?                           17:39:08  8                       not.
17:36:37  9         A.    I don't think I -- it's not identical.    17:39:08  9                       Q.      (By Mr. Chachkes) Is there additional
17:36:43 10   The old Blount report uses a different heavy density  17:39:12 10                   data concerning the samples upon which you reported
17:36:47 11   liquid separation. But the ISO, we can use the same   17:39:15 11                   for TEM that is in a file somewhere in your
17:36:52 12   spin rate, same time for rpm and spin rate.           17:39:20 12                   laboratory but not printed out and not produced?
17:36:59 13               But the difference is the -- even the old 17:39:22 13                       A.      All the data for these particular samples
17:37:03 14   Blount is the same. And that's -- what's interesting  17:39:25 14                   are here.
17:37:06 15   about the ISO 22262-2, it gives you the leeway to use 17:39:25 15                       Q.      Okay. Was there any data generated in
17:37:11 16   whatever you need to use. And the only thing it       17:39:28 16                   connection with the TEM analysis in this case that
17:37:16 17   really specifies is the density of the heavy liquid.  17:39:30 17                   was thrown away or deleted?
17:37:21 18         Q.    You used the Blount TEM method in your    17:39:32 18                       A.      No, not that I'm aware of.
17:37:23 19   March 2018 report; correct?                           17:39:34 19                       Q.      You personally have not conducted any of
17:37:24 20         A.    Correct.                                  17:39:37 20                   the PLM testing included in your MDL report; correct?
17:37:24 21         Q.    Was it materially identical to what's     17:39:40 21                       A.      That is correct.
17:37:28 22   mandated in ISO 22262?                                17:39:40 22                       Q.      Did you sit with your analysts as they did
17:37:32 23         A.    ISO 22262 doesn't mandate any particular  17:39:42 23                   the PLM testing?
17:37:35 24   conditions. So you can use whatever procedures you    17:39:45 24                       A.      I have probably looked in that optical
17:37:41 25   feel work the best. And that's because the spin       17:39:47 25                   microscope 50 times in the last two months.
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17:37:45  1   rates and rpm does not really affect the overall                      17:39:50  1       Q.      So when you say you've looked in it,
17:37:48  2   concentrations, and it happened to be the same                        17:39:52  2   you've looked in it while your analysts were testing
17:37:51  3   density, liquid density.                                              17:39:58  3   MDL samples for the purposes of your current report?
17:37:53  4        Q.    You've testified that the same four                        17:40:00  4       A.      Well, you can't -- both of you can't look
17:37:56  5   associates at MAS have conducted all of MAS's                         17:40:02  5   in the microscope at the same time. A lot of times
17:37:58  6   analysis of Johnson's Baby Powder in your reports                     17:40:05  6   it's on the monitor that we use so that we can
17:38:01  7   going all the way back to 2017; is that correct?                      17:40:09  7   increase the sensitivity. But, no, I don't
17:38:03  8              MR. CIRSCH: Object to form.                                17:40:12  8   personally do the PLM analysis.
17:38:04  9              THE WITNESS: We have some of the same                      17:40:14  9       Q.      Yeah, but I'm trying to get the sense of
17:38:08 10        people, yes.                                                     17:40:16 10   were you actively involved looking through the
17:38:09 11        Q.    (By Mr. Chachkes) Okay. What about are                     17:40:20 11   microscope or looking along with the other person
17:38:11 12   they the same? Is it the same people who were                         17:40:23 12   into the microscope for the PLM that's reported on in
17:38:13 13   doing -- analyzing Johnson Baby Powder in early 2017                  17:40:25 13   the MDL?
17:38:19 14   as are doing it now?                                                  17:40:27 14       A.      I have been active with the PLM
17:38:22 15        A.    You'll have to clarify that question.                      17:40:29 15   microscopists looking at structures, looking at
17:38:25 16        Q.    Well, there were four people doing                         17:40:34 16   different aspects of it, but ultimately he makes the
17:38:28 17   analysis in the MDL report; right?                                    17:40:38 17   decision.
17:38:30 18        A.    Correct.                                                   17:40:38 18       Q.      Okay. So the decisions -- the opinions in
17:38:30 19        Q.    There are four people doing analysis in                    17:40:43 19   your report about whether the PLM was a positive for
17:38:33 20   the reports that rely on research all the way back                    17:40:46 20   asbestos, those are the opinions of your analysts?
17:38:39 21   to -- analysis all the way back to 2017; correct?                     17:40:50 21       A.      It's not an opinion.
17:38:42 22        A.    I'd have to look at that.                                  17:40:51 22               MS. O'DELL: Form.
17:38:43 23        Q.    Okay. I'm asking is it the same four                       17:40:52 23               THE WITNESS: It meets the definition. It
17:38:46 24   people? You don't know?                                               17:40:54 24       has the right crystalline information. It meets
17:38:48 25              MR. CIRSCH: Object to the form.                            17:40:58 25       all the different definitions. To me, that is
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17:41:00  1        not an opinion.                                               17:42:56  1   correct?
17:41:01  2        Q.       (By Mr. Chachkes) Okay. Those are the                17:42:56  2       A.     Individual fibers, unless they have a
17:41:03  3   conclusions of your analysts?                                      17:42:58  3   number of fibers in a bundle. But we don't see
17:41:05  4        A.     Yes.                                                   17:43:00  4   individual fibers. In fact, we haven't seen any
17:41:06  5        Q.     Okay. You have personally never tested a               17:43:04  5   individual fiber in any of these analyses that we've
17:41:08  6   talc sample for asbestos from start to finish                      17:43:07  6   done. They've all been very large bundles.
17:41:10  7   yourself?                                                          17:43:09  7       Q.     Is it unambiguously true that asbestos
17:41:11  8        A.     That is correct.                                       17:43:19  8   particles must be at least 1/2 micrometer in the
17:41:11  9        Q.     You're not trained in using PLM for the                17:43:21  9   smallest dimension to be visible under PLM?
17:41:14 10   purposes of testing talc for asbestos?                             17:43:23 10       A.     That's what's stated. We never see
17:41:17 11               MR. CIRSCH: Object to form.                            17:43:25 11   individual fibers of any size. Everything that we
17:41:18 12               THE WITNESS: I have not taken a PLM                    17:43:30 12   have run across is these very large bundles that have
17:41:20 13        course for asbestos.                                          17:43:33 13   multiple fibers in them.
17:41:20 14        Q.       (By Mr. Chachkes) You've not published               17:43:35 14       Q.     But I'm talking about not what you're
17:41:25 15   any PLM methodologies?                                             17:43:37 15   actually seeing, but this is a matter of the
17:41:27 16        A.     No, sir. We're not using our                           17:43:41 16   resolution.
17:41:29 17   methodologies. We're using the standard protocol                   17:43:42 17              Must asbestos particles be at least 1/2
17:41:33 18   methodologies. So if we were to publish -- when we                 17:43:44 18   micrometer in the smallest dimension to be visible
17:41:36 19   publish this, we would be publishing that this is the              17:43:49 19   under PLM?
17:41:39 20   method we used. That's like everybody else.                        17:43:49 20       A.     It may be visible, but it's hard to go
17:41:42 21        Q.     Have you published any PLM work testing                17:43:53 21   through the dispersion staining and everything
17:41:44 22   for asbestos in any context?                                       17:43:55 22   associated to make a positive identification.
17:41:47 23        A.     Yes.                                                   17:43:57 23              So maybe theoretically that's possible,
17:41:51 24        Q.     What is it?                                            17:44:01 24   but it's not something that's routinely seen, that I
17:41:52 25        A.     Our gasket study, our vermiculite studies,             17:44:04 25   know of.
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17:41:59  1   our -- that have been published. A number of papers                17:44:04  1       Q.     Do you have the ability to detect asbestos
17:42:03  2   are published where it's going to be a study on                    17:44:08  2   fibers with a width of approximately .3 micrometers
17:42:05  3   exposure. You usually have to determine what the                   17:44:13  3   by PLM?
17:42:08  4   concentration of asbestos is in the materials before               17:44:15  4       A.     Again, it may be theoretically possible,
17:42:11  5   you publish that.                                                  17:44:19  5   but I'm not aware that it's routinely done. We've
17:42:12  6        Q.     Those are published in peer-reviewed                   17:44:23  6   never seen any in the cosmetic talc.
17:42:14  7   literature?                                                        17:44:25  7       Q.     Shouldn't the particle distribution be on
17:42:14  8        A.     Yes, sir.                                              17:44:33  8   a bell curve so that you would expect that some
17:42:15  9        Q.     Okay. But those are not finding asbestos               17:44:37  9   exist?
17:42:17 10   in talc; right?                                                    17:44:37 10              MR. CIRSCH: Object to form.
17:42:21 11        A.     No, sir. These are all construction                    17:44:38 11              THE WITNESS: I'm sure there is -- it is
17:42:25 12   products.                                                          17:44:41 12       in there because a lot of these we have positive
17:42:26 13        Q.     Are you an expert in PLM?                              17:44:43 13       TEMs. But these two techniques have different
17:42:30 14        A.     I think I know more than the average                   17:44:47 14       size distributions that they can see or they can
17:42:32 15   layperson.                                                         17:44:49 15       resolve or not resolve to be able to absolutely
17:42:32 16        Q.     Are you an expert in PLM?                              17:44:52 16       determine if it is regulated asbestos or not.
17:42:36 17               MR. CIRSCH: Object to form.                            17:44:56 17       Q.     (By Mr. Chachkes) Is it your position
17:42:37 18               THE WITNESS: Again, that's up to a judge               17:45:01 18   that particles below 1/2 micrometer are not
17:42:38 19        to be an expert.                                              17:45:04 19   resolvable because your analysts have never observed
17:42:39 20               I know how the analysis is done, I could               17:45:08 20   particles of that width or smaller?
17:42:42 21        do an analysis if I -- it would take me a lot                 17:45:09 21       A.     It's my position that these are fibers,
17:42:46 22        longer than what people typically do.                         17:45:12 22   and single fibers are not being resolved in this
17:42:47 23        Q.       (By Mr. Chachkes) One of the                         17:45:15 23   matrix or seen by the PLM.
17:42:48 24   disadvantages of PLM that you cite is that it cannot               17:45:20 24       Q.     Is that because your analysts haven't
17:42:51 25   resolve particles less than 1/2 micrometer; is that                17:45:22 25   observed it, or is it just because of the nature of
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17:45:24  1   the devices? Do you have some higher level                        17:47:37  1       A.    I did not.
17:45:27  2   understanding of the nature of the devices?                       17:47:39  2       Q.    Did you participate in the drafting of any
17:45:29  3             MR. CIRSCH: Object to form.                             17:47:42  3   ISO standards?
17:45:30  4       Q.    (By Mr. Chachkes) It is empirical or is                 17:47:43  4       A.    I did not.
17:45:32  5   it something different?                                           17:47:44  5       Q.    Have you spoken with any of the authors of
17:45:32  6             MR. CIRSCH: Object to form.                             17:47:46  6   any of the ISO standards that we talked about today?
17:45:33  7             THE WITNESS: I don't know if it's                       17:47:50  7       A.    Not in some time, but not specifically
17:45:36  8       empirical or not.                                             17:47:53  8   about the 22262-1 and 2.
17:45:37  9             I mean, we haven't answered all the                     17:47:55  9       Q.    What about 3?
17:45:40 10       questions about the PLM analysis of cosmetic                  17:47:57 10       A.    No, sir, I haven't spoken to anybody about
17:45:43 11       talc. But we do know that to do a PLM analysis                17:48:00 11   3 -- any of the authors of 3.
17:45:48 12       properly, you have to spend the time necessary.               17:48:01 12       Q.    Which of the three parts of the ISO 22262
17:45:51 13       You have to look at the sample in dispersion                  17:48:06 13   did your analysts employ in the analysis of the ISO
17:45:56 14       staining. You need a high definition camera as                17:48:11 14   PLM portion of your report?
17:45:58 15       well as a monitor so that you can resolve and                 17:48:15 15             MR. CIRSCH: Object to form.
17:46:02 16       get the focal plane necessary to see individual               17:48:16 16             THE WITNESS: All the counting rules, all
17:46:04 17       fibers.                                                       17:48:18 17       the -- what's defined as asbestiform, what's the
17:46:06 18             But we haven't run across individual                    17:48:22 18       20-to-1. Everything that's used in there.
17:46:08 19       fibers. I know every protocol says, well, you                 17:48:26 19       Q.    (By Mr. Chachkes) So you're saying it
17:46:10 20       can see down to .5, you can see down to .3.                   17:48:28 20   didn't matter, it's the same in all of 1 -- part 1,
17:46:14 21       There's one thing about seeing them. There's                  17:48:31 21   part 2, and part 3?
17:46:16 22       another thing going through the process of being              17:48:32 22       A.    Well, I misunderstood the question.
17:46:18 23       able to see the colors in the dispersion                      17:48:34 23       Q.    Yeah, let me ask it again a little better.
17:46:21 24       staining, the extinction angle.                               17:48:36 24             Which of part 1, part 2, or part 3 did
17:46:24 25             I just don't know if that's really                      17:48:41 25   your analysts use when they analyzed the MDL samples
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17:46:26  1       possible because this type of matrix that we're               17:48:48  1   under PLM?
17:46:30  2       looking at is so different than what PLM                      17:48:49  2       A.    Part 1.
17:46:32  3       analysts are typically dealing with.                          17:48:49  3       Q.    Do you know when those methods in part 1
17:46:35  4       Q.    (By Mr. Chachkes) Did MAS test any talcum               17:48:53  4   were promulgated?
17:46:41  5   powder samples with the ISO 22262 method prior to the             17:48:55  5       A.    Looks like 2012/07/01.
17:46:44  6   analysis included in your reports in this case?                   17:49:06  6       Q.    What do you mean by 2012/07/01?
17:46:47  7             MR. CIRSCH: Object to form.                             17:49:12  7       A.    I'm just looking at when it says it was
17:46:48  8             THE WITNESS: No. I mean, we may have --                 17:49:14  8   issued. ISO -- so it has 2012, first edition, and I
17:46:51  9       you know, we're slowly trying to work through                 17:49:22  9   don't know if they're using 07 as the day and 01 as
17:46:54 10       the old non-MDLs so that we can compare apples                17:49:26 10   the month or the other way around.
17:46:58 11       to oranges. But when we get done with that,                   17:49:27 11       Q.    So part 1 was promulgated in 2012?
17:47:03 12       we'll issue another report.                                   17:49:31 12       A.    Yes, sir.
17:47:03 13       Q.    (By Mr. Chachkes) Have you analyzed the                 17:49:31 13       Q.    Okay. Are you aware of any other talc
17:47:05 14   old talcum powder samples under ISO 22262 recently?               17:49:34 14   testing methods published in the scientific
17:47:12 15       A.    I don't know. I haven't been focused in                 17:49:36 15   literature from 1991 to 2014 that include a
17:47:15 16   on that. There may be some done.                                  17:49:41 16   concentration method?
17:47:17 17       Q.    Is it possible -- strike that.                          17:49:43 17       A.    Let's see. When was --
17:47:22 18             ISO 22262 method is promulgated by the                  17:49:46 18       Q.    You should use yours.
17:47:28 19   International Organization for Standardization; is                17:49:49 19       A.    I'm just looking at the date.
17:47:28 20   that correct?                                                     17:49:51 20             This one was 2014.
17:47:29 21       A.    Yes, sir.                                               17:49:53 21       Q.    You say this one's part 2; correct?
17:47:29 22       Q.    Are you currently a member of any of the                17:49:55 22       A.    Part 2.
17:47:32 23   ISO national standards bodies?                                    17:49:55 23       Q.    Yeah. So I'm saying between 1991 and
17:47:33 24       A.    I am not.                                               17:49:58 24   2014, are you aware of any testing -- talc testing
17:47:34 25       Q.    Did you vote on any of the ISO standards?               17:50:01 25   methods in the published scientific literature that
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17:50:03  1   include a concentration method?                                   17:52:41  1   looking at the area that is covered by the asbestos
17:50:16  2       A.    The 1989 and 1990 papers published by                   17:52:45  2   versus the area that you're looking at. So there's
17:50:19  3   Blount. She's analyzing talc. She's using the                     17:52:48  3   calibrated petrographic materials to help optical
17:50:23  4   concentration method.                                             17:52:54  4   microscopists to make these qualitative estimates.
17:50:25  5       Q.    Are you aware of any other?                             17:52:58  5       Q.    How often do you update your lab's weight
17:50:27  6       A.    That specifically say talc, no.                         17:53:02  6   percentage standards?
17:50:30  7       Q.    Are you aware of any other talc testing                 17:53:03  7       A.    I think we updated them the last time we
17:50:33  8   methods published in the scientific literature prior              17:53:08  8   sent stuff to Lee Poye.
17:50:36  9   to 1991 that include a concentration method?                      17:53:10  9       Q.    And what regularity -- with what
17:50:39 10       A.    Not in the published literature, no.                    17:53:14 10   regularity do you update those?
17:50:44 11       Q.    One strength of PLM is that it can provide              17:53:17 11       A.    We don't have a regulatory. We make new
17:50:48 12   a qualitative estimate of the weight percentage of                17:53:19 12   standards and send them off; and if we need
17:50:52 13   asbestos; true?                                                   17:53:22 13   additional standards, we make them again.
17:50:53 14       A.    That is a strength, yes.                                17:53:24 14       Q.    Who generated those standards?
17:50:55 15       Q.    What does the word qualitative mean in                  17:53:25 15       A.    Victoria Panariello.
17:50:58 16   that answer?                                                      17:53:28 16       Q.    Okay. Did you monitor her when she did
17:50:59 17       A.    That it's an estimate based on                          17:53:31 17   that?
17:51:01 18   petrographic standards for how much material is --                17:53:32 18       A.    Did I sit here and -- stand there and
17:51:09 19   that you're estimating on.                                        17:53:34 19   watch her? No.
17:51:11 20       Q.    Your analysts conducted a visual                        17:53:35 20       Q.    Did you monitor her in any other way?
17:51:14 21   estimation of the concentration of asbestos fibers in             17:53:37 21       A.    No.
17:51:16 22   the talc samples?                                                 17:53:37 22       Q.    Are you aware your method includes a
17:51:17 23       A.    Asbestos bundles, yes, sir.                             17:53:41 23   qualification that visual estimations of asbestos
17:51:19 24       Q.    Okay. Your report also references                       17:53:43 24   concentrations pursuant to this method have been
17:51:25 25   generated weight percentage standards; correct?                   17:53:46 25   demonstrated to consistently yield an overestimate of
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17:51:29  1       A.    Yes.                                                    17:53:49  1   the proportion of asbestos?
17:51:29  2       Q.    How were your lab's weight percentage                   17:53:53  2             MS. O'DELL: Object to the form.
17:51:33  3   standards generated?                                              17:53:54  3             THE WITNESS: I'm sorry, where is this
17:51:35  4       A.    You mean the spike samples?                             17:53:55  4       stated?
17:51:37  5       Q.    Yes.                                                    17:53:56  5       Q.    (By Mr. Chachkes) In one of the ISO
17:51:37  6       A.    Taking that one JBP, I think it's number                17:53:57  6   documents that you're referring to, does it say that
17:51:51  7   13, and then you mix the appropriate materials                    17:54:00  7   this method that we're talking about consistently
17:51:53  8   together so that you get a weight percent -- a                    17:54:04  8   yields an overestimate of the proportion of asbestos?
17:51:58  9   weighted percent, where you put -- say,                           17:54:08  9   Are you aware of that?
17:52:02 10   hypothetically, you know, 5 grams of tremolite and                17:54:09 10       A.    I don't recall that.
17:52:05 11   then you then dilute the sample with additional talc              17:54:10 11       Q.    Okay. Do you believe that this
17:52:08 12   to make it .1 or .2 or .3. Standard method.                       17:54:16 12   methodology we're talking about consistently yields
17:52:13 13       Q.    Okay. Did you produce those generated                   17:54:18 13   an overestimate of the proportion of asbestos?
17:52:16 14   calculations?                                                     17:54:20 14       A.    No.
17:52:17 15       A.    No.                                                     17:54:20 15       Q.    Did your analyst use a point counting
17:52:18 16       Q.    Okay. We request that you produce those.                17:54:45 16   method?
17:52:20 17             In your report you write that for positive              17:54:46 17       A.    No.
17:52:25 18   samples a visual estimation of the quantity of                    17:54:46 18       Q.    ISO 22262-2 includes a method for point
17:52:28 19   asbestos observed was based on eye calibration                    17:54:51 19   counting by PLM; correct?
17:52:32 20   through review of lab-generated weight percentage                 17:54:53 20       A.    It does.
17:52:36 21   standards.                                                        17:54:54 21       Q.    So instead of following the point counting
17:52:36 22             Does that ring a bell?                                  17:55:01 22   method in ISO 22262-2, you used an estimation based
17:52:38 23       A.    Yes.                                                    17:55:07 23   on eyeball?
17:52:38 24       Q.    What is eye calibration?                                17:55:10 24             MR. CIRSCH: Form.
17:52:39 25       A.    It's a petrographic term for when you're                17:55:11 25             THE WITNESS: Estimation-based typical PLM
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17:55:12  1        analysis, that's also in the 22262-1. They give                  17:57:35  1         or any tensile strength.
17:55:16  2        you both, the ability to do either one.                          17:57:38  2              It does not define what high is. It does
17:55:19  3        Q.        (By Mr. Chachkes) I'm talking about                    17:57:40  3         not define how you determine flexibility on a
17:55:21  4   22262-2, is there the eyeballing method in 22262-2?                   17:57:43  4         microscopic scale.
17:55:27  5                  MR. CIRSCH: Object to form.                            17:57:45  5              I guess that is just an opinion of
17:55:27  6                  THE WITNESS: We only do the section 16,                17:57:48  6         somebody taking a look at it. But it's not
17:55:30  7        section 14 in the counting rules for TEM in the                  17:57:51  7         required for this analysis.
17:55:35  8        ISO 22262-2.                                                     17:57:53  8         Q.    (By Mr. Chachkes) I'm not asking a
17:55:37  9        Q.        (By Mr. Chachkes) So is it your opinion                17:57:55  9   question at all about what's required. I'm asking
17:55:38 10   that the ISO 22262-2 point counting method is not                     17:57:57 10   about what your opinion is. Do the fibers you
17:55:44 11   required; it's just merely optional?                                  17:58:02 11   identified as asbestiform in your report possess high
17:55:48 12        A.        22262, if you are going to do PLM, it goes             17:58:06 12   tensile strength and flexibility?
17:55:52 13   back to the 1, and it provides you the ability to do                  17:58:08 13              MR. CIRSCH: Object to form.
17:55:55 14   either/or.                                                            17:58:09 14         Q.    (By Mr. Chachkes) Did you determine that?
17:55:56 15        Q.        Okay. So it's your opinion that point                  17:58:10 15         A.   You can't determine it. The protocol
17:55:59 16   counting in 22262-2 is optional?                                      17:58:12 16   doesn't tell you how to determine it. It doesn't
17:56:03 17                  MR. CIRSCH: Object to form.                            17:58:14 17   provide any guidance on how to determine it. It
17:56:03 18                  THE WITNESS: You're going to have to show              17:58:16 18   doesn't tell you what, quote, high tensile strength
17:56:05 19        me where the point counting is in 22262-2.                       17:58:20 19   is.
17:56:09 20        Q.        (By Mr. Chachkes) Okay. Sitting here                   17:58:21 20              High tensile strength to me, personally,
17:56:10 21   today, rather than burning the time on that, do you                   17:58:21 21   probably 100 psi. I don't think that's what they
17:56:16 22   have any reason to believe it's not optional, that it                 17:58:25 22   mean, but at least there should be some guidance of
17:56:18 23   was required, you just didn't do it?                                  17:58:28 23   some sort to say, okay, somehow you have to put an
17:56:20 24                  MS. O'DELL: Object to the form.                        17:58:30 24   Instron inside your optical microscope and grab a
17:56:21 25                  THE WITNESS: No, I don't believe that.                 17:58:35 25   microscopic bundle and put it in the Instron and then
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17:56:23  1        Q.        (By Mr. Chachkes) Okay. Do you have any                17:58:37  1   measure the tensile strength, and it has to be over
17:56:23  2   reason to believe it's optional and so you had the                    17:58:41  2   5,000 psi. None of that exists.
17:56:28  3   option of not going it?                                               17:58:43  3              A methodology is supposed to -- for a
17:56:29  4                  MS. O'DELL: Object to form.                            17:58:46  4   person using a methodology is step A, step B, step C,
17:56:30  5                  MR. CIRSCH: Object to form.                            17:58:51  5   step D. There is no methodology for determining
17:56:30  6                  THE WITNESS: We follow the 22262-1 PLM                 17:58:55  6   tensile strength, much less an undefined high tensile
17:56:34  7        method. It provides the ability to do both                       17:58:58  7   strength.
17:56:37  8        types of estimation. And point counting is                       17:58:59  8         Q.   Is there anything in the published
17:56:41  9        another type of estimation.                                      17:59:00  9   literature that allows a scientist to determine the
17:56:43 10        Q.        (By Mr. Chachkes) For those particles                  17:59:03 10   tensile strength and flexibility of a putative
17:56:44 11   that you determined were asbestiform in your report,                  17:59:07 11   asbestos fiber?
17:56:48 12   for each one, is it your opinion that these are                       17:59:07 12         A.   Not individual fibers, no. There's plenty
17:56:51 13   minerals with a fibrosity in which the fibers and                     17:59:10 13   of literature that geologists walking around in a
17:56:57 14   fibrils possess a high tensile strength and                           17:59:15 14   mine can make a grab sample, usually 10 to
17:57:00 15   flexibility?                                                          17:59:18 15   15 centimeters long, they'll tape it to paper, it's
17:57:01 16                  MR. CIRSCH: Object to form.                            17:59:21 16   very flexible at that, and then they'll put it in an
17:57:01 17                  MS. O'DELL: Would you repeat that,                     17:59:24 17   Instron and pull it, and then they can determine the
17:57:02 18        please?                                                          17:59:27 18   tensile strength.
17:57:03 19                  MR. CHACHKES: Can you read that back?                  17:59:28 19         Q.   Have you ever heard of -- sorry.
17:57:24 20                  (The record was read by the reporter.)                 17:59:28 20         A.   Go ahead. I'm sorry.
17:57:24 21                  MR. CIRSCH: Object to form.                            17:59:30 21         Q.   Did you ever hear of a PLM scientist
17:57:25 22                  THE WITNESS: Again -- I guess we could                 17:59:33 22   looking at a sample and pushing it down and if it
17:57:27 23        rehash this -- that is a general definition.                     17:59:36 23   breaks versus whether it bends, that relates to
17:57:29 24        The protocol does not provide you any                            17:59:40 24   tensile strength? Have you ever heard of that?
17:57:31 25        methodology to determine high tensile strength                   17:59:41 25              MR. CIRSCH: Object to form.
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17:59:42  1                THE WITNESS: No. There's no protocol for                 19:17:43  1        Q.      (By Mr. Chachkes) So you see at the
17:59:45  2        that.                                                            19:17:44  2   bottom, this is a -- actually, what do you call this
17:59:45  3                MR. CIRSCH: Alex, we probably should                     19:17:50  3   count sheet here, this sheet, Exhibit 24?
17:59:47  4        break any time in the next few minutes, if we                    19:17:53  4        A.      It's the PLM analysis bench sheet.
17:59:50  5        can.                                                             19:17:56  5        Q.      Okay. So this Exhibit 24, which is your
          6                MR. CHACHKES: Yeah, we can take a break,                 19:17:58  6   PLM analysis bench sheet for a particular sample, you
18:01:21  7        that's fine.                                                     19:18:01  7   see at the bottom that both cleavage fragments and
18:01:21  8                (Recess from 6:01 p.m. to 6:53 p.m.)                     19:18:07  8   asbestos particles were observed?
19:15:25  9        Q.      (By Mr. Chachkes) Dr. Longo, your                        19:18:09  9        A.      Yes.
19:15:52 10   analysts reported identifying cleavage fragments in                   19:18:10 10        Q.      Okay. I see it says -- is it both
19:15:56 11   many of the samples by ISO PLM; correct?                              19:18:15 11   actinolite and tremolite cleavage fragments were
19:15:58 12        A.      Yes.                                                     19:18:18 12   observed? Am I reading that right?
19:15:58 13        Q.      How many anthophyllite cleavage fragments                19:18:19 13        A.      Yes.
19:16:01 14   did your analysts detect?                                             19:18:19 14        Q.      And let's go to -- and this is from your
19:16:03 15        A.      I don't recall them detecting any.                       19:18:24 15   report, pages 120 to 128 from your January report,
19:16:04 16        Q.      How many tremolite cleavage fragments did                19:18:28 16   the analysis for bottle M68503-010-BL1; do you see
19:16:08 17   your analysts detect?                                                 19:18:37 17   that?
19:16:08 18        A.      We just determined -- we didn't do a count               19:18:37 18        A.      Yes.
19:16:11 19   of how many cleavage fragments, only that they were                   19:18:38 19        Q.      Okay. So let's turn to the picture -- the
19:16:13 20   present.                                                              19:18:47 20   first picture we get to, which is I guess on page 2
19:16:14 21        Q.      Did you produce the data regarding the                   19:18:50 21   of this document.
19:16:16 22   cleavage fragment particles in these samples?                         19:18:51 22                Which are cleavage fragments and which are
19:16:20 23        A.      I produced all the data we have. Some of                 19:18:53 23   asbestiform, or can you not tell?
19:16:22 24   the photographs you can see some of the cleavage                      19:18:56 24        A.      Well the one that we see here that's
19:16:26 25   fragments, others you can't.                                          19:18:58 25   measured as 69 micrometers, that is asbestiform. We
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19:16:27  1        Q.      Did you quantify identified cleavage               1     19:19:03      have many talc particles, and --
19:16:32  2   fragments the way you quantified identified           19:19:06  2                        Q.      How do you know which are the talc
19:16:35  3   asbestiform fibers and bundles?                       19:19:10  3                   particles?
19:16:36  4        A.    No.                                        19:19:10  4                        A.      I'm looking at them. Because under
19:16:37  5        Q.    And you don't report on cleavage fragments 19:19:13  5                   dispersion staining they're usually anywhere from --
19:16:41  6   in your report; correct? I'm sorry, strike that.      19:19:17  6                   depending on the thickness of bluish to a brighter
19:16:45  7              You don't report on the concentration of   19:19:20  7                   yellow.
19:16:47  8   cleavage fragments in your report; correct?           19:19:21  8                                And potentially, one other asbestiform
19:16:49  9        A.    I do not.                                  19:19:28  9                   down in the lower left-hand -- next to a fairly good
19:16:50 10        Q.    Okay. And you did not take that data?      19:19:35 10                   size talc particle.
19:16:54 11        A.    Other than to note that they were present. 19:19:36 11                        Q.      It looks like the top of a T --
19:16:57 12        Q.    Okay. And you cannot state to a                     12                        A.      Yes --
19:17:00 13   reasonable degree of scientific certainty what the    19:19:37 13                        Q.      -- on its side?
19:17:02 14   concentration of cleavage fragments in any of these   19:19:39 14                        A.      -- that's a good description.
19:17:04 15   samples were; correct?                                19:19:41 15                                And as for cleavage fragments -- and I
19:17:05 16        A.    We did not quantify the numbers of         19:19:44 16                   would have to be looking in the microscope, but I
19:17:09 17   cleavage fragments that were observed other than that 19:19:46 17                   would say potentially one.
19:17:12 18   they were present.                                    19:19:49 18                        Q.      Where?
19:17:13 19              MR. CHACHKES: Okay. Let's look at this     19:19:49 19                        A.      There (indicating).
19:17:15 20        one.                                             19:19:53 20                        Q.      So you're pointing to it looks like a
19:17:19 21              All right. We're going to look at a        19:19:56 21                   yellow kernel of corn somewhere center left, and
19:17:21 22        sample where the analyst reported both cleavage  19:19:59 22                   there's a very small kind of orangish stain right to
19:17:24 23        fragments and asbestos by PLM. Let's mark 24.    19:20:03 23                   the right of it; is that what you're looking at?
         24              (Defendants' Exhibit 24 was marked for     19:20:05 24                        A.      That's what I'm saying, potentially one.
19:17:43 25        identification.)                                 19:20:08 25                        Q.      Okay. What about the next page? Do you
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19:20:14  1   see any asbestiform particles, any cleavage                           19:23:39  1   1.660 are required at intervals of 0005.
19:20:17  2   fragments?                                                            19:23:43  2               Do you see that?
19:20:18  3        A.    Well, we're looking at the exact same                      19:23:45  3         A.    Yes.
19:20:25  4   material. Now we're in perpendicular dispersion,                      19:23:50  4         Q.    Okay. Is it what's in 7.1.4.1 that led
19:20:29  5   which you have this color change, so there's no new                   19:23:57  5   you to 1.605 as the RI liquid?
19:20:33  6   information here.                                                     19:24:01  6         A.    Yes and no. Yes, it states that 1.605.
19:20:35  7        Q.    Okay. And so what you identified in the                    19:24:07  7   But, no, it's the common refractive indices liquid
19:20:37  8   previous page as a potential cleavage fragment, is                    19:24:11  8   that we use that's in the R-93, so it's one of the
19:20:40  9   that what I see, it's kind of like center, down about                 19:24:14  9   common refractive indices liquids for this type of
19:20:43 10   halfway, above what looks like a yellow delta.                        19:24:17 10   analysis.
19:20:53 11        A.    Yes.                                                       19:24:18 11         Q.    Okay. Did you use liquids at intervals of
19:20:57 12        Q.    Okay. Looking at the purple page. Tell                     19:24:23 12   005?
19:21:15 13   me when you're there. There's something an arrow is                   19:24:24 13         A.    No. We just use 1.605.
19:21:18 14   pointing at. What's that?                                             19:24:32 14         Q.    Can RI liquid 1.605 determine whether a
19:21:19 15        A.    That's the same structure we've been                       19:24:38 15   particle is anthophyllite?
19:21:22 16   looking at. It's at a higher magnification, 200                       19:24:39 16         A.    Yes.
19:21:25 17   times.                                                                19:24:40 17         Q.    Can it be used to determine whether a
         18        Q.    Okay.                                                      19:24:43 18   particle is talc?
19:21:25 19        A.    So that's the actinolite/tremolite                         19:24:44 19         A.    Yes. You can determine the difference
19:21:30 20   asbestos bundle, and the resolution on the elongation                 19:24:49 20   between the talc and the anthophyllite and the
19:21:35 21   with the gypsum filter, if it's 530 nanometers,                       19:24:53 21   tremolite in 1.605.
19:21:42 22   you're not resolving any of these very small                          19:24:55 22               You can use 1.55 if you want further
19:21:45 23   particulates.                                                         19:24:59 23   identification.
19:21:45 24        Q.    So you called it a bundle. Where are the                   19:25:00 24         Q.    What color would anthophyllite appear as
19:21:47 25   fibers?                                                               19:25:03 25   using the RI liquid 1.605?
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19:21:48  1        A.    Well, you can't see it there, but you can            1     19:25:06            A.    Under dispersion staining it's typically a
19:21:51  2   see the fibers in the dispersion staining on both the 19:25:10  2                   lightish gold versus a darker, yellowish gold on the
19:22:03  3   perpendicular and the parallel orientations.          19:25:17  3                   tremolite, as I recall correctly.
19:22:06  4         Q.    Those are the first two pages we looked   19:25:19  4                         Q.    What about talc, what color does that show
19:22:09  5   at?                                                   19:25:22  5                   up?
19:22:09  6         A.    Yes.                                      19:25:22  6                         A.    Anywhere from very bright, like as can be
19:22:09  7         Q.    Okay. Explain how you selected the        19:25:30  7                   seen in this, to, depending on the thickness, to a
19:22:17  8   refractive index liquid when you conducted -- when    19:25:34  8                   bluish kind of grayish color.
19:22:21  9   you're conducting analysis.                           19:25:37  9                         Q.    Okay. If the talc folds up on itself,
19:22:23 10         A.    The 1.605 is a common refractive indices  19:25:40 10                   will it appear as a different color, that part that's
19:22:27 11   liquid that you can use. You can use 1.605, you can   19:25:43 11                   folded up on itself?
19:22:31 12   use a 1.63 or a 1.64; but that's, in my opinion, the  19:25:44 12                         A.    We've never seen that, but I don't believe
19:22:38 13   most common refractive indices liquid for amphiboles. 19:25:46 13                   so, no.
19:22:43 14         Q.    When you call it the most common, is      19:25:47 14                         Q.    Okay. Does the peer-reviewed literature
19:22:46 15   that -- can I find that in the peer-reviewed          19:25:53 15                   tell you what the colors will be for RI 1.605 for
19:22:48 16   literature?                                           19:25:57 16                   anthophyllite talc and tremolite?
19:22:48 17         A.    Let's see. Would it say the most common?  19:25:58 17                         A.    Yes. Depending on what type of microscope
19:22:58 18   I don't know. But -- you know, I won't waste time,    19:26:04 18                   you have, if it's got an angular condenser lens and
19:23:02 19   but in the one they'll talk about the different       19:26:09 19                   what the temperature is, you can go through the
19:23:09 20   refractive indices liquids. You can use others.       19:26:11 20                   wavelengths of light and colors and pick out the
19:23:11 21         Q.    And you're looking at Exhibit 4, which is 19:26:15 21                   refractive indices for these particular types of
19:23:12 22   the 22262 part 1?                                     19:26:18 22                   amphiboles.
19:23:14 23         A.    Yes.                                      19:26:18 23                         Q.    Okay. Would you expect sometimes using RI
19:23:14 24         Q.    I'm looking at page 15 where it says,     19:26:30 24                   liquid 1.605 for anthophyllite to turn up as a color
19:23:31 25   under 7.1.4.1, RI liquids in the range of 1.605 to    19:26:32 25                   that's completely different from lightish gold?
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19:26:35  1        A.      Sometimes that happens, depending on the                   19:29:37  1   talc.
19:26:39  2   thickness of the bundle, because of the way it's                        19:29:38  2           Q.   Okay. And do you have a reference in
19:26:43  3   transmitted through the light, so then you have to                      19:29:44  3   mind, peer-reviewed reference, that shows you what a
19:26:46  4   look more around the edges of the bundle to get the                     19:29:47  4   rolled up talc looks like in a PLM?
19:26:48  5   appropriate colors.                                                     19:29:49  5           A.   I've never seen a peer-reviewed reference
19:26:49  6                But I've seen it go from everything from a                 19:29:53  6   that shows what that looks like. You know, I'll
19:26:51  7   goldish yellow to a reddish to a blue when you get                      19:29:56  7   quote from Walter McCrone himself that he's never
19:26:54  8   these really thick, multifiber bundles.                                 19:30:01  8   seen a rolled up talc particle.
19:26:57  9        Q.      And where can I find in the peer-reviewed                  19:30:03  9           Q.   And you're citing what paper?
19:27:01 10   literature this range of colors and what they                           19:30:05 10           A.   It's in my report, the reference to it,
19:27:03 11   correspond to under RI 1.605?                                           19:30:09 11   where he says exactly that he had -- for whatever
19:27:06 12        A.      The Su article. Or any article that tells                  19:30:12 12   reason, that I have never seen a rolled up talc
19:27:12 13   you how to do polarized light microscopy. You can go                    19:30:15 13   particle.
19:27:16 14   back to the early McCrone particle analysis.                            19:30:16 14           Q.   Do you know what refractive index liquid
19:27:31 15                MR. CHACHKES: Okay. Let's mark as the                      19:30:20 15   it takes to make the distinction between
19:27:32 16        next Exhibit 25.                                                   19:30:22 16   anthophyllite and talc?
         17                (Defendants' Exhibit 25 was marked for                     19:30:24 17           A.   You can use -- this is in 1.605.
19:27:59 18        identification.)                                                   19:30:30 18           Q.   Okay. Go ahead.
19:27:59 19        Q.      (By Mr. Chachkes) Okay. In your expert                     19:30:32 19           A.   You can use that. But if you're going to
19:28:03 20   opinion, is -- this is a talc particle and an                           19:30:35 20   look just at the talc alone, you use the 1.5 fiber
19:28:06 21   anthophyllite particle?                                                 19:30:40 21   refractive indices liquid.
19:28:08 22        A.      Well, you have one -- two talc particles                            22           Q.   Okay.
19:28:11 23   that you can see for sure. This is out of focus.                        19:30:43 23           A.   But you can't kind of mix and match here.
19:28:15 24   And then you have the anthophyllite asbestos bundle.                    19:30:47 24   If you're going to -- and we do that sometimes when
19:28:20 25        Q.      So the -- I'm focusing on the talc                         19:30:48 25   there's no -- if there's no asbestiform bundles in
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19:28:25  1   particle in the center. It's your opinion that what                     19:30:52  1   it, you'll see in some of our count sheets in there
19:28:28  2   happened is there's an anthophyllite fiber that has                     19:30:56  2   that it will have 1.55.
19:28:32  3   the exact length and is perfectly flush with the talc                   19:30:57  3           Q.   But it is your opinion that you can use
19:28:37  4   particle that happened to match perfectly that edge?                    19:31:00  4   1.605 to distinguish anthophyllite and talc?
19:28:41  5                MR. CIRSCH: Object to form.                                19:31:04  5           A.   Correct.
19:28:42  6                THE WITNESS: Yes.                                          19:31:05  6           Q.   Okay. Is there additional data concerning
19:28:48  7        Q.      (By Mr. Chachkes) Okay. And is there a                     19:31:22  7   the samples upon which you reported ISO PLM, as in a
19:28:49  8   chance that that actually is just the rolled up edge                    19:31:26  8   file somewhere in your laboratory but not printed out
19:28:51  9   of a talc?                                                              19:31:28  9   or produced?
19:28:52 10        A.      No.                                                        19:31:29 10           A.   I don't believe so. I tried to produce
19:28:52 11        Q.      And why do you say no?                                     19:31:31 11   everything that we took.
19:28:53 12        A.      Because you have some rolling here a                       19:31:32 12           Q.   Okay. Was there any data generated in
19:28:56 13   little bit. But it doesn't matter if it rolls up;                       19:31:34 13   connection with ISO PLM analysis in this case that
19:29:00 14   you're not going to get the same color like that.                       19:31:36 14   was either thrown away or deleted?
19:29:02 15        Q.      And you said that you can get a range of                   19:31:39 15           A.   No.
19:29:10 16   colors for anthophyllite, including red and blue.                       19:31:39 16           Q.   What are the differences, if any, between
19:29:13 17   Does the same apply for talc?                                           19:31:45 17   how your analysts employed the Blount method and how
19:29:15 18        A.      No, that's not what I said. I said if you                  19:31:50 18   it is actually written in the 1991 article?
19:29:18 19   have a very thick bundle, you're going to have the                      19:31:54 19           A.   The only difference is it's unable to
19:29:20 20   range of colors. And it happens with the                                19:31:59 20   really interpret how she counts the particulates or
19:29:22 21   actinolite/tremolite also, but you do get the primary                   19:32:03 21   if she is counting the fibers per milligram of
19:29:25 22   colors. Once it gets to a certain thickness,                            19:32:06 22   material. We've looked at that.
19:29:29 23   transmitting through the light is different. So we                      19:32:09 23                So she gives it in numbers of fibers or
19:29:33 24   have some examples of those somewhere where you can                     19:32:12 24   numbers of bundles per milligram, a number count,
19:29:35 25   get the appropriate colors. That's not rolled up                        19:32:15 25   which is the same thing we do, of course, in the TEM,
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19:32:19  1   where we just follow the procedure here for the ISO             1     19:34:47           Q.     Dr. Blount included particles in her
19:32:21  2   22262-1 for an estimated weight percent.              19:34:50  2                   particle size distribution that were below the 3-to-1
19:32:26  3        Q.     Okay. But otherwise, you followed the     19:34:53  3                   aspect ratio; correct?
19:32:28  4   1991 Blount method to the letter?                     19:34:54  4                        A.     That's correct.
19:32:31  5        A.     Pretty much.                              19:34:54  5                        Q.     Do you have any other opinions regarding
19:32:32  6        Q.     Following the Blount concentration, your  19:34:57  6                   Dr. Blount's 1990 or 1991 papers in this case beyond
19:32:37  7   analysts conducted PLM pursuant to ISO 22262-1 PLM    19:35:01  7                   those expressed in your report and that we just
19:32:41  8   method; right?                                        19:35:03  8                   discussed?
19:32:43  9        A.     That's correct.                           19:35:03  9                        A.     No.
19:32:43 10        Q.     Blount did not use that 22262-1 PLM;      19:35:04 10                        Q.     Is additional data concerning the samples
         11   correct?                                              19:35:08 11                   upon which you reported for Blount PLM in a file
19:32:49 12        A.     No, she used a fiber count method so that 19:35:11 12                   somewhere in your laboratory but not printed out and
19:32:53 13   if you look at her data, I think she has anywhere for 19:35:13 13                   produced?
19:32:57 14   that sample I, which is the Johnson & Johnson Vermont 19:35:14 14                        A.     No. We've produced everything that we
19:33:02 15   sample, 1989-1990, she finds in the range of about    19:35:17 15                   generated for the MDL.
19:33:05 16   100 to almost 235 milligrams -- fiber/bundles per     19:35:19 16                        Q.     Okay. And all data and material
19:33:11 17   milligram. So if you multiply that by 1,000 she's     19:35:22 17                   information generated about your work for the Blount
19:33:14 18   finding the ranges of concentrations at the higher    19:35:25 18                   PLM was produced?
19:33:18 19   end that we are.                                      19:35:27 19                               MS. O'DELL: Object to the form.
19:33:18 20        Q.     And --                                    19:35:28 20                               THE WITNESS: As far as I know, everything
19:33:20 21        A.     So we followed the counting rules for     19:35:29 21                        was produced for all the data we collected for
19:33:23 22   estimating weight percent. She did what we do into    19:35:32 22                        the MDL samples.
19:33:27 23   the TEM and did a number count per milligram of talc. 19:35:34 23                        Q.     (By Mr. Chachkes) Okay. And I think I
19:33:32 24        Q.     Dr. Blount's paper includes a particle    19:35:35 24                   already know the answer, but I'm going to ask it.
19:33:35 25   size distribution analysis; correct?                  19:35:37 25                   And any of the data you generated for your Blount PLM
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19:33:39  1        A.    Particle size distribution analysis for                    19:35:40  1   analysis, was any of it thrown away or deleted?
19:33:41  2   the length and size of the asbestos -- tremolite                      19:35:43  2        A.     No. We have many negatives, we have many
19:33:45  3   asbestos she was finding in the PLM, yes.                             19:35:47  3   positives, so we just reported what we saw.
19:33:47  4        Q.    And she plotted the aspect ratios of the                   19:35:50  4        Q.     In your report at page 8 you state that
19:33:50  5   particles she viewed by PLM?                                          19:35:53  5   you found fibrous talc in 98 percent of the Italian
19:33:53  6        A.    The fibrous asbestos, yes, she did.                        19:35:56  6   and Vermont talc samples by ISO 22262-1; correct?
19:33:55  7        Q.    She did this because asbestos has a                        19:36:00  7        A.     That's correct.
19:33:57  8   characteristic distribution?                                          19:36:00  8        Q.     What's your definition of fibrous talc?
19:34:00  9        A.    Milled tremolite has a characteristic                      19:36:03  9        A.     Has greater than .5 micrometers in length,
19:34:04 10   distribution, yes.                                                    19:36:08 10   has parallel sides, and it has at least 5-to-1 aspect
19:34:04 11        Q.    Okay. And the nonasbestiform version of                    19:36:12 11   ratio.
19:34:09 12   the same amphibole has a different characteristic                     19:36:12 12        Q.     Is there a scientific consensus that there
19:34:13 13   distribution?                                                         19:36:17 13   is such a thing as fibrous talc?
19:34:13 14        A.    Yes, it does.                                              19:36:21 14               MR. CIRSCH: Object to form.
19:34:14 15        Q.    And you did not generate a particle size                   19:36:22 15               THE WITNESS: I don't believe so.
19:34:17 16   distribution chart like the one in Blount's paper --                  19:36:22 16        Q.     (By Mr. Chachkes) Are you aware of any
19:34:22 17   the ones in Blount's paper in your report?                            19:36:23 17   epidemiologist or doctor who has studied the health
19:34:23 18        A.    Not for the MDL samples, no. We did for                    19:36:26 18   effects of fibrous talc?
19:34:26 19   the original analysis so that we could compare it to                  19:36:28 19        A.     I don't testify about health effects of
19:34:29 20   the NIST tremolite asbestos standard, to Blount's                     19:36:30 20   fibrous talc or regulated asbestos, so I don't have
19:34:34 21   particle size, as well as the Campbell particle size.                 19:36:33 21   any opinions about that one way or the other if
19:34:39 22        Q.    You included a table with average particle                 19:36:35 22   anybody has studied it. That's not my area.
19:34:43 23   size that your analysts recorded by TEM, however,                     19:36:37 23        Q.     You were disclosed for health and
19:34:46 24   though; right?                                                        19:36:39 24   regulatory definitions of talc; correct?
19:34:46 25        A.    Correct.                                                   19:36:41 25               MS. O'DELL: Object to the form.
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19:36:42  1              THE WITNESS: I don't believe so.                           19:39:04  1   information doesn't change because somebody doesn't
19:36:43  2        Q.    (By Mr. Chachkes) Okay. And you're not                     19:39:07  2   say one way or the other if you should do it.
19:36:45  3   here to testify about health and regulatory                           19:39:10  3        Q.    It's a simple question, if you would
19:36:48  4   definitions of talc?                                                  19:39:12  4   answer the question I'm actually asking, which is is
19:36:49  5        A.    I'm not testifying that fibrous talc has                   19:39:15  5   there a published or peer-reviewed document that you
19:36:52  6   any impact on the human body whatsoever.                              19:39:17  6   can point me to that expressly talks about a way to
19:36:55  7        Q.    Are you aware of any regulatory                            19:39:21  7   count fibrous talc?
19:36:57  8   definitions of fibrous talc?                                          19:39:22  8              MR. CIRSCH: Object to form.
19:37:00  9        A.    Fibrous talc for the protocols that we                     19:39:23  9        Q.    (By Mr. Chachkes) Putting aside whether
19:37:05 10   follow is not deemed a regulated asbestos fiber. We                   19:39:25 10   you can use some other method that doesn't say the
19:37:10 11   just follow the same counting rules that we do for                    19:39:28 11   phrase fibrous talc -- to count fibrous talc, is
19:37:13 12   asbestos to characterize what we're looking at.                       19:39:30 12   there something that expressly refers to fibrous talc
19:37:18 13        Q.    So ISO 22262, parts 1 through 3, they                      19:39:32 13   and a method to count it?
19:37:22 14   don't define fibrous talc; correct?                                   19:39:34 14              MR. CIRSCH: Object to form.
19:37:25 15        A.    They define anything that is an elongated                  19:39:35 15              THE WITNESS: I'd have to go back and
19:37:28 16   structure and fibrous that if you care to write down                  19:39:37 16        relook. None of the methods say do not count
19:37:33 17   your findings you could put it in.                                    19:39:39 17        fibrous talc.
19:37:35 18        Q.    So they define fibrous talc in that way?                   19:39:41 18        Q.    (By Mr. Chachkes) Sitting here -- okay.
19:37:37 19        A.    They define elongated fiber materials that                 19:39:42 19              MR. CIRSCH: Let him finish.
19:37:42 20   you're going to -- if you wish to count into the TEM,                 19:39:44 20              THE WITNESS: None of the methods say do
19:37:46 21   any elongated structure.                                              19:39:46 21        not count fibrous talc.
19:37:48 22        Q.    Okay. And so it's your testimony that ISO                  19:39:47 22        Q.    (By Mr. Chachkes) Yes, you said that many
19:37:55 23   22262 was meant as a method to count fibrous talc?                    19:39:49 23   times. I'm --
19:38:01 24              MR. CIRSCH: Object to form.                                19:39:49 24              MR. CIRSCH: You're interrupting him
19:38:01 25              THE WITNESS: I didn't say that.                            19:39:51 25        again. Stop. Stop.
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19:38:02  1        Q.    (By Mr. Chachkes) Is it a method to count                  19:39:52  1              THE WITNESS: Let me start over. I lost
19:38:03  2   fibrous talc? Is it meant as such as method?                          19:39:54  2        my train of thought.
19:38:06  3              MR. CIRSCH: Object to form.                                19:39:55  3              None of the methods say do not count
19:38:07  4              THE WITNESS: I don't know what it was                      19:39:57  4        fibrous talc. The 7402 -- NIOSH 7402
19:38:08  5        meant for, but it gives you the tools if you                     19:40:01  5        specifically says if it's fibrous talc, count
19:38:10  6        wish to do that. They don't restrict what you                    19:40:05  6        it, in TEM. That's one. And I'll have to --
19:38:13  7        can or can't count. Nowhere in the method does                   19:40:08  7        Q.    (By Mr. Chachkes) So --
19:38:16  8        it say don't count the fibrous talc.                             19:40:10  8              MR. CIRSCH: You keep interrupting him.
19:38:19  9        Q.    (By Mr. Chachkes) And can you identify                     19:40:12  9              MR. CHACHKES: I'm asking just to save --
19:38:26 10   anywhere where there's a method and a peer-reviewed                   19:40:12 10              MS. O'DELL: No, you're interrupting him.
19:38:30 11   literature or peer-reviewed publication where it                      19:40:14 11              MR. CIRSCH: You keep doing it, Alex.
19:38:34 12   expressly refers to fibrous talc and a method to                      19:40:16 12              THE WITNESS: So that's one.
19:38:36 13   count fibrous talc?                                                   19:40:17 13        Q.    (By Mr. Chachkes) NIOSH?
19:38:38 14        A.    All the methods allow you to do that.                      19:40:18 14        A.    NIOSH 7402 TEM method, where you're
19:38:42 15        Q.    Yeah, I'm not asking about what methods                    19:40:20 15   determining the percentage of asbestos -- regulated
19:38:44 16   allow you --                                                          19:40:24 16   asbestos defined by the counting rules versus other
19:38:45 17        A.    You interrupted me.                                        19:40:27 17   things, and it actually has talc in there.
         18        Q.    Okay.                                                      19:40:30 18        Q.    Okay. So in there I can look, and it will
19:38:46 19        A.    It's late.                                                 19:40:32 19   say here's how you count fibrous talc?
19:38:47 20              All the methods give you the tools to do                   19:40:35 20        A.    I don't think they put it that simply.
19:38:49 21   that if you wish. No method out there says do not                     19:40:38 21   But if you have knowledge about the protocols and
19:38:52 22   count this particular type of structure. Just like                    19:40:41 22   read through it, you would understand.
19:38:55 23   in Blount, where she counted the particulates and                     19:40:43 23        Q.    Okay. Putting aside whether there are
19:38:58 24   tried to get a ratio of how many amphibole asbestos                   19:40:46 24   documents that don't expressly say you can't use them
19:39:01 25   was for every number of particulates. The                             19:40:50 25   for this purpose, is there a document that says this
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19:40:53  1   is how you count fibrous talc, using the phrase                        19:42:26  1               MS. O'DELL: CMO 11, as you know, Alex,
19:40:56  2   fibrous talc?                                                          19:42:32  2        requires you to --
19:40:57  3        A.    They all say it because they say this is                    19:42:34  3               MR. CHACHKES: I'm sorry, are you
19:40:59  4   how you define a fiber. Then how you identify what                     19:42:35  4        testifying about a document?
19:41:03  5   that fiber is, you can make that decision. But every                   19:42:36  5               MS. O'DELL: I'm telling you what the
19:41:06  6   one of these TEM protocols say this is the definition                  19:42:37  6        order says.
19:41:09  7   of a fiber.                                                                      7               MR. CHACHKES: Oh, okay. I'm sorry.
19:41:10  8        Q.    Putting aside protocols and publications                    19:42:38  8               MS. O'DELL: You may not be aware of the
19:41:16  9   that talk about fibers generally, and putting aside                    19:42:39  9        order since you've not appeared in the MDL, but
19:41:18 10   your continued insistence on talking about things                      19:42:42 10        it says to --
19:41:21 11   that don't say something, is there something that                               11               MR. CHACHKES: Actually --
19:41:23 12   actually says this is how you count fibrous talc,                      19:42:42 12               MS. O'DELL: -- treat the witness with
19:41:27 13   using the phrase fibrous talc?                                         19:42:44 13        civility and respect.
19:41:29 14              MR. CIRSCH: Object to form.                                 19:42:46 14               He's answered your question, and you
19:41:33 15              THE WITNESS: It is my opinion that they                     19:42:47 15        should stop badgering him.
19:41:34 16        all give you the tools to count fibrous talc.                     19:42:49 16               MR. CHACHKES: Okay. Your objection's
19:41:37 17        Do they actually say what every mineral --                        19:42:51 17        been made.
19:41:39 18        elongated particle mineral is that you should or                  19:42:52 18        Q.     (By Mr. Chachkes) Are fibrous talc and
19:41:42 19        should not count? I'd have to go back and                         19:42:53 19   asbestiform talc different?
19:41:44 20        check.                                                            19:42:55 20        A.     No.
19:41:45 21              I'm going to give you the same answer for                   19:42:59 21        Q.     In your report at page 30 you write that
19:41:47 22        the same question. They all provide you the                       19:43:03 22   others have reported that fibrous talc is a
19:41:49 23        tools or the counting procedures to count                         19:43:06 23   geological metamorphic transformation of
19:41:53 24        whatever elongated particle you want and                          19:43:09 24   anthophyllite to fibrous talc?
19:41:56 25        identify it.                                                      19:43:11 25        A.     Yes.
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19:41:56  1        Q.    (By Mr. Chachkes) So sitting here today,                    19:43:12  1        Q.     Okay. And then you cite a couple of
19:41:57  2   you can't tell me a counting protocol that expressly                   19:43:15  2   things. There's an MVA report -- two MVA reports,
19:42:01  3   mentions this is how you count, mentioning the phrase                  19:43:19  3   right? You can go to page 30, footnotes 42, 43.
19:42:04  4   fibrous talc?                                                          19:43:28  4        A.     It should be reference 30, Virta, The
19:42:06  5              MR. CIRSCH: Object to form. He's                            19:43:44  5   Phase Relationship of Talc and Amphiboles in a
19:42:07  6        answered the question. I instruct him not to                      19:43:47  6   Fibrous Talc Sample, Bureau of Mines report is one.
19:42:09  7        answer any further.                                               19:43:50  7               Veblen, 29, New Bio -- it's late -- I
19:42:11  8              MR. CHACHKES: You're instructing him not                    19:43:56  8   can't even pronounce it -- Biopyriboles, Chester,
19:42:12  9        to answer?                                                        19:44:00  9   Vermont, talks about the polymorph transformation.
19:42:13 10              MR. CIRSCH: He answered the question. I                     19:44:06 10   That's how fibrous talc is generated --
19:42:13 11        mean, you're badgering him now with the same                               11        Q.     Okay.
19:42:15 12        question over and over again.                                     19:44:08 12        A.     -- is the -- during way back when, during
         13              MR. CHACHKES: I'm asking a different                        19:44:11 13   pressure and temperature, when you had the liquid
19:42:17 14        question.                                                         19:44:12 14   rock and -- depending on the minerals. Those are two
19:42:17 15              MS. O'DELL: Alex, I'm sure you're                           19:44:16 15   references and there's others. I didn't put all of
19:42:19 16        aware --                                                          19:44:19 16   them in there.
19:42:20 17              MR. CHACHKES: Who's objecting here?                         19:44:19 17        Q.     Okay. Let's talk about two references you
19:42:21 18              MS. O'DELL: I'm objecting right here, and                   19:44:21 18   did put in. You put in two references to MVA
         19        I'm sure you're aware --                                          19:44:24 19   reports, footnotes 42 and 43; correct?
19:42:22 20              MR. CHACHKES: Okay. Can we just keep it                     19:44:55 20               Am I correct that 42 and 43 --
19:42:24 21        to one person? It's a much more controlled                        19:44:58 21        A.     You are correct.
19:42:25 22        environment when we do that.                                      19:44:58 22        Q.     Okay. And those are reports prepared for
19:42:25 23              MS. O'DELL: Let me -- don't interrupt me.                   19:45:01 23   plaintiffs in talc litigation?
         24              MR. CHACHKES: Okay. Wait. Which Lee is                      19:45:05 24               MR. CIRSCH: Object to form.
19:42:26 25        objecting?                                                        19:45:06 25               THE WITNESS: That's my understanding.
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19:45:06  1        Q.       (By Mr. Chachkes) Okay. In your footnote                 19:46:56  1   process blank is prepared along with it so that
19:45:09  2   42, you have the date of the MVA report as 2018, but                   19:46:59  2   everything is done exactly the same except no talc.
19:45:14  3   it was actually from 2017; correct?                                    19:47:03  3   And then those samples are run through the whole
19:45:18  4        A.       That's correct.                                          19:47:07  4   preparation process, and then they are analyzed in
19:45:18  5        Q.       These MVA reports you cite in footnotes 42               19:47:09  5   the same manner as the talc samples.
19:45:22  6   and 43, those were not published; correct?                             19:47:13  6       Q.      Do your analysts run a process blank with
19:45:24  7        A.       No, sir.                                                 19:47:16  7   every single individual sample?
19:45:25  8        Q.       And they're not peer-reviewed?                           19:47:17  8       A.      No. Every set of samples that are all
19:45:27  9        A.       As far as I know, they haven't been                      19:47:20  9   prepared at the same time.
19:45:30 10   published.                                                             19:47:21 10       Q.      Okay. And so for the MDL samples, what
19:45:30 11        Q.       And they're not peer-reviewed, are they?                 19:47:24 11   would constitute a set in that context?
19:45:33 12        A.       Well, if you're talking about                            19:47:28 12       A.      Let me look, because Rigler can talk about
19:45:34 13   peer-reviewed in a publication, no.                                    19:47:48 13   it more tomorrow.
19:45:36 14        Q.       Okay. Is there another form of peer                      19:48:02 14               So we have a number of blanks, and
19:45:41 15   review you're aware of?                                                19:48:06 15   typically we have a chart that shows which process
19:45:42 16        A.       Well, any time anybody looks over a report               19:48:12 16   blanks go to which set of samples.
19:45:46 17   and writes comments about it, it's peer-reviewed.                      19:48:22 17               I'll see if Rigler can bring that
19:45:49 18        Q.       So would you call your expert report in                  19:48:23 18   tomorrow.
19:45:51 19   this case peer-reviewed?                                               19:48:30 19               I don't have that information. Typically
19:45:53 20        A.       No, sir.                                                 19:48:32 20   we give that.
19:45:55 21        Q.       Didn't Rigler look over it?                              19:48:32 21       Q.      Why do you say Rigler can bring it
19:45:58 22        A.       I'm talking about peer review where people               19:48:36 22   tomorrow? Was he involved in that process?
19:46:00 23   are looking for the scientific validity of it. It's                    19:48:38 23       A.      Well, he was involved putting this report
19:46:05 24   not -- as far as I know, the MVA talc analysis has                     19:48:40 24   together. And since he's coming tomorrow, maybe he
19:46:09 25   not been published.                                                    19:48:43 25   can get in early enough to say which set of samples
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19:46:10  1        Q.       Okay. And as far as you know, you don't                  19:48:46  1   were analyzed for each process blank.
19:46:13  2   have any information that it's been peer-reviewed?                     19:48:49  2       Q.      Sitting here today, even with the report
19:46:15  3                 MR. CIRSCH: Object to form.                              19:48:51  3   before you, you can't tell me that?
19:46:16  4                 THE WITNESS: You know, I'll give you                     19:48:53  4       A.      No, I don't see the chart that we have
19:46:17  5        that. That's correct.                                             19:49:01  5   prepared in the past.
19:46:17  6        Q.       (By Mr. Chachkes) What is MVA? What does                 19:49:03  6       Q.      Do your analysts run a process blank with
19:46:21  7   it stand for?                                                          19:49:06  7   every sample analyzed by PLM?
19:46:22  8        A.       Millette, Vander Wood & Associates.                      19:49:08  8       A.      Well, you don't have anything that you're
19:46:24  9        Q.       And both of these reports were authored by               19:49:12  9   generating. A process blank would literally be
19:46:27 10   Dr. Steve Compton?                                                     19:49:17 10   putting the glass slide on the polarized light
19:46:28 11        A.       Yes, sir.                                                19:49:20 11   microscope and looking at it because you're not
19:46:28 12        Q.       And you've testified in cases with                       19:49:20 12   filtering anything, you're not using reagents, so
19:46:30 13   Dr. Compton before; correct?                                           19:49:24 13   there's no such thing as a process blank in polarized
19:46:31 14        A.       I understand he's been in the same cases                 19:49:27 14   light microscopy.
19:46:33 15   as me.                                                                 19:49:27 15       Q.      Okay. Does the ISO method provide a
19:46:34 16        Q.       On plaintiffs' side?                                     19:49:35 16   process blank protocol?
19:46:35 17                 MR. CIRSCH: Object to form.                              19:49:38 17       A.      I don't think so.
19:46:36 18                 THE WITNESS: Yes, sir.                                   19:49:39 18       Q.      Do you follow a process blank procedure
19:46:36 19        Q.       (By Mr. Chachkes) Okay. He's also an                     19:49:42 19   pursuant to your lab's standard protocols?
19:46:38 20   expert for plaintiffs' attorneys in asbestos                           19:49:44 20       A.      Yes.
19:46:40 21   litigation?                                                            19:49:44 21       Q.      Is that written down somewhere?
19:46:41 22        A.       He has.                                                  19:49:48 22       A.      I believe so.
19:46:41 23        Q.       Describe how your analysts utilized                      19:49:49 23       Q.      All right. We would request that be
19:46:49 24   process blanks in their analysis.                                      19:49:52 24   produced.
19:46:51 25        A.       Every set of samples that are prepared, a                19:49:52 25               Turning back to your TEM process blanks,
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19:49:55  1   in your January 2019 report you write that, The                        19:52:19  1   tube is cut with a guillotine. The centrifuge tube
19:49:58  2   process laboratory blanks were prepared in the exact                   19:52:24  2   is cut with a guillotine. There's no scraping for
19:50:02  3   manner as the talc samples but without any talc                        19:52:26  3   the TEM.
19:50:04  4   material.                                                              19:52:27  4       Q.     When you ran your process blanks, the
19:50:05  5               Does that sound familiar?                                  19:52:30  5   process did not involve taking material out of the
19:50:06  6       A.      It does.                                                   19:52:33  6   MCT tubes; right?
19:50:06  7       Q.      Okay.                                                      19:52:35  7       A.     Sure, it did. It's the same way we take
19:50:07  8       A.      I wrote it.                                                19:52:38  8   the material out when we do the TEM analysis for the
19:50:08  9       Q.      Was the first step in your process blank                   19:52:41  9   process blanks. The end of the tube is cut where the
19:50:10 10   protocol centrifuging a centrifuge tube with just                      19:52:45 10   heavy materials -- the heavy minerals are, and then
19:50:15 11   heavy liquid and no talc in it?                                        19:52:49 11   it's run the exact same way.
19:50:17 12       A.      Correct.                                                   19:52:51 12       Q.     Okay. So the process blank protocol did
19:50:17 13       Q.      The first step of your process blank                       19:52:52 13   include the portion of your method where you scraped
19:50:19 14   protocol test tests both -- does it test both the                      19:52:54 14   the centrifuge from the tube which is --
19:50:25 15   centrifuge tube and the heavy liquid for                               19:52:56 15       A.     It's not scraped.
19:50:27 16   contamination?                                                         19:52:57 16              MR. CIRSCH: Object to form.
19:50:28 17       A.      Well, since it's in the centrifuge tube,                   19:52:58 17              THE WITNESS: There's no scraping.
19:50:31 18   whatever it's touched would be -- you would be                                  18       Q.     (By Mr. Chachkes) Okay.
19:50:33 19   measuring that potential for contamination.                            19:53:00 19       A.     The tip is cut with a guillotine after
19:50:36 20       Q.      It follows that your process blank                         19:53:02 20   it's been flash frozen in liquid nitrogen, and then
19:50:39 21   protocol did not include the portion of your method                    19:53:07 21   that whole tip is put into a solution and then
19:50:41 22   before centrifugation where you transferred the                        19:53:08 22   washed. There's no scraping.
19:50:44 23   samples to a balance to be weighed?                                    19:53:09 23       Q.     I'll pick a more palatable verb.
19:50:46 24       A.      Since we're putting no talc in it, that's                  19:53:13 24              It follows that -- so you're saying your
19:50:49 25   correct.                                                               19:53:14 25   process blank protocol included the portion of your
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19:50:49  1       Q.      If there was a contamination on the scale,                 19:53:15  1   method where you removed from the centrifuge the
19:50:52  2   that would not be accounted for in the process blank                   19:53:22  2   material with a spatula?
19:50:54  3   protocol; correct?                                                     19:53:27  3       A.     There's no removing from the centrifuge
19:51:00  4       A.      If. Well, there's no evidence that                         19:53:29  4   tube after the spin-down with a spatula.
19:51:04  5   there's an if in the scale. It's not just taken out                    19:53:34  5       Q.     Do you just leave the material in the
19:51:09  6   and poured onto the scale. You use weigh paper.                        19:53:36  6   centrifuge?
19:51:13  7   They're very careful about that.                                       19:53:36  7       A.     We cut the tip of -- the very bottom of
19:51:16  8               But there is -- so there's no                              19:53:38  8   the centrifuge tube off for TEM analysis, and then
19:51:19  9   contamination from the scale.                                          19:53:41  9   that whole tip is transferred inside and outside into
19:51:20 10       Q.      But it's fair to say the process blank                     19:53:44 10   the solution that is then going to be filtered where
19:51:23 11   protocol does not account for potential contamination                  19:53:47 11   you dilute the heavy liquid density material, as we
19:51:25 12   on the scale, putting aside whether there's                            19:53:50 12   do with the TEM analysis.
19:51:27 13   contamination or not?                                                  19:53:53 13       Q.     What percentage of MAS's work is testing
19:51:28 14       A.      The process blank is everything that is                    19:53:55 14   talc for asbestos?
19:51:30 15   touched: the liquid, the filtration, the filter, the                   19:53:56 15       A.     A lot.
19:51:37 16   centrifuge tube, the additional material, the                          19:54:02 16       Q.     Over 80 percent?
19:51:46 17   apparatus that holds the filter, all that is checked.                  19:54:03 17       A.     I would say right now that our revenue is
19:51:50 18       Q.      My question's about what wasn't checked.                   19:54:06 18   approximately 70 percent of talc analysis and
19:51:53 19   Was the scale checked with the process blank                           19:54:09 19   everything associated with it.
19:51:55 20   protocol?                                                              19:54:10 20       Q.     Is the remaining --
19:51:56 21       A.      You can't check the scale.                                 19:54:12 21              MR. CIRSCH: I don't know if he was --
19:51:57 22       Q.      Okay. When you ran your process blanks,                    19:54:13 22       were you done?
19:52:00 23   that process did not involve scraping samples out of                   19:54:13 23              THE WITNESS: Yeah.
19:52:03 24   the MCT tubes; right?                                                  19:54:13 24       Q.     (By Mr. Chachkes) Is the remaining
19:52:09 25       A.      Scraping samples out of the MC tube -- the                 19:54:15 25   percentage primarily testing asbestos?
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19:54:19  1        A.    Very small percentage of that. Other                 1     19:59:51           Q.     Okay. And of the 70 percent, roughly half
19:54:24  2   stuff that we do.                                     19:59:54  2                   of that is talc related, the other half is roughly
19:54:24  3         Q.    I'm sorry.                                19:59:57  3                   asbestos litigation related?
19:54:26  4         A.    Other nonlitigation projects that we do.  19:59:59  4                        A.     Correct.
19:54:29  5         Q.    Of the 30 percent of your work that isn't 19:59:59  5                        Q.     Okay. And of the 30 percent that's not
19:54:33  6   testing talc for asbestos, is that -- what's that     20:00:02  6                   litigation related, what percentage of that is
19:54:37  7   30 percent? What are you testing for?                 20:00:06  7                   related to testing for asbestos in any context?
19:54:38  8         A.    Well, we do -- like today, I mean, the    20:00:09  8                        A.     Well, that would be encompassed in the
19:54:46  9   analysts have around 100 regular, everyday PLM. It's 20:00:11 9                     70 percent. So I haven't broken that out, but the
19:54:49 10   testing for asbestos but not litigation related.      20:00:15 10                   other 30 percent is things like VOC testing for
19:54:51 11         Q.    Okay. My question didn't really relate to 20:00:18 11                   consumer reports or just materials analysis or
19:54:54 12   litigation related or not.                            20:00:23 12                   projects.
19:54:56 13               Of the percentage of your work that's not 20:00:25 13                        Q.     Just -- what's VOC?
19:54:57 14   related to testing talc for asbestos, which is in the          14                        A.     Hmm?
19:55:01 15   range of 30 percent, is it primarily testing other    20:00:28 15                        Q.     I don't know what VOC is.
19:55:03 16   things for asbestos? Strike that. That was a          20:00:30 16                        A.     Oh. Volatile organic compounds. It's
19:55:08 17   terrible question.                                    20:00:34 17                   green labeling, furniture testing, pharmaceutical
19:55:08 18               For the 30 percent of MAS's work that is  20:00:38 18                   work for our FDA certification -- not certification
19:55:13 19   not testing talc for asbestos, is that remainder      20:00:41 19                   but our FDA lab number.
19:55:17 20   primarily testing for asbestos in other materials or  20:00:44 20                        Q.     So --
19:55:21 21   testing asbestos itself?                              20:00:46 21                               MR. CIRSCH: Were you done, Bill?
19:55:22 22         A.    Well, let me back up. All our litigation  20:00:47 22                               THE WITNESS: Yes.
19:55:24 23   work is approximately 70 percent. I would say talc    20:00:48 23                        Q.     (By Mr. Chachkes) I recall that I had
19:55:29 24   is approximately, of that 70 percent, maybe 35,       20:00:49 24                   asked you a question about when you did the testing
19:55:33 25   40 percent.                                           20:00:51 25                   for the samples in your report, and you said
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19:55:35  1              And then the other portion of that                         20:00:54  1   November, October, December?
19:55:38  2   70 percent would be other litigation, other asbestos                  20:00:56  2        A.     It's all in the reports. You can go
19:55:41  3   testing, non-talc work. And then we have 30 or                        20:00:58  3   through the chain of custodies, you can see the dates
19:55:45  4   35 percent nonasbestos work.                                          20:01:01  4   on the analysis.
19:55:48  5              Can we go off the record for a minute?                     20:01:01  5        Q.     And what year? 2018?
19:55:50  6              MR. CHACHKES: Sure.                                        20:01:03  6        A.     Yes, sir.
19:55:50  7              (Off the record.)                                          20:01:03  7        Q.     And during that time frame were you
19:56:09  8              (Recess from 7:56 p.m. to 7:58 p.m.)                       20:01:10  8   testing other samples of talc for asbestos?
19:58:45  9        Q.    (By Mr. Chachkes) What was the                             20:01:16  9        A.     Yes.
19:59:03 10   approximate dates when MAS tested the samples that                    20:01:16 10        Q.     And during that time frame were you
19:59:05 11   are discussed in your January 2019 report, from                       20:01:18 11   testing other materials, not talc, for asbestos?
19:59:09 12   approximately what date to what date?                                 20:01:23 12        A.     Yes.
19:59:11 13        A.    You can look through the chain of                          20:01:23 13        Q.     In that time frame were you testing
19:59:12 14   custodies or look through the -- but I think it was                   20:01:25 14   asbestos?
19:59:17 15   like November, December, October, maybe.                              20:01:27 15        A.     Well, we were doing regular PLM for
19:59:21 16              And I want to circle back for a second                     20:01:32 16   products for added -- that have asbestos added to it,
19:59:26 17   just to clarify. I misspoke earlier. The 70 percent                   20:01:36 17   such as chrysotile, typically see chrysotile most of
19:59:29 18   is not talc litigation or talc testing. It's                          20:01:39 18   the time, some amosite.
19:59:33 19   approximately 30, 35 percent of what we do. The                       20:01:41 19        Q.     Okay. Any products that you were testing
19:59:36 20   remaining 30 percent is nonlitigation work. So I                      20:01:43 20   that have either tremolite or anthophyllite in them?
19:59:41 21   know I misspoke earlier.                                              20:01:46 21        A.     Other than cosmetic talc, no.
19:59:42 22        Q.    Okay. Just to make sure the record's                       20:01:49 22        Q.     How many TEMs does your lab have?
19:59:46 23   clear, so you're saying about 70 percent of your work                 20:01:51 23        A.     Four.
19:59:48 24   is litigation related, about 30 is not?                               20:01:52 24        Q.     Do you use all four at the same time?
19:59:50 25        A.    Correct.                                                   20:01:57 25        A.     If four analysts are busy, yes.
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20:01:59  1           Q.    Are they all in the same room?                               20:04:18  1   clothing when testing talcum powder samples for
20:02:01  2           A.    No.                                                          20:04:21  2   asbestos?
20:02:01  3           Q.    Are they each -- do they each have their                     20:04:21  3        A.     No. They use special hoods. There is no
20:02:06  4   own TEM room?                                                              20:04:28  4   danger of being exposed to asbestos in the talcum
20:02:07  5           A.    Yes.                                                         20:04:33  5   powder when you're pulling out TEM grids. It's
20:02:07  6           Q.    So in a given TEM room is it just the TEM                    20:04:37  6   trapped onto the TEM grids.
20:02:11  7   there that's for testing?                                                  20:04:39  7               There's never been, that I've heard of, of
20:02:13  8           A.    Correct.                                                     20:04:41  8   somebody getting exposed there. Everything is done
20:02:14  9           Q.    There's no PLM or XRD in the TEM room?                       20:04:43  9   in safety hoods. So none of our analysts are being
20:02:21 10           A.    No.                                                          20:04:46 10   exposed.
20:02:21 11           Q.    Do you use the same PLMs for                                 20:04:46 11        Q.     What was -- is it Dr. Rigler?
20:02:27 12   asbestos-containing material as you use for testing                        20:04:50 12        A.     Yes, it is.
20:02:29 13   talc?                                                                      20:04:51 13        Q.     What is Dr. Rigler's contribution to your
20:02:30 14           A.    No. We have a specific PLM scope that has                    20:04:55 14   expert report in this case?
20:02:35 15   been modified to enhance sensitivity.                                      20:04:56 15        A.     His contribution was to review it, to
20:02:39 16           Q.    So that PLM is only used for talc?                           20:05:00 16   review all the data, to look at the data, make sure
20:02:41 17           A.    Yes.                                                         20:05:04 17   it's matched in the appropriate places. And he did
20:02:41 18           Q.    Are your talc samples handled in the same                    20:05:09 18   the QA/QC report, so you can ask him tomorrow why he
20:02:46 19   room as asbestos samples?                                                  20:05:13 19   didn't put that one chart in. That's primarily it
20:02:47 20           A.    No.                                                          20:05:16 20   for this report.
20:02:47 21           Q.    Does MAS have a clean room?                                  20:05:17 21        Q.     When you say review the data, does that
20:02:49 22           A.    We don't have a Class 100 clean room. We                     20:05:20 22   mean he reviewed it in the same substantive way that
20:02:54 23   have a specific room set up just for cosmetic talc.                        20:05:24 23   you did to make sure the analysts did their job?
20:02:58 24           Q.    And what steps -- why haven't you                            20:05:26 24        A.     No. But he would review it that the data
20:03:03 25   constructed a clean room?                                                  20:05:29 25   is there for the appropriate materials. But he
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20:03:06  1                 MR. CIRSCH: Object to form.                                  20:05:34  1   doesn't review it like I do.
20:03:06  2                 THE WITNESS: Because there's no need to.                     20:05:36  2               When I review the data, I review every
20:03:08  3           If there's any work that is done on any of these                   20:05:39  3   sheet, every micrograph, every diffraction pattern so
20:03:11  4           materials, they're done in a biological hood so                    20:05:44  4   that I concur with the analysts' findings for the
20:03:17  5           that if there's any escape of material, it can                     20:05:48  5   various tests that we've done.
20:03:22  6           be filtered. We don't do a clean room.                             20:05:50  6        Q.     So is it fair to say that his review is
20:03:24  7           Q.    (By Mr. Chachkes) Okay.                                      20:05:55  7   more sort of, let's say, a typo level and consistency
20:03:24  8           A.    It's a clean hood but not a clean room.                      20:06:02  8   level as opposed to substantive level?
20:03:27  9           Q.    Okay. So your aliquot of a particular                        20:06:05  9        A.     You'll have to ask him how much
20:03:32 10   bottle for the purpose of doing a TEM test or whether                      20:06:07 10   substantive level. But he was a TEM microscopist.
20:03:35 11   it's a PLM test, that aliquot's taken out in a hood?                       20:06:11 11   He knows what the EDS pattern -- EDXA patterns look
20:03:38 12           A.    Yes. Your experts have been to our lab                       20:06:17 12   like and what they should be. He looks for the
20:03:41 13   and one will be there tomorrow. You can ask him what                       20:06:20 13   identification. But his -- but mine's more in depth
20:03:44 14   they see when they get there to get their aliquots.                        20:06:25 14   on the data than his is.
20:03:47 15           Q.    Does MAS test -- strike that.                                20:06:27 15        Q.     Okay. Is he qualified to testify about
20:03:49 16                 Does the same analysts who test                              20:06:32 16   how EDXA is -- EDSA -- EDXA is run?
20:03:54 17   asbestos-containing material in your lab, do they                          20:06:37 17        A.     Sure.
20:03:56 18   also test for -- test talc for asbestos?                                   20:06:37 18        Q.     Okay. And he's qualified to testify how
20:03:59 19           A.    No. The same analysts for PLM? I mean, I                     20:06:40 19   PLM is run?
20:04:05 20   guess I need clarification of that question.                               20:06:40 20        A.     He's not a PLM analyst. I don't know how
20:04:07 21           Q.    How about for TEM?                                           20:06:45 21   much knowledge he has or if he could -- like I could,
20:04:08 22           A.    TEM, if we have other samples that are                       20:06:49 22   take me a while to sit down and actually analyze a
20:04:11 23   being run, the same analyst will do that sample, too,                      20:06:53 23   PLM sample.
20:04:14 24   in the TEM.                                                                20:06:53 24        Q.     What about XRD, is he an expert in XRD?
20:04:15 25           Q.    Do your analysts wear any sort of special                    20:07:06 25        A.     I don't believe so.
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20:07:07  1       Q.    Okay. What about SAED?                                1  20:09:56      separation early on, that that was the way to go, the
20:07:11  2        A.    Could he index a diffraction pattern by    20:09:59  2                problems associated with it because of the density of
20:07:16  3   hand? You'll have to ask him.                         20:10:03  3                anthophyllite without iron versus iron.
20:07:18  4        Q.    Okay. Did he do any sort of substantive    20:10:06  4                            Chrysotile issue, I'm sure we'll figure
20:07:20  5   review of the SAED patterns?                          20:10:09  5                out together on how to extract chrysotile using the
20:07:23  6        A.    He knows the differences between talc      20:10:13  6                old Windsor method with citric acid. He's a very
20:07:27  7   patterns and anthophyllite type patterns, but that    20:10:18  7                bright scientist.
20:07:30  8   really was all my responsibility.                     20:10:19  8                    Q.      You've issued reports on other bottles of
20:07:32  9        Q.    Okay. Does he have any responsibility for  20:10:22  9                J&J talc not in the MDL where he wasn't a coauthor of
20:07:36 10   reviewing EDXA readouts?                              20:10:25 10                the report; correct?
20:07:40 11        A.    He did review them. He knows EDS spectras 20:10:26 11                     A.      Is that right?
20:07:45 12   and the classic ratios of elements, silica to metals, 20:10:27 12                    Q.      I'm asking.
20:07:51 13   that you would expect for these types of regulated    20:10:28 13                    A.      I think he's been on every report.
20:07:56 14   asbestos fibers and bundles.                          20:10:30 14                            MR. CHACHKES: Okay.
20:07:58 15        Q.    Is he qualified to testify to the same     20:10:33 15                            I think I have no further questions, but
20:08:05 16   degree and substance as you regarding your January    20:10:36 16                    there are other people, and I'm just going to
20:08:08 17   report?                                               20:10:38 17                    maintain the objection I stated at the
20:08:09 18        A.    I don't know. I don't believe -- I don't   20:10:39 18                    beginning, which is we'll have to review the
20:08:11 19   believe he is as in-depth as I am on this January     20:10:43 19                    enormous amount of data that was belatedly
20:08:15 20   report with the data. I believe what his              20:10:45 20                    produced and determine whether to re-call the
20:08:19 21   responsibility is, he can recognize the appropriate   20:10:46 21                    witness.
20:08:22 22   EDS patterns for the appropriate regulated asbestos.  20:10:46 22                            MR. PROST: I'm happy to go now. I don't
20:08:26 23   He's not a PLM analyst. He has reviewed -- he looks   20:10:50 23                    have much.
20:08:31 24   over, makes sure the materials are present, the       20:13:19 24                            (Off the record.)
20:08:36 25   QA/QC, the chains of custody, that sort of thing.     20:13:19 25                            MR. CHACHKES: Just to amend what I said
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20:08:38  1       Q.    Could he substitute for you as an expert                 20:13:21  1       before, I'm going to reserve time after the
20:08:51  2   in the case presenting this report?                                20:13:23  2       other defendant or defendants ask their
20:08:54  3             MR. CIRSCH: Object to form.                              20:13:27  3       questions, which will give me time to review my
20:08:55  4             THE WITNESS: I don't know.                               20:13:33  4       notes to see if I'm actually done.
20:08:57  5       Q.    (By Mr. Chachkes) That would be a                        20:13:35  5                          EXAMINATION
20:08:58  6   question for him?                                                            6   BY MR. PROST:
20:08:59  7       A.    You know, if I leave here and get hit by a                         7       Q.      Hi, Dr. Longo.
20:09:02  8   bus, I guess we'll find out.                                                 8       A.      Good evening.
20:09:05  9       Q.    Would that be a question for him?                        20:13:39  9       Q.      With respect to Dr. Rigler, did he subject
20:09:07 10       A.    Hoping that Dr. Longo get hits by a bus so               20:13:41 10   any substantive changes?
20:09:11 11   he can step in and take my place?                                  20:13:43 11       A.      He might have.
20:09:12 12       Q.    Let's take the latter first.                             20:13:44 12       Q.      You don't recall any as you sit here?
20:09:14 13       A.    You'll have to ask him.                                  20:13:47 13       A.      No. I mean, we all have our own editing
20:09:15 14       Q.    Okay. Why did you involve him?                           20:13:51 14   style. Sometimes he'd say this doesn't make any
20:09:21 15       A.    Because he's one of our senior scientists,               20:13:52 15   sense, which is not uncommon with my struggle with
20:09:23 16   and I involved him very early on. Dr. Rigler and I                 20:13:56 16   the English language.
20:09:27 17   spent a lot of time collaborating together when we                 20:13:57 17       Q.      Okay. You mentioned that you do not store
20:09:32 18   initially took on this project.                                    20:14:01 18   talc and asbestos samples in the same room at MAS?
20:09:34 19             And the main thing was we didn't feel it                 20:14:04 19       A.      Correct.
20:09:36 20   was the right thing to do to do the TEM long -- what               20:14:04 20       Q.      Do you store all of your talc samples in
20:09:40 21   I call the TEM long method, where to get some                      20:14:08 21   the same room regardless of the manufacturer or
20:09:44 22   reasonable detection limits, you have to look at                   20:14:12 22   supplier?
20:09:46 23   500,000 grid openings. That ties up a TEM too long,                20:14:13 23       A.      They are stored in the same room in
20:09:52 24   and I just didn't think it was very efficient.                     20:14:17 24   separate containers, separate sealed bags, and
20:09:54 25             We talked about the heavy liquid density                 20:14:21 25   separate locked cabinets.
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20:14:22  1        Q.    Are there other talc samples provided by                    20:16:25  1       some we don't, especially by TEM. PLM, it's
20:14:24  2   other manufacturers or suppliers other than Johnson &                  20:16:29  2       just about in every sample.
20:14:27  3   Johnson?                                                               20:16:32  3              With the heavy liquid density separation,
20:14:27  4        A.    Yes.                                                        20:16:35  4       you know, theoretically, you should be removing
20:14:28  5        Q.    How many others?                                            20:16:37  5       all the fibrous talc along with the platy talc,
20:14:29  6        A.    A number.                                                   20:16:40  6       but there is some fibers in there.
20:14:32  7        Q.    More than five?                                             20:16:42  7              A true quantitative analysis where -- is
20:14:35  8        A.    I don't know.                                               20:16:45  8       to take any of these samples that have fibrous
20:14:37  9        Q.    And these samples span decades from these                   20:16:48  9       talc in and do a regular no heavy liquid density
20:14:41 10   other manufacturers as to Johnson & Johnson?                           20:16:53 10       separation and see how many orders of magnitude
20:14:44 11        A.    Typically.                                                  20:16:56 11       the fibrous talc is compared to what we're
20:14:44 12        Q.    With respect to fibrous talc, I think I                     20:16:59 12       seeing in TEM with the heavy density liquid
20:14:49 13   heard you say this, but fibrous talc is not asbestos;                  20:17:02 13       separation.
20:14:52 14   right?                                                                 20:17:02 14       Q.     (By Mr. Prost) On page 13 of your
20:14:53 15              MS. O'DELL: Object to form.                                 20:17:04 15   January 2019 report, you quantify it as abundant,
20:14:54 16              THE WITNESS: It's not one of the                            20:17:10 16   common, or trace; is that right?
20:14:55 17        regulated asbestos types.                                         20:17:11 17       A.     Yes.
20:14:56 18        Q.    (By Mr. Prost) And so no matter the shape                   20:17:12 18       Q.     And is there any published or
20:14:57 19   or size or aspect ratio, if it's chemically talc,                      20:17:16 19   peer-reviewed literature that guided those
20:15:01 20   it's not asbestos?                                                     20:17:19 20   categories, or is that something that you or MAS came
20:15:02 21        A.    It is not one of the regulated asbestos                     20:17:21 21   up with?
20:15:07 22   types that we would report as asbestos.                                20:17:22 22       A.     It was our collective -- what would you
20:15:09 23        Q.    You attempted to quantify the fibrous talc                  20:17:26 23   say is trace, how do we kind of give some information
20:15:13 24   in your most recent January 15, 2019, report; is that                  20:17:28 24   about it, because that's what we were doing for a
20:15:19 25   right?                                                                 20:17:31 25   while.
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20:15:19  1        A.    Yes.                                                        20:17:33  1              Now we're just using the trace as it's one
20:15:19  2        Q.    And just describe briefly how you did                       20:17:37  2   to three, on average, per opening. And to do the
20:15:21  3   that.                                                                  20:17:41  3   analysis or do the semiquantitative estimation of the
20:15:21  4        A.    It's very qualitative. The analyst for                      20:17:45  4   number of fibrous talc structures per gram, we just
20:15:25  5   each of these samples going all the way back, they                     20:17:49  5   use one per grid opening.
20:15:28  6   make an estimate of the number of particles they're                    20:17:51  6       Q.     So there is no established standard for
20:15:33  7   seeing in the grid openings as they go through their                   20:17:54  7   those three categories that you relied upon?
20:15:36  8   100 grid openings.                                                     20:17:59  8              MS. O'DELL: Object to the form.
20:15:37  9              At the end of that analysis, they'll state                  20:18:00  9              THE WITNESS: I don't think I've seen a
20:15:39 10   that I was typically seeing one or two or three, and                   20:18:02 10       document that says if you see fibrous talc, if
20:15:43 11   then they'll record one of the typical asbestos talc                   20:18:04 11       you only have one or two particles, that it's
20:15:49 12   fibers, diffraction pattern, EDS.                                      20:18:06 12       trace. And it's not -- it's trace compared to
20:15:52 13              So it's a qualitative estimate.                             20:18:08 13       what you're seeing there so that you can give
20:15:54 14        Q.    In your March 2018 report, did you attempt                  20:18:10 14       some qualitative estimate.
20:15:59 15   to quantify the fibrous talc?                                          20:18:14 15              And we were using this before I got the
20:16:01 16        A.    We collected the data, as I recall, but I                   20:18:17 16       idea of actually doing a qualitative count based
20:16:05 17   didn't go through the exercise of just doing the                       20:18:21 17       on one fibrous talc structure per opening.
20:16:07 18   math.                                                                  20:18:27 18       Q.     (By Mr. Prost) Have you done any quality
20:16:08 19        Q.    Why did you change your methodology in the                  20:18:29 19   assurance reports for fibrous talc?
20:16:11 20   quantification of fibrous talc between your                            20:18:32 20       A.     No, sir.
20:16:14 21   March 2018 report and in your most recent report?                      20:18:33 21       Q.     And how long have you been analyzing
20:16:16 22              MR. CIRSCH: Object to form.                                 20:18:43 22   materials for asbestos content? When is the first
20:16:17 23              THE WITNESS: I became curious on how much                   20:18:46 23   time you did that? How many years ago?
20:16:20 24        fibrous talc is in the samples where we're                        20:18:48 24       A.     The first TEM grids that I ever analyzed
20:16:22 25        seeing fibrous talc. Some samples we see it,                      20:18:53 25   are in a -- stuck on a petri dish and I have it on
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20:18:58  1   the wall. I think it was about approximately 1985 or                  20:21:37  1                  MR. CIRSCH: Object to form.
20:19:02  2   1986.                                                                 20:21:38  2                  THE WITNESS: I am not a geologist. My
20:19:03  3        Q.    Is the first time that you ever documented                 20:21:40  3          role is what's in the bottle.
20:19:05  4   fibrous talc 2018?                                                    20:21:41  4          Q.      (By Mr. Prost) Do you agree that the
20:19:07  5        A.    No. I used to do a lot of product ID in                    20:21:44  5   geologic process that controls the formation of any
20:19:17  6   the property damage cases, and one of the                             20:21:47  6   given talc deposits are unique?
20:19:20  7   fingerprints for U.S. Gypsum Audicote Acoustical                      20:21:49  7                  MS. O'DELL: Object to the form.
20:19:26  8   Plaster was that it had approximately 10 percent                      20:21:50  8                  THE WITNESS: I'm not a geologist. I
20:19:29  9   International Talc in it. And International Talc,                     20:21:52  9          don't know how unique, especially for the
20:19:34 10   obviously, eventually is Vanderbilt Talc when they                    20:21:56 10          Vermont and Italian mines. We see from those
20:19:37 11   bought that. And it was a fibrous talc component, so                  20:22:01 11          time periods that they have asbestos.
20:19:40 12   we were constantly analyzing for fibrous talc.                        20:22:02 12                  So I'll let other geologists say how
20:19:43 13              Because U.S. Gypsum Audicote was the only                  20:22:05 13          unique or not unique they are. That's not my
20:19:47 14   acoustical plaster out there that had a combination                   20:22:07 14          area.
20:19:49 15   of 10 percent perlite -- excuse me -- 10 percent                      20:22:07 15          Q.      (By Mr. Prost) You would expect the
20:19:53 16   chrysotile, 60 percent perlite, approximately                         20:22:09 16   accessory minerals in any given talc deposit to be
20:19:57 17   10 percent fibrous talc, and the rest of it was                       20:22:12 17   different from one continent to another, wouldn't
20:20:02 18   bentonite clay, Wyoming type, and then a few                          20:22:15 18   you?
20:20:06 19   percentages, 2 or 3 percent of calcium carbonate.                     20:22:15 19                  MR. CIRSCH: Object to form.
20:20:09 20              That fibrous talc was the fingerprint for                  20:22:16 20                  THE WITNESS: I don't have an expectation
20:20:12 21   that product. So we spent a lot of time in these                      20:22:18 21          one way or the other.
20:20:15 22   types of situations debating fibrous talc.                            20:22:18 22          Q.      (By Mr. Prost) You can't name for me the
20:20:20 23              And I must have done that -- and that was                  20:22:21 23   mines in Vermont that would have been sourced for J&J
20:20:22 24   when I was doing all the TEM analysis on the product                  20:22:24 24   baby powder, can you?
20:20:25 25   ID. I bet I analyzed hundreds and hundreds and                        20:22:26 25          A.      Besides Hammondsville, Argonaut, and
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20:20:28  1   hundreds of samples specifically, besides looking for                 20:22:30  1   what's the other one? I'm missing one.
20:20:31  2   the other primary ingredients, is looking at and                      20:22:32  2          Q.      You're not able to break down the samples
20:20:34  3   making sure if it was U.S. Gypsum Audicote versus                     20:22:36  3   that you've tested in your reports pertaining to any
20:20:38  4   National Gypsum spray -- God, I've forgotten the                      20:22:40  4   specific mine in Vermont or a year, are you?
20:20:44  5   name -- or one of the other without the fibrous talc.                 20:22:42  5          A.      Without going through all the documents
20:20:47  6        Q.    That was all industrial talc?                              20:22:44  6   showing that when you switched from Hammonds -- or
20:20:50  7        A.    Yes.                                                       20:22:49  7   Argonaut, there's specific years in discovery, but I
20:20:50  8        Q.    So the first time you would have                           20:22:50  8   haven't bothered doing -- I haven't done that, if
20:20:53  9   documented the presence of fibrous talc in cosmetic                   20:22:54  9   it's important.
20:20:56 10   talc, would that have been 2018?                                      20:22:54 10          Q.      All right. Do you know when Imerys began
20:20:58 11        A.    Whenever we first started doing these                      20:22:57 11   supplying talc for Johnson & Johnson Baby Powder?
20:21:00 12   analyses. I think that was November, December,                        20:23:00 12          A.      It's always unclear to me. Of course,
20:21:05 13   January, or so, in early 2018.                                        20:23:07 13   it's the -- in 1980 we have some -- maybe with the
20:21:08 14        Q.    I know you're not giving any medical                       20:23:12 14   Vermont and the later '80s.
20:21:11 15   causation opinions with respect to disease or ovarian                 20:23:17 15                  I haven't memorized -- and because we've
         16   cancer, am I also correct you're not going to offer                   20:23:21 16   been going so long, I'm tired. I've had that
20:21:18 17   any opinions as to the root of exposure, whether it                   20:23:24 17   information at the tip of my tongue before, but I
20:21:19 18   be the female reproductive tract versus inhalation;                   20:23:26 18   would have to look it back up what Imerys says in
20:21:23 19   is that correct?                                                      20:23:30 19   their sworn interrogatories when they started doing
20:21:23 20        A.    That is correct. I will not be giving                      20:23:32 20   that, as well as Johnson & Johnson when they say they
20:21:26 21   those types of opinions.                                              20:23:34 21   started buying it versus when it was their own mine
20:21:27 22        Q.    You've never been to a talc mine?                          20:23:37 22   and that sort of thing.
20:21:30 23        A.    I still haven't.                                           20:23:38 23          Q.      Are you familiar or knowledgeable
20:21:30 24        Q.    You've not studied the geology of the                      20:23:40 24   regarding the selective mining processes that Imerys
20:21:34 25   mines in Vermont or China, have you?                                  20:23:44 25   would have used?
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20:23:45  1        A.    Is that like the video where they were                     20:26:06  1   that bottle in 1996?
20:23:47  2   blowing it up?                                                        20:26:10  2              MR. CIRSCH: Object to form.
20:23:50  3              I'm not here to talk about selective                       20:26:11  3              THE WITNESS: Well, that would have been
20:23:52  4   mining processes or not. My role is just an analysis                  20:26:12  4        hard to go back in time with it. I think she
20:23:57  5   of what's in these particular containers.                             20:26:14  5        also testified that she bought a number of
20:24:01  6        Q.    You're not familiar or knowledgeable                       20:26:16  6        bottles over the years.
20:24:03  7   regarding the flotation process that Imerys used over                 20:26:17  7        Q.    (By Mr. Prost) You would agree she was a
20:24:06  8   the years, are you?                                                   20:26:19  8   bit confused in her deposition?
20:24:07  9        A.    I've read a lot about it. In fact, we're                   20:26:21  9              MR. CIRSCH: Object to form.
20:24:09 10   going to use one, I believe, with the citric acid to                  20:26:21 10              THE WITNESS: No, sir, I don't make that
20:24:13 11   try to concentrate the chrysotile if present.                         20:26:23 11        judgment about anybody.
20:24:17 12              So without looking at it and going through                 20:26:24 12        Q.    (By Mr. Prost) I've heard it read and
20:24:21 13   the processes that have been stated in a lot of the                   20:26:30 13   think you've probably been asked this before, but
20:24:25 14   documents I've read, other than that, no.                             20:26:32 14   would you agree that less than 1 percent of the
20:24:27 15        Q.    Are you aware of any published literature                  20:26:35 15   amphiboles in the world are asbestiform?
20:24:31 16   stating that any of the mines used to source                          20:26:39 16              MR. CIRSCH: Object to form.
20:24:35 17   Johnson & Johnson Baby Powder were contaminated with                  20:26:40 17              THE WITNESS: You know, I just don't know
20:24:38 18   asbestos or amphibole asbestos?                                       20:26:51 18        what 1 percent of probably, I don't know, how
20:24:40 19        A.    Published literature versus in-house                       20:26:54 19        many zero tons of amphibole's out there.
20:24:44 20   testing and company's own stuff?                                      20:26:57 20        Sometimes people seem to suggest that 1 percent
20:24:47 21        Q.    Say peer-reviewed literature.                              20:27:00 21        isn't very much. 1 percent of something really
20:24:49 22        A.    I'm sorry, could you repeat that?                          20:27:02 22        big tends to be a lot.
20:24:52 23        Q.    Are you aware of any peer-reviewed                         20:27:04 23        Q.    (By Mr. Prost) You're familiar with
20:24:54 24   literature stating that any of the mines used to                      20:27:05 24   peer-reviewed studies, though, that have said that;
20:24:56 25   source Johnson & Johnson's Baby Powder or Shower to                            25   right?
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20:24:59  1   Shower were contaminated with amphibole asbestos or                   20:27:09  1        A.    Yes, sir.
20:25:02  2   chrysotile?                                                           20:27:09  2        Q.    And you don't have reason to disagree with
20:25:03  3              MS. O'DELL: Object to the form.                            20:27:11  3   that, do you?
20:25:04  4              THE WITNESS: I mean, the geological                        20:27:13  4        A.    No, sir. I'm just curious on if you were
20:25:06  5        reports that go back and -- and Alice Blount can                 20:27:15  5   to take every amphibole mineral in the world and then
20:25:10  6        pick on -- Alice Blount didn't say that this                     20:27:18  6   say only 1 percent of that is asbestos. There
20:25:13  7        came from Vermont. I assume she knows where, as                  20:27:22  7   certainly seems to be enough amphibole asbestos in
20:25:15  8        a geologist, as a consultant, where that talc                    20:27:25  8   the world to supply a very large contingent of
20:25:18  9        came for that 1989 or that 1990 bottle of                        20:27:29  9   products over the years until it got all banned or no
20:25:22 10        Johnson's Baby Powder that she tested to show                    20:27:33 10   longer made for amphiboles.
20:25:25 11        tremolite asbestos.                                              20:27:34 11              So I don't have any -- I can't give you a
20:25:27 12              But an actual peer-reviewed publication                    20:27:36 12   relationship what 1 percent means. It's not
20:25:30 13        stating that the accessory minerals are asbestos                 20:27:40 13   1 percent of a pound. It's 1 percent of -- I don't
20:25:33 14        type or regulated asbestos as counted by these                   20:27:43 14   know how many -- how you would weigh it all.
20:25:41 15        standard peer-reviewed protocols, I can't think                  20:27:47 15        Q.    I know you might think it's still a lot,
20:25:45 16        of any.                                                          20:27:50 16   but you have no reason to disagree with the
20:25:46 17        Q.    (By Mr. Prost) Have you read Alice                         20:27:52 17   peer-reviewed literature that you've seen that has
20:25:48 18   Blount's deposition transcript from the Ingham case?                  20:27:54 18   said that less than 1 percent of the amphiboles in
20:25:50 19        A.    I have.                                                    20:28:00 19   the earth's crust is asbestiform?
20:25:51 20        Q.    And is it your belief from reading that                    20:28:04 20        A.    No, sir. I just was curious how much of
20:25:55 21   testimony that she's saying that sample I from her                    20:28:06 21   the crust is made up of the percentage of what the
20:25:59 22   1990 report was a bottle of Johnson & Johnson Baby                    20:28:10 22   weight is.
20:26:03 23   Powder?                                                               20:28:11 23        Q.    I think I've seen you testify before --
20:26:03 24        A.    She says it is.                                            20:28:13 24   and I want to see if you still agree -- if an
20:26:03 25        Q.    Did you read where she said she bought                     20:28:16 25   amphibole is crystallized in a nonasbestiform habit,
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20:28:22  1   no matter how much you can grind it up, it can never                  20:30:42  1   fibrous, in your opinion, is it necessarily
20:28:26  2   turn into asbestos or asbestiform?                                    20:30:44  2   asbestiform?
20:28:29  3              MR. CIRSCH: Object to form.                                20:30:47  3        A.     In my opinion, if it is fibrous, it is
20:28:30  4              THE WITNESS: It's unclear to me what an                    20:30:49  4   asbestiform because it has a form like asbestos.
20:28:33  5        nonasbestiform habit is other than you may have                  20:30:52  5        Q.     Are you aware of any peer-reviewed studies
20:28:36  6        massive, blocky. It's all a geological shape.                    20:30:55  6   to support that?
20:28:39  7              If you grind up a rock, you do not produce                 20:30:59  7        A.     Other than --
20:28:44  8        asbestos. If you grind up tremolitic -- massive                  20:31:00  8        Q.     I'm sorry, that if an amphibole is
20:28:50  9        tremolitic, you typically will get both, but you                 20:31:02  9   fibrous, it necessarily has to be asbestiform?
20:28:53 10        will not get bundles.                                            20:31:06 10        A.     You know, other than the geological
20:28:55 11              What we do is count it as regulated                        20:31:09 11   definition for a crystalline habit and that it is
20:28:58 12        asbestos per the protocols.                                      20:31:12 12   fibrous and, you know, whatever the population is,
20:29:01 13        Q.    (By Mr. Prost) Right. So if it                             20:31:16 13   population is more than one.
20:29:03 14   crystallizes in a nonasbestiform habit, tremolite,                    20:31:18 14               But we're getting enough data now that
20:29:06 15   for example, and you grind it up and it falls under                   20:31:20 15   these populations -- and you just can't -- you know,
20:29:09 16   the counting rules you use, you call it asbestiform,                  20:31:25 16   no longer look at from a sample from the same mine
20:29:12 17   regardless; right?                                                    20:31:30 17   that it's a unique thing.
20:29:14 18              MR. CIRSCH: Object to form.                                20:31:31 18               All the samples from the mine that we're
20:29:15 19              THE WITNESS: Well, everything we've                        20:31:33 19   seeing over and over again show asbestiform minerals
20:29:17 20        looked at has crystallized in a fibrous habit.                   20:31:37 20   in it, specifically tremolite series and the
20:29:20 21        Asbestiform habit and fibrous habit are the same                 20:31:39 21   anthophyllite series.
20:29:23 22        thing because we're looking at fibers.                           20:31:42 22               It's just my opinion. I mean, others may
20:29:25 23              If you look at all the crystalline habits,                 20:31:44 23   disagree, but that's my opinion.
20:29:27 24        there's a wide range, and most of them are not                   20:31:45 24        Q.     Is there a specific article or
20:29:29 25        fibrous, only one where they would call fibrous.                 20:31:48 25   peer-reviewed literature or study that says if you
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20:29:33  1              But you're not going to get an asbestiform                 20:31:50  1   have an amphibole and it's in a fibrous form, that it
20:29:36  2        bundle from grinding up cleavage fragments.                      20:31:53  2   is necessarily asbestos or asbestiform?
20:29:40  3        Q.    (By Mr. Prost) I'm not talking about what                  20:31:57  3               MR. CIRSCH: Object to form.
20:29:42  4   you've seen or looked at or issued in your report;                    20:31:58  4               THE WITNESS: Every protocol that we're
20:29:44  5   but just hypothetically, if you have nonasbestiform                   20:31:59  5        using here has a definition of what you call a
20:29:47  6   tremolite or amphibole that's crystallized in a                       20:32:01  6        regulated asbestos. Everything that I have
20:29:50  7   nonasbestiform habit, no matter -- if someone were to                 20:32:04  7        reported has followed the peer-reviewed
20:29:54  8   grind that up so that the shape came out to be, under                 20:32:06  8        protocols and methods to say it is a regulated
20:29:58  9   the counting rules that you go by, you would still                    20:32:09  9        asbestos that is fibrous to whatever degree they
20:30:00 10   call that asbestiform?                                                20:32:12 10        use for their counting rules. In my opinion,
20:30:03 11              MR. CIRSCH: Object to form.                                20:32:14 11        that makes it all asbestiform.
20:30:04 12              THE WITNESS: Well, it's a hypothetical I                   20:32:15 12        Q.     (By Mr. Prost) So the counting rules and
20:30:05 13        don't believe exists. If you grind up a rock or                  20:32:16 13   the protocols that you used for your reports are what
20:30:08 14        something that's massive, you get little pieces,                 20:32:22 14   you're talking about?
20:30:10 15        irregular shapes. To get a perfectly parallel                    20:32:22 15        A.     Yes, sir.
20:30:15 16        side I think is rare.                                            20:32:23 16        Q.     No other articles or papers that you can
20:30:17 17              And you have to look at what else we're                    20:32:26 17   think of?
20:30:20 18        seeing here. Every bundle is asbestiform. And                    20:32:26 18        A.     Not as I sit here this second, no.
20:30:25 19        you would think you would have the same type of                  20:32:28 19        Q.     Are you aware of any peer-reviewed
20:30:27 20        crystalline habit that is generating both                        20:32:30 20   articles or literature that say the opposite, that
20:30:31 21        asbestiform as well as some cleavage fragments.                  20:32:32 21   you can have fibrous amphiboles that are not
20:30:34 22        We do see cleavage fragments. But it's my                        20:32:35 22   asbestiform?
20:30:38 23        belief you get both. It's never one or the                       20:32:37 23        A.     There's a couple.
20:30:40 24        other.                                                           20:32:39 24               MS. O'DELL: Object.
20:30:40 25        Q.    (By Mr. Prost) If an amphibole is                          20:32:40 25        Q.     (By Mr. Prost) And who would those be
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20:32:41  1   from?                                                                20:35:08  1   tensile strength and flexibility?
20:32:41  2        A.    Oh, I think Ann Wylie has published one or                20:35:09  2             MR. CIRSCH: Object to form.
20:32:44  3   two. Just depends on who the authors are.                            20:35:10  3             THE WITNESS: No. You know, if you're
20:32:48  4        Q.    And you just disagree with that?                          20:35:13  4       going to look at the published literature for
20:32:50  5        A.    Well, I don't agree with their opinions                   20:35:14  5       high tensile strength for chrysotile, amosite,
20:32:52  6   that if it is a bundle. But I disagree that if you                   20:35:18  6       and crocidolite, you're running around 90,000 to
20:32:56  7   take an individual fiber that you can't tell one way                 20:35:21  7       120,000 psi.
20:32:59  8   or the other because it has the same chemistry, it                   20:35:22  8             If you look at what the characteristics or
20:33:03  9   has the same crystalline pattern, it has the same                    20:35:25  9       tensile strength is for tremolite anthophyllite,
20:33:07 10   surface charge, and it's called a regulated asbestos                 20:35:27 10       it's about 4,000 psi, and it's brittle. And
20:33:10 11   fiber, if it meets all that counting criteria. In my                 20:35:31 11       you're milling it.
20:33:15 12   opinion, if it is fibrous and it is asbestos, it is                  20:35:32 12             So if you can see the bundles at times
20:33:19 13   asbestiform.                                                         20:35:35 13       that we get, you can see where it has been
20:33:20 14        Q.    I know you think that or you testified                    20:35:38 14       milled and broken in half. There's nothing
20:33:23 15   that high tensile strength and flexibility don't mean                20:35:41 15       there to do that.
20:33:26 16   much because they can't be measured, I think; is that                20:35:42 16             When we identify regulated asbestos in the
20:33:29 17   a fair way of describing what you've said or what                    20:35:45 17       PLM method, it meets the criteria for what they
20:33:32 18   your opinion is?                                                     20:35:49 18       say is regulated. It has -- those individual
20:33:33 19        A.    Well, it's not defined. And both the                      20:35:52 19       fibers and those bundles are all greater,
20:33:36 20   polarized light microscope as well as the                            20:35:55 20       typically, on average, greater than 20-to-1.
20:33:39 21   transmission electron microscope do not have any                     20:35:58 21             They can be broken down to smaller fibers
20:33:43 22   ability to make those measurements. It's just a                      20:36:00 22       and bundles. It's greater than -- the width of
20:33:45 23   general description.                                                 20:36:04 23       the structure is greater than 5 micrometers. It
20:33:47 24        Q.    Wouldn't you agree that there's ways to                   20:36:07 24       meets the criteria for the ISO 22262-2.
20:33:50 25   observe whether something has high tensile strength                  20:36:11 25             Nowhere in any of that method does it tell
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20:33:53  1   and flexibility?                                                     20:36:14  1       you, oh, you better measure the tensile
20:33:54  2        A.    Sure. If you go to the mine and get a --                  20:36:17  2       strength.
20:33:57  3   I think a 10 centimeter sample is the minimum, and                   20:36:17  3       Q.     (By Mr. Prost) The 34 or 35 samples from
20:34:00  4   tape it to paper and go put it on an Instron, which                  20:36:21  4   your March 2018 report, you're still relying upon the
20:34:03  5   is a device that will measure tensile strength, I                    20:36:25  5   results of that report here in the MDL; is that
20:34:07  6   wouldn't want to be standing around when you do it.                  20:36:29  6   right?
20:34:10  7   Because when they pop, they'll spread fibers                         20:36:29  7       A.    No, I'm not. I'm relying on the MDL
20:34:14  8   everywhere because you're just dealing with large                    20:36:32  8   report. The only thing that the MDL does is verify
20:34:17  9   bundles.                                                             20:36:36  9   our earlier findings, but I'm not relying on it here.
20:34:17 10              With a transmission electron microscope,                  20:36:38 10       Q.    Well, your MDL report includes the
20:34:19 11   with a polarized light microscope, or even XRD, it's                 20:36:40 11   findings of positive of what you're calling asbestos,
20:34:22 12   impossible. There is no ability to make that                         20:36:44 12   though, in those -- in terms of your computations of
20:34:25 13   measurement. And standard protocols for making                       20:36:47 13   the percentages?
20:34:29 14   determinations or measurements lay out how you do                    20:36:47 14       A.    I'm sorry, could you repeat that?
20:34:31 15   that. They don't even define what high tensile                       20:36:49 15       Q.    Sorry, it was -- yeah, clumsy.
20:34:35 16   strength is.                                                         20:36:51 16             In your January 2019 MDL report, you're
20:34:36 17        Q.    Under PLM, is it your opinion that --                     20:36:54 17   including the findings of those original Johnson &
20:34:40 18   sounds like it is your opinion -- it is impossible to                20:36:58 18   Johnson samples, those 35 in your overall
20:34:43 19   make a determination whether a population of fibers                  20:37:01 19   percentages, aren't you?
20:34:48 20   or a bundle has high tensile strength or flexibility?                20:37:02 20       A.    No. The only thing that's in there that
20:34:52 21        A.    It is impossible. And they don't provide                  20:37:04 21   came from the original report is that MDL sample, the
20:34:56 22   you any method for doing that.                                       20:37:10 22   1978 MDL sample. That's the only sample.
20:34:57 23        Q.    In terms of curvature, splayed ends,                      20:37:15 23       Q.    You changed your methodology from the
20:35:03 24   parallel sides, that sort of thing, you don't think                  20:37:19 24   March 2018 report until now. Why did you do that?
20:35:04 25   that gives any guidance on the observance of high                    20:37:22 25             MR. CIRSCH: Object to form.
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20:37:23  1             THE WITNESS: Because we -- we didn't                  1  20:39:49          testimony about when different mines were
20:37:27  2        really change it. We just started using the      20:39:52  2                    started and stopped.
20:37:31  3        definitions and the ability for the ISO 22262-2  20:39:53  3                    Q.    (By Mr. Prost) Your opinion on fibers per
20:37:35  4        because it's an International Standard that has  20:40:09  4                gram and your extrapolation from what you found in
20:37:37  5        been peer-reviewed by all the international      20:40:12  5                the samples, am I correct that you are assuming that
20:37:41  6        scientists that are on it or in the committees,  20:40:17  6                the asbestos contamination is consistent throughout
20:37:44  7        and it provides a standard method other than     20:40:21  7                the entire sample?
20:37:47  8        just the Blount heavy density liquid separation  20:40:23  8                    A.    The accessory mineral -- the findings of
20:37:50  9        and TEM.                                         20:40:25  9                the asbestos accessory minerals is consistent
20:37:51 10        Q.    (By Mr. Prost) Is the method you're doing  20:40:30 10                throughout. That's not me assuming it. That's the
20:37:53 11   now more reliable than what you did last year?        20:40:33 11                protocol. Because all TEM analysis, air samples,
20:37:55 12        A.    No.                                        20:40:37 12                water samples, when you filter it or pull through a
20:37:56 13              MR. CIRSCH: Object to form.                20:40:40 13                filter, you make that assumption.
20:37:56 14              THE WITNESS: They are both reliable.       20:40:41 14                    Q.    Your calculations assume that the fibers
20:37:59 15        Q.    (By Mr. Prost) Is your concentration       20:40:44 15                are present at the same levels and evenly distributed
20:38:02 16   preparation any different now than what you did in    20:40:48 16                throughout every milligram of the sample; is that
20:38:07 17   early 2018, that first report?                        20:40:53 17                right?
20:38:10 18        A.    No. We are using the exact same method,    20:40:53 18                          MR. CIRSCH: Object to form.
20:38:16 19   except the ISO 22262-2 says use heavy density liquid 20:40:54 19                           THE WITNESS: That there will be -- this
20:38:22 20   of 2.85, if I remember, and Blount had said 2.81.     20:40:55 20                    is what the range is that we should find, as we
20:38:30 21              So now I have a method that specifically   20:41:00 21                    talked about ad nauseam -- I'm sorry -- we
20:38:32 22   uses 2.85 that we have been using under Blount.       20:41:04 22                    talked about earlier.
20:38:37 23        Q.    For the Johnson & Johnson MDL samples, I   20:41:05 23                          If we found one and analyzed it again and
20:38:43 24   think you testified that some of those containers had 20:41:07 24                    found zero, that would not be surprising because
20:38:48 25   been previously opened?                               20:41:10 25                    we're right at the detection limit. But if we
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20:38:51  1             MS. O'DELL: Object to the form.                          20:41:12  1       found a significant number, 10, 15, 25, I would
20:38:53  2             THE WITNESS: Well, they got previously                   20:41:17  2       expect that we would find positive samples in
20:38:55  3       opened when they were split. I don't have any                  20:41:19  3       each and every -- if we were to do that and do
20:38:59  4       history on what Johnson & Johnson did with                     20:41:22  4       that for some time, that there is enough in
20:39:03  5       those, but certainly when they got split up in                 20:41:26  5       there that would make that where we would find
20:39:06  6       New Jersey for samples, they were opened in some               20:41:28  6       similar concentrations.
20:39:10  7       manner.                                                        20:41:29  7       Q.    (By Mr. Prost) So at the detection limit
20:39:10  8       Q.    (By Mr. Prost) The Imerys samples, the                   20:41:34  8   level where you're only finding a couple of fibers,
20:39:12  9   railcar samples, I haven't seen any photographs of                 20:41:38  9   you wouldn't be surprised to examine the same sample
20:39:16 10   those, and I think when we talked last time you said               20:41:42 10   and not have a nondetect; is that right?
20:39:19 11   you could produce those?                                           20:41:44 11       A.    That wouldn't surprise me, and it wouldn't
20:39:20 12       A.    Oh, I forgot. Yes.                                       20:41:46 12   surprise me if we had found two fibers the first time
20:39:21 13       Q.    You do have photos of those somewhere that               20:41:49 13   or two asbestos -- regulated asbestos structures the
20:39:23 14   you can produce them?                                              20:41:52 14   first time and next time you find four. So you will
20:39:23 15       A.    Yes. It should -- I'll endeavor to get                   20:41:54 15   have a range at those lower detection limits.
20:39:27 16   those.                                                             20:41:58 16       Q.    Have you ever done a study to verify the
20:39:27 17       Q.    All right. I guess we'll ask that those                  20:42:02 17   consistency of distribution throughout an entire
20:39:30 18   be produced.                                                       20:42:06 18   sample?
20:39:30 19             You're not familiar with how Imerys stored               20:42:06 19       A.    No. On the distribution and consistency
20:39:35 20   those samples before they were produced; right?                    20:42:10 20   we haven't done any additional analysis that anybody
20:39:38 21       A.    No.                                                      20:42:13 21   else has ever done in the past for analyzing these
20:39:38 22       Q.    Or what specific mines they came out of?                 20:42:17 22   same type of samples other than we're using a more
20:39:42 23             MS. O'DELL: Object to the form.                          20:42:21 23   sensitive method.
20:39:43 24             THE WITNESS: Well, I guess it would be                   20:42:21 24       Q.    You were shown an EDS -- EDXA spectra. I
20:39:45 25       easy to track down if there is information and                 20:42:25 25   think it was Exhibit 12 maybe, if you could pull that
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20:42:30  1   up.                                                                     20:44:23  1   question.
20:42:41  2                 MR. CIRSCH: You can use this one for now.                 20:44:23  2               Are you aware of any other information
20:42:43  3                 THE WITNESS: Oh, thank you.                               20:44:25  3   that is available on the software that is not on
20:42:44  4         Q.      (By Mr. Prost) You were asked some                        20:44:29  4   there or that there's a switch that has turned it
20:42:45  5   questions about how at the bottom there's references                    20:44:32  5   off?
20:42:47  6   to the different -- what do you call it -- not                          20:44:32  6          A.   Again, as I discussed earlier some many
20:42:51  7   minerals -- the components. You see what I'm talking                    20:44:35  7   hours ago, that I would have to check, if my client
20:42:55  8   about at the very bottom?                                               20:44:40  8   asks. And if my client asks for me to check, I'll
20:42:59  9         A.      In the bottom left-hand corner?                           20:44:42  9   certainly take it under serious consideration.
20:43:01 10         Q.      Correct.                                                  20:44:45 10               MR. PROST: That's all I have for now.
20:43:02 11         A.      Yes.                                                      20:44:46 11               THE WITNESS: Thank you.
20:43:02 12         Q.      Thanks.                                                   20:44:47 12               MR. PROST: Alex, do you have some more
20:43:03 13                 And you said, I think, that you weren't                   20:44:49 13          questions?
20:43:05 14   sure if the software automatically pulled up those                      20:44:49 14               MR. CHACHKES: No.
20:43:07 15   calculations or the ratios, the different numbers; is                   20:45:00 15               (Recess from 8:45 p.m. to 8:55 p.m.)
20:43:10 16   that right?                                                             20:56:20 16                         EXAMINATION
20:43:12 17         A.      That's correct.                                           20:56:25 17   BY MS. O'DELL:
20:43:13 18         Q.      All right.                                                20:56:25 18          Q.   Dr. Longo, it's been a very long day,
20:43:14 19         A.      It's not so much the ratios; it's that you                20:58:09 19   but --
20:43:17 20   can do it by elemental percentage or the oxides.                        20:58:10 20          A.   Yes, ma'am, it has.
20:43:20 21         Q.      If the software automatically pulled that                 20:58:11 21          Q.   It has, I know, for you. I have a few
20:43:23 22   up, your analyst wouldn't delete it before they                         20:58:14 22   questions for you.
20:43:25 23   printed that, would they?                                               20:58:16 23               First, before we begin, would you please
         24                 MR. CIRSCH: Object to form.                               20:58:19 24   describe your educational background, your background
20:43:28 25                 THE WITNESS: No. If it is on there for                    20:58:24 25   and expertise.
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20:43:30  1         that particular software, it would be a toggle                    20:58:26  1          A.   Yes. My educational background is that I
20:43:33  2         switch they would either turn on or turn off.                     20:58:31  2   graduated from the University of Florida with a
20:43:35  3                 What's more important is we're following                  20:58:32  3   bachelor's of science in microbiology. Went on to
20:43:36  4         the ISO method for quantitative EDS where we                      20:58:35  4   graduate school in the materials science department
20:43:41  5         have collected the appropriate count times.                       20:58:38  5   and graduated in 1983 with a Ph.D. in materials
20:43:44  6         Q.      (By Mr. Prost) So the analyst could flip                  20:58:41  6   science and engineering.
20:43:46  7   a switch, and it could produce those specific                           20:58:42  7               I started a small company, and we were one
20:43:49  8   calculations for us?                                                    20:58:45  8   of the first TEM labs in the country that specialized
20:43:51  9         A.      I don't know that.                                        20:58:48  9   in the analysis of asbestos by transmission electron
20:43:52 10                 MR. CIRSCH: Object.                                       20:58:53 10   microscopy. Went on to in 1988 open the doors of
20:43:53 11                 THE WITNESS: It was talked about at                       20:58:57 11   Materials Analytical Services and have been there
20:43:55 12         length earlier. It's not something we routinely                   20:59:00 12   ever since as president.
20:43:57 13         do or I'm relying on.                                             20:59:01 13               While I was at the University of Florida,
20:44:03 14         Q.      (By Mr. Prost) Is there anything else                     20:59:03 14   I stayed on while I started that first little company
20:44:04 15   that you can think of where there's a switch that you                   20:59:06 15   and eventually became visiting assistant professor at
20:44:08 16   could turn off information that the software was to                     20:59:10 16   the University of Florida, which I gave up that
20:44:10 17   automatically put on there?                                             20:59:12 17   position in approximately 1986 or so.
20:44:12 18                 MS. O'DELL: Object to form.                               20:59:17 18               Materials Analytical Services grew at some
20:44:13 19                 MR. CIRSCH: Objection.                                    20:59:20 19   point to almost 80 employees, where we specialized in
20:44:13 20                 THE WITNESS: I never stated that the                      20:59:24 20   everything from analysis of asbestos to materials to
20:44:16 21         software automatically wants to do it and the                     20:59:29 21   semiconductors, even doing work for the Department of
20:44:18 22         analysts are fighting with the software where                     20:59:33 22   Defense on various types of contracts.
20:44:21 23         the software is saying, no, no, I need to do                      20:59:37 23               Since that time, we've probably analyzed
20:44:22 24         this.                                                             20:59:41 24   somewhere in the order of 300,000 or 400,000
20:44:22 25         Q.      (By Mr. Prost) I'll rephrase the                          20:59:44 25   individual asbestos samples. We worked with various
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20:59:49  1   states and agencies in litigation for property damage                 21:02:56  1   won't do it again.
20:59:52  2   and developed techniques for reverse engineering                      21:02:57  2                 And I'm a member of various organizations.
20:59:56  3   asbestos-containing products so you could identify                    21:03:03  3   The American Industrial Hygiene Association, the
20:59:57  4   the manufacturer.                                                     21:03:13  4   microscopy -- materials science microscopy, as well
20:59:59  5              And I was the expert for the City of                       21:03:16  5   as I'm a board certified forensic engineer, which is
21:00:02  6   New York, the State of New York, the State of Hawaii,                 21:03:19  6   not just pay your money; you actually have to qualify
21:00:08  7   the State of Utah, the City of Chicago, plus the                      21:03:22  7   from your experience and renew that. I finally
21:00:13  8   entire school system and public buildings in the                      21:03:26  8   became a fellow in forensic engineering for what I
21:00:18  9   State of Texas.                                                       21:03:30  9   do.
21:00:20 10              We were the referee lab for the                            21:03:31 10                 I guess that's it.
21:00:23 11   bankruptcies that involved both U.S. Gypsum,                          21:03:32 11         Q.      Have you been qualified as an expert in
21:00:25 12   W.R. Grace, U.S. Mineral as well -- additionally,                     21:03:37 12   asbestos testing and allowed to testify in federal
21:00:29 13   Turner & Newall's Limpet, as the referee lab where if                 21:03:42 13   court?
21:00:33 14   somebody had made a claim, it was up to us to                         21:03:42 14         A.      Yes. I've been in federal court many
21:00:36 15   validate that the particular sample coming out of a                   21:03:46 15   times on our asbestos type work, and in fact I've had
21:00:39 16   particular building was, in fact, that manufacturer's                 21:03:49 16   a handful of appellate opinions that the methodology
21:00:44 17   product.                                                              21:03:53 17   we use is sound science. I've been qualified as both
21:00:44 18              I have published in the peer-reviewed                      21:03:57 18   a materials scientist in the areas of microscopy, in
21:00:47 19   literature on the types of testing that we've done                    21:04:02 19   the areas of asbestos analysis, in the areas of
21:00:50 20   for both asbestos and nonasbestos type products.                      21:04:06 20   industrial hygiene specifically to do with asbestos.
21:00:55 21              I have taught at the American Industrial                   21:04:09 21   And I'm still not a certified industrial hygienist.
21:01:01 22   Hygiene Association for teaching other industrial                     21:04:12 22         Q.      What were you asked to do in this case?
21:01:04 23   hygienists the utility of transmission electron                       21:04:15 23         A.      I was asked to determine, using standard
21:01:06 24   microscopy specifically for asbestos as well as other                 21:04:18 24   protocols, peer-reviewed protocols that are normally
21:01:09 25   industrial hygiene applications for particle size                     21:04:22 25   used for the determination of asbestos in materials,
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21:01:13  1   analysis, fugitive type particulates for air quality.           1     21:04:27      air, bulk samples, water samples, what have you, if
21:01:20  2              Our laboratory is one of the few in the    21:04:31  2                   there was in fact regulated asbestos in these
21:01:23  3   country that does VOC testing for all the green       21:04:35  3                   containers of Johnson & Johnson Baby Powder, Shower
21:01:27  4   labeling. We're certified to do that by the ISO       21:04:43  4                   to Shower during the time that Johnson & Johnson was
21:01:30  5   certification.                                        21:04:47  5                   manufacturing that before they sold it to Valeant,
21:01:31  6              Our laboratory also has an FDA laboratory  21:04:51  6                   Valeant Pharmaceuticals.
21:01:34  7   number so that we do do pharmaceutical or UPS type    21:04:53  7                                 And using standard methodology to
21:01:40  8   testing to verify, typically, different chemicals and 21:04:56  8                   determine if there was detectable amounts of
21:01:47  9   materials that may be emitted or inhaled or injected  21:04:58  9                   regulated asbestos in these containers, historical
21:01:52 10   or taken by mouth.                                    21:05:02 10                   containers as well as more contemporary containers.
21:01:54 11              I've been doing this for almost 30 years,  21:05:08 11                   For this particular case for the MDL we have not
21:01:57 12   and my specialty has been and my research over the    21:05:13 12                   gotten to the MDL China mines but to verify if it
21:02:01 13   years has been asbestos-containing products and the   21:05:18 13                   was, in fact, present or not.
21:02:05 14   propensity or not to cause significant exposure       21:05:20 14                         Q.      Okay. Is the methodology that you used in
21:02:08 15   during the use of those products.                     21:05:25 15                   your work in this case supported by the peer-reviewed
21:02:11 16              I was the primary author of the ASTM       21:05:32 16                   literature?
21:02:15 17   Method for the Analysis of Asbestos Fibers and        21:05:32 17                         A.      Yes. We're using standard protocols that
21:02:18 18   Bundles in Settled Dust, the D2205 committee for ASTM 21:05:34 18                   other scientists in the field of asbestos testing
21:02:26 19   standard method, which is probably the most rigorous  21:05:36 19                   have used in the years.
21:02:30 20   peer-reviewed methodology outside of ISO.             21:05:38 20                                 If there's a publication involving
21:02:33 21              To get your committee -- your              21:05:40 21                   asbestos analysis of some sort or asbestos in some
21:02:38 22   subcommittee, your committee, and eventually all      21:05:44 22                   product or asbestos release, the protocols that we
21:02:42 23   40,000 members have the ability for the final time    21:05:49 23                   use are typically referenced in those peer-reviewed
21:02:47 24   when it becomes a standard to vote negative on it.    21:05:51 24                   publications as well as these are standards, standard
21:02:52 25   One negative vote sends it back. I did that once. I   21:05:55 25                   testing protocols that are accepted across the
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21:05:59  1   country for these types of analysis and across the                     21:08:28  1              Of the 15 Imerys railroad car samples,
21:06:02  2   world, especially the International Standards                          21:08:31  2   eight were positive, or 53 percent.
21:06:05  3   organization protocols that we use.                                    21:08:36  3              Excluding the seven Asian Johnson Baby
21:06:07  4        Q.    And is that because of the methodology                      21:08:40  4   Powder containers would give us 65 Johnson Baby
21:06:08  5   that you use and because of the fact that it's                         21:08:43  5   Powder and STS and Imerys railroad car samples
21:06:12  6   generally accepted in the scientific community, is                     21:08:47  6   analyzed; 44 were positive, or 68 percent, for
21:06:14  7   the process that you undertook here something that                     21:08:49  7   amphibole asbestos.
21:06:18  8   could be replicated by another scientist or lab?                       21:08:51  8              And then we have a break -- then, of
          9              MR. PROST: Objection --                                     21:08:53  9   course, we have the breakdown of each of these
21:06:24 10              MR. SILVER: Objection to form.                              21:08:57 10   without the Asian.
21:06:24 11              MR. CHACHKES: Objection. Leading.                           21:08:58 11        Q.    What were the results for fibrous talc?
21:06:26 12              MS. WOODS: Join.                                            21:09:04 12        A.    The qualitative analysis of fibrous
21:06:26 13              THE WITNESS: Absolutely. They just would                    21:09:10 13   talc -- let me just jump to the results section.
21:06:28 14        follow the methodology that we have laid out in                   21:09:16 14        Q.    Page 9.
21:06:29 15        the reference protocols, and as long as they are                  21:09:18 15        A.    Thank you. Been a long day.
21:06:32 16        qualified that they can do this type of                           21:09:21 16        Q.    Sure.
21:06:34 17        analysis, they should all be able to be                           21:09:22 17        A.    Using the ISO PLM method, found that of
21:06:37 18        replicated.                                                       21:09:32 18   the 56 Italian/Vermont/China source containers that
21:06:39 19        Q.    (By Ms. O'Dell) Let's talk about your                       21:09:36 19   we analyzed, 55, or 98 percent, contained fibrous
21:06:40 20   results just very briefly.                                             21:09:41 20   talc. The Blount PLM method showed of the 72, 20
21:06:45 21              What were your find -- let me back up and                   21:09:45 21   contained fibrous talc.
21:06:48 22   ask this question.                                                     21:09:47 22              The TEM analysis showed that -- and I have
21:06:49 23              What time period did the samples you                        21:09:54 23   that somewhere -- that there was similar
21:06:51 24   tested for your January 2019 report, what time period                  21:09:56 24   concentration by the heavy density liquid method by
21:06:56 25   does that cover?                                                       21:10:01 25   TEM, which is biased against finding fibrous talc,
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                                                                   354                                                                                  356
21:06:58  1        A.    The 1960s, the 1970s, the 1980s, the                        21:10:06  1   because unless it has iron in it, you'll have the
21:07:03  2   1990s, and the early 2000s.                                            21:10:09  2   same density as platy talc.
21:07:05  3        Q.    What were the sources from which talc was                   21:10:12  3              So, really, the best predictor of fibrous
21:07:08  4   mined?                                                                 21:10:16  4   talc would be the ISO PLM that does not use heavy
21:07:10  5        A.    The '60s up until about '67 or so would be                  21:10:20  5   density liquid, and most all the samples except for
21:07:13  6   from Italy; from there to approximately 2002, 2003,                    21:10:23  6   one that we tested had it in there.
21:07:21  7   it would be from Vermont; and after that it's from                     21:10:42  7              MS. O'DELL: Nothing further, Doctor.
21:07:24  8   China.                                                                 21:10:43  8        Thank you.
21:07:25  9        Q.    What were your findings regarding                           21:10:45  9              THE WITNESS: Thank you.
21:07:27 10   regulated asbestos fibers?                                             21:10:47 10              MR. CHACHKES: Nothing more here.
21:07:29 11        A.    Our results overall for 72 what I'll call                   21:10:50 11                      FURTHER EXAMINATION
21:07:35 12   historical containers that include 15 historical                                12   BY MR. PROST:
21:07:38 13   railroad car samples from Imerys, and out of that 72                   21:10:52 13        Q.    Just one follow-up.
21:07:44 14   samples, 50 were positive for regulated asbestos, and                  21:10:53 14              You're talking about the results,
21:07:48 15   that gives you a percentage of approximately                           21:10:54 15   Dr. Longo. Turn to page 6 of your report.
21:07:50 16   66 percent or so.                                                      21:10:58 16              You talk about how the analysis of 34
21:07:52 17              If we break it down -- and, oh, that                        21:11:01 17   historical Johnson's Baby Powder containers you
21:07:54 18   includes seven MDL samples that came from the Korean                   21:11:06 18   determined were 71 percent positive.
21:08:00 19   mine, or what we call the Asian talc.                                  21:11:09 19              And then number 2, you say the analysis of
21:08:04 20              If we break it down for the Johnson's Baby                  21:11:11 20   22 historical Shower to Shower, or 77 percent,
21:08:08 21   Powder, we analyzed 34 historical samples with Asian.                  21:11:16 21   positive; but the analysis of the Imerys 15 railroad
21:08:13 22   Out of that 34, 24 were positive, or 71 percent.                       21:11:19 22   car samples were only 53 percent positive.
21:08:18 23              We also analyzed 23 historical Shower to                    21:11:23 23              Do you have an explanation for the
21:08:21 24   Shower containers that were Johnson & Johnson, and 18                  21:11:28 24   25 percent difference there between the Imerys
21:08:25 25   were positive, or 78 percent.                                          21:11:31 25   railroad car samples and the finished product
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21:11:34  1   samples?                                                                  21:13:27  1                               EXAMINATION
21:11:34  2         A.     Yes, sir.                                                    21:13:27  2     BY MR. SILVER:
21:11:36  3         Q.     What is that?                                                21:13:27  3           Q.      Dr. Longo, in your report you characterize
21:11:36  4         A.     Only eight were positive out of the 15.                      21:13:29  4     the Imerys samples as railcar samples. Where did you
21:11:40  5         Q.     Do you have an explanation for why there                     21:13:32  5     get that description from?
21:11:43  6   would be such a discrepancy in the positive findings                      21:13:33  6           A.      It was on the -- I believe it was right on
21:11:46  7   using your methodology?                                                   21:13:36  7     the containers as well as from the MDL for the chain
21:11:47  8                MS. O'DELL: Object to the form.                              21:13:40  8     of custodies that they sent.
21:11:48  9                THE WITNESS: I don't look at it as a                         21:13:42  9           Q.      And sitting here today, you believe that
21:11:49 10         discrepancy. We call them like we see it. So                        21:13:43 10     all those samples were actually railcar samples?
21:11:52 11         if it's only eight out of the 15, that's all we                     21:13:47 11                   MS. O'DELL: Object to the form.
21:11:55 12         saw.                                                                21:13:48 12                   THE WITNESS: I don't know if they all
21:11:57 13         Q.     (By Mr. Prost) And you expect that if the                    21:13:49 13           were. We'd have to look at the chain of
21:11:58 14   raw talc supplied had a certain percentage of                             21:13:51 14           custodies. But I think there were one or two
21:12:02 15   asbestos, you would see the same percentage in the                        21:13:53 15           that said something different than railroad car
21:12:04 16   finished product?                                                         21:13:57 16           samples, but I just characterized them all as
21:12:05 17                MS. O'DELL: Object to form.                                  21:14:00 17           railroad car samples.
21:12:07 18                THE WITNESS: No, I wouldn't expect to see                    21:14:01 18                   MR. SILVER: Thank you. No further
21:12:09 19         the same percentage, usually, because you're --                     21:14:03 19           questions.
21:12:11 20         flotation, you're using various methods. And we                     21:14:09 20                   (Deposition concluded at 9:14 p.m.)
21:12:16 21         don't have a lot of data from the 1990s. So                                  21                   (Pursuant to Rule 30(e) of the Federal
21:12:23 22         there may be, you know, a difference in the two.                             22     Rules of Civil Procedure and/or O.C.G.A. 9-11-30(e),
21:12:26 23         But we don't have enough data to make that yet,                              23     signature of the witness has been waived.)
21:12:29 24         to make that jump on why one versus the other.                               24                (Original transcript sent to Mr. Frost.)
21:12:33 25         Q.     (By Mr. Prost) So your opinion as to what                             25
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21:12:35  1   could explain the difference is that there's a                                        1                       CERTIFICATE

21:12:38  2   flotation method and it's a small sample size?                                        2
21:12:41  3         A.     No. I never said that. I said there is a
                                                                                                    3   STATE OF GEORGIA:

21:12:44  4   processing on it, but we don't have a lot of samples
                                                                                                    4   COUNTY OF HALL:
                                                                                                    5
21:12:46  5   from 1990 and 2000. And, you know, we'll just have
                                                                                                    6                 I hereby certify that the foregoing
21:12:51  6   to see as we go forward with additional testing.
                                                                                                    7         transcript was taken down, as stated in the
21:12:55  7         Q.     So the smaller the sample size, the less
                                                                                                    8         caption, and the questions and answers thereto
21:12:57  8   reliable the findings, you would agree?
                                                                                                    9         were reduced to typewriting under my direction;
21:13:00  9         A.     No --
                                                                                                   10         that the foregoing pages 1 through 359 represent
21:13:00 10                MS. O'DELL: Object to form.                                             11         a true, complete, and correct transcript of the
21:13:00 11                THE WITNESS: I don't agree that the                                     12         evidence given upon said hearing, and I further
21:13:02 12         findings are not reliable at all. They are                                     13         certify that I am not of kin or counsel to the
21:13:03 13         reliable. Why there's 53 percent versus some of                                14         parties in the case; am not in the regular
21:13:06 14         the others, you know, hopefully we can answer                                  15         employ of counsel for any of said parties; nor

21:13:10 15         this question some day. Or we get a larger                                     16         am I in anywise interested in the result of said

21:13:17 16         sample size and see if there is actually a                                     17         case.

21:13:17 17         difference.
                                                                                                   18                 This, the 7th day of February, 2019.
                                                                                                   19
21:13:17 18                MR. PROST: No further questions.
21:13:22 19                MR. SILVER: Hold on. Yes, we do. We
                                                                                                   20                     _________________________
21:13:23 20         have one more. We can feed it to him or just
                                                                                                                          FRANCES BUONO, B-791
         21         ask him.
                                                                                                   21                     Georgia Certified Court Reporter
         22                THE WITNESS: Why don't you just go ahead
                                                                                                   22
21:13:27 23         and ask me.                                                                    23
         24   ///                                                                                  24
         25   ///                                                                                  25
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      2
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           of the taking of the deposition stating the
      5    arrangements made for the reporting services of the
           certified court reporter, by the certified court
      6    reporter, the court reporter's employer, or the
           referral source for the deposition, with any party to
      7    the litigation, counsel to the parties or other
           entity. Such form shall be attached to the
      8    deposition transcript," I make the following
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     12    any contract that is prohibited by O.C.G.A.
           15-14-37(a) and (b).
     13
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                          Exhibit F
           Case 3:16-md-02738-MAS-RLS Document 9741-5 Filed 05/07/19 Page 349 of 608 PageID:  3
                                              46719 1           APPEARANCES OF COUNSEL (continued)

                                                                                                                     2

       1                    IN THE UNITED STATES DISTRICT COURT                                                      3   On behalf of the Defendant,
                              FOR THE DISTRICT OF NEW JERSEY                                                               Johnson & Johnson and Johnson & Johnson Consumer
       2                                                                                                             4     Inc.:
       3
                                                                                                                     5       ALEX V. CHACHKES, Esq.
       4       IN RE: JOHNSON & JOHNSON    )                                                                                 NINA TROVATO, Esq.
               TALCUM POWDER PRODUCTS      )                                                                         6       Orrick, Herrington & Sutcliffe, LLP
       5       MARKETING SALES             )
               PRACTICES, AND PRODUCTS     ) MDL NO.16-2738(FLW)(LHG)                                                        51 West 52nd Street
       6       LIABILITY LITIGATION        )                                                                         7       New York, New York 10019-1642
               ____________________________)                                                                                 Achachkes@orrick.com
       7
                                                                                                                     8       Ntrovato@orrick.com
       8
                                                                                                                     9
       9
                                                                                                                             JACK N. FROST, JR., Esq.
      10                                                                                                         10          Drinker Biddle & Reath LLP
                                                                                                                             600 Campus Drive
      11                         VIDEO-RECORDED DEPOSITION OF                                                    11          Florham Park, New Jersey 07932-1047
      12                                 MARK W. RIGLER, PH.D.                                                               Jack.frost@dbr.com
                                                                                                                 12
      13

      14                                   February 6, 2019                                                      13      On behalf of the Defendant,
                                                                                                                           Imerys Talc America, Inc.:
      15                                       9:14 a.m.                                                         14
      16                                                                                                                     MARK K. SILVER, Esq.
                                                                                                                 15          Coughlin Duffy, LLP
      17                             11340 Lakefield Drive                                                                   350 Mount Kemble Avenue
                                            Suite 200                                                            16          Morristown, New Jersey 07962
      18                              Johns Creek, Georgia
                                                                                                                             Msilver@coughlinduffy.com
      19                                                                                                         17
      20
                                                                                                                 18          MARK A. PROST, Esq.
      21                                                                                                                     Sandberg Phoenix & von Gontard, P.C.
                                                                                                                 19          600 Washington Avenue
      22                       Frances Buono, RPR, CCR-B-791
                                                                                                                             15th Floor
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           1                             APPEARANCES OF COUNSEL                                                      1             APPEARANCES OF COUNSEL (continued)

           2                                                                                                         2

           3   On behalf of the Plaintiffs:                                                                          3   On behalf of the Defendant,
                                                                                                                           PTI:
           4        LEE CIRSCH, Esq.                                                                                 4
                    The Lanier Law Firm                                                                                      MICHAEL ANDERTON, Esq.
           5        21550 Oxnard Street
                                                                                                                     5       Tucker Ellis, LLP
                    3rd Floor
                                                                                                                             950 Main Avenue
           6        Woodland Hills, California 91367
                                                                                                                     6       Suite 1100
                    Lee.cirsch@lanierlawfirm.com
           7                                                                                                                 Cleveland, Ohio 44113-7213
                                                                                                                     7       Michael.anderton@tuckerellis.com
           8        P. LEIGH O'DELL, Esq.
                    Beasley Allen Law Firm                                                                           8
           9        218 Commerce Street                                                                                  On behalf of the Defendant,
                    Montgomery, Alabama 36103-4160                                                                   9     PCPC:
       10           Leigh.odell@beasleyallen.com
                                                                                                                 10          REBECCA WOODS, Esq.
       11                                                                                                                    Seyfarth Shaw
                    MICHELLE A. PARFITT, Esq.                                                                    11          1075 Peachtree Street, NE
       12           JAMES GREEN, Esq.                                                                                        Suite 2500
                    Ashcraft & Gerel, LLP                                                                        12          Atlanta, Georgia 30309
       13           1825 K. Street                                                                                           Rwoods@seyfarth.com
                    Suite 700                                                                                    13
       14           Washington, D.C. 20036
                    Mparfitt@ashcraftlaw.com                                                                     14      Also Present:
       15
                                                                                                                 15          George Montiel, Videographer
       16           DENNIS M. GEIER, Esq.
                    Cohen Placitella Roth, PC
                                                                                                                 16                                - - -
       17           127 Maple Avenue
                    Red Bank, New Jersey 07701
                                                                                                                 17
       18           Dgeier@cprlaw.com
                                                                                                                 18
       19                                                                                                        19
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       1                   INDEX TO EXAMINATIONS                                         1               (Reporter disclosure made pursuant to
       2                                                                                 2        Article 10.B. of the Rules and Regulations of
       3           Examination                      Page                                 3        the Board of Court Reporting of the Judicial
       4                                                                                 4        Council of Georgia.)
       5    Examination by Mr. Chachkes                       7                          5               (Identification statement by
       6    Examination by Mr. Silver                       214                          6        videographer.)
       7    Examination by Ms. O'Dell                       219                          7                   MARK W. RIGLER, PH.D.,
       8                                                                                 8   having been first duly sworn, was examined and
       9                           ---                                       09:13:39    9   testified as follows:
      10                                                                     09:13:39   10                           EXAMINATION
      11                                                                     09:13:42   11   BY MR. CHACHKES:
      12                                                                     09:13:42   12        Q.     Good morning, Dr. Rigler.
      13                                                                     09:14:52   13        A.     Good morning.
      14                                                                     09:14:52   14        Q.     How are you?
      15                                                                     09:14:52   15        A.     Good; you?
      16                                                                     09:14:53   16        Q.     Good.
      17                                                                     09:14:55   17               MR. CHACHKES: So just for the record, I
      18                                                                     09:14:55   18        have the same late production objections as
      19                                                                     09:14:58   19        yesterday and the same request to keep the
      20                                                                     09:15:01   20        deposition open. I assume you have the same?
      21                                                                     09:15:03   21               MS. O'DELL: We have the same opposition.
      22                                                                     09:15:06   22        Q.     (By Mr. Chachkes) Okay. So what I've
      23                                                                     09:15:07   23   done is I've brought some exhibits from yesterday, so
      24                                                                     09:15:10   24   if you're wondering why there's stamps on them, it's
      25                                                                     09:15:14   25   because they're the stamps from Dr. Longo's
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                                                             6                                                                                 8
       1                       INDEX TO EXHIBITS
                                                                             09:15:17    1   deposition. We are going to use some of the same
       2                                                                     09:15:19    2   exhibits, if that's okay.
           Defendants'
       3    Exhibit          Description             Page                    09:15:20    3        A.     Yes.
                                                                             09:15:20    4        Q.     So what's been marked yesterday -- so all
       4
               1     Invoices                               204              09:15:22    5   the stamps are February 5, 2019, Longo. And I'm
       5
                                                                             09:15:28    6   going to use those exhibits unless I use a new
               2     Excerpt - Trial transcript,        136
       6             February 20, 2018, Vol. XIV, Lanzo                      09:15:31    7   exhibit.
                     vs. Cyprus Amax
                                                                             09:15:31    8        A.     Okay.
       7
               3     MAS TEM Coefficient of Variation for 173                09:15:32    9        Q.     So I'm just going to hand you what's been
       8             Tremolite and Anthophyllite in Talc,
                     A Quality Control Study, 9-6-18                         09:15:33   10   marked yesterday as Exhibit 2. And you recognize
       9                                                                     09:15:36   11   that as the January 15 version of the report that you
               4     Graph                                  177
      10                                                                     09:15:40   12   cosigned?
                                                                             09:15:41   13        A.     Yes.
      11
                                                                             09:15:41   14        Q.     Okay. And what was your involvement in
      12       (Original Exhibits 1 through 4 have been                      09:15:44   15   drafting this report?
           attached to the original transcript.)
      13                                                                     09:15:46   16        A.     I reviewed the report, looked over the
                                                                             09:15:50   17   data, and made typographical and grammatical
      14                           ---
                                                                             09:15:55   18   corrections throughout the report.
      15                                                                     09:15:57   19        Q.     Okay. Do you feel qualified to testify to
      16
      17                                                                     09:16:05   20   every matter that's in that report?
      18                                                                     09:16:07   21               MS. O'DELL: Object to the form.
      19
      20                                                                     09:16:08   22               THE WITNESS: As I say, I am qualified to
      21                                                                     09:16:12   23        testify on what's in this report now, yes.
      22
      23                                                                     09:16:14   24        Q.     (By Mr. Chachkes) Okay. So if Dr. Longo
      24                                                                     09:16:17   25   were to, for example, not show up at a trial, you
      25
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09:16:20  1   could testify to everything that you could testify              1 09:18:40                 THE WITNESS: Well, in terms of looking at
09:16:21  2   to?                                                   09:18:42  2                   data, quality control issues, that type of
09:16:22  3        A.    Well, I'm not Dr. Longo, of course.        09:18:45  3                   thing, which would be part of the study, I would
09:16:26  4   However, I can testify as to what's in this report,   09:18:47  4                   say, yes, I was part of that.
09:16:29  5   yes.                                                  09:18:49  5                   Q.     (By Mr. Chachkes) Okay. So the actual
09:16:29  6        Q.    Okay. To what degree is Dr. Longo more     09:18:51  6               experimentation process, the -- people call it wet
09:16:33  7   qualified about something in that report than you?    09:18:54  7               work; are you familiar with that?
09:16:36  8        A.    Dr. Longo has a degree in materials        09:18:55  8                   A.     Yes.
09:16:39  9   science, and my degree is in microbiology, my Ph.D.   09:18:56  9                   Q.     Okay. So the actual experimental process
09:16:44 10   So he has more experience in the materials area, so I 09:18:58 10               and the wet work, you did not participate in that?
09:16:53 11   would, you know, defer to him on those topics.        09:19:01 11                   A.     Again, Dr. Longo directed those activities
09:16:57 12        Q.    Okay. Well, there's no microbiology in     09:19:06 12               in this study; and again, I will defer those things
09:17:01 13   the report; right?                                    09:19:10 13               to him, you know, if -- once we get to those topics
09:17:02 14        A.    Not that I know of, no. But there are      09:19:14 14               and we talk about those topics, because right now
09:17:04 15   microscopic things in the report, and that's one of   09:19:17 15               we're talking about things in general.
09:17:07 16   my areas of qualification, electron microscopy and    09:19:18 16                   Q.     I'm not asking about Dr. Longo. I'm
09:17:12 17   the microscopic world, if you will.                   09:19:20 17               asking about you.
09:17:14 18        Q.    So that's sort of a comparison of your     09:19:20 18                   A.     Sure.
09:17:16 19   relative expertise. What about your relative ability  09:19:21 19                   Q.     What in the report -- which experiments
09:17:19 20   to talk about substantive matters, data, you know,    09:19:23 20               did you participate in, if any?
09:17:23 21   what analysts did? Is there any difference there      09:19:24 21                   A.     I told you in the beginning what I did
09:17:26 22   between you and Dr. Longo?                            09:19:28 22               here, which was mainly review the data, review the
09:17:27 23        A.    Well, Dr. Longo is the head of the         09:19:31 23               report for typographical or grammatical errors, also
09:17:31 24   laboratory, so I would defer to him on a number of    09:19:36 24               checking data, that type of thing.
09:17:35 25   those areas, and specific areas.                      09:19:38 25                   Q.     So can you confirm you did not participate
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09:17:38  1       Q.    Okay. For example?                                      09:19:41  1   in the actual experimenting that's reported on in the
09:17:39  2       A.    Well, for example, there may be some                    09:19:44  2   exhibit?
09:17:42  3   situations where he directed the study and that                   09:19:44  3              MS. O'DELL: Object to the form.
09:17:49  4   would -- I would defer those things to him.                       09:19:47  4              THE WITNESS: Again, I was part of the
09:17:51  5       Q.    Did you direct any of the studies in that               09:19:48  5       study working on part of the study, so I
09:17:54  6   report?                                                           09:19:50  6       consider myself as someone who participated in
09:17:54  7       A.    As far as me directing the studies in                   09:19:53  7       the study.
09:17:57  8   here, that was mainly Dr. Longo.                                  09:19:53  8       Q.     (By Mr. Chachkes) Okay. So --
09:17:58  9       Q.    Okay. What studies in there did you                     09:19:55  9       A.     That's the way it works in the laboratory.
09:18:02 10   direct?                                                           09:19:57 10       Q.     Let's be more specific.
09:18:03 11       A.    Again, they were mainly directed by                     09:19:58 11       A.     Sure.
09:18:06 12   Dr. Longo.                                                        09:19:59 12       Q.     So you understand what an experiment is;
09:18:06 13       Q.    You say mainly. I'm just wondering is                   09:20:04 13   right?
09:18:09 14   there anything left over that you directed?                       09:20:04 14              MS. O'DELL: In what context?
09:18:11 15             MS. O'DELL: Object to the form.                         09:20:07 15              THE WITNESS: Yeah, in what context?
09:18:12 16             THE WITNESS: In terms of the study                      09:20:08 16       Q.     (By Mr. Chachkes) Okay. So you're
09:18:16 17       process, originally we conferred on it in the                 09:20:09 17   unclear on what an experiment is?
09:18:20 18       very beginning, but Dr. Longo was the one who                 09:20:11 18       A.     No, I'm not unclear on what an experiment
09:18:24 19       mainly carried out the processes and direction                09:20:13 19   is. I'm wondering what you're asking as far as your
09:18:28 20       of the studies.                                               09:20:15 20   question.
09:18:29 21       Q.    (By Mr. Chachkes) Okay. So the                          09:20:15 21       Q.     What does the word experiment mean to you?
09:18:31 22   conceptualization of the experimental procedures you              09:20:17 22       A.     Well, it would be a set of tests after
09:18:35 23   participated, but in the actual execution you did not             09:20:21 23   coming up with a hypothesis about a particular
09:18:38 24   participate?                                                      09:20:23 24   situation what the questions are.
09:18:39 25             MS. O'DELL: Object to the form.                         09:20:25 25       Q.     Let's use your definition. Were you
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09:20:26  1   involved in any experiments where you were actually                 09:22:48  1   done, you had the data?
09:20:29  2   testing -- testing -- J&J bottles of talc?                          09:22:49  2        A.    Well, then I would review the data, go
09:20:35  3        A.    I was not -- I was not handling and                      09:22:54  3   through the data, and then see again if it met the QC
09:20:39  4   testing the talc myself. Our analysts in the                        09:22:59  4   qualifications.
09:20:42  5   laboratory were directed to do that.                                09:23:01  5        Q.    Okay. Anything else that you did once the
09:20:44  6        Q.    Did you ever use a PLM for the purposes of               09:23:03  6   data was done?
09:20:48  7   this report?                                                        09:23:04  7        A.    Not that I can recall as I sit here.
09:20:49  8        A.    No, I did not.                                           09:23:09  8        Q.    Okay. During any of the experiments did
09:20:50  9        Q.    Did you ever use a TEM for the purposes of               09:23:13  9   you sit over the shoulder of any analyst and watch
09:20:52 10   this report?                                                        09:23:17 10   the work they were doing?
09:20:53 11        A.    Not for the purposes of this report.                     09:23:18 11        A.    Yeah. I'm at the laboratory mostly on a
09:20:55 12        Q.    Did you ever use an XRD device for the                   09:23:23 12   daily basis, so I was able to go in and look and see
09:20:59 13   purposes of this report?                                            09:23:25 13   what analysts were doing at any particular time.
09:21:01 14        A.    We do not have the XRD device or that type               09:23:28 14        Q.    Okay. Were you substantively contributing
09:21:04 15   of device at our laboratory.                                        09:23:33 15   at those moments when you were looking at what
09:21:06 16        Q.    Did you ever do an SAED experiment for the               09:23:35 16   analysts were doing?
09:21:08 17   purposes of this report?                                            09:23:36 17        A.    What do you mean by that?
09:21:10 18        A.    Again, same answer as with the TEM.                      09:23:37 18        Q.    Well, were you telling them to change
09:21:13 19        Q.    So that's a no?                                          09:23:41 19   their behavior or to do something that they weren't
09:21:15 20        A.    Correct.                                                 09:23:43 20   otherwise going to do? Anything that affected their
09:21:16 21        Q.    Okay. And did you ever do EDXA work                      09:23:46 21   experimental work?
09:21:21 22   experiments on J&J bottles of talc for this report?                 09:23:47 22              MS. O'DELL: Object to the form.
09:21:24 23        A.    That would be the same answer.                           09:23:48 23              THE WITNESS: No. No.
09:21:26 24        Q.    Which is a no?                                           09:23:48 24        Q.    (By Mr. Chachkes) And so you're an
09:21:26 25        A.    Yes.                                                     09:23:52 25   employee of MAS?
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09:21:27  1        Q.    And did you -- let's -- so once the                  1   09:23:53           A.    Yes.
09:21:36  2   experiments were done and you saw the data, did you   09:23:53  2                      Q.    How long have you been an employee there?
09:21:39  3   do any substantive contribution to the report other   09:23:55  3                      A.    Over 30 years.
09:21:46  4   than correct typos?                                   09:23:57  4                      Q.    Let's go back to the report. Are there
09:21:47  5             MS. O'DELL: Object to the form.             09:24:04  5                 any sections of the report that you can say you
09:21:48  6             THE WITNESS: In terms of looking at what    09:24:06  6                 didn't work on?
09:21:50  7        was done during the study and working with the   09:24:08  7                            MS. O'DELL: Object to the form.
09:21:55  8        TEM manager on the study and the quality         09:24:09  8                            THE WITNESS: I would have to look. If
09:21:59  9        control, yes.                                    09:24:14  9                      you're talking about the reports in front of me
09:22:00 10        Q.   (By Mr. Chachkes) Okay. So can you be       09:24:16 10                      here --
09:22:02 11   more specific? So you did quality control. What's     09:24:17 11                      Q.    (By Mr. Chachkes) Yes, the January 15
09:22:04 12   that?                                                 09:24:19 12                 expert report for the MDL.
09:22:04 13        A.   Well, I monitored the reporting that was    09:24:20 13                      A.    The J3 portions of the report.
09:22:08 14   done in terms of what samples were analyzed, what     09:24:24 14                      Q.    And you would say you had some involvement
09:22:12 15   replicates, duplicates, and blanks that would be      09:24:26 15                 in all other portions?
09:22:16 16   tested in terms of what were necessary for us to meet 09:24:28 16                      A.    In other portions, yes.
09:22:20 17   the QC standards.                                     09:24:29 17                      Q.    How much time did you devote to the work
09:22:22 18        Q.   Okay. And who set the QC standards?         09:24:32 18                 underlying this report and the report itself?
09:22:25 19        A.   Well, the QC standards are set by NVLAP     09:24:34 19                      A.    I didn't keep track of it. I have no
09:22:30 20   NIST, the National Institutes of Standard and         09:24:39 20                 idea.
09:22:34 21   Technology, for TEM labs that are analyzing for       09:24:39 21                      Q.    Over 10 hours?
09:22:36 22   asbestos.                                             09:24:41 22                      A.    Probably over 10 hours.
09:22:36 23        Q.   Other than ensure that folks complied with  09:24:42 23                      Q.    Over 20 hours?
09:22:42 24   the QC standards, what did you do?                    09:24:43 24                      A.    Again, that would be a guesstimate. I
09:22:46 25             So let's say after the experiments were     09:24:45 25                 don't know beyond that.
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09:24:47  1        Q.     More than 15 hours?                                 1   09:26:49           Q.     Do you consider yourself an expert in TEM
09:24:48  2        A.    I don't know.                              09:26:56  2                 analysis?
09:24:49  3        Q.    So probably over 10 hours, but you don't   09:26:56  3                      A.     Well, the term expert, I think, you
09:24:52  4   know beyond that?                                     09:27:00  4                 probably have to defer that to the court. I mean, I
09:24:52  5        A.    Correct.                                   09:27:04  5                 have more than the layperson's knowledge so -- but I
09:24:53  6        Q.    Okay. And were you involved in the         09:27:08  6                 would defer that to the court.
09:24:58  7   creation of the protocols to test J&J talc in this    09:27:10  7                      Q.     Okay. Have you --
09:25:03  8   case?                                                 09:27:13  8                      A.     I mean, I've been qualified as an expert
09:25:04  9        A.    In terms of the protocols for the testing, 09:27:16  9                 before, but in this case...
09:25:09 10   we used standard methods throughout for the analysis. 09:27:19 10                      Q.     When is the first time you ever used a
09:25:14 11   Dr. Longo essentially put together the way the test   09:27:21 11                 TEM?
09:25:18 12   or the study was going to be done, but we, you know,  09:27:21 12                      A.     The first time I used a TEM? Let's see.
09:25:21 13   overall use the standard methods throughout.          09:27:24 13                 That would probably have been sometime in the early
09:25:23 14        Q.    When you say Dr. Longo put together the    09:27:29 14                 '80s, I would say, yeah.
09:25:26 15   way -- you said the way the studies would be          09:27:31 15                      Q.     How many times have you used an SAED to
09:25:28 16   conducted?                                            09:27:35 16                 characterize a particle?
09:25:29 17        A.    Yes.                                       09:27:36 17                      A.     SAED?
09:25:29 18        Q.    Was that something in writing?             09:27:37 18                      Q.     SAED.
09:25:31 19        A.    Well, he directs the study on a daily      09:27:39 19                      A.     I don't know if I could count the number
09:25:35 20   basis.                                                09:27:40 20                 of times.
09:25:35 21        Q.    The question is was it in writing?         09:27:41 21                      Q.     How many times have you used EDXA to
09:25:38 22        A.    Was it in writing? I don't know. You'd     09:27:45 22                 characterize a particle?
09:25:42 23   have to ask Dr. Longo.                                09:27:47 23                      A.     Same answer on that. Yes.
09:25:43 24        Q.    Okay. So you're unaware of whether he      09:27:48 24                      Q.     What about PLM, do you consider yourself
09:25:46 25   communicated with the analysts about protocol in      09:27:53 25                 an expert on PLM?
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09:25:48  1   writing?                                                            09:27:54  1        A.     I am not a PLM microscopist.
09:25:49  2        A.     Well, the --                                            09:27:56  2        Q.     Okay. What was your contribution to the
09:25:50  3               MS. O'DELL: Object to form.                             09:27:58  3   PLM aspects of the January 15 report?
09:25:51  4               THE WITNESS: -- laboratory has protocol                 09:28:03  4        A.     Well, as far as PLM contributions, again,
09:25:52  5        for the way that talc is analyzed and                          09:28:07  5   I'm not the PLM analyst, so we just wanted to be sure
09:25:59  6        asbestos-bearing products are analyzed, so we                  09:28:13  6   that the quality program was being followed in the
09:26:01  7        have written protocol for those things.                        09:28:18  7   laboratory.
09:26:03  8               MR. CHACHKES: Okay. And I think I've                    09:28:18  8        Q.     When you say that a quality program was
09:26:06  9        requested that those be produced. I don't think                09:28:21  9   being followed, is that the same contribution you
09:26:07 10        those have been produced.                                      09:28:31 10   made to the other portions of the report?
09:26:09 11               MS. O'DELL: I think it's reflected in his               09:28:33 11               MS. O'DELL: Object to form.
09:26:11 12        report, but we will consider your request.                     09:28:34 12               THE WITNESS: Yes. Well, I would say yes
09:26:13 13        Q.     (By Mr. Chachkes) Okay. Do you                          09:28:35 13        to that. Yes.
09:26:21 14   communicate with the analysts by email at all?                      09:28:36 14        Q.     (By Mr. Chachkes) Okay. Did you ever
09:26:23 15        A.     Communicate with the analysts by email?                 09:28:43 15   personally test a talc sample for asbestos
09:26:26 16   No. I can go speak to them.                                         09:28:45 16   contamination?
09:26:29 17        Q.     Okay. There's no sort of like weekly                    09:28:46 17        A.     Did I ever personally test them?
09:26:33 18   email or monthly email where you summarize what's                   09:28:48 18        Q.     Yes.
09:26:36 19   going on?                                                           09:28:48 19        A.     Not that I can recall as I sit here.
09:26:37 20        A.     No.                                                     09:28:50 20        Q.     Okay.
09:26:37 21        Q.     Did you ever change an analyst's                        09:28:55 21        A.     We've done tissue testing for talc and
09:26:42 22   determinations where an analyst came up with some                   09:29:00 22   asbestos in tissue, yes.
09:26:44 23   conclusion and you said maybe that's not right, go                  09:29:01 23        Q.     But just testing talcum powder that came
09:26:46 24   back?                                                               09:29:05 24   out of a bottle, you've never done that?
09:26:47 25        A.     No.                                                     09:29:07 25        A.     I've not personally tested that.
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09:29:09  1        Q.    You have an undergraduate degree in                      09:31:44  1   tissue?
09:29:21  2   biology?                                                            09:31:45  2        A.    Yes.
09:29:21  3        A.    Yes.                                                     09:31:48  3        Q.    Can you explain?
09:29:21  4        Q.    And a Ph.D. in microbiology?                             09:31:49  4        A.    Again, at MAS I've had a variety of roles
09:29:24  5        A.    Yes.                                                     09:31:55  5   from the early '90s when I was hired there; and MAS
09:29:24  6        Q.    Did you take any geology courses at any                  09:32:02  6   is a materials characterization laboratory, so I
09:29:27  7   point in your education?                                            09:32:06  7   worked on hundreds of different kinds of projects
09:29:27  8        A.    No, but at the University of Georgia one                 09:32:09  8   using microscopy and gas chromatography, all kinds of
09:29:31  9   of my very good friends in graduate school was a                    09:32:15  9   chemical techniques.
09:29:34 10   geologist, and we discussed a lot of issues                         09:32:16 10              So I have run into situations where I've
09:29:38 11   surrounding the phyllosilicates. He was a kaolin                    09:32:18 11   examined minerals that have been in materials such as
09:29:44 12   person. He was a clay person.                                       09:32:22 12   plastics or polymers, for instance, where we have
09:29:44 13              In Georgia we have a lot of red clay, and                09:32:25 13   done cutting or thin sectioning of that kind of
09:29:46 14   so that was one of his areas that he enjoyed, and I                 09:32:29 14   material, and you would look at the inclusions in the
09:29:51 15   learned quite a bit from him. Very strong geology                   09:32:32 15   polymers because they are -- they're additives, they
09:29:56 16   department at the University of Georgia.                            09:32:36 16   may be for a variety of different reasons, and then
09:29:57 17        Q.    Other than talking to a friend about                     09:32:39 17   you end up analyzing them or seeing them. And this
09:29:59 18   geology, do you have any formal geology education?                  09:32:43 18   was mostly by SEM or TEM.
09:30:03 19              MS. O'DELL: Object to form.                              09:32:46 19        Q.    And you personally did those experiments?
09:30:04 20              THE WITNESS: No.                                         09:32:48 20        A.    Yes, I've personally done those things.
09:30:04 21        Q.    (By Mr. Chachkes) Did you take any                       09:32:50 21        Q.    Have you ever personally done a microscopy
09:30:06 22   mineralogy courses during any part of your                          09:32:52 22   investigation of a mineral or a solid solution that's
09:30:07 23   educations?                                                         09:32:56 23   just mineral or solid solution?
09:30:07 24        A.    It's interesting because in the electron                 09:32:59 24        A.    Can you explain a bit more?
09:30:11 25   microscopy courses that you take, the substances that               09:33:01 25        Q.    Do you know what a solid solution is?
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09:30:17  1   we analyzed, you know, varied from biological                   1   09:33:03           A.    Yes.
09:30:20  2   substances to mineralogical substances. So you would 09:33:03 2                        Q.    So, for example, a bottle of talc just
09:30:24  3   get a portion of that with that training, and I got   09:33:06  3                 contains minerals; right?
09:30:27  4   some of that.                                         09:33:08  4                      A.    Yes.
09:30:28  5        Q.   Okay. Have you ever physically analyzed a   09:33:08  5                      Q.    Okay. So have you ever --
09:30:33  6   mineral under a microscopy technique?                 09:33:09  6                            MS. O'DELL: Object to the form.
09:30:36  7        A.   I, again, think the answer to that is I     09:33:10  7                      Q.    (By Mr. Chachkes) -- personally done a
09:30:41  8   have sat with the analysts, that includes the PLM     09:33:12  8                 microscopy analysis of something that just contains
09:30:46  9   analysts, watched them do the work, and participated  09:33:15  9                 minerals, doesn't contain anything else like plastics
09:30:51 10   that way in terms of the -- that kind of an analysis. 09:33:18 10                 or other things?
09:30:55 11        Q.   Other than watching other people analyze    09:33:19 11                      A.    Well, I think if you look at it from the
09:30:57 12   minerals under microscopy techniques, have you any    09:33:23 12                 viewpoint of if you have a plastic or whatever it may
09:31:01 13   experience analyzing minerals under microscopy        09:33:29 13                 be and a mineral inclusion in there, you're looking
09:31:03 14   techniques?                                           09:33:31 14                 at the mineral, you know, aside from the other
09:31:03 15        A.   Well, by electron microscopy in terms of    09:33:33 15                 polymeric material that's there. So the answer to
09:31:09 16   seeing these minerals and having run into them during 09:33:36 16                 that is yes. And as far as a solid solution series
09:31:13 17   an analysis. And again, I've been doing electron      09:33:39 17                 mineral, yes.
09:31:17 18   microscopy since the '80s, so the tissue analysis     09:33:40 18                      Q.    Okay. I want to be clear what you're
09:31:21 19   that I've done in the past we've come across, you     09:33:42 19                 answering because you've talked about plastics, and
09:31:26 20   know, mineral types and there's tissues and how to    09:33:44 20                 my question was saying expressly exclude those. So
09:31:28 21   analyze those. So I've done that in tissue samples    09:33:47 21                 let me ask it again just to make sure I have a clear
09:31:32 22   at the optical or the bulk PLM level very limited,    09:33:50 22                 answer.
09:31:37 23   say.                                                  09:33:50 23                      A.    All right.
09:31:37 24        Q.   Okay. Have you ever personally run a        09:33:50 24                      Q.    Have you ever personally done a microscopy
09:31:39 25   microscopy analysis of minerals that aren't in        09:33:53 25                 analysis of minerals and only minerals, where it's
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09:33:57  1   just minerals you're looking at?                               1 09:35:56        A.      No, I'm not a medical doctor.
09:33:58  2        A.    The answer to that is yes.                09:35:57  2                 Q.      Okay. You don't have any medical
09:34:00  3        Q.    Okay. Can you give me an example?         09:35:59  3             training?
09:34:02  4        A.    Again, I will go back to studies that     09:36:00  4                 A.      Well, the medical training I have is
09:34:06  5   we've done on client samples over the years, most of 09:36:03 5              related to my training as a -- in undergraduate as a
09:34:10  6   them being particulate types of samples. In the      09:36:09  6             biologist. The curriculum that I took at Villanova
09:34:13  7   early days when I came to MAS, we were looking at a 09:36:15 7               was for premed, and that included courses that
09:34:16  8   lot of asbestos-bearing materials. So part of my     09:36:18  8             doctors would take prior to medical school, things
09:34:21  9   training at the company was looking at those         09:36:21  9             like histotechnique, which is the study of how you
09:34:24 10   materials by SEM or TEM.                             09:36:26 10             prepare tissues, how to prepare and section those
09:34:26 11        Q.    Okay. So those asbestos-bearing materials 09:36:29 11             tissues. Also, you know, you would -- I took
09:34:28 12   were only minerals, the -- you say asbestos-bearing, 09:36:33 12             comparative anatomy. I taught anatomy at Emory
09:34:32 13   but the thing that was bearing them was minerals?    09:36:38 13             University for a semester down here in Atlanta.
09:34:34 14        A.    Yeah. I mean, if you're looking at        09:36:42 14                         So I have training in a number of areas
09:34:36 15   something like vermiculite, you know, pure -- yeah.  09:36:45 15             that doctors would have, all the way from neurology
09:34:39 16        Q.    Got it. Did you take any crystallography  09:36:49 16             to pathology, that type of thing.
09:34:43 17   courses during your education?                       09:36:50 17                 Q.      You're not a statistician?
09:34:44 18        A.    Once again, that's part of the TEM        09:36:52 18                 A.      No. But we use statistics in our work.
09:34:47 19   training that I got.                                 09:36:55 19                 Q.      Okay. You're not a geostatistician?
09:34:48 20        Q.    Okay. Was the TEM training you got, that  09:36:58 20                 A.      No.
09:34:50 21   was, I'm sorry, in college?                          09:36:58 21                 Q.      Have you ever created a method for
09:34:52 22        A.    Yeah, in graduate school.                 09:37:10 22             microscopy investigation that has been published in a
09:34:53 23        Q.    Graduate school. Was that a particular    09:37:15 23             peer-reviewed publication?
09:34:55 24   course, or was that just part of your thesis work?   09:37:15 24                 A.      Yes.
09:34:58 25        A.    No, that's a course. They had courses in  09:37:16 25                 Q.      Can you give me an example?
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09:35:01  1   scanning electron microscopy and transmission                   109:37:18        A.      I would say we did a study a number of
09:35:04  2   electron microscopy, and those were all part of the   09:37:24  2            years ago on the famous Kent Micronite filter. It
09:35:06  3   course that you took. You had to learn about          09:37:31  3            was a blue filter that was with -- made by Lorillard
09:35:11  4   electron optics; you had to learn about how electrons 09:37:36 4             and they put that on cigarettes to essentially be a
09:35:14  5   interact with materials. So that would all be part    09:37:40  5            filtration device. So that was one that I did.
09:35:18  6   of my training.                                       09:37:44  6                Q.      Okay.
09:35:19  7        Q.    Okay. You're not a geologist?              09:37:45  7                A.      And that was published.
09:35:21  8        A.    That's correct.                            09:37:46  8                Q.      Okay. And that was a methodology for
09:35:22  9        Q.    You're not a mineralogist?                 09:37:48  9            investigating the subject matter?
09:35:24 10        A.    No.                                        09:37:50 10                A.      Yes.
09:35:24 11        Q.    Okay. You're not a crystallographer?       09:37:50 11                Q.      Okay. What about methodologies for
09:35:28 12        A.    Well, I know crystallography. But as far   09:37:57 12            looking for asbestos in talc?
09:35:31 13   as being a, quote, crystallographer, if there is such 09:38:03 13                A.      As far as methodologies for looking for
09:35:35 14   a person that just specializes in that, the answer is 09:38:05 14            asbestos in talc, the answer to that is yes.
09:35:37 15   no.                                                   09:38:07 15                Q.      Okay. So you've published in the
09:35:37 16        Q.    You're not a certified industrial          09:38:08 16            peer-reviewed --
09:35:39 17   hygienist?                                            09:38:09 17                A.      Oh, I'm sorry, published. No. Not yet.
09:35:39 18        A.    Correct.                                   09:38:11 18                Q.      Okay. Are you working on something?
09:35:39 19        Q.    You have done exposure assessments;        09:38:13 19                A.      Well, I can't confirm or deny that right
         20   correct?                                              09:38:16 20            now.
09:35:42 21        A.    Yes.                                       09:38:16 21                Q.      Well, it's a deposition. You have to.
09:35:42 22        Q.    Okay. Have you done exposure studies?      09:38:18 22                A.      Well, I can --
09:35:46 23        A.    The answer to that is I have been involved 09:38:19 23                Q.      Are you working on something right now?
09:35:49 24   in exposure studies, yes.                             09:38:21 24                A.      Our experience with publications is that
09:35:51 25        Q.    Okay. You're not a pathologist?            09:38:26 25            we don't talk about those things because in the past
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09:38:30  1   we were working on a publication and somehow, some                    09:39:55  1                MS. O'DELL: The question was asked, and
09:38:35  2   way, some attorney groups got hold of it, and they                    09:39:57  2        the witness answered it.
09:38:39  3   influenced the editor on that document. So we don't                   09:39:58  3                MR. CHACHKES: Okay.
09:38:43  4   talk about those things anymore.                                      09:40:00  4                MR. SILVER: Please note that Imerys will
09:38:45  5           Q.   Okay. So pending question is: Are you                              5        be --
09:38:48  6   working on a publication about finding talc in                                  6                THE REPORTER: I'm sorry, I can't hear
09:38:52  7   asbestos, and you are refusing to answer?                                       7        you.
09:38:54  8                MS. O'DELL: Object to the form.                          09:40:07  8                MR SILVER: Imerys will be calling the
          9                THE WITNESS: No.                                         09:40:07  9        Special Master at the break to have the witness
09:38:55 10                MS. O'DELL: That's not what he said.                     09:40:09 10        compelled to answer the question, but we will
09:38:56 11           Q.   (By Mr. Chachkes) Okay. So are you                       09:40:13 11        wait for a break now.
09:38:57 12   working on a publication about finding talc in                        09:40:14 12        Q.      (By Mr. Chachkes) Okay. Has any
09:38:59 13   asbestos?                                                             09:40:15 13   governmental body asked you to test talc?
09:39:00 14           A.   No.                                                      09:40:19 14        A.      Not that I know of, no.
09:39:00 15                MS. O'DELL: Object to the form.                          09:40:20 15        Q.      Has any School of Public Health asked you
09:39:01 16           Q.   (By Mr. Chachkes) I'm sorry. Are you                     09:40:22 16   to test talc?
09:39:02 17   working on a publication about finding asbestos in                    09:40:23 17        A.      School of Public Health, no.
09:39:04 18   talc?                                                                 09:40:25 18        Q.      Have you ever taught any courses to train
09:39:04 19                MS. O'DELL: Object to the form.                          09:40:27 19   microscopists?
09:39:05 20                THE WITNESS: I answered the question                     09:40:30 20        A.      The answer to that is yes, I've been part
09:39:07 21           twice.                                                        09:40:33 21   of some seminars for training.
09:39:07 22           Q.   (By Mr. Chachkes) The answer is yes?                     09:40:38 22        Q.      What seminars?
09:39:09 23           A.   I just answered the question twice. I                    09:40:42 23        A.      A number of years ago at the American
09:39:11 24   said no.                                                              09:40:46 24   Industrial Hygiene Conference there was a session on
09:39:11 25           Q.   Okay. All right. Are you working on any                  09:40:48 25   electron microscopy of asbestos-bearing materials and
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09:39:18  1   publications about talc that you hope to get into the                 09:40:52  1   I had a session in that.
09:39:20  2   peer-reviewed literature?                                             09:40:53  2        Q.      And you taught microscopy techniques to
09:39:21  3                MS. O'DELL: Object to the form.                          09:40:57  3   the participants?
09:39:22  4                THE WITNESS: I've already answered that                  09:40:57  4        A.      Yes.
09:39:25  5           question before, and I can neither confirm nor                09:40:58  5        Q.      Have you ever attended a McCrone training
09:39:31  6           deny that right now.                                          09:41:05  6   or testing class?
09:39:31  7           Q.   (By Mr. Chachkes) Okay. I'll give you                    09:41:06  7        A.      The answer to that is yes.
09:39:32  8   one more chance. If you would answer the question                     09:41:07  8        Q.      Can you tell me when?
09:39:35  9   are you working on any publications about talc that                   09:41:08  9        A.      The one that I -- wait a minute. Let me
09:39:37 10   you intend to put in the peer-reviewed literature,                    09:41:11 10   see if that was McCrone. I think that was -- that
09:39:39 11   and you're refusing to answer?                                        09:41:17 11   was a different group for training for mold spore
09:39:40 12           A.   No, I'm not --                                           09:41:21 12   analysis.
09:39:41 13                MS. O'DELL: Object to the form.                          09:41:22 13        Q.      Okay. So you've tested -- you've tested a
09:39:43 14                THE WITNESS: I'm not refusing to answer.                 09:41:24 14   McCrone class for mold spore analysis?
09:39:45 15           I've already answered.                                        09:41:27 15        A.      No. It was another group.
09:39:45 16           Q.   (By Mr. Chachkes) Your answer is you can                 09:41:28 16        Q.      Okay. Have you ever attended a McCrone
09:39:47 17   neither confirm nor deny?                                             09:41:31 17   testing or training class?
         18           A.   Correct.                                                 09:41:32 18        A.      Yes.
         19           Q.   And that's different from a refusal to                   09:41:32 19        Q.      For asbestos?
         20   answer?                                                               09:41:33 20        A.      No. The one that we had, I believe at our
09:39:49 21                MS. O'DELL: Yes.                                         09:41:37 21   laboratory, we had them come in. Again, it was for
09:39:50 22                THE WITNESS: No, that's an answer.                       09:41:39 22   mold analysis, mold spore analysis.
09:39:51 23                MR. CHACHKES: Okay. And so, Counsel,                     09:41:42 23        Q.      Any other McCrone testing or training
09:39:51 24           that's your position, you're going to not allow               09:41:44 24   class that you have attended?
09:39:54 25           that question?                                                09:41:46 25        A.      Not that I can recall as I sit here.
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09:41:48  1        Q.    Okay. Were you consulted by the FDA in                 09:43:34  1   You can count them.
09:41:53  2   their recent testing of talc?                                     09:43:35  2          Q.   How many were not funded by MAS?
09:41:54  3        A.    No.                                                    09:43:42  3               MS. O'DELL: Object to the form.
09:41:55  4        Q.    Have you been consulted by any foreign                 09:43:43  4          Q.   (By Mr. Chachkes) If any?
09:41:59  5   bodies about testing of talc?                                     09:43:44  5          A.   Not funded by MAS?
09:42:01  6              MS. O'DELL: Object to the form.                        09:43:46  6          Q.   Yeah.
09:42:02  7        Q.    (By Mr. Chachkes) Foreign countries?                   09:43:47  7          A.   None of them were funded by MAS.
09:42:04  8        A.    No.                                                    09:43:49  8          Q.   Who were they funded by?
09:42:05  9        Q.    Has any third-party consulted with you                 09:43:51  9          A.   Again, most all of them were done as pure
09:42:14 10   about the testing of talc that isn't someone who's                09:43:56 10   research and the -- well, I guess if you're looking
09:42:17 11   paying you?                                                       09:44:02 11   at it as funded by, I don't know what you mean by
09:42:18 12              MS. O'DELL: Object to the form.                        09:44:04 12   funded by MAS. But we essentially -- when you do a
09:42:21 13              THE WITNESS: Ask the question again.                   09:44:09 13   research study, it's typically not funded by anybody.
09:42:22 14        Q.    (By Mr. Chachkes) Has any third-party --               09:44:12 14          Q.   So this is -- were all your peer-reviewed
09:42:23 15   has anybody asked you at MAS to consult about testing             09:44:17 15   publications done based on work done at MAS?
09:42:26 16   of talc that isn't paying you?                                    09:44:21 16          A.   Yes. Well, not all of them. I mean,
09:42:28 17              MS. O'DELL: Object to the form.                        09:44:25 17   there were a lot of them I did at graduate school,
09:42:29 18              THE WITNESS: Not that I know of. You                   09:44:27 18   yes.
09:42:31 19        would have to ask Dr. Longo about that.                      09:44:27 19          Q.   So other than your graduate school
09:42:33 20        Q.    (By Mr. Chachkes) Is all the talc testing              09:44:29 20   peer-reviewed publications where your -- are your
09:42:36 21   that you've been involved with been done at the                   09:44:33 21   peer-reviewed publications from your work at MAS?
09:42:38 22   request of plaintiffs' lawyers who pay you?                       09:44:35 22          A.   All of them? At this point I'd have to go
09:42:40 23        A.    I have no idea who all of the folks are                09:44:41 23   and look.
09:42:43 24   that have asked us to test talc. You would, again,                         24          Q.   Okay.
09:42:46 25   have to ask Dr. Longo.                                            09:44:41 25          A.   I can't recall.
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                                                               34                                                                              36
09:42:47  1        Q.    You just don't know where the money comes              09:44:42  1          Q.   For those peer-reviewed works that you
09:42:49  2   from for your work?                                               09:44:45  2   published based on work done at MAS, the underlying
09:42:50  3              MS. O'DELL: Object to the form.                        09:44:49  3   work at MAS was funded by someone; correct?
09:42:51  4              THE WITNESS: No.                                       09:44:53  4               MS. O'DELL: Object to the form.
09:42:51  5        Q.    (By Mr. Chachkes) Have you ever testified              09:44:54  5               THE WITNESS: No, not necessarily. No.
09:42:54  6   in a federal court about testing talc? A federal                  09:44:56  6          We did work that wasn't funded by others that
09:42:57  7   court.                                                            09:45:00  7          were published.
09:42:57  8        A.    I don't think so.                                      09:45:01  8          Q.   (By Mr. Chachkes) So you've done work at
09:42:59  9        Q.    Has any federal court ever said your work              09:45:03  9   MAS that was purely academic, not really funded by
09:43:01 10   or your methodology has passed Daubert or standards               09:45:07 10   anybody or for any purpose other than academics?
09:43:04 11   for scientific rigor?                                             09:45:09 11               MS. O'DELL: Object to the form.
09:43:06 12        A.    I want to say yes to that.                             09:45:10 12               THE WITNESS: To my knowledge, yes.
09:43:08 13        Q.    And why do you want to say yes to that?                09:45:11 13          Q.   (By Mr. Chachkes) And how many of your
09:43:09 14        A.    Because I believe they have, but I would               09:45:13 14   publications could qualify as that?
09:43:11 15   have to check the record.                                         09:45:15 15          A.   Again, I don't know, I would have to go
09:43:12 16        Q.    What about has any federal court ever said             09:45:19 16   and look.
09:43:14 17   your methodology or your work regarding to talc                   09:45:19 17          Q.   Would you agree it's important to disclose
09:43:19 18   analysis has passed Daubert standards for scientific              09:45:23 18   sources of funding for publications in peer-reviewed
09:43:22 19   rigor?                                                            09:45:27 19   literature?
09:43:23 20              MS. O'DELL: Object to the form.                        09:45:27 20          A.   Sure.
09:43:24 21              THE WITNESS: That I don't believe has                  09:45:27 21          Q.   Are there any publications you have that
09:43:25 22        been done.                                                   09:45:31 22   were funded by plaintiffs' lawyer monies?
09:43:27 23        Q.    (By Mr. Chachkes) How many publications                09:45:34 23               MS. O'DELL: Object to the form.
09:43:29 24   do you have in the peer-reviewed literature?                      09:45:36 24               THE WITNESS: Again, I would have to go --
09:43:31 25        A.    I hadn't counted them. They're on my CV.               09:45:37 25          I would have to look.
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09:45:38  1       Q.       (By Mr. Chachkes) Okay.                               09:47:30  1   idea. I don't keep track of it.
09:45:39  2       A.       Off the top of my head, I don't recall.               09:47:32  2       Q.     Over 50 percent?
09:45:41  3       Q.       But if it were, it would be important to              09:47:34  3       A.     Again, I don't know.
09:45:43  4   disclose that fact?                                                09:47:35  4       Q.     It could be over 50 percent, but you don't
09:45:44  5       A.       And it would be disclosed because the                 09:47:38  5   know?
09:45:46  6   publications, the editorial process requires that.                 09:47:38  6              MS. O'DELL: Object to the form.
09:45:49  7       Q.       And there's no publications in the                    09:47:39  7              THE WITNESS: I do not know. It could be
09:45:53  8   peer-reviewed literature regarding testing for                     09:47:40  8       as little as 10 percent. It could be 5 percent.
09:45:57  9   talc -- testing talc; right?                                       09:47:43  9       I don't know.
09:46:00 10                MS. O'DELL: Object to the form. Object                09:47:44 10       Q.     (By Mr. Chachkes) Could it be 50 percent?
09:46:01 11       to the form.                                                   09:47:46 11       A.     No, I don't think so.
09:46:02 12                THE WITNESS: Your question again, I'm                 09:47:47 12       Q.     2018, what percentage of your time did you
09:46:03 13       sorry?                                                         09:47:50 13   spend working on talc-related litigation projects?
09:46:03 14       Q.       (By Mr. Chachkes) You don't have any                  09:47:53 14       A.     Same answer.
09:46:04 15   peer-reviewed publications regarding the testing of                09:47:54 15       Q.     What's the majority of your time spent on
09:46:06 16   talc; right?                                                       09:47:58 16   at MAS?
09:46:07 17       A.       I don't, no.                                          09:47:58 17       A.     At the laboratory?
09:46:07 18       Q.       What about peer-reviewed publications                 09:47:59 18       Q.     Just at MAS generally.
09:46:12 19   regarding the testing of talc in ovarian tissue?                   09:48:01 19       A.     Oh, a variety of different things on a
09:46:14 20                MS. O'DELL: Object to the form. Are you               09:48:03 20   daily basis.
09:46:15 21       talking about his publications or in --                        09:48:04 21       Q.     If you had to pick one thing that you
09:46:18 22                MR. CHACHKES: Of course, yes.                         09:48:07 22   spend most of your time on, what's that?
09:46:20 23                MS. O'DELL: It's not clear on the                     09:48:09 23       A.     Most of my time -- I would say most of my
         24       question.                                                      09:48:18 24   time is spent on technological issues surrounding
         25                THE WITNESS: Yeah.                                    09:48:23 25   analyses that we do.
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                                                                38                                                                             40
09:46:20  1                MS. O'DELL: So would you ask the question             09:48:24  1       Q.     Of what?
09:46:21  2       again, please.                                                 09:48:25  2       A.     Of all kinds of materials.
09:46:21  3       Q.       (By Mr. Chachkes) Do you have any                     09:48:27  3       Q.     What material do you spend most of your
09:46:23  4   publications in the peer-reviewed literature about                 09:48:30  4   time on?
09:46:23  5   testing ovarian tissue for talc?                                   09:48:31  5              MS. O'DELL: Object to the form.
09:46:26  6       A.       No.                                                   09:48:32  6              THE WITNESS: What material did I spend
09:46:27  7       Q.       Do you have any publications in the                   09:48:33  7       most of my time on?
09:46:30  8   peer-reviewed literature about testing ovarian tissue              09:48:34  8       Q.     (By Mr. Chachkes) Correct.
09:46:35  9   for asbestos?                                                      09:48:35  9       A.     That would vary by the week.
09:46:35 10       A.       No.                                                   09:48:36 10       Q.     Okay.
09:46:38 11       Q.       Do you have any publications -- actually,             09:48:37 11       A.     Yeah.
09:46:45 12   skip that.                                                         09:48:37 12       Q.     There are weeks where it's asbestos;
09:46:49 13                Have you been a coauthor on all of                             13   right?
09:46:51 14   Dr. Longo's reports testing Johnson & Johnson talcum               09:48:40 14       A.     There can be some that are, yes.
09:46:58 15   powder products?                                                   09:48:42 15       Q.     Okay. What's another material that you
09:46:58 16       A.       The answer to that is I don't know. A                 09:48:44 16   might have spent a majority of your time on that's
09:47:04 17   number of them, yes.                                               09:48:48 17   not asbestos?
09:47:05 18       Q.       Okay. Are you aware of any report by                  09:48:49 18              MS. O'DELL: Object to the form.
09:47:08 19   Dr. Longo where he issued an expert report in                      09:48:50 19              THE WITNESS: Tissue.
09:47:11 20   litigation about testing Johnson Baby Powder and                   09:48:50 20       Q.     (By Mr. Chachkes) Tissue for looking at
09:47:15 21   didn't have you as a coauthor?                                     09:48:51 21   whether it contains asbestos?
09:47:17 22       A.       I don't recall as I sit here.                         09:48:52 22       A.     In some cases, yes.
09:47:19 23       Q.       2017, what percentage of your time did you            09:48:53 23       Q.     Okay. What are -- I mean, is there a
09:47:24 24   spend working on talc-related litigation projects?                 09:48:57 24   solid chunk of time, like really a significant chunk
09:47:27 25       A.       I always get that question. I have no                 09:49:01 25   of your time, let's say, over 5 percent of a year
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09:49:04  1   where you're spending doing some scientific work that              09:50:55  1           Q.   (By Mr. Chachkes) Okay. You testified in
09:49:06  2   has nothing to do with talc or asbestos?                           09:51:00  2   your first talc case in the Ingham matter in Missouri
09:49:09  3        A.    Yes.                                                    09:51:03  3   last year?
09:49:09  4        Q.    Okay. What would that be?                               09:51:04  4           A.   Yes.
09:49:11  5        A.    Well, once again, technological issues                  09:51:05  5           Q.   You testified regarding your tissue
09:49:17  6   surrounding things at our laboratory. For instance,                09:51:07  6   analysis?
09:49:19  7   as a chief science officer I get all kinds of                      09:51:07  7           A.   Yes.
09:49:22  8   questions about what we're looking at as far as                    09:51:08  8           Q.   And you testified at trial about
09:49:27  9   instrumentation in our laboratory in order to do                   09:51:09  9   extrapolating asbestos content from TEM testing;
09:49:30 10   certain kinds of analyses.                                                  10   correct?
09:49:34 11              We have clients -- potential clients that               09:51:14 11           A.   Yes.
09:49:38 12   call in and they want to do an analysis on maybe a                 09:51:14 12           Q.   Do you know how much money MAS has made in
09:49:42 13   drug of some kind, something like that.                            09:51:19 13   asbestos litigation over the years?
09:49:44 14              So it would be up to me working with                    09:51:20 14           A.   I have no idea.
09:49:47 15   another scientists there at the laboratory to                      09:51:21 15           Q.   Do you know how much money MAS has made
09:49:50 16   understand what resources we need to be able to do                 09:51:24 16   over -- for talc litigation over the years?
09:49:52 17   that kind of test, whether we will do that kind of                 09:51:26 17           A.   No.
09:49:55 18   test.                                                              09:51:26 18           Q.   You have no involvement in that aspect
09:49:55 19        Q.    Do you bill for your time working for                   09:51:29 19   of --
09:50:01 20   plaintiffs in talc cases?                                          09:51:29 20           A.   I wouldn't know.
09:50:03 21        A.    Yes.                                                    09:51:33 21           Q.   To your knowledge, did MAS ever test
09:50:03 22        Q.    Do you write down the hours?                            09:51:37 22   cosmetic talcum powder for asbestos before being
09:50:05 23        A.    I do keep some of the hours, yes.                       09:51:40 23   engaged by plaintiffs' lawyers for that kind of work?
09:50:08 24        Q.    Okay. You say some? There's some times                  09:51:43 24                MS. O'DELL: Object to the form.
09:50:12 25   you work for plaintiffs' lawyers and you don't charge              09:51:44 25                THE WITNESS: The answer to that question
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                                                                 42                                                                               44
09:50:14  1   them?                                                              09:51:45  1           is probably.
09:50:15  2              MS. O'DELL: Object to the form.                         09:51:47  2           Q.   (By Mr. Chachkes) Why do you say
09:50:16  3              THE WITNESS: Uh-huh. Yes.                               09:51:48  3   probably?
09:50:17  4        Q.    (By Mr. Chachkes) Why?                                  09:51:48  4           A.   Because of the work that has been done
09:50:18  5        A.    Because it just happens.                                09:51:54  5   over the years. We did quite a bit of testing in the
09:50:19  6        Q.    But for the most part you bill for your                 09:51:58  6   past, I believe, on talc that was used in industrial
09:50:21  7   time?                                                              09:52:09  7   applications; but also the suppliers use the same
09:50:21  8        A.    Yes.                                                    09:52:13  8   kind of talc in, for instance, cosmetics and drug
09:50:21  9        Q.    And --                                                  09:52:19  9   applications.
09:50:23 10        A.    I don't bill for it. MAS bills for it.                  09:52:19 10           Q.   So it's your testimony that talc
09:50:25 11   Yes.                                                               09:52:22 11   manufacturers use the same exact talc for industrial
09:50:26 12        Q.    Can you estimate how much time you spent                09:52:26 12   purposes and cosmetic purposes?
09:50:29 13   working on the MDL projects?                                       09:52:27 13           A.   No, that's not my testimony.
09:50:30 14        A.    No. I think we already talked about that                09:52:29 14                MS. O'DELL: Object to form.
09:50:34 15   earlier.                                                           09:52:30 15           Q.   (By Mr. Chachkes) Did MAS ever -- I'm
09:50:35 16        Q.    Okay.                                                   09:52:30 16   going to focus on the word cosmetic here.
09:50:35 17        A.    Yep.                                                    09:52:32 17           A.   Okay.
09:50:36 18        Q.    Do you have any estimate as to what                     09:52:33 18           Q.   Did MAS ever test cosmetic talcum powder
09:50:44 19   percentage of your time recently has been for                      09:52:37 19   for asbestos prior to being engaged to do that work
09:50:46 20   litigation-related projects as opposed to                          09:52:38 20   for plaintiffs' lawyers?
09:50:49 21   nonlitigation-related projects?                                    09:52:39 21                MS. O'DELL: Object to the form.
09:50:51 22        A.    No.                                                     09:52:40 22                THE WITNESS: The answer to that again, as
09:50:51 23        Q.    Could it be 50 percent?                                 09:52:43 23           I said before, is probably.
09:50:53 24              MS. O'DELL: Objection.                                  09:52:45 24           Q.   (By Mr. Chachkes) Okay. So was it J&J
09:50:54 25              THE WITNESS: I have no idea.                            09:52:49 25   cosmetic talcum powder? Colgate cosmetic talcum
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09:52:53  1   powder? What cosmetic talcum powder do you think                      09:55:12  1   in the world to analyze talc for asbestos?
09:52:58  2   that was?                                                             09:55:15  2             MS. O'DELL: Object to the form.
09:52:58  3           A.   I don't know. I do know, again, that a                   09:55:16  3             THE WITNESS: I like the way you put that.
09:53:00  4   number of different types of talcum powders were                      09:55:19  4       Do like that.
09:53:03  5   tested at MAS prior to this litigation.                               09:55:22  5             I would say that, yes, we're one of the
09:53:04  6           Q.   Well, you cited some industrial talcum                   09:55:26  6       best in the world, yes.
09:53:14  7   powder --                                                             09:55:26  7       Q.    (By Mr. Chachkes) Can you name some
09:53:14  8           A.   Yes. Well, I just used a --                              09:55:28  8   others that are in your league?
          9                THE REPORTER: Wait. One at a time.                       09:55:30  9             MS. O'DELL: Object to the form.
09:53:14 10                THE WITNESS: Sorry. Ask the question                     09:55:31 10             THE WITNESS: Well, that again calls for a
09:53:16 11           again.                                                        09:55:35 11       judgment on these other laboratories. So, you
09:53:16 12           Q.   (By Mr. Chachkes) Okay. You have no                      09:55:42 12       know, I respect the other laboratories that are
09:53:18 13   specific memory of testing any cosmetic talcum powder                 09:55:44 13       doing this work. But as far as best in the
09:53:22 14   prior to being engaged by plaintiff lawyers to do                     09:55:48 14       world, I would put MAS right there.
09:53:27 15   this?                                                                 09:55:50 15       Q.    (By Mr. Chachkes) Okay. The question was
09:53:27 16                MS. O'DELL: Object to the form.                          09:55:51 16   what other laboratories are up there?
09:53:28 17                THE WITNESS: Again, now you've asked the                 09:55:53 17       A.    I think Jim Millette's lab was -- is
09:53:32 18           question differently than before. The answer                  09:56:00 18   definitely up there.
09:53:36 19           again is, as I said, MAS has been involved in                 09:56:02 19       Q.    What about McCrone?
09:53:40 20           testing talcum powders in the past prior to this              09:56:03 20       A.    Yes.
09:53:44 21           litigation, and some of them most probably were               09:56:04 21       Q.    Are there academic laboratories that can
09:53:49 22           cosmetic types, too.                                          09:56:09 22   analyze for asbestos in talc at the level you do?
09:53:50 23           Q.   (By Mr. Chachkes) When you say most                      09:56:13 23       A.    Academic laboratories?
09:53:52 24   probably, did you have a personal involvement in                      09:56:14 24       Q.    Yes.
09:53:53 25   those testings?                                                       09:56:15 25       A.    With the quality control we have? I can't
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09:53:54  1           A.   Being at the laboratory and seeing samples         1     09:56:20      think of any.
09:54:01  2   that have come in and had come in over that period of 09:56:21 2                        Q.    Okay. You do better analysis of
09:54:05  3   time, again, the answer to that is probably.          09:56:23  3                   asbestos -- of talc for asbestos than academic
09:54:09  4        Q.    Okay. So but what about personally         09:56:26  4                   laboratories that focus on mineralogy exclusively?
09:54:11  5   involved in the experimentation on talc prior to      09:56:29  5                             MS. O'DELL: Object to the form.
09:54:14  6   being engaged by plaintiff lawyers, were you          09:56:30  6                             THE WITNESS: When it comes to quality
09:54:17  7   personally involved in any such investigations?       09:56:32  7                       control, yes.
09:54:20  8        A.    The answer to that is probably also.       09:56:32  8                       Q.    (By Mr. Chachkes) What about in terms of
09:54:22  9        Q.    Okay. So you've run TEM on talcum powder   09:56:35  9                   accurate results?
09:54:26 10   at MAS prior to being engaged by --                   09:56:36 10                       A.    Same. Same answer.
09:54:29 11        A.    Well, when you say --                      09:56:37 11                       Q.    Are MAS's analyses of talc for asbestos
09:54:31 12              MS. O'DELL: Object to the form.            09:56:44 12                   reproducible by other labs?
         13              THE WITNESS: -- personally involved,       09:56:48 13                             MS. O'DELL: Object to the form.
09:54:33 14        again, part of the work that I have done in the  09:56:49 14                             THE WITNESS: Again, I don't know how to
09:54:36 15        past as a laboratory manager would be to be at   09:56:50 15                       answer that. But they should be if they use the
09:54:39 16        the location where the analyst is analyzing that 09:56:54 16                       same technologies and techniques.
09:54:41 17        talc or that product and looking over their      09:56:57 17                       Q.    (By Mr. Chachkes) Even though their
09:54:45 18        shoulder and seeing what they're doing. So that  09:56:58 18                   quality controls aren't up to your standards?
09:54:48 19        would be the personal involvement right there.   09:57:01 19                             MS. O'DELL: Object to the form.
09:54:50 20        Q.    (By Mr. Chachkes) Okay. Can you name any   09:57:02 20                             THE WITNESS: Oh, well, in that case the
09:54:58 21   cosmetic talcum powder that MAS looked at prior to    09:57:03 21                       answer is I couldn't tell you.
09:55:00 22   being engaged at -- engaged by plaintiff lawyers to   09:57:04 22                       Q.    (By Mr. Chachkes) Okay. So there's no
09:55:03 23   do that, to look at cosmetic talcum powder?           09:57:05 23                   lab you can cite right now -- academic, professional,
09:55:06 24        A.    I can't recall that as I sit here.         09:57:09 24                   industrial, or otherwise -- that can reproduce your
09:55:08 25        Q.    Okay. Do you believe MAS is the best lab   09:57:13 25                   results with the same accuracy?
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09:57:14  1             MS. O'DELL: Object to the form. That's                09:59:11  1       Q.    (By Mr. Chachkes) All right. So let me
09:57:15  2       not his question.                                                     2   ask the same question again.
09:57:17  3       Q.    (By Mr. Chachkes) It's a question.                    09:59:11  3             Are there any nationally or
09:57:18  4       A.    Ask it a different way.                               09:59:13  4   internationally renowned TEM scientists that have
09:57:20  5       Q.    No.                                                   09:59:14  5   identified MAS as one of the best labs in the world
09:57:21  6             Can you reread the question, please.                  09:59:17  6   for testing talc?
09:57:31  7             (The record was read by the reporter.)                09:59:18  7             MS. O'DELL: Object to the form.
09:57:32  8             MS. O'DELL: Object to the form.                       09:59:19  8             THE WITNESS: Well, let me answer it.
09:57:33  9             THE WITNESS: Well, if they -- again, if               09:59:20  9       There haven't been any that haven't said we're
09:57:34 10       they use the same techniques, they should be                09:59:23 10       not the best either, okay?
09:57:38 11       able to, sure.                                              09:59:25 11       Q.    (By Mr. Chachkes) Have any nationally or
09:57:39 12       Q.    (By Mr. Chachkes) Okay. So anyone                     09:59:28 12   internationally renowned PLM scientists identified
09:57:46 13   following the ISO 22262 protocol should be able to              09:59:31 13   MAS as one of the best labs -- strike that.
09:57:50 14   reproduce your results?                                         09:59:35 14             Have you ever presented at any conferences
09:57:51 15             MS. O'DELL: Object to the form.                       09:59:37 15   about testing talc with TEM?
09:57:53 16             THE WITNESS: If they're following the                 09:59:40 16       A.    No.
09:57:54 17       protocol, it's most likely that they could, yes.            09:59:40 17       Q.    Have you ever presented any conferences
09:57:56 18       Q.    (By Mr. Chachkes) Okay. Has MAS received              09:59:42 18   about testing talc with PLM?
09:58:01 19   any accolades from any academic institutions for its            09:59:44 19       A.    No.
09:58:07 20   testing of talc?                                                09:59:44 20       Q.    Have you ever presented -- have you ever
09:58:07 21       A.    Academic institutions?                                09:59:50 21   been invited to any conferences on the subject matter
09:58:09 22       Q.    Yes.                                                  09:59:53 22   of testing talc?
09:58:09 23       A.    I have no idea.                                       09:59:55 23       A.    I can't recall any invitations.
09:58:11 24       Q.    Has any renowned -- nationally or                     09:59:57 24       Q.    When did you personally first learn about
09:58:15 25   internationally renowned TEM scientist identified MAS           10:00:01 25   the ISO 22262-2 TEM method?
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09:58:19  1   as one of the best labs in the world for testing                10:00:05  1       A.    Oh, I don't know, a couple of years ago.
09:58:22  2   talc?                                                           10:00:08  2       Q.    From whom did you learn it?
09:58:23  3             MS. O'DELL: Object to the form.                       10:00:09  3       A.    I can't recall.
09:58:24  4             THE WITNESS: Well, I think if you want to             10:00:14  4       Q.    When was the first time that anyone at MAS
09:58:25  5       talk about good laboratories in that kind of                10:00:21  5   tested a talc sample using the ISO 22262 method?
09:58:27  6       testing, you would definitely look to NIST NVLAP            10:00:25  6       A.    It probably was a couple of years ago, I
09:58:33  7       as the national standard for TEM laboratories               10:00:28  7   would think.
09:58:36  8       and testing. So, you know, they would -- you                10:00:29  8       Q.    Sometime in 2017?
09:58:44  9       know, based on their assessments, their audits              10:00:30  9             MS. O'DELL: Object to form.
09:58:47 10       of our laboratory, then I would say yes.                    10:00:31 10             THE WITNESS: Again, I don't know an exact
09:58:49 11       Q.    (By Mr. Chachkes) Okay. So NIST and                   10:00:32 11       date for that.
09:58:51 12   NVLAP have told MAS that you're one of the best labs            10:00:33 12       Q.    (By Mr. Chachkes) Could it have been in
09:58:55 13   in the world for testing talc?                                  10:00:34 13   2016?
09:58:57 14             MS. O'DELL: Object to the form.                       10:00:34 14       A.    I don't know. We have been using it for
09:58:58 15             THE WITNESS: No, they don't say things                10:00:36 15   quite a while. So as far as the exact date, I don't
09:58:59 16       like that.                                                  10:00:40 16   know.
09:58:59 17       Q.    (By Mr. Chachkes) Okay. They just                     10:00:40 17       Q.    Could it have be in 2015?
09:59:00 18   accredit you?                                                   10:00:42 18             MS. O'DELL: Object to the form.
09:59:00 19       A.    Yeah, of course. Yeah.                                10:00:43 19             THE WITNESS: I don't know.
09:59:02 20       Q.    They didn't give you some super                       10:00:44 20       Q.    (By Mr. Chachkes) You're the lab manager;
09:59:04 21   accreditation that only you get or you're above and             10:00:46 21   right? You were --
09:59:07 22   beyond other laboratories; correct?                             10:00:46 22       A.    I was for a time, yes.
09:59:08 23       A.    No --                                                 10:00:47 23       Q.    Okay. Would you be aware of any ISO 22262
09:59:08 24             MS. O'DELL: Object to the form.                       10:00:52 24   test of talc in your laboratory?
09:59:10 25             THE WITNESS: -- there's no such thing.                10:00:56 25       A.    Yes.
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10:00:56  1        Q.      Could the first test have been in 2018?                 10:03:04  1   they will set the microscope up for the EDX process,
10:01:00  2        A.      Again, I don't know. It's been at least,                10:03:10  2   and that involves setting some lenses and condensers
10:01:04  3   I don't know, two or three years at least.                           10:03:14  3   in there so that you can focus the beam on the
10:01:06  4        Q.      Okay. Did your analyst use ISO 22262 on                 10:03:17  4   particle.
10:01:13  5   any talc samples prior to the testing reported on in                 10:03:17  5               Then the beam is focused. The
10:01:16  6   this report?                                                         10:03:20  6   spectrometer is put into place in the microscope.
10:01:17  7                MS. O'DELL: Object to the form.                         10:03:24  7   Then you, of course, begin the process of collecting
10:01:18  8                THE WITNESS: I don't know.                              10:03:29  8   x-rays from the specimen.
10:01:19  9        Q.      (By Mr. Chachkes) Your report includes                  10:03:31  9        Q.     And then you get an EDXA spectrum?
10:01:27 10   EDXA spectra for several particles; correct?                         10:03:35 10        A.     Yes.
10:01:29 11        A.      The reports do, yes.                                    10:03:36 11        Q.     Let's look at an example spectrum so you
10:01:30 12        Q.      Yeah. What is EDXA?                                     10:03:39 12   could tell me about it. There's probably one that's
10:01:35 13        A.      Energy dispersive spectroscopy -- x-ray                 10:03:42 13   already been marked.
10:01:38 14   energy dispersive spectroscopy.                                      10:03:52 14               I'm going to present to you with what was
10:01:38 15        Q.      Can you identify a particle of asbestos                 10:03:54 15   marked yesterday as Longo Number 12. Do you see
10:01:39 16   using EDXA alone?                                                    10:03:57 16   that?
10:01:42 17        A.      You mean a fiber, that type of thing, a                 10:03:57 17        A.     Yes.
10:01:45 18   bundle, fiber bundle? You're just saying particle,                   10:03:58 18        Q.     And that's an EDXA spectra from your
         19   so --                                                                10:04:03 19   expert report; correct?
         20        Q.      Okay.                                                   10:04:05 20               MS. O'DELL: Object to the form.
10:01:50 21        A.      Yeah, I'm just trying to be specific.                   10:04:07 21               THE WITNESS: If it's from our report,
10:01:52 22        Q.      So was the answer different to my question              10:04:09 22        yes.
10:01:54 23   whether I used the word particle or a fiber or                       10:04:09 23        Q.     (By Mr. Chachkes) Okay. It is from your
10:01:56 24   bundle?                                                              10:04:11 24   report. So is that what an EDXA spectra looks like?
10:01:57 25        A.      No.                                                     10:04:20 25        A.     Yes.
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10:02:00  1        Q.      Okay. So let me ask again.                              10:04:21  1        Q.     And you'll notice on the bottom left-hand
          2        A.      Okay.                                                   10:04:26  2   corner it says elements and it has got some elements
10:02:02  3        Q.      Can you identify a particle of asbestos by              10:04:28  3   and it says total?
10:02:04  4   EDXA alone?                                                          10:04:29  4        A.     Yes.
10:02:06  5        A.      Yes. Well, no, not by just EDXA, no.                    10:04:29  5        Q.     Your software can generate information
10:02:10  6        Q.      Okay. Why not?                                          10:04:31  6   that fills in that; correct?
10:02:11  7        A.      Well, they have the chemistry, and they                 10:04:32  7        A.     Yes.
10:02:14  8   would be similar to the chemistry of another type of                 10:04:33  8        Q.     Why don't you turn that -- why don't you
10:02:17  9   fiber too.                                                           10:04:35  9   use it, that software?
10:02:18 10        Q.      Can you distinguish anthophyllite from                  10:04:36 10        A.     We do.
10:02:21 11   talc using EDXA alone?                                               10:04:38 11        Q.     Okay. Why in these experiments did you
10:02:24 12        A.      No. You need other methodologies, and                   10:04:41 12   not put in the information that can be generated on
10:02:29 13   that's what we use. We use a suite of methodologies.                 10:04:45 13   the bottom left-hand side of Exhibit 12?
10:02:32 14        Q.      Can you distinguish anthophyllite from                  10:04:48 14               MS. O'DELL: Object to the form.
10:02:39 15   cummingtonite with EDXA alone?                                       10:04:49 15               THE WITNESS: Well, there could be any
10:02:41 16        A.      The answer to that is no.                               10:04:50 16        number of reasons for that. Typically, when
10:02:43 17        Q.      So for the EDXA process, walk me through                10:04:54 17        we're looking at these types of particles, they
10:02:50 18   the steps. What do you do?                                           10:04:58 18        have characteristic spectra for the -- if it's a
10:02:52 19        A.      Where do you want to start on that?                     10:05:02 19        particular asbestos type.
10:02:55 20        Q.      Well, you've got a particle?                            10:05:03 20               For instance, this is tremolite. You can
10:02:56 21        A.      Okay.                                                   10:05:07 21        turn the -- the data's there, so you can turn
10:02:57 22        Q.      You've decided I want to do EDXA on that?               10:05:12 22        that data on to show you what the oxides are for
10:03:01 23        A.      Right.                                                  10:05:15 23        the oxides.
10:03:01 24        Q.      What do you do next?                                    10:05:16 24        Q.     (By Mr. Chachkes) Is it a coincidence
10:03:02 25        A.      Well, essentially what the analyst does is              10:05:19 25   that the data was not turned on for any of these, or
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10:05:22  1   were the analysts actually instructed not to turn it                 10:07:08  1   Maybe just flip it up to the last page.
10:05:25  2   on?                                                                            2       A.    Okay.
10:05:25  3         A.     No, it's not a coincidence.                             10:07:10  3       Q.    You see there, it's an EDXA printout.
10:05:27  4         Q.     Okay. They were instructed to not                       10:07:15  4   This is not yours.
10:05:28  5   generate that data?                                                            5       A.    Sure.
10:05:29  6         A.     No. No, no, no. No.                                     10:07:15  6       Q.    This is from Connecticut.
10:05:31  7         Q.     Now, is it standard operating practice not              10:07:17  7       A.    Uh-huh.
10:05:36  8   to generate that data?                                               10:07:17  8       Q.    And you see that -- it looks like it was
10:05:37  9         A.     Is it standard operating practice --                    10:07:18  9   generated from the same software as yours, it's the
10:05:39 10         Q.     -- at MAS not to generate that data?                    10:07:21 10   same fonts, same format. Is that a reasonable
10:05:41 11         A.     They don't have to generate it. It's not                10:07:24 11   conclusion?
10:05:43 12   required.                                                            10:07:25 12       A.    I don't know --
         13         Q.     Okay.                                                   10:07:26 13             MS. O'DELL: Object to the form.
10:05:43 14         A.     It's not required by the method.                        10:07:27 14             THE WITNESS: -- we'd have to see. You
10:05:45 15         Q.     Is that data in the software, you just                  10:07:29 15       know, they're all -- there are a number of
10:05:51 16   choose not to print it out?                                          10:07:31 16       different EDS software packages out there.
10:05:53 17                MS. O'DELL: Object to the form.                         10:07:34 17       Q.    (By Mr. Chachkes) Do you know the name of
10:05:54 18                THE WITNESS: I would have to check on                   10:07:36 18   your EDS software package?
10:05:55 19         that to see. So that's my answer to that right                 10:07:38 19       A.    I want to say it's called Revolutions.
10:05:59 20         now.                                                           10:07:40 20       Q.    Are there different versions of the
10:05:59 21         Q.     (By Mr. Chachkes) Okay.                                 10:07:42 21   Revolution software?
10:06:00 22         A.     Yeah.                                                   10:07:43 22       A.    I don't know.
10:06:00 23         Q.     And is that data -- you wouldn't                        10:07:44 23       Q.    And the information in the lower left, you
10:06:04 24   deliberately delete that data; right?                                10:07:48 24   see that's generated for each of the relevant
10:06:06 25         A.     No, never.                                              10:07:52 25   elements, weight percentage, standard deviation,
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                                                                 58                                                                              60
10:06:07  1         Q.     Is that data still at MAS, that if I asked         1    10:07:55      atomic percentage, oxide percentage, other
10:06:10  2   you to redo these with the data printed out, could    10:07:56  2                  information; do you see that?
10:06:12  3   you do it?                                            10:07:57  3                      A.    Yes.
10:06:13  4        A.    I don't know. We would have to ask Bill    10:07:58  4                      Q.    Can you generate all that information if
10:06:16  5   to see if it, in fact, is. It depends on the          10:08:00  5                  you wanted to for your EDXA?
10:06:21  6   software.                                             10:08:04  6                            MS. O'DELL: Object to the form.
10:06:23  7        Q.    Okay.                                      10:08:06  7                            THE WITNESS: Again, it depends on the way
10:06:23  8        A.    Yeah.                                      10:08:07  8                      the software operates, if it's set up to be able
10:06:24  9              MR. CHACHKES: We would request that data   10:08:11  9                      to collect that information and make those
10:06:25 10        be produced. So if -- we'll make a formal        10:08:12 10                      statistics.
10:06:30 11        request for that.                                10:08:12 11                      Q.    (By Mr. Chachkes) For the EDXA
10:06:30 12              MS. O'DELL: I think the data that's        10:08:15 12                  experiments that you ran for the purposes of the MDL
10:06:32 13        available has been produced, it's provided in    10:08:18 13                  report, would you be able to generate that
10:06:34 14        the report, and so there's no further data.      10:08:21 14                  information or you just don't know?
10:06:36 15        Q.    (By Mr. Chachkes) We'll --                 10:08:23 15                            MS. O'DELL: Object to form.
10:06:37 16        A.    Well, this is adequate to tell if this is  10:08:24 16                            THE WITNESS: I don't know.
10:06:39 17   a characteristic spectrum of tremolite, but you can't 10:08:24 17                      Q.    (By Mr. Chachkes) Okay. Do you
10:06:44 18   say, well, we know this is tremolite. We have other 10:08:27 18                    understand that that information, some people find
10:06:46 19   methods that have to be coupled together to be able 10:08:30 19                    that useful?
10:06:48 20   to, you know, 99.9 percent say it is.                 10:08:31 20                            MS. O'DELL: Objection.
10:06:52 21        Q.    I'm just talking about the data down       10:08:31 21                            THE WITNESS: It can be, yeah.
10:06:53 22   there.                                                10:08:33 22                      Q.    (By Mr. Chachkes) Why?
10:06:54 23        A.    Okay.                                      10:08:33 23                      A.    Well, it can be useful in -- for instance,
10:06:54 24        Q.    Let's look at what was marked yesterday as 10:08:37 24                  if you're a research geologist and you're trying to
10:06:56 25   Exhibit 13. If you could look at like the last page.  10:08:41 25                  determine the composition and the makeup of an
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10:08:43  1   unknown, that would be very helpful.                            1
                                                                              10:10:59    peak heights or peak areas can be used to determine
10:08:44  2        Q.    Okay. Why is it very helpful?              10:11:02  2           the chemical composition of the subject of an EDXA
10:08:46  3        A.    Again, if they are -- if they're trying to 10:11:04  3           analysis?
10:08:49  4   understand the composition of these materials, then 10:11:05 4                      A.   Well --
10:08:52  5   that information is part of info to try to figure out 10:11:05  5                        MS. O'DELL: Object.
10:09:00  6   what you're working with.                             10:11:06  6                        THE WITNESS: -- if we step back a minute,
10:09:01  7        Q.    That information that we're talking about  10:11:12  7                   these kinds of spectra are not the kinds of
10:09:05  8   a researcher can use to estimate the composition, the 10:11:15  8                   spectra that we get when we're doing something
10:09:11  9   chemical composition, of the subject particle; right? 10:11:17  9                   like mass spectrometer where we're really
10:09:14 10              MS. O'DELL: Object to form.                10:11:20 10                   looking at an area under a peak. You can do
10:09:14 11              THE WITNESS: Yeah, they can estimate it.   10:11:24 11                   peak heights on those, half width max types of
10:09:15 12        They can estimate it.                            10:11:29 12                   estimates with those.
10:09:16 13              MS. O'DELL: Dr. Rigler, give me just a     10:11:31 13                        These are spectrometers, and what they do
10:09:19 14        second before you answer.                        10:11:33 14                   is they collect data in electron channels for
10:09:20 15              THE WITNESS: Sure. Sorry.                  10:11:37 15                   electron voltage. So typically what you do is
10:09:20 16              MS. O'DELL: Thank you.                     10:11:41 16                   you bombard your specimen with the electron beam
10:09:20 17        Q.    (By Mr. Chachkes) And one of the ways you  10:11:46 17                   for a period of time to get enough counts so
10:09:23 18   do that is by -- you take the ratios of the peak      10:11:50 18                   that the peaks are stable at a stable height,
10:09:29 19   areas of the metals to the silicon; right?            10:11:54 19                   and then you can compare the peak heights.
10:09:32 20        A.    That's one way to do it.                   10:11:57 20                        So peak area, you know, for this kind of a
10:09:33 21        Q.    And if you were going to generate peak     10:12:02 21                   spectrometer, again, you'll get different
10:09:40 22   areas for your EDXA you could do that; right?         10:12:04 22                   opinions, but it's not the same type of thing
10:09:43 23        A.    Yeah. I would say yes to that. Again, I    10:12:07 23                   with the mass spectrometer. So peak heights
10:09:46 24   would have to look at the package to see what's in    10:12:09 24                   work very well for these.
10:09:49 25   there.                                                10:12:11 25                   Q.   (By Mr. Chachkes) Okay. It's not a
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10:09:49  1       Q.    It's pretty fundamental. I would think                1
                                                                              10:12:12    question about what works very well or --
10:09:51  2   all packages have that; right?                        10:12:15  2                   A.   Well, it is kind of a question about what
10:09:53  3             MS. O'DELL: Object to the form.             10:12:16  3           works really well.
10:09:54  4             THE WITNESS: Yes, but they vary in the      10:12:17  4                   Q.   Okay. Focus on my question.
10:09:55  5        software, the way that the company has put the   10:12:18  5                   A.   I hear you, but you're kind of going to
10:09:59  6        software together.                               10:12:21  6           it --
10:10:00  7        Q.   (By Mr. Chachkes) Okay. So this process     10:12:21  7                   Q.   Focus on my question.
10:10:02  8   of comparing ratios of metals to silicon, are you     10:12:23  8                   A.   I'm focusing.
10:10:06  9   comparing peak areas or just simply peak heights?     10:12:24  9                   Q.   The question is about peer-reviewed
10:10:09 10        A.   Again, that varies. In a lot of cases       10:12:27 10           literature --
10:10:13 11   it's peak heights if you're working with -- depending 10:12:27 11                   A.   Let me just finish.
10:10:17 12   on what your methodology is.                          10:12:28 12                        MS. O'DELL: Sorry.
10:10:18 13             For instance, I believe one of the          10:12:29 13                        THE WITNESS: Let me finish. I'm not
10:10:21 14   standard methodologies for asbestos analysis is in    10:12:29 14                   finished.
10:10:24 15   the AHERA regulations, and I believe there they use 10:12:30 15                          MS. O'DELL: Please finish.
10:10:30 16   peak ratios in that, which I believe are based on     10:12:33 16                        THE WITNESS: Okay. Peak heights work
10:10:33 17   peak heights.                                         10:12:34 17                   very well for this type of a spectrometer. Now,
10:10:34 18        Q.   Okay. And what about for an unknown         10:12:38 18                   we can get in all the minutia of area versus
10:10:40 19   chemical or crystal, what's more useful to determine  10:12:41 19                   peak height, but we have to know what kind of
10:10:46 20   the chemical composition, peak heights or peak areas? 10:12:44 20                   system that we're talking about.
10:10:49 21             MS. O'DELL: Object to the form.             10:12:46 21                   Q.   (By Mr. Chachkes) Same question.
10:10:50 22             THE WITNESS: Either one can be used,        10:12:47 22                   A.   Okay.
10:10:51 23        depending upon how you're calibrated.            10:12:48 23                   Q.   Focus on what I'm asking, which is about
10:10:54 24        Q.   (By Mr. Chachkes) It's your belief that     10:12:50 24           the peer-reviewed literature.
10:10:55 25   the peer-reviewed literature reflects that either              25                   A.   Okay.
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10:12:51  1        Q.    In the peer-reviewed literature where                    10:38:03  1   you record your time; correct?
10:12:53  2   folks are looking at EDXA spectra to determine the                  10:38:05  2        A.      As far as recording the time --
10:12:57  3   chemical composition of an unknown subject --                       10:38:08  3        Q.      Yes.
10:13:00  4        A.    Okay.                                                    10:38:09  4        A.      Yes, some of it, but not all of it.
10:13:01  5        Q.    -- does the peer-reviewed literature                     10:38:11  5        Q.      Okay. And who do you give those time
10:13:04  6   support both using peak heights and peak area to make               10:38:13  6   sheets to?
10:13:07  7   that determination?                                                 10:38:13  7        A.      I don't -- as I say, I go in and speak to
10:13:09  8              MS. O'DELL: Object to the form.                          10:38:20  8   Bill's assistant and then give her the hours that I
10:13:10  9              THE WITNESS: I would have to review the                  10:38:25  9   have.
10:13:12 10        literature. Standard methods use peak height.                  10:38:25 10        Q.      Is it your understanding that the other
10:13:19 11        Some may use peak area also. So as far as that,                10:38:26 11   people in your laboratory are giving their hours to
10:13:22 12        I would have to go and review it.                              10:38:28 12   Bill's assistant?
10:13:24 13        Q.    (By Mr. Chachkes) When you say standard                  10:38:29 13        A.      I don't know what they're doing.
10:13:25 14   methods, you mean in the peer-reviewed literature or                10:38:31 14        Q.      Okay. Have they been instructed to keep
10:13:28 15   something else?                                                     10:38:33 15   their time?
10:13:28 16        A.    Sure. It would be -- if it's a standard                  10:38:33 16        A.      You'd have to ask Bill about that.
10:13:31 17   method it's going to be peer-reviewed.                              10:38:36 17        Q.      Okay. So I'd like to request of
10:13:33 18        Q.    Okay. Looking at Exhibit 12 again, going                 10:38:37 18   plaintiffs all invoices billed on behalf of the MDL
10:13:40 19   back to your EDXA printout, did you do a                            10:38:41 19   at MAS.
10:13:46 20   comprehensive review of what minerals could                         10:38:46 20                So let's --
10:13:50 21   correspond to this EDXA spectra other than what you                 10:38:48 21        A.      I wanted to -- before we got started, I
10:13:55 22   believe it to be, which is tremolite?                               10:38:51 22   wanted to bring up a point about the publications,
10:13:57 23        A.    I didn't do a comprehensive review of                    10:38:52 23   because I know you were asking about that.
10:13:59 24   this.                                                               10:38:54 24        Q.      Okay.
10:13:59 25        Q.    Did anybody do a comprehensive review of                 10:38:54 25        A.      And it is our policy at our laboratory to
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10:14:02  1   the EDXA spectra to determine what other minerals               1   10:38:58      not discuss any possible publications that we may
10:14:05  2   they could correspond to?                             10:39:02  2                 have pending. It's part of our policy, and it's
10:14:07  3       A.     A comprehensive review. What do you mean 10:39:06 3                    actually what we consider as proprietary.
10:14:13  4   by that?                                              10:39:13  4                              MR. CHACHKES: I'm going to ask counsel
10:14:13  5       Q.     So, for example, if an expert in           10:39:14  5                      again, are you going to allow me to ask a full
10:14:16  6   mineralogy and EDXA mineralogy were to tell you this  10:39:18  6                      set of questions about what the pending
10:14:19  7   spectra in Exhibit 12 can correspond to dozens if not 10:39:19  7                      publication is?
10:14:24  8   hundreds of other minerals, sitting here today, do    10:39:20  8                              MS. O'DELL: No.
10:14:26  9   you have any reason to dispute that?                            9                              MR. CHACHKES: Okay. We'll raise it with
10:14:27 10              MS. O'DELL: Object to the form.                     10                      the magistrate.
10:14:29 11              THE WITNESS: I would say that it could     10:39:21 11                              MS. O'DELL: He's answered your question.
10:14:31 12       correspond to a number of other minerals, yes.    10:39:23 12                      These are the invoices. It's two copies of one
10:14:34 13              MR. CHACHKES: Okay.                        10:39:26 13                      invoice, and you're welcome to ask him questions
10:14:35 14              MS. O'DELL: Alex, excuse me. We've been    10:39:28 14                      about it if you'd like.
10:14:38 15       going about an hour, a little over an hour. Can   10:39:29 15                              MR. CHACHKES: Okay. And we're also
10:14:40 16       we take a short break, please?                    10:39:30 16                      requesting all invoices from all people for who
10:14:41 17              MR. CHACHKES: Yeah. Let me see if I can    10:39:35 17                      do bill time, the analysts, Bill, the works.
10:14:43 18       finish this part.                                          18                              MR. PARFITT: We'll take that under
10:14:44 19              MS. O'DELL: Are you ready for a break,     10:39:39 19                      advisement.
10:14:46 20       Doctor?                                           10:39:39 20                              MS. O'DELL: Your request is noted. There
10:14:46 21              THE WITNESS: Sure.                         10:39:43 21                      will be an objection to that.
10:14:48 22              MR. CHACHKES: That's fine, we'll take a    10:39:45 22                              MR. CHACHKES: Okay. Let's just mark --
10:14:50 23       break.                                            10:39:47 23                      let me see if these are different. Yeah.
10:14:51 24              (Recess from 10:14 a.m. to 10:37 a.m.)     10:39:49 24                              MS. O'DELL: Let's see.
10:38:00 25       Q.     (By Mr. Chachkes) We spoke earlier about   10:39:51 25                              MR. CHACHKES: Yeah, they're different.
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10:39:51  1        One is for 9,000 and one is for 14.                            10:41:38  1              MS. O'DELL: I just prefer that that not
10:39:54  2               MS. O'DELL: Oh, yeah.                                   10:41:41  2        be marked.
10:39:56  3        Q.     (By Mr. Chachkes) By the way, did you                   10:41:42  3              MR. CHACHKES: Why don't we hold up the
10:39:59  4   bring any documents with you today?                                 10:41:43  4        invoices until a break. I don't have to ask
10:40:00  5        A.     I did.                                                  10:41:45  5        about them now. We'll do it as a set. I don't
10:40:00  6        Q.     What documents did you bring with you?                  10:41:47  6        want to --
10:40:02  7        A.     Let me get them out.                                    10:41:47  7              MS. O'DELL: Sure.
10:40:11  8               MS. O'DELL: May I see those just a minute               10:41:48  8        Q.    (By Mr. Chachkes) Okay. All right. Back
10:40:13  9        to make sure.                                                  10:41:51  9   to EDXA.
10:40:19 10               THE WITNESS: The request.                               10:41:52 10        A.    All right.
10:40:20 11        Q.     (By Mr. Chachkes) You don't have to hand                10:41:54 11        Q.    So -- now, you're aware that crystals have
10:40:22 12   them to me, just tell me what they are.                             10:42:05 12   certain characteristic ratios of metals to silicon?
10:40:24 13        A.     Okay. Let's see. This is the notice of                  10:42:08 13        A.    Yes.
10:40:27 14   oral and videotaped deposition.                                     10:42:09 14        Q.    Okay. And are you aware that tremolite
10:40:28 15        Q.     Well, let me just ask this question. Did                10:42:11 15   has a ratio of 5-to-8?
10:40:29 16   you bring any documents that I might not already                    10:42:14 16        A.    It can vary.
10:40:31 17   have? So I have your report, I have the subpoena, I                 10:42:16 17        Q.    When you say it can vary, what do you mean
10:40:36 18   have the things lawyers exchange. Is there                          10:42:19 18   by that?
10:40:40 19   anything --                                                         10:42:19 19        A.    Well, it can vary. I mean, per the
10:40:40 20        A.     You have the quality report?                            10:42:22 20   formula based on how many metal ions that tremolite
10:40:42 21        Q.     Yes, we have the quality report; correct?               10:42:27 21   has, it can vary a bit.
10:40:45 22   And you brought that?                                               10:42:29 22        Q.    When you say a bit, what's the margin
10:40:46 23        A.     I brought a copy of that. There was one                 10:42:32 23   error there?
10:40:48 24   minor typographical error I found in that.                          10:42:33 24        A.    You know, as far as a margin of error,
10:40:50 25        Q.     We'll get to that.                                      10:42:36 25   peak height ratios, that type of thing, it just
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10:40:52  1        A.     Okay.                                                   10:42:41  1   varies. So, you know, it varies.
10:40:52  2        Q.     Anything else you brought that I might not              10:42:45  2        Q.    Do you have any opinion sitting here today
10:40:54  3   otherwise have?                                                     10:42:47  3   as to what the peer-reviewed literature suggests as
10:40:55  4        A.     You probably have everything. I brought                 10:42:51  4   the acceptable variations when you're looking at an
10:40:59  5   the starting weight sheets, the weight sheets that                  10:42:54  5   EDXA for determining a mineral from the
10:41:04  6   we've used for the analysis. I think you guys had                   10:42:58  6   metal-to-silicon ratio?
10:41:09  7   requested all of that. What else? And the reports.                  10:42:59  7              MS. O'DELL: Object to form.
10:41:11  8   The same ones that you have here.                                   10:43:01  8              THE WITNESS: I would have to look at the
10:41:13  9        Q.     So starting weight sheets, have those been              10:43:05  9        literature to see what they are because I know
10:41:16 10   produced?                                                           10:43:08 10        over the years as I've looked at different
10:41:17 11        A.     Yeah, I think they were sent over.                      10:43:11 11        references, and I've noticed the slightly
10:41:19 12               MS. O'DELL: Yes, those were produced. I                 10:43:14 12        different, you know, ratios for the same
10:41:21 13        have one more invoice. I would ask that you not                10:43:17 13        material.
10:41:24 14        mark this one because I need a clean copy and I                10:43:18 14        Q.    (By Mr. Chachkes) Okay. Because the
10:41:26 15        don't know why I don't have one in my folder,                  10:43:19 15   ratio actually should be a certain number because
10:41:29 16        actually, so I'll get a copy at the break.                     10:43:22 16   it's based on the chemical formula which is what the
10:41:31 17               MR. CHACHKES: Okay. Do you mind if I                    10:43:25 17   definition of the mineral is; correct?
10:41:32 18        take a photo of it?                                            10:43:27 18        A.    Well, yes, but by electron spectroscopy
10:41:33 19               MS. O'DELL: No. You're welcome to.                      10:43:32 19   you can have a variation in the energy depending upon
10:41:34 20               MR. CHACHKES: Okay. We will start with                  10:43:36 20   takeoff angle and this and that kind of thing,
10:41:35 21        that and then we can --                                        10:43:39 21   depending on the material. So you can have some
10:41:35 22               MS. O'DELL: Yeah. I'll copy it at the                   10:43:42 22   variation there. You know, purely based on the
         23        break. I just would prefer --                                  10:43:44 23   formula, again, using a spectrometer, you're going to
         24               MR. CHACHKES: Oh, we'll copy it at the                  10:43:48 24   get some variation.
         25        break. So why don't we do this, why don't we --                10:43:48 25        Q.    Okay. But ideally the ratio is going to
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10:43:52  1   be a definite number because it's based on the                     10:46:07  1   spectrum, in Number 12, if the magnesium was up in
10:43:57  2   chemical formula, and the chemical formula for a                   10:46:11  2   the middle somewhere up high towards the silicon
10:43:58  3   mineral is set in stone, as it were?                               10:46:14  3   peak, you might have a question about it at that
          4             MS. O'DELL: Object to the form.                          10:46:16  4   point. If the calcium peak was down lower, then you
10:44:02  5             THE WITNESS: Well, again, now, if you're                 10:46:20  5   might have a question about it at that point too.
10:44:03  6       just talking about the formula, then, yes, you                 10:46:22  6               So you can get some variation again like
10:44:05  7       would have ratios based on the formula. You                    10:46:26  7   that, depending upon the mineralogy of tremolite in
10:44:08  8       know, forget the EDXA for a minute.                            10:46:29  8   that area. So again, you're going to have a little
10:44:10  9             But based on the chemical formula and the                10:46:32  9   bit of variation. But if it's too far away from
10:44:12 10       loading of the ions, you know, in that formula,                10:46:35 10   that, then, yeah, there's a question about that.
10:44:15 11       you're going to have, you know, a set amount                   10:46:37 11         Q.    Do you have any opinions sitting here
10:44:19 12       there. But when it comes to the actual                         10:46:39 12   today whether the EDXA spectra in 12 is more like
10:44:21 13       spectroscopy you're going to have a little bit                 10:46:44 13   another mineral than tremolite?
10:44:23 14       of variation.                                                  10:46:47 14               MS. O'DELL: Object to the form.
10:44:24 15       Q.    (By Mr. Chachkes) Okay. And just by way                  10:46:48 15               THE WITNESS: Well, I don't have an
10:44:25 16   of example, anthophyllite, the chemical formula, has               10:46:50 16         opinion on that right now.
10:44:29 17   seven magnesiums, eight silicon; right?                            10:46:52 17         Q.    (By Mr. Chachkes) And so did you actually
10:44:32 18       A.    Uh-huh.                                                  10:46:55 18   run the metal-to-silicon ratios for your EDXA?
10:44:33 19       Q.    Is that a yes?                                           10:46:59 19               MS. O'DELL: Object to the form.
10:44:34 20       A.    Yes.                                                     10:47:00 20               THE WITNESS: I didn't run it, no.
         21       Q.    I'm sorry --                                             10:47:02 21         Q.    (By Mr. Chachkes) Okay. Did anybody run
10:44:38 22       A.    It's okay.                                               10:47:03 22   it?
10:44:38 23       Q.    -- show up on the transcript.                            10:47:03 23         A.    I don't know. I would have to check.
10:44:38 24             And then that ratio of 7-to-8 is the ideal               10:47:04 24         Q.    As the author of the expert report that
10:44:44 25   metal-to-silicon ratio under EDXA for anthophyllite?               10:47:09 25   has these EDXA spectra upon which you're making
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10:44:48  1       A.    Well, no, that's for the formula. That                   10:47:12  1   conclusions, wouldn't that be important information
10:44:50  2   would be for the formula. Once again, when you get                 10:47:14  2   to know?
10:44:53  3   to a spectroscopic method, it's going to vary a bit.               10:47:14  3               MS. O'DELL: Object to the form.
10:44:57  4       Q.    So did you -- so in Exhibit 12, do you see               10:47:21  4               MS. PARFITT: Objection.
10:45:03  5   how tremolite is written there at the top?                         10:47:22  5               THE WITNESS: The information that we have
10:45:05  6       A.    Yes.                                                     10:47:23  6         from the spectrometer is accurate, and the peak
10:45:05  7       Q.    That's not what the machine generated                    10:47:29  7         ratios that you see here are consistent with
10:45:07  8   based on the spectra; you typed that in; correct?                  10:47:34  8         tremolite. It could be consistent with some
10:45:12  9       A.    The analyst typed that in, yes. But that                 10:47:37  9         other minerals. That's why we do not use EDS;
10:45:14 10   correlates with tremolite, with a tremolite spectrum.              10:47:42 10         that's why we would do electron diffraction, and
10:45:18 11       Q.    And so do you expect in this Exhibit 12                  10:47:45 11         we also look at the shape and the form of the
10:45:25 12   EDXA spectra that the ratio of metal to silicon is                 10:47:47 12         material, too. So those things together allow
10:45:31 13   going to be 5-to-8 or somewhere in the vicinity of                 10:47:51 13         us to say, yeah, this is tremolite.
10:45:34 14   5-to-8?                                                            10:47:53 14         Q.    (By Mr. Chachkes) Okay. Do you go into
10:45:35 15       A.    It could be, yes.                                        10:47:54 15   the EDXA -- do you take the EDXA spectra, say, I'm
10:45:36 16       Q.    And when you say it could be, would you                  10:48:02 16   going to assume it's an asbestos and now I'm going to
10:45:42 17   identify something that has a metal-to-silicon ratio               10:48:05 17   figure out which one? You don't do that, do you?
10:45:45 18   nowhere near 5-to-8 as tremolite under EDXA?                       10:48:07 18               MS. O'DELL: Object to the form.
10:45:49 19             MS. O'DELL: Object to the form.                          10:48:08 19               THE WITNESS: Typically what happens is
10:45:50 20             THE WITNESS: Can you just restate the                    10:48:12 20         the analyst will take a spectrum, they'll look
10:45:52 21       question, please?                                              10:48:17 21         at the spectrum, then they will flip over -- and
10:45:53 22       Q.    (By Mr. Chachkes) Okay. What margin of                   10:48:20 22         they're in the same spot, they'll refigure the
10:45:54 23   error in the metal-to-silicon ratio would be so great              10:48:24 23         scope, and then they will do electron
10:45:59 24   that you would say, well, that's not tremolite?                    10:48:26 24         diffraction.
10:46:02 25       A.    Well, again, if, for instance, in this                   10:48:26 25               They'll look at the diffraction pattern,
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10:48:28  1       and then they will make a decision at that                   10:51:03  1   and there's also ISO 13794. The EPA one's here, it's
10:48:29  2       particular point as to whether it's consistent               10:51:12  2   40 CFR part 763. They're on page 11 of the report.
10:48:32  3       with that form or not. Then they'll index the                10:51:19  3       Q.    Okay. Any other published literature that
10:48:35  4       pattern. They'll confirm that with verification              10:51:21  4   approves of this method that you're using?
10:48:38  5       of the indexing of the pattern.                              10:51:23  5             MS. O'DELL: Object to the form.
10:48:39  6       Q.    (By Mr. Chachkes) Okay. So the EDXA --                 10:51:25  6             THE WITNESS: Probably there are, but
10:48:44  7   so the judgment call by the analyst to what mineral              10:51:28  7       these are major standards that are used.
10:48:48  8   they're looking at is based on a combined looking at             10:51:32  8       Q.    (By Mr. Chachkes) Sitting here today can
10:48:51  9   the EDXA spectra and the SAED?                                   10:51:33  9   you think of any others?
10:48:56 10       A.    Yes, and also the form. The form.                      10:51:34 10       A.    I'm trying to think of them. As I sit
10:49:02 11       Q.    And when you say the form, what do you                 10:51:40 11   here, I can't, but I know there are some others.
10:49:03 12   mean, the form?                                                  10:51:42 12       Q.    Okay.
10:49:04 13       A.    Well, for instance, if it's a round                    10:51:42 13       A.    Yeah.
10:49:09 14   structure or something that is not fibrous or                    10:51:43 14       Q.    Now, let's take, for example, 22262.
10:49:12 15   crystalline as you would expect tremolite to be,                 10:51:48 15   There's a section on EDXA; correct?
10:49:14 16   then, you know, it's a guess as it could be some                 10:51:54 16       A.    To my knowledge there is, yes.
10:49:17 17   other form.                                                      10:51:55 17       Q.    Right. And there's a section on SAED?
10:49:19 18       Q.    Can you cite to me any peer-reviewed                   10:51:58 18       A.    I would have to look at it. I don't have
10:49:21 19   literature or textbook, even, that says taking                   10:52:00 19   it right in front me.
10:49:26 20   simultaneously the data from an EDXA, SAED, and the                       20       Q.    Okay.
10:49:32 21   form is the proper way to identify a mineral?                    10:52:01 21       A.    If you've got it, I'll look at it. I
10:49:37 22             MS. O'DELL: Object to the form.                        10:52:03 22   don't have it right in front of me.
10:49:38 23             THE WITNESS: Well, I mean, if you want to              10:52:03 23       Q.    Does 22262 expressly say you consider the
10:49:39 24       look at the way EPA said to do it and continues              10:52:08 24   EDXA and SAED together even though that independently
10:49:42 25       to say to do it, you know, in the '70s and the               10:52:12 25   they may be inconclusive?
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10:49:47  1       '80s and was published, this is the way to do               110:52:13          A.    I --
10:49:50  2        it.                                              10:52:13  2                        MS. O'DELL: Excuse me.
10:49:50  3        Q.   (By Mr. Chachkes) Okay. So you've cited     10:52:15  3                        Dr. Rigler, I've got a copy here that was
10:49:52  4   the EPA. Anything else, any other published sources?  10:52:17  4                  marked, if you need to see 22262-2. I'll
10:49:55  5        A.   It's also done -- there are a number        10:52:20  5                  provide it to you if counsel will not do that.
10:49:57  6   of ASTM -- they are referenced here in our report.    10:52:23  6                        THE WITNESS: Okay.
10:49:59  7        Q.   Okay. Is it your opinion that 22262         10:52:23  7                  Q.    (By Mr. Chachkes) Let me ask this
10:50:03  8   sanctions that methodology?                           10:52:24  8              question. Are you able to answer the question --
10:50:05  9        A.   To my knowledge, yes.                       10:52:26  9                        MS. PARFITT: Give him a chance to look at
10:50:06 10        Q.   Okay. And when you say EPA, what document   10:52:28 10                  the document.
10:50:09 11   are you referring to?                                 10:52:28 11                        MR. CHACHKES: I'm going to ask the
10:50:10 12        A.   That would be the AHERA document.           10:52:30 12                  question. You can --
10:50:15 13   CFR 763.                                              10:52:30 13                        MS. PARFITT: No. Give him a chance,
10:50:15 14        Q.   And so if you're cited CFR -- say it                 14                  Alex --
10:50:21 15   again?                                                         15                  Q.    (By Mr. Chachkes) Can you answer --
10:50:21 16        A.   763.                                        10:52:33 16                        MS. PARFITT: Alex, he's not going to
10:50:22 17        Q.   763?                                        10:52:34 17                  answer the question.
10:50:23 18        A.   Yep.                                        10:52:34 18                  Q.    (By Mr. Chachkes) Can you answer the
10:50:23 19        Q.   And then we cited 22262. Any other          10:52:35 19              question without being given the document? That's a
10:50:26 20   document that supports your methodological approach?  10:52:37 20              simple question. Can you --
10:50:29 21        A.   Let me look here. We've referenced them              21                        MS. PARFITT: We need to --
10:50:32 22   here. There are a couple of ASTMs too. There's an     10:52:38 22                        MR. CHACHKES: Are you going to shut that
10:50:36 23   ISO document -- well, the ISO is the 22 -- let me see 10:52:40 23                  down?
10:50:39 24   which ones we've got.                                 10:52:40 24                        MS. PARFITT: I'm going to tell him to
10:50:45 25             The ASTM D5755-09, D5756, the ISO 10312, 10:52:41 25                     look at the document. The appropriate thing --
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10:52:43  1             MR. CHACHKES: Okay. Another list for the             110:54:11                So, yes, you start with an inconclusive;
10:52:43  2       magistrate.                                      10:54:15  2                  yes, you start with an inconclusive; yes, you
          3            Go ahead.                                   10:54:17  3                  start with an inconclusive; and you put those
10:52:45  4            MS. PARFITT: Excuse me. Let's make it       10:54:19  4                  together to come up with a conclusive answer.
10:52:46  5       clear. So the question for the magistrate is     10:54:21  5                  Q.    (By Mr. Chachkes) Okay.
10:52:48  6       when you talk about a document and the witness 10:54:21 6                     A.    Yep.
10:52:50  7       wants to see it, you want to bring up to the     10:54:22  7                  Q.    At a break I would like you to look at
10:52:53  8       magistrate that you aren't going to give it to   10:54:26  8              your document --
10:52:55  9       him? Is that the subject matter?                 10:54:28  9                  A.    Okay.
10:52:56 10            MR. CHACHKES: Let's look at the             10:54:28 10                  Q.    -- and specifically look for somewhere
10:52:57 11       transcript. Did he say he wanted to see it?      10:54:30 11              where it says you can take three separate and
10:52:58 12       You said he wanted to see it.                    10:54:32 12              independent inconclusive analytical results and
10:52:59 13            MS. PARFITT: Dr. Rigler, would you like     10:54:36 13              combine them to make a conclusive result. Okay?
10:53:02 14       to see the document?                             10:54:43 14                        MS. O'DELL: Object to the form.
10:53:02 15            THE WITNESS: Sure.                          10:54:44 15                        THE WITNESS: Well, let me just state that
10:53:03 16            MS. PARFITT: Thank you.                     10:54:48 16                  in science, one of the best ways to come up with
10:53:04 17            MR. CHACHKES: All right.                    10:54:51 17                  a good answer is use multiple techniques to be
10:53:05 18            MS. PARFITT: It's amusing, isn't it? Why    10:54:54 18                  able to make a conclusion. You use one
10:53:08 19       don't you act appropriate.                       10:54:57 19                  particular technique, that's good. You use
10:53:09 20       Q.   (By Mr. Chachkes) Anyway, is it your        10:55:02 20                  another technique in conjunction with that,
10:53:10 21   opinion that 22262 says you can take an inconclusive 10:55:04 21                  that's better. Use three techniques in
10:53:15 22   EDXA and you can take an inconclusive SAED and       10:55:07 22                  conjunction with that, that's very good.
10:53:19 23   together make a determination of what mineral you're 10:55:09 23                        So typically this is the way that we work
10:53:22 24   looking at?                                          10:55:13 24                  as scientists. So that's the way that these
10:53:23 25            MS. O'DELL: Object to the form.             10:55:19 25                  documents are written, you know. Again, a good
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10:53:24  1             THE WITNESS: I would have to take a break             10:55:22  1       example is AHERA as to how they would do that,
10:53:26  2       to read it and review it, and then I can give               10:55:24  2       they want the scientists to do it.
10:53:28  3       you an answer to that question.                             10:55:25  3       Q.    (By Mr. Chachkes) Will you do me that
10:53:29  4       Q.    (By Mr. Chachkes) Okay. Sitting here                  10:55:28  4   favor of during a break look at 22262 and coming up
10:53:29  5   today, you can't answer that off the top of your                10:55:31  5   with your specific opinion as to whether it allows
10:53:32  6   head?                                                           10:55:34  6   for someone to take an inconclusive -- three
10:53:32  7             MS. PARFITT: Objection. Misstates his                 10:55:37  7   inconclusive results, combine them for a conclusive
10:53:34  8       testimony.                                                  10:55:39  8   result?
          9             THE WITNESS: That's right.                            10:55:39  9             MS. O'DELL: Object to the form.
         10       Q.    (By Mr. Chachkes) Okay.                               10:55:40 10             And you're not required to do any homework
10:53:34 11       A.    I could give you an answer. I just need               10:55:42 11       for counsel during a break.
10:53:36 12   some time to review the document.                               10:55:45 12       Q.    (By Mr. Chachkes) Okay. So you will not
10:53:37 13       Q.    Okay. And is it the same answer for the               10:55:48 13   during a break do that; correct?
10:53:38 14   other standards that you cited? Sitting here today,             10:55:49 14             MS. PARFITT: You want him to do it right
10:53:42 15   could you tell me just off the top of your head                 10:55:51 15       now? It's on your time.
10:53:44 16   whether those other standards that you cited allow              10:55:53 16             MR. CHACHKES: It's a question for the
10:53:47 17   for someone to take an inconclusive SAED and                    10:55:54 17       witness.
10:53:50 18   inconclusive EDXA together with maybe a visual                  10:55:54 18             MS. PARFITT: The question for the witness
10:53:56 19   morphology decision and judge what mineral you're               10:55:56 19       is -- you were asking him to do homework off the
10:53:59 20   looking at?                                                     10:55:59 20       record on his break; am I correct? Is that what
10:54:00 21             MS. O'DELL: Object to the form.                       10:56:01 21       you're asking him?
10:54:00 22             THE WITNESS: Well, the answer to the                  10:56:02 22             MR. CHACHKES: He has a --
10:54:02 23       question is these parts are required to be able             10:56:02 23             MS. PARFITT: Let me ask you a question.
10:54:09 24       to come up with an answer of what the mineral               10:56:03 24             MR. CHACHKES: If you're just going to
10:54:11 25       is.                                                         10:56:04 25       talk over me, there's no conversation here.
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10:56:05  1               MS. PARFITT: You know, Alex, you have a              10:57:36  1              MR. CHACHKES: And I would appreciate in
10:56:07  2       difficult time talking over people as well, so               10:57:37  2       the future when I ask those questions you don't
          3       I'm not trying to --                                                   3       tell the witness how the appropriate manner is,
10:56:10  4               MR. CHACHKES: I'll let you finish. Go                10:57:39  4       that he is allowed to finish answering the
          5       ahead.                                                       10:57:40  5       questions.
          6               MS. PARFITT: Thank you. I appreciate                 10:57:41  6              MS. PARFITT: Well, let's not trip a
10:56:13  7       that. It's very kind of you.                                 10:57:43  7       witness. I think let's have a very honest
10:56:13  8               Are you asking him to do a project for you           10:57:45  8       discussion with the witness, all right?
10:56:16  9       on his break; is that what you're asking him?                10:57:46  9              So that's what we're trying to do is have
10:56:18 10               MR. CHACHKES: He has come here as an                 10:57:49 10       an honest discussion with the witness, and I see
10:56:20 11       expert on the subject matter of how one                      10:57:55 11       you're trying to do that.
10:56:21 12       determines whether there's asbestos in talc, and             10:57:55 12       Q.     (By Mr. Chachkes) Okay. So you said the
10:56:23 13       he has testified that there are various                      10:57:58 13   analyst is simultaneously doing an EDXA and an SAED;
10:56:24 14       standards by which they sanction his                                  14   correct?
10:56:27 15       methodology. I want a specific opinion as to                 10:58:03 15       A.     They can.
10:56:30 16       how indeed that happens.                                     10:58:03 16       Q.     They can.
10:56:32 17               So he should be able to do that. He                  10:58:04 17       A.     Well, I mean, simultaneously -- you have
10:56:34 18       should have come prepared for that. So I want                10:58:06 18   to do one at a time, but you can do them essentially
10:56:35 19       him to read the document and come back with                  10:58:11 19   in the same sitting.
10:56:38 20       specifics. That's what I want.                               10:58:12 20       Q.     Would the analyst -- would it be
10:56:39 21               MS. PARFITT: Well, I think there may be a            10:58:15 21   appropriate for an analyst to take something like
10:56:41 22       miscommunication. I don't think he's telling                 10:58:18 22   Exhibit 12 without having done the SAED yet, without
10:56:43 23       you he can't do it. The difference is if you                 10:58:20 23   having done visual morphology yet, to make a
10:56:46 24       want to ask him that question, he goes through               10:58:23 24   conclusion about what mineral they're looking at?
10:56:48 25       it right now while we're on the record, that's               10:58:26 25       A.     Well, that's not the way we do it.
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10:56:51  1       fine.                                                        10:58:30  1       Q.     Would it be appropriate to do it that way?
10:56:51  2               MR. CHACHKES: I'll tell you what we'll               10:58:32  2       A.     I'm telling you that's the way we do it.
10:56:53  3       do. I plan to finish without exhausting my                   10:58:33  3       Q.     The question is as an expert in the area,
10:56:56  4       seven-hour time. If it takes a few hours to go               10:58:35  4   is it appropriate to do it? If they did it, would it
10:57:00  5       through documents, we'll do that at the end,                 10:58:37  5   be inappropriate?
          6       okay?                                                        10:58:38  6       A.     They could do it.
          7               MS. PARFITT: Go through --                           10:58:39  7              MS. O'DELL: Object to the form.
          8               THE WITNESS: Well, I think --                        10:58:40  8              THE WITNESS: They could do it if they
10:57:02  9               MR. CHACHKES: He can do it on the record.            10:58:41  9       wanted to, but that's not the way we do it.
10:57:02 10       He can just sit there reading the documents on               10:58:43 10       Q.     (By Mr. Chachkes) Okay. And it wouldn't
10:57:04 11       the record. We'll stay here until 9:00 if                    10:58:44 11   be inappropriate -- when I say inappropriate, bad
10:57:06 12       that's what's required.                                      10:58:47 12   science?
10:57:08 13               MS. PARFITT: That's fine.                            10:58:48 13              MS. O'DELL: Object to the form.
10:57:11 14               MR. CHACHKES: Okay. I mean, right now I              10:58:49 14              THE WITNESS: Bad science? I don't know
10:57:13 15       understand the dispute to be not whether he can              10:58:51 15       what you mean by that.
10:57:17 16       go through the documents and give me the answer.             10:58:52 16       Q.     (By Mr. Chachkes) Okay. So something
10:57:18 17       You just want it on the record.                              10:58:55 17   that would not give you within a reasonable degree of
10:57:19 18               MS. PARFITT: What I would like to have on            10:59:00 18   scientific certainty the conclusion that, ah, this is
10:57:20 19       the record is your question and his response and             10:59:01 19   the mineral I'm looking at?
10:57:22 20       he will tell you -- since I'm not testifying --              10:59:02 20       A.     Well, they would want to do that. They
10:57:24 21       he will tell you whether he can respond in kind              10:59:05 21   would be required to do that at our laboratory.
10:57:27 22       to your question and in an appropriate manner.               10:59:07 22       Q.     Yeah.
10:57:30 23       If the appropriate manner for him to respond to              10:59:08 23       A.     They wouldn't just look at one of these
10:57:33 24       your question requires him to look at something,             10:59:09 24   and say, yeah, it's tremolite.
10:57:36 25       then he's entitled to do it.                                 10:59:11 25       Q.     Okay. But I'm asking -- it's not
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10:59:12  1   empirically what's going on, so focus on the                      11:01:15  1       Q.    Okay. I would ask that that be produced.
10:59:15  2   question. The question is, is it bad science to take              11:01:18  2             Sitting here now, do you remember what
10:59:17  3   only, like in Exhibit 12, EDXA and a spectrum and                 11:01:20  3   that protocol is, which comes first, like EDS or SAED
10:59:25  4   make a conclusion about the mineral?                              11:01:27  4   or visual morphology under TEM?
10:59:27  5             MS. O'DELL: Object to the form.                         11:01:29  5       A.    Yeah, I want to say that it is EDS first,
10:59:28  6             THE WITNESS: Is it bad science? It's                    11:01:31  6   and then they do the diffraction, but I would have to
10:59:31  7       observation. They can make an observation which               11:01:35  7   look and see what it is.
10:59:33  8       may lead them to additional kinds of                          11:01:37  8       Q.    Do the analysts type in the mineral
10:59:37  9       observations. You may take an expert in                       11:01:41  9   identification at the top of the printout at the time
10:59:40 10       mineralogy who looks at this and goes yeah, it's              11:01:45 10   they do the EDS before they do the diffraction?
10:59:43 11       tremolite. You may take an expert in mineralogy               11:01:48 11             MS. O'DELL: Object to the form. Asked
10:59:46 12       in academia that would say it was.                            11:01:49 12       and answered.
10:59:49 13       Q.    (By Mr. Chachkes) Okay. So it is good                   11:01:49 13             THE WITNESS: Again, I would have to -- I
10:59:50 14   science to take something like the EDXA printout in               11:01:52 14       would have to see. I can't recall right now.
10:59:54 15   isolation and say I know what mineral that is?                    11:01:55 15       They're not going to type that on there unless
10:59:55 16             MS. O'DELL: Object to the form.                         11:01:57 16       they're sure that -- understand that.
10:59:56 17       Misstates his testimony.                                      11:01:59 17       Q.    (By Mr. Chachkes) It's a question
10:59:57 18             THE WITNESS: Right, we -- again, that's                 11:02:00 18   about timing.
10:59:59 19       not the way that we do that at our laboratory.                11:02:01 19       A.    Yes, I understand the question about
11:00:01 20       And you may have an academic that does that                   11:02:03 20   timing. I get that. I get it.
11:00:03 21       who's a crystallographer or mineralogist who                  11:02:04 21             They can start to do an EDS, then they can
11:00:06 22       looks at that and goes, yeah, it's tremolite.                 11:02:07 22   do diffraction, and then they can make the call on
11:00:09 23       Q.    (By Mr. Chachkes) So what is your                       11:02:11 23   that. They're not going to make the call unless
11:00:16 24   recommended procedure for -- when is the tremolite                11:02:13 24   they're sure.
11:00:18 25   typed in the top? Is it right after the EDXA                      11:02:14 25       Q.    Do you know whether the -- so it's
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11:00:20  1   printout comes up?                                              1 11:02:18      possible that they go back into the software after
11:00:21  2        A.    Well, as I say, they've done the           11:02:22  2               the diffraction and type in the name of the mineral
11:00:25  3   diffraction, they've looked at this. They may do      11:02:26  3               at the top of the EDS?
11:00:28  4   another EDS on this to verify what they got to start  11:02:27  4                         MS. O'DELL: Object to the form.
11:00:31  5   with, and then they would probably type that in there 11:02:28 5                          THE WITNESS: I don't know. I would have
11:00:34  6   then.                                                 11:02:29  6                   to find out. But again, they're not going to
11:00:34  7        Q.    Okay. I've seen no sample for which there  11:02:32  7                   type that in there unless they're sure of it.
11:00:36  8   are two EDS. Does that mean we have not received                8                   Q.    (By Mr. Chachkes) Okay.
11:00:39  9   these duplicate EDS runs?                             11:02:34  9                   A.    That's what you need to understand.
11:00:42 10              MS. O'DELL: Object to the form.            11:02:35 10                   Q.    Yeah, I know -- I understand your --
11:00:43 11              THE WITNESS: Well, no. Again, they may     11:02:35 11                   A.    I want you to understand that. You don't
11:00:46 12        do -- they may start to do an EDS on that, go,   11:02:37 12               seem to understand that.
11:00:51 13        yeah, that looks like tremolite, let me do the   11:02:38 13                   Q.    You have said that ten times --
11:00:53 14        diffraction on this, right, and then they may    11:02:39 14                   A.    Good.
11:00:55 15        come back and do a 300 seconds on the EDS.       11:02:40 15                   Q.    -- it's on the record --
11:00:59 16              So, you know, they're not going to call it 11:02:41 16                   A.    I want to make it clear.
11:01:01 17        unless they're sure of it from the diffraction.  11:02:42 17                   Q.    What I understand or don't understand is
11:01:05 18        Q.    (By Mr. Chachkes) Do you have a policy at  11:02:43 18               really not at issue. It's what you understand, okay?
11:01:08 19   MAS for the order in which the various analyses are   11:02:46 19               Do you understand that?
11:01:10 20   done?                                                 11:02:46 20                   A.    Sure.
11:01:10 21        A.    Well, we have a protocol for that --                21                   Q.    Okay.
         22        Q.    Okay.                                      11:02:48 22                   A.    And what I'm telling you is it's not typed
11:01:13 23        A.    -- yeah.                                   11:02:50 23               on there unless they're sure of it.
11:01:13 24        Q.    Is it written?                             11:02:52 24                   Q.    All right. Now you've said that many
11:01:14 25        A.    To my knowledge, yes.                      11:02:52 25               times.
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11:02:53  1           A.   I can say it again.                                     11:05:10  1   actinolite?
11:02:54  2           Q.   Okay. And so do you -- I guess I'd have                 11:05:12  2        A.       Well -- it looks more like talc than
11:02:59  3   to talk to the analyst to figure out how they do                     11:05:19  3   actinolite, you're saying?
11:03:01  4   this.                                                                11:05:20  4        Q.       Yeah.
11:03:01  5                MS. O'DELL: Object to form.                             11:05:21  5        A.       I'd have to think about that. It's
11:03:02  6                THE WITNESS: You can talk to Dr. Longo                  11:05:23  6   possible. Yeah, it's possible.
11:03:03  7           and he can also tell you.                                    11:05:25  7        Q.       Okay. And what would you be looking for?
11:03:04  8           Q.   (By Mr. Chachkes) Yeah, but he's not                    11:05:27  8        A.       Well, depending upon how much iron was in
11:03:05  9   doing the runs either, is he?                                        11:05:33  9   there. You know, you can have fibrous talc that
11:03:07 10           A.   Well, he directs the lab.                               11:05:35 10   would have, you know, some iron with it, that kind of
         11           Q.   All right.                                              11:05:39 11   thing. So it would just depend on the -- it would
11:03:08 12           A.   So it's his responsibility.                             11:05:41 12   depend on the form and look at the diffraction
11:03:10 13           Q.   Okay. And looking at Exhibit 12, the                    11:05:43 13   pattern.
11:03:18 14   EDXA, what tells you that this is tremolite?                         11:05:43 14        Q.       Is there an EDXA in isolation that you
11:03:20 15           A.   The peak sets that you have here.                       11:05:47 15   would say that's definitely talc, it is not
11:03:23 16           Q.   Okay. And when you say -- walk me through               11:05:50 16   actinolite?
11:03:26 17   that.                                                                11:05:50 17        A.       Yeah, I mean, again, if the iron -- if it
11:03:26 18           A.   The peak sets?                                          11:05:56 18   practically has no iron and you're looking at the
11:03:27 19           Q.   Yes. Why are these peak sets tremolite                  11:05:58 19   form of it and it's a plate, you go, well, yeah,
11:03:30 20   and not some other mineral?                                          11:06:01 20   that's most likely talc; you do the diffraction on
11:03:32 21           A.   Some other mineral. Well, again, until                  11:06:05 21   it, it's most likely talc.
11:03:35 22   you do the diffraction, you may not be completely                    11:06:06 22        Q.       So you brought in form, you brought in
11:03:38 23   sure of it, but the mag and the silicon ratios look                  11:06:07 23   diffraction --
11:03:42 24   correct and as well as the calcium ratios for                        11:06:08 24        A.       Right.
11:03:44 25   tremolite.                                                           11:06:08 25        Q.       -- so I'm saying let's put those aside.
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11:03:45  1                Now, there's a small iron peak there. If                11:06:10  1   Just in isolation, just looking at the EDXA, is there
11:03:47  2   that iron peak was increased significantly, it would                 11:06:13  2   an EDXA that in isolation you can say that's
11:03:50  3   be actinolite.                                                       11:06:15  3   definitely talc, it's not actinolite?
11:03:52  4           Q.   Okay. Are there any instances where your                11:06:17  4                 MS. O'DELL: Object to the form.
11:04:01  5   analysts get an EDS printout or spectra and say, ah,                 11:06:18  5                 THE WITNESS: Again, if it had no iron --
11:04:09  6   that's not an asbestos?                                              11:06:24  6        I mean, you're looking at the thing. It's not
11:04:12  7           A.   I'm sure there are, yeah, yes.                          11:06:26  7        like you're not looking at it. It's on the
11:04:14  8           Q.   Okay. Give me an instance where there's                 11:06:28  8        screen in front of you, so you can't divorce
11:04:16  9   magnesium silicon peaks. What --                                     11:06:30  9        that from it. So if I'm looking at the form of
11:04:18 10                MS. O'DELL: Object to the form.                         11:06:32 10        it, I can tell whether it's platy or whether
11:04:18 11           Q.   (By Mr. Chachkes) What were they looking                11:06:33 11        it's fibrous.
11:04:20 12   for?                                                                 11:06:35 12        Q.       (By Mr. Chachkes) Okay. Is there an
11:04:20 13                MS. O'DELL: Object to the form.                         11:06:38 13   instance -- there's an EDXA in isolation that you
11:04:21 14           Incomplete hypothetical.                                     11:06:42 14   know is definitely tremolite and not actinolite?
11:04:23 15                THE WITNESS: Well, they may be looking at               11:06:45 15                 MS. O'DELL: Object to the form.
11:04:27 16           certain types of clay minerals that may have a               11:06:47 16                 THE WITNESS: No. No, not in isolation.
11:04:31 17           mag-silicon ratio. You know, forget the calcium              11:06:49 17        Q.       (By Mr. Chachkes) Okay. Do your analysts
11:04:34 18           for a minute. But they may go, well, you know,               11:07:02 18   record peak heights?
11:04:36 19           that's not talc. They may do a diffraction on                11:07:03 19        A.       Do they record peak heights?
11:04:39 20           it and they get some diffuse pattern, something              11:07:06 20        Q.       Yes.
11:04:42 21           like that, and they go, you know, it's not that              11:07:06 21        A.       I don't think so.
11:04:44 22           so they'll move on. Essentially it's sort of a               11:07:07 22        Q.       Okay. Do they record peak areas?
11:04:48 23           screening process.                                           11:07:10 23        A.       Again, the software does that.
11:04:49 24           Q.   (By Mr. Chachkes) Okay. Are there                       11:07:12 24        Q.       The judgment that your analysts make when
11:05:00 25   instances where an EDXA looks more like talc than                    11:07:17 25   they're typing in the top of the EDXA of this
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11:07:19  1   mineral --                                                           11:09:32  1   done in one axis, pick it up and say I am sure that's
11:07:20  2        A.      Yes.                                                    11:09:36  2   an amphibole?
11:07:20  3        Q.      -- as far as the EDXA printout goes, it's               11:09:36  3        A.    Yeah, if you measure it out, if you do the
11:07:22  4   qualitative, not quantitative?                                       11:09:40  4   verification, you know, you do the measurements on
11:07:24  5        A.      Well, yeah, it is a qualitative analysis                11:09:42  5   it, it will give you the lattice parameters of an
11:07:28  6   as they're looking at this.                                          11:09:46  6   amphibole of some type or, you know, maybe a
11:07:29  7        Q.      And do you understand, when I say                       11:09:49  7   serpentine of some type if it's chrysotile. And then
11:07:31  8   qualitative, it's not based on precise numbers, it's                 11:09:52  8   you can go, yeah, this is a -- it possibly is at this
11:07:34  9   based on kind of their eyeball look at it?                           11:09:56  9   point.
11:07:36 10                MS. O'DELL: Object to the form.                         11:09:56 10        Q.    Okay. I'm not asking if it possibly is.
11:07:37 11                THE WITNESS: That's the way most, I would               11:09:58 11   I'm saying is there a one-axis diffraction pattern
11:07:40 12        say, laboratories do this.                                      11:10:01 12   that is uniquely -- strike that.
11:07:41 13        Q.      (By Mr. Chachkes) So you include a lot of               11:10:07 13        A.    Yeah.
11:07:48 14   SAED patterns for -- in your report; right?                          11:10:07 14        Q.    If I had a one-axis diffraction pattern
11:07:52 15        A.      Yes.                                                    11:10:12 15   for a phyllosilicate, there's no way you're going to
11:07:52 16        Q.      Okay. What is SAED?                                     11:10:15 16   confuse that with an amphibole?
11:07:53 17        A.      Selected area electron diffraction.                     11:10:17 17        A.    Probably not.
11:07:55 18        Q.      Can you just at a high level tell me how                11:10:19 18        Q.    Why not?
11:07:58 19   that works?                                                          11:10:20 19        A.    They're stacked layers versus what is in
11:08:00 20        A.      Tell you how it works?                                  11:10:28 20   an amphibole where you have essentially -- I don't
11:08:01 21        Q.      Yeah, just -- you know, you've got -- it's              11:10:34 21   know how to describe it. They're like railroad iron,
11:08:03 22   in the TEM, what do you do?                                          11:10:41 22   what do you call it, like railroad tracks. That's
11:08:04 23        A.      Yep. We talked about it a little bit                    11:10:44 23   how they're stacked up in an amphibole; whereas in a
11:08:07 24   before. You essentially set the microscope up to                     11:10:47 24   phyllosilicate, you've got flat planes mostly.
11:08:13 25   isolate the beam on the area of interest, and then                   11:10:50 25        Q.    Okay. If I were to hand you a one-axis
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11:08:17  1   it's very much like -- the sample is much like a                     11:10:51  1   SAED right now, you could tell me whether it was an
11:08:23  2   prism.                                                               11:10:54  2   amphibole versus a phyllosilicate?
11:08:24  3                You know how you hold a prism up in the                 11:10:56  3        A.    Probably. I don't know if I could tell
11:08:26  4   light and it breaks it all up into colors. All                       11:10:59  4   you as I sit here right now, but, you know, based on
11:08:28  5   right. So the reason that's happening is because the                 11:11:01  5   the knowledge of the planes, measuring the crystal
11:08:30  6   electrons or, in this case, the wavelength of light,                 11:11:08  6   planes, it's a good possibility you could say, yeah,
11:08:33  7   is slowed so that you get the different colors.                      11:11:10  7   it's probably an amphibole.
11:08:38  8                In this case, the electron beam goes                    11:11:11  8        Q.    Okay. Within a reasonable degree of
11:08:40  9   through the specimen and it strikes the lattice                      11:11:13  9   scientific certainty?
11:08:44 10   planes. These are the planes that make up the                        11:11:13 10        A.    Yeah, I think you could say that, but
11:08:46 11   crystal and they reflect off and they give you all of                11:11:17 11   you'd want more data on it to be able to call the
11:08:48 12   these spots, patterns. And they're specific for the                  11:11:20 12   class.
11:08:51 13   kind of material that you're looking at.                             11:11:20 13        Q.    Did you do a comprehensive review of
11:08:52 14        Q.      Okay. Can you identify a particle as                    11:11:23 14   crystalline material to determine whether there are
11:08:55 15   asbestos with SAED alone?                                            11:11:28 15   SAED patterns in one axis that look like amphiboles?
11:08:58 16                MS. O'DELL: Object to the form.                         11:11:35 16              MS. O'DELL: Object to the form.
11:08:59 17                THE WITNESS: You can get to an                          11:11:36 17              THE WITNESS: Well, I think the answer to
11:09:06 18        understanding of whether this is an amphibole,                  11:11:37 18        that is there are a number of them, and
11:09:11 19        and then from there you need the other                          11:11:42 19        depending upon the plane, the axis of the plane,
11:09:12 20        information to help make the conclusion.                        11:11:52 20        you know, you've got to do the measurements on
11:09:15 21        Q.      (By Mr. Chachkes) And can you understand                11:11:54 21        those.
11:09:20 22   if a particle is an amphibole based on an SAED                       11:11:54 22              So the answer to that is there are a
11:09:25 23   with -- in isolation that's only done with one axis?                 11:11:57 23        number of different planes; but in any one
11:09:27 24        A.      Yes, you can could that.                                11:12:00 24        sitting, again, if you get a good diffraction
11:09:29 25        Q.      Okay. So you can see an SAED that's only                11:12:04 25        pattern, you can still measure that pattern and
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11:12:08  1       come up with whether it is an amphibole.                        11:13:56  1               Did anybody at -- it's a yes or no
11:12:10  2       Q.      (By Mr. Chachkes) The original question                 11:13:59  2   question.
11:12:12  3   is whether you did a comprehensive review of minerals               11:13:59  3               Did anybody at MAS do a comprehensive
11:12:14  4   other than amphiboles, other than serpentine, to                    11:14:01  4   review to determine what I've asked?
11:12:17  5   determine whether there are one-axis SAED diffraction                         5               MS. O'DELL: Object --
11:12:21  6   patterns that you can't without more axes determine                 11:14:05  6               THE WITNESS: You'd have to ask Bill
11:12:25  7   whether it's an amphibole or another class. Did you                 11:14:07  7       Longo.
11:12:29  8   do that?                                                            11:14:07  8               MS. O'DELL: Excuse me.
11:12:29  9               MS. O'DELL: Object to -- excuse me.                     11:14:08  9               THE WITNESS: You'd have to ask Dr. Longo.
11:12:30 10               MR. CHACHKES: Let me finish my question.                11:14:08 10       Q.      (By Mr. Chachkes) Okay. Sitting here
11:12:31 11       Q.      (By Mr. Chachkes) Did you do such a                     11:14:09 11   today you don't know?
11:12:32 12   comprehensive review?                                               11:14:09 12               MS. O'DELL: Object to form.
11:12:34 13               MS. O'DELL: Objection to form. That                              13               THE WITNESS: He could give you that
11:12:35 14       wasn't the previous question. Object to the                              14       answer.
11:12:37 15       form.                                                                    15       Q.      (By Mr. Chachkes) Okay. What about
11:12:37 16               THE WITNESS: Well, I didn't do a                                 16   you --
11:12:39 17       comprehensive review.                                                    17               THE REPORTER: Wait, wait. You're talking
11:12:40 18       Q.      (By Mr. Chachkes) Okay. Did anybody do a                         18       at the same time.
11:12:41 19   comprehensive review?                                                        19               THE WITNESS: Dr. Longo. Sorry.
11:12:42 20       A.      Well --                                                 11:14:22 20       Dr. Longo.
11:12:45 21               MS. O'DELL: Object to the form.                         11:14:22 21       Q.      (By Mr. Chachkes) Okay. But you can't
11:12:46 22               THE WITNESS: -- understand -- once again,               11:14:22 22   give me the answer? I have to ask Dr. Longo?
11:12:48 23       understand that there's a huge body of                          11:14:26 23       A.      I don't know. That's my answer. Ask
11:12:53 24       literature and standard methodologies that are                  11:14:29 24   Dr. Longo.
11:12:55 25       used for identifying these classes of minerals.                 11:14:29 25       Q.      Is there a -- so there are SAED axes;
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11:13:00  1       It's well known.                                                          1   correct?
11:13:01  2               You don't have to have -- I mean, you have              11:14:38  2       A.      Yes.
11:13:04  3       to have an awareness of that there that there                   11:14:38  3       Q.      And you can take an SAED image or pattern
11:13:07  4       could be others, but focused in on these types                  11:14:44  4   on an axis or off an axis; right?
11:13:10  5       of minerals, you know, there's plenty of data to                11:14:47  5       A.      Uh-huh, yes.
11:13:15  6       be able to make a decision based on looking at                  11:14:47  6       Q.      All right. Is there an off-axis single
11:13:18  7       one plane.                                                      11:14:53  7   SAED diffraction pattern that is signature-only
11:13:20  8               For instance, chrysotile is a good                      11:14:57  8   amphiboles?
11:13:22  9       example. You can look at the diffraction                        11:14:57  9       A.      I would have to review that, but typically
11:13:24 10       pattern and see that it's streaked and right                    11:15:07 10   the answer is if you get -- if you verify the
11:13:27 11       away know that I possibly have this kind of, you                11:15:15 11   spacing, the atomic spacings, at the variance for
11:13:32 12       know, asbestiform mineral, let me look at the                   11:15:19 12   each one of the minerals, one of the -- you know,
11:13:36 13       morphology, oh, it's rolled up like a scroll.                   11:15:23 13   asbestiform minerals -- you know, they're in a group,
11:13:39 14       That's chrysotile. Oh, when I do the EDS, I've                  11:15:26 14   there's a range for actually that spacing too, so --
11:13:42 15       got practically a 1-to-1 mag-silicon ratio.                     11:15:30 15   but if you come within that spacing, then you most
11:13:47 16       Wow. You know, 99 percent sure that this is                     11:15:32 16   likely have an amphibole.
11:13:49 17       chrysotile.                                                     11:15:33 17       Q.      I wasn't asking you about most likely.
11:13:49 18       Q.      (By Mr. Chachkes) The original question                 11:15:35 18   I'm asking about conclusive, 100 percent, you know
11:13:51 19   was did anybody at MAS --                                           11:15:38 19   that's an amphibole.
11:13:52 20       A.      I answered that.                                        11:15:39 20               MS. O'DELL: Object to the form.
11:13:53 21       Q.      Okay. Let me ask --                                     11:15:40 21               THE WITNESS: I just told you.
11:13:54 22       A.      Not to cut you off --                                   11:15:41 22       Q.      (By Mr. Chachkes) Okay. You used the
         23       Q.      You just did cut me off.                                11:15:44 23   word most likely. Let me ask you a different way.
11:13:54 24       A.      -- but I already answered that.                         11:15:47 24       A.      What -- I try to answer -- you keep
11:13:55 25       Q.      Okay. Let me ask again.                                 11:15:49 25   breaking these technologies up that we're using to
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11:15:54  1   verify this, which includes morphology, the shape and                            1        Q.    Okay.
11:15:57  2   form, which includes the chemistry, the EDS, and the                   11:18:14  2        A.    So you can bring up all the academic
11:16:01  3   SAED required in the standard methods, all right.                      11:18:17  3   professors, and I will dispute, you know, a lot of
11:16:04  4   These are the things. Each one of them by                              11:18:19  4   what they do.
11:16:08  5   themselves, no.                                                        11:18:20  5        Q.    Okay. If a supremely complicated --
11:16:09  6        Q.    Okay. I'm only asking questions. I'm not                    11:18:27  6   strike that.
11:16:12  7   telling you what your report is consisting of. I'm                     11:18:27  7              If a supremely qualified mineralogist and
11:16:14  8   not telling you anything. I'm just asking questions.                   11:18:31  8   SAED expert were to tell you that one of your single
11:16:16  9   So if you could just focus on the question --                          11:18:34  9   axis diffraction patterns that you identified as
11:16:19 10        A.    I'm trying to focus on it, but you keep                     11:18:37 10   asbestos can correspond to a nonamphibole -- on a
11:16:21 11   bringing up things that don't go together. All                         11:18:43 11   theoretical basis based on the structure of the
11:16:24 12   right. They don't go together for the analysis.                        11:18:45 12   nonamphibole, sitting here today, do you have a
11:16:25 13        Q.    Okay. If I were to tell you that a career                   11:18:46 13   reason to dispute that?
11:16:36 14   academic mineralogist looked at one of your single                     11:18:47 14              MS. O'DELL: Object to the form.
11:16:40 15   axis identifications of an asbestos and said that                      11:18:49 15              THE WITNESS: Yes.
11:16:47 16   SAED diffraction pattern can correspond to many                        11:18:49 16        Q.    (By Mr. Chachkes) Okay. What is that?
11:16:52 17   different minerals, would you have reason to dispute                   11:18:50 17        A.    I just told you. I'm not going to go
11:16:55 18   that?                                                                  11:18:51 18   through the answer all over again.
11:16:55 19        A.    No.                                                         11:18:54 19        Q.    Okay. That was all practical. I'm now
11:16:56 20              MS. O'DELL: Object to the form.                             11:18:56 20   talking about theoretical.
11:16:57 21        Q.    (By Mr. Chachkes) Okay. If I brought in                     11:18:56 21        A.    Same for that one, too. Same answer.
11:16:58 22   that same mineralogist who said this single axis                       11:18:57 22        Q.    SAED patterns correspond to the lattice of
11:17:02 23   diffraction pattern that you have can correspond to                    11:19:02 23   a mineral; correct?
11:17:07 24   some nonamphibole minerals, do you have -- sitting                     11:19:03 24        A.    Correct.
11:17:11 25   here today do you have a reason to dispute that?                       11:19:03 25        Q.    Is there a nonamphibole that has a lattice
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11:17:13  1        A.    Yes.                                                        11:19:09  1   that could possibly give you a single axis
11:17:14  2        Q.    Okay. What is that reason?                                  11:19:13  2   diffraction pattern that looks like an amphibole?
11:17:14  3        A.    Well, I would have to see what the -- what                  11:19:17  3        A.    I don't know the answer to that because
11:17:18  4   they were disputing. I'd have to see the data first.                   11:19:20  4   most of them are -- they have diffraction data for
11:17:20  5   And then I would like to know the qualifications of                    11:19:24  5   all these minerals, and there will be slight
11:17:23  6   this expert and I would like to see what their                         11:19:27  6   differences between them. So, you know, I would have
11:17:25  7   quality control is in order to be able to say this                     11:19:29  7   to look at the data.
11:17:29  8   person -- especially in academia, because academia                     11:19:29  8        Q.    Okay. Can you identify -- okay, I think I
11:17:32  9   most of the time doesn't have any kind of quality                      11:19:33  9   already asked -- did I already ask you if you can
11:17:34 10   control.                                                               11:19:35 10   identify a particle with SAED alone?
11:17:34 11              So I look a little bit less on their --                     11:19:35 11        A.    Yeah.
11:17:40 12   you know, they may have been a professor in this for                   11:19:36 12        Q.    Okay. I'm not going to --
11:17:42 13   who knows how long. How long have they worked in the                   11:19:37 13        A.    Yep.
11:17:45 14   laboratory? What's their quality control? What have                    11:19:38 14        Q.    -- again.
11:17:48 15   they done? This is what I want to know.                                11:19:39 15              Did I ask whether you can distinguish
11:17:50 16        Q.    Do you --                                                   11:19:41 16   anthophyllite from talc --
11:17:51 17        A.    The analysts that we have -- so let me                      11:19:42 17        A.    Yes.
11:17:53 18   answer the question.                                                   11:19:42 18        Q.    -- SAED alone?
11:17:54 19              The analysts we have essentially go                         11:19:43 19        A.    Yes.
11:17:57 20   through a process where they are tested by NIST                        11:19:44 20        Q.    Okay. Sorry if I'm --
11:18:02 21   NVLAP. Think are tested on a quarterly basis on                        11:19:46 21        A.    That's okay.
11:18:05 22   unknowns that NIST sends to us that we have to                         11:19:46 22        Q.    Oh, I know where I am.
11:18:08 23   identify, okay.                                                        11:19:48 23              Can you distinguish anthophyllite from
11:18:10 24              So what academic professor does that?                       11:19:50 24   cummingtonite with SAED alone?
11:18:13 25   None that I know of.                                                   11:19:53 25        A.    Let's see. The answer to that is
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11:20:00  1   possibly.                                                             11:21:55  1   measured that, when you measure out for each one of
11:20:02  2        Q.     When you say possibly, can you be                         11:21:57  2   the sets or wherever it would be, there are
11:20:04  3   specific?                                                             11:21:59  3   parameters -- lattice parameters in each one of those
11:20:04  4        A.     Again, you'd have to do -- you'd have to                  11:22:03  4   zones, and that would still be tremolite.
11:20:08  5   do zone axis in a couple of different zones to tell,                  11:22:04  5           Q.   Okay. If --
11:20:11  6   and then you probably can say it's most likely. But                   11:22:06  6           A.   It would still be tremolite.
11:20:14  7   again, you'd want to do -- you'd want to do the EDS                   11:22:07  7           Q.   Okay.
11:20:17  8   and you'd, of course, look at the form of it, too.                    11:22:08  8           A.   Okay.
11:20:19  9        Q.     So how many zone axes would you need if                   11:22:08  9           Q.   Are you done?
11:20:22 10   you only had SAED to rely on to determine whether you                 11:22:09 10           A.   Yeah.
11:20:25 11   were looking at anthophyllite or cummingtonite?                       11:22:09 11           Q.   Okay. If you had an SAED pattern for a
11:20:28 12               MS. O'DELL: Object to the form.                           11:22:11 12   mineral in three separate axes and each one was
11:20:29 13               THE WITNESS: You could do -- you could                    11:22:14 13   exactly the same, could it possibly be tremolite?
11:20:31 14        use one. It depends on the pattern that you                      11:22:17 14                MS. O'DELL: Object to the form.
11:20:34 15        see. If it was more of an orthorhombic pattern,                  11:22:18 15                THE WITNESS: I don't know.
11:20:39 16        you know, most likely anthophyllite; if it was                   11:22:18 16           Q.   (By Mr. Chachkes) Wouldn't that mean it
11:20:44 17        more a monoclinic pattern, most likely                           11:22:20 17   was a symmetric lattice and that tremolite doesn't
11:20:45 18        cummingtonite.                                                   11:22:24 18   have a symmetric lattice?
11:20:45 19        Q.     (By Mr. Chachkes) Okay. Let me just show                  11:22:27 19           A.   Again, I don't know how to answer that
11:20:45 20   you what was marked yesterday as Exhibit 15.                          11:22:28 20   question.
11:20:55 21               Do you have 15? No. Here it is, I'm                       11:22:29 21           Q.   Are you aware of what the lattice of
11:20:58 22   sorry. Okay.                                                          11:22:30 22   tremolite looks like?
11:21:01 23               I'll represent to you what was -- what's                  11:22:31 23           A.   Yes. I am. It is monoclinic.
11:21:05 24   in Exhibit 15 is pulled from a textbook. Do you                       11:22:35 24           Q.   Okay. Is it perfectly symmetrical in the
11:21:08 25   recognize that as an SAED pattern in three axes?                      11:22:38 25   X, Y, and Z axes?
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11:21:10  1        A.     Yes.                                                      11:22:40  1           A.   I don't know. I'd have to look at it.
11:21:11  2        Q.     And is there any reason to believe this is                11:22:42  2           Q.   Okay. We can take a break now, if you
11:21:12  3   an incorrect three-axes SAED pattern for tremolite?                   11:22:51  3   like.
11:21:16  4               MS. O'DELL: Object to form.                               11:22:51  4           A.   Do you need a break?
11:21:17  5               THE WITNESS: I have no idea on that.                      11:22:52  5           Q.   Yeah.
11:21:18  6        What was this published in; do you know?                         11:22:54  6           A.   Sure.
11:21:20  7        Q.     (By Mr. Chachkes) It's not coming to my                   11:22:54  7                (Recess from 11:22 a.m. to 11:42 a.m.)
11:21:21  8   mind right now but --                                                 11:42:33  8           Q.   (By Mr. Chachkes) Would you agree with
11:21:22  9        A.     I need to know that.                                      11:42:52  9   the statement that the more complete the SAED pattern
         10        Q.     Okay.                                                     11:42:56 10   an analyst obtains, the more likely the analyst is to
11:21:23 11        A.     Yep. I can't make any decisions on that                   11:43:00 11   make an accurate determination of the crystal
11:21:26 12   unless I know the surrounding stuff here.                             11:43:02 12   structure?
11:21:27 13        Q.     That's fine.                                              11:43:03 13           A.   I don't know what you mean by complete.
11:21:28 14        A.     Yeah.                                                     11:43:08 14   Aside from the definition of the SAED pattern,
11:21:28 15        Q.     Sitting here today, any reason to believe                 11:43:16 15   sometimes they can be faint; they can be light. So
11:21:30 16   this is incorrect?                                                    11:43:21 16   the more defined the pattern is, I would say that
11:21:31 17               MS. O'DELL: Object to the form.                           11:43:24 17   helps.
11:21:33 18               THE WITNESS: Again --                                     11:43:24 18           Q.   Okay. When you say defined, you mean the
11:21:34 19               MS. O'DELL: He's answered your question.                  11:43:26 19   kind of the -- when you say faint and light, that's
11:21:36 20               THE WITNESS: Yep. It's hard to tell                       11:43:31 20   just a matter of how dark the dot is?
11:21:38 21        without, you know, knowing where this is from.                   11:43:32 21           A.   Yeah, well, the diffraction pattern
11:21:42 22        Q.     (By Mr. Chachkes) Okay. Is it your                        11:43:34 22   sometimes can be very -- it can be very faint, so,
11:21:44 23   understanding that tremolite can have different SAED                  11:43:38 23   you know, it just depends. So the more defined the
11:21:48 24   patterns in the three different axes?                                 11:43:43 24   pattern is, the better.
11:21:52 25        A.     Again, it could. But once again, when you                 11:43:43 25           Q.   What about the more focused the pattern,
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11:43:46  1   the better?                                                             11:46:12  1   calculations on what the gold lattice parameters are,
11:43:47  2        A.      Again, the pattern is usually going to be                  11:46:17  2   and then they will compare that to the unknown using
11:43:52  3   focused properly -- when the microscope is set up                       11:46:21  3   that particular configuration.
11:43:55  4   properly, you're going to get a good defined pattern.                   11:46:23  4        Q.    Okay. Sometimes you say diffraction
11:43:58  5   So it's mainly the ability to see all the spots there                   11:46:27  5   pattern, and just to be clear --
11:44:04  6   associated with that particular zone.                                             6        A.    Sure.
11:44:06  7        Q.      If you get a SAED pattern where the dots                   11:46:29  7        Q.    -- diffraction pattern, you're being
11:44:09  8   are unfocused, can that hamper the ability to                           11:46:32  8   synonymous with SAED?
11:44:14  9   identify the crystal?                                                   11:46:34  9        A.    Yes.
11:44:15 10                MS. O'DELL: Object to the form.                            11:46:34 10        Q.    And how do your analysts determine when
11:44:16 11                THE WITNESS: The answer to that is no.                     11:46:38 11   it's appropriate to take multiple axes for a single
11:44:18 12        Sometimes we see patterns that are smeared or                      11:46:42 12   sample under SAED?
11:44:21 13        diffuse. Again, chrysotile is a good example of                    11:46:43 13        A.    That's a good question. Typically we'll
11:44:23 14        that.                                                              11:46:46 14   do that for anthophyllite to verify that it is
11:44:24 15                But if you see a very diffuse pattern,                     11:46:50 15   anthophyllite. We'll take multiples on that.
11:44:28 16        then you may have what's more like an amorphous,                   11:46:52 16              It's not required in the standard method
11:44:31 17        not a very crystalline material, and you'll see                    11:46:55 17   to do that because typically you can do it in one
11:44:34 18        that in rings.                                                     11:46:58 18   zone for the amphiboles. But to show that it's not
11:44:35 19        Q.      (By Mr. Chachkes) Are there instances                      11:47:04 19   fibrous talc versus anthophyllite, you're essentially
11:44:36 20   where you are unable to obtain a clear SAED pattern                     11:47:08 20   going to take another one to verify it.
11:44:40 21   so your data in that scenario is inconclusive?                          11:47:10 21        Q.    Okay. For tremolite, you take one axis?
11:44:44 22                MS. O'DELL: Object to the form.                            11:47:12 22        A.    Yes, you can.
11:44:45 23                THE WITNESS: You will work to get the                      11:47:13 23        Q.    Okay. Not what -- I'm not asking about
11:44:51 24        best pattern that you can out of the structure                     11:47:15 24   what you can do. So let me put it --
11:44:52 25        that you have, so the answer to that is you                        11:47:17 25        A.    Yes.
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11:44:54  1        won't use a pattern that's not acceptable.                                   1        Q.    Okay.
11:44:57  2        Q.      (By Mr. Chachkes) Right. The question                      11:47:18  2        A.    The answer's yes.
11:44:58  3   isn't about -- so the question is -- let me ask a                       11:47:19  3        Q.    Okay. There are no SAED patterns that you
11:45:01  4   different question.                                                     11:47:23  4   created for the MDL samples that weren't produced;
11:45:01  5        A.      Okay.                                                                5   correct?
11:45:02  6        Q.      In doing the MDL samples, did you ever run                 11:47:25  6        A.    Correct.
11:45:04  7   across a case where you were unable to obtain a clear                   11:47:26  7        Q.    And I'm seeing one SAED pattern for the
11:45:09  8   SAED pattern and so the SAED was inconclusive?                          11:47:29  8   tremolite, meaning can I conclude that you've only
11:45:12  9                MS. O'DELL: Object to the form.                            11:47:32  9   taken one SAED pattern for the tremolites?
11:45:13 10                THE WITNESS: I don't know of any, no.                      11:47:34 10        A.    I would say yes to that.
11:45:14 11        Q.      (By Mr. Chachkes) Analysts can use the                     11:47:35 11        Q.    Okay. And I'm seeing two SAED patterns
11:45:18 12   information obtained from SAED to make distinctions                     11:47:39 12   for anthophyllite. Is it okay for me to conclude
11:45:22 13   in the crystal system of the lattice, for example,                      11:47:41 13   that you take only two patterns for anthophyllite?
11:45:27 14   whether it's triclinic, monoclinic, cubic, or                           11:47:45 14        A.    Most likely yes, because again, we want to
11:45:30 15   orthorhombic?                                                           11:47:48 15   be able to distinguish that from fibrous talc.
11:45:33 16        A.      Yes.                                                       11:47:52 16        Q.    Let's look at another exhibit. What
11:45:33 17        Q.      Okay. Sorry.                                               11:48:00 17   number is that? Is that like 16? Let's look at 16.
11:45:37 18        A.      I paused.                                                  11:48:08 18        A.    Okay.
11:45:38 19        Q.      Yes.                                                       11:48:08 19        Q.    Do you recognize what's been marked as
11:45:50 20                Describe how you or your analysts                          11:48:10 20   Longo Exhibit 16?
11:45:53 21   calibrate the SAED apparatus.                                           11:48:13 21        A.    Yes.
11:45:56 22        A.      The electron diffraction? Again, I'm not                   11:48:13 22        Q.    What's a diffraction verification?
11:45:59 23   an expert in that particular area, but what they                        11:48:17 23        A.    These are diffractions that have been done
11:46:02 24   typically do is they'll do a sizing based on gold, a                    11:48:21 24   on a sample that's already been analyzed, and what
11:46:08 25   film of gold, and from that they will make                              11:48:24 25   the analyst does is they go back in and they verify
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11:48:27  1   the diffraction pattern. They verify that it is, in                    11:50:18  1   4.94 to 5.46. So within that range, if your spacing
11:48:31  2   fact, whatever it was called before.                                   11:50:23  2   falls within that range, it could be grunerite.
11:48:33  3        Q.    Yeah, I see that -- do you see the date                     11:50:28  3       Q.    Now, for this verification page, you
11:48:37  4   verified down there in the lower left?                                 11:50:34  4   calculated a d-spacing of 5.23; correct?
11:48:39  5        A.    Which one are we looking at? Page 1?                        11:50:38  5       A.    Correct.
11:48:40  6        Q.    Let's look at the first page of that --                     11:50:38  6       Q.    And that falls within the range of every
          7        A.    Okay.                                                       11:50:40  7   single amphibole on that list; right?
11:48:42  8        Q.    -- that you actually see a verification.                    11:50:43  8       A.    Correct.
11:48:44  9   Most if not all of the verifications are after the                     11:50:43  9       Q.    How was it that this verifies that this is
11:48:47 10   date of your first report; is that correct?                            11:50:46 10   anthophyllite when it falls within the range of every
11:48:51 11              MS. O'DELL: At least on this page?                          11:50:48 11   amphibole in your list?
         12              THE WITNESS: Yeah.                                          11:50:49 12       A.    Well, again, this is not -- this is an
11:48:53 13              MR. CHACHKES: Well, it's a question.                        11:50:52 13   incomplete. We have to look at the EDS, and we also
11:48:54 14              THE WITNESS: I would think -- what's the                    11:50:56 14   have to look at the form again. So with that
11:48:55 15        question again?                                                   11:50:59 15   standard methodology, then we can come to a
11:48:56 16        Q.    (By Mr. Chachkes) The question is were                      11:51:02 16   conclusion that it is anthophyllite.
11:48:56 17   most if not all of your verifications for the MDL                      11:51:03 17             So it's not done in a vacuum, if you will.
11:48:59 18   samples done after the date of your first report,                      11:51:05 18   The only thing that's done in a vacuum is putting the
11:49:02 19   which was October 14?                                                  11:51:08 19   sample into the electron microscope.
11:49:03 20        A.    I don't know. I'd have to look at these                     11:51:10 20             But that is true, and you will see that
11:49:05 21   and compare that to that date.                                         11:51:13 21   for these lattice parameters.
11:49:06 22        Q.    Okay. This verification, for example, was                   11:51:18 22       Q.    Okay. For this sample that we're looking
11:49:13 23   done after the date of your first report; correct?                     11:51:22 23   at, the d-spacing indeed corresponds to grunerite,
11:49:16 24        A.    Yes.                                                        11:51:24 24   actinolyte, tremolite, crocidolite, and
11:49:16 25        Q.    Okay. And you're --                                         11:51:27 25   anthophyllite; correct?
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11:49:18  1        A.    Are you talking about the November report?                  11:51:27  1             MS. O'DELL: Object to the form.
11:49:19  2        Q.    November 14 --                                              11:51:28  2             THE WITNESS: Well, I mean, it's within
11:49:20  3        A.    Yes.                                                        11:51:29  3       the range there. Again, this is why you can't
11:49:20  4        Q.    -- I'm saying that's the first report.                      11:51:32  4       just use the one method to say, oh, I'm going to
11:49:21  5        A.    Sure.                                                       11:51:35  5       use SAED and say that it is anthophyllite.
11:49:22  6        Q.    So at the very least, you had already                       11:51:38  6             You've got to go look at the form of it;
11:49:25  7   determined by October 14 that this sample on the                       11:51:40  7       you've got to go do the EDS to prove that it is.
11:49:29  8   first page corresponded to anthophyllite before you                    11:51:44  8       So yeah.
11:49:37  9   had done the verification; correct?                                    11:51:47  9       Q.    (By Mr. Chachkes) Yeah, you would not use
11:49:44 10        A.    Well, the answer to that is yes, we                         11:51:48 10   EDS d-spacing alone to determine the mineral you're
11:49:46 11   already had determined it was anthophyllite.                           11:51:53 11   looking at because it falls under too many different
11:49:47 12        Q.    Okay. And so the verification's, what,                      11:51:55 12   minerals; correct?
11:49:49 13   kind of a belt and suspenders?                                         11:51:55 13             MS. O'DELL: Object to the form.
11:49:51 14        A.    Sure.                                                       11:51:56 14             THE WITNESS: It tells you that it is an
11:49:51 15              MS. O'DELL: Object to the form.                             11:51:58 15       amphibole, that it is in that range. And again,
11:49:52 16              THE WITNESS: Well, I mean, it's a                           11:52:00 16       we do -- let's see. There should be another one
11:49:54 17        follow-up.                                                        11:52:03 17       here of the same one. Let's see.
11:49:54 18        Q.    (By Mr. Chachkes) Okay. And I see that                      11:52:10 18             Number 301 01. If you go to the next
11:49:58 19   there's a range in the table of amphibole types up                     11:52:12 19       page, you'll see this is the same structure
11:50:02 20   there at the top; do you see that?                                     11:52:14 20       again, same structure again, the second
11:50:04 21        A.    Yes.                                                        11:52:17 21       verification. Down here you'll see the zone, it
11:50:04 22        Q.    What does the range column mean?                            11:52:20 22       was a 101, and the d-spacing for that zone are
11:50:07 23        A.    That is the actual atomic spacing for that                  11:52:25 23       shown there for each one of the angles -- you
11:50:11 24   lattice parameter. And, for instance, if you take                      11:52:27 24       know, each one of the lattice parameters, and
11:50:15 25   grunerite at the beginning there, you'll see it's                      11:52:30 25       this verifies it as anthophyllite if you were
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11:52:34  1       looking at the table, the spacing table. So                   11:54:47  1   of 21.2 in that range?
11:52:37  2       then we look at the EDS, the EDS confirms again               11:54:49  2       A.    I can't tell you that as I sit here.
11:52:40  3       the chemistry. So, you know, it's dead to right               11:54:51  3       Q.    Okay. Does the verification -- have you
11:52:45  4       anthophyllite.                                                11:55:04  4   ever done a verification and the spacing fell outside
11:52:46  5       Q.    (By Mr. Chachkes) So you're just looking                11:55:07  5   the range of what you had already identified?
11:52:47  6   at -- so I see the spacing here is 21.2?                          11:55:09  6       A.    I don't know the answer to that.
11:52:50  7       A.    Right. Now that's in -- this zone is 101                11:55:10  7       Q.    Did that happen for the MDL at all? You
11:52:54  8   zone.                                                             11:55:13  8   just don't know?
11:52:55  9       Q.    Okay.                                                   11:55:14  9       A.    I don't know.
11:52:56 10       A.    Okay. That is what it would be in the 101               11:55:14 10             MS. O'DELL: Object to the form.
11:52:58 11   zone.                                                             11:55:15 11             THE WITNESS: Yeah, I don't know.
11:52:58 12       Q.    And you don't have ranges for the 101                   11:55:16 12       Q.    (By Mr. Chachkes) If it happened, you
11:53:01 13   zone, do you?                                                     11:55:18 13   would have reported it; right?
11:53:02 14       A.    Well, there are tables for the ranges in                11:55:19 14       A.    Well, yes. I would think so, yes.
11:53:03 15   the 101 zone. We don't have one right here --                     11:55:21 15       Q.    Did you do any of these d-spacing
         16       Q.    Okay.                                                   11:55:30 16   verifications prior to the first draft, the
11:53:07 17       A.    -- but there are table ranges for that.                 11:55:33 17   November 14 version of your report?
11:53:09 18       Q.    When you say -- so for this table on the                11:55:35 18       A.    I --
11:53:12 19   second page of -- the second verification, are you                11:55:36 19             MS. O'DELL: Feel free to look through it
11:53:16 20   looking at the 5.05 down at the bottom?                           11:55:37 20       if you need to. Look at the dates.
11:53:19 21       A.    Yes.                                                    11:55:39 21             THE WITNESS: Let's see what we've got
11:53:19 22       Q.    Okay. That 5.05 falls within every single               11:55:40 22       here. Yeah, it looks like a few. Some of them
11:53:23 23   amphibole type in your table as well?                             11:55:47 23       were here. Get towards the back. They were
11:53:26 24       A.    No, no. It's a combination of the HKO,                  11:55:49 24       done in October.
11:53:29 25   the HKL, the zone that you're in what the angle is.               11:55:52 25             It looks like about half of them; half of
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11:53:32  1   There are tables for these. You know what I'm                   1 11:55:54          them were done before that first report.
11:53:35  2   saying? We had talked about that a little bit         11:55:56  2                   Q.    (By Mr. Chachkes) Can I conclude because
11:53:37  3   before. There are tables for these. And in each one 11:56:00 3                  some were done after and some were done before the
11:53:41  4   of the zones there are spacings, spacing tables, and 11:56:02 4                 first report, it wasn't material to your findings in
11:53:45  5   these fit in the anthophyllite zone.                  11:56:05  5               the first report?
11:53:48  6         Q.   When you say these, do you mean the 101    11:56:07  6                         MS. O'DELL: Object to the form.
11:53:51  7   spacing of 21.2?                                      11:56:10  7                         THE WITNESS: Are you saying the ones that
11:53:52  8         A.   Well, yes.                                 11:56:12  8                   are after that are not material? What's the
11:53:53  9         Q.   Okay. And that table's not reproduced in   11:56:14  9                   question?
11:53:55 10   this page; correct?                                   11:56:15 10                   Q.    (By Mr. Chachkes) No.
11:53:56 11         A.   No, it's not here.                         11:56:15 11                         So clearly before -- at the time of your
11:53:57 12         Q.   So in the peer-reviewed literature I would 11:56:18 12               first report there were MDL samples on which you had
11:53:59 13   find that a 101 zone spacing of 21.2 will correspond  11:56:23 13               not done a d-spacing verification; correct?
11:54:09 14   uniquely to anthophyllite?                            11:56:25 14                   A.    No, we did the verification. I mean, we
11:54:09 15         A.   The answer to that is yes.                 11:56:28 15               did -- I mean, you have to understand it was called
11:54:11 16         Q.   Okay. Can you tell me what peer-reviewed   11:56:31 16               at the time based on the data that we had for that
11:54:13 17   literature?                                           11:56:38 17               pattern, that chemistry, that morphology.
11:54:13 18         A.   Let's see. There's a large body of card    11:56:40 18                         So again, I would say that they all have
11:54:19 19   data, diffraction card data, and again, there are     11:56:46 19               been verified prior to that.
11:54:22 20   zone tables in that data, and that's where it comes   11:56:47 20                   Q.    Okay. So I want to make sure we're clear
11:54:25 21   from. That's why we do the -- that's why we do the 11:56:50 21                  here.
11:54:29 22   double verification on anthophyllite, you know,       11:56:50 22                   A.    Sure.
11:54:30 23   because it doesn't fit with talc.                     11:56:51 23                   Q.    So going back to the first verification, I
11:54:33 24         Q.   Can you tell me conclusively whether there 11:56:54 24               see -- it says date verified November 19; correct?
11:54:38 25   are other minerals that in the zone 101 have spacing  11:56:57 25                   A.    Yes.
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11:56:57  1       Q.    You're saying there was another                         11:58:22  1       A.    That was a tremolite, yes.
11:56:59  2   verification prior to November 14?                                11:58:23  2       Q.    And it was verified after the date of the
11:57:01  3       A.    Sure.                                                   11:58:25  3   first report; correct?
          4       Q.    And you did --                                          11:58:26  4       A.    11/19/2018. What is the date of the first
11:57:01  5       A.    The actual analysis, when it was actually               11:58:31  5   report?
11:57:03  6   done.                                                             11:58:33  6             MS. O'DELL: 11/14.
11:57:03  7             MR. CHACHKES: Okay. So we would actually                11:58:33  7       Q.    (By Mr. Chachkes) 11/14.
11:57:06  8       request that that other data be produced.                     11:58:34  8       A.    14. Okay. Yeah.
11:57:08  9             MS. O'DELL: It's been produced.                         11:58:34  9       Q.    So that was verified after the date of the
11:57:09 10             THE WITNESS: You already have it. It's                  11:58:37 10   first report; correct?
11:57:10 11       all in the reports.                                           11:58:38 11       A.    Uh-huh.
11:57:11 12       Q.    (By Mr. Chachkes) Okay.                                 11:58:38 12       Q.    That means that as of the date of the
11:57:12 13       A.    Yeah.                                                   11:58:40 13   first report it had not been verified?
11:57:12 14       Q.    So was there a -- why did you redo it on                11:58:41 14             MS. O'DELL: Objection to form.
11:57:16 15   11/19?                                                            11:58:43 15             MS. PARFITT: Objection.
11:57:17 16       A.    It's just part of our quality control. We               11:58:44 16             THE WITNESS: Well, let's back up just a
11:57:20 17   eventually have to do it as part of quality.                      11:58:45 17       second. The actual date of the photo, okay, the
11:57:22 18       Q.    So every single d-spacing that you did,                 11:58:48 18       diffraction photo, was 10/26/2018, okay. So it
11:57:25 19   you did twice?                                                    11:58:52 19       actually was done before that.
11:57:26 20       A.    If it was anthophyllite, yeah.                          11:58:54 20       Q.    (By Mr. Chachkes) The photo was taken --
11:57:28 21       Q.    Okay. So the tremolites were all done --                11:58:55 21       A.    The photo was taken, okay, and that's the
11:57:34 22   so let me just -- I'm looking at a page for tremolite             11:58:58 22   data. The photo is the data. So regardless of this
11:57:37 23   where the verification is 11/19.                                  11:59:02 23   right here, all right, that is the pattern, and
11:57:41 24       A.    Okay. I mean, we've got anthophyllites                  11:59:06 24   that's what it was.
11:57:45 25   that were double-verified before that report also                 11:59:10 25       Q.    You know what I'm talking about; right?
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11:57:48  1   that was on 10/31/2018.                                                     1       A.    Yeah, I know what you mean.
11:57:51  2       Q.    Right.                                                            2       Q.    The actual --
11:57:51  3       A.    There are a number of them here in the                            3       A.    I get that.
11:57:53  4   report.                                                           11:59:13  4             MS. O'DELL: Let him finish.
11:57:53  5       Q.    So --                                                   11:59:13  5       Q.    (By Mr. Chachkes) Let me just finish.
11:57:54  6       A.    Numerous.                                                         6       A.    Okay.
11:57:55  7       Q.    You're saying some of the tremolites were               11:59:14  7       Q.    Taking the photo and turning it into
11:57:57  8   double-verified?                                                  11:59:16  8   useful data in a verification that gives you
11:57:58  9             MS. O'DELL: Object to the form.                         11:59:17  9   d-spacing, you didn't do that until after the report?
11:57:59 10             THE WITNESS: No, I don't think the                      11:59:19 10             MS. O'DELL: Object to form.
11:58:00 11       tremolites were. The anthophyllites are.                      11:59:20 11             THE WITNESS: Well, again, I would have to
11:58:03 12       Q.    (By Mr. Chachkes) Okay.                                 11:59:21 12       consult with the laboratory to see, you know,
         13       A.    Yes.                                                    11:59:25 13       what actually was done here. But the data
11:58:03 14       Q.    I can show you. I just don't have the                   11:59:27 14       existed before the report was done.
11:58:04 15   page numbers.                                                     11:59:28 15       Q.    (By Mr. Chachkes) That's not my question.
11:58:05 16       A.    Okay.                                                   11:59:29 16       A.    I understand that. But understand that it
11:58:05 17       Q.    If you look at that one --                              11:59:33 17   was already verified prior to that or wouldn't have
         18       A.    All right.                                              11:59:35 18   ended up in the report as tremolite.
11:58:07 19       Q.    -- in the exhibit --                                    11:59:37 19       Q.    Was it verified with d-spacing prior to
11:58:09 20             MS. O'DELL: So let's be clear on the                    11:59:39 20   the report at 11/14?
11:58:10 21       record. Is there a sample number --                           11:59:41 21       A.    I would have to check on that, but to my
         22       Q.    (By Mr. Chachkes) You say the sample                    11:59:43 22   knowledge, it would be, yeah.
11:58:12 23   number. What's the sample number for that one?                    11:59:44 23       Q.    Okay. So this would be a second d-spacing
11:58:13 24       A.    M68503-020-002.                                         11:59:47 24   calculation that you did for the tremolite?
11:58:20 25       Q.    And that was the tremolite; correct?                    11:59:49 25             MS. O'DELL: Object to the form.
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11:59:50  1              THE WITNESS: Yes.                                        12:02:05  1                 MS. O'DELL: And it's M68503-028?
11:59:50  2       Q.     (By Mr. Chachkes) Okay.                                  12:02:10  2                 MR. CHACHKES: -028, correct.
11:59:52  3       A.     Yes.                                                     12:02:17  3                 THE WITNESS: What's the decade?
11:59:52  4       Q.     When you did the first one -- strike that.               12:02:19  4         Q.      (By Mr. Chachkes) I'm told the '70s.
11:59:58  5       A.     Okay.                                                    12:02:38  5         A.      Let's see what it says here -- 03 --
11:59:58  6       Q.     D-spacing's important to determining                               6                 MS. O'DELL: Is that it?
12:00:03  7   whether you're accurately identifying a mineral using               12:02:39  7                 THE WITNESS: Should be section 8 -- you
12:00:08  8   diffraction patterns?                                               12:02:41  8         said 028? It should be section -- well, it's
12:00:11  9              MS. O'DELL: Objection to form.                           12:02:44  9         section 8 in ours. I'm not sure what it is in
12:00:12 10              THE WITNESS: It's part of the standard                   12:02:47 10         here.
12:00:13 11       methodology.                                                    12:02:50 11                 MS. O'DELL: Here we go.
12:00:14 12       Q.     (By Mr. Chachkes) Is it an important                     12:02:51 12                 THE WITNESS: Section 8. Okay. There we
12:00:15 13   part?                                                               12:03:07 13         go.
12:00:15 14              MS. O'DELL: Objection to form.                           12:03:08 14         Q.      (By Mr. Chachkes) Okay. Are you there?
12:00:16 15              THE WITNESS: Well, I would think that if                 12:03:11 15         A.      Yes.
12:00:17 16       you wanted the answer that, again, is it part of                12:03:11 16         Q.      Okay. So it's anthophyllite, so you would
12:00:22 17       the methodology, a lot of standards use that, so                12:03:13 17   expect two diffraction patterns; correct? Can you
12:00:25 18       yes.                                                            12:03:19 18   see two diffraction patterns?
12:00:26 19       Q.     (By Mr. Chachkes) Okay. Your methodology                 12:03:21 19         A.      In this, there may be just one here.
12:00:29 20   of -- that you've described today for how you did                   12:03:24 20   There may be two on the verification, but let's see
12:00:33 21   SAED -- strike that.                                                12:03:26 21   if there is. Let's see.
12:00:37 22       A.     Good.                                                    12:03:31 22                 41391. Yes. There's two of them.
12:00:37 23       Q.     Let's look at a specific section from your               12:03:32 23         Q.      Why did you say there may be just one?
12:00:44 24   report. And so you -- yes.                                          12:03:34 24         A.      Oh, well, I was thinking the -- I was
12:00:53 25              This is sample M68503-208 -- go slow                     12:03:37 25   thinking anything else but anthophyllite. But
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12:01:00  1   here -- -028. Sorry. It's page 585 of the version                   12:03:40  1   they're both here.
12:01:07  2   of the January 15 report that was produced to us.                   12:03:41  2         Q.      So for anthophyllite you always expect two
12:01:12  3   And plaintiffs' counsel --                                          12:03:43  3   patterns in your report; correct?
12:01:13  4              MS. O'DELL: I didn't catch that number.                  12:03:45  4         A.      There should be, yes.
12:01:15  5       Excuse me. What was it?                                         12:03:45  5         Q.      Okay. Now, looking at these diffraction
12:01:16  6              MR. CHACHKES: It was M68503-028.                         12:03:49  6   patterns, is there -- for this single sample that
12:01:23  7              MS. O'DELL: What's the page of the                       12:03:54  7   we're looking at, can you use just those diffraction
12:01:27  8       report?                                                         12:03:58  8   patterns to tell whether or not it's cummingtonite as
          9              MR. CHACHKES: 585 of the version produced                12:04:05  9   an option?
12:01:27 10       to us. And you brought us versions separated by                 12:04:06 10                 MS. O'DELL: Object to the form.
12:01:27 11       decades, so you can find it in the 1970s                        12:04:21 11                 THE WITNESS: What's the question again?
12:01:30 12       notebook. Okay.                                                 12:04:23 12         Q.      (By Mr. Chachkes) So can you tell from
12:01:36 13       Q.     (By Mr. Chachkes) And let's mark this as                 12:04:25 13   the two diffraction patterns that you have for sample
12:01:38 14   a separate exhibit just so you can have it in front                 12:04:28 14   M68503-028 whether this is anthophyllite versus
12:01:40 15   of you without a huge binder.                                       12:04:35 15   cummingtonite, just focusing on the diffraction
         16              MS. O'DELL: It's --                                      12:04:37 16   patterns?
12:01:44 17              MR. CHACHKES: You want to do it in the                   12:04:38 17         A.      No.
12:01:46 18       binder? That's fine. If you can locate it, I                    12:04:38 18         Q.      And why not?
12:01:50 19       don't care.                                                     12:04:39 19         A.      Well, they can have a similar diffraction
12:01:50 20              MS. O'DELL: I just don't want -- if he                   12:04:42 20   pattern if this looks like -- this looks like an
12:01:51 21       needs to look at any other data, I want it to be                12:04:47 21   orthorhombic pattern, just looking at it. So the
12:01:54 22       available to him. You're welcome to hand him                    12:04:54 22   cummingtonite is going to have more of a monoclinic
12:01:55 23       the exhibit, but I want to find it as well.                     12:04:56 23   pattern.
12:01:56 24              MR. CHACHKES: If you're going to find it,                12:04:56 24         Q.      But you answered no. Why did you answer
12:01:57 25       it's just easy enough to do it that way.                        12:04:58 25   no?
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          1       A.    What --                                               1   12:07:36      the standards that you look at, the aspect ratio
12:05:00  2        Q.    You said no to my question.                12:07:41  2                 is -- if you're talking OSHA, the aspect ratio is
12:05:01  3        A.    What was the question again?               12:07:44  3                 3-to-1. If you're talking AHERA, EPA, the aspect
12:05:02  4        Q.    Can you tell whether -- from just the EDS  12:07:48  4                 ratio is 5-to-1. If you're talking ISO, the ratio is
12:05:06  5   patterns whether this is cummingtonite or             12:07:53  5                 5-to-1. If you're talking ASTM, the ratio is 5-to-1.
12:05:07  6   anthophyllite?                                        12:07:57  6                 So we go by 5-to-1, yeah.
12:05:07  7        A.    Well, again, the answer is still no.       12:07:59  7                      Q.    Am I correct in concluding that every time
12:05:16  8        Q.    I'm sorry, let me ask the question again   12:08:04  8                 in your expert report you use the word asbestos or
12:05:18  9   because I'm told by my associate that I misspoke.     12:08:06  9                 asbestiform, you're -- among the other qualifications
12:05:23 10              Can you tell from the diffraction patterns 12:08:11 10                 you said it's got at least a 5-to-1 ratio?
12:05:28 11   alone for sample M68503-028 whether this is           12:08:13 11                      A.    It should, yes.
12:05:37 12   anthophyllite or cummingtonite?                       12:08:14 12                      Q.    Okay. What about at least a 3-to-1 ratio?
12:05:39 13        A.    I think I just answered that twice.        12:08:16 13                      A.    And again, that's an OSHA. We're looking
12:05:41 14        Q.    Okay. And the answer was no?               12:08:20 14                 at 5-to-1. OSHA will call it at that. They will
12:05:42 15        A.    Yeah. I mean, it appears to be an          12:08:25 15                 call it asbestos at that ratio.
12:05:44 16   orthorhombic pattern.                                 12:08:29 16                            So but in all of our reporting we're at
12:05:47 17        Q.    Okay. What is the definition of            12:08:33 17                 5-to-1. So we do see 3-to-1 structures, and as far
12:05:53 18   asbestiform?                                          12:08:39 18                 as the body's concerned, it's going to treat the
12:05:54 19        A.    Well, it actually means asbestos-like,     12:08:41 19                 3-to-1 to 5-to-1 probably in the same manner. So
12:05:59 20   that's what the word means, like asbestos.            12:08:46 20                 I've always testified that way. The structures that
12:06:01 21        Q.    So what is asbestos?                       12:08:49 21                 it encounters, regardless of the aspect ratio, have
12:06:03 22        A.    Well, the classic definition of            12:08:53 22                 to be dealt with in the body.
12:06:09 23   asbestiform would be a structure that is 1/2 a micron 12:08:54 23                      Q.    For the purposes of your report, did you
12:06:13 24   in size with substantially parallel sides. Some       12:08:56 24                 count a 3-to-1 as a fiber, an asbestos fiber?
12:06:18 25   literature adds the stipulations of tensile strength  12:08:59 25                      A.    Not that I'm aware of.
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12:06:24  1   and all of that kind of thing, and most of them,                    12:09:02  1        Q.    Okay. Let me show you some testimony from
12:06:27  2   those definitions, are sort of on a geological macro                12:09:06  2   Dr. Longo from -- oh. Well, no, let's do this.
12:06:31  3   scale. That's what they're meant to describe.                       12:09:17  3              Can we mark this as the next exhibit.
12:06:33  4       Q.    Okay. For your purposes, when you use the                           4              (Defendants' Exhibit 2 was marked for
12:06:35  5   word asbestos or asbestiform in your report, you're                 12:09:37  5        identification.)
12:06:38  6   saying -- are you saying anything more than 1/2 a                   12:09:37  6        Q.    (By Mr. Chachkes) Okay. Can you turn to
12:06:42  7   micron in size, substantially parallel sides?                       12:09:44  7   page 3021. This is the deposition -- this is an
12:06:45  8       A.    Yes. I mean, it's a regulated definition.                 12:09:51  8   examination of Dr. Longo under oath.
12:06:51  9       Q.    Yeah, but what I'm asking is if -- is                     12:09:55  9              Can you turn to page 3021? It's the very
12:06:54 10   there any other qualification in your definition when               12:09:59 10   last sheet. I'm going to read you a question and
12:06:57 11   you use the phrase -- the words asbestiform or                      12:10:01 11   answer. You can following along. It starts at
12:07:00 12   asbestos in your report?                                            12:10:04 12   line 4.
12:07:01 13       A.    Well, we're going by the -- again, by the                 12:10:05 13              Line 4, My question to you, Dr. Longo, is
12:07:04 14   classic definition of what I just described. Then                   12:10:07 14   that transmission electron microscopy cannot tell you
12:07:09 15   you go in and you do the diffraction, the EDS, and                  12:10:11 15   if you identify a single fiber whether or not that
12:07:13 16   the form of it of course -- you know, and then you                  12:10:14 16   particle is asbestiform or nonasbestiform; correct?
12:07:16 17   make a decision on that. But as far as, you know,                   12:10:18 17              Answer: That is correct.
12:07:18 18   using that term, you know, it's mainly based on that                12:10:21 18              Do you agree with that testimony?
12:07:22 19   definition.                                                         12:10:24 19              MS. O'DELL: Object to the form.
12:07:23 20       Q.    Substantially parallel sides, 1/2 a                       12:10:25 20              THE WITNESS: I don't -- I haven't read
12:07:26 21   micron?                                                             12:10:27 21        this, so I don't know what preceded the question
12:07:26 22       A.    1/2 a micron, yeah, yeah.                                 12:10:30 22        there. I see what it says. So I don't have an
12:07:29 23       Q.    Okay. What about aspect ratio, is that                    12:10:35 23        opinion on that.
12:07:30 24   part of your definition?                                            12:10:35 24        Q.    (By Mr. Chachkes) Okay. Putting aside
12:07:31 25       A.    Well, again, it depends on the -- some of                 12:10:38 25   the transcript, I'm just going to ask you the
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12:10:40  1   question independent of whatever this means in the                       12:13:36  1   could be correct?
12:10:42  2   transcript.                                                              12:13:36  2          A.   I don't know.
12:10:44  3                 Do you, Dr. Rigler, believe that                           12:13:38  3          Q.   Is there any peer-reviewed literature or
12:10:49  4   transmission electron microscopy cannot tell you if                      12:13:41  4   regulatory material that says that TEM cannot tell
12:10:51  5   you identify a single fiber whether or not that                          12:13:47  5   you if you identify a single fiber whether or not
12:10:54  6   particle is asbestiform or nonasbestiform?                               12:13:49  6   that particle is asbestiform or nonasbestiform?
12:10:56  7                 MS. O'DELL: Object to form.                                12:13:52  7          A.   I mean, I can't think of any as I sit
12:10:58  8                 THE WITNESS: Again, if they're including                   12:13:56  8   here. I can't think of any.
12:11:05  9        things like tensile strength, flexibility, that                     12:13:57  9          Q.   Okay. Is there any regulatory material or
12:11:09 10        type of thing, you can't do that by TEM. So as                      12:14:00 10   peer-reviewed material that says the opposite, that
12:11:15 11        far as the form goes, like asbestos, having a                       12:14:03 11   TEM can tell you that if you identify a single fiber,
12:11:18 12        form of asbestos which is fibrous, the                              12:14:07 12   whether or not that particle is asbestiform or
12:11:21 13        description of it, you definitely can.                              12:14:09 13   nonasbestiform?
12:11:23 14                 So but again, I don't know what the                        12:14:11 14               MS. O'DELL: Object to the form.
12:11:25 15        context of this is, so, you know, I don't have                      12:14:13 15               THE WITNESS: You're saying that it is not
12:11:30 16        an opinion on that in reference to this.                            12:14:24 16          asbestiform?
12:11:32 17        Q.       (By Mr. Chachkes) Okay. Have you ever                      12:14:25 17          Q.   (By Mr. Chachkes) So what I'm saying is,
12:11:33 18   known Dr. Longo to use a geologic definition of                          12:14:28 18   is there any peer-reviewed literature or regulatory
12:11:37 19   asbestos?                                                                12:14:30 19   material that confirms that TEM can tell you if you
12:11:37 20        A.       No.                                                        12:14:35 20   identify a single fiber whether or not that particle
12:11:38 21        Q.       Okay. And so when he testified that a TEM                  12:14:38 21   is asbestiform or nonasbestiform?
12:11:42 22   cannot tell you if you identify a single fiber                           12:14:42 22          A.   Well, there are -- yes. I mean, there are
12:11:45 23   whether or not that particle is asbestiform or                           12:14:45 23   a number of regulatory documents that say that it
12:11:47 24   nonasbestiform, you understand that to mean his                          12:14:48 24   can.
12:11:50 25   regulatory definition; correct?                                          12:14:48 25          Q.   Okay. Is 22262 one of those documents?
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12:11:52  1                 MS. O'DELL: Excuse me. Object to the                       12:14:52  1          A.   I would have to -- again, I would want to
12:11:53  2        form. Doesn't speak to the context.                                 12:14:55  2   review 22262 again to look at that before I make that
12:11:56  3                 You may answer.                                            12:14:59  3   answer.
12:11:57  4                 THE WITNESS: Can you restate?                              12:14:59  4          Q.   Well, you're using 22262 in this MDL case;
12:12:00  5                 MR. CHACHKES: Do you mind reading it                                 5   right?
12:12:02  6        back.                                                               12:15:04  6          A.   Yeah. I just need to review it again.
12:12:05  7                 (The record was read by the reporter.)                     12:15:06  7          Q.   And you use TEM to identify whether a
12:12:44  8                 THE WITNESS: Well, I mean, it would be                     12:15:08  8   single fiber is or is not asbestiform in this case;
12:12:47  9        based on the regulatory definition. So, I mean,                     12:15:11  9   right?
12:12:52 10        that's all I can say about that.                                    12:15:11 10               MS. O'DELL: Object to the form.
12:12:55 11                 Again, I don't know what the context was                   12:15:12 11               THE WITNESS: Yes.
12:12:57 12        in this. I can't speak for Dr. Longo. So                            12:15:12 12          Q.   (By Mr. Chachkes) And that was pursuant
12:13:02 13        that's the best answer I can give.                                  12:15:13 13   to 22262; correct?
12:13:04 14        Q.       (By Mr. Chachkes) Is there any world in                    12:15:15 14          A.   Well, no, it was not just the 22262.
12:13:05 15   which it's correct to say that under your regulatory                     12:15:18 15   There were the other methods that were there, too.
12:13:08 16   definition a TEM cannot tell you if you identify a                                16          Q.   Okay.
12:13:11 17   single fiber whether or not that particle is                             12:15:21 17          A.   Yeah.
12:13:14 18   asbestiform or nonasbestiform?                                           12:15:21 18          Q.   Did you follow the 22262 protocol for TEM?
12:13:15 19                 MS. O'DELL: Object to the form.                            12:15:25 19          A.   To my knowledge, we did. And that also
12:13:17 20                 THE WITNESS: It's such a broad question                    12:15:31 20   is -- is also the same type of protocol that is in
12:13:22 21        about that, I don't know quite how to answer it,                    12:15:34 21   the ASTM and also the EPA methods. So yeah.
12:13:26 22        other than the way that I've already answered                       12:15:39 22          Q.   Does 22262 expressly say you can use TEM
12:13:28 23        it. Because when you say in any world, I mean,                      12:15:43 23   to identify whether or not a particle is asbestiform
12:13:32 24        it's very broad. Broad question.                                    12:15:47 24   or nonasbestiform?
12:13:34 25        Q.       (By Mr. Chachkes) Is there any way that                    12:15:49 25          A.   Again, I would like to review that just to
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12:15:53  1   be able to verify that it says -- actually says that.                   12:18:14  1                MS. O'DELL: Object to the form.
12:15:58  2        Q.     You were involved in many more reports                      12:18:16  2                THE WITNESS: Could you just restate that?
12:16:19  3   concerning J&J talc other than the MDL reports;                         12:18:27  3                MR. CHACHKES: Do you mind reading that
12:16:23  4   right?                                                                  12:18:29  4        back.
12:16:24  5               MS. O'DELL: Object to the form.                             12:18:29  5                THE WITNESS: I know she can read it back,
12:16:25  6               THE WITNESS: Some other reports.                            12:18:31  6        but can you restate it another way?
12:16:27  7        Q.     (By Mr. Chachkes) So those were bottles                     12:18:32  7        Q.      (By Mr. Chachkes) It's going to be read
12:16:27  8   that were not -- those are different bottles, not the                   12:18:33  8   back. Sorry.
12:16:29  9   MDL bottles?                                                            12:18:34  9                MS. O'DELL: And if you still need that
12:16:30 10               MS. O'DELL: Object to the form.                             12:18:36 10        question rephrased, you may --
12:16:31 11               THE WITNESS: They may have been, yes.                       12:18:37 11                THE WITNESS: That would be nice.
12:16:32 12        Q.     (By Mr. Chachkes) You didn't issue any                      12:18:38 12                MS. O'DELL: You may ask that.
12:16:34 13   other reports on the bottles at issue in this case,                     12:18:40 13                THE WITNESS: I'd like it to be rephrased.
12:16:37 14   have you?                                                               12:18:42 14                MR. CHACHKES: As long as we keep talking,
12:16:38 15               MS. O'DELL: Object to the form.                             12:18:44 15        she keeps typing.
12:16:39 16               THE WITNESS: Again, I don't recall.                         12:18:48 16                (The record was read by the reporter.)
12:16:42 17        Q.     (By Mr. Chachkes) Are you aware that in                     12:19:12 17                MS. O'DELL: Object to the form.
12:16:46 18   the old reports the majority of particles you                           12:19:14 18                THE WITNESS: Rephrase.
12:16:50 19   identified were fibers, and in this MDL the majority                    12:19:15 19        Q.      (By Mr. Chachkes) Would you expect that
12:16:53 20   of particles you identified were bundles; are you                       12:19:18 20   your fiber-to-bundle ratio for the Vermont samples
12:16:56 21   aware of that?                                                          12:19:22 21   from your old reports would be reproducible in
12:16:57 22        A.     I'd have to look back at the reports to                     12:19:29 22   analyzing another set of bottles like the set of
12:16:59 23   make that conclusion.                                                   12:19:32 23   bottles in the MDL?
12:17:01 24        Q.     Okay. Given that the old reports and the                    12:19:33 24                MS. O'DELL: Object to the form.
12:17:07 25   new reports are both on J&J bottles, would you expect                   12:19:36 25        Q.      (By Mr. Chachkes) From the same mine?
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12:17:11  1   the same fiber-to-bundle ratio in the two separate                      12:19:37  1                MS. O'DELL: Object to the form.
12:17:16  2   sets of reports?                                                        12:19:38  2                THE WITNESS: You know, I'm not a
12:17:17  3               MS. O'DELL: Object to form.                                 12:19:39  3        geologist. But once again, the -- you would
12:17:18  4               THE WITNESS: Not necessarily.                               12:19:45  4        have -- I would expect some variation. I would
12:17:18  5        Q.     (By Mr. Chachkes) Why not?                                  12:19:48  5        expect some variation.
12:17:19  6        A.     You get variation depending upon where the                  12:19:49  6        Q.      (By Mr. Chachkes) When you say some
12:17:22  7   material was mined and combined.                                        12:19:50  7   variation, can you quantify?
12:17:25  8        Q.     For a -- if you isolate a single mine,                      12:19:51  8        A.      No. No. But I would expect because the
12:17:30  9   let's say, just Vermont --                                              12:19:55  9   materials out of the ground are, you know --
12:17:31 10        A.     Okay.                                                       12:19:59 10   depending upon the way they have been mixed, ground,
12:17:31 11        Q.     -- would you expect the old reports, the                    12:20:02 11   mined, all of that, you could have some variation in
12:17:35 12   fiber-to-bundle ratio, to match the MDL report?                         12:20:06 12   that. Whether they were using a specific kind of
12:17:38 13               MS. O'DELL: Object to the form.                             12:20:09 13   flotation process at one time versus another, all of
12:17:39 14               THE WITNESS: I would expect that they may                   12:20:12 14   that kind of thing, you could get some variation.
12:17:47 15        follow the same kinds of trends, you know, as                      12:20:15 15        Q.      Okay. Is it your position that the
12:17:51 16        far as aspect ratio, that type of thing, yeah.                     12:20:19 16   modified Blount TEM method you employed in your
12:17:53 17        Q.     (By Mr. Chachkes) But what about the                        12:20:24 17   March 2018 report is materially identical to ISO
12:17:55 18   fiber-to-bundle ratio?                                                  12:20:28 18   22262?
12:17:56 19        A.     Again, I'd have to look at that. I can't                    12:20:29 19        A.      It is substantially the same.
12:17:59 20   make a conclusion on that without looking at it.                        12:20:35 20        Q.      Is it materially the same?
12:18:01 21        Q.     Okay. So sitting here today you can't                       12:20:36 21        A.      Substantially the same. If you're saying
12:18:05 22   tell me if you would expect a certain degree of                         12:20:39 22   exactly the same, is that what you're asking?
12:18:08 23   reproducibility for the Vermont mine bottles from the                   12:20:41 23        Q.      Well, let's do that. Is it exactly the
12:18:12 24   old reports as compared to the MDL bottles in this                      12:20:44 24   same?
12:18:14 25   report?                                                                 12:20:44 25        A.      Okay. I'd say substantially the same.
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12:20:46  1       Q.    Okay. What degree do they differ?                        12:22:49  1         Q.    What's the largest width a tremolite
12:20:50  2   What ways do they differ?                                          12:22:52  2   particle can have and still be characterized as a
12:20:50  3       A.    There may be some variation, slight                      12:22:56  3   fiber under TEM? Same answer?
12:20:52  4   variation in the densities, the heavy density liquid.              12:22:58  4         A.    Yeah.
12:20:55  5       Q.    Any other variation?                                     12:22:58  5         Q.    Okay. Are all of the fibers that you've
12:20:56  6       A.    I can't think of any right off the bat.                  12:23:05  6   identified in your reports as asbestos or asbestiform
12:20:59  7       Q.    What's the average width of a tremolite                  12:23:11  7   formed in the fibrous crystalline habit?
12:21:02  8   fiber under TEM?                                                   12:23:14  8         A.    Originally, you know, looking at the
12:21:03  9       A.    That varies depending on the size.                       12:23:18  9   structures, we get into that question of them being
12:21:05 10       Q.    And when you say depending on the size,                  12:23:22 10   formed in a crystalline habit. So that is a growth
12:21:09 11   what do you mean by that?                                          12:23:29 11   mode for the production of the fibrils; but also, if
12:21:10 12       A.    Well, I mean, it depends. It varies. It                  12:23:34 12   you -- how do you want to say it?
12:21:12 13   can be 1/10 of a micron and up.                                    12:23:41 13               If massive tremolite, for instance, is
12:21:14 14       Q.    So there's no -- in the published                        12:23:46 14   milled a certain way, it can break in cleavage planes
12:21:21 15   literature there's no average width of a tremolite                 12:23:51 15   that will make it into the fibrils that are, you
12:21:22 16   fiber?                                                             12:23:56 16   know, regulated type fibrils. Sure, you'll get
12:21:23 17             MS. O'DELL: Object to the form.                          12:23:59 17   cleavage fragments, ones that appear triangular and,
12:21:24 18             THE WITNESS: Oh, gosh. I don't know.                     12:24:04 18   you know, different kinds of shapes, but you will
12:21:32 19       There may be. But as far as there being an                     12:24:06 19   produce these other kind of fibrils too that will
12:21:36 20       arrange width, again, it depends on how it's                   12:24:09 20   meet the definition.
12:21:38 21       been mined and milled and processed.                           12:24:10 21         Q.    Okay. So a mineral that has a
12:21:41 22       Q.    (By Mr. Chachkes) Is there an average                    12:24:18 22   nonregulated and a regulated version can be connected
12:21:42 23   width of an anthophyllite fiber under TEM?                         12:24:23 23   in the cleavage plane but can be broken up such that
12:21:44 24       A.    Same answer.                                             12:24:27 24   it would become in your mind a regulated asbestos
12:21:45 25       Q.    What's the largest width an anthophyllite                12:24:29 25   fiber?
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12:21:48  1   particle can have and still be characterized as a                  12:24:30  1               MS. O'DELL: Object to the form.
12:21:51  2   fiber under a TEM?                                                 12:24:31  2               THE WITNESS: Well, this does happen.
12:21:52  3       A.    As far -- as long as there are bundled                   12:24:35  3         This does happen. And there's a recent
12:21:59  4   fibrils in there, you know, it could be pretty large.              12:24:40  4         publication for -- I think it's amosite,
12:22:03  5       Q.    Well, the question's really what's the                   12:24:45  5         grunerite, that shows this happens.
12:22:05  6   largest width an anthophyllite particle can have and               12:24:48  6         Q.    (By Mr. Chachkes) Okay. What's the
12:22:08  7   still be characterized as a fiber?                                 12:24:49  7   publication you're citing now?
12:22:10  8       A.    Well, if it has the aspect ratio, it will                12:24:50  8         A.    It's a 2019. It's a recent publication.
12:22:13  9   still be -- it can be pretty large. It will still be               12:24:54  9         Q.    Can you tell me the name of it?
12:22:15 10   considered as a fiber by TEM.                                      12:24:55 10         A.    It's by Germine and Puffer, I believe it
12:22:17 11       Q.    Okay. And so you don't have an upper                     12:24:59 11   is.
12:22:19 12   boundary by which you'll no longer say that's an                   12:25:00 12         Q.    And you don't cite that in your report, do
12:22:23 13   anthophyllite fiber?                                               12:25:02 13   you?
12:22:25 14             MS. O'DELL: Object to the form.                          12:25:02 14         A.    Excuse me?
12:22:26 15       Q.    (By Mr. Chachkes) The width, I'm talking                 12:25:03 15         Q.    You don't cite that in your report --
12:22:27 16   about.                                                             12:25:04 16         A.    No, no. That's a recent publication.
12:22:27 17       A.    On a width. Well, again, it's got to meet                12:25:06 17         Q.    And who are Germain and Puffer?
12:22:30 18   the aspect ratio.                                                  12:25:09 18         A.    They're a couple of researchers, I
12:22:31 19       Q.    But any time it meets the aspect ratio, it               12:25:11 19   believe, at UC Cal.
12:22:34 20   doesn't matter how wide it is, you can still                       12:25:12 20         Q.    Do you know who funded their research?
12:22:37 21   characterize it as an anthophyllite particle?                      12:25:15 21         A.    I think the university did.
12:22:38 22       A.    Well, I mean, when you go from the TEM to                12:25:16 22         Q.    Okay. So am I correct in understanding
12:22:41 23   the PLM scale, you're going orders of magnitude in                 12:25:20 23   your testimony that not everything you've identified
12:22:44 24   size, and these are called fibrils. So, you know,                  12:25:23 24   as asbestos and asbestiform in your report was formed
12:22:47 25   they can be pretty darn large.                                     12:25:28 25   in the -- necessarily formed in the crystalline
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12:25:31  1   habit?                                                            12:27:35  1   samples you've reported on for TEM that is somewhere
12:25:31  2             MS. O'DELL: Object to the form.                         12:27:39  2   in your laboratory, like an electronic file that's
12:25:33  3             THE WITNESS: Well, again, it's not part                 12:27:41  3   not been produced, not in paper form for us?
12:25:34  4       of the definition, that it be in the crystalline              12:27:44  4         A.   Not that I know of, no.
12:25:37  5       habit. The definition has the parameters that                 12:27:45  5         Q.   Was there any data generated in connection
12:25:40  6       we discussed already. If it is in that form,                  12:27:48  6   with the TEM analysis in this case that was thrown
12:25:45  7       it's going to be classified like that.                        12:27:53  7   away or deleted?
12:25:48  8       Q.    (By Mr. Chachkes) If something is formed                12:27:54  8         A.   No.
12:25:53  9   in the crystalline habit and has an aspect ratio                  12:27:54  9         Q.   I'm moving on to a new topic. It's
12:25:56 10   under 5-to-1, would you call it regulated asbestos?               12:27:59 10   12:30ish. I'm happy to keep going. It would be a
12:25:59 11       A.    Well, if it's 3-to-1, OSHA would.                       12:28:02 11   good breaking point but --
12:26:02 12       Q.    If something was formed in the fibrous                  12:28:04 12         A.   I'm good to go. We can go.
12:26:04 13   crystalline habit and was in a 2-to-1 aspect ratio,               12:28:06 13         Q.   Okay. I mean, we're going to have a lunch
12:26:08 14   would you call it asbestos?                                       12:28:08 14   and we're going to come back, so it's not like we're
12:26:10 15       A.    That wouldn't meet the definition.                      12:28:11 15   going to finish before lunch.
12:26:12 16       Q.    Okay. Does MAS have a protocol in place                 12:28:13 16         A.   Oh. Oh, well.
12:26:18 17   for describing the dimensions of fibers under a TEM?              12:28:13 17              MS. O'DELL: It's up to you, Doctor. If
12:26:22 18       A.    Yes.                                                    12:28:15 18         you want to go a little longer --
12:26:22 19       Q.    Is it written?                                          12:28:16 19              THE WITNESS: We can take a break if you
12:26:24 20       A.    Yes, it's in accordance with the standard               12:28:16 20         want to take a break.
12:26:26 21   methods, all of these standard methods we've                      12:28:17 21              MS. PARFITT: It's up to you.
12:26:28 22   discussed.                                                        12:28:18 22              MS. O'DELL: It's really up to you.
12:26:29 23       Q.    Okay. So your written protocol for                      12:28:21 23              THE WITNESS: Okay. That's good. Break.
12:26:37 24   identifying what's asbestos or not under a TEM is                 12:28:22 24              (Lunch recess from 12:28 p.m. to 1:38 p.m.)
12:26:39 25   just basically a repeat of the regulations?                       13:38:49 25         Q.   (By Mr. Chachkes) Good afternoon.
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12:26:41  1       A.    Yes.                                                    13:39:27  1         A.   Good afternoon.
12:26:42  2       Q.    Okay. No change whatsoever --                           13:39:27  2         Q.   Am I correct that you are not going to
12:26:44  3       A.    Well, I mean, it's -- it's in accordance                13:39:30  3   testify about the PLM results in your report?
12:26:49  4   with the regulation.                                              13:39:34  4         A.   That's correct.
12:26:50  5       Q.    Okay. What form is it in? Is it like a                  13:39:34  5         Q.   Okay. I'll skip PLM questioning because
12:26:55  6   piece of paper on a wall so TEM scientists can look               13:39:38  6   of that.
12:26:57  7   at it? Is it an email? What it is?                                13:39:38  7              Am I correct that you are not going to
12:26:59  8             MS. O'DELL: Object to the form.                         13:39:40  8   testify about J3 results in your report?
12:27:00  9             THE WITNESS: It's a protocol. We have a                 13:39:43  9         A.   Dr. Longo will testify on that.
12:27:02 10       protocol that the analysts have to abide by.                  13:39:45 10         Q.   Okay. Not you; right?
12:27:05 11       Q.    (By Mr. Chachkes) Just physically, is it                13:39:47 11         A.   Correct.
12:27:07 12   a piece of paper that analysts memorize --                        13:39:47 12         Q.   Okay. So I'm going to skip questions on
12:27:10 13       A.    It's a document, yeah.                                  13:39:50 13   J3.
12:27:11 14       Q.    Okay. Do the analysts have it near                      13:39:51 14              Let me just ask one question, though. Why
12:27:13 15   them --                                                           13:39:54 15   did MAS use J3?
12:27:14 16       A.    It's a standard operating procedure we                  13:39:57 16         A.   MAS used J3 to do XRD analysis. MAS
12:27:16 17   have.                                                             13:40:03 17   doesn't have XRD capabilities.
12:27:16 18       Q.    Okay. So we would ask that that be                      13:40:05 18         Q.   But they did some other things beyond XRD;
12:27:18 19   produced.                                                         13:40:08 19   right?
12:27:19 20             Does MAS have a protocol in place for                   13:40:09 20         A.   J3?
12:27:22 21   describing the dimensions of fibers under TEM, or is                       21         Q.   Yeah.
12:27:26 22   that the same answer?                                             13:40:09 22         A.   Yes.
12:27:27 23       A.    Same answer.                                            13:40:10 23         Q.   Okay. Why did they do those things?
12:27:27 24       Q.    Same, okay.                                             13:40:13 24         A.   To my knowledge, it was to help verify
12:27:33 25             Is there additional data concerning the                 13:40:17 25   results.
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13:40:18  1       Q.    Verify results of things that were                    1  13:42:27          A.      The answer to that is yes, I would expect
13:40:20  2   otherwise being duplicated by MAS?                    13:42:35  2                that.
13:40:23  3         A.   There may have been some of that, yes.     13:42:36  3                    Q.      And is that empirically what you've been
13:40:25  4   Again, if you would ask Dr. Longo about that, please. 13:42:40 4                 seeing?
13:40:27  5         Q.   Okay. What's an example of silicate, some  13:42:41  5                            MS. O'DELL: Object to the form.
13:40:32  6   silicate materials?                                   13:42:42  6                            THE WITNESS: Again, I don't know which
13:40:33  7         A.   Well, a whole group of phyllosilicates are 13:42:44  7                    ones you're referring to here. But from a
13:40:39  8   clay, clay minerals. There's lots of silicates. I     13:42:49  8                    quality standpoint, they do see the same things.
13:40:43  9   mean, the earth's crust is covered with silicates.    13:42:52  9                    Q.      (By Mr. Chachkes) Okay. If one --
13:40:46 10         Q.   Is talc a silicate?                        13:42:54 10                hypothetically, if one analyst looked at a bottle and
13:40:47 11         A.   Yes.                                       13:42:57 11                saw 10,000 fibers per gram and another analyst looked
13:40:47 12         Q.   Are you aware that there's different       13:43:00 12                at the same bottle and got a nondetect, would that be
13:40:50 13   grades of talc?                                       13:43:03 13                within the margin of error?
13:40:50 14         A.   Yes.                                       13:43:06 14                            MS. O'DELL: Object to the form.
13:40:51 15         Q.   What are those grades?                     13:43:10 15                            THE WITNESS: That would depend on the
13:40:54 16         A.   Well, they vary by composition, color,     13:43:12 16                    statistics that we were using, whether -- that
13:40:57 17   size, particle size, that type of thing.              13:43:17 17                    would depend.
13:40:59 18         Q.   Is talc an asbestiform mineral?            13:43:19 18                    Q.      (By Mr. Chachkes) Depend on what?
13:41:05 19         A.   Fibrous talc could be described as an      13:43:20 19                    A.      It would depend on the number of
13:41:10 20   asbestiform, yes.                                     13:43:22 20                structures that they saw.
13:41:11 21         Q.   Are asbestiform minerals silicates?        13:43:23 21                    Q.      Okay. Well, you know how you determine
13:41:15 22         A.   Yes.                                       13:43:27 22                structures; correct?
13:41:16 23         Q.   Do you know how many amphibole mineral     13:43:28 23                    A.      Yes. Yes.
13:41:23 24   species there are?                                    13:43:28 24                    Q.      And you know the number of structures you
13:41:24 25         A.   Quite a few.                               13:43:30 25                need to extrapolate to 10,000 per gram?
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13:41:24  1       Q.    Do you have an estimate?                                 13:43:33  1       A.      Well, again, that varies. That can vary,
13:41:25  2       A.    Not right off the top of my head. I bet                  13:43:39  2   as I say, depending on what the detection limit is.
13:41:29  3   it's many.                                                         13:43:42  3   So when you're saying a certain number per gram,
13:41:30  4       Q.    Like more than 10?                                       13:43:48  4   that's based on it being above a certain detection
13:41:31  5       A.    Yes.                                                     13:43:51  5   limit. So you may want to ask the question again to
13:41:31  6       Q.    More than 30?                                            13:43:55  6   clarify a little more.
13:41:33  7       A.    Yes.                                                     13:43:55  7       Q.      Well, let's say one analyst analyzed an
13:41:33  8       Q.    When it comes time to give analysts in                   13:44:02  8   aliquot from a bottle and saw 10 fibers and another
13:41:40  9   your labs samples of J&J talc to analyze, do you                   13:44:05  9   analyst analyzed an aliquot and didn't detect any
13:41:44 10   distribute them completely randomly?                               13:44:08 10   fibers. Would that be within the margin of error?
13:41:47 11             MS. O'DELL: Object to the form.                          13:44:11 11       A.      No.
13:41:48 12             THE WITNESS: Again, you would have to ask                13:44:11 12       Q.      Why not?
13:41:49 13       Dr. Longo about that. The TEM manager is the                   13:44:12 13       A.      That would be outside the margin of error.
13:41:54 14       one who distributes the samples once they come                 13:44:14 14       Q.      Can you narrow for me what that margin of
13:41:57 15       in.                                                            13:44:17 15   error is?
13:41:57 16       Q.    (By Mr. Chachkes) Okay. Would it be                      13:44:18 16       A.      Well, in our laboratory the coefficient of
13:41:59 17   better to distribute them randomly?                                13:44:23 17   variation between analysts is around I think 5 or
13:42:01 18             MS. O'DELL: Object to the form.                          13:44:27 18   7 percent, something like that. So I would expect
13:42:03 19             THE WITNESS: Well, I mean, we're going to                13:44:35 19   the variation to be not much more than that. Maybe
13:42:07 20       analyze the samples that we receive, so, you                   13:44:40 20   1 fiber difference, something like that, depending
13:42:11 21       know, random or not, it wouldn't make any                      13:44:42 21   upon how many fibers they found.
13:42:14 22       difference.                                                    13:44:44 22       Q.      When you say coefficient of variation,
13:42:14 23       Q.    (By Mr. Chachkes) Would you expect two                   13:44:46 23   you're referring to the coefficient of variation
13:42:21 24   analysts to identify the same asbestos concentration               13:44:49 24   study that you all did?
13:42:24 25   from the same bottle of J&J talc?                                  13:44:49 25       A.      Yes. Yes.
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13:44:50  1       Q.    And were you part of that?                                 13:46:56  1       A.    They should be because they're mixed prior
13:44:51  2       A.    Yes.                                                       13:46:59  2   to the actual analysis, you know, they're mixed in
13:44:51  3       Q.    What about would the same coefficient of                   13:47:02  3   preparation, the sample is.
13:45:00  4   variation apply to the difference in type of asbestos                13:47:03  4       Q.    Wouldn't you expect greater variation when
13:45:06  5   that the analysts are finding?                                       13:47:06  5   two analysts are looking at their own grids
13:45:08  6       A.    It should. Yes.                                            13:47:12  6   separately rather than comparing what they see under
13:45:10  7       Q.    Okay. So you would expect that the ratio                   13:47:15  7   the same grid?
13:45:12  8   of tremolite to anthophyllite in a bottle should                     13:47:16  8             MS. O'DELL: Object to the form.
13:45:17  9   remain relatively constant amongst different analysts                13:47:17  9             THE WITNESS: Yeah. That's a good
13:45:20 10   within 5 to 7 percent?                                               13:47:19 10       question. We're not doing chemistry here.
13:45:21 11       A.    Yes.                                                       13:47:23 11       We're doing particle analysis. So in chemistry
13:45:21 12       Q.    If the numbers were completely out of                      13:47:26 12       where you have something that is in, for
13:45:29 13   whack with that, let's say there was 30 percent                      13:47:29 13       instance, in solution, it's mixed in solution,
13:45:32 14   difference, would you believe you need to rerun the                  13:47:31 14       it's dispersed in that solution by Brownian
13:45:35 15   results, or would you average the two? What would be                 13:47:37 15       motion forces that keep it very random and
13:45:38 16   your reaction?                                                       13:47:39 16       mixed.
13:45:39 17             MS. O'DELL: Object to the form.                            13:47:40 17             Wherein a particle solution, if you want
13:45:40 18             THE WITNESS: Well, if the analysts                         13:47:44 18       to call it that, you can have variation based on
13:45:44 19       weren't seeing the same thing -- I mean, this is                 13:47:46 19       the particle size and a number of factors, but
13:45:48 20       the way we run the QC. For instance, if they                     13:47:50 20       the objective is to make the samples as
13:45:52 21       haven't found -- if you put them in the same                     13:47:53 21       homogeneous as possible.
13:45:56 22       grid square and they haven't found the same                      13:47:54 22             So you would expect them, if they took a
13:45:59 23       number of structures there, then you                             13:47:56 23       sample from the same bottle and they're both
13:46:03 24       typically -- we go back, we look at what was                     13:47:58 24       homogeneous, you should get close to the same
13:46:05 25       there, we sit down with the analyst and try to                   13:48:01 25       answer.
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13:46:08  1       understand why there is a difference like that,                  13:48:01  1       Q.    (By Mr. Chachkes) Okay. In your
13:46:11  2       and then we resolve the difference at that                       13:48:04  2   experience do two of your analysts looking at the
13:46:14  3       point.                                                           13:48:06  3   same exact grid identify the same bundle-to-fiber
13:46:14  4             Now, that's the way the process typically                  13:48:11  4   ratio?
13:46:17  5       works.                                                           13:48:12  5       A.    I would say that most of the time they do.
13:46:17  6       Q.    (By Mr. Chachkes) Was your coefficient of                  13:48:18  6   There may be some slight variations in the size of
13:46:19  7   variation study analysts looking at the same grid                    13:48:23  7   the structure. It will be the same structure because
13:46:22  8   square?                                                              13:48:25  8   you can see it in the images that they make, but they
13:46:22  9       A.    Yes.                                                       13:48:30  9   may have some slight variation in the size based on
13:46:22 10       Q.    Okay. Let's do it in a completely                          13:48:33 10   the microscope that's being used because a couple of
13:46:25 11   different hypothetical.                                              13:48:37 11   the scopes we have have slightly different graticules
13:46:25 12       A.    All right.                                                 13:48:42 12   in the scope so there may be a little difference in
13:46:26 13       Q.    The two analysts in your lab take aliquots                 13:48:45 13   the length or the width, just a slight amount.
13:46:29 14   out of a bottle that are different, so they end up                   13:48:47 14       Q.    But generally speaking, you would expect
13:46:31 15   looking at different grid squares.                                   13:48:49 15   two analysts in your laboratory looking at the same
13:46:33 16       A.    Yes.                                                       13:48:51 16   grid pattern to roughly identify the same
13:46:33 17       Q.    Would you expect the results to be the                     13:48:55 17   fiber-to-bundle ratio?
13:46:35 18   same?                                                                13:48:56 18       A.    Yes.
13:46:36 19             MS. O'DELL: Object to the form.                            13:48:58 19       Q.    Roughly speaking, you would expect two
13:46:37 20             THE WITNESS: If the sample was                             13:49:00 20   analysts looking at the same grid opening to --
13:46:41 21       homogeneous, let's hypothetically say that it is                 13:49:08 21   roughly speaking, you would expect two analysts
13:46:46 22       completely homogeneous, then, yes, I would                       13:49:10 22   looking at the same grid opening to identify the same
13:46:48 23       expect the same kinds of results.                                13:49:14 23   asbestos type composition, like anthophyllite versus
13:46:50 24       Q.    (By Mr. Chachkes) Do you know whether or                   13:49:17 24   tremolite versus no detect?
13:46:51 25   not bottles are homogeneous, samples are homogeneous?                13:49:20 25       A.    Yes.
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13:49:20  1       Q.    Okay. And that's based on the coefficient                13:51:42  1   the results from the non-MDL samples to look like the
13:49:22  2   of variation study?                                                13:51:46  2   MDL samples?
13:49:23  3       A.    Yes, and also their training. So they're                 13:51:47  3        A.     I mean, if they're splits of the same
13:49:27  4   well versed in this.                                               13:51:51  4   sample or -- oh, they're different.
13:49:28  5       Q.    Okay. You wouldn't know whether Lee Poye                 13:51:51  5        Q.     They're different. So you understand that
          6   would expect the same thing?                                       13:51:53  6   the non-MDL samples are literally different bottles
          7             THE REPORTER: I'm sorry, you would or                    13:51:56  7   than the MDL samples?
          8       wouldn't?                                                      13:51:58  8        A.     Yeah. I don't have an opinion on that. I
13:49:39  9       Q.    (By Mr. Chachkes) You would not expect --                13:52:04  9   don't have an opinion. I'd have to think about that.
13:49:40 10   you would not know whether Lee Poye would say the                  13:52:06 10        Q.     Would you expect the type of asbestos
13:49:41 11   same thing --                                                      13:52:08 11   found to be roughly the same?
         12             MS. O'DELL: Object to the form.                          13:52:11 12        A.     Same answer.
13:49:42 13       Q.    (By Mr. Chachkes) -- is that outside of                  13:52:12 13        Q.     Okay. No opinion?
13:49:43 14   your knowledge?                                                    13:52:15 14        A.     Yeah, right.
13:49:44 15             MS. O'DELL: Excuse me, I didn't mean to                  13:52:16 15        Q.     If you had an analyst who told you he had
13:49:46 16       interrupt you. Are you finished?                               13:52:24 16   a nondetect for asbestos in a bottle, a sample from a
13:49:48 17             Object to the form.                                      13:52:28 17   bottle --
13:49:49 18             THE WITNESS: All right. Well, as being a                 13:52:28 18        A.     Yes.
13:49:54 19       certified laboratory and having earned                         13:52:29 19        Q.     -- would you expect another analyst
13:49:57 20       protocols, I would expect that their analysts                  13:52:32 20   separately on a different day analyzing that same
13:49:59 21       would find the same kinds of things. There may                 13:52:35 21   bottle to get a nondetect?
13:50:03 22       be some variation, but again, you know, there is               13:52:38 22        A.     If the sample was prepared the same way
13:50:10 23       slight variation between laboratories.                         13:52:47 23   and the detection limit was the same, I would expect
13:50:12 24       Q.    (By Mr. Chachkes) Okay. Did you ever                     13:52:52 24   similar results.
13:50:13 25   quantify the slight variation between laboratories?                13:52:53 25        Q.     Okay. That goes to the reproducibility of
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13:50:16  1             MS. O'DELL: Object to the form.                          13:52:58  1   your --
13:50:17  2             THE WITNESS: In this case, no. We did                    13:52:59  2        A.     Yeah.
13:50:20  3       see variation, and that's in the report. But                   13:52:59  3        Q.     Okay. When you present -- what's more
13:50:25  4       again, it doesn't change what has been found.                  13:53:05  4   accurate of a representation of what's in a bottle of
13:50:30  5       There were, I believe, a couple by TEM that we                 13:53:09  5   J&J talc, a single analysis or multiple analyses
13:50:33  6       weren't able to verify, so, you know, it does                  13:53:16  6   separately averaged?
13:50:35  7       happen.                                                        13:53:18  7               MS. O'DELL: Object to the form.
13:50:35  8       Q.    (By Mr. Chachkes) Would you --                           13:53:19  8               THE WITNESS: Let me put it in terms of
13:50:41  9       A.    But for the most part, we did agree.                     13:53:28  9        how FDA does their thing. A laboratory runs a
13:50:44 10       Q.    Okay. Let's compare -- let's talk about                  13:53:35 10        study to validate a method. That's the way it's
13:50:48 11   on the one hand the non-MDL samples that you guys                  13:53:39 11        done. They will validate the method based on
13:50:52 12   have analyzed of J&J talc, and on the other hand MDL               13:53:43 12        accuracy, precision, reproducibility, stability,
13:50:56 13   samples of J&J talc.                                               13:53:46 13        all these different factors.
13:50:57 14             Would you expect the results for, let's                  13:53:48 14               And when they're done with that, when
13:51:01 15   say, 150 tests of the non-MDL samples to look roughly              13:53:51 15        they're done with that validation study, now
13:51:08 16   like the 150 tests of the MDL samples?                             13:53:53 16        they have a method that they will use that is
13:51:13 17             MS. O'DELL: Objection to form. Without                   13:53:56 17        allowed to use one sample from that to get a
13:51:15 18       limitation on time, et cetera? Product?                        13:54:00 18        result. Because they validated their
13:51:19 19             THE WITNESS: It's a hypothetical. But if                 13:54:06 19        methodology and are using a standard
13:51:23 20       there -- I mean, if they're the same product                   13:54:07 20        methodology, that's what's allowed by FDA.
13:51:26 21       from the same lot, I would expect similar                      13:54:11 21               So I would expect one sample should be
13:51:29 22       results.                                                       13:54:12 22        fine. You can do more, you can average more,
13:51:29 23       Q.    (By Mr. Chachkes) What about without that                13:54:16 23        but the one sample should be representative
13:51:33 24   qualification, let's say we know they're from the                  13:54:19 24        based on the methodology.
13:51:36 25   same mine but you know nothing else, would you expect              13:54:20 25        Q.     (By Mr. Chachkes) So my question was not
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13:54:22  1   about adequacy or what follows regulatory methods.                13:56:04  1   bottle and someone else presented you, let's say, ten
13:54:28  2   I'm just saying what would you personally believe to              13:56:07  2   different analyses, separate analyses averaged, you
13:54:30  3   be more reliable, a single analysis from a bottle or              13:56:10  3   would say those are equally representative, the
13:54:36  4   multiple separate analyses from a bottle averaged?                13:56:13  4   standard definitions, the margin of error, same for
13:54:39  5             MS. O'DELL: Object to the form.                         13:56:16  5   both?
13:54:40  6             THE WITNESS: I would say the single                     13:56:17  6             MS. O'DELL: Object to the form.
13:54:42  7       sample based on the methodology that we use that              13:56:18  7             THE WITNESS: Well, the ten will give you
13:54:45  8       has been validated, published. A single sample                13:56:21  8       an average with a standard deviation, and if
13:54:50  9       should be fine.                                               13:56:23  9       that single one falls within that, it's still
13:54:51 10       Q.    (By Mr. Chachkes) Do you expect that the                13:56:27 10       adequate analysis of that and it's still
13:54:52 11   multiple samples' average would be precisely the                  13:56:30 11       acceptable.
13:54:55 12   same?                                                             13:56:30 12       Q.    (By Mr. Chachkes) The question is would
13:54:56 13       A.    I don't know about --                                   13:56:32 13   those two examples have the same standard deviations
13:54:57 14             MS. O'DELL: Object to form.                             13:56:35 14   and margins of error?
13:54:58 15             THE WITNESS: -- precisely the same, but                 13:56:37 15             MS. O'DELL: Object to the form.
13:54:59 16       they should be very similar.                                  13:56:38 16             THE WITNESS: Well, they won't. Of
13:55:01 17       Q.    (By Mr. Chachkes) But you're not going to               13:56:39 17       course, you've got one that's got ten and one
13:55:02 18   say that one's better in terms of a more accurate                 13:56:41 18       has one. But I'm going by a method that's been
13:55:05 19   representation of what's in the bottle?                           13:56:44 19       validated as accepted as a standard method. You
13:55:07 20             MS. O'DELL: Object to the form.                         13:56:48 20       should be able to take one sample and it be
13:55:08 21             THE WITNESS: Well, now you've got an                    13:56:50 21       representative, yes.
13:55:09 22       average. So you got an average of multiples,                  13:56:50 22       Q.    (By Mr. Chachkes) When you say they won't
13:55:13 23       they should be very similar.                                  13:56:51 23   have the same margin of error, the average of ten
13:55:14 24             If you take a single, you should get a                  13:56:54 24   would have a smaller margin of error; correct?
13:55:17 25       representative that is close to the average, you              13:56:57 25       A.    Not --
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13:55:20  1       know, within one standard definition of the                   13:56:57  1             MS. O'DELL: Object to the form.
13:55:22  2       average. So that's what I would expect.                       13:56:59  2             THE WITNESS: -- necessarily. It could.
13:55:24  3       Q.    (By Mr. Chachkes) Okay.                                 13:57:00  3       It could. Yep.
13:55:25  4       A.    And it's acceptable to have something                   13:57:01  4       Q.    (By Mr. Chachkes) Okay. In what instance
13:55:27  5   within two to three standard deviations.                          13:57:01  5   would the ten done by the exact same procedure have a
13:55:30  6       Q.    I'm just asking a question about which                  13:57:04  6   larger margin of error when averaged than the one?
13:55:31  7   would be more representative of what objectively is               13:57:07  7       A.    Well, the one's not going to -- the one is
13:55:34  8   in the bottle, one analysis or multiple analyses                  13:57:10  8   the one. So what I'm saying is the one would fall
13:55:39  9   averaged, which would be more representative?                     13:57:14  9   within the group of ten, so it would be
13:55:41 10             MS. O'DELL: Object to the form.                         13:57:16 10   representative.
13:55:42 11             THE WITNESS: Well, the single can be                    13:57:17 11       Q.    I'm not asking questions about
13:55:43 12       representative, absolutely.                                   13:57:18 12   representative in any way whatsoever.
13:55:44 13       Q.    (By Mr. Chachkes) And --                                13:57:20 13       A.    I know. I'm trying to answer from a
13:55:45 14       A.    I know you're saying more, I get that.                  13:57:21 14   scientific point of view.
         15       Q.    Yeah.                                                   13:57:23 15       Q.    Yeah. So if you want to be a scientist
13:55:47 16       A.    I understand that.                                      13:57:25 16   about it, I would appreciate you under -- like,
13:55:47 17       Q.    Can you answer the question?                            13:57:27 17   listen to the words I'm saying, okay? I'm talking
13:55:48 18       A.    Sure.                                                   13:57:29 18   about the standard deviations, not what's
13:55:48 19       Q.    Which is more representative?                           13:57:32 19   representative, just the math of standard deviations.
13:55:49 20       A.    Which is more representative?                           13:57:34 20       A.    Well, there's no --
13:55:51 21       Q.    Yeah.                                                   13:57:34 21             MS. O'DELL: Object --
13:55:51 22       A.    Any of those three, if there were three of              13:57:36 22             THE WITNESS: -- no standard deviation in
13:55:54 23   them, would be representative. Any of them.                       13:57:38 23       one. So you're trying to compare ten to one and
13:55:55 24       Q.    Okay. So if someone presented you a data                13:57:41 24       say standard deviation, and it's not working.
13:55:59 25   for one analysis of the asbestos concentration for a              13:57:43 25       Q.    (By Mr. Chachkes) Okay. How about
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13:57:43  1   comparing two averaged and 100 averaged --                      1 13:59:10         Q.    This is a new, independent question.
13:57:46  2        A.    Well, now all of a sudden now we're at two 13:59:12 2                   A.    Okay.
13:57:51  3   and ten instead of one and ten.                       13:59:12  3                  Q.    And --
13:57:53  4        Q.    100.                                       13:59:13  4                  A.    New question.
13:57:54  5        A.    Or 100. Yeah, no, I'm talking about you    13:59:14  5                  Q.    You've got two samples from one -- a
13:57:55  6   want to know about one, and I'm telling you one is 13:59:19 6                  bottle?
13:57:57  7   representative. That's my opinion.                    13:59:19  7                  A.    Yes.
13:57:58  8        Q.    Just asking about standard deviations. Is  13:59:19  8                  Q.    Separately analyzed?
13:58:01  9   it possible to talk about the math of standard        13:59:21  9                  A.    Okay.
         10   deviations without saying the word representative?    13:59:21 10                  Q.    Average them on one hand?
         11              MS. O'DELL: Object to the form.            13:59:23 11                  A.    Yes.
         12              THE REPORTER: Wait. I'm sorry, say it      13:59:23 12                  Q.    You've got 100 samples from that same
         13        again, please.                                   13:59:25 13              bottle average -- and separately analyze those and
13:58:07 14        Q.    (By Mr. Chachkes) Is it possible to talk   13:59:28 14              average them, which is going to have a higher
13:58:08 15   about the math of standard deviations without using   13:59:31 15              standard deviation?
13:58:11 16   the word representative?                              13:59:33 16                        MS. O'DELL: Object to the form.
13:58:12 17              MS. O'DELL: Object to the form.            13:59:34 17                        THE WITNESS: I can't tell you that.
13:58:13 18              THE WITNESS: I'm not quite sure what       13:59:35 18                  Q.    (By Mr. Chachkes) Okay. Why can't you
13:58:18 19        you're getting at.                               13:59:36 19              tell me that?
13:58:18 20        Q.    (By Mr. Chachkes) Okay. Every time I ask   13:59:36 20                  A.    Because I don't have the numbers. I don't
13:58:21 21   you about standard deviations, you say                13:59:39 21              have any numbers to work with.
13:58:23 22   representative. I'm just talking about the math. Do   13:59:40 22                  Q.    In what world is this hypothetical such
13:58:25 23   you understand that?                                  13:59:44 23              that the standard deviation is smaller for the two on
13:58:26 24        A.    Yeah, but --                               13:59:48 24              average than the 100 on average?
13:58:26 25              MS. O'DELL: Object to the form.            13:59:49 25                        MS. O'DELL: Object to the form.
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13:58:27  1             THE WITNESS: -- I mean as far as -- I               1   13:59:50               THE WITNESS: It could be the same.
13:58:31  2       mean, if you read back some of what I said, how 13:59:53  2                    Standard deviation could be exactly the same.
13:58:34  3       many times did I say representative with that?  13:59:54  3                    Q.    (By Mr. Chachkes) Okay. Is there any
13:58:36  4       Was it quite a few?                             13:59:55  4                situation where the two is going to have a lower
13:58:37  5       Q.    (By Mr. Chachkes) It's a bit of a burden  13:59:57  5                deviation?
13:58:39  6   to put on the reporter.                             13:59:57  6                    A.    A lower standard deviation?
13:58:40  7       A.    I know, but I'm like I don't recall it    13:59:59  7                    Q.    Right.
13:58:41  8   being so much a part of the standard deviation, you 14:00:00 8                     A.    The two have a lower standard deviation?
13:58:44  9   know, answer.                                       14:00:07  9                    Q.    Right.
13:58:45 10       Q.    Okay. Let me see if you can answer this   14:00:07 10                    A.    Possibly.
13:58:46 11   question without using the words representative or           11                    Q.    How?
13:58:49 12   what's regulatory or -- just about a question about 14:00:07 12                    A.    Well, it depends on how close the results
13:58:52 13   standard deviation. Listen to the question.         14:00:09 13                are. The closer they are, the smaller the standard
13:58:54 14             MS. O'DELL: You may answer it any way you 14:00:11 14                deviation.
13:58:56 15       choose.                                         14:00:11 15                    Q.    Okay. That's your opinion of how standard
13:58:56 16             THE WITNESS: I know. I mean, when I say   14:00:13 16                deviation is calculated?
13:58:59 17       representative, I'm talking about that sample   14:00:15 17                          MS. O'DELL: Object to the form.
13:59:01 18       being representative of the bottle.             14:00:15 18                          THE WITNESS: We didn't talk about how
13:59:03 19       Q.    (By Mr. Chachkes) Okay.                   14:00:17 19                    it's calculated. There's a formula for that.
13:59:04 20       A.    That's what I'm talking about                      20                    Q.    (By Mr. Chachkes) Okay.
13:59:05 21   representative. I didn't say it was representative  14:00:19 21                    A.    Okay. But the closer the values are to
13:59:07 22   about standard deviation.                           14:00:25 22                each other, the smaller the standard deviation's
         23       Q.    Okay.                                     14:00:29 23                going to be.
13:59:08 24       A.    I said it's representative of what is in  14:00:29 24                    Q.    Did your analysts use the point counting
13:59:09 25   the bottle.                                         14:00:32 25                method?
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14:00:32  1       A.     Are we back to PLM?                                    14:02:44  1       Q.       (By Mr. Chachkes) Okay. Do you have --
14:00:34  2       Q.     Well, there's a point counting method for              14:02:44  2   just sitting here today, without referring to the
14:00:37  3   PLM and SEM.                                                      14:02:46  3   report, do you have an idea of what the highest
14:00:38  4       A.     Yeah.                                                  14:02:48  4   concentration of any bottle of MDL samples that you
14:00:38  5       Q.     So you don't do SEM, right?                            14:02:51  5   tested is?
14:00:39  6       A.     No.                                                    14:02:52  6                MS. O'DELL: Object to the form.
14:00:40  7       Q.     Okay. All right. I'm going to skip that.               14:02:53  7                THE WITNESS: Again, I can't remember off
14:00:42  8       A.     No. No. No. Yep, okay.                                 14:02:54  8       the top of my head right now, yeah.
14:00:43  9       Q.     I'll skip that, that's fine.                           14:02:55  9       Q.       (By Mr. Chachkes) That's fine. It's not
14:00:49 10              So let's talk about the coefficient of                 14:02:57 10   a memory test.
14:00:50 11   variation study. I'm just going to give it to you.                         11       A.       Yep.
14:00:52 12       A.     Okay.                                                  14:02:58 12       Q.       For the coefficient of variation you
14:00:53 13       Q.     We will mark it as an exhibit. What's the              14:03:00 13   prepared 25 grid openings; correct?
14:00:56 14   next exhibit? She has to mark it.                                 14:03:02 14       A.       Yes.
         15       A.     Yep.                                                   14:03:02 15       Q.       And then you had four TEM analysts look at
         16              (Defendants' Exhibit 3 was marked for                  14:03:06 16   the exact same grids and analyze them for tremolite
14:01:22 17       identification.)                                              14:03:09 17   and anthophyllite asbestos; correct?
14:01:22 18       Q.     (By Mr. Chachkes) All right. So is this                14:03:10 18       A.       Yes. Yes.
14:01:26 19   the coefficient of variation study that you referred              14:03:11 19       Q.       And so those four analysts were looking at
14:01:29 20   to earlier?                                                       14:03:13 20   the exact same thing?
14:01:30 21       A.     Yes.                                                   14:03:14 21       A.       Yes.
14:01:42 22       Q.     And that's where you got that 5 to 7                   14:03:14 22       Q.       And these are the analysts who did the
14:01:45 23   percent deviation number from?                                    14:03:19 23   testing of the MDL samples?
14:01:46 24       A.     Yes.                                                   14:03:21 24       A.       To my knowledge, yes.
14:01:46 25       Q.     Is there a right answer and a wrong answer             14:03:22 25       Q.       Do you consider the error rate that is
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14:01:51  1   as to whether someone you're looking at visually                  14:03:28  1   your conclusion in the coefficient of variation study
14:01:54  2   under TEM is a fiber or bundle?                                   14:03:31  2   to be a good one for a lab?
14:01:56  3              MS. O'DELL: Object to the form.                        14:03:33  3       A.       Yes.
14:01:57  4              THE WITNESS: Is a fiber or a bundle a                  14:03:33  4       Q.       Looking specifically at the count sheets
14:02:02  5       right answer or a wrong answer? I would say                   14:03:37  5   for tremolite, two of the analysts found nine
14:02:04  6       yes.                                                          14:03:42  6   structures in the sample and two found ten
14:02:05  7       Q.     (By Mr. Chachkes) So is the coefficient                14:03:44  7   structures; correct?
14:02:10  8   of variation also -- can we also refer to it as an                14:03:45  8       A.       Yes.
14:02:13  9   error rate? Is that the same thing?                               14:03:45  9       Q.       And that's the 6 percent error rate you
14:02:14 10       A.     Yes.                                                   14:03:49 10   were talking about, the roughly 6 percent error rate?
14:02:14 11       Q.     And for this coefficient of variation you              14:03:51 11                MS. O'DELL: Object to the form.
14:02:18 12   bought off-the-shelf J&J baby powder and added a                  14:03:52 12                THE WITNESS: That's part of the way it's
14:02:22 13   known tremolite asbestos and anthophyllite asbestos               14:03:54 13       calculated, yes.
14:02:24 14   standard reference material?                                      14:03:55 14       Q.       (By Mr. Chachkes) Okay. What other ways
14:02:26 15       A.     Yes.                                                   14:03:58 15   was it calculated?
14:02:27 16       Q.     And you spiked the J&J baby powder with                14:03:59 16       A.       That's the way it was calculated according
14:02:31 17   enough asbestos to reach a concentration of about                 14:04:01 17   to the formula we used.
14:02:33 18   .3 percent?                                                       14:04:02 18       Q.       Okay.
14:02:33 19       A.     Yes.                                                   14:04:03 19       A.       Yep.
14:02:34 20       Q.     And the highest concentration of any                   14:04:03 20       Q.       Your analysts wrote down whether the
14:02:35 21   bottle that you've tested in this case is                         14:04:08 21   structure they found was a fiber or bundle; right?
14:02:38 22   .035 percent; correct?                                            14:04:10 22       A.       Yes.
14:02:42 23              MS. O'DELL: Object to the form.                        14:04:11 23       Q.       This is a part of the study parameters;
14:02:43 24              THE WITNESS: I would have to check and                          24   right?
14:02:44 25       see.                                                          14:04:17 25       A.       Yes.
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14:04:17  1       Q.    Let me --                                             1 14:06:21      demonstrative?
14:04:22  2        A.    I mean, the rate is based on the number of 14:06:22 2                    A.      Yep.
14:04:24  3   structures that they counted. Now, they may have 14:06:22 3                         Q.      And analyst number 3, A8-E2, that analyst
14:04:26  4   been a fiber or a bundle, but it's the total number   14:06:27  4               detected a fiber?
14:04:29  5   of structures they counted. Yep.                      14:06:28  5                   A.      Yes.
14:04:31  6              MR. CHACHKES: Let's mark as the next       14:06:29  6                   Q.      Okay. And then analyst number 4, A8-E2,
14:04:32  7        exhibit, what are we on, 4?                      14:06:34  7               that analyst detected a bundle?
          8              (Defendants' Exhibit 4 was marked for      14:06:36  8                   A.      Yes. Yep.
14:04:52  9        identification.)                                 14:06:37  9                           MS. O'DELL: Did you say A8-2 twice?
14:04:52 10        Q.    (By Mr. Chachkes) So what we have marked            10                           THE WITNESS: This one.
14:04:55 11   as Rigler 4 is a demonstrative we worked up so that   14:06:41 11                           MR. CHACHKES: A8-E2.
14:04:57 12   we can see -- compare the analysts' work against each 14:06:43 12                           THE WITNESS: Yeah. Is that grid square?
14:04:59 13   other.                                                14:06:44 13                           MS. O'DELL: Yeah.
14:05:00 14              Can you just confirm that -- let's look,            14                           THE WITNESS: Yeah.
14:05:03 15   for example, at analyst 1, what they found for grid   14:06:45 15                           MS. O'DELL: Got it. And then for --
14:05:10 16   opening A8-E2?                                        14:06:49 16                   Q.      (By Mr. Chachkes) Okay. So what we've
14:05:16 17        A.    Which analysis is this? Which sample is    14:06:51 17               done is we've summarized these grid openings in this
14:05:17 18   this?                                                 14:06:55 18               demonstrative in that way --
14:05:18 19        Q.    So this is -- you've gone to the appendix,          19                   A.      Right.
14:05:21 20   right, of Rigler 3.                                   14:06:56 20                   Q.      -- do you follow me so far?
14:05:26 21        A.    What? Where are we --                      14:06:58 21                   A.      Yes.
14:05:29 22        Q.    So Rigler 3 is the coefficient of          14:06:58 22                   Q.      And your analysts are trained to
14:05:32 23   variation study?                                      14:07:00 23               distinguish between a fiber and a bundle; right?
14:05:33 24        A.    Okay.                                      14:07:02 24                   A.      Yes.
14:05:33 25        Q.    And if you go into -- there are sheets for 14:07:02 25                   Q.      And you ran this experiment to detect how
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14:05:38  1   different analysts; right?                                        14:07:06  1   good your analysts were at identifying the same
14:05:39  2       A.    Yeah, these are the count sheets, right.                14:07:09  2   thing?
14:05:41  3       Q.    Right. So if you go to the first analyst                14:07:09  3               MS. O'DELL: Object to the form.
14:05:48  4   and you go to A8-E2 --                                            14:07:10  4       Q.      (By Mr. Chachkes) Is that a yes?
14:05:51  5       A.    Okay.                                                   14:07:11  5       A.      That would be yes.
14:05:51  6       Q.    -- you see that the structure identified                14:07:11  6       Q.      But out of the 11 grid openings, your
14:05:53  7   was a bundle --                                                   14:07:14  7   analysts only came to consensus on the type of
14:05:54  8       A.    Okay.                                                   14:07:16  8   structure they found only once?
14:05:54  9       Q.    -- right?                                               14:07:18  9               MS. O'DELL: Object to the form.
14:05:55 10       A.    Yes.                                                    14:07:19 10               THE WITNESS: Every time they came to the
14:05:56 11       Q.    Okay. And then in my demonstrative you                  14:07:20 11       consensus that it was tremolite.
14:05:58 12   see that's a bundle; right?                                       14:07:22 12       Q.      (By Mr. Chachkes) This is not the
14:06:00 13       A.    Right.                                                  14:07:23 13   question.
14:06:00 14       Q.    And then you go to analyst number 2 -- is               14:07:23 14       A.      But that is the answer. This is what
14:06:06 15   that the second page?                                             14:07:25 15   we're concerned about here, is it asbestos.
14:06:07 16       A.    Yes.                                                    14:07:27 16       Q.      The question before you is: Out of 11
14:06:07 17       Q.    Okay. And it says in the upper left-hand                14:07:30 17   grid openings your analysts only came to a consensus
14:06:09 18   corner analyst 2?                                                 14:07:33 18   on the type of structure they found only once?
14:06:10 19       A.    Yes.                                                    14:07:36 19       A.      What's that? Out of 11 grid openings?
14:06:10 20       Q.    Okay. That for A8-E2 that analyst                       14:07:39 20       Q.      Right.
14:06:16 21   identified a fiber?                                               14:07:40 21       A.      No.
14:06:17 22       A.    Okay.                                                   14:07:40 22       Q.      Okay. Look at the demonstrative.
14:06:17 23       Q.    Is that correct?                                                 23       A.      Okay.
14:06:18 24       A.    Uh-huh.                                                 14:07:43 24       Q.      For A8-E2 your analysts did not find the
14:06:19 25       Q.    Okay. And that's reflected in the                       14:07:46 25   same structure; right? Two found bundle, two found
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14:07:52  1   fiber?                                                               14:09:15  1               MS. O'DELL: Object to the form.
14:07:52  2       A.    Uh-huh.                                                    14:09:16  2               THE WITNESS: No.
14:07:53  3       Q.    For A8-E4 they all agree it's a fiber?                     14:09:16  3       Q.      (By Mr. Chachkes) Why?
14:07:57  4       A.    Uh-huh.                                                    14:09:17  4       A.      It's not.
14:07:57  5       Q.    For A8-E5 they did not agree whether it                    14:09:18  5       Q.      Why?
14:08:00  6   was a bundle or fiber.                                               14:09:18  6       A.      Well, the max I can see here is it might
14:08:02  7       A.    Okay.                                                      14:09:23  7   be -- it might be maybe 50 percent, maybe, if that's
14:08:03  8             MS. O'DELL: And feel free to check if you                  14:09:28  8   what it is.
14:08:05  9       need to check the data. It's in the                              14:09:28  9       Q.      Okay.
14:08:08 10       demonstrative.                                                   14:09:29 10       A.      And I don't agree with it, okay, because
14:08:08 11       Q.    (By Mr. Chachkes) Yeah. I mean, if you                     14:09:32 11   the objective here is is it asbestos? Is it
14:08:09 12   think we're putting a fraudulent --                                  14:09:35 12   asbestiform asbestos? The answer is yes.
         13       A.    No --                                                      14:09:37 13       Q.      So a 50 percent error rate in your mind is
         14       Q.    -- in front of you --                                      14:09:39 14   not high?
14:08:13 15       A.    -- no.                                                     14:09:40 15               MS. O'DELL: Object to the form.
14:08:13 16             MS. O'DELL: I think mistakes can happen.                   14:09:41 16               THE WITNESS: No, this is not --
         17             THE WITNESS: I'm sure they can.                            14:09:43 17               MS. O'DELL: Give me a moment.
14:08:15 18             MS. O'DELL: I think probably the others                    14:09:45 18               Object to the form.
14:08:16 19       happen, too, but I'm not suggesting that in this                 14:09:46 19               Go ahead.
14:08:18 20       situation.                                                       14:09:46 20               THE WITNESS: I mean, again, the objective
14:08:18 21       Q.    (By Mr. Chachkes) So you can see for the                   14:09:48 21       here is to determine if this is asbestos, is
14:08:20 22   11 grid openings on the demonstrative we put before                  14:09:51 22       this asbestiform. And the answer to that is
14:08:23 23   you, there was only one instance where the analysts                  14:09:54 23       yes. You're going to have some variation based
14:08:27 24   agreed on the fiber structure.                                       14:09:56 24       on what they see in the microscope, all right,
14:08:30 25       A.    Okay.                                                      14:10:01 25       and that is totally acceptable.
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14:08:31  1       Q.    Right?                                                     14:10:03  1       Q.      (By Mr. Chachkes) Okay. When you say
14:08:32  2       A.    Okay.                                                      14:10:05  2   totally acceptable, what do you mean by that?
14:08:32  3       Q.    And did you -- did you determine an error                  14:10:06  3       A.      Well, it's acceptable based on what the
14:08:39  4   rate for your analysts' ability to determine                         14:10:13  4   asbestiform is, according to the definition. All
14:08:42  5   morphology?                                                          14:10:16  5   right. Fiber, bundle, .5 or greater, 5-to-1 aspect
14:08:43  6       A.    No.                                                        14:10:22  6   ratio. Every one of these fits that.
14:08:44  7       Q.    If you did based on this, it would be a                    14:10:24  7       Q.      So -- well, that's not quite correct;
14:08:47  8   pretty high error rate, wouldn't it?                                 14:10:28  8   right? A8-G4, three analysts found no detectable
14:08:49  9             MS. O'DELL: Object to the form.                            14:10:34  9   asbestos and only one found asbestos; right?
14:08:50 10             THE WITNESS: Well, it's not an error as                    14:10:36 10       A.      That happens.
14:08:51 11       to what the material is, is it? It's all                                  11       Q.      Okay.
14:08:53 12       tremolite. It's all tremolite asbestos. It all                   14:10:36 12       A.      That can happen.
14:08:56 13       meets the definition for tremolite asbestos,                     14:10:37 13       Q.      And then A8-G5, three analysts found no
14:08:57 14       bundle, fiber.                                                   14:10:41 14   asbestos and one identified a bundle?
14:08:59 15       Q.    (By Mr. Chachkes) I'll ask the question                    14:10:43 15       A.      Again, that can happen.
14:09:00 16   again.                                                               14:10:45 16       Q.      And you testified before that there's a
14:09:00 17       A.    Okay.                                                      14:10:49 17   right answer and a wrong answer as to whether
14:09:00 18       Q.    If you were to determine an error rate for                 14:10:52 18   something's a fiber or a bundle; right?
14:09:03 19   determining the morphology of what the analysts in                   14:10:54 19       A.      Yes.
14:09:06 20   the coefficient of variation were looking at, it                     14:10:54 20       Q.      Do you know for grid opening A8-E4 which
14:09:09 21   would be a very high error rate, wouldn't it?                        14:10:59 21   analyst got it wrong and which analyst got it right?
14:09:11 22             MS. O'DELL: Object to the form.                            14:11:01 22               MS. O'DELL: Object to the form.
14:09:12 23             THE WITNESS: No. No, it wouldn't.                          14:11:02 23               THE WITNESS: They both got it right.
14:09:12 24       Q.    (By Mr. Chachkes) Even though they only                    14:11:04 24       They all got it right.
14:09:13 25   agreed once out of 11 times?                                         14:11:05 25       Q.      (By Mr. Chachkes) Okay. And so if
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14:11:08  1   there's objectively a right answer to whether it's a               14:12:39  1       your question.
14:11:11  2   fiber or bundle, how can something be both a fiber                 14:12:39  2               THE WITNESS: Numerous times.
14:11:14  3   and a bundle?                                                      14:12:41  3               MS. O'DELL: Excuse me. Three or four
14:11:15  4       A.    As I say, the analyst, their job is to                   14:12:42  4       times. If you want to waste your time, but
14:11:22  5   figure out whether it meets the definition, all                    14:12:45  5       don't badger the witness.
14:11:24  6   right? Fiber or bundle, it meets the specification                 14:12:46  6               MR. CHACHKES: I'm not going to badger the
14:11:28  7   for whether it is asbestos, asbestiform asbestos.                            7       witness --
14:11:33  8       Q.    Okay. Putting --                                         14:12:50  8               MS. O'DELL: You are badgering the
14:11:34  9       A.    That's what we're concerned about here.                  14:12:50  9       witness.
14:11:36 10       Q.    Putting aside whether there's -- what they                        10               MR. CHACHKES: -- clear answer.
14:11:38 11   identified as asbestiform, I'm just talking about the              14:12:50 11               MS. O'DELL: He's answered your question
14:11:41 12   morphology.                                                        14:12:51 12       very clearly.
14:11:41 13       A.    Sure.                                                    14:12:52 13               MR. CHACHKES: I'm going to ask the same
14:11:42 14       Q.    For A8-E2, two analysts must have gotten                 14:12:53 14       question again. You can tell me I'm not allowed
14:11:46 15   it wrong and two must have gotten it right.                        14:12:56 15       to, and I'll move on.
14:11:48 16             MS. O'DELL: Object to the form.                                   16               MS. O'DELL: I'm telling you that the
14:11:49 17             THE WITNESS: No. They all got it right.                           17       rules require that you not badger the witness.
14:11:50 18       Q.    (By Mr. Chachkes) Okay. So you don't                              18       That's what I'm stating to you.
14:11:50 19   care whether an analyst correctly identifies                       14:13:01 19               MR. CHACHKES: I'm -- level voice. It's a
14:11:54 20   something as a bundle or fiber?                                    14:13:02 20       calm question. It's a serious question. So.
14:11:56 21             MS. O'DELL: Object to the form.                          14:13:04 21               MS. O'DELL: That doesn't mean you're not
14:11:56 22             MS. PARFITT: Misstates his testimony.                    14:13:08 22       badgering the witness, as you are well aware.
14:11:59 23             THE WITNESS: What I've said is it meets                  14:13:09 23               MR. CHACHKES: I believe I'm entitled to a
14:12:00 24       the definition. That's what is of concern to                   14:13:11 24       clear answer to a clear question.
14:12:03 25       me. That's the most important part.                            14:13:13 25               MS. O'DELL: You're not entitled to the
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14:12:04  1       Q.    (By Mr. Chachkes) The question is do you              1                    answer that you want. You're entitled to an
14:12:06  2   care whether one of your analysts misidentifies a     14:13:13  2                    answer, and he's answered your question.
14:12:09  3   bundle as a fiber or a fiber as a bundle?                       3                            MR. CHACHKES: Let's maybe -- I don't
14:12:11  4              MS. O'DELL: Object to the form.                      4                    think this colloquy is productive. I'm going to
14:12:13  5        Q.    (By Mr. Chachkes) Do you care?             14:13:19  5                    ask the same question again. If you want to say
14:12:14  6              MS. O'DELL: Object to the form.            14:13:19  6                    don't ask it, you can order me not to ask it.
14:12:15  7              THE WITNESS: I care if they identify it    14:13:22  7                    I'm going to ask it again.
14:12:19  8        properly according to the regulations, and in    14:13:23  8                    Q.      (By Mr. Chachkes) Do you care whether
14:12:22  9        all cases they have.                             14:13:24  9                your analysts misidentify a bundle as a fiber or a
14:12:23 10        Q.    (By Mr. Chachkes) I'll ask the same        14:13:28 10                fiber as a bundle? Just the morphology I'm talking
14:12:24 11   question again.                                       14:13:30 11                about.
14:12:24 12        A.    And I'll answer it the same way every      14:13:31 12                    A.      Asked and answered.
14:12:26 13   time.                                                 14:13:32 13                            MS. O'DELL: Excuse me. Object to the
14:12:26 14        Q.    We'll add this to the list of things we're 14:13:33 14                    form.
14:12:28 15   going to get the magistrate to --                     14:13:34 15                    Q.      (By Mr. Chachkes) So you believe you've
         16        A.    Fine.                                      14:13:37 16                already answered that?
14:12:30 17        Q.    -- answer.                                 14:13:37 17                    A.      Yes.
14:12:30 18        A.    That's fine.                               14:13:38 18                    Q.      Okay. And if I were to say you don't care
14:12:30 19        Q.    Do you care --                             14:13:41 19                about whether an analyst is misidentifying a
14:12:31 20        A.    I'm going to answer it the same way, so we 14:13:44 20                morphology, would I be wrong or right?
14:12:33 21   can move on.                                          14:13:46 21                            MS. O'DELL: You would be misstating his
14:12:34 22        Q.    I want a clear record. If you don't want   14:13:48 22                    testimony. Object to the question.
14:12:36 23   to answer -- do you care --                           14:13:49 23                    Q.      (By Mr. Chachkes) If I said you do care
14:12:37 24        A.    I've answered already.                     14:13:52 24                that an analyst misidentified the morphology of
14:12:37 25              MS. O'DELL: Excuse me. He's answered       14:13:56 25                asbestos, would I be wrong or right?
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14:13:57  1             MS. O'DELL: Object to the form. He's                    14:16:02  1        Q.     (By Mr. Chachkes) Okay. Meaning some
14:13:59  2       answered your question.                                       14:16:06  2   of -- strike that.
14:13:59  3             THE WITNESS: I've already answered the                  14:16:06  3               Does a -- you understand what a cleavage
14:14:01  4       question.                                                     14:16:10  4   fragment is?
14:14:01  5             MR. CHACHKES: Okay. We're going to add                  14:16:11  5        A.     Yes.
14:14:03  6       that to the list of questions for the                         14:16:11  6        Q.     Would you call a cleavage fragment
14:14:04  7       magistrate.                                                   14:16:13  7   asbestos?
14:14:09  8       Q.    (By Mr. Chachkes) Does whether you                      14:16:13  8        A.     If it was of the size and shape that met
14:14:12  9   identify something as a bundle or a fiber affect the              14:16:16  9   the regulatory definition, yes.
14:14:15 10   concentration values in your report?                              14:16:18 10        Q.     Do cleavage fragments have a different
14:14:19 11       A.    No.                                                     14:16:21 11   particle size distribution than asbestos?
14:14:19 12       Q.    Not at all?                                             14:16:26 12               MS. O'DELL: Object on the form.
14:14:24 13       A.    No.                                                     14:16:27 13               THE WITNESS: They can.
14:14:24 14       Q.    Does the Rigler 4 demonstrative which is                14:16:29 14        Q.     (By Mr. Chachkes) Okay. Using -- when I
14:14:32 15   derived from your coefficient of variation study lead             14:16:31 15   say geological definition, I've heard you guys talk
14:14:36 16   you to believe that maybe the TEM is not the best                 14:16:34 16   about --
14:14:39 17   apparatus for resolving morphology?                               14:16:34 17        A.     Yes.
14:14:41 18       A.    No.                                                     14:16:34 18        Q.     -- I'm going to use your phrase geological
14:14:42 19             MS. O'DELL: Object to the form.                         14:16:37 19   definition of asbestos.
14:14:43 20             THE WITNESS: It is the best.                            14:16:39 20        A.     All right.
14:14:45 21       Q.    (By Mr. Chachkes) No evidence will shake                14:16:39 21        Q.     Using a geological definition of asbestos,
14:14:46 22   you from that opinion?                                            14:16:42 22   can you have a cleavage fragment that is greater than
14:14:47 23       A.    No.                                                     14:16:46 23   5-to-1 aspect ratio?
14:14:47 24       Q.    Okay. Let's talk about asbestos. Ready?                 14:16:48 24               MS. O'DELL: Object to the form.
14:14:56 25       A.    I thought that's what we've been talking                14:16:49 25               THE WITNESS: In my opinion, the answer to
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14:14:58  1   about.                                                         1  14:16:52           that is yes.
14:14:58  2        Q.    Completely different topic.               14:16:53  2                     Q.     (By Mr. Chachkes) Okay. And using the
14:14:59  3        A.    All right.                                14:16:56  3                geological definition of asbestos as you have used
14:15:00  4        Q.    You talk about the Blount paper in your   14:17:02  4                it, there can be an asbestiform particle that has an
14:15:02  5   expert report; correct?                              14:17:06  5                aspect ratio of below 3-to-1?
14:15:04  6        A.    Yes.                                      14:17:08  6                            MS. O'DELL: Object to the form.
14:15:04  7        Q.    Okay. In the Blount paper there's a       14:17:10  7                            THE WITNESS: Are you talking about what
14:15:06  8   particle size distribution?                          14:17:13  8                     kind of particle?
14:15:09  9        A.    Yes.                                      14:17:14  9                     Q.     (By Mr. Chachkes) Asbestiform particle.
14:15:09 10        Q.    Okay. And out in the published literature 14:17:15 10                     A.     Smaller than 3-to-1?
14:15:16 11   there are publications that have particle sized      14:17:17 11                     Q.     Yeah.
14:15:21 12   distributions that -- strike that.                   14:17:17 12                     A.     I mean, from a regulatory standpoint, it
14:15:25 13              That there's a characteristic -- there is 14:17:22 13                would be 3-to-1, 5-to-1. So --
14:15:27 14   a characteristic particle size distribution for      14:17:27 14                     Q.     Yeah. I don't want to interrupt.
14:15:30 15   asbestos; is that correct?                           14:17:29 15                            So for just a geological definition as
14:15:31 16        A.    Well, depending on how that sample's been 14:17:31 16                you've -- as --
14:15:43 17   processed, you're going to have different fiber      14:17:34 17                     A.     Yeah.
14:15:45 18   sizes, different -- they're going to be different.   14:17:34 18                     Q.     It's just a geological definition as you
14:15:48 19   You're going to have different aspect ratios and     14:17:39 19                have used that phrase, can there be, under the
14:15:51 20   different sizes.                                     14:17:42 20                geological definition, asbestos with an aspect ratio
14:15:51 21        Q.    For any given sample that everyone agrees 14:17:45 21                below 3-to-1?
14:15:56 22   is asbestos, it's going to have a characteristic     14:17:46 22                            MS. O'DELL: Object to the form.
14:15:59 23   particle size distribution; right?                   14:17:47 23                            THE WITNESS: Well, the geological
14:16:00 24              MS. O'DELL: Object to the form.           14:17:51 24                     definition that we've talked about has to do
14:16:01 25              THE WITNESS: It can.                      14:17:54 25                     with macro, large, very large that you can hold
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14:17:58  1        in your hand kinds of particles. So in most                      14:20:00  1   part would still be gold?
14:18:03  2        cases of that size, you know, you may see some                   14:20:01  2           A.    Correct.
14:18:08  3        that are in that range, but you have to use the                  14:20:01  3           Q.    And I can keep going doing that until I
14:18:09  4        PLM to see them, probably.                                       14:20:05  4   had very small pieces and they still would be gold?
14:18:11  5        Q.       (By Mr. Chachkes) Okay. If I took, under                14:20:07  5           A.    Sure.
14:18:14  6   the geological definition, a tremolite particle that                  14:20:08  6           Q.    You're saying the same does not apply to
14:18:17  7   had a 6-to-1 aspect ratio and I snapped it into two                             7   asbestos, that I could break asbestos and at a
14:18:21  8   3-to-1 aspect ratio particles, under the geological                   14:20:10  8   certain point it's not asbestos?
14:18:24  9   definition those two particles would still be                         14:20:11  9                 MS. O'DELL: Object to the form.
14:18:27 10   asbestos; right?                                                      14:20:12 10                 THE WITNESS: Well, I mean, chemically it
14:18:28 11        A.       Yes. I mean, if they were -- yeah. They                 14:20:15 11           still is. Yes.
14:18:32 12   were on a -- yes, they would be.                                      14:20:17 12           Q.    (By Mr. Chachkes) Okay. You use -- so I
14:18:34 13        Q.       Let me ask it --                                        14:20:26 13   didn't see the phrase asbestiform talc in your
14:18:35 14        A.       If they were equally divided.                           14:20:28 14   report; is that correct?
14:18:36 15        Q.       Yeah. Let me just ask a better question                 14:20:30 15           A.    I don't -- it might be in there, yeah, I
14:18:38 16   to be fair.                                                           14:20:33 16   think it is. Yeah.
14:18:39 17                 If I had a tremolite particle that was --               14:20:34 17           Q.    Okay. In your report at page 8 you talk
14:18:42 18   that had a 6-to-1 aspect ratio and I snapped it into                  14:20:37 18   about fibrous talc, you found fibrous talc in
14:18:46 19   three parts perfectly evenly so that each had a                       14:20:42 19   98 percent of the Italian and Vermont talc samples by
14:18:50 20   2-to-1 aspect ratio, under the geological definition                  14:20:45 20   ISO 22262. Does that ring a bell?
14:18:53 21   each of those would still be asbestos; right?                         14:20:48 21           A.    Yes.
14:18:54 22                 MS. O'DELL: Object to the form.                         14:20:48 22           Q.    What is your definition of fibrous talc?
14:18:56 23                 THE WITNESS: On a microscopic scale they                14:20:50 23           A.    It would be talc that had that aspect
14:18:58 24        wouldn't be. I mean, they wouldn't fit the                       14:20:52 24   ratio of 5-to-1.
14:19:00 25        regulatory definition.                                           14:20:53 25           Q.    You would require parallel sides as well?
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14:19:00  1        Q.       (By Mr. Chachkes) I'm talking about the           1     14:20:56              A.    Yes.
14:19:01  2   geological.                                           14:20:56  2                           Q.    Is there a scientific consensus that there
14:19:02  3         A.     I mean --                                14:21:01  3                   is such a thing as fibrous talc?
14:19:08  4                MS. O'DELL: Object to the form.          14:21:02  4                           A.    Yes.
14:19:09  5                THE WITNESS: Yeah, I don't -- I mean, I  14:21:02  5                           Q.    Are you aware of any epidemiologist or
14:19:11  6         think on a microscale versus, you know, what I  14:21:07  6                   doctor who has studied the health effects of fibrous
14:19:14  7         can see in my hand. See what I'm saying?        14:21:09  7                   talc?
14:19:17  8         Q.     (By Mr. Chachkes) No.                    14:21:10  8                                 MS. O'DELL: Object to the form.
14:19:18  9         A.     Yeah. Well, that's how I feel about the  14:21:11  9                                 THE WITNESS: Well, if the talc -- if
14:19:22 10   question you just asked me. I'm not quite sure of     14:21:18 10                           there's fibrous talc in with -- let's just say
14:19:24 11   exactly -- I mean, I understand what the concept is,  14:21:22 11                           we called it talc, whether it's got a fibrous
14:19:28 12   but when you're saying on a geological scale, I mean, 14:21:24 12                           component or not, platy, you know, mostly platy.
14:19:32 13   if the aspect ratio is less than 3-to-1, it wouldn't  14:21:30 13                           As far as IARC is concerned, they say that that
14:19:35 14   come under the regulatory definition.                 14:21:35 14                           is -- that will be -- if it has asbestos in it,
14:19:37 15         Q.     Right. But I'm not asking about          14:21:38 15                           it's going to be regulated and hazardous to
14:19:38 16   regulatory.                                           14:21:44 16                           health.
14:19:39 17         A.     Well, that's where I am with it.         14:21:44 17                           Q.    (By Mr. Chachkes) The question was are
14:19:41 18         Q.     Right.                                   14:21:45 18                   you aware of any epidemiologist or doctor who has
14:19:43 19         A.     I mean, if you're going to say it's      14:21:48 19                   studied the health effects of fibrous talc?
14:19:45 20   asbestiform, it's got to have that ratio. It's got    14:21:51 20                                 MS. O'DELL: Object to the form.
14:19:50 21   to have at least a 5-to-1 ratio.                      14:21:53 21                           Q.    (By Mr. Chachkes) It's a yes or no
14:19:52 22         Q.     So if I have a chunk of gold and I break 14:21:54 22                   question.
14:19:54 23   it in half, each half would still be gold; right?     14:21:54 23                           A.    Yes, there have been numerous studies on
14:19:57 24         A.     Yeah.                                    14:21:59 24                   fibrous talc, and I don't know if they're in some of
14:19:57 25         Q.     If I break those two halves again, each  14:22:04 25                   our reference material or not, but there have been
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14:22:05  1   numerous studies that have been done.                             14:23:27  1         A.   I understand. I understand.
14:22:07  2       Q.    Can you name a single doctor or                         14:23:27  2         Q.   Can you identify any published authority
14:22:09  3   epidemiologist who has done a study on the health                 14:23:29  3   for your definition of fibrous talc?
14:22:11  4   effects of fibrous talc --                                        14:23:31  4         A.   Sure.
14:22:13  5             MS. O'DELL: Object to the form --                       14:23:31  5         Q.   What?
14:22:14  6             THE WITNESS: Are you talking about                      14:23:32  6         A.   I would want to say EPA right now.
14:22:15  7       medical doctors, Ph.D.s, what? You said doctor.               14:23:46  7         Q.   Any other?
14:22:18  8       Q.    (By Mr. Chachkes) Let's say medical                     14:23:47  8         A.   I'd have to think about that.
14:22:20  9   doctor.                                                           14:23:50  9         Q.   Specifically what EPA document?
14:22:20 10       A.    Yeah, let's say doctors like you said                   14:23:53 10         A.   I'll have to find that for you. Be happy
14:22:22 11   before, then yes, there are.                                      14:23:58 11   to find that.
14:22:23 12       Q.    Okay. Start with medical doctors.                       14:23:58 12         Q.   In the method in the 22262 method that you
14:22:25 13       A.    Okay.                                                   14:24:04 13   used in your report, does it use the phrase fibrous
14:22:30 14       Q.    Can you name a medical doctor who has                   14:24:08 14   talc?
14:22:30 15   studied the health effects of fibrous talc?                       14:24:08 15         A.   I don't recall. I'd have to look through
14:22:30 16       A.    There are --                                            14:24:10 16   it.
14:22:31 17             MS. O'DELL: Object to the form.                         14:24:11 17         Q.   Does it use the phrase asbestiform talc?
14:22:31 18             THE WITNESS: I can't name one right now                 14:24:13 18         A.   Same answer.
14:22:35 19       as I sit here, but there are that have done                   14:24:14 19         Q.   Do you think those phrases are in there?
14:22:36 20       those studies.                                                14:24:17 20         A.   I would have to look.
14:22:37 21       Q.    (By Mr. Chachkes) Can you name an                       14:24:18 21         Q.   Are fibrous talc and asbestiform talc
14:22:38 22   epidemiologist?                                                   14:24:24 22   different?
14:22:39 23             MS. O'DELL: Object to the form.                         14:24:25 23         A.   Fibrous talc and asbestiform talc, if it
14:22:40 24             THE WITNESS: There are ones that have.                  14:24:29 24   meets the definition, it would be considered
14:22:41 25       Q.    (By Mr. Chachkes) Can you name one?                     14:24:31 25   asbestiform talc, and you could still call it fibrous
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14:22:42  1       A.    No, not as I sit here right here.                       14:24:34  1   talc.
14:22:44  2       Q.    Can you name just a general doctor who has              14:24:35  2         Q.   Are they --
14:22:46  3   studied the health effects of fibrous talc?                       14:24:35  3         A.   So they could be one and the same.
14:22:49  4             MS. O'DELL: Object to the form.                         14:24:37  4         Q.   Could they be one and the same --
14:22:49  5             THE WITNESS: It's the same answer to the                14:24:39  5         A.   Let's say they are. If they meet the
14:22:51  6       question. Doctor, doctor.                                     14:24:41  6   definition, then they are.
14:22:52  7       Q.    (By Mr. Chachkes) Okay. Well, there's                   14:24:43  7         Q.   So the two phrases are synonymous?
14:22:53  8   medical doctor and regular -- and other -- like                   14:24:46  8         A.   If they meet the specifications for the
          9   you're a doctor --                                                14:24:48  9   regulated fiber, the definition, than they are.
         10       A.    Well --                                                 14:24:50 10         Q.   Is there a situation where fibrous talc
         11             THE REPORTER: Wait. Wait.                               14:24:53 11   and asbestiform talc aren't the same?
14:22:58 12             THE WITNESS: I know, but we said doctors.               14:24:56 12              MS. O'DELL: Object to the form.
14:23:02 13       Q.    (By Mr. Chachkes) But sitting here today                14:24:57 13              THE WITNESS: Again, if they don't meet
14:23:03 14   you can't name just a Ph.D. who has studied -- just               14:24:58 14         the aspect ratio, then they wouldn't be the
14:23:06 15   by name -- a Ph.D. who has studied the health effects             14:25:03 15         same.
14:23:09 16   of fibrous talc -- exposure to fibrous talc?                      14:25:03 16         Q.   (By Mr. Chachkes) Well, then they
14:23:10 17             MS. O'DELL: Object to form.                             14:25:04 17   wouldn't be fibrous talc and asbestiform --
14:23:12 18             THE WITNESS: As I sit right here, I can't               14:25:06 18         A.   Sure. They could be --
14:23:14 19       name them, but they do exist. I have reference                14:25:06 19              MS. O'DELL: Object to the form.
14:23:17 20       material and I'd be happy to get that for you.                14:25:09 20              THE WITNESS: -- fibrous at 4-to-1,
14:23:20 21       Q.    (By Mr. Chachkes) Can you identify --                   14:25:09 21         3-to-1, 2-to-1. Sure. They will have a fibrous
14:23:21 22       A.    Would you like to have that material?                   14:25:13 22         form.
14:23:23 23   Would you like to have that --                                    14:25:13 23         Q.   (By Mr. Chachkes) So you're saying that
14:23:24 24       Q.    This deposition doesn't work if you ask                 14:25:14 24   if there's -- you could have fibrous talc at a 2-to-1
14:23:26 25   questions back to me.                                             14:25:18 25   aspect ratio, but it would not be asbestiform talc?
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14:25:21  1       A.    Correct.                                                14:27:06  1   lead to elongate fragments that conform to the
14:25:21  2       Q.    Are there two kinds of tremolite,                       14:27:09  2   definition of an asbestiform fiber?
14:25:34  3   asbestiform and nonasbestiform?                                   14:27:11  3             MS. O'DELL: Object to form.
14:25:36  4       A.    Yes.                                                    14:27:12  4             THE WITNESS: Yes.
14:25:36  5       Q.    Just identifying something as tremolite                 14:27:12  5       Q.    (By Mr. Chachkes) Do you agree with this
14:25:41  6   doesn't mean it's asbestiform?                                    14:27:13  6   statement: Crushed nonasbestiform amphiboles rarely
14:25:43  7             MS. O'DELL: Object to the form.                         14:27:17  7   have aspect ratios exceeding 30-to-1?
14:25:44  8             THE WITNESS: It can be massive tremolite.               14:27:21  8       A.    I mean, that is -- that's been stated, but
14:25:47  9       You know, if it's fibrous and it meets the                    14:27:29  9   it's as rarely -- so it's not 100 percent. So you
14:25:49 10       definition, then it's going to be asbestiform.                14:27:35 10   can have some.
14:25:51 11       I mean, according to the definition.                          14:27:35 11       Q.    But you agree with the statement?
14:25:53 12       Q.    (By Mr. Chachkes) The question is just                  14:27:38 12             MS. O'DELL: Object to the form. He just
14:25:54 13   identifying something as tremolite does not mean it's             14:27:40 13       said what he thought about the statement.
14:25:56 14   asbestiform; is that correct?                                     14:27:41 14             THE WITNESS: Yeah.
14:25:57 15             MS. O'DELL: Object to the form.                         14:27:41 15       Q.    (By Mr. Chachkes) It's yes or no. Do
14:25:58 16             THE WITNESS: Once again, you would have                 14:27:43 16   crushed -- do you agree with this statement, yes or
14:26:02 17       to look at the form.                                          14:27:45 17   no: Crushed nonasbestiform amphiboles rarely have
14:26:03 18       Q.    (By Mr. Chachkes) To determine whether                  14:27:48 18   aspect ratios exceeding 30-to-1?
14:26:04 19   it's asbestiform?                                                 14:27:50 19             MS. O'DELL: You may answer it any way
14:26:05 20       A.    Yes.                                                    14:27:52 20       you'd like, Doctor. You're not restricted.
14:26:06 21             MS. O'DELL: Object to the form.                         14:27:54 21             THE WITNESS: I mean, I've already
14:26:07 22       Q.    (By Mr. Chachkes) Just identifying                      14:27:55 22       answered part of the question, and I would say
14:26:08 23   something as anthophyllite doesn't mean it's                      14:27:56 23       yes, you know.
14:26:10 24   asbestiform; correct?                                             14:28:00 24             MS. O'DELL: We have been going about an
14:26:11 25             MS. O'DELL: Object to the form.                         14:28:01 25       hour. Why don't we take a quick break.
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14:26:12  1             THE WITNESS: Once again, if it meets the                14:28:04  1             MR. CHACHKES: Sure.
14:26:15  2       definition than it would be.                                  14:28:43  2             (Recess from 2:28 p.m. to 2:52 p.m.)
14:26:17  3       Q.    (By Mr. Chachkes) Okay. And if it                                 3             (Defendants' Exhibit 1 was marked for
14:26:19  4   doesn't meet the definition, it wouldn't be?                      14:52:54  4       identification.)
14:26:21  5             MS. O'DELL: Object to the form.                         14:52:54  5       Q.    (By Mr. Chachkes) Okay. Dr. Rigler, this
14:26:22  6             THE WITNESS: Well, it's still                           14:53:11  6   has already been marked as Rigler Exhibit 1. Can you
14:26:23  7       anthophyllite. It may be, you know, below the                 14:53:15  7   confirm that those are MAS invoices?
14:26:26  8       aspect ratio again. Causes the same health                    14:53:17  8       A.    Let's see. It has MAS on the letterhead.
14:26:30  9       effects.                                                      14:53:26  9   They look like they are, yep.
14:26:30 10       Q.    (By Mr. Chachkes) What's a cleavage                     14:53:29 10       Q.    Okay. It looks like the first page is an
14:26:36 11   fragment again?                                                   14:53:31 11   April invoice. Am I right there?
14:26:36 12             MS. O'DELL: Asked and answered.                         14:53:33 12       A.    April 8 to April 11, 2018.
14:26:38 13             THE WITNESS: Yeah. Talked about that                    14:53:38 13       Q.    Okay. And it looks like the second one on
14:26:39 14       already.                                                      14:53:42 14   page 2 is a March invoice?
14:26:39 15       Q.    (By Mr. Chachkes) So what is it?                        14:53:44 15       A.    Let's see. Yes.
14:26:41 16       A.    It is a -- it's a form that would not have              14:53:46 16       Q.    And then page 3 looks like a single block
14:26:45 17   parallel sides. Wouldn't have the aspect ratio.                   14:53:50 17   billing for, I'm guessing, the report, the
14:26:49 18   It's going to be an odd shape.                                    14:53:56 18   November 15 report?
14:26:50 19       Q.    Is something that had nonparallel sides                 14:53:56 19       A.    I don't know. I have no idea. First time
14:26:55 20   with an aspect ratio of 6-to-1, would that be a                   14:53:59 20   I've seen these.
14:26:59 21   cleavage fragment?                                                14:53:59 21       Q.    Okay.
14:27:00 22             MS. O'DELL: Object to the form.                         14:54:00 22       A.    Yeah, so I don't know.
14:27:01 23             THE WITNESS: Most likely.                               14:54:01 23       Q.    Okay. So you wouldn't know whether
14:27:02 24       Q.    (By Mr. Chachkes) Do you agree with the                 14:54:03 24   there's other billing --
14:27:03 25   statement: Crushing of nonasbestiform amphibole can               14:54:04 25       A.    I have no idea.
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14:54:05  1        Q.   And you don't know whether there's                   1  14:55:25          A.     I guess it does.
14:54:07  2   underlying documents that support these?             14:55:27  2                    Q.     Okay.
14:54:09  3         A.    I don't know.                            14:55:27  3                    A.     I just give them the hours.
14:54:10  4         Q.    And you don't --                         14:55:29  4                    Q.     Okay. I'm done with that one.
14:54:11  5         A.    Have to ask Dr. Longo.                   14:55:34  5                    A.     All right.
14:54:12  6         Q.    Okay. And you don't know what the block  14:55:34  6                           MR. CHACHKES: I still have a request
14:54:14  7   billing is for on number 3?                          14:55:35  7                    pending for billing.
14:54:15  8         A.    No.                                      14:55:37  8                           MS. O'DELL: That's what I have in my
14:54:16  9         Q.    The third page, that is?                 14:55:39  9                    possession.
14:54:17 10         A.    No, I don't.                                      10                           MR. CHACHKES: Okay.
14:54:18 11         Q.    Do you know why the number 14 appears on 14:55:39 11                           MS. O'DELL: If we receive any others,
14:54:22 12   the third page?                                      14:55:41 12                    I'll let you know.
14:54:23 13         A.    That would be the department number.     14:55:43 13                    Q.     (By Mr. Chachkes) Okay. Can you pull up
14:54:26 14         Q.    It's your department?                    14:55:50 14                Exhibit 5, which is, I think, if I've got it right,
14:54:27 15         A.    14, yes.                                 14:56:04 15                22262-2.
14:54:28 16         Q.    And what's that called?                  14:56:14 16                           MR. SILVER: Alex, just for the record,
14:54:31 17         A.    I think it's called legal.               14:56:16 17                    when you say exhibit numbers, these are exhibits
14:54:33 18         Q.    Okay. So you're in legal?                14:56:17 18                    to the depo of Dr. Longo that happened on
14:54:34 19         A.    Yes.                                     14:56:21 19                    February 5 of 2019?
14:54:35 20         Q.    Are you in any other departments?        14:56:23 20                           MR. CHACHKES: Correct. And a good
14:54:36 21         A.    No.                                      14:56:24 21                    clarification.
14:54:37 22         Q.    Is Dr. Longo in legal?                   14:56:24 22                    Q.     (By Mr. Chachkes) So this is Exhibit 5 to
14:54:39 23         A.    Yes.                                     14:56:28 23                yesterday's Longo deposition, if you can --
14:54:39 24         Q.    Is he in any other departments?          14:56:29 24                    A.     I don't have that.
14:54:41 25         A.    Well, he is the departments.             14:56:30 25                    Q.     It's probably in this stack. I'll help
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          1        Q.   Oh, okay.                                               14:56:32  1   you find it.
14:54:44  2        A.   He's MAS.                                               14:56:40  2              MS. O'DELL: Are you referring to 22262-2?
14:54:44  3        Q.   Is he in every department, 1 through                    14:56:42  3              MR. CHACHKES: Part 2, yes.
14:54:47  4   whatever?                                                                   4              MS. O'DELL: Part 2.
14:54:47  5        A.   I would say yes to that, but you need to                14:56:45  5              MR. CHACHKES: Dash 2. Okay.
14:54:50  6   ask him about that.                                               14:56:51  6              MS. O'DELL: I think I gave you mine.
14:54:50  7        Q.   What is the department called legal? What                         7              MR. CHACHKES: That one's his. It's got
14:54:52  8   is it?                                                            14:56:58  8       the stamp on it.
14:54:53  9        A.   14. It just says 14.                                              9              MS. O'DELL: It does, but I think I gave
14:54:54 10        Q.   No, I mean substantively, what does legal                        10       him mine earlier.
14:54:58 11   do? Why is there a group called legal?                                     11              THE WITNESS: Yeah, I think you did. It's
14:55:01 12        A.   It's just called. I don't know. That's                           12       in there. She has it, hers.
14:55:02 13   what they've always called it.                                    14:56:59 13       Q.     (By Mr. Chachkes) Okay.
14:55:03 14        Q.   Does it do all the work that is for                     14:56:59 14       A.     There we go.
14:55:06 15   litigations?                                                      14:57:02 15       Q.     Can you turn to page -- well, do you see
14:55:07 16        A.   I don't --                                              14:57:06 16   where there's a section 3, Terms and Definitions,
14:55:09 17             MS. O'DELL: Object to form.                             14:57:10 17   it's very near the front?
         18             THE WITNESS: -- know. You'd have to ask                 14:57:12 18       A.     Yes.
14:55:11 19        Dr. Longo. Because they came up with the                     14:57:12 19       Q.     And there's a definition for asbestiform
14:55:13 20        numbers and designations.                                    14:57:14 20   that's 3.5?
14:55:14 21        Q.   (By Mr. Chachkes) When you do work that                 14:57:22 21       A.     Yes.
14:55:16 22   is billable to, let's say, a company that's not                   14:57:23 22       Q.     And do you see where there's a definition
14:55:21 23   involved in litigation, does that go through unit 14?             14:57:25 23   for asbestos, 3.6?
14:55:24 24        A.   For me?                                                 14:57:26 24       A.     Yes.
14:55:25 25        Q.   Yes.                                                    14:57:27 25       Q.     You didn't apply -- when you talk about
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14:57:36  1   asbestos in your report, it's not the definition of                14:59:40  1       Q.      (By Mr. Chachkes) Okay.
14:57:40  2   asbestos that's in 3.6; correct?                                   14:59:41  2       A.      So I hope I've answered your question.
14:57:43  3              MS. O'DELL: Object to the form.                         14:59:43  3       Q.      I thought it was a simple question, so I
14:57:44  4              THE WITNESS: Yeah. The 3.6 definition is                14:59:45  4   guess I have to ask it again.
14:57:49  5       the one that we say is -- this is a geological                 14:59:46  5               But, I mean, when you say there is
14:57:54  6       definition.                                                    14:59:50  6   asbestos in your report in J&J's bottles of cosmetic
14:57:54  7       Q.     (By Mr. Chachkes) Right. And so my                      14:59:56  7   talc, do you mean to say that it contains a group of
14:57:55  8   question is when I read the word asbestos in your                  14:59:59  8   silicate materials belonging to the serpentine and
14:57:57  9   report, it's not the 3.6 definition in this                        15:00:02  9   amphibole groups which have crystallized in the
14:58:02 10   Exhibit 5; right?                                                  15:00:05 10   asbestiform habit, causing them to be easily
14:58:03 11              MS. O'DELL: Object to the form.                         15:00:08 11   separated into long, thin, flexible, strong fibers
14:58:04 12              THE WITNESS: It is based on the                         15:00:12 12   when crushed or processed?
14:58:08 13       regulatory definition.                                         15:00:14 13       A.      If -- again, you know, we go by what's in
14:58:09 14       Q.     (By Mr. Chachkes) And the same question:                15:00:21 14   the definition, the regulatory definition. And
14:58:11 15   Is it the -- it's different from the definition in                 15:00:24 15   again, that does overlap -- some of the wording in
14:58:15 16   3.6; correct?                                                      15:00:30 16   those regulatory documents overlap what's in here
14:58:16 17       A.     The regulatory definition?                              15:00:35 17   too. So that would be applicable, if that helps
14:58:18 18       Q.     The definition you're looking at right in               15:00:38 18   answer the question.
14:58:20 19   front of you --                                                    15:00:39 19       Q.      I think you know what the question is.
         20       A.     Yes.                                                    15:00:41 20   It's a very simple one.
14:58:21 21       Q.     -- that's 3.6?                                          15:00:42 21               Is that your definition of asbestos in
14:58:22 22       A.     Yes.                                                    15:00:44 22   your report?
14:58:22 23       Q.     So in your report when you use asbestos,                15:00:45 23               MS. O'DELL: Object to the form.
14:58:24 24   it's different than 3.6?                                           15:00:46 24       Q.      (By Mr. Chachkes) Yes or no?
14:58:26 25              MS. O'DELL: Object to the form.                         15:00:48 25               MS. O'DELL: Object to the form --
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14:58:27  1              Go ahead.                                               15:00:49  1               THE WITNESS: Part of it is.
14:58:29  2              THE WITNESS: The regulatory definition,                 15:00:50  2               MS. O'DELL: -- ask --
14:58:32  3       again, depending upon the document that you look               15:00:50  3       Q.      (By Mr. Chachkes) -- which part isn't?
14:58:34  4       at, will include some of this language. For                    15:00:51  4               THE REPORTER: Wait.
14:58:37  5       instance, the EPA includes some of this same                   15:00:51  5               MS. O'DELL: Asked and answered.
14:58:41  6       language that's in 3.6, so you'll have some                    15:00:56  6               THE WITNESS: The strong fibers, the long,
14:58:43  7       overlap there.                                                 15:01:00  7       flexible, strong fibers portion of it.
14:58:44  8       Q.     (By Mr. Chachkes) I'm not asking about                  15:01:01  8       Q.      (By Mr. Chachkes) Okay. You have not
14:58:45  9   overlap.                                                           15:01:02  9   determined that J&J talc -- one way or the other,
14:58:46 10              Can I assume that whenever you use the                  15:01:06 10   whether it is or isn't, you haven't done a
14:58:47 11   phrase asbestos in your report you mean verbatim what              15:01:09 11   determination of what you're calling asbestos in J&J
14:58:50 12   is in 3.6 that's right in front of you?                            15:01:12 12   talc is easily separated into long, thin, flexible,
14:58:53 13              MS. O'DELL: Object to the form. That's                  15:01:16 13   strong fibers when crushed or processed?
14:58:55 14       not what he said.                                              15:01:18 14               MS. O'DELL: Object to form.
14:58:56 15              THE WITNESS: I hear what you're saying.                 15:01:19 15               THE WITNESS: I don't know how we would do
14:59:00 16       Again, the regulatory definitions by standard                  15:01:20 16       that.
14:59:07 17       groups, such as EPA, ASTM, they have this                      15:01:20 17       Q.      (By Mr. Chachkes) Okay. And can you turn
14:59:16 18       language in their definition, all right. So                    15:01:24 18   to the next page, to cleavage fragment. Is that the
14:59:20 19       there's an overlap there.                                      15:01:28 19   definition of cleavage fragment in 3.12 that you use
14:59:21 20              If you want to say we don't do that, what               15:01:32 20   in your report?
14:59:24 21       I would say is there is an overlap there, but                  15:01:33 21       A.      I don't believe we're -- ask the question
14:59:28 22       this is a geological definition, and we -- you                 15:01:38 22   again. Is that what we use in our report?
14:59:35 23       can't measure this flexibility and strength at                 15:01:40 23       Q.      Let me take a step back.
14:59:37 24       the level of the structures that we're looking                          24       A.      Is that the --
14:59:40 25       at.                                                            15:01:42 25       Q.      Do you use the phrase cleavage fragment in
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15:01:45  1   your report?                                                    1 15:03:30                 The first one is easy. I just want to
15:01:46  2              MS. O'DELL: Object to form.                15:03:30  2               make sure that I understand an answer you gave
          3              THE WITNESS: We have used cleavage in our  15:03:32  3               earlier.
15:01:48  4        report.                                          15:03:35  4                          It was my understanding that you were
15:01:48  5        Q.    (By Mr. Chachkes) Okay. Cleavage           15:03:36  5               asked by Mr. Chachkes about whether you were working
15:01:49  6   fragment?                                             15:03:39  6               on something that you intended to be published in
15:01:49  7        A.    I want to say yes to that.                 15:03:43  7               peer-reviewed literature relating to talc, and you
          8        Q.    Okay.                                      15:03:45  8               responded you could not confirm or deny.
15:01:51  9        A.    I'd have to look, but I believe so, yes.   15:03:47  9                          Is that an accurate summarization of your
15:01:53 10        Q.    When I read cleavage fragment in your      15:03:50 10               testimony?
15:01:55 11   report, is it the definition I'm reading in 3.12?     15:03:50 11                    A.    That is what I said.
15:01:59 12        A.    We would, again, refer to how it was --    15:03:51 12                    Q.    Okay. And my understanding is you cannot
15:02:06 13   that it didn't meet the regulatory definition of      15:03:53 13               confirm or deny because you and/or MAS believe that
15:02:09 14   parallel sides, less than 1/2 a micron, 5-to-1 aspect 15:03:58 14               work, if it exists, would be proprietary; is that
15:02:13 15   ratio.                                                15:04:01 15               correct?
15:02:14 16        Q.    Okay. And you would say that in your       15:04:01 16                    A.    And it's our policy also.
15:02:18 17   report, something that is a fragment of a crystal     15:04:03 17                    Q.    Okay. So that work --
15:02:23 18   that is bounded by cleavage faces is not a cleavage   15:04:06 18                    A.    Yes.
15:02:27 19   fragment if it has an aspect ratio of greater than    15:04:06 19                    Q.    Is there a written policy on what MAS
15:02:29 20   5-to-1?                                               15:04:09 20               considers proprietary?
15:02:30 21              MS. O'DELL: Object to form.                15:04:09 21                    A.    That's Dr. Longo's policy, so you'll have
15:02:31 22              THE WITNESS: Correct. If it had the        15:04:11 22               to discuss that with him.
15:02:32 23        defining characteristics of the regulatory       15:04:12 23                    Q.    Okay. But have you ever seen a written
15:02:34 24        definition.                                      15:04:14 24               policy on it?
15:02:39 25              MR. CHACHKES: Okay. No further             15:04:15 25                    A.    I don't recall seeing one. But again,
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15:02:41  1       questions.                                                    15:04:19  1   talk to Dr. Longo.
15:02:42  2             Subject to the same objection and                       15:04:20  2        Q.    Okay. But your understanding, because
15:02:46  3       complaint we had yesterday about late produced                15:04:22  3   you're the one -- right now, your understanding is
15:02:49  4       documents, I'll pass the witness.                             15:04:24  4   it's proprietary, and you got that understanding from
15:02:52  5             MS. O'DELL: You know our position. We                   15:04:26  5   a conversation with Dr. Longo?
15:02:53  6       don't believe they're late produced.                          15:04:28  6        A.    It is proprietary --
15:02:55  7             MR. CHACHKES: I thought you were agreeing               15:04:29  7              MS. O'DELL: Object to form.
15:02:56  8       it was late produced, no?                                     15:04:31  8              THE WITNESS: -- and that's -- yeah, I
15:02:56  9             MS. O'DELL: I just wanted to make sure                  15:04:31  9        have to abide by that.
15:02:58 10       you didn't think my silence was acquiescence.                 15:04:32 10        Q.    (By Mr. Silver) But my question is you
15:03:00 11       We're opposed.                                                15:04:35 11   got that understanding because you had a conversation
15:03:03 12                       EXAMINATION                                   15:04:37 12   with Dr. Longo about it?
15:03:04 13   BY MR. SILVER:                                                    15:04:38 13        A.    That's his policy. Yes.
15:03:05 14       Q.    Good afternoon, Dr. Rigler. My name is                           14        Q.    Okay.
15:03:05 15   Mark Silver. I am representing Imerys Talc America.               15:04:40 15        A.    Yes.
15:03:06 16   I only have a couple of questions for you.                        15:04:41 16        Q.    So I'm going to ask you something a little
15:03:09 17             With my questions, after I ask them, make               15:04:44 17   more discrete and let's see if we get -- if you give
15:03:10 18   sure that your attorneys have a chance to respond.                15:04:48 18   the same answer, you give the same answer.
15:03:13 19   There are some based on off-record conversations they             15:04:49 19        A.    All right.
15:03:16 20   may or may not instruct you to answer and/or you                  15:04:50 20        Q.    This work, whether you're doing it or not,
15:03:19 21   won't feel comfortable answering.                                 15:04:53 21   that's intended to be published in peer-reviewed
15:03:21 22             We're going to do what's known as making a              15:04:57 22   literature, does it have anything to do with any of
15:03:22 23   record so that we can have a collegial disagreement               15:04:59 23   the opinions contained in any of the MDL reports that
15:03:26 24   at some hopefully later date and not today, but we'll             15:05:02 24   have been produced in this case?
15:03:28 25   see how it goes.                                                  15:05:03 25              MS. O'DELL: Object to the form.
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15:05:04  1              THE WITNESS: I can't answer that. I                        15:07:41  1               MR. FROST: I don't have a mic.
15:05:08  2        don't have an answer for that.                                   15:07:48  2               MR. CHACHKES: Switch with me.
15:05:09  3        Q.    (By Mr. Silver) Okay. Same question,                       15:07:48  3               MS. O'DELL: So we've got second J&J
15:05:11  4   does this work intending to be published in                           15:07:50  4       counsel?
15:05:15  5   peer-reviewed literature, if it's being done, have                    15:07:51  5               MR. FROST: J&J is just joining in the
15:05:16  6   anything to do with any of the samples that were                      15:07:52  6       instruction that if there are any Johnson &
15:05:22  7   provided by Imerys in this litigation?                                15:07:55  7       Johnson samples being used in the work that may
15:05:25  8              MS. O'DELL: Objection. Form.                               15:07:56  8       or may not be being done, you know, at this
15:05:26  9              THE WITNESS: Again, I can't -- I can't                     15:07:59  9       point we do not consent to releasing any of the
15:05:28 10        answer that. You'll have to talk to Dr. Longo.                   15:08:01 10       confidentially on the samples that exist under
15:05:31 11        Q.    (By Mr. Silver) All right. This work                       15:08:03 11       the MDL order.
15:05:32 12   that you're intending to be published in                              15:08:08 12               MS. O'DELL: Any further questions
15:05:35 13   peer-reviewed literature, whether or not it's being                   15:08:10 13       for Imerys?
15:05:37 14   done, is it being funded in any way directly or                       15:08:13 14               Okay.
15:05:40 15   indirectly by any of the plaintiffs' counsel?                         15:08:13 15                        EXAMINATION
15:05:43 16        A.    I don't know.                                              15:08:16 16   BY MS. O'DELL:
15:05:43 17        Q.    This work, whether it's being done or not,                 15:08:16 17       Q.      Okay. Dr. Longo [sic], I've got just a
15:05:47 18   with respect to being intended to be published in                     15:08:28 18   few questions for you.
15:05:50 19   peer-reviewed literature, are you working with any                    15:08:30 19               Would you please describe for us your
15:05:54 20   other scientists or experts that are also working                     15:08:34 20   educational background? Let's start there.
15:06:04 21   on -- in this talc litigation?                                        15:08:36 21       A.      I have a Bachelor of Science degree in
15:06:05 22              MS. O'DELL: Object to the form.                            15:08:43 22   biology from Villanova University. And as I stated
15:06:06 23              THE WITNESS: I don't know what their --                    15:08:46 23   before, this was a premedical curriculum, so it was
15:06:09 24        how they're working, in what capacity that way.                  15:08:50 24   heavy on chemistry, organic chemistry. Also I think
15:06:12 25        I don't know.                                                    15:08:56 25   I had comparative anatomy, all the typical
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15:06:13  1        Q.    (By Mr. Silver) Okay. This work, whether                   15:09:01  1   undergraduate courses you have. But the ones that I
15:06:15  2   it's being done or not, is it being worked in                         15:09:03  2   selected beyond that were related to the medical
15:06:17  3   conjunction with scientists outside of MAS?                           15:09:06  3   field.
15:06:22  4        A.    Yes. If it is, in fact.                                    15:09:08  4               And then I have a Ph.D. from the
15:06:25  5        Q.    If it is, in fact, being done.                             15:09:13  5   University of Georgia in microbiology and a heavy
15:06:27  6              I apologize, I don't have realtime here.                   15:09:18  6   emphasis in that on pathogenic organisms, also using
15:06:37  7              With respect to the work, if it is being                   15:09:24  7   electron microscopy techniques in the analysis of
15:06:41  8   done on Imerys samples, do you have an                                15:09:28  8   different types of samples.
15:06:47  9   understanding -- strike that. I'll just state it.                     15:09:30  9               Also have postgraduate training at the
15:06:50 10              To the extent there is work being done,                    15:09:33 10   University of Georgia, also -- we did a lot of
15:06:53 11   Imerys is hereby giving MAS notice verbally and will                  15:09:37 11   research projects for my major professor at that
15:06:56 12   follow it up in writing that it does not have Imerys'                 15:09:42 12   time.
15:06:59 13   consent to use any of the samples that was produced                   15:09:42 13               Then I also taught a semester course at
15:07:01 14   in this litigation. If work's being done and you're                   15:09:49 14   Emory University in human anatomy.
15:07:03 15   using it, MAS is on notice. Imerys will send                          15:09:52 15               So you want me to go on some more?
15:07:07 16   followup in writing.                                                  15:09:55 16       Q.      You can stop when you're finished, when
15:07:13 17              One more.                                                  15:09:58 17   you feel like you've described that. And if you --
15:07:16 18              Any of the work that's being done, if it's                 15:10:01 18   well, let me break right here and just ask this
15:07:19 19   being done with an intent to publish in a peer                        15:10:02 19   question.
15:07:21 20   review, does it have anything to do with any of the                   15:10:03 20               Would you describe briefly your experience
15:07:23 21   underlying data used in any of the MDL reports?                       15:10:09 21   in testing for the presence of asbestos?
15:07:25 22        A.    I don't know. I have no idea. I can't                      15:10:12 22       A.      Okay. I've been with MAS since the early
15:07:29 23   make a comment on it.                                                 15:10:20 23   '90s. I think I came to work there in 1989. And
15:07:34 24              MR. SILVER: No further questions.                          15:10:25 24   we -- one of the first projects that I worked on
15:07:35 25              THE WITNESS: Thank you.                                    15:10:27 25   while I was there was the analysis of these Kent
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15:10:32  1   filter cigarettes that had crocidolite asbestos in              1     15:13:08      our laboratories. So not just asbestos, but, you
15:10:36  2   the filters, and that asbestos was in those filters   15:13:12  2                   know, other types of particulates.
15:10:39  3   up to 10 percent by weight. 10 percent. They were     15:13:13  3                        Q.     Are the testing methodologies that are
15:10:43  4   essentially solid crocidolite asbestos.               15:13:18  4                   employed at MAS methodologies that are generally
15:10:47  5              One of the things that the manufacturers   15:13:23  5                   accepted?
15:10:51  6   had touted was that they were -- how can I put it --  15:13:23  6                        A.     Yes.
15:10:56  7   the best cigarettes for human health, essentially.    15:13:25  7                               MR. CHACHKES: Objection. Leading.
15:10:59  8   And if you talk to people that had smoked those, one  15:13:26  8                               THE WITNESS: These are -- in cases where
15:11:04  9   of the complaints they had was the filter worked so   15:13:31  9                        we're doing analysis, we're using standard
15:11:06 10   well that all you got was hot air out of them, and we 15:13:33 10                        methodologies. Whether it be mass
15:11:09 11   can see why.                                          15:13:36 11                        chromatography, ion chromatography, all these
15:11:10 12              But nonetheless, we published a paper      15:13:43 12                        are standard methods that we work, and we create
15:11:13 13   based on our findings in manipulating the way that a  15:13:45 13                        SOPs from the standard methods. So they are
15:11:19 14   smoker would with those cigarettes to see if there    15:13:45 14                        incorporated into the actual methods that we
15:11:22 15   were asbestos shed from those filters.                15:13:51 15                        use.
15:11:26 16              Well, it turns out that we weren't the     15:13:51 16                               And again, here in the asbestos analysis
15:11:28 17   first ones that found that information out, that at   15:13:54 17                        area, we have multiple standard methodologies
15:11:31 18   the time there was a laboratory -- trying to remember 15:13:57 18                        that we use.
15:11:36 19   the name -- Ernest Fullam laboratory who actually did 15:13:57 19                        Q.     (By Ms. O'Dell) Have you employed those
15:11:40 20   work for the manufacturer, and they actually had      15:13:59 20                   standard methodologies in your work in preparing the
15:11:42 21   looked at that smokescreen for asbestos and found     15:14:03 21                   report for the MDL?
15:11:47 22   that they had plenty of it coming out of there at the 15:14:05 22                               MR. CHACHKES: Objection. Leading.
15:11:50 23   time. So what we did was a study where we quantified 15:14:06 23                                THE WITNESS: Yes. Yes, we have. And
15:11:53 24   that amount.                                          15:14:08 24                        they are all listed in the report.
15:11:54 25              And then that was published rapidly in the 15:14:10 25                        Q.     (By Ms. O'Dell) You've talked today about
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15:11:57  1   Journal of Cancer so that it could get out and people                 15:14:12  1   a quality control program that you have at MAS.
15:12:01  2   could know that if they had smoked these cigarettes                   15:14:16  2   Please describe that, you know, generally.
15:12:03  3   before, it was time to talk to a doctor.                              15:14:19  3        A.     Okay. The quality program for us to be
15:12:05  4              So that was one of the first studies that                  15:14:25  4   certified by NVLAP NIST, National Institute of
15:12:08  5   I worked on on the asbestos side.                                     15:14:30  5   Standards and Technology, is essentially along the
15:12:11  6              The other, we developed a filter cassette                  15:14:33  6   lines of what's called ISO 17025, which is
15:12:15  7   at the laboratory that we were in the process of                      15:14:37  7   methodologies for laboratories.
15:12:18  8   manufacturing, and so we were in that business for a                  15:14:41  8               And they have an entire suite of quality
15:12:23  9   while so I helped with that technology.                               15:14:46  9   controls that you use for all of your
15:12:25 10              But we also did things like testing                        15:14:49 10   instrumentation, for your calibration methods, and
15:12:28 11   batteries. I know that you've heard the Sears                         15:14:53 11   for the analysts, because in these cases, the
15:12:31 12   DieHard batteries. So we did tests on those                           15:14:56 12   analysts are essentially the machines. They're not
15:12:34 13   batteries because they were coming back -- people                     15:15:00 13   like gas chromatographs; they are people, and the
15:12:37 14   were buying them and then the battery would die                       15:15:03 14   people have to be certified for the methods.
15:12:39 15   within a very short period of time, and the                           15:15:05 15               So they are put through the rigors of
15:12:43 16   contention was that these batteries were defective.                   15:15:08 16   actually extensive training in the beginning when
15:12:46 17              Well, what was happening was they were                     15:15:12 17   they come to our laboratory, and then they have to
15:12:47 18   buying batteries from people, charging them up, and                   15:15:15 18   take periodic tests, if you will, from the American
15:12:50 19   putting them back on the shelf. So we essentially                     15:15:19 19   Industrial Hygiene Institute, AIHA, and also NIST
15:12:53 20   proved that that was happening. And that was a large                  15:15:25 20   NVLAP. They'll send us blind samples, and then what
15:12:55 21   study that we did in the early '90s also. So it was                   15:15:29 21   we have to do is analyze them and identify them.
15:12:58 22   a big materials analysis study.                                       15:15:32 22               So -- and we do the same thing for other
15:13:01 23              But over the years I've participated in                    15:15:34 23   programs. Like we do mold analysis, and we're part
15:13:03 24   hundreds of studies that have analyzed all kinds of                   15:15:37 24   of the AIHA, American Industrial Hygiene
15:13:06 25   particulates using the technologies that we have at                   15:15:41 25   Association's, certification for our laboratory.
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15:15:43  1             We also have what's called A2LA. That's                  15:19:06  1             MR. SILVER: Objection to form.
15:15:47  2   another certifying body. They're all based upon the                15:19:08  2             THE WITNESS: Well, of course, there's
15:15:52  3   ISO 17025 for laboratories. So it's very extensive                 15:19:09  3       client confidentiality, which we hold to the
15:15:56  4   quality control.                                                   15:19:13  4       highest in terms of any discussions of any work
15:15:56  5       Q.    For approximately how many years has MAS                 15:19:15  5       that we're doing for anyone else. As you've
15:16:00  6   had a quality control program like you described?                  15:19:19  6       seen today, I haven't talked about any clients
15:16:03  7       A.    Since as long as I've been there.                        15:19:22  7       that we work with, and can't do that.
15:16:06  8       Q.    So more than 30 years?                                   15:19:24  8             As far as publications, that type of
15:16:07  9       A.    Oh, yeah. Yeah.                                          15:19:27  9       thing, we don't -- again, that's just a policy.
15:16:08 10       Q.    What's your responsibility in the quality                15:19:31 10       We had a bad experience a number of years ago,
15:16:10 11   control process?                                                   15:19:35 11       and since that time we've adopted that policy,
15:16:12 12       A.    Well, we have a quality control officer,                 15:19:38 12       and it's part of the confidential documentation
15:16:17 13   and my responsibility is to see that quality of                    15:19:42 13       that we keep.
15:16:26 14   program's followed for the work that we do.                        15:19:49 14             MS. O'DELL: Nothing further. Thank you.
15:16:29 15             Now, I mean, the program's followed                      15:19:53 15             MR. CHACHKES: Nothing more here.
15:16:33 16   according to the certifying body, so we have to                    15:20:02 16             MR. FROST: I just want to make it clear,
15:16:37 17   follow their protocols and standards. And so we just               15:20:06 17       until we can resolve this issue regarding the
15:16:43 18   have to be sure that we've documented all of our                   15:20:08 18       publication or the potential publication of
15:16:46 19   activities for quality in all these areas.                         15:20:09 19       these issues, we would like to and deem that
15:16:49 20       Q.    Are the quality control standard                         15:20:12 20       this deposition remains open.
15:16:55 21   procedures that you've described applied both in --                15:20:14 21             MS. O'DELL: We oppose that, as I think
15:16:59 22   are they applied in nonlitigation matters, I'm                     15:20:17 22       the rule is very clear in terms of discovery of
15:17:02 23   assuming?                                                          15:20:20 23       confidential proprietary matters, and Dr. Rigler
15:17:02 24       A.    Yes.                                                     15:20:23 24       has testified these are proprietary matters, and
15:17:02 25       Q.    Are they applied in litigation matters?                  15:20:27 25       so we would oppose holding the deposition
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15:17:04  1       A.    Yes. They're applied in all matters of                1  15:20:29          open --
15:17:06  2   analysis. So we -- I mean, machine calibration,                 2                          MR. FROST: Sure. That's fine.
15:17:15  3   analyst training calibration, if you will, that way,  15:20:31  3                          MS. O'DELL: -- and certainly discovery.
15:17:19  4   all of that has to be followed.                       15:20:34  4                          MR. FROST: Thank you.
15:17:21  5        Q.    Is the methodology that you've used in     15:20:36  5                          (Deposition concluded at 3:20 p.m.)
15:17:51  6   rendering your opinions in this case the same                   6                          (Pursuant to Rule 30(e) of the Federal
15:17:53  7   methodology that you use in nonlitigation matters?              7                    Rules of Civil Procedure and/or O.C.G.A.
15:17:55  8        A.    Yes. Same standard types of methods.                 8                    9-11-30(e), signature of the witness has been
15:17:59  9   Yes.                                                            9                    reserved.)
15:17:59 10        Q.    Is there anything -- strike that. Let me            10                          (Original transcript sent to Jack Frost.)
15:18:03 11   ask this.                                                      11
15:18:03 12              What was your responsibility in relation            12
15:18:07 13   to the MDL report?                                             13
15:18:10 14        A.    As I stated earlier, it was report review,          14
15:18:14 15   documentation review. As far as data review, I had a           15
15:18:20 16   big portion of the data review. And then the quality           16
15:18:23 17   review.                                                        17
15:18:25 18        Q.    Okay. You've been asked a number of                 18
15:18:33 19   questions about the policy at MAS regarding ongoing            19
15:18:46 20   research or ongoing discussions about research --              20
15:18:50 21        A.    Yes.                                                21
15:18:50 22        Q.    -- and -- do you have an understanding as           22
15:18:56 23   to why it is the policy at MAS not to discuss studies          23
15:19:00 24   that have not been completed or still being                    24
15:19:03 25   formulated?                                                    25
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                                           46776  1       DEPOSITION OF MARK W. RIGLER, PH.D. /FCB
       1           CERTIFICATE
                                                                                                      2      I do hereby certify that I have read all
       2                                                                                                  questions propounded to me and all answers given by
                                                                                                      3   me on the 6th day of February, 2019, taken before
       3   STATE OF GEORGIA:                                                                              Frances Buono, and that:
       4   COUNTY OF HALL:                                                                            4
                                                                                                          _____ 1) There are no changes noted.
       5                                                                                              5   _____ 2) The following changes are noted:

       6                  I hereby certify that the foregoing                                         6       Pursuant to Rule 30(e) of the Federal Rules of
                                                                                                          Civil Procedure and/or the Official Code of Georgia
       7          transcript was taken down, as stated in the
                                                                                                      7   Annotated 9-11-30(e), both of which read in part:
       8          caption, and the questions and answers thereto                                          Any changes in form or substance which you desire to
                                                                                                      8   make shall be entered upon the deposition...with a
       9          were reduced to typewriting under my direction;                                         statement of the reasons given...for making them.
                                                                                                      9   Accordingly, to assist you in effecting corrections,
      10          that the foregoing pages 1 through 228 represent
                                                                                                          please use the form below:
      11          a true, complete, and correct transcript of the                                 10

      12          evidence given upon said hearing, and I further                                 11      Page No.         Line No.    should read:
      13          certify that I am not of kin or counsel to the                                  12
      14          parties in the case; am not in the regular                                              Page No.         Line No.    should read:
                                                                                                  13
      15          employ of counsel for any of said parties; nor
                                                                                                  14      Page No.         Line No.    should read:
      16          am I in anywise interested in the result of said

      17          case.
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      21                    FRANCES BUONO, B-791

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                                                                                                 19       This the       day of            , 20                 .
      18                                                                                         20
                                                                                                          Notary Public
      19                                                                                         21       My commission expires:
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                         Exhibit G
                                                    PLAINTIFF'S
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                         Exhibit H
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   I.        SUMMARY OF OPINIONS

   I have been asked to provide my opinion in the form of an overview of the nature of talc,
   amphibole, and serpentine minerals associated in and around talc deposits. I will discuss the
   differences between amphibole particles that form as asbestos (asbestos fiber) and those that
   form from crushing rock (cleavage fragments) and the distinctions between these two forms of
   amphibole. I will describe the conditions necessary for mineral fiber to form, provide an
   overview of the ways in which talc forms and describe the evidence on the association of
   different talc ores with asbestos. I will also provide my perspectives on how regulatory analytical
   techniques have been used to incorrectly classify cleavage fragments as asbestos fibers.

   The opinions expressed in this report are rendered with a reasonable degree of scientific
   certainty. Based on my education, training and experience as a geologist and my review of
   relevant information for this matter, I have reached the following conclusions and opinions:

        A. Talc is a mineral and a component of cosmetic and industrial talc products. It is formed
           by alteration of Mg-rich rocks. Talc for cosmetic use is mined in only a few places
           because of the stringent requirements for the product.

        B. Amphibole and serpentine are both common rock-forming minerals. Both are hydrated,
           both can be found in Mg-rich rocks, and both can be associated with talc ore. Both occur
           rarely as asbestos.

        C. Amphiboles, talc (and other minerals) may form elongated fragments when they are
           broken during mining, mineral processing and rock and soil excavation. These fragments
           are not “asbestos,” nor “asbestiform” and they do not have the properties of asbestos.

        D. Mineral fiber is uncommon. Amphiboles that form in the asbestiform habit (e.g.,
           asbestos) exhibit special properties that are different than those same amphiboles that
           otherwise form in nature.

        E.   Many naturally occurring minerals will form elongated particles that meet regulatory
             criteria for fiber. Unfortunately, analytical protocols developed for occupational
             monitoring for airborne fiber during asbestos use and for determination of clean air after
             removal of asbestos from school buildings will produce false positives for mineral fiber
             when applied to rock powders. Regulatory criteria are broad and obscure the fundamental
             characteristics of asbestos.

        F.   Amphibole populations of asbestos fibers and cleavage fragments each have distinctive
             characteristics in their optical properties, dimensions and habits. The two types of
             microscopy used in making this distinction, polarized light microscopy (PLM) for optical
             properties and electron microscopy for dimensions and habit. The reports provided by
             plaintiffs’ experts Drs. Longo and Rigler examining the body powder products at issue in
             this litigation do not present evidence consistent with the optical properties or habit of
             asbestos.



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         G. PLM can be used effectively to detect and identify asbestos in talc products because there
            are optical properties that are characteristic of cleavage fragments and others that are
            characteristic of asbestos.

         H. The photomicrographs found in Drs. Longo and Rigler’s reports document the presence
            of cleavage fragments. Particles labeled as bundles do not have morphology consistent
            with that designation (i.e., they are not bundles).

          I. Evidence of fiber bundles is lacking in Drs. Longo and Rigler’s transmission electron
             microscopy (TEM) photomicrographs of tremolite and anthophyllite, despite the fact that
             the particles are labeled as bundles. There is a wide range in the width of particles
             identified as tremolite and anthophyllite, and the particle shapes are consistent with a
             population dominated by cleavage fragments.

         J.   In general, to determine if a particle is asbestiform, one cannot simply calculate its aspect
              ratio. Aspect ratio does not tell anything about actual size, only relative size. Aspect ratio
              has no dimension. Characteristic of both asbestos and cleavage fragments is an increase
              in aspect ratio with increasing length, i.e., longer elongated mineral particles (EMPs)
              have higher aspect ratios. Differences or similarities in aspect ratio frequencies may,
              therefore, be due to differences in length frequencies rather than habit.

         K. TEM techniques do not readily distinguish between EMPs of talc and anthophyllite. PLM
            is the most reliable instrument to make this distinction.

         L.   Based on their geologic settings, reports from mine geologists and literature descriptions
              of the ore deposits providing cosmetic talc for the relevant body powder, it is unlikely
              that asbestos could be found in the talc products from these mines.

         M. The formation of talc does not require nor favor the formation of asbestos in the ore.

         N. In rushing to deal with the asbestos problem of the 1960s, the Occupational Safety and
            Health Administration (OSHA) oversimplified its regulations, and in so doing, confused
            the distinctions between asbestos and cleavage fragments. Today, all regulatory language
            specifies the asbestiform habit, and by policy and practice regulatory bodies do not
            regulate cleavage fragment EMPs as asbestos.

   II.        BACKGROUND AND QUALIFICATIONS

   I graduated cum laude from Wellesley College with a degree in Geology in 1966. I received my
   Ph.D. from Columbia University in 1972 with a major in economic geology, and minors in
   mineralogy, petrology and mining engineering. I was appointed Assistant Professor by the
   Department of Agronomy at the University of Maryland in 1972, but one year later the
   appointment was transferred to the newly formed Department of Geology. I retired as Professor
   of Geology and Distinguished Scholar Teacher in 2014, but continue to hold an appointment as
   Professor Emerita. In addition to my academic appointments, between 2000 and 2014, I held a
   variety of senior level administrative appointments, including Assistant President and Chief of
   Staff, Vice President for Administrative Affairs, and Senior Vice President and Provost.



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   Between 1979 and 2017, I published, among others, 38 articles on talc, amphibole and/or
   asbestos in highly regarded peer-reviewed publications. My curriculum vitae is attached as
   Exhibit A.

   My most recent papers include:

          Wylie, A and P Candela (2015). Methodologies for determining the sources,
          characteristics, distribution, and abundance of asbestiform and non-asbestiform
          amphibole and serpentine in ambient air and water. Journal of Toxicology and
          Environmental Health, Part B: Critical Reviews. 18: 1-42.

          Wylie, A.G. (2016). Amphiboles: Fibers, fragments and mesothelioma. Canadian
          Mineralogist 54(6): 1403-1435.

          Kerrigan, RJ, Candela PA, Piccoli PM, Frank M and Wylie A (2017). Olivine + quartz +
          water ± HCl at mid-crustal conditions: controls on the growth of fibrous talc as
          determined from hydrothermal diamond anvil cell experiments. Canadian Mineralogist.
          55(1): 101-113

          Wylie, A.G. (2017). Mineralogy of Asbestos and fibrous erionite. In Current Cancer
          Research: Asbestos and Mesothelioma, Joseph Testa Ed. Springer, Heidelberg pp, 11-41.

   I am being compensated at a rate of $350 per hour for my expert work in this litigation.

  III.   OPINIONS

            A. What is talc?

   Summary: Talc is a mineral and a component of cosmetic and industrial talc products. It is
   formed by alteration of Mg-rich rocks. Talc for cosmetic use is mined in only a few places
   because of the stringent requirements for the product.

   A mineral name specifies 1) the chemical composition, and 2) the atomic structure; together
   these must be unique to be called by a mineral name.

   Talc is hydrated magnesium silicate (meaning it contains water, magnesium and silicon) with a
   chemical formula of Mg3Si4O10(OH)2. It belongs to a group of minerals known as sheet silicates,
   due to the sheet-like arrangement of the atoms in the structure.

   Talc is the softest mineral known, and it can be broken easily with your fingernail into flat plate-
   like particles; the particles are referred to as “platy.” These smooth, flat particles give the
   material a greasy or slippery feel and make it suitable for body powder. Talc may also form
   irregularly shaped or even elongated prismatic particles, but these are less desirable for cosmetic
   talc. Mineral talc can also form as fibers. In New York State, for example, the fibers are
   asbestiform and probably formed from the alteration of anthophyllite. Talc fiber may also form
   directly from metamorphic fluids without alteration from an amphibole (Kerrigan et al 2017).
   This type of talc fiber is a normal, but not abundant, component of most talc ore.



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   Confusingly, the term “talc” is also used to refer to mineral products containing the mineral talc
   in proportions that vary from about 30 to 100 percent. I will use “talc” to mean the mineral, and
   specify industrial or cosmetic talc when referring to a mineral product that contains it. Talc ore
   means the rock from which the talc was extracted.

   Talc ore is formed by hydrothermal alteration of other minerals during metamorphism. This
   means that at some time in the geologic past, elevated temperature and fluid pressure prevailed in
   rock, resulting in chemical reactions with one set of minerals changing into (metamorphosing)
   another set. Hydrothermal means hot water and metamorphism means mineral transformations.
   Talc results if the starting rock is of the right composition, water is present and the right
   temperature and pressure are in place.

   Talc ore is mined for both industrial and cosmetic use, but from different ore bodies and in
   different mines. Industrial talc used in paint, plastic, rubber and ceramic tile, for example, is
   unsuitable for cosmetic purposes due to its physical properties and mineral composition.
   Industrial talc products vary widely in color, texture and talc content. In Texas, for example, the
   talc ore that is mined for ceramics is black. Some industrial talc contains < 50% mineral talc.

   Talc ore used for cosmetic purposes, however, is different. For talc to be sold as body powder, it
   must meet specifications in color, texture, mineral composition and absorbance, which ore from
   only a few mines can provide. For example, cosmetic talc product normally contains ≥95%
   mineral talc, is very white and must be substantially free of quartz. Talc ores from which a
   product of this purity can be extracted economically are uncommon.

            B. What are amphibole and serpentine minerals?

   Summary. Amphibole and serpentine are both common rock-forming minerals. Both are
   hydrated, both can be found in Mg-rich rocks, and both can be associated with talc ore. They
   occur rarely as asbestos.

                  1. Amphibole.

   Amphibole minerals are a family of double-chain hydrated silicate minerals. Amphiboles are
   referred to as rock-forming minerals because of their abundance. Overall, amphibole can be
   found in six to ten percent of the crustal rock of the contiguous US (Wylie and Candela, 2015),
   but in some areas it is more abundant. Amphibole is most common in metamorphic rocks and
   metamorphic rocks are common in old and new mountain belts. Amphiboles are also found in
   the oldest rocks that form the continental cores, and in and around intrusive igneous rock, such as
   granite, which crystallizes from liquids (magma). Figure 1 shows the distribution of igneous and
   metamorphic rocks in the US that may contain amphibole and serpentine.




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   Figure 1. This map was produced by Kuryvial et al (1974), US EPA. It shows the distribution of
   rocks likely to contain amphibole and serpentine.

   Amphiboles are composed of the most common elements found in the crust of the earth. These
   elements and abundances are: oxygen (46.6%), silicon (27.7%), aluminum (8.2%), iron (5.0%),
   calcium (3.6%), potassium (2.8%), sodium (2.6%) and magnesium (2.1%). (Rudnick and Gao,
   2003).

   Amphiboles are so common in some rocks that the names of several main rock categories refer to
   the amphibole component. These include amphibolite, greenstone (green amphibole), and blue
   schist (blue amphibole). Amphiboles also occur in smaller quantities in marble and granite (e.g.,
   the dark streaks in granite used for countertop materials and building stone commonly contains
   amphibole), or in large quantities in some metamorphosed banded iron formations, the major ore
   of iron worldwide. Amphiboles may also occur in soils formed from underlying amphibole
   containing rock and in deposits left by glaciers. Amphibole-rich rock is mined for building roads
   and rail lines and has been used in a crushed form on “clay” tennis courts. Mines of many
   different commodities penetrate rock containing amphibole, including iron, gold, talc, copper
   and crushed stone. Amphibole may be a common component of dimension stone for floor tiles
   and it forms nephrite, the name for common jade.

   The amphibole minerals most commonly associated with talc are tremolite, actinolite and
   anthophyllite. The ideal formulas are Ca2(Mg,Fe)5Si8O22(OH)2 for the tremolite-actinolite
   continuum (nomenclature based on Mg/(Mg+Fe)), and anthophyllite, Mg2(Mg,Fe)5Si8O22(OH)2.
   Nomenclature of these amphiboles is formally determined by precise chemical analysis and
   standards established by the International Mineralogical Association.

                  2. Serpentine.

   Like talc, serpentine is formed by alteration of ultramafic rock and carbonates, and like talc, it is
   a hydrated magnesium sheet silicate. Serpentine contains 13% water, while talc contains about
   5%. (Veblen and Wylie, 1993).




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   There are three serpentine minerals that have the same ideal chemical formula (Mg3Si2O5(OH)4)
   and all have a sheet-like atomic structure. However, they crystallize in three distinct atomic
   arrangements. The three forms are called chrysotile, antigorite and lizardite. Chrysotile forms
   from rolled sheets forming tubes that are about 0.025 μm in diameter and have an inner hollow
   tube of about 0.005 μm (Veblen and Wylie 1993); these are fibrils of chrysotile asbestos.

   Serpentine is the major mineral in the rock serpentinite. Serpentinites are common throughout
   the Appalachian Mountains and in California in large blocks, varying in size from feet to miles.
   In these occurrences, serpentinite was thought to have originated as a piece of ocean crust thrust
   onto the continent during mountain building processes associated with plate tectonics.

   Serpentine may also form as a mineral component of some metamorphosed carbonate rocks.

            C. What is a mineral fiber and what is “asbestos”?

   Summary: Mineral fiber is uncommon. Amphiboles that form in the asbestiform habit (e.g.,
   asbestos) exhibit special properties that are different than those same amphiboles that otherwise
   form in nature.

   In most dictionaries, the definition of fiber is ‘threadlike’. When minerals form in nature as
   bundles of easily separable, long, very thin, very narrow crystals that are flexible (high tensile
   strength), the description “threadlike” may apply. Such material is called asbestos. Under U.S.
   regulatory policy, the term “asbestos” has been applied only to six asbestiform minerals mined
   and sold as “asbestos,” namely chrysotile and the asbestiform varieties of actinolite, grunerite
   (amosite), anthophyllite, riebeckite (crocidolite) and tremolite.

   Asbestos is not a mineral, but a set of durable, chemical and heat resistant minerals that form in the
   asbestiform habit. Habit is a mineralogical term specifying the physical form a mineral takes
   when it forms (grows) in nature, e.g., globular, granular, prismatic, fibrous. The habit of growth of
   asbestos is referred to as asbestiform. This means that the occurrence of the mineral is as
   narrow, fairly uniform single crystals called fibrils occurring in bundles (common) and matted
   masses (rare). Asbestos is easily separated into fibrils and fiber bundles with hand pressure.

   The term “fibrous” is much broader than asbestiform, which it includes. Fibrous also applies to
   wide, brittle, glassy fibers called byssolite, and even materials that look like they may be made
   up of fiber are referred to with this term.

   The habit of asbestos is well illustrated in Figure 2 below. The very narrow fibers and fibrils are
   not connected laterally to each other so they can scatter and separate easily. Note the similarity in
   the width of the fibrils. Amphibole asbestos almost always occurs in amphibole bearing rock and
   chrysotile asbestos almost always occurs in serpentinite. However, only about 0.1% of
   amphibole minerals are formed in the asbestiform habit and occurrences are localized and
   uncommon (Wylie and Candela, 2015).

   Mineral fiber forms in nature only under very special circumstances. An environment containing
   water-rich fluid, saturated with the mineral in solution, and a space in which to grow fiber
   unimpeded is necessary for the rapid precipitation of very fine fibrils of asbestos. Such
   environments are limited in scope and time.

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   Figure 2. Asbestos from USGS (Usgsprobfe.cr.usgs.gov/picts2.html): a) tremolite asbestos,
   Death Valley California; b) Richterite-winchite asbestos, Libby MT; and c) UICC chrysotile A

   In regions where heat flow is high and volcanism is active, there will likely be asbestiform
   mineral fiber. For example, mineral fiber is common in areas with Cenozoic (last 65 million
   years) volcanism, such as Turkey, Oregon and Nevada, where asbestiform fibers of the mineral
   erionite formed in altered volcanic glasses and tuffs, or southern Italy, where fibers of the
   amphibole fluoro-edenite formed in seams and cavities in volcanic rocks around Mt. Etna.
   (Gianfagna et al., 2007). This is not a normal environment for talc deposits.

   Asbestiform fiber can form when fluid pressures are very high because of tectonics (mountain
   building), as evidenced by the fibrous masses of amphibole glaucophane winding around blocks
   of other rock in the blue schist of California that formed during subduction of the Pacific Plate
   under North America, or, the mountain of very short mass fiber chrysotile that occurs at the
   Coalinga deposit of California. The mass fiber anthophyllite-asbestos ores at Paakkila, Finland,
   and elsewhere were probably formed by high fluid pressure events during retrograde
   metamorphism.


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   Asbestiform mineral fiber can form when rocks are under tension and hot water carrying
   dissolved components of amphibole or serpentine is available. This is the most common
   environment for the formation of asbestos fiber. This may be expansion upward as over burden is
   removed or the crust thins, in faults that pull rock apart, and in the axes of folds. Fiber that forms
   under these circumstances occurs in well-defined planes called seams or veins containing fibers
   that grow perpendicular to the wall of the seam, parallel to the direction of expansion. This fiber
   is called cross fiber. In the event that the movement involved lateral motion, mineral fiber may
   form parallel to the wall of the seam, and this is referred to as slip fiber. Amosite and crocidolite
   ores are from veins, primarily cross fiber. Most chrysotile deposits are also cross fiber (with the
   notable exception of the Coalinga mountain in California). Tremolite asbestos and actinolite
   asbestos also form in cross fiber and slip fiber veins.

   Figure 3 below includes pictures of “asbestiform” ice. Ice is a mineral. I took the first picture
   while hiking in the Catoctin Mountains. It had been quite cold for many days and there had been
   some snow. The day before this was taken, the day was warm, and the upper several inches of
   soil had thawed, leaving a very muddy surface layer in some places. The next night, the
   temperature dropped quickly and the mud froze with fibers of ice forming rapidly in the mud.

   Not everything is understood about how mineral fiber forms, however. For example, it was
   recently discovered that the form of fibrous ice shown in Figure 3(b) grows on a substrate of
   wood. The individual fibers remained as separate fibrils due to a chemical released by fungus
   living in the wood. While fungus may not be implicated in the origin of asbestos, the chemistry
   of the fluids from which asbestos forms likely influences fiber formation in similar ways. In
   fibrous ice, individual fibers of ice share a common axis of elongation, but because of their rapid
   nucleation and growth, or in one case, the presence of fungus, fibers are not connected to each
   other, so they separate readily. Fibrous ice, like asbestos, only forms in very particular
   environments. Unlike asbestos, fibrous ice lacks durability, so while it is asbestiform in habit, it
   is not asbestos.




   Figure 3. Fibrous Ice. a) Ice from saturated muds, Catoctin Mountains, MD. b) Fibrous ice
   formed in forest in Germany (from Eos. V 96. Number 16. 2015, p. 3)

   Importantly, asbestos fiber exhibits many properties different from those characteristic of
   fragments of the same mineral, even if the particles are of roughly the same length. Fibers of


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   asbestos are narrower than cleavage fragments of the same length. Fibers of asbestos possess high
   tensile strength and flexibility, both attributable to the narrowness of fibrils. High tensile strength
   promotes the preservation of long fiber during crushing. Bundles of even a few fibrils will exhibit
   properties that are anomalous when viewed by polarized light microscopy (Verkouteren and
   Wylie 2002).

            D. What are cleavage fragments?

   Summary: Amphiboles, talc (and other minerals) may form elongated cleavage fragments when
   rocks are broken during mining, mineral processing and rock and soil excavation. These fragments
   are not “asbestos,” nor “asbestiform,” and they do not have the properties of asbestos.

   Amphiboles possess in their atomic structure two planes that have weaker bonds than other
   directions in the lattice, meaning they will break, or “cleave,” preferentially along these weak
   planes. For this reason, when amphibole-bearing rock is crushed during mining and mineral
   processing, amphibole of all compositions will form elongated fragments (EMPs). These are
   referred to as cleavage fragments, cleavage because they were “cleaved” from a larger piece of
   amphibole, and “fragment” because they were formed by fracture. Amphibole, like almost all
   rock, is brittle unless asbestiform, and it readily forms EMPs when crushed.

   For visual reference, Figure 4 is non-asbestiform amphibole EMPs of the amphibole riebeckite,
   formed by crushing more massive material. The image in Figure 5 is reproduced from the United
   States Geological Survey’s website (usgsprobe.cr.usgs.gov/picts2.html). The particles shown are
   non-asbestiform amphibole, in this case tremolite, which was crushed, forming EMPs. The sizes
   and shapes of the amphibole cleavage fragments depicted in Figures 4 and 5 are similar to
   cleavage fragments formed by crushing many common, durable, silicate minerals.




   Figure 4. Cleavage fragments of amphibole riebeckite as seen by PLM. Largest particles are
   about 20μm in length.




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   Figure 5. Tremolite cleavage fragments viewed by SEM (USGS).

   Cleavage fragments are elongated chunks of rock and are generally wider than asbestos fiber of
   the same composition and length. Cleavage fragments are brittle. They are never “threadlike.”
   They do not exhibit enhanced tensile strength. Mineral fiber cannot be produced from cleavage
   fragments. I am unaware of any literature that supports the notion that non-asbestiform minerals
   such as tremolite could be modified during processing and turned into asbestos. If a mineral does
   not form as fibers in nature, it cannot form the very thin fibers characteristic of asbestos by
   crushing it. Moreover, while asbestos fiber bundles may disaggregate after entering the
   respiratory system, resulting in increases in the dose of fiber over time, cleavage fragments do
   not disaggregate after entering the body because they are single structures.




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            E. Regulatory Terminology: Fibers and elongated mineral particles (EMPs).

   Summary: Many naturally occurring minerals will form elongated particles that meet regulatory
   criteria for fiber. Unfortunately, analytical protocols developed for occupational monitoring and
   for determination of clean air after removal of asbestos from school buildings, will produce false
   positives when applied to durable EMPs in rock powders. The regulatory criteria are broad and
   obscure the fundamental characteristics of asbestos.

   Federal protocols for monitoring known occupational exposure to asbestos specify the term fiber
   to mean any airborne particle that is greater than 5 μm in length that has a length to width ratio
   of at least 3:1. For assessing the cleanliness of a building after asbestos removal, federal AHERA
   (US EPA 2002) rules require that airborne asbestos fibers longer than 0.5 μm with a length to
   width ratio of at least five (5:1) be counted. Other federally recognized methods for monitoring
   asbestos use other fiber definitions in exposure assessments. In short, there are multiple
   definitions of the term fiber used in regulatory protocols; none describes thread-like asbestos
   mineral fiber very well (Candela and Wylie, 2015).

   NIOSH introduced the term elongate mineral particles (EMPs) in 2006 (NIOSH, 2006). An EMP
   that was formerly referred to as fiber based on dimensions is now called an elongated mineral
   particle. EMP is a neutral term because it assumes nothing about the manner in which it formed:
   growth or fracture. It may be an elongated rock fragment formed during crushing rock (cleavage
   fragment) or liberated during soil formation, or it may be asbestos. Particles counted by
   occupational monitoring protocols for asbestos are not necessarily mineral fibers, but they are all
   EMPs.

   The chart on the next page shows the types of material that qualify as EMPs. It illustrates the fact
   that many common minerals can form EMPs and that many particles could be incorrectly
   classified as mineral fiber by federal asbestos counting criteria. Because they are common,
   miners of many different materials have routinely been exposed to EMPs. This Table is
   published in Toxicology and Applied Pharmacology (Weill et al., 2018).




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            F. How to distinguish cleavage fragments from asbestiform fiber by microscopy.

   Summary: Amphibole populations of asbestos fibers and cleavage fragments each have
   distinctive characteristics in their optical properties, dimensions and habits. The two types of
   microscopy used in making this distinction are: polarized light microscopy for optical properties
   and habit and electron microscopy for dimensions and habit. The reports provided by plaintiffs’
   experts Drs. Longo and Rigler examining Johnson’s Baby Powder and Shower to Shower do not
   present evidence based on optical properties and habit for a population of asbestos fibers.

   The distinction between cleavage fragments and asbestiform fibers is widely understood by
   science, industry and government. For example, the distinction is made by OSHA, which, by
   policy, regulates only fibers and not cleavage fragments (Crane, 2018). As discussed in the
   section entitled “Initial regulation of asbestos,” below, other federal agencies also make the
   distinction in policy. Unfortunately, when OSHA removed cleavage fragments from asbestos
   regulation in 1993, it did not mandate a method to differentiate them from fiber, essentially
   leaving it up to others to sort out. OSHA’s regulatory approach is consistent with counting EMPs
   as asbestos only when there is evidence of asbestos in the workplace already. In other words,
   OSHA do not follow its counting protocol as a definition of fiber because it is overly broad and
   inconsistent with its acknowledgement that non-asbestiform amphibole is not covered by its
   regulations.

   Despite the lack of regulatory guidance, scientists have developed approaches for distinguishing
   between cleavage fragments and asbestiform fiber by employing all types of microscopy to look
   at populations of particles in mineral powders. While a single particle observed by microscopy
   might be confidently called a fiber or fiber bundle or fragment because of some defining
   characteristic(s), other particles cannot so easily be labeled, and must be viewed as part of a
   population of particles. The criteria for distinguishing mineral fiber from mineral fragments are
   different and complementary depending on what type of microscopy is being used: polarized
   light microscopy or electron microscopy. Each is explained below.

                  1. Polarized light microscopy (PLM).

   Summary: Polarized light microscopy (PLM) can be used effectively to detect and identify
   asbestos in talc products because there are optical properties characteristic of cleavage
   fragments and other characteristics of asbestos fibers.

   PLM employs plane polarized light to examine minerals. PLM is the primary tool used by
   geologists today to study rocks and rock powders, as it has been for a hundred years. In the study
   of powders, the samples are mounted in immersion oils of known index of refraction. Because
   minerals are crystalline, possessing a well-ordered arrangement of atoms, they will interact with
   polarized light in ways that change the nature of the light. These changes are referred to as
   optical properties. The optical properties of thousands of minerals are well documented and
   together they form a unique set that enables identification of most silicate and carbonate
   minerals. PLM is a powerful tool for the examination of talc products for asbestos and the
   identification of the minerals that compose it.




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   The ideal particle size for powdered minerals to be studied by polarized light microscopy is > 1
   to about 150 μm. Powdered talc I have seen ranges in size from about 1 to 200 μm. Normally, it
   has passed through a 200 mesh sieve, making 74 μm the maximum middle dimension of
   particles in most cosmetic talc. My own examinations of body powders have found abundant
   large particles that are easy to study by polarized light microscopy. It is these large particles
   that contain virtually all the mass of a powdered sample.

   The mineral forming EMPs can be identified by a set of well-established optical properties, and
   if asbestiform, bundles of even a few fibrils will exhibit optical properties that are anomalous
   (Verkouteren and Wylie, 2002). Figure 6 shows two EMPs photographed at the same
   magnification. Both are amphibole, but one is asbestos and one is a cleavage fragment. These
   particles typify their respective groups.




   Figure 6. Tremolite. (a)Tremolite asbestos from Metsovo, Greece by PLM, crossed polars. The
   field of view is approximately 250 μm across and this particle is about 165 μm long. Many tiny,
   easily separable fibrils make up the particle (b) Tremolite from cosmetic talcum powder. The
   field of view is also about 250 μm and the particle is 70 μm long and 9 μm wide. It is not a fiber
   bundle.

   The U.S. Environmental Protection Agency (EPA) polarized light microscopy (PLM) method
   (1993) specifies the characteristics of asbestos, summarized as follows: means aspect ratio
   (length/width) ranging from 20:1 to 100:1 or higher for fibers longer than 5 micrometers, very
   thin fibrils, usually less than 0.5 micrometers in width, and 2 or more of the following properties:
   fibers occurring in bundles, bundles displaying splayed ends, matted masses of individual fibrils
   and fibers showing curvature. These characteristics are evident in the asbestos shown in Figure
   6(a).

   The particle shown in Figure 6(b) is bounded by planes that have broken during grinding. It
   behaves as a single particle optically, so it is not composed of smaller fibrils. Its shape, surface
   morphology, length to width ratio and dimensions are characteristic of cleavage fragments.

   If amphibole asbestos is present in cosmetic talc because it was in the ore and processed with the
   talc, it can be found by PLM. The high tensile strength of asbestos preserves long fibers, and
   fiber bundles would be expected among the larger particles. Furthermore, distinguishing between
   anthophyllite-asbestos and talc is straight-forward by PLM. The detection limit of amphibole in


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   talc by PLM is theoretically limited only by the number of analyses, but practically there is a
   limit, probably < 0.01%, unless a procedure for concentrating amphibole, such as heavy liquid
   separation, is employed. PLM cannot be readily used to provide abundances on the basis of
   numbers of fibers/unit weight.

   Summary: The optical photomicrographs of tremolite and anthophyllite found in the expert
   reports of Drs. Longo and Rigler document the presence of cleavage fragments. Particles
   labeled as bundles do not have features consistent with that designation.

   The January 15, 2019, report of Drs. Longo and Rigler provides many photographs of EMPs
   labeled by Drs. Longo and Rigler as fibers and most commonly, fiber bundles of amphibole.
   Some were taken under polarized light and some showed dispersion in nD= 1.605 oil. The
   particles labeled as bundles, however, do not display the characteristics of fiber bundles. Their
   optical properties and shape are consistent with cleavage fragments and inconsistent with
   asbestos. Their optical properties are those of single crystals, not composite fiber bundles. An
   example is shown in Figure 7. Furthermore, the data presented in the report are insufficient to
   differentiate anthophyllite from tremolite, as in one common orientation, tremolite will display
   parallel extinction, the only distinguishing characteristic mentioned by Drs. Longo and Rigler.




   Figure 7. The particle in the upper right-hand corner is labeled as tremolite. The photograph
   was taken at 200X under crossed polars. The particle is about 40μm long. The uniform first
   order white interference color is indicative of a single crystal, not a fiber bundle.


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                 2. Transmission electron microscopy (TEM).

   Summary: Evidence of fiber bundles is lacking in Drs. Longo and Rigler’s TEM
   photomicrographs labeled as tremolite and anthophyllite, despite the fact that the particles are
   called bundles. There is wide range in the width of particles identified as tremolite and
   anthophyllite and the particle shapes are consistent with a population dominated by cleavage
   fragments.

   Electron microscopy may be used to detect amphibole in talc. The mineral identity of a particle
   viewed with an electron microscope is usually decided by particle shape, qualitative chemical
   composition as established by energy dispersive spectroscopy (EDS also known as EDXA) and
   atomic structure as determined from zone axis electron diffraction patterns.

   The particles examined are usually the smallest in a sample, so bundle structures are less
   common and the uniformity of width of fibrils in one or sometimes two modes is evident. There
   are many data sets providing the lengths and widths of amphibole fragments and fibers available
   for study. In 2016, I published a paper using 35 sets of dimensional data gathered by electron
   microscopy (Wylie, 2016). Almost all of these data sets are publically available. These data sets
   demonstrate the ubiquity and abundance of fibrils longer than 5 micrometers with very narrow
   widths, < 0.3 μm, a characteristic lacking in Drs. Longo and Rigler’s tremolite populations and
   largely absent in the EMP populations labeled as anthophyllite. Furthermore, none of Longo and
   Rigler’s optical microscopy photographs of particles identified by them as anthophyllite
   demonstrate the presence of bundles of fibers that could disaggregate and form such fiber.




   Figure 8. This photograph, taken from the Jan 15, 2019 report of Drs. Longo and Rigler, is
   reported to be a bundle. It appears to be a single crystal. No criteria are provided for
   designation as a bundle.


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   I found three particles out of more than 100 labeled as anthophyllite by Drs. Longo and Rigler
   that have Length > 8μm and Width < 0.25μm, widths and lengths inconsistent with a normal
   cleavage fragment population. I would need to see more evidence than that presented in the
   reports, however, to conclude that they are anthophyllite fibers. Talc, sepiolite, jimthompsonite,
   clinojimthompsonite and chesterite, all magnesium silicates which occur together, may also form
   fibers. There has been no evidence presented by optical microscopy that fiber bundles of
   anthophyllite are present, and it has not been reported from the mine.

                  3. Aspect ratio.

   In general, to determine if a particle is asbestiform, one cannot simply calculate its aspect ratio.
   Aspect ratio does not tell anything about actual size, only relative size. Aspect ratio has no
   dimension. Characteristic of both asbestos and cleavage fragment is an increase in aspect ratio
   with increasing length, i.e., longer EMPs have higher aspect ratios. Differences or similarities in
   aspect ratio frequencies may, therefore, be due to differences in length frequencies rather than
   habit.

                  4. The anthophyllite asbestos-talc controversy.

   Summary: Transmission electron microscopy techniques do not readily distinguish between
   EMPs of talc and anthophyllite. PLM is the most reliable instrument to make this distinction.

   From both transmission electron microscopy (TEM) and scanning electron microscopy (SEM),
   we can obtain dimensions and much information about chemical composition of mineral
   particles, except their water content. The lack of information on water content has resulted in
   much confusion about identification of anthophyllite and talc in fiber by electron microscopy.
   Talc contains about 5% water, and anthophyllite contains 2%. These two minerals have almost
   the same ratio of MgO to SiO2, similar electron diffraction patterns in certain orientations and
   both can form fibers. To confuse the matter more, in the industrial talc from the unusual deposits
   of Gouverneur, NY, not only are there fibers of mineral talc, but also, in small quantities, fibers
   formed of intergrowths of talc, anthophyllite and other chain silicates occur, and in eastern
   Vermont, the Mg silicates chesterite (prismatic), jimthompsonite (prismatic), and
   clinojimthompsonite (fibrous) have been found in altered serpentinites between the chlorite and
   the actinolite zones.

   In order to distinguish between talc and a fiber of anthophyllite by TEM, one must follow
   carefully the ISO 10312 TEM method or other approved method that specifies that a fiber should
   be classified on the basis of morphology and EDXA composition, but also specifies that a list of
   minerals consistent with that composition be made. A zone-axis selected area electron diffraction
   (SAED) pattern should be tested for consistency with the crystal structure of the suspected
   mineral, but also tested for inconsistency with crystal structures of the other minerals of similar
   composition. If this requirement is not followed, there is no reliable method to tell if a particle is
   anthophyllite or talc. I did not see any evidence that Drs. Longo and Rigler did such testing, and
   therefore the distinctions between anthophyllite, talc, and other Mg-silicates may be unreliable.




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              G. Differences in talc ore deposits and the distinctive and well-studied cosmetic
                 talc deposits in Southern Vermont and Northern Italy.

   Summary: Based on their geologic settings, reports from mine geologists and literature
   descriptions of the ore deposits providing cosmetic talc for Johnson’s Baby Powder and Shower
   to Shower, it is highly unlikely that asbestos could be found in the talc products from these
   mines.

   Talc may form without amphibole or serpentine forming in the ore. Talc without amphibole
   occurs when temperatures and/or fluid pressures were not high enough for amphibole to form.
   Talc without serpentine means the temperatures were too high and/or fluid pressure too low for
   serpentine to form or remain stable. However, talc deposits may form over a range of
   temperature and fluid pressures accompanied by migration of chemical elements, so amphibole,
   talc and serpentine can be present together in those circumstances, as explained below.

   During metamorphism (the changing of one rock type to another), the set of minerals in a rock is
   determined by temperature, pressure and the chemical components available.1 The number of
   such minerals will normally not be very large. The metamorphic mineral groups most likely to be
   found in and around talc ore are: chlorite, amphibole, carbonate, sepiolite and serpentine. Quartz,
   iron oxides and sulfides are known in some places. To minimize these accessory minerals in
   cosmetic talc products, talc ore is selectively mined for the highest talc content, and then it may
   be subject to purifying processes such as flotation, magnetic separation and air classification.

   There are two types of talc ore deposits:

           A.       Talc ore formed from alteration of ultramafic rock (Type I). Ultramafic rocks that
                    host talc deposits are much richer in Mg and lower in Si, Ca, K, Al and Na than
                    average crustal rock. There are two types of ultramafic rock that serve as hosts to
                    the talc ore: Serpentinite (Type Ia) and Ultramafic Igneous Rock (dunite,
                    peridotite) (Type Ib). Type Ia includes the deposits of Southern Vermont used in
                    the cosmetic talc products at issue in this litigation.

           B.       Talc formed from alteration of Mg-rich carbonate rocks (limestone, dolomite) by
                    fluids (Type II). There are three subtypes based on source of fluids: a) Type IIa:
                    regional metamorphism, b) Type IIb: a proximal igneous body, and 3) Type IIc:
                    distal igneous body. The deposits of the Chisone Valley, Italy used in the
                    cosmetic talc products at issue are probably of Type IIc.



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     During metamorphism, physical and chemical conditions may change rapidly and equilibrium may not be attained.
   Detailed lattice imaging studies of minerals from these environments by high resolution electron microscopy have
   revealed a world that can be much more complex than I describe herein, in which it is assumed that particles found
   in talc products are made up of a single mineral. At the sub-micron scale, amphibole, talc, and a family of single,
   double, quadruple chain and sheet silicates, and combinations of these, may be intergrown within a single particle.
   We know this is true from studies of fibrous talc from New York and the talc-amphibole-biopyrobole intergrowths
   from Chester, Vermont (Veblen and Busek, 1980). However, detailed studies by high resolution TEM are limited
   and unless evidence is found otherwise, particles in mineral powders are normally considered to be single minerals.



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   While the minerals associated with talc in both Type I and Type II may be the same (carbonate
   minerals, chlorite, talc, tremolite, actinolite, serpentine, anthophyllite, olivine, mica and quartz),
   there is a great deal of variability in presence and abundance of these minerals among talc
   deposits. There is also variability in the likelihood of finding asbestos associated with talc ore.
   While the ore from every talc mine or mining district may fit into the classification scheme
   outlined above, in fact, every deposit is unique in some way(s). In the section below, I will give
   examples, paying particular attention to the characteristics of deposits mined for cosmetic talc.

                  1. TYPE Ia: Serpentinite host.

   Cosmetic talc ores in Southern Vermont utilized in the talcum powder products at issue are
   examples of talc ores formed from the alteration of serpentinite, a rock composed almost
   exclusively of the serpentine minerals.

   Serpentinite blocks altered during regional metamorphism lose water to surrounding rock and
   gain Si and CO2 (among others) from it. This process results in the formation of a series of
   layers, or zones, dominated by a single mineral encircling the serpentinite. These separate and
   discrete zones extending outward from the serpentinite core are illustrated in Figure 9, which is
   taken from the work of Sanford (1982). For the levels of metamorphism known as “greenschist
   and epidote-amphibolite facies,” the amphibole is tremolite-actinolite. For higher levels of
   metamorphism, the amphiboles will be actinolite, hornblende and anthophyllite.




   Figure 9. Idealized blackwall metasomatism and the formation of talc from serpentine with
   chemical exchanges to form talc and talc carbonate from serpentine. Ca and Fe may enter to
   form amphibole, and, in some instances, Mg will leave. The original boundary before
   metasomatism is labeled “blackwall.” As the serpentinite was heated, water was driven out, and
   Si was driven in, forming the layers. Cosmetic talc ore is mined from talc zone. The talc
   carbonate zone is called “grit.”


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   It is the contrast in initial chemical composition of the serpentinite and the surrounding sediment
   and the availability of water from the serpentinite as it dehydrates during metamorphism that
   results in the limited mineralogy of these well-defined zones. The transformation is referred to as
   black wall metasomatism for the black color of the chlorite rich zone at the contact with
   amphibole-chlorite. The chlorite-amphibole/chlorite boundary marks the contact between the
   original serpentinite and surrounding rock. If amphibole asbestos were to form during
   metasomatism, it would be most likely deposited by hot fluids escaping the dehydrating
   serpentinite and well outside the talc zone. In fact, I have seen amphibole asbestos in veins in
   rock surrounding a large talc free serpentine body in Maryland.

   It is common for one or more of the expected blackwall zones to be absent. For example,
   amphibole may not form at all if temperatures do not rise high enough. Zones may vary a great
   deal in thickness, from inches to many feet. Only when the talc zone is large and pure enough is
   it considered ore. Furthermore, although referred to as a single mineral zone, the boundaries are
   not perfect, and even under careful mining of high-grade talc ore, they might be breached, and
   trace quantities of amphibole, chlorite or carbonate rock incorporated in talc ore from time to
   time.

   Talc ore formed from serpentinite may contain trace amounts of iron oxides, and/or sulfides,
   which were part of the original ultramafic rock. If present, the ore may be treated at the mine to
   remove them.

   There is nothing about the mode of formation of this type of talc deposits that favors the
   formation of asbestos. However, because Mg-rich rocks can be hosts for asbestos, and because
   asbestos deposits are localized, and because during the 350 million years that have elapsed since
   these talc deposits formed, periods of faulting may have occurred, each deposit must be
   considered independently, and regular examination of the mine and mill products is necessary to
   ensure its absence as mining progresses.

          Comments on Windsor County talc deposits:

   Dr. Fred Pooley, a distinguished mineral scientist from the Department of Mineral Exploitation,
   University College Cardiff, UK, visited the talc mines owned by Windsor Minerals in Southern
   Vermont in 1972. It is my understanding that the ore from this mine was the source of some of
   the talcum powder products involved in this litigation. He and his team examined the samples he
   collected from throughout the mine, including ore and foot and hanging wall, and examined them
   by PLM, X-ray diffraction and transmission electron microscopy. According to his report
   (Pooley, 1972), there were no asbestiform amphiboles or chrysotile detected. Pooley does not
   report the presence of anthophyllite. Non-asbestiform tremolite and actinolite near the unmined
   edges of the formation were reported, but amphibole is not disseminated throughout the talc ore.
   The inner zone is talc high enough in purity to be suitable for cosmetic use. His observations are
   consistent with the presence of well-defined mineral zones, as would be expected in this type of
   deposit, enabling the amphibole zones to be avoided in mining or be wasted (discarded as waste
   rock). The mineralogy of the Windsor mine places it in the “epidote amphibolite facies” of
   metamorphism as is so well described by the pioneering models in Sanford (1982).




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   Pooley’s detailed descriptions are consistent with published descriptions of talc mines in the
   Ludlow, Vermont area. The minerals list in the ore from several mines, including the Argonaut
   mine, by Mindat.org are: apatite, chromite, actinolite, chlorite, magnetite, and magnesite.
   Chidester et al (1951) describe a large, well-defined mass of actinolite in the Hammondsville
   mine along the edge of the orebody. Gillson (1927) described the actinolite in talc ore from
   Windsor County as showing “no effect of stress during deformation” (the lack of asbestos fiber
   would be consistent). The geologists writing these early reports were well aware of asbestos and
   the fact that it is not mentioned means it was not observed.

                  2. Type IIc. Carbonate Host: Distal igneous source.

   Cosmetic talc ores in Italy used for Johnson’s Baby Powder and Shower to Shower are examples
   of the alteration of a carbonate by heat and fluids from a distant source. In this category are the
   Regal, Treasure and Yellowstone mines in southwest Montana, the Italian mines at Chisone
   Valley, and the talc mines of the Allamore talc district of Texas. The cosmetic talc mines in
   China may also be of this type. If amphibole is absent, as Van Gosen reports for the Montana
   deposits (Van Gosen et al., 2004), temperatures were not likely not high enough for formation of
   tremolite. If tremolite is present but uncommon, as is the case for Italy and Texas, its formation
   was limited in some other manner, such as the abundance of Ca. Sepiolite fiber is known from
   Montana, as is fibrous talc (Greenwood, 1998), but these fibers were likely fiber-forming events
   at temperatures too low for amphibole fiber to form.

   There is nothing about the mode of formation of this type of talc deposits that favors the
   formation of asbestos. However, because Mg-rich rocks can be hosts for asbestos, because
   asbestos deposits are normally localized, and because it is possible for asbestos to form long after
   the talc deposit was formed, each deposit must be considered independently, and regular
   examination of the mine and mill products is necessary to ensure its absence as mining
   progresses. However, this type of deposit is not known for associated asbestos.

          Comments on the Val Chisone, Italy, talc deposits.

   In 1972, the Department of Mineral Exploitation at University College Cardiff examined hand
   specimens and powders from an Italian mine, which I understand provided talc product for the
   talcum powder products at issue (Lightfoot et al., 1972). The team was led by distinguished
   mineral scientist Dr. Fred Pooley. The samples were studied by PLM, TEM and X-ray
   diffraction. Pooley and his team found tremolite only in association with carbonate, which could
   be found as nodules in the ore and elsewhere and wasted. They did not report tremolite in
   powdered talc ore. They did not report anthophyllite. They did not find tremolite-asbestos. They
   did not find chrysotile asbestos. They did report fibrous (but not asbestiform) talc.

   Greco and Pelizza (1984) report on a visit to the Fontane mine from Val Chisone, Italy. They
   mention wasting inclusions. Sandrone and Zucchetti (1988) reported on the geology of the Val
   Chisone (Pinerolo District) cosmetic talc mines. They noted the same accessory minerals
   reported elsewhere by Dunning et al (1989): zoisite, epidote, rutile, sphene, tremolitic
   amphibole, quartz and pyrite. There are no reports of asbestos. The mineralogy is consistent
   with the “greenschist” and “epidote amphibolite” levels of metamorphism, where anthophyllite is
   not expected to form.


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                  3. When is asbestos likely to be found in talc ores?

   Summary: The formation of talc does not require or favor the formation of asbestos in the ore.

   Asbestos is uncommon, but it is known to favor Mg-rich rocks. While all types of talc deposits
   can be asbestos-free, some types of talc deposits are more likely to be accompanied by
   amphibole asbestos than others in the immediate surroundings, although not necessarily in the
   ore. Amphibole-asbestos is known to be associated with deposits of Type Ib, Type IIa and Type
   IIb. These generalizations may not apply if there is superimposed on a talc deposit later tectonic
   events that favor fiber formation, such as faulting or igneous intrusions, but the well-defined
   planar features of faulting and the presence of igneous rock would be evident during mining and
   are rare.

   Chrysotile forming veins of asbestos has not been reported in cosmetic talc ore to my knowledge.

            H. Initial regulation of asbestos.

   Summary: In rushing to deal with the asbestos problem of the 1960s, OSHA oversimplified its
   regulations, and in so doing, confused the distinctions between asbestos and cleavage fragments.
   Today, all regulatory language specifies the asbestiform habit, and by regulatory policy and
   practice, regulatory bodies do not regulate cleavage fragment EMPs as asbestos.

   In the first regulatory definition of asbestos from OSHA in 1971, the critical distinction of
   minerals that form in the asbestiform habit was made for serpentine and the amphibole minerals
   riebeckite and grunerite when they were identified as chrysotile, crocidolite and amosite, terms
   for specifically designating the asbestiform habit. OSHA did not, however, draw that distinction
   for the amphiboles tremolite, actinolite and anthophyllite. More concerning is the fact that
   OSHA neglected other amphiboles that occur as asbestos and cause asbestos related diseases.
   Instead, OSHA simply defined asbestos as a particle of one of three asbestos types (amosite,
   crocidolite or chrysotile) or a particle of one of three minerals (tremolite, actinolite or
   anthophyllite) with a length of greater than 5 microns and an aspect ratio of 3:1 or greater.

   This designation of size and shape was selected as part of a counting strategy, principally to
   eliminate clearly nonfibrous “particulates” from assays and to improve both the precision and
   accuracy of fiber counting on air filter from an area of known asbestos manipulation. The federal
   regulatory definition was written without adequate consultation with the mineral experts at the
   United States Geological Survey or the U.S. Bureau of Mines, and, consequently, it was not
   mineralogically valid as a description of mineral fiber.

   Although the counting criteria were not mineralogically specific for asbestos, its use was not an
   issue when the definition was employed in measuring levels of exposure only to asbestos known
   to be present in the dusts. Most in the mining and construction industries never thought that
   counting criteria could become a definition that transformed ordinary rock fragments into
   asbestos. In essence, this was not an issue in 1971 when the definition was employed in
   measuring levels of exposure in areas where asbestos was known to be present. However,
   monitoring was expanded to areas where both asbestiform and non-asbestiform dusts could be
   present, and problems with the counting definition emerged.



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   In 1992, OSHA conducted a review of the health effects of inhalation of non-asbestiform
   amphiboles. The process included weeks of oral testimony and the submission of written
   documents from industry, academia, and other regulatory bodies such as NIOSH. I participated
   in these hearings, and presented data gathered at the University of Maryland and the US Bureau
   of Mines Research Center in College Park. The work at the University of Maryland was funded
   by the Bureau of Mines, which was interested in identifying asbestos in mining and
   differentiating it from the many EMPs commonly found there. The agency determined that
   “available evidence supports a conclusion that exposure to non-asbestiform cleavage fragments
   is not likely to produce a significant risk of developing ‘asbestos-related’ disease” (Federal
   Register, v. 55, no. 29, February 12, 1990, p. 4939). Consequently, OSHA removed them from
   the asbestos standard, and to this day, OSHA and The Mining Safety and Health Administration
   (MSHA) continue to discriminate fragments from mineral fiber (Crane, 2018).

   The regulatory landscape since 1971 has changed, and today, differences between amphibole and
   asbestiform amphibole (i.e., asbestos) are recognized in all regulatory definitions of asbestos.
   The MSHA states that its regulations apply to “asbestiform hydrated silicates that separate into
   flexible fibers made of fibrils,” and the EPA applies asbestos regulations to “the asbestiform
   varieties of: Chrysotile (serpentine); crocidolite (riebeckite); amosite (cummingtonite-grunerite);
   anthophyllite; tremolite; and actinolite” (40 CFR 763.83).

   In their 2001 Toxicology profile for asbestos, the U.S. Agency for Toxic Substances and
   Disease Registry (“ATSDR”) states: “Asbestos is the name given to a group of six different
   fibrous minerals (amosite, chrysotile, crocidolite, and the fibrous varieties of tremolite, actinolite,
   and anthophyllite) that occur naturally in the environment… Asbestos minerals consist of thin,
   separable fibers that have a parallel arrangement. Nonfibrous forms of tremolite, actinolite and
   anthophyllite also are found naturally. However, because they are not fibrous, they are not
   classified as asbestos minerals” (2001.09 - ATSDR Toxicological Profile for Asbestos).

   The National Institute for Occupational Safety and Health (“NIOSH”) published a
   Roadmap for research on asbestos in 2011 (2011.04 – NIOSH Roadmap). In it, NIOSH
   defines “asbestos” as “a term used for certain minerals that have crystallized in a particular
   macroscopic habit with certain commercially useful properties,” and “asbestiform” as “a term
   applied to minerals with a macroscopic habit similar to that of asbestos.” NIOSH expressly
   clarifies that non-asbestiform minerals are not “asbestos” or “asbestos minerals.” I served as a
   reviewer for NIOSH on the first public draft of this document. I believe it introduced the term
   EMP to make it clear that just because a mineral is elongated and meets the definition of a fiber
   under asbestos monitoring protocols, it need not be asbestos.

   The U.S. Geological Survey is the government agency tasked with providing information on
   rocks and minerals for the nation. In its publication, Some Facts about Asbestos (2001.03 – Some
   Facts about Asbestos), the USGS states: “Asbestos is made up of fiber bundles. These bundles,
   in turn, are composed of extremely long and thin fibers that can be easily separated from one
   another. The bundles have splaying ends and are extremely flexible.” The document recognizes
   that this property may not be evident in every particle, presenting difficulties in discriminating
   among between cleavage fragments and asbestos fibers. “To resolve this problem, the analyst
   can compare the shapes of several hundred amphibole particles in the sample with those of



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   asbestos reference materials and determine whether a sample is asbestiform with a fair degree
   of certainty.” This is the approach I take in studying amphibole.

   The World Health Organization (WHO) has also made it very clear that elongated amphibole
   particles may be asbestiform or cleavage fragments. The International Agency for Research on
   Cancer (IARC), an agency of the WHO, published a definition of asbestos in 1977, restricting it
   to the asbestiform habit. “Asbestos is the generic name used for a group of naturally occurring
   mineral silicate fibres of the serpentine and amphibole series. Government agencies in various
   countries, and industrial groups, currently characterize six fibrous silicates as ‘asbestos’: the
   fibrous serpentine mineral chrysotile and the fibrous amphiboles actinolite, amosite,
   anthophyllite, crocidolite and tremolite” (IARC, 1977). In 2010, in its monograph on talc, IARC
   stated: “Asbestos is a commercial term that describes six minerals that occur in the asbestiform
   habit: actinolite, anthophyllite, chrysotile, grunerite, riebeckite and tremolite. Similarly to talc,
   these six minerals occur more commonly in a non-asbestiform habit, and may also be elongated
   without being asbestiform. Actinolite, anthophyllite and tremolite may occur in some talc
   deposits; when asbestiform, they constitute asbestos and, when not asbestiform, they are referred
   to as mineral fragments or cleavage fragments” (IARC, 2010 p. 277). I participated in the
   workgroup that wrote the monograph on talc, and the need to distinguish between these habit
   forms of amphibole was discussed extensively.

   IV.    CONCLUSION

   There are significant differences between amphibole particles that form as asbestos (asbestos
   fiber) and those that form from crushing rock (cleavage fragments) including the way they form,
   the nature of their surfaces, their dimensions, and the occurrence in bundles. Applying only the
   criteria length > 0.5 μm and length:width of 5:1 or greater as discriminating criteria is
   scientifically unreliable and invalid.

   Talc, a component of cosmetic and industrial talc products, is a mineral that is formed by
   alteration of Mg-rich rocks. Talc for cosmetic use is mined in only a few places because of the
   stringent requirements for the product.

   Amphibole and serpentine are different but common rock-forming minerals that are hydrated and
   can be found in Mg-rich rocks. Both occur only rarely as asbestos. Amphiboles that form in the
   asbestiform habit (e.g., asbestos) exhibit special properties that are different from those same
   amphiboles that otherwise form in nature. Although talc and asbestos can form in proximity to
   one another, the formation of talc does not require or favor the formation of asbestos in the ore.
   Based on their geologic settings, reports from mine geologists, and literature descriptions of the
   ore deposits used to source the talc for the cosmetic talc products at issue in this litigation, it is
   unlikely that asbestos occurs in these deposits.

   While amphiboles, talc and other minerals may form elongated fragments when they are broken
   during mining, mineral processing and rock and soil excavation, these fragments are not
   “asbestos,” or “asbestiform” because they do not have the properties of asbestos. Amphibole
   populations of asbestos fibers and cleavage fragments have distinctive optical properties,
   dimensions and habit. There are two types of microscopy used in making this distinction.
   Polarized light microscopy (PLM) can be used effectively to detect and identify asbestos in talc


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   products because there are optical properties that are characteristic of cleavage fragments and
   others that are characteristic of asbestos. Electron microscopy may be used to identify
   dimensions and habit.

   The reports provided by Drs. Longo and Rigler examining the talcum powder products at issue
   do not present evidence consistent with the optical properties, dimensions or habit of asbestos.
   Instead, the photomicrographs found in their reports document the presence of cleavage
   fragments. In addition, the particles Drs. Longo and Rigler have labeled as bundles do not have
   morphology consistent with that designation (i.e., they are not bundles). As a result, Drs. Longo
   and Rigler’s conclusions are scientifically unreliable.

   Further, contrary to the reports provided by Drs. Longo and Rigler, one cannot simply calculate a
   particle’s aspect ratio to determine whether a particle is asbestiform. This is not a scientifically
   valid approach because aspect ratio does not tell anything about actual particle size, only relative
   size, and has no dimension. An increase in aspect ratio with increasing length is a characteristic
   of both asbestos and cleavage fragments. Thus, differences or similarities in aspect ratio
   frequencies cannot, in isolation, be used to determine whether a particle has an asbestiform habit.
   In addition, the transmission electron microscopy (TEM) techniques utilized by Drs. Longo and
   Rigler are scientifically unreliable because they do not readily distinguish between EMPs of talc
   and anthophyllite. PLM is the most reliable instrument to make this distinction.

   In rushing to deal with the asbestos problem of the 1960s, OSHA oversimplified its regulations,
   and in so doing, confused the distinctions between asbestos and cleavage fragments. As a result,
   analytical protocols developed for occupational monitoring for airborne fiber during asbestos use
   for determination of clean air after removal of asbestos from school buildings are overly broad
   and will produce false positives for mineral fiber when applied to rock powders. Indeed, such
   regulatory criteria ignore the fundamental characteristics of asbestos. Many naturally occurring
   minerals will form elongated particles that meet regulatory criteria for fiber even though they do
   not have the optical properties, dimensions and habit of asbestos. Notably, current regulatory
   language specifies that asbestos materials are limited to those that form in the asbestiform habit,
   specifically.




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               EXHIBIT A
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                                   CURRICULUM VITAE
                                      Ann G. Wylie




   1.   PERSONAL INFORMATION

        Ann Gilbert Wylie
        Emerita Professor of Geology
        University of Maryland
        College Park, MD 20742
        E-mail:          awylie@umd.edu
        Phone:           (301) 405-4079

        Web site:        http://www.geol.umd.edu/pages/faculty/WYLIE/wylie.html

        Educational:     Ph.D.     1972     Columbia University, New York, New York
                                            Major: Economic Geology
                                            Minors: Mineralogy, Mining Engineering, and
                                                     Petrology

                         B.A.      1966     Wellesley College, Wellesley, Massachusetts
                                            Major: Geology

        Employment:

               a.      Academic:

               October 2014 – present       Professor Emerita

               March 1, 2014 – June 30, 2014, Interim Vice President for Information
               Technology and Chief Information Officer

               Oct 2012 – January 2014      Special Advisor to the President for MPower, UMD

               Oct 2012 – June 2014         University Marshall

               2011-Oct.2012                Senior Vice President and Provost, UMD

               2009- 2011                   Vice President for Administrative Affairs, UMD

               2008 – 2009                  Interim Vice President for Administrative Affairs,
                                            UMD

               2004-2006           Interim Dean of the Graduate School, UMD

               2002-2008           Assistant President and Chief of Staff, UMD
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              2000-2002       Associate Provost, UMD

              1998-2000       Acting Associate Dean, College of Computer, Mathematical
                              and Physical Sciences, UMD

              1996-1997       Undergraduate Director, Department of Geology, UMD

              1992-2014       Professor, Department of Geology, UMD

              1990-1994       Associate Chairman and Director of Graduate Studies, Geology
                              Department, UMD

              1989-1990       Acting Chairman, Geology Department, UMD

              1986-1987       Special Assistant to the Dean for Graduate Studies and
                              Research, UMD

              1984-1986       Acting Associate Dean for Research, Graduate School, UMD

              1977-1992       Associate Professor, Department of Geology, UMD

              1973-1977       Assistant Professor, Department of Geology, UMD

              1972-1973       Assistant Professor, Department of Agronomy, UMD

              1967-1969       Preceptor, Geology Department, Columbia University
              1970-1971

              1966-1967       Teaching Assistant, Geology Department, Columbia University


              b.    Other Positions:

              January 1981-   Mineralogist, U.S. Bureau of Mines,
              August 1981
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   2.   Research, Scholarly, and Creative Activities

        a.     Books

        i.     Chapters or Articles in Books:

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        Rationale and Methodology". Proceedings of the VIIth International Pneumoconiosis
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        Linder, D.E., Wylie, A.G. and Candela, P.A. (1992) "The Mineralogy and Origin of the
        State Line Talc Deposit, Pennsylvania". Economic Geology 87, p. 157-165.

        Wylie, A.G. and Bailey, K.F. (1992) "The Mineralogy and Size of Airborne Chrysotile
        and Rock Fragments: Ramifications of Using the NIOSH 7400 Method". American
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        Wylie, A.G. (1993) "Modeling Asbestos Populations: The Fractal Approach". Canadian
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        Wylie, A.G., Bailey, K., Kelse, J. and Lee, R. (1993) "The Importance of Width in Fiber
        Carcinogenicity and its Implications for Public Policy". American Industrial Hygiene
        Association Journal 54, p. 239-252.

        Wolven-Garrett, A., R.J. Wulf, A.G. Wylie, EL Wynder, J Yourik, B Sakarian, W.
        Zavadoski, R. Zaaenshi (1995) Talc: Consumer uses and health perspectives: Executive
        Summary. Regulatory Toxicology and Pharmacology v.21 #2 213-215.
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        Verkouteren, J.R., Wylie, A.G., Steel, E.B. and Lim, M.S. (1995) “Analysis of the
        Tremolite/Actinolite series using high precision refractive index measurements,”
        Proceedings of the 29th Annual Meeting of the MAS, Breckinridge, CO, p.27-28.

        Wylie, A.G., Skinner, H.C., Marsh, J., Snyder, H., Garzione, C., Hodkinson, D. and
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        Effects of Fibrous Talc and Asbestos on Rodent Tracheal Epithelial and Pleural
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        Tremolite, Actinolite and Ferro-Actinolite. American Mineralogist 87, p. 1090-1095.

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        characteristics, distribution, and abundance of asbestiform and non-asbestiform
        amphibole and serpentine in ambient air and water. Journal of Toxicology and
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        Wylie, A.G. (2016) Amphiboles: Fibers, fragments and mesothelioma. Canadian
        Mineralogist 54(6) 1403-1435.

        Kerrigan, RJ, Candela PA, Piccoli PM, Frank M and Wylie A (2017). Olivine + quartz +
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        water ± HCl at mid-crustal conditions: controls on the growth of fibrous talc as
        determined from hydrothermal diamond anvil cell experiments. Canadian Mineralogist.

        c.     Book Reviews Other Articles, and Notes

        Invited
        Book review of Optical Mineralogy: Theory & Technique by E.G. Ehlers. In: American
        Scientist, Nov./Dec. (1988).

        Invited
        Book review of Ultramafic Rocks of the Appalachian Piedmont, GSA Spec. Paper 231,
        Steven K. Mittwede and E.F. Stoddard (eds.), 103 pages, Economic Geology 85 (1990).

        d.     Other Publications

        Gilbert, Jean Ann (1972) Determination of the Index of Refraction and Coefficient of
        Absorption Under the Microscope: A New Method and Some of Its Applications. Ph.D.
        Thesis, Columbia University.

        Wylie, A.G., L. Johnson, R. Reichlin, E. Steel, and R. Virta (1977). "Mineralogy and Size
        Distribution of Asbestos". University of Maryland Electron Microscope Central Facility.
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        Lowry, J. and A.G. Wylie (1979) "Mineralogy and Fiber Size Analysis of Amosite".
        University of Maryland, Electron Microscope Central Facility Newsletter #7.

        Steel, E. and A.G. Wylie (1979) "Characteristics of the Asbestiform Habit". Society of
        Mining Engineers-American Institute of Mining Engineering Annual Meeting, Tucson.
        Preprint, p. 1-6.

        Invited
        Wylie, A.G., K.B. Shedd and M.E. Taylor (1982) "Volume Measurements of Asbestos in
        the SEM". University of Maryland Electron Microscope Central Facility, Newsletter #9.

        Invited
        Wylie, A.G. (1988) "The Relationship Between the Growth Habit of Asbestos and the
        Dimensions of Asbestos Fibers". Society of Mining Engineers Preprint #88-85, p.1-7.

        Invited
        Wylie, A.G. (1989) "Mineralogical Definitions for Asbestos Fibers and Cleavage
        Fragments". Report of the Committee on Geology and Public Policy GPP012. Geological
        Society of America, p. 2-4.

        Invited
        Wylie, A.G. (1996) "Factors Affecting Risk from Biologically Active Minerals",
        Proceedings, Mineral Dusts: Their Characterization and Toxicology, Washington, D.C.
        Society for Mining Metallurgy & Exploration, Littletown, Colorado, Sept. 19-20, 1996, p.
        33-46.
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        Prestegaard, K., Wylie, A.G. and Piccoli, P.M. (1999) Characterization of Grout Samples
        at Winding Ridge.” Power Plant Research Program, Maryland Department of Natural
        Resources.

        Schwartz, C., A.G. Wylie, A. Davis, B. James (2000) “Investigation of the Expansive
        Behavior of Chromium Tailings: Final Report on Phase II Investigations”.

        Piccoli, P.M., DeHarde, A., Wylie, A.G., and Prestegaard, K. (2000) “Development of a
        Grout for the Kempton Mine: Characterization (XRD, Chemical Analyses, and
        SEM/EPMA Data) of Starting Materials. Power Plant Research Project Report, Maryland
        Department of Natural Resources.

        Weill, D., Chatfield, E, Cox, T, Gamble, J, Gibbs, G., and Wylie, A. ( 2016) Letter to the
        Editor in reference to: Hwang et al. The Relationship Between Various Exposure Metrics
        for Elongate Mineral Particles (EMP) in the Taconite Mining and Processing Industry,
        Journal of Occupational and Environmental Health, Vol. 11, pp 613-624, Journal of
        Occupational and Environmental health 12:6 D86-D87. DOI:
        10.1080/15459624.2015.1006639

        Wylie, A.G., Virta R.L., Shedd, K.B., and Snyder, J.G., 2015, Size and shape
        characteristics of airborne amphibole asbestos and amphibole cleavage fragments: Digital
        Repository at the University of Maryland, http://dx.doi.org/10.13016/M2HP87


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        amphibole cleavage fragments from milled riebeckite: Digital Repository at the
        University of Maryland, http://dx.doi.org/10.13016/M2S98X


        Wylie, A.G., and Virta, R.L., 2015, Size and shape characteristics of mountain-leather
        actinolite: Digital Repository at the University of Maryland,
        http://dx.doi.org/10.13016/M2WT68


        Wylie, A.G., and Virta, R.L., 2015, Size and shape characteristics of South African
        actinolite asbestos (ferro-actinolite): Digital Repository at the University of Maryland,
        http://dx.doi.org/10.13016/M2S138


        Wylie, A.G., and Virta, R.L., 2016, Size and shape characteristics of Indian tremolite
        asbestos: Digital Repository at the University of Maryland,
        http://dx.doi.org/10.13016/M21H7S


        Wylie, A.G., and Virta, RL 2016, Size distribution measurements of amosite, crocidolite,
        chrysotile, and nonfibrous tremolite: Digital Repository at the University of Maryland,
        http://dx.doi.org/10.13016/M2798Z
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        e.     Abstracts and Professional Papers presented

        Gilbert, Jean Ann and P.J. Ypma (1969) "The Use of an Electro-Optical Compensator for
        the Determination of the Optical Properties of Opaque Minerals Under the Microscope",
        GSA Annual Meeting, Atlantic City, New Jersey.

        Siegrist, H.G. and A.G. Wylie (1979) "Characterizing and Discriminating the Shape of
        Asbestos Particles", GSA Annual Meeting San Diego, California.

        Invited
        Wylie, A.G. and P. Schweitzer (1980) "The Effects of Grinding on the Shape of
        Wollastonite Particles". Symposium on Electron Microscopy and X-ray Applications to
        Environmental and Occupational Health Analysis, Penn State.

        Huggins, C., A.G. Wylie and W. Campbell (1980) "Preparation and Selected Properties
        of Amosite, Chrysotile, Crocidolite and Non-fibrous Tremolite for Use in NIEHS Oral
        Ingestion Studies". Symposium on Electron Microscopy and X-ray Applications, Penn
        State.

        Rosemeier, R.G., M.E. Taylor and A.G. Wylie (1981) "Low Cost 210K Gain
        Transmission Electron Microscope Image (TEMI) Intensifier". Electron Microscopy
        Society of America, Annual Meeting, Atlanta.

        Virta, R., K. Shedd, A.G. Wylie and J. Snyder (1981) "Size and Shape Characteristics of
        Amphibole Asbestos and Amphibole Cleavage Fragments Collected on Occupational Air
        Monitoring Filters". Proceedings of the International Symposium on Aerosols in the
        Mining and Industrial Work Environment, University of Minnesota USBM-NIOSH,
        Minneapolis, Minnesota.

        Broadhurst, C.L., Candela, P.A., Wylie, A.G. and Burke, T.M. (1983) "A Geochemical
        Study of the Host Rocks of the Copper-Iron-Cobalt Ores of Sykesville, Maryland: An
        Ultramafite-Associated Deposit. Geol. Soc. Am. Natl. Meeting, November, (1983).

        Burke, T.M., P.A. Candela, and A.G. Wylie (1985) "Evidence for Detrital Ultramafic
        Bodies in the Eastern Piedmont of Maryland". Geol. Soc. of America Northeastern
        Section, March (1985).

        Wylie, A.G., P.A. Candela and T.M. Burke (1985) "Genesis of High-zinc Chromite and
        Associated Cobalt Mineralized Blackwall in the Sykesville District, Maryland Piedmont".
        Geol. Soc. of Amer. National Meeting, November (1985).

        Muller, P.D., Candela, P.A. and A.G. Wylie (1985) "Liberty Complex: Polygenetic
        Melange in the Central Maryland Piedmont". Geol. Soc. of Amer. National Meeting,
        November (1985).
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        Invited
        Candela, P.A. and Wylie, A.G. (1987) "The Geology of Radon in the Maryland
        Piedmont: The Development of a Research Plan". Southwest Geol. Soc. Amer.

        Candela, P.A., Wylie, Ann G. and Muller, P. (1987) "Ore Deposits as Tectonic Indicators
        in Melange Terrane". AGU.

        Wylie, A.G., Candela, P.A. and Burke, T.M. (1987) The Genesis of Ultramafite-
        Associated Fe-Cu-Co-Zn-Ni Deposits of the Sykesville District, Maryland Piedmont".
        Southeast Geol. Soc. Amer.

        Linder, D.E. and Wylie, A.G. (1988) "Zeolites from the Paleozoic Metavolcanic James
        Run Formation, Piedmont Province, MD" Southeast Geol. Soc. Amer.

        Invited
        Wylie, A.G. "Discriminating Amphibole Cleavage Fragments from Asbestos: Rationale
        and Methodology. Abstracts of Communication. VII International Pneumoconiosis
        Conference, Aug. 23-26,1988. Pittsburgh, NIOSH-ILD-BOM-MSHA-OSHA, p. 124.

        Invited
        Wylie, A.G. (1989) "Distinguishing Tremolite-Asbestos from Tremolite Cleavage
        Fragments on a Light Optical and Morphological Basis", VII International
        Pneumoconiosis Conference Proceeding of Workshop: Hazard Recognition of Mineral
        Dust. Pittsburgh, NIOSH-ILD-BOM-MSHA-OSHA.

        Invited
        Wylie, A.G., (1989) Fiber Mineralogy and Identification. Society of Mining Engineers
        Annual meeting

        Wylie, A.G., Linder, D. and Candela, P. (1990) "Sedimentary Features of Appalachian
        Serpentinites". Geol. Soc. of Amer. National Meeting, Nov. (1990), p. A230.

        Invited
        Skinner, C. and Wylie, A. (1990) "Fibrous Tremolites". Bloss Symposium, VPI,
        Blacksburg, Virginia.

        Invited
        Wylie, A.G. (1992) The Analysis of Industrial Mineral Products for Crystalline Silica by
        Optical and Electron Microscopy. The Measurement of Crystalline Silica International
        Symposium, August (1992).

        Wylie, A.G. (1993) The Fractal Distribution of the Mass of Asbestos Fiber and its
        Application to the Analysis of Industrial Minerals. Geological Society of America Annual
        Meeting, Boston.

        Verkouteren, J.R. and Wylie, A.G. (1994) “Anthophyllite, Tremolite, and Actinolite
        Asbestos: Reference Materials and Optical Properties” Inter/Micro 94, Chicago.
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        Verkouteren, J.R., Wylie, A.G., Steel, E.B., Lim, M.S. (1995) "Analysis of the Tremolite-
        Actinolite Series using High Precision Refractive Index Measurements". Microbeam
        Analysis.

        Invited
        Wylie, A.G. (1996) Factors Affecting Risk from Biologically Active Minerals.
        Proceedings Society of Mining, Metallurgy & Exploration Symposium. Mineral Dusts:
        Their Characterizations and Toxicology. Washington DC 33-46

        Invited
        Wylie, A.G. (1997) "The Habit of Asbestiform Amphiboles: Implications for the Analysis
        of Bulk Samples” 1997 Boulder Conference: Advances in Environmental Measurement
        Method for Asbestos. University of Colorado, Boulder, July 13-17 (1997).

        Verkouteren, J.R. and A. G. Wylie (2001) “Microdiffraction Analysis of Fibrous Talc:
        Asbestos in Crayons”. 2001 Denver X-ray Conference, Steamboat Springs, Colorado,
        USA, August 2, 2001.

        Piccoli, P.M., DeHarde, A., Wylie, A.G. (2001) “Recycling coal Combustion Byproducts:
        a Laboratory Study to Evaluate Grout Formulations for Use in the Kempton Mine
        Complex, Western Maryland. Geological Society of America, Abstracts with Programs.

        Verkouteren, J.R. and A.G. Wylie (2001) “Identification of Tremolite-Actinolite
        Asbestos”. 2001 Asbestos Health Effects Conference, May 24-25, 2001, Oakland, CA.

        Verkouteren, J.R., A. G. Wylie, E. Windsor, J. Courny, R. Perkins, T. Ennis (2002)
        “Powder X-Ray Diffraction for Asbestos Analysis”. International Centre for Diffraction
        Data. Annual Meeting of Members, ICDD Headquarters, Newtown Square, PA, March
        20, (2002).

        Greenwood, W. and A.G. Wylie (2002) “The Optical Properties and Chemical
        Composition of Fibrous Talc”. ASTM Johnson Conference, July 21-25, Johnson,
        Vermont.

        Verkouteren, J.R., and A.G. Wylie (2002) “A PLM Method for Quantitative Analysis of
        Amphibole Asbestos in Bulk Materials at 0.01 wt.%”. ASTM Johnson Conference, July
        21-25, Johnson, Vermont.

        Verkouteren, J.R. and A.G. Wylie (2002) “Optical Characteristics and Mineralogy of
        Environmental Amphibole Asbestos”, ASTM Johnson Conference, July 21-25, Johnson,
        Vermont.

        Verkouteren, JR and A G Wylie “Micro-diffraction Analysis of Fibrous Talc: Asbestos in
        Crayons. Denver x-ray conference.

        Crummett, C.D., Candela, P.A., Wylie, A. G., and Earnest, D.J. (2004) “Examination of
        the Thermal Transformation of Chrysotile by Using Dispersion Staining and
Case 3:16-md-02738-MAS-RLS Document 9741-5 Filed 05/07/19 Page 452 of 608 PageID:
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        Conventional X-ray Diffraction Techniques”. AGU Fall Meeting, V41C-1405.

        Earnest, D. J., Candela, P.A., Wylie, A. G., Crummett, C. D, Frank, M. (2004)
        “Synchrotron Radiation Study of the Kinetics of Dehydration of Chrysotile Fiber”. AGU
        Fall Meeting, V23C-06.

        Frank, MR, Candela, PA, Earnest, DJ and Wylie, AG, Wilmot, M, Maglio SJ (2005)
        Experimental Study of the Thermal Decomposition of Lizardite up to 973 K, GSA
        Annual Meeting

        Kerrigan, RJ, Candela, PA, Piccoli, PM, and Wylie, AG, (2007), Growth of Fibrous Talc
        and Anthophyllite in the Hydrothermal Diamond Anvil Cell (HDAC), American
        Geophysical Union Fall Meeting, December 10-14, 2007, San Francisco.

        Taylor, ES, Lower, SK, Wylie, AG, and Mossman, BT: The strength of disease: molecular
        bonds between asbestos and human cells, EOS Trans. AGU, 89(53): B53B-0479, 2008.

        Schwartz, C.W., Wylie, A.G., Davis, A.P., and James, B.R., (2009), Column Expansion
        Testing of Chromium tailings Subgrade Fills, International Foundation Congress and
        Equipment Expo, March 15019, Orlando, FL, 8 pages.

        Invited
        Wylie, A.G. (2010) Mineralogical Characteristics of Asbestos. GSA meeting,
        Northeastern/Southeastern sections, Baltimore.

        Taylor E, Mossman BT, Wylie AG, Lower SK. (2010) Molecular Methods for the
        induction of Mesothelioma by Asbestos. GSA meeting Northeastern/Southeastern
        sections. Baltimore.

        Taylor, ES, Lower SK, Mossman, BT and Wylie, AG, 2011. Molecular methods for the
        Induction of mesothelioma by Asbestos. Biophysics Journal 100. P160a.

        Invited
        Wylie, A. G. (2013) A Review: Mineralogy and dimensional characteristics of
        amphiboles from the vermiculite deposit, Rainy Creek Complex, Libby, Montana. GSA
        meeting Northeastern Section, Bretton Woods, New Hampshire

        Invited
        Mossman, B.T., Sonali, H, Taylor, E, Lower, S, Dragon, J, bond, J, Wylie, A, and Shukla,
        A (2013) New Data on How Asbestos Fibers Interact with Cells to Trigger Extracellular
        Signal-Regulated Protein Kinase, i.e., ERK, Pathways Critical to Toxicity and Disease,
        10th International Meeting on fibre/Particle Toxicology, June 407, Dusseldorf, Germany

        Wylie, AG and Segrave, A (2019) Can the carcinogenic potential be predicted from
        metrological properties. ASTM Beard Conference. Denver April.
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        f.     Published Guides for Field Trips:

        Wylie, A. and P. Candela (1987) "The Geology of the Maryland Piedmont". 3-day Trip
        and Guide Book. Department of Geology Annual Trip, October 1987.

        Candela, P. and A. Wylie (1988) "The Ultramafite-associated Cu-Fe-Co-Ni-Zn Deposits
        of the Sykesville District, Maryland Piedmont". Goldschmidt Conference Field Trip,
        May, 1988.

        Candela, P. and Wylie, A. (1989) "Fe-Cu-Co-Ni-Zn deposits of Sykesville, Md."
        International Geological Congress,T241 July 1989. John Wiley and sons

        Candela, P. and A. Wylie (1990) "The Ultramafite-associated Cu-Fe-Co-Ni-Zn Deposits
        of the Sykesville District, Maryland Piedmont". Goldschmidt Conference Field Trip,
        May, 1990.

        Wylie, AG. (2018) Geology of the Catoctin Mountains, MD. June 9, 2018. Geological
        Society of Washington Spring Field Trip.

        g.     Contracts and Grants

        Principal Investigator, "Mineralogical Analysis of Road Aggregate Used in Maryland",
        Maryland Highway Administration, $8,089. November 1974-July 1975.

        Co-Principal Investigator, "Optical Microscopic Electron Optical and Microprobe
        Characterization of Asbestos-Related Materials", U.S. Bureau of Mines, $16,645.
        December 1975-November 1976.

        Principal Investigator, "Serpentines", Faculty Research Board, University of Maryland,
        $750. Summer 1976.

        Principal Investigator, "Optical Microscopic and Electron Optical Characterization of
        Asbestos-Related Materials", U.S. Bureau of Mines, $11,188. December 1976-November
        1977.

        Principal Investigator, "Characterization of Asbestos-Related Materials Including Particle
        Size Distribution, Aspect Ratio and Orientation", U.S. Bureau of Mines, $21,437.
        December 1977-November 1978.

        Principal Investigator, "Mineralogical and Size Distribution Studies of Amphibole
        Asbestos", U.S. Bureau of Mines, $84,200. April 1979-April 1981.

        Principal Investigator, "Dispersion Staining in Optical Mineralogy", Undergraduate Fund
        for Improvement of Instruction, University of Maryland, $700. 1982.

        Principal Investigator, "Quality Control in the Analysis of Asbestos by PLM", $10,000.
        Sept. 1985-Sept. 1986. Occupational Medical Center.
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        Principal Investigator "Mineralogy of the Sand Fraction of Aquifer in Northwestern
        Washington". United States Geological Survey, $2,450. June-October 1986.

        Univ. of Maryland General Research Board Semester Research Award, $1,500. 1987.

        Mineralogy of Waste Product of Sand and Gravel Processing". Aggregate Industries,
        $12,000. 1987-1988.

        Characterization and Quantification of Fibrous Tremolite in Tremolitic Talc. Southern
        Talc Company, $17,000. 1989-1990.

        Principal Investigator, "Mineralogical Characteristics of Fibrous Talc". R.T. Vanderbilt
        Company, $23,500. September 1992-December 1997.

        Project Director, "Fellowship for the Study of Industrial Talc". R.T. Vanderbilt
        Company, $33,500. January 1, 1993-December 31, 1997.

        Co-Project Director,(with C Schwartz) “Research and Laboratory Testing of Chromium
        Processing Waste at Dundalk Marine Terminal”, Maryland Department of Transportation,
        $100,000. December 1996-December 1997.

        Co-Project Director (with K Prestegaard and A Amde) “Characterization of Coal
        Combustion Products and Derived Grout Materials,” Nuclear Power Plant Research
        Program, Maryland Department of the Environment, $10,000, 1998.

        Co-Project Director (with K Prestegaard and A Amde) “Characterization of Coal
        Combustion Products and Derived Grout Materials, Nuclear Power Plant Research
        Program, Maryland Department of the Environment, $60,000, 1999

        Co-Project Director, (with K Prestegaard and A Amde)"Characterization of Coal-
        Combustion Products and Derived Grout Material". Power Plant Research Program,
        Maryland Department of Natural Resources, $40,000, 2000.

        Co-Project Director, (with K Prestegaard and A Amde)“Characterization of Coal-

        Research Program, Maryland Department of Natural Resources, $60,000, 2000.

        Co-Project Director, (with K Prestegaard and A Amde) “A study of the Mineralogical
        Transformations in Fly-Ash Based Grouts. Maryland Department of Natural Resources,
        Power Plant Research Program, $30,000, 2000-2001

        Co-Project Director (with P Candela) “A study of the thermal transformation of
        chrysotile”, Ford, GM and Chrysler, $610,000, 2004-2006



        h.     Fellowship, Prizes and Awards
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              Seven College Conference of Women's Colleges Scholarship to Wellesley College,
              1962-1966.

              Wellesley College Scholar, 1966.
              Wellesley College B.A., cum laude

              Faculty Fellowship, Columbia University, 1969-70, 1971-72.

              Citation from Governor, State of Maryland, for recognition of assistance in
              implementation of Title IX in Maryland, 1983.

              Butler Prize, Geological Society of Washington, 1989. Given for the best paper read
              before the Society, 1989.

              Distinguished Scholar-Teacher 1994 UMCP.

              Fellow Geological Society of America 1990

              Honorary Membership in Zeta Nu chapter of Eta Sigma Phi 2011

              Outstanding Woman of the Year, President’s Commission on Women’s Issues, 2012

              President’s Medal, University of Maryland, 2014

   3.         Teaching, Mentoring, and Advising

              a.     Courses taught
              Course
                                                  Approximate Average Enrollment
              Physical Geology                                 150
              Economic Geology                                  10
              Optical Mineralogy                              6-10
              Ore Microscopy                                     3
              Senior Thesis Research                            10
              Advanced Topics in Economic Geology               14
              Geology of Maryland                                6
              Geology and Public Policy                         15
              Environmental Geology                             60

              b.       Advising: Research Direction

              i.       Undergraduate Thesis (beginning 1980) Major Advisor:
                       1
              1980      Ed. Jacobsen "Coal Geology of Garrett County, Maryland"


        1
            Winner of the AAPG National Undergraduate Research Award
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           1982    Sharron O'Donnell "Coal Geology of Southwestern Kentucky
                   Eric Windsor "Shape Characterization of Amphiboles"
                   Morris Levin "Characterization of Part of the Sykesville Magnetite District by a
                      Magnetometer"
                   Lyle Griffith "The Use of a Magnetometer in Characterizing the Beasman
                   Prospect, Sykesville, MD."
                   2
                    John Varndell "Heavy Element and Particle Size Relationships in a Sludge
                      Disposal Site, Baltimore, Maryland"
                   Joe Segretti "Relationship between cytotoxicity and coating of chrysotile fibers"
                   Mark Beal, A Geologic Evaluation of a Placer Gold Deposit in Southern
                      Fauquier Co., Virginia

           1983    Keith Mason "A Preliminary Evaluation of Copper and Cobalt in Conjunction
                     with Iron Mining in the Beasman Prospect of Sykesville, Md."
                   Michael D. Jones "Chromium in the Soils and Streambeds above the Hunting
                     Hill Serpentinite Body, Montgomery County, Md."
                   Theresa Baker "Crack Growth in Quartz: The Effects of Chemical
                     Environments"
                   Mark Hevey "Gas Production and Faulting in Gas Field, Kansas"

           1984    Brian Hart "A Potential Field Study of the Magnetite Bearing Deposits of the
                     Central Portion of the Sykesville Mining District"
                   Katherine Heller "A Reconnaissance Study of the Origin of Small Talc and
                     Serpentine Bodies in the Wissahickon Formation within the Maryland
                     Piedmont"

           1987    Dan Linder "Comparison of the James Run with the Sykesville and Morgan Run
                     Formation"
                   Bethany Baker "Observation on the Geology of Montgomery County from
                     geomagnetic, aeroradioactivity and gravity surveys"
                   Valerie Gray "Reconnaissance Study on the Source of Gamma Radiation
                     Fluctuation in Eastern Montgomery County"

           1988    Tom Davis "Comparative Geothermometry by Using Garnet-Biotite and Fe-Ti
                     Oxides in the Loch Raven Schist

           1991    Dan Galasso "Geochemical Prospecting of Heavy Minerals to Determine if a
                     Marker Exists for the Sykesville District of Carroll County, MD"

           1994    David Berry "Analysis of Trace Quantities of Amphibole Asbestos Based on the
                     Fractal Model for Mass Distribution"

           1995    Bob Schultz "Determination of Asbestos in a Matrix Through Employment of the
                     Fractal Model for Mass Distribution"
                   Allan Jackson-Gewirtz "A Comparison of Methods of Analysis of Powdered

     2
         2nd Place Winner of the AAPG National Undergraduate Research Award
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                 Samples"
               Roberta Winters "Biological Effect of Fiber Size and Mineralogy: The Case of
                 Talc Fibers in Hamster Tracheal Epithelial (HTE) and Rat Macrophage Cells
                 (RMC)"
               Mi Lim "Anomalous Optical Properties of Tremolite-Actinolite Fibers"

        1996   Tom Biolsi "Effects of absorption and thickness in measuring the index of
                 refraction of blue glass and riebeckite and its application to crocidolite"
               Katherine White "X-ray diffraction and optical analysis of picrolite from the
                 State Line Quarry, PA”
               Christine Rosenfeld, “Characterization of the Chemistry of the Zeolites Erionite
                 and Mordenite as a Function of Morphology: An SEM/EDS study”

        1997   Matt McMillan “Lattice dimensions vs. chemical composition and optical
                 properties of tremolite"

        1999   Russell Meyer “Lattice Dimensions, chemical composition and optical properties
                 of crocidolite”

        ii.    Master of Science Degree Awarded

        1985   John Ossi, M.S., "A New Petrographic Method For Interpreting Coal-Forming
                 Environments of Deposition"

        1988   Robert Virta, M.S., "An Evaluation of the Adequacy of Morphological Data for
                 Determining the Carcinogenicity of Minerals"

        1990   Dan Linder, M.S., "The Mineralogy and Origin of the State Line Talc Deposit,
                 Lancaster Co., Pennsylvania"

        1991   Tim Rose, M.S., "Petrology and Chemical Variation of Peraluminous Granitic
                 Rocks from the Northern Lobe of the Phillips Pluton, Maine"

        1996   Jiang Feng, M.S., "Evidence for compositional variation in phyllite from Carroll
                  and Frederick Counties, MD"

        1988   William Greenwood, M.S. “Mineralogical Characteristics of Fibrous Talc”

               Diane Hanley, M.S., "Overland flow evaluation of lava flow platform"

        1999   Mark Watson, M.S., “Effects of intergrowths on the Physical Characteristics of
                 fibrous Anthophyllite”

        2001   Amina DeHarde, M.S., “Characterization of Grouts made from Coal Combustion
                 By-Products: Mineralogy and Physical Properties”

        2005   Courtney Crummett, M.S. (co-chair) "Examination of the Thermal
                 decomposition of Chrysotile”
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        iii.   Ph.D.

        1991   James Crowley, Ph.D., "Geochemical Study of Playa Efflorescent Salt Crusts and
                 Associated Brines by Using Spectral Reflectance, X-ray Diffraction and Brine
                 Chemical Data"

        1999   Martitia Tuttle, Ph.D., "Late Holocene Earthquakes and their Implications for
                 Earthquake Potential of the New Madrid Seismic Zone, Central United States"
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   4.   SERVICE

        a.     Professional

        i.     Offices and Committee Membership Held in Professional Organizations

        Geological Society of America (Fellow)
        Mineralogical Association of Canada
        Geological Society of Washington
        American Association for the Advancement of Science
        American Geophysical Union
        Geological Society of America Campus representative (1985-2000)
        Chairman, Sigma Xi Graduate Student Research Award Selection Committee, UMCP
              (1986, 1987)
        Mineralogical Society of America: Tellers committee, 1989-1991.
        Representative to American Geological Institute, K-12 Education Committee, 1991
        Field Trip Chairman, Geological Society of Washington, 1990.
        Delegate to AAPG - Geological Society of Washington 1995-96.

        ii.    Reviewing Activities for Journals and Agencies

        American Mineralogist                 Environmental Protection Agency
        Canadian Mineralogist                 U.S. Geological Survey
        Science                               Economic Geology
        Environmental Research                Society of Mining Engineers
        U.S. Bureau of Mines                  American Industrial Hygiene Journal
        European Journal of Mineralogy        Critical Reviews in Toxicology
        Periodico di Mineralogia              Scientific Reports
        National Institute for Occupational Safety and Health

        iii.   Other Professional Activities

        Co-Chairman, New York Academy of Sciences, Workshop #1. Significance of Aspect
              Ratio in Regulation of Asbestos Fiber Exposure, Conference on the Scientific Basis
              for the Public Control of Environmental Health Hazards, New York (1978).
        Invited Chairman and Organizer of "Asbestiform Minerals Symposium", AIME Annual
              Meeting (1979) Tucson, Arizona.
        Appointed by the U.S. Secretary of Education to the Task Force on Asbestos in the
              Schools (1980-1984).
        Session Chairman, EPA Conference on Monitoring and Evaluation of Airborne Asbestos
              Levels Following Abatement, March, 1984.
        Appointed reference analyst for U.S. Navy Asbestos Analysis Quality Assurance Program
              (administered by Research Triangle Institute) 1984-1990.
        Session Chairman, Economic Geology III, Geol. Soc. of Amer. National Meeting,
              November 1985.
        Member, ASTM Task Group for writing Standard Methods of Analyses of Asbestos by
              TEM, SEM, Phase Contrast Optical Microscopy and Polarized Light Microscopy.
              1985-1990. Author of Polarized Light Microscopy Method (grey sheets).
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        Expert witness, Occupational Safety and Health Administration hearing on asbestos
              regulation, 1985, 1990.
        Invited participant, Penn. Geol. Survey Conference on Mapping in the Piedmont, 1987.
        Expert panel member, EPA, Superfund Bulk Asbestos Method, 1990-1991.
        Member IARC Work Group for Talc, Carbon Black, and Titanium Dioxide, Lyon France
              2006.
        Wellesley College, Class of 1966 Class Officer 1981-86, 2006-11; Annual giving
              committee 2012-2016
        Member, Peer Review Panel, NIOSH, Roadmap for Scientific Research on Asbestos and
              Other Mineral Fibers, 2007
        Testimony, US House Senate, Committee on Environment and Public Work June 12,
              2007 and follow-up letter, June 16, 2007
        Member, Scientific Advisory Board, National Stone, Sand and Gravel Association 2011-
              present
        Member, Frederick Regional Higher Education Advisory Board 2013-2015
        Member, Frederick Center for Research and Education in Science and Technology
        (CREST) Governing Board 2015-2018
        Member Planning Committee for NIOSH EMP workshop on Terminology and
            Characterization, Paul Middendorf Chair 2016 (rescheduled by CDC to 2017).
        Invited participant and member of the Planning Committee, National Academies
             Workshop on elongated Mineral Particles, May 15-16 2017. (rescheduled to
             January 2018: cancelled by NIOSH in January)
        Co-chair NSSGS/Society of Toxicology Monticello Conference on EMPS, October 2017,
              Charlottesville, VA
        Guest editor. Special issue of Toxicology and Applied Pharmacology: The Monticello
              Conference.
        Invited speaker and session co-moderator, JIFSAN workshop. Asbestos in talc. Nov 2018


           c.      Selected University of Maryland Service
        Chairman, Institutional Review Board (IRB) 1984-1986
        Supervisory responsibility for Animal Care and Use Committee and actions (1984-1986)
        Chair, General Research Board 1984-1986
        Chair, Creative and Performing Arts Board 1984-1986
        Member Review Committee for Dean of the College of Computer Mathematical and
              Physical Sciences 1990
        Member, Review Committee for Chair of Department of Economics 1998
        Chair, Earth System Science Director Search Committee 1998
   `    Chair, Limited Enrollment Committee, 2000-2002
        Chair, Campus Assessment Working Group, 2000-2002
        Chair, Search Committee, Vice President for Research 2002
        Chair, Search Committee, Vice President for Administration and Finance, 2004
        Chair, UMCP Graduate Council, 2004-2006
        UMCP Strategic Planning Steering Committee, Graduate Education Chair, 2008
        Chair, UMCP Finance Committee, 2008-2011
        Chair, UMCP Sustainability Council 2009-2011
        Chair, Student Fee Review Committee 2008-2011
        Chair, UMCP Facilities Council, 2011-2012
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        MPowering the State, UMB-UMCP Steering committee 2011-2013
        Carey School of Law Dean Search committee 2013-2014
        Facilitator, Leadership Fellows Program, UMCP Advance. 2013-2014
        College of Computer, Mathematical and Natural Sciences, University of Maryland, Board
            of Visitors, 2013-2018
        Member. UM Investigation Committee for scholarly misconduct case. 2015
        Chair, Investigation Committee to review UM Maryland Industrial Partnership grant to
              Fifth Quarter Fresh and School of Public Health. 2016
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               EXHIBIT B
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       Previous Four Years of Expert Testimony for
                    Ann Wylie, Ph.D.

   Dr. Ann Wylie has not testified as an expert at trial or by deposition during the previous four
   years.
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                          Exhibit I
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   I.       EXECUTIVE SUMMARY

            To confirm the presence of asbestos in talcum powder, there are three questions to consider:

                   1.      Mineralogy: Are the mineral species present among those that include
                           asbestos?

                   2.      Physical properties (habit): Do the minerals have an “asbestiform” habit,
                           occurring as particles that are lengthwise separable into flexible fibers?

                   3.      Concentration: What are the abundances of the minerals?

            The expert reports dated November 14, 2018, January 15, 2019 and February 2, 2019 from
   plaintiffs’ experts William E. Longo and Mark W. Rigler (the “Longo/Rigler MDL Reports”) fail
   to demonstrate that any of these three requirements is true of the impurities allegedly occurring in
   the tested talcum powder. Instead, they (or more specifically, their five analysts) applied a
   methodology that was inherently designed to achieve the results they desired for purposes of this
   litigation.

           As an initial matter, many minerals have very similar chemical formulas, and many minerals
   occur with fibrous shapes, but not all of these minerals are “asbestos.” Asbestos minerals have both
   a specific chemical composition and a unique ‘habit’ or morphology. Asbestos is defined as one of
   six particular minerals exhibiting the characteristics of an asbestiform habit, meaning they can be
   separated into flexible fibers with high tensile strength. Drs. Longo and Rigler confuse “counting
   criteria” with this definition, using a disingenuous distinction between what they call the
   “geological definition” and what they wrongly invent as the “regulatory definition.” This is not
   scientifically proper.

        x   EDS (mineral chemistry). Drs. Longo and Rigler opine on tests run by their analysts using
            Energy Dispersive Spectroscopy (“EDS”) to identify the chemistry of certain particles that
            they have isolated in the samples tested. EDS, properly used, can somewhat measure the
            chemistry of a mineral, or at least narrow down the possible chemistries, even if it cannot
            tell a scientist whether that mineral’s shape is asbestiform or not. But the analysts do not
            follow generally accepted scientific methodology in their EDS analysis. For example:

            o They “eyeball” the EDS spectra and rely only on the images generated by an EDS
              analysis to evaluate the chemical composition of each mineral.

            o They visually compare their spectra to “reference standards” apparently belonging to
              their lab only, which standards are not in the published literature, which likely represent
              only asbestiform minerals and which Drs. Longo and Rigler did not produce (such that
              it cannot be determined if these standards have any scientific validity whatsoever).

            o In doing so, they deliberately choose not to generate quantitative numbers that would
              more accurately determine chemical compositions, which is the very purpose of an EDS
              analysis of an unknown mineral. The quantitative data is necessary to make
              scientifically valid conclusions, and their conclusions are therefore unsupportable.


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            As a result, Drs. Longo and Rigler and their analysts used a flawed methodology that
            resulted in wildly inconsistent results across different analysts and over time. In science,
            proof involves demonstrating that a result is replicable. Consequently, the particles that they
            identify as “anthophyllite” may actually be talc, cummingtonite or other minerals. The
            particles that they identify as “tremolite” could be other amphiboles 1, diopside (pyroxene)
            or other minerals.

            Finally, confirming the lack of reproducibility in their methodologies, I have analyzed the
            EDS interpretations of each of the five separate analysts used by Drs. Longo and Rigler.
            Although there should be parallel results across analysts, there is clear evidence of personal
            biases, which is unsurprising given the unscientific and subjective nature of the
            methodologies employed.

       x    SAED (crystal structure). Drs. Longo and Rigler opine on tests run by their analysts using
            selected area electron diffraction (SAED) to identify the crystal structure of selected
            particles in the samples tested. Again, they do not follow generally accepted scientific
            methodology in their SAED analysis. For example:

            o A majority of the patterns they generate are of poor quality, making them impractical or
              impossible to interpret.

            o For an accurate identification of an unknown mineral, at least two (and preferably more)
              SAED patterns must be taken with the sample oriented along a “zone axis.” 2 Yet for
              those minerals identified as “tremolite,” they use only one SAED pattern, resulting in
              inconclusive data that would be consistent with many other minerals, including those
              that have no asbestiform habit. Similarly, for those minerals that they identify as
              “anthophyllite,” the analysts took two SAED patterns for only two samples, and these
              are insufficient to uniquely identify anthophyllite.

            o A fundamental part of analyzing SAED results is to calculate the “d-spacings” between
              layers of atoms, which may be diagnostic of each mineral species. It appears that Drs.
              Longo and Rigler and their analysts did not initially use d-spacings at all, once again
              adopting qualitative “eyeball” methodologies found nowhere in the literature over
              quantitative, accepted science. After generating their first report, they used a small
              number of d-spacing measurements to “verify” their prior conclusions. Yet those
              “verifications” show d-spacings that are consistent with 25% of all common rock-
              forming minerals. Even Drs. Longo and Rigler concede they do not uniquely identify
              any one mineral.

            o Some of the Longo/Rigler d-spacing interpretations even have impossible values,
              demonstrating significant flaws in the methodology used.


   1
     Amphibole is the group name of a group of hydrous silicate minerals that include, among other individual minerals,
   tremolite, actinolite and anthophyllite.
   2
     The zone axis is the direct crystal axis that is parallel to the electron beam at the orientation when the SAED pattern
   is recorded

                                                             -2-
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         o The EPA “Yamate III” protocol for analyzing talc for impurities – which Drs. Longo
           and Rigler say they followed – requires two SAED zone axis determinations. Yet, of the
           more than 70 bottles tested, Drs. Longo and Rigler only did this for two bottles.

         As a result, what Drs. Longo and Rigler identify as anthophyllite or tremolite in the samples
         analyzed may actually be hundreds of other possible minerals or individual crystal
         structures.

     x   TEM visual inspection. The analysts in the Longo/Rigler MDL Reports purport to find the
         concentration of “asbestos” using visual inspection techniques under TEM. They do not,
         however, follow generally accepted scientific methodology in this analysis. For example:

         o Use of TEM images to visually distinguish non-asbestiform amphiboles and
           asbestiform amphiboles is scientifically invalid, as stated by the very protocols upon
           which Drs. Longo and Rigler rely.

            ƒ   Indeed, Drs. Longo and Rigler and their analysts did not apply objective criteria for
                distinguishing between cleavage fragments, bundles and fibers, as demonstrated by
                the inconsistent results of their analysts.

            ƒ   Moreover, the results reported in the Longo/Rigler MDL Reports are inconsistent
                from analyst to analyst, highlighting the unreliability of their method of visual
                identification using TEM.

         o The analysts used by Drs. Longo and Rigler utilized the concept of “aspect ratio” – the
           ratio of a particle’s length to width – and counted DOOSDUWLFOHVJUHDWHUWKDQȝPLQ
           length that have substantially parallel sides and an aspect ratio greater than 5:1. Yet, as
           Drs. Longo and Rigler admit, a particle that is non-asbestiform can also have an aspect
           ratio greater than 5:1. This means that the Longo/Rigler MDL Reports do not
           distinguish asbestiform minerals from non-asbestiform minerals (e.g., “cleavage
           fragments”) in this regard.

         o This is scientifically invalid because, based on peer-reviewed studies, it is known that
           size distributions for non-asbestiform particles are different than those for asbestiform
           particles. Using statistical methods – methods not used by Drs. Longo and Rigler –
           asbestiform and non-asbestiform populations can readily be distinguished. However,
           Drs. Longo and Rigler deliberately did not compile data in the low aspect ratio
           range, making a valid particle analysis impossible.

         o To the extent analysis is possible of the aspect ratio size population they did measure,
           statistical tests of aspect ratio populations establish that the particles measured by the
           analysts used by Drs. Longo and Rigler belong to the population represented by non-
           asbestiform tremolite.

     x   PLM (mineral identification). The analysts used polarizing light microscope (PLM)
         images to identify the nature of any asbestos in the tested samples and the concentration.
         They did not, however, follow generally accepted scientific methodology in their PLM
         analysis. For example:
                                                  -3-
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            o The analysts purported to follow the methodology found in a peer-reviewed article by
              Su (2003). But Su sets forth a particular methodology to do dispersion staining, an
              absolutely critical step of the analysis, which was not followed.

            o Otherwise, the PLM images from the Longo/Rigler MDL Reports are in many cases
              ambiguous because talc and amphiboles have overlapping and similar optical properties,
              and they can easily be confused for each other.

            o The analysts doing the PLM work purported to use two methodologies to determine
              concentration of asbestos contaminants – “ISO” PLM and “Blount” PLM – which should
              have consistent results. All tests using the former were either negative or under 0.1% by
              weight percentage (consistent with the absence of asbestos). Ten of the tests using the
              latter were positive at concentrations up to seven times the results of the former, which
              indicates a complete lack of reliability and reproducibility in this PLM testing.

            o Dr. Longo and Rigler’s “concentration” analysis did not use “point counting,” which is
              the standard method to estimate concentration of phases by PLM. Rather, Drs. Longo
              and Rigler’s analysts used, once again, visual reference charts that appear to be unique
              to their lab, are not in the peer-reviewed literature, and are not produced (such that it
              cannot be determined if these standards have any scientific validity whatsoever).

           In summary, the results in the Longo/Rigler MDL Reports are the product of fundamentally
   flawed methodologies and are not the result of work done according to generally accepted
   scientific standards and methodologies. Despite producing lengthy, descriptive reports and
   undertaking extensive measurements according to government protocols, Drs. Longo and Rigler did
   not properly train their personnel for the task of characterizing impurities in talc, where the possible
   mineralogy is unconstrained. Thus, they lack the background to understand or interpret their results,
   especially where, as here, the impurities are tiny, and many possible minerals can be present.

           The Longo/Rigler MDL Reports simply fail to demonstrate that any asbestos minerals
   are present in the material Drs. Longo and Rigler tested in any concentration with any
   asbestiform shapes. 3 Indeed, every methodological error in their testing results in false positive
   findings of asbestos, but not false negatives. Given that Drs. Longo and Rigler’s testing can only be
   described as a series of errors, each of which acts to amplify the errors preceding it, the results of
   Drs. Longo and Rigler’s testing cannot be considered scientifically valid.

         All opinions in this report are stated to a reasonable degree of scientific certainty, and the
   methods used are among those that I employ in my professional work as a mineralogist.




   3
            IARC (2012) defines the minerals that can be asbestos as follows: “the generic commercial designation for a
   group of naturally occurring mineral silicate fibres of the serpentine and amphibole series. These include the serpentine
   mineral chrysotile [], and the five amphibole minerals – actinolite, amosite [], anthophyllite, crocidolite [], and
   tremolite.” International Agency for Research on Cancer (2012), Monographs on the Evaluation of Carcinogenic
   Risks to Humans Vol. 100C: Asbestos (Chrysotile, Amosite, Crocidolite, Tremolite, Actinolite and Anthophyllite), 219.

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   II.     BACKGROUND AND QUALIFICATION

           I studied geology at Wellesley College, where my thesis involved field work to create a
   geologic map of the nearby Broadmoor Wildlife Sanctuary. I received my Ph.D. from the
   Massachusetts Institute of Technology in geochemistry and mineralogy. My Ph.D. thesis, entitled
   “Crystal chemistry and statistical analysis of iron in mineral standards, micas, and glasses,”
   focused on minerals from a cross-section of geological problems. I was next a member of the
   Research Faculty at the California Institute of Technology, before holding faculty positions in the
   Department of Geological Sciences at the University of Oregon, Department of Geology and
   Astronomy at West Chester University, and most recently, at Mount Holyoke College, where I
   began in the Department of Geology and Geography before moving to chair the Department of
   Astronomy. I now hold an endowed chair as Kennedy-Schelkunoff Professor of Astronomy. I am
   also a member of the graduate faculty at the University of Massachusetts in Amherst, and a Senior
   Scientist at the Planetary Science Institute.

           Over the course of my years in academia, I have taught mineralogy at least 20 times,
   including as a teaching assistant at MIT and at all three academic institutions where I have been a
   faculty member. I have supported public outreach related to mineralogy through the creation of
   two software programs used in many US states for teaching mineralogy to K-12 students. They
   include The Study of Minerals (1997) and Hands-On Mineral Identification (1999). I have also
   authored two textbooks: Mineralogy and Optical Mineralogy: A Three-Dimensional Approach
   with Mickey E. Gunter (first published in 2008, now in its 2nd edition and also available as an
   iBook) and Geostatistics Explained, An Introductory Guide for Earth Scientists with Steven
   McKillip (2010).

           My research has resulted in more than 250 papers published in peer-reviewed journals, and
   it spans a number of different topics in mineralogy. Areas of interest have included metamorphic
   rocks from western Maine, tourmaline mineralogy from worldwide occurrences, mineralogy of
   rocks (xenoliths) from 90 km below Earth’s surface (brought up by volcanoes), and many other
   rock types. The study of amphibole minerals has been a constant theme throughout my career,
   starting with a chapter in my thesis, extending to studies of its chemical variation that continue to
   this day. 4 I have also published several papers relating to the mineralogy of asbestiform minerals,
   including papers on serpentine and amphibole asbestiform minerals. 5


   4
             See Dyar (1984) American Mineralogist, 69, 1127-1144; Dyar et al. (1996), in Dyar et al., EDXA, Mineral
   Spectroscopy: A Tribute to Roger G. Burns, Special Publication #5, Geochemical Society, 273-289. Delaney et al.
   (1996), in Dyar et al., EDXA, Mineral Spectroscopy: A Tribute to Roger G. Burns, Special Publication #5,
   Geochemical Society, 170-177; King et al. (2000) Earth and Planetary Science Letters, 178, 97-112. Gunter et al.
   (2003) American Mineralogist, 88, 1944-1952; Minitti et al. (2008) Earth and Planetary Science Letters, 266, 46-60;
   Minitti et al. (2008) Earth and Planetary Science Letters, 266, 288-302; Sanchez et al. (2008) European Journal of
   Mineralogy, 20, 1043-1053; Lupulescu et al. (2009) Canadian Mineralogist, 47, 909-916; McCanta et al. (2009)
   Geochimica et Cosmochimica Acta, 72, 5757-5780; Gunter et al. (2011) American Mineralogist, 96, 1414-1417; Dyar
   et al. (2016) American Mineralogist, 101, 1171-1189; Chan et al. (2016) Canadian Mineralogist, 54, 337-351; Mueller
   et al. (2017) European Journal of Mineralogy, 29, 167-180; Di Guiseppe et al. (submitted) Toxicology and Applied
   Pharmacology.
   5
           O’Hanley and Dyar (1993) American Mineralogist, 78, 391-404; O’Hanley and Dyar (1998) Canadian
   Mineralogist, 36, 727-739; Gunter et al. (2003) American Mineralogist, 88, 1944-1952; Gunter et al. (2011) American


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          The unifying theme of my research is developing and using analytical techniques to solve
   geological problems, most of which involve identifying and quantifying minerals in mixtures.
   NASA is especially interested in this problem because many techniques that are used on planetary
   surfaces and in orbits involve acquiring signatures of rocks and then extracting individual
   mineralogy from those mixed signals. For example, in my work as a Participating Scientist on the
   science team for the Mars Exploration Rover Curiosity, we studied the problem of identifying
   individual minerals based on rock measurements. 6 I studied meteorites from Mars and examined
   the spectra signatures of individual minerals and also the rock from which they were separated. 7
   We sometimes even create “fake rocks” from mineral mixtures and then make measurements of
   the mixtures to try to understand how to determine abundances of those minerals. 8 My research
   depends heavily on the use of robust statistical analyses, and I often utilize machine learning
   techniques to solve problems in an unambiguous way. 9

           I work hard to uphold the standards of my profession by reviewing research proposals and
   journal publications continuously. I have been an Associate Editor for the American Mineralogist
   since 2000, handling up to 30 papers each year. I have edited one book for the Geochemical Society
   and one special volume of the American Mineralogist. I personally review at least a dozen
   manuscripts for a wide variety of journals every year, as well as many research proposals. I serve
   on review panels for the National Science Foundation and NASA almost every year, in which
   capacity I sometimes review as many as 18 proposals per year. As such, I am an experienced
   reviewer of scientific reports.

           My research has been recognized with both national and international awards. I am a
   Fellow of the Mineralogical Society of America, the Geochemical Society and the Geological
   Society of America (GSA). I received the 2017 G. K. Gilbert award from the GSA for my
   outstanding contributions to planetary science and the 2018 Eugene Shoemaker Distinguished
   Scientist medal from NASA for “a scientist who has significantly contributed to the field of lunar
   and/or asteroid science throughout the course of their scientific career.” I received the Hawley
   Medal from the Mineralogical Association of Canada in 2017, and currently hold the position of
   Helmholtz International Fellow with the German Aerospace Center (Deutsches Zentrum für Luft-
   und Raumfahrt).

          A copy of my current curriculum vitae is attached hereto as Exhibit A. My hourly rate for
   this work has been $500 per hour.



   Mineralogist, 96, 1414-1417; Evans et al. (2012) American Mineralogist, 97, 184-196; Swayze et al. (2018) American
   Mineralogist, 103, 517-549; Di Guiseppe et al. (submitted) Toxicology and Applied Pharmacology.
   6
           Dyar et al. (2013) Geological Society of American Annual Meeting, Denver, Abstract #6-5; Dyar et al. (2014).
   Lunar Planet. Sci. XLV, Lunar Planet. Inst., Houston, CD-ROM #1788 (abstr.).
   7
           Dyar (2002) LPI Conf., Houston, #6011; Dyar (2003) Meteoritics and Planetary Science, 38, 1733-1752.
   8
           Carey et al. (2016) Lunar Planet. Sci. XLVII, Lunar Planet. Inst., Houston, (abstr.) #2626.
   9
            Boucher et al. (2015) Journal of Chemometrics, doi: 10.1002/cem.2727; Dyar et al. (2016) Spectrochimica
   Acta B., 126, 53-64; Boucher et al. (2015) Spectrochimica Acta B, 107, 1-10; Carey et al. (2015) Journal of Raman
   Spectroscopy, 46, 894-903; Boucher et al. (2017) Journal of Chemometrics, 31, e2877; and Giguere et al. (2017)
   Applied. Spectroscopy, 71, 1457-1470.

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   III.   BACKGROUND: WHAT IS AN ASBESTIFORM MINERAL?

        The definition of asbestos involves three different characteristics of a particle: chemical
   composition, crystal structure and physical properties.

          By way of overview, the asbestiform nature of asbestos minerals is seen in Figure 1, which
   shows photomicrographs of tremolite and anthophyllite – two of the amphibole minerals that will
   form the basis for much discussion in this report.




   Figure 1. Microscopic images of tremolite (left) and anthophyllite (right) asbestos reference standards
   from the U.S. National Institute of Standards and Technology. All of these particles meet the standard
   definition of “asbestiform” articulated in Gunter (2010) and can “be separated lengthwise into fibers.”
   Images from ISO 22262-1, Figures D.23, D.25, D.32, and D.34.

          Each of these minerals has a specific chemical composition, crystal structure and physical
   properties. This is what makes them asbestos.

          Thus, this Introduction explains the criteria relevant to the study of potentially asbestiform
   minerals in talcum powder. There are three issues to consider:




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                     1.     Mineralogy: Are the mineral species among those that include asbestos?

                     2.     Physical properties (habit): Do the minerals have an ‘asbestiform’ habit –
                            in other words, is this the asbestiform version of a mineral and not the non-
                            asbestiform version?

                     3.     Concentration: What are the abundances of the minerals?

             A.      Mineral Species Identification

        Summary: Many minerals have very similar chemical formulas, and many minerals occur with
        fibrous shapes, but “asbestos” minerals have both a specific chemical composition and a unique
        ‘habit’ or morphology.

          The strict definition of a mineral species is that it (1) occurs in nature, (2) is stable at room
   temperature, (3) is generally produced by inorganic processes, (4) can be represented by a
   chemical formula, and (5) has a specific, ordered arrangement of atoms. The last two of these
   are especially important to this report.

            Mineralogists use very specific mineral species names, regulated by an international
   committee, to assure that minerals with the same name have all five of these characteristics in
   common. There are currently ~5,500 known mineral species, and many more are found every
   year. 10 Mineral classification is hierarchical, like biological classifications. Instead of the familiar
   “kingdom, phylum…genus, species” used in biology, mineralogists use mineral class, type, group
   and species. Species names are unique and highly specific. While there are only six regulated
   asbestiform mineral species, shown in red in Table 1, there are many other minerals related to
   them.



                                           [Table 1 on next page.]




   10
          Mineral species names and compositions are certified by the Commission on New Minerals and Mineral
   Names (CNMMN) of the International Mineralogical Association.

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           Table 1. Minerals Similar to Talc that Contain Si, Mg, Fe, Ca, Na, H and O*
    Mineral Species        Mineral Class         Chemical Formula                 (Mg,Fe) : Si
    Anthophyllite          Amphibole             Mg7Si8O22(OH)2                   7:8
    Antigorite             Serpentine            Mg3Si2O5(OH)4                    3:2
    Chesterite             inosilicate >1 chain Mg17Si20O54(OH)6                  17 : 20
    Chrysotile             Serpentine            Mg3Si2O5(OH)4                    3:2
    Clinohumite            Nesosilicate          (Mg,Fe)9(SiO4)4(OH)2             9 : 16
    (clino)jimthompsonite inosilicate >1 chain Mg5Si6O16(OH)2                     5:6
    Enstatite              Pyroxene              Mg2Si2O6                         1:1
    Grunerite              Amphibole             Fe7Si8O22(OH)2                   7:8
    Hydroxylclinohumite Nesosilicate             Mg9(SiO4)4(OH)2                  9 : 16
    Cummingtonite          Amphibole             Mg7Si8O22(OH)2                   7:8
    Minnesotaite           sheet silicate        (Fe,Mg)3Si4O10(OH)2              3:4
    Sepiolite              modulated layers      Mg4Si6(OH)26H2O                  4:6
    Talc                   sheet silicate       Mg3Si4O10(OH)2                    3:4
    Tremolite              Amphibole             Ca2Mg5Si8O22(OH)2                5:8
    Actinolite             Amphibole            Ca2(Mg,Fe)5Si8O22(OH)2            5:8
    Ferrowinchite          Amphibole            CaNaFe4(Al,Fe)Si8O22(OH)2         5:8
    Richterite             Amphibole            Na(CaNa)Mg5Si8O22(OH)2            5:8
    Ferrorichterite        Amphibole            Na(CaNa)Fe5Si8O22(OH)2            5:8
                                                       2+  3+
    Riebeckite             Amphibole             Na2Fe 3Fe 2Si8O22(OH)2           5:8
    Magnesioriebeckite     Amphibole             Na2Mg3Fe3+5Si8O22(OH)2           5:8
    Aegirine-augite        Pyroxene              (Ca,Na)(Mg,Fe,Al,Ti)(Si,Al)2O6 1 : 1
    Diopside               Pyroxene             CaMgSi2O6                         1:1
    Hedenbergite           Pyroxene              CaFeSi2O6                        1:1
    Table 1. Formulas from the approved IMA “List of minerals” (http://nrmima.nrm.se/). Species
    names in red are termed “asbestos” when they occur in an asbestiform morphology. Shaded
    species in gray contain Na or Ca.

          As shown above, these minerals all contain Si and cations such as Mg, Fe and Ca. Each
   has a particular ratio of Si to the other cations (the far-right column), which is important in the
   context of an energy-dispersive X-ray (EDXA) analysis (discussed below).

            The mineral species significant to this report are those that combine the elements silicon
   (Si), magnesium (Mg), iron (Fe), calcium (Ca) and sodium (Na) along with hydrogen (H) and
   oxygen (O). Notice that the minerals are grouped in two groups, with Ca- and Na-bearing samples
   in the bottom half of the table. Many minerals have closely related (in some cases, identical)
   formulas; yet only those highlighted in red are mineral species that are regulated. Thus, it becomes
   critically important to discriminate these minerals carefully by chemistry and by crystal structure.
   Tools for these analyses fall into these two groups: tests of mineral composition (the chemical
   formula criterion noted above) and tests of determination of crystal structure (atomic arrangement).
   In addition, a particle must have a fibrous morphology to be considered asbestos.




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          B.      Asbestiform Habit

    Summary: Asbestos is defined as one of six particular minerals exhibiting the characteristics
    of an asbestiform habit, meaning they can be separated into flexible fibers with high tensile
    strength. Drs. Longo and Rigler confuse “counting criteria” with this definition, using a
    disingenuous distinction between what they call the “geological definition” and what they
    wrongly invent as the “regulatory definition.”

           Asbestos is a noun describing a specific material with a distinctive shape that is
   asbestiform (adjective), which means the crystal can be separated into flexible fibers with high
   tensile strength.

           IARC (2012) defines the minerals that can be asbestos as follows: “the generic commercial
   designation for a group of naturally occurring mineral silicate fibres of the serpentine and
   amphibole series. These include the serpentine mineral chrysotile [], and the five amphibole
   minerals – actinolite, amosite [], anthophyllite, crocidolite [], and tremolite.” IARC (2012), p. 222,
   also states: “Asbestos fibres tend to possess good strength properties (e.g. high tensile strength,
   weak and friction characteristics); flexibility (e.g. the ability to be woven); excellent thermal
   properties (e.g. heat stability, thermal, electrical and acoustic insulation); absorption capacity; and,
   resistance to chemical, thermal and biological degradation.” Thus, there is agreement in the
   scientific community that asbestos exhibits fibrosity, high tensile strength and flexibility. This is
   repeated over and again in the published literature, for example:

          Zoltai, T., “Amphibole Asbestos Mineralogy,” Reviews in Mineralogy & Geochemistry,
          (1981) 9(5): 237-278 (stating “the individual asbestos fibers and acicular cleavage
          fragments are strikingly different. The fibers are extremely strong and flexible, while the
          acicular cleavage fragments are weak and brittle.”).

          Zoltai, T., “Amphibole Asbestos Mineralogy,” Reviews in Mineralogy & Geochemistry
          (1981) 9(5): 237-278, at 272 (concluding that “cleavage fragments of amphibole crystals
          should yield the opposite strength-diameter effect than that observed in asbestos fibers”).

          McCrone, W.C., The Asbestos Particle Atlas 36 (1980) (describing chrysotile as having
          “distinctive fine flexible fibrils”).

          Gary, M., McAfee, R., and Wolf, C., Eds., (1974) Glossary of Geology (“Asbestos is a
          commercial term applied to a group of silicate minerals that readily separates into long,
          thin, strong fibers that have sufficient flexibility to be woven, are heat resistant and
          chemically inert, are electrical insulators, and are therefore suitable for uses … where
          incombustible, nonconducting, or chemically resistant material is required.”).

          Veblen D.R. and Wylie A. (1993) Reviews in Mineralogy, 28, 61-138 (“the asbestiform
          habit has a number of characteristics that differentiate it from other habits, but the main
          differences are the fibrillar structure and the fiber flexibility and strength”).




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            Dyar and Gunter (2008) Mineralogy and Optical Mineralogy (“there are several types of
            minerals than can have asbestiform habits, which are distinguished by their fibrillar
            structure and the flexibility and strength of the fibers.”

            Asbestos Fibers and Other Elongate Mineral Particles: State of the Science and Roadmap
            for Research, (2011) U.S. Dept. of Health & Human Services, NIOSH, Current Intelligence
            Bulletin 62 at 6 (stating that “[t]he fibers of all varieties of asbestos are long, thin and
            usually flexible when separated”), 9 (stating that “[i]t has been suggested that crystals
            grown in an ‘asbestiform’ habit can be distinguished by certain characteristics, such as
            parallel or radiating growth of very thin and elongate crystals that are to some degree
            flexible, the presence of bundles of fibrils, and, for amphiboles, a particular combination
            of twinning, stacking faults, and defects”), 34 (describing chrysotile fibers as “consist[ing]
            of aggregates of long, thin, flexible fibrils that resemble scrolls or cylinders”), 36 (stating
            that “[a]sbestiform amphibole fibers consist of aggregates of long, thin, flexible fibrils that
            separate along grain boundaries between the fibrils”).

            Asbestiform Fibers: Nonoccupational Health Risks, National Research Council (1984) at
            33 (stating that asbestos particles that have sufficiently small diameters have great strength
            and flexibility, and that the tensile strength of commercial quality asbestos fibers is 20 to
            50 times greater than that of the non-asbestiform crystals of the same minerals), 38 (noting
            that the flexibility of asbestos fibers enables them to bend without breaking, which
            facilitates their passage through the respiratory tract into the deep lung), 41 (explaining
            that, “Asbestiform fibers, including asbestos fibers, are mineral fibers that are characterized
            by a specific set of interdependent physical properties, including fiber-like shape, enhanced
            strength and flexibility, increased durability, strong and defect-free surface structure, and
            the dependence of these properties on conditions of growth. The fiber properties that have
            been considered for possible association with deleterious health effects are respirability
            (i.e., fibers <3 μm diameter), size and aspect ratio, durability, flexibility and tensile
            strength, chemical composition, surface area, and surface charge.”).

            Gunter, M., Defining Asbestos: Differences between the Built and Natural Environments,
            60 CHIMIA No. 10, 747, 748 (2010) (stating that a mineralogist would require that a fiber
            would need to exhibit a certain set of physical properties, i.e., be curved and flexible, in
            order to be classified as asbestos).

          This usage is echoed in other documents, such as the methodology standards upon which
   Drs. Longo and Rigler purport to rely: 11

            ISO 22262-1, -2, -3: defining asbestiform as a “specific type of mineral fibrosity in which
            the fibres and fibrils possess high tensile strength and flexibility.” ISO 22262-1 (2012) at
            2; ISO 22262-2 (2014) at 8; ISO 22262-3 (2016) at 2.



   11
            See 40 C.F.R. Ch. I (7-1-03 Edition) (defining asbestiform as “a specific type of mineral fibrosity in which
   the fibers and fibrils possess high tensile strength and flexibility”); 40 C.F.R. 763.83 (defining asbestos as the
   “asbestiform varieties of” six minerals).

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            ISO 13794: defining asbestiform as a “specific type of mineral fibrosity in which the fibres
            and fibrils possess high tensile strength and flexibility.” ISO 13794 (1999) at 2.

            ISO 10312: defining asbestiform as a “specific type of mineral fibrosity in which the fibres
            and fibrils possess high tensile strength and flexibility.” ISO 10312 (1995) at 2.

            AHERA: defining asbestiform as a “specific type of mineral fibrosity in which the fibers
            and fibrils possess high tensile strength and flexibility.” 40 CFR Ch. 1, Pt. 763 Subpt. E,
            App. A, 728 (July 1, 2013).

            ASTM D5755: defining asbestiform as “a special type of fibrous habit in which the fibers
            are separable into thinner fibers and ultimately into fibrils. This habit accounts for greater
            flexibility and higher tensile strength than other habits of the same mineral.” ASTM D5755
            – 09 at 518-19.

            ASTM D5756: defining asbestiform as “a special type of fibrous habit in which the fibers
            are separable into thinner fibers and ultimately into fibrils. This habit accounts for greater
            flexibility and higher tensile strength than other habits of the same mineral.” ASTM D5756
            – 02 (2008) at 532-33.

           Further, if a particle is deemed to be fibrous, it does not mean it is asbestiform, as noted,
   for example, in Campbell et al. (1997), which recognizes that “the term fibrous has been used …
   to describe all kinds of minerals that crystallize in habits resembling organic fibers… asbestiform
   is a specific type of fibrosity.” 12

           Drs. Longo and Rigler appear to agree that asbestos has these qualities, although Dr. Longo
   calls this a “mineralogical definition.” 13 Dr. Longo then distinguishes this from what he calls a
   “regulatory definition.” That is misleading, because in reality, Drs. Longo and Rigler are referring
   to the counting criteria in regulatory documents, not what asbestos is or is not. Indeed, some of
   the very documents that they use to draw this disingenuous distinction expressly define asbestos
   according to what Drs. Longo and Rigler want to call the “mineralogical definition,” e.g., ISO
   22262. Along the same lines, there are other criteria used under air sampling methodology (EPA




   12
            Campbell et al. (1997) Information Circular 8751. U.S. Bureau of Mines.
   13
             01/07/19 Longo Depo. 79:4-11 (“[asbestos] has to have high tensile strength, flexible splayed fibers, for
   asbestiform, and that’s a geological definition.”); 10/31/18 Longo Depo. 43:16-20 (“Q. And some of the features of
   asbestos growing in the asbestiform habit, as a geologist would use the term, have to do with tensile strength and
   flexibility; correct? A. That is the geological definition”); 10/24/18 Longo Depo. 269:13-23 (“Q. So I believe you said
   that the definition of asbestiform habit that you just gave is not your definition, is that what you said? A. That’s correct.
   I mean, it’s the standard definition, it’s fibrous. Now, what it also says for asbestiform, that it has to have high tensile
   strength, it has to have splayed ends, it has to have this, it has to have that. That’s a geological definition . . .”);
   2/05/2019 Longo Depo. 222:2-17 (“Q. Do you agree with ISO 13794 that this method cannot discriminate between
   individual fibers of the asbestos and nonasbestos analogs of the same amphibole material? A. … but, no, it does not
   meet the geological definition for asbestos, high tensile strength, flexible, and so on and so forth.”).


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   Asbestos Hazard Emergency Response Act, AHERA 14 and EPA 600/R-93 15) to describe fibers. In
   those documents, mean aspect ratios for populations of asbestos particles range from 20:1 to 100:1,
   which is inconsistent with the findings from Drs. Longo and Rigler. Certain protocols may look to
   whether the aspect ratios of detected particles are at least 3:1 for measurements by polarizing light
   microscopes 16 and at least 5:1 for TEM measurements. 17,18

           In other words, these aspect ratio dimensions alone do not imply that the observed particles
   are asbestos – there are non-asbestiform amphiboles and many other minerals that have aspect
   ratios above 3:1 or 5:1. Drs. Longo and Rigler confirmed this in their depositions. 19 This is
   discussed in more depth below in Section VII.

             C.      Measurements of Concentration

        Summary: An appropriate analytical technique must be used to determine the degree to which
        there is asbestos in a talc sample, depending on the level of any impurity.

           If asbestos minerals are present in talcum powder, it is important to be able to assess their
   abundance. There are spectroscopic methods, such as visible, Raman, and infrared spectroscopies,
   that work well on such powders, but they cannot detect minor phases that are <~1%. Particles that
   are present in very low abundances (such as parts per million) are nearly impossible to quantify.
   The measurement of small amounts of asbestos as an impurity in talc in greater detail in Section
   V, below.




   14
            US Code Title 15, Chapter 53, Subchapter II. Asbestos Hazard Emergency Response,
   https://www.govinfo.gov/content/pkg/USCODE-2011-title15/pdf/USCODE-2011-title15-chap53-subchapII.pdf.
   15
             EPA/600/R-93/116, https://tinyurl.com/y4z765xp.
   16
            40 C.F.R. 763, Subpart E, https://www.govinfo.gov/content/pkg/CFR-2009-title40-vol30/pdf/CFR-2009-
   title40-vol30-part763.pdf.
   17
             EPA/600/R-93/116, https://tinyurl.com/y4z765xp.
   18
            40 C.F.R. 763, Subpart E, https://www.govinfo.gov/content/pkg/CFR-2009-title40-vol30/pdf/CFR-2009-
   title40-vol30-part763.pdf.
   19
            2/5/19 Longo Depo. 246:5-15 (“Q. Okay. Is there anything in the published literature that you’ve seen that
   suggests that there are cleavage fragments with a greater than 5-to-1 aspect ratio? A. There’s been a number of
   published articles that state things like that, yes. Q. Are there any published articles that state that there are cleavage
   fragments that have greater than 3-to-1 aspect ratio? A. Yes, there is publications that state that.”); 2/6/19 Rigler Depo.
   191:21-193:4 (“Q. Using a geological definition of asbestos, can you have a cleavage fragment that is greater than 5-
   to-1 aspect ratio? A. In my opinion, the answer to that is yes. Q. Okay. And using the geological definition of asbestos
   as you have used it, there can be an asbestiform particle that has an aspect ratio of below 3-to-1? A. Are you talking
   about what kind of particle? Q. Asbestiform particle. A. Smaller than 3-to-1? Q. Yeah. … in most cases of that size,
   you know, you may see some that are in that range, but you have to use the PLM to see them, probably.”).

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   IV.       MINERAL IDENTIFICATION USING CHEMICAL COMPOSITION: EDS

           Drs. Longo and Rigler opine on the results of analyses done by their five analysts using
   electron dispersive spectroscopy (EDS or EDXA for x-ray spectroscopy). 20 This section discusses
   the use of EDS to the identification of mineral compositions.

             A.      How EDS Works

        Summary: EDS, when properly used, can provide a limited analysis of the chemical makeup
        of certain mineralogical samples.

           In this technique, an electron source is used to produce high-energy electrons that are
   focused onto a tiny spot on a sample. The electrons interact with the atoms in the crystal structure,
   causing a low-energy inner shell electron to be ejected from the atom. Higher-energy electrons
   from higher shells in that atom quickly drop down to fill the void, and in doing so, they release
   energy in the form of x-rays. The energy is characteristic of each element and reflects the spacing
   of the two shells involved, which is unique to each element. A detector counts how many electrons
   are scattered and at what energies. This produces a graph of energy (x axis) vs. counts (y axis) as
   shown in Figure 2.



                                               [Figure 2 on next page.]




   20
            Both Drs. Longo and Rigler testified that they did not personally run any of the experiments on which they
   opine in their reports. Instead, they were involved in various levels of oversight and supervision. See 2/6/2019 Rigler
   Depo. 13:6-15 (“Q. Did you ever use a PLM for the purposes of this report? A. No, I did not. Q. Did you ever use a
   TEM for the purposes of this report? A. Not for the purposes of this report. Q. Did you ever use an XRD device for
   the purposes of this report? A. We do not have the XRD device or that type of device at our laboratory.”); 11/27/18
   Longo Depo. 447:6-10 (“Q. Okay. For any of the analyses that were done for the November 14, 2018, report, were
   you the analyst that reported the findings on the bench sheets? A. No.”). There were five such analysts: four at Drs.
   Longo and Rigler’s laboratory, and one at J3, a laboratory not formally affiliated with Drs. Longo and Rigler. See
   2/5/19 Longo Depo. 258:16-18 (“Q: [T]here were four people doing analysis in the MDL report; right? A: Correct.”);
   February 1, 2019 Report, at 4 (“MAS [i.e., Longo and Rigler] sent a number of historical J&J samples to J3 Resources
   for both PLM and XRD analysis using ISO 22262-1 and ISO 22262-3 protocols.”).


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   Figure 2. EDS spectrum of the mineral species almandine (Fe3Al2Si3O12) from the classic book by Severin
   (1984). 21

            Peaks in the EDS plots arise from individual elements, and the areas of the peaks are
   roughly proportional to the amounts present (e.g., Severin, 1984). In the example above, the
   mineral is almandine, which has a nominal formula of Fe3Al2Si3O12. There are three formula units
   of Si and three formula units of Fe. Notice how the total area of the Fe peaks is roughly comparable
   to the total are of the single Si peak because both elements are present in roughly equal proportions.
   There are only two formula units of Al, and that peak is thus somewhat smaller.

            This example was purposely chosen to be simple. But in most EDS spectra, the
   correspondence between peak areas and elemental abundances is not so direct due to a host of
   factors 22 (see Section B below). There are ways to correct for them, and every TEM instrument
   sold today includes a software package based on the same physical principles that can make the
   appropriate corrections via detailed calculations. Such calibrations are used to convert the areas to
   true (albeit semi-quantitative) elemental percentages in the mineral. Independent software is also
   available for this purpose (e.g., Desktop Spectrum Analyzer II 23 or XIDENT 24), which allows a
   user to import spectral files with a standard format and extract quantitative information from them.

          Depending on the x-ray intensity and the type of detector used, some elements are difficult
   to measure by EDS. EDS cannot be used to quantify either hydrogen (H) or oxygen (O) accurately.

   21
           Severin (1984) Energy Dispersive Spectrometry of Common Rock-Forming Minerals, Kluwer.
   22
            Deriving quantitative information from an EDS spectrum is a complicated process due to instrumental (such
   as the type of window on the detector), experimental (which energy was used), and physical (absorption and
   fluorescence) factors. A nice summary of this is given at https://cstl.nist.gov/div837/837.02/epq/dtsa2/.
   23
           https://cstl.nist.gov/div837/837.02/epq/dtsa2/.
   24
           Rhoades (1976) XIDENT – A computer technique for the direct indexing of electron diffraction spot patterns
   (Research Report 70/76), https://ir.canterbury.ac.nz/handle/10092/11515.


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   Therefore, distinguishing among the minerals in talcum powder similar to talc (Table 1) requires
   that magnesium (Mg), iron (Fe), calcium (Ca) and silicon (Si) be distinctive for each phase and
   have x-ray peaks in the right energy region (0-10 keV), as seen in Figure 2 above. EDS analyses
   are generally considered to be semi-quantitative for chemical analyses, with errors of about ±5%
   relative for major elements (Si, Al, Ti, Mg, Fe, Ca, Na, and K). 25,26 Attaining such accuracy
   requires use of a calibration and ideal experimental conditions.

               B.      Factors Affecting Accuracy of EDS

        Summary: EDS can distinguish many minerals from one another, but it has significant
        limitations when minerals from completely different groups have similar chemistries. For
        example, EDS cannot accurately distinguish anthophyllite amphibole from talc sheet silicate
        (or even enstatite pyroxene), or tremolite amphibole from diopside pyroxene.

           Mineral identification based on EDS data alone is quite dependent on coaxing the best
   possible chemical data out of a semi-quantitative instrument. To a first order, the areas of each
   peak in an EDS spectrum reflect the concentration of that element. 27 But as noted above, other
   factors, such as particle geometry, spectrometer model, type of detector, 28 detector sensitivity, and
   the efficiency of x-ray generation, come into play as well to affect the peak areas, requiring
   sophisticated calibration to obtain interpretable results. Figure 3 shows the EDS pattern of
   cummingtonite from the classic book of EDS patterns by Severin (1984). This mineral has a
   composition of (Mg,Fe)7Si8O22(OH)2.29 Even though this sample has more Mg than Fe atoms, the
   peak areas are radically different due to the factors noted above: 5% for Mg and 26% for Fe. In
   other words, the peak areas are not directly proportional to the abundances of the elements.

                                                [Figure 3 on next page.]




   25
               Newbury and Rotchie (2015) Journal of Material Sciences, 50, 493-518; Miller and Mirtiþ (2013) Geologija,
   56, 5-17.
   26
            Hafner,     Energy      Dispersive     Spectroscopy             on      the      SEM:        A       Primer,
   http://www.charfac.umn.edu/instruments/eds_on_sem_primer.pdf.
   27
               Severin (2004) Energy Dispersive Spectrometry of Common Rock Forming Minerals. Springer, Kluwer.
   28
            As noted by Dr. Longo in deposition, EDS instruments can have Si-drifted, Li-drifted, or windowless
   detectors. 2/5/19 Longo Depo. 101:8-23. He continues: “if it’s a light element detector, the magnesium can be a little
   higher, the silicon will be your primary peak, somewhere in the 25-30 percent of the magnesium for a non-light
   element detector. And the calcium peaks and the magnesium peaks are usually very similar in size.” 2/5/19 Longo
   Depo. 77:17-78:6.
   29
           The ideal “end member“ composition of cummingtonite is Mg7Si8O22(OH)2, but it forms a continuous series
   with grunerite (Fe7Si8O22(OH)2) so it can contain up to 3.5 formula units of Fe. In the formula given above, the
   “Mg,Fe” is a notation that indicates that there is more Mg than Fe.


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   Figure 3. EDS spectrum of the mineral species cummingtonite, (Mg,Fe)7Si8O22(OH)2, from Severin
   (1984). 30

           When proper calibrations are used, EDS has ±5% or larger error bars, making it only semi-
   quantitative under the best of protocols (i.e., not sensitive enough for subtle chemical
   differences). 31 This can be a significant limitation on the usefulness of EDS in many contexts. For
   example, one way scientists use EDS readouts to roughly determine the chemical makeup of a
   sample is to use the ratio of the peak areas of the elements (e.g., Mg+Fe) to Si. 32 The right-hand
   column of Table 1 shows these ratios in some rock-forming minerals containing Si, Mg, Fe and
   Ca. Those data suggest that only accurate analyses will allow these minerals to be distinguished
   on the basis of chemistry alone, given the error bars of EDS. The most accurate methods (such as
   electron probe microanalysis, EPMA, which has a beam size ~1000-20,000 nm) can measure
   mineral chemistry well enough to tell these minerals apart, but these methods lack the excellent
   spatial resolution of EDS on a TEM, which is roughly 0.5 nm (~1000× smaller than EPMA).
   Therefore, studies of asbestos-bearing rocks generally use EDS for chemical analyses, sacrificing
   accuracy for the ability to focus the beam on a tiny particle.

          By way of specific example, Figure 4 shows the Mg/Si ratios for selected Table 1 minerals,
   along with propagated error bars of 5%, which are generally accepted best accuracies for analyses

   30
             As noted on the previous page, the ideal “end member“ composition of cummingtonite is Mg7Si8O22(OH)2,
   but it forms a continuous series with grunerite (Fe7Si8O22(OH)2) so it can contain up to 3.5 formula units of Fe. In the
   formula given above, the “Mg,Fe” is a notation that indicates that there is more Mg than Fe. Figure from Severin
   (1984) Energy Dispersive Spectrometry of Common Rock-Forming Minerals, Kluwer.
   31
               Newbury and Ritchie (2015) Journal of Material Sciences, 50, 493-518; Miller and Mirtiþ (2013) Geologija,
   56, 5-17.
   32
          Severin (1984) 23 (it is possible to “determine the approximate relative concentrations of the element. The
   number of characteristic X-rays is, to a first order, related to the number of atoms of a particular element in the
   sample…”).

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   of particles and rough surfaces.31 The dashed purple line in Figure 4 shows that anthophyllite and
   enstatite are identical within the error bars. The dotted purple line shows that talc and sepiolite are
   indistinguishable. Within these error bars, talc and anthophyllite are also identical because their
   error bars overlap (thick purple shaded line).

           The analogous conclusions can be drawn from the diagram at right for tremolite (amphibole)
   and diopside (pyroxene), where the y axis is now (Mg+Ca)/Si. Again, these minerals have
   completely different crystal structures, yet their formulas are quite similar. The purple shaded bar
   here indicates how much these two minerals overlap. These two minerals would be
   indistinguishable to EDS, even though they belong to completely different mineral groups
   (amphibole and pyroxene, respectively) with very distinct properties.




   Figure 4. Ratios of the weight percentage of magnesium (Mg) to silicon (Si) along with propagated 5%
   errors on each measurement. 33 Formulas from webmineral.com with 5% errors added.

   Further, the EDS results in the Longo/Rigler MDL Reports labelled as “tremolite” may very well
   be consistent with minerals other than diopside. Drs. Longo and Rigler have never produced their
   quantitative data and, accordingly, this analysis cannot be completed. 34




   33
            For example, anthophyllite contains 28.78 wt.% Si and 21.79 wt.% Mg. EDS determines these values to
   within ±5%, i.e., 28.78±1.44 and 21.79±1.09. So Mg/Si = 0.65 and the propagated error on Mg/Si is ±0.08. The same
   calculation is done here for talc, enstatite, sepiolite, tremolite, and diopside.
   34
            For example, these may include at least monticellite, bredigite, merwinite and rondorfite, which are other
   minerals that contain only Si, Mg and Ca. Many more common mineral species would be included in this list if Fe
   and Na were allowed as possible chemical constituents.

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          C.      The Analysts Used By Drs. Longo And Rigler Do Not Use EDS In A Way
                  Accepted By The Scientific Community, Resulting In Unsupportable
                  Conclusions

    Summary: The “eyeball” method of estimating EDS data employed by Drs. Longo and Rigler
    is not considered reliable by the scientific community. Drs. Longo and Rigler do not report the
    quantitative data one needs to make scientifically valid conclusions, and their conclusions are
    therefore unsupportable.

           It is clear that Dr. Longo does not understand the limitations of EDS results that are
   explained above. He states, “I believe every spectra in here is quantitative EDS analysis” (2/5/19
   Longo Depo. 72:22-23). He explains how his analysts use peak ratios (like those above) to identify
   minerals based on EDS spectra. To identify tremolite from anthophyllite, “[y]ou have a magnesium
   and calcium peak that are pretty close. Typically the calcium peak can be a little lower. … the
   magnesium can be a little higher, the silicon will be your primary peak, somewhere in the 25 to 30
   percent of the magnesium … [a]nd the calcium peaks and the magnesium peaks are usually very
   similar in size. And then we look at the amount of iron to see if we’re going to call it actinolite or
   tremolite. And not aware of any other minerals out there that have those ratios, so that’s how I call
   it tremolite.” (2/5/19 Longo Depo. 77:14-78:6).

          It is apparent from these remarks that Dr. Longo, who admits he has never taken any
   courses in mineralogy (2/5/19 Longo Depo. 16:2-3), is unaware of the breadth of other possible
   minerals that can match these EDS patterns within the known analytical errors. His methodologies
   are contrary to those that are accepted in the scientific community.

          D.      EDS Data from Drs. Longo And Rigler Show Great Variabilty

          Turning now to EDS data in the Longo/Rigler MDL Reports, Figure 5 shows several
   different talc spectra. Note the variable amounts of Fe in the sample, and the varying ratio between
   the intensities of the Mg and Si peaks. Do these grains really have different compositions, or are
   the variations from analytical imprecision? It would only be possible to make this determination
   with calibrated data.



                                         [Figure 5 on next page.]




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   Figure 5. Talc spectra in the January 2019 Longo/ Rigler MDL report, showing variable ratios between
   the intensity/area of the Mg and Si peaks. Note also the varying amounts of Fe in these talcs.


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         Similarly, Figure 6 shows a number of different anthophyllite spectra from the January
   2019 MDL Report. Although these are all identified as “anthophyllite,” they could be almost any
   mineral containing Mg and Fe but no Ca (cf. top portion of Table 1).




   Figure 6. Anthophyllite spectra in the January 2019 Longo/ Rigler MDL report showing Fe peaks that are
   larger than Mg peaks.


           In fact, these spectra in Figure 6 closely resemble the spectrum of cummingtonite shown
   in Figure 3. Without a calibration to correct the peak areas for experimental variables, it is quite
   difficult to determine which minerals are present. Moreover, the formula of anthophyllite,
   (Mg,Fe)7Si8O22(OH)2) should have much more Mg than Fe, which is clearly not the case here.

          It is nearly impossible to tell some of these spectra apart solely by visual inspection of
   their EDS patterns. Calibrations are needed to produce optimal, albeit semi-quantitative, results.
   These graphs show why the calibration procedure to convert from peak areas to elemental
   concentrations is routinely part of the software that comes with a TEM instrument. 35 It is
   irresponsible for Drs. Longo and Rigler to choose not to employ calibration software to assist with
   their mineral identifications.




   35
            This calibration is done using first principles calculations or by comparison with spectra of a small number
   of standards with known compositions, as described in Newbury (1995) “Standardless” quantitative electronic probe
   microanalysis with energy-dispersive x-ray spectrometry: Is it worth it? Anal. Chem., 67, 1866-1871.

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             E.       Drs. Longo And Rigler And Their Analysts Appear to Have Deliberately
                      Avoided Reporting The Data That Would Actually Be Useful Here

        Summary: EDS instruments and their accompanying standard software are capable of produce
        numerical data on chemical composition. Drs. Longo and Rigler appear to have deliberately
        avoided producing or reporting those data.

           The more information extracted from an EDS analysis, the more a scientist can narrow
   down the composition of the subject mineral. A typical EDS output is shown in Figure 7, with
   each peak identified on the screen and the quantitative analysis given below the spectrum. Results
   include a listing of each element in weight %, the standard deviation of that number based on
   repeat analyses, 36 atomic %, and cations (positively charged ions), along with the total weight %
   of the summed elements.




   Figure 7. Mostly amphibole EDS spectrum from the Connecticut Geological Society using the eZAF Smart
   Quant calibration, from their web site at https://www.geologicalsocietyct.org/geoconnections-
   articles/recent-analyses-of-connecticut-amphiboles.

   Asked whether their EDS tools could produce this information, Dr. Rigler agreed. Looking at the
   precise readout that is in Figure 7 above, he testified:


   36
             Notice that accuracy is not given in the output – only precision (“Std. Dev.” in the table below the figure).

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                  Q. Okay. It is from your report. So is that what an EDXA spectra
                  looks like?
                  A. Yes.
                  Q. And you’ll notice on the bottom left-hand corner it says elements
                  and it has got some elements and it says total?
                  A. Yes.
                  Q. Your software can generate information that fills in that;
                  correct?
                  A. Yes. 37

          The quantitative data are conspicuously lacking from all the EDS patterns in the
   Longo/Rigler MDL Reports. It is also curious that the printouts of EDS patterns from the
   Longo/Rigler MDL Reports list the elements chosen by the analyst (Mg, Si, etc.), followed by the
   word “Total,” which implies that a column of numbers to the right of the element list gives a listing
   of peak areas. In the more typical EDS analysis from another lab, as seen in Figure 7, the
   composition is given in cations as Si8.04Mg6.98Fe0.03. It would be very difficult to obtain these
   numbers simply by looking at the graph.

           Yet the EDS protocol in the lab of Drs. Longo and Rigler does exactly that – the analysts
   “eyeball” the spectra and decide which mineral is present based on the peak areas. 38 This practice
   cannot be justified because it is highly subjective. Compositions are not given for any of the EDS
   patterns produced by Drs. Longo and Rigler, even though their EDS is equipped to provide this data.

          Dr. Longo states that the quantitative numbers are “not something that’s required to render
   my opinion in this case.” 39 He also states that “you can’t look at the areas, but the peak ratios is
   what’s important here.” 40 This practice of identifying mineralogy by visual inspection of EDS data
   may be defensible in other applications undertaken at Drs. Longo and Rigler’s lab where the
   material being tested is already known. In such cases, EDS is used simply to distinguish among
   the known minerals. But “eyeballing” of compositions is completely inappropriate in talc testing
   because of the many different minerals that could be present and how similar they may appear.

           Mineral identifications (like those in Figure 7) might have been easier if quantitative peak
   area data had been presented in the Longo/Rigler MDL Reports. It is a standard capability of EDS
   software to generate elemental composition data (literally one click of a button), but those data are
   missing from the Longo/Rigler MDL Reports. Had the list of peak areas for individual elements
   been included in the reports, these data could have corroborated the mineral species identifications
   made by the other techniques (e.g., PLM by Lee Poye at J3 Resources, Inc.). But because those



   37
          2/6/19 Rigler Depo. 55:23-56:7 (emphasis added).
   38
          2/5/19 Longo Depo. 81:18-83:14; 2/6/19 Rigler Depo. 96:24-97:12.
   39
          2/5/19 Longo Depo. 83:15-20.
   40
          2/5/19 Longo Depo. 76:10-14.

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   data are missing, little useful information can be gleaned from the EDS plots beyond the
   presence/absence of Ca.

              F.      Lack Of Data On And Misuse Of Standards

        Summary: Dr. Longo testified that his analysts used “reference standards” of asbestiform
        minerals in their analysis, but Drs. Longo and Rigler did not produce any, and no such standards
        exist that could match the Longo/Rigler “eyeball” methodology.

            In his deposition, Dr. Longo stated that “they routinely check reference samples,” 41
   although none of the reports say this. 42 This lack of data on reference standards makes it impossible
   to assess the accuracy of the SAED analyses in the Longo/Rigler MDL Reports. Dr. Longo further
   states that his lab has asbestos reference samples “on the TEM walls.” 43 In other words, in the
   laboratory of Drs. Longo and Rigler, analysts match the asbestos EDS patterns on their screens to
   ones printed out and hanging on the walls. Because the only reference standards used by the analysts
   are for asbestos minerals, the confirmation bias is apparent. It virtually guarantees that a particle they
   identify on the basis of EDS patterns will be asbestos, regardless of whether it really is.

              G.      Species Identifications Vary By Date And By Analyst

        Summary: The mineral species identifications in the Longo/Rigler MDL Reports are not only
        scientifically indefensible, they appear demonstrably biased according to the particular EDS
        operator.

          Because the mineral species identifications in the Longo/Rigler MDL Reports were made
   by naked-eye review of the EDS spectra, it would likely be difficult for different analysts to
   produce comparable results, and in fact, it was. Figure 8 shows the distribution of mineral species
   by analyst. Despite the fact that most of these individuals worked on the project over time from
   2018-2019 and the samples were randomly selected, 44 the results appear to be biased by each
   operator’s perceptions of peak intensities. For example, Lee Poye identifies only anthophyllite.
   Mehrdad Motamedi and Anthony Keaton consistently find more tremolite than anthophyllite, and
   Jayme Callan finds more anthophyllite. It is difficult to understand how this could happen if the
   samples they were testing were randomly distributed.

                                               [Figure 8 on next page.]




   41
              2/5/19 Longo Depo. 41:10-18.
   42
              2/5/19 Longo Depo. 45:9-12.
   43
              2/5/19 Longo Depo. 41:10-18.
   44
           2/5/19 Longo Depo. 45:13-20 (“Q: How does your lab distribute samples to individual analysts to test? Is it
   random? Is it like some analysts get a certain kind of sample? A: It’s random. Q: Is that the same for J3? Did you give
   them random samples? A: Random samples.”).

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   Figure 8. Distribution of mineral species identifications sorted by analyst for all samples reported to date. 45


          If all samples were assigned to analysts at random, then the distribution of mineral species
   should all be the same.

           Perhaps the distribution of mineralogy seen in Figure 8 was the result of which localities
   each analyst happened to receive? For example, data in the Longo/Rigler MAS Reports indicate
   that samples mined from Vermont appear to have ~75% anthophyllite and 25% tremolite. So both
   Lee Poye and Jose Carrillo, who analyzed only Vermont samples (Figure 9), should have identical
   75/25 ratios of anthophyllite/tremolite, and they do not.

                                              [Figure 9 on next page.]




   45
             This compilation includes all grains for which mineral species were identified with dimensions (i.e., TEM
   data) in each of four of the reports: 1) Supplemental Expert Report & Analysis of Johnson and Johnson Baby Powder
   and Valeant Shower to Shower Talc Products for Amphibole Asbestos March 11, 2018, 2) Analysis of Historical
   Johnson’s Baby Powder M69042 October 2018, 3) The Analysis of Johnson & Johnson’s Historical Baby Powder &
   Shower to Shower Products from the 1960’s to the Early 1990’s for Amphibole Asbestos November 14, 2019, and 4)
   The Analysis of Johnson & Johnson’s Historical Product Containers and Imerys’s Historical Railroad Car Samples
   from the 1960’s to the Early 2000’s for Amphibole Asbestos January 15, 2019. This analysis thus includes data on 163
   samples, with some repetition.



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   Figure 9. Distribution of mineral species identifications from Vermont vs. all other localities, sorted by
   analyst for all samples reported to date.

           In other words, there is no justifiable explanation for why some analysts find different
   numbers of each mineral species. The logical conclusion is that the mineral species identifications
   are inconsistent and non-repeatable.

           Furthermore, Figure 10 shows that species identifications also appear to change over time.




   Figure 10. Comparison of the identification of mineral species by the analytical team of Drs. Longo and
   Rigler over time. Colors and data sources as in Figure 8.

          Most of the mineral species identified in 2017 were tremolite, while most of the sample
   species identified in 2018 were anthophyllite. This could only happen if the samples analyzed in
   2017 were all from the same tremolite-bearing locality. But this would be unlikely if all samples
   were randomly tested.


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           These variations cast doubt over all EDS-based species assignments made by this
   team, and therefore make it unlikely that any asbestos mineral species could be identified on the
   basis of these EDS data. This conclusion is of no surprise given the analytical uncertainties of the
   technique, as explained above.

          H.      Conclusions Regarding EDS

                  x   The generally accepted error bars on EDS chemical analysis indicate that
                      it is impossible to easily discriminate amphibole (or any other minerals
                      with similar compositions) species from talc using this technique. The
                      compositions of a wide range of Si-Mg-Si minerals are so similar that EDS,
                      especially qualitative EDS as used here, cannot distinguish among them.

                  x   EDS spectral printouts alone are insufficient to discriminate any particular
                      mineral species. It is impossible to tell anything quantitative about these
                      compositions without calibrated results, which could easily have been produced
                      by Drs. Longo and Rigler or their assistants using software already built into
                      their instruments. Instead, the analysts “eyeballed” the mineral identifications,
                      and compared their spectra only to known asbestos minerals without
                      considering other possible phases that could have similar EDS data.

                  x   Drs. Longo and Rigler and their analysts thus used a flawed methodology
                      that resulted in wildly inconsistent results across different analysts and
                      over time. In science, proof involves demonstrating that a result is replicable.
                      Because the Longo/Rigler MDL Reports show no actual data (i.e., percentages
                      of each element derived from a calibration) of any kind to substantiate their
                      mineral species assignments, these results are not credible and cannot be
                      scientifically considered.

                  x   EDS patterns alone cannot determine the morphology of a mineral particle.
                      Even if a EDS pattern can be matched with a specific mineral, this only
                      identifies which mineral species is present. Such analysis cannot determine
                      whether or not the mineral is asbestiform.




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   V.         MINERAL IDENTIFICATION USING CRYSTAL STRUCTURE: SAED

            The alternative to analyses from EDS is to identify minerals based on their crystal structure
   – i.e., the arrangement of the atoms. Analytical approaches to this problem generally exploit how
   energy in the form of light or x-rays passes through the arrangement of atoms in a crystal. The
   success of any technique in identifying a specific mineral species is dependent on the
   distinctiveness of each species’ crystal structure.

              A.      Introduction To Selected Area Electron Diffraction (SAED)

        Summary: SAED, when properly used, can be used to create patterns of dots. When properly
        analyzed, these patterns can identify the crystal structure of the sample. This is done using the
        “d-spacing,” corresponding to spaces between the dots.

           A transmission electron microscope (TEM), the same instrument used for EDS, is
   employed to acquire SAED patterns. For SAED, the waves of electrons pass through the crystal
   structure and interact with the atoms, which act as a diffraction grating. Some electrons travel
   straight through the sample and others are scattered by the atoms. By using each mineral’s unique
   crystal structure, the amount by which the electrons are diffracted can be calculated. In the resultant
   pattern of dots (e.g., Figure 11), spacings between dots are inversely proportional to the
   spacings between atoms. 46 Thus, the arrangement of dots can be diagnostic of a mineral structure.




   Figure 11. SAED pattern of M9042-001-005 from page 64 of the 2019.1.16 Longo/Rigler MDL report.

          Optimal SAED patterns are acquired when the individual crystal happens to be lying
   with a zone axis parallel to the electron beam. This is most easily done when a crystal exhibits
   elongate (like an amphibole) or sheet-like (sheet silicates) morphology. To obtain these special

   46
              Dyar and Gunter (2008) Mineralogy and Optical Mineralogy. Mineralogical Society of America.


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   orientations, most instruments allow the stage to be tilted to produce an optimal pattern, but this
   requires considerable skill and time. 47 In other words, the crystal must be oriented to obtain a zone
   axis pattern in which the reflections line up to produce an interpretable pattern.

             B.      To Uniquely Identify An Unknown Mineral, SAED Patterns Should Be Taken
                     From Multiple Axes

        Summary: Multiple SAED patterns along multiple “zone axes” are required to uniquely
        identify a mineral.

           For an accurate identification of an unknown mineral, at least two (and preferably more)
   SAED patterns must be taken with the sample oriented along a known zone axis. 48 Consider this
   simplified analogy: imagine a cube, with an atom at every corner, and in the middle of each face
   (Figure 12). 49




   Figure 12. Crystal structure of copper, which is simply a cube with atoms at the corners and in the middle
   of each face. Viewed at this angle, the pattern of atoms can be easily discerned.


          If the cube is held with only one side facing the viewer, the corners would line up, and it
   would look something like Figure 13, with its SAED pattern shown at right.




   Figure 13. Crystal structure of copper, with a face of the cube facing the viewer.

          The resultant SAED pattern of the orientation in Figure 13 is shown to the right. From this
   perspective, it is impossible to tell where all the atoms are – do they lie on the edges and corners,

   47
             ISO 22262-1 document, page 65.
   48
             Yamate, EPA (1984).
   49
            This example happens to be the structure of pure copper, taken from Wyckoff R W G (1963) Second edition.
   Interscience Publishers, New York, New York, cubic closest packed structure. Crystal Structures 1:7 - 83.

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   or on faces and corners, or both? How tall is this shape? Is it a cube or a rectangle with a square
   end? Viewed from only one angle, these questions cannot be answered.

          So a view from a different angle, as seen in Figure 14, is needed to confirm where all the
   atoms are located. Now it can be seen that this is a cube with atoms at the corners and in the center
   of each face.




   Figure 14. Crystal structure of copper, viewed along a diagonal with opposite corners held vertical to the
   viewer. The resultant SAED pattern is shown at right.

           This example highlights the fact that a combination of views from different angles is
   needed to determine the full structure. Most minerals are far more complicated, and SAED patterns
   are correspondingly complex, but this is the gist of why multiple SAED images are required to
   identify a mineral.

          By way of example, the patterns in Figure 15 are the three SAED patterns for tremolite
   looking down the three zone axes. Note that each image is different. Each image taken in isolation
   can correspond to other minerals, 50 but together these three uniquely identify tremolite.




   Figure 15. Simulated SAED patterns for tremolite projected onto different crystallographic orientations,
   indicated by the numbers in parentheses in each pattern. Adapted from Figure 15.2 in Dyar and Gunter
   (2008).

   50
           Yamate, EPA, 1984.

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         The difference between a real SAED pattern (Figure 11) and a simulated one (Figure 15)
   demonstrates the importance of operator skill in acquiring these patterns.

         It is not a simple process to align a sample on a zone axis parallel to the electron beam. The
   ISO 22262-1 document, page 65, explains it like this:

                  “Rotate the sample until the fibre image indicates that the fibre is
                  oriented with its length coincident with the tilt axis of the
                  goniometer, and adjust the sample height until the fibre is at the
                  eucentric position. Tilt the fibre until an ED pattern appears which
                  is a symmetrical, two dimensional array of spots. The recognition of
                  zone-axis alignment conditions requires some experience on the part
                  of the operator. During tilting of the fibre to obtain zone-axis
                  conditions, the manner in which the intensities of the spots vary
                  should be observed. If weak reflections occur at some points on a
                  matrix of strong reflections, the possibility of twinning or multiple
                  diffraction exists, and some caution should be exercised in the
                  selection of diffraction spots for measurement and interpretation. It
                  is important to recognize that not all zone-axis patterns that can be
                  obtained are definitive.”

          C.      SAED Images In The Longo/Rigler MDL Reports Are Of Very Low Quality
                  And Are Poorly Documented

    Summary: The Longo/Rigler MDL Reports use visual inspection of low-quality and poorly
    documented images, which cannot uniquely identify minerals unless one has already concluded
    one is looking at asbestos prior to the SAED analysis.

   As can be seen in examples from one of the Longo/Rigler MDL Reports (2018.1.16) in Figure 16,
   not all of the SAED patterns in the Longo/Rigler MDL Reports look like anything close to those
   in Figure 15. Most of these patterns are inconclusive and inconsistent, depending on the
   orientation of each crystal and its likely mineralogy.



                                       [Figure 16 on next page.]




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   Figure 16. SAED patterns for “anthophyllite” from the 2019.1.16 Longo/Rigler MDL Report.

           Most of these images are of such low quality that they can only be used to indicate that this
   is a crystalline material. With only a few exceptions, 51 the reports do not indicate at what
   orientation each image was taken. Finally, spacings and angles between the dots are given only for
   a handful of samples given in the Diffraction Verification documents (see below). The SAED
   patterns are labeled with mineral species names using only visual inspection based on operator
   experience, 52 a methodology for which the Longo/Rigler MDL Reports cite no support. This
   practice may be able to distinguish among species for materials that are already known to contain
   asbestos, but it may fail in the applications where the spectrum of possible mineralogy is broad.
   The use of only visual inspection shows a lack of understanding of the complexity of identification
   of these minerals using electron diffraction.




   51
          In the Diffraction Verification documents, some zone axes are indicated, but only for a subset of particles
   examined. In the main reports, no information on orientation is given.
   52
           See 2/5/19 Longo Depo. 246:22-47:4.


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             D.      The SAED Patterns In The Longo/Rigler MDL Reports Do Not Uniquely
                     Identify Tremolite Or Anthophyllite

        Summary: The d-spacing information given for the SAED patterns in the Longo/Rigler MDL
        Reports does not uniquely identify tremolite and anthophyllite because their methodology is
        flawed and inadequate.

           It is not clear that Drs. Longo and Rigler’s analysts even used the d-spacing values for their
   SAED images. Drs. Longo and Rigler testified that the d-spacing numbers that they produced (in
   their Diffraction Verification documents) were only used after the mineral identification as a way
   of “verifying” results. 53 If true, Drs. Longo and Rigler did not interpret the SAED patterns in a
   manner consistent with generally acceptable scientific principles, and indeed, Drs. Longo and
   Rigler do not cite any publication for interpreting a SAED report without using the d-spacing. Dr.
   Rigler testified that these numbers were generated after the initial expert reports were served, 54 but
   then changed his testimony when confronted with the implications of this (that conclusions were
   made without consulting d-spacings). 55

           Either way, the d-spacing values in the Longo/Rigler MDL Reports do not allow
   identification of tremolite and anthophyllite. Specifically, in the Diffraction Verification
   documents provided by Drs. Longo and Rigler, SAED patterns are “read” from 219 patterns from
   six samples by measuring and calculating the spacings between rows of dots. In those patterns, the
   space between the lines was measured and then converted to units of angstrom (Å) 56 using an
   unspecified constant. Lacking knowledge of that constant, d-spacings cannot be easily verified
   for the patterns in the Longo/Rigler MDL Reports. 57

         Take the following Figure 17 as a specific example of a Longo/Rigler SAED pattern, to
   exemplify one of the many problems with their SAED analysis:



                                                [Figure 17 on next page.]




   53
             2/6/19 Rigler Depo. 116:22-118:17; 2/5/19 Longo Depo. 182:16-183:11.
   54
             2/6/19 Rigler Depo. 118:6-14.
   55
             2/6/19 Rigler Depo. 127:2-129:3.
   56
            The diffraction camera constant is unique to each particular TEM instrument, as well as the magnification
   and focal length used to obtain the pattern, and is expressed in units of mm × Å. It is divided by the distance between
   two adjacent dots to arrive at the d-spacing values. According to Dr. Rigler, the lab uses calculations based on lattice
   parameters of gold to calibrate their SAED patterns. 2/6/19 Rigler Depo. 114:20-115:3.
   57
           In the Diffraction Verification documents, the camera constant is given, but it is specified in units of pixels.
   Because the images have been scanned, it is impossible to apply that constant to the images, and thus the spacings
   cannot be verified.

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   Figure 17. SAED pattern of M68233-001-001 from p. 693 of the 2019.1.16 Longo/Rigler MDL Report
   (colored annotation added).

           For the example shown in Figure 17, the relevant values are d(hk0) = 8.95 Å, d(hkl) = 1.77
   Å, and T = 85.5°. Next, it is necessary to find those three values in “look-up tables.” Below is the
   only look-up table that Drs. Longo and Rigler used (found on each “Diffraction Verification” page):




          This means that Drs. Longo and Rigler used tables only for the five recognized asbestos
   amphibole species and therefore did not check to see if their values corresponded to non-
   asbestiform minerals. 58 To the extent Drs. Longo and Rigler already concluded they were looking
   at asbestos prior to the SAED analysis, as strongly implied by the table, their analysis was
   predetermined and conclusion-oriented, not scientific.



   58
          2/6/19 Rigler Depo. 101:2-17.

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             E.      Drs. Longo And Rigler Use Incomplete d-Spacing Data

        Summary: Use of only one d-spacing value, as reported by Drs. Longo and Rigler and their
        analysts, is almost never diagnostic of any mineral. Indeed, their d-spacing calculation can
        correspond to ~25% of all common rock-forming minerals, not one specific mineral.

           As explained with the analogy using a cube, above, finding only one d-spacing is only
   rarely diagnostic of any mineral because minerals are three-dimensional. In the Diffraction
   Verification documents from Drs. Longo and Rigler, each page has a listing at the top that shows
   one of the calculated d-spacings for each of the five amphiboles:




          These pages then go on to provide a single “Calculated Spacing Å.” For example, there are
   31 pages of patterns for sample M69757, for which only one d-spacing has been calculated. No
   zone axis information is presented.

           The problem here is that providing a single d-spacing is not diagnostic of any specific
   mineral species, or even mineral group. A search of the mineral database59 from Dyar and Gunter
   (2008) shows that 93 out of 369 (25%) mineral species have at least one d-spacing of 4.94 to
   5.46 Å. A more comprehensive analysis using the American Mineralogist Crystal Structure
   database shows more than one thousand crystal structures that have at least one d-spacing in the
   range above.60 Finally, a search was made of the Inorganic Crystal Structure Database, 61 which
   contains 203,830 inorganic crystal structures (minerals and chemical compounds). In that database,
   8%, 7%, and 6% of the structures had a, b, or c, respectively in the range of 4.94 to 5.46 Å. Some
   of these are shown below in Table 2, where it is apparent that many different minerals, many of
   which are not amphiboles, have a unit cell dimension of 5.3 Å in some direction. Therefore, deriving
   a 5.3 Å spacing from an SAED pattern would be completely inconclusive. A single unit cell
   dimension (d-spacing) is almost never diagnostic enough to uniquely identify a mineral species.


   59
              The Mineral Database search engine and database, which is sold on the Apple web site at
   https://itunes.apple.com/us/app/mineral-database/id815681529?mt=12, was designed to allow searches on a database
   consisting only of common rock-forming minerals. The list of minerals with at least one d-spacing of 4.94 to 5.46 Å
   includes (in addition to the minerals listed in Table 2) such common minerals as aragonite, calcite, hematite, ilmenite,
   biotite and phlogopite mica, pyrite and quartz.
   60
            The database is found at http://rruff.geo.arizona.edu/AMS/amcsd.php, for minerals under Cell Parameter and
   Symmetry. Searching each of the a, b and c axes for d-spacing between 4.94 and 5.46 Å produces 1897 records, 1227
   records, and 2245 records, respectively. Note that these are individual crystal structure refinements, and multiple
   examples of different mineral species are included.
   61
             https://ucsd.libguides.com/crystallography/icsd

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        Table 2. Unit Cell Dimensions for Selected Relevant Mineral Species
        Mineral                   Formula                         a (Å)                         b (Å)        c (Å)
        enstatite                 MgSiO3                          18.2                          8.8          5.2
        anthophyllite             Mg7Si8O22(OH)2                  18.5                          18.0         5.3
        magnesiocummingtonite Mg7Si8O22(OH)2                      9.5                           18.2         5.3
        sepiolite                 Mg4Si6O15(OH)2.6H20             13.5                          26.7         5.2
        antigorite                Mg3Si2O5(OH)4                   5.3                           9.5          14.9
        talc                      Mg3Si4O10(OH)2                  5.3                           9.5          18.9
        tremolite                 Ca2Mg5Si8O22(OH)2               9.8                           18.1         5.3
        actinolite                Ca2(Mg,Fe)5Si8O22(OH)2          9.8                           18.1         5.3
                                           2+      3+
        ferrowinchite             CaNaFe 4(Al,Fe )Si8O22(OH)2 9.8                               18.1         5.3
        richterite                Na(CaNa)Mg5Si8O22(OH)2          10.3                          18.4         5.2
        ferrorichterite           Na(CaNa)Fe2+5Si8O22(OH)2        10.0                          18.2         5.3
                                        2+    3+
        riebeckite                Na2Fe 3Fe 2Si8O22(OH)2          9.8                           18.0         5.3
        magnesioriebeckite        Na2Mg3Fe3+2Si8O22(OH)2          9.8                           18.0         5.2

            In his deposition on February 6, 2019, Dr. Rigler acknowledged this problem. When asked,
   “Can you distinguish anthophyllite from cummingtonite with SAED alone?”, Dr. Rigler
   acknowledged that “you’d have to do zone axis in a couple of different zones to tell.” 62 In his
   deposition, Dr. Longo confirmed this statement, saying that identification of anthophyllite requires
   measuring both “d-spacing and a second pattern from a different crystalline orientation.” 63 Despite
   this acknowledgment, Drs. Longo and Rigler only report two zone axes for a single anthophyllite
   grain, 64 and give a single zone axis measurement for only two other samples (M69042-008 and
   M68503-001).

           The testimony of Drs. Longo and Rigler confirms that their methodology does not identify
   specific minerals. 65




   62
             2/6/19 Rigler Depo. 108:23-109:18.
   63
             2/5/19 Longo Depo. 133:3-9.
   64
            These zone axes are provided in the Diffraction Verification documents. Several values of d(hk0), d(hkl),
   and T are given for sample M69757-007, but no zone axis is derived. For sample M69042-002, several values are
   given for sample d(hk0) only. For sample M68233, four different zone axes are presented; this is the only sample for
   which more than one zone axis is given.
   65
            2/5/19 Longo Depo. 157:3-8 (“Q. Okay. What other amphibole in the Mineral Powder Diffraction File have
   d-spacing ranges that span 5.23? A. Most of your amphibole minerals, both monoclinic and orthorhombic, will have
   d-spacings in this range.”); 2/6/19 Rigler Depo. 119:3-8 (“Q. Now, for this verification page, you calculated a d-
   spacing of 5.23; correct? A. Correct. Q. And that falls within the range of every single amphibole on that list; right?
   A. Correct.”); see also id. 119:22-120:8.

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          F.     Unfeasible d-Spacings In Longo/Rigler Diffraction Verification Documents

    Summary: Some of the Longo/Rigler d-spacing interpretations have impossible values.

         Lack of understanding of d-spacings is also shown by reports of indefensible d-spacings.
   Page 14 of the M69757 Diffraction Verification document demonstrates particularly poor
   methodology:




          Under the heading “Zone Axis Information,” the d(hk0) value is indicated to be 10.1 Å. A
   user would then look for this value in the look-up tables. But as seen on the first page of the
   anthophyllite reference sheet shown below, there are no (hk0) values higher than 9.25 Å.




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         A second sample, M69042-008 particle 37, lists a d-spacing of 13.46. In these cases, either
   the measurement itself is bad or these cannot be anthophyllite, or both.

           In addition, many of the other d-spacings calculated in the Diffraction Verification
   documents lie outside their own stated ranges for amphiboles: M69757-005 particle 23; M69757-
   007 particles 30 and 31, M6942-002 particles 12, 15, 16, 19, 20, 22; M68503-001 particle 7,
   M68503-002 particle 10, M68503-026 particles 35, 57, and 58. In some cases, the values are likely
   for (hkl), which also has a wide range of values at 1.7±5% Å. But in most of these examples, the
   stated d-spacings are just anomalous and likely incorrect for any of the asbestiform amphiboles.

             G.      The d-Spacing For What Drs. Longo And Rigler Identify As Anthophyllite
                     Actually Corresponds To One Of Two Other Minerals


        Summary: The d-spacing for “anthophyllite” identified by the Longo/Rigler MDL Reports
        actually corresponds to cummingtonite or grunerite.

          In a small number of instances, 66 the Longo/Rigler MDL Reports identify the zone axis.
   For example, because the M68233-001-001 pattern in Figure 17 was assumed to be anthophyllite
   (as indicated by the label on the image on page 693), the anthophyllite look-up table 67 was
   employed. Part of the relevant page from that look-up table is given below.


   66
             Zone axes are identified in 41 particles from only 6 of the 70 samples in the Longo/Rigler MDL reports.
   67
            Look-up tables were created by Su (2003) How to Use the d-Spacing/Interfacial Angle Tables to Index Zone-
   Axis Patterns of Amphibole Asbestos Minerals Obtained by Selected Area Electron Diffraction in Transmission
   Electron Microscope, 2008 report, Asbestos Analysis Consulting.

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           There is no listing specifically for d(hk0) = 8.95, d(hkl) = 1.77, (hk0)/(hkl) = 5.07, and T =
   85.5°. Therefore, the analyst chooses something close, as highlighted in yellow. Importantly, the
   85.5° is not the same as 90°, as can be plainly seen in Figure 17. This indicates that the SAED
   pattern is NOT a match to anthophyllite, but likely from a different amphibole. Either the
   analyst mis-read the table or she/he used the angle relative to the c-axis instead of to T In either
   case, the methodology and the science are incorrect.

           There are many amphibole minerals with similar compositions (Table 1). If a SAED
   pattern is not consistent with anthophyllite, then another amphibole file can be tried, such as that
   for the grunerite 68 mineral series, as given below. The yellow highlights in this table represent a
   good match to the M68233-001-001 SAED pattern. The d(hkl) and the angle are exact matches,
   suggesting that this mineral is from the cummingtonite-grunerite series. A different amphibole
   might give an even better match, but there are no other look-up tables.

          This reliance on look-up tables that only exist for asbestiform mineral species virtually
   guarantees that an asbestos mineral will be identified. This is a serious flaw in methodology.




   68
            Minerals in the cummingtonite-grunerite series all have very nearly the same crystal structure (with slight
   variations due to the size difference between Mg2+ and Fe2+), and thus share the same look-up table. These minerals
   have a very different structure from anthophyllite even though the formulas are similar. So the failure by Drs. Longo
   and Rigler’s analysts to use the proper look-up table is an egregious error.

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          This analysis shows that the analysists used by Drs. Longo and Rigler and their analysts
   incorrectly used the anthophyllite table to identify the zone axis in a particle that was likely from
   the cummingtonite/grunerite series. The same mismatch can be observed for all the values of
   d(hk0), d(hkl), and the interfacial angle T compiled for anthophyllite in the report on sample
   M68233 entitled Diffraction Verification.

          H.      Drs. Longo And Rigler And Their Analysts Do Not Follow EPA Methodology,
                  Including Confirmation On At Least Two Zone Axes

    Summary: The EPA “Yamate III” methodology for confirming the presence of asbestos in talc
    requires two SAED zone axis determinations and an EDS analysis, which the Longo/Rigler
    MDL Reports do not provide.

            The protocol for “Methodology for the Measurement of Airborne Asbestos by Electron
   Microscopy” (Yamate, EPA, 1984) states in Section 2, “Conclusions and Recommendations” (p.
   3) that there are three necessary levels of effort:

          The EM methodology for measuring the concentration of airborne asbestos fibers
          has been refined and specified, and is recommended for field evaluation. The
          methodology is based on a TEM analytical protocol that is divided into three levels
          of effort: Level I, for screening many samples; Level II, for regulatory action; and
          Level III, for confirmatory analysis of controversial samples. The three-level
          analytical methodology is cost-effective, and will provide the required results for
          proper assessment of asbestos.

   Level III is used in these cases (Section 6, Level III Asbestos Analysis, Discussion of Protocol,
   from p. 44):

          The Level III protocol is an extension of the Level II analysis procedures described
          in Section 5. This extension may be necessitated by the need for positive
          identification of the specific amphibole species in situations where (1) fundamental
          disagreements between parties involved in a litigation require further clarification;

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            (2) for identification purposes, e.g., as causative agents in medical diagnosis or
            studies; (3) for quality control of Level II analysis in special situations, and/or; (4)
            for source samples, whether as bulk material or bulk-air type where a legal
            judgment is anticipated.

           The protocol states that identification requires two SAED zone axis determinations and an
   EDS analysis. Dr. Rigler stated in his deposition that anthophyllite particles were double-verified
   by d-spacing analysis (2/6/19 Rigler Depo. 125:18-20). But out of hundreds of particles studied
   by Drs. Longo and Rigler (or their analysts), zone axis determinations are provided for only 41
   particles in six samples. In fact, zone axis information is provided for only one “anthophyllite,”
   M68233. 69 As such, Drs. Longo and Rigler and their analysts do not follow EPA protocol.

           Indeed, both Dr. Rigler and Dr. Longo admit to problems inherent in using too few zone
   axis, despite doing it themselves.

            I.       Conclusions Relating to SAED Analysis

                     x   SAED images in the Longo/Rigler MDL Reports are often of very low
                         quality with poor documentation. Some of them are uninterpretable. The
                         reports do not provide the calibration constant needed to convert dot spacings
                         into atom spacings.

                     x   Indexing of diffraction patterns using look-up tables is done incorrectly.
                         The use of asbestos mineral species’ look-up tables to determine zone axes
                         presumes that the mineral species of the sample has already been identified.
                         Even lacking such information, Drs. Longo and Rigler and their analysts
                         consistently use the anthophyllite look-up table, and do not consider whether
                         another mineral species might give a better match. “Anthophyllite” diffraction
                         patterns indexed by Drs. Longo and Rigler do not match those in look-up tables
                         for that mineral.

                     x   Unfeasible d-spacings exist in the Longo/Rigler Diffraction Verification
                         documents. In two of the 41 cases for which zone axis information is provided,
                         the calculated d-spacing is impossible. In several other cases, the single d-
                         spacing lies outside the stated range for amphibole minerals.

                     x   Drs. Longo and Rigler and their analysts do not follow EPA methodology
                         for “confirmatory analysis of controversial samples.” Although Drs. Longo
                         and Rigler both admitted in deposition that two zone axis determinations are
                         necessary to confirm the identity of anthophyllite, zone axis data are provided
                         for only 41 particles in six samples, and the requisite two zone axes on the same
                         sample aliquot are given for only three samples.



   69
            Although Drs. Longo and Rigler (or their analysts) believe this particle to be anthophyllite, it is actually a
   mineral in the cummingtonite-grunerite series.

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              x   Even when patterns are correctly acquired, the same mineral will have
                  very different SAED patterns depending on its orientation.

              x   SAED patterns alone cannot determine the morphology of a mineral
                  particle. Even if an SAED pattern can be matched with a specific mineral and
                  orientation, this only identifies which mineral species is present. Such analysis
                  cannot determine whether or not the mineral is asbestiform.




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   VI.    MINERAL IDENTIFICATION USING PLM

           The Longo/Rigler MDL Reports purport to use polarizing light microscopy (“PLM”) to
   identify asbestos in talc. This section discusses the proper use of PLM, as compared to how it was
   used in plaintiffs’ experts’ reports.

          A.      How PLM Works

    Summary: PLM, when properly used, can identify asbestos mineral content by observing the
    morphology and refractive indices of the particles in the sample.

           PLM is a technique that uses a specially-equipped microscope to polarize the beams of
   light that pass through a sample (Figure 18). This “polarization” causes all the waves of light to
   vibrate in the same direction, creating a set of near-parallel light waves. When a sample is rotated
   on the microscope stage, the parallel waves of light interact with the sample differently depending
   on the angle between the layers of atoms in the sample and their spacings.




   Figure 18. Photograph and sketch of a simple polarizing light microscope, from Dyar and Gunter (2008),
   Figure 17.2.


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           The polarizers above and below the microscope stage allow a user to study how parallel
   waves of light interact with rows of atoms in a crystal structure. Changes in appearance upon
   rotation can be diagnostic of specific mineral groups and, sometimes, mineral species.

          The PLM method is, by Longo’s own admission, “primarily used today for the analysis of
   asbestos-added products where the asbestos contents of these products are typically over 1% by
   weight.” 70 PLM allows mineral species to be identified using inherent properties of each mineral:
   the shape of the grains, the way they break and their densities.

         Drs. Longo and Rigler and analysts examined 61 samples using PLM (ISO 22262-1
   method), which requires that asbestos be idenitfied using six types of observations:

          x   Morphology
          x   Color and pleochroism
          x   Birefringence
          x   Extinction charactertistics
          x   Sign of elongation
          x   Refractive index

           The last property, refractive index (R.I.), is a ratio between the speed of light traveling
   through a vacuum and how fast it travels through (in this case) a mineral. The value of n is different
   in varying directions of a mineral, and so the change in refractive index with orientation can be
   diagnostic of a mineral group or species.

           To measure the value of n in an unknown grain, it is surrounded by an oil with a known n,
   and the crystal is examined. For example, in the protocol used by Drs. Longo and Rigler, “three
   mounts of the talcum powder samples are placed on two glass slides, a drop of the 1.605 refractive
   index fluid was placed on each of the three . . . mounts, stirred with the point of a scalpel blade,
   and then covered with . . . [a] glass cover slip.” 71 This procedure is shown in Figure 19. In this
   method, grains with exactly the same n will be invisible, while grains with higher or lower values
   of n will appear to have positive or negative relief.



                                        [Figure 19 on next page.]




   70
          2/1/19 MDL Report, page 5.
   71
          2/1/19 Longo/Rigler MDL Report, page 10.

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   Figure 19. For microscopy using refractive index oils, grains of mineral are placed on a microscope slide
   surrounded by a liquid with a refractive index matching the mineral. From Dyar and Gunter (2008), Figure
   17.6.

           In the technique called “dispersion staining” used by Drs. Longo and Rigler, a special 10×
   objective is used on the microscope to cause dispersion of light waves and create certain specific
   colors. The colors become more red, orange and yellow when nmineral > noil, and more like indigo,
   purple and turquoise when nmineral < noil. The color will change when the microscope stage is rotated
   because the densities of atoms are different along different planes in each crystal’s structure.

           The problems that arise from the optical images and their interpretation are similar to those
   of SAED. It is difficult to distinguish minerals with very similar structures (e.g., tremolite and
   actinolite) because the spacings of layers of atoms and the compositions are identical or very
   similar. As a result, many of the minerals from Table 1, as well as many other amphibole group
   minerals, will have overlapping optical characteristics that can make them difficult to distinguish
   from one another, rendering any optical analyses (even PLM, even using dispersion staining)
   inconclusive.

            Consider, for example, the list of mineral refractive indices at this url:
   https://nature.berkeley.edu/classes/eps2/wisc/ri.html, or the extensive list of Shannon et al.
   (2017). 72 A survey of the Berkeley list shows that 87 of the 204 mineral species (43%) listed there
   have at least one refractive index that falls in the range of n = 1.55-1.65. Careful PLM work
   requires that refractive indices be obtained at different orientations (preferably using a range of
   oils to pinpoint the value of n at each orientation) to refine the identification. It may be necessary
   in geological studies to corroborate microscope mineral identifications using chemical data
   obtained by a high-accuracy method.


   72
            Shannon et al. (2017) Refractive indices of minerals and synthetic compounds. Amer. Mineral., 102, 1906-
   1914. The refractive index table is available under the listing for page 1906 on this url:
   http://www.minsocam.org/MSA/AmMin/TOC/2017/Sep2017_data/Sep2017_data.html.

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           B.     All Of The ISO PLM Tests Returned Results Consistent With A Finding Of
                  No Asbestos

          There are three sources of ISO PLM data: (1) results from the analysts working for Drs.
   Longo and Rigler; (2) results from the J3 laboratory that are reported in the Longo/Rigler MDL
   Reports; and (3) results from the J3 laboratory that (for some unknown reason) are not reported in
   the Longo/Rigler MDL Reports. The Longo/Rigler MDL Reports do not synthesize these data in
   one place. Notwithstanding that issue, the results appear to be as follows:

      x    All the reported ISO PLM test results – whether from Drs. Longo and Rigler’s laboratory
           or the J3 laboratory – were either “no asbestos detected” or less than 0.1% by weight
           asbestos detected, which is consistent with detecting no asbestos.

      x    Of the at least 39 bottles tested by J3 using ISO PLM, the result of each was “no asbestos
           detected.” 73

      x    There are at least eight instances of, for a single bottle, J3 finding “no asbestos detected,”
           while Drs. Longo and Rigler’s analysts found “< 0.1% by weight” of asbestos by ISO
           PLM, 74 as follows:

                               LONGO/RIGLER ISO PLM                   J3 RESOURCES ISO PLM
          MDL SAMPLE
                                     RESULT (wt%)                          RESULT (wt%)
           M68503-004                 < 0.1 Trem/Act                      No asbestos detected
           M68503-026                 < 0.1 Trem/Act                      No asbestos detected
           M68503-023                    < 0.1 Anth                       No asbestos detected
           M68503-042           < 0.1 Trem/Act, < 0.1 Anth                No asbestos detected
           M68503-057           < 0.1 Trem/Act, < 0.1 Anth                No asbestos detected
           M68503-020                    < 0.1 Anth                       No asbestos detected
           M68503-059           < 0.1 Trem/Act, < 0.1 Anth                No asbestos detected

           Thus, in summary, all the ISO PLM testing was consistent with the absence of asbestos
   in the samples.

           Moreover, there are also 10 instances where the Longo/Rigler reports identify
   concentrations of asbestos by the “Blount PLM” method that, if correct, are well above the
   sensitivity limits of ISO PLM. Thus, all such “positives” should have registered as positives on
   the ISO PLM. Yet here are the results, comparing these 10 instances to the results from the PLM
   testing at J3:



   73
           These are Nos. M68503-010, M68503-009, M68503-024, M68503-004, M68503-014, M68503-011,
   M68503-027, M68503-019, M68503-038, M68503-026, M68503-005, M68503-029, M68503-021, M68503-023,
   M68503-028, 02D, M68503-046, M68503-042, M68503-057, M68503-020, 07D, 15D, 50D, M68503-059, 10D, 38D,
   63D, 52D, 65D, 37D, 45D, 51D, 66D, 21D, M68503-001, 31F, 31G, M68503-016 and M68503-01.
   74
          These are Nos. M68503-004, M68503-026, M68503-023, M68503-042, M68503-057, M68503-020,
   M68503-059 and M68503-001.

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         LONGO/RIGLER             LONGO/RIGLER BLOUNT               J3 RESOURCES ISO PLM
            SAMPLE                  PLM RESULT (wt%)                     RESULT (wt%)
            O7D STS                  0.2 Trem/Act, 0.5 Anth             No asbestos detected
            15D STS                         0.3 Trem                    No asbestos detected
            10D STS                       0.2 Trem/Act                  No asbestos detected
            38D STS                       0.2 Trem/Act                  No asbestos detected
            63D STS                       0.2 Trem/Act                  No asbestos detected
            52D STS                  0.2 Trem/Act, 0.5 Anth             No asbestos detected
            65D STS                  0.2 Trem/Act, 0.2 Anth             No asbestos detected
            66 D STS                      0.1 Trem/Act                  No asbestos detected
             31F STS                0.3 Trem/Act, <0.1 Anth             No asbestos detected
            31G STS                        0.7 Tre/Act                  No asbestos detected

           Thus, even where the Longo/Rigler Blount PLM testing result purportedly was seven times
   the sensitivity reported for the ISO PLM testing, it did not register on the latter. This represents a
   gross inconsistency, and suggests issues with the PLM work at either or both of Longo/Rigler’s
   laboratory and J3. These results show that the PLM work in the Longo/Rigler MDL Reports does
   not appear to be reproducible.

          C.      Dispersion Staining Was Not Used Correctly

          The Longo/Rigler MDL Reports purport to find asbestos using dispersion staining, but
   generally accepted scientific methodologies were not followed. The goal of this methodology is to
   “meet the requirements set forth by EPA (1993) and NIST (1994) […in which] analysts must
   measure and record two principle refractive indices, nD and nJ, of every type of asbestos mineral
   found in bulk samples” 75

           The protocol described by the Su article, which Dr. Longo testified that his analysts
   followed, 76 sets forth a particular methodology to do the dispersion staining characterization
   described above. It recommends employing a statistical observation method to determine the
   refractive index. This involves the following:

                  “To estimate nD, analysts randomly select a fiber, rotate it to the
                  extinction position when the fiber elongation axis is nearly parallel
                  (tremolite or actinolite) or exactly parallel (anthophyllite) to the N-
                  S cross hair (assuming the vibration direction of polarizer is E-W)
                  and observe its CSDS color. After 10 to 20 fibers are examined in
                  this way, the fiber with the longest l0 is assumed to exhibit the RI
                  value closest to nD. To estimate nJ, 10 to 20 fibers are examined at
                  the extinction position when the fiber elongation axis is nearly
                  parallel (tremolite or actinolite) or exactly parallel (anthophyllite) to



   75
          Su (2003).
   76
          2/5/19 Longo Depo. 285:9-14.

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                  the E-W cross hair; the fiber with the shortest l0 is then assumed to
                  exhibit the RI value closest to nJ.”

          There is no indication on any of the PLM outputs in the Longo/Rigler MDL Reports that
   multiple grains were measured, as recommended in the protocol.

           Moreover, Figure 20 shows an image from the Longo/Rigler MDL Report of a field of talc
   particles with one amphibole crystal that is a slightly different color than the surrounding talc.




   Figure 20. Dispersion staining PLM images showing the same field of view rotated 90°. The change in
   color of the amphibole grain is diagnostic. Images from pages 1094 and 1095 of the January 2019
   Longo/Rigler MDL Report.

           Here, the surrounding talc crystals are scattered across the field of view. Some of them
   appear to have slightly different colors at the edges, but these are likely to be places where the
   sheets of talc curl up (like chocolate curls). Note that the color variations in these images are very
   subtle, and it is quite difficult to unequivocally determine if the crystal labelled “amphibole” is

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   truly a different color than the surrounding grains. This is why the Su (2003) paper recommends
   looking at many different grains to calculate refractive index correctly. 77

           Another issue is that the dispersion staining images should have used an immersion oil
   with a refractive index of 1.625 to identify anthophyllite, according to Su (2003) Table 1. Instead,
   the samples were analyzed using a “drop of the 1.605 refractive index fluid.” 78 The report cites
   ISO 22262-1 as the source of the choice of 1.605, when in fact, the report states “For identification
   of tremolite, actinolite, anthophyllite, and richterite/winchite, RI liquids in the range 1.605 to 1.660
   are required, at intervals of 0.005.” 79 There is no evidence in the Longo/Rigler MDL Reports to
   indicate that such a progression of oils was used.

           A second example of a confusing PLM image is given in Figure 21.




   Figure 21. Images of a talc grain with the leftmost edge curled up out of the page.

           The curled edge is erroneously identified in the Longo/Rigler MDL Reports as a separate
   crystal of anthophyllite, but this is highly unlikely. The “anthophyllite” grain would not just
   “happen” to lie exactly along the edge of the talc grain.

            The view at left is pink because it is a dispersion staining image, in which a special wave
   plate is inserted in the microscope to make the colors more intense (and more diagnostic). These
   are images of a grain of talc. The straight edge of the talc grain is labeled as “anthophyllite,” but
   in fact, this is a curled-up edge of the talc grain. Because of the curl, the grain is showing a different
   orientation within the crystal structure, which has different optical properties, and therefore shows

   77
            Su (2003) at 1980 (“After 10-20 fibers are examined in this way. …10-20 fibers are examined at the
   extinction position…”).
   78
           1/16/19 Longo/Rigler MDL Report, page 9.
   79
           1/16/19 Longo/Rigler MDL Report, page 15.

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   up as blue. Very few of the PLM images in the Longo/Rigler MDL Reports have labels. There is
   little discussion of PLM results in any of the reports.

          There is also no mention of utilizing proper protocol for distinguishing between talc and
   anthophyllite with dispersion staining. As noted in ISO 22262-1:

                     “Some sources of talc contain fibres that can be mistaken for
                     anthophyllite. These fibres have intergrowths of both the
                     anthophyllite and talc crystal structures. The fibres exhibit refractive
                     indices that are lower than those of anthophyllite and intermediate
                     between those of talc and anthophyllite. If this type of fibre is
                     present, examine the sample in a liquid of RI 1,615. If no Ȗindices
                     are observed that are higher than 1,615, classify the fibres as talc.
                     Classify any fibres with Ȗ indices equal to or exceeding 1,615 as
                     anthophyllite.”

             It does not appear that this protocol was followed.

             D.      The “Point Counting” Method Was Not Used, Yet It Is The Only Way To
                     Estimate Concentration By PLM, As Recognized By ISO 22262

        Summary: The ISO 22262-1 protocol provides a methodology for estimating concentration by
        PLM using “point counting.” Drs. Longo and Rigler and their analysts did not do this. Instead,
        their estimates were based on purported charts generated by Drs. Longo and Rigler’s lab’s own
        methodology that are not accepted by the scientific community and that were not produced.

           The standard method for estimating concentrations of minerals in geological materials by
   PLM is called “point counting.” 80 In this technique, a sliver of rock or loose particles is placed on
   an x-y stage on a microscope so it can be moved in different directions. The operator then looks
   down the microscope and uses the technique of choice (usually the optical properties of the
   minerals as they interact with plane polarized light) to identify the grain at the center of the field
   of view. Then the stage is moved slightly and the process is repeated. Typically, 100-400 locations
   on a rock are thus analyzed, from which a quantitative estimate of the abundance of minerals in
   the rock can be obtained. It is well-recognized that the accuracy of a point count depends on the
   number of grains counted. This is acknowledged in ISO 22262-1, which says:

                     “The statistical reliability of a point count for determination of
                     asbestos depends on the number of asbestos points, not on the total
                     non-empty points examined. Accordingly for comparison against a
                     regulatory standard of 0.1 % asbestos by weight, continue point




   80
           An excellent summary of this method is given at http://geologylearn.blogspot.com/2015/08/point-counting-
   technique-used-in.html. See also Neilson and Brockman (1977) Amer. Mineral., 62, 1238-1244.


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                  counting until either a minimum of 20 asbestos points, or the
                  equivalent of 13,000 non-empty points have been accumulated.” 81

           At his deposition, Dr. Longo confirmed that the Longo/Rigler MDL Reports did not use
   point counting. 82 Rather, the Longo/Rigler MDL Reports state that “a visual estimation of the
   quantity of asbestos observed was based on eye calibration through review of lab generated weight
   percent standards.” 83 First off, Drs. Longo and Rigler did not produce those “lab generated weight
   percent standards,” so there is no evidence that the standards are reliable or based in accepted
   science. Moreover, given the similarities in color of talc and amphibole in these images, these
   visual estimates are unreliable and unreproducible. The estimates of abundances are orders of
   magnitude different from the estimates produced by the TEM measurements due to analytical
   sensitivity issues, also noted by Drs. Longo and Rigler. Probably for this reason, little attention is
   paid to the amounts of amphibole observed by the PLM method. Instead, PLM is used in the
   Longo/Rigler MDL Reports mostly to determine presence/absence of amphibole in asbestos. For
   example, the January 2019 report notes that 20 of the 61 samples tested “were positive for
   regulated amphibole asbestos.” 84

           Moreover, it is not clear what these “weight percentage standards” are, as Drs. Longo and
   Rigler did not produce them. In that sense, their results are unverifiable and unreproducible.

          E.      Conclusions Relating To PLM Analysis

                  x   Dispersion staining was not used correctly. In contrast to the recommended
                      protocol, the Longo/Rigler MDL Reports use only a single refractive index
                      liquid and do not count the requisite number of particles.

                  x   The Longo/Rigler MDL Reports purport to find asbestos using dispersion
                      staining, but generally accepted scientific methodologies were not followed.
                      Indeed, it does not appear that the protocol cited was followed.

                  x   The reported quantities of asbestos based on PLM used “visual estimation”
                      rather than point counting. Apparently, the estimates were produced by
                      comparisons against unspecified and unregulated “weight percentage
                      standards.” The results are very different from those obtained by TEM, and are
                      mostly ambiguous.

                  x   Drs. Longo and Rigler and their analysts did not follow the methodology
                      for estimating concentration by PLM using “point counting.” Instead, their
                      estimates were based on purported charts generated by Drs. Longo and Rigler’s
                      lab’s own methodology that are not accepted by the scientific community and
                      that were not produced.


   81
          ISO 22262-1, page 29.
   82
          2/5/19 Longo Depo. 269: 20-23, 272:15-17.
   83
          1/16/19 Longo/Rigler MDL Report, page 9.
   84
          1/16/19 Longo/Rigler MDL Report, page 7.

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   VII.      MORPHOLOGY IDENTIFICATION USING VISUAL INSPECTION BY TEM

           The primary method used in the Longo/Rigler MDL Reports to establish having found
   asbestiform habit minerals is visual inspection using TEM images. Yet, the methods that they
   purport to follow expressly state that TEM “cannot be used to discriminate between individual
   fibers of the asbestos and non-asbestos analogs of the same amphibole material.” 85

           Evaluation of whether a particle is a bundle, fiber or cleavage fragment by visual inspection
   is highly subjective and subject to personal biases, as will be shown below. This section addresses
   how the methodologies in the Longo/Rigler MDL Reports for identifying talc are scientifically
   unacceptable, and that the conclusions reached thereby are unsupportable.

             A.      Differences Among Fibers, Bundles And Fragments

        Summary: There are important morphological differences between asbestiform fibers,
        asbestiform bundles and non-asbestiform cleavage fragments.

           Fibers are described as very thin fibrils, usually less than 0.5 mm in width (cf. Figure 1),
   rather than the chunky particles identified in the Longo/Rigler MDL Reports. Fibers are identified
   on the basis of their curvature, flexibility and high tensile strength. Figure 22 below shows the
   visual difference between asbestiform and non-asbestiform versions of the same minerals:




   Figure 22. Examples of asbestiform vs. non-asbestiform particles from Figure 39 of the classic paper by
   Campbell et al. (1977).

           The differences between asbestiform and non-asbestiform minerals go back to the first
   definitions given in this report. Recall that the ISO 22262-1, 2, 3 documents define asbestiform as
   a “specific type of mineral fibrosity in which the fibres and fibrils possess high tensile strength
   85
             ISO 10312 (1995), at 1; see ISO 13794 (1999) (same), at 1; ISO 22262-1 (2012) at 31 (“Full details relating
   to identification of asbestos fibers using TEM are given in ISO 10312 and ISO 13794.”).

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   and flexibility.” The particles in the top row of Figure 22 all seem to comply with this definition.
   A non-asbestiform particle is often called a cleavage fragment, which means it is a small particle
   that has broken off a larger crystal. These will appear to be chunkier, as seen in the bottom row of
   Figure 22.

           Even if a particle of a mineral that can have an asbestiform habit is long and thin, it may
   not be an asbestos fiber. Again, that term relates as much to physical properties such as tensile
   strength and flexibility as it does to aspect ratio. Figure 23a shows three examples of fibers that
   are not “asbestos,” but rather cleavage fragments of non-asbestiform amphibole.




   Figure 23a. Images of non-asbestiform particles from Gunter (2010).

           Asbestos particles can come in fibers or bundles. Bundles occur as separable groups of
   parallel fibers with splayed ends and matted masses as seen in Figure 23b. They are defined in
   ISO 22262-1 as structures “composed of parallel, smaller diameter fibers attached along their
   lengths.”




   Figure 23b. Image of tremolite bundle of asbestiform particles from Harper et al. (2010). 86

   86
            Harper et al. (2014) Characterization of Lone Pine, California tremolite asbestos and preparation of research
   material. Ann. Occp. Hyg., 2014, 1-13.

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           The assessment of whether a particle is an asbestiform fiber or bundle versus a cleavage
   fragment is fairly straightforward. Asbestiform fibers are greatly elongated with high aspect ratios.
   At the end of a bundle, the fibers generally bend out like the straws at the end of a broom. Note in
   Figure 23b that the particles do splay out at the end, and it is obvious that the bundle at lower right
   is indeed “composed of parallel, smaller diameter fibers attached along their lengths.”

            Alternatively, cleavage fragments tend to be short and fat particles that cannot maintain the
   thinness and long aspect-ratios associated with asbestiform minerals because they are generally
   brittle. Non-asbestiform cleavage fragments are blocky, and may show stair-step cleavage
   fractures on the ends of the grains.

          B.      Drs. Longo And Rigler Misidentify Cleavage Fragments As Bundles And
                  Fibers

    Summary: Drs. Longo and Rigler and their analysts did not apply objective criteria for
    distinguishing between cleavage fragments, bundles and fibers, as demonstrated by the
    inconsistent results of their analysts.

          The Longo/Rigler MDL Reports consistently demonstrate confusion over the identification
   of non-asbestiform cleavage fragments vs. the asbestiform habit. For example, the particles shown
   in Figure 23c, which are explicitly identified as fibers and bundles, are effectively identical to the
   non-asbestiform cleavage fragments in the Longo/Rigler MDL Reports shown in Figure 23d.




   Figure 23c. Particles from the 1/16/19 Longo/Rigler MDL Report and assignments. Compare to Figures
   23a, b and c. This comparison shows visually that the bundles and fibers identified in the Longo/Rigler
   MDL Report are NOT fibers and bundles, but rather, non-asbestiform particles.




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   Figure 23d. Dispersion staining photomicrographs from the January 2019 Longo/Rigler MDL report with
   ambiguous annotations. For sample M69503-010, the PLM ANALYSIS report states the presence of
   “actinolite/tremolite cleavage fragments” (p. 120).

          For sample M69503-026, the PLM ANALYSIS report states the presence of
   “tremolite/actinolite asbestos observed. Actinolite/Tremolite cleavage fragments observed.”

           Compare these images to Figure 23e, which shows PLM dispersion staining images of
   tremolite cleavage fragments from the peer-reviewed paper by Pierce et al. (2017). These
   dispersion photomicrographs were imaged by RJ Lee Group and Forensic Analytical, Hayward,
   CA. Particles in Figures 23e and 23f are effectively identical, and here, the analysts employed by
   Drs. Longo and Rigler correctly identify these particles as cleavage fragments.




   Figure 23e. PLM dispersion staining images of tremolite non-asbestiform cleavage fragments from the
   peer-reviewed paper by Pierce et al. (2017).

           But the particles seen in Figure 23f, which are strikingly similar, are indicated in the
   Longo/Rigler MDL Reports to be asbestiform bundles, even though they demonstrate none of
   the objective criteria for such bundles. They look nothing like the bundle shown in Figure 23c.




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   Figure 23f (left) The TEM report for sample M69503-010 (p. 131) identified 4 bundles of tremolite. No
   mention is made of cleavage fragments (right).

           The TEM report for sample M69503-026 (p. 321) identified 31 bundles of tremolite. Note
   that the shape of the “bundles” identified in the Longo/Rigler TEM images is the same as the shape
   of the cleavage fragments in Pierce et al. (2017).

           There is obvious confusion in the Longo/Rigler MDL Reports over these identifications.
   Nearly all of the amphiboles referred to as “fibers” and “bundles” in the Longo/Rigler MDL
   Reports are likely to be either non-asbestiform amphibole cleavage fragments, or in some cases,
   talc particles viewed on edge.

          C.      Results Of Analysts Working For Drs. Longo And Rigler Are Inconsistent

    Summary: The results reported in the Longo/Rigler MDL Reports are inconsistent from
    analyst to analyst, highlighting the unreliability of their method of visual identification using
    TEM.

           The inconsistent results of the analysts working for Drs. Longo and Rigler in characterizing
   fibers and bundles is further proof of the lack of repeatability of the analysis in the Longo/Rigler
   MDL Reports. Because criteria for describing particle morphology are so ambiguous, it comes as
   no surprise that different analysts would produce wildly variable results (Figure 24). Some
   analysts, such as Mehrdad Motamedi, are far more likely to classify a particle as a fiber, and
   Anthony Keaton, for example, finds far more fibers than either Jayme Callan or Lee Poye.



                                        [Figure 24 on next page.]




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   Figure 24. Comparison of fiber vs. bundle identifications made by different analysts. Note that totals are
   different from those in the mineral identification figures because morphologies were not reported for some
   particles. Data sources as in Figure 8.

           Figure 25 shows that the percentage of observed bundles vs. fibers also increases over
   time. Because the talc samples studied were randomly selected from various collections, such a
   conclusion is highly unlikely, and simply shows operator bias. This renders the distinctions made
   in the Longo/Rigler MDL Reports between fibers and bundles arbitrary.




   Figure 25. Identifications of bundles vs. fibers over time by analysts working for Drs. Longo and Rigler.
   Data sources as in Figure 8.

          Finally, Figure 26 shows results from a test undertaken to supposedly demonstrate the
   “Coefficient of Variation” of their analysts. 87 The stated goal of this document is “to determine
   the MAS [Longo/Rigler] TEM analysis coefficient of variation (CV or relative standard deviation
   RSD)” of measurements made on cosmetic talc spiked with asbestos standard reference material.
   In other words, this testing sought to confirm consistency of results from the company’s testing.

   87
           TEM Coefficient of Variation for Tremolite and Anthophyllite in Talc: A Quality Control Study.

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   Two TEM grids were studied. Supposed “asbestos” particles were searched for in each of 100
   squares in each grid. Then four of the analysts working for Drs. Longo and Rigler were asked to
   measure the particles and judge if they are fibers or bundles. Each analyst looked at exactly the
   same particles. The document does calculate the mean and standard deviation of the number of
   particles observed on each sample. Standard deviation in this instance indicates how reproducible
   the measurement is, but says nothing about accuracy – i.e., how close it is to the true value.




   Figure 26. The Longo/Rigler MDL report entitled TEM Coefficient of Variation for Tremolite and
   Anthophyllite in Talc: A Quality Control Study shows results from four different analysts who identified the
   same particles in the same set of two TEM grids, one for tremolite (top) and one for anthophyllite (bottom).
   Out of 44 particles, there are only 9 cases in which all four analysts agree on whether a particle is a fiber
   or a bundle. In other words, they disagree 80% of the time. This represents an unacceptable inconsistency
   and reveals the arbitrary nature of these judgments.

          But the document also shows the alarming inconsistency of analysts working for Drs.
   Longo and Rigler with respect to identification of bundles vs. fragments. Figure 26 shows that the
   four analysts all agreed on fiber vs. bundle identification for only 9 of the 44 particles. In other
   words, only 20% of the time did the four analysts concur on their judgments. This result, when

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   coupled with the results presented in Figures 24 and 25, firmly establishes that the visual
   distinctions made between particles and bundles by Drs. Longo and Rigler’s analysts are
   scientifically invalid and unacceptable.

             D.      Statistical Distinctions Between Fibers And Fragments

           As noted above, visual distinctions between fibers, bundles of fibers and non-asbestiform
   cleavage fragments are quite subjective – and in the case of the analysts employed by Drs. Longo
   and Rigler, done unreliably and in a way that is not reproducible. There is a scientifically accepted
   methodology, however, for determining whether a population of amphibole is asbestiform or non-
   asbestiform, based on their statistical distinction between their distributions of sizes.

          Specifically, a population of amphiboles will have different, characteristic distributions of
   aspect ratio, depending on whether they are asbestiform or non-asbestiform. 88 These can be
   analyzed accurately and in a way that is reproducible using statistics.

                     1.        Background on statistical tests of population differences

        Summary: A t test assesses whether two populations have the same or different means. We can
        use this test to determine whether the data from the Longo/Rigler MDL Reports show a
        population of non-asbestiform cleavage fragments or asbestiform fibers.
            As noted in my geostatistics textbook, “today’s earth scientists need to be able to critically
   evaluate sampling designs, to understand the concept of statistical analysis, and be able to evaluate
   and interpret the results of statistical tests applied in a wide range of fields.” 89 In considering the
   problem of particle size distributions in talcum powder impurities, only the most basic of such
   statistical methods is necessary – the need to distinguish among the average particle dimensions
   based on the ratio of length to width (aspect raWLR &RPSDULVRQVEHWZHHQWKHPHDQ §DYHUDJH DUH
   so basic that even Microsoft Excel can calculate them. Here, the need for statistics is based on the
   problem of discriminating among known populations of non-asbestiform tremolite, asbestiform
   tremolite and the particle measurements in the Longo/Rigler MDL reports. For simplicity, these
   populations can be compared two at a time.

           The appropriate test here is called a two-tailed t test. It allows for testing of the hypothesis
   that “the two samples are drawn from populations with different means.” 90 In conducting this
   analysis, the underlying assumption is that the two populations (here, asbestiform vs. non-

   88
             2/5/19 Longo Depo. 290:11-21 (“Q. Okay. And the nonasbestiform version of the same amphibole has a
   different characteristic distribution? A. Yes, it does. Q. And you did not generate a particle size distribution chart like
   the one in Blount’s paper -- the ones in Blount’s paper in your report? A. Not for the MDL samples, no.”); 2/6/19
   Rigler Depo. 190:10-25 (“Q. That there’s a characteristic -- there is a characteristic particle size distribution for
   asbestos; is that correct? A. Well, depending on how that sample’s been processed, you’re going to have different
   fiber sizes, different – they’re going to be different. You’re going to have different aspect ratios and different sizes.
   Q. For any given sample that everyone agrees is asbestos, it’s going to have a characteristic particle size distribution;
   right? A. It can.”); id. 191:10-13 (“Q. Do cleavage fragments have a different particle size distribution than asbestos?
   A. They can.”).
   89
             McKibbin and Dyar (201) Geostatistics Explained. Cambridge University Press.
   90
             ibid.

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   asbestiform) have comparable variation – this is called “equal variance” in statistics-speak. Then
   a critical value for the t test is selected to specify the desired level of confidence for the answer. It
   is conventional to use a 95% confidence limit, which means that conclusions can be drawn with a
   95% chance that they are correct.

           Thus, Figure 27a shows a normal distribution for a hypothetical population.




   Figure 27a. Schematic of a normal population distribution illustrating the concept of confidence interval.

           Here, the 95% confidence interval, which is estimated from a sample by using the t statistic,
   is indicated in blue, where SEM is the standard error of the mean of the population. 91 Therefore,
   5% of the means of this sample will lie outside this range, but if the mean lies within the 95 interval,
   then it will be considered to have come from a population with a mean the same as this one.

          The t test is used to assess whether the mean of a sample lies within or outside the 95%
   confidence limit of a population, implying that the two samples come from the same population.
   Figure 27b shows two populations that are being compared:




   Figure 27b. Adapted from https://rexplorations.wordpress.com/2015/08/13/hypothesis-tests-2-sample-
   tests-ab-tests/.




   91
           McKillip and Dyar (2010) Geostatistics Explained. Cambridge University Press.

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           In the figure, the two populations barely overlap, and only within the 2.5% confidence limit
   on the extreme edges of the curves. As illustrated, these two populations can be said to derive from
   different sources.

          A t test assesses whether two populations have the same or different means, which can be
   employed to assess if the data from the Longo/Rigler MDL Reports come from a population of
   non-asbestiform cleavage fragments or asbestiform fibers.

                     2.       Statistically significant differences are seen between asbestiform
                              tremolite and non-asbestiform tremolite cleavage fragments

        Summary: Use of the t test applied to peer-reviewed data shows two distinct populations of
        shapes: asbestiform and non-asbestiform.
           Now, consider the application of the two-tailed t test to making distinctions between
   asbestiform and non-asbestiform particle morphologies. Here, the hypothesis is whether the aspect
   ratio (particle length divided by width) is statistically different for non-asbestiform tremolite than
   for asbestiform tremolite. To understand this problem, comparisons among pairs of datasets can
   be made using three available populations of data:

            1.      Non-asbestiform amphiboles from the compilation of Wylie and Virta (2016), who
                    provide data on the lengths and widths of amosite, crocidolite, chrysotile and
                    nonfibrous tremolite; 92

            2.      Asbestiform tremolite data from Harper et al. (2014); 93 and

            3.      Particles in the Longo/Rigler MDL Report.

          Using these data, the first test is whether asbestiform and non-asbestiform particle
   populations are different. These are shown here, in Figure 28a:



                                             [Figure 28a on next page.]




   92
            Wylie and Virta (2016) Size distribution measurements of amosite, crocidolite, chrysotile, and nonfibrous
   tremolite. Digital Repository at the University of Maryland, http://dx.doi.org/10.13016/M2798Z.
   93
            Harper et al. (2014) Characterization of Lone Pine, California tremolite asbestos and preparation of research
   material. Ann. of Occp. Hyg., 2014, 1-13, https://academic.oup.com/annweh/article/59/1/91/2464346#supplementary-
   data.

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   Figure 28a. Distribution of aspect ratios for non-asbestiform vs. asbestiform particles of amphibole, the
   dominant impurity found in talcum powder. This graph shows all the data in the two repositories, Wylie
   and Virta (2016) and Harper et al. (2014).

           Using the available peer-reviewed data, cleavage fragments (non-asbestiform tremolite)
   are indicated in green and asbestiform tremolite in red. Note that asbestiform fibers can have
   extremely large aspect ratios – the longest particle in the asbestos suite is 55 Pm × 0.15 Pm – it is
   so large that it has been cropped out of the figure for clarity. In fact, there are 13 samples in the
   asbestiform data set with aspect ratios over 100. By contrast, of the 615 non-asbestiform tremolite
   cleavage fragments, only one has an aspect ratio greater than 32 (it has a value of 115.38). In other
   words, the two types of particles have very different characteristics. Note also the shaded bar,
   which indicates the region with an aspect ratio of 5:1 or less. Most of the non-asbestiform tremolite
   is within that region, most of the asbestiform tremolite is outside.

           Figure 28b is the exact same graph as Figure 28a, just with the “less than 5:1” region
   deleted, which becomes interesting when discussing the population distributions. Again notice that
   there are many particles even at very high aspect ratios above 10 – this is a characteristic of
   asbestiform fibers. In comparison, almost none of the non-asbestiform particles has an aspect ratio
   above 10.



                                        [Figure 28b on next page.]




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   Figure 28b. The same data as Figure 28a, except with the “5:1 and less” region deleted.

            Visual examination of these plots suggests that non-asbestiform tremolite has different
   shapes than asbestiform tremolite. This can be proven using the statistical t test described above
   to see if these samples come from the same population. Figure 27a showed the distribution curve
   for ONE population – but now the test asks if the asbestiform population is the same as the non-
   asbestiform population. In other words, do the two population distribution curves overlap?

          To make this comparison rigorously, the t test described above is used to compare the
   means of these two populations. The results shown below in Table 3 demonstrate that these
   two populations are statistically different. The top half of the table compares all the population
   data for asbestiform vs. non-asbestiform tremolite – some 615 and 817 samples, respectively.
   There, the value of the t statistic is -21.44, a value that is far outside the 95% confidence limit.
   This means that the non-asbestiform and asbestiform tremolite particles really are drawn
   from samples with different means.



                                          [Table 3 on next page.]




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    Table 3. Results of t-Tests Assuming Equal Variance
    ALL Non-asbestiform tremolite (NAT) compared to asbestiform tremolite (AT)


                                                  NAT                         AT
    Mean                                         2.70                     25.73
    # Observations                               615                       817
    t Stat                                      -21.44
    t Critical two-tail                          1.96
    -21.44 lies outside the 95% confidence interval, so the means are different and these
    samples are not drawn from the same population.


    Non-asbestiform tremolite (NAT) compared to asbestiform tremolite (AT) with aspect ratios
    >5:1
                                                NAT                        AT
    Mean                                        10.76                     26.77
    # Observations                                35                       780
    t Stat                                      -3.54
    t Critical two-tail                          1.96
    -3.54 lies outside the 95% confidence interval, so the means are different and these
    samples are not drawn from the same population.




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                     3.       Comparison to results in the Longo/Rigler MDL Reports

        Summary: Use of the t test applied to data from the Longo/Rigler MDL Reports vs. published
        population data shows that the particles in talcum powder belong to the population of non-
        asbestiform amphibole.
          Returning to the visual evidence presented in Figures 28a and b, now consider Figure
   28c, which is Figure 28b with results from the Longo/Rigler MDL Report added in black:




   Figure 28c. Data from Figure 28b with Longo/Rigler MDL Report results added in black.


         Significantly, the data from the Longo/Rigler MDL Reports appears to be trending
   toward a peak aspect ratio below 5:1, which is characteristic of non-asbestiform tremolite.

           Unfortunately, the data collected by the analysts working for Drs. Longo and Rigler do not
   represent the population of non-asbestiform particles because they only counted particles with
   aspect ratios of greater than 5:1. 94 Their experimental design neglected to count the vast
   majority of particles in the typical size range for cleavage fragments, as seen in Figure 28b. This
   omission renders their analysis completely invalid. Indeed, this is a rejection of ISO 22262
   methodologies, in particular as found on page 23 of ISO 22262-1, which makes certain
   observations about whether a population can be considered asbestiform based on observations of
   the entire population, but certainly not the population cut off at a 5:1 aspect ratio.

   94
            The methodologically recognized dimensions for fibers are 3:1 for polarizing light microscopes (PLM) and
   5:1 for TEM measurements. Although the Longo/Rigler MDL Reports utilize PLM for evaluating optical properties,
   the reports do not give aspect ratios for studied particles, either on the photomicrographs themselves or in any tables.

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                   Table 4. Results of t-Tests Assuming Equal Variance
                   Particles measured in the Longo/Rigler MDL Reports compared to
                   asbestiform tremolite (AT) with aspect rations >5:1
                                                        AT             LONGO/RIGLER
                   Mean                                26.77               13.34
                   # Observations                       780                 632
                   t Stat                              12.09
                   t Critical two-tail                  1.96
                   12.09 lies outside the 95% confidence interval, so the means are
                   different and these samples are not drawn from the same
                   population.
                   Particles measured in the Longo/Rigler MDL Reports compared to non-
                   asbestiform tremolite (NAT) with aspect ratios >5:1
                                                       NAT             LONGO/RIGLER
                   Mean                                10.76               13.34
                   # Observations                        35                 632
                   t Stat                              -1.41
                   t Critical two-tail                  1.96
                   -1.41 lies inside the 95% confidence interval, so the means are the
                   same; samples are drawn from the same population.


           Fortunately, the Wylie and Virta (2016) data set is large enough to include a significant
   number of samples with aspect ratios >5:1, so comparisons with that limited size range can still be
   made. 95 To make this conclusion using statistics, Table 4 shows results from t tests comparing data
   from the Drs. Longo and Rigler’s MDL Reports for particles with aspect ratios >5:1 against data
   from Wylie and Virta (2016)96 and Harper et al. (2014).97 The top set of data compares asbestiform
   particle aspect ratios against data from Drs. Longo and Rigler’s MDL Reports. Here, the t statistic
   of 10.68 lies outside the value of 1.96 for the 95% confidence limit. This establishes that particles
   measured by Drs. Longo and Rigler do not belong to the same populations as those of asbestiform
   tremolite on the basis of their shapes. In other words, the asbestiform and non-asbestiform
   populations are so different that they can be distinguished even when a flawed experimental
   design provides data on particles with aspect ratios greater than 5:1. In summary, the data from
   the Longo/Rigler MDL Reports show that even though counts and measurements are only
   reported for particles with aspect ratios >5:1, statistical tests show that they have identified a
   population of non-asbestiform cleavage fragments in the talcum powder tested.


   95
             Note that the available morphology data for asbestiform and non-asbestiform particles come from analyses
   of the mineral tremolite, which is the dominant species identified by Drs. Longo and Rigler in their November 2018
   MDL Report (67%). Most, if not all, of the anthophyllite particles identified by Drs. Longo and Rigler are likely to be
   talc, and there is no relevant data set for talc.
   96
             Wylie and Virta (2016) Size distribution measurements of amosite, crocidolite, chrysotile, and nonfibrous
   tremolite. Digital Repository at the University of Maryland, http://dx.doi.org/10.13016/M2798Z.
   97
             Harper et al. (2014) Characterization of Lone Pine, California tremolite asbestos and preparation of research
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         E.    Summary Of Particle Morphology Conclusions

         In summary, the following flaws in evaluating particle morphology render the
   Longo/Rigler MDL Reports conclusions invalid:

               x   Using TEM to visually distinguish non-asbestiform amphiboles and
                   asbestiform amphiboles is scientifically invalid, as stated in the very
                   protocols upon which Drs. Longo and Rigler purport to rely.

               x   Drs. Longo and Rigler and analysts only counted particles with aspect
                   ratios >5:1 in their TEM studies, which improperly biases their results
                   toward finding an asbestiform particle population.

               x   Particles in the Longo/Rigler MDL Reports belong to the non-asbestiform
                   tremolite population.

               x   There is no evidence to suggest that the particles measured by Drs. Longo
                   and Rigler and analysts are asbestos.




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   VIII. CONCLUSIONS

           The core problem with the Longo/Rigler MDL Reports is that the methods utilized in the
   testing and analyses produce completely inconsistent results, rendering them unscientific and
   subjective. Indeed, the analysis by Drs. Longo and Rigler presented in the Long/Rigler MDL
   Reports applied a methodology that was inherently designed to achieve the results they
   desired for purposes of this litigation, and not scientific.

           Despite producing lengthy, descriptive reports and undertaking extensive measurements
   according to government protocols, Drs. Longo and Rigler did not properly train their personnel
   for the task of characterizing impurities in talc, where the possible mineralogy is unconstrained.
   Thus, they lack the background to understand or interpret their results, especially where, as here,
   the impurities are tiny, and many possible minerals can be present. Personnel employed by Drs.
   Longo and Rigler lack sufficient knowledge of proper mineralogical terminology beyond the six
   defined asbestos mineral species, have no understanding of the limitations and errors associated
   with the techniques used, and fail to compare their results to foundation studies in this discipline.

           The Longo/Rigler MDL Reports fail to demonstrate an understanding of the accuracy of
   the Energy Dispersive Spectroscopy (EDS) technique, which is only semi-quantitative with large
   error bars. The technique is rarely used to determine the chemical composition of minerals in
   unbounded studies where the possible minerals present cover a large range of possibilities. Within
   generally accepted error bars on this technique (ignored and unstated by Drs. Longo and Rigler),
   asbestos minerals are indistinguishable from many of their non-asbestiform counterparts. In
   particular, EDS cannot differentiate between talc and anthophyllite. It is simply incorrect for Drs.
   Longo and Rigler to assert that individual amphibole mineral species can be identified by EDS
   alone.

           The Longo/Rigler MDL Reports also use single crystal selected area electron diffraction
   (SAED) to confirm the EDS mineral identifications based on crystal structure. But the vast
   majority of the patterns collected by Drs. Longo and Rigler are not indexed, making them very
   difficult to interpret. Moreover, 25% of all common rock-forming minerals have overlapping
   similar or identical d-spacings to what Drs. Longo and Rigler report. There is no SAED
   evidence to prove definitively that any specific asbestiform minerals are present.

          Polarizing light microscope (PLM) images of various types are used in the Longo/Rigler
   MDL Reports to prove presence of asbestos in the samples. Again, the PLM images themselves
   do not uniquely identify “asbestos” mineral species. Rather, some of them can be interpreted to
   suggest the presence of amphibole group minerals (there are 76 end-members, and many more
   intermediates) or something else. The latter might be talc, which appears to have very close to the
   same color as amphibole in the dispersion staining images. The PLM images alone do not
   categorically prove the presence of any specific mineral species.

           The experimental design used by Drs. Longo and Rigler for interpreting the number of
   non-talc particles present in talcum powder ignores well-known databases on particle dimensions,
   which indicate that non-asbestiform particles occur with aspect ratios (particle length divided by
   width) averaging 2.7. They ignore all particles with aspect ratios less than 5:1, rendering the
   particle dimension analyses nearly useless for distinguishing cleavage fragments from fibers.

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            Because the distribution of non-asbestiform particles has some samples in the range above
   5:1, it is possible to compare that truncated (aspect ratio greater than 5:1) dataset for cleavage
   fragments (average aspect ratio of 10.8) to that of asbestiform tremolite with ratios above 5
   (average ~26.8). The average aspect ratio for all particles measured by Drs. Longo and Rigler is
   13.3, suggesting that they are a population of cleavage fragments. Statistical analyses of these
   aspect ratio populations establish that the particles measured by Drs. Longo and Rigler
   belong to the population represented by non-asbestiform amphibole.

           There is no evidence (EDS, SAED, or otherwise) to confirm that any of the “fibers”
   identified as anthophyllite by Drs. Longo and Rigler are really anthophyllite.

           In summary, the Longo/Rigler MDL Reports contain only subjective analyses with
   inconsistent results that do not stand up to scientific scrutiny. It appears that Drs. Longo and Rigler
   and their analysts are just using the equipment and methodology with which they are familiar from
   their work in bulk asbestos sampling to undertake analyses in a totally different application for
   which they are inappropriate. The Longo/Rigler MDL Reports are far from the type of quantitative
   study that would withstand scientific review or be accepted for publication in a peer-reviewed
   scientific journal. The Longo/Rigler MDL Reports completely fail to demonstrate that any
   recognized asbestos minerals are present in talcum powder in any concentration with any
   asbestiform shapes.

           Finally, given the compounding nature of all of the individual methodological errors in the
   Longo/Rigler MDL Reports, any resultant conclusions drawn from testing by Drs. Longo and
   Rigler and associates are scientifically invalid. Every methodological error in their testing results
   in false positive findings of asbestos, but not false negatives. The testing described in the reports
   can only be described as a series of errors, each of which acts to amplify the errors preceding it.
   The results reported in the Longo/Rigler MDL Reports cannot be considered scientifically
   valid, calling into question the competence of Drs. Longo and Rigler and their analysts to
   undertake such work.




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                      MATERIALS REVIEWED AND CONSIDERED

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   Longo, Rigler, and Egeland, MAS Project 14-1852 - Below the Waist Application of Johnson
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   Powder and Valeant Shower to Shower Talc Products for Amphibole Asbestos (Mar. 11,
   2018)
   Rigler, MAS TEM Coefficient of Variation for Tremolite and Anthophyllite in Talc - A
   Quality Control Study (Sept. 6, 2018)
   Longo and Rigler, Analysis of Johnson's Baby Powder Historical Samples - Asian - M69248
   (7 Samples) (Nov. 2, 2018)
   Longo and Rigler, The Analysis of Johnson & Johnson’s Historical Baby Powder & Shower to
   Shower Products from the 1960’s to the Early 1990’s for Amphibole Asbestos (Nov. 14, 2018)
   Longo and Rigler, The Analysis of Johnson & Johnson’s Historical Product Containers and
   Imerys’s Historical Railroad Car Samples from the 1960’s to the Early 2000’s for Amphibole
   Asbestos (Jan. 15, 2019)
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   Railcar and Asian Talc for Amphibole Asbestos (Jan. 31, 2019)
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   Global particle table M65205-001
   Global particle table M65208-001
   Global particle table M65228-001
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   Global particle table M66515-001
   Global particle table M66516-001

                                     Depositions and Exhibits
   Deposition of William Longo, Nov. 6, 2018
   Deposition of William Longo, Nov. 27, 2018
   Deposition of William Longo, Dec. 5, 2018
   Deposition of William Longo, Feb. 5, 2019, and Exhibits
   Deposition of Rigler, Feb. 6, 2019, and Exhibits
   Deposition of William Longo, Oct. 24, 2018
   Deposition of William Longo, Oct. 31, 2018
   Deposition of William Longo, Jan. 7, 2019


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   Su (2003) A rapid and accurate procedure for the determination of refractive indices of
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   Ochsenkogel/Gleinalpe, Oesterreich, Zeitschrift für Kristallographie - Crystalline Materials,
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   nonfibrous tremolite, Digital Repository at the University of Maryland,
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   International Agency for Research on Cancer (2012) Arsenic, Metals, Fibres, and Dusts,
   IARC Monographs on the Evaluation of Carcinogenic Risks to Humans
   International Agency for Research on Cancer (2012), Monographs on the Evaluation of
   Carcinogenic Risks to Humans Vol. 100C: Asbestos (Chrysotile, Amosite, Crocidolite,
   Tremolite, Actinolite and Anthophyllite),
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   ISO 22262-2 (2014)
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               EXHIBIT A
Case 3:16-md-02738-MAS-RLS Document 9741-5 Filed 05/07/19 Page 543 of 608 PageID:
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                                            CURRICULUM VITAE
                                              MELINDA DARBY DYAR
   Department of Astronomy                       Planetary Science Institute                       161 Chestnut St.
   Mount Holyoke College                         1700 East Fort Lowell, Suite 106               Amherst, MA 01002
   South Hadley, MA 01075                        Tucson, AZ 85719-2395                              (413) 348-9424
   (413) 538-3073                                520-622-6300                                 mdyar@mtholyoke.edu
   Education:
          Ph.D., Geochemistry, Massachusetts Institute of Technology, Cambridge, Mass. Thesis topic:
          Crystal chemistry and statistical analysis of iron in mineral standards, micas, and glasses.
          Advisor: Roger G. Burns.
          B.A., Geology and Art History1, Wellesley College, Wellesley, Mass. Thesis topic: Geology of
          the Broadmoor Wildlife Sanctuary, South Natick, MA: Structural and petrographic analysis.
          Advisor: Margaret Thompson. Summer Field Camp, Indiana University, Cardwell, Montana.
   Employment:
         Senior Scientist, Planetary Science Institute, 2015-present.
         Kennedy-Schelkunoff Professor and Chair, Department of Astronomy, Mount Holyoke College
             and Five College Astronomy Department, 2011-present.
         Associate Professor and Chair, Department of Astronomy, Mount Holyoke College and Five
             College Astronomy Department, 2002-2011.
         Associate Professor Department of Earth and Environment, Mount Holyoke College and Five
             College Astronomy Department, 2002-2008.
         Five College Graduate Faculty in Astronomy, University of Massachusetts, 2002-present.
         Visiting Associate Professor, Department of Astronomy and Department of Earth and
             Environment, Mount Holyoke College and Five College Astronomy Department, 2001-2002.
         Visiting Associate Professor, Department of Astronomy, University of Massachusetts (Amherst),
             2001-2002.
         Affiliated Staff, Department of Geological Sciences, University of Idaho, 2000-2018.
         Visiting Assistant Professor, Department of Astronomy and Department of Earth and
             Environment, Mount Holyoke, 1998-2001.
         Assistant Professor, Department of Geology and Astronomy, West Chester University, 1993-
             1998.
         Visiting Assistant Professor, Department of Geology, Smith College, 1995-1996.
         Assistant Professor, Department of Geological Sciences, University of Oregon, 1986-1993.
             Member, Materials Science Institute, 1987-1993.
         Research Fellow, Division of Geological and Planetary Sciences, California Institute of
             Technology, 1985-1986 (G.R. Rossman, supervisor).
         Post-Doctoral Fellow, Department of Earth, Atmospheric, and Planetary Sciences,
             Massachusetts Institute of Technology, 1985 (R.G. Burns, supervisor).
         Research Assistant, Department of Earth, Atmospheric, and Planetary Sciences, Massachusetts
         Institute of Technology, 1980-1985.
         Research Staff, Chevron Oil Field Research Company, La Habra, CA, summer, 1982.
         Assistant Instructor, Indiana University Geologic Field Station, Cardwell, MO, summer, 1980.
   Professional Societies:
           Association for Women Geoscientists                     American Geophysical Union
           Geological Society of America (Fellow)                  North American Society for LIBS
           Mineralogical Society of America (Fellow)               Geochemical Society (Fellow)


   1
       Course requirements for the art history major were completed while a graduate student at MIT.



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   Honors:
         Sigma Xi, 1980
         1984 Mineralogical Society of America (M.S.A.) Grant for Research in Crystallography
         1990-1991 National Lecturer, Mineralogical Society of America
         Outstanding Service Award, Mineralogical Society of America, 1991
         Fellow, Mineralogical Society of America, 1995
         Girls’ Incorporated, Holyoke, Massachusetts, Honoree, 1 April, 2004
         Meribeth E. Cameron Faculty Award for Scholarship, Mount Holyoke College, 2010
         Participating Scientist, Mars Science Laboratory Science Team, 2012-2014
         J.K. Gilbert Award for outstanding contributions to planetary science, Geological Society of
         America, 2016
         Fellow, Geological Society of America, 2017
         Hawley Medal, 2017, Mineralogical Association of Canada
         Eugene Shoemaker Distinguished Scientist Medal, NASA Solar System Exploration Research
         Virtual Institutes, 2018
         Helmholtz International Fellow, 2018-2021
         Fellow, Geochemical Society, 2019.

   Professional Service:
           M.S.A. Research Grants Committee, 1991
           M.S.A. Science Grants Committee, 1991
           The Geochemical Society Program Committee, 1991-1994
           National Science Foundation Instrumentation and Laboratory Instruction Panel, 1988 and 1992
           National Science Foundation Undergraduate Curriculum and Course Development Panel, 1991
           National Science Foundation Workshop: The Role of Faculty in the Disciplines in the
                    Undergraduate Education of Future Teachers, invited participant, contributor to
                    working paper, 1992
           Program Committee, Geological Society of America National Meetings, 1992-1994
           American Geophysical Union Workshop: Shaping the Future of Undergraduate Earth
                    Science Education, invited participant and contributor to working paper, 1996
           M.S.A. Lecture Program Committee, 1998-2000; Chair 1999-2000
           M.S.A. Crystallography Research Grant Committee 1998-1999
           Council for Undergraduate Research (C.U.R.), Councillor, 1999-2000
           American Geological Institute (A.G.I.) Outreach Committee, 2000-2003
           Associate Editor, American Mineralogist, 2000-present
           Review Panel, NASA Cosmochemistry Program, 2001
           Review Panel, NSF/NATO Postdoctoral Fellowship Program, 2002-2003
           Judges Panel, Name the Rovers contest, 2003
           Review Panel, NSF, CCLI Program, 2003
           Instrument Selection Review Panel, Mars Science Lander 2009, NASA, 2004
           Review Panel, NSF, CCLI Program, 2004
           International Program Committee, Goldschmidt Conference, 2005
           Executive Committee, AWIS National Meeting, 2005
           Review Panel, NASA, 2006
           Review Panel, NASA, 2007
           Review Panel, NASA, 2008
           Review Panel, NASA, 2008
           Review Panel, NSF, 2008
           Review Panel, NASA, 2009
           Review Panel, NSF, 2009
           Review Panel, NASA, 2009




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           Review Panel, NASA, 2010
           Review Panel, NASA, 2011
           Review Panel, NASA, 2012
           Review Panel, NASA, 2013
           Review Panel, NASA, 2015
           Review Panel, NASA, 2016
           Review Panel, NSF, 2017 (×2)
           Review Panel, NASA, 2018

   Invited Talks and Professional Presentations:
           University of California at Riverside, 1986 and 19912
           University of Maine at Orono, 1987 and 19911
           Oregon State University, 1986 and 1991
           Massachusetts Institute of Technology, 1987
           Wellesley College, 1987
           Smith College, 1988
           State University of New York at Albany, 1989
           Southern Methodist University, 1989
           University of Washington, 1990
           University of Saskatchewan, 19911
           San Diego State University, 19911
           University of California at Davis, 19911
           Sonoma State University, 19911
           University of Calgary, 19911
           University of New Mexico, 19911
           University of Houston, 19911
           Louisiana State University, 19911
           Texas Tech, 19911
           University of Chicago, 1992
           Penn State University, 1992
           University of Kentucky, 1992
           University of Colorado at Boulder, 1993
           European Research Conference, Hydrogen-Containing Defects in Minerals and Ceramics, 1993
           Deep Continental Studies Workshop, Microknowledge and Megathinking, 1993
           Portland State University, 1993
           Hopi Buttes Workshop, invited participant, 1993
           Rutgers University, 1994
           University of North Carolina, 1994
           Southern Methodist University, 1994
           University of Massachusetts at Amherst, 1996
           Mount Holyoke College, 1997
           University of Western Ontario, 2000
           University of Idaho, 2001
           Eastern Washington University, 2001
           Wellesley College, 2001
           State University of New York at Stony Brook, 2003
           Lunar and Planetary Institute, 2003
           Brearley School, 2004



    2
     talk sponsored by Mineralogical Society of America Lecture Program.



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          Massachusetts Institute of Technology, 2004
          University of Massachusetts, 2004
          Wellesley College, 2004
          Rhode Island College, 2006
          SUNY Binghamton, 2007
          University of New Mexico, 2007
          Colby College, 2008
          Rutgers University, 2009
          NASA Summer Science Institute, Goddard Space Flight Center, 2009
          Hartwick College, 2010
          M.I.T., 2011
          Wellesley College, 2011
          Brown University, 2011
          Indiana University, 2011
          TED talk, 2012
          Texas Tech University, 2013
          Skidmore College, 2014
          University of Massachusetts Amherst, 2014
          Rutgers University, 2014
          Planetary Science Institute, 2015
          TED-X, Springfield, MA 2015
          University of Massachusetts, Amherst, 2015
          Brown University, 2015
          Amherst College, 2016
          Rensselaer Polytechnical Institute, 2017
          M.I.T., 2017
          Williams College, 2018
          Keynote Plenary Speaker, AAAS, January 2018
          Colby College, 2018
          University of Vermont (Burlington), 2018
          Goddard Space Flight Center, 2019
          Applied Physics Laboratory, 2019

   College and University Service:
          Structural Geologist Search Committee, University of Oregon (UO) 1987-1988
          Chair, Affirmative Action Search Committee, UO, 1988
          Chair, X-ray and Thin Section Committee, Dept. of Geological Sciences, UO, 1986-1987
          Faculty Advisor, Condon Undergraduate Society, UO, 1986-1988
          Affirmative Action Liaison, Dept. of Geological Sciences, UO, 1986-1989
          Materials Science Institute Budget Committee, UO, 1987-1992
          Treasurer, Materials Science Institute, UO, 1988-1992
          Director, Materials Science Institute Research for Undergraduates Program, UO, 1988 & 1989
          Physics Department Condensed Matter Search Committee, UO, 1988 and 1989
          Graduate Teaching Fellow Coordinator, Dept. of Geological Sciences, UO, 1988-1989
          Seismology Search Committee, Dept. of Geological Sciences, UO, 1988-1989
          Volcanologist Search Committee, Dept. of Geological Sciences, UO, 1989-1990, 1990-1991
          Telephone Counselor, Dept. of Geological Sciences, UO, 1990-1991
          Chair, Displays Committee for Cascade Hall, UO, 1990-1993
          Computer Coordinator, Dept. of Geological Sciences, UO, 1989-1993
          Member, President's Task Force on Campus Infrastructure and Technology, UO, 1990-1992
          Member, Committee on Campus Hazardous Waste Remediation, UO, 1988-1993




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          Member, University Library Committee, UO, 1987-1989
          Member, Faculty Advisory to the Museum of Art, UO, 1989-1993
          Chair, Faculty Advisory to the Museum of Art, UO, 1990-1993
          Member, Departmental Computer Lab Managers, UO, 1989-1993
          Board Member, Faculty Club of the University of Oregon, 1988-1993
          Secretary-Treasurer, Faculty Club of the University of Oregon, 1989-1990
          Member, Docent Council, University of Oregon Museum of Art, 1988-1993
          Member, Board of Governors, University of Oregon Museum of Art, 1988-1993
          Member, Curriculum Committee, Dept. of Geology and Astronomy, WCU, 1993-1996
          Member, College of Arts and Sciences Recruitment Committee, WCU, 1994-1995Internship
          Coordinator, Dept. of Geology & Astronomy, WCU, 1993-1997 3
          Member, Undergraduate Review Committee, Dept. of Geology & Astronomy, WCU, 1993-19982
          Member, Graduate Review Committee, Dept. of Geology & Astronomy, WCU, 1994-19982
          Member, Fellowship Committee, Mount Holyoke College, 2002-2006
          Member, Planning and Budget Committee, 2003-2004
          Chair, Fellowship Committee, Mount Holyoke College, 2003-2006
          Coordinator of Universal Application Funding, 2003-2012
          Member, Search Committee for Fellowships and Pre-Graduate Advising, 2009-2010
          Task Force on Curriculum to Career, 2011
          Member, Curriculum Committee, Five College Astronomy Department, 1999-present
          Member, Radiation Safety Committee, Mount Holyoke College, 1999-present
          Chair, Astronomy Department, 1999-present
          Senate member, Five College Astronomy Department, 1999-present
          Advisory Committee, 2017-2018

   Miscellaneous Presentations to the College Community and Beyond:
          Mathematics Department, MHC, 2000
          Five College Geology Symposium, February 2001
          Mount Holyoke Club of Bridgeport, CT, 2003
          Lyon Lecture series, Denver, 25 Oct. 2003
          Family Weekend, 31 Oct. 2003
          Mathematics Department, MHC, February 2004
          Five College Geology Symposium, February 2004
          Mars lecture, AST 11, Amherst College, 5 March 2004
          Fascinating Professor program, Francis Perkins scholars, 9 March, 2004
          South Hadley Lions Club, 6 April 2004
          East Longmeadow Library, 1 May, 2004
          Dedication of Kendade Hall, 8 May, 2004
          Class of 1959 reunion dinner, 28 May 2004
          Mount Holyoke Club of South Hadley, 9 June, 2004
          NOVA/WGBY fundraiser, Mount Holyoke College, 14 June, 2004
          Summer math for high school students, summer Mars project, July, 2004
          MHC Office of Admissions, summer staff training seminar, August, 2004
          Family Weekend, 30 Oct. 2004
          Hughes Symposium on Integrating Undergraduates into Research Programs, January 2005
          Mount Holyoke Club of Houston, March, 2005
          Springfield Star Club, April, 2005



          3
           Maternity leave from West Chester University was taken during the academic years 1995-1996 and 1997-
          1998.



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           Mount Holyoke Reunion, June 2005
           Century Club, Springfield, MA, March 2006
           Mount Holyoke Reunion, June 2006
           Mid-Coast Maine Mount Holyoke Club, June, 2006
           MacDuffie School, January 2007
           Mount Holyoke Club of New York City, March, 2007
           Stargazers Club, North Scituate, RI, April 2007
           Mount Holyoke Gala, Washington D.C., April 2009
           Mount Holyoke Club of Bridgeport, December 2011
           Development Office function in New York City, May 2012
           Development Office function in San Francisco, October 2012
           Development Office function in Los Angeles, October 2012
           Development Office function in Boston, November 2012
           Mount Holyoke Club of Cape Cod, May 2013
           Mount Holyoke Club of New Hampshire, June 2013
           Albany Area Amateur Astroomers, October, 2014
           New England Society of Economic Geologists, January, 2015
           Mount Holyoke Club of New Hampshire, October, 2015
           Mount Holyoke Club of Fairfield County, October, 2015
           Talk for 6th grade class at Common School, Amherst MA, May, 2017
           Talk for the Development Office, October 2017
           Reunion talk, class of 1967, May 2018

   Courses Taught:
          Mineralogy I and II (advanced undergraduate)
          Igneous and Metamorphic Petrology (advanced undergraduate)
          Introduction to Earth History (introductory historical geology)
          Introduction to Geology (introductory physical geology)
          Planet Earth (introductory geology/planetary science)
          Geochemistry (graduate and undergraduate)
          Spectroscopy (graduate and undergraduate)
          Geometrics (applications of statistical methods) (graduate and undergraduate)
          Planetary Science (introductory and advanced undergraduate)
          Planetary Science seminar on Mars (advanced undergraduate)
          Spectroscopy of the Planets (advanced undergraduate)
          Meteorites (advanced undergraduate)

   Books and Electronic Media:
   Dyar, M.D., and Gunter, M.E. (2013) Mineral Database. App for I-pad, Mac, I-Phone.
   McKillip, S. and Dyar, M.D. (2010) Geostatistics Explained, An Introductory Guide for Earth Scientists.
          Textbook. Cambridge University Press.
   Dyar, M.D., and Gunter, M.E. (2008) Mineralogy and Optical Mineralogy: A Three-Dimensional
          Approach. Textbook. Mineralogical Society of America.
   Dyar, M.D. (1999) Hands-On Mineral Identification. CD-ROM. Tasa Graphic Arts, Inc., Albuquerque,
          N.M.
   Dyar, M.D., Busch, R.M., and Wiswall, G. (1997, 1998) The Study of Minerals. CD-ROM. Tasa Graphic
          Arts, Inc., Albuquerque, N.M.
   Dyar, M.D., McCammon, C.A., and Schaefer, M.W., Eds. (1996) Mineral Spectroscopy: A Tribute to
          Roger G. Burns. Special Publication #5, The Geochemical Society, Washington, D.C., 400 pp.




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   Papers:
   1.     Dyar, M.D., and Burns, R.G. (1981) Coordination chemistry of iron in glasses contributing to remote-sensed
              spectra of the moon. Proc. Lunar and Planet. Sci. Conf., 12B, 695-702.
   2.     Burns, R.G., and Dyar, M.D. (1983) Spectral chemistry of green glass-bearing 15426 regolith. Proc. Lunar
              and Planet. Sci. Conf., 14, J. Geophys. Res., 88, B221-B228.
   3.     Dyar, M.D., and Birnie, D.P. (1984) The effects of quench media on iron partitioning and ordering in a lunar
              glass. Proc. 1st Intl. Conf. on Glass in Planet. and Geolog. Phenomena, J. Non-Cryst. Sol., 67, 397-412.
   4.     Stone, A.J., Parkin, K.M., and Dyar, M.D. (1984) STONE: a program for resolving Mössbauer spectra. DEC
              Users Soc. 11-720, Marlboro, Mass.
   5.     Dyar, M.D. (1984) Precision and interlaboratory reproducibility of measurements of the Mössbauer effect in
              minerals. Amer. Mineral., 69, 1127-1144.
   6.     Dyar, M.D. (1984) Experimental methods for quenching structures in lunar-analog silicate melts: variations
              as a function of quench media and composition. Proc. Lunar and Planet. Sci. Conf., 15, J. Geophys. Res.,
              84, supplement, C233-C239.
   7.    Dyar, M.D. (1985) A review of Mössbauer data on inorganic glasses: the effects of composition on iron
              valency and coordination. Amer. Mineral., 70, 304-316.
   8.    Birnie, D.P., and Dyar, M.D. (1986) Cooling rate calculations for silicate glasses. Proc. Lunar and Planet. Sci.
              Conf., 16, J. Geophys. Res., 91(B4), D509-D513.
   9.    DeGuire, M.R., Dyar, M.D., O'Handley, R.C., and Kalongi, G. (1986) Magnetic ordering in splat-quenched
              ferrite-silica compositions. J. Magn. Magn. Mater., 54-57, 1337-1338.
   10.   Dyar, M.D., and Burns, R.G. (1986) Mössbauer spectral study of ferruginous one-layer trioctahedral micas.
              Amer. Mineral., 71, 955-964.
   11.   Dyar, M.D. (1986) Practical application of Mössbauer goodness-of-fit parameters for evaluation of real
              experimental results: a reply. Amer. Mineral., 71, 1266-1267.
   12.   DeGuire, M.R., O'Handley, R.C., Kalongi, G., and Dyar, M.D. (1986) Spinel ferrite-silica glass obtained by
              splat quenching. J. Non-Cryst. Sol., 81, 351-364.
   13.   Dyar, M.D. (1986) Comment on ferrous/ferric Mössbauer analysis of simulated nuclear waste glass with and
              without computer fitting. Commun., Am. Cer. Soc., 69(7), C-160-C-162.
   14.   Dyar, M.D. (1987) A review of Mössbauer data on trioctahedral micas: evidence for tetrahedral Fe3+ and
              cation ordering. Amer. Mineral., 72, 102-112.
   15.   Dyar, M.D., Naney, M.T., and Swanson, S.E. (1987) Effects of quench methods on Fe3+/Fe2+ ratios: a
              Mössbauer and wet chemical study. Amer. Mineral., 72, 792-800.
   16.   Fudali, R.F., Dyar, M.D., Griscom, D.L., and Schreiber, H.D. (1987) The oxidation state of iron in tektite
              glass. Geochim. Cosmochim. Acta., 51(10), 2749-2756.
   17.   Dyar, M.D., and Naney, M.T. (1988) Effects of quench methods on Fe3+/Fe2+ ratios: Reply. Amer. Mineral.,
              73, 1479.
   18.   Dyar, M.D. (1989) Application of Mössbauer goodness-of-fit parameters to experimental spectra: Further
              discussion. Amer. Mineral., 74, 688.
   19.   McGuire, A.V., Dyar, M.D., and Ward, K.W. 4 (1989) Neglected Fe3+/Fe2+ ratios: a study of Fe3+ contents of
              megacrysts from alkali basalts. Geology, 17, 687-689.
   20.   Dyar, M.D., McGuire, A.V., and Ziegler, R.D. (1989) Redox equilibria and crystal chemistry of coexisting
              minerals from spinel lherzolite mantle xenoliths. Amer. Mineral., 74, 969-980.
   21.   Dyar, M.D. (1990) Mössbauer spectra of biotite from metapelites. Amer. Mineral., 75, 656-666.
   22.   Guidotti, C.V., and Dyar, M.D. (1991) Ferric iron in metamorphic biotite and its petrologic and
              crystallochemical implications. Amer. Mineral., 76, 161-175.
   23.   Dyar, M.D., Perry, C.P., Rebbert, C.R., Dutrow, B., Holdaway, M.J., and Lang, H. (1991) Mössbauer
              spectroscopy of synthetic and naturally occurring staurolites. Amer. Mineral., 76, 27-41.
   24.   Burns, R.G., and Dyar, M.D. (1991) Crystal chemistry and Mössbauer spectra of babingtonite. Amer. Mineral.,
              76, 892-899.
   25.   Dyar, M.D., Colucci, M.T., and Guidotti, C.V. (1991) Forgotten major elements: Hydrogen and oxygen
              variation in biotite from metapelite. Geology, 19, 1029-1032.




            4
                Names of undergraduate coauthors are underlined.



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   26. Holdaway, M.J., Mukhopadhyay, B., Dyar, M.D., Dutrow, B.L., Rumble, D. III., and Grambling, J. (1991) A
             new perspective on staurolite crystal chemistry: Use of stoichiometric and chemical end-members for a
             mole fraction model. Amer. Mineral., 76, 1910-1919.
   27. McGuire, A.V., Dyar, M.D., and Nielson, J.E. (1991) Metasomatic oxidation of upper mantle peridotite.
             Contrib. Min. Petrol., 109, 252-264.
   28. Dyar, M.D., McGuire, A.V., and Mackwell, S.M. (1992) Fe3+/H+ and D/H in mantle kaersutites - Misleading
             indicators of mantle source fugacities. Geology, 20, 565-568.
   29. Dyar, M.D., McGuire, A.V., and Harrell, M.D. (1992) Crystal chemistry of iron in two styles of metasomatism
             in the upper mantle. Geochim. Cosmochim. Acta, 56, 2579-2586.
   30. Banfield, J.M., Dyar, M.D., and McGuire, A.V. (1992) The defect microstructure of oxidized mantle olivine
             from Dish Hill, California. Amer. Mineral., 77, 959-975.
   31. McGuire, A.V., Francis, C.A., and Dyar, M.D. (1992) Mineral standards for electron microprobe analysis of
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   DeVeaux, M.L. (B.A. Mount Holyoke College, 2012) Evaluation of statistical methods for classification
            of laser-induced breakdown spectroscopy (LIBS) data.
   Williams, Molly (B.A., Mount Holyoke College, 2012) Characterizing Fe(III) transformation in a deep-
            sea hyperthermophilic archaeon.
   Kashyap, Srishti (B.A., Mount Holyoke College, 2013) Isolating and characterizing an Fe(III)
            transforming deep sea thermophilic archaeon.
   Breitenfeld, Laura (B.A., Mount Holyoke College, 2017) Predicting olivine composition using Raman
            spectroscopy through band shift and multivariate nnalyses.
   Ytsma, Caroline (B.A. Smith College, 2018) Univariate and multivariate quantification of hydrogen,
            lithium, boron, carbon, and sulfur under vacuum and in Earth and Mars atmospheres using laser-
            induced breakdown spectroscopy.
   Carey, CJ (Ph.D., University of Massachusetts, 2018) Graph construction for manifold discovery.
   Boucher, Thomas (Ph.D., University of Massachusetts, 2018) Transfer learning with mixtures of
            manifolds.

   Graduate Committees:
   McCanta, Molly (Ph.D., Brown University, 2004)




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   Buczkowski, Debra (Ph.D., University of Massachusetts, 2006)
   Keskula-Snyder, Anna (Ph.D., University of Massachusetts, 2006)
   Klima, Rachel (Ph.D., Brown University, 2007)
   Amy Stander (MS, URI, 2013)
   Tommy Boucher (Ph.D., UMass, 2018 Computer Science)
   C.J. Carey (Ph.D., UMass, 2017, Computer Science)
   S. Giguere (Ph.D., UMass, current student, Computer Science)
   S. Kashyap (Ph.D., UMass, current student, Microbiology)

   EXTERNAL GRANT:

   PREVIOUS FUNDING:

   American Chemical Society, Petroleum Research Fund:
   "Cation Ordering in Synthetic Trioctahedral Micas"
           $18,000 funded, 7/1/87-8/31/89
           $4,500 supplement, 5/1/88-9/30/88
           $2,500 supplement, 5/1/89-7/1/89
   "Detailed Crystal Chemistry of Iron-Bearing Phyllosilicates"
           $40,000 funded, 5/1/91-8/31/93
           $3,000 supplement, 6/1/91-9/30/91

   National Science Foundation, Earth Sciences Division:
   "Crystal Chemistry and Petrogenesis of Biotites from Pelitic Schists"
           $60,000 funded, 7/1/87-6/30/90
   "Crystal Chemistry of Metapelitic Minerals in a Petrologic Context"
           $50,226 funded, 1/1/89-12/31/90
   "Crystal Chemistry of Hydrogen and Oxygen in Common Phyllosilicate Minerals"
           $61,774 funded, 1/1/92-12/31/93
   “Development of Standards for Light Element Analysis in Geological Materials: Collaborative Research"
           $ 21,639 funded, 6/1/93-12/31/95
   "The Boron Budget in High-Grade Pelitic Metamorphic Rocks: How, When, and Where does the Boron
           Go?" (Joint with C.V. Guidotti and E.S. Grew)
           $56,333 funded for period 1/1/96-12/31/97
   "Hydrogen Partitioning and Fe3+ Exchange in Mantle Minerals: Effects on Mechanical Behavior -
           Collaborative Research" (Joint with S.J. Mackwell)
           $142,997 funded for period 11/1/93 to 5/31/98
           $5,000 supplement funded for 5/1/94 to 9/1/94
   "Redox Processes in Rio Grande Rift and Colorado Plateau Xenoliths: Collaborative Research"
           (Joint with A.V. McGuire)
           $55,598 funded for period 6/1/94-5/31/98
           $7,000 supplement funded for 5/1/95 to 9/1/95
   “Synchrotron MicroXANES Study of Iron Redox in Mantle Phases”
           $60,000 funded for period 8/15/98 - 2/28/01
   “R.U.I.: Acquisition of a New Mössbauer spectrometer”
           $49,840 funded for period from 3/1/99 - 2/28/01
   “R.U.I.: Collaborative Research: Chemical Equilibria Involving Iron and Hydrogen in Metapelites from
           Western Maine”
           $27,468 funded for period from 8/1/99 - 7/31/01
   “RUI: Acquisition of a Scanning Electron Microscope at Mount Holyoke College”
           $226,560 funded for period from 6/1/02-5/30/03




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   “RUI: Collaborative Research: Hydrogen and Ferric Iron in Felsic Melts”
           (collaborative with Sheila Seaman, University of Massachusetts)
           $86,000 funded for period from 1/1/03-12/31/06
   “RUI: Collaborative Research: Improvements in the Application of the Mössbauer Effect to Studies of
           Minerals”
           (collaborative with Martha Schaefer, LSU)
           $76,939 funded for period from 1/1/05-12/31/08
   “Redox Ratios by Fe-XANES”
           (collaborative with M. Gunter and A. Lanzirotti)
           $104,897 funded for period from 6/1/08-5/31/11
   “Effects of Composition and Cooling Rate on Fe XANES Glass Calibrations”
           (Collaborative with Molly McCanta at Tufts University)
           $115,363 funded to MHC for period from 8/1/12 – 7/31/15

   National Science Foundation, Division of Computation and Data-Enabled Science and Engineering:
   “Transfer Learning for Chemical Analyses from Laser-Induced Breakdown Spectroscopy”
          (Sridhar Mahadevan, UMass, Co-I)
          $141,129 to MHC for period from 9/1/13 – 8/31/15

   National Science Foundation, Division of Undergraduate Education:
   "Undergraduate Research Program in Materials Science"
           $14,500 funded, 5/1/88-9/30/88
   "Undergraduate Research Program in Materials Science"
           $36,600 funded, 5/1/89-12/31/89
   "Equipment for Program Improvement in Mineralogy/Petrology"
           $45,000 funded, 1/1/89-12/31/89
           $40,000 match from University of Oregon
           $7,500 match from I.B.M. and Novell
    “Support for Development of Minerals and Mineralogy: A Three-Dimensional Approach”
           $75,000 funded for period from 3/1/00 - 2/28/02
   “A Modular, Inquiry-Based Regional Approach to Introductory Laboratories”
           (S. Good, C.G. Fisher, R.M. Busch, T.M. Lutz, L. Srogi, and C.G. Wiswall, Co-I’s) NSF grant
           DUE-9850923, $40,800 funded, 6/1/98-5/31/2000.
   “An Integrative Curriculum in Earth, Human, and Environmental Sciences
           (Joint with L. Savoy, M.J. Markley, A. Werner, M.A. McMenamin, S. Dunn, and T. Millete)
           $170,000 funded for period from 1/1/00 - 6/30/05
   “Support for Development of Minerals and Mineralogy: A Three-Dimensional Approach”
           $417,244 funded for period from 3/1/02 – 2/28/08
   “An Integrative Curriculum in Planetary Science”
           (C.M. Hamilton, T. Burbine, co-Is)
           $91,900 funded for period from 9/1/05 – 8/31/07
   “Scaffolding Effective Practice for Use of Animations in Teaching Mineralogy and Physical Geology”
           (M. Gunter and L. Wenk, Co-I’s)
           $150,000 funded for period from 1/1/09 -12/31/10
   “Building Analytical Competence for Geoscience Students through use of Spectroscopic Tools”
           (Collaborative with John B. Brady and Eileen McGowan)
           $73,375 funded to MHC for period 8/15/12-7/31/15

   National Science Foundation Scholarships in Science, Technology, Engineering, and Mathematics
   “Improving Recruitment and Retention of Transfer Students to STEM Majors at Mount Holyoke College”
          (Sarah Bacon and Becky Packard, Co-Is)




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           $600,000 for period from 1/1/12-12/31/16

   Packard Foundation
   “Earth and Environmental Sciences in California and the Southwest” (Joint with A. Ellison, L. Savoy, and
           T. Millette)
           $200,000 funded for period from 1/1/00 - 12/31/02

   Tektronix Foundation:
   "Request for Upgrade to Mössbauer Spectroscopy Laboratory"
          $4,000, 1987; $6,000, 1988; $10,000, 1989

   NASA, Cosmochemistry Division:
   “Synchrotron microFTIR characterization of hydrogen in nominally anhydrous minerals in martian
            materials.”
            $68,000 funded for period from 1/1/01 - 12/31/02
   “Ferric Iron and Hydrogen in Mars Minerals”
            $45,000 funded for period from 1/1/03 - 12/31/03
   “Acquisition of a 4.5K Mössbauer Spectrometer”
            $35,345 funded for period from 1/1/05 to 12/31/06

   NASA, Exobiology Program:
   "Biogenic iron oxide transformations by thermophilic and mesophilic iron-reducing microbes"
          James Holden, University of Massachusetts, PI
          $208,316 to MHC for period from 4/1/14-3/31/18

   NASA, Mars Fundamental Research Program:
   “Temperature Dependence and Resolution of Fundamental Mössbauer Parameters in Mars-Analog
           Minerals”
           $150,000 funded for period from 10/1/02 – 9/30/06
   “Taking Apart the Rocks of Mars” (C. Pieters, P.I., J. Bishop, J. Sunshine, T. Hiroi, Co-Is)
           NNG04GB53G
           $60,000 funded for period from 12/31/03 – 11/30/06
   “Analysis and Characterization of Sulfates and Sulfides Using Multiple Spectral Techniques (M. Lane,
           P.I., J.L. Bishop, Co-I)
           $31,000 funded for period from 1/1/05-12/31/06
   “Temperature Dependence and Resolution of Fundamental Mössbauer Parameters in Mars-Analog
           Minerals”
           (collaborative with M. Schaefer, LSU)
           $90,000 funded for period from 3/1/06-2/28/09
   “Mineral Standards and Technique Development for Laser-Induced Breakdown Spectroscopy”
           $375,000 funded for period from 3/1/06-2/28/09
   “Formation of Magnetic Minerals on Mars by Alteration of Nanophase Ferric Oxides/Oxyhydroxides”
           (Janice Bishop, SETI/Ames, PI)
           $30,000 funded for period from 3/1/06-2/28/09
   “Further Analysis and Characterization of Sulfates and Sulfides Using Multiple Spectral Techniques”
           (collaborative with Melissa Lane, Planetary Science Institute (PI), and Janice Bishop, SETI)
           $32,000 funded for period from 3/1/06-2/28/09
   “Characterizing the Rocks of Mars through Integrated Spectroscopy”
           (collaborative with C. Pieters (PI), J. Bishop, M. Lane, T. Hiroi, J. Sunshine)
           $60,000 to MHC for period from 3/1/07 – 2/28/11
   “Analysis and Characterization of Phosphates Using Multiple Spectral Techniques”




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           (collaborative with Melissa Lane (PI), Planetary Science Institute, and Janice Bishop, SETI)
           $45,947 funded for period from 3/1/08-2/28/12
   “The State of Sulfur on Mars: Understanding the Interrelationships Among the Crystal Structure,
           Chemistry, and Spectroscopy of Sulfates and Sulfides “
           (collaborative with Melissa Lane (PI), Planetary Science Institute, and Janice Bishop, SETI)
           $97,754 funded to MHC for period from 6/1/10-5/31/13
   “Technique Development for Laser-Induced Breakdown Spectroscopy: Calibration, Classification, and
           Light Element Analysis”
           (collaborative with Sam Clegg and Roger Wiens, LANL, and Martha Schaefer)
           $719,000 funded for period from 3/1/09 – 5/30/14
    “Effects of Shock Metamorphism on Phyllosilicate Spectroscopy”
           (Joseph Michalski, P.I.)
           $67,941 funded to MHC for period from 6/1/10-5/31/14
   “Impact History and Meteoritic Contributions to the Martian Upper Crust”
           (collaborative with Caleb Fassett, PI)
           $261,888 funded to MHC for period 6/1/14-5/31/18
   “Transfer learning for chemical analyses from laser-induced breakdown spectroscopy on the surface of
           Mars”
           (collaborative with Sridhar Mahadavean)
           $445,093 funded to MHC for period 11/29-14-11/30/17

   NASA, Lunar Advanced Science and Exploration Research Program:
   “Thermodynamics, VIS-IR Spectroscopy, and Mapping of Adsorbed Water on the Moon”
          (K. Hibbitts, PI)
          $33,920 to MHC for period from 6/1/08 – 5/31/09
    “Pyroxene Spectroscopy as a Tool to Probe the Composition and Thermal History of the Lunar Surface”
          (Rachel Klima, PI)
          $104,914 to MHC for period from 1/1/10 – 5/31/13
   “The Stability and Transport of Water on the Moon”
          (Karl Hibbitts, P.I.)
          $106,614 funded to MHC for period from 9/1/11-6/30/15
   “Solar Wind Induced Production of Hydroxyl and Water on the Moon”
          (Thomas Orlando, PI)
          $9,313 to MHC for period from 9/1/11-6/30/15

   NASA, Mars Science Laboratory Participating Scientist Program:
   “Enhancing Science Return from ChemCam through Laboratory and Statistical Analyses and Integration
          with APXS”
          $476,885 for period from 2/15/12-12/31/16

   NASA, Lunar Science Institute Program:
   “The Moon as Cornerstone to the Terrestrial Planets: The Formative Years”
   C.M. Pieters, PI, Brown University
   $135,000 funded to MHC for period from 4/9/09 – 4/8/14

   NASA Planetary Geology and Geophysics Program:
   “Integrated Spectroscopy of Pyroxenes: Composition, Structure, and Thermal History”
   (Rachel Klima, PI)
           $32,711 to MHC for period from 8/5/11-8/4/14
   “Pyroxene Spectroscopy, Composition, Structure, and Thermal History”
           (Rachel Klima, PI)




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          $91,313 to MHC for period from 6/1/13 – 5/31/16

   NASA Solar System Workings Program:
   “SuperCam-Analog Laser-induced Breakdown Spectrometer at Mount Holyoke College”
         $445,095 for period 10/1/16-9/30/18

   CURRENT FUNDING:

   NASA, Solar System Exploration and Research Virtual Institute Program:
   “Remote, In Situ, and Synchrotron Studies for Science and Exploration”
           Tim Glotch, Stony Brook Univ., PI (Dyar is Deputy PI)
           $777,256 to MHC for period from 1/1/14-12/31/18
   “Volatiles, Regolith and Thermal Investigations Consortium for Exploration and Science (VORTICES)”
           Ben Bussey, APL, PI
           $51,998 to PSI for period from 1/1/14-12/31/18
   “Environment and Evolution of Exploration Destinations: Science and Engineering Synergism”
           Carle Pieters, Brown Univ., PI
           $135,600 to MHC for period from 1/1/14-12/31/18
   “TREX: Toolbox for Research and Exploration”
           Amanda Hendrix, PSI, PI
           $5,483,517 to PSI 6/1/17 – 5/31/22

   NASA, Exobiology Program:
   "ICE-MAMBA Ice-covered Chemosynthetic Ecosystems: Mineral Availability and MicroBiological
   Accessibility"
            Jill Mikuchi, Univ. of Tennessee, PI
            $208,316 to PSI for period from 1/22/17-1/21/20
   “Fe(III) Oxide Reduction by a Hyperthermophillic Crenaraeon: Novel Mechanisms and Detection”
            James Holden, Univ. of Massachusetts, Amherst, PI
            $230, 236 to Planetary Science Institute for period from 10/1/18 – 9/30/21

   NASA Emerging Worlds Program:
   “Volatile Adsorption onto Primitive Grains for Understanding the Formation of the Early Solar System”
           Karl Hibbitts, PI
           $13,858 to PSI for period from 3/1/5-2/28/18

   NASA Solar System Workings Program:
   “Oxidation State of Lunar Glasses: Implications for Surface and Eruptive Processes on the Moon”
          Molly McCanta, PI
          $136,530 to PSI for period from 10/1/16-3/30/19
   “Towards Quantifying Oxygen Fugacity in Solar System Materials: In Situ Multivalent Element Analyses
          in Pyroxene”
          Molly McCanta, PI
          $267,184 to Dyar for period from 10/1/18 – 9/30/21

   NASA Planetary Data Archiving, Restoration, and Tools:
   “Advanced XAS Calibration Tools for In Situ Analysis of Redox States of Fe, Ti, Mn, Cr, V, and Eu in
         Extraterrestrial Glasses”
         $208,997 to PSI for period from 1/15/17-1/14/20

   NSF Information Integration and Informatics




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   “Collaborative Research: Deep Learning for Spectroscopy”
          Collaborative with Sridhar Mahadevan and Mario Parente
          $373,793 to MHC for period from 4/1/16-3/31/20

   NSF Petrology and Geochemistry:
   “Refining Geothermobarometry in Pyroxenes using In Situ Measurements of Fe3+”
           $172,000 fto MHC or period from 7/1/18 – 6/30/2101

   NSF Planetary Astronomy:
   “Formation, Stability, and Detection of Amorphous Ferric Sulfate Salts on Mars”
          Elizabeth Sklute, PI
          $232,273 to MHC for period from 10/1/18 – 9/30/21




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               EXHIBIT B
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       Previous Four Years of Expert Testimony for
               Melinda Darby Dyar, Ph.D.

   Dr. Melinda Darby Dyar has not testified as an expert at trial or by deposition during the
   previous four years.
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                          Exhibit J
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